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           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                           Cause No. 18SL-CC00617-01
                                 )
       vs.                       )                           Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                PLAINTIFF’S SUBMISSION PURUSANT TO RULE 55.34(b)

      Plaintiff Tamia Banks, individually and on behalf of all others similarly situated, hereby

 submits the following list of documents filed in the preceding federal court case Banks v. Cotter

 Corporation et al., 4:18-cv-00624-JAR (E.D. Mo. 2018) to be incorporated into this Court’s file

 in the above-captioned matter pursuant to Missouri Supreme Court Rule 55.34(b):

  ECF No.       Document Description

      1         Notice of Removal

      2         Civil Cover Sheet

      3         Original Filing Form

      4         Notice of Filing Notice of Removal – sent to Plaintiff

      5         Petition Received from Circuit Court

      6         Amended Petition Received from Circuit Court

      7         Consent to Removal by Defendant Commonwealth Edison Company

      8         Consent to Removal by Defendant Exelon Corporation

      9         Consent to Removal by Defendant Exelon Generation Company, LLC

      10        Consent to Removal by Defendant DJR Holdings, Inc.

      11        Consent to Removal by Defendant St. Louis Airport Authority

      12        Docket text order designating magistrate judge

      13        Entry of Appearance by John F. Cowling for Defendant St. Louis Airport
                Authority

      14        Notice of Filing Notice of Removal – sent to State Court
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     15      Joint and Unopposed Motion for Extension of Time to File Answer

     16      Entry of Appearance by Dale A. Guariglia for Defendants Commonwealth Edison
             Company, Cotter Corporation, Exelon Corporation, Exelon Generation Company,
             LLC

     17      Docket text order granting Motion for Extension of Time to File Answer

     18      Motion for Leave to Appear Pro Hac Vice by Su Jin Kim

     19      Motion for Leave to Appear Pro Hac Vice by John McGahren

     20      Motion for Leave to Appear Pro Hac Vice by Stephanie R. Feingold

     21      Docket text order granting Pro Hac Vice admission for Su Jin Kim

     22      Docket text order granting Pro Hac Vice admission for Stephanie R. Feingold and
             John McGahren

     23      CJRA Order reassigning case to District Judge John A. Ross

     24      Consent Motion for Leave to File in Excess of Page Limitation by Defendant
             Cotter Corporation

     25      Docket text order granting Consent Motion for Leave to File in Excess of Page
             Limitation

     26      Entry of Appearance by Saturnin Martin Janksy for Defendant DJR Holdings, Inc.

     27      Motion to Dismiss Case by Defendant St. Louis Airport Authority

     28      Memorandum in Support of Motion to Dismiss Case by Defendant St. Louis
             Airport Authority

     29      First Motion to Dismiss Case by Defendant DJR Holdings, Inc.

     30      Memorandum in Support of First Motion to Dismiss Case by Defendant DJR
             Holdings, Inc.

     31      Disclosure of Organizational Interests Certificate by Defendant DJR Holdings,
             Inc.

     32      Disclosure of Organizational Interests Certificate by Defendant Commonwealth
             Edison Company

     33      Disclosure of Organizational Interests Certificate by Defendant Cotter
             Corporation

     34      Disclosure of Organizational Interests Certificate by Defendant Exelon
             Corporation

     35      Disclosure of Organizational Interests Certificate by Defendant Exelon
             Generation Company, LLC

     36      Motion to Dismiss Case by Defendant Cotter Corporation

     37      Motion to Dismiss Case by Defendants Commonwealth Edison Company, Exelon
             Corporation, Exelon Generation Company, LLC

     38      Plaintiff’s Motion to Remand Case to State Court to Circuit Court, County of St.
             Louis, Missouri

     39      Memorandum in Support of Plaintiff’s Motion to Remand Case


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     40      Consent Motion for Extension of Time to File Response/Reply to Motion to
             Dismiss

     41      Docket Text Order granting Consent Motion for Extension of Time to File
             Response/Reply to Motion to Dismiss

     42      Consent Motion for Extension of Time to File Response/Reply

     43      Docket Text Order: Consent Motion for Extension of Time to File
             Response/Reply to Motion to Remand Case

     44      Motion for Leave to Appear Pro Hac Vice by Celeste Brustowicz

     45      Docket Text Order granting Motion for Leave to Appear Proc Hac Vice by
             Celeste Brustowicz

     46      Motion for Leave to Appear Pro Hac Vice Victor Cobb

     47      Motion to Stay regarding First Motion to Dismiss Case

     48      Docket Text Order granting Motion for Leave to Appear Pro Hac Vice by Victor
             Cobb

     49      Order: Defendants shall file a response to Plaintiff’s motion to stay proceedings in
             this case pending the Court’s ruling on Plaintiff’s motion for remand

     50      Defendants’ Response to Motion to Stay regarding First Motion to Dismiss Case

     51      Memorandum and Order granting Plaintiff’s Motion to Stay

     52      Memorandum in Opposition re Motion to Remand Case to State Court to Circuit
             Court, County of St. Louis, Missouri filed by Defendants Commonwealth Edison
             Company, Cotter Corporation, Exelon Corporation, Exelon Generation Company,
             LLC

     53      Memorandum in Opposition re Motion to Remand Case to State Court to Circuit
             Court, County of St. Louis, Missouri filed by Defendant DJR Holdings, Inc.

     54      Motion for Extension of Time to File Response/Reply by Plaintiff

     55      Docket Text Order: Plaintiff’s Motion for Extension of Time to File her Reply
             Memoranda in Support of her Motion to Remand is Granted in part.

     56      Plaintiff’s Motion to Strike Defendant’s Exhibits to Memorandum in Opposition
             to Motion for Remand, or in the alternative, to take the Deposition of Stephanie
             Feingold

     57      Order: Defendants shall file a response to Plaintiff’s Motion to Strike Exhibits to
             Memorandum in Opposition to Motion for Remand of in the alternative to Take
             Deposition of Stephanie Feingold

     58      Defendants’ Memorandum in Opposition re Motion to Strike Memorandum in
             Opposition to Motion

     59      Plaintiff’s Reply to Response to Motion re Motion to Remand Case to State Court
             to Circuit Court, County of St. Louis, Missouri filed by Plaintiff Tamia Banks

     60      Motion for Leave to File a Sur-Reply by Defendants Commonwealth Edison
             Company, Cotter Corporation, Exelon Corporation, Exelon Generation Company,
             LLC

     61      Motion to Substitute Attorney/Law Firm; attorney Kimberly Starr Morr
             substituted for Alexander Braitberg by Plaintiff Tamia Banks


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      62        Entry of Appearance by Kimberly Starr Morr for Plaintiff Tamia Banks

      63        Docket Text Order granting re Defendants’ Motion for Leave to File a Sur-Reply
                by Defendants Commonwealth Edison Company, Cotter Corporation, Exelon
                Corporation, Exelon Generation Company, LLC

      64        Docket Text Order granting Motion to Substitute Attorney/Law Firm; attorney
                Kimberly Starr Morr substituted for Alexander Braitberg by Plaintiff Tamia
                Banks

      65        Sur-Reply in Opposition to Plaintiff’s Motion for Remand, filed by Defendants
                Commonwealth Edison Company, Cotter Corporation, Exelon Corporation,
                Exelon Generation Company, LLC

      66        Order setting Plaintiff’s Motion for Remand for oral argument on Wednesday,
                August 8, 2018 at 11 a.m.

      67        Motion for Leave to Appear Pro Hac Vice by David R. Barney, Jr.

      68        Motion for Leave to Appear Pro Hac Vice by Kevin W. Thompson

      69        Docket Text Order Granting Motion for Leave to Appear Pro Hac Vice for Kevin
                W. Thompson by Plaintiff Tamia Banks

      70        Minute Entry for proceedings held before District Judge John A. Ross: Motion
                Hearing held on 8/8/2018.

      71        Order that Plaintiff’s Motion for Remand is taken under submission. It is further
                ordered that Plaintiff’s Motion to Strike Exhibits is Denied as moot in accordance
                with the rulings on the record. It is finally ordered that the June 14, 2018 order
                staying all proceedings in this case shall remain in force until further order of the
                Court

      72        Transcript Order Request for Oral Argument by Cotter Corporation before Judge
                John A. Ross.

      73        Deleted – wrong document attached, (see corrected Doc #74) Entry of
                Appearance by Nathaniel Richard Carroll for Plaintiff Tamia Banks

      74        Entry of Appearance by Nathaniel Richard Carroll for Plaintiff Tamia Banks

      75        Memorandum and Order that Plaintiffs’ Motion for Remand is Granted and this
                matter is Remanded to the Circuit Court of St. Louis County. It is further ordered
                that Defendants’ motion to dismiss are Denied without prejudice to refiling in
                state court.


        Plaintiff files herewith electronic copies of each of the foregoing documents, with the

 exception of all items labeled “Docket text order,” for which no separate document is available.

 Thus, Plaintiff also files herewith a Docket Report from the PACER service reflecting the text

 of all docket text orders and additional details regarding each of the above-listed documents.

 Dated: April 22, 2019                                Respectfully submitted,

                                                      KEANE LAW LLC

                                                      /s/ Nathaniel R. Carroll
                                                      Ryan A. Keane, # 62112
                                                      Nathaniel R. Carroll, #67988

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                                                    nathaniel@keanelawllc.com
                                                    Attorneys for Plaintiffs and Proposed Class

                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 22, 2019, a true and accurate copy of the
 foregoing was served by filing it in the court’s electronic filing system, which will provide
 electronic notice to all parties and attorneys of record.

                                                    /s/ Nathaniel R. Carroll




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           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and                  )
 all others similarly situated,                         )
                                                        )
         Plaintiff,                                     )            Cause No. 18SL-CC00617-01
                                                        )
                  vs.                                   )            Division No. 18
                                                        )
 COTTER CORPORATION,                                    )
 COMMONWEALTH EDISON                                    )
 COMPANY, EXELON CORPORATION,                           )
 EXELON GENERATION COMPANY,                             )
 LLC, DJR HOLDINGS, INC. f/k/a                          )
 FUTURA COATINGS, INC., and ST.                         )
 LOUIS AIRPORT AUTHORITY, A                             )
 DEPARTMENT OF THE CITY OF ST.                          )
 LOUIS,                                                 )
                                                        )
         Defendants.                                    )

 COMMONWEALTH EDISON COMPANY, EXELON CORPORATION, AND EXELON
        GENERATION COMPANY, LLC’S MOTION TO DISMISS
             FOR LACK OF PERSONAL JURISDICTION

         Pursuant to Missouri Rules of Civil Procedure 55.27(a)(2) and 55.27(a)(6), Defendants

 Commonwealth Edison Company (“ComEd”), Exelon Corporation (“Exelon”), and Exelon

 Generation Company, LLC (“Generation”) (collectively “Defendants”), hereby move to dismiss

 the first amended class-action complaint (“FAP”) of Plaintiff Tamia Banks (“Plaintiff”) for lack

 of personal jurisdiction and failure to state a claim against Defendants.1 Plaintiff asserts twelve

 counts alleging that various defendants’ collective conduct caused radioactive materials to

 contaminate and damage her property. Plaintiff alleges no facts, however, that would allow this

 Court to exercise personal jurisdiction over Defendants or grant the relief Plaintiff seeks.




 1
  Defendants also hereby join the Motion to Dismiss filed by Defendant Cotter Corporation (N.S.L.) on April 29,
 2019, and the arguments set forth therein.
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 Defendants concurrently file and incorporate by reference their Memorandum of Law in Support

 of their motion to dismiss. A proposed order is also attached.

        First, Plaintiff does not allege any connection between Defendants and Missouri that can

 confer personal jurisdiction over Defendants. Rather than showing that Defendants maintain

 minimum contacts with Missouri, Plaintiff instead attempts to manufacture personal jurisdiction

 based on: (1) other Missouri actions in which Defendants were sued, without regard to whether

 Defendants were properly named or consented to jurisdiction; (2) Defendants’ purported parent-

 subsidiary relationships with defendant Cotter Corporation (N.S.L.) (“Cotter”); and (3) the

 existence of an alleged indemnity agreement to which Plaintiff has no connection. None of

 Plaintiff’s misguided theories provides a basis for this Court to exercise personal jurisdiction

 over Defendants, as explained in more detail in Defendants’ Memorandum of Law.

        Plaintiff’s efforts to concoct personal jurisdiction instead reflect that neither ComEd nor

 Exelon: (1) is registered to do business in Missouri; (2) is otherwise doing business in Missouri;

 (3) has transacted business in Missouri with respect to any matter which is the subject of the FAP

 filed in this action; (4) offers any products or services within Missouri; (5) has employees in

 Missouri; (6) owns or leases any real property or facilities in Missouri; or (7) maintains an office

 to do business in Missouri. And Plaintiff makes no attempt whatsoever to establish a connection

 between Generation and Missouri. For these reasons, this Court lacks personal jurisdiction over

 ComEd, Exelon, and Generation and the action must be dismissed as to those Defendants.

        Second, Plaintiff cannot establish liability against Defendants based solely on their

 alleged parent-child relationship with Cotter. As an initial matter, Plaintiff alleges that Cotter

 committed certain wrongful acts through 1973, and that Cotter later became a subsidiary of

 either ComEd, Exelon, or Generation. Defendants cannot possibly be liable for the alleged



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 wrongful acts of a corporation that was, even according to Plaintiff’s own allegations, not their

 subsidiary at any time relevant to the FAP. But even if any Defendants had been Cotter’s parent

 corporation when the allegedly wrongful acts were committed, parent corporations are generally

 not liable for the acts or omissions of their subsidiaries. Plaintiff does not allege an alter ego or

 agency relationship between Cotter and Defendants, nor can she establish such relationship

 under the facts alleged, making any exceptions to this general rule inapplicable here.

 Accordingly, the FAP must be dismissed as to Defendants.

        For these reasons, as well as those set forth in Defendants’ Memorandum of Law, the

 Court should dismiss Plaintiff’s FAP as to Defendants with prejudice and award such further

 relief as the Court deems appropriate under the circumstances.

 Dated: April 29, 2019                         Respectfully Submitted,

                                               /s/ Erin Brooks
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                                               ATTORNEYS FOR DEFENDANTS

                                                  3
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                                     COMMONWEALTH EDISON COMPANY,
                                     EXELON CORPORATION, AND EXELON
                                     GENERATION COMPANY, LLC




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 29, 2019, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, providing electronic service to the following:

     KEANE LAW LLC                                           ARMSTRONG TEASDALE LLP
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     7777 Bonhomme Ave., Ste. 1600                           St. Louis, Missouri 63105
     St. Louis, MO 63105                                     jcowling@armstrongteasdale.com
     ryan@keanelawllc.com
     alex@keanelawllc.com                                    Attorney for the City of St. Louis (the
                                                             owner and operator of St. Louis
                                                             Lambert International Airport®)

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     Barry J. Cooper, Jr.                                    S. Martin Janskey, Mo. 47022
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     New Orleans, LA 70116                                   martin@janskylaw.com
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     Attorneys for Plaintiff and the proposed Class

                                                       /s/ Erin Brooks
                                                       Attorneys for Commonwealth Edison
                                                       Company, Exelon Corporation, and Exelon
                                                       Generation Company, LLC




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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and           )
 all others similarly situated,                  )
                                                 )
        Plaintiff,                               )          Cause No. 18SL-CC00617-01
                                                 )
                vs.                              )          Division No. 18
                                                 )
 COTTER CORPORATION,                             )
 COMMONWEALTH EDISON                             )
 COMPANY, EXELON CORPORATION,                    )
 EXELON GENERATION COMPANY,                      )
 LLC, DJR HOLDINGS, INC. f/k/a                   )
 FUTURA COATINGS, INC., and ST.                  )
 LOUIS AIRPORT AUTHORITY, A                      )
 DEPARTMENT OF THE CITY OF ST.                   )
 LOUIS,                                          )
                                                 )
        Defendants.                              )

       COMMONWEALTH EDISON COMPANY, EXELON CORPORATION, AND
                EXELON GENERATION COMPANY, LLC’S
          MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS

        Defendants Commonwealth Edison Company (“ComEd”), Exelon Corporation

 (“Exelon”), and Exelon Generation Company, LLC (“Generation”) (collectively “Defendants”),

 hereby submit this memorandum in support of their motion to dismiss the first amended class-

 action petition (“FAP,” Exhibit 1) of Plaintiff Tamia Banks (“Plaintiff”) pursuant to Missouri

 Rules of Civil Procedure 55.27(a)(2) and 55.27(a)(6) for lack of personal jurisdiction and failure

 to state a claim against Defendants directly. Plaintiff cannot establish personal jurisdiction over

 ComEd, Exelon, or Generation (a) based on their status as defendants in other actions in the

 state, (b) through purported parent-subsidiary relationships with Cotter Corporation (N.S.L.)

 (“Cotter”) (even though none was a parent of Cotter during the operative events of the FAP ̶ or,

 in the cases of Exelon and Generation, at any time), or (c) through the mere existence of an
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 alleged indemnity agreement. Nor can Plaintiff establish liability against any Defendant for

 these reasons. Defendants further join the Motion to Dismiss filed by Cotter on April 29, 2019,

 and the arguments set forth therein.

                                        INTRODUCTION

        On or about February 18, 2018, Plaintiff filed a Petition in the Circuit Court of St. Louis

 County, Missouri, Twenty-First Judicial Circuit, thereby commencing the putative class action

 styled, Banks v. Cotter Corporation, Case No. 18SL-CC00617. (Exhibit 2). On April 2, 2018,

 Plaintiff filed the FAP, with the permission of the Court whereby she added a count for civil

 conspiracy against the Defendants. (Exhibit 1). The Defendants timely removed the action to

 federal court on April 18, 2018, and the action was remanded to this Court on March 29, 2019.

 Defendants had filed motions to dismiss in federal court, but as part of the remand order, these

 motions were denied “without prejudice to refiling in state court.”

        In Plaintiff’s FAP, she alleges that, as a result of the various defendants’ collective

 conduct over the span of several decades, radioactive materials were released into the

 environment in and around the one-hundred-year floodplain of Coldwater Creek located in St.

 Louis County, Missouri (the “Creek”), contaminating Plaintiff’s property with radioactive

 materials and causing various forms of property damage. (See generally, FAP ¶¶ 1-10, 48-92).

        Plaintiff’s twelve-count FAP seeks injunctive and monetary relief against all defendants

 for damages suffered as a result of trespass, permanent nuisance, temporary nuisance,

 negligence, negligence per se, strict liability injuries, and civil conspiracy, seeks medical

 monitoring against all defendants, and asserts claims for inverse condemnation and violations of

 the Missouri Constitution against the St. Louis Airport Authority only.




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                     FACTUAL ALLEGATIONS AGAINST
            DEFENDANTS COMED, EXELON, GENERATION, AND COTTER

        Plaintiff sues six (6) defendants, including ComEd, Exelon, Generation, and Cotter.

 Plaintiff asserts that Cotter is a subsidiary of or otherwise related to ComEd, Exelon, and

 Generation. (See FAP ¶¶ 20, 21-24).

        Plaintiff alleges that ComEd “is an Illinois corporation whose former subsidiary

 corporation, Cotter, conducted business operations in Missouri,” (FAP ¶ 22), and that Exelon,

 “the parent company of ComEd, is a Pennsylvania corporation with its principal place of

 business in Chicago, Illinois. Exelon, through its subsidiaries including Cotter and ComEd,

 conducted business in Missouri.” (FAP ¶ 23).

        More specifically, with respect to ComEd, Plaintiff alleges that:

        ComEd continuously and systematically carries on business activities in the State
        of Missouri, both on its own and through its subsidiaries including Cotter and its
        parent company Exelon. In addition, ComEd owned Cotter at times relevant to
        this Petition, and agreed to indemnify Cotter for liabilities associated with the
        creation, storage, transportation, and processing of hazardous, toxic, carcinogenic,
        radioactive wastes as alleged herein. ComEd regularly and routinely avails itself
        of the protection of Missouri laws in St. Louis County courts, and regularly
        appears to defend itself in lawsuits tried here.

 (FAP ¶ 22(A)). Plaintiff further alleges that jurisdiction exists over ComEd because her damages

 “resulted from the ComEd Defendants’ conduct including acts and omissions within the State of

 Missouri, as well as the acts and omissions of the predecessors of the ComEd Defendants, which

 gave rise to the violations of law and damage to property alleged in the Petition.” (Id. ¶ 22(B)).

 Plaintiff asserts similar allegations as to Exelon:

        Exelon is the parent company of ComEd and, through its subsidiaries including
        Cotter and ComEd, continuously and systematically carries out business activities
        in the State of Missouri. Exelon regularly and routinely avails itself of the
        protection of Missouri laws in St. Louis County courts, and regularly appears to
        defend itself in lawsuits tried here.



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 (FAP ¶ 23(A); see also id. at ¶ 23(B)).

            Plaintiff also makes similar allegations as to Generation, claiming that “in connection

 with Exelon’s corporate restructuring in 2001, the responsibility to indemnify Cotter, previously

 held by Exelon was transferred to” Generation, (FAP ¶ 24(A)), and that “Generation regularly

 and routinely avails itself of the protection of Missouri laws in St. Louis County courts, and

 regularly appears to defend itself in lawsuits tried here.” (Id. at ¶ 24 (B)).

            Thus, the sole allegations with respect to ComEd, Exelon, and Generation that, if

 liberally construed, might be deemed to speak to their “conduct,” are based entirely on their

 alleged corporate relationships with Cotter. First, Plaintiff sues ComEd, “which was the parent

 company of Cotter which agreed to indemnify Cotter for liability; . . . .” (FAP ¶ 22). According

 to the FAP, Cotter “was purchased by and became a wholly owned subsidiary of Commonwealth

 Edison in 1975.” (FAP ¶ 21). Then, Plaintiff claims, “[u]pon the sale of Cotter, ComEd agreed

 to indemnify Cotter for certain liabilities associated with these activities.” (FAP ¶ 22). Second,

 Plaintiff sues Exelon, “which is the parent company of ComEd,” (FAP ¶ 23). Third, Plaintiff

 sues Generation, claiming “in connection with Exelon’s corporate restructuring in 2001, the

 responsibility to indemnify Cotter, previously held by Exelon1 was transferred to” Generation.

 (FAP ¶ 24).

            As to Cotter’s conduct (which provides the basis for ComEd’s, Exelon’s, and

 Generation’s purported liability), Plaintiff alleges, “[b]etween 1969 and 1973, Cotter stored,

 processed, and transported hazardous, toxic, and radioactive wastes, including enriched thorium,

 at the SLAPS and Latty Avenue Sites.” (FAP ¶ 66; see also ¶¶ 63-65).




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     Plaintiff fails to identify how and when Exelon allegedly became responsible for the indemnity to Cotter.

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                                        LEGAL ANALYSIS

 I.     PURSUANT TO MO. R. CIV. P. 55.27(A)(2), THIS ACTION MUST BE
        DISMISSED AS TO DEFENDANTS FOR LACK OF PERSONAL
        JURISDICTION.

        Plaintiff cannot meet her burden of demonstrating that this Court has personal jurisdiction

 Defendants. Plaintiff does not allege any connection between Defendants and Missouri that can

 possibly confer personal jurisdiction over Defendants. And her attempts to conjure up minimum

 contacts by Defendants in Missouri are insufficient as a matter of law.

        A.      Legal Standard

        When a defendant’s motion to dismiss argues that the court lacks personal jurisdiction

 over it, “the plaintiff has the burden of making a prima facie showing that the trial court has

 personal jurisdiction over [the] defendant.” Stavrides v. Zerjav, 848 S.W.2d 523, 527 (Mo. Ct.

 App. 1993). The plaintiff must show that: (1) exercising personal jurisdiction over the defendant

 is proper under Missouri’s long arm statute; and (2) sufficient minimum contacts with Missouri

 exist to make exercising personal jurisdiction consistent with due process. Medicine Shoppe Int’l

 v. J–Pral Corp., 662 S.W.2d 263, 268, 271 (Mo. Ct. App. 1983); see also Eagle Tech. v.

 Expander Americas, Inc., 783 F.3d 1131, 1136 (8th Cir. 2015) (explaining that courts in the

 Eighth Circuit “first examin[e] whether the exercise of jurisdiction is proper under the forum

 state’s long-arm statute. If the activities of the non-resident defendant satisfy the statute’s

 requirements, [courts] then address whether the exercise of personal jurisdiction comports with

 due process.”). When a defendant’s motion to dismiss relies on facts not appearing in the record,

 the trial court may hear the matter on affidavits offered by the parties. Chromalloy Am. Corp. v.

 Elyria Foundry Co., 955 S.W.2d 1, 3 n.3 (Mo. 1997); Medicine Shoppe Int’l., 662 S.W.2d at

 268; see also Mo. R . Civ. P. 55.28.



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        Missouri’s long-arm statute is Mo. Rev. Stat. § 506.500, “which authorizes the exercise

 of jurisdiction over nonresidents to the extent permissible under the due process clause[.]” Eagle

 Tech., 783 F.3d at 1136; see also Andra v. Left Gate Prop. Holding, Inc., 453 S.W.3d 216, 226

 (Mo. 2015) (“Missouri’s long-arm statute expands a court’s jurisdictional reach only to the

 extent allowed by the due process clause of the Fourteenth Amendment of the United States

 Constitution.”). Due process requires that a non-resident defendant have minimum contacts with

 the forum state such that the maintenance of the lawsuit does not “offend traditional notions of

 fair play and substantial justice.” Bryant v. Smith Interior Design Grp., Inc., 310 S.W.3d 227,

 231 (Mo. 2010) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).              This

 minimum contacts requirement reflects the notion that “those who live or operate primarily

 outside a State have a due process right not to be subjected to judgment in its courts as a general

 matter.” J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 881 (2011).

        To determine whether a defendant’s contacts with Missouri satisfy due process, courts

 consider if “the defendant purposefully avail[ed] itself of the privilege of conducting activities

 within” Missouri. Bryant, 310 S.W.3d at 232 (quoting Hanson v. Denckla, 357 U.S. 235, 253

 (1958)). Only where a defendant has purposely availed itself of the protections of Missouri law

 can it be said to have reasonably anticipated being amenable to suit in the state. Id. Purposeful

 availment requires that the defendant’s contacts “proximately result from actions by the

 defendant himself that create a ‘substantial connection’ with the forum State.” Peoples Bank v.

 Frazee, 318 S.W.3d 121, 129 (Mo. 2010) (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

 462, 475 (1985)). This “substantial connection” must be shown through the defendant’s contacts

 with “the forum State itself,” not only “with the persons who reside there.” Walden v. Fiore, 571

 U.S. 277, 285 (2014). Such limitations “ensure[] that a defendant will not be haled into a



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 jurisdiction solely as the result of random, fortuitous, or attenuated contacts.” Burger King Corp.

 v. Rudzewicz, 471 U.S. 462, 475 (1985) (citations and internal quotation marks omitted).

         Finally, “[t]he minimum contacts necessary for due process may be the basis for either

 ‘general’ or ‘specific’ jurisdiction.” Johnson v. Arden, 614 F.3d 785, 794 (8th Cir. 2010)

 (internal citation omitted). A court has specific jurisdiction over an out-of-state defendant if “a

 suit aris[es] out of or relate[s] to the defendant’s contacts with the forum.” Bryant, 310 S.W.3d

 at 232-33. A court has general jurisdiction over an out-of-state defendant only where the

 defendant’s “connections with the state are systematic, continuous and substantial enough to

 furnish personal jurisdiction over the defendant based on any cause of action even one that is

 unrelated to the defendant’s contacts with the forum.” Bryant, 310 S.W.3d at 232; see also

 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414, 414 n.9 (1984).

         B.       Plaintiff Has Failed to Adequately Allege that this Court Has Jurisdiction
                  Over ComEd, Exelon, and Generation

         Other than conclusory allegations regarding the existence of general jurisdiction and

 fruitless attempts to manufacture personal jurisdiction from purported parent-subsidiary

 relationships and an alleged indemnity agreement, Plaintiff alleges no facts tying ComEd,

 Exelon, or Generation to Missouri for the purposes of either general or specific jurisdiction.

         Plaintiff alleges that ComEd “is an Illinois corporation whose former subsidiary

 corporation, Cotter, conducted business operations in, Missouri,” (FAP ¶ 22),2 and that Exelon,

 “the parent company of ComEd, is a Pennsylvania corporation with its principal place of

 business in Chicago, Illinois. Exelon, through its subsidiaries including Cotter and ComEd,


 2
   The FAP alleges that ComEd “continuously and systematically carries on business activities in the State of
 Missouri, both on its own and through its subsidiaries including Cotter and its parent company Exelon,” whereas it
 alleges that “Exelon is the parent company of ComEd and, through its subsidiaries including Cotter and ComEd,
 continuously and systematically carries out business activities in the State of Missouri.” (FAP ¶¶ 22-23). Neither
 allegation is sufficient for this Court to have jurisdiction over ComEd and Exelon.

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 conducted business in Missouri.” (FAP ¶ 23). Tellingly, Plaintiff does not allege – nor can she –

 that either ComEd or Exelon is authorized to do business in Missouri.

         ComEd and Exelon have submitted Declarations attesting that neither: (1) is registered to

 do business in Missouri; (2) is otherwise doing business in Missouri; (3) has transacted business

 in Missouri with respect to any matter which is the subject of the FAP filed in this action; (4)

 offers any products or services within Missouri; (5) has any employees in Missouri; (6) owns or

 leases any real property or facilities in Missouri; or (7) maintains an office to do business in

 Missouri. (See Declaration of Brian Buck on behalf of ComEd, attached hereto as Exhibit 3 and

 Declaration of Carter C. Culver on behalf of Exelon, attached hereto as Exhibit 4). And Plaintiff

 fails to allege any connection between Generation and Missouri whatsoever.

         Rather, in an attempt to fabricate jurisdiction over ComEd, Exelon, and Generation,

 Plaintiff alleges that Defendants “regularly and routinely avail[] [themselves] of the protection of

 Missouri laws in St. Louis County courts, and regularly appear[] to defend [themselves] in

 lawsuits tried here.” (FAP ¶¶ 22(A), 23(A), 24(A)). Even if this allegation were true (which it is

 not),3 simply being named as a defendant in a lawsuit does not mean that a defendant is

 “purposefully availing itself of the privilege of conducting activities within the forum State, thus

 invoking the benefits and protections of its laws,” such that sufficient minimum contacts exist

 between that defendant and the forum state. See Bryant, 310 S.W.3d at 232. Further, the mere

 fact that a defendant has been sued says nothing about whether that defendant has been properly

 named or, if not, even consents to the court’s jurisdiction.



 3
   A review of the Missouri Courts docket sheets demonstrates that other than the present litigation and the related
 Dailey litigation (4:17-cv-00024) that the Defendants removed to federal court, Exelon has been sued as a defendant
 only two other times in the last 12 years. In Union Pacific R.R. Co. v. Johnstown (22062-00696), the plaintiffs
 voluntarily dismissed Exelon a few months after the litigation commenced, and the remaining defendants eventually
 removed the case to federal court. In Sutton v. 4520 Corp., Inc. (1622-CC10904), a personal injury litigation
 involving asbestos with dozens of defendants, Exelon was never served with the Summons. During that same time

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         ComEd, Exelon, and Generation have no control over whether anyone will sue them; the

 purposeful availment requirement is meant to protect against precisely these types of attempts by

 a plaintiff to create jurisdiction where a defendant has insufficient minimum contacts with a

 forum state for jurisdiction to exist in the first place. Id.; Peoples Bank, 318 S.W.3d at 129; see

 also Burger King Corp., 471 U.S. at 475.

         Plaintiff has utterly failed to plead (much less demonstrate) sufficient contacts between

 the state of Missouri and any Defendant to form the basis for the Court’s exercise of personal

 jurisdiction over them in this case. See Eagle Tech., 783 F.3d at 1136. Thus, this Court lacks

 personal jurisdiction over ComEd, Exelon, and Generation.

         C.      Jurisdiction Over a Parent Corporation May Not Be Predicated on the
                 Contacts of a Subsidiary.

         To the extent that Plaintiff attempts to argue that the Court has personal jurisdiction over

 ComEd, Exelon, and Generation based on their corporate relationships with Cotter, this

 argument fails. Here, Plaintiff predicates personal jurisdiction over Defendants on the alleged

 activities of Cotter between 1969 and 1973, ComEd’s later alleged acquisition of Cotter in 1975,

 Defendants’ alleged agreements to indemnify Cotter for the latter’s activities associated with

 Coldwater Creek, Exelon’s alleged status as ComEd’s and Cotter’s parent corporation and

 alleged “responsibility to indemnify Cotter,” and Generation’s alleged “responsibility to

 indemnify Cotter.” (FAP ¶¶ 22-24). However, none of these allegations, even if true, is a proper

 basis for personal jurisdiction over ComEd, Exelon, or Generation.

         It is well settled that personal jurisdiction over a parent corporation cannot be based on

 the conduct or contacts of its separately incorporated subsidiaries, except in circumstances where

 the parent exercised such control and domination over the subsidiary that it was effectively the


 period, Generation has been sued only once, also as a defendant in the Union Pacific case in which Exelon was

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 parent company’s alter ego. E.g., United States v. Bliss, 108 F.R.D. 127, 131 (E.D. Mo. 1985)

 (applying Missouri law and reasoning that, “[i]f a subsidiary’s presence in the state is primarily

 to carry on its own business and the subsidiary has preserved some semblance of independence

 from the parent, jurisdiction over the parent may not be acquired on the basis of the local

 activities.”); see also Cannon Manufacturing Company v. Cudahy Packing Company, 267 U.S.

 333, 335-37 (1925) (holding that when “the corporate separation” between a parent corporation

 and its subsidiary is “carefully maintained,” it may not be “ignored in determining the existence

 of jurisdiction”); Viasystems, Inc. v. EBM-Papst St. Georgen GmbH & Co., KG, 646 F.3d 589,

 596 (8th Cir. 2011) (“[P]ersonal jurisdiction can be based on the activities of a nonresident

 corporation’s in-state subsidiary only if the parent so controlled and dominated the affairs of the

 subsidiary that the latter’s corporate existence was disregarded so as to cause the residential

 corporation to act as the nonresidential corporate defendant’s alter ego.” (citation omitted));

 Blanks v. Fluor Corp., 450 S.W.3d 308, 375 (Mo. Ct. App. 2014) (“[T]wo separate corporations

 are regarded as wholly distinct legal entities, even if one partly or wholly owns the other.”

 (citation omitted)).

         Even taking the allegations as true, the FAP is completely devoid of any allegation that

 any Defendant exercised such control or dominion over Cotter such that jurisdiction exists over

 ComEd, Exelon, or Generation, or that Cotter was an “in-state subsidiary.” Moreover, under the

 facts that Plaintiff alleges, establishing the requisite alter-ego relationship would be impossible.

 According to the FAP, Cotter’s alleged conduct giving rise to this matter took place between

 1969 and 1973, inclusive. (See FAP ¶ 65). In contrast, no Defendant had any involvement with

 Cotter until after 1973 (if at all). According to Plaintiff’s own allegations, ComEd’s acquisition

 of Cotter did not occur until 1975 (FAP ¶ 21) (ComEd’s acquisition of Cotter actually took place


 named as a defendant. While ComEd has been sued more frequently, it was always a defendant.
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 on July 31, 1974; see Exhibit 3 at ¶ 11). Moreover, although Plaintiff does not allege when

 ComEd became a subsidiary of Exelon, ComEd, in fact, became a subsidiary of Exelon in

 October 2000, long after the operative events alleged in the FAP and after ComEd had sold

 Cotter in February 2000. (See Exhibit 3 at ¶¶ 11-12). At no point has Cotter ever been a

 subsidiary of either Exelon or Generation. (See Exhibit 4 at ¶ 11; Declaration of Katherine

 Smith on behalf of Generation, attached hereto as Exhibit 5 at ¶ 6).

        Nor does the existence of any alleged agreement by Defendants to indemnify a third party

 for Cotter’s alleged actions in connection with the Creek, even if taken as true (as required in the

 context of a motion to dismiss),4 necessarily mean that the Court can exercise personal

 jurisdiction over them, especially where they did not voluntarily agree to subject themselves to

 the jurisdiction of the courts in Missouri. Any agreement to indemnify is between the parties to

 the agreement and cannot provide a basis for a remote third party to initiate a cause of action

 against an indemnitor based on an alleged tort by the indemnitee. As a result, the alleged

 indemnity agreement here provides no basis for jurisdiction over Defendants.

        For all of the foregoing reasons, this Court lacks personal jurisdiction as to ComEd,

 Exelon, and Generation and the action must be dismissed as to those Defendants.

 II.    IN THE ALTERNATIVE, THIS ACTION MUST BE DISMISSED AS TO
        DEFENDANTS BECAUSE A PARENT CORPORATION IS NOT LIABLE FOR
        THE CONDUCT OF ITS SUBSIDIARIES.

        A.      Legal Standard

        To survive a motion to dismiss for failure to state a claim under Rule 55.27(a)(6), a

 petition must allege sufficient facts to satisfy the elements of a recognized cause of action. Avery

 Contracting, LLC v. Niehaus, 492 S.W.3d 159, 162 (Mo. 2016). “The failure to plead facts

 entitling the pleader to the relief requested . . . deprives the trial court of jurisdiction to grant”



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 such relief. Ford Motor Credit Co. v. Updegraff, 218 S.W.3d 617, 621 (Mo. Ct. App. 2007).

 Although Missouri is a “fact pleading” jurisdiction, State ex rel. United Indus. Corp. v.

 Mummert, 878 S.W.2d 494, 496 (Mo. Ct. App. 1994), a petition must “plead ultimate facts

 demonstrating” an entitlement to relief “and cannot rely on mere conclusions.” Ford Motor

 Credit Co., 218 S.W.3d at 621 (citation omitted). Thus, Missouri “[c]ourts disregard conclusions

 not supported by facts in determining whether a petition states a cause of action.” Brock v.

 Blackwood, 143 S.W.3d 47, 56 (Mo. Ct. App. 2004).

            B.      Plaintiff Cannot Establish Liability Against ComEd, Exelon, or Generation
                    Predicated Solely on a Parent-Child Relationship

            This action must be dismissed as to ComEd, Exelon, and Generation because there are no

 allegations of direct involvement by any of them relating to the events giving rise to the FAP

 apart from their corporate relationship with Cotter, which is insufficient to establish liability

 against either parent.        As discussed above, the FAP alleges that Cotter committed certain

 wrongful acts in 1973, and that subsequently, Cotter became a subsidiary of ComEd, Exelon, or

 Generation.

            For the same reason that there is no personal jurisdiction over ComEd, Exelon, and

 Generation based solely on the alleged parent-subsidiary relationship, there is also no liability. A

 parent corporation is not liable for the conduct of its subsidiaries. Ordinarily, “two separate

 corporations are regarded as wholly distinct legal entities, even if one partly or wholly owns the

 other.” Blanks, 450 S.W.3d at 375 (Mo. Ct. App. 2014) (citing Cent. Cooling & Supply Co., 648

 S.W.2d at 548 (Mo. 1982)). Accordingly, “[n]ormally, a parent corporation is not responsible

 for the acts of its subsidiary corporation.” Weitz Co. v. MH Washington, 631 F.3d 510, 520 (8th

 Cir. 2011) (citing Grease Monkey Int’l, Inc. v. Godat, 916 S.W.2d 257, 262 (Mo. Ct. App.


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     See Commercial Bank of St. Louis Co. v. James, 658 S.W.2d 17, 21-22 (Mo. 1983)

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 1995)). “The mere existence of a parent-subsidiary relationship, without more, does not subject

 a parent corporation to liability for acts of the subsidiary.” Blanks, 450 S.W.3d at 375. “[T]he

 parent-subsidiary separation should be ‘ignored with caution and only when the circumstances

 clearly justify it.’” Id. at 376 (quoting Doe 1631 v. Quest Diagnostics, Inc., 395 S.W.3d 8, 18

 (Mo. 2013)).

        There are two exceptions to the rule against finding liability for a parent corporation

 based on the conduct of its subsidiary, neither of which applies here: (1) “where one corporation

 so dominates and controls another that it becomes a mere ‘alter ego’ of the first and the formal

 corporate separateness is used to accomplish a fraud, injustice, or some unlawful purpose,”

 Weitz, 631 F.3d at 520 (citing Collet v. American Nat’l Stores, Inc., 708 S.W.2d 273, 283 (Mo.

 Ct. App. 1986)); and (2) an agency theory, whereby the principal exercises “such domination and

 control that the controlled corporation has, so to speak, no separate mind, will or existence of its

 own and is but a business conduit for its principal,” Weitz, 631 F.3d at 522 (citing Sedalia

 Mercantile Bank and Trust Co. v. Loges Farms, Inc., 740 S.W.2d 188, 202 (Mo. Ct. App. 1987)).

 See also Blanks, 450 S.W.3d at 375-80.

        Plaintiff does not allege that Cotter evolved into ComEd, or Exelon, or Generation, such

 that any of those entities is the same entity as Cotter, merely under new names. Further, Plaintiff

 does not (and cannot) allege that Cotter acted under the direction of ComEd, Exelon, or

 Generation as an agent of its alleged parent companies, as it was not a subsidiary of any at the

 time of the alleged actions that give rise to the FAP. Rather, the FAP merely alleges that Cotter

 “was purchased by and became a wholly owned subsidiary of Commonwealth Edison in 1975;”

 “[u]pon the sale of Cotter [at an unidentified time], ComEd agreed to indemnify Cotter for

 certain liabilities associated with” activities at Latty Avenue; and “Exelon, through its



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 subsidiaries including Cotter and ComEd, conducted business in Missouri.” (FAP ¶¶ 29-31).

 Simply put, these allegations are insufficient to establish either jurisdiction or liability for

 Exelon, ComEd, or Generation, as parent corporations, especially considering none was a parent

 of Cotter at the time of the alleged actions giving rise to the FAP, and indeed, Exelon and

 Generation were never parent corporations of Cotter. See Blanks, 450 S.W.3d at 375 (“The mere

 existence of a parent-subsidiary relationship, without more, does not subject a parent corporation

 to liability for acts of the subsidiary.”); (Exhibit 3 at ¶¶ 11-12; Exhibit 4 at ¶ 11; Exhibit 5 at ¶ 6).

           As stated above, under the facts alleged by Plaintiff, it is impossible for an alter ego or

 agency relationship to have existed between Cotter and ComEd, Exelon, or Generation.

 Accordingly, even taking Plaintiff’s allegations as true, this action must be dismissed as to

 ComEd, Exelon, and Generation for failure to state a claim, because Defendants, as alleged

 parent corporations, are not liable for the acts or omissions of their subsidiaries, and no

 exceptions to that general rule apply here. See Weitz, 631 F.3d at 520, 522 (applying Missouri

 law); Blanks, 450 S.W.3d at 375-80.

           Similarly, the FAP is devoid of any alleged facts against Defendants regarding any direct

 involvement by any of them with the Creek at any time relevant to this action. Accordingly, the

 FAP must be dismissed as to all three Defendants. E.g., Calon v. Bank of Am. Corp., No. 14–

 00913–CV–W–FJG, 2015 WL 3948171, at *4 (W.D. Mo. June 29, 2015) (applying Missouri law

 and stating that “[t]o bring a valid claim against [a parent company] that will survive a motion to

 dismiss, the Plaintiff must allege additional facts that implicate [the parent] directly.”) (emphasis

 added).




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                                          CONCLUSION

        Defendants ComEd, Exelon, and Generation respectfully request that this Court grant

 their motion to dismiss the FAP for lack of personal jurisdiction on, in the alternative, failure to

 state a claim upon which relief can be granted.         Plaintiff’s attempt to establish personal

 jurisdiction and liability fails, because Plaintiffs cannot rely on Defendants’ status as defendants

 in other actions within Missouri, their purported parent-subsidiary relationships with Cotter alone

 (even though none was a parent of Cotter during the operative events of the FAP ̶ or, in the

 cases of Exelon and Generation, at any time), or the mere existence of an indemnity agreement.

 Defendants also respectfully request that the Court grant the relief requested in the Motion to

 Dismiss filed by Defendant Cotter Corporation (N.S.L.) and the arguments set forth therein,

 which Defendants join.




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                                     GENERATION COMPANY, LLC




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 29, 2019, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, providing electronic service to the following:

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                                                       Company, Exelon Corporation, and Exelon
                                                       Generation Company, LLC




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                             Exhibit 1
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                            Cause No. 18SL-CC00617
                                 )




                                                                                                                                                     02, 2019
       vs.                       )                            Division No. 2
                                 )




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 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                               JURY TRIAL DEMANDED




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 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                       FIRST AMENDED CLASS ACTION PETITION

        COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

 by and through counsel, and for her First Amended Class Action Petition and causes of action

 against Defendants Cotter Corporation, Commonwealth Edison Company, Exelon Corporation,

 Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St.

 Louis Airport Authority, a department of the City of St. Louis, states and alleges as follows:

        1.      Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

 with high levels of radium from Africa. This special ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of
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 the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

 materials with less care than a reasonable person might give in moving common household

 garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

 Louis Airport, then to Hazelwood.




                                                                                                                                                        02, 2019
        2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to




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 the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout




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 North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis

 Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty

 Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing

 and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

 toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



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 found today in the real property, which contains businesses and homes, surrounding the Coldwater

 Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous




                                                                                                                                                        02, 2019
 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth




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 defects may take a number of years after exposure to the radioactive material to appear.




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        6.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the public about the widespread contamination Defendants have caused

 and minimizing the immense risks to public health and safety that resulted from Defendants’

 actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

 victims.

        8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns and resides on property in St.

 Ann, Missouri that Defendants contaminated. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek.




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 Her property, including the land and her home, is entirely within the Coldwater Creek flood plain,

 and is contaminated with radioactive waste materials from Coldwater Creek.

           9.    Testing on the Banks Property has confirmed radioactivity above normal

 background levels. The source of the radioactivity is small, microscopic particles, which among




                                                                                                                                                         02, 2019
 other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.




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           10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained




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 significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff

 for her damages, and provide further relief as set forth below in this Petition.

                                  JURISDICTION AND VENUE

           11.   This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

           12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

           13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

 States.

           14.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act.

                 A. Coldwater Creek is not and has never been a licensed nuclear facility.

                 B. Defendants have never received a license to possess, transport, or dispose of

                    any radioactive wastes on or in Coldwater Creek.

                 C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                    Creek.

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                D. Defendants did not have a license to handle the particular materials they

                    handled as alleged herein, including enriched thorium.

                E. Defendants have never entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 with respect to the




                                                                                                                                                         02, 2019
                    complained activities.




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        15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise




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 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning

 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

 concerns related to liability limitation and indemnification.

        16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

 lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

 to said Act.

        17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic wastes at issue in this Petition.

                                           THE PARTIES

                                              Plaintiffs

        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

 in St. Louis County adjacent to Coldwater Creek.

        19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages including damages to the Banks Property and the loss of use and enjoyment of the



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 property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

 material in 2018.

                                             Defendants

        20.     There are four defendants that relate in some way to Cotter Corporation, the owner




                                                                                                                                                        02, 2019
 and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation




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 (“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon




                                                                                                                                                                   06:16 PM
 Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).

        21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

 California corporation. It was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1975.

                A. Cotter continuously and systematically carries on business activities in the State

                     of Missouri in its own name, through its parent companies ComEd and Exelon,

                     as well as through its subsidiary General Atomics, Inc.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                     conduct including acts and omissions within the State of Missouri, as well as

                     the acts and omissions of the predecessors of the Cotter Defendants, which gave

                     rise to the violations of law and damage to property alleged in the Petition.

        22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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                A. ComEd continuously and systematically carries on business activities in the

                    State of Missouri, both on its own and through its subsidiaries including Cotter

                    and its parent company Exelon. In addition, ComEd owned Cotter at times

                    relevant to this Petition, and agreed to indemnify Cotter for liabilities associated




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                    with the creation, storage, transportation, and processing of hazardous, toxic,




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                    carcinogenic, radioactive wastes as alleged herein. ComEd regularly and




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                    routinely avails itself of the protection of Missouri laws in St. Louis County

                    courts, and regularly appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the ComEd Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

 corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

 including Cotter and ComEd, conducted business in Missouri.

                A. Exelon is the parent company of ComEd and, through its subsidiaries including

                    Cotter and ComEd, continuously and systematically carries out business

                    activities in the State of Missouri. Exelon regularly and routinely avails itself

                    of the protection of Missouri laws in St. Louis County courts, and regularly

                    appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

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                    the acts and omissions of the predecessors of the Exelon Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

 corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information




                                                                                                                                                        02, 2019
 and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to




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 indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,




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 LLC.

                A. Exelon Generation regularly and routinely avails itself of the protection of

                    Missouri laws in St. Louis County courts, and regularly appears to defend itself

                    in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the conduct including acts

                    and omissions of Exelon Generation and their subsidiaries, agents, and

                    representatives within the State of Missouri, which gave rise to the violations

                    of law and damage to property alleged in the Petition.

        25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri.

        26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution.

                               CLASS ACTION ALLEGATIONS

        27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

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 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

           28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

 recover damages to their property and to obtain injunctive relief in the form of a total and complete




                                                                                                                                                          02, 2019
 cleanup of the contamination and to prevent and eliminate further contamination.




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           29.     This action is maintainable as a class action and should be certified under Missouri




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 Supreme Court Rule 52.08.

           30.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

                   All Missouri citizens who currently own real property with any portion within
                   the FEMA one hundred year flood plain of Coldwater Creek in St. Louis
                   County, Missouri, bounded by St. Charles Rock Road to the southwest and
                   Old Halls Ferry Road to the northeast, as shown in the map in Figure 1 below.




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 1
     https://msc fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchresultsanchor
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                                       Figure 1. Class Area




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                                                                                                                                                                  06:16 PM
 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           31.   The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

                 All Missouri citizens who currently reside, or have resided since 1973,
                 on a property with any portion within the FEMA one hundred year
                 flood plain of Coldwater Creek in St. Louis County, Missouri, bounded
                 by St. Charles Rock Road to the southwest and Old Halls Ferry Road
                 to the northeast, as shown in the map in Figure 1 above.


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        32.     Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded is any trial judge




                                                                                                                                                        02, 2019
 who may preside over this case. The requirements for maintaining this action as a class action are




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 satisfied, as set forth immediately below.




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        33.     The proposed Class is so numerous that the individual joinder of all absent class

 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and

 belief, alleges that the proposed Class may include more than twenty-five members. The

 requirement of numerosity is therefore satisfied.

        34.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive classwide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored or

                    transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                    Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiff and Class Members’ property;

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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiff and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.




                                                                                                                                                       02, 2019
                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood




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                    Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of




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                    use and enjoyment of their property;

                f. Whether the loss in property value suffered by Plaintiff and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiff and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        36.     Plaintiff will fairly and adequately represent the interests of the members of the

 Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

 retained competent attorneys who have experience in class action litigation.

        37.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        38.     Unless a class-wide injunction is issued, Defendants will continue to allow

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 contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

 resulting in harm to thousands of Missouri citizens.

           39.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would




                                                                                                                                                         02, 2019
 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the




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 class; or (b) adjudications with respect to individual members of the class which would as a




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 practical matter be dispositive of the interests of the other members not parties to the adjudications

 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           40.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate action. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

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        42.      All of the class members are citizens of Missouri.

        43.      The principal injuries resulting from the conduct of the Defendants were incurred

 in Missouri.

        44.      The conduct alleged in this Petition took place in Missouri.




                                                                                                                                                       02, 2019
                 A. The radioactive waste at issue in this case was generated as a result of chemical




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                    processes that took place in facilities in St. Louis




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                 B. All transportation of radioactive waste alleged herein took place in Missouri

                 C. All processing of radioactive waster alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        45.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        46.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        49.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials



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 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        50.     Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other




                                                                                                                                                        02, 2019
 material. When radiation energy interacts with other material, it causes a process called ionization2




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 which can damage chemical structures. When the “other material” that ionizing radiation passes




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 through is human cells, it can cause damage within those cells resulting in mutation in genetic

 material which can lead to cancer and other harms.

        51.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        52.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the




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   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious
 health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
 cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
 health-effects
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 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

         53.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the




                                                                                                                                                             02, 2019
 individual exposed. This can be damages to the skin, reproductive system, blood forming system,




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 digestive system, central nervous system, and immune system, as well as cancers. Illnesses such




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 as cancers may take a number of years to appear.

         54.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         55.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.




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                             Radioactive Waste in the St. Louis Area




                                                                                                                                                   02, 2019
          56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in




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 association with the Manhattan Project.3 The Manhattan Project was the U.S. research project




                                                                                                                                                              06:16 PM
 designed to develop the first nuclear weapons.

          57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

 processing operations at the SLDS. The storage site(s) on and near the airport are now referred

 to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

 radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

 barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

 contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

 piles.

          60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several




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     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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 contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

 portion of SLAPS adjacent to Coldwater Creek.”

        61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

 had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri




                                                                                                                                                     02, 2019
 (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site




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 (“HISS”).




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        62.     These waste residues, which contained valuable metals, were sold and shipped to

 various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive

 wastes stored at both SLAPS and at the Latty Avenue Site .

        64.     Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

        65.     Cotter did not receive indemnity from the government in connection with this

 transaction.

        66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

        67.     Upon information and belief, Cotter did not have a license to dispose of enriched

 thorium.




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        68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

 the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

 radioactive substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)




                                                                                                                                                      02, 2019
        69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport




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 Site (“SLAPS”) site by condemnation proceedings in 1947.




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        70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were

 transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined

 cake, barium sulfate cake, and C-liner slag.

        71.     From 1953, the property was managed and operated by Mallinckrodt.

        72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        74.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes, including into Coldwater Creek.

                                         Latty Avenue Site

        75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at



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 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

 property.




                                                                                                                                                     02, 2019
        77.     Despite knowing that significant activities involving radioactive material were




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 conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of




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 hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.

                                        Coldwater Creek

        78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        80.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

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 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.




                                                                                                                                                    02, 2019
        81.     During the 1960s, some of the waste residues were transported to the Latty Avenue




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 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to




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 the Cotter Corporation.

        82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        84.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        86.     The Banks Property is contaminated by radioactive material.



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        87.      Samples taken on and around the Banks Property confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        88.      The Banks Property neighbors Coldwater Creek and is within its flood plain. This

 proximity puts the Banks Property in the direct path of radioactive particles and contamination




                                                                                                                                                       02, 2019
 spread in and by Coldwater Creek.




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        89.      The radioactive contamination that has polluted the Banks Property and continues




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 to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the

 radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        90.      This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        91.      Radioactive contamination of the Banks Property renders the Banks Property unfit

 for normal use and enjoyment, and destroys its fair market value.

        92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are

 currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

 injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                     COUNT I – TRESPASS
              (brought individually and on behalf of the Property Damage Subclass)

        93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.


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          95.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure of their proper disposal.

          96.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.




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          97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes




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 at a facility unfit to handle such wastes.




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          98.    Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the

 Property Damage Subclass (“Plaintiffs’ property”).

          99.    Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

          100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive

 wastes

          101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          102.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

          103.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          104.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

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           105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           106.   It was reasonably foreseeable that Defendants’ actions would and will continue to




                                                                                                                                                       02, 2019
 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous




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 wastes.




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           107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in

 direct physical interference with the property of Plaintiff and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff

 and of the Property Damage Subclass.

           108.   Plaintiff did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

           109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

           110.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.




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                               COUNT II – PERMANENT NUISANCE
                 (brought individually and on behalf of the Property Damage Subclass)

        111.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        112.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,




                                                                                                                                                         02, 2019
 Missouri, more particularly described above.




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        113.    Defendants unreasonably and unlawfully stored and used radioactive materials at




                                                                                                                                                                    06:16 PM
 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        114.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        115.    The radioactive waste caused by Defendants results from permanent construction

 that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the

 presence of the radioactive waste in Coldwater Creek.

        116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

 nuisance per se.

        117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.




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        118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous




                                                                                                                                                      02, 2019
 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and




                                                                                                                                                          2018 - 04:43
 enjoyment of the property.




                                                                                                                                                                 06:16 PM
        120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.

        121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                           COUNT III – TEMPORARY NUISANCE
             (brought individually and on behalf of the Property Damage Subclass)

        122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described Paragraph 11 above.

        124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        125.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.


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        126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and




                                                                                                                                                      02, 2019
 enjoyment of the Banks Property.




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        127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is




                                                                                                                                                                 06:16 PM
 substantial.

        128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                  COUNT IV – NEGLIGENCE
                         (brought individually and on behalf of the Class)

        131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        132.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers


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 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

         133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty




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 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal




                                                                                                                                                            2018 - 04:43
 of the radioactive wastes in order to prevent significant injury to property and persons.




                                                                                                                                                                   06:16 PM
         134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs

 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         135.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         136.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.




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        137.    Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

        138.      Defendants failed to act to prevent their releases from harming Plaintiffs.




                                                                                                                                                       02, 2019
        139.    Defendants knew or should have known that their generation, management,




                                                                                                                                                           2018 - 04:43
 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as




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 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

        140.    Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiff’s property.

        141.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

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           145.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                               COUNT V – NEGLIGENCE PER SE
                          (brought individually and on behalf of the Class)

           146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint




                                                                                                                                                          02, 2019
 as if each were set forth fully herein.




                                                                                                                                                              2018 - 04:43
           147.   Defendants violated Missouri regulations for Protection against Ionizing




                                                                                                                                                                     06:16 PM
 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           148.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.




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        150.    Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

        151.    Defendants’ negligence throughout the history of the mishandling and improper




                                                                                                                                                        02, 2019
 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas




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 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of




                                                                                                                                                                   06:16 PM
 applicable regulations and disregard for property rights.

        152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                 COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
                     (brought individually and on behalf of the Class)

        154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

        156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

        157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.


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         158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.




                                                                                                                                                            02, 2019
         159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,




                                                                                                                                                                2018 - 04:43
 storing, and/or disposing of radioactive waste.




                                                                                                                                                                       06:16 PM
         160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         161.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF
                         (brought individually and on behalf of the Class)

         162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

         164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiff and the proposed Class.

         165.    The radioactive contamination of the property of Plaintiff and the proposed Class

 has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and




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 Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.




                                                                                                                                                          02, 2019
        167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants




                                                                                                                                                              2018 - 04:43
 to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,




                                                                                                                                                                     06:16 PM
 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

        169.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                             COUNT VIII – PUNITIVE DAMAGES
                         (brought individually and on behalf of the Class)

        170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.


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         171.      Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

         172.      Defendants knew or had information from which, in the exercise of ordinary care,




                                                                                                                                                        02, 2019
 should have known that such conduct, as detailed above, created a high degree of probability of




                                                                                                                                                            2018 - 04:43
 injury to Plaintiff and others similarly situated.




                                                                                                                                                                   06:16 PM
         173.      The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and

 others similarly situated.

                                   COUNT IX – CIVIL CONSPIRACY
                          (brought individually and on behalf of the Class)

         174.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         175.      Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.

         176.      Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

         177.      As result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.




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                          COUNT X – INVERSE CONDEMNATION
            (brought individually and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




                                                                                                                                                      02, 2019
        179.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and




                                                                                                                                                          2018 - 04:43
 operates St. Louis Lambert International Airport, located partially on the SLAPS.




                                                                                                                                                                 06:16 PM
        180.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiff and the Property Damage Subclass for public use

 without just compensation.

        181.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        182.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

        183.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        184.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,

 in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.



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        185.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiff and the Property Damage Subclass.

        186.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                        02, 2019
 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the




                                                                                                                                                            2018 - 04:43
 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,




                                                                                                                                                                   06:16 PM
 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        187.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        188.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        189.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.

        190.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.


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        191.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION




                                                                                                                                                        02, 2019
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)




                                                                                                                                                            2018 - 04:43
        192.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as




                                                                                                                                                                   06:16 PM
 though fully set forth herein.

        193.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        194.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        195.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiff and the Property Damage Subclass.

        196.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiff or the Property Damage Subclass.




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                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

 judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

 Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a




                                                                                                                                                       02, 2019
 Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                           2018 - 04:43
 as well as awarding the following to Plaintiffs and against Defendants:




                                                                                                                                                                  06:16 PM
            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity

                including a preliminary and/or permanent injunction enjoining Defendants from

                continuing the unlawful conduct as set forth herein and directing Defendants to

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                     identify, with Court supervision, members of the Class in order to compensate them

                     and to clean up all contamination, and including medical monitoring; and

                  g. for any further relief this Court deems just and proper.

                                                  Respectfully submitted,




                                                                                                                                                         02, 2019
                                                  KEANE LAW LLC




                                                                                                                                                             2018 - 04:43
                                                   /s/ Ryan A. Keane




                                                                                                                                                                    06:16 PM
                                                  Ryan A. Keane, # 62112
                                                  Alex Braitberg, # 67045
Judge                    Division 2
                                                  7777 Bonhomme Ave., Ste. 1600
Judge                      Division 99
June 10, 2018
April    2015                                     St. Louis, MO 63105
                                                  Phone: (314) 391-4700
                                                  Fax: (314) 244-3778
                                                  ryan@keanelawllc.com
                                                  alex@keanelawllc.com

                                                  JOHNSON GRAY, LLC
                                                  Anthony D. Gray, # 51534
                                                  319 North 4th Street, Suite 212
                                                  St. Louis, MO 63102
                                                  Phone: (314) 385-9500
                                                  agray@johnsongraylaw.com

                                                  COOPER LAW FIRM, L.L.C.
                                                  Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                                  forthcoming
                                                  Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                                  forthcoming
                                                  508 St. Philip Street
                                                  New Orleans, LA 70116
                                                  Phone: (504) 566-1558
                                                  bcooper@sch-llc.com
                                                  cbrustowicz@sch-llc.com

                                                  and




                                                        39
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                                              RON AUSTIN & ASSOCIATES, L.L.C.
                                              Ron A. Austin, LA Bar # 23630, pro hac vice
                                              forthcoming
                                              920 4th Street
                                              Gretna, Louisiana 70053
                                              Phone: (504) 227-8100
                                              Fax: (504) 227-8122
                                              raustin@austin-associates.net




                                                                                                                                                 02, 2019
                                                                                                                                                     2018 - 04:43
                                              Attorneys for Plaintiffs and proposed Class




                                                                                                                                                            06:16 PM
                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 2, 2018, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Ryan A. Keane




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                             Exhibit 2
                                                                                     Electronically Filed - St Louis County - April
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                                                                   18SL-CC00617

         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and          )
 all others similarly situated,                 )
                                                )
        Plaintiff,                              )   Cause No.




                                                                                                                              February
                                                )




                                                                                                                                    29, 2019
        vs.                                     )   Division No.
                                                )




                                                                                                                                         18, 2018
 COTTER CORPORATION,                            )




                                                                                                                                              - 04:43
 Serve at:                                      )   JURY TRIAL DEMANDED
        The Corporation Company                 )




                                                                                                                                                   - 08:44
        Registered Agent for                    )




                                                                                                                                                      PM PM
        Cotter Corporation                      )
        7700 E. Arapahoe Road, Suite 220        )
        Centennial, CO 80112                    )
                                                )
 COMMONWEALTH EDISON COMPANY, )
 Serve at:                                      )
        Corporate Creations Network Inc.        )
        Registered Agent for                    )
        Commonwealth Edison Company             )
        350 S. Northwest Highway, Suite 300     )
        Park Ridge, IL 60068                    )
                                                )
 EXELON CORPORATION,                            )
 Serve at:                                      )
        Corporate Creations Network Inc         )
        Registered Agent for Exelon Corporation )
        350 S. Northwest Highway, Suite 300     )
        Park Ridge, IL 60068                    )
                                                )
 EXELON GENERATION COMPANY, LLC, )
 Serve at:                                      )
        Corporate Creations Network Inc         )
        Registered Agent for                    )
        Exelon Generation Company, LLC          )
        350 S. Northwest Highway, Suite 300     )
        Park Ridge, IL 60068                    )
                                                )
                                                )
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 DJR HOLDINGS, INC. f/k/a FUTURA                      )
 COATINGS, INC.,                                      )
 Serve:                                               )
        Rodney D. Jarboe                              )
        9200 Latty Avenue                             )
        Hazelwood, MO 63042                           )
                                                      )




                                                                                                                                               February
        and                                           )




                                                                                                                                                     29, 2019
                                                      )
 ST. LOUIS AIRPORT AUTHORITY,                         )




                                                                                                                                                          18, 2018
 A DEPARTMENT OF THE CITY OF                          )




                                                                                                                                                               - 04:43
 ST. LOUIS                                            )
 Serve:                                               )




                                                                                                                                                                    - 08:44
        Mayor Lyda Krewson                            )




                                                                                                                                                                       PM PM
        St. Louis City Hall                           )
        1200 Market St                                )
        St. Louis, MO 63103                           )
                                                      )
        Defendants.                                   )


                                  CLASS ACTION PETITION

        COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

 by and through counsel, and for her Class Action Petition and causes of action against Defendants

 Cotter Corporation, Commonwealth Edison Company, Exelon Corporation, Exelon Generation

 Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport

 Authority, a department of the City of St. Louis, states and alleges as follows:

        1.       Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

 with high levels of radium from Africa. This special ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of


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 the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

 materials with less care than a reasonable person might give in moving common household

 garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

 Louis Airport, then to Hazelwood.




                                                                                                                                                  February
                                                                                                                                                        29, 2019
        2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to




                                                                                                                                                             18, 2018
 the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout




                                                                                                                                                                  - 04:43
 North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
 Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty

 Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing

 and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

 toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



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 found today in the real property, which contains businesses and homes, surrounding the Coldwater

 Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous




                                                                                                                                                  February
                                                                                                                                                        29, 2019
 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth




                                                                                                                                                             18, 2018
 defects may take a number of years after exposure to the radioactive material to appear.




                                                                                                                                                                  - 04:43
        6.      Defendants have failed to take responsibility for their negligent behavior, failed to




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the public about the widespread contamination Defendants have caused

 and minimizing the immense risks to public health and safety that resulted from Defendants’

 actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

 victims.

        8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns property in St. Ann, Missouri

 that Defendants contaminated. Her home and property, along with the property of other members

 of the Class, is located within the one hundred year flood plain of Coldwater Creek. Her property,




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 including the land and her home, is entirely within the Coldwater Creek flood plain, and is

 contaminated with radioactive waste materials from Coldwater Creek.

           9.    Testing on the Banks Property has confirmed radioactivity above normal

 background levels. The source of the radioactivity is small, microscopic particles, which among




                                                                                                                                                   February
                                                                                                                                                         29, 2019
 other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.




                                                                                                                                                              18, 2018
           10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained




                                                                                                                                                                   - 04:43
 significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff




                                                                                                                                                                        - 08:44
                                                                                                                                                                           PM PM
 for her damages, and provide further relief as set forth below in this Petition.

                                  JURISDICTION AND VENUE

           11.   This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

           12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

           13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

 States.

           14.   Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

                 A. Coldwater Creek is not and has never been a licensed nuclear facility.

                 B. Defendants have never received a license to possess, transport, or dispose of

                    any radioactive wastes on or in Coldwater Creek.

                 C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                    Creek.

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                D. Defendants did not have a license to handle the particular materials they

                    handled as alleged herein, including enriched thorium.

                E. Defendants have never entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 with respect to the




                                                                                                                                                   February
                                                                                                                                                         29, 2019
                    complained activities.




                                                                                                                                                              18, 2018
        15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise




                                                                                                                                                                   - 04:43
 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning




                                                                                                                                                                        - 08:44
                                                                                                                                                                           PM PM
 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

 concerns related to liability limitation and indemnification.

        16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

 lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

 to said Act.

        17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic wastes at issue in this Petition.

                                           THE PARTIES

                                              Plaintiffs

        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

 in St. Louis County adjacent to Coldwater Creek.

        19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages including damages to the Banks Property and the loss of use and enjoyment of the



                                                  6
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 property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

 material in 2018.

                                             Defendants

        20.     There are four defendants that relate in some way to Cotter Corporation, the owner




                                                                                                                                                  February
                                                                                                                                                        29, 2019
 and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation




                                                                                                                                                             18, 2018
 (“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon




                                                                                                                                                                  - 04:43
 Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
        21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

 California corporation. It was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1975.

                A. Cotter continuously and systematically carries on business activities in the State

                     of Missouri in its own name, through its parent companies ComEd and Exelon,

                     as well as through its subsidiary General Atomics, Inc.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                     conduct including acts and omissions within the State of Missouri, as well as

                     the acts and omissions of the predecessors of the Cotter Defendants, which gave

                     rise to the violations of law and damage to property alleged in the Petition.

        22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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                A. ComEd continuously and systematically carries on business activities in the

                    State of Missouri, both on its own and through its subsidiaries including Cotter

                    and its parent company Exelon. In addition, ComEd owned Cotter at times

                    relevant to this Petition, and agreed to indemnify Cotter for liabilities associated




                                                                                                                                                    February
                                                                                                                                                          29, 2019
                    with the creation, storage, transportation, and processing of hazardous, toxic,




                                                                                                                                                               18, 2018
                    carcinogenic, radioactive wastes as alleged herein. ComEd regularly and




                                                                                                                                                                    - 04:43
                    routinely avails itself of the protection of Missouri laws in St. Louis County




                                                                                                                                                                         - 08:44
                                                                                                                                                                            PM PM
                    courts, and regularly appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the ComEd Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

 corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

 including Cotter and ComEd, conducted business in Missouri.

                A. Exelon is the parent company of ComEd and, through its subsidiaries including

                    Cotter and ComEd, continuously and systematically carries out business

                    activities in the State of Missouri. Exelon regularly and routinely avails itself

                    of the protection of Missouri laws in St. Louis County courts, and regularly

                    appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

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                    the acts and omissions of the predecessors of the Exelon Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

 corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information




                                                                                                                                                  February
                                                                                                                                                        29, 2019
 and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to




                                                                                                                                                             18, 2018
 indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,




                                                                                                                                                                  - 04:43
 LLC.




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
                A. Exelon Generation regularly and routinely avails itself of the protection of

                    Missouri laws in St. Louis County courts, and regularly appears to defend itself

                    in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the conduct including acts

                    and omissions of Exelon Generation and their subsidiaries, agents, and

                    representatives within the State of Missouri, which gave rise to the violations

                    of law and damage to property alleged in the Petition.

        25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri.

        26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution.

                               CLASS ACTION ALLEGATIONS

        27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all owners of real property with any portion within the FEMA one hundred year

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 flood plain of Coldwater Creek1 in St. Louis County, Missouri as detailed below.

           28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

 recover damages to their property and to obtain injunctive relief in the form of a total and complete

 cleanup of the contamination and to prevent and eliminate further contamination.




                                                                                                                                                    February
                                                                                                                                                          29, 2019
           29.     This action is maintainable as a class action and should be certified under Missouri




                                                                                                                                                               18, 2018
 Supreme Court Rule 52.08.




                                                                                                                                                                    - 04:43
           30.     The proposed class for property damage claims is defined as follows (“Property




                                                                                                                                                                         - 08:44
                                                                                                                                                                            PM PM
 Damage Subclass”):

                   All persons who currently own real property with any portion within the
                   FEMA one hundred year flood plain of Coldwater Creek in St. Louis County,
                   Missouri, bounded by St. Charles Rock Road to the southwest and Old Halls
                   Ferry Road to the northeast, as shown in the map in Figure 1 below.




 _
 1
     https://msc fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchresultsanchor
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                                       Figure 1. Class Area




                                                                                                                                                 February
                                                                                                                                                       29, 2019
                                                                                                                                                            18, 2018
                                                                                                                                                                 - 04:43
                                                                                                                                                                      - 08:44
                                                                                                                                                                         PM PM
 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           31.   The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

                 All persons who currently reside, or have resided since 1973, on a
                 property with any portion within the FEMA one hundred year flood
                 plain of Coldwater Creek in St. Louis County, Missouri, bounded by
                 St. Charles Rock Road to the southwest and Old Halls Ferry Road to
                 the northeast, as shown in the map in Figure 1 above.

           32.   Excluded from the Property Damage Subclass and the Medical Monitoring


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 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded is any trial judge

 who may preside over this case. The requirements for maintaining this action as a class action are




                                                                                                                                                  February
                                                                                                                                                        29, 2019
 satisfied, as set forth immediately below.




                                                                                                                                                             18, 2018
        33.     The proposed Class is so numerous that the individual joinder of all absent class




                                                                                                                                                                  - 04:43
 members is impracticable. While the exact number of absent Class Members is unknown to




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
 Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and

 belief, alleges that the proposed Class may include more than twenty-five members. The

 requirement of numerosity is therefore satisfied.

        34.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive classwide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored or

                    transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                    Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiff and Class Members’ property;

                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

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                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiff and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood




                                                                                                                                                 February
                                                                                                                                                       29, 2019
                    Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of




                                                                                                                                                            18, 2018
                    use and enjoyment of their property;




                                                                                                                                                                 - 04:43
                f. Whether the loss in property value suffered by Plaintiff and Class is a result of




                                                                                                                                                                      - 08:44
                                                                                                                                                                         PM PM
                    Defendants’ actions;

                g. Whether Plaintiff and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

 Class Members own land within the FEMA one hundred year flood plain of Coldwater Creek in

 St. Louis County, Missouri near the locations where Defendants recklessly stored, transported and

 dumped radioactive waste.

        36.     Plaintiff will fairly and adequately represent the interests of the members of the

 Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

 retained competent attorneys who have experience in class action litigation.

        37.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        38.     Unless a class-wide injunction is issued, Defendants will continue to allow

 contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

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 resulting in harm to thousands of Missouri citizens.

           39.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the




                                                                                                                                                   February
                                                                                                                                                         29, 2019
 class; or (b) adjudications with respect to individual members of the class which would as a




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 practical matter be dispositive of the interests of the other members not parties to the adjudications




                                                                                                                                                                   - 04:43
 or substantially impair or impede their ability to protect their interests. Upon information and




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                                                                                                                                                                           PM PM
 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           40.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate action. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

           42.   More than two-thirds of the class members are citizens of Missouri.

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        43.      The principal injuries resulting from the conduct of the Defendants were incurred

 in Missouri.

        44.      The conduct alleged in this Petition took place in Missouri.

                 A. The radioactive waste at issue in this case was generated as a result of chemical




                                                                                                                                                 February
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                    processes that took place in facilities in St. Louis




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                 B. All transportation of radioactive waste alleged herein took place in Missouri




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                 C. All processing of radioactive waster alleged herein took place in Missouri.




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                                                                                                                                                                         PM PM
                 D. All storage of radioactive waste alleged herein took place in Missouri

        45.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        46.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        49.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials

 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

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        50.     Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other

 material. When radiation energy interacts with other material, it causes a process called ionization2

 which can damage chemical structures. When the “other material” that ionizing radiation passes




                                                                                                                                                  February
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 through is human cells, it can cause damage within those cells resulting in mutation in genetic




                                                                                                                                                             18, 2018
 material which can lead to cancer and other harms.




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        51.     People are exposed to radiation in two ways: external exposure from radioactive




                                                                                                                                                                       - 08:44
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 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        52.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the

 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.




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   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious
 health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
 cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
 health-effects
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         53.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the

 individual exposed. This can be damages to the skin, reproductive system, blood forming system,

 digestive system, central nervous system, and immune system, as well as cancers. Illnesses such




                                                                                                                                                       February
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 as cancers may take a number of years to appear.




                                                                                                                                                                  18, 2018
         54.     Genetic injury is damage to the reproductive cells of the exposed individual in the




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 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the




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 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         55.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.




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                             Radioactive Waste in the St. Louis Area

          56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.3 The Manhattan Project was the U.S. research project




                                                                                                                                             February
                                                                                                                                                   29, 2019
 designed to develop the first nuclear weapons.




                                                                                                                                                        18, 2018
          57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the




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 “SLDS”) and was used to process uranium.




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          58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

 processing operations at the SLDS. The storage site(s) on and near the airport are now referred

 to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

 radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

 barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

 contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

 piles.

          60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several

  contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

 portion of SLAPS adjacent to Coldwater Creek.”




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     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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        61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

 had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri

 (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site

 (“HISS”).




                                                                                                                                               February
                                                                                                                                                     29, 2019
        62.     These waste residues, which contained valuable metals, were sold and shipped to




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 various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and




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 radioactive substances as a result.




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        63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive

 wastes stored at both SLAPS and at the Latty Avenue Site .

        64.     Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

        65.     Cotter did not receive indemnity from the government in connection with this

 transaction.

        66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

        67.     Upon information and belief, Cotter did not have a license to dispose of enriched

 thorium.

        68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

 the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

 radioactive substances along haul routes to nearby properties.



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                               Saint Louis Airport Site (“SLAPS”)

        69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.

        70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were




                                                                                                                                                February
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 transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined




                                                                                                                                                           18, 2018
 cake, barium sulfate cake, and C-liner slag.




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        71.     From 1953, the property was managed and operated by Mallinckrodt.




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        72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        74.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes, including into Coldwater Creek.

                                         Latty Avenue Site

        75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at

 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

 property.

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        77.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of

 hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.

                                        Coldwater Creek




                                                                                                                                               February
                                                                                                                                                     29, 2019
        78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The




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 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly




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 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis




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 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        80.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.

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        81.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty




                                                                                                                                              February
                                                                                                                                                    29, 2019
 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire




                                                                                                                                                         18, 2018
 FEMA one hundred year flood plain of Coldwater Creek.




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        83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and




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                                                                                                                                                                      PM PM
 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        84.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        86.     The Banks Property is contaminated by radioactive material.

        87.     Samples taken on and around the Banks Property confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        88.     The Banks Property neighbors Coldwater Creek and is within its flood plain. This

 proximity puts the Banks Property in the direct path of radioactive particles and contamination

 spread in and by Coldwater Creek.

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        89.      The radioactive contamination that has polluted the Banks Property and continues

 to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the

 radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        90.      This radioactive contamination was caused by the Defendants’ improper handling,




                                                                                                                                                 February
                                                                                                                                                       29, 2019
 storage, and disposal of radioactive materials.




                                                                                                                                                            18, 2018
        91.      Radioactive contamination of the Banks Property renders the Banks Property unfit




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 for normal use and enjoyment, and destroys its fair market value.




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                                                                                                                                                                         PM PM
        92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are

 currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

 injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                     COUNT I – TRESPASS
              (brought individually and on behalf of the Property Damage Subclass)

        93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.

        95.      Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure of their proper disposal.

        96.      Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.




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          97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a facility unfit to handle such wastes.

          98.    Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the




                                                                                                                                               February
                                                                                                                                                     29, 2019
 Property Damage Subclass (“Plaintiffs’ property”).




                                                                                                                                                          18, 2018
          99.    Defendants have caused these radioactive materials to migrate from Defendants’




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 property and other storage locations and contaminate Plaintiffs’ property.




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                                                                                                                                                                       PM PM
          100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive

 wastes

          101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          102.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

          103.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          104.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

          105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.



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           106.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff




                                                                                                                                                 February
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 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in




                                                                                                                                                            18, 2018
 direct physical interference with the property of Plaintiff and of the Property Damage Subclass.




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 Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff




                                                                                                                                                                      - 08:44
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 and of the Property Damage Subclass.

           108.   Plaintiff did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

           109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

           110.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.

                                COUNT II – PERMANENT NUISANCE
                  (brought individually and on behalf of the Property Damage Subclass)

           111.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

           112.   Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.


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        113.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        114.    The Defendants caused and contributed to the radioactive contamination of




                                                                                                                                                   February
                                                                                                                                                         29, 2019
 Plaintiffs’ property.




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        115.    The radioactive waste caused by Defendants results from permanent construction




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 that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the




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                                                                                                                                                                           PM PM
 presence of the radioactive waste in Coldwater Creek.

        116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

 nuisance per se.

        117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.

        118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous

 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of the property.



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        120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.

        121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased




                                                                                                                                              February
                                                                                                                                                    29, 2019
 property value.




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                           COUNT III – TEMPORARY NUISANCE




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             (brought individually and on behalf of the Property Damage Subclass)




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        122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as




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 though fully set forth herein.

        123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described Paragraph 11 above.

        124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        125.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.




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        127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in




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 unreasonable interference with Plaintiffs’ use and enjoyment of the property.




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        129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site




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 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs




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                                                                                                                                                                        PM PM
 from using the property.

        130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                 COUNT IV – NEGLIGENCE
             (brought individually and on behalf of the Property Damage Subclass)

        131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        132.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers

 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.




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         133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

         134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential




                                                                                                                                                  February
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 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs




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 of the fact that discharges or releases of these substances had occurred and were likely to occur in




                                                                                                                                                                  - 04:43
 the future.




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         135.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         136.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

         137.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

         138.    Defendants failed to act to prevent their releases from harming Plaintiffs.



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        139.    Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.




                                                                                                                                                  February
                                                                                                                                                        29, 2019
        140.    Upon information and belief, Defendants’ negligent training of personnel handling




                                                                                                                                                             18, 2018
 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to




                                                                                                                                                                  - 04:43
 Plaintiff’s property.




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
        141.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

        145.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.




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                              COUNT V – NEGLIGENCE PER SE
              (brought individually and on behalf of the Property Damage Subclass)

           146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.




                                                                                                                                                  February
           147.   Defendants violated Missouri regulations for Protection against Ionizing




                                                                                                                                                        29, 2019
 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and




                                                                                                                                                             18, 2018
                                                                                                                                                                  - 04:43
 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-




                                                                                                                                                                       - 08:44
 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);




                                                                                                                                                                          PM PM
 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           148.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.

           150.   Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.


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        151.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.




                                                                                                                                                  February
                                                                                                                                                        29, 2019
        152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with




                                                                                                                                                             18, 2018
 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished




                                                                                                                                                                  - 04:43
 Plaintiffs’ property value.




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
        153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
            (brought individually and on behalf of the Property Damage Subclass)

        154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

        156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

        157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.

        158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer




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 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.




                                                                                                                                                      February
                                                                                                                                                            29, 2019
         160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive




                                                                                                                                                                 18, 2018
 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.




                                                                                                                                                                      - 04:43
         161.    Accordingly, Defendants are jointly and severally liable for any and all damages




                                                                                                                                                                           - 08:44
                                                                                                                                                                              PM PM
 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF
                         (brought individually and on behalf of the Class)

         162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

         164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiff and the proposed Class.

         165.    The radioactive contamination of the property of Plaintiff and the proposed Class

 has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and

 Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.




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        166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,




                                                                                                                                                    February
                                                                                                                                                          29, 2019
 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief




                                                                                                                                                               18, 2018
 to require the Defendants to respond to the consequences of this tortious contamination by




                                                                                                                                                                    - 04:43
 providing the necessary medical monitoring in the form of environmental testing, clean-up, and




                                                                                                                                                                         - 08:44
                                                                                                                                                                            PM PM
 medical tests as indicated by the results of the scientific evaluation.

        168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

        169.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                             COUNT VIII – PUNITIVE DAMAGES
                         (brought individually and on behalf of the Class)

        170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




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         171.    .Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

         172.    Defendants knew or had information from which, in the exercise of ordinary care,




                                                                                                                                                 February
                                                                                                                                                       29, 2019
 should have known that such conduct, as detailed above, created a high degree of probability of




                                                                                                                                                            18, 2018
 injury to Plaintiff and others similarly situated.




                                                                                                                                                                 - 04:43
         173.    The willful, wanton and malicious acts of Defendants, as detailed above, evidence




                                                                                                                                                                      - 08:44
                                                                                                                                                                         PM PM
 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and

 others similarly situated.

                         COUNT IX – INVERSE CONDEMNATION
            (brought individually and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

         174.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         175.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

         176.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiff and the Property Damage Subclass for public use

 without just compensation.

         177.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

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        178.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

        179.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be




                                                                                                                                                  February
                                                                                                                                                        29, 2019
 leached from the site into Coldwater Creek.




                                                                                                                                                             18, 2018
        180.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                                  - 04:43
 in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
 operation and maintenance of St. Louis Lambert International Airport.

        181.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiff and the Property Damage Subclass.

        182.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                 COUNT X – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        183.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




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        184.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        185.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.




                                                                                                                                                  February
                                                                                                                                                        29, 2019
        186.    The conduct of the St. Louis Airport Authority, a department of the City of St.




                                                                                                                                                             18, 2018
 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,




                                                                                                                                                                  - 04:43
 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and




                                                                                                                                                                       - 08:44
                                                                                                                                                                          PM PM
 enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.

        187.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

                COUNT XI – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        188.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        189.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        190.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,




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 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        191.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,




                                                                                                                                                 February
                                                                                                                                                       29, 2019
 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property




                                                                                                                                                            18, 2018
 of Plaintiff and the Property Damage Subclass.




                                                                                                                                                                 - 04:43
        192.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has




                                                                                                                                                                      - 08:44
                                                                                                                                                                         PM PM
 provided compensation for these takings to Plaintiff or the Property Damage Subclass.

                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

 judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

 Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a

 Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,

 as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

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             537.330;

          c. an award of punitive and exemplary damages as fair and reasonable in an amount

             sufficient to punish Defendants and to deter similar conduct in the future;

          d. costs and attorney fees;




                                                                                                                                           February
                                                                                                                                                 29, 2019
          e. interest on the above amounts as allowed by law;




                                                                                                                                                      18, 2018
          f. for appropriate injunctive and equitable relief, as permitted by law or equity




                                                                                                                                                           - 04:43
             including a preliminary and/or permanent injunction enjoining Defendants from




                                                                                                                                                                - 08:44
                                                                                                                                                                   PM PM
             continuing the unlawful conduct as set forth herein and directing Defendants to

             identify, with Court supervision, members of the Class in order to compensate them

             and to clean up all contamination, and including medical monitoring; and

          g. for any further relief this Court deems just and proper.

                                          Respectfully submitted,

                                          KEANE LAW LLC

                                           /s/ Ryan A. Keane

                                          Ryan A. Keane, # 62112
                                          Alex Braitberg, # 67045
                                          7777 Bonhomme Ave., Ste. 1600
                                          St. Louis, MO 63105
                                          Phone: (314) 391-4700
                                          Fax: (314) 244-3778
                                          ryan@keanelawllc.com
                                          alex@keanelawllc.com

                                          JOHNSON GRAY, LLC
                                          Anthony D. Gray, # 51534
                                          319 North 4th Street, Suite 212
                                          St. Louis, MO 63102
                                          Phone: (314) 385-9500
                                          agray@johnsongraylaw.com

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                                    COOPER LAW FIRM, L.L.C.
                                    Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                    forthcoming
                                    Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                    forthcoming
                                    508 St. Philip Street




                                                                                                                                    February
                                    New Orleans, LA 70116




                                                                                                                                          29, 2019
                                    Phone: (504) 566-1558
                                    bcooper@sch-llc.com




                                                                                                                                               18, 2018
                                    cbrustowicz@sch-llc.com




                                                                                                                                                    - 04:43
                                    and




                                                                                                                                                         - 08:44
                                                                                                                                                            PM PM
                                    RON AUSTIN & ASSOCIATES, L.L.C.
                                    Ron A. Austin, LA Bar # 23630, pro hac vice
                                    forthcoming
                                    920 4th Street
                                    Gretna, Louisiana 70053
                                    Phone: (504) 227-8100
                                    Fax: (504) 227-8122
                                    raustin@austin-associates.net

                                    Attorneys for Plaintiffs and proposed Class




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                             Exhibit 3
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all            )
 others similarly situated,                           )
                                                      )
        Plaintiff,                                    )   Cause No. 18SL-CC00617-01
                                                      )
                vs.                                   )   Division No. 18
                                                      )
 COTTER CORPORATION,                                  )
 COMMONWEALTH EDISON COMPANY,                         )
 EXELON CORPORATION,                                  )
 EXELON GENERATION COMPANY, LLC,                      )
 DJR HOLDINGS, INC. f/k/a FUTURA                      )
 COATINGS, INC., and ST. LOUIS AIRPORT                )
 AUTHORITY, A DEPARTMENT OF THE                       )
 CITY OF ST. LOUIS,                                   )
                                                      )
        Defendants.                                   )

                               DECLARATION OF BRIAN BUCK

        I, Brian Buck, hereby declare and state as follows:

    1. I am an Assistant Secretary of Commonwealth Edison Company (“ComEd”).

    2. I am an adult citizen and resident of the State of Illinois and am competent to provide this

 Declaration. I am providing this Declaration based on my own personal knowledge, and on

 documents, records, and information of ComEd available to me in my position as an Assistant

 Secretary of ComEd.

    3. ComEd is a corporation organized and existing under the laws of Illinois, having its

 principal place of business at 440 South LaSalle Street, Chicago, Illinois 60605-1028.

    4. ComEd is not registered to do business in Missouri.

    5. ComEd is not doing business in Missouri.

    6. ComEd has not transacted business in Missouri with respect to any matter which is the

 subject of the Complaint filed in this action.
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       7. CornEd ofTers no products or services within Missouri.

       8. CornEd has no employees in Missouri.

       9. CornEd does not own or lease any real propel1y or facilities in Missouri.

       10. CornEd does not maintain an office to do business in Missouri.

       11. CornEd acquired    Cotter Corporation    (N.S.L.), a New Mexico corporation,   on July 31,

    1974, and divested it in February 2000.

       12. ContEd became a subsidiary of Exelon Corporation in October 2000.




           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on April?~    2019.




                                                          Brian Buck
                                                          Assistant Secretary
                                                          Commonwealth Edison Company




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                             Exhibit 4
                                                                                                      Electronically Filed - St Louis County - April 29, 2019 - 04:43 PM
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           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all             )
 others similarly situated,                            )
                                                       )
        Plaintiff,                                     )   Cause No. 18SL-CC00617-01
                                                       )
                vs.                                    )   Division No. 18
                                                       )
 COTTER CORPORATION,                                   )
 COMMONWEALTH EDISON COMPANY,                          )
 EXELON CORPORATION,                                   )
 EXELON GENERATION COMPANY, LLC,                       )
 DJR HOLDINGS, INC. f/k/a FUTURA                       )
 COATINGS, INC., and ST. LOUIS AIRPORT                 )
 AUTHORITY, A DEPARTMENT OF THE                        )
 CITY OF ST. LOUIS,                                    )
                                                       )
        Defendants.                                    )

                          DECLARATION OF CARTER C. CULVER

        I, Carter C. Culver, hereby declare and state as follows:

    1. I am the Assistant Secretary of Exelon Corporation (“Exelon”).

    2. I am an adult citizen and resident of the State of Illinois and am competent to provide this

 Declaration. I am providing this Declaration based on my own personal knowledge, and on

 documents, records, and information of Exelon available to me in my position as the Secretary of

 Exelon.

    3. Exelon is a corporation organized and existing under the laws of Pennsylvania, having its

 principal place of business at 10 South Dearborn Street, Chicago, Illinois 60680.

    4. Exelon is not registered to do business in Missouri.

    5. Exelon is not doing business in Missouri.

    6. Exelon has not transacted business in Missouri with respect to any matter which is the

 subject of the Complaint filed in this action.
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      7. Exelon offers no products or services within Missouri.

      8. Exelon has no employees in Missouri.

      9. Exelon does not own or lease any real property or facilities in Missouri.

       10. Exelon does not maintain an office to do business in Missouri.

       11. At no time has Cotter Corporation (N.S.L.), a New Mexico corporation, ever been a

   subsidiary of Exelon.



          I declare under penalty of perjury that the foregoing is true and corr ct.

          Executed on April~,    2019.




                                                        Assistant Secretary
                                                        Exelon Corporation




                                                   2
                                                                                      Electronically Filed - St Louis County - April 29, 2019 - 04:43 PM
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                             Exhibit 5
                                                                                      Electronically Filed - St Louis County - April 29, 2019 - 04:43 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and           )
 all others similarly situated,                  )
                                                 )
        Plaintiff,                               )          Cause No. 18SL-CC00617-01
                                                 )
                vs.                              )          Division No. 18
                                                 )
 COTTER CORPORATION,                             )
 COMMONWEALTH EDISON                             )
 COMPANY, EXELON CORPORATION,                    )
 EXELON GENERATION COMPANY,                      )
 LLC, DJR HOLDINGS, INC. f/k/a                   )
 FUTURA COATINGS, INC., and ST.                  )
 LOUIS AIRPORT AUTHORITY, A                      )
 DEPARTMENT OF THE CITY OF ST.                   )
 LOUIS,                                          )
                                                 )
        Defendants.                              )

                                         [PROPOSED] ORDER

        AND NOW, this _______ day of __________ 2019, upon consideration of Defendants

 Commonwealth Edison Company, Exelon Corporation, and Exelon Generation Company, LLC’s

 (together, “Defendants”) motion to dismiss Plaintiff’s first amended class-action petition

 (“Motion”), and of the submissions of the parties relating thereto, and for good cause shown,

        IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED and Plaintiff’s

 first amended class-action petition is DISMISSED in its entirety with prejudice as to

 Defendants.


        IT IS SO ORDERED.

 DATED:
                                                      J.
                                                                                         Electronically Filed - St Louis County - April 29, 2019 - 04:33 PM
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and       )
 all others similarly situated,              )
                                             )
       Plaintiff,                            )         Cause No. 18SL-CC00617-01
                                             )
               vs.                           )         Division No. 18
                                             )
 COTTER CORPORATION,                         )
 COMMONWEALTH EDISON                         )
 COMPANY, EXELON CORPORATION,                )
 EXELON GENERATION COMPANY,                  )
 LLC, DJR HOLDINGS, INC. f/k/a               )
 FUTURA COATINGS, INC., and ST.              )
 LOUIS AIRPORT AUTHORITY, A                  )
 DEPARTMENT OF THE CITY OF ST.               )
 LOUIS,                                      )
                                             )
       Defendants.                           )


                               ENTRY OF APPEARANCE

       COMES NOW Erin L. Brooks of Bryan Cave Leighton Paisner LLP enters her

 appearance as counsel for Defendants Cotter Corporation, Commonwealth Edison Company,

 Exelon Corporation, and Exelon Generation Company, LLC in the above captioned case.



 Dated: April 29, 2019                    Respectfully submitted,
                                          BRYAN CAVE LEIGHTON PAISNER LLP

                                          By:/s/ Erin L. Brooks
                                            Erin L. Brooks, MO #62764
                                            erin.brooks@bclplaw.com
                                            211 North Broadway, Suite 3600
                                            St. Louis, MO 63102
                                            (314) 259-2000 (telephone)
                                            (314) 259-2020 (facsimile)

                                             Attorneys for Defendants
                                                                                                      Electronically Filed - St Louis County - April 29, 2019 - 04:33 PM
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                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that on April 29, 2019, a true and correct copy of the
 foregoing was electronically filed with the Clerk of the Court using the electronic filing system,
 providing electronic service to all counsel of record.


                                                  /s/ Erin L. Brooks




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                                       IN THE CIRCUIT COURT
                                   OF ST. LOUIS COUNTY, MISSOURI

 TAMIA BANKS, on behalf of herself and all
 others similarly situated,
                                                                  Civil Action No. 18SL-CC00617-01
                                    Plaintiff,
                                                                  Division No. 18
         v.
                                                                  MOTION TO DISMISS
 COTTER CORPORATION,                                              PLAINTIFF’S AMENDED CLASS-
 COMMONWEALTH EDISON COMPANY,                                     ACTION PETITION AND
 EXELON CORPORATION, EXELON                                       SUGGESTIONS OF LAW IN
 GENERATION COMPANY, LLC, DJR                                     SUPPORT OF MOTION
 HOLDINGS, INC, AND ST. LOUIS AIRPORT
 AUTHORITY, A DEPARTMENT OF THE
 CITY OF ST. LOUIS,

                                    Defendants.



         Defendant Cotter Corporation (N.S.L.) (“Cotter”) (improperly named as Cotter

 Corporation) moves to dismiss the first amended class-action petition (“FAP”) of Plaintiff Tamia

 Banks (“Plaintiff”) pursuant to Missouri Rules of Civil Procedure 55.05 and 55.27(a)(6) on the

 basis that Plaintiff has failed to state a claim upon which relief can be granted, because her

 claims are wholly preempted by a federal statute as set forth in the following suggestions of law

 in support. Defendants Commonwealth Edison Company, Exelon Corporation, and Exelon

 Generation Company, LLC (collectively, “Exelon Defendants”)1 also join this motion.

         As discussed in this motion and suggestions of law, Plaintiff’s substantive state law

 causes of action against Cotter and the Exelon Defendants are completely preempted by the

 Price-Anderson Act (“PAA”), because Plaintiff’s claims arise from and relate to a nuclear


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  The Exelon Defendants are not alleged to have taken any independent actions relevant to Plaintiff’s claims, but
 have been named as defendants solely because of their purported corporate relationship(s) to Cotter. See FAP at ¶¶
 22-24 (Exhibit 1). The Exelon Defendants have separately moved to dismiss Plaintiff’s claims on the basis this
 Court lacks jurisdiction over the Exelon Defendants.
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 incident.   Even assuming Plaintiff had asserted a claim under the PAA, that claim would

 necessarily fail because Plaintiff has not alleged an essential element: Cotter’s breach of the

 federal dose and effluent limits. Furthermore, Plaintiff is not entitled to medical monitoring,

 diminution in property value, or emotional distress damages, because she has not pleaded the

 requisite elements for these claims and/or because the PAA does not allow for such relief. Even

 if Plaintiff’s state law claims were not preempted by the PAA, therefore, they are all defectively

 pleaded and should be dismissed. And because Plaintiff’s substantive claims fail as a matter of

 law, her claims for injunctive relief and punitive damages should be dismissed.              Finally,

 Plaintiff’s class allegations should be dismissed for failure to state a claim upon which relief can

 be granted, and also because her class definitions are impermissibly overbroad and do not meet

 the required elements of Rule 52.08(a).

                                         INTRODUCTION

        As set forth herein, the PAA preempts state law claims pertaining to public liability

 arising from a nuclear incident and provides an exclusive federal cause of action. Although the

 PAA provides that any right to relief on Plaintiff’s claims would arise under an exclusive federal

 cause of action, the PAA applies in full when a case falling within its ambit is litigated in a state

 court forum. Put simply, the PAA applies in this forum and this Court should determine that

 Plaintiff’s claims are preempted by the PAA. Because the Plaintiff has not alleged facts stating a

 claim under the PAA, the motion to dismiss should be granted.

        The United States District Court for the Eastern District of Missouri remanded this case

 after being unable to conclusively determine that the PAA preempted Plaintiff’s claims, and

 finding that it accordingly lacked subject matter jurisdiction over the case. The case will now

 proceed before this Court, and nothing prevents this Court from affirmatively finding that the



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 PAA preempts Plaintiff’s claims in this case. The federal court’s determination as to the forum

 is binding on remand; its determination (or lack thereof) on the substantive law is not.

        Indeed, it is imperative that this Court consider the applicability of the PAA afresh. The

 federal court missed the mark in following the outdated precedent in Gilberg and Strong and in

 its review of Cotter’s license. Defendants had no opportunity to seek review in federal court.

 This Court is free to revisit the issue and to make its own independent determination.

                   ALLEGATIONS IN THE FIRST AMENDED PETITION

        Plaintiff alleges the following in her First Amended Petition: Plaintiff is a citizen of the

 state of Missouri, and owns and resides on certain real property she contends is contaminated

 with radioactive materials emitted from nearby Coldwater Creek. See generally FAP at ¶¶ 2-4,

 18-24. By way of background, from 1942 to 1957, uranium ore was processed at a site in

 downtown St. Louis (“SLDS”) in connection with the United States’ efforts under the Manhattan

 Project to develop the first nuclear weapons. See id. at ¶¶ 56-57. In the late 1940s, the United

 States government purchased a 21.7-acre tract of land near the Lambert-St. Louis International

 Airport (“Airport”) to store materials generated from processing activities at SLDS. See id. at ¶

 58. This site is commonly referred to as the St. Louis Airport Site (“SLAPS”). Id.

        Thereafter, various radioactive materials resulting from operations at SLDS were stored

 at SLAPS, and in 1957, radioactively impacted materials were buried on a portion of SLAPS

 adjacent to Coldwater Creek. See id. at ¶¶ 59-60. Plaintiff contends that in the 1960s, some

 radioactive materials that had been stored at SLAPS were moved to a site at Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”) by an unnamed entity, including a portion of the

 Latty Avenue Site that later became known as the Hazelwood Interim Storage Site (“HISS”),

 which resulted in the contamination of the Latty Avenue Site. See id. at ¶¶ 61-62. Nowhere in



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 her FAP does Plaintiff allege that Cotter or any of the other Defendants had any role in the

 handling of radioactive materials during this time.

          In the late 1960s, Cotter allegedly purchased some of the radioactive materials (including

 purported “enriched thorium”) stored at SLAPS and the Latty Avenue Site from the United

 States government, which Cotter allegedly stored, processed, and transported at SLAPS and the

 Latty Avenue Site between 1969 and 1973. See FAP at ¶¶ 63-66. Plaintiff also alleges that “[i]n

 1969, the hazardous, toxic, and radioactive wastes [sic] residues at Latty Avenue were sold to the

 Cotter Corporation.”2        Id. at ¶ 81.       According to Plaintiff, various transport and handling

 activities to and from SLDS, SLAPS, the Latty Avenue Site, and HISS contaminated “haul

 routes to nearby properties.” See id. at ¶ 68.

          Plaintiff claims that “radioactive wastes have migrated from the SLAPS, HISS, and Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire .

 . . one hundred year flood plain of Coldwater Creek.” See id. at ¶¶ 69-85. Plaintiff contends that

 her property is within the one-hundred-year flood plain of Coldwater Creek, that there is

 radioactive contamination present on her property, that this contamination is linked to

 radioactive materials “generated in the processing of uranium ores in the St. Louis area,” and that

 it is the result of the “improper handling, storage and disposal of radioactive materials.” See id. at

 ¶¶ 86-90. Plaintiff claims that the alleged radioactive contamination of her property renders it

 unfit for normal use and enjoyment. See id. at ¶ 91.




 2
   Plaintiff’s allegations are thus internally inconsistent, as Cotter could not have purchased the materials at SLAPS
 and then purchased those same materials at Latty Avenue again in 1969. Indeed, publicly available documents filed
 in connection with federal court briefing in this action show that an entity called Continental Mining & Milling Co.
 (“CMM”), not Cotter, purchased the materials remaining at SLAPS in 1966 from the United States, underscoring
 these pleading inconsistencies. See 4:18-cv-000624 (JAR), Doc. No. 36-1 at pages 4-17.

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                                        PROCEDURAL HISTORY

         On February 21, 2018, Plaintiff filed a class-action petition in the Circuit Court of St.

 Louis County, Missouri, and, on April 2, 2018, filed the FAP.

         Plaintiff’s FAP asserts various state-law claims against Defendants seeking monetary

 recovery stemming from purported damage to her property, alleging civil conspiracy on the part

 of the Defendants, requesting injunctive relief in the form of medical monitoring and the

 remediation of her property, and asking for punitive damages.3

         Defendants collectively removed this action to the United States District Court for the

 Eastern District of Missouri on April 18, 2018, on the basis of subject matter jursidiction.

 Defendants removed the action because Plaintiff’s state-law causes of action are preempted by

 the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq., which provides a retroactive, federal

 public liability cause of action for all tort claims stemming from nuclear incidents and radiation

 injuries, and which vests original jurisdiction in the federal courts. Plaintiff’s claims arise from

 an alleged nuclear incident and consequent radiation injuries to property. Liability for such

 claims is accordingly governed by the PAA.

         Plaintiff moved to remand the action, and the federal district court agreed, holding

 Defendants could not conclusively establish that Cotter’s license provided subject matter

 jurisdiction for purposes of the PAA. Banks v. Cotter Corp., 4:18-CV-00624-JAR, Dkt. 75 at

 17-18 (E.D. Mo. Mar. 29, 2019).4 After explaining that courts generally resolve doubts about

 federal jurisdiction in favor of remand, the federal court noted a split in the courts as to whether a

 license or indemnity agreement was a prerequisite to establishing subject matter jurisdiction

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   Counts X through XII of the FAP assert claims solely against the St. Louis Airport Authority for inverse
 condemnation and violations of the Missouri state constitution. See FAP at ¶¶ 178-196. Accordingly, those Counts
 are not addressed here.
 4
   The parties and the District Court do not dispute that Cotter had a license. See Memorandum and Order, 4:18-cv-
 000624 (JAR), Doc. No. 75 at 10, n. 10; see also Doc. No. 52-2.

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 pursuant to the PAA. Id. at 4, 13 (explaining that courts have concluded this requirement would

 run contrary to the PAA’s plain text and legislative history). Adopting the view that a license

 was required to establish jurisdiction, the federal court found it could not determine whether the

 material at issue was covered by Cotter’s license.          Faced with “competing preemption

 narratives,” the federal court concluded that subject matter jurisdiction could not be conclusively

 established. Id. at 17–18. The case was remanded to this Court on March 29, 2019.

        Cotter and the Exelon Defendants now move to dismiss the FAP because Plaintiff’s

 claims are preempted by the PAA and nothing prevents this Court on remand from making its

 own determination that the claims are preempted by the PAA. In the alternative, even if this

 Court concludes that the PAA does not preempt Plaintiff’s claims (which it should not), the FAP

 should still be dismissed, because the common law standard of care is the federal dosage and

 effluent limits, and Plaintiff has failed to allege sufficient facts establishing a breach of those

 standards.



                                      LEGAL ARGUMENT

        Motions to dismiss serve as the primary way to dispose of baseless claims. See ITT

 Commercial Finance Corp. v. Mid–America Marine Supply Corp., 854 S.W.2d 371, 380 (Mo.

 banc 1993). Missouri requires fact pleading. Id. A plaintiff must allege a “short and plain

 statement of the facts showing that the pleader is entitled to relief.” Mo. R. Civ. P. 55.05.

 Ultimate facts on which a jury could return a verdict for the plaintiff must be pleaded—

 evidentiary facts are not sufficient. R.M.A. by Appleberry v. Blue Springs R-IV Sch. Dist., 568

 S.W.3d 420, 425 (Mo. 2019), reh’g denied (Apr. 2, 2019).




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        A motion to dismiss for failure to state a claim on which relief can be granted attacks the

 sufficiency of a plaintiff’s pleadings. In re T.Q.L., 386 S.W.3d 135, 139 (Mo. banc 2012). In

 reviewing a petition, a court “must accept all properly pleaded facts as true, giving the pleadings

 their broadest intendment, and construe all allegations favorably to the pleader.” Bromwell v.

 Nixon, 361 S.W.3d 393, 398 (Mo. banc 2012).              Factual allegations are not weighed for

 credibility or persuasiveness; a court only reviews “to determine if the facts alleged meet the

 elements of a recognized cause of action.” Id. “In order to survive the motion, the petition must

 ‘invoke substantive principles of law entitling plaintiff to relief and . . . ultimate facts informing

 the defendant of that which plaintiff will attempt to establish at trial.’” In re T.Q.L., 386 S.W.3d

 at 139 (quoting State ex rel. Henley v. Bickel, 285 S.W.3d 327, 329 (Mo. banc 2009)).

 I.     The Price-Anderson Act Applies and Preempts the State Law Causes of Action.

        A.      The Price-Anderson Act Preempts Claims Litigated in State Courts.

        This Court has concurrent jurisdiction to adjudicate claims arising under the PAA. The

 PAA’s jurisdictional clause provides federal courts with original—but not necessarily

 exclusive—jurisdiction. 42 U.S.C. § 2210(n)(2) (“With respect to any public liability action

 arising out of or resulting from a nuclear incident, the United States district court in the district

 where the nuclear incident takes place . . . shall have original jurisdiction without regard to the

 citizenship of any party or the amount in controversy.”). Section 2210(n)(2) both vests federal

 courts with original jurisdiction and provides for removal to federal court on a party’s motion

 within 30 days of the action becoming removable. Id. While there is a strong Congressional

 preference for PAA claims to be heard in federal court (as discussed further below), the PAA’s

 jurisdictional provision expressly contemplates the possibility that the PAA may also apply to




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 claims litigated in state court, as it requires parties to affirmatively move to remove the action

 and to do so within 30 days. See id.

         Because Congress has indicated a strong preference that PAA claims be litigated in a

 federal forum, these cases are routinely removed to federal court. See El Paso Nat. Gas Co. v.

 Neztsosie, 526 U.S. 473, 484–85 (1999) (noting that Congress has “expressed an unmistakable

 preference for a federal forum” in litigating PAA claims). Congress’s preference for a federal

 forum also applies in determining the applicability of the PAA when removal is contested. Id.

 As a result, the vast majority of cases involving claims related to radioactive materials are

 litigated in federal court. This congressional preference as to forum does not speak to the PAA’s

 substantive applicability in state court, however.

         The PAA (and its preemptive effect) applies with equal force in state courts. Osarczuk v.

 Associated Univs., Inc., 36 A.D. 3d 872, 874 (N.Y. App. Div. 2007) (holding that the PAA

 preempted state law claims and affirming the trial court’s grant of summary judgment on the

 claim arising under the PAA); Ne. Ohio Reg’l Sewer Dist. v. Advanced Med. Sys., Inc., 666

 N.E.2d 612, 614 (Ohio Ct. App. 1995) (holding that PAA actions can be brought in state court

 because the Act provides federal courts with original but not exclusive jurisdiction). The PAA

 preempts state law claims and provides an exclusive federal cause of action. See El Paso

 Natural Gas, 526 U.S. at 477. But this Court, as one of general jurisdiction, can adjudicate

 federal causes of action. Congress preempted state law claims in enacting the PAA; it did not

 strip state courts of jurisdiction to adjudicate PAA claims.       See 42 U.S.C. § 22019(n)(2)

 (providing federal courts with original, not exclusive, jurisdiction). Accordingly, there is no bar

 to this Court determining that the PAA governs this action simply because the action is being

 litigated in a state forum.



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        B.      This Court Is Entitled to Reach its Own Independent Conclusion About the
                Applicability of the Price-Anderson Act to Plaintiff’s Claims.

        As discussed above, the federal court had a duty to remand the case when faced with

 competing preemption narratives. While that court did draw interim conclusions concerning the

 application of the PAA more generally, the federal court did not reach a definitive conclusion as

 to whether the PAA applies to Plaintiff’s claims here. Regardless, the only aspect of the federal

 court’s decision that is binding on this Court is the determination that the action will be litigated

 in this forum. It is this Court’s determination of the substantive law that will govern the action,

 and this Court has the opportunity to get the law right.

        When a case is remanded, a state court is free to reject the remanding court’s reasoning.

 Kircher v. Putnam Funds Tr., 547 U.S. 633, 647 (2006). Collateral estoppel is not a bar to

 revisiting an issue because 42 U.S.C. § 1447(d) precludes appellate review of the remand order.

 Id. While a state court does not review the remanding court’s decision in an “appellate way,” the

 determinations in remand orders are open to revision even where the remand’s basis “coincides

 entirely with the merits of the federal question.”         Id. (emphasis added).      The only issue

 conclusively decided by a remand order is the forum. Id.

        Missouri law recognizes not only the propriety of this court making its own

 determination about legal issues following remand, but has even specifically recognized that on

 remand the court can determine that the claims are preempted and dismiss the case. Breeden v.

 Hueser, 273 S.W.3d 1, 9 (Mo. Ct. App. 2008). This independent analysis is warranted even

 where the federal court had determined the claims were not preempted by the federal act, and

 had on that basis, remanded the case. Id. Although “the federal district court already addressed

 the issue of preemption of [plaintiffs’] claims by the [federal act] in its remand to state court, this

 does not prevent a state court from thereafter dismissing the case based on its own determination

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 that the claims are preempted.” Id. (citing Kircher, 547 U.S. at 646–67). The court proceeded to

 analyze independently whether the claims were preempted. Id.

        Breeden is squarely on point. 273 S.W.3d at 9. Although the federal court remanded this

 case based on its inability to definitively conclude that the PAA conferred subject matter

 jurisdiction in this case, this Court is not precluded from making its own determination that the

 PAA preempts Plaintiff’s claims. As in Breeden, this Court should undertake an independent

 analysis of the PAA preemption issue.

        Nor is the federal court’s analysis owed any weight by this Court. Due to the lack of

 appellate review in the federal forum, comity considerations do not favor deference to the

 remanding court. The unavailability of appellate review in the federal forum actually weighs in

 favor of robust independent analysis by this Court.         It is ultimately this Court’s legal

 determinations that will be subject to appellate review. There is no bar to this Court determining

 that the PAA applies and preempts Plaintiff’s claims and then dismissing the PAA claim.

        C.      The Price-Anderson Act Preempts Plaintiff’s State-Law Claims in this
                Action and Provides the Exclusive, Retroactive Cause of Action for Claims
                Arising from Nuclear Incidents or Radiation Injuries.

        Because Plaintiff’s state law causes of action arise from a nuclear incident and seek

 recovery for radiation injuries, Plaintiff’s claims are governed by the PAA, which Congress

 enacted in 1957 to “encourage the development of the nuclear industry.” 42 U.S.C. § 2012(i);

 Duke Power Co. v. Carolina Envtl. Study Group, Inc., 438 U.S. 59, 64 (1978). Over the past 60

 years, the federal government has regulated the use and processing of radioactive materials

 through a comprehensive federal scheme, which preempts the states from regulating the health

 and safety aspects of essentially all radioactive materials. See, e.g., Pacific Gas & Elec. Co. v.




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 State Energy Res. Conservation & Dev. Comm’n, 461 U.S. 190, 208 (1983); Skull Valley Band of

 Goshute Indians v. Nielson, 376 F.3d 1223, 1240-45 (10th Cir. 2004).

        In response to the proliferation of lawsuits arising out of the 1979 Three Mile Island

 incident, Congress amended the PAA in 1988 to create an exclusive, retroactive, federal cause of

 action—called a “public liability action”—for any “public liability” arising from a “nuclear

 incident.” See El Paso Natural Gas Co., 526 U.S. at 477; In re TMI Litig. Cases Consol. II, 940

 F.2d 832, 857 (3d Cir. 1991); see also Pub. L. No. 100-408 § 20(b)(1), 102 Stat. 1084 (“The

 amendments governing judicial review of claims arising out of a [nuclear incident] shall apply to

 incidents occurring before, on, or after the date of the enactment of this Act.”). A “public

 liability action” is “any suit asserting public liability,” which “shall be deemed to be an action

 arising under [the PAA], and the substantive rules for decision in such action shall be derived

 from the law of the State in which the nuclear incident involved occurs, unless such law is

 inconsistent with the provisions of such section.” 42 U.S.C. § 2014(hh) (emphasis added). The

 U.S. Supreme Court has observed:

        This structure, in which a public liability action becomes a federal action, but one
        decided under substantive state-law rules of decision that do not conflict with the
        [PAA], resembles what we have spoken of as complete preemption doctrine,
        under which the pre-emptive force of a statute is so extraordinary that it converts
        an ordinary state common-law complaint into one stating a federal claim for
        purposes of the well-pleaded complaint rule.

 Neztsosie, 526 U.S. at 484, n.6 (emphasis added).

        The PAA defines “public liability” as “any legal liability arising out of or resulting from

 a nuclear incident . . . .” 42 U.S.C. § 2014(w). In turn, the PAA defines a “nuclear incident” as

 “any occurrence . . . within the United States causing . . . loss of or damage to property, or loss of

 use of property, arising out of or resulting from the radioactive, toxic, explosive, or other

 hazardous properties of source, special nuclear, or byproduct material.”             Id. § 2014(q).

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 Therefore, under the plain language of § 2014(hh), the PAA will apply to “any suit asserting

 public liability,” arising from a “nuclear incident.”

        The overwhelming majority of federal circuit courts have determined that state law

 causes of action arising from nuclear incidents and radiation injuries are entirely preempted by

 the PAA. See McClurg v. MI Holdings, 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013). In Adkins

 v. Chevron Corp., the district court canvassed federal case law and found that virtually every

 federal court to address the issue has held the PAA “completely preempts state law causes of

 action for public liability arising out of or resulting from nuclear incidents.” 960 F. Supp. 2d

 761, 767 (E.D. Tenn. 2012) (citing In re Berg Litig., 293 F.3d 1127, 1132 (9th Cir. 2002) (PAA

 is “exclusive means” for pursuing claims arising from a nuclear incident); Roberts v. Fla. Power

 & Light Co., 146 F.3d 1305, 1306 (11th Cir. 1998) (PAA creates “an exclusive federal cause of

 action for radiation injury”); Nieman v. NLO, 108 F.2d 1546, 1549 (6th Cir. 1997) (PAA

 “preempts [the plaintiff]’s state law claims” and “the state law claims cannot stand as separate

 causes of action”); Kerr-McGee Corp. v. Farley, 115 F.3d 1498, 1504 (10th Cir. 1997) (PAA

 “appear[s] broad enough to create a federal forum for any tort claims even remotely involving

 atomic energy production.      The [PAA] on its face provides the sole remedy for the torts

 alleged”); O’Conner v. Commonwealth Edison Co., 13 F.3d 1090, 1105 (7th Cir. 1994) (“a new

 federal cause of action supplants the prior state cause of action . . . [S]tate regulation of nuclear

 safety, through either legislation or negligence actions, is preempted by federal law”); In re TMI

 II, 940 F.2d at 854 (“no state cause of action based upon public liability [under the PAA] exists.

 A claim growing out of any nuclear incident is compensable under the terms of the [PAA] or it is

 not compensable at all”); see also Cotroneo v. Shaw Env’t & Infras., Inc., 639 F.3d 186, 192 (5th

 Cir. 2011) (“[A] plaintiff who asserts any claim arising out of a ‘nuclear incident’ as defined in



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 the PAA . . . can sue under the PAA or not at all.”); In re Hanford Nuclear Reservation Litig.,

 534 F.3d 986, 1009 (9th Cir. 2007) (“[t]he PAA is the exclusive means of compensating victims

 for any and all claims arising out of nuclear incidents.”). State courts adjudicating these claims

 concur. See, e.g., Osarczuk, 36 A.D. 3d at 874 (holding the PAA preempted state law claims).

          Courts are in near universal agreement that a public liability action is “sweeping” in

 scope and encompasses any liability from “nuclear incidents.” Farley, 115 F.3d at 1504.5

 Indeed, in McClurg, an action litigated in Missouri federal court, the court found that a “plaintiff

 who asserts any claim arising out of a nuclear incident as defined in the PAA, can sue under the

 PAA or not at all,” and consequently dismissed the plaintiffs’ “state claims.” 933 F. Supp. 2d at

 1186.

          Here, Plaintiff’s injuries indisputably arise from an alleged nuclear incident insofar as

 Plaintiff asserts the purported “radioactive contamination [of her property] was caused by the

 Defendants’ improper handling, storage and disposal of radioactive materials.” See FAP at ¶¶

 63-68, 81-90. Notwithstanding her failure to pinpoint any specific release or releases by Cotter

 (or the Exelon Defendants) that led to this alleged contamination on her property, Plaintiff has

 asserted claims for radiation-based damages to her property, and it is for this sort of injury that

 “Congress passed the [PAA],” thus “creating an exclusive federal cause of action for radiation

 injury,” see Roberts, 146 F.3d at 1306. As a result, Plaintiff cannot assert any state law causes of

 action and must proceed exclusively under the PAA. Plaintiff’s state law causes of action for

 trespass, permanent nuisance, temporary nuisance, negligence, negligence per se, and strict


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   Despite the overwhelming body of case law holding that the PAA preempts state law causes of action arising from
 nuclear incidents, in Cook v. Rockwell Int’l Corp., 790 F.3d 1088, 1999 (10th Cir. 2015), the Tenth Circuit found
 that under extremely limited circumstances, the PAA may not preempt or preclude “a state law nuisance claim when
 a nuclear incident is asserted but unproven.” The decision in Cook was based on a parsing of the definition language
 that has not been applied by any other circuit court, and is not applicable here, where Plaintiff’s FAP indisputably
 alleges claims arising from and related to a nuclear incident. Thus, Plaintiff’s state law claims are preempted by the
 PAA.

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 liability damages are therefore preempted by the PAA and should be dismissed. See, e.g.,

 Nieman, 108 F.3d at 1564 (concluding claims for negligence, strict liability, private nuisance,

 trespass, and willful and wanton misconduct under Ohio law were preempted by the PAA);

 Adkins, 960 F. Supp. 2d at 769 (E.D. Tenn. 2012) (holding that the PAA completely preempted

 state law causes of action such as strict liability, wrongful death, and negligent infliction of

 emotional distress); Hennessy v. Commonwealth Edison Co., 764 F. Supp. 495 (N.D. Ill. 1991)

 (dismissing claims for negligent infliction of emotional distress, strict liability, and battery).

        D.         Plaintiff Has Not Pleaded A Viable Claim For Which Relief Can Be Granted
                   Under the Price-Anderson Act.

                   1.    Plaintiff Has Not and Cannot Allege Sufficient Factual Allegations to
                         Support a Claim for Public Liability Under the Price-Anderson Act.

        Even if Plaintiff had pleaded a PAA public liability claim, the factual allegations in the

 FAP are insufficient to support such a claim. Namely, Plaintiff has failed to allege exposure to

 radiation in exceedance of the applicable federal dose and effluent limits. Further, Plaintiff has

 not identified any federal nuclear safety regulations that Defendants may have breached. Thus,

 Plaintiff has failed to properly plead a public liability claim, and her FAP should be dismissed

 with prejudice.

        Courts throughout the country are in near universal agreement that liability for purposes

 of the PAA is defined by a federal standard of care derived from federal nuclear safety

 regulations. See, e.g., Roberts, 146 F.3d at 1308 (stating “federal safety regulations conclusively

 establish the duty of care owed in a public liability action”); O’Conner, 13 F.3d at 1105 (“the

 federal regulations must provide the sole measure of the defendants’ duty in a public liability

 cause of action.”); In re TMI II, 940 F.2d at 859-60 (concluding “the federal statutes and

 regulations governing the safety and operation of nuclear facilities” [i.e., “federal permissible

 dose limits”] would apply as “states are preempted from imposing a non-federal duty in tort,
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 because any state duty would infringe upon pervasive federal regulation in the field of nuclear

 safety, and thus would conflict with federal law”); see also McClurg, 933 F. Supp. 2d at 1187

 (finding that to assert PAA public liability claim, plaintiffs must allege violation of federal

 radiation dose limit because “the maximum permissible radiation dose levels set by federal

 safety standards establish the duty of care for radiation injuries”); Corcoran v. New York Power

 Authority, 935 F. Supp. 376, 387 (S.D.N.Y. 1996) (holding that plaintiff must plead and establish

 a breach of the federal dose limits). Indeed, in McClurg, the district court observed that “every

 Circuit Court” to address the issue—namely the Third, Sixth, Seventh, Ninth, Tenth, and

 Eleventh Circuits—has held “that the maximum permissible radiation dose levels set by federal

 safety standards establish the duty of care for radiation injures, and that imposing a non-federal

 duty would conflict with [the PAA].” 933 F. Supp. 2d at 1187.

        These dose limits apply equally to both personal injury and property damage claims. See

 Reeves v. Commonwealth Edison Co., No. 06-CV-5540, 2008 WL 239030, at *4 (N.D. Ill. Jan.

 28, 2008) (observing that “Federal nuclear regulatory standards . . . have been applied to [public

 liability] claims involving property damage”) (citing multiple cases and reaffirming prior district

 court holdings that the federal dose limits are “the sole duty owed to the landowners under their

 property damage claims.”). As a result, regardless of whether a plaintiff alleges personal injury,

 property damage, or both as a result of radiation exposure, “every circuit court of appeals to

 address the question . . . has held that [a] plaintiff must prove a dose in excess of the federal

 permissible dose limits in order to show a breach of duty in a public liability action under the

 [PAA].” Adkins, 960 F. Supp. 2d at 769. Ultimately, a plaintiff’s failure to plead this “essential

 element of [her] claim” is fatal. Id.




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        Here, Plaintiff has not alleged that she was exposed to radiation in excess of federal dose

 or effluent limits, nor has Plaintiff identified any federal nuclear safety regulations or standards

 that Cotter may have breached. Rather, the closest the FAP comes to providing such allegations

 is its single, bald assertion that Defendants violated a host of “Missouri regulations for protection

 against Ionizing Radiation.” See FAP at ¶ 147. Such conclusory allegations of misconduct are

 insufficient to withstand a motion to dismiss, and Plaintiff’s failure to allege either the applicable

 standard of care or breach of the federal dose and effluent limitations is fatal to any nascent

 cause of action under the PAA. See Adkins, 960 F. Supp. 2d at 772 (finding plaintiffs’ complaint

 failed to state a claim under the PAA where plaintiffs failed to allege which specific standard of

 care applied to their claim, and instead made conclusory allegations regarding a nuclear facility’s

 non-compliance with various “applicable federal, state and local laws”). Adkins’s conclusion is

 equally applicable in this state, which is a fact pleading state. Absent such allegations, the FAP

 lacks sufficient factual support to allege a public liability claim under the PAA. Thus, Plaintiff

 has not alleged an essential element for a claim for public liability, and the FAP should be

 dismissed with prejudice.

                2.      Plaintiff Cannot Recover for Medical Monitoring, Loss in Property
                        Value, or Emotional Damages under the PAA

        Plaintiff’s claim for medical monitoring (which is embedded in her general claim for

 injunctive relief) and request for damages related to emotional injuries should also be dismissed

 because Plaintiff has not alleged any physical injury to herself, but only to her property, and her

 loss in property value and emotional damages claims are not cognizable under the PAA.

        First, Plaintiff’s claim for medical monitoring, see FAP, Count VII at ¶¶ 165-167, should

 be dismissed because the PAA clearly requires “bodily injury” in order for a plaintiff to obtain

 medical monitoring as relief. 42 U.S.C. 2014(q). See, e.g., June v. Union Carbide Corp., 577


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 F.3d 1234, 1251-52 (10th Cir. 2009); In re Berg Litigation, 293 F.3d at 1133 (stating that “a

 cause of action for medical monitoring because of a future risk of disease, and absent a physical

 injury, [ ] fails to meet the jurisdictional requirements of the Price Anderson Act.”); In re

 Hanford, 534 F.3d at 996, 1009-10 (affirming dismissal of medical monitoring claims “as not

 cognizable under the PAA.”). Plaintiff alleges that she is entitled to medical monitoring because

 “Defendants have tortiously contaminated the property of Plaintiff . . . with hazardous, toxic,

 carcinogenic radioactive wastes,” and that this “radioactive contamination of the property . . . has

 caused a significant increased risk to Plaintiff.” See FAP at ¶¶ 163, 165. Plaintiff has not,

 however, alleged that she has suffered any physical injury as a result of this purported

 contamination.

        At most, Plaintiff claims that the alleged contamination of her home “cause[d] a

 significant risk to Plaintiff,” without specifying what that risk is or whether she has experienced

 any negative health effects. Id. A vague, conclusory reference to a “risk” without more is a far

 cry from alleging a bodily injury cognizable under the PAA, and insufficient to meet the

 pleading standard on a motion to dismiss. See, e.g., In re T.Q.L., 386 S.W.3d at 139. Thus,

 Plaintiff has failed to meet the bodily injury prerequisite.

        Second, Plaintiff is not entitled to recover for any loss in value of her property. The PAA

 permits property owners to seek compensation only for “loss of or damage to property, or loss of

 use of property.” 42 U.S.C. § 2014(q). Congress, however, chose not to allow recovery for a

 diminution in the value of property due to nuclear incidents.

        Throughout the FAP, Plaintiff alleges that her property has been contaminated by

 radioactive material, and as a result, her property has decreased in value. See, e.g., FAP at ¶¶ 91,

 110, 121, 130, 142, 152, 158. Damages for diminution of property value provide no basis for a



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 PAA claim, however, as Congress specifically excluded such claims under the PAA. See S. Rep.

 No. 296 (1957), reprinted in 1957 U.S.C.C.A.N. 1803, 1818 (“[I]t is not the intention of the

 committee to have the damage to property which is included in the term ‘nuclear incident’

 include the diminution in value or other similar causes of action which may occur, namely, from

 the location of an atomic energy activity at a particular location.”). Accordingly, Plaintiff’s

 claim for diminution in property value should be dismissed, because the plain language of the

 PAA and its legislative history demonstrate that the statute does not provide for such remedies.

        Third, to the extent Plaintiff seeks emotional injury damages due to “annoyance and

 discomfort,” see FAP at p. 38, subsection a, such damages claims should be dismissed, as

 emotional distress is not recoverable in a PAA action. In re Berg, 293 F.3d at 1133 (the PAA

 “grants only limited jurisdiction that does not include emotional distress claims.”). Once again,

 without the jurisdictional prerequisite for bodily injury, Plaintiff cannot recover under the PAA.

                3.      Because Plaintiff’s Substantive State-Law Causes of Action Are
                        Preempted by the PAA,     Plaintiff’s Claims for Injunctive Relief
                        and Punitive Damages Should Be Dismissed

        Because Plaintiff’s claims for trespass, permanent nuisance, temporary nuisance,

 negligence, negligence per se, and strict liability damages are preempted by the PAA, as

 discussed in Section I.D.1 above, Plaintiff cannot sustain claims for injunctive relief or punitive

 damages against Cotter (or the Exelon Defendants). As such, Counts VII and VIII of the FAP

 should be dismissed.

                        a.     Injunctive Relief

        Injunctive relief constitutes a remedy, not an independent cause of action. See Church v.

 Missouri, 268 F. Supp. 3d 992, 1022 (W.D. Mo. 2017) (citing Goerlitz v. City of Maryville, 333

 S.W.3d 450, 455 (Mo. banc 2011) (“[A]n injunction is a remedy and not a cause of action[.]”).



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 “Thus, a request for such [a] remed[y] ‘must be based on some recognized and pleaded legal

 theory.’” Id. (quoting Goerlitz, 333 S.W.3d at 455). Plaintiff here has asserted substantive

 claims for relief under a number of legal theories—namely, trespass, permanent nuisance,

 temporary nuisance, negligence, negligence per se, and strict liability damages. However, as set

 forth above, each of those claims has been preempted by PAA. Given that these substantive

 claims should be dismissed, Plaintiff cannot obtain injunctive relief against Cotter (or the Exelon

 Defendants) because there are no longer any viable and operative legal theories independent of

 her claim for injunctive relief. Id. Therefore, Count VII of the FAP should be dismissed.

                        b.     Punitive Damages

          “Punitive damages cannot constitute an independent cause of action. They can only be

 an incident of another cause of action.” Landum v. Livingston, 394 S.W.3d 573, 578 (Mo. App.

 1965).    “Before punitive damages can be recovered there must be a cause of action for

 compensatory damages.” Ibid.; see also Compton v. Williams Bros. Pipeline Co., 499 S.W.2d

 795, 797 (Sup. Ct. Mo. 1973) (stating that it is well established “that actual or nominal damages

 must be recovered before punitive damages can be recovered”). Here, as set forth above, the

 only causes of action against Defendants that could give rise to a claim for punitive damages

 should be dismissed as preempted by the PAA. Further, Plaintiff cannot allege a PAA violation

 against Cotter or the Exelon Defendants. As such, Count VIII of the FAP should be dismissed

 with prejudice.

 II.      In the Alternative, If the Court Determines the Price-Anderson Act Does Not
          Preempt Plaintiff’s State Law Claims, It Should Adopt the Federal Nuclear
          Regulations As the Standard of Care under Missouri Common Law.

          Even if this Court disagrees that the PAA applies and holds that Plaintiff’s state law

 claims are not preempted, the result should still be dismissal of Plaintiff’s claims. Nor does that


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 mean that the large body of jurisprudence addressing claims under the PAA is irrelevant to the

 Court’s adjudication of the common law claims. Any standard of care adopted under the

 common law for the handling of radioactive materials should align with the well-established

 standard of care in PAA cases—the framework that governs the vast majority of claims arising

 from the handling of radioactive materials. Plaintiff has not proffered or alleged a breach of an

 alternate standard of care. Because Plaintiff has not sufficiently pleaded a breach of the common

 law standard of care, her state law claims should be dismissed.

        A.      The Common Law Standard of Care Should Be Derived from the Dose
                Limits and Associated Limits in the Federal Regulations.

        This Court should adopt liability standards for the care and handling of radioactive

 material consistent with the PAA regardless of whether the PAA applies. The federal court

 remanded the case on the incorrect determination that Cotter’s license did not definitively

 provide a basis for federal subject matter jurisdiction under the PAA. Notably, the federal

 court’s reasoning turned on licensing and not the underlying activity. The activity underlying the

 state common law claims is necessarily the same activity underlying a PAA claim. There is no

 reason, given the common factual predicate, for the common law standard of care to deviate

 from the PAA’s standard of care or the associated effluent limitations. Even if this Court

 concludes (contrary to the prevailing law) that Plaintiff’s state law claims do not fall within the

 ambit of the PAA solely because there is not a qualifying license or indemnity agreement, the

 standard of care should still be based on the underlying radioactive material and mirror that of

 the PAA.

                The PAA standard of care is derived from the federal regulations governing dose

 and effluent limits. See In re TMI (III), 67 F.3d 1103, 1113–14 (3d Cir. 1995); see also Carey v.

 Kerr-McGee Chemical Corp., 60 F. Supp. 2d 800 (N.D. Ill. 1999) (determining the federal

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 dosing regulations apply to tort claims for property damage); McClurg v. Mallinckrodt, Inc., No.

 4:12-CV-00361-AGF, 2017 WL 2929444, at *5-6 (E.D. Mo. July 7, 2017) (agreeing with and

 applying the dose and effluent standards identified by the Third Circuit in In re TMI). The

 current federal dose limits for licensees are found in 10 C.F.R. § 20.1301(a)(1) (establishing limit

 of 100 millirems per year) At the time of Cotter’s operations (1970-1973) the federal dosing

 limit was 500 millirems per year, 10 C.F.R. § 20.105(a) (1969), and the effluent limitations were

 defined in Appendix ‘B’, Table II, of 10 C.F.R. § 20.106 (see id. at 12; see also In re TMI (III),

 67 F.3d at 1109).

        The common law often looks to statutes and regulations for the applicable standard of

 care. “The Restatement (Second) of Torts expressly provides that, in certain situations, a ‘court

 may adopt as the standard of conduct of a reasonable man the requirements of a legislative

 enactment or an administrative regulation.’” In re TMI (III), 67 F.3d at 1113 n.24 (quoting

 Restatement (Second) of Torts § 286 (1965)). The Restatement was considered in articulating

 the PAA’s standard of care. Id. This Court should likewise be guided by the Restatement in

 determining the applicable standard of care.

        Consistent with the Restatement, this is a situation where a regulation should be adopted

 as the standard. The care and handling of radioactive materials at issue in this litigation is not

 something that ordinarily occurs. This is a highly regulated field. These regulations inform the

 behavior of the reasonable man. Plaintiff would be hard pressed to identify an alternate source

 for the standard of care because of the pervasive regulation of radioactive materials. Regulations

 and the actions of other regulated individuals are the only guide for determining the standard.

 Public policy strongly favors consistency in the standard of care given that the underlying

 conduct is the care and handling of radioactive material.



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        Accordingly, even if the Court declines to find that the PAA governs Plaintiff’s state law

 claims, the result should still be the same because the standard of care is the same.

        B.       Plaintiff Fails To Allege Sufficient Facts Relating to Any Standard of Care,
                 and Her Claims Should Be Dismissed.

        As a global matter, because Plaintiff has failed to allege a dosage amount, she has failed

 to allege facts showing a breach of the standard of care and she fails to sufficiently plead her

 state law claims. Her claims should therefore be dismissed. Apart from this fatal global

 pleading deficiency, moreover, Plaintiff’s individual claims are also defectively pleaded. The

 claims rely on conclusory allegations devoid of factual allegations, as set forth below, and should

 be dismissed.

                 1.     Plaintiff’s Conclusory Allegations Fail to Allege a Negligence,
                        Negligence Per Se, or Strict Liability Claim

        Plaintiff’s formulaic recitations of the elements of her negligence, negligence per se, and

 strict liability claims fall far short of adequately pleading those claims. “To make an adequate

 claim for common law negligence, a plaintiff must establish that the defendant had a duty to

 protect the plaintiff from injury, the defendant failed to perform that duty, and the defendant’s

 failure proximately caused injury to the plaintiff.” Sill, 87 S.W.3d at 391. Apart from parroting

 the elements of a negligence claim, the FAP contains no factual allegations of how Cotter

 breached any duty of care toward Plaintiff or what that duty is. See FAP at ¶¶ 136-140 (vaguely

 alleging Defendants’ “conduct was in utter non-compliance with applicable federal, state, and

 local laws, regulations, and guidelines” without identifying what those standards were or how

 Cotter violated them, and alleging in a conclusory manner “Defendants failed to act to prevent

 their releases from harming Plaintiffs” without identifying what Defendants should have done).

        Plaintiff’s negligence per se claim suffers from the same defects as her negligence claim:

 “[a] claimant may proceed on a negligence per se claim ‘if the following four elements are met:
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 (1) There was, in fact, a violation of the statute; (2) The injured plaintiff was a member of the

 class of persons intended to be protected by the statute; (3) The injury complained of was of the

 kind the statute was designed to prevent; and (4) The violation of the statute was the proximate

 cause of the injury.’”    Id. at 392.   Once again, Plaintiff merely recites the elements of a

 negligence per se claim without explaining what it is that Cotter did (or did not do) that

 constitutes negligence per se. The FAP fails to identify how Cotter violated any of the statutes

 identified in paragraph 147 (listing Missouri’s Solid Waste Management Law and Regulations,

 Missouri Clean Water Act, and Missouri Air Conservation regulations), such as whether any

 purported releases of radioactive materials from Latty Avenue were above any threshold levels

 or standards contained in any of the above regulations.

        Especially troubling, Plaintiff alleges that her property (and the property of the putative

 class members, where the class is defined as those property owners within the one hundred-year

 floodplain of Coldwater Creek [see FAP at ¶¶ 30-31]) was contaminated “[a]s a result of . . .

 flooding,” yet she is purportedly relying on air and solid waste regulations, rather than water

 regulations, to show a breach of duty by Defendants. As a result, it is impossible for Cotter (and

 this Court) to parse out the basis on which Plaintiff claims Cotter is liable to her, and this claim

 should be dismissed accordingly.

        Finally, Plaintiff has failed to adequately plead a strict liability claim against Cotter and

 once again merely recites the elements of such a claim without any supporting factual

 allegations. See Clay v. Missouri Highway & Transp. Comm’n, 951 S.W.2d 617, 623 (Mo. Ct.

 App. 1997) (“a person is strictly liable ‘when he damages another by a thing or activity unduly

 dangerous and inappropriate to the place where it is maintained, in the light of the character of

 that place and its surroundings.’”). The FAP does not identify what activities Cotter performed



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 that were abnormally dangerous and inappropriate to the place where they were done, other than

 vague allegations that Cotter “stored, processed, and transported hazardous, toxic, and

 radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites” that

 somehow caused her to lose the use of her property and caused her property to lose some

 unspecified measure of value. FAP at ¶ 66. The mere handling of radioactive residues alone, as

 Plaintiff alleges, does not necessarily equate to an abnormally dangerous activity.

                2.         Plaintiff Fails to Allege Facts Sufficient to Support Either Her
                           Permanent or Temporary Nuisance Claims

        Cotter cannot be liable to Plaintiff for either permanent or temporary nuisance because, as

 even Plaintiff implicitly acknowledges (see FAP at ¶¶ 63-66, 81), Cotter was not the property

 owner of Latty Avenue at any time, and thus cannot be liable for nuisance. See Frank, 687

 S.W.2d at 880 (“[t]he law of nuisance recognizes two conflicting rights: property owners have a

 right to control their land and use it to benefit their best interests; the public and neighboring

 land owners have a right to prevent unreasonable use that substantially impairs the peaceful use

 and enjoyment of other land.”) (emphases added); State ex rel. Ely v. Bandall, 299 S.W. 155, 157

 (Mo. Ct. App. 1927) (“[W]e understand the general rule to be that a suit to abate or restrain a

 nuisance must be brought against the owner of the fee, unless the nuisance complained of is of

 such a character that his presence in the suit is not necessary to a complete determination of the

 controversy.”). Because Plaintiff has not alleged Cotter was the owner of either SLAPS or Latty

 Avenue (nor could she, as Cotter never owned either site), Plaintiff cannot maintain her nuisance

 actions against Cotter.




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                3.      Plaintiff’s Conclusory Allegations Do Not Indicate How Cotter
                        Interfered with the Use or Enjoyment of Her Property, and,
                        Therefore, She Cannot Recover    Damages for Any State Law Claim

        Plaintiff has not alleged any facts to show the actual loss of the use of her property or the

 diminution in value of her property that may be recoverable under state law, nor does she specify

 any type of damage caused to her property. Although she alleges in conclusory fashion that her

 property has been “contaminated by radioactive material” and that “[s]amples taken on and

 around the Banks Property confirm an elevated presence of radioactive particles, significantly

 above the normal background level of radiation” which (purportedly) include thorium and radon

 gas (see FAP at ¶¶ 9, 86-87, 105, 107, 109, 117, 126, 141, 151), she fails to allege the amounts of

 those substances involved, how they damaged her property, or how she has lost the use of her

 property or how its value has diminished as a result of the alleged contamination.

        Such conclusory allegations regarding interference with her use of her property or loss in

 value, without more, are insufficient to entitle her to relief under any of her state law claims.

 See, e.g., Looney v. Hindman, 649 S.W.2d 207, 212 (Mo. 1983) (“A ‘trespass’ is a ‘direct

 physical interference with the person or property of another.’”) (emphasis in original); Frank v.

 Envt’l Sanitation Mgmt., Inc., 687 S.W.2d 876, 880 (Mo. 1985) (“Nuisance is the unreasonable,

 unusual, or unnatural use of one’s property so that it substantially impairs the right of another to

 peacefully enjoy his property.”); Sill v. Burlington N. R.R., 87 S.W.3d 386, 391 (Mo. Ct. App.

 2002) (“Actual damages to the claimant’s person or property are the fourth element of a

 negligence action.”); Chubb Grp. of Ins. Companies v. C.F. Murphy & Assocs., Inc., 656 S.W.2d

 766, 781 (Mo. Ct. App. 1983) (“Regarding damages, three kinds—personal injury, damage to

 property other than the property sold, and damage to the property sold when rendered useless by

 a violent occurrence—have been held recoverable under a strict liability theory.”).



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        Without alleging how Cotter interfered with the use of her property or how she has been

 damaged at all by Cotter’s actions, Plaintiff cannot sustain her state law claims against Cotter.

                4.      Plaintiff Fails to Allege Facts Sufficient to Sustain a Claim for Civil
                        Conspiracy

        Although Plaintiff amended the FAP to add a civil conspiracy claim, she has made no

 effort to support such a claim with plausible facts—or any facts at all.

        A claim for civil conspiracy requires: “(1) two or more persons, (2) an object to be

 accomplished, (3) a meeting of the minds on the object or course of action, (4) one or more

 unlawful overt acts, and (5) resulting damages.” Brock v. McClure, 404 S.W.3d 416, 421 (Mo.

 Ct. App. 2013). The FAP is devoid of any mention of any meeting of the minds amongst the

 Defendants to accomplish any object whatsoever, let alone any interaction at all amongst them.

 Under Plaintiff’s own allegations, each Defendant operated in its own sphere and never came

 into contact with another Defendant. Cotter purportedly purchased radioactive residues from the

 federal government and “[b]etween 1969 and 1973, Cotter stored, processed, and transported

 hazardous, toxic, and radioactive wastes, . . . at the SLAPS and Latty Avenue sites.” FAP at ¶¶

 64, 66. Meanwhile, the Airport acquired SLAPS from the federal government in 1973 and then

 proceeded to do “nothing to prevent continued dispersal and runoff of” material in Coldwater

 Creek, and DJR purchased the Latty Avenue property at some point and similarly did nothing to

 prevent dispersal and runoff of material. Id. ¶¶ 69, 73-74, 76-77. Yet, based on these threadbare

 allegations, Plaintiff contends that these defendants somehow “wrongfully and fraudulently

 agreed and conspired together to injure Plaintiffs and members of the Class, by wrongfully

 releasing radioactive wastes, as more fully alleged herein.” Id. ¶ 175.

        To be clear, there are no facts “more fully alleged” anywhere within the FAP, and

 because Plaintiff has utterly failed to allege the existence of any conspiracy, that is, a meeting of


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 the minds among the Defendants to take unlawful, overt acts to accomplish some object, this

 Court should dismiss Count IX of Plaintiff’s FAP.

                5.      Plaintiff’s General and Conclusory Allegations Concerning Unlawful
                        Conduct by Defendants Fail to Plead Ultimate Facts.

        Plaintiff’s general and conclusory allegations of misconduct by “Defendants” are

 insufficient to support her claims. Furthermore, in those limited instances where Plaintiff has

 made specific allegations against Cotter, those allegations are both internally contradictory and

 controverted by case law precedent. As such, Plaintiff has failed to assert any plausible claims

 against Cotter (or any of the Exelon Defendants), and her FAP should be dismissed.

        A plaintiff must allege a “short and plain statement of the facts showing that the pleader

 is entitled to relief.” Mo. R. Civ. P. 55.05. Ultimate facts on which a jury could return a verdict

 for the plaintiff must be pleaded—evidentiary facts are not sufficient. R.M.A. by Appleberry v.

 Blue Springs R-IV Sch. Dist., 568 S.W.3d 420, 425 (Mo. 2019), reh’g denied (Apr. 2, 2019). “In

 order to survive the motion, the petition must ‘invoke substantive principles of law entitling

 plaintiff to relief and . . . ultimate facts informing the defendant of that which plaintiff will

 attempt to establish at trial.’” In re T.Q.L., 386 S.W.3d at 139 (quoting State ex rel. Henley v.

 Bickel, 285 S.W.3d 327, 329 (Mo. banc 2009)). Plaintiff’s use of “group pleading,” generally

 referring to “Defendants,” does not satisfy this standard.

        Throughout the FAP, Plaintiff recites the history of radionuclide processing and transport

 in St. Louis and alleges limited (if any) facts showing involvement in very discrete portions of

 that history by each named Defendant, but then inexplicably concludes that all “Defendants” are

 liable for all events that occurred during that history. What is most astonishing is that Plaintiff

 ignores the party that actually generated the radioactive residues at issue in this case as early as

 1942 (see FAC at ¶ 56) and instead attributes all liability to Cotter, the Airport, and DJR, even


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 though the earliest actions any of them are alleged to have taken are in 1969, 27 years after the

 materials at issue in this litigation were first allegedly generated.

         Similarly, Plaintiff repeatedly lumps together all Defendants with respect to the alleged

 misconduct underlying her claims. See id. at ¶¶ 95-105, 113-120, 124-129, 133-142, 147-152,

 155-160, 162-166, 171-172, 175-176 (alleging that all Defendants were responsible for broad

 categories of misconduct without delineating which specific defendant or defendants were

 actually responsible for each stated act). Such general and perfunctory pleading renders it

 virtually impossible for Cotter to determine the specific misconduct it is being accused of.

         Moreover, a review of Plaintiff’s few allegations directly pertaining to Cotter further

 underscores the improperly sweeping and overly general allegations of misconduct in the FAC.

 Although she broadly attributes the contamination of her home to radioactive materials that have

 migrated into Coldwater Creek from SLAPS, HISS, and Latty Avenue since 1946, Plaintiff

 specifically pleads that Cotter’s involvement was limited to a four-year period, from 1969 to

 1973. See id. at ¶ 66. Plaintiff’s claim that Cotter stored, processed, and transported materials at

 both SLAPS and Latty Avenue, see id., is also contradicted by her later allegation that Cotter

 purchased only materials that were already at Latty Avenue, id. at ¶ 81.

         McClurg v. Mallinckrodt, No. 4:12-CV-00361, 2015 WL 867455 (E.D. Mo. Feb. 27,

 2015), a related case involving claims for personal injury arising from the radioactive

 contamination of Coldwater Creek by materials purportedly generated by Mallinckrodt, Inc. and

 Cotter, further underscores the overbroad and unsupportable nature of Plaintiff’s allegations in

 the instant case. In McClurg, this Court dismissed claims against Cotter by plaintiff David

 Powell alleging exposure to radiation between 1949 and 1963. Id. at *5. After observing that

 the alleged radioactive materials were only purchased by Cotter in 1969 after those materials had



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 been transported to Latty Avenue, the Court noted that Cotter’s allegedly unlawful activity did

 not begin until 1969, and thus any allegations pertaining to conduct that predated Cotter’s

 involvement in the matter had to be dismissed. Id. at *2, *5. Here, as in McClurg, Cotter’s

 involvement in this matter is limited to a four-year period of time and geographically restricted

 to purported conduct at Latty Avenue. As such, Plaintiff’s general and conclusory allegations of

 misconduct outside of this timespan and outside of the Latty Avenue site fail to form a basis of a

 claim against Cotter. Moreover, in light of the McClurg court’s findings, any amendment of the

 FAP would be futile.

        In light of the above, Plaintiff’s general allegations of misconduct fail to plead ultimate

 facts as to Cotter (or the other Defendants), and her attempt to impute liability to Cotter for

 actions that exceed its allegedly limited temporal and geographic role fails.

                6.       Plaintiff’s Impermissibly Vague and Conclusory Allegations and
                         Overbroad Class Definitions Likewise Fail to State Plausible Claims
                         of Class-Wide Relief

        Plaintiff has similarly failed to set forth plausible allegations sufficient to support a class

 action. This state’s rule governing class actions, Missouri Rule 52.08, is substantially similar to

 Federal Rule of Civil Procedure 23. Ressler v. Clay County, 375 S.W.3d 132, 136–37 (Mo.App.

 W.D. 2012).         “When there is no Missouri interpretation of Rule 52.08, federal court

 interpretations of Federal Rule 23 are persuasive in interpreting Rule 52.08.4.” Id. The Court of

 Appeals has held, after surveying federal cases, that Missouri Rule 52.08 allows a court to

 address substantive motions, such as summary judgment or a motion to dismiss prior to class

 certification. Id. A motion to dismiss is a proper vehicle for attacking class allegations. See

 Ralph v. Am. Family Mut. Ins. Co., 809 S.W.2d 173, 174 (Mo.App. E.D. 1991). In federal court,

 “[w]hen a defendant moves to dismiss class allegations prior to discovery, the Court should

 evaluate the motion under a standard similar to that of Fed. R. Civ. P. 12(b)(6).” Simpson v.
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 Boeing Co., 27 F. Supp. 3d 989, 993-94 (E.D. Mo. 2014) (internal citations omitted). Similarly,

 under this state’s rules, “the determination of class certification is based primarily upon the

 allegations in the petition” with the allegations accepted as true, and the motion should be

 decided under the fact pleading standard. See Hope v. Nissan N. Am., Inc., 353 S.W.3d 68, 74

 (Mo.App. W.D. 2011).

          A party seeking to certify a class must demonstrate numerosity, commonality, typicality,

 and adequacy of representation. See Mo. R. Civ. P. 52.08(a); Fed. R. Civ. P. 23(a). Plaintiff’s

 proposed class definitions are impermissibly overbroad and do not meet the four required

 elements of Rule 52.08(a).6            Furthermore, because Plaintiff cannot establish the minimum

 pleading standards for either a claim pursuant to the PAA or any of her alleged state law claims,

 she cannot meet the class certification requirements. See Smith v. ConocoPhillips Pipe Line Co.,

 801 F.3d 921, 925-27 (8th Cir. 2015) (reversing the district court’s granting of class certification

 “in the absence of evidence showing class members were commonly affected by contamination

 on their property”).

          Plaintiff’s class allegations should be dismissed outright because her proposed class

 definitions are fatally overbroad. Both the property damage and medical monitoring subclasses

 are defined as any Missouri citizens who own real property or reside “within the FEMA one

 hundred year flood plain of Coldwater Creek in St. Louis County, Missouri,” (FAP at ¶¶ 30-31)

 regardless of whether that property is alleged to be contaminated with radioisotopes

 attributable to any of the defendants. Courts have routinely rejected such overbroad class

 definitions, and this Court should do the same. See, e.g., Green v. Fred Weber, Inc., 254 S,W3d

 874, 883 (Mo. banc 2008) (holding that class certification was inappropriate where only the


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  Plaintiff also fails to establish any of the Rule 52.08(b) elements, insofar as she relies heavily on conclusory
 allegations without alleging facts in support.

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 named plaintiff felt vibrations from the quarry and there was no evidence that other individuals

 in the certified geographic area were similarly affected); State ex rel. Coca-Cola Co. v. Nixon,

 249 S.W.3d 855, 862 (Mo. 2008) (holding a class overbroad where “eighty percent of the

 putative class suffered no injury.”). As the FAP is currently pleaded, Plaintiff would have the

 Court certify property damage and medical monitoring subclasses that have not alleged any

 property damage or physical injury, but merely ownership of and residency at real property,

 respectively.

        Not only are the class definitions impermissibly overbroad, Plaintiff herself has not

 alleged any facts plausibly showing any contamination of her own property.             The only

 allegations she has made are that sampling on her property show levels “above normal

 background levels” (FAP at ¶ 9, see also ¶ 87) without identifying the level and extent of

 contamination on her property, what background levels have been exceeded for which specific

 radioisotopes, and whether those levels exceed any applicable regulatory or statutory levels,

 including applicable standards of care. Such conclusory allegations are not sufficiently pleaded

 ultimate facts. See In re T.Q.L., 386 S.W.3d at 139.

        Second, Plaintiff has failed to allege any facts plausibly showing any damages. For

 instance, she has failed to allege how much her property has diminished in value (assuming this

 was even a valid claim under the PAA, which, as discussed above, it is not), or how she has lost

 the use or enjoyment of her property as a result of the alleged contamination.

        Finally, assuming Plaintiff is permitted to proceed on her state law causes of action, the

 medical monitoring subclass should be dismissed, as there are no allegations of personal injury,

 rendering such a class inappropriate. See Smith v. ConocoPhillips Pipe Line Co., 298 F.R.D.

 575, 582 (E.D. Mo. 2014) (denying certification of medical monitoring class because “Plaintiffs



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 have offered no evidence of actual exposure”) (citing Meyer ex rel. Coplin v. Fluor Corp., 220

 S.W.3d 712, 718 (Mo. 2007) for the proposition that “entitlement to the costs of medical

 monitoring requires plaintiff to show that exposure led to an increased risk of developing a

 particular disease and that medical monitoring is reasonably necessary for early detection and

 treatment”), rev’d on other grounds.

        Accordingly, the Court should dismiss Plaintiff’s class allegations because the class

 definitions are impermissibly overbroad and are untethered to any allegations of contamination

 of any kind, including any attributable to the alleged conduct of any defendant, and because they

 are insufficient to meet the requirements of Missouri Rule of Civil Procedure 52.08.

                                          CONCLUSION

        For the foregoing reasons, Cotter’s motion to dismiss should be granted. Plaintiff’s

 substantive state law causes of action against Cotter and the Exelon Defendants are completely

 preempted by the PAA because Plaintiff’s claims arise from and relate to a nuclear incident.

 Even assuming Plaintiff had asserted a claim pursuant to the PAA, that claim would necessarily

 fail because Plaintiff has failed to allege an essential element of such a claim, namely, Cotter’s

 (or, for that matter, any defendant’s) breach of the federal dose and effluent limits. Furthermore,

 Plaintiff is not entitled to medical monitoring, diminution in property value, or emotional distress

 damages because she has not pleaded the requisite elements for such claims, and/or because the

 PAA does not allow for such relief.

        Even if Plaintiff’s state law claims were not preempted by the PAA, they are all

 defectively pleaded and should be dismissed. And given Plaintiff’s general and conclusory

 allegations of misconduct against the defendants, her failure to delineate which defendants are

 responsible for the vague acts of misconduct she alleges, and her attempt to impute liability to



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 Cotter for acts and omissions that exceed its temporal and geographic involvement in this matter,

 Plaintiff has failed to plead ultimate facts sufficient to survive a motion to dismiss. Because

 Plaintiff’s substantive claims fail as a matter of law, her claims for injunctive relief and punitive

 damages should also be dismissed. Furthermore, the common law standard of care is still the

 federal dosage and effluent limits, and Plaintiff has failed to allege sufficient facts establishing a

 breach of those standards. Finally, Plaintiff’s class allegations should be dismissed for failure to

 state a claim upon which relief can be granted, and also because her class definitions are

 impermissibly overbroad and do not meet the four required elements of Rule 52.08(a). As such,

 Counts I-IX of the FAP should be dismissed with prejudice.




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 Dated: April 29, 2019                Respectfully submitted,


                                      /s/ Erin Brooks
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 29, 2019, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, providing electronic service to the following:

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                                                       Attorneys for Cotter and Exelon Defendants




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                             Exhibit 1
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                            Cause No. 18SL-CC00617
                                 )




                                                                                                                                                     02, 2019
       vs.                       )                            Division No. 2
                                 )




                                                                                                                                                         2018 - 05:30
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                               JURY TRIAL DEMANDED




                                                                                                                                                                06:16 PM
 EXELON CORPORATION,             )
 EXELON GENERATION COMPANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                       FIRST AMENDED CLASS ACTION PETITION

        COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

 by and through counsel, and for her First Amended Class Action Petition and causes of action

 against Defendants Cotter Corporation, Commonwealth Edison Company, Exelon Corporation,

 Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St.

 Louis Airport Authority, a department of the City of St. Louis, states and alleges as follows:

        1.      Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

 with high levels of radium from Africa. This special ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of
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 the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

 materials with less care than a reasonable person might give in moving common household

 garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

 Louis Airport, then to Hazelwood.




                                                                                                                                                        02, 2019
        2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to




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 the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout




                                                                                                                                                                   06:16 PM
 North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis

 Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty

 Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing

 and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

 toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



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 found today in the real property, which contains businesses and homes, surrounding the Coldwater

 Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous




                                                                                                                                                        02, 2019
 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth




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 defects may take a number of years after exposure to the radioactive material to appear.




                                                                                                                                                                   06:16 PM
        6.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the public about the widespread contamination Defendants have caused

 and minimizing the immense risks to public health and safety that resulted from Defendants’

 actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

 victims.

        8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns and resides on property in St.

 Ann, Missouri that Defendants contaminated. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek.




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 Her property, including the land and her home, is entirely within the Coldwater Creek flood plain,

 and is contaminated with radioactive waste materials from Coldwater Creek.

           9.    Testing on the Banks Property has confirmed radioactivity above normal

 background levels. The source of the radioactivity is small, microscopic particles, which among




                                                                                                                                                         02, 2019
 other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.




                                                                                                                                                             2018 - 05:30
           10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained




                                                                                                                                                                    06:16 PM
 significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff

 for her damages, and provide further relief as set forth below in this Petition.

                                  JURISDICTION AND VENUE

           11.   This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

           12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

           13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

 States.

           14.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act.

                 A. Coldwater Creek is not and has never been a licensed nuclear facility.

                 B. Defendants have never received a license to possess, transport, or dispose of

                    any radioactive wastes on or in Coldwater Creek.

                 C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                    Creek.

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                D. Defendants did not have a license to handle the particular materials they

                    handled as alleged herein, including enriched thorium.

                E. Defendants have never entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 with respect to the




                                                                                                                                                         02, 2019
                    complained activities.




                                                                                                                                                             2018 - 05:30
        15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise




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 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning

 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

 concerns related to liability limitation and indemnification.

        16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

 lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

 to said Act.

        17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic wastes at issue in this Petition.

                                           THE PARTIES

                                              Plaintiffs

        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

 in St. Louis County adjacent to Coldwater Creek.

        19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages including damages to the Banks Property and the loss of use and enjoyment of the



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 property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

 material in 2018.

                                             Defendants

        20.     There are four defendants that relate in some way to Cotter Corporation, the owner




                                                                                                                                                        02, 2019
 and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation




                                                                                                                                                            2018 - 05:30
 (“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon




                                                                                                                                                                   06:16 PM
 Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).

        21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

 California corporation. It was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1975.

                A. Cotter continuously and systematically carries on business activities in the State

                     of Missouri in its own name, through its parent companies ComEd and Exelon,

                     as well as through its subsidiary General Atomics, Inc.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                     conduct including acts and omissions within the State of Missouri, as well as

                     the acts and omissions of the predecessors of the Cotter Defendants, which gave

                     rise to the violations of law and damage to property alleged in the Petition.

        22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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                A. ComEd continuously and systematically carries on business activities in the

                    State of Missouri, both on its own and through its subsidiaries including Cotter

                    and its parent company Exelon. In addition, ComEd owned Cotter at times

                    relevant to this Petition, and agreed to indemnify Cotter for liabilities associated




                                                                                                                                                          02, 2019
                    with the creation, storage, transportation, and processing of hazardous, toxic,




                                                                                                                                                              2018 - 05:30
                    carcinogenic, radioactive wastes as alleged herein. ComEd regularly and




                                                                                                                                                                     06:16 PM
                    routinely avails itself of the protection of Missouri laws in St. Louis County

                    courts, and regularly appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the ComEd Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

 corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

 including Cotter and ComEd, conducted business in Missouri.

                A. Exelon is the parent company of ComEd and, through its subsidiaries including

                    Cotter and ComEd, continuously and systematically carries out business

                    activities in the State of Missouri. Exelon regularly and routinely avails itself

                    of the protection of Missouri laws in St. Louis County courts, and regularly

                    appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

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                    the acts and omissions of the predecessors of the Exelon Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

 corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information




                                                                                                                                                        02, 2019
 and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to




                                                                                                                                                            2018 - 05:30
 indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,




                                                                                                                                                                   06:16 PM
 LLC.

                A. Exelon Generation regularly and routinely avails itself of the protection of

                    Missouri laws in St. Louis County courts, and regularly appears to defend itself

                    in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the conduct including acts

                    and omissions of Exelon Generation and their subsidiaries, agents, and

                    representatives within the State of Missouri, which gave rise to the violations

                    of law and damage to property alleged in the Petition.

        25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri.

        26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution.

                               CLASS ACTION ALLEGATIONS

        27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

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 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

           28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

 recover damages to their property and to obtain injunctive relief in the form of a total and complete




                                                                                                                                                          02, 2019
 cleanup of the contamination and to prevent and eliminate further contamination.




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           29.     This action is maintainable as a class action and should be certified under Missouri




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 Supreme Court Rule 52.08.

           30.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

                   All Missouri citizens who currently own real property with any portion within
                   the FEMA one hundred year flood plain of Coldwater Creek in St. Louis
                   County, Missouri, bounded by St. Charles Rock Road to the southwest and
                   Old Halls Ferry Road to the northeast, as shown in the map in Figure 1 below.




 _
 1
     https://msc fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchresultsanchor
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                                       Figure 1. Class Area




                                                                                                                                                       02, 2019
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 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           31.   The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

                 All Missouri citizens who currently reside, or have resided since 1973,
                 on a property with any portion within the FEMA one hundred year
                 flood plain of Coldwater Creek in St. Louis County, Missouri, bounded
                 by St. Charles Rock Road to the southwest and Old Halls Ferry Road
                 to the northeast, as shown in the map in Figure 1 above.


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        32.     Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded is any trial judge




                                                                                                                                                        02, 2019
 who may preside over this case. The requirements for maintaining this action as a class action are




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 satisfied, as set forth immediately below.




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        33.     The proposed Class is so numerous that the individual joinder of all absent class

 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and

 belief, alleges that the proposed Class may include more than twenty-five members. The

 requirement of numerosity is therefore satisfied.

        34.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive classwide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored or

                    transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                    Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiff and Class Members’ property;

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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiff and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.




                                                                                                                                                       02, 2019
                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood




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                    Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of




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                    use and enjoyment of their property;

                f. Whether the loss in property value suffered by Plaintiff and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiff and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        36.     Plaintiff will fairly and adequately represent the interests of the members of the

 Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

 retained competent attorneys who have experience in class action litigation.

        37.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        38.     Unless a class-wide injunction is issued, Defendants will continue to allow

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 contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

 resulting in harm to thousands of Missouri citizens.

           39.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would




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 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the




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 class; or (b) adjudications with respect to individual members of the class which would as a




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 practical matter be dispositive of the interests of the other members not parties to the adjudications

 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           40.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate action. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

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        42.      All of the class members are citizens of Missouri.

        43.      The principal injuries resulting from the conduct of the Defendants were incurred

 in Missouri.

        44.      The conduct alleged in this Petition took place in Missouri.




                                                                                                                                                       02, 2019
                 A. The radioactive waste at issue in this case was generated as a result of chemical




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                    processes that took place in facilities in St. Louis




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                 B. All transportation of radioactive waste alleged herein took place in Missouri

                 C. All processing of radioactive waster alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        45.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        46.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        49.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials



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 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        50.     Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other




                                                                                                                                                        02, 2019
 material. When radiation energy interacts with other material, it causes a process called ionization2




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 which can damage chemical structures. When the “other material” that ionizing radiation passes




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 through is human cells, it can cause damage within those cells resulting in mutation in genetic

 material which can lead to cancer and other harms.

        51.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        52.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the




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   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious
 health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
 cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
 health-effects
                                                   15
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 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

         53.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the




                                                                                                                                                             02, 2019
 individual exposed. This can be damages to the skin, reproductive system, blood forming system,




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 digestive system, central nervous system, and immune system, as well as cancers. Illnesses such




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 as cancers may take a number of years to appear.

         54.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         55.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.




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                             Radioactive Waste in the St. Louis Area




                                                                                                                                                   02, 2019
          56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in




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 association with the Manhattan Project.3 The Manhattan Project was the U.S. research project




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 designed to develop the first nuclear weapons.

          57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

 processing operations at the SLDS. The storage site(s) on and near the airport are now referred

 to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

 radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

 barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

 contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

 piles.

          60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several




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     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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  contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

 portion of SLAPS adjacent to Coldwater Creek.”

        61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

 had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri




                                                                                                                                                     02, 2019
 (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site




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 (“HISS”).




                                                                                                                                                                06:16 PM
        62.     These waste residues, which contained valuable metals, were sold and shipped to

 various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive

 wastes stored at both SLAPS and at the Latty Avenue Site .

        64.     Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

        65.     Cotter did not receive indemnity from the government in connection with this

 transaction.

        66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

        67.     Upon information and belief, Cotter did not have a license to dispose of enriched

 thorium.




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        68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

 the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

 radioactive substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)




                                                                                                                                                      02, 2019
        69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport




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 Site (“SLAPS”) site by condemnation proceedings in 1947.




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        70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were

 transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined

 cake, barium sulfate cake, and C-liner slag.

        71.     From 1953, the property was managed and operated by Mallinckrodt.

        72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        74.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes, including into Coldwater Creek.

                                         Latty Avenue Site

        75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at



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 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

 property.




                                                                                                                                                     02, 2019
        77.     Despite knowing that significant activities involving radioactive material were




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 conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of




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 hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.

                                        Coldwater Creek

        78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        80.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

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 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.




                                                                                                                                                    02, 2019
        81.     During the 1960s, some of the waste residues were transported to the Latty Avenue




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 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to




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 the Cotter Corporation.

        82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        84.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        86.     The Banks Property is contaminated by radioactive material.



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        87.      Samples taken on and around the Banks Property confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        88.      The Banks Property neighbors Coldwater Creek and is within its flood plain. This

 proximity puts the Banks Property in the direct path of radioactive particles and contamination




                                                                                                                                                       02, 2019
 spread in and by Coldwater Creek.




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        89.      The radioactive contamination that has polluted the Banks Property and continues




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 to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the

 radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        90.      This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        91.      Radioactive contamination of the Banks Property renders the Banks Property unfit

 for normal use and enjoyment, and destroys its fair market value.

        92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are

 currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

 injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                     COUNT I – TRESPASS
              (brought individually and on behalf of the Property Damage Subclass)

        93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.


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          95.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure of their proper disposal.

          96.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.




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          97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes




                                                                                                                                                         2018 - 05:30
 at a facility unfit to handle such wastes.




                                                                                                                                                                06:16 PM
          98.    Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the

 Property Damage Subclass (“Plaintiffs’ property”).

          99.    Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

          100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive

 wastes

          101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          102.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

          103.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          104.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

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           105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           106.   It was reasonably foreseeable that Defendants’ actions would and will continue to




                                                                                                                                                       02, 2019
 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous




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 wastes.




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           107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in

 direct physical interference with the property of Plaintiff and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff

 and of the Property Damage Subclass.

           108.   Plaintiff did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

           109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

           110.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.




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                               COUNT II – PERMANENT NUISANCE
                 (brought individually and on behalf of the Property Damage Subclass)

        111.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        112.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,




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 Missouri, more particularly described above.




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        113.    Defendants unreasonably and unlawfully stored and used radioactive materials at




                                                                                                                                                                    06:16 PM
 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        114.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        115.    The radioactive waste caused by Defendants results from permanent construction

 that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the

 presence of the radioactive waste in Coldwater Creek.

        116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

 nuisance per se.

        117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.




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        118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous




                                                                                                                                                      02, 2019
 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and




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 enjoyment of the property.




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        120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.

        121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                           COUNT III – TEMPORARY NUISANCE
             (brought individually and on behalf of the Property Damage Subclass)

        122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described Paragraph 11 above.

        124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        125.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.


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        126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and




                                                                                                                                                      02, 2019
 enjoyment of the Banks Property.




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        127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is




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 substantial.

        128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                  COUNT IV – NEGLIGENCE
                         (brought individually and on behalf of the Class)

        131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        132.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers


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 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

         133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty




                                                                                                                                                        02, 2019
 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal




                                                                                                                                                            2018 - 05:30
 of the radioactive wastes in order to prevent significant injury to property and persons.




                                                                                                                                                                   06:16 PM
         134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs

 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         135.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         136.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.




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        137.    Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

        138.      Defendants failed to act to prevent their releases from harming Plaintiffs.




                                                                                                                                                       02, 2019
        139.    Defendants knew or should have known that their generation, management,




                                                                                                                                                           2018 - 05:30
 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as




                                                                                                                                                                  06:16 PM
 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

        140.    Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiff’s property.

        141.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

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           145.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                               COUNT V – NEGLIGENCE PER SE
                          (brought individually and on behalf of the Class)

           146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint




                                                                                                                                                          02, 2019
 as if each were set forth fully herein.




                                                                                                                                                              2018 - 05:30
           147.   Defendants violated Missouri regulations for Protection against Ionizing




                                                                                                                                                                     06:16 PM
 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           148.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.




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        150.    Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

        151.    Defendants’ negligence throughout the history of the mishandling and improper




                                                                                                                                                        02, 2019
 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas




                                                                                                                                                            2018 - 05:30
 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of




                                                                                                                                                                   06:16 PM
 applicable regulations and disregard for property rights.

        152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                 COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
                     (brought individually and on behalf of the Class)

        154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

        156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

        157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.


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         158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.




                                                                                                                                                            02, 2019
         159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,




                                                                                                                                                                2018 - 05:30
 storing, and/or disposing of radioactive waste.




                                                                                                                                                                       06:16 PM
         160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         161.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF
                         (brought individually and on behalf of the Class)

         162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

         164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiff and the proposed Class.

         165.    The radioactive contamination of the property of Plaintiff and the proposed Class

 has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and




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 Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.




                                                                                                                                                          02, 2019
        167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants




                                                                                                                                                              2018 - 05:30
 to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,




                                                                                                                                                                     06:16 PM
 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

        169.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                             COUNT VIII – PUNITIVE DAMAGES
                         (brought individually and on behalf of the Class)

        170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.


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         171.      Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

         172.      Defendants knew or had information from which, in the exercise of ordinary care,




                                                                                                                                                        02, 2019
 should have known that such conduct, as detailed above, created a high degree of probability of




                                                                                                                                                            2018 - 05:30
 injury to Plaintiff and others similarly situated.




                                                                                                                                                                   06:16 PM
         173.      The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and

 others similarly situated.

                                   COUNT IX – CIVIL CONSPIRACY
                          (brought individually and on behalf of the Class)

         174.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         175.      Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.

         176.      Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

         177.      As result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.




                                                      34
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                          COUNT X – INVERSE CONDEMNATION
            (brought individually and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




                                                                                                                                                      02, 2019
        179.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and




                                                                                                                                                          2018 - 05:30
 operates St. Louis Lambert International Airport, located partially on the SLAPS.




                                                                                                                                                                 06:16 PM
        180.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiff and the Property Damage Subclass for public use

 without just compensation.

        181.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        182.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

        183.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        184.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,

 in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.



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        185.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiff and the Property Damage Subclass.

        186.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                        02, 2019
 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the




                                                                                                                                                            2018 - 05:30
 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,




                                                                                                                                                                   06:16 PM
 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        187.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        188.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        189.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.

        190.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.


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        191.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION




                                                                                                                                                        02, 2019
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)




                                                                                                                                                            2018 - 05:30
        192.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as




                                                                                                                                                                   06:16 PM
 though fully set forth herein.

        193.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        194.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        195.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiff and the Property Damage Subclass.

        196.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiff or the Property Damage Subclass.




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                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

 judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

 Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a




                                                                                                                                                       02, 2019
 Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                           2018 - 05:30
 as well as awarding the following to Plaintiffs and against Defendants:




                                                                                                                                                                  06:16 PM
            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity

                including a preliminary and/or permanent injunction enjoining Defendants from

                continuing the unlawful conduct as set forth herein and directing Defendants to

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                   identify, with Court supervision, members of the Class in order to compensate them

                   and to clean up all contamination, and including medical monitoring; and

                g. for any further relief this Court deems just and proper.

                                                Respectfully submitted,




                                                                                                                                                       02, 2019
                                                KEANE LAW LLC




                                                                                                                                                           2018 - 05:30
                                                 /s/ Ryan A. Keane




                                                                                                                                                                  06:16 PM
                                                Ryan A. Keane, # 62112
                                                Alex Braitberg, # 67045
Judge                  Division 2
                                                7777 Bonhomme Ave., Ste. 1600
Judge                    Division 99
June 10, 2018
April    2015                                   St. Louis, MO 63105
                                                Phone: (314) 391-4700
                                                Fax: (314) 244-3778
                                                ryan@keanelawllc.com
                                                alex@keanelawllc.com

                                                JOHNSON GRAY, LLC
                                                Anthony D. Gray, # 51534
                                                319 North 4th Street, Suite 212
                                                St. Louis, MO 63102
                                                Phone: (314) 385-9500
                                                agray@johnsongraylaw.com

                                                COOPER LAW FIRM, L.L.C.
                                                Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                                forthcoming
                                                Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                                forthcoming
                                                508 St. Philip Street
                                                New Orleans, LA 70116
                                                Phone: (504) 566-1558
                                                bcooper@sch-llc.com
                                                cbrustowicz@sch-llc.com

                                                and




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                                              RON AUSTIN & ASSOCIATES, L.L.C.
                                              Ron A. Austin, LA Bar # 23630, pro hac vice
                                              forthcoming
                                              920 4th Street
                                              Gretna, Louisiana 70053
                                              Phone: (504) 227-8100
                                              Fax: (504) 227-8122
                                              raustin@austin-associates.net




                                                                                                                                                 02, 2019
                                                                                                                                                     2018 - 05:30
                                              Attorneys for Plaintiffs and proposed Class




                                                                                                                                                            06:16 PM
                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 2, 2018, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Ryan A. Keane




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                                  IN THE CIRCUIT COURT
                              OF ST. LOUIS COUNTY, MISSOURI

  TAMIA BANKS, on behalf of herself and all
  others similarly situated,
                                                           Civil Action No. 18SL-CC00617-01
                                Plaintiff,
                                                           Division No. 18
         v.

  COTTER CORPORATION,
  COMMONWEALTH EDISON COMPANY,
  EXELON CORPORATION, EXELON
  GENERATION COMPANY, LLC, DJR
  HOLDINGS, INC, AND ST. LOUIS AIRPORT
  AUTHORITY, A DEPARTMENT OF THE
  CITY OF ST. LOUIS,

                                Defendants.



                                             [PROPOSED] ORDER

        AND NOW, this _______ day of __________ 2019, upon consideration of Defendant

 Cotter Corporation (N.S.L.)’s (“Cotter”) motion to dismiss Plaintiff’s first amended class-action

 petition (“Motion”), in which Defendants Commonwealth Edison Company, Exelon

 Corporation, and Exelon Generation Company, LLC (collectively, “Exelon Defendants”) have

 joined, and upon consideration of the submissions of the parties relating thereto, and for good

 cause shown,

        IT IS HEREBY ORDERED that Cotter’s Motion is GRANTED and Plaintiff’s first

 amended class-action petition is DISMISSED in its entirety with prejudice as to Cotter and the

 Exelon Defendants.


        IT IS SO ORDERED.

 DATED:
                                                      J.
                                                                                                       Electronically Filed - St Louis County - May 03, 2019 - 02:24 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all
 others similarly situated,
                                Plaintiff,
        v.
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY,
 EXELON CORPORATION, EXELON
 GENERATION COMPANY, LLC, DJR
 HOLDINGS, INC. f/k/a FUTURA COATINGS,                    Case No. 18SL-CC00617-01
 INC., and ST. LOUIS AIRPORT AUTHORITY,
 A DEPARTMENT OF THE CITY OF ST.
 LOUIS,                                                   Division No. 17

                                Defendants.


                         MOTION FOR ADMISSION PRO HAC VICE
        Comes now Third-Party Defendant Cotter Corporation (N.S.L.) (“Cotter”), by and

 through its attorneys, BRYAN CAVE LEIGHTON PAISNER LLP, and its Motion for

 Admission Pro Hac Vice, and pursuant to Missouri Supreme Court Rule 9.03 states as follows:

        1.      That Cotter respectfully moves this Court for Pro Hac Vice Admission for John

 McGahren, a partner of Morgan, Lewis & Bockius LLP.

        2.      Visiting attorney John McGahren has provided a Statement pursuant to Rule 9.03.

 (See Attached Statement, attached as Exhibit A and incorporated by reference.)

        3.      Dale A. Guariglia and Erin L. Brooks of Bryan Cave Leighton Paisner LLP are

 licensed to practice law in the State of Missouri, have an office in the State of Missouri, and are

 not under suspension or disbarment by any court in which they are licensed to practice.

        4.      Attached hereto as Exhibit B is a receipt from the Missouri Supreme Court

 acknowledging payment of the requisite fees.
                                                                                                 Electronically Filed - St Louis County - May 03, 2019 - 02:24 PM
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        5.     Attached hereto as Exhibit C is a proposed order respecting this Motion.

        WHEREFORE, BRYAN CAVE LEIGHTON PAISNER LLP, attorneys for Cotter, pray

 that this Honorable Court grant admission Pro Hac Vice to John McGahren, a partner of Morgan,

 Lewis & Bockius LLP.




                                            BRYAN CAVE LEIGHTON PAISNER LLP

                                            By: /s/ Erin L. Brooks
                                            Dale A. Guariglia, Mo. Bar 32988
                                            daguariglia@bclplaw.com
                                            Erin L. Brooks, Mo. Bar 62764
                                            erin.brooks@bclplaw.com
                                            One Metropolitan Square
                                            211 N. Broadway, Suite 3600
                                            St. Louis, Missouri 63102
                                            (314) 259-2000 (telephone)
                                            (314) 259-2020 (facsimile)
                                                                                                            Electronically Filed - St Louis County - May 03, 2019 - 02:24 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all
 others similarly situated,

                                Plaintiff,

        v.

 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY,
 EXELON CORPORATION, EXELON
 GENERATION COMPANY, LLC, DJR
                                                           Case No. 18SL-CC00617-01
 HOLDINGS, INC. flkla FUTURA COATINGS,
 INC., and ST. LOUIS AIRPORT AUTHORITY,
 A DEPARTMENT OF THE CITY OF ST.
 LOUIS,                                                    Division No.2

                                Defendants.



      STATEMENT OF ATTORNEY APPLYING FOR ADMISSION PRO HAC VICE
             PURSUANT TO MISSOURI SUPREME COURT RULE 9.03

        Comes now Third-Party Defendant Cotter Corporation (N.S.L.), by and through its

 attorneys, BRYAN CAVE LEIGHTON PAISNER LLP, and its Motion for Admission Pro Hac

 Vice, and pursuant to Missouri Supreme Court Rule 9.03 states as follows:

         1.     I, John McGahren, am a member in good standing of the bar of another state or

 territory of the United States or District of Columbia.

        2.      I, John McGahren, am not under disciplinary suspension or disbarment by the

 highest court of any state or territory of the United States or of the District of Columbia.

        3.      I, John McGahren, have filed with my initial pleading the receipt for the fee

 required by Missouri Supreme Court Rule 6.01 and further state the following:

                a.      I am a member of the bar of the following state(s): New Jersey State Bar

        #046791990; New York State Bar #2480929; and West Virginia State Bar #6181.




                                                                                                Exhibit A
                                                                                                              Electronically Filed - St Louis County - May 03, 2019 - 02:24 PM
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               b.          I certify that neither I, nor any member of my firm, Morgan, Lewis &

       Bockius, 502 Carnegie Center, Princeton, NJ 08540, is under disciplinary suspension or

       disbarment by any such court.

               c.          Idesignate Erin L. Brooks, having an office at Bryan Cave Leighton

       Paisner LLP, One Metropolitan Square, 211N. Broadway, Suite 3600, St. Louis, within

       the state of Missouri as associate counsel and that said counsel shall:

                      1.   Enter an appearance as an attorney of record;

                     11.   Sign all pleadings, briefs, and other filed or served documents; and

                    111.   Unless excused by the judge or presiding officer, be present at all

                           hearings.

               d.          I further agree by my appearance to comply with the Rules of Professional

       Conduct as set forth in Missouri Supreme Court Rule 4 and to be subject to discipline by

       the court of this State.



 Date: May 3,2019




                                                                                                  Exhibit A
                                                                                         Electronically Filed - St Louis County - May 03, 2019 - 02:24 PM
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                                                                             Exhibit B
                                                                                                       Electronically Filed - St Louis County - May 03, 2019 - 02:24 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 222 of 1382 PageID #: 549




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all
 others similarly situated,
                              Plaintiff,
        v.
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY,
 EXELON CORPORATION, EXELON
 GENERATION COMPANY, LLC, DJR
 HOLDINGS, INC. f/k/a FUTURA COATINGS,                 Case No. 18SL-CC00617-01
 INC., and ST. LOUIS AIRPORT AUTHORITY,
 A DEPARTMENT OF THE CITY OF ST.
 LOUIS,                                                Division No. 17

                              Defendants.



        [PROPOSED] ORDER FOR ADMISSION OF COUNSEL PRO HAC VICE

        The above-entitled matter having come before the court on the motion of counsel

 accompanied by the application of John McGahren to be admitted to appear and participate in

 the above entitled cause pursuant to Missouri Supreme Court Rule 9.03, and the court being fully

 advised in the premises:

 IT IS SO ORDERED that said Motion for Admission of Counsel Pro Hac Vice is granted for this

 case only. Attorney John McGahren, New Jersey State Bar #046791990; New York State Bar

 #2480929; and West Virginia State Bar #6181 is hereby allowed to appear and participate on

 behalf of Morgan, Lewis & Bockius, LLP, a party in this case, without objection.



 Date: May __, 2019                          SO ORDERED: ____________________________
                                                         Judge Joseph L. Walsh, III




                                                                                           Exhibit C
                                                                                                       Electronically Filed - St Louis County - May 03, 2019 - 02:27 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 223 of 1382 PageID #: 550




          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all
 others similarly situated,
                                Plaintiff,
        v.
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY,
 EXELON CORPORATION, EXELON
 GENERATION COMPANY, LLC, DJR
 HOLDINGS, INC. f/k/a FUTURA COATINGS,                    Case No. 18SL-CC00617-01
 INC., and ST. LOUIS AIRPORT AUTHORITY,
 A DEPARTMENT OF THE CITY OF ST.
 LOUIS,                                                   Division No. 17

                                Defendants.




        MOTION FOR ADMISSION PRO HAC VICE OF STEPHANIE FEINGOLD
        Comes now Third-Party Defendant Cotter Corporation (N.S.L.) (“Cotter”), by and

 through its attorneys, BRYAN CAVE LEIGHTON PAISNER LLP, and its Motion for

 Admission Pro Hac Vice, and pursuant to Missouri Supreme Court Rule 9.03 states as follows:

        1.      That Cotter respectfully moves this Court for Pro Hac Vice Admission for

 Stephanie Feingold, a partner of Morgan, Lewis & Bockius LLP.

        2.      Visiting attorney Stephanie Feingold has provided a Statement pursuant to Rule

 9.03. (See Attached Statement, attached as Exhibit A and incorporated by reference.)

        3.      Dale A. Guariglia and Erin L. Brooks of Bryan Cave Leighton Paisner LLP are

 licensed to practice law in the State of Missouri, have an office in the State of Missouri, and are

 not under suspension or disbarment by any court in which they are licensed to practice.
                                                                                              Electronically Filed - St Louis County - May 03, 2019 - 02:27 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 224 of 1382 PageID #: 551




        4.     Attached hereto as Exhibit B is a receipt from the Missouri Supreme Court

 acknowledging payment of the requisite fees.

        5.     Attached hereto as Exhibit C is a proposed order respecting this Motion.

        WHEREFORE, BRYAN CAVE LEIGHTON PAISNER LLP, attorneys for Cotter, pray

 that this Honorable Court grant admission Pro Hac Vice to Stephanie Feingold, a partner of

 Morgan, Lewis & Bockius LLP.



                                             Respectfully submitted,

                                             BRYAN CAVE LEIGHTON PAISNER LLP

                                             By: /s/ Erin L. Brooks
                                             Dale A. Guariglia, Mo. Bar 32988
                                             daguariglia@bclplaw.com
                                             Erin L. Brooks, Mo. Bar 62764
                                             erin.brooks@bclplaw.com
                                             One Metropolitan Square
                                             211 N. Broadway, Suite 3600
                                             St. Louis, Missouri 63102
                                             (314) 259-2000 (telephone)
                                             (314) 259-2020 (facsimile)
                                                                                          Electronically Filed - St Louis County - May 03, 2019 - 02:27 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 225 of 1382 PageID #: 552




                                                                              Exhibit A
                                                                                           Electronically Filed - St Louis County - May 03, 2019 - 02:27 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 226 of 1382 PageID #: 553




                                                                               Exhibit A
                                                                                         Electronically Filed - St Louis County - May 03, 2019 - 02:27 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 227 of 1382 PageID #: 554




                                                                             Exhibit B
                                                                                                      Electronically Filed - St Louis County - May 03, 2019 - 02:27 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 228 of 1382 PageID #: 555




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all
 others similarly situated,
                              Plaintiff,
        v.
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY,
 EXELON CORPORATION, EXELON
 GENERATION COMPANY, LLC, DJR
 HOLDINGS, INC. f/k/a FUTURA COATINGS,                 Case No. 18SL-CC00617-01
 INC., and ST. LOUIS AIRPORT AUTHORITY,
 A DEPARTMENT OF THE CITY OF ST.
 LOUIS,                                                Division No. 17

                              Defendants.



        [PROPOSED] ORDER FOR ADMISSION OF COUNSEL PRO HAC VICE

        The above-entitled matter having come before the court on the motion of counsel

 accompanied by the application of Stephanie Feingold to be admitted to appear and participate in

 the above entitled cause pursuant to Missouri Supreme Court Rule 9.03, and the court being fully

 advised in the premises:

 IT IS SO ORDERED that said Motion for Admission of Counsel Pro Hac Vice is granted for this

 case only. Attorney Stephanie Feingold, New York State Bar #3983541; New Jersey State Bar

 #023182005; and West Virginia State Bar #11770 is hereby allowed to appear and participate on

 behalf of Morgan, Lewis & Bockius, LLP, a party in this case, without objection.



 Date: May __, 2019                          SO ORDERED: ____________________________
                                                         Judge Joseph L. Walsh, III




                                                                                          Exhibit C
                                                                                                         Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 229 of 1382 PageID #: 556




          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and             )
 all others similarly situated,                    )
                                                   )
         Plaintiff,                                )           Cause no. 18SL-CC00617
                                                   )
         vs.                                       )           Division No.2
                                                   )
 COTTER CORPORATION,                               )
 COMMONWELTH EDISON COMPANY,                       )           JURY TRIAL DEMANDED
 EXEON CORPORATION,                                )
 EXELON GENERATION COMPANY, LLC                    )
 DJR HOLDINGS, INC. f/k/a FUTURA                   )
 COATINGS, INC., and ST. LOUIS                     )
 AIRPORT AUTHORITY, A                              )
 DEPARTMENT OF THE CITY OF                         )
 ST. LOUIS                                         )
                                                   )
         Defendants.                               )
                          MOTION FOR PRO HAC VICE ADMISSION OF
                                  CELESTE BRUSTOWICZ

         Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, we respectfully request this

 court to permit Celeste Brustowicz to practice specially in the Twenty-first Judicial Circuit Court

 of St. Louis County as attorney of record for Plaintiff Tamia Banks, on behalf of herself and all

 others similarly situated in case No. 18SL-CC00617 to participate in the trial, proceedings and

 hearings herein. In support of this, Celeste Brustowicz states:

         1.      Celeste Brustowicz is an attorney licensed to practice law and a member of Cooper

 Law Firm LLC, 1525 Religious Street, New Orleans, LA 70130, telephone number (504) 399-

 0009.

         2.      Celeste Brustowicz and the law firm of Cooper Law Firm LLC have been retained

 by Plaintiff to act as counsel in this matter. Celeste Brustowicz desires to be permitted to practice

 specially in this Court as counsel for Plaintiff in the above-styled cause.
                                                                                                         Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 230 of 1382 PageID #: 557




        3.      Celeste Brustowicz is licensed to practice law in the State of Louisiana (Bar #:

 16835), admitted on October 11, 1985, admitted on October 20, 1985, The State of California

 (Bar #: 238686), admitted on December 1, 2005, and the State of Mississippi (Bar #: 104041),

 admitted on April 26, 2012. Celeste Brustowicz is currently licensed and in good standing to

 practice law in each jurisdiction to which she is admitted.

        4.      Neither Celeste Brustowicz, nor any member of Cooper Law Firm is under

 suspension or disbarment by any Court to which they are admitted.

        5.      Celeste Brustowicz is familiar with the Missouri Supreme Court Rules and will at

 all times abide by and comply with those rules as counsel herein.

        4.      Ryan Keane of the law firm Keane Law LLC, 7777 Bonhomme Ave, #1600, St.

 Louis, MO 63105 and Anthony Gray of Johnson Gray LLC, 319 North 4th Street Suite 212, St.

 Louis, MO 63102, have agreed to act as associate counsel herein for Plaintiff and to sponsor the

 attorneys for the pro hac vice admission of Celeste Brustowicz.

        WHEREFORE, Ryan Keane respectfully requests that this Court permit Celeste

 Brustowicz to practice specially in this case as attorney of record for Plaintiff Tamia Banks, on

 behalf of herself and all others similarly situated, and to participate in the trial, proceedings and

 hearings herein. A receipt for payment of pro hac vice fees is attached as Exhibit A.

 Date: May 7, 2019                              Respectfully Submitted,

                                                KEANE LAW LLC

                                            By:/s/ Nathaniel R. Carroll
                                               Ryan A. Keane # 62112
                                               Nathaniel R. Carroll # 67988
                                               7777 Bonhomme Ave, Suite 1600
                                               St. Louis, MO 63105
                                               Phone: (314) 391-4700
                                               Fax: (314) 244-3778
                                               ryan@keanelawllc.com
                                                                                                         Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 231 of 1382 PageID #: 558




                                               nathaniel@keanelawllc.com

                                               JOHNSON GRAY LLC
                                               Anthony Gray
                                               319 North 4th Street Suite 212
                                               St. Louis, MO 63102
                                               (314) 385-9500
                                               agray@johnsongraylaw.com
                                               Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing was served on all counsel and parties
 of record via this court’s Case.net electronic filing and notification system on this 7th day of May,
 2019.

                                               /s/ Nathaniel R. Carroll
                                                                                      Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 232 of 1382 PageID #: 559
                                                                                                       Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 233 of 1382 PageID #: 560




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and             )
 all others similarly situated,                    )
                                                   )
        Plaintiff,                                 )           Cause no. 18SL-CC00617
                                                   )
        vs.                                        )           Division No.2
                                                   )
 COTTER CORPORATION,                               )
 COMMONWELTH EDISON COMPANY,                       )           JURY TRIAL DEMANDED
 EXEON CORPORATION,                                )
 EXELON GENERATION COMPANY, LLC                    )
 DJR HOLDINGS, INC. f/k/a FUTURA                   )
 COATINGS, INC., and ST. LOUIS                     )
 AIRPORT AUTHORITY, A                              )
 DEPARTMENT OF THE CITY OF                         )
 ST. LOUIS                                         )
                                                   )
        Defendants.                                )
                      MOTION FOR PRO HAC VICE ADMISSION OF
                                  VICTOR COBB

        Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, we respectfully request this

 court to permit Victor Cobb to practice specially in the Twenty-first Judicial Circuit Court of St.

 Louis County as attorney of record for Plaintiff Tamia Banks, on behalf of herself and all others

 similarly situated in case No. 18SL-CC00617 to participate in the trial, proceedings and

 hearings herein. In support of this Motion, movant states:

        1. Victor Cobb is licensed to practice law and a member of Cooper Law Firm LLC, 1525

 Religious Street, New Orleans, LA 70130, telephone number (504) 399-0009.

        2. Victor Cobb and the law firm of Cooper Law Firm LLC have been retained by Plaintiff

 to act as counsel in this matter. Victor Cobb desires to be permitted to practice specially in this

 Court as counsel for Plaintiff in the above-styled cause.
                                                                                                        Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 234 of 1382 PageID #: 561




        3. Victor Cobb is licensed to practice law in the State of Louisiana (Bar #: 36830),

 admitted on May 12, 2016. Victor Cobb is currently licensed and in good standing to practice

 law in the jurisdiction to which he is admitted.

        4. Neither Victor Cobb, nor any member of Cooper Law Firm is under suspension or

 disbarment by any Court to which they are admitted.

        5. Victor Cobb is familiar with the Missouri Supreme Court Rules and will at all times

 abide by and comply with those rules as counsel herein.

        5. Ryan Keane of the law firm Keane Law LLC, 7777 Bonhomme Ave, #1600, St.

 Louis, MO 63105 and Anthony Gray of Johnson Gray LLC, 319 North 4th Street Suite 212, St.

 Louis, MO 63102, have agreed to act as associate counsel herein for Plaintiff and to sponsor the

 attorneys for the pro hac vice admission of Victor Cobb.

        WHEREFORE, Ryan Keane respectfully requests that this Court permit Victor Cobb to

 practice specially in this case as attorney of record for Plaintiff Tamia Banks, on behalf of

 herself and all others similarly situated, and to participate in the trial, proceedings and hearings

 herein. A receipt for payment of pro hac vice fees is attached as Exhibit A.

 Date: May 7, 2019                              Respectfully Submitted,

                                                KEANE LAW LLC

                                            By:/s/ Nathaniel R. Carroll
                                               Ryan A. Keane # 62112
                                               Nathaniel R. Carroll # 67988
                                               7777 Bonhomme Ave, Suite 1600
                                               St. Louis, MO 63105
                                               Phone: (314) 391-4700
                                               Fax: (314) 244-3778
                                               ryan@keanelawllc.com
                                               nathaniel@keanelawllc.com

                                                JOHNSON GRAY LLC
                                                Anthony Gray
                                                                                                         Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 235 of 1382 PageID #: 562




                                               319 North 4th Street Suite 212
                                               St. Louis, MO 63102
                                               (314) 385-9500
                                               agray@johnsongraylaw.com
                                               Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing was served on all counsel and parties
 of record via this court’s Case.net electronic filing and notification system on this 7th day of May,
 2019.

                                               /s/ Nathaniel R. Carroll
                                                                                      Electronically Filed - St Louis County - May 09, 2019 - 01:55 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 236 of 1382 PageID #: 563
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 237 of 1382 PageID #: 564
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 238 of 1382 PageID #: 565
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 239 of 1382 PageID #: 566
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 240 of 1382 PageID #: 567
                                                                                            Electronically Filed - St Louis County - May 15, 2019 - 10:45 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 241 of 1382 PageID #: 568




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 TAMIA BANKS, on behalf of herself and all
                                      )
 others similarly situated,           )
                                      )
                        Plaintiff,    )
                                      )
 v.                                   )
                                      )
                                                    Case No. 4:18-cv-00624 (DDN)
 COTTER CORPORATION,                  )
 COMMONWEALTH EDISON COMPANY, )
 EXELON CORPORATION, EXELON           )
 GENERATION COMPANY, LLC, DJR         )
 HOLDINGS, INC, AND ST. LOUIS AIRPORT )
 AUTHORITY, A DEPARTMENT OF THE       )
 CITY OF ST. LOUIS,                   )
                                      )
                        Defendants.   )

                                   ENTRY OF APPEARANCE


           COMES NOW, Dale A. Guariglia, as attorney, and hereby enters his appearance on

 behalf of Defendant, Cotter Corporation N.S.L.



 Dated: April 24, 2018                              Respectfully submitted,


                                                    /s/     Dale A. Guariglia
                                                    BRYAN CAVE LLP
                                                    Dale A. Guariglia, Mo. Bar 32988
                                                    daguariglia@bryancave.com
                                                    Erin L. Brooks, Mo. Bar 62764
                                                    erin.brooks@bryancave.com
                                                    One Metropolitan Square
                                                    211 N. Broadway, Suite 3600
                                                    St. Louis, Missouri 63102
                                                    (314) 259-2000 (telephone)
                                                    (314) 259-2020 (facsimile)

                                                    ATTORNEYS FOR DEFENDANT
                                                    COTTER CORPORATION N.S.L.



11668613
                                                                                      Electronically Filed - St Louis County - May 15, 2019 - 10:45 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 242 of 1382 PageID #: 569




                                             COMMONWEALTH EDISON
                                             COMPANY, EXELON CORPORATION,
                                             and EXELON GENERATION COMPANY,
                                             LLC




11668613                               -2-
                                                                                                         Electronically Filed - St Louis County - May 15, 2019 - 10:45 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 243 of 1382 PageID #: 570




                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 24th day of April, 2018, I electronically filed the above with

 the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

 to counsel of record.

                                                    /s/         Dale A. Guariglia
                                                          ATTORNEYS FOR DEFENDANT
                                                          COTTER CORPORATION N.S.L.
                                                          COMMONWEALTH EDISON
                                                          COMPANY, EXELON CORPORATION,
                                                          and EXELON GENERATION COMPANY,
                                                          LLC




11668613                                          -3-
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 244 of 1382 PageID #: 571
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 245 of 1382 PageID #: 572
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 246 of 1382 PageID #: 573
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 247 of 1382 PageID #: 574
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 248 of 1382 PageID #: 575
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 249 of 1382 PageID #: 576
                                                                                                   Electronically Filed - St Louis County - May 31, 2019 - 01:17 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 250 of 1382 PageID #: 577




              TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                                 ST. LOUIS COUNTY

                                )
 TAMIA BANKS, on behalf of herself and
 all others similarly situated, )
                                )
       Plaintiff,               )
                                )
               vs.              )
                                )
 COTTER CORPORATION,            )
                                                      Cause No. 18SL-CC00617-01
 COMMONWEALTH EDISON            )
 COMPANY, EXELON CORPORATION, )
                                                      Division No. 17
 EXELON GENERATION COMPANY,     )
 LLC, DJR HOLDINGS, INC. f/k/a  )
 FUTURA COATINGS, INC., and ST. )
 LOUIS AIRPORT AUTHORITY, A     )
 DEPARTMENT OF THE CITY OF ST.  )
 LOUIS,                         )
                                )
       Defendants.              )

                                     NOTICE OF HEARING

 TO:      All Parties and Counsel of Record herein

          PLEASE TAKE NOTICE THAT Defendants Cotter Corporation N.S.L.,

 Commonwealth Edison Company, Exelon Corporation, and Exelon Generation Company, LLC

 will call up for hearing their Motion to Dismiss Plaintiff’s Amended Class-Action Petition and

 Suggestions of Law, and their Motion to Dismiss for Lack of Personal Jurisdiction, on Monday,

 June 17, 2019 at 9:00 a.m. or as soon thereafter as counsel may be heard, in Division 17 of the

 Twenty-First Judicial Circuit Court of the State of Missouri, County of St. Louis.




 12723034.1
                                                                                      Electronically Filed - St Louis County - May 31, 2019 - 01:17 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 251 of 1382 PageID #: 578




 Dated: May 31, 2019                  Respectfully submitted,


                                      /s/ Erin Brooks
                                      BRYAN CAVE LEIGHTON PAISNER LLP
                                      Dale A. Guariglia, Mo. Bar 32988
                                      daguariglia@bclplaw.com
                                      Erin L. Brooks, Mo. Bar 62764
                                      erin.brooks@bclplaw.com
                                      One Metropolitan Square
                                      211 N. Broadway, Suite 3600
                                      St. Louis, Missouri 63102
                                      (314) 259-2000 (telephone)
                                      (314) 259-2020 (facsimile)

                                      MORGAN LEWIS & BOCKIUS, LLP
                                      John McGahren, Esq. (ID 046791990N)
                                      Pro hac vice
                                      john.mcgahren@morganlewis.com
                                      Stephanie Feingold, Esq. (ID 23182005N)
                                      Pro hac vice
                                      stephanie.feingold@morganlewis.com
                                      502 Carnegie Center
                                      Princeton, NJ 08540
                                      (609) 919-6600 (telephone)
                                      (609) 919-6701 (facsimile)

                                      ATTORNEYS FOR DEFENDANTS
                                      COTTER CORPORATION, N.S.L.,
                                      COMMONWEALTH EDISON COMPANY,
                                      EXELON CORPORATION, AND EXELON
                                      GENERATION COMPANY, LLC




 12723034.1
                                                                                                    Electronically Filed - St Louis County - May 31, 2019 - 01:17 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 252 of 1382 PageID #: 579




                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 31, 2019, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, providing electronic service to the following:


 KEANE LAW LLC                                      ARMSTRONG TEASDALE LLP
 Ryan A. Keane, # 62112                             John F. Cowling, Mo. Bar 30920
 Alex Braitberg, # 67045                            7700 Forsyth Boulevard, Suite 1800
 7777 Bonhomme Ave., Ste. 1600                      St. Louis, Missouri 63105
 St. Louis, MO 63105                                jcowling@armstrongteasdale.com
 ryan@keanelawllc.com
 alex@keanelawllc.com                               Attorney for the City of St. Louis (the
                                                    owner and operator of St. Louis
                                                    Lambert International Airport®)

 JOHNSON GRAY, LLC
 Anthony D. Gray, # 51534
 319 North 4th Street, Suite 212
 St. Louis, MO 63102
 agray@johnsongraylaw.com

 COOPER LAW FIRM, L.L.C.                            MARTIN JANSKY LAW FIRM, PC
 Barry J. Cooper, Jr.                               S. Martin Janskey, Mo. 47022
 Celeste Brustowicz                                 2001 S. Big Bend Blvd.
 508 St. Philip Street                              St. Louis, Missouri 63117
 New Orleans, LA 70116                              martin@janskylaw.com
 bcooper@sch-llc.com
 cbrustowicz@sch-llc.com                            Attorney for DJR Holdings, Inc.

 RON AUSTIN & ASSOCIATES, L.L.C.
 Ron A. Austin
 920 4th Street
 Gretna, Louisiana 70053
 raustin@austin-associates.net

 Attorneys for Plaintiff and the proposed Class




                                               /s/ Erin Brooks
                                               Attorneys for Cotter Corporation, N.S.L.,
                                               Commonwealth Edison Company, Exelon
                                               Corporation, and Exelon Generation Company,
                                               LLC



 12723034.1
                                                                                                      Electronically Filed - St Louis County - June 05, 2019 - 09:31 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 253 of 1382 PageID #: 580




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and              )
 all others similarly situated,                     )
                                                    )
        Plaintiff,                                  )           Cause no. 18SL-CC00617-01
                                                    )
        vs.                                         )           Division 17
                                                    )
 COTTER CORPORATION,                                )
 COMMONWELTH EDISON COMPANY,                        )           JURY TRIAL DEMANDED
 EXEON CORPORATION,                                 )
 EXELON GENERATION COMPANY, LLC                     )
 DJR HOLDINGS, INC. f/k/a FUTURA                    )
 COATINGS, INC., and ST. LOUIS                      )
 AIRPORT AUTHORITY, A                               )
 DEPARTMENT OF THE CITY OF                          )
 ST. LOUIS                                          )
                                                    )
        Defendants.                                 )


                           MOTION FOR PRO HAC VICE ADMISSION OF
                                            Barry Cooper, Jr.

        Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, we respectfully request this
 court to permit Barry Cooper, Jr. to practice specially in the Twenty-first Judicial Circuit Court
 of St. Louis County as attorney of record for Plaintiff Tamia Banks, on behalf of herself and all
 others similarly situated in case No. 18SL-CC00617 to participate in the trial, proceedings and
 hearings herein. In support of this Motion, movant states:
        1. Barry Cooper, Jr. is licensed to practice law and a member of Cooper Law Firm LLC,
 1525 Religious Street, New Orleans, LA 70130, telephone number (504) 399-0009.
        2. Barry Cooper, Jr. and the law firm of Cooper Law Firm LLC have been retained by
 Plaintiff to act as counsel in this matter. Barry Cooper, Jr. desires to be permitted to practice
 specially in this Court as counsel for Plaintiff in the above-styled cause.
        3. Barry Cooper, Jr. is licensed to practice law in the State of Louisiana (Bar #: 27202),
 admitted on April 20, 2001, and in the State of Texas (Bar#: 24057527), admitted on March 23,
                                                                                                         Electronically Filed - St Louis County - June 05, 2019 - 09:31 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 254 of 1382 PageID #: 581




 2007. Barry Cooper, Jr. is currently licensed and in good standing to practice law in each
 jurisdiction to which he is admitted.
        4. Neither Barry Cooper, Jr., nor any member of Cooper Law Firm is under suspension
 or disbarment by any Court to which they are admitted.
        5. Barry Cooper, Jr. is familiar with the Missouri Supreme Court Rules and will at all
 times abide by and comply with those rules as counsel herein.
        5. Ryan Keane of the law firm Keane Law LLC, 7777 Bonhomme Ave, #1600, St.
 Louis, MO 63105 and Anthony Gray of Johnson Gray LLC, 319 North 4th Street Suite 212, St.
 Louis, MO 63102, have agreed to act as associate counsel herein for Plaintiff and to sponsor the
 attorneys for the pro hac vice admission of Barry Cooper, Jr.
        WHEREFORE, Ryan Keane respectfully requests that this Court permit Barry Cooper
 Jr., to practice specially in this case as attorney of record for Plaintiff Tamia Banks, on behalf of
 herself and all others similarly situated, and to participate in the trial, proceedings and hearings
 herein. A receipt for payment of pro hac vice fees is attached as Exhibit A.
 Dated: June 5, 2019.
                                                        Respectfully Submitted,

                                                        KEANE LAW LLC

                                                By:     /s/Ryan A. Keane
                                                        Ryan A. Keane # 62112
                                                        Nathaniel R. Carroll # 67988
                                                        7777 Bonhomme Avenue, Suite 1600
                                                        St. Louis, Missouri 63105
                                                        Telephone: (314) 391-4700
                                                        Facsimile: (314) 244-3778
                                                        ryan@keanelawllc.com
                                                        nathaniel@keanelawllc.com


                                                        JOHNSON GRAY LLC
                                                        Anthony Gray
                                                        319 North 4th Street Suite 212
                                                        St. Louis, MO 63102
                                                        Telephone: (314) 385-9500
                                                                                                       Electronically Filed - St Louis County - June 05, 2019 - 09:31 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 255 of 1382 PageID #: 582




                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the foregoing was
  served upon filing via this Court’s electronic Case.net filing and notification system on this 5th
  day of June, 2019.

                                               /s/ Ryan A. Keane
                                                                                                                           Electronically Filed - St Louis County - June 05, 2019 - 09:36 AM
6/5/2019   Case: 4:20-cv-01227-JAR Doc.  #:for1-5
                                    Motion         Filed: 09/10/20
                                              PHV Admission                 Page:- 256
                                                            (State Court) (DRB).doc Googleof 1382 PageID #: 583
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                                              MISSOURI CIRCUIT COURT
                                            TWENTY-FIRST JUDICIAL CIRCUIT
                                                 ST. LOUIS COUNTY

            TAMIA BANKS, on behalf of herself and
                                           )
            all others similarly situated, )
                                           )
                 Plaintiff,                )
                                           )
            v.                             )               No. 18SL-CC00617-01
                                           )
            COTTER CORPORATION, et al.,    )               Division 17
                                           )
                 Defendants.               )
                                   MOTION FOR PRO HAC VICE
                             ADMISSION OF DAVID R. BARNEY, JR.

                    Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, the undersigned counsel

            respectfully files this Motion for this Court to permit David R. Barney, Jr., to practice specially in

            this Court, by pro hac vice admission, in order to participate in the trial, proceedings and

            hearings herein on behalf of Plaintiff. In support thereof, counsel avers that the proper fee, in

            accordance with Rule 6 of the Missouri Supreme Court Rules, has been paid and states as

            follows:

                    1.      David R. Barney, Jr., is an attorney licensed to practice law and a member of the

            law firm of Thompson Barney which is located at 2030 Kanawha Boulevard, East, in Charleston,

            West Virginia 25311-2204 and telephone number (304) 343-4401.

                    2.      David R. Barney, Jr., and the law firm of Thompson Barney have been retained by

            Plaintiff to act as counsel in this matter. David R. Barney, Jr., desires to be permitted to practice

            specially in this Court as counsel for Plaintiff in the above-styled cause.




https://docs.google.com/document/d/1_z5zyxOSGKTCjfJ7vBwRIe2XQyWetpkFyKrJbkHWM_I/edit                                 1/3
                                                                                                                        Electronically Filed - St Louis County - June 05, 2019 - 09:36 AM
6/5/2019   Case: 4:20-cv-01227-JAR Doc.  #:for1-5
                                    Motion         Filed: 09/10/20
                                              PHV Admission                 Page:- 257
                                                            (State Court) (DRB).doc Googleof 1382 PageID #: 584
                                                                                           Docs




                    3.        David R. Barney, Jr., is admitted to practice law in the State of West Virginia,

            admitted on September 29, 1999.            David R. Barney, Jr., currently is licensed and in good

            standing to practice law in each jurisdiction to which he is admitted.

                    4.      Neither David R. Barney, Jr., nor any member of the firm of Thompson Barney

            with which David R. Barney, Jr., practices, is under suspension or disbarment by any Court to

            which David R. Barney, Jr., is admitted.

                    5.      David R. Barney, Jr., is familiar with the Missouri Supreme Court Rules and will

            at all times abide by and comply with those rules as counsel herein.

                    6.      Ryan A. Keane of the law firm Keane Law, LLC, which is located at 7777

            Bonhomme Avenue, Suite 1600, in St. Louis, Missouri 63105, has agreed to act as associate

            counsel herein for Plaintiff and to sponsor the Motion for the pro hac vice admission of David R.

            Barney, Jr.

                    7.      A receipt for the aforementioned payment of pro hac vice fees is attached hereto

            as “Exhibit A.”

                    WHEREFORE, Ryan A. Keane respectfully requests that this Court grant the Motion to

            permit David R. Barney, Jr., to practice specially in this case as attorney of record for Plaintiff

            and to participate in the trial, proceedings and hearings herein, enter an Order effectuating this

            decision and provide any other relief deemed necessary or proper.

            Dated: June 5, 2019


                                                                       Respectfully Submitted,

                                                                       KEANE LAW LLC

                                                               By:     /s/Ryan A. Keane
                                                                       Ryan A. Keane # 62112




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6/5/2019   Case: 4:20-cv-01227-JAR Doc.  #:for1-5
                                    Motion         Filed: 09/10/20
                                              PHV Admission                 Page:- 258
                                                            (State Court) (DRB).doc Googleof 1382 PageID #: 585
                                                                                           Docs




                                                                       Nathaniel R. Carroll # 67988
                                                                       7777 Bonhomme Avenue, Suite 1600
                                                                       St. Louis, Missouri 63105
                                                                       Telephone: (314) 391-4700
                                                                       Facsimile: (314) 244-3778
                                                                       ryan@keanelawllc.com
                                                                       nathaniel@keanelawllc.com


                                                                         JOHNSON GRAY LLC
                                                                         Anthony Gray
                                                                         319 North 4th Street Suite 212
                                                                         St. Louis, MO 63102
                                                                         Telephone: (314) 385-9500


                                                CERTIFICATE OF SERVICE

               The undersigned hereby certifies that a true and correct copy of the foregoing was served upon
              filing via this Court’s electronic Case.net filing and notification system on this 5th day of June,
              2019.

                                                                         /s/ Ryan A. Keane




https://docs.google.com/document/d/1_z5zyxOSGKTCjfJ7vBwRIe2XQyWetpkFyKrJbkHWM_I/edit                                3/3
                                                                                                     Electronically Filed - St Louis County - June 05, 2019 - 09:34 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 259 of 1382 PageID #: 586




                                MISSOURI CIRCUIT COURT
                              TWENTY-FIRST JUDICIAL CIRCUIT
                                   ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and
                                )
 all others similarly situated, )
                                )
      Plaintiff,                )
                                )
 v.                             )               No. 18SL-CC00617-01
                                )
 COTTER CORPORATION, et al.,    )               Division 17
                                )
      Defendants.               )
                        MOTION FOR PRO HAC VICE
                  ADMISSION OF KEVIN W. THOMPSON

        Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, the undersigned counsel

 respectfully files this Motion for this Court to permit Kevin W. Thompson, to practice specially

 in this Court, by pro hac vice admission, in order to participate in the trial, proceedings and

 hearings herein on behalf of Plaintiff. In support thereof, counsel avers that the proper fee, in

 accordance with Rule 6 of the Missouri Supreme Court Rules, has been paid and states as

 follows:

        1.      Kevin W. Thompson is an attorney licensed to practice law and a member of the

 law firm of Thompson Barney which is located at 2030 Kanawha Boulevard, East, in Charleston,

 West Virginia 25311-2204 and telephone number (304) 343-4401.

        2.      Kevin W. Thompson and the law firm of Thompson Barney have been retained by

 Plaintiff to act as counsel in this matter. Kevin W. Thompson desires to be permitted to practice

 specially in this Court as counsel for Plaintiff in the above-styled cause.
                                                                                                      Electronically Filed - St Louis County - June 05, 2019 - 09:34 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 260 of 1382 PageID #: 587




        3.         Kevin W. Thompson is admitted to practice law in the State of West Virginia,

 admitted on November 1, 1988. Kevin W. Thompson currently is licensed and in good standing

 to practice law in each jurisdiction to which he is admitted.

        4.      Neither Kevin W. Thompson, nor any member of the firm of Thompson Barney

 with which Kevin W. Thompson practices, is under suspension or disbarment by any Court to

 which Kevin W. Thompson is admitted.

        5.      Kevin W. Thompson is familiar with the Missouri Supreme Court Rules and will

 at all times abide by and comply with those rules as counsel herein.

        6.      Ryan A. Keane of the law firm Keane Law, LLC, which is located at 7777

 Bonhomme Avenue, Suite 1600, in St. Louis, Missouri 63105, has agreed to act as associate

 counsel herein for Plaintiff and to sponsor the Motion for the pro hac vice admission of Kevin W.

 Thompson.

        7.      A receipt for the aforementioned payment of pro hac vice fees is attached hereto

 as “Exhibit A”.

        WHEREFORE, Ryan A. Keane respectfully requests that this Court grant the Motion to

 permit Kevin W. Thompson to practice specially in this case as attorney of record for Plaintiff

 and to participate in the trial, proceedings and hearings herein, enter an Order effectuating this

 decision and provide any other relief deemed necessary or proper.

 Dated: June 5, 2019                                   Respectfully Submitted,

                                                       KEANE LAW LLC

                                               By:     /s/Ryan A. Keane
                                                       Ryan A. Keane # 62112
                                                       Nathaniel R. Carroll # 67988
                                                       7777 Bonhomme Avenue, Suite 1600
                                                       St. Louis, Missouri 63105
                                                                                                       Electronically Filed - St Louis County - June 05, 2019 - 09:34 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 261 of 1382 PageID #: 588




                                                      Telephone: (314) 391-4700
                                                      Facsimile: (314) 244-3778
                                                      ryan@keanelawllc.com
                                                      nathaniel@keanelawllc.com


                                                       JOHNSON GRAY LLC
                                                       Anthony Gray
                                                       319 North 4th Street Suite 212
                                                       St. Louis, MO 63102
                                                       Telephone: (314) 385-9500


                                 CERTIFICATE OF SERVICE
  The undersigned hereby certifies that a true and correct copy of the foregoing was served upon
 filing via this Court’s electronic Case.net filing and notification system on this 5th day of June,
 2019.

                                                        /s/ Ryan A. Keane
                                                                                                          Electronically Filed - St Louis County - June 05, 2019 - 09:28 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 262 of 1382 PageID #: 589




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and              )
 all others similarly situated,                     )
                                                    )
        Plaintiff,                                  )           No. 18SL-CC00617-01
                                                    )
        vs.                                         )           Division 17
                                                    )
 COTTER CORPORATION,                                )
 COMMONWELTH EDISON COMPANY,                        )           JURY TRIAL DEMANDED
 EXEON CORPORATION,                                 )
 EXELON GENERATION COMPANY, LLC                     )
 DJR HOLDINGS, INC. f/k/a FUTURA                    )
 COATINGS, INC., and ST. LOUIS                      )
 AIRPORT AUTHORITY, A                               )
 DEPARTMENT OF THE CITY OF                          )
 ST. LOUIS                                          )
                                                    )
        Defendants.                                 )


                          MOTION FOR PRO HAC VICE ADMISSION OF
                                               Stuart Smith

        Pursuant to Rule 9.03 of the Missouri Supreme Court Rules, we respectfully request this
 court to permit Stuart Smith to practice specially in the Twenty-first Judicial Circuit Court of St.
 Louis County as attorney of record for Plaintiff Tamia Banks, on behalf of herself and all others
 similarly situated in case No. 18SL-CC00617-01 to participate in the trial, proceedings and
 hearings herein. In support of this Motion, movant states:
        1. Stuart Smith is licensed to practice law and a member of Cooper Law Firm LLC,
 1525 Religious Street, New Orleans, LA 70130, telephone number (504) 399-0009.
        2. Stuart Smith and the law firm of Cooper Law Firm LLC have been retained by
 Plaintiff to act as counsel in this matter. Stuart Smith desires to be permitted to practice specially
 in this Court as counsel for Plaintiff in the above-styled cause.
        3. Stuart Smith is licensed to practice law in the State of Louisiana (Bar #: 17805),
 admitted on October 10, 1986. Stuart Smith is currently licensed and in good standing to
 practice law in the jurisdiction to which he is admitted.
                                                                                                        Electronically Filed - St Louis County - June 05, 2019 - 09:28 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 263 of 1382 PageID #: 590




        4. Neither Stuart Smith, nor any member of Cooper Law Firm is under suspension or
 disbarment by any Court to which they are admitted.
        5. Stuart Smith is familiar with the Missouri Supreme Court Rules and will at all times
 abide by and comply with those rules as counsel herein.
        5. Ryan Keane of the law firm Keane Law LLC, 7777 Bonhomme Ave, #1600, St.
 Louis, MO 63105 and Anthony Gray of Johnson Gray LLC, 319 North 4th Street Suite 212, St.
 Louis, MO 63102, have agreed to act as associate counsel herein for Plaintiff and to sponsor the
 attorneys for the pro hac vice admission of Stuart Smith.
        WHEREFORE, Ryan Keane respectfully requests that this Court permit Stuart Smith to
 practice specially in this case as attorney of record for Plaintiff Tamia Banks, on behalf of
 herself and all others similarly situated, and to participate in the trial, proceedings and hearings
 herein. A receipt for payment of pro hac vice fees is attached as Exhibit A.
 Dated: June 5, 2019
                                                        Respectfully Submitted,

                                                        KEANE LAW LLC

                                                By:     /s/Ryan A. Keane
                                                        Ryan A. Keane # 62112
                                                        Nathaniel R. Carroll # 67988
                                                        7777 Bonhomme Avenue, Suite 1600
                                                        St. Louis, Missouri 63105
                                                        Telephone: (314) 391-4700
                                                        Facsimile: (314) 244-3778
                                                        ryan@keanelawllc.com
                                                        nathaniel@keanelawllc.com


                                                        JOHNSON GRAY LLC
                                                        Anthony Gray
                                                        319 North 4th Street Suite 212
                                                        St. Louis, MO 63102
                                                        Telephone: (314) 385-9500
                                                                                                       Electronically Filed - St Louis County - June 05, 2019 - 09:28 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 264 of 1382 PageID #: 591




                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the foregoing was
  served upon filing via this Court’s electronic Case.net filing and notification system on this 5th
  day of June, 2019.

                                               /s/ Ryan A. Keane
                                                                                                  Electronically Filed - St Louis County - June 07, 2019 - 11:40 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 265 of 1382 PageID #: 592




            TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and                 )
 all others similarly situated,                        )
                                Plaintiff,             )
                                                       )
 Vs.                                                   )      Cause No. 18SL-CC00617-01
                                                       )
 COTTER CORPORATION, et al.,                           )      Division No. 17
                                                       )
                               Defendants.             )

                                      NOTICE OF APPEARANCE

        Now comes JAMES F. CLAYBORNE with the law firm of Clayborne, Sabo & Wagner,

 LLP and hereby enters his appearance on behalf of Plaintiff, TAMIA BANKS, on behalf of herself

 and all others similarly situated, in the above-captioned matter.



                                      Respectfully Submitted,

                             CLAYBORNE, SABO & WAGNER LLP

                            By:     /s/ James F. Clayborne___________
                                    James F. Clayborne, #45627
                                        Jennifer Pitzer #64554
                                  525 West Main Street, Suite 105
                                      Belleville, Illinois 62220
                                          T: (618) 239-0187
                                          F: (618) 416-7556
                                     jclayborne@cswlawllp.com
                                       jpitzer@cswlawllp.com
                                        Attorneys for Plaintiff
                                                                                                      Electronically Filed - St Louis County - June 07, 2019 - 11:40 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 266 of 1382 PageID #: 593




                                 CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on this 7th day of June, 2019, he caused the
 foregoing document to be e-filed with the court, and served upon all attorneys of record via the
 Court’s electronic filing system.


                                  /s/ James F. Clayborne
                                                                                                  Electronically Filed - St Louis County - June 07, 2019 - 11:15 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 267 of 1382 PageID #: 594




            TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and                 )
 all others similarly situated,                        )
                                Plaintiff,             )
                                                       )
 Vs.                                                   )        Cause No. 18SL-CC00617-01
                                                       )
 COTTER CORPORATION, et al.,                           )        Division No. 17
                                                       )
                               Defendants.             )

                                       ENTRY OF APPEARANCE

        Now comes JENNIFER C. PITZER with the law firm of Clayborne, Sabo & Wagner, LLP

 and hereby enters her appearance on behalf of Plaintiff, TAMIA BANKS, on behalf of herself and

 all others similarly situated in the above-captioned matter.



                                       Respectfully Submitted,

                             CLAYBORNE, SABO & WAGNER LLP

                              By:      /s/ Jennifer C. Pitzer___________
                                      James F. Clayborne, #45627
                                         Jennifer Pitzer #64554
                                    525 West Main Street, Suite 105
                                       Belleville, Illinois 62220
                                           T: (618) 239-0187
                                           F: (618) 416-7556
                                      jclayborne@cswlawllp.com
                                        jpitzer@cswlawllp.com
                                         Attorneys for Plaintiff
                                                                                                       Electronically Filed - St Louis County - June 07, 2019 - 11:15 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 268 of 1382 PageID #: 595




                                 CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on this 7th day of June, 2019, she caused the
 foregoing document to be e-filed with the court, and served upon all attorneys of record via the
 Court’s electronic filing system.


                                    /s/ Jennifer C. Pitzer
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 269 of 1382 PageID #: 596
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 270 of 1382 PageID #: 597
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 271 of 1382 PageID #: 598
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 272 of 1382 PageID #: 599
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 273 of 1382 PageID #: 600
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 274 of 1382 PageID #: 601
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 275 of 1382 PageID #: 602
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 276 of 1382 PageID #: 603
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 277 of 1382 PageID #: 604
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 278 of 1382 PageID #: 605
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 279 of 1382 PageID #: 606
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 280 of 1382 PageID #: 607
                                                                                                    Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 281 of 1382 PageID #: 608




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                  )
 all others similarly situated,   )
                                  )
       Plaintiff,                 )                          Cause No. 18SL-CC00617-01
                                  )
       vs.                        )                          Division No. 17
                                  )
 COTTER CORPORATION,              )
 COMMONWEALTH EDISON COMPANY,     )
 EXELON CORPORATION,              )
 EXELON GENERATION COMPLANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA  )
 COATINGS, INC., and ST. LOUIS    )
 SIRPORT AUTHORITY, A             )
 DEPARTMENT OF THE CITY OF        )
 ST. LOUIS                        )
                                  )
       Defendants.                )


                MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE


        Comes now Timothy Hulla, attorney for Plaintiff, and requests this Court grant the

 application for admission submitted by Attorney Michael G. Stag, pursuant to Rule 9.03 of the

 Missouri Supreme Court Rules. In support of this Motion, movant states:

    1. That the undersigned is an attorney licensed to practice law in the state of Missouri;

    2. Michael G. Stag is an attorney licensed to practice law in Louisiana and partner of the

        firm STAG LIUZZA, L.L.C., 365 Canal Street, Suite 2850, New Orleans, LA 70130,

        (504) 593-9600;

    3. Michael Stag is currently licensed and in good standing in the State of Louisiana, and has

        completed the application attached as an exhibit to this Motion;
                                                                                                    Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 282 of 1382 PageID #: 609




    4. That the fee of $410.00 pursuant to Rule 6.01(m) has been paid and the receipt is attached

        as an exhibit to this Motion;

    5. That the undersigned is aware and agrees that if the Court grants this Motion, he remains

        designated as local counsel on behalf of the party in this matter.



        WHEREFORE, the undersigned respectfully prays that this Court enter an order

 granting the motion for admission pro hac vice on behalf of the applicant, for this case only.



                                                      Respectfully submitted,
                                                      NAPOLI LAW PLLC

                                                      By: /s/ Timothy Hulla
                                                         Timothy Hulla, Bar No. 40119
                                                         Mark Twain Plaza III
                                                         105 West Vandalia Street, Suite 475
                                                         Edwardsville, IL 62025

                                                          ATTORNEY FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was filed with the Court

 and served to all counsel of record via EFS on the 10th day of June, 2019.


                                                               /s/ Timothy Hulla______________
                                                                                                  Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 283 of 1382 PageID #: 610




           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                  )
 all others similarly situated,   )
                                  )
       Plaintiff,                 )                          Cause No. 18SL-CC00617-01
                                  )
       vs.                        )                          Division No. 17
                                  )
 COTTER CORPORATION,              )
 COMMONWEALTH EDISON COMPANY,     )
 EXELON CORPORATION,              )
 EXELON GENERATION COMPLANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA  )
 COATINGS, INC., and ST. LOUIS    )
 SIRPORT AUTHORITY, A             )
 DEPARTMENT OF THE CITY OF        )
 ST. LOUIS                        )
                                  )
       Defendants.                )


                                 ORDER FOR ADMISSION
                                OF COUNSEL PRO HAC VICE

         The above-entitled matter having come before the Court on the motion of counsel

 accompanied by the application of Michael G. Stag to be admitted to appear and participate in

 the above-entitled cause, and the Court being fully advised in the premises:

         IT IS ORDERED that said Motion for Admission of Counsel Pro Hac Vice is granted for

 this case only. Attorney Michael G. Stag is hereby allowed to appear and participate on behalf

 of Plaintiff.




 DATE: _______________                SO ORDERED:__________________________________
                                                                                      Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 284 of 1382 PageID #: 611




              EXHIBIT A
                                                                                                     Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 285 of 1382 PageID #: 612




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                  )
 all others similarly situated,   )
                                  )
       Plaintiff,                 )                         Cause No. 18SL-CC00617-01
                                  )
       vs.                        )                         Division No. 17
                                  )
 COTTER CORPORATION,              )
 COMMONWEALTH EDISON COMPANY,     )
 EXELON CORPORATION,              )
 EXELON GENERATION COMPLANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA  )
 COATINGS, INC., and ST. LOUIS    )
 SIRPORT AUTHORITY, A             )
 DEPARTMENT OF THE CITY OF        )
 ST. LOUIS                        )
                                  )
       Defendants.                )


             APPLICATION FOR ADMISSION OF COUNSEL PRO HAC VICE


         I, Michael G. Stag, pursuant to Supreme Court Rule 9.03 and the Local Rules of the
 Twenty-First Judicial Circuit, hereby request permission to appear and participate as an attorney
 at law in the above entitled cause, on behalf of plaintiff in this cause.

         In support of this application, and under penalties of perjury as provided by law, the
 undersigned certifies that the statements set forth in this instrument are true and correct, and
 therefore states as follows:

        1.     My name is Michael G. Stag. I am a licensed attorney in good standing in the
               State of Louisiana. My bar number in the State of Louisiana is 23314.

        2.     I have never been censured, sanctioned, suspended, disbarred, or otherwise
               disciplined by any attorney disciplinary authority of any state.

        3.     I have read, am familiar with, and will abide by, the Missouri Code of Civil
               Procedure, Missouri Supreme Court Rules, and Local Rules of the Twenty-First
               Judicial Circuit. In particular, I have read and am familiar with the Rules of
               Professional Conduct set forth in Rule 4 and agree to become subject to discipline
               by the courts of this state.
                                                                                                    Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 286 of 1382 PageID #: 613




       4.    I agree to immediately notify the Court and all counsel of record in the event any
             information provided in this application changes or becomes inaccurate.

       5.    I authorize the Administrator of any attorney registration and disciplinary
             authority to disclose to the Presiding Judge in this cause all information contained
             in the files of such authority concerning my current status, any complaints that
             have been made, and the disposition thereof.


 Name of Applicant:         Michael G. Stag
 Firm name:                 Stag Liuzza L.L.C.
 Business address:          365 Canal Street, Suite 2850, New Orleans, LA 70130
 Telephone:                 (504) 593-9600
 E-mail:                    mstag@stagliuzza.com




             _________________________
             Michael G. Stag
                                                                                      Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 287 of 1382 PageID #: 614




              EXHIBIT B
                                                                                      Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 288 of 1382 PageID #: 615
                                                                                                    Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 289 of 1382 PageID #: 616




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                  )
 all others similarly situated,   )
                                  )
       Plaintiff,                 )                          Cause No. 18SL-CC00617-01
                                  )
       vs.                        )                          Division No. 17
                                  )
 COTTER CORPORATION,              )
 COMMONWEALTH EDISON COMPANY,     )
 EXELON CORPORATION,              )
 EXELON GENERATION COMPLANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA  )
 COATINGS, INC., and ST. LOUIS    )
 SIRPORT AUTHORITY, A             )
 DEPARTMENT OF THE CITY OF        )
 ST. LOUIS                        )
                                  )
       Defendants.                )


                MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE


        Comes now Timothy Hulla, attorney for Plaintiff, and requests this Court grant the

 application for admission submitted by Attorney Michael G. Stag, pursuant to Rule 9.03 of the

 Missouri Supreme Court Rules. In support of this Motion, movant states:

    1. That the undersigned is an attorney licensed to practice law in the state of Missouri;

    2. Michael G. Stag is an attorney licensed to practice law in Louisiana and partner of the

        firm STAG LIUZZA, L.L.C., 365 Canal Street, Suite 2850, New Orleans, LA 70130,

        (504) 593-9600;

    3. Michael Stag is currently licensed and in good standing in the State of Louisiana, and has

        completed the application attached as an exhibit to this Motion;
                                                                                                    Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 290 of 1382 PageID #: 617




    4. That the fee of $410.00 pursuant to Rule 6.01(m) has been paid and the receipt is attached

        as an exhibit to this Motion;

    5. That the undersigned is aware and agrees that if the Court grants this Motion, he remains

        designated as local counsel on behalf of the party in this matter.



        WHEREFORE, the undersigned respectfully prays that this Court enter an order

 granting the motion for admission pro hac vice on behalf of the applicant, for this case only.



                                                      Respectfully submitted,
                                                      NAPOLI LAW PLLC

                                                      By: /s/ Timothy Hulla
                                                         Timothy Hulla, Bar No. 40119
                                                         Mark Twain Plaza III
                                                         105 West Vandalia Street, Suite 475
                                                         Edwardsville, IL 62025

                                                          ATTORNEY FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was filed with the Court

 and served to all counsel of record via EFS on the 10th day of June, 2019.


                                                               /s/ Timothy Hulla______________
                                                                                                  Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
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           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                  )
 all others similarly situated,   )
                                  )
       Plaintiff,                 )                          Cause No. 18SL-CC00617-01
                                  )
       vs.                        )                          Division No. 17
                                  )
 COTTER CORPORATION,              )
 COMMONWEALTH EDISON COMPANY,     )
 EXELON CORPORATION,              )
 EXELON GENERATION COMPLANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA  )
 COATINGS, INC., and ST. LOUIS    )
 SIRPORT AUTHORITY, A             )
 DEPARTMENT OF THE CITY OF        )
 ST. LOUIS                        )
                                  )
       Defendants.                )


                                 ORDER FOR ADMISSION
                                OF COUNSEL PRO HAC VICE

         The above-entitled matter having come before the Court on the motion of counsel

 accompanied by the application of Michael G. Stag to be admitted to appear and participate in

 the above-entitled cause, and the Court being fully advised in the premises:

         IT IS ORDERED that said Motion for Admission of Counsel Pro Hac Vice is granted for

 this case only. Attorney Michael G. Stag is hereby allowed to appear and participate on behalf

 of Plaintiff.




 DATE: _______________                SO ORDERED:__________________________________
                                                                                      Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 292 of 1382 PageID #: 619




              EXHIBIT A
                                                                                                     Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 293 of 1382 PageID #: 620




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                  )
 all others similarly situated,   )
                                  )
       Plaintiff,                 )                         Cause No. 18SL-CC00617-01
                                  )
       vs.                        )                         Division No. 17
                                  )
 COTTER CORPORATION,              )
 COMMONWEALTH EDISON COMPANY,     )
 EXELON CORPORATION,              )
 EXELON GENERATION COMPLANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA  )
 COATINGS, INC., and ST. LOUIS    )
 SIRPORT AUTHORITY, A             )
 DEPARTMENT OF THE CITY OF        )
 ST. LOUIS                        )
                                  )
       Defendants.                )


             APPLICATION FOR ADMISSION OF COUNSEL PRO HAC VICE


         I, Michael G. Stag, pursuant to Supreme Court Rule 9.03 and the Local Rules of the
 Twenty-First Judicial Circuit, hereby request permission to appear and participate as an attorney
 at law in the above entitled cause, on behalf of plaintiff in this cause.

         In support of this application, and under penalties of perjury as provided by law, the
 undersigned certifies that the statements set forth in this instrument are true and correct, and
 therefore states as follows:

        1.     My name is Michael G. Stag. I am a licensed attorney in good standing in the
               State of Louisiana. My bar number in the State of Louisiana is 23314.

        2.     I have never been censured, sanctioned, suspended, disbarred, or otherwise
               disciplined by any attorney disciplinary authority of any state.

        3.     I have read, am familiar with, and will abide by, the Missouri Code of Civil
               Procedure, Missouri Supreme Court Rules, and Local Rules of the Twenty-First
               Judicial Circuit. In particular, I have read and am familiar with the Rules of
               Professional Conduct set forth in Rule 4 and agree to become subject to discipline
               by the courts of this state.
                                                                                                    Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 294 of 1382 PageID #: 621




       4.    I agree to immediately notify the Court and all counsel of record in the event any
             information provided in this application changes or becomes inaccurate.

       5.    I authorize the Administrator of any attorney registration and disciplinary
             authority to disclose to the Presiding Judge in this cause all information contained
             in the files of such authority concerning my current status, any complaints that
             have been made, and the disposition thereof.


 Name of Applicant:         Michael G. Stag
 Firm name:                 Stag Liuzza L.L.C.
 Business address:          365 Canal Street, Suite 2850, New Orleans, LA 70130
 Telephone:                 (504) 593-9600
 E-mail:                    mstag@stagliuzza.com




             _________________________
             Michael G. Stag
                                                                                      Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 295 of 1382 PageID #: 622




              EXHIBIT B
                                                                                      Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 296 of 1382 PageID #: 623
                                                                                      Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 297 of 1382 PageID #: 624




              EXHIBIT A
                                                                                                     Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 298 of 1382 PageID #: 625




         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                  )
 all others similarly situated,   )
                                  )
       Plaintiff,                 )                         Cause No. 18SL-CC00617-01
                                  )
       vs.                        )                         Division No. 17
                                  )
 COTTER CORPORATION,              )
 COMMONWEALTH EDISON COMPANY,     )
 EXELON CORPORATION,              )
 EXELON GENERATION COMPLANY, LLC, )
 DJR HOLDINGS, INC. f/k/a FUTURA  )
 COATINGS, INC., and ST. LOUIS    )
 SIRPORT AUTHORITY, A             )
 DEPARTMENT OF THE CITY OF        )
 ST. LOUIS                        )
                                  )
       Defendants.                )


             APPLICATION FOR ADMISSION OF COUNSEL PRO HAC VICE


         I, Ashley M. Liuzza, pursuant to Supreme Court Rule 9.03 and the Local Rules of the
 Twenty-First Judicial Circuit, hereby request permission to appear and participate as an attorney
 at law in the above entitled cause, on behalf of plaintiff in this cause.

         In support of this application, and under penalties of perjury as provided by law, the
 undersigned certifies that the statements set forth in this instrument are true and correct, and
 therefore states as follows:

        1.     My name is Ashley M. Liuzza. I am a licensed attorney in good standing in the
               State of Louisiana. My bar number in the State of Louisiana is 34645.

        2.     I have never been censured, sanctioned, suspended, disbarred, or otherwise
               disciplined by any attorney disciplinary authority of any state.

        3.     I have read, am familiar with, and will abide by, the Missouri Code of Civil
               Procedure, Missouri Supreme Court Rules, and Local Rules of the Twenty-First
               Judicial Circuit. In particular, I have read and am familiar with the Rules of
               Professional Conduct set forth in Rule 4 and agree to become subject to discipline
               by the courts of this state.
                                                                                                    Electronically Filed - St Louis County - July 03, 2019 - 11:17 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 299 of 1382 PageID #: 626




       4.    I agree to immediately notify the Court and all counsel of record in the event any
             information provided in this application changes or becomes inaccurate.

       5.    I authorize the Administrator of any attorney registration and disciplinary
             authority to disclose to the Presiding Judge in this cause all information contained
             in the files of such authority concerning my current status, any complaints that
             have been made, and the disposition thereof.


 Name of Applicant:         Ashley M. Liuzza
 Firm name:                 Stag Liuzza L.L.C.
 Business address:          365 Canal Street, Suite 2850, New Orleans, LA 70130
 Telephone:                 (504) 593-9600
 E-mail:                    aliuzza@stagliuzza.com




             _________________________
             Ashley M. Liuzza
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 300 of 1382 PageID #: 627
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 301 of 1382 PageID #: 628
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 302 of 1382 PageID #: 629
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 303 of 1382 PageID #: 630
                                                                                                  Electronically Filed - St Louis County - July 11, 2019 - 04:00 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 304 of 1382 PageID #: 631




                               IN THE CIRCUIT COURT
                                 STATE OF MISSOURI
                           TWENTY-FIRST JUDICIAL CIRCUIT
                                   (St. Louis County)


 TAMIA BANKS, on behalf of herself and               )
 all others similarly situated,                      )
                                                     )
        Plaintiff,                                   )      Cause No. 18SL-CC00617-01
                                                     )
        vs.                                          )      Div. 17
                                                     )
 COTTER CORPORATION,                                 )
 COMMONWEALTH EDISON COMPANY,                        )
 EXELON CORPORATION,                                 )
 EXELON GENERATION COMPANY, LLC,                     )
 DJR HOLDINGS, INC., f/k/a FUTURA                    )
 COATINGS, INC., and ST. LOUIS                       )
 AIRPORT AUTHORITY, A                                )
 DEPARTMENT OF THE CITY OF                           )
 ST. LOUIS,                                          )
                                                     )
        Defendants.                                  )

 MOTION TO WITHDRAW MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE

        COMES NOW Timothy Hulla and moves to withdraw the previously filed Motion for

 Admission of Counsel pursuant to Missouri Supreme Court Rule 9.03, and in support thereof

 states the following:

        1.      Counsel has recently learned that client Tamia Banks has decided to be

 represented by counsel other than Michael G. Stag, Ashley Liuzza, and Matthew Rogenes.

        2.      Due to Ms Banks’ decision, the Court does not need to consider the Motion for

 Admission of Counsel.

        WHEREFORE, the Court should grant this Motion to Withdraw Motion for Admission of

 Counsel pursuant to Missouri Supreme Court Rule 9.03 and render such other relief as the Court

 deems just and proper.




                                            Page 1 of 2
                                   Cause No. 18SL-CC00617-01
                                                                                                     Electronically Filed - St Louis County - July 11, 2019 - 04:00 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 305 of 1382 PageID #: 632




                                                      Respectfully submitted,

                                                      NAPOLI SHKOLNIK, PLLC

                                                      By: /s/ Timothy Hulla
                                                         Timothy Hulla, Bar No. 40119
                                                         Mark Twain Plaza III
                                                         105 West Vandalia Street, Suite 475
                                                         Edwardsville, IL 62025
                                                         Telephone: (618) 307-4528
                                                         Fax: (313) 610-5680
                                                         THulla@Napolilaw.com
                                                         ATTORNEY FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was filed with the Court and

 served to all counsel of record via EFS on the 11th day of July, 2019.


                                                              /s/ Timothy P. Hulla




                                             Page 2 of 2
                                   Cause No. 18SL-CC00617-01
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 306 of 1382 PageID #: 633
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 307 of 1382 PageID #: 634
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 308 of 1382 PageID #: 635
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 309 of 1382 PageID #: 636
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 310 of 1382 PageID #: 637
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 311 of 1382 PageID #: 638
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 312 of 1382 PageID #: 639
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 313 of 1382 PageID #: 640
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 314 of 1382 PageID #: 641
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 315 of 1382 PageID #: 642
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 316 of 1382 PageID #: 643
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 317 of 1382 PageID #: 644
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 318 of 1382 PageID #: 645
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 319 of 1382 PageID #: 646
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 320 of 1382 PageID #: 647
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 321 of 1382 PageID #: 648
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 322 of 1382 PageID #: 649
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 323 of 1382 PageID #: 650
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 324 of 1382 PageID #: 651
                                                                                                     Electronically Filed - St Louis County - October 01, 2019 - 04:14 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 325 of 1382 PageID #: 652




            TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and               )
 all others similarly situated,                      )
                                Plaintiff,           )
                                                     )
 Vs.                                                 )      Cause No. 18SL-CC00617-01
                                                     )
 COTTER CORPORATION, et al.,                         )      Division No. 17
                                                     )
                              Defendants.            )


                                    NOTICE OF HEARING

        BE ADVISED THAT a hearing on Clayborne & Wagner, LLP’s Motion to Withdraw as

 Counsel has been set on Friday, October 18, 2019 at 9:00 a.m., before the Honorable Joseph Walsh,

 at the St. Louis County Courthouse located at 105 S. Central Avenue, Clayton, Missouri, at which

 time and place you may appear if you so desire.


                                     Respectfully Submitted,

                            CLAYBORNE, SABO & WAGNER LLP

                                /s/ James F. Clayborne____
                                    James F. Clayborne, #45627
                                     Jennifer C. Pitzer, #64554
                                 525 West Main Street, Suite 105
                                     Belleville, Illinois 62220
                                         T: (618) 239-0187
                                         F: (618) 416-7556
                                    jclayborne@cswlawllp.com
                                                                                                      Electronically Filed - St Louis County - October 01, 2019 - 04:14 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 326 of 1382 PageID #: 653




                                 CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on this 1st day of October, 2019, he caused
 a true and correct copy of Notice of Hearing to be e-filed and served upon all attorneys of record
 via the Court’s electronic filing system.


                                  /s/ James F. Clayborne
                                                                                                       Electronically Filed - St Louis County - October 01, 2019 - 04:12 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 327 of 1382 PageID #: 654




             TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                               ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and                 )
 all others similarly situated,                        )
                                Plaintiff,             )
                                                       )
 Vs.                                                   )        Cause No. 18SL-CC00617-01
                                                       )
 COTTER CORPORATION, et al.,                           )        Division No. 17
                                                       )
                                Defendants.            )

                               MOTION TO WITHDRAW AS COUNSEL

        COMES NOW the law firm of CLAYBORNE & WAGNER LLP, and hereby move to

 Withdraw as Counsel for Plaintiff, TAMIA BANKS, on behalf of herself and all others similarly

 situated in the above-captioned matter, and as grounds for same, state as follows:

        1.      That on or about June 7, 2019 we filed an Entry of Appearance for James F.

 Clayborne and Jennifer C. Pitzer on behalf of Plaintiff, TAMIA BANKS, on behalf of herself and

 all others similarly situated in the above-captioned matter.

        2.      That it has recently come to our attention that representing Plaintiff, TAMIA

 BANKS, on behalf of herself and all others similarly situated in the above-captioned matter creates

 a conflict with an already existing client.

        4.      That we have not been able to obtain a signed waiver from our existing client.

        WHEREFORE, CLAYBORNE & WAGNER LLP, prays this Court enter an order

 allowing our firm to withdraw as counsel for Plaintiff, TAMIA BANKS, on behalf of herself and

 all others similarly situated in the above-captioned matter.
                                                                                                      Electronically Filed - St Louis County - October 01, 2019 - 04:12 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 328 of 1382 PageID #: 655




                                     Respectfully Submitted,

                            CLAYBORNE, SABO & WAGNER LLP

                                /s/ James F. Clayborne____
                                    James F. Clayborne, #45627
                                     Jennifer C. Pitzer, #64554
                                 525 West Main Street, Suite 105
                                     Belleville, Illinois 62220
                                         T: (618) 239-0187
                                         F: (618) 416-7556
                                    jclayborne@cswlawllp.com




                                 CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on this 1st day of October, 2019, he caused
 a true and correct copy of Motion to Withdraw as Counsel to be e-filed and served upon all
 attorneys of record via the Court’s electronic filing system.


                                  /s/ James F. Clayborne
                                                                                                      Electronically Filed - St Louis County - October 11, 2019 - 03:51 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 329 of 1382 PageID #: 656




                      IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                 STATE OF MISSOURI

  TAMIA BANKS, on behalf of herself and all
  others similarly situated,
                                                     Case No. 18SL-CC00617-01
                           Plaintiff,
                                                     Div. 17
  v.

  COTTER CORPORATION., et al.,

                           Defendants.


                                       NOTICE OF HEARING

        YOU ARE HEREBY NOTIFIED that Plaintiff, by and through her attorneys of record,

 will call up for hearing Plaintiff’s Motion for Leave to File Second Amended Class Action Petition

 in St. Louis County Circuit Court Division 17 on Friday, October 18, 2019 at 9:00 a.m. or as soon

 thereafter as counsel may be heard.

 Dated: October 11, 2019                      Respectfully submitted,

                                              KEANE LAW LLC

                                              /s/ Nathaniel R. Carroll
                                              Ryan A. Keane, # 62112
                                              Nathaniel R. Carroll, # 67988
                                              7777 Bonhomme Ave, Ste 1600
                                              St. Louis, MO 63105
                                              Ph: (314) 391-4700
                                              Fx: (314) 244-3778
                                              ryan@keanelawllc.com
                                              nathaniel@keanelawllc.com

                                              JOHNSON GRAY, LLC
                                              Anthony D. Gray, # 51534
                                              319 North 4th Street, Suite 212
                                              St. Louis, MO 63102
                                              Phone: (314) 385- 9500
                                              agray@johnsongraylaw.com


                                                 1
                                                                                                     Electronically Filed - St Louis County - October 11, 2019 - 03:51 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 330 of 1382 PageID #: 657




                                                and

                                                COOPER LAW FIRM, L.L.C.
                                                Stuart Smith LA Bar # 17805 pro hac vice
                                                Barry J. Cooper, Jr., TX Bar # 24057527 pro hac
                                                vice
                                                Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                                Victor Cobb LA Bar # 36830 pro hac vice
                                                1525 Religious Street
                                                New Orleans, LA 70130
                                                Phone: (504) 566-1558
                                                ssmith@sch-llc.com
                                                bcooper@sch-llc.com
                                                cbrustowicz@sch-llc.com
                                                vcobb@sch-llc.com

                                                and

                                                Kevin W. Thompson (WV Bar #5062) pro hac vice
                                                David R. Barney, Jr. (WV Bar #7958) pro hac vice
                                                2030 Kanawha Boulevard, East
                                                Charleston, WV 25311
                                                Telephone: 304-343-4401
                                                Facsimile: 304-343-4405
                                                Email: kwthompson@gmail.com

                                                Attorneys for Plaintiffs and proposed Class


                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 11, 2019, a true and accurate copy of

 the foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.



                                                /s/ Nathaniel R. Carroll




                                                   2
                                                                                                      Electronically Filed - St Louis County - October 11, 2019 - 03:50 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 331 of 1382 PageID #: 658




                        IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                   STATE OF MISSOURI

  TAMIA BANKS, on behalf of herself and all
  others similarly situated,
                                                      Case No. 18SL-CC00617-01
                             Plaintiff,
                                                      Div. 17
  v.

  COTTER CORPORATION., et al.,

                             Defendants.


                        PLAINTIFF’S MOTION FOR LEAVE TO FILE
                       SECOND AMENDED CLASS ACTION PETITION

        COMES NOW Plaintiff Tamia Banks, by and through her attorneys, and for her Motion

 for Leave to File Second Amended Class Action Petition pursuant to Missouri Rule of Civil

 Procedure 52 and 55.33, states as follows:

        1.        On February 18, 2018, Plaintiff Banks filed this class action lawsuit against

 Defendants and, on April 2, 2018, Plaintiff filed an Amended Class Action Petition.

        2.        On April 18, 2018, Defendants removed this case to federal court.

        3.        On March 29, 2019, after extensive briefing and oral argument, the District Court

 for the Eastern District of Missouri entered an order remanding this case back to St. Louis County

 Circuit Court.

        4.        Plaintiff Banks resides in and owns real property that has been contaminated by

 Defendants’ conduct.

        5.        By way of amendment to her Petition, Plaintiff Banks now seeks to add additional

 Plaintiffs and seeks to drop two Defendants.




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        6.      Ronnie Hooks, Barbara Hooks, Joel Hogan, Kenneth Niebling, Kendall Lacy,

 Tanja Lacy, Willie Clay, Bobbie Jean Clay, Angela Statum, and Missouri Rentals Company, LLC,

 the proposed additional named Plaintiffs (hereinafter “Additional Plaintiffs”), also reside in in

 and/or own real property that has been contaminated by Defendants’ conduct.

        7.      Plaintiff Banks and the Additional Plaintiffs all reside in and/or own real property

 located in the Coldwater Creek floodplain. In addition, Plaintiff Banks and the Additional

 Plaintiffs are residents and citizens of the State of Missouri.

        8.      Plaintiff Banks seeks to add the Additional Plaintiffs as named Plaintiffs pursuant

 to the Missouri Supreme Court Rules as well as supporting case law.

        9.      The proposed Second Amended Class Action Petition also includes amended

 factual allegations with regard to the liability of certain defendants, and removes Defendants

 Exelon Corporation and Exelon Generation Company, LLC, as parties to this case.

        10.     Rule 52.06 states that “Parties may be dropped or added by order of the court on

 motion of any party or of its own initiative at any stage of the action and on such terms as are just.”

        11.     Rule 55.33(a) states that “leave to amend pleadings shall be freely given when

 justice so requires.”

        12.     Accordingly, Plaintiff seeks leave of this Court to file her Second Amended Class

 Action Petition, as attached hereto and labeled Exhibit 1.

        13.     Missouri courts have held that “motions to amend to add or substitute a party should

 be freely granted when justice so requires. Missouri rules of procedure provide that a party may

 amend his pleadings at any time by leave of the court and that such leave should be freely given.”

 Asmus v. Capital Region Family Practice, 115 S.W.3d 427, 432 (Mo. App. W.D. 2003) (citing

 Rules 52.06 and 55.33(a) and Sher v. Chand, 889 S.W.2d 79, 83 (Mo. App. E.D. 1994)).



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 “Furthermore, the trial judge has broad discretion to permit amendment of the pleadings at any

 stage of the proceedings, even after verdict.” Id.

        14.     In addition, Rule 52.05(a) allows for joinder of persons who are not “necessary

 parties” but have a common legal or factual interest in the case. The rule provides for joinder of

 parties as plaintiffs or defendants: “All persons may join in one action as plaintiffs if they assert

 any right to relief jointly, severally, or in the alternative in respect of or arising out of the same

 transaction, occurrence or series of transactions or occurrences and if any question of law or fact

 common to all of them will arise in the action.” MO. R. CIV. P. 52.05(a).

        15.     Plaintiff Banks and the Additional Plaintiffs are all directly affected by Defendants’

 conduct, and all seek relief arising out of same conduct that caused contamination of their property.

        16.     Adding the Additional Plaintiffs to this action will not prejudice Defendants, nor

 will the inclusion of the Additional Plaintiffs cause any undue delay. No trial date has been set in

 this case, and no scheduling or discovery order has been entered by the Court. As such, Plaintiff’s

 Motion for Leave to Amend should be freely given.

        17.     As of the date of this filing, only Defendant City of St. Louis, by and through its

 counsel, consented to Plaintiff’s request to file a Second Amended Petition. The other remaining

 Defendants have not stated yet whether they consent or oppose.

        WHEREFORE, Plaintiff Banks prays that this Court grant Plaintiff’s Motion for Leave to

 File Second Amended Class Action Petition, as attached hereto as Exhibit 1, and for such other

 and further relief as this Court deems proper.

 Dated: October 11, 2019                          Respectfully submitted,

                                                  KEANE LAW LLC

                                                  /s/ Nathaniel R. Carroll
                                                  Ryan A. Keane, # 62112

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                                      vice
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 11, 2019, a true and accurate copy of

 the foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.



                                                /s/ Nathaniel R. Carroll




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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS, )
 BARBARA HOOKS, JOEL HOGAN,      )
 KENNETH NIEBLING, KENDALL LACY, )
 TANJA LACY, WILLIE CLAY,        )
 BOBBIE JEAN CLAY, ANGELA STATUM,)
 and MISSOURI RENTALS            )
 COMPANY, LLC, on behalf of themselves
                                 )
 and all others similarly situated,
                                 )
                                 )
                                 )
       Plaintiffs,               )                           Cause No. 18SL-CC00617
                                 )
       vs.                       )                           Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                              JURY TRIAL DEMANDED
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                      SECOND AMENDED CLASS ACTION PETITION

        COME NOW Plaintiffs Tamia Banks, Rev. Ronnie Hooks, Barbara Hooks, Joel Hogan,

 Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie Jean Clay, Angela Statum, and

 Missouri Rentals Company, LLC, on behalf of themselves and all others similarly situated, by and

 through counsel, and for their Second Amended Class Action Petition and causes of action against

 Defendants Cotter Corporation, Commonwealth Edison Company, DJR Holdings, Inc. f/k/a Futura

 Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis, states

 and alleges as follows:
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        1.       Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City highly concentrated uranium with

 abnormal levels of radium from Africa. This particular ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of

 the most harmful on Earth, Defendants negligently moved them around St. Louis, treating the

 radioactive materials with less care than a reasonable person might give in moving common

 household garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis

 City to the St. Louis Airport, then to Hazelwood.

        2.      Radioactive materials have been and will likely continue to be stored in bulk, on

 the ground, open to the elements, and unattended at sites on and adjacent to Coldwater Creek,

 which runs throughout North St. Louis County and is a tributary for the Missouri River. These

 sites included the St. Louis Airport Site (“SLAPS”), a storage facility on Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”) part of which later became the Hazelwood Interim

 Storage Site (“HISS”). The Latty Avenue site and the HISS site are contained in the properties

 located at 9170 Latty Avenue and 9200 Latty Avenue in Hazelwood, Missouri.

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing



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 and prodding their backyards and sampling the dust of their vacuum cleaners to identify the

 quantity and toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste

 found today in the real property, which consists of businesses and homes, surrounding the

 Coldwater Creek carries the distinct fingerprint (or profile) of the ore which had been processed

 in St. Louis and possessed by Defendants and/or their predecessors in interest.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous

 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

 defects may take a number of years after exposure to the radioactive material to appear.

        6.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the local public about the widespread contamination Defendants have

 caused and minimizing the immense risks to public health and safety that resulted from

 Defendants’ actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on a limited class

 of victims.

        8.      Plaintiffs, as well as all members of the proposed class, have sustained significant

 damages as a result of Defendants’ conduct. Defendants should compensate Plaintiffs for their



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 damages, and provide further relief as set forth below in this Petition.

        9.      Pursuant to Missouri common law applicable at the time of Defendants’ tortious

 conduct, which occurred prior to the 2005 enactment of R.S.Mo. § 537.067, Defendants are jointly

 and severally liable for any and all damages Plaintiffs and the Class have sustained as a result of

 Defendants’ negligent handling, storing and/or disposing of radioactive materials, including,

 without limitation, any incidental, consequential, nuisance, and trespass damages.

        10.     Upon information and belief, by acquiring and continuing to operate ongoing

 operations throughout time, Defendants are liable for acts and omissions and the consequential

 damages caused by their predecessors in interest. To the extent that Defendants provided

 indemnity or committed fraud, they are liable to those to whom they sold or lease the ongoing

 operations.

        11.     Upon information and belief, the properties of all Plaintiffs and the putative class

 are impacted by uranium mill tailings. The source of the radioactivity is small, microscopic

 particles yet containable when properly handled. These particles contain hazardous carcinogenic,

 harmful toxics, and other radioactive substances known as uranium and thorium and their daughter

 products. Such radioactive waste is legally and commonly referred to as “uranium mill tailings,”

 which result from the processing of uranium ore.

                                  JURISDICTION AND VENUE

        12.     This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

        13.     Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in the locality of St. Louis County,



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 Missouri.

           14.   Plaintiffs do not allege any causes of action arising under any laws of the United

 States.

           15.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act, because:

                 A.      Coldwater Creek is not and has never been a licensed nuclear facility.

                 B.      Defendants have never received a license to possess, transport, or dispose

                         of any radioactive wastes on or in Coldwater Creek.

                 C.      Defendants did not have a license to dispose of radioactive wastes in

                         Coldwater Creek.

                 D.      Defendants did not have a license to handle the particular materials they

                         handled as alleged herein, including enriched thorium.

                 E.      Defendants have never entered into an indemnification agreement with the

                         United States government under 42 U.S.C. § 2210 with respect to the

                         complained activities.

           16.   Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims offending

 traditional state regulations and do not implicate the Price-Anderson Act and its textually manifest

 objectives related to liability limitation and indemnification.

           17.   The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic mill tailings at issue in this Petition.

                                            THE PARTIES

                                                Plaintiffs




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        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres in

 St. Louis County adjacent to Coldwater Creek. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek,

 and is contaminated with radioactive waste materials from Coldwater Creek. Tamia Banks first

 learned that her property was in the zone of contamination in 2018.

        19.     Plaintiffs Rev. Ronnie Hooks and Barbara Hooks, a married couple, are Missouri

 citizens who own real property located at 13712 Old Halls Ferry Rd., Florissant, Missouri (the

 “Hooks Property”). The property is approximately 1.32 acres in St. Louis County adjacent to

 Coldwater Creek. Their home and property, along with the property of other members of the Class,

 is located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The Hooks first learned their property was in

 the zone of contamination in 2018.

        20.     Plaintiff Joel Hogan is a Missouri citizen who owns real property located at 435

 Moule Drive, Florissant, Missouri (the “Hogan Property”). The property is approximately 0.1 acres

 in St. Louis County adjacent to Coldwater Creek. His home and property, along with the property

 of other members of the Class, is located within the one hundred year flood plain of Coldwater

 Creek, and is contaminated with radioactive waste materials from Coldwater Creek. Mr. Hogan

 first learned his property was in the zone of contamination in 2018.

        21.     Plaintiff Kenneth Niebling is a Missouri citizen who owns real property located at

 210 Versailles Drive, Florissant, Missouri (the “Niebling Property”). The property is

 approximately 0.1 acres in St. Louis County adjacent to Coldwater Creek. His home and property,

 along with the property of other members of the Class, is located within the one hundred year flood



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 plain of Coldwater Creek, and is contaminated with radioactive waste materials from Coldwater

 Creek. Mr. Niebling first learned his property was in the zone of contamination in 2018.

         22.   Plaintiffs Kendall Lacy and Tonja Lacy, a married couple, are Missouri citizens

 who own real property located at 2843 Chapel View Drive, Florissant, Missouri (the “Lacy

 Property”). Their home and property, along with the property of other members of the Class, is

 located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The property is approximately .21 acres in St.

 Louis County adjacent to Coldwater Creek. The Lacys first learned their property was in the zone

 of contamination in 2018.

         23.   Plaintiffs Willie Clay and Bobbie Jean Clay, a married couple, are Missouri citizens

 who own real property located at 9 Cricket Court, Florissant, Missouri (the “Clay Property”). The

 property is approximately .25 acres in St. Louis County adjacent to Coldwater Creek. Their home

 and property, along with the property of other members of the Class, is located within the one

 hundred year flood plain of Coldwater Creek, and is contaminated with radioactive waste materials

 from Coldwater Creek. The Clays first learned their property was in the zone of contamination in

 2018.

         24.   Plaintiff Angela Statum is a Missouri citizen who owns real property located at

 7565 Hazelcrest Drive, Hazelwood, Missouri (the “Statum Property”). The property is in St. Louis

 County adjacent to Coldwater Creek. Her property, along with the property of other members of

 the Class, is located within the one hundred year flood plain of Coldwater Creek, and is

 contaminated with radioactive waste materials from Coldwater Creek. Ms. Statum first learned her

 property was in the zone of contamination in 2018.




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         25.    Plaintiff Missouri Rentals Company, LLC is a Missouri LLC which owns real

 property located at the following addresses (the “MRC Properties”):

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

 The properties are in St. Louis County adjacent to Coldwater Creek. Their properties, along with

 the property of other members of the Class, are located within the one hundred year flood plain of

 Coldwater Creek, and are contaminated with radioactive waste materials from Coldwater Creek.

 MRC first learned its properties were in the zone of contamination in 2018.

         26.    As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages, including damages to their Property and the loss of use and enjoyment, thereof.

                                            Defendants

         27.    There are two defendants that relate in some way to Cotter Corporation, the owner

 and disposer of the hazardous, toxic, carcinogenic, radioactive mill tailings: Cotter Corporation

 (“Cotter”) and Commonwealth Edison Company (“ComEd”).

         28.    Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which currently operates as a subsidiary of General Atomics,

 Inc., a California corporation. Cotter was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1974, immediately after announcing that there was no radioactive

 contamination on the properties upon which it operated. It was then sold to General Atomics in

 2000.




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                A. Cotter continuously and systematically carried on business activities in the State

                    of Missouri in its own name and through its parent company ComEd.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                    conduct, including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the Cotter Defendants, which gave

                    rise to the violations of state law and damages to property alleged in the Petition.

        29.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.

 The responsibility to indemnify Cotter was transferred to Exelon Generation Company, LLC when

 ComEd’s parent company, Exelon Corporation, restructured in 2001.

                A. ComEd continuously and systematically carried on local business activities in

                    the State of Missouri, both on its own and through its subsidiary Cotter. In

                    addition, ComEd owned Cotter at times relevant to this Petition, and agreed to

                    indemnify Cotter for liabilities associated with the creation, storage,

                    transportation, and processing of hazardous, toxic, carcinogenic, radioactive

                    wastes as alleged herein. ComEd regularly and routinely avails itself of the

                    protection of Missouri laws in St. Louis County courts, and regularly appears

                    to defend itself in lawsuits tried in that locality.

                B. When ComEd purchased Cotter, it assumed Cotter’s liabilities by its own

                    corporate policies and by law and was obligated to require its subsidiary to

                    comply with the rules and regulations in Missouri and the relevant laws cited in

                    this Petition. ComEd furthermore assumed the environmental safety and health



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                   functions of its subsidiary, Cotter. Cotter and ComEd knew or should have

                   known substantial waste was in Coldwater Creek as a result of Cotter’s

                   operations and on the properties upon which Cotter had operated and which it

                   knowingly and intentionally abandoned immediately prior to its announced sale

                   to ComEd. ComEd, through its pre-purchase due diligence, knew about the

                   remaining contamination, yet did nothing to mitigate the threat to public health,

                   such that ComEd is liable as a corporate successor to Cotter. After the sale of

                   Cotter to ComEd, they jointly conspired to perpetuate the fraud that there was

                   no radioactive contamination remaining with respect to Cotter’s abandoned

                   operations. On information and belief, ComEd controlled the policy and

                   business of Cotter to perpetuate the negligent and unlawful contamination in

                   contravention of Plaintiffs’ and the Class Members’ rights, and ComEd’s

                   control over Cotter was the proximate cause of the contamination to Plaintiffs’

                   and the Class Members’ properties.

                C. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                   conduct, including acts and omissions within the State of Missouri, as well as

                   the acts and omissions of the predecessors of the ComEd Defendants, which

                   gave rise to the violations of state law and damage to property alleged in the

                   Petition.

        30.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri, and whose alter ego is

 Jarboe Realty & Investments Co., Inc. Defendant DJR Holdings, Inc. is a Missouri citizen from




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 whom significant relief is sought and whose conduct forms a significant basis of the claims

 asserted by Plaintiffs, as explained in detail in this Petition.

         31.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution. The St. Louis Airport Authority is a Missouri

 citizen from whom significant relief is sought and whose conduct forms a significant basis of the

 claims asserted by Plaintiffs, as explained in detail in this Petition.

                                 CLASS ACTION ALLEGATIONS

         32.     Plaintiffs file this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

         33.     Plaintiffs bring this action on behalf of themselves and the Class against Defendants

 to recover damages to their property and to obtain injunctive relief in the form of a total and

 complete cleanup of the contamination and to prevent and eliminate further contamination.

         34.     This action is maintainable as a class action and should be certified under Missouri

 Supreme Court Rule 52.08.

         35.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

         All Missouri citizens who currently own any portion of real property located
         within the FEMA one hundred year flood plain of Coldwater Creek in St.
         Louis County, Missouri, bounded by St. Charles Rock Road to the southwest


 1
  FEMA.GOV,
 https://msc.fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchre
 sultsanchor (last visited September 24, 2019).


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           and Old Halls Ferry Road to the northeast, as shown in blue in the map in
           Figure 1 below.
                                     Figure 1. Class Area




 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           36.    The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

           All Missouri citizens who currently reside, or have resided since 1973, on any
           portion of real property within the FEMA one hundred year flood plain of
           Coldwater Creek in St. Louis County, Missouri, bounded by St. Charles Rock
           Road to the southwest and Old Halls Ferry Road to the northeast, as shown in
           the map in Figure 1 above.

           37.    Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as



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 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded are owners of

 property that has or has had any radioactive material license associated with it; this includes, but

 is not limited to, the SLAPS, Latty Avenue, and HISS sites. Also excluded is any trial judge who

 may preside over this case. The requirements for maintaining this action as a class action are

 satisfied, as set forth immediately below.

        38.     The proposed Class is so numerous that the individual joinder of all absent class

 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiffs currently, it is ascertainable by appropriate discovery and Plaintiffs, upon information

 and belief, alleges that the proposed Class may include more than twenty-five local members. The

 requirement of numerosity is therefore satisfied.

        39.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive a class-wide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored, disposed

                    and/or abandoned, or transported radioactive materials at the St. Louis Airport

                    Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage

                    Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiffs and Class Members’ property;



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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiffs and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood

                    Interim Storage Site (“HISS”) resulted in Plaintiffs and Class Members’ loss of

                    use and enjoyment of their property;

                f. Whether the loss in property value suffered by Plaintiffs and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiffs and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        40.     The claims of the Plaintiffs are typical of the claims of the Class. Plaintiffs and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        41.     Plaintiffs will fairly and adequately represent the interests of the members of the

 Class. Plaintiffs have no interest adverse to the interests of the members of the Class. Plaintiffs

 have retained competent attorneys who have experience in class action litigation.

        42.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        43.     Unless a class-wide injunction is issued, Defendants will continue to allow

 contamination of the properties of Plaintiffs and Class and will continue to violate Missouri law



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 resulting in harm to thousands of Missouri citizens.

           44.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

 class; or (b) adjudications with respect to individual members of the class which would as a

 practical matter be dispositive of the interests of the other members not parties to the adjudications

 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiffs, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           45.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate actions. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           46.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

           47.   All of the class members are citizens of Missouri.

           48.   The principal injuries resulting from the conduct of the Defendants were incurred



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 in Missouri.

        49.      The conduct alleged in this Petition took place in Missouri.

                 A. The radioactive waste at issue in this case was generated as a result of chemical

                    processes that took place in local facilities in St. Louis

                 B. All transportation of radioactive waste alleged herein took place in Missouri

                 C. All processing of radioactive wastes alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        50.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        51.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        52.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        53.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        54.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials

 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        55.      Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other



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 material. When radiation energy interacts with other material, it causes a process called ionization 2

 which can damage chemical structures. When the “other material” that ionizing radiation passes

 through is human cells, it can cause damage within those cells resulting in mutation in genetic

 material which can lead to cancer and other harms.

        56.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        57.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the

 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

        58.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.       Somatic injuries are damages to the

 individual exposed. This can include damages to the skin, reproductive system, blood forming




 2
   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious health
 risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in cells, causing
 damage to tissue and DNA in genes.” See Radiation Health Effects, EPA.GOV,
 https://www.epa.gov/radiation/radiation-health-effects (last visited September 24, 2019).


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 system, digestive system, central nervous system, and immune system, as well as cancers.

 Illnesses such as cancers may take a number of years to appear.

         59.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         60.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.

         61.     Governmental authorities have identified significant increases of cancer and risks

 of cancer within the Class.34

                               Radioactive Waste in the St. Louis Area




 3
   See S. Yun et al., Analysis of Cancer Incidence Data in Coldwater Creek Area, Missouri, 199
 6-2004, MO DEPT. OF HEALTH & SEN. SERVS., available at
 https://health.mo.gov/living/healthcondiseases/chronic/cancer/pdf/ccanalysis.pdf.
 4
   See Evaluation of Community Exposures Related to Coldwater Creek, ATSDR (Apr. 30, 2019),
 available at
 https://www.atsdr.cdc.gov/sites/coldwater_creek/docs/St_Louis_Airport_Site_Hazelwood_Interi
 mSto_PHA-508.pdf.


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          62.     From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.5 The Manhattan Project was the U.S. research project

 designed to develop the first nuclear weapons.

          63.     This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          64.     The wastes created by processing at the SLDS are known in the scientific and

 regulatory communities as Uranium Mill Tailings and were created as a result of the milling of

 Uranium Ore to produce uranium metal by Mallinckrodt.

          65.     In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive mill tailings from the

 uranium processing operations at the SLDS. The storage site(s) on and near the airport are now

 referred to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          66.     Radioactive mill tailings accumulated locally at SLAPS. These hazardous, toxic,

 carcinogenic, radioactive waste materials included pitchblende raffinate residues, radium-bearing

 residues, barium sulfate cake, and Colorado raffinate residues. They were stored locally at SLAPS

 along with contaminated scrap. Some of these radioactive wastes were stored in bulk on the open

 ground in piles.

          67.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive mill tailings

 that had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood,

 Missouri (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage

 Site (“HISS”).




 5
     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).


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        68.      These mill tailings, which contained valuable metals, were sold and shipped to

 various other local destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        69.      In the late 1960’s, Cotter and/or its predecessors in interest, and its successors,

 purchased the hazardous, toxic, carcinogenic radioactive mill tailings associated with both SLAPS

 and the Latty Avenue Site.

        70.      Upon information and belief, as part of the contract between Cotter and/or its

 predecessors in interest and the federal government for sale of the radioactive waste, Cotter

 assumed all liability, including ultimate disposition of the waste.

        71.      Cotter and/or its predecessors in interest did not receive indemnity from the

 government in connection with this transaction.

        72.      Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, associated with both the SLAPS and Latty

 Avenue sites.

        73.      Upon information and belief, Cotter did not have a license to handle or dispose of

 enriched thorium.

        74.      Transport and migration of hazardous, toxic and radioactive mill tailings to/from

 the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and radioactive

 substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)

        75.      Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.




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        76.     Hundreds of thousands of tons of hazardous, toxic, and radioactive mill tailings

 were transported from the SLDS to the SLAPS for storage, including radium-bearing residues,

 refined cake, barium sulfate cake, and C-liner slag.

        77.     From 1953, the property was managed and operated by Mallinckrodt.

        78.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        79.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        80.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes into Coldwater Creek.

                                         Latty Avenue Site

        81.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at

 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        82.     Upon information and belief, DJR Holdings, Inc., f/k/a Futura Coatings and/or its

 alter egos purchased and/or leased the Latty Avenue property, which is currently owned by Jarboe

 Realty & Investments Co., Inc. Both DJR Holdings, Inc. and Jarboe Realty & Investments Co.,

 Inc. are owned, operated, and controlled by the same individuals such that they are mere

 instruments of those individuals, and that DJR Holdings, Inc. and Jarboe Realty & Investments are

 indistinct from each other and from their owners.



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        83.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, DJR Holdings, Inc., f/k/a Futura Coatings and/or its alter egos did nothing

 to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic, radioactive wastes into

 Coldwater Creek.

                                         Coldwater Creek

        84.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        85.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        86.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.



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        87.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        88.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        89.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        90.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        91.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        92.     Plaintiffs’ properties are contaminated by radioactive material.

        93.     Samples taken on and around Plaintiffs’ properties confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        94.     Plaintiffs’ properties neighbor Coldwater Creek and are within its flood plain. This

 proximity puts the Plaintiffs’ properties in the direct path of radioactive particles and

 contamination spread in and by Coldwater Creek.




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        95.     The radioactive contamination that has polluted the Plaintiffs’ properties and

 continues to threaten to further pollute the Plaintiffs’ properties match the waste fingerprint (or

 profile) of the radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        96.     This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        97.     Radioactive contamination of the Plaintiffs’ properties renders the Plaintiffs’

 properties unfit for normal use and enjoyment, creates a stigma attached to the properties, and

 destroys their fair market value.

        98.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and the Class

 are currently being subjected to radioactive waste contamination and will suffer irreparable harm

 if an injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                    COUNT I – TRESPASS
  (brought individually by Plaintiffs and on behalf of the Property Damage Subclass against
                                        all Defendants)

        99.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        100.    Plaintiff Tamia Banks owns and controls the Banks Property located at 4501 Ashby

 Rd., St. Ann, Missouri, more particularly described above.

        101.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control the Hooks Property

 located at 13712 Old Halls Ferry Rd., Florissant, Missouri, more particularly described above.

        102.    Plaintiff Joel Hogan owns and controls the Hogan Property located at 435 Moule

 Drive, Florissant, Missouri, more particularly described above.




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        103.    Plaintiff Kenneth Niebling owns and controls the Niebling Property located at 210

 Versailles Drive, Florissant, Missouri, more particularly described above.

        104.    Plaintiffs Kendall Lacy and Tonja Lacy own and control the Lacy Property located

 at 2843 Chapel View Drive, Florissant, Missouri, more particularly described above.

        105.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control the Clay Property

 located at 9 Cricket Court, Florissant, Missouri, more particularly described above.

        106.    Plaintiff Angela Statum owns and controls the Statum Property located at 7565

 Hazelcrest Drive, Florissant, Missouri, more particularly described above.

        107.    Plaintiff Missouri Rentals Company, LLC owns and controls the Missouri Rentals

 Properties, as more particularly described above and listed as follows:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        108.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure their proper disposal.

        109.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.

        110.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a location unfit to handle such wastes.




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           111.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiffs and the

 Property Damage Subclass (“Plaintiffs’ property”).

           112.   Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

           113.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive wastes

           114.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

           115.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

           116.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

           117.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

           118.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           119.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           120.   The migration of Radon gas and radioactive particles onto the property of Plaintiffs

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in



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 direct physical interference with the property of Plaintiffs and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of

 Plaintiffs and of the Property Damage Subclass.

        121.    Plaintiffs did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

        122.    The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

        123.    As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiffs and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.

                              COUNT II – PERMANENT NUISANCE
          (brought individually by Plaintiffs and on behalf of the Property Damage Subclass
                                    against all Defendants)

        124.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        125.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        126.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        127.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        128.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.



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        129.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        130.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.

        131.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

        132.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        133.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 SLAPS, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins Plaintiffs’

 property.

        134.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        135.    The radioactive contamination created a permanent stigma which has and will

 remain attached to the Plaintiffs’ properties and the properties of the Class Members.

        136.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and




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 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

        137.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.

        138.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                          COUNT III – TEMPORARY NUISANCE
            (brought individually and on behalf of the Property Damage Subclass)

        139.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        140.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        141.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        142.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        143.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.

        144.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        145.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.




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         146.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

         147.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                 7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                 8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                 8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

         148.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the SLAPS Site, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins

 Plaintiffs’ properties.

         149.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ properties.

         150.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ properties, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their properties. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

         151.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.




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        152.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        153.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        154.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                COUNT IV – NEGLIGENCE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        155.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        156.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers

 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

        157.    Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

        158.    Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs




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 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         159.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         160.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

         161.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

         162.    Defendants failed to act to prevent their releases from harming Plaintiffs.

         163.   Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

         164.   Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiffs’ property.



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        165.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        166.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        167.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        168.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

        169.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                            COUNT V – NEGLIGENCE PER SE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        170.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        171.      Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require




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 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           172.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           173.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.

           174.   Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

           175.   Defendants’ negligence throughout the history of their mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.

           176.   Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

           177.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.




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                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

         178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         179.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

         180.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

         181.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.

         182.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         183.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.

         184.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         185.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                               COUNT VII – INJUNCTIVE RELIEF




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     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        186.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        187.    Defendants have tortiously contaminated the property of Plaintiffs and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

        188.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiffs and the proposed Class.

        189.    The radioactive contamination of the property of Plaintiffs and the proposed Class

 has caused a significant increased risk to Plaintiffs and Class members, and therefore Plaintiffs

 and Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        190.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        191.    Therefore, Plaintiffs seek injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiffs and the proposed Class,

 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        192.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.



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        193.       Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiffs and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                       COUNT VIII – PUNITIVE DAMAGES
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        194.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        195.       Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

        196.       Defendants knew or had information from which, in the exercise of ordinary care,

 should have known that such conduct, as detailed above, created a high degree of probability of

 injury to Plaintiffs and others similarly situated.

        197.       The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiffs, and

 others similarly situated.

                            COUNT IX – CIVIL CONSPIRACY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        198.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        199.       Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.



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        200.    Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

        201.    As a result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.

                       COUNT X – INVERSE CONDEMNATION

    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        202.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        203.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

        204.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiffs and the Property Damage Subclass for public use

 without just compensation.

        205.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        206.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.




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        207.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        208.    The actions of St. Louis Airport Authority, a department of the City of St. Louis, in

 damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.

        209.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiffs and the Property Damage Subclass.

        210.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        211.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        212.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        213.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.



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        214.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiffs’ and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.

        215.    As a result of Defendants’ conduct, Plaintiffs and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        216.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        217.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        218.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        219.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiffs and the Property Damage Subclass.



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        220.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiffs or the Property Damage Subclass.

                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiffs Tamia Banks, Ronnie Hooks,

 Barbara Hooks, Joel Hogan, Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie

 Jean Clay, Angela Statum, and Missouri Rentals Company, LLC, pray for judgment in favor of

 Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison Company, DJR

 Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the

 City of St. Louis, as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity



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              including a preliminary and/or permanent injunction enjoining Defendants from

              continuing the unlawful conduct as set forth herein and directing Defendants to

              identify, with Court supervision, members of the Class in order to compensate them

              and to clean up all contamination, and including medical monitoring; and

           g. for any further relief this Court deems just and proper.

 Dated: October 11, 2019                   Respectfully submitted,

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                                           and



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                                              Attorneys for Plaintiffs and proposed Class


                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 11, 2019, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Nathaniel R. Carroll




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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS, )
 BARBARA HOOKS, JOEL HOGAN,      )
 KENNETH NIEBLING, KENDALL LACY, )
 TANJA LACY, WILLIE CLAY,        )
 BOBBIE JEAN CLAY, ANGELA STATUM,)
 and MISSOURI RENTALS            )
 COMPANY, LLC, on behalf of themselves
                                 )
 and all others similarly situated,
                                 )
                                 )
                                 )
       Plaintiffs,               )                           Cause No. 18SL-CC00617
                                 )
       vs.                       )                           Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                              JURY TRIAL DEMANDED
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                     SECOND AMENDED CLASS ACTION PETITION

        COME NOW Plaintiffs Tamia Banks, Rev. Ronnie Hooks, Barbara Hooks, Joel Hogan,

 Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie Jean Clay, Angela Statum, and

 Missouri Rentals Company, LLC, on behalf of themselves and all others similarly situated, by and

 through counsel, and for their Second Amended Class Action Petition and causes of action against

 Defendants Cotter Corporation, Commonwealth Edison Company, DJR Holdings, Inc. f/k/a Futura

 Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis, states

 and alleges as follows:
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        1.       Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City highly concentrated uranium with

 abnormal levels of radium from Africa. This particular ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of

 the most harmful on Earth, Defendants negligently moved them around St. Louis, treating the

 radioactive materials with less care than a reasonable person might give in moving common

 household garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis

 City to the St. Louis Airport, then to Hazelwood.

        2.      Radioactive materials have been and will likely continue to be stored in bulk, on

 the ground, open to the elements, and unattended at sites on and adjacent to Coldwater Creek,

 which runs throughout North St. Louis County and is a tributary for the Missouri River. These

 sites included the St. Louis Airport Site (“SLAPS”), a storage facility on Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”) part of which later became the Hazelwood Interim

 Storage Site (“HISS”). The Latty Avenue site and the HISS site are contained in the properties

 located at 9170 Latty Avenue and 9200 Latty Avenue in Hazelwood, Missouri.

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing



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 and prodding their backyards and sampling the dust of their vacuum cleaners to identify the

 quantity and toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste

 found today in the real property, which consists of businesses and homes, surrounding the

 Coldwater Creek carries the distinct fingerprint (or profile) of the ore which had been processed

 in St. Louis and possessed by Defendants and/or their predecessors in interest.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous

 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

 defects may take a number of years after exposure to the radioactive material to appear.

        6.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the local public about the widespread contamination Defendants have

 caused and minimizing the immense risks to public health and safety that resulted from

 Defendants’ actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on a limited class

 of victims.

        8.      Plaintiffs, as well as all members of the proposed class, have sustained significant

 damages as a result of Defendants’ conduct. Defendants should compensate Plaintiffs for their



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 damages, and provide further relief as set forth below in this Petition.

        9.      Pursuant to Missouri common law applicable at the time of Defendants’ tortious

 conduct, which occurred prior to the 2005 enactment of R.S.Mo. § 537.067, Defendants are jointly

 and severally liable for any and all damages Plaintiffs and the Class have sustained as a result of

 Defendants’ negligent handling, storing and/or disposing of radioactive materials, including,

 without limitation, any incidental, consequential, nuisance, and trespass damages.

        10.     Upon information and belief, by acquiring and continuing to operate ongoing

 operations throughout time, Defendants are liable for acts and omissions and the consequential

 damages caused by their predecessors in interest. To the extent that Defendants provided

 indemnity or committed fraud, they are liable to those to whom they sold or lease the ongoing

 operations.

        11.     Upon information and belief, the properties of all Plaintiffs and the putative class

 are impacted by uranium mill tailings. The source of the radioactivity is small, microscopic

 particles yet containable when properly handled. These particles contain hazardous carcinogenic,

 harmful toxics, and other radioactive substances known as uranium and thorium and their daughter

 products. Such radioactive waste is legally and commonly referred to as “uranium mill tailings,”

 which result from the processing of uranium ore.

                                  JURISDICTION AND VENUE

        12.     This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

        13.     Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in the locality of St. Louis County,



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 Missouri.

           14.   Plaintiffs do not allege any causes of action arising under any laws of the United

 States.

           15.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act, because:

                 A.      Coldwater Creek is not and has never been a licensed nuclear facility.

                 B.      Defendants have never received a license to possess, transport, or dispose

                         of any radioactive wastes on or in Coldwater Creek.

                 C.      Defendants did not have a license to dispose of radioactive wastes in

                         Coldwater Creek.

                 D.      Defendants did not have a license to handle the particular materials they

                         handled as alleged herein, including enriched thorium.

                 E.      Defendants have never entered into an indemnification agreement with the

                         United States government under 42 U.S.C. § 2210 with respect to the

                         complained activities.

           16.   Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims offending

 traditional state regulations and do not implicate the Price-Anderson Act and its textually manifest

 objectives related to liability limitation and indemnification.

           17.   The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic mill tailings at issue in this Petition.

                                            THE PARTIES

                                                Plaintiffs




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        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres in

 St. Louis County adjacent to Coldwater Creek. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek,

 and is contaminated with radioactive waste materials from Coldwater Creek. Tamia Banks first

 learned that her property was in the zone of contamination in 2018.

        19.     Plaintiffs Rev. Ronnie Hooks and Barbara Hooks, a married couple, are Missouri

 citizens who own real property located at 13712 Old Halls Ferry Rd., Florissant, Missouri (the

 “Hooks Property”). The property is approximately 1.32 acres in St. Louis County adjacent to

 Coldwater Creek. Their home and property, along with the property of other members of the Class,

 is located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The Hooks first learned their property was in

 the zone of contamination in 2018.

        20.     Plaintiff Joel Hogan is a Missouri citizen who owns real property located at 435

 Moule Drive, Florissant, Missouri (the “Hogan Property”). The property is approximately 0.1 acres

 in St. Louis County adjacent to Coldwater Creek. His home and property, along with the property

 of other members of the Class, is located within the one hundred year flood plain of Coldwater

 Creek, and is contaminated with radioactive waste materials from Coldwater Creek. Mr. Hogan

 first learned his property was in the zone of contamination in 2018.

        21.     Plaintiff Kenneth Niebling is a Missouri citizen who owns real property located at

 210 Versailles Drive, Florissant, Missouri (the “Niebling Property”). The property is

 approximately 0.1 acres in St. Louis County adjacent to Coldwater Creek. His home and property,

 along with the property of other members of the Class, is located within the one hundred year flood



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 plain of Coldwater Creek, and is contaminated with radioactive waste materials from Coldwater

 Creek. Mr. Niebling first learned his property was in the zone of contamination in 2018.

         22.   Plaintiffs Kendall Lacy and Tonja Lacy, a married couple, are Missouri citizens

 who own real property located at 2843 Chapel View Drive, Florissant, Missouri (the “Lacy

 Property”). Their home and property, along with the property of other members of the Class, is

 located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The property is approximately .21 acres in St.

 Louis County adjacent to Coldwater Creek. The Lacys first learned their property was in the zone

 of contamination in 2018.

         23.   Plaintiffs Willie Clay and Bobbie Jean Clay, a married couple, are Missouri citizens

 who own real property located at 9 Cricket Court, Florissant, Missouri (the “Clay Property”). The

 property is approximately .25 acres in St. Louis County adjacent to Coldwater Creek. Their home

 and property, along with the property of other members of the Class, is located within the one

 hundred year flood plain of Coldwater Creek, and is contaminated with radioactive waste materials

 from Coldwater Creek. The Clays first learned their property was in the zone of contamination in

 2018.

         24.   Plaintiff Angela Statum is a Missouri citizen who owns real property located at

 7565 Hazelcrest Drive, Hazelwood, Missouri (the “Statum Property”). The property is in St. Louis

 County adjacent to Coldwater Creek. Her property, along with the property of other members of

 the Class, is located within the one hundred year flood plain of Coldwater Creek, and is

 contaminated with radioactive waste materials from Coldwater Creek. Ms. Statum first learned her

 property was in the zone of contamination in 2018.




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         25.    Plaintiff Missouri Rentals Company, LLC is a Missouri LLC which owns real

 property located at the following addresses (the “MRC Properties”):

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

 The properties are in St. Louis County adjacent to Coldwater Creek. Their properties, along with

 the property of other members of the Class, are located within the one hundred year flood plain of

 Coldwater Creek, and are contaminated with radioactive waste materials from Coldwater Creek.

 MRC first learned its properties were in the zone of contamination in 2018.

         26.    As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages, including damages to their Property and the loss of use and enjoyment, thereof.

                                            Defendants

         27.    There are two defendants that relate in some way to Cotter Corporation, the owner

 and disposer of the hazardous, toxic, carcinogenic, radioactive mill tailings: Cotter Corporation

 (“Cotter”) and Commonwealth Edison Company (“ComEd”).

         28.    Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which currently operates as a subsidiary of General Atomics,

 Inc., a California corporation. Cotter was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1974, immediately after announcing that there was no radioactive

 contamination on the properties upon which it operated. It was then sold to General Atomics in

 2000.




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                A. Cotter continuously and systematically carried on business activities in the State

                    of Missouri in its own name and through its parent company ComEd.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                    conduct, including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the Cotter Defendants, which gave

                    rise to the violations of state law and damages to property alleged in the Petition.

        29.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.

 The responsibility to indemnify Cotter was transferred to Exelon Generation Company, LLC when

 ComEd’s parent company, Exelon Corporation, restructured in 2001.

                A. ComEd continuously and systematically carried on local business activities in

                    the State of Missouri, both on its own and through its subsidiary Cotter. In

                    addition, ComEd owned Cotter at times relevant to this Petition, and agreed to

                    indemnify Cotter for liabilities associated with the creation, storage,

                    transportation, and processing of hazardous, toxic, carcinogenic, radioactive

                    wastes as alleged herein. ComEd regularly and routinely avails itself of the

                    protection of Missouri laws in St. Louis County courts, and regularly appears

                    to defend itself in lawsuits tried in that locality.

                B. When ComEd purchased Cotter, it assumed Cotter’s liabilities by its own

                    corporate policies and by law and was obligated to require its subsidiary to

                    comply with the rules and regulations in Missouri and the relevant laws cited in

                    this Petition. ComEd furthermore assumed the environmental safety and health



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                   functions of its subsidiary, Cotter. Cotter and ComEd knew or should have

                   known substantial waste was in Coldwater Creek as a result of Cotter’s

                   operations and on the properties upon which Cotter had operated and which it

                   knowingly and intentionally abandoned immediately prior to its announced sale

                   to ComEd. ComEd, through its pre-purchase due diligence, knew about the

                   remaining contamination, yet did nothing to mitigate the threat to public health,

                   such that ComEd is liable as a corporate successor to Cotter. After the sale of

                   Cotter to ComEd, they jointly conspired to perpetuate the fraud that there was

                   no radioactive contamination remaining with respect to Cotter’s abandoned

                   operations. On information and belief, ComEd controlled the policy and

                   business of Cotter to perpetuate the negligent and unlawful contamination in

                   contravention of Plaintiffs’ and the Class Members’ rights, and ComEd’s

                   control over Cotter was the proximate cause of the contamination to Plaintiffs’

                   and the Class Members’ properties.

                C. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                   conduct, including acts and omissions within the State of Missouri, as well as

                   the acts and omissions of the predecessors of the ComEd Defendants, which

                   gave rise to the violations of state law and damage to property alleged in the

                   Petition.

        30.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri, and whose alter ego is

 Jarboe Realty & Investments Co., Inc. Defendant DJR Holdings, Inc. is a Missouri citizen from




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 whom significant relief is sought and whose conduct forms a significant basis of the claims

 asserted by Plaintiffs, as explained in detail in this Petition.

         31.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution. The St. Louis Airport Authority is a Missouri

 citizen from whom significant relief is sought and whose conduct forms a significant basis of the

 claims asserted by Plaintiffs, as explained in detail in this Petition.

                                 CLASS ACTION ALLEGATIONS

         32.     Plaintiffs file this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

         33.     Plaintiffs bring this action on behalf of themselves and the Class against Defendants

 to recover damages to their property and to obtain injunctive relief in the form of a total and

 complete cleanup of the contamination and to prevent and eliminate further contamination.

         34.     This action is maintainable as a class action and should be certified under Missouri

 Supreme Court Rule 52.08.

         35.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

         All Missouri citizens who currently own any portion of real property located
         within the FEMA one hundred year flood plain of Coldwater Creek in St.
         Louis County, Missouri, bounded by St. Charles Rock Road to the southwest


 1
  FEMA.GOV,
 https://msc.fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchre
 sultsanchor (last visited September 24, 2019).


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           and Old Halls Ferry Road to the northeast, as shown in blue in the map in
           Figure 1 below.
                                     Figure 1. Class Area




 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           36.    The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

           All Missouri citizens who currently reside, or have resided since 1973, on any
           portion of real property within the FEMA one hundred year flood plain of
           Coldwater Creek in St. Louis County, Missouri, bounded by St. Charles Rock
           Road to the southwest and Old Halls Ferry Road to the northeast, as shown in
           the map in Figure 1 above.

           37.    Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as



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 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded are owners of

 property that has or has had any radioactive material license associated with it; this includes, but

 is not limited to, the SLAPS, Latty Avenue, and HISS sites. Also excluded is any trial judge who

 may preside over this case. The requirements for maintaining this action as a class action are

 satisfied, as set forth immediately below.

        38.     The proposed Class is so numerous that the individual joinder of all absent class

 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiffs currently, it is ascertainable by appropriate discovery and Plaintiffs, upon information

 and belief, alleges that the proposed Class may include more than twenty-five local members. The

 requirement of numerosity is therefore satisfied.

        39.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive a class-wide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored, disposed

                    and/or abandoned, or transported radioactive materials at the St. Louis Airport

                    Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage

                    Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiffs and Class Members’ property;



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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiffs and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood

                    Interim Storage Site (“HISS”) resulted in Plaintiffs and Class Members’ loss of

                    use and enjoyment of their property;

                f. Whether the loss in property value suffered by Plaintiffs and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiffs and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        40.     The claims of the Plaintiffs are typical of the claims of the Class. Plaintiffs and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        41.     Plaintiffs will fairly and adequately represent the interests of the members of the

 Class. Plaintiffs have no interest adverse to the interests of the members of the Class. Plaintiffs

 have retained competent attorneys who have experience in class action litigation.

        42.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        43.     Unless a class-wide injunction is issued, Defendants will continue to allow

 contamination of the properties of Plaintiffs and Class and will continue to violate Missouri law



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 resulting in harm to thousands of Missouri citizens.

           44.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

 class; or (b) adjudications with respect to individual members of the class which would as a

 practical matter be dispositive of the interests of the other members not parties to the adjudications

 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiffs, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           45.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate actions. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           46.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

           47.   All of the class members are citizens of Missouri.

           48.   The principal injuries resulting from the conduct of the Defendants were incurred



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 in Missouri.

        49.      The conduct alleged in this Petition took place in Missouri.

                 A. The radioactive waste at issue in this case was generated as a result of chemical

                    processes that took place in local facilities in St. Louis

                 B. All transportation of radioactive waste alleged herein took place in Missouri

                 C. All processing of radioactive wastes alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        50.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        51.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        52.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        53.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        54.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials

 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        55.      Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other



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 material. When radiation energy interacts with other material, it causes a process called ionization2

 which can damage chemical structures. When the “other material” that ionizing radiation passes

 through is human cells, it can cause damage within those cells resulting in mutation in genetic

 material which can lead to cancer and other harms.

        56.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        57.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the

 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

        58.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries. Somatic injuries are damages to the

 individual exposed. This can include damages to the skin, reproductive system, blood forming




 2
   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious health
 risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in cells, causing
 damage to tissue and DNA in genes.” See Radiation Health Effects, EPA.GOV,
 https://www.epa.gov/radiation/radiation-health-effects (last visited September 24, 2019).


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 system, digestive system, central nervous system, and immune system, as well as cancers.

 Illnesses such as cancers may take a number of years to appear.

         59.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         60.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.

         61.     Governmental authorities have identified significant increases of cancer and risks

 of cancer within the Class.34

                               Radioactive Waste in the St. Louis Area




 3
   See S. Yun et al., Analysis of Cancer Incidence Data in Coldwater Creek Area, Missouri, 199
 6-2004, MO DEPT. OF HEALTH & SEN. SERVS., available at
 https://health.mo.gov/living/healthcondiseases/chronic/cancer/pdf/ccanalysis.pdf.
 4
   See Evaluation of Community Exposures Related to Coldwater Creek, ATSDR (Apr. 30, 2019),
 available at
 https://www.atsdr.cdc.gov/sites/coldwater_creek/docs/St_Louis_Airport_Site_Hazelwood_Interi
 mSto_PHA-508.pdf.


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          62.     From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.5 The Manhattan Project was the U.S. research project

 designed to develop the first nuclear weapons.

          63.     This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          64.     The wastes created by processing at the SLDS are known in the scientific and

 regulatory communities as Uranium Mill Tailings and were created as a result of the milling of

 Uranium Ore to produce uranium metal by Mallinckrodt.

          65.     In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive mill tailings from the

 uranium processing operations at the SLDS. The storage site(s) on and near the airport are now

 referred to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          66.     Radioactive mill tailings accumulated locally at SLAPS. These hazardous, toxic,

 carcinogenic, radioactive waste materials included pitchblende raffinate residues, radium-bearing

 residues, barium sulfate cake, and Colorado raffinate residues. They were stored locally at SLAPS

 along with contaminated scrap. Some of these radioactive wastes were stored in bulk on the open

 ground in piles.

          67.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive mill tailings

 that had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood,

 Missouri (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage

 Site (“HISS”).




 5
     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).


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        68.      These mill tailings, which contained valuable metals, were sold and shipped to

 various other local destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        69.      In the late 1960’s, Cotter and/or its predecessors in interest, and its successors,

 purchased the hazardous, toxic, carcinogenic radioactive mill tailings associated with both SLAPS

 and the Latty Avenue Site.

        70.      Upon information and belief, as part of the contract between Cotter and/or its

 predecessors in interest and the federal government for sale of the radioactive waste, Cotter

 assumed all liability, including ultimate disposition of the waste.

        71.      Cotter and/or its predecessors in interest did not receive indemnity from the

 government in connection with this transaction.

        72.      Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, associated with both the SLAPS and Latty

 Avenue sites.

        73.      Upon information and belief, Cotter did not have a license to handle or dispose of

 enriched thorium.

        74.      Transport and migration of hazardous, toxic and radioactive mill tailings to/from

 the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and radioactive

 substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)

        75.      Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.




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        76.     Hundreds of thousands of tons of hazardous, toxic, and radioactive mill tailings

 were transported from the SLDS to the SLAPS for storage, including radium-bearing residues,

 refined cake, barium sulfate cake, and C-liner slag.

        77.     From 1953, the property was managed and operated by Mallinckrodt.

        78.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        79.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        80.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes into Coldwater Creek.

                                         Latty Avenue Site

        81.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at

 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        82.     Upon information and belief, DJR Holdings, Inc., f/k/a Futura Coatings and/or its

 alter egos purchased and/or leased the Latty Avenue property, which is currently owned by Jarboe

 Realty & Investments Co., Inc. Both DJR Holdings, Inc. and Jarboe Realty & Investments Co.,

 Inc. are owned, operated, and controlled by the same individuals such that they are mere

 instruments of those individuals, and that DJR Holdings, Inc. and Jarboe Realty & Investments are

 indistinct from each other and from their owners.



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        83.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, DJR Holdings, Inc., f/k/a Futura Coatings and/or its alter egos did nothing

 to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic, radioactive wastes into

 Coldwater Creek.

                                         Coldwater Creek

        84.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        85.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        86.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.



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        87.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        88.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        89.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        90.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        91.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        92.     Plaintiffs’ properties are contaminated by radioactive material.

        93.     Samples taken on and around Plaintiffs’ properties confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        94.     Plaintiffs’ properties neighbor Coldwater Creek and are within its flood plain. This

 proximity puts the Plaintiffs’ properties in the direct path of radioactive particles and

 contamination spread in and by Coldwater Creek.




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        95.     The radioactive contamination that has polluted the Plaintiffs’ properties and

 continues to threaten to further pollute the Plaintiffs’ properties match the waste fingerprint (or

 profile) of the radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        96.     This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        97.     Radioactive contamination of the Plaintiffs’ properties renders the Plaintiffs’

 properties unfit for normal use and enjoyment, creates a stigma attached to the properties, and

 destroys their fair market value.

        98.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and the Class

 are currently being subjected to radioactive waste contamination and will suffer irreparable harm

 if an injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                    COUNT I – TRESPASS
  (brought individually by Plaintiffs and on behalf of the Property Damage Subclass against
                                        all Defendants)

        99.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        100.    Plaintiff Tamia Banks owns and controls the Banks Property located at 4501 Ashby

 Rd., St. Ann, Missouri, more particularly described above.

        101.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control the Hooks Property

 located at 13712 Old Halls Ferry Rd., Florissant, Missouri, more particularly described above.

        102.    Plaintiff Joel Hogan owns and controls the Hogan Property located at 435 Moule

 Drive, Florissant, Missouri, more particularly described above.




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        103.    Plaintiff Kenneth Niebling owns and controls the Niebling Property located at 210

 Versailles Drive, Florissant, Missouri, more particularly described above.

        104.    Plaintiffs Kendall Lacy and Tonja Lacy own and control the Lacy Property located

 at 2843 Chapel View Drive, Florissant, Missouri, more particularly described above.

        105.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control the Clay Property

 located at 9 Cricket Court, Florissant, Missouri, more particularly described above.

        106.    Plaintiff Angela Statum owns and controls the Statum Property located at 7565

 Hazelcrest Drive, Florissant, Missouri, more particularly described above.

        107.    Plaintiff Missouri Rentals Company, LLC owns and controls the Missouri Rentals

 Properties, as more particularly described above and listed as follows:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        108.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure their proper disposal.

        109.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.

        110.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a location unfit to handle such wastes.




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           111.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiffs and the

 Property Damage Subclass (“Plaintiffs’ property”).

           112.   Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

           113.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive wastes

           114.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

           115.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

           116.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

           117.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

           118.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           119.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           120.   The migration of Radon gas and radioactive particles onto the property of Plaintiffs

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in



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 direct physical interference with the property of Plaintiffs and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of

 Plaintiffs and of the Property Damage Subclass.

        121.    Plaintiffs did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

        122.    The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

        123.    As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiffs and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.

                              COUNT II – PERMANENT NUISANCE
          (brought individually by Plaintiffs and on behalf of the Property Damage Subclass
                                    against all Defendants)

        124.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        125.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        126.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        127.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        128.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.



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        129.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        130.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.

        131.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

        132.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        133.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 SLAPS, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins Plaintiffs’

 property.

        134.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        135.    The radioactive contamination created a permanent stigma which has and will

 remain attached to the Plaintiffs’ properties and the properties of the Class Members.

        136.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and




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 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

        137.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.

        138.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                          COUNT III – TEMPORARY NUISANCE
            (brought individually and on behalf of the Property Damage Subclass)

        139.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        140.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        141.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        142.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        143.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.

        144.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        145.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.




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         146.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

         147.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                 7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                 8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                 8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

         148.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the SLAPS Site, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins

 Plaintiffs’ properties.

         149.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ properties.

         150.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ properties, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their properties. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

         151.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.




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        152.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        153.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        154.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                COUNT IV – NEGLIGENCE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        155.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        156.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers

 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

        157.    Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

        158.    Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs




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 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         159.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         160.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

         161.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

         162.    Defendants failed to act to prevent their releases from harming Plaintiffs.

         163.   Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

         164.   Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiffs’ property.



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        165.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        166.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        167.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        168.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

        169.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                            COUNT V – NEGLIGENCE PER SE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        170.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        171.      Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require




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 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           172.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           173.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.

           174.   Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

           175.   Defendants’ negligence throughout the history of their mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.

           176.   Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

           177.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.




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                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

         178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         179.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

         180.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

         181.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.

         182.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         183.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.

         184.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         185.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                               COUNT VII – INJUNCTIVE RELIEF




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     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        186.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        187.    Defendants have tortiously contaminated the property of Plaintiffs and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

        188.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiffs and the proposed Class.

        189.    The radioactive contamination of the property of Plaintiffs and the proposed Class

 has caused a significant increased risk to Plaintiffs and Class members, and therefore Plaintiffs

 and Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        190.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        191.    Therefore, Plaintiffs seek injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiffs and the proposed Class,

 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        192.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.



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        193.       Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiffs and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                       COUNT VIII – PUNITIVE DAMAGES
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        194.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        195.       Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

        196.       Defendants knew or had information from which, in the exercise of ordinary care,

 should have known that such conduct, as detailed above, created a high degree of probability of

 injury to Plaintiffs and others similarly situated.

        197.       The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiffs, and

 others similarly situated.

                            COUNT IX – CIVIL CONSPIRACY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        198.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        199.       Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.



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        200.    Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

        201.    As a result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.

                       COUNT X – INVERSE CONDEMNATION

    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        202.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        203.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

        204.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiffs and the Property Damage Subclass for public use

 without just compensation.

        205.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        206.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.




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        207.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        208.    The actions of St. Louis Airport Authority, a department of the City of St. Louis, in

 damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.

        209.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiffs and the Property Damage Subclass.

        210.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        211.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        212.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        213.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.



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        214.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiffs’ and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.

        215.    As a result of Defendants’ conduct, Plaintiffs and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                       CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        216.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        217.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        218.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        219.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiffs and the Property Damage Subclass.



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        220.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiffs or the Property Damage Subclass.

                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiffs Tamia Banks, Ronnie Hooks,

 Barbara Hooks, Joel Hogan, Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie

 Jean Clay, Angela Statum, and Missouri Rentals Company, LLC, pray for judgment in favor of

 Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison Company, DJR

 Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the

 City of St. Louis, as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity



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              including a preliminary and/or permanent injunction enjoining Defendants from

              continuing the unlawful conduct as set forth herein and directing Defendants to

              identify, with Court supervision, members of the Class in order to compensate them

              and to clean up all contamination, and including medical monitoring; and

           g. for any further relief this Court deems just and proper.

 Dated: October 29, 2019                   Respectfully submitted,

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                                           and



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                                              Attorneys for Plaintiffs and proposed Class


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 29, 2019, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Nathaniel R. Carroll




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           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY

 TAMIA BANKS, REV. RONNIE HOOKS,                          )
 BARBARA HOOKS, JOEL HOGAN,                               )
 KENNETH NIEBLING, KENDALL LACY,                          )
 TANJA LACY, WILLIE CLAY, BOBBIE                          )
 JEAN CLAY, ANGELA STATUM, and                            )    Cause No. 18SL-CC00617-01
 MISSOURI RENTALS COMPANY, LLC, on                        )
 behalf of themselves and all others similarly            )    Division No. 18
 situated,                                                )
                                                          )
         Plaintiffs,                                      )
                                                          )
                           vs.                            )
                                                          )
 COTTER CORPORATION and                                   )
 COMMONWEALTH EDISON COMPANY,                             )
 DJR HOLDINGS, INC. f/k/a FUTURA                          )
 COATINGS, INC., and ST. LOUIS AIRPORT                    )
 AUTHORITY, A DEPARTMENT OF THE                           )
 CITY OF ST. LOUIS,                                       )
                                                          )
         Defendants.                                      )
                                                          )

               COMMONWEALTH EDISON COMPANY’S MOTION TO DISMISS
                     FOR LACK OF PERSONAL JURISDICTION

         Pursuant to Missouri Rules of Civil Procedure 55.27(a)(2) and 55.27(a)(6), Defendant

 Commonwealth Edison Company (“ComEd”) hereby moves to dismiss the second amended

 class-action complaint (“SAP”) of Plaintiffs for lack of personal jurisdiction and failure to state a

 claim against ComEd.1 Plaintiffs originally asserted twelve counts alleging that defendants’

 collective conduct caused radioactive materials to contaminate and damage their property, and

 Plaintiffs’ new filing alleges no additional facts that would allow this Court to exercise personal

 jurisdiction over ComEd or grant the relief Plaintiffs seek.



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  ComEd also joins the Motion to Dismiss filed by Defendant Cotter Corporation (N.S.L.) on November 8, 2019,
 and the arguments set forth therein.


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         ComEd concurrently files and incorporates by reference its Memorandum of Law in

 Support of its Motion to Dismiss. A proposed order will also be filed concurrently.

         First, Plaintiffs do not allege any connection between ComEd and Missouri that can

 confer personal jurisdiction over ComEd. Plaintiffs fail to allege any new facts in their SAP that

 would preclude dismissal on personal jurisdiction grounds. Rather than showing that ComEd

 maintains minimum contacts with Missouri, Plaintiffs instead attempt to manufacture personal

 jurisdiction based on: (1) other Missouri actions in which ComEd was sued, without regard to

 whether ComEd was properly named or consented to jurisdiction; (2) ComEd’s parent-subsidiary

 relationship with defendant Cotter Corporation (N.S.L.) (“Cotter”); and (3) the existence of an

 alleged indemnity agreement to which Plaintiffs have no connection. None of Plaintiffs’

 misguided theories provides a basis for this Court to exercise personal jurisdiction over ComEd,

 as explained in more detail in ComEd’s Memorandum of Law.

         Plaintiffs’ efforts to concoct personal jurisdiction instead reflect that ComEd: (1) is not

 registered to do business in Missouri; (2) is not otherwise doing business in Missouri; (3) has not

 transacted business in Missouri with respect to any matter which is the subject of the SAP filed

 in this action; (4) does not offer any products or services within Missouri; (5) has no employees

 in Missouri; (6) does not own or lease any real property or facilities in Missouri; and (7) does not

 maintain an office to do business in Missouri. Plaintiffs do not allege any new facts in their SAP

 that would suggest that ComEd has any such contacts with Missouri. Instead, Plaintiffs raise only

 conclusory allegations that are bereft of any factual support. For these reasons, this Court lacks

 personal jurisdiction over ComEd and the action must be dismissed as to it.

         Second, Plaintiffs cannot establish liability against ComEd based solely on its alleged

 parent-child relationship with Cotter. As an initial matter, Plaintiffs allege that Cotter committed



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 certain wrongful acts through 1973, and that Cotter later became a subsidiary of ComEd.

 ComEd cannot possibly be liable for the alleged wrongful acts of a corporation that was, even

 according to Plaintiffs’ own allegations, not its subsidiary at any time relevant to the SAP. But

 even if ComEd had been Cotter’s parent corporation when the allegedly wrongful acts were

 committed, parent corporations are generally not liable for the acts or omissions of their

 subsidiaries. Plaintiffs do not allege an alter ego or agency relationship between Cotter and

 ComEd, nor can Plaintiffs establish such a relationship under the facts alleged, making any

 exceptions to this general rule inapplicable here. Plaintiffs also fail to allege any of the facts

 necessary to successfully plead their conspiracy and fraud claims. Plaintiffs’ SAP fails to cure

 the defects of either of its earlier filings, and does not adequately allege that ComEd has ever had

 enough control over Cotter for the two to be considered a single entity. Accordingly, the SAP

 must be dismissed as to ComEd.

         For these reasons, as well as those set forth in ComEd’s Memorandum of Law, the Court

 should dismiss Plaintiffs’ SAP as to ComEd with prejudice and award such further relief as the

 Court deems appropriate under the circumstances.

 Dated: November 8, 2019                          Respectfully Submitted,


                                                  /s/ Erin Brooks

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                                         ATTORNEYS FOR DEFENDANTS
                                         COMMONWEALTH EDISON COMPANY
                                         AND COTTER CORPORATION (N.S.L.)




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 8, 2019, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, providing electronic service to the following:

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                                                   and Cotter Corporation (N.S.L.)




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           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                              ST. LOUIS COUNTY

 TAMIA BANKS, REV. RONNIE HOOKS,                      )
 BARBARA HOOKS, JOEL HOGAN,                           )
 KENNETH NIEBLING, KENDALL LACY,                      )
 TANJA LACY, WILLIE CLAY, BOBBIE                      )
 JEAN CLAY, ANGELA STATUM, and                        )   Cause No. 18SL-CC00617-01
 MISSOURI RENTALS COMPANY, LLC, on                    )
 behalf of themselves and all others similarly        )   Division No. 18
 situated,                                            )
                                                      )
         Plaintiffs,                                  )
                                                      )
                         vs.                          )
                                                      )
 COTTER CORPORATION and                               )
 COMMONWEALTH EDISON COMPANY,                         )
 DJR HOLDINGS, INC. f/k/a FUTURA                      )
 COATINGS, INC., and ST. LOUIS AIRPORT                )
 AUTHORITY, A DEPARTMENT OF THE                       )
 CITY OF ST. LOUIS,                                   )
                                                      )
         Defendants.                                  )
                                                      )

                    COMMONWEALTH EDISON COMPANY’S
               MEMORANDUM IN SUPPORT OF ITS MOTION TO DISMISS

         Defendant Commonwealth Edison Company (“ComEd”) hereby submits this

 memorandum in support of its motion to dismiss the second amended class-action petition

 (“SAP,” Exhibit 4) of Plaintiffs pursuant to Missouri Rules of Civil Procedure 55.27(a)(2) and

 55.27(a)(6) for lack of personal jurisdiction and failure to state a claim against ComEd directly.

 Plaintiffs cannot establish personal jurisdiction over ComEd (a) based on its status as a defendant

 in other actions in the state, (b) through its purported parent-subsidiary relationship with Cotter

 Corporation (N.S.L.) (“Cotter”) (even though ComEd was not a parent of Cotter during the

 operative events of the SAP), or (c) through the mere existence of an indemnity agreement. Nor




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 can Plaintiffs establish liability against ComEd for these reasons. ComEd further joins the

 Motion to Dismiss filed by Cotter on November 8, 2019, and the arguments set forth therein.

                                           INTRODUCTION

         On or about February 18, 2018, Plaintiff Banks filed a Petition in the Circuit Court of St.

 Louis County, Missouri, Twenty-First Judicial Circuit, thereby commencing the putative class

 action styled, Banks v. Cotter Corporation, Case No. 18SL-CC00617. (Exhibit 2). On April 2,

 2018, Plaintiff Banks filed the first amended class-action complaint (“FAP”), whereby she added

 a count for civil conspiracy against the defendants. (Exhibit 1). The then-defendants timely

 removed the action to federal court on April 18, 2018, and the action was remanded to this Court

 on March 29, 2019. The then-defendants had filed motions to dismiss in federal court, but as part

 of the remand order, these motions were denied “without prejudice to refiling in state court.”

         On April 29, 2019, defendants Cotter and ComEd1 timely refiled their respective motions

 to dismiss the FAP in this Court. Argument was set for those motions for June 17, 2019. That

 argument was adjourned while the parties engaged in discussions concerning limited pre-motion

 discovery on jurisdictional issues. On October 11, 2019, Plaintiffs filed their motion for leave to

 amend; that motion was granted on October 18, 2019.

         On October 29, 2019, Plaintiffs filed the SAP, adding an additional ten (10) Plaintiffs,

 and removing Exelon Corporation and Exelon Generation Company, LLC as defendants.

 Plaintiffs also added various allegations and legal conclusions, including allegations that the

 defendants are jointly and severally liable under Missouri common law for harms because of the

 defendants’ collective negligence, that the defendants are collectively liable for acts and




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  Exelon Generation Company, LLC and Exelon Corporation were also party to those motions. Those two entities
 have since been dismissed by Plaintiffs.

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 omissions and damages caused by their predecessors in interest, and that the radioactive wastes

 are “mill tailings.” Plaintiffs did not add any new causes of action.

         In Plaintiffs’ SAP, they allege that, as a result of the various defendants’ collective

 conduct over the span of several decades, radioactive materials were released into the

 environment in and around the one-hundred-year floodplain of Coldwater Creek located in St.

 Louis County, Missouri (the “Creek”), contaminating the Plaintiffs’ property with radioactive

 materials and causing various forms of property damage. (See generally, SAP ¶¶ 18-31, 84-98).

         In their twelve-count SAP, Plaintiffs seek injunctive and monetary relief against all

 defendants for damages suffered as a result of trespass, permanent nuisance, temporary nuisance,

 negligence, negligence per se, strict liability injuries, and civil conspiracy, sought medical

 monitoring against all defendants, and asserted claims for inverse condemnation and violations

 of the Missouri Constitution against the St. Louis Airport Authority only.

               FACTUAL ALLEGATIONS AGAINST DEFENDANT COMED

         Plaintiffs sue four (4) defendants, including ComEd and Cotter. Plaintiffs assert that

 Cotter is a subsidiary of or otherwise related to ComEd. (See SAP ¶¶27-31).

         Plaintiffs allege that ComEd “is an Illinois corporation, whose former subsidiary

 corporation, Cotter, conducted business operations in Missouri.” (SAP ¶ 29), and that “[t]he

 responsibility to indemnify Cotter was transferred to Exelon Generation Company, LLC when

 ComEd’s parent company, Exelon Corporation, restructured in 2001.” Id.

         More specifically, with respect to ComEd, Plaintiffs allege that:

                ComEd continuously and systematically carried on local business
                activities in the State of Missouri, both on its own and through its
                subsidiary Cotter. In addition, ComEd owned Cotter at times
                relevant to this Petition, and agreed to indemnify Cotter for
                liabilities associated with the creation, storage, transportation, and
                processing of hazardous, toxic, carcinogenic, radioactive wastes as
                alleged herein. ComEd regularly and routinely avails itself of the

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                     protection of Missouri laws in St. Louis County courts, and
                     regularly appears to defend itself in lawsuits tried in that locality.

 (SAP ¶ 29(A)). Plaintiffs further allege that jurisdiction exists over ComEd because Plaintiffs’

 damages “resulted from the Cotter Defendants’2 conduct, including acts and omissions within the

 State of Missouri, as well as the acts and omissions of the predecessors of the Cotter Defendants,

 which gave rise to the violations…” (SAP ¶ 28(B)). Plaintiffs have failed to identify in any of

 their three petitions any examples of ComEd itself engaging in any such activities. Instead,

 Plaintiffs only assert conclusory allegations, which this Court does not have to credit without any

 factual support. Under Missouri law, a plaintiff must allege a “short and plain statement of the

 facts showing that the pleader is entitled to relief,” (Mo. R. Civ. P. 55.05) and ultimate facts on

 which a jury could return a verdict for the plaintiff must be pleaded. R.M.A. by Appleberry v.

 Blue Springs R-IV Sch. Dist., 568 S.W.3d 420, 425 (Mo. 2019), reh’g denied (Apr. 2, 2019).

            The sole allegation with respect to ComEd that, if liberally construed, might be deemed

 to speak to its “conduct,” is based entirely on its alleged corporate relationship with Cotter.

 Plaintiffs sue ComEd because it allegedly “agreed to indemnify Cotter for liabilities associated

 with the creation, storage, transportation, and processing of hazardous, toxic, carcinogenic,

 radioactive wastes as alleged herein.” (SAP ¶ 29(A)). According to the SAP, Cotter “was

 purchased by and became a wholly owned subsidiary of Commonwealth Edison in 1974.” (SAP

 ¶ 28). Then, Plaintiffs claims, “[u]pon the sale of Cotter, ComEd agreed to indemnify Cotter for

 certain liabilities associated with these activities.” (SAP ¶ 29).

            As to Cotter’s conduct (which provides the basis for ComEd’s purported liability),

 Plaintiffs allege, “[b]etween 1969 and 1973, Cotter stored, processed, and transported hazardous,




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     Notably, the term “Cotter Defendants” is not defined.

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 toxic, and radioactive wastes, including enriched thorium, associated with both the SLAPS and

 Latty Avenue Sites.” (SAP ¶ 72).

                                      LEGAL ANALYSIS

 I.      PURSUANT TO MO. R. CIV. P. 55.27(A)(2), THIS ACTION MUST BE
         DISMISSED AS TO COMED FOR LACK OF PERSONAL JURISDICTION.

         Plaintiffs cannot meet their burden of demonstrating that this Court has personal

 jurisdiction over ComEd. Plaintiffs do not allege any connection between ComEd and Missouri

 that can possibly confer personal jurisdiction over ComEd. And their attempts to conjure up

 minimum contacts by ComEd in Missouri are insufficient as a matter of law.

         A.     Legal Standard

         When a defendant’s motion to dismiss argues that the court lacks personal jurisdiction

 over it, “the plaintiff has the burden of making a prima facie showing that the trial court has

 personal jurisdiction over [the] defendant.” Stavrides v. Zerjav, 848 S.W.2d 523, 527 (Mo. Ct.

 App. 1993). The plaintiff must show that: (1) exercising personal jurisdiction over the defendant

 is proper under Missouri’s long arm statute; and (2) sufficient minimum contacts with Missouri

 exist to make exercising personal jurisdiction consistent with due process. Medicine Shoppe Int’l

 v. J–Pral Corp., 662 S.W.2d 263, 268, 271 (Mo. Ct. App. 1983); see also Eagle Tech. v.

 Expander Americas, Inc., 783 F.3d 1131, 1136 (8th Cir. 2015) (explaining that courts in the

 Eighth Circuit “first examin[e] whether the exercise of jurisdiction is proper under the forum

 state’s long-arm statute. If the activities of the non-resident defendant satisfy the statute’s

 requirements, [courts] then address whether the exercise of personal jurisdiction comports with

 due process.”). When a defendant’s motion to dismiss relies on facts not appearing in the record,

 the trial court may hear the matter on affidavits offered by the parties. Chromalloy Am. Corp. v.




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 Elyria Foundry Co., 955 S.W.2d 1, 3 n.3 (Mo. 1997); Medicine Shoppe Int’l., 662 S.W.2d at

 268; see also Mo. R . Civ. P. 55.28.

         Missouri’s long-arm statute is Mo. Rev. Stat. § 506.500, “which authorizes the exercise

 of jurisdiction over nonresidents to the extent permissible under the due process clause[.]” Eagle

 Tech., 783 F.3d at 1136; see also Andra v. Left Gate Prop. Holding, Inc., 453 S.W.3d 216, 226

 (Mo. 2015) (“Missouri’s long-arm statute expands a court’s jurisdictional reach only to the

 extent allowed by the due process clause of the Fourteenth Amendment of the United States

 Constitution.”). Due process requires that a non-resident defendant have minimum contacts with

 the forum state such that the maintenance of the lawsuit does not “offend traditional notions of

 fair play and substantial justice.” Bryant v. Smith Interior Design Grp., Inc., 310 S.W.3d 227,

 231 (Mo. 2010) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)). This

 minimum contacts requirement reflects the notion that “those who live or operate primarily

 outside a State have a due process right not to be subjected to judgment in its courts as a general

 matter.” J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 881 (2011).

         To determine whether a defendant’s contacts with Missouri satisfy due process, courts

 consider if “the defendant purposefully avail[ed] itself of the privilege of conducting activities

 within” Missouri. Bryant, 310 S.W.3d at 232 (quoting Hanson v. Denckla, 357 U.S. 235, 253

 (1958)). Only where a defendant has purposely availed itself of the protections of Missouri law

 can it be said to have reasonably anticipated being amenable to suit in the state. Id. Purposeful

 availment requires that the defendant’s contacts “proximately result from actions by the

 defendant himself that create a ‘substantial connection’ with the forum State.” Peoples Bank v.

 Frazee, 318 S.W.3d 121, 129 (Mo. 2010) (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

 462, 475 (1985)). This “substantial connection” must be shown through the defendant’s contacts



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 with “the forum State itself,” not only “with the persons who reside there.” Walden v. Fiore, 571

 U.S. 277, 285 (2014). Such limitations “ensure[] that a defendant will not be haled into a

 jurisdiction solely as the result of random, fortuitous, or attenuated contacts.” Burger King Corp.

 v. Rudzewicz, 471 U.S. 462, 475 (1985) (citations and internal quotation marks omitted).

            Finally, “[t]he minimum contacts necessary for due process may be the basis for either

 ‘general’ or ‘specific’ jurisdiction.” Johnson v. Arden, 614 F.3d 785, 794 (8th Cir. 2010)

 (internal citation omitted). A court has specific jurisdiction over an out-of-state defendant if “a

 suit aris[es] out of or relate[s] to the defendant’s contacts with the forum.” Bryant, 310 S.W.3d at

 232-33. A court has general jurisdiction over an out-of-state defendant only where the

 defendant’s “connections with the state are systematic, continuous and substantial enough to

 furnish personal jurisdiction over the defendant based on any cause of action even one that is

 unrelated to the defendant’s contacts with the forum.” Bryant, 310 S.W.3d at 232; see also

 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414, 414 n.9 (1984).

            B.       Plaintiffs Have Failed to Adequately Allege that this Court Has Jurisdiction
                     Over ComEd.

            Other than conclusory allegations regarding the existence of general jurisdiction and

 fruitless attempts to manufacture personal jurisdiction from purported parent-subsidiary

 relationships and an indemnity agreement, Plaintiffs allege no facts tying ComEd to Missouri for

 the purposes of either general or specific jurisdiction. Plaintiffs’ second amended pleading fails

 to account for the defects of either of the two prior filings, and does not allege any additional

 facts that would confer personal jurisdiction over ComEd.

            Plaintiffs allege that ComEd “is an Illinois corporation, whose former subsidiary

 corporation, Cotter, conducted business operations in Missouri.” (SAP ¶ 29)3. Tellingly,


 3
     In the SAP, Plaintiffs allege that ComEd “continuously and systematically carried on local business activities in

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 Plaintiffs do not allege – nor can they – that ComEd is authorized to do business in Missouri.

 Instead, Plaintiffs only allege that ComEd “knew or should have known substantial waste was in

 Coldwater Creek as a result of Cotter’s operations,” despite the fact that the alleged activity

 occurred prior to ComEd’s acquisition of Cotter in 1974. (SAP ¶ 29(B)). Plaintiffs attempt to

 manufacture personal jurisdiction by claiming that ComEd was obligated to ensure that Cotter

 comply with Missouri law by virtue of ComEd’s acquisition of Cotter, and that the two conspired

 “to perpetuate the fraud that there was no radioactive contamination.” Id. These new claims,

 even if taken as true, still fail to allege any actual contacts with Missouri, and do not demonstrate

 personal jurisdiction over ComEd.

          ComEd has submitted a Declaration attesting that: (1) it is not registered to do business in

 Missouri; (2) it is not otherwise doing business in Missouri; (3) it has not transacted business in

 Missouri with respect to any matter which is the subject of the SAP filed in this action; (4) it

 does not offer any products or services within Missouri; (5) it has no employees in Missouri; (6)

 it does not own or lease any real property or facilities in Missouri; and (7) it does not maintain an

 office to do business in Missouri. (See Declaration of Brian Buck on behalf of ComEd, attached

 hereto as Exhibit 3). Plaintiffs have failed to allege anything in their amended filing that

 contradicts these facts.

          Rather, in an attempt to fabricate jurisdiction over ComEd, Plaintiffs allege that ComEd

 “regularly and routinely avails itself of the protection of Missouri laws in St. Louis County

 courts, and regularly appears to defend itself in lawsuits tried in that locality.” (SAP ¶ 29(A)).

 Even if this allegation were true (which it is not), simply being named as a defendant in a lawsuit

 does not mean that a defendant is “purposefully availing itself of the privilege of conducting


 the State of Missouri, both on its own and through its subsidiary Cotter.” (SAP ¶ 29A). This conclusory allegation,
 without any associated factual allegations, is not a sufficient basis for this Court to have jurisdiction over ComEd.

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 activities within the forum State, thus invoking the benefits and protections of its laws,” such that

 sufficient minimum contacts exist between that defendant and the forum state. 4 See Bryant, 310

 S.W.3d at 232. Further, the mere fact that a defendant has been sued says nothing about whether

 that defendant has been properly named or, if not, even consents to the court’s jurisdiction.

 Tellingly, Plaintiffs made no attempt to bolster this argument when given the chance to do so in

 their SAP (even though this is the third time that ComEd is now pointing out these fatal defects

 in Plaintiffs’ pleadings).

         ComEd has no control over whether anyone will sue them; the purposeful availment

 requirement is meant to protect against precisely these types of attempts by a plaintiff to create

 jurisdiction where a defendant has insufficient minimum contacts with a forum state for

 jurisdiction to exist in the first place. Id.; Peoples Bank, 318 S.W.3d at 129; see also Burger King

 Corp., 471 U.S. at 475.

         Plaintiffs have utterly failed to plead (much less demonstrate) sufficient contacts between

 the state of Missouri and ComEd to form the basis for the Court’s exercise of personal

 jurisdiction over it in this case. See Eagle Tech., 783 F.3d at 1136. Thus, this Court lacks

 personal jurisdiction over ComEd.

         C.       Jurisdiction Over a Parent Corporation May Not Be Predicated on the
                  Contacts of a Subsidiary.

         To the extent that Plaintiffs attempt to argue that the Court has personal jurisdiction over

 ComEd based on its corporate relationship with Cotter, this argument fails. Here, Plaintiffs

 predicate personal jurisdiction over ComEd on the alleged activities of Cotter between 1969 and

 1973, ComEd’s later alleged acquisition of Cotter in 1974, and ComEd’s alleged agreement to

 indemnify Cotter for the latter’s activities associated with Coldwater Creek. (SAP ¶ 29).

 4
   A review of the Missouri Courts docket sheets for the last 12 years demonstrates that while ComEd has been sued
 in Missouri, it was always a defendant.

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 However, none of these allegations, even if true, is a proper basis for personal jurisdiction over

 ComEd.

         It is well settled that personal jurisdiction over a parent corporation cannot be based on

 the conduct or contacts of its separately incorporated subsidiaries, except in circumstances where

 the parent exercised such control and domination over the subsidiary that it was effectively the

 parent company’s alter ego. E.g., United States v. Bliss, 108 F.R.D. 127, 131 (E.D. Mo. 1985)

 (applying Missouri law and reasoning that, “[i]f a subsidiary’s presence in the state is primarily

 to carry on its own business and the subsidiary has preserved some semblance of independence

 from the parent, jurisdiction over the parent may not be acquired on the basis of the local

 activities.”); see also Cannon Manufacturing Company v. Cudahy Packing Company, 267 U.S.

 333, 335-37 (1925) (holding that when “the corporate separation” between a parent corporation

 and its subsidiary is “carefully maintained,” it may not be “ignored in determining the existence

 of jurisdiction”); Viasystems, Inc. v. EBM-Papst St. Georgen GmbH & Co., KG, 646 F.3d 589,

 596 (8th Cir. 2011) (“[P]ersonal jurisdiction can be based on the activities of a nonresident

 corporation’s in-state subsidiary only if the parent so controlled and dominated the affairs of the

 subsidiary that the latter’s corporate existence was disregarded so as to cause the residential

 corporation to act as the nonresidential corporate defendant’s alter ego.” (citation omitted));

 Blanks v. Fluor Corp., 450 S.W.3d 308, 375 (Mo. Ct. App. 2014) (“[T]wo separate corporations

 are regarded as wholly distinct legal entities, even if one partly or wholly owns the other.”

 (citation omitted)).

         Even taking the allegations as true, the SAP is completely devoid of any allegation that

 ComEd exercised such control or dominion over Cotter such that jurisdiction exists over ComEd,

 or that Cotter was an “in-state subsidiary.” Plaintiffs also fail to allege that Cotter had no



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 “semblance of independence” from ComEd. United States v. Bliss, 108 F.R.D. 127, 131 (E.D.

 Mo. 1985). Instead, Plaintiffs only argue that “ComEd is liable as a corporate successor to

 Cotter.” (SAP ¶ 29(B)). Moreover, under the facts that Plaintiffs allege, establishing the requisite

 alter-ego relationship would be impossible. According to the SAP, Cotter’s alleged conduct

 giving rise to this matter took place between 1969 and 1973, inclusive. (See SAP ¶ 72). In

 contrast, ComEd did not have any involvement with Cotter until after 1973. According to

 Plaintiffs’ own allegations, ComEd’s acquisition of Cotter did not occur until 1974. (SAP ¶ 28).

 Nor have Plaintiffs cured this defect in their filings when given the chance to do so. Instead,

 Plaintiffs argue “ComEd controlled the policy and business of Cotter to perpetuate the negligent

 and unlawful contamination” and that “ComEd’s control over Cotter was the proximate cause of

 the contamination.” (SAP ¶ 29(B)). Even if true, which it is not, this allegation falls far short of

 the complete control and domination required to allege an alter-ego relationship.

            Nor does the existence of any alleged agreement by ComEd to indemnify a third party for

 Cotter’s alleged actions in connection with Coldwater Creek, even if taken as true (as required in

 the context of a motion to dismiss),5 necessarily mean that the Court can exercise personal

 jurisdiction over ComEd, especially where it did not voluntarily agree to subject itself to the

 jurisdiction of the courts in Missouri. Any agreement to indemnify is between the parties to the

 agreement and cannot provide a basis for a remote third party to initiate a cause of action against

 an indemnitor based on an alleged tort by the indemnitee. As a result, the indemnity agreement

 alleged here provides no basis for jurisdiction over ComEd.                     Moreover, as the Plaintiffs

 themselves note, ComEd is no longer under any obligation to indemnify Cotter, as that

 responsibility was transferred to a nonparty to this action when ComEd restructured in 2001.

 (SAP ¶ 29). Plaintiffs have thus failed to raise any new allegations in their amended filings that
 5
     See Commercial Bank of St. Louis Co. v. James, 658 S.W.2d 17, 21-22 (Mo. 1983).

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 would provide the court with personal jurisdiction over ComEd based on the alleged indemnity

 agreement.

         For all of the foregoing reasons, this Court lacks personal jurisdiction over ComEd.

 Plaintiffs have therefore failed to cure the defects of their prior two pleadings, and the action

 must be dismissed as to ComEd.

 II.     IN THE ALTERNATIVE, THIS ACTION MUST BE DISMISSED AS TO COMED
         BECAUSE A PARENT CORPORATION IS NOT LIABLE FOR THE CONDUCT
         OF ITS SUBSIDIARIES.

         A.     Legal Standard

         To survive a motion to dismiss for failure to state a claim under Rule 55.27(a)(6), a

 petition must allege sufficient facts to satisfy the elements of a recognized cause of action. Avery

 Contracting, LLC v. Niehaus, 492 S.W.3d 159, 162 (Mo. 2016). “The failure to plead facts

 entitling the pleader to the relief requested . . . deprives the trial court of jurisdiction to grant”

 such relief. Ford Motor Credit Co. v. Updegraff, 218 S.W.3d 617, 621 (Mo. Ct. App. 2007).

 Although Missouri is a “fact pleading” jurisdiction, State ex rel. United Indus. Corp. v.

 Mummert, 878 S.W.2d 494, 496 (Mo. Ct. App. 1994), a petition must “plead ultimate facts

 demonstrating” an entitlement to relief “and cannot rely on mere conclusions.” Ford Motor

 Credit Co., 218 S.W.3d at 621 (citation omitted). Thus, Missouri “[c]ourts disregard conclusions

 not supported by facts in determining whether a petition states a cause of action.” Brock v.

 Blackwood, 143 S.W.3d 47, 56 (Mo. Ct. App. 2004).

         B.     Plaintiffs Cannot Establish Liability Against ComEd Predicated Solely on a
                Parent-Child Relationship

         This action must be dismissed as to ComEd because there is no allegation of direct

 involvement by ComEd relating to the events giving rise to the SAP apart from its corporate

 relationship with Cotter, which is insufficient to establish liability against a parent. As discussed


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 above, the SAP alleges that Cotter committed certain wrongful acts in 1973, and that

 subsequently, Cotter became a subsidiary of ComEd.

         For the same reason that there is no personal jurisdiction over ComEd based solely on the

 alleged parent-subsidiary relationship, there is also no liability. A parent corporation is not liable

 for the conduct of its subsidiaries. Ordinarily, “two separate corporations are regarded as wholly

 distinct legal entities, even if one partly or wholly owns the other.” Blanks, 450 S.W.3d at 375

 (Mo. Ct. App. 2014) (citing Cent. Cooling & Supply Co., 648 S.W.2d at 548 (Mo. 1982)).

 Accordingly, “[n]ormally, a parent corporation is not responsible for the acts of its subsidiary

 corporation.” Weitz Co. v. MH Washington, 631 F.3d 510, 520 (8th Cir. 2011) (citing Grease

 Monkey Int’l, Inc. v. Godat, 916 S.W.2d 257, 262 (Mo. Ct. App. 1995)). “The mere existence of

 a parent-subsidiary relationship, without more, does not subject a parent corporation to liability

 for acts of the subsidiary.” Blanks, 450 S.W.3d at 375. “[T]he parent-subsidiary separation

 should be ‘ignored with caution and only when the circumstances clearly justify it.’” Id. at 376

 (quoting Doe 1631 v. Quest Diagnostics, Inc., 395 S.W.3d 8, 18 (Mo. 2013)).

         There are two exceptions to the rule against finding liability for a parent corporation

 based on the conduct of its subsidiary, neither of which applies here: (1) “where one corporation

 so dominates and controls another that it becomes a mere ‘alter ego’ of the first and the formal

 corporate separateness is used to accomplish a fraud, injustice, or some unlawful purpose,”

 Weitz, 631 F.3d at 520 (citing Collet v. American Nat’l Stores, Inc., 708 S.W.2d 273, 283 (Mo.

 Ct. App. 1986)); and (2) an agency theory, whereby the principal exercises “such domination and

 control that the controlled corporation has, so to speak, no separate mind, will or existence of its

 own and is but a business conduit for its principal,” Weitz, 631 F.3d at 522 (citing Sedalia




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 Mercantile Bank and Trust Co. v. Loges Farms, Inc., 740 S.W.2d 188, 202 (Mo. Ct. App. 1987)).

 See also Blanks, 450 S.W.3d at 375-80.

         Plaintiffs only offer a few conclusory allegations in support of this argument, without any

 explanation as to the specific facts underlying this claim. See SAP ¶ 29(B). The SAP includes no

 statement as to how ComEd, who briefly owned Cotter as a subsidiary, is a successor in fact,

 much less in law, of Cotter. Plaintiffs do not and cannot allege that Cotter evolved into ComEd

 such that the two are a single entity merely under new names. Further, Plaintiffs do not and

 cannot allege that Cotter acted under the direction of ComEd as an agent of its alleged parent

 company, as it was not a subsidiary of ComEd at the time of the alleged actions that give rise to

 the SAP. Rather, the SAP merely alleges that Cotter “was purchased by and became a wholly

 owned subsidiary of Commonwealth Edison in 1974” and that “[u]pon the sale of Cotter [in

 2000], ComEd agreed to indemnify Cotter for certain liabilities associated with” activities at

 Latty Avenue. (SAP ¶¶ 28, 29). Simply put, these allegations are insufficient to establish either

 jurisdiction or liability for ComEd as a parent corporation, especially considering that it was not

 a parent of Cotter at the time of the alleged actions giving rise to the SAP. See Blanks, 450

 S.W.3d at 375 (“The mere existence of a parent-subsidiary relationship, without more, does not

 subject a parent corporation to liability for acts of the subsidiary.”); (Exhibit 3 at ¶¶ 11-12).

         As stated above, under the facts alleged by Plaintiffs, it is impossible for an alter ego or

 agency relationship to have existed between Cotter and ComEd. Moreover, Plaintiffs’ SAP fails

 to allege any additional facts that would demonstrate such a relationship. Accordingly, even

 taking Plaintiffs’ allegations as true, this action must be dismissed as to ComEd for failure to

 state a claim, because ComEd, as an alleged parent corporation, is not liable for the acts or




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 omissions of its subsidiaries, and no exceptions to that general rule apply here. See Weitz, 631

 F.3d at 520, 522 (applying Missouri law); Blanks, 450 S.W.3d at 375-80.

         Similarly, Plaintiffs have also failed to adequately raise any claims as to the alleged

 conspiracy to commit fraud, because “[m]erely alleging the commission of wrongful acts is

 conclusory and insufficient to state a claim for civil conspiracy.” Mackey v. Mackey, 914 S.W.2d

 48, 50 (Mo. Ct. App. 1996). In order to successfully plead conspiracy, a plaintiff must allege

 specific facts that show, “’”(1) two or more persons; (2) with an unlawful objective; (3) after a

 meeting of the minds; (4) committed at least one act in furtherance of the conspiracy; and (5)

 [the plaintiff] was thereby damaged.”’” Williston v. Vasterling, 536 S.W.3d 321, 335 (Mo. Ct.

 App. 2017). Instead, the Plaintiffs vaguely allege that a conspiracy existed between ComEd and

 Cotter, without alleging any facts that would demonstrate any of the elements of conspiracy. In

 addition, Missouri law requires that all allegations of fraud “shall be stated with particularity,”

 which, again, Plaintiffs have failed to do. Mo. R. S. Ct. 55.15. Plaintiffs’ most specific allegation

 with respect to ComEd’s alleged conspiracy to commit fraud is simply that Cotter and ComEd

 “jointly conspired to perpetuate the fraud that there was no radioactive contamination remaining

 with respect to Cotter’s abandoned operations.” (SAP ¶ 29(B)). Such a broad statement does not

 sufficiently plead any facts, let alone with particularity.

         Similarly, the SAP is devoid of any alleged facts against ComEd regarding any direct

 involvement by it with Coldwater Creek at any time relevant to this action. Accordingly, the

 SAP must be dismissed as to ComEd. See, e.g., Calon v. Bank of Am. Corp., No. 14–00913–

 CV–W–FJG, 2015 WL 3948171, at *4 (W.D. Mo. June 29, 2015) (applying Missouri law and

 stating that “[t]o bring a valid claim against [a parent company] that will survive a motion to




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 dismiss, the Plaintiff must allege additional facts that implicate [the parent] directly.”) (emphasis

 added).

                                          CONCLUSION

           Defendant ComEd respectfully requests that this Court grant its motion to dismiss the

 SAP for lack of personal jurisdiction or, in the alternative, for failure to state a claim upon which

 relief can be granted. Plaintiffs’ attempts to establish personal jurisdiction and liability fail,

 because Plaintiffs cannot rely on ComEd’s status as a defendant in other actions within Missouri,

 its purported parent-subsidiary relationships with Cotter alone (even though it was not a parent of

 Cotter during the operative events of the SAP), or the mere existence of an indemnity agreement.

 ComEd also respectfully requests that the Court grant the relief requested in the Motion to

 Dismiss filed by Defendant Cotter Corporation (N.S.L.) and the arguments set forth therein,

 which ComEd joins.

                                                   Respectfully Submitted,

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                                         CORPORATION (N.S.L.) and
                                         COMMONWEALTH EDISON COMPANY




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 8, 2019, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, providing electronic service to the following:

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                                                    and Commonwealth Edison Company




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                             Exhibit 1
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and
                                 )
 all others similarly situated,  )
                                 )
       Plaintiff,                )                            Cause No. 18SL-CC00617




                                                                                                                                               November
                                 )




                                                                                                                                                     02, 2018
       vs.                       )                            Division No. 2
                                 )




                                                                                                                                                           08, -2019
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                               JURY TRIAL DEMANDED




                                                                                                                                                                 06:16
 EXELON CORPORATION,             )




                                                                                                                                                                     - 06:06
 EXELON GENERATION COMPANY, LLC, )




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 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                       FIRST AMENDED CLASS ACTION PETITION

        COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

 by and through counsel, and for her First Amended Class Action Petition and causes of action

 against Defendants Cotter Corporation, Commonwealth Edison Company, Exelon Corporation,

 Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St.

 Louis Airport Authority, a department of the City of St. Louis, states and alleges as follows:

        1.      Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

 with high levels of radium from Africa. This special ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of
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 the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

 materials with less care than a reasonable person might give in moving common household

 garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

 Louis Airport, then to Hazelwood.




                                                                                                                                                  November
                                                                                                                                                        02, 2018
        2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to




                                                                                                                                                              08, -2019
 the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout




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 North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis




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 Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty

 Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing

 and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

 toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



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 found today in the real property, which contains businesses and homes, surrounding the Coldwater

 Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous




                                                                                                                                                  November
                                                                                                                                                        02, 2018
 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth




                                                                                                                                                              08, -2019
 defects may take a number of years after exposure to the radioactive material to appear.




                                                                                                                                                                    06:16
        6.      Defendants have failed to take responsibility for their negligent behavior, failed to




                                                                                                                                                                        - 06:06
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 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the public about the widespread contamination Defendants have caused

 and minimizing the immense risks to public health and safety that resulted from Defendants’

 actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

 victims.

        8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns and resides on property in St.

 Ann, Missouri that Defendants contaminated. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek.




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 Her property, including the land and her home, is entirely within the Coldwater Creek flood plain,

 and is contaminated with radioactive waste materials from Coldwater Creek.

           9.    Testing on the Banks Property has confirmed radioactivity above normal

 background levels. The source of the radioactivity is small, microscopic particles, which among




                                                                                                                                                   November
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 other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.




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           10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained




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 significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff




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 for her damages, and provide further relief as set forth below in this Petition.

                                  JURISDICTION AND VENUE

           11.   This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

           12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

           13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

 States.

           14.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act.

                 A. Coldwater Creek is not and has never been a licensed nuclear facility.

                 B. Defendants have never received a license to possess, transport, or dispose of

                    any radioactive wastes on or in Coldwater Creek.

                 C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                    Creek.

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                D. Defendants did not have a license to handle the particular materials they

                    handled as alleged herein, including enriched thorium.

                E. Defendants have never entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 with respect to the




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                    complained activities.




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        15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise




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 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning




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 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

 concerns related to liability limitation and indemnification.

        16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

 lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

 to said Act.

        17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic wastes at issue in this Petition.

                                           THE PARTIES

                                              Plaintiffs

        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

 in St. Louis County adjacent to Coldwater Creek.

        19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages including damages to the Banks Property and the loss of use and enjoyment of the



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 property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

 material in 2018.

                                             Defendants

        20.     There are four defendants that relate in some way to Cotter Corporation, the owner




                                                                                                                                                  November
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 and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation




                                                                                                                                                              08, -2019
 (“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon




                                                                                                                                                                    06:16
 Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).




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                                                                                                                                                                          PM PM
        21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

 California corporation. It was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1975.

                A. Cotter continuously and systematically carries on business activities in the State

                     of Missouri in its own name, through its parent companies ComEd and Exelon,

                     as well as through its subsidiary General Atomics, Inc.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                     conduct including acts and omissions within the State of Missouri, as well as

                     the acts and omissions of the predecessors of the Cotter Defendants, which gave

                     rise to the violations of law and damage to property alleged in the Petition.

        22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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                A. ComEd continuously and systematically carries on business activities in the

                    State of Missouri, both on its own and through its subsidiaries including Cotter

                    and its parent company Exelon. In addition, ComEd owned Cotter at times

                    relevant to this Petition, and agreed to indemnify Cotter for liabilities associated




                                                                                                                                                    November
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                    with the creation, storage, transportation, and processing of hazardous, toxic,




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                    carcinogenic, radioactive wastes as alleged herein. ComEd regularly and




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                    routinely avails itself of the protection of Missouri laws in St. Louis County




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                    courts, and regularly appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the ComEd Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

 corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

 including Cotter and ComEd, conducted business in Missouri.

                A. Exelon is the parent company of ComEd and, through its subsidiaries including

                    Cotter and ComEd, continuously and systematically carries out business

                    activities in the State of Missouri. Exelon regularly and routinely avails itself

                    of the protection of Missouri laws in St. Louis County courts, and regularly

                    appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

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                    the acts and omissions of the predecessors of the Exelon Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

 corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information




                                                                                                                                                  November
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 and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to




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 indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,




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 LLC.




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                A. Exelon Generation regularly and routinely avails itself of the protection of

                    Missouri laws in St. Louis County courts, and regularly appears to defend itself

                    in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the conduct including acts

                    and omissions of Exelon Generation and their subsidiaries, agents, and

                    representatives within the State of Missouri, which gave rise to the violations

                    of law and damage to property alleged in the Petition.

        25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri.

        26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution.

                               CLASS ACTION ALLEGATIONS

        27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

                                                  8
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 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

           28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

 recover damages to their property and to obtain injunctive relief in the form of a total and complete




                                                                                                                                                    November
                                                                                                                                                          02, 2018
 cleanup of the contamination and to prevent and eliminate further contamination.




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           29.     This action is maintainable as a class action and should be certified under Missouri




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 Supreme Court Rule 52.08.




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           30.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

                   All Missouri citizens who currently own real property with any portion within
                   the FEMA one hundred year flood plain of Coldwater Creek in St. Louis
                   County, Missouri, bounded by St. Charles Rock Road to the southwest and
                   Old Halls Ferry Road to the northeast, as shown in the map in Figure 1 below.




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 1
     https://msc fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchresultsanchor
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                                       Figure 1. Class Area




                                                                                                                                                 November
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 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           31.   The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

                 All Missouri citizens who currently reside, or have resided since 1973,
                 on a property with any portion within the FEMA one hundred year
                 flood plain of Coldwater Creek in St. Louis County, Missouri, bounded
                 by St. Charles Rock Road to the southwest and Old Halls Ferry Road
                 to the northeast, as shown in the map in Figure 1 above.


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        32.     Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded is any trial judge




                                                                                                                                                  November
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 who may preside over this case. The requirements for maintaining this action as a class action are




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 satisfied, as set forth immediately below.




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        33.     The proposed Class is so numerous that the individual joinder of all absent class




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 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and

 belief, alleges that the proposed Class may include more than twenty-five members. The

 requirement of numerosity is therefore satisfied.

        34.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive classwide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored or

                    transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                    Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiff and Class Members’ property;

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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiff and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.




                                                                                                                                                 November
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                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood




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                    Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of




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                    use and enjoyment of their property;




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                f. Whether the loss in property value suffered by Plaintiff and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiff and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        36.     Plaintiff will fairly and adequately represent the interests of the members of the

 Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

 retained competent attorneys who have experience in class action litigation.

        37.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        38.     Unless a class-wide injunction is issued, Defendants will continue to allow

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 contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

 resulting in harm to thousands of Missouri citizens.

           39.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would




                                                                                                                                                   November
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 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the




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 class; or (b) adjudications with respect to individual members of the class which would as a




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 practical matter be dispositive of the interests of the other members not parties to the adjudications




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 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           40.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate action. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

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        42.      All of the class members are citizens of Missouri.

        43.      The principal injuries resulting from the conduct of the Defendants were incurred

 in Missouri.

        44.      The conduct alleged in this Petition took place in Missouri.




                                                                                                                                                 November
                                                                                                                                                       02, 2018
                 A. The radioactive waste at issue in this case was generated as a result of chemical




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                    processes that took place in facilities in St. Louis




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                 B. All transportation of radioactive waste alleged herein took place in Missouri




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                 C. All processing of radioactive waster alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        45.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        46.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        49.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials



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 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        50.     Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other




                                                                                                                                                  November
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 material. When radiation energy interacts with other material, it causes a process called ionization2




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 which can damage chemical structures. When the “other material” that ionizing radiation passes




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 through is human cells, it can cause damage within those cells resulting in mutation in genetic




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 material which can lead to cancer and other harms.

        51.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        52.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the




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   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious
 health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
 cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
 health-effects
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 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

         53.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the




                                                                                                                                                       November
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 individual exposed. This can be damages to the skin, reproductive system, blood forming system,




                                                                                                                                                                   08, -2019
 digestive system, central nervous system, and immune system, as well as cancers. Illnesses such




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 as cancers may take a number of years to appear.




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         54.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         55.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.




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                             Radioactive Waste in the St. Louis Area




                                                                                                                                             November
                                                                                                                                                   02, 2018
          56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in




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 association with the Manhattan Project.3 The Manhattan Project was the U.S. research project




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 designed to develop the first nuclear weapons.




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          57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

 processing operations at the SLDS. The storage site(s) on and near the airport are now referred

 to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

 radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

 barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

 contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

 piles.

          60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several




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     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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  contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

 portion of SLAPS adjacent to Coldwater Creek.”

        61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

 had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri




                                                                                                                                               November
                                                                                                                                                     02, 2018
 (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site




                                                                                                                                                           08, -2019
 (“HISS”).




                                                                                                                                                                 06:16
        62.     These waste residues, which contained valuable metals, were sold and shipped to




                                                                                                                                                                     - 06:06
                                                                                                                                                                       PM PM
 various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive

 wastes stored at both SLAPS and at the Latty Avenue Site .

        64.     Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

        65.     Cotter did not receive indemnity from the government in connection with this

 transaction.

        66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

        67.     Upon information and belief, Cotter did not have a license to dispose of enriched

 thorium.




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        68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

 the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

 radioactive substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)




                                                                                                                                                November
                                                                                                                                                      02, 2018
        69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport




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 Site (“SLAPS”) site by condemnation proceedings in 1947.




                                                                                                                                                                  06:16
        70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were




                                                                                                                                                                      - 06:06
                                                                                                                                                                        PM PM
 transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined

 cake, barium sulfate cake, and C-liner slag.

        71.     From 1953, the property was managed and operated by Mallinckrodt.

        72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        74.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes, including into Coldwater Creek.

                                         Latty Avenue Site

        75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at



                                                 19
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 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

 property.




                                                                                                                                               November
                                                                                                                                                     02, 2018
        77.     Despite knowing that significant activities involving radioactive material were




                                                                                                                                                           08, -2019
 conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of




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 hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.




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                                                                                                                                                                       PM PM
                                        Coldwater Creek

        78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        80.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

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 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.




                                                                                                                                              November
                                                                                                                                                    02, 2018
        81.     During the 1960s, some of the waste residues were transported to the Latty Avenue




                                                                                                                                                          08, -2019
 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to




                                                                                                                                                                06:16
 the Cotter Corporation.




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                                                                                                                                                                      PM PM
        82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        84.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        86.     The Banks Property is contaminated by radioactive material.



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        87.      Samples taken on and around the Banks Property confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        88.      The Banks Property neighbors Coldwater Creek and is within its flood plain. This

 proximity puts the Banks Property in the direct path of radioactive particles and contamination




                                                                                                                                                 November
                                                                                                                                                       02, 2018
 spread in and by Coldwater Creek.




                                                                                                                                                             08, -2019
        89.      The radioactive contamination that has polluted the Banks Property and continues




                                                                                                                                                                   06:16
 to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the




                                                                                                                                                                       - 06:06
                                                                                                                                                                         PM PM
 radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        90.      This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        91.      Radioactive contamination of the Banks Property renders the Banks Property unfit

 for normal use and enjoyment, and destroys its fair market value.

        92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are

 currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

 injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                     COUNT I – TRESPASS
              (brought individually and on behalf of the Property Damage Subclass)

        93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.


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          95.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure of their proper disposal.

          96.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.




                                                                                                                                               November
                                                                                                                                                     02, 2018
          97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes




                                                                                                                                                           08, -2019
 at a facility unfit to handle such wastes.




                                                                                                                                                                 06:16
          98.    Defendants have used these radioactive materials in a manner that is unreasonable,




                                                                                                                                                                     - 06:06
                                                                                                                                                                       PM PM
 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the

 Property Damage Subclass (“Plaintiffs’ property”).

          99.    Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

          100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive

 wastes

          101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          102.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

          103.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          104.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

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           105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           106.   It was reasonably foreseeable that Defendants’ actions would and will continue to




                                                                                                                                                 November
                                                                                                                                                       02, 2018
 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous




                                                                                                                                                             08, -2019
 wastes.




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           107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff




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                                                                                                                                                                         PM PM
 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in

 direct physical interference with the property of Plaintiff and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff

 and of the Property Damage Subclass.

           108.   Plaintiff did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

           109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

           110.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.




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                               COUNT II – PERMANENT NUISANCE
                 (brought individually and on behalf of the Property Damage Subclass)

        111.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




                                                                                                                                                   November
        112.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,




                                                                                                                                                         02, 2018
 Missouri, more particularly described above.




                                                                                                                                                               08, -2019
        113.    Defendants unreasonably and unlawfully stored and used radioactive materials at




                                                                                                                                                                     06:16
                                                                                                                                                                         - 06:06
 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and




                                                                                                                                                                           PM PM
 Coldwater Creek, which adjoins Plaintiffs’ property.

        114.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        115.    The radioactive waste caused by Defendants results from permanent construction

 that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the

 presence of the radioactive waste in Coldwater Creek.

        116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

 nuisance per se.

        117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.




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        118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous




                                                                                                                                                November
                                                                                                                                                      02, 2018
 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and




                                                                                                                                                            08, -2019
 enjoyment of the property.




                                                                                                                                                                  06:16
        120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’




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 property causes inconvenience to Plaintiffs and prevents them from using the property.

        121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                           COUNT III – TEMPORARY NUISANCE
             (brought individually and on behalf of the Property Damage Subclass)

        122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described Paragraph 11 above.

        124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        125.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.


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        126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and




                                                                                                                                                November
                                                                                                                                                      02, 2018
 enjoyment of the Banks Property.




                                                                                                                                                            08, -2019
        127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is




                                                                                                                                                                  06:16
 substantial.




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                                                                                                                                                                        PM PM
        128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                  COUNT IV – NEGLIGENCE
                         (brought individually and on behalf of the Class)

        131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        132.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers


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 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

         133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty




                                                                                                                                                  November
                                                                                                                                                        02, 2018
 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal




                                                                                                                                                              08, -2019
 of the radioactive wastes in order to prevent significant injury to property and persons.




                                                                                                                                                                    06:16
         134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential




                                                                                                                                                                        - 06:06
                                                                                                                                                                          PM PM
 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs

 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         135.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         136.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.




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        137.    Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

        138.      Defendants failed to act to prevent their releases from harming Plaintiffs.




                                                                                                                                                 November
                                                                                                                                                       02, 2018
        139.    Defendants knew or should have known that their generation, management,




                                                                                                                                                             08, -2019
 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as




                                                                                                                                                                   06:16
 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by




                                                                                                                                                                       - 06:06
                                                                                                                                                                         PM PM
 contaminating it with radioactive particles, toxic and other hazardous substances.

        140.    Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiff’s property.

        141.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

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           145.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                               COUNT V – NEGLIGENCE PER SE
                          (brought individually and on behalf of the Class)




                                                                                                                                                    November
           146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint




                                                                                                                                                          02, 2018
 as if each were set forth fully herein.




                                                                                                                                                                08, -2019
           147.   Defendants violated Missouri regulations for Protection against Ionizing




                                                                                                                                                                      06:16
                                                                                                                                                                          - 06:06
 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and




                                                                                                                                                                            PM PM
 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           148.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.




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        150.    Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

        151.    Defendants’ negligence throughout the history of the mishandling and improper




                                                                                                                                                  November
                                                                                                                                                        02, 2018
 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas




                                                                                                                                                              08, -2019
 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of




                                                                                                                                                                    06:16
 applicable regulations and disregard for property rights.




                                                                                                                                                                        - 06:06
                                                                                                                                                                          PM PM
        152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                 COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
                     (brought individually and on behalf of the Class)

        154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

        156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

        157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.


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         158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.




                                                                                                                                                      November
                                                                                                                                                            02, 2018
         159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,




                                                                                                                                                                  08, -2019
 storing, and/or disposing of radioactive waste.




                                                                                                                                                                        06:16
         160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive




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                                                                                                                                                                              PM PM
 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         161.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF
                         (brought individually and on behalf of the Class)

         162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

         164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiff and the proposed Class.

         165.    The radioactive contamination of the property of Plaintiff and the proposed Class

 has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and




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 Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.




                                                                                                                                                    November
                                                                                                                                                          02, 2018
        167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants




                                                                                                                                                                08, -2019
 to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,




                                                                                                                                                                      06:16
 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief




                                                                                                                                                                          - 06:06
                                                                                                                                                                            PM PM
 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

        169.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                             COUNT VIII – PUNITIVE DAMAGES
                         (brought individually and on behalf of the Class)

        170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.


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         171.      Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

         172.      Defendants knew or had information from which, in the exercise of ordinary care,




                                                                                                                                                  November
                                                                                                                                                        02, 2018
 should have known that such conduct, as detailed above, created a high degree of probability of




                                                                                                                                                              08, -2019
 injury to Plaintiff and others similarly situated.




                                                                                                                                                                    06:16
         173.      The willful, wanton and malicious acts of Defendants, as detailed above, evidence




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                                                                                                                                                                          PM PM
 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and

 others similarly situated.

                                   COUNT IX – CIVIL CONSPIRACY
                          (brought individually and on behalf of the Class)

         174.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         175.      Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.

         176.      Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

         177.      As result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.




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                          COUNT X – INVERSE CONDEMNATION
            (brought individually and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




                                                                                                                                                November
                                                                                                                                                      02, 2018
        179.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and




                                                                                                                                                            08, -2019
 operates St. Louis Lambert International Airport, located partially on the SLAPS.




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        180.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged




                                                                                                                                                                      - 06:06
                                                                                                                                                                        PM PM
 and effectively took the property of Plaintiff and the Property Damage Subclass for public use

 without just compensation.

        181.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        182.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

        183.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        184.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,

 in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.



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        185.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiff and the Property Damage Subclass.

        186.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                  November
                                                                                                                                                        02, 2018
 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the




                                                                                                                                                              08, -2019
 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,




                                                                                                                                                                    06:16
 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their




                                                                                                                                                                        - 06:06
                                                                                                                                                                          PM PM
 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        187.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        188.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        189.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.

        190.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.


                                                  36
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        191.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI




                                                                                                                                                  November
                                      CONSTITUTION




                                                                                                                                                        02, 2018
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)




                                                                                                                                                              08, -2019
        192.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as




                                                                                                                                                                    06:16
                                                                                                                                                                        - 06:06
 though fully set forth herein.




                                                                                                                                                                          PM PM
        193.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        194.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        195.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiff and the Property Damage Subclass.

        196.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiff or the Property Damage Subclass.




                                                  37
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                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

 judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

 Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a




                                                                                                                                                 November
                                                                                                                                                       02, 2018
 Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                             08, -2019
 as well as awarding the following to Plaintiffs and against Defendants:




                                                                                                                                                                   06:16
            a. an award of actual, general, special, incidental, statutory, compensatory and




                                                                                                                                                                       - 06:06
                                                                                                                                                                         PM PM
                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity

                including a preliminary and/or permanent injunction enjoining Defendants from

                continuing the unlawful conduct as set forth herein and directing Defendants to

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                   identify, with Court supervision, members of the Class in order to compensate them

                   and to clean up all contamination, and including medical monitoring; and

                g. for any further relief this Court deems just and proper.

                                                Respectfully submitted,




                                                                                                                                                 November
                                                                                                                                                       02, 2018
                                                KEANE LAW LLC




                                                                                                                                                             08, -2019
                                                 /s/ Ryan A. Keane




                                                                                                                                                                   06:16
                                                Ryan A. Keane, # 62112




                                                                                                                                                                       - 06:06
                                                Alex Braitberg, # 67045




                                                                                                                                                                         PM PM
Judge                  Division 2
                                                7777 Bonhomme Ave., Ste. 1600
Judge                    Division 99
June 10, 2018
April    2015                                   St. Louis, MO 63105
                                                Phone: (314) 391-4700
                                                Fax: (314) 244-3778
                                                ryan@keanelawllc.com
                                                alex@keanelawllc.com

                                                JOHNSON GRAY, LLC
                                                Anthony D. Gray, # 51534
                                                319 North 4th Street, Suite 212
                                                St. Louis, MO 63102
                                                Phone: (314) 385-9500
                                                agray@johnsongraylaw.com

                                                COOPER LAW FIRM, L.L.C.
                                                Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                                forthcoming
                                                Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                                forthcoming
                                                508 St. Philip Street
                                                New Orleans, LA 70116
                                                Phone: (504) 566-1558
                                                bcooper@sch-llc.com
                                                cbrustowicz@sch-llc.com

                                                and




                                                      39
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                                              RON AUSTIN & ASSOCIATES, L.L.C.
                                              Ron A. Austin, LA Bar # 23630, pro hac vice
                                              forthcoming
                                              920 4th Street
                                              Gretna, Louisiana 70053
                                              Phone: (504) 227-8100
                                              Fax: (504) 227-8122




                                                                                                                                           November
                                              raustin@austin-associates.net




                                                                                                                                                 02, 2018
                                              Attorneys for Plaintiffs and proposed Class




                                                                                                                                                       08, -2019
                                                                                                                                                             06:16
                                   CERTIFICATE OF SERVICE




                                                                                                                                                                 - 06:06
                                                                                                                                                                   PM PM
        The undersigned hereby certifies that on April 2, 2018, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Ryan A. Keane




                                                   40
                                                                                      Electronically Filed - St Louis County - November 08, 2019 - 06:06 PM
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                             Exhibit 2
                                                                                      Electronically Filed - St Louis County - February
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                                                                   18SL-CC00617

         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, on behalf of herself and          )
 all others similarly situated,                 )
                                                )
        Plaintiff,                              )   Cause No.




                                                                                                                               November18,
                                                )
        vs.                                     )   Division No.
                                                )




                                                                                                                                        08,2018
 COTTER CORPORATION,                            )
 Serve at:                                      )   JURY TRIAL DEMANDED




                                                                                                                                            2019- 08:44
        The Corporation Company                 )




                                                                                                                                                  - 06:06PM
        Registered Agent for                    )
        Cotter Corporation                      )
        7700 E. Arapahoe Road, Suite 220        )




                                                                                                                                                          PM
        Centennial, CO 80112                    )
                                                )
 COMMONWEALTH EDISON COMPANY, )
 Serve at:                                      )
        Corporate Creations Network Inc.        )
        Registered Agent for                    )
        Commonwealth Edison Company             )
        350 S. Northwest Highway, Suite 300     )
        Park Ridge, IL 60068                    )
                                                )
 EXELON CORPORATION,                            )
 Serve at:                                      )
        Corporate Creations Network Inc         )
        Registered Agent for Exelon Corporation )
        350 S. Northwest Highway, Suite 300     )
        Park Ridge, IL 60068                    )
                                                )
 EXELON GENERATION COMPANY, LLC, )
 Serve at:                                      )
        Corporate Creations Network Inc         )
        Registered Agent for                    )
        Exelon Generation Company, LLC          )
        350 S. Northwest Highway, Suite 300     )
        Park Ridge, IL 60068                    )
                                                )
                                                )
                                                                                                      Electronically Filed - St Louis County - February
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 DJR HOLDINGS, INC. f/k/a FUTURA                      )
 COATINGS, INC.,                                      )
 Serve:                                               )
        Rodney D. Jarboe                              )
        9200 Latty Avenue                             )
        Hazelwood, MO 63042                           )
                                                      )




                                                                                                                                               November18,
        and                                           )
                                                      )
 ST. LOUIS AIRPORT AUTHORITY,                         )




                                                                                                                                                        08,2018
 A DEPARTMENT OF THE CITY OF                          )
 ST. LOUIS                                            )




                                                                                                                                                            2019- 08:44
 Serve:                                               )




                                                                                                                                                                  - 06:06PM
        Mayor Lyda Krewson                            )
        St. Louis City Hall                           )
        1200 Market St                                )




                                                                                                                                                                          PM
        St. Louis, MO 63103                           )
                                                      )
        Defendants.                                   )


                                  CLASS ACTION PETITION

        COMES NOW Plaintiff Tamia Banks, on behalf of herself and all others similarly situated,

 by and through counsel, and for her Class Action Petition and causes of action against Defendants

 Cotter Corporation, Commonwealth Edison Company, Exelon Corporation, Exelon Generation

 Company, LLC, DJR Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport

 Authority, a department of the City of St. Louis, states and alleges as follows:

        1.       Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City special highly concentrated uranium

 with high levels of radium from Africa. This special ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of


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 the most harmful on Earth, Defendants moved them around St. Louis, treating the radioactive

 materials with less care than a reasonable person might give in moving common household

 garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis to the St.

 Louis Airport, then to Hazelwood.




                                                                                                                                                  November18,
        2.      Until the 1970s, radioactive materials were stored in bulk, on the ground, open to




                                                                                                                                                           08,2018
 the elements, and unattended at sites on and adjacent to Coldwater Creek, which runs throughout




                                                                                                                                                               2019- 08:44
 North St. Louis County and is a tributary for the Missouri River. These sites included the St. Louis




                                                                                                                                                                     - 06:06PM
 Airport Site (“SLAPS”), a storage facility on Latty Avenue is Hazelwood, Missouri (the “Latty




                                                                                                                                                                             PM
 Avenue Site”) (part of which later became the Hazelwood Interim Storage Site (“HISS”).

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing

 and prodding their backyards and the dust of their vacuum cleaners to identify the quantity and the

 toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste



                                                  3
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 found today in the real property, which contains businesses and homes, surrounding the Coldwater

 Creek has the fingerprint (or profile) of the ore processed in St. Louis by Defendants.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous




                                                                                                                                                  November18,
 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth




                                                                                                                                                           08,2018
 defects may take a number of years after exposure to the radioactive material to appear.




                                                                                                                                                               2019- 08:44
        6.      Defendants have failed to take responsibility for their negligent behavior, failed to




                                                                                                                                                                     - 06:06PM
 clean up the area, failed to move the residents and businesses out, and failed to make amends for




                                                                                                                                                                             PM
 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the public about the widespread contamination Defendants have caused

 and minimizing the immense risks to public health and safety that resulted from Defendants’

 actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the

 victims.

        8.      Plaintiff Tamia Banks (hereinafter “Plaintiff”) owns property in St. Ann, Missouri

 that Defendants contaminated. Her home and property, along with the property of other members

 of the Class, is located within the one hundred year flood plain of Coldwater Creek. Her property,




                                                  4
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 including the land and her home, is entirely within the Coldwater Creek flood plain, and is

 contaminated with radioactive waste materials from Coldwater Creek.

           9.    Testing on the Banks Property has confirmed radioactivity above normal

 background levels. The source of the radioactivity is small, microscopic particles, which among




                                                                                                                                                   November18,
 other things contain the hazardous, carcinogenic, toxic, radioactive substance known as thorium.




                                                                                                                                                            08,2018
           10.   Plaintiff Tamia Banks, as well as all members of the proposed class, have sustained




                                                                                                                                                                2019- 08:44
 significant damages as a result of Defendants’ conduct. Defendants should compensate Plaintiff




                                                                                                                                                                      - 06:06PM
 for her damages, and provide further relief as set forth below in this Petition.




                                                                                                                                                                              PM
                                  JURISDICTION AND VENUE

           11.   This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

           12.   Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in St. Louis County, Missouri.

           13.   Plaintiffs do not allege any causes of actions arising under any laws of the United

 States.

           14.   Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

                 A. Coldwater Creek is not and has never been a licensed nuclear facility.

                 B. Defendants have never received a license to possess, transport, or dispose of

                    any radioactive wastes on or in Coldwater Creek.

                 C. Defendants did not have a license to dispose of radioactive wastes in Coldwater

                    Creek.

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                D. Defendants did not have a license to handle the particular materials they

                    handled as alleged herein, including enriched thorium.

                E. Defendants have never entered into an indemnification agreement with the

                    United States government under 42 U.S.C. § 2210 with respect to the




                                                                                                                                                   November18,
                    complained activities.




                                                                                                                                                            08,2018
        15.     Plaintiffs expressly contend that no occurrences that form the basis for this suit rise




                                                                                                                                                                2019- 08:44
 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning




                                                                                                                                                                      - 06:06PM
 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest




                                                                                                                                                                              PM
 concerns related to liability limitation and indemnification.

        16.     At the time of the outrageous, reckless, negligent acts that form the basis for this

 lawsuit occurred, the Price Anderson Act did not apply because the wastes at issue were not subject

 to said Act.

        17.     The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic wastes at issue in this Petition.

                                           THE PARTIES

                                              Plaintiffs

        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres

 in St. Louis County adjacent to Coldwater Creek.

        19.     As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages including damages to the Banks Property and the loss of use and enjoyment of the



                                                  6
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 property. Plaintiffs first learned that the Banks Property was contaminated with radioactive

 material in 2018.

                                             Defendants

        20.     There are four defendants that relate in some way to Cotter Corporation, the owner




                                                                                                                                                  November18,
 and disposer of the hazardous, toxic, carcinogenic, radioactive residue wastes: Cotter Corporation




                                                                                                                                                           08,2018
 (“Cotter”), Commonwealth Edison Company (“ComEd”), Cotter Corporation (“Cotter”), Exelon




                                                                                                                                                               2019- 08:44
 Corporation (“Exelon”), and Exelon Generation Company, LLC (“Exelon Generation”).




                                                                                                                                                                     - 06:06PM
        21.     Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of




                                                                                                                                                                             PM
 business in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a

 California corporation. It was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1975.

                A. Cotter continuously and systematically carries on business activities in the State

                     of Missouri in its own name, through its parent companies ComEd and Exelon,

                     as well as through its subsidiary General Atomics, Inc.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                     conduct including acts and omissions within the State of Missouri, as well as

                     the acts and omissions of the predecessors of the Cotter Defendants, which gave

                     rise to the violations of law and damage to property alleged in the Petition.

        22.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.



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                A. ComEd continuously and systematically carries on business activities in the

                    State of Missouri, both on its own and through its subsidiaries including Cotter

                    and its parent company Exelon. In addition, ComEd owned Cotter at times

                    relevant to this Petition, and agreed to indemnify Cotter for liabilities associated




                                                                                                                                                    November18,
                    with the creation, storage, transportation, and processing of hazardous, toxic,




                                                                                                                                                             08,2018
                    carcinogenic, radioactive wastes as alleged herein. ComEd regularly and




                                                                                                                                                                 2019- 08:44
                    routinely avails itself of the protection of Missouri laws in St. Louis County




                                                                                                                                                                       - 06:06PM
                    courts, and regularly appears to defend itself in lawsuits tried here.




                                                                                                                                                                               PM
                B. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the ComEd Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        23.     Exelon Corporation (“Exelon”), the parent company of ComEd, is a Pennsylvania

 corporation with its principal place of business in Chicago, Illinois. Exelon, through its subsidiaries

 including Cotter and ComEd, conducted business in Missouri.

                A. Exelon is the parent company of ComEd and, through its subsidiaries including

                    Cotter and ComEd, continuously and systematically carries out business

                    activities in the State of Missouri. Exelon regularly and routinely avails itself

                    of the protection of Missouri laws in St. Louis County courts, and regularly

                    appears to defend itself in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the Exelon Defendants’

                    conduct including acts and omissions within the State of Missouri, as well as

                                                   8
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                    the acts and omissions of the predecessors of the Exelon Defendants, which

                    gave rise to the violations of law and damage to property alleged in the Petition.

        24.     Exelon Generation Company, LLC (“Exelon Generation”) is a Pennsylvania

 corporation with its principal place of business in Kennett Square, Pennsylvania. Upon information




                                                                                                                                                  November18,
 and belief in connection with Exelon’s corporate restructuring in 2001, the responsibility to




                                                                                                                                                           08,2018
 indemnify Cotter, previously held by Exelon was transferred to Exelon Generation Company,




                                                                                                                                                               2019- 08:44
 LLC.




                                                                                                                                                                     - 06:06PM
                A. Exelon Generation regularly and routinely avails itself of the protection of




                                                                                                                                                                             PM
                    Missouri laws in St. Louis County courts, and regularly appears to defend itself

                    in lawsuits tried here.

                B. This lawsuit arises out of damages that resulted from the conduct including acts

                    and omissions of Exelon Generation and their subsidiaries, agents, and

                    representatives within the State of Missouri, which gave rise to the violations

                    of law and damage to property alleged in the Petition.

        25.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri.

        26.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution.

                               CLASS ACTION ALLEGATIONS

        27.     Plaintiff files this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all owners of real property with any portion within the FEMA one hundred year

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 flood plain of Coldwater Creek1 in St. Louis County, Missouri as detailed below.

           28.     Plaintiff brings this action on behalf of herself and the Class against Defendants to

 recover damages to their property and to obtain injunctive relief in the form of a total and complete

 cleanup of the contamination and to prevent and eliminate further contamination.




                                                                                                                                                    November18,
           29.     This action is maintainable as a class action and should be certified under Missouri




                                                                                                                                                             08,2018
 Supreme Court Rule 52.08.




                                                                                                                                                                 2019- 08:44
           30.     The proposed class for property damage claims is defined as follows (“Property




                                                                                                                                                                       - 06:06PM
 Damage Subclass”):




                                                                                                                                                                               PM
                   All persons who currently own real property with any portion within the
                   FEMA one hundred year flood plain of Coldwater Creek in St. Louis County,
                   Missouri, bounded by St. Charles Rock Road to the southwest and Old Halls
                   Ferry Road to the northeast, as shown in the map in Figure 1 below.




 _
 1
     https://msc fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchresultsanchor
                                                      10
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                                       Figure 1. Class Area




                                                                                                                                                 November18,
                                                                                                                                                          08,2018
                                                                                                                                                              2019- 08:44
                                                                                                                                                                    - 06:06PM
                                                                                                                                                                            PM
 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           31.   The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

                 All persons who currently reside, or have resided since 1973, on a
                 property with any portion within the FEMA one hundred year flood
                 plain of Coldwater Creek in St. Louis County, Missouri, bounded by
                 St. Charles Rock Road to the southwest and Old Halls Ferry Road to
                 the northeast, as shown in the map in Figure 1 above.

           32.   Excluded from the Property Damage Subclass and the Medical Monitoring


                                                 11
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 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as

 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded is any trial judge

 who may preside over this case. The requirements for maintaining this action as a class action are




                                                                                                                                                  November18,
 satisfied, as set forth immediately below.




                                                                                                                                                           08,2018
        33.     The proposed Class is so numerous that the individual joinder of all absent class




                                                                                                                                                               2019- 08:44
 members is impracticable. While the exact number of absent Class Members is unknown to




                                                                                                                                                                     - 06:06PM
 Plaintiff currently, it is ascertainable by appropriate discovery and Plaintiff, upon information and




                                                                                                                                                                             PM
 belief, alleges that the proposed Class may include more than twenty-five members. The

 requirement of numerosity is therefore satisfied.

        34.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive classwide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored or

                    transported radioactive materials at the St. Louis Airport Site (“SLAPS”), the

                    Latty Avenue Site and/or the Hazelwood Interim Storage Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiff and Class Members’ property;

                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

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                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiff and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood




                                                                                                                                                 November18,
                    Interim Storage Site (“HISS”) resulted in Plaintiff and Class Members’ loss of




                                                                                                                                                          08,2018
                    use and enjoyment of their property;




                                                                                                                                                              2019- 08:44
                f. Whether the loss in property value suffered by Plaintiff and Class is a result of




                                                                                                                                                                    - 06:06PM
                    Defendants’ actions;




                                                                                                                                                                            PM
                g. Whether Plaintiff and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        35.     The claims of the Plaintiff are typical of the claims of the Class. Plaintiff and all

 Class Members own land within the FEMA one hundred year flood plain of Coldwater Creek in

 St. Louis County, Missouri near the locations where Defendants recklessly stored, transported and

 dumped radioactive waste.

        36.     Plaintiff will fairly and adequately represent the interests of the members of the

 Class. Plaintiff has no interest adverse to the interests of the members of the Class. Plaintiff has

 retained competent attorneys who have experience in class action litigation.

        37.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        38.     Unless a class-wide injunction is issued, Defendants will continue to allow

 contamination of the properties of Plaintiff and Class and will continue to violate Missouri law

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 resulting in harm to thousands of Missouri citizens.

           39.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the




                                                                                                                                                   November18,
 class; or (b) adjudications with respect to individual members of the class which would as a




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 practical matter be dispositive of the interests of the other members not parties to the adjudications




                                                                                                                                                                2019- 08:44
 or substantially impair or impede their ability to protect their interests. Upon information and




                                                                                                                                                                      - 06:06PM
 believe each of the Class Members suffered the same sort of damages and injuries as those suffered




                                                                                                                                                                              PM
 by the Plaintiff, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           40.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate action. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           41.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

           42.   More than two-thirds of the class members are citizens of Missouri.

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        43.      The principal injuries resulting from the conduct of the Defendants were incurred

 in Missouri.

        44.      The conduct alleged in this Petition took place in Missouri.

                 A. The radioactive waste at issue in this case was generated as a result of chemical




                                                                                                                                                 November18,
                    processes that took place in facilities in St. Louis




                                                                                                                                                          08,2018
                 B. All transportation of radioactive waste alleged herein took place in Missouri




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                 C. All processing of radioactive waster alleged herein took place in Missouri.




                                                                                                                                                                    - 06:06PM
                 D. All storage of radioactive waste alleged herein took place in Missouri




                                                                                                                                                                            PM
        45.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        46.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        47.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        48.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        49.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials

 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

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        50.     Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other

 material. When radiation energy interacts with other material, it causes a process called ionization2

 which can damage chemical structures. When the “other material” that ionizing radiation passes




                                                                                                                                                  November18,
 through is human cells, it can cause damage within those cells resulting in mutation in genetic




                                                                                                                                                           08,2018
 material which can lead to cancer and other harms.




                                                                                                                                                               2019- 08:44
        51.     People are exposed to radiation in two ways: external exposure from radioactive




                                                                                                                                                                     - 06:06PM
 material in the environment and internal exposure by radioactive material that has entered the




                                                                                                                                                                             PM
 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        52.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the

 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.




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   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious
 health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in
 cells, causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-
 health-effects
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         53.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries.         Somatic injuries are damages to the

 individual exposed. This can be damages to the skin, reproductive system, blood forming system,

 digestive system, central nervous system, and immune system, as well as cancers. Illnesses such




                                                                                                                                                       November18,
 as cancers may take a number of years to appear.




                                                                                                                                                                08,2018
         54.     Genetic injury is damage to the reproductive cells of the exposed individual in the




                                                                                                                                                                    2019- 08:44
 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the




                                                                                                                                                                          - 06:06PM
 descendants of the exposed persons may greatly increase. These genetic mutations can be passed




                                                                                                                                                                                  PM
 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         55.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.




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                             Radioactive Waste in the St. Louis Area

          56.    From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.3 The Manhattan Project was the U.S. research project




                                                                                                                                             November18,
 designed to develop the first nuclear weapons.




                                                                                                                                                      08,2018
          57.    This downtown St. Louis facility was known as the St. Louis Downtown Site (the




                                                                                                                                                          2019- 08:44
 “SLDS”) and was used to process uranium.




                                                                                                                                                                - 06:06PM
          58.    In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near




                                                                                                                                                                        PM
 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive wastes from the uranium

 processing operations at the SLDS. The storage site(s) on and near the airport are now referred

 to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          59.    Radioactive wastes accumulated at SLAPS. These hazardous, toxic, carcinogenic,

 radioactive waste materials included pitchblende raffinate residues, radium-bearing residues,

 barium sulfate cake, and Colorado raffinate residues. They were stored at SLAPS along with

 contaminated scrap. Some of these radioactive wastes were stored in bulk on the open ground in

 piles.

          60.    In 1957, “approximately sixty truckloads of contaminated scrap metal, several

  contaminated vehicles, in addition to miscellaneous radioactive wastes were buried on western

 portion of SLAPS adjacent to Coldwater Creek.”




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     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).
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        61.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive wastes that

 had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood, Missouri

 (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage Site

 (“HISS”).




                                                                                                                                               November18,
        62.     These waste residues, which contained valuable metals, were sold and shipped to




                                                                                                                                                        08,2018
 various other destinations, contaminating the Latty Avenue Site with hazardous, toxic and




                                                                                                                                                            2019- 08:44
 radioactive substances as a result.




                                                                                                                                                                  - 06:06PM
        63.     In the late 1960’s, Cotter purchased the hazardous, toxic, carcinogenic radioactive




                                                                                                                                                                          PM
 wastes stored at both SLAPS and at the Latty Avenue Site .

        64.     Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

        65.     Cotter did not receive indemnity from the government in connection with this

 transaction.

        66.     Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, at the SLAPS and Latty Avenue sites.

        67.     Upon information and belief, Cotter did not have a license to dispose of enriched

 thorium.

        68.     Transport and migration of hazardous, toxic and radioactive waste residues to/from

 the SLDS, the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and

 radioactive substances along haul routes to nearby properties.



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                               Saint Louis Airport Site (“SLAPS”)

        69.     Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.

        70.     Hundreds of thousands of tons of hazardous, toxic, and radioactive wastes were




                                                                                                                                                November18,
 transported from the SLDS to the SLAPS for storage, including radium-bearing residues, refined




                                                                                                                                                         08,2018
 cake, barium sulfate cake, and C-liner slag.




                                                                                                                                                             2019- 08:44
        71.     From 1953, the property was managed and operated by Mallinckrodt.




                                                                                                                                                                   - 06:06PM
        72.     By 1960, there were approximately 50,000 empty drums and approximately 3,500




                                                                                                                                                                           PM
 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        73.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        74.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes, including into Coldwater Creek.

                                         Latty Avenue Site

        75.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at

 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        76.     Upon information and belief, Futura Coatings purchased the Latty Avenue

 property.

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        77.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, Futura Coatings did nothing to prevent continued dispersal and runoff of

 hazardous, toxic, carcinogenic, radioactive wastes, including into Coldwater Creek.

                                        Coldwater Creek




                                                                                                                                               November18,
        78.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The




                                                                                                                                                        08,2018
 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly




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 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis




                                                                                                                                                                  - 06:06PM
 County, and along the northern edge of the community of Black Jack, until it discharges into the




                                                                                                                                                                          PM
 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        79.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        80.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.

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        81.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        82.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty




                                                                                                                                              November18,
 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire




                                                                                                                                                       08,2018
 FEMA one hundred year flood plain of Coldwater Creek.




                                                                                                                                                           2019- 08:44
        83.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and




                                                                                                                                                                 - 06:06PM
 continues to flow through northern St. Louis County until it discharges into the Missouri River.




                                                                                                                                                                         PM
        84.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        85.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        86.     The Banks Property is contaminated by radioactive material.

        87.     Samples taken on and around the Banks Property confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        88.     The Banks Property neighbors Coldwater Creek and is within its flood plain. This

 proximity puts the Banks Property in the direct path of radioactive particles and contamination

 spread in and by Coldwater Creek.

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        89.      The radioactive contamination that has polluted the Banks Property and continues

 to threaten to further pollute the Banks Property match the waste fingerprint (or profile) of the

 radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        90.      This radioactive contamination was caused by the Defendants’ improper handling,




                                                                                                                                                 November18,
 storage, and disposal of radioactive materials.




                                                                                                                                                          08,2018
        91.      Radioactive contamination of the Banks Property renders the Banks Property unfit




                                                                                                                                                              2019- 08:44
 for normal use and enjoyment, and destroys its fair market value.




                                                                                                                                                                    - 06:06PM
        92.      As a direct and proximate result of Defendants’ conduct, Plaintiff and the Class are




                                                                                                                                                                            PM
 currently being subjected to radioactive waste contamination and will suffer irreparable harm if an

 injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                     COUNT I – TRESPASS
              (brought individually and on behalf of the Property Damage Subclass)

        93.      Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        94.      Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.

        95.      Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure of their proper disposal.

        96.      Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.




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          97.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a facility unfit to handle such wastes.

          98.    Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiff and the




                                                                                                                                               November18,
 Property Damage Subclass (“Plaintiffs’ property”).




                                                                                                                                                        08,2018
          99.    Defendants have caused these radioactive materials to migrate from Defendants’




                                                                                                                                                            2019- 08:44
 property and other storage locations and contaminate Plaintiffs’ property.




                                                                                                                                                                  - 06:06PM
          100.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive




                                                                                                                                                                          PM
 particles onto and around Plaintiffs’ property through their improper disposal of radioactive

 wastes

          101.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          102.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

          103.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          104.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

          105.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.



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           106.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           107.   The migration of Radon gas and radioactive particles onto the property of Plaintiff




                                                                                                                                                 November18,
 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in




                                                                                                                                                          08,2018
 direct physical interference with the property of Plaintiff and of the Property Damage Subclass.




                                                                                                                                                              2019- 08:44
 Such contamination is incompatible with the normal use and enjoyment of the property of Plaintiff




                                                                                                                                                                    - 06:06PM
 and of the Property Damage Subclass.




                                                                                                                                                                            PM
           108.   Plaintiff did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

           109.   The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

           110.   As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiff and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.

                                COUNT II – PERMANENT NUISANCE
                  (brought individually and on behalf of the Property Damage Subclass)

           111.   Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

           112.   Plaintiff Tamia Banks owns and controls property at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described above.


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        113.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        114.    The Defendants caused and contributed to the radioactive contamination of




                                                                                                                                                   November18,
 Plaintiffs’ property.




                                                                                                                                                            08,2018
        115.    The radioactive waste caused by Defendants results from permanent construction




                                                                                                                                                                2019- 08:44
 that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to abate the




                                                                                                                                                                      - 06:06PM
 presence of the radioactive waste in Coldwater Creek.




                                                                                                                                                                              PM
        116.    Operating an unlicensed radioactive hazardous waste dump in a populated area is a

 nuisance per se.

        117.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.

        118.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        119.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous

 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of the property.



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        120.    Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.

        121.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased




                                                                                                                                              November18,
 property value.




                                                                                                                                                       08,2018
                           COUNT III – TEMPORARY NUISANCE
             (brought individually and on behalf of the Property Damage Subclass)




                                                                                                                                                           2019- 08:44
                                                                                                                                                                 - 06:06PM
        122.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




                                                                                                                                                                         PM
        123.    Plaintiff owns and controls the Banks Property located at 4501 Ashby Rd., St. Ann,

 Missouri, more particularly described Paragraph 11 above.

        124.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the St. Louis Airport Site (“SLAPS”), the Hazelwood Interim Storage Site (“HISS”), and

 Coldwater Creek, which adjoins Plaintiffs’ property.

        125.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        126.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Banks Property.




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        127.    Defendants’ interference with Plaintiffs’ use and enjoyment of the property is

 substantial.

        128.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in




                                                                                                                                                November18,
 unreasonable interference with Plaintiffs’ use and enjoyment of the property.




                                                                                                                                                         08,2018
        129.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site




                                                                                                                                                             2019- 08:44
 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs




                                                                                                                                                                   - 06:06PM
 from using the property.




                                                                                                                                                                           PM
        130.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                 COUNT IV – NEGLIGENCE
             (brought individually and on behalf of the Property Damage Subclass)

        131.    Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        132.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers

 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.




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         133.   Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

         134.   Defendants also had a specific duty to warn or notify Plaintiffs of the potential




                                                                                                                                                  November18,
 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs




                                                                                                                                                           08,2018
 of the fact that discharges or releases of these substances had occurred and were likely to occur in




                                                                                                                                                               2019- 08:44
 the future.




                                                                                                                                                                     - 06:06PM
         135.   Further, Defendants had a duty to comply with applicable state, federal, and local




                                                                                                                                                                             PM
 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         136.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

         137.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

         138.    Defendants failed to act to prevent their releases from harming Plaintiffs.



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        139.    Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.




                                                                                                                                                  November18,
        140.    Upon information and belief, Defendants’ negligent training of personnel handling




                                                                                                                                                           08,2018
 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to




                                                                                                                                                               2019- 08:44
 Plaintiff’s property.




                                                                                                                                                                     - 06:06PM
        141.    Defendants’ negligence throughout the history of the mishandling and improper




                                                                                                                                                                             PM
 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        142.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        143.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        144.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

        145.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.




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                              COUNT V – NEGLIGENCE PER SE
              (brought individually and on behalf of the Property Damage Subclass)

           146.   Plaintiffs re-allege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.




                                                                                                                                                  November18,
           147.   Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and




                                                                                                                                                           08,2018
 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-




                                                                                                                                                               2019- 08:44
                                                                                                                                                                     - 06:06PM
 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §




                                                                                                                                                                             PM
 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           148.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           149.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.

           150.   Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.


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        151.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.




                                                                                                                                                  November18,
        152.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with




                                                                                                                                                           08,2018
 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished




                                                                                                                                                               2019- 08:44
 Plaintiffs’ property value.




                                                                                                                                                                     - 06:06PM
        153.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in




                                                                                                                                                                             PM
 any way.

                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
            (brought individually and on behalf of the Property Damage Subclass)

        154.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        155.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

        156.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

        157.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.

        158.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer




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 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         159.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.




                                                                                                                                                      November18,
         160.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive




                                                                                                                                                               08,2018
 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.




                                                                                                                                                                   2019- 08:44
         161.    Accordingly, Defendants are jointly and severally liable for any and all damages




                                                                                                                                                                         - 06:06PM
 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of




                                                                                                                                                                                 PM
 radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF
                         (brought individually and on behalf of the Class)

         162.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         163.    Defendants have tortiously contaminated the property of Plaintiff and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

         164.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiff and the proposed Class.

         165.    The radioactive contamination of the property of Plaintiff and the proposed Class

 has caused a significant increased risk to Plaintiff and Class members, and therefore Plaintiff and

 Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.




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        166.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        167.    Therefore, Plaintiff seeks injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiff and the proposed Class,




                                                                                                                                                    November18,
 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief




                                                                                                                                                             08,2018
 to require the Defendants to respond to the consequences of this tortious contamination by




                                                                                                                                                                 2019- 08:44
 providing the necessary medical monitoring in the form of environmental testing, clean-up, and




                                                                                                                                                                       - 06:06PM
 medical tests as indicated by the results of the scientific evaluation.




                                                                                                                                                                               PM
        168.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

        169.    Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiff and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                             COUNT VIII – PUNITIVE DAMAGES
                         (brought individually and on behalf of the Class)

        170.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




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         171.    .Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

         172.    Defendants knew or had information from which, in the exercise of ordinary care,




                                                                                                                                                 November18,
 should have known that such conduct, as detailed above, created a high degree of probability of




                                                                                                                                                          08,2018
 injury to Plaintiff and others similarly situated.




                                                                                                                                                              2019- 08:44
         173.    The willful, wanton and malicious acts of Defendants, as detailed above, evidence




                                                                                                                                                                    - 06:06PM
 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiff, and




                                                                                                                                                                            PM
 others similarly situated.

                         COUNT IX – INVERSE CONDEMNATION
            (brought individually and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

         174.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         175.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

         176.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiff and the Property Damage Subclass for public use

 without just compensation.

         177.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

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        178.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.

        179.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be




                                                                                                                                                  November18,
 leached from the site into Coldwater Creek.




                                                                                                                                                           08,2018
        180.    The actions of St. Louis Airport Authority, a department of the City of St. Louis,




                                                                                                                                                               2019- 08:44
 in damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the




                                                                                                                                                                     - 06:06PM
 operation and maintenance of St. Louis Lambert International Airport.




                                                                                                                                                                             PM
        181.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiff and the Property Damage Subclass.

        182.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                 COUNT X – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        183.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.




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        184.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        185.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.




                                                                                                                                                  November18,
        186.    The conduct of the St. Louis Airport Authority, a department of the City of St.




                                                                                                                                                           08,2018
 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,




                                                                                                                                                               2019- 08:44
 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and




                                                                                                                                                                     - 06:06PM
 enjoyment of their land, without due process of law, violated Plaintiff’s and Class’ due process




                                                                                                                                                                             PM
 and property rights under Article I § 10 of the Missouri Constitution.

        187.    As a result of Defendants’ conduct, Plaintiff and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

                COUNT XI – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        188.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        189.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        190.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,




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 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        191.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,




                                                                                                                                                 November18,
 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property




                                                                                                                                                          08,2018
 of Plaintiff and the Property Damage Subclass.




                                                                                                                                                              2019- 08:44
        192.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has




                                                                                                                                                                    - 06:06PM
 provided compensation for these takings to Plaintiff or the Property Damage Subclass.




                                                                                                                                                                            PM
                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiff Tamia Banks prays for

 judgment in favor of Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison

 Company, Exelon Corporation, Exelon Generation Company, LLC, DJR Holdings, Inc. f/k/a

 Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis,

 as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

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             537.330;

          c. an award of punitive and exemplary damages as fair and reasonable in an amount

             sufficient to punish Defendants and to deter similar conduct in the future;

          d. costs and attorney fees;




                                                                                                                                           November18,
          e. interest on the above amounts as allowed by law;




                                                                                                                                                    08,2018
          f. for appropriate injunctive and equitable relief, as permitted by law or equity




                                                                                                                                                        2019- 08:44
             including a preliminary and/or permanent injunction enjoining Defendants from




                                                                                                                                                              - 06:06PM
             continuing the unlawful conduct as set forth herein and directing Defendants to




                                                                                                                                                                      PM
             identify, with Court supervision, members of the Class in order to compensate them

             and to clean up all contamination, and including medical monitoring; and

          g. for any further relief this Court deems just and proper.

                                          Respectfully submitted,

                                          KEANE LAW LLC

                                           /s/ Ryan A. Keane

                                          Ryan A. Keane, # 62112
                                          Alex Braitberg, # 67045
                                          7777 Bonhomme Ave., Ste. 1600
                                          St. Louis, MO 63105
                                          Phone: (314) 391-4700
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                                          ryan@keanelawllc.com
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                                          JOHNSON GRAY, LLC
                                          Anthony D. Gray, # 51534
                                          319 North 4th Street, Suite 212
                                          St. Louis, MO 63102
                                          Phone: (314) 385-9500
                                          agray@johnsongraylaw.com

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                                    COOPER LAW FIRM, L.L.C.
                                    Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                    forthcoming
                                    Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                    forthcoming
                                    508 St. Philip Street




                                                                                                                                    November18,
                                    New Orleans, LA 70116
                                    Phone: (504) 566-1558
                                    bcooper@sch-llc.com




                                                                                                                                             08,2018
                                    cbrustowicz@sch-llc.com




                                                                                                                                                 2019- 08:44
                                    and




                                                                                                                                                       - 06:06PM
                                    RON AUSTIN & ASSOCIATES, L.L.C.
                                    Ron A. Austin, LA Bar # 23630, pro hac vice




                                                                                                                                                               PM
                                    forthcoming
                                    920 4th Street
                                    Gretna, Louisiana 70053
                                    Phone: (504) 227-8100
                                    Fax: (504) 227-8122
                                    raustin@austin-associates.net

                                    Attorneys for Plaintiffs and proposed Class




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                             Exhibit 3
                                                                                                      Electronically Filed - St Louis County - November 08, 2019 - 06:06 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

 TAMIA BANKS, on behalf of herself and all            )
 others similarly situated,                           )
                                                      )
        Plaintiff,                                    )   Cause No. 18SL-CC00617-01
                                                      )
                vs.                                   )   Division No. 18
                                                      )
 COTTER CORPORATION,                                  )
 COMMONWEALTH EDISON COMPANY,                         )
 EXELON CORPORATION,                                  )
 EXELON GENERATION COMPANY, LLC,                      )
 DJR HOLDINGS, INC. f/k/a FUTURA                      )
 COATINGS, INC., and ST. LOUIS AIRPORT                )
 AUTHORITY, A DEPARTMENT OF THE                       )
 CITY OF ST. LOUIS,                                   )
                                                      )
        Defendants.                                   )

                               DECLARATION OF BRIAN BUCK

        I, Brian Buck, hereby declare and state as follows:

    1. I am an Assistant Secretary of Commonwealth Edison Company (“ComEd”).

    2. I am an adult citizen and resident of the State of Illinois and am competent to provide this

 Declaration. I am providing this Declaration based on my own personal knowledge, and on

 documents, records, and information of ComEd available to me in my position as an Assistant

 Secretary of ComEd.

    3. ComEd is a corporation organized and existing under the laws of Illinois, having its

 principal place of business at 440 South LaSalle Street, Chicago, Illinois 60605-1028.

    4. ComEd is not registered to do business in Missouri.

    5. ComEd is not doing business in Missouri.

    6. ComEd has not transacted business in Missouri with respect to any matter which is the

 subject of the Complaint filed in this action.
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       7. CornEd ofTers no products or services within Missouri.

       8. CornEd has no employees in Missouri.

       9. CornEd does not own or lease any real propel1y or facilities in Missouri.

       10. CornEd does not maintain an office to do business in Missouri.

       11. CornEd acquired    Cotter Corporation    (N.S.L.), a New Mexico corporation,   on July 31,

    1974, and divested it in February 2000.

       12. ContEd became a subsidiary of Exelon Corporation in October 2000.




           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on April?~    2019.




                                                          Brian Buck
                                                          Assistant Secretary
                                                          Commonwealth Edison Company




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                     EXHIBIT 4
                                                                                                      Electronically Filed - St Louis County - November 08, 2019 - 06:06 PM
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS, )
 BARBARA HOOKS, JOEL HOGAN,      )
 KENNETH NIEBLING, KENDALL LACY, )
 TANJA LACY, WILLIE CLAY,        )
 BOBBIE JEAN CLAY, ANGELA STATUM,)
 and MISSOURI RENTALS            )
 COMPANY, LLC, on behalf of themselves
                                 )
 and all others similarly situated,
                                 )
                                 )
                                 )
       Plaintiffs,               )                           Cause No. 18SL-CC00617
                                 )
       vs.                       )                           Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                              JURY TRIAL DEMANDED
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                     SECOND AMENDED CLASS ACTION PETITION

        COME NOW Plaintiffs Tamia Banks, Rev. Ronnie Hooks, Barbara Hooks, Joel Hogan,

 Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie Jean Clay, Angela Statum, and

 Missouri Rentals Company, LLC, on behalf of themselves and all others similarly situated, by and

 through counsel, and for their Second Amended Class Action Petition and causes of action against

 Defendants Cotter Corporation, Commonwealth Edison Company, DJR Holdings, Inc. f/k/a Futura

 Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis, states

 and alleges as follows:
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        1.       Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City highly concentrated uranium with

 abnormal levels of radium from Africa. This particular ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of

 the most harmful on Earth, Defendants negligently moved them around St. Louis, treating the

 radioactive materials with less care than a reasonable person might give in moving common

 household garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis

 City to the St. Louis Airport, then to Hazelwood.

        2.      Radioactive materials have been and will likely continue to be stored in bulk, on

 the ground, open to the elements, and unattended at sites on and adjacent to Coldwater Creek,

 which runs throughout North St. Louis County and is a tributary for the Missouri River. These

 sites included the St. Louis Airport Site (“SLAPS”), a storage facility on Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”) part of which later became the Hazelwood Interim

 Storage Site (“HISS”). The Latty Avenue site and the HISS site are contained in the properties

 located at 9170 Latty Avenue and 9200 Latty Avenue in Hazelwood, Missouri.

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing



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 and prodding their backyards and sampling the dust of their vacuum cleaners to identify the

 quantity and toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste

 found today in the real property, which consists of businesses and homes, surrounding the

 Coldwater Creek carries the distinct fingerprint (or profile) of the ore which had been processed

 in St. Louis and possessed by Defendants and/or their predecessors in interest.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous

 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

 defects may take a number of years after exposure to the radioactive material to appear.

        6.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the local public about the widespread contamination Defendants have

 caused and minimizing the immense risks to public health and safety that resulted from

 Defendants’ actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on a limited class

 of victims.

        8.      Plaintiffs, as well as all members of the proposed class, have sustained significant

 damages as a result of Defendants’ conduct. Defendants should compensate Plaintiffs for their



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 damages, and provide further relief as set forth below in this Petition.

        9.      Pursuant to Missouri common law applicable at the time of Defendants’ tortious

 conduct, which occurred prior to the 2005 enactment of R.S.Mo. § 537.067, Defendants are jointly

 and severally liable for any and all damages Plaintiffs and the Class have sustained as a result of

 Defendants’ negligent handling, storing and/or disposing of radioactive materials, including,

 without limitation, any incidental, consequential, nuisance, and trespass damages.

        10.     Upon information and belief, by acquiring and continuing to operate ongoing

 operations throughout time, Defendants are liable for acts and omissions and the consequential

 damages caused by their predecessors in interest. To the extent that Defendants provided

 indemnity or committed fraud, they are liable to those to whom they sold or lease the ongoing

 operations.

        11.     Upon information and belief, the properties of all Plaintiffs and the putative class

 are impacted by uranium mill tailings. The source of the radioactivity is small, microscopic

 particles yet containable when properly handled. These particles contain hazardous carcinogenic,

 harmful toxics, and other radioactive substances known as uranium and thorium and their daughter

 products. Such radioactive waste is legally and commonly referred to as “uranium mill tailings,”

 which result from the processing of uranium ore.

                                  JURISDICTION AND VENUE

        12.     This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

        13.     Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in the locality of St. Louis County,



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 Missouri.

           14.   Plaintiffs do not allege any causes of action arising under any laws of the United

 States.

           15.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act, because:

                 A.      Coldwater Creek is not and has never been a licensed nuclear facility.

                 B.      Defendants have never received a license to possess, transport, or dispose

                         of any radioactive wastes on or in Coldwater Creek.

                 C.      Defendants did not have a license to dispose of radioactive wastes in

                         Coldwater Creek.

                 D.      Defendants did not have a license to handle the particular materials they

                         handled as alleged herein, including enriched thorium.

                 E.      Defendants have never entered into an indemnification agreement with the

                         United States government under 42 U.S.C. § 2210 with respect to the

                         complained activities.

           16.   Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims offending

 traditional state regulations and do not implicate the Price-Anderson Act and its textually manifest

 objectives related to liability limitation and indemnification.

           17.   The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic mill tailings at issue in this Petition.

                                            THE PARTIES

                                                Plaintiffs




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        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres in

 St. Louis County adjacent to Coldwater Creek. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek,

 and is contaminated with radioactive waste materials from Coldwater Creek. Tamia Banks first

 learned that her property was in the zone of contamination in 2018.

        19.     Plaintiffs Rev. Ronnie Hooks and Barbara Hooks, a married couple, are Missouri

 citizens who own real property located at 13712 Old Halls Ferry Rd., Florissant, Missouri (the

 “Hooks Property”). The property is approximately 1.32 acres in St. Louis County adjacent to

 Coldwater Creek. Their home and property, along with the property of other members of the Class,

 is located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The Hooks first learned their property was in

 the zone of contamination in 2018.

        20.     Plaintiff Joel Hogan is a Missouri citizen who owns real property located at 435

 Moule Drive, Florissant, Missouri (the “Hogan Property”). The property is approximately 0.1 acres

 in St. Louis County adjacent to Coldwater Creek. His home and property, along with the property

 of other members of the Class, is located within the one hundred year flood plain of Coldwater

 Creek, and is contaminated with radioactive waste materials from Coldwater Creek. Mr. Hogan

 first learned his property was in the zone of contamination in 2018.

        21.     Plaintiff Kenneth Niebling is a Missouri citizen who owns real property located at

 210 Versailles Drive, Florissant, Missouri (the “Niebling Property”). The property is

 approximately 0.1 acres in St. Louis County adjacent to Coldwater Creek. His home and property,

 along with the property of other members of the Class, is located within the one hundred year flood



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 plain of Coldwater Creek, and is contaminated with radioactive waste materials from Coldwater

 Creek. Mr. Niebling first learned his property was in the zone of contamination in 2018.

         22.   Plaintiffs Kendall Lacy and Tonja Lacy, a married couple, are Missouri citizens

 who own real property located at 2843 Chapel View Drive, Florissant, Missouri (the “Lacy

 Property”). Their home and property, along with the property of other members of the Class, is

 located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The property is approximately .21 acres in St.

 Louis County adjacent to Coldwater Creek. The Lacys first learned their property was in the zone

 of contamination in 2018.

         23.   Plaintiffs Willie Clay and Bobbie Jean Clay, a married couple, are Missouri citizens

 who own real property located at 9 Cricket Court, Florissant, Missouri (the “Clay Property”). The

 property is approximately .25 acres in St. Louis County adjacent to Coldwater Creek. Their home

 and property, along with the property of other members of the Class, is located within the one

 hundred year flood plain of Coldwater Creek, and is contaminated with radioactive waste materials

 from Coldwater Creek. The Clays first learned their property was in the zone of contamination in

 2018.

         24.   Plaintiff Angela Statum is a Missouri citizen who owns real property located at

 7565 Hazelcrest Drive, Hazelwood, Missouri (the “Statum Property”). The property is in St. Louis

 County adjacent to Coldwater Creek. Her property, along with the property of other members of

 the Class, is located within the one hundred year flood plain of Coldwater Creek, and is

 contaminated with radioactive waste materials from Coldwater Creek. Ms. Statum first learned her

 property was in the zone of contamination in 2018.




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         25.    Plaintiff Missouri Rentals Company, LLC is a Missouri LLC which owns real

 property located at the following addresses (the “MRC Properties”):

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

 The properties are in St. Louis County adjacent to Coldwater Creek. Their properties, along with

 the property of other members of the Class, are located within the one hundred year flood plain of

 Coldwater Creek, and are contaminated with radioactive waste materials from Coldwater Creek.

 MRC first learned its properties were in the zone of contamination in 2018.

         26.    As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages, including damages to their Property and the loss of use and enjoyment, thereof.

                                            Defendants

         27.    There are two defendants that relate in some way to Cotter Corporation, the owner

 and disposer of the hazardous, toxic, carcinogenic, radioactive mill tailings: Cotter Corporation

 (“Cotter”) and Commonwealth Edison Company (“ComEd”).

         28.    Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which currently operates as a subsidiary of General Atomics,

 Inc., a California corporation. Cotter was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1974, immediately after announcing that there was no radioactive

 contamination on the properties upon which it operated. It was then sold to General Atomics in

 2000.




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                A. Cotter continuously and systematically carried on business activities in the State

                    of Missouri in its own name and through its parent company ComEd.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                    conduct, including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the Cotter Defendants, which gave

                    rise to the violations of state law and damages to property alleged in the Petition.

        29.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.

 The responsibility to indemnify Cotter was transferred to Exelon Generation Company, LLC when

 ComEd’s parent company, Exelon Corporation, restructured in 2001.

                A. ComEd continuously and systematically carried on local business activities in

                    the State of Missouri, both on its own and through its subsidiary Cotter. In

                    addition, ComEd owned Cotter at times relevant to this Petition, and agreed to

                    indemnify Cotter for liabilities associated with the creation, storage,

                    transportation, and processing of hazardous, toxic, carcinogenic, radioactive

                    wastes as alleged herein. ComEd regularly and routinely avails itself of the

                    protection of Missouri laws in St. Louis County courts, and regularly appears

                    to defend itself in lawsuits tried in that locality.

                B. When ComEd purchased Cotter, it assumed Cotter’s liabilities by its own

                    corporate policies and by law and was obligated to require its subsidiary to

                    comply with the rules and regulations in Missouri and the relevant laws cited in

                    this Petition. ComEd furthermore assumed the environmental safety and health



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                   functions of its subsidiary, Cotter. Cotter and ComEd knew or should have

                   known substantial waste was in Coldwater Creek as a result of Cotter’s

                   operations and on the properties upon which Cotter had operated and which it

                   knowingly and intentionally abandoned immediately prior to its announced sale

                   to ComEd. ComEd, through its pre-purchase due diligence, knew about the

                   remaining contamination, yet did nothing to mitigate the threat to public health,

                   such that ComEd is liable as a corporate successor to Cotter. After the sale of

                   Cotter to ComEd, they jointly conspired to perpetuate the fraud that there was

                   no radioactive contamination remaining with respect to Cotter’s abandoned

                   operations. On information and belief, ComEd controlled the policy and

                   business of Cotter to perpetuate the negligent and unlawful contamination in

                   contravention of Plaintiffs’ and the Class Members’ rights, and ComEd’s

                   control over Cotter was the proximate cause of the contamination to Plaintiffs’

                   and the Class Members’ properties.

                C. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                   conduct, including acts and omissions within the State of Missouri, as well as

                   the acts and omissions of the predecessors of the ComEd Defendants, which

                   gave rise to the violations of state law and damage to property alleged in the

                   Petition.

        30.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri, and whose alter ego is

 Jarboe Realty & Investments Co., Inc. Defendant DJR Holdings, Inc. is a Missouri citizen from




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 whom significant relief is sought and whose conduct forms a significant basis of the claims

 asserted by Plaintiffs, as explained in detail in this Petition.

         31.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution. The St. Louis Airport Authority is a Missouri

 citizen from whom significant relief is sought and whose conduct forms a significant basis of the

 claims asserted by Plaintiffs, as explained in detail in this Petition.

                                 CLASS ACTION ALLEGATIONS

         32.     Plaintiffs file this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

         33.     Plaintiffs bring this action on behalf of themselves and the Class against Defendants

 to recover damages to their property and to obtain injunctive relief in the form of a total and

 complete cleanup of the contamination and to prevent and eliminate further contamination.

         34.     This action is maintainable as a class action and should be certified under Missouri

 Supreme Court Rule 52.08.

         35.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

         All Missouri citizens who currently own any portion of real property located
         within the FEMA one hundred year flood plain of Coldwater Creek in St.
         Louis County, Missouri, bounded by St. Charles Rock Road to the southwest


 1
  FEMA.GOV,
 https://msc.fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchre
 sultsanchor (last visited September 24, 2019).


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           and Old Halls Ferry Road to the northeast, as shown in blue in the map in
           Figure 1 below.
                                     Figure 1. Class Area




 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           36.    The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

           All Missouri citizens who currently reside, or have resided since 1973, on any
           portion of real property within the FEMA one hundred year flood plain of
           Coldwater Creek in St. Louis County, Missouri, bounded by St. Charles Rock
           Road to the southwest and Old Halls Ferry Road to the northeast, as shown in
           the map in Figure 1 above.

           37.    Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as



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 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded are owners of

 property that has or has had any radioactive material license associated with it; this includes, but

 is not limited to, the SLAPS, Latty Avenue, and HISS sites. Also excluded is any trial judge who

 may preside over this case. The requirements for maintaining this action as a class action are

 satisfied, as set forth immediately below.

        38.     The proposed Class is so numerous that the individual joinder of all absent class

 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiffs currently, it is ascertainable by appropriate discovery and Plaintiffs, upon information

 and belief, alleges that the proposed Class may include more than twenty-five local members. The

 requirement of numerosity is therefore satisfied.

        39.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive a class-wide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored, disposed

                    and/or abandoned, or transported radioactive materials at the St. Louis Airport

                    Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage

                    Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiffs and Class Members’ property;



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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiffs and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood

                    Interim Storage Site (“HISS”) resulted in Plaintiffs and Class Members’ loss of

                    use and enjoyment of their property;

                f. Whether the loss in property value suffered by Plaintiffs and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiffs and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        40.     The claims of the Plaintiffs are typical of the claims of the Class. Plaintiffs and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        41.     Plaintiffs will fairly and adequately represent the interests of the members of the

 Class. Plaintiffs have no interest adverse to the interests of the members of the Class. Plaintiffs

 have retained competent attorneys who have experience in class action litigation.

        42.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        43.     Unless a class-wide injunction is issued, Defendants will continue to allow

 contamination of the properties of Plaintiffs and Class and will continue to violate Missouri law



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 resulting in harm to thousands of Missouri citizens.

           44.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

 class; or (b) adjudications with respect to individual members of the class which would as a

 practical matter be dispositive of the interests of the other members not parties to the adjudications

 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiffs, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           45.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate actions. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           46.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

           47.   All of the class members are citizens of Missouri.

           48.   The principal injuries resulting from the conduct of the Defendants were incurred



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 in Missouri.

        49.      The conduct alleged in this Petition took place in Missouri.

                 A. The radioactive waste at issue in this case was generated as a result of chemical

                    processes that took place in local facilities in St. Louis

                 B. All transportation of radioactive waste alleged herein took place in Missouri

                 C. All processing of radioactive wastes alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        50.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        51.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        52.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        53.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        54.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials

 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        55.      Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other



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 material. When radiation energy interacts with other material, it causes a process called ionization2

 which can damage chemical structures. When the “other material” that ionizing radiation passes

 through is human cells, it can cause damage within those cells resulting in mutation in genetic

 material which can lead to cancer and other harms.

        56.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        57.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the

 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

        58.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries. Somatic injuries are damages to the

 individual exposed. This can include damages to the skin, reproductive system, blood forming




 2
   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious health
 risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in cells, causing
 damage to tissue and DNA in genes.” See Radiation Health Effects, EPA.GOV,
 https://www.epa.gov/radiation/radiation-health-effects (last visited September 24, 2019).


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 system, digestive system, central nervous system, and immune system, as well as cancers.

 Illnesses such as cancers may take a number of years to appear.

         59.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         60.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.

         61.     Governmental authorities have identified significant increases of cancer and risks

 of cancer within the Class.34

                               Radioactive Waste in the St. Louis Area




 3
   See S. Yun et al., Analysis of Cancer Incidence Data in Coldwater Creek Area, Missouri, 199
 6-2004, MO DEPT. OF HEALTH & SEN. SERVS., available at
 https://health.mo.gov/living/healthcondiseases/chronic/cancer/pdf/ccanalysis.pdf.
 4
   See Evaluation of Community Exposures Related to Coldwater Creek, ATSDR (Apr. 30, 2019),
 available at
 https://www.atsdr.cdc.gov/sites/coldwater_creek/docs/St_Louis_Airport_Site_Hazelwood_Interi
 mSto_PHA-508.pdf.


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          62.     From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.5 The Manhattan Project was the U.S. research project

 designed to develop the first nuclear weapons.

          63.     This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          64.     The wastes created by processing at the SLDS are known in the scientific and

 regulatory communities as Uranium Mill Tailings and were created as a result of the milling of

 Uranium Ore to produce uranium metal by Mallinckrodt.

          65.     In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive mill tailings from the

 uranium processing operations at the SLDS. The storage site(s) on and near the airport are now

 referred to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          66.     Radioactive mill tailings accumulated locally at SLAPS. These hazardous, toxic,

 carcinogenic, radioactive waste materials included pitchblende raffinate residues, radium-bearing

 residues, barium sulfate cake, and Colorado raffinate residues. They were stored locally at SLAPS

 along with contaminated scrap. Some of these radioactive wastes were stored in bulk on the open

 ground in piles.

          67.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive mill tailings

 that had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood,

 Missouri (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage

 Site (“HISS”).




 5
     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).


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        68.      These mill tailings, which contained valuable metals, were sold and shipped to

 various other local destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        69.      In the late 1960’s, Cotter and/or its predecessors in interest, and its successors,

 purchased the hazardous, toxic, carcinogenic radioactive mill tailings associated with both SLAPS

 and the Latty Avenue Site.

        70.      Upon information and belief, as part of the contract between Cotter and/or its

 predecessors in interest and the federal government for sale of the radioactive waste, Cotter

 assumed all liability, including ultimate disposition of the waste.

        71.      Cotter and/or its predecessors in interest did not receive indemnity from the

 government in connection with this transaction.

        72.      Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, associated with both the SLAPS and Latty

 Avenue sites.

        73.      Upon information and belief, Cotter did not have a license to handle or dispose of

 enriched thorium.

        74.      Transport and migration of hazardous, toxic and radioactive mill tailings to/from

 the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and radioactive

 substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)

        75.      Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.




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        76.     Hundreds of thousands of tons of hazardous, toxic, and radioactive mill tailings

 were transported from the SLDS to the SLAPS for storage, including radium-bearing residues,

 refined cake, barium sulfate cake, and C-liner slag.

        77.     From 1953, the property was managed and operated by Mallinckrodt.

        78.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        79.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        80.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes into Coldwater Creek.

                                         Latty Avenue Site

        81.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at

 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        82.     Upon information and belief, DJR Holdings, Inc., f/k/a Futura Coatings and/or its

 alter egos purchased and/or leased the Latty Avenue property, which is currently owned by Jarboe

 Realty & Investments Co., Inc. Both DJR Holdings, Inc. and Jarboe Realty & Investments Co.,

 Inc. are owned, operated, and controlled by the same individuals such that they are mere

 instruments of those individuals, and that DJR Holdings, Inc. and Jarboe Realty & Investments are

 indistinct from each other and from their owners.



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        83.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, DJR Holdings, Inc., f/k/a Futura Coatings and/or its alter egos did nothing

 to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic, radioactive wastes into

 Coldwater Creek.

                                         Coldwater Creek

        84.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        85.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        86.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.



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        87.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        88.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        89.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        90.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        91.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        92.     Plaintiffs’ properties are contaminated by radioactive material.

        93.     Samples taken on and around Plaintiffs’ properties confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        94.     Plaintiffs’ properties neighbor Coldwater Creek and are within its flood plain. This

 proximity puts the Plaintiffs’ properties in the direct path of radioactive particles and

 contamination spread in and by Coldwater Creek.




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        95.     The radioactive contamination that has polluted the Plaintiffs’ properties and

 continues to threaten to further pollute the Plaintiffs’ properties match the waste fingerprint (or

 profile) of the radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        96.     This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        97.     Radioactive contamination of the Plaintiffs’ properties renders the Plaintiffs’

 properties unfit for normal use and enjoyment, creates a stigma attached to the properties, and

 destroys their fair market value.

        98.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and the Class

 are currently being subjected to radioactive waste contamination and will suffer irreparable harm

 if an injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                    COUNT I – TRESPASS
  (brought individually by Plaintiffs and on behalf of the Property Damage Subclass against
                                        all Defendants)

        99.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        100.    Plaintiff Tamia Banks owns and controls the Banks Property located at 4501 Ashby

 Rd., St. Ann, Missouri, more particularly described above.

        101.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control the Hooks Property

 located at 13712 Old Halls Ferry Rd., Florissant, Missouri, more particularly described above.

        102.    Plaintiff Joel Hogan owns and controls the Hogan Property located at 435 Moule

 Drive, Florissant, Missouri, more particularly described above.




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        103.    Plaintiff Kenneth Niebling owns and controls the Niebling Property located at 210

 Versailles Drive, Florissant, Missouri, more particularly described above.

        104.    Plaintiffs Kendall Lacy and Tonja Lacy own and control the Lacy Property located

 at 2843 Chapel View Drive, Florissant, Missouri, more particularly described above.

        105.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control the Clay Property

 located at 9 Cricket Court, Florissant, Missouri, more particularly described above.

        106.    Plaintiff Angela Statum owns and controls the Statum Property located at 7565

 Hazelcrest Drive, Florissant, Missouri, more particularly described above.

        107.    Plaintiff Missouri Rentals Company, LLC owns and controls the Missouri Rentals

 Properties, as more particularly described above and listed as follows:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        108.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure their proper disposal.

        109.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.

        110.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a location unfit to handle such wastes.




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           111.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiffs and the

 Property Damage Subclass (“Plaintiffs’ property”).

           112.   Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

           113.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive wastes

           114.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

           115.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

           116.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

           117.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

           118.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           119.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           120.   The migration of Radon gas and radioactive particles onto the property of Plaintiffs

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in



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 direct physical interference with the property of Plaintiffs and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of

 Plaintiffs and of the Property Damage Subclass.

        121.    Plaintiffs did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

        122.    The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

        123.    As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiffs and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.

                              COUNT II – PERMANENT NUISANCE
          (brought individually by Plaintiffs and on behalf of the Property Damage Subclass
                                    against all Defendants)

        124.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        125.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        126.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        127.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        128.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.



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        129.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        130.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.

        131.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

        132.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        133.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 SLAPS, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins Plaintiffs’

 property.

        134.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        135.    The radioactive contamination created a permanent stigma which has and will

 remain attached to the Plaintiffs’ properties and the properties of the Class Members.

        136.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and




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 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

        137.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.

        138.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                          COUNT III – TEMPORARY NUISANCE
            (brought individually and on behalf of the Property Damage Subclass)

        139.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        140.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        141.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        142.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        143.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.

        144.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        145.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.




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         146.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

         147.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                 7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                 8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                 8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

         148.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the SLAPS Site, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins

 Plaintiffs’ properties.

         149.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ properties.

         150.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ properties, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their properties. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

         151.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.




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        152.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        153.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        154.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                COUNT IV – NEGLIGENCE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        155.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        156.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers

 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

        157.    Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

        158.    Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs




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 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         159.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         160.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

         161.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

         162.    Defendants failed to act to prevent their releases from harming Plaintiffs.

         163.   Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

         164.   Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiffs’ property.



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        165.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        166.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        167.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        168.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

        169.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                            COUNT V – NEGLIGENCE PER SE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        170.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        171.      Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require




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 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           172.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           173.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.

           174.   Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

           175.   Defendants’ negligence throughout the history of their mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.

           176.   Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

           177.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.




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                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

         178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         179.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

         180.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

         181.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.

         182.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         183.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.

         184.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         185.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                               COUNT VII – INJUNCTIVE RELIEF




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     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        186.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        187.    Defendants have tortiously contaminated the property of Plaintiffs and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

        188.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiffs and the proposed Class.

        189.    The radioactive contamination of the property of Plaintiffs and the proposed Class

 has caused a significant increased risk to Plaintiffs and Class members, and therefore Plaintiffs

 and Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        190.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        191.    Therefore, Plaintiffs seek injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiffs and the proposed Class,

 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        192.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.



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        193.       Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiffs and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                       COUNT VIII – PUNITIVE DAMAGES
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        194.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        195.       Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

        196.       Defendants knew or had information from which, in the exercise of ordinary care,

 should have known that such conduct, as detailed above, created a high degree of probability of

 injury to Plaintiffs and others similarly situated.

        197.       The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiffs, and

 others similarly situated.

                            COUNT IX – CIVIL CONSPIRACY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        198.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        199.       Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.



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        200.    Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

        201.    As a result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.

                       COUNT X – INVERSE CONDEMNATION

    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        202.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        203.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

        204.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiffs and the Property Damage Subclass for public use

 without just compensation.

        205.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        206.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.




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        207.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        208.    The actions of St. Louis Airport Authority, a department of the City of St. Louis, in

 damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.

        209.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiffs and the Property Damage Subclass.

        210.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        211.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        212.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        213.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.



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        214.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiffs’ and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.

        215.    As a result of Defendants’ conduct, Plaintiffs and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                       CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        216.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        217.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        218.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        219.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiffs and the Property Damage Subclass.



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        220.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiffs or the Property Damage Subclass.

                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiffs Tamia Banks, Ronnie Hooks,

 Barbara Hooks, Joel Hogan, Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie

 Jean Clay, Angela Statum, and Missouri Rentals Company, LLC, pray for judgment in favor of

 Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison Company, DJR

 Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the

 City of St. Louis, as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity



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              including a preliminary and/or permanent injunction enjoining Defendants from

              continuing the unlawful conduct as set forth herein and directing Defendants to

              identify, with Court supervision, members of the Class in order to compensate them

              and to clean up all contamination, and including medical monitoring; and

           g. for any further relief this Court deems just and proper.

 Dated: October 29, 2019                   Respectfully submitted,

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                                           and



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                                              Attorneys for Plaintiffs and proposed Class


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 29, 2019, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Nathaniel R. Carroll




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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

 TAMIA BANKS, REV. RONNIE                       )
 HOOKS, BARBARA HOOKS, JOEL                     )
 HOGAN, KENNETH NIEBLING,                       )
 KENDALL LACY, TANJA LACY,                      )           Cause No. 18SL-CC00617-01
 WILLIE CLAY, BOBBIE JEAN CLAY,                 )
 ANGELA STATUM, and MISSOURI                    )           Division No. 18
 RENTALS COMPANY, LLC, on behalf                )
 of themselves and all others similarly         )
 situated,                                      )
                                                )
        Plaintiff,                              )
                                                )
                vs.                             )
                                                )
 COTTER CORPORATION and                         )
 COMMONWEALTH EDISON                            )
 COMPANY, DJR HOLDINGS, INC. f/k/a              )
 FUTURA COATINGS, INC., and ST.                 )
 LOUIS AIRPORT AUTHORITY, A
 DEPARTMENT OF THE CITY OF ST.
 LOUIS,

        Defendants.


                                     [PROPOSED] ORDER

        AND NOW, this _______ day of _________ 2019, upon consideration of Defendant

 Commonwealth Edison Company’s motion to dismiss Plaintiffs’ second amended class-action

 petition (“Motion”), and submissions of the parties relating thereto, and for good cause shown,

        IT IS HEREBY ORDERED that Defendant’s Motion is GRANTED and Plaintiff’s

 second amended class-action petition is DISMISSED in its entirety with prejudice as to

 Defendant Commonwealth Edison Company.

        IT IS SO ORDERED.

 DATED:
                                                     Hon. Ellen H. Ribaudo
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                                  IN THE CIRCUIT COURT
                              OF ST. LOUIS COUNTY, MISSOURI

 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN,
 KENNETH NIEBLING, KENDALL LACY,                         Civil Action No. 18SL-CC00617-01
 TANJA LACY, WILLIE CLAY, BOBBIE JEAN
 CLAY, ANGELA STATUM, and MISSOURI                       Division No. 18
 RENTALS COMPANY, LLC, on behalf of
 themselves and all others similarly situated,           MOTION TO DISMISS
                                                         PLAINTIFF’S SECOND AMENDED
                               Plaintiffs,               CLASS-ACTION PETITION AND
                                                         SUGGESTIONS OF LAW IN
         v.                                              SUPPORT OF MOTION

 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY, DJR
 HOLDINGS, INC. f/k/a FUTURA COATINGS,
 INC., AND ST. LOUIS AIRPORT
 AUTHORITY, A DEPARTMENT OF THE
 CITY OF ST. LOUIS,

                               Defendants.



         On October 29, 2019, Plaintiffs filed their second amended class-action petition (“SAP”)

 in this action. Not only does Plaintiffs’ SAP fail to cure the deficiencies of the prior two

 petitions, but Plaintiffs’ brazen efforts to avoid the Price-Anderson Act’s (“PAA”) clear

 governance of their claims by incorrectly characterizing the radioactive wastes at issue as “mill

 tailings” is misleading and inaccurate as a matter of law. Even Plaintiffs acknowledge in their

 pleadings there was a license for the radioactive materials at the sites – something that would not

 have been possible under the regulatory scheme in place at the time of the actions alleged (and in

 particular, at the time of the events alleged involving Defendant Cotter Corporation (N.S.L.)

 (“Cotter”) (improperly named as Cotter Corporation)) – if the radioactive wastes were, in fact,

 mill tailings. Accordingly, Cotter moves to dismiss the SAP of Plaintiffs Tamia Banks, Ronnie




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 and Barbara Hooks, Joel Hogan, Kenneth Niebling, Kendall and Tanja Lacy, Willie and Bobbie

 Jean Clay, Angela Statum, and Missouri Rentals Company, LLC (“Plaintiffs”) pursuant to

 Missouri Rules of Civil Procedure 55.05 and 55.27(a)(6) on the basis that Plaintiffs have failed

 to state a claim upon which relief can be granted, because their claims are wholly preempted by a

 federal statute as set forth in the following suggestions of law in support.                            Defendant

 Commonwealth Edison Company (“ComEd”)1 also joins this motion.

         As discussed in this motion and suggestions of law, Plaintiffs’ substantive state law

 causes of action against Cotter and ComEd are completely preempted by the PAA, because

 Plaintiffs’ claims arise from and relate to a nuclear incident involving “source material” that was

 the subject of a license issued by the federal government. As such, Plaintiffs’ exclusive right to

 relief would arise under the PAA. But Plaintiffs have not sufficiently alleged a PAA claim.

 Specifically, they fail to plead an essential element of such of a claim: Cotter’s breach of the

 federal dose and effluent limits. Furthermore, Plaintiffs are not entitled to medical monitoring,

 diminution in property value, or emotional distress damages because they have not pleaded the

 requisite elements for these claims and/or because the PAA does not allow for such relief. Even

 if Plaintiffs’ state law claims were not preempted by the PAA, therefore, they are all defectively

 pleaded and should be dismissed. And because Plaintiffs’ substantive claims fail as a matter of

 law, the claims for injunctive relief and punitive damages should be dismissed.                            Finally,

 Plaintiffs’ class allegations should be dismissed for failure to state a claim upon which relief can

 be granted, and also because the class definitions are impermissibly overbroad and do not meet

 the required elements of Rule 52.08(a).


 1
   ComEd is not alleged to have taken any independent actions relevant to Plaintiffs’ claims, but has been named as a
 defendant solely because of its purported corporate relationship(s) to Cotter. See SAP at ¶ 29, attached hereto as
 Exhibit 1. ComEd has separately moved to dismiss Plaintiffs’ claims on the basis this Court lacks jurisdiction over
 it.

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                                         INTRODUCTION

         As set forth herein, the PAA preempts state law claims pertaining to public liability

 arising from a nuclear incident and provides an exclusive federal cause of action. Although the

 PAA provides that any right to relief on Plaintiffs’ claims would arise under an exclusive federal

 cause of action, the PAA applies in full when a case falling within its ambit is litigated in a state

 court forum. Put simply, the PAA applies in this forum and this Court should determine that

 Plaintiffs’ claims are preempted by the PAA. Because the Plaintiffs have not alleged facts

 stating a claim under the PAA, the motion to dismiss should be granted.

         The United States District Court for the Eastern District of Missouri remanded this case

 because it could not conclusively determine that it had federal subject matter jurisdiction, and it

 is required under the applicable law to resolve doubts about jurisdiction in favor of remand. That

 court did not conclusively rule that there was no preemption under the PAA as a matter of law.

 Upon remand, this Court must now determine whether the PAA preempts Plaintiffs’ claims in

 this case. While the federal court’s determination as to the forum is binding on remand, its

 determination (or lack thereof) on the substantive law is not. This Court can, and should,

 consider the applicability of the PAA afresh.

                 ALLEGATIONS IN THE SECOND AMENDED PETITION

         Plaintiffs allege the following in the Second Amended Petition: Plaintiffs are citizens of

 the state of Missouri, and own and reside on certain real property they contend is contaminated

 with radioactive materials emitted from nearby Coldwater Creek. See generally SAP at ¶¶ 2-4,

 18-25. By way of background, from 1942 to 1957, uranium ore was processed at a site in

 downtown St. Louis (“SLDS”) in connection with the United States’ efforts under the Manhattan

 Project to develop the first nuclear weapons. See id. at ¶¶ 62-63. In the late 1940s, the United



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 States government purchased a 21.7-acre tract of land near the Lambert-St. Louis International

 Airport (“Airport”) to store materials generated from processing activities at SLDS. See id. at ¶

 65. This site is commonly referred to as the St. Louis Airport Site (“SLAPS”). Id.

          Thereafter, various radioactive materials resulting from operations at SLDS were stored

 at SLAPS, and in 1957, radioactively impacted materials were buried on a portion of SLAPS

 adjacent to Coldwater Creek. See id. at ¶¶ 65-66.2 Plaintiffs contend that in the 1960s, some

 radioactive materials that had been stored at SLAPS were moved to a site at Latty Avenue in

 Hazelwood, Missouri (“Latty Avenue” or the “Latty Avenue Site”) by an unnamed entity,

 including a portion of the Latty Avenue Site that later became known as the Hazelwood Interim

 Storage Site (“HISS”), which resulted in the contamination of the Latty Avenue Site. See id. at

 ¶¶ 67-68. Nowhere in the SAP do Plaintiffs allege that Cotter or ComEd had any role in the

 handling of radioactive materials during this time.

          In the late 1960s, Cotter3 allegedly purchased some of the radioactive materials

 (including purported “enriched thorium”) stored at SLAPS and the Latty Avenue Site from the

 United States government, which Cotter allegedly stored, processed, and transported at the

 SLAPS and the Latty Avenue Site between 1969 and 1973. See SAP at ¶¶ 69-72. Plaintiffs also

 allege that “[i]n 1969, the hazardous, toxic, and radioactive wastes [sic] residues at Latty Avenue

 were sold to the Cotter Corporation.”4 Id. at ¶ 87. According to Plaintiffs, various transport and



 2
   As discussed herein, Plaintiffs have now – improperly – sought to overrule the regulating agency’s own
 classification of these materials by incorrectly calling them “mill tailings.”
 3
   Plaintiffs have amended this claim in the SAP to include Cotter’s “predecessors in interest, and its successors.”
 This claim is both internally inconsistent with the allegations in Paragraph 87 (identifying only “Cotter Corporation”
 as the alleged purchaser), and belied by publicly available documents demonstrating that a company wholly separate
 from Cotter purchased the material from SLAPS. Moreover, it defies logic to argue that a “successor” could have
 been involved in events that preceded that entity’s involvement in the matters alleged in the petition. Accordingly,
 this conclusory new allegation must be dismissed out of hand.
 4
   Plaintiffs’ allegations are thus internally inconsistent, as Cotter could not have purchased the materials at SLAPS
 and then purchased those same materials at Latty Avenue again in 1969.

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 handling activities to and from SLDS, SLAPS, the Latty Avenue Site, and HISS (by unnamed

 entities) contaminated “haul routes to nearby properties.” See id. at ¶ 74.

         Plaintiffs claim that “radioactive wastes have migrated from the SLAPS, HISS, and the

 Latty Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the

 entire . . . one hundred year flood plain of Coldwater Creek.” See id. at ¶ 88. Plaintiffs contend

 that their properties are within the one-hundred-year flood plain of Coldwater Creek, that there is

 radioactive contamination present on their properties, that this contamination is linked to

 radioactive materials “generated in the processing of uranium ores in the St. Louis area,” and that

 it is the result of the “improper handling, storage, and disposal of radioactive materials.” See id.

 at ¶¶ 92-98. Plaintiffs claim that the alleged radioactive contamination of their properties renders

 them unfit for normal use and enjoyment. See id. at ¶ 97.

                                        PROCEDURAL HISTORY

         On February 21, 2018, Plaintiff Tamia Banks filed a class-action petition in the Circuit

 Court of St. Louis County, Missouri. On April 2, 2018, plaintiffs filed a first amended petition.

 On October 29, 2019, Plaintiffs filed the SAP, adding an additional ten (10) Plaintiffs.

         Plaintiffs’ SAP asserts various state-law claims against Defendants seeking monetary

 recovery stemming from purported damage to their properties, alleging civil conspiracy on the

 part of the Defendants, requesting injunctive relief in the form of medical monitoring and the

 remediation of their property, and asking for punitive damages.5




 5
  Counts X through XII of the SAP assert claims solely against the St. Louis Airport Authority for inverse
 condemnation and violations of the Missouri state constitution. See SAP at ¶¶ 202-220. Accordingly, those Counts
 are not addressed here.

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         Defendants6 collectively removed this action to the United States District Court for the

 Eastern District of Missouri on April 18, 2018, on the basis of subject matter jurisdiction.

 Defendants removed the action because Plaintiff’s state-law causes of action are preempted by

 the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq., which provides a retroactive, federal

 public liability cause of action for all tort claims stemming from nuclear incidents and radiation

 injuries, and which vests original jurisdiction in the federal courts. Banks’s (and the additional

 plaintiffs’) claims arise from an alleged nuclear incident and consequent radiation injuries to

 property. Liability for such claims is accordingly governed by the PAA.

         Banks moved to remand the action, and the federal district court granted her motion,

 holding Defendants could not conclusively establish that Cotter’s license provided subject matter

 jurisdiction for purposes of the PAA. Banks v. Cotter Corp., 4:18-CV-00624-JAR, Dkt. 75 at

 17-18 (E.D. Mo. Mar. 29, 2019).7 After explaining that courts generally resolve doubts about

 federal jurisdiction in favor of remand, the federal court noted a split in the courts as to whether a

 license or indemnity agreement was a prerequisite to establishing subject matter jurisdiction

 pursuant to the PAA. Id. at 4, 13 (explaining that courts have concluded this requirement would

 run contrary to the PAA’s plain text and legislative history). Adopting the view that a license

 was required to establish jurisdiction, the federal court found it could not determine whether the

 material at issue was covered by Cotter’s license.                   Faced with “competing preemption

 narratives,” the federal court concluded that subject matter jurisdiction could not be conclusively

 established. Id. at 17–18. The case was remanded to this Court on March 29, 2019.




 6
   At this time there were two additional defendants in the suit: Exelon Corporation and Exelon Generation
 Company, LLC. The SAP removes the two entities as defendants in this suit.
 7
   The parties and the District Court do not dispute that Cotter had a source material license. See Memorandum and
 Order, 4:18-cv-000624 (JAR), Doc. No. 75 at 10, n. 10; see also Doc. No. 52-2.

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         Cotter, ComEd, and the additional defendants at that time moved to dismiss the FAP

 because Banks’s claims are preempted by the PAA, and this Court on remand can, and should,

 make its own determination that the claims are preempted by the PAA. In the alternative, the

 Defendants argued that even if this Court concludes that the PAA does not preempt Banks’s

 claims, the FAP should still have been dismissed, because the common law standard of care is

 the federal dosage and effluent limits, and Banks failed to allege sufficient facts establishing a

 breach of those standards.

         Before this Court ruled on the motion to dismiss the FAP, leave to file a second amended

 complaint was granted. The amended allegations in the SAP do not cure the FAP’s deficiencies,

 however. While Plaintiffs attempt to further distance themselves from Cotter’s AEC license by

 characterizing the radioactive waste at issue as “mill tailings,” this characterization is misleading

 and inaccurate as a matter of law. For these reasons, Cotter and ComEd renew their motion and

 ask that the Court dismiss the claims in the SAP.

                                      LEGAL ARGUMENT

         Motions to dismiss serve as the primary way to dispose of baseless claims. See ITT

 Commercial Finance Corp. v. Mid–America Marine Supply Corp., 854 S.W.2d 371, 380 (Mo.

 banc 1993). Missouri requires fact pleading. Id. A plaintiff must allege a “short and plain

 statement of the facts showing that the pleader is entitled to relief.” Mo. R. Civ. P. 55.05.

 Ultimate facts on which a jury could return a verdict for the plaintiff must be pleaded—

 evidentiary facts are not sufficient. R.M.A. by Appleberry v. Blue Springs R-IV Sch. Dist., 568

 S.W.3d 420, 425 (Mo. 2019), reh’g denied (Apr. 2, 2019).

         A motion to dismiss for failure to state a claim on which relief can be granted attacks the

 sufficiency of a plaintiff’s pleadings. In re T.Q.L., 386 S.W.3d 135, 139 (Mo. banc 2012). In



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 reviewing a petition, a court “must accept all properly pleaded facts as true, giving the pleadings

 their broadest intendment, and construe all allegations favorably to the pleader.” Bromwell v.

 Nixon, 361 S.W.3d 393, 398 (Mo. banc 2012).              Factual allegations are not weighed for

 credibility or persuasiveness; a court only reviews “to determine if the facts alleged meet the

 elements of a recognized cause of action.” Id. “In order to survive the motion, the petition must

 ‘invoke substantive principles of law entitling plaintiff to relief and . . . ultimate facts informing

 the defendant of that which plaintiff will attempt to establish at trial.’” In re T.Q.L., 386 S.W.3d

 at 139 (quoting State ex rel. Henley v. Bickel, 285 S.W.3d 327, 329 (Mo. banc 2009)).

 I.      The Price-Anderson Act Applies and Preempts the State Law Causes of Action.

         A.     The Price-Anderson Act Preempts Claims Litigated in State Courts.

         This Court has concurrent jurisdiction to adjudicate claims arising under the PAA. The

 PAA’s jurisdictional clause provides federal courts with original—but not necessarily

 exclusive—jurisdiction. 42 U.S.C. § 2210(n)(2) (“With respect to any public liability action

 arising out of or resulting from a nuclear incident, the United States district court in the district

 where the nuclear incident takes place . . . shall have original jurisdiction without regard to the

 citizenship of any party or the amount in controversy.”). Section 2210(n)(2) both vests federal

 courts with original jurisdiction and provides for removal to federal court on a party’s motion

 within 30 days of the action becoming removable. Id. While there is a strong Congressional

 preference for PAA claims to be heard in federal court (as discussed further below), the PAA’s

 jurisdictional provision expressly contemplates the possibility that the PAA may also apply to

 claims litigated in state court, as it requires parties to affirmatively move to remove the action

 and to do so within 30 days. See id.




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         Because Congress has indicated a strong preference that PAA claims be litigated in a

 federal forum, these cases are routinely removed to federal court. See El Paso Nat. Gas Co. v.

 Neztsosie, 526 U.S. 473, 484–85 (1999) (noting that Congress has “expressed an unmistakable

 preference for a federal forum” in litigating PAA claims). Congress’s preference for a federal

 forum also applies in determining the applicability of the PAA when removal is contested. Id.

 As a result, the vast majority of cases involving claims related to radioactive materials are

 litigated in federal court. This congressional preference as to forum does not speak to the PAA’s

 substantive applicability in state court, however.

         The PAA (and its preemptive effect) applies with equal force in state courts. Osarczuk v.

 Associated Univs., Inc., 36 A.D. 3d 872, 874 (N.Y. App. Div. 2007) (holding that the PAA

 preempted state law claims and affirming the trial court’s grant of summary judgment on the

 claim arising under the PAA); Ne. Ohio Reg’l Sewer Dist. v. Advanced Med. Sys., Inc., 666

 N.E.2d 612, 614 (Ohio Ct. App. 1995) (holding that PAA actions can be brought in state court

 because the Act provides federal courts with original but not exclusive jurisdiction). The PAA

 preempts state law claims and provides an exclusive federal cause of action. See El Paso

 Natural Gas, 526 U.S. at 477. But this Court, as one of general jurisdiction, can adjudicate

 federal causes of action. Congress preempted state law claims in enacting the PAA; it did not

 strip state courts of jurisdiction to adjudicate PAA claims.       See 42 U.S.C. § 22019(n)(2)

 (providing federal courts with original, not exclusive, jurisdiction). Accordingly, there is no bar

 to this Court determining that the PAA governs this action simply because the action is being

 litigated in a state forum.




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          B.     This Court Is Entitled to Reach its Own Independent Conclusion About the
                 Applicability of the Price-Anderson Act to Plaintiffs’ Claims.

          As discussed above, the federal court had a duty to remand the case when faced with

 competing preemption narratives. While that court did draw interim conclusions concerning the

 application of the PAA more generally, the federal court did not reach a definitive conclusion as

 to whether the PAA applies to Banks’s (and now the additional SAP plaintiffs’) claims here.

 Therefore, the only aspect of the federal court’s decision that is binding on this Court is the

 determination that the action will be litigated in this forum. It is this Court’s determination of the

 substantive law that will govern the action, and this Court has the opportunity to get the law

 right.

          When a case is remanded, a state court is free to reject the remanding court’s reasoning.

 Kircher v. Putnam Funds Tr., 547 U.S. 633, 647 (2006). Collateral estoppel is not a bar to

 revisiting an issue because 42 U.S.C. § 1447(d) precludes appellate review of the remand order.

 Id. While a state court does not review the remanding court’s decision in an “appellate way,” the

 determinations in remand orders are open to revision even where the remand’s basis “coincides

 entirely with the merits of the federal question.”         Id. (emphasis added).      The only issue

 conclusively decided by a remand order is the forum. Id.

          Missouri law recognizes not only the propriety of this court making its own

 determination about legal issues following remand, but has even specifically recognized that on

 remand the court can determine that the claims are preempted and dismiss the case. Breeden v.

 Hueser, 273 S.W.3d 1, 9 (Mo. Ct. App. 2008). This independent analysis is warranted even

 where the federal court had determined the claims were not preempted by the federal act, and

 had on that basis, remanded the case. Id. Although “the federal district court already addressed

 the issue of preemption of [plaintiffs’] claims by the [federal act] in its remand to state court, this


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 does not prevent a state court from thereafter dismissing the case based on its own determination

 that the claims are preempted.” Id. (citing Kircher, 547 U.S. at 646–67). The court proceeded to

 analyze independently whether the claims were preempted. Id.

         Breeden is squarely on point. 273 S.W.3d at 9. Although the federal court remanded this

 case based on its inability to definitively conclude that the PAA conferred subject matter

 jurisdiction in this case, this Court is not precluded from making its own determination that the

 PAA preempts the Plaintiffs’ claims. As in Breeden, this Court should undertake an independent

 analysis of the PAA preemption issue.

         Nor is the federal court’s analysis owed any weight by this Court. Due to the lack of

 appellate review in the federal forum, comity considerations do not favor deference to the

 remanding court. The unavailability of appellate review in the federal forum actually weighs in

 favor of robust independent analysis by this Court.         It is ultimately this Court’s legal

 determinations that will be subject to appellate review. There is no bar to this Court determining

 that the PAA applies and preempts Plaintiffs’ claims and then dismissing the PAA claim.

         C.     The Price-Anderson Act Preempts Plaintiffs’ State-Law Claims in this
                Action and Provides the Exclusive, Retroactive Cause of Action for Claims
                Arising from Nuclear Incidents or Radiation Injuries.

         Because Plaintiffs’ state law causes of action arise from a nuclear incident and seek

 recovery for radiation injuries, Plaintiffs’ claims are governed by the PAA, which Congress

 enacted in 1957 to “encourage the development of the nuclear industry.” 42 U.S.C. § 2012(i);

 Duke Power Co. v. Carolina Envtl. Study Group, Inc., 438 U.S. 59, 64 (1978). Over the past 60

 years, the federal government has regulated the use and processing of radioactive materials

 through a comprehensive federal scheme, which preempts the states from regulating the health

 and safety aspects of essentially all radioactive materials. See, e.g., Pacific Gas & Elec. Co. v.



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 State Energy Res. Conservation & Dev. Comm’n, 461 U.S. 190, 208 (1983); Skull Valley Band of

 Goshute Indians v. Nielson, 376 F.3d 1223, 1240-45 (10th Cir. 2004).

         In response to the proliferation of lawsuits arising out of the 1979 Three Mile Island

 incident, Congress amended the PAA in 1988 to create an exclusive, retroactive, federal cause of

 action—called a “public liability action”—for any “public liability” arising from a “nuclear

 incident.” See El Paso Natural Gas Co., 526 U.S. at 477; In re TMI Litig. Cases Consol. II, 940

 F.2d 832, 857 (3d Cir. 1991); see also Pub. L. No. 100-408 § 20(b)(1), 102 Stat. 1084 (“The

 amendments governing judicial review of claims arising out of a [nuclear incident] shall apply to

 incidents occurring before, on, or after the date of the enactment of this Act.”). A “public

 liability action” is “any suit asserting public liability,” which “shall be deemed to be an action

 arising under [the PAA], and the substantive rules for decision in such action shall be derived

 from the law of the State in which the nuclear incident involved occurs, unless such law is

 inconsistent with the provisions of such section.” 42 U.S.C. § 2014(hh) (emphasis added). The

 U.S. Supreme Court has observed:

         This structure, in which a public liability action becomes a federal action, but one
         decided under substantive state-law rules of decision that do not conflict with the
         [PAA], resembles what we have spoken of as complete preemption doctrine,
         under which the pre-emptive force of a statute is so extraordinary that it converts
         an ordinary state common-law complaint into one stating a federal claim for
         purposes of the well-pleaded complaint rule.

 Neztsosie, 526 U.S. at 484, n.6 (emphasis added).

         The PAA defines “public liability” as “any legal liability arising out of or resulting from

 a nuclear incident . . . .” 42 U.S.C. § 2014(w). In turn, the PAA defines a “nuclear incident” as

 “any occurrence . . . within the United States causing . . . loss of or damage to property, or loss of

 use of property, arising out of or resulting from the radioactive, toxic, explosive, or other

 hazardous properties of source, special nuclear, or byproduct material.”             Id. § 2014(q).


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 Therefore, under the plain language of § 2014(hh), the PAA will apply to “any suit asserting

 public liability,” arising from a “nuclear incident.”

         The overwhelming majority of federal circuit courts have determined that state law

 causes of action arising from nuclear incidents and radiation injuries are entirely preempted by

 the PAA. See McClurg v. MI Holdings, 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013). In Adkins

 v. Chevron Corp., the district court canvassed federal case law and found that virtually every

 federal court to address the issue has held the PAA “completely preempts state law causes of

 action for public liability arising out of or resulting from nuclear incidents.” 960 F. Supp. 2d

 761, 767 (E.D. Tenn. 2012) (citing In re Berg Litig., 293 F.3d 1127, 1132 (9th Cir. 2002) (PAA

 is “exclusive means” for pursuing claims arising from a nuclear incident); Roberts v. Fla. Power

 & Light Co., 146 F.3d 1305, 1306 (11th Cir. 1998) (PAA creates “an exclusive federal cause of

 action for radiation injury”); Nieman v. NLO, 108 F.2d 1546, 1549 (6th Cir. 1997) (PAA

 “preempts [the plaintiff]’s state law claims” and “the state law claims cannot stand as separate

 causes of action”); Kerr-McGee Corp. v. Farley, 115 F.3d 1498, 1504 (10th Cir. 1997) (PAA

 “appear[s] broad enough to create a federal forum for any tort claims even remotely involving

 atomic energy production.      The [PAA] on its face provides the sole remedy for the torts

 alleged”); O’Conner v. Commonwealth Edison Co., 13 F.3d 1090, 1105 (7th Cir. 1994) (“a new

 federal cause of action supplants the prior state cause of action . . . [S]tate regulation of nuclear

 safety, through either legislation or negligence actions, is preempted by federal law”); In re TMI

 II, 940 F.2d at 854 (“no state cause of action based upon public liability [under the PAA] exists.

 A claim growing out of any nuclear incident is compensable under the terms of the [PAA] or it is

 not compensable at all”); see also Cotroneo v. Shaw Env’t & Infras., Inc., 639 F.3d 186, 192 (5th

 Cir. 2011) (“[A] plaintiff who asserts any claim arising out of a ‘nuclear incident’ as defined in



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 the PAA . . . can sue under the PAA or not at all.”); In re Hanford Nuclear Reservation Litig.,

 534 F.3d 986, 1009 (9th Cir. 2007) (“[t]he PAA is the exclusive means of compensating victims

 for any and all claims arising out of nuclear incidents.”). State courts adjudicating these claims

 concur. See, e.g., Osarczuk, 36 A.D. 3d at 874 (holding the PAA preempted state law claims).

         Courts are in near universal agreement that a public liability action is “sweeping” in

 scope and encompasses any liability from “nuclear incidents.” Farley, 115 F.3d at 1504.8

 Indeed, in McClurg, an action litigated in Missouri federal court involving the exact same sites at

 issue here – SLAPS, SLDS, and the Latty Avenue Site, as well as Coldwater Creek – the court

 found that a “plaintiff who asserts any claim arising out of a nuclear incident as defined in the

 PAA, can sue under the PAA or not at all,” and consequently dismissed the plaintiffs’ “state

 claims.” 933 F. Supp. 2d at 1186.

         Here, Plaintiffs’ injuries indisputably arise from an alleged nuclear incident insofar as

 Plaintiffs assert the purported “radioactive contamination [of Plaintiffs’ properties] was caused

 by the Defendants’ improper handling, storage and disposal of radioactive mill tailings.” See

 SAP at ¶¶ 69-74, 92-98. And Plaintiffs’ newly cast allegation that the PAA does not apply to the

 “mill tailings” at issue in this litigation is not legally correct. SAP ¶ 17.

         Plaintiffs’ allegation that the materials at issue are “mill tailings” is a legal conclusion

 masquerading as a fact. Plaintiffs cannot successfully allege that the materials at issue here are

 “mill tailings” because the existence of a government-issued license at the time of the activities

 alleged means they had to either be “source materials” or “byproduct materials,” which excludes

 8
   Despite the overwhelming body of case law holding that the PAA preempts state law causes of action arising from
 nuclear incidents, in Cook v. Rockwell Int’l Corp., 790 F.3d 1088, 1999 (10th Cir. 2015), the Tenth Circuit found
 that under extremely limited circumstances, the PAA may not preempt or preclude “a state law nuisance claim when
 a nuclear incident is asserted but unproven.” The decision in Cook was based on a parsing of the definition language
 that has not been applied by any other circuit court, and is not applicable here, where Plaintiffs’ SAP indisputably
 alleges claims arising from and related to a nuclear incident. Interestingly, Cook was silent regarding the 10th
 Circuit precedent of Kerr-McGee v Farley, 115 F.3d 1498, 1504 (10th Cir. 1997), discussed above. In any event
 Cook does not change the analysis, and Plaintiff’s state law claims are still preempted by the PAA.

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 classifying the materials as “mill tailings,”9 as further discussed below. See SAP ¶ 37 (admitting

 the Latty Avenue Site has a “radioactive material license associated with it”).10 Plaintiffs’

 allegation that it was “mill tailings” that were stored at the Latty Avenue Site, SAP ¶¶ 64-67,

 cannot be squared with the Atomic Energy Commission’s regulation of the materials at that site

 as either source materials or byproduct materials. Otherwise, the site would not have fallen

 within the AEC’s regulatory purview to issue a license. See Kerr-McGee Chem. Corp. v. U.S.

 Nuclear Regulatory Com’n., 903 F.2d 1, 3 (D.C. Cir. 1990). Plaintiffs and this Court are not free

 to retroactively reclassify those licensed radioactive materials as “mill tailings.”

          That the materials at Latty Avenue cannot be classified as “mill tailings” is confirmed by

 the statutory and regulatory structure. As early as 1960, the AEC concluded that mill tailings fell

 outside of its “statutory licensing authority and therefore [were] beyond its regulatory reach.”

 Kerr-McGee Chem. Corp. v. U.S. Nuclear Regulatory Com’n., 903 F.2d 1, 3 (D.C. Cir. 1990).

 At the time of the allegations in the petition related to moving the materials to Latty Avenue in

 the 1960s, SAP ¶ 67, the AEC was aware mill tailings were outside its regulatory purview and it

 could not have issued such a license. But a license for the materials was issued here, making it

 implausible that materials stored at Latty Avenue are “mill tailings.”




 9
   See Banks v. Cotter Corp., 4:18-CV-00624-JAR, Dkt. 75 at 10 (E.D. Mo. Mar. 29, 2019).
 10
    In so alleging, Plaintiffs acknowledge the existence of a license for materials at the Latty Avenue Site. Plaintiffs
 plead (incorrectly) that “Defendants did not have a license to handle the particular materials they handled as alleged
 herein.” SAP ¶ 15(d). Plaintiffs also allege that Cotter “did not have a license to handle or dispose of enriched
 thorium.” SAP ¶ 73 (emphasis added). Together with the allegations in paragraph 37, Plaintiffs seek to define that
 license by what it is not. By process of elimination based on the pleadings, if there was a “radioactive material
 license” it would have to be for the only other radioactive material mentioned in the pleadings which is
 “concentrated uranium . . . ore.” SAP ¶ 1. There is no allegation that any milling occurred at the Latty Avenue Site,
 only that the materials were stored there. SAP ¶¶ 64, 67. Based on the pleadings and the applicable regulations at
 the time of Cotter’s activities at the Latty Avenue Site (as pleaded in the SAC and as further discussed in this
 section), the license associated with Latty Avenue could only be a license for source material or byproduct material,
 both of which are covered by the PAA. See generally 42 U.S.C. §§ 2071–2114 (there are no allegations in the
 petition that this material would fall within the definition of special nuclear material, so a license at the Latty
 Avenue Site would either be for source material or byproduct material).

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          Moreover, when Congress did fill the statutory and regulatory gap to address the issue of

 “mill tailings” by passing the Uranium Mill Tailings Radiation Control Act of 1978

 (“UMTRCA”), Pub. L. No. 95-604, 92 Stat. 3021, 95th Cong., 2d Sess. (1978) (codified at 42

 U.S.C. §§ 2022, 7901-7942 (as later amended), the Latty Avenue Site was not among the sites

 designated for remediation for mill tailings. See 42 U.S.C. § 7912. If the material at Latty

 Avenue was mill tailings, then the site would have been specifically designated for remediation

 under this Act. 42 U.S.C. §§ 7911(6)(a)(2), (7)(a), & (8); § 7912 (designating processing sites

 for remediation). The absence of Latty Avenue (or any other site in Missouri) from the statutory

 scheme specifically structured to address the issue of mill tailings outside the regulatory purview

 is only further confirmation that the government did not consider the material at the Latty

 Avenue Site as “mill tailings.”11

          Plaintiffs cannot plead their way out of the PAA’s grasp by characterizing the materials at

 issue as “mill tailings.” Given that the activities at Latty Avenue were performed pursuant to a

 license issued at a time when mill tailings were outside the regulatory purview and the absence

 of the sites at issue from the statutory scheme specifically designed to address the issue of mill

 tailings, Plaintiffs have not pleaded sufficient ultimate facts to show the material at issue can be

 mill tailings under the regulatory and statutory schemes. Therefore, Plaintiffs’ characterization

 of the materials as “mill tailings” is no more than a legal conclusion and is not an ultimate fact

 that could potentially take the allegations outside the PAA.12 Cf. Bohac v. Walsh, 223 S.W.3d

 858, 862 (Mo.App.2007) (“If the petition contains only conclusions and does not contain the


 11
    Even Plaintiffs apparently cannot make up their minds, referring to the contamination as, alternatively,
 “radioactive waste … generated as a result of chemical processes that took place in local facilities in St. Louis,”
 (SAP ¶ 49A), and the “result of the milling of Uranium Ore to produce uranium metal by Mallinckrodt.” (SAP ¶ 64).
 12
    Even if the materials at issue were “mill tailings,” Cotter asserts that PAA still applies and provides the exclusive
 remedy, because they would be “byproduct material” as currently defined under the Atomic Energy Act and fall
 within the definition of a nuclear incident. See 42 U.S.C.§ 2014(e)(2), (q) (covering “source, special nuclear, or
 byproduct material”).

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 ultimate facts or any allegations from which to infer those facts, the petition may be dismissed

 for failure to state a claim.”); see also SAP ¶ 11 (pleading that “mill tailings” is a legal

 classification). The materials at issue in the petition are radioactive material that are subject to

 the PAA. 42 U.S.C. § 2014 (w), (q).13

          At bottom, notwithstanding their failure to pinpoint any specific release or releases by

 Cotter (or ComEd) that led to this alleged contamination on their property, Plaintiffs have

 asserted claims for radiation-based damages to their property, and it is for this sort of injury that

 “Congress passed the [PAA],” thus “creating an exclusive federal cause of action for radiation

 injury,” see Roberts, 146 F.3d at 1306. As a result, Plaintiffs cannot assert any state law causes

 of action and must proceed exclusively under the PAA. Plaintiffs’ state law causes of action for

 trespass, permanent nuisance, temporary nuisance, negligence, negligence per se, and strict

 liability damages are therefore preempted by the PAA and should be dismissed. See, e.g.,

 Nieman, 108 F.3d at 1564 (concluding claims for negligence, strict liability, private nuisance,

 trespass, and willful and wanton misconduct under Ohio law were preempted by the PAA);

 Adkins, 960 F. Supp. 2d at 769 (E.D. Tenn. 2012) (holding that the PAA completely preempted

 state law causes of action such as strict liability, wrongful death, and negligent infliction of

 emotional distress); Hennessy v. Commonwealth Edison Co., 764 F. Supp. 495 (N.D. Ill. 1991)

 (dismissing claims for negligent infliction of emotional distress, strict liability, and battery).




 13
   A license is not required for the PAA to apply. “In passing the [PAA], Congress recognized that a nuclear
 incident might be caused by any number of participants in the nuclear industry beyond the actual licensee.”
 O'Conner v. Commonwealth Edison Co., 807 F. Supp. 1376, 1378 (C.D. Ill. 1992), aff'd, 13 F.3d 1090 (7th Cir.
 1994). However, to the extent Plaintiffs attempt to argue otherwise, they have pleaded there is a license associated
 with the Latty Avenue Site and that license can only be one that definitively brings the materials at the site within
 the scope of the PAA.

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         D.     Plaintiffs Have Not Pleaded A Viable Claim For Which Relief Can Be
                Granted Under the Price-Anderson Act.

                1.      Plaintiffs Have Not and Cannot Allege Sufficient Factual Allegations
                        to Support a Claim for Public Liability Under the Price-Anderson
                        Act.

         Even if Plaintiffs had pleaded a PAA public liability claim, the factual allegations in the

 SAP are insufficient to support such a claim. Namely, Plaintiffs have failed to allege exposure to

 radiation in exceedance of the applicable federal dose and effluent limits. Further, Plaintiffs

 have not identified any federal nuclear safety regulations that Defendants may have breached.

 Thus, Plaintiffs have failed to properly plead a public liability claim, and the SAP should be

 dismissed with prejudice.

         Courts throughout the country are in near universal agreement that liability for purposes

 of the PAA is defined by a federal standard of care derived from federal nuclear safety

 regulations. See, e.g., Roberts, 146 F.3d at 1308 (stating “federal safety regulations conclusively

 establish the duty of care owed in a public liability action”); O’Conner, 13 F.3d at 1105 (“the

 federal regulations must provide the sole measure of the defendants’ duty in a public liability

 cause of action.”); In re TMI II, 940 F.2d at 859-60 (concluding “the federal statutes and

 regulations governing the safety and operation of nuclear facilities” [i.e., “federal permissible

 dose limits”] would apply as “states are preempted from imposing a non-federal duty in tort,

 because any state duty would infringe upon pervasive federal regulation in the field of nuclear

 safety, and thus would conflict with federal law”); see also McClurg, 933 F. Supp. 2d at 1187

 (finding that to assert PAA public liability claim, plaintiffs must allege violation of federal

 radiation dose limit because “the maximum permissible radiation dose levels set by federal

 safety standards establish the duty of care for radiation injuries”); Corcoran v. New York Power

 Authority, 935 F. Supp. 376, 387 (S.D.N.Y. 1996) (holding that plaintiff must plead and establish


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 a breach of the federal dose limits). Indeed, in McClurg, the district court observed that “every

 Circuit Court” to address the issue—namely the Third, Sixth, Seventh, Ninth, Tenth, and

 Eleventh Circuits—has held “that the maximum permissible radiation dose levels set by federal

 safety standards establish the duty of care for radiation injures, and that imposing a non-federal

 duty would conflict with [the PAA].” 933 F. Supp. 2d at 1187.

         These dose limits apply equally to both personal injury and property damage claims. See

 Reeves v. Commonwealth Edison Co., No. 06-CV-5540, 2008 WL 239030, at *4 (N.D. Ill. Jan.

 28, 2008) (observing that “Federal nuclear regulatory standards . . . have been applied to [public

 liability] claims involving property damage”) (citing multiple cases and reaffirming prior district

 court holdings that the federal dose limits are “the sole duty owed to the landowners under their

 property damage claims.”). As a result, regardless of whether a plaintiff alleges personal injury,

 property damage, or both as a result of radiation exposure, “every circuit court of appeals to

 address the question . . . has held that [a] plaintiff must prove a dose in excess of the federal

 permissible dose limits in order to show a breach of duty in a public liability action under the

 [PAA].” Adkins, 960 F. Supp. 2d at 769. Ultimately, a plaintiff’s failure to plead this “essential

 element of [her] claim” is fatal. Id.

         Here, Plaintiffs have not alleged that they were exposed to radiation in excess of federal

 dose or effluent limits, nor have Plaintiffs identified any federal nuclear safety regulations or

 standards that Cotter may have breached. Rather, the closest the SAP comes to providing such

 allegations is its single, bald assertion that Defendants violated a host of “Missouri regulations

 for Protection against Ionizing Radiation.” See SAP at ¶ 171. Such conclusory allegations of

 misconduct are insufficient to withstand a motion to dismiss, and Plaintiffs’ failure to allege

 either the applicable standard of care or breach of the federal dose and effluent limitations is fatal



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 to any nascent cause of action under the PAA. See Adkins, 960 F. Supp. 2d at 772 (finding

 plaintiffs’ complaint failed to state a claim under the PAA where plaintiffs failed to allege which

 specific standard of care applied to their claim, and instead made conclusory allegations

 regarding a nuclear facility’s non-compliance with various “applicable federal, state and local

 laws”). Adkins’s conclusion is equally applicable in this state, which is a fact pleading state.

 Absent such allegations, the SAP lacks sufficient factual support to allege a public liability claim

 under the PAA. Thus, Plaintiffs have not alleged an essential element for a claim for public

 liability, and the SAP should be dismissed with prejudice.

                2.      Plaintiffs Cannot Recover for Medical Monitoring, Loss in Property
                        Value, or Emotional Damages under the PAA

         Plaintiffs’ claim for medical monitoring (which is embedded in their general claim for

 injunctive relief) and request for damages related to emotional injuries should also be dismissed

 because Plaintiffs have not alleged any physical injury to themselves, but only to their property,

 and their loss in property value and emotional damages claims are not cognizable under the

 PAA.

         First, Plaintiffs’ claim for medical monitoring, see SAP, Count VII at ¶¶ 186-193, should

 be dismissed because the PAA clearly requires “bodily injury” in order for a plaintiff to obtain

 medical monitoring as relief. 42 U.S.C. 2014(q). See, e.g., June v. Union Carbide Corp., 577

 F.3d 1234, 1251-52 (10th Cir. 2009); In re Berg Litigation, 293 F.3d at 1133 (stating that “a

 cause of action for medical monitoring because of a future risk of disease, and absent a physical

 injury, [ ] fails to meet the jurisdictional requirements of the Price Anderson Act.”); In re

 Hanford, 534 F.3d at 996, 1009-10 (affirming dismissal of medical monitoring claims “as not

 cognizable under the PAA.”). Plaintiffs alleges that they are entitled to medical monitoring

 because “Defendants have tortiously contaminated the property of Plaintiffs . . . with hazardous,


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 toxic, carcinogenic, radioactive wastes,” and that this “radioactive contamination of the property

 . . . has caused a significant increased risk to Plaintiffs.” See SAP at ¶¶ 187, 189. Plaintiffs have

 not, however, alleged that they have suffered any physical injury as a result of this purported

 contamination.

         At most, Plaintiffs claim that the alleged contamination of their home “cause[d] a

 significant risk to Plaintiffs,” without specifying what that risk is or whether they had

 experienced any negative health effects. Id. A vague, conclusory reference to a “risk” without

 more is a far cry from alleging a bodily injury cognizable under the PAA, and insufficient to

 meet the pleading standard on a motion to dismiss. See, e.g., In re T.Q.L., 386 S.W.3d at 139.

         And although Plaintiffs cite to a government study for the proposition that

 “[g]overnmental authorities have identified significant increases of cancer and risks of cancer

 within the Class,” the document cited actually refutes the allegation that this increased risk

 resulted from any radiation exposure. See SAP, ¶ 61, 61 n3. The study cited by Plaintiffs

 concluded that “an increased cancer risk in the population due to environmental radiation

 exposure is unlikely,” and the elevated cancer rates are likely due to “smoking, physical

 inactivity, unhealthy diets, and diabetes.” See S. Yun et al., Analysis of Cancer Incidence Data

 in       Coldwater       Creek       Area,       Missouri,       1996-2004,        MO        DEPT.

 OF HEALTH & SEN. SERVS., available at https://health.mo.gov/living/healthcondiseases/chron

 ic/cancer/pdf/ccanalysis.pdf. Thus, Plaintiffs have failed to meet the bodily injury prerequisite.

         Second, Plaintiffs are not entitled to recover for any loss in value of their property. The

 PAA permits property owners to seek compensation only for “loss of or damage to property, or

 loss of use of property.” 42 U.S.C. § 2014(q). Congress, however, chose not to allow recovery

 for a diminution in the value of property due to nuclear incidents.



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         Throughout the SAP, Plaintiffs allege that their property has been contaminated by

 radioactive material creating a permanent stigma, and as a result, their property has decreased in

 value. See, e.g., SAP at ¶¶ 97, 123, 135, 138, 154, 166, 176, 182. Damages for diminution of

 property value provide no basis for a PAA claim, however, as Congress specifically excluded

 such claims under the PAA. See S. Rep. No. 296 (1957), reprinted in 1957 U.S.C.C.A.N. 1803,

 1818 (“[I]t is not the intention of the committee to have the damage to property which is

 included in the term ‘nuclear incident’ include the diminution in value or other similar causes of

 action which may occur, namely, from the location of an atomic energy activity at a particular

 location.”). Accordingly, Plaintiffs’ claim for diminution in property value should be dismissed,

 because the plain language of the PAA and its legislative history demonstrate that the statute

 does not provide for such remedies.

         Third, to the extent Plaintiffs seek emotional injury damages due to “annoyance and

 discomfort,” see SAP at p. 41, subsection a, such damages claims should be dismissed, as

 emotional distress is not recoverable in a PAA action. In re Berg, 293 F.3d at 1133 (the PAA

 “grants only limited jurisdiction that does not include emotional distress claims.”). Once again,

 without the jurisdictional prerequisite for bodily injury, Plaintiffs cannot recover under the PAA.

                3.      Because Plaintiffs’ Substantive State-Law Causes of Action Are
                        Preempted by the PAA, Plaintiffs’ Claims for Injunctive Relief and
                        Punitive Damages Should Be Dismissed

         Because Plaintiffs’ claims for trespass, permanent nuisance, temporary nuisance,

 negligence, negligence per se, and strict liability damages are preempted by the PAA, as

 discussed in Section I.D.1 above, Plaintiffs cannot sustain claims for injunctive relief or punitive

 damages against Cotter (or ComEd). As such, Counts VII and VIII of the SAP should be

 dismissed.



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                           a.      Injunctive Relief

         Injunctive relief constitutes a remedy, not an independent cause of action. See Church v.

 Missouri, 268 F. Supp. 3d 992, 1022 (W.D. Mo. 2017) (citing Goerlitz v. City of Maryville, 333

 S.W.3d 450, 455 (Mo. banc 2011) (“[A]n injunction is a remedy and not a cause of action[.]”).

 “Thus, a request for such [a] remed[y] ‘must be based on some recognized and pleaded legal

 theory.’” Id. (quoting Goerlitz, 333 S.W.3d at 455). Plaintiffs here have asserted substantive

 claims for relief under a number of legal theories—namely, trespass, permanent nuisance,

 temporary nuisance, negligence, negligence per se, and strict liability damages. However, as set

 forth above, each of those claims has been preempted by the PAA. Given that these substantive

 claims should be dismissed, Plaintiffs cannot obtain injunctive relief against Cotter (or ComEd)

 because there are no longer any viable and operative legal theories independent of their claim for

 injunctive relief. Id. Therefore, Count VII of the SAP should be dismissed.14

                           b.               Punitive Damages

          “Punitive damages cannot constitute an independent cause of action. They can only be

 an incident of another cause of action.” Landum v. Livingston, 394 S.W.3d 573, 578 (Mo. App.


 14
    Moreover, as referenced in the petition (see SAP ¶ 3, complaining of the “technicians testing and prodding
 [Plaintiffs’] backyards and sampling the dust of their vacuum cleaners”), any claims for injunctive relief are
 arguably preempted by the ongoing federal investigation and cleanup of the sites at issue and Coldwater Creek,
 including residential properties along the Creek, by the United States Army Corps of Engineers under the Formerly
 Utilized Sites Remedial Action Program (FUSRAP). FUSRAP was created in 1974 to identify, investigate, clean up
 and manage sites that were part of the nation’s early atomic energy and weapons program. As Plaintiffs
 acknowledge, the wastes at issue were produced as part of the Manhattan Project – “the U.S. research project
 designed to develop the first nuclear weapons.” See SAP ¶ 62; see also ¶¶ 63-67, 74. “The St. Louis Downtown Site
 (SLDS), the St. Louis Airport Site (SLAPS), the Hazelwood Interim Storage Site and former Futura Company
 (HISS/FUTURA), and properties contaminated in association with these sites were designated for FUSRAP in the
 St. Louis area. The U.S. Army Corps of Engineers (USACE) has been in charge of FUSRAP management since
 1997, with the Environmental Protection Agency (EPA) providing primary regulatory oversight.”
 https://dnr.mo.gov/env/hwp/fedfac/fusrap/ index.html. The US Department of Energy (and now the USACE) and
 EPA are already working together to clean up the sites that are the subject of this action. By alleging they have
 radioactive waste on their land from known Superfund sites undergoing investigation and remediation under
 FUSRAP, Plaintiffs bring their property under EPA’s – and the USACE’s – purview. For this additional reason,
 Count VII of the SAP should be dismissed.


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 1965).     “Before punitive damages can be recovered there must be a cause of action for

 compensatory damages.” Ibid.; see also Compton v. Williams Bros. Pipeline Co., 499 S.W.2d

 795, 797 (Sup. Ct. Mo. 1973) (stating that it is well established “that actual or nominal damages

 must be recovered before punitive damages can be recovered”). Here, as set forth above, the

 only causes of action against Defendants that could give rise to a claim for punitive damages

 should be dismissed as preempted by the PAA. Further, Plaintiffs cannot allege a PAA violation

 against Cotter or ComEd. As such, Count VIII of the SAP should be dismissed with prejudice.

 II.      In the Alternative, If the Court Determines the Price-Anderson Act Does Not
          Preempt Plaintiffs’ State Law Claims, It Should Adopt the Federal Nuclear
          Regulations As the Standard of Care under Missouri Common Law.

          Even if this Court disagrees that the PAA applies and holds that Plaintiffs’ state law

 claims are not preempted, the result should still be dismissal of Plaintiffs’ claims. Nor does that

 mean that the large body of jurisprudence addressing claims under the PAA is irrelevant to the

 Court’s adjudication of the common law claims. Any standard of care adopted under the

 common law for the handling of radioactive materials (including mill tailings)15 should align

 with the well-established standard of care in PAA cases—the framework that governs the vast

 majority of claims arising from the handling of radioactive materials.                       Plaintiffs have not

 proffered or alleged a breach of an alternate standard of care. Because Plaintiffs have not

 sufficiently pleaded a breach of the common law standard of care, their state law claims should

 be dismissed.




 15
   As discussed above, Cotter disputes that the materials referenced in the complaint are “mill tailings.” However,
 assuming arguendo that the materials at issue were “mill tailings,” as plaintiffs allege, they would be considered
 “byproduct material” under the Atomic Energy Act, and Plaintiffs have not pleaded any basis for the standard of
 care to deviate from the standard of care for other radioactive materials as set forth in the PAA.

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         A.     The Common Law Standard of Care Should Be Derived from the Dose
                Limits and Associated Limits in the Federal Regulations.

         This Court should adopt liability standards for the care and handling of all radioactive

 material consistent with the PAA regardless of whether the PAA applies. The federal court

 remanded the case on the incorrect determination that Cotter’s license did not definitively

 provide a basis for federal subject matter jurisdiction under the PAA. Notably, the federal

 court’s reasoning turned on licensing and not the underlying activity. The activity underlying the

 state common law claims is necessarily the same activity underlying a PAA claim. There is no

 reason, given the common factual predicate, for the common law standard of care to deviate

 from the PAA’s standard of care or the associated effluent limitations. Even if this Court

 concludes (contrary to the prevailing law) that Plaintiff’s state law claims do not fall within the

 ambit of the PAA solely because there is not a qualifying license or indemnity agreement, the

 standard of care should still be based on the underlying radioactive material and mirror that of

 the PAA.

         The PAA standard of care is derived from the federal regulations governing dose and

 effluent limits. See In re TMI (III), 67 F.3d 1103, 1113–14 (3d Cir. 1995); see also Carey v.

 Kerr-McGee Chemical Corp., 60 F. Supp. 2d 800 (N.D. Ill. 1999) (determining the federal

 dosing regulations apply to tort claims for property damage); McClurg v. Mallinckrodt, Inc., No.

 4:12-CV-00361-AGF, 2017 WL 2929444, at *5-6 (E.D. Mo. July 7, 2017) (agreeing with and

 applying the dose and effluent standards identified by the Third Circuit in In re TMI). The

 current federal dose limits for licensees are found in 10 C.F.R. § 20.1301(a)(1) (establishing limit

 of 100 millirems per year). At the time of Cotter’s operations (1970-1973) the federal dosing

 limit was 500 millirems per year, 10 C.F.R. § 20.105(a) (1969), and the effluent limitations were




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 defined in Appendix ‘B’, Table II, of 10 C.F.R. § 20.106 (see id. at 12; see also In re TMI (III),

 67 F.3d at 1109).

         The common law often looks to statutes and regulations for the applicable standard of

 care. “The Restatement (Second) of Torts expressly provides that, in certain situations, a ‘court

 may adopt as the standard of conduct of a reasonable man the requirements of a legislative

 enactment or an administrative regulation.’” In re TMI (III), 67 F.3d at 1113 n.24 (quoting

 Restatement (Second) of Torts § 286 (1965)). The Restatement was considered in articulating

 the PAA’s standard of care. Id. This Court should likewise be guided by the Restatement in

 determining the applicable standard of care.

         Consistent with the Restatement, this is a situation where a regulation should be adopted

 as the standard. The care and handling of radioactive materials at issue in this litigation is not

 something that ordinarily occurs. This is a highly regulated field. These regulations inform the

 behavior of the reasonable man. Plaintiffs would be hard pressed to identify an alternate source

 for the standard of care because of the pervasive regulation of radioactive materials. Regulations

 and the actions of other regulated individuals are the only guide for determining the standard.

 Public policy strongly favors consistency in the standard of care given that the underlying

 conduct is the care and handling of radioactive material.

         Accordingly, even if the Court declines to find that the PAA governs Plaintiffs’ state law

 claims, the result should still be the same because the standard of care is the same.

         B.     Plaintiffs Fail To Allege Sufficient Facts Relating to Any Standard of Care,
                and Their Claims Should Be Dismissed.

         As a global matter, because Plaintiffs have failed to allege a dosage amount, they have

 failed to allege facts showing a breach of the standard of care and they fail to sufficiently plead

 their state law claims. Plaintiffs’ claims should therefore be dismissed. Apart from this fatal


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 global pleading deficiency, moreover, Plaintiffs’ individual claims are also defectively pleaded.

 The claims rely on conclusory allegations devoid of factual allegations, as set forth below, and

 should be dismissed.

                1.      Plaintiffs’ Conclusory Allegations Fail to Allege a Negligence,
                        Negligence Per Se, or Strict Liability Claim

         Plaintiffs’ formulaic recitations of the elements of their negligence, negligence per se,

 and strict liability claims fall far short of adequately pleading those claims. “To make an

 adequate claim for common law negligence, a plaintiff must establish that the defendant had a

 duty to protect the plaintiff from injury, the defendant failed to perform that duty, and the

 defendant’s failure proximately caused injury to the plaintiff.” Sill, 87 S.W.3d at 391. Apart

 from parroting the elements of a negligence claim, the SAP contains no factual allegations of

 how Cotter (or ComEd) breached any duty of care toward Plaintiffs or what that duty is. See

 SAP at ¶¶ 160-164 (vaguely alleging Defendants’ “conduct was in utter non-compliance with

 applicable federal, state, and local laws, regulations, and guidelines” without identifying what

 those standards were or how Cotter (or ComEd) violated them, and alleging in a conclusory

 manner “Defendants failed to act to prevent their releases from harming Plaintiffs,” without

 identifying what Defendants should have done).

         Plaintiffs’ negligence per se claim suffers from the same defects as their negligence

 claim: “[a] claimant may proceed on a negligence per se claim ‘if the following four elements are

 met: (1) There was, in fact, a violation of the statute; (2) The injured plaintiff was a member of

 the class of persons intended to be protected by the statute; (3) The injury complained of was of

 the kind the statute was designed to prevent; and (4) The violation of the statute was the

 proximate cause of the injury.’” Id. at 392. Once again, Plaintiffs merely recites the elements of

 a negligence per se claim without explaining what it is that Cotter (or ComEd) did (or did not do)


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 that constitutes negligence per se. The SAP fails to identify how Cotter (or ComEd) violated any

 of the statutes identified in paragraph 171 of the SAP (listing Missouri’s Solid Waste

 Management Law and Regulations, Missouri Clean Water Act, and Missouri Air Conservation

 regulations), such as whether any purported releases of radioactive materials from Latty Avenue

 were above any threshold levels or standards contained in any of the above regulations.

         Especially troubling, Plaintiffs allege that their property (and the property of the putative

 class members, where the class is defined as those property owners within the one hundred-year

 floodplain of Coldwater Creek [see SAP at ¶¶ 35-36]) was contaminated “[a]s a result of . . .

 flooding,” SAP ¶ 91, yet they are purportedly relying on air and solid waste regulations, rather

 than water regulations, to show a breach of duty by Defendants. See SAP ¶ 171. As a result, it is

 impossible for Cotter and ComEd (and this Court) to parse out the basis on which Plaintiffs

 claim Cotter (or ComEd) is liable to them, and this claim should be dismissed accordingly.

         Finally, Plaintiffs have failed to adequately plead a strict liability claim against Cotter (or

 ComEd) and once again merely recite the elements of such a claim without any supporting

 factual allegations. See Clay v. Missouri Highway & Transp. Comm’n, 951 S.W.2d 617, 623

 (Mo. Ct. App. 1997) (“a person is strictly liable ‘when he damages another by a thing or activity

 unduly dangerous and inappropriate to the place where it is maintained, in the light of the

 character of that place and its surroundings.’”). The SAP does not identify what activities Cotter

 (or ComEd) performed that were abnormally dangerous and inappropriate to the place where

 they were done, other than vague allegations that Cotter “stored, processed, and transported

 hazardous, toxic, and radioactive wastes, including enriched thorium, at the SLAPS and Latty

 Avenue sites” that somehow caused them to lose the use of their property and caused their

 property to lose some unspecified measure of value. SAP at ¶ 72. The mere handling of



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 radioactive residues alone, as Plaintiffs alleges does not necessarily equate to an abnormally

 dangerous activity.

                     2.       Plaintiffs Fail to Allege Facts Sufficient to Support Either Their
                              Permanent or Temporary Nuisance Claims

            Cotter (and ComEd) cannot be liable to Plaintiffs for either permanent or temporary

 nuisance because, as even Plaintiffs implicitly acknowledge (see SAP at ¶¶ 69-72, 87), Cotter

 was not the property owner of Latty Avenue at any time, and thus cannot be liable for nuisance.

 See Frank, 687 S.W.2d at 880 (“[t]he law of nuisance recognizes two conflicting rights: property

 owners have a right to control their land and use it to benefit their best interests; the public and

 neighboring land owners have a right to prevent unreasonable use that substantially impairs the

 peaceful use and enjoyment of other land.”) (emphases added); State ex rel. Ely v. Bandall, 299

 S.W. 155, 157 (Mo. Ct. App. 1927) (“[W]e understand the general rule to be that a suit to abate

 or restrain a nuisance must be brought against the owner of the fee, unless the nuisance

 complained of is of such a character that his presence in the suit is not necessary to a complete

 determination of the controversy.”). Because Plaintiffs have not alleged Cotter or ComEd was

 the owner of either SLAPS or Latty Avenue (nor could they, as neither Cotter nor ComEd ever

 owned either site), Plaintiffs cannot maintain their nuisance actions against Cotter or ComEd.16

                     3.       Plaintiffs’ Conclusory Allegations Do Not Indicate How Cotter or
                              ComEd Interfered with the Use or Enjoyment of Their Property, and,
                              Therefore, They Cannot Recover Damages for Any State Law Claim

            Plaintiffs have not alleged any facts to show the actual loss of the use of their property or

 the diminution in value of their property that may be recoverable under state law, nor do they

 specify any type of damage caused to their property. Although they allege in conclusory fashion

 that their property has been “contaminated by radioactive material” and that “[s]amples taken on


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      There are no allegations that ComEd owned any of the properties at issue, at any point in time.

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 and around the Banks Property confirm an elevated presence of radioactive particles,

 significantly above the normal background level of radiation” which (purportedly) include

 thorium and radon gas (see SAP at ¶¶ 92-93, 118, 120, 122, 136, 150, 165, 175), they fail to

 allege the amounts of those substances involved, how the substances damaged their property, or

 how they have lost the use of their property or how its value has diminished as a result of the

 alleged contamination.

         Such conclusory allegations regarding interference with their use of their property or loss

 in value, without more, are insufficient to entitle Plaintiffs to relief under any of their state law

 claims. See, e.g., Looney v. Hindman, 649 S.W.2d 207, 212 (Mo. 1983) (“A ‘trespass’ is a

 ‘direct physical interference with the person or property of another.’”) (emphasis in original);

 Frank v. Envt’l Sanitation Mgmt., Inc., 687 S.W.2d 876, 880 (Mo. 1985) (“Nuisance is the

 unreasonable, unusual, or unnatural use of one’s property so that it substantially impairs the right

 of another to peacefully enjoy his property.”); Sill v. Burlington N. R.R., 87 S.W.3d 386, 391

 (Mo. Ct. App. 2002) (“Actual damages to the claimant’s person or property are the fourth

 element of a negligence action.”); Chubb Grp. of Ins. Companies v. C.F. Murphy & Assocs., Inc.,

 656 S.W.2d 766, 781 (Mo. Ct. App. 1983) (“Regarding damages, three kinds—personal injury,

 damage to property other than the property sold, and damage to the property sold when rendered

 useless by a violent occurrence—have been held recoverable under a strict liability theory.”).

         Without alleging how Cotter or Com Ed interfered with the use of their property or how

 they have been damaged at all by Cotter’s or Com Ed’s actions, Plaintiffs cannot sustain their

 state law claims against Cotter or Com Ed.




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                  4.         Plaintiffs Fail to Allege Facts Sufficient to Sustain a Claim for Civil
                             Conspiracy

         Although Plaintiffs’ SAP includes a civil conspiracy claim (which was added to the

 FAP), they have made no effort to support such a claim with plausible facts—or any facts at all.

         A claim for civil conspiracy requires: “(1) two or more persons, (2) an object to be

 accomplished, (3) a meeting of the minds on the object or course of action, (4) one or more

 unlawful overt acts, and (5) resulting damages.” Brock v. McClure, 404 S.W.3d 416, 421 (Mo.

 Ct. App. 2013). The SAP is devoid of any mention of any meeting of the minds amongst the

 Defendants to accomplish any object whatsoever, let alone any interaction at all amongst them.

         The closest Plaintiffs come is the conclusory allegation that: “After the sale of Cotter to

 ComEd, they jointly conspired to perpetuate the fraud that there was no radioactive

 contamination remaining with respect to Cotter’s abandoned operations.” SAP ¶ 29. This

 pleading is deficient to assert a conspiracy claim. “Merely alleging the commission of wrongful

 acts is conclusory and insufficient to state a claim for civil conspiracy.” Mackey v. Mackey, 914

 S.W.2d 48, 50 (Mo. Ct. App. 1996). Plaintiffs must plead “facts that, if true, constitute an

 unlawful act.”        Id.   Fraud, which is the unlawful act alleged here, must be pleaded with

 particularity. Mo. R. S. Ct. 55.15. Plaintiffs have made no attempt to plead facts—much less

 facts sufficiently particular—to support the allegation of fraud between Cotter and ComEd.

         As to the other defendants, under Plaintiffs’ own allegations, each Defendant operated in

 its own sphere and never came into contact with another Defendant.              Cotter purportedly

 purchased radioactive residues from the federal government and “[b]etween 1969 and 1973,

 Cotter stored, processed, and transported hazardous, toxic, and radioactive wastes, . . . at the

 SLAPS and Latty Avenue Sites.” SAP at ¶¶ 70, 72. Meanwhile, the Airport acquired SLAPS

 from the federal government in 1973 and then proceeded to do “nothing to prevent continued


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 dispersal and runoff of” material in Coldwater Creek, and DJR purchased the Latty Avenue

 property at some point and similarly did nothing to prevent dispersal and runoff of material. Id.

 ¶¶ 75, 79-80, 82-83. Yet, based on these threadbare allegations, Plaintiffs contend that these

 defendants somehow “wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.” Id. ¶ 199.

         To be clear, there are no facts “more fully alleged” anywhere within the SAP, and

 because Plaintiffs have utterly failed to allege the existence of any conspiracy, that is, a meeting

 of the minds among the Defendants to take unlawful, overt acts to accomplish some object, this

 Court should dismiss Count IX of Plaintiffs’ SAP.

                5.      Plaintiffs’ General and Conclusory Allegations Concerning Unlawful
                        Conduct by Defendants Fail to Plead Ultimate Facts.

         Plaintiffs’ general and conclusory allegations of misconduct by “Defendants” are

 insufficient to support their claims. Furthermore, in those limited instances where Plaintiffs have

 made specific allegations against Cotter, those allegations are both internally contradictory and

 controverted by case law precedent. As such, Plaintiffs have failed to assert any plausible claims

 against Cotter (or ComEd), and the SAP should be dismissed.

         A plaintiff must allege a “short and plain statement of the facts showing that the pleader

 is entitled to relief.” Mo. R. Civ. P. 55.05. Ultimate facts on which a jury could return a verdict

 for the plaintiff must be pleaded—evidentiary facts are not sufficient. R.M.A. by Appleberry v.

 Blue Springs R-IV Sch. Dist., 568 S.W.3d 420, 425 (Mo. 2019), reh’g denied (Apr. 2, 2019). “In

 order to survive the motion, the petition must ‘invoke substantive principles of law entitling

 plaintiff to relief and . . . ultimate facts informing the defendant of that which plaintiff will

 attempt to establish at trial.’” In re T.Q.L., 386 S.W.3d at 139 (quoting State ex rel. Henley v.


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 Bickel, 285 S.W.3d 327, 329 (Mo. banc 2009)). Plaintiffs’ use of “group pleading,” generally

 referring to “Defendants,” does not satisfy this standard.

         Throughout the SAP, Plaintiffs recite the history of radionuclide processing and transport

 in St. Louis and allege limited (if any) facts showing involvement in very discrete portions of

 that history by each named Defendant, but then inexplicably concludes that all “Defendants” are

 liable for all events that occurred during that history. What is most astonishing is that Plaintiffs

 ignore the party that actually generated the radioactive residues at issue in this case as early as

 1942 (see SAP at ¶ 62) and instead attributes all liability to Cotter, the Airport, and DJR, even

 though the earliest actions any of them are alleged to have taken are in 1969, 27 years after the

 materials at issue in this litigation were first allegedly generated.

         Similarly, Plaintiffs repeatedly lump together all Defendants with respect to the alleged

 misconduct underlying the claims. See id. at ¶¶ 108-118, 133-137, 148-153, 157-166, 171-176,

 179-184, 187-190, 195-196, 199-200 (alleging that all Defendants were responsible for broad

 categories of misconduct without delineating which specific defendant or defendants were

 actually responsible for each stated act). Such general and perfunctory pleading renders it

 virtually impossible for Cotter to determine the specific misconduct it is being accused of.

         Moreover, a review of Plaintiffs’ few allegations directly pertaining to Cotter further

 underscores the improperly sweeping and overly general allegations of misconduct in the SAP.

 Although Plaintiffs broadly attribute the contamination of their home to radioactive materials

 that have migrated into Coldwater Creek from SLAPS, HISS, and Latty Avenue since 1946,

 Plaintiffs specifically plead that Cotter’s involvement was limited to a four-year period, from

 1969 to 1973. See id. at ¶ 72. Plaintiffs’ claim that Cotter stored, processed, and transported




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 materials at both SLAPS and Latty Avenue, see id., is also contradicted by their later allegation

 that Cotter purchased only materials that were already at Latty Avenue, id. at ¶ 87.

         McClurg v. Mallinckrodt, No. 4:12-CV-00361, 2015 WL 867455 (E.D. Mo. Feb. 27,

 2015), a related case involving claims for personal injury arising from the radioactive

 contamination of Coldwater Creek by materials purportedly generated by Mallinckrodt, Inc. and

 Cotter, further underscores the overbroad and unsupportable nature of Plaintiffs’ allegations in

 the instant case. In McClurg, this Court dismissed claims against Cotter by plaintiff David

 Powell alleging exposure to radiation between 1949 and 1963. Id. at *5. After observing that

 the alleged radioactive materials were only purchased by Cotter in 1969 after those materials had

 been transported to Latty Avenue, the Court noted that Cotter’s allegedly unlawful activity did

 not begin until 1969, and thus any allegations pertaining to conduct that predated Cotter’s

 involvement in the matter had to be dismissed. Id. at *2, *5. Here, as in McClurg, Cotter’s

 involvement in this matter is limited to a four-year period of time and geographically restricted

 to purported conduct at Latty Avenue. As such, Plaintiffs’ general and conclusory allegations of

 misconduct outside of this timespan and outside of the Latty Avenue Site fail to form a basis of a

 claim against Cotter. Moreover, in light of the McClurg court’s findings, any amendment of the

 SAP would be futile.

         In light of the above, Plaintiffs’ general allegations of misconduct fail to plead ultimate

 facts as to Cotter (or the other Defendants), and their attempt to impute liability to Cotter for

 actions that exceed its allegedly limited temporal and geographic role fails.

                6.      Plaintiffs’ Impermissibly Vague and Conclusory Allegations and
                        Overbroad Class Definitions Likewise Fail to State Plausible Claims
                        of Class-Wide Relief

         Plaintiffs have similarly failed to set forth plausible allegations sufficient to support a

 class action. This state’s rule governing class actions, Missouri Rule 52.08, is substantially

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 similar to Federal Rule of Civil Procedure 23. Ressler v. Clay County, 375 S.W.3d 132, 136–37

 (Mo.App. W.D. 2012). “When there is no Missouri interpretation of Rule 52.08, federal court

 interpretations of Federal Rule 23 are persuasive in interpreting Rule 52.08.4.” Id. The Court of

 Appeals has held, after surveying federal cases, that Missouri Rule 52.08 allows a court to

 address substantive motions, such as summary judgment or a motion to dismiss prior to class

 certification. Id. A motion to dismiss is a proper vehicle for attacking class allegations. See

 Ralph v. Am. Family Mut. Ins. Co., 809 S.W.2d 173, 174 (Mo.App. E.D. 1991). In federal court,

 “[w]hen a defendant moves to dismiss class allegations prior to discovery, the Court should

 evaluate the motion under a standard similar to that of Fed. R. Civ. P. 12(b)(6).” Simpson v.

 Boeing Co., 27 F. Supp. 3d 989, 993-94 (E.D. Mo. 2014) (internal citations omitted). Similarly,

 under this state’s rules, “the determination of class certification is based primarily upon the

 allegations in the petition” with the allegations accepted as true, and the motion should be

 decided under the fact pleading standard. See Hope v. Nissan N. Am., Inc., 353 S.W.3d 68, 74

 (Mo.App. W.D. 2011).

          A party seeking to certify a class must demonstrate numerosity, commonality, typicality,

 and adequacy of representation. See Mo. R. Civ. P. 52.08(a); Fed. R. Civ. P. 23(a). Plaintiffs’

 proposed class definitions are impermissibly overbroad and do not meet the four required

 elements of Rule 52.08(a).17 Furthermore, because Plaintiffs cannot establish the minimum

 pleading standards for either a claim pursuant to the PAA or any of the alleged state law claims,

 they cannot meet the class certification requirements. See Smith v. ConocoPhillips Pipe Line

 Co., 801 F.3d 921, 925-27 (8th Cir. 2015) (reversing the district court’s granting of class




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    Plaintiff also fails to establish any of the Rule 52.08(b) elements, insofar as they rely heavily on conclusory
 allegations without alleging facts in support.

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 certification “in the absence of evidence showing class members were commonly affected by

 contamination on their property”).

         Plaintiffs’ class allegations should be dismissed outright because the proposed class

 definitions are fatally overbroad. Both the property damage and medical monitoring subclasses

 are defined as any Missouri citizens who own real property or reside “within the FEMA one

 hundred year flood plain of Coldwater Creek in St. Louis County, Missouri,” (SAP at ¶¶ 35-36)

 regardless of whether that property is alleged to be contaminated with radioisotopes

 attributable to any of the Defendants. Courts have routinely rejected such overbroad class

 definitions, and this Court should do the same. See, e.g., Green v. Fred Weber, Inc., 254 S,W3d

 874, 883 (Mo. banc 2008) (holding that class certification was inappropriate where only the

 named plaintiff felt vibrations from the quarry and there was no evidence that other individuals

 in the certified geographic area were similarly affected); State ex rel. Coca-Cola Co. v. Nixon,

 249 S.W.3d 855, 862 (Mo. 2008) (holding a class overbroad where “eighty percent of the

 putative class suffered no injury.”). As the SAP is currently pleaded, Plaintiffs would have the

 Court certify property damage and medical monitoring subclasses that have not alleged any

 property damage or physical injury, but merely ownership of and residency at real property,

 respectively.

         Not only are the class definitions impermissibly overbroad, Plaintiffs themselves have not

 alleged any facts plausibly showing any contamination of their own property. Plaintiffs only

 generally plead contamination of their properties, simply because they allege they are located

 within a broad swath of 100-year floodplain. SAP ¶¶ 18-25. The only allegations Plaintiffs have

 made are that sampling “on and around” their property show levels “above the normal

 background levels” (SAP at ¶ 93) without identifying the level and extent of contamination on



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 their property, what background levels have been exceeded for which specific radioisotopes, and

 whether those levels exceed any applicable regulatory or statutory levels, including applicable

 standards of care. Additionally, given the SAP’s phrasing, there is no allegation that samples

 from any of the Plaintiffs’ actual properties—as opposed to surrounding properties–show

 elevated levels. The only such allegation that a sample from a specific property—the Banks

 property—showed elevated levels, was removed from this version of the pleadings. Compare

 generally SAP with FAP ¶ 9. Such conclusory allegations are not sufficiently pleaded ultimate

 facts that show that any particular property actually is contaminated. See In re T.Q.L., 386

 S.W.3d at 139.

         Second, Plaintiffs have failed to allege any facts plausibly showing any damages. For

 instance, they have failed to allege how much their property has diminished in value (assuming

 this was even a valid claim under the PAA, which, as discussed above, it is not), or how they

 have lost the use or enjoyment of their property as a result of the alleged contamination.

         Finally, assuming Plaintiffs are permitted to proceed on their state law causes of action,

 the medical monitoring subclass should be dismissed, as there are no allegations of personal

 injury, rendering such a class inappropriate. See Smith v. ConocoPhillips Pipe Line Co., 298

 F.R.D. 575, 582 (E.D. Mo. 2014) (denying certification of medical monitoring class because

 “Plaintiffs have offered no evidence of actual exposure”) (citing Meyer ex rel. Coplin v. Fluor

 Corp., 220 S.W.3d 712, 718 (Mo. 2007) for the proposition that “entitlement to the costs of

 medical monitoring requires plaintiff to show that exposure led to an increased risk of

 developing a particular disease and that medical monitoring is reasonably necessary for early

 detection and treatment”), rev’d on other grounds.




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         Accordingly, the Court should dismiss Plaintiffs’ class allegations because the class

 definitions are impermissibly overbroad and are untethered to any allegations of contamination

 of any kind, including any attributable to the alleged conduct of any defendant, and because they

 are insufficient to meet the requirements of Missouri Rule of Civil Procedure 52.08.

                                           CONCLUSION

         For the foregoing reasons, Cotter’s motion to dismiss should be granted. Plaintiffs’

 substantive state law causes of action against Cotter and ComEd are completely preempted by

 the PAA because Plaintiffs’ claims arise from and relate to a nuclear incident. Even assuming

 Plaintiffs had asserted a claim pursuant to the PAA, that claim would necessarily fail because

 Plaintiffs have failed to allege an essential element of such a claim, namely, Cotter’s (or, for that

 matter, any defendant’s) breach of the federal dose and effluent limits. Furthermore, Plaintiffs

 are not entitled to medical monitoring, diminution in property value, or emotional distress

 damages because they have not pleaded the requisite elements for such claims, and/or because

 the PAA does not allow for such relief.

         Even if Plaintiffs’ state law claims were not preempted by the PAA, they are all

 defectively pleaded and should be dismissed. And given Plaintiffs’ general and conclusory

 allegations of misconduct against the defendants, the failure to delineate which defendants are

 responsible for the vague acts of misconduct they allege, and their attempt to impute liability to

 Cotter for acts and omissions that exceed its temporal and geographic involvement in this matter,

 Plaintiffs have failed to plead ultimate facts sufficient to survive a motion to dismiss. Because

 Plaintiffs’ substantive claims fail as a matter of law, the claims for injunctive relief and punitive

 damages should also be dismissed. Furthermore, the common law standard of care is still the

 federal dosage and effluent limits, and Plaintiffs have failed to allege sufficient facts establishing



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 a breach of those standards. Finally, Plaintiffs’ class allegations should be dismissed for failure

 to state a claim upon which relief can be granted, and also because the class definitions are

 impermissibly overbroad and do not meet the four required elements of Rule 52.08(a). Cotter

 and ComEd already moved once to dismiss the claims on essentially the same grounds as above

 and Plaintiffs failed to cure the defects. As such, Counts I-IX of the SAP should be dismissed

 with prejudice.

 Dated: November 8, 2019                      Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 8, 2019, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, providing electronic service to the following:

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                                                       and Commonwealth Edison Company




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                             Exhibit 1
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          TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS, )
 BARBARA HOOKS, JOEL HOGAN,      )
 KENNETH NIEBLING, KENDALL LACY, )
 TANJA LACY, WILLIE CLAY,        )
 BOBBIE JEAN CLAY, ANGELA STATUM,)
 and MISSOURI RENTALS            )
 COMPANY, LLC, on behalf of themselves
                                 )
 and all others similarly situated,
                                 )
                                 )
                                 )
       Plaintiffs,               )                           Cause No. 18SL-CC00617
                                 )
       vs.                       )                           Division No. 2
                                 )
 COTTER CORPORATION,             )
 COMMONWEALTH EDISON COMPANY, )                              JURY TRIAL DEMANDED
 DJR HOLDINGS, INC. f/k/a FUTURA )
 COATINGS, INC., and ST. LOUIS   )
 AIRPORT AUTHORITY, A            )
 DEPARTMENT OF THE CITY OF       )
 ST. LOUIS                       )
                                 )
       Defendants.               )

                     SECOND AMENDED CLASS ACTION PETITION

        COME NOW Plaintiffs Tamia Banks, Rev. Ronnie Hooks, Barbara Hooks, Joel Hogan,

 Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie Jean Clay, Angela Statum, and

 Missouri Rentals Company, LLC, on behalf of themselves and all others similarly situated, by and

 through counsel, and for their Second Amended Class Action Petition and causes of action against

 Defendants Cotter Corporation, Commonwealth Edison Company, DJR Holdings, Inc. f/k/a Futura

 Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis, states

 and alleges as follows:
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        1.       Since World War II, big companies have made significant profits processing,

 handling, and storing radioactive materials in the St. Louis area. This activity began six decades

 ago, when Mallinckrodt received in downtown St. Louis City highly concentrated uranium with

 abnormal levels of radium from Africa. This particular ore was extremely toxic—more so than the

 ores available from anywhere else in the world. Despite the fact that these materials were some of

 the most harmful on Earth, Defendants negligently moved them around St. Louis, treating the

 radioactive materials with less care than a reasonable person might give in moving common

 household garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis

 City to the St. Louis Airport, then to Hazelwood.

        2.      Radioactive materials have been and will likely continue to be stored in bulk, on

 the ground, open to the elements, and unattended at sites on and adjacent to Coldwater Creek,

 which runs throughout North St. Louis County and is a tributary for the Missouri River. These

 sites included the St. Louis Airport Site (“SLAPS”), a storage facility on Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”) part of which later became the Hazelwood Interim

 Storage Site (“HISS”). The Latty Avenue site and the HISS site are contained in the properties

 located at 9170 Latty Avenue and 9200 Latty Avenue in Hazelwood, Missouri.

        3.      Since then, that radioactive material, negligently dumped in an area surrounded by

 peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

 dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

 who want nothing more than to play in the backyard; and small business owners who had invested

 everything to build the American dream for their families. These everyday St. Louisans now find

 their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

 properties worthless. They find their once-quaint neighborhoods filled with technicians testing



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 and prodding their backyards and sampling the dust of their vacuum cleaners to identify the

 quantity and toxicity of the radioactive material Defendants have dumped into their lives.

        4.      Tests conducted by representatives of the United States of America and others now

 confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes

 generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste

 found today in the real property, which consists of businesses and homes, surrounding the

 Coldwater Creek carries the distinct fingerprint (or profile) of the ore which had been processed

 in St. Louis and possessed by Defendants and/or their predecessors in interest.

        5.      These radioactive wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous

 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

 defects may take a number of years after exposure to the radioactive material to appear.

        6.      Defendants have failed to take responsibility for their negligent behavior, failed to

 clean up the area, failed to move the residents and businesses out, and failed to make amends for

 the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

 and omissions, misleading the local public about the widespread contamination Defendants have

 caused and minimizing the immense risks to public health and safety that resulted from

 Defendants’ actions.

        7.      It is time that Defendants finally be held accountable for their reckless and tortious

 conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on a limited class

 of victims.

        8.      Plaintiffs, as well as all members of the proposed class, have sustained significant

 damages as a result of Defendants’ conduct. Defendants should compensate Plaintiffs for their



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 damages, and provide further relief as set forth below in this Petition.

        9.      Pursuant to Missouri common law applicable at the time of Defendants’ tortious

 conduct, which occurred prior to the 2005 enactment of R.S.Mo. § 537.067, Defendants are jointly

 and severally liable for any and all damages Plaintiffs and the Class have sustained as a result of

 Defendants’ negligent handling, storing and/or disposing of radioactive materials, including,

 without limitation, any incidental, consequential, nuisance, and trespass damages.

        10.     Upon information and belief, by acquiring and continuing to operate ongoing

 operations throughout time, Defendants are liable for acts and omissions and the consequential

 damages caused by their predecessors in interest. To the extent that Defendants provided

 indemnity or committed fraud, they are liable to those to whom they sold or lease the ongoing

 operations.

        11.     Upon information and belief, the properties of all Plaintiffs and the putative class

 are impacted by uranium mill tailings. The source of the radioactivity is small, microscopic

 particles yet containable when properly handled. These particles contain hazardous carcinogenic,

 harmful toxics, and other radioactive substances known as uranium and thorium and their daughter

 products. Such radioactive waste is legally and commonly referred to as “uranium mill tailings,”

 which result from the processing of uranium ore.

                                  JURISDICTION AND VENUE

        12.     This court has jurisdiction over the subject matter and the parties in this case

 because the causes of action stated in this Petition arose out of business activities conducted solely

 in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

        13.     Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

 Defendants’ conduct giving rise to this action took place in the locality of St. Louis County,



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 Missouri.

           14.   Plaintiffs do not allege any causes of action arising under any laws of the United

 States.

           15.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act, because:

                 A.      Coldwater Creek is not and has never been a licensed nuclear facility.

                 B.      Defendants have never received a license to possess, transport, or dispose

                         of any radioactive wastes on or in Coldwater Creek.

                 C.      Defendants did not have a license to dispose of radioactive wastes in

                         Coldwater Creek.

                 D.      Defendants did not have a license to handle the particular materials they

                         handled as alleged herein, including enriched thorium.

                 E.      Defendants have never entered into an indemnification agreement with the

                         United States government under 42 U.S.C. § 2210 with respect to the

                         complained activities.

           16.   Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

 to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims offending

 traditional state regulations and do not implicate the Price-Anderson Act and its textually manifest

 objectives related to liability limitation and indemnification.

           17.   The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

 carcinogenic mill tailings at issue in this Petition.

                                            THE PARTIES

                                                Plaintiffs




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        18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

 Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres in

 St. Louis County adjacent to Coldwater Creek. Her home and property, along with the property of

 other members of the Class, is located within the one hundred year flood plain of Coldwater Creek,

 and is contaminated with radioactive waste materials from Coldwater Creek. Tamia Banks first

 learned that her property was in the zone of contamination in 2018.

        19.     Plaintiffs Rev. Ronnie Hooks and Barbara Hooks, a married couple, are Missouri

 citizens who own real property located at 13712 Old Halls Ferry Rd., Florissant, Missouri (the

 “Hooks Property”). The property is approximately 1.32 acres in St. Louis County adjacent to

 Coldwater Creek. Their home and property, along with the property of other members of the Class,

 is located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The Hooks first learned their property was in

 the zone of contamination in 2018.

        20.     Plaintiff Joel Hogan is a Missouri citizen who owns real property located at 435

 Moule Drive, Florissant, Missouri (the “Hogan Property”). The property is approximately 0.1 acres

 in St. Louis County adjacent to Coldwater Creek. His home and property, along with the property

 of other members of the Class, is located within the one hundred year flood plain of Coldwater

 Creek, and is contaminated with radioactive waste materials from Coldwater Creek. Mr. Hogan

 first learned his property was in the zone of contamination in 2018.

        21.     Plaintiff Kenneth Niebling is a Missouri citizen who owns real property located at

 210 Versailles Drive, Florissant, Missouri (the “Niebling Property”). The property is

 approximately 0.1 acres in St. Louis County adjacent to Coldwater Creek. His home and property,

 along with the property of other members of the Class, is located within the one hundred year flood



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 plain of Coldwater Creek, and is contaminated with radioactive waste materials from Coldwater

 Creek. Mr. Niebling first learned his property was in the zone of contamination in 2018.

         22.   Plaintiffs Kendall Lacy and Tonja Lacy, a married couple, are Missouri citizens

 who own real property located at 2843 Chapel View Drive, Florissant, Missouri (the “Lacy

 Property”). Their home and property, along with the property of other members of the Class, is

 located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

 radioactive waste materials from Coldwater Creek. The property is approximately .21 acres in St.

 Louis County adjacent to Coldwater Creek. The Lacys first learned their property was in the zone

 of contamination in 2018.

         23.   Plaintiffs Willie Clay and Bobbie Jean Clay, a married couple, are Missouri citizens

 who own real property located at 9 Cricket Court, Florissant, Missouri (the “Clay Property”). The

 property is approximately .25 acres in St. Louis County adjacent to Coldwater Creek. Their home

 and property, along with the property of other members of the Class, is located within the one

 hundred year flood plain of Coldwater Creek, and is contaminated with radioactive waste materials

 from Coldwater Creek. The Clays first learned their property was in the zone of contamination in

 2018.

         24.   Plaintiff Angela Statum is a Missouri citizen who owns real property located at

 7565 Hazelcrest Drive, Hazelwood, Missouri (the “Statum Property”). The property is in St. Louis

 County adjacent to Coldwater Creek. Her property, along with the property of other members of

 the Class, is located within the one hundred year flood plain of Coldwater Creek, and is

 contaminated with radioactive waste materials from Coldwater Creek. Ms. Statum first learned her

 property was in the zone of contamination in 2018.




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         25.    Plaintiff Missouri Rentals Company, LLC is a Missouri LLC which owns real

 property located at the following addresses (the “MRC Properties”):

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

 The properties are in St. Louis County adjacent to Coldwater Creek. Their properties, along with

 the property of other members of the Class, are located within the one hundred year flood plain of

 Coldwater Creek, and are contaminated with radioactive waste materials from Coldwater Creek.

 MRC first learned its properties were in the zone of contamination in 2018.

         26.    As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

 damages, including damages to their Property and the loss of use and enjoyment, thereof.

                                            Defendants

         27.    There are two defendants that relate in some way to Cotter Corporation, the owner

 and disposer of the hazardous, toxic, carcinogenic, radioactive mill tailings: Cotter Corporation

 (“Cotter”) and Commonwealth Edison Company (“ComEd”).

         28.    Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

 business in Englewood, Colorado, which currently operates as a subsidiary of General Atomics,

 Inc., a California corporation. Cotter was purchased by and became a wholly owned subsidiary of

 Commonwealth Edison in 1974, immediately after announcing that there was no radioactive

 contamination on the properties upon which it operated. It was then sold to General Atomics in

 2000.




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                A. Cotter continuously and systematically carried on business activities in the State

                    of Missouri in its own name and through its parent company ComEd.

                B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                    conduct, including acts and omissions within the State of Missouri, as well as

                    the acts and omissions of the predecessors of the Cotter Defendants, which gave

                    rise to the violations of state law and damages to property alleged in the Petition.

        29.     Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose

 former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

 of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.

 The responsibility to indemnify Cotter was transferred to Exelon Generation Company, LLC when

 ComEd’s parent company, Exelon Corporation, restructured in 2001.

                A. ComEd continuously and systematically carried on local business activities in

                    the State of Missouri, both on its own and through its subsidiary Cotter. In

                    addition, ComEd owned Cotter at times relevant to this Petition, and agreed to

                    indemnify Cotter for liabilities associated with the creation, storage,

                    transportation, and processing of hazardous, toxic, carcinogenic, radioactive

                    wastes as alleged herein. ComEd regularly and routinely avails itself of the

                    protection of Missouri laws in St. Louis County courts, and regularly appears

                    to defend itself in lawsuits tried in that locality.

                B. When ComEd purchased Cotter, it assumed Cotter’s liabilities by its own

                    corporate policies and by law and was obligated to require its subsidiary to

                    comply with the rules and regulations in Missouri and the relevant laws cited in

                    this Petition. ComEd furthermore assumed the environmental safety and health



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                   functions of its subsidiary, Cotter. Cotter and ComEd knew or should have

                   known substantial waste was in Coldwater Creek as a result of Cotter’s

                   operations and on the properties upon which Cotter had operated and which it

                   knowingly and intentionally abandoned immediately prior to its announced sale

                   to ComEd. ComEd, through its pre-purchase due diligence, knew about the

                   remaining contamination, yet did nothing to mitigate the threat to public health,

                   such that ComEd is liable as a corporate successor to Cotter. After the sale of

                   Cotter to ComEd, they jointly conspired to perpetuate the fraud that there was

                   no radioactive contamination remaining with respect to Cotter’s abandoned

                   operations. On information and belief, ComEd controlled the policy and

                   business of Cotter to perpetuate the negligent and unlawful contamination in

                   contravention of Plaintiffs’ and the Class Members’ rights, and ComEd’s

                   control over Cotter was the proximate cause of the contamination to Plaintiffs’

                   and the Class Members’ properties.

                C. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                   conduct, including acts and omissions within the State of Missouri, as well as

                   the acts and omissions of the predecessors of the ComEd Defendants, which

                   gave rise to the violations of state law and damage to property alleged in the

                   Petition.

        30.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

 is a Missouri corporation with its principal place of business in Missouri, and whose alter ego is

 Jarboe Realty & Investments Co., Inc. Defendant DJR Holdings, Inc. is a Missouri citizen from




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 whom significant relief is sought and whose conduct forms a significant basis of the claims

 asserted by Plaintiffs, as explained in detail in this Petition.

         31.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

 now and was at all times herein mentioned a public entity organized and existing pursuant to

 Article 6, Section 31 of the Missouri Constitution. The St. Louis Airport Authority is a Missouri

 citizen from whom significant relief is sought and whose conduct forms a significant basis of the

 claims asserted by Plaintiffs, as explained in detail in this Petition.

                                 CLASS ACTION ALLEGATIONS

         32.     Plaintiffs file this class action petition pursuant to Missouri Supreme Court Rule

 52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

 the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

 detailed below.

         33.     Plaintiffs bring this action on behalf of themselves and the Class against Defendants

 to recover damages to their property and to obtain injunctive relief in the form of a total and

 complete cleanup of the contamination and to prevent and eliminate further contamination.

         34.     This action is maintainable as a class action and should be certified under Missouri

 Supreme Court Rule 52.08.

         35.     The proposed class for property damage claims is defined as follows (“Property

 Damage Subclass”):

         All Missouri citizens who currently own any portion of real property located
         within the FEMA one hundred year flood plain of Coldwater Creek in St.
         Louis County, Missouri, bounded by St. Charles Rock Road to the southwest


 1
  FEMA.GOV,
 https://msc.fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchre
 sultsanchor (last visited September 24, 2019).


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           and Old Halls Ferry Road to the northeast, as shown in blue in the map in
           Figure 1 below.
                                     Figure 1. Class Area




 “Own,” in the context of the class definition, includes those who hold any fee simple estate or life

 estate.

           36.    The proposed class for medical monitoring is defined as follows (“Medical

 Monitoring Subclass”):

           All Missouri citizens who currently reside, or have resided since 1973, on any
           portion of real property within the FEMA one hundred year flood plain of
           Coldwater Creek in St. Louis County, Missouri, bounded by St. Charles Rock
           Road to the southwest and Old Halls Ferry Road to the northeast, as shown in
           the map in Figure 1 above.

           37.    Excluded from the Property Damage Subclass and the Medical Monitoring

 Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as



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 well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

 excluded are the immediate family members of the above persons. Also excluded are owners of

 property that has or has had any radioactive material license associated with it; this includes, but

 is not limited to, the SLAPS, Latty Avenue, and HISS sites. Also excluded is any trial judge who

 may preside over this case. The requirements for maintaining this action as a class action are

 satisfied, as set forth immediately below.

        38.     The proposed Class is so numerous that the individual joinder of all absent class

 members is impracticable. While the exact number of absent Class Members is unknown to

 Plaintiffs currently, it is ascertainable by appropriate discovery and Plaintiffs, upon information

 and belief, alleges that the proposed Class may include more than twenty-five local members. The

 requirement of numerosity is therefore satisfied.

        39.     Common questions of law or fact exist as to all proposed Class Members and

 predominate over any questions which affect only individual members of the proposed Classes,

 the answers to which will drive a class-wide resolution of the claims of the proposed Class. These

 common questions of law or fact include:

                a. Whether Defendants engaged in the abnormally dangerous activity of

                    processing, storing or transporting radioactive waste;

                b. Whether Defendants unreasonably and unlawfully processed, stored, disposed

                    and/or abandoned, or transported radioactive materials at the St. Louis Airport

                    Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage

                    Site (“HISS”);

                c. Whether Defendants created and continue to create a high degree of risk of harm

                    to Plaintiffs and Class Members’ property;



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                d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                    willfully, wantonly and maliciously allowed the emission of Radon gas and

                    radioactive particles onto and around Plaintiffs and Class Members’ property;

                e. Whether Defendants’ conduct or omissions affecting land surrounding the St.

                    Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood

                    Interim Storage Site (“HISS”) resulted in Plaintiffs and Class Members’ loss of

                    use and enjoyment of their property;

                f. Whether the loss in property value suffered by Plaintiffs and Class is a result of

                    Defendants’ actions;

                g. Whether Plaintiffs and Class are entitled to damages; and

                h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                    punitive damages.

        40.     The claims of the Plaintiffs are typical of the claims of the Class. Plaintiffs and all

 Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

 Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

 transported and dumped radioactive waste.

        41.     Plaintiffs will fairly and adequately represent the interests of the members of the

 Class. Plaintiffs have no interest adverse to the interests of the members of the Class. Plaintiffs

 have retained competent attorneys who have experience in class action litigation.

        42.     Defendants have acted or refused to act on grounds that apply generally to the Class

 as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

        43.     Unless a class-wide injunction is issued, Defendants will continue to allow

 contamination of the properties of Plaintiffs and Class and will continue to violate Missouri law



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 resulting in harm to thousands of Missouri citizens.

           44.   A class action is a superior method for the fair and efficient adjudication of this

 controversy. The adjudication of a separate action by individual members of the classes would

 create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

 class; or (b) adjudications with respect to individual members of the class which would as a

 practical matter be dispositive of the interests of the other members not parties to the adjudications

 or substantially impair or impede their ability to protect their interests. Upon information and

 believe each of the Class Members suffered the same sort of damages and injuries as those suffered

 by the Plaintiffs, due to the contamination of their property by radioactive waste from the St. Louis

 Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

 (“HISS”). In addition, this class action will allow for the resolution of identical claims in an

 efficient manner that avoids fragmented litigation in which inconsistent results could occur.

           45.   Questions of law or fact common to the members of the Class predominate over

 any questions affecting only individual members. There is no special interest in the members of

 the classes individually controlling the prosecution of separate actions. The expense and burden of

 individual litigation make it impossible for the Class Members individually to address the wrongs

 done to them.

           46.   There will be no difficulty in managing this lawsuit as a class action. Evidence

 relating to Defendants’ alleged violations will be applicable to all members of the class; there are

 accepted means for notifying class members who have suffered injuries and damages described

 herein.

           47.   All of the class members are citizens of Missouri.

           48.   The principal injuries resulting from the conduct of the Defendants were incurred



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 in Missouri.

        49.      The conduct alleged in this Petition took place in Missouri.

                 A. The radioactive waste at issue in this case was generated as a result of chemical

                    processes that took place in local facilities in St. Louis

                 B. All transportation of radioactive waste alleged herein took place in Missouri

                 C. All processing of radioactive wastes alleged herein took place in Missouri.

                 D. All storage of radioactive waste alleged herein took place in Missouri.

        50.      Defendants engaged in creation, storage, processing and transportation of

 radioactive wastes in the state of Missouri, benefiting from the protection and operation of

 Missouri law.

        51.      No class action asserting similar factual allegations has been filed against any of

 the Defendants in the preceding three years.

        52.      For these reasons, this case is maintainable as a class action pursuant to Missouri

 Rule of Civil Procedure 52.08.

                                                FACTS

                                        Radioactive Wastes

        53.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

        54.      Radiation is a type of energy transmitted over a distance. Some materials

 spontaneously emit radiation through a process known as radioactive decay. As these materials

 decay they release radiation energy and transform into other radioactive materials which will then

 also decay by releasing radiation energy and transforming into other materials.

        55.      Some radiation energies, including the radiation from the decay of radioactive

 materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other



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 material. When radiation energy interacts with other material, it causes a process called ionization2

 which can damage chemical structures. When the “other material” that ionizing radiation passes

 through is human cells, it can cause damage within those cells resulting in mutation in genetic

 material which can lead to cancer and other harms.

        56.     People are exposed to radiation in two ways: external exposure from radioactive

 material in the environment and internal exposure by radioactive material that has entered the

 body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

        57.     One characteristic of the impact of exposure to ionizing radiation on the human

 body through both internal and external exposure is that even if the energy absorbed is low, the

 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

        58.     The injuries resulting from exposure to ionizing radiation can also be separated into

 two categories: somatic injuries and genetic injuries. Somatic injuries are damages to the

 individual exposed. This can include damages to the skin, reproductive system, blood forming




 2
   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
 radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
 electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
 has enough energy to cause changes in atoms through a process called ionization. Ionization can
 affect the atoms in living things and depending on the dose and exposure, can pose a serious health
 risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in cells, causing
 damage to tissue and DNA in genes.” See Radiation Health Effects, EPA.GOV,
 https://www.epa.gov/radiation/radiation-health-effects (last visited September 24, 2019).


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 system, digestive system, central nervous system, and immune system, as well as cancers.

 Illnesses such as cancers may take a number of years to appear.

         59.     Genetic injury is damage to the reproductive cells of the exposed individual in the

 form of mutation of their genetic cells. As a result, the probability of detrimental effects to the

 descendants of the exposed persons may greatly increase. These genetic mutations can be passed

 down to a person’s offspring even generations later. These injuries include birth abnormalities

 and cancer.

         60.     One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.

         61.     Governmental authorities have identified significant increases of cancer and risks

 of cancer within the Class.34

                               Radioactive Waste in the St. Louis Area




 3
   See S. Yun et al., Analysis of Cancer Incidence Data in Coldwater Creek Area, Missouri, 199
 6-2004, MO DEPT. OF HEALTH & SEN. SERVS., available at
 https://health.mo.gov/living/healthcondiseases/chronic/cancer/pdf/ccanalysis.pdf.
 4
   See Evaluation of Community Exposures Related to Coldwater Creek, ATSDR (Apr. 30, 2019),
 available at
 https://www.atsdr.cdc.gov/sites/coldwater_creek/docs/St_Louis_Airport_Site_Hazelwood_Interi
 mSto_PHA-508.pdf.


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          62.     From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

 association with the Manhattan Project.5 The Manhattan Project was the U.S. research project

 designed to develop the first nuclear weapons.

          63.     This downtown St. Louis facility was known as the St. Louis Downtown Site (the

 “SLDS”) and was used to process uranium.

          64.     The wastes created by processing at the SLDS are known in the scientific and

 regulatory communities as Uranium Mill Tailings and were created as a result of the milling of

 Uranium Ore to produce uranium metal by Mallinckrodt.

          65.     In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

 Lambert Airport to store the hazardous, toxic, carcinogenic radioactive mill tailings from the

 uranium processing operations at the SLDS. The storage site(s) on and near the airport are now

 referred to as the St. Louis Airport Site or SLAPS (“SLAPS”).

          66.     Radioactive mill tailings accumulated locally at SLAPS. These hazardous, toxic,

 carcinogenic, radioactive waste materials included pitchblende raffinate residues, radium-bearing

 residues, barium sulfate cake, and Colorado raffinate residues. They were stored locally at SLAPS

 along with contaminated scrap. Some of these radioactive wastes were stored in bulk on the open

 ground in piles.

          67.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive mill tailings

 that had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood,

 Missouri (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage

 Site (“HISS”).




 5
     See n.10 (citing Alvarez (2013) and DeGarmo (2006)).


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        68.      These mill tailings, which contained valuable metals, were sold and shipped to

 various other local destinations, contaminating the Latty Avenue Site with hazardous, toxic and

 radioactive substances as a result.

        69.      In the late 1960’s, Cotter and/or its predecessors in interest, and its successors,

 purchased the hazardous, toxic, carcinogenic radioactive mill tailings associated with both SLAPS

 and the Latty Avenue Site.

        70.      Upon information and belief, as part of the contract between Cotter and/or its

 predecessors in interest and the federal government for sale of the radioactive waste, Cotter

 assumed all liability, including ultimate disposition of the waste.

        71.      Cotter and/or its predecessors in interest did not receive indemnity from the

 government in connection with this transaction.

        72.      Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

 and radioactive wastes, including enriched thorium, associated with both the SLAPS and Latty

 Avenue sites.

        73.      Upon information and belief, Cotter did not have a license to handle or dispose of

 enriched thorium.

        74.      Transport and migration of hazardous, toxic and radioactive mill tailings to/from

 the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and radioactive

 substances along haul routes to nearby properties.

                               Saint Louis Airport Site (“SLAPS”)

        75.      Upon information and belief, the U.S. Government acquired the Saint Louis Airport

 Site (“SLAPS”) site by condemnation proceedings in 1947.




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        76.     Hundreds of thousands of tons of hazardous, toxic, and radioactive mill tailings

 were transported from the SLDS to the SLAPS for storage, including radium-bearing residues,

 refined cake, barium sulfate cake, and C-liner slag.

        77.     From 1953, the property was managed and operated by Mallinckrodt.

        78.     By 1960, there were approximately 50,000 empty drums and approximately 3,500

 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.

        79.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the

 City of St. Louis, by quitclaim deed.

        80.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

 thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

 radioactive wastes into Coldwater Creek.

                                         Latty Avenue Site

        81.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

 removed from the SLAPS in various stages. Some of the wastes were transported to property at

 9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

 storage.

        82.     Upon information and belief, DJR Holdings, Inc., f/k/a Futura Coatings and/or its

 alter egos purchased and/or leased the Latty Avenue property, which is currently owned by Jarboe

 Realty & Investments Co., Inc. Both DJR Holdings, Inc. and Jarboe Realty & Investments Co.,

 Inc. are owned, operated, and controlled by the same individuals such that they are mere

 instruments of those individuals, and that DJR Holdings, Inc. and Jarboe Realty & Investments are

 indistinct from each other and from their owners.



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        83.     Despite knowing that significant activities involving radioactive material were

 conducted on the site, DJR Holdings, Inc., f/k/a Futura Coatings and/or its alter egos did nothing

 to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic, radioactive wastes into

 Coldwater Creek.

                                         Coldwater Creek

        84.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The

 creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly

 direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

 County, and along the northern edge of the community of Black Jack, until it discharges into the

 Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

 1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

 contaminated with hazardous, toxic, and radioactive materials.

        85.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

 from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

 metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

 adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

 level storage area.

        86.     By 1960, there were approximately 50,000 chemical drums and approximately

 3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

 adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

 and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

 to support construction, resulting in commingling of the site soils and sediments with hazardous,

 toxic, and radioactive wastes brought to the SLAPS.



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        87.     During the 1960s, some of the waste residues were transported to the Latty Avenue

 Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

 the Cotter Corporation.

        88.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty

 Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire

 FEMA one hundred year flood plain of Coldwater Creek.

        89.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and

 continues to flow through northern St. Louis County until it discharges into the Missouri River.

        90.     Coldwater Creek floods areas of the North St. Louis County including portions of

 the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

 unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

 and increases the likelihood of local and area-wide flooding.

        91.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

 Creek is believed to be contaminated with radioactive particles, including radium, thorium and

 uranium.

            Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

        92.     Plaintiffs’ properties are contaminated by radioactive material.

        93.     Samples taken on and around Plaintiffs’ properties confirm an elevated presence of

 radioactive particles, significantly above the normal background level of radiation.

        94.     Plaintiffs’ properties neighbor Coldwater Creek and are within its flood plain. This

 proximity puts the Plaintiffs’ properties in the direct path of radioactive particles and

 contamination spread in and by Coldwater Creek.




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        95.     The radioactive contamination that has polluted the Plaintiffs’ properties and

 continues to threaten to further pollute the Plaintiffs’ properties match the waste fingerprint (or

 profile) of the radioactive wastes generated in the processing of uranium ores in the St. Louis area.

        96.     This radioactive contamination was caused by the Defendants’ improper handling,

 storage, and disposal of radioactive materials.

        97.     Radioactive contamination of the Plaintiffs’ properties renders the Plaintiffs’

 properties unfit for normal use and enjoyment, creates a stigma attached to the properties, and

 destroys their fair market value.

        98.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and the Class

 are currently being subjected to radioactive waste contamination and will suffer irreparable harm

 if an injunction is not granted requiring Defendants conduct a total and complete cleanup of the

 contamination and to prevent and eliminate further contamination.

                                    COUNT I – TRESPASS
  (brought individually by Plaintiffs and on behalf of the Property Damage Subclass against
                                        all Defendants)

        99.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        100.    Plaintiff Tamia Banks owns and controls the Banks Property located at 4501 Ashby

 Rd., St. Ann, Missouri, more particularly described above.

        101.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control the Hooks Property

 located at 13712 Old Halls Ferry Rd., Florissant, Missouri, more particularly described above.

        102.    Plaintiff Joel Hogan owns and controls the Hogan Property located at 435 Moule

 Drive, Florissant, Missouri, more particularly described above.




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        103.    Plaintiff Kenneth Niebling owns and controls the Niebling Property located at 210

 Versailles Drive, Florissant, Missouri, more particularly described above.

        104.    Plaintiffs Kendall Lacy and Tonja Lacy own and control the Lacy Property located

 at 2843 Chapel View Drive, Florissant, Missouri, more particularly described above.

        105.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control the Clay Property

 located at 9 Cricket Court, Florissant, Missouri, more particularly described above.

        106.    Plaintiff Angela Statum owns and controls the Statum Property located at 7565

 Hazelcrest Drive, Florissant, Missouri, more particularly described above.

        107.    Plaintiff Missouri Rentals Company, LLC owns and controls the Missouri Rentals

 Properties, as more particularly described above and listed as follows:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        108.    Defendants generated massive quantities of extremely dangerous radioactive

 wastes and failed to ensure their proper disposal.

        109.    Defendants purchased massive quantities of highly toxic radioactive wastes and

 failed to properly dispose of these wastes.

        110.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

 at a location unfit to handle such wastes.




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           111.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiffs and the

 Property Damage Subclass (“Plaintiffs’ property”).

           112.   Defendants have caused these radioactive materials to migrate from Defendants’

 property and other storage locations and contaminate Plaintiffs’ property.

           113.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive

 particles onto and around Plaintiffs’ property through their improper disposal of radioactive wastes

           114.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

           115.   Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes, as alleged herein.

           116.   Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

           117.   Defendants have caused these radioactive materials to migrate and contaminate

 Plaintiffs’ property.

           118.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

 and radioactive particles onto and around the property of Plaintiffs’ property through their use,

 transport and disposal of radioactive wastes.

           119.   It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

 wastes.

           120.   The migration of Radon gas and radioactive particles onto the property of Plaintiffs

 and of the Property Damage Subclass caused by Defendants has resulted and continues to result in



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 direct physical interference with the property of Plaintiffs and of the Property Damage Subclass.

 Such contamination is incompatible with the normal use and enjoyment of the property of

 Plaintiffs and of the Property Damage Subclass.

        121.    Plaintiffs did not give Defendants permission or consent to interfere with her

 property in this manner. Through Defendants’ actions and inactions, they are illegally and

 improperly using Plaintiffs’ property to store radioactive wastes.

        122.    The contamination of Plaintiffs’ property with Radon gas and radioactive particles,

 and other hazardous wastes, has resulted in significant damage to the property.

        123.    As a direct and proximate cause of this continuing and recurring physical

 interference, Plaintiffs and the Property Damage Subclass have suffered and continue to suffer

 injury, including decreased property value.

                              COUNT II – PERMANENT NUISANCE
          (brought individually by Plaintiffs and on behalf of the Property Damage Subclass
                                    against all Defendants)

        124.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        125.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        126.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        127.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        128.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.



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        129.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        130.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.

        131.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

        132.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        133.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 SLAPS, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins Plaintiffs’

 property.

        134.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ property.

        135.    The radioactive contamination created a permanent stigma which has and will

 remain attached to the Plaintiffs’ properties and the properties of the Class Members.

        136.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and




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 enjoyment of their property. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

        137.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.

        138.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased

 property value.

                          COUNT III – TEMPORARY NUISANCE
            (brought individually and on behalf of the Property Damage Subclass)

        139.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        140.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

 Missouri, more particularly described above.

        141.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

 Halls Ferry Road, Florissant, Missouri, more particularly described above.

        142.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

 Missouri, more particularly described above.

        143.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

 Florissant, Missouri, more particularly described above.

        144.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

 View Drive, Florissant, Missouri, more particularly described above.

        145.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

 Court, Florissant, Missouri, more particularly described above.




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         146.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

 Hazelwood, Missouri, more particularly described above.

         147.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

 following addresses, more particularly described above:

                 7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
                 7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                 8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
                 8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                 8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

         148.    Defendants unreasonably and unlawfully stored and used radioactive materials at

 the SLAPS Site, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins

 Plaintiffs’ properties.

         149.    The Defendants caused and contributed to the radioactive contamination of

 Plaintiffs’ properties.

         150.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

 around Plaintiffs’ properties, resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their properties. Such contamination is incompatible with the normal use and

 enjoyment of the Plaintiffs’ properties.

         151.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

 substantial.




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        152.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed various hazardous substances into Coldwater Creek resulting in

 unreasonable interference with Plaintiffs’ use and enjoyment of the property.

        153.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site

 and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs

 from using the property.

        154.    As a direct and proximate result of Defendants’ interference with Plaintiffs’ use

 and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                COUNT IV – NEGLIGENCE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        155.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        156.    Radioactive isotopes are known human carcinogens and are among the most toxic

 materials known to man. When property becomes contaminated with these wastes, the dangers

 can persist in the environment for thousands of years. Radioactive wastes should be handled,

 stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

 as low as is reasonably achievable.

        157.    Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

 of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

 of the radioactive wastes in order to prevent significant injury to property and persons.

        158.    Defendants also had a specific duty to warn or notify Plaintiffs of the potential

 hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs




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 of the fact that discharges or releases of these substances had occurred and were likely to occur in

 the future.

         159.   Further, Defendants had a duty to comply with applicable state, federal, and local

 governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,

 and/or disposing of hazardous, toxic, and radioactive waste materials.

         160.   Defendants breached these duties by their reckless, negligent and grossly negligent

 processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials

 as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

 local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

 illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

         into the communities around Coldwater Creek. These actual and continued releases have

 subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

         161.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

 such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

 releases, an omission that was reckless, negligent and grossly negligent.

         162.    Defendants failed to act to prevent their releases from harming Plaintiffs.

         163.   Defendants knew or should have known that their generation, management,

 storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

 alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

 contaminating it with radioactive particles, toxic and other hazardous substances.

         164.   Upon information and belief, Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiffs’ property.



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        165.    Defendants’ negligence throughout the history of the mishandling and improper

 dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

 Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

 disregard of applicable regulations and property rights.

        166.    Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

        167.    The injuries sustained by Plaintiffs are of the kind that do not occur without

 negligence.

        168.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

 by Defendants.

        169.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.

                            COUNT V – NEGLIGENCE PER SE
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        170.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

 as if each were set forth fully herein.

        171.      Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require




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 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

           172.   Plaintiffs are members of the class of persons that the Missouri regulations for

 Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 and Missouri Air Conservation regulations were intended to protect

           173.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri

 regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and

 Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

 regulations were designed to prevent.

           174.   Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

           175.   Defendants’ negligence throughout the history of their mishandling and improper

 dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

 and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

 applicable regulations and disregard for property rights.

           176.   Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

 Plaintiffs’ property value.

           177.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

 any way.




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                COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

         178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

         179.    Defendants engaged in the abnormally dangerous activity of handling, storing,

 and/or disposing of radioactive waste.

         180.    By handling, storing, and/or disposing of radioactive waste, Defendants have

 created and continue to create a high degree of risk of harm to Plaintiffs’ property.

         181.    Defendants have intentionally failed to eliminate the risk of harm caused by their

 handling, storing, and/or disposing of radioactive waste.

         182.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

 property was contaminated with radioactive materials and they suffered and continue to suffer

 injury, including diminished property value. Such contamination is incompatible with the normal

 use and enjoyment of Plaintiff’s Property.

         183.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

 storing, and/or disposing of radioactive waste.

         184.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

 waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

         185.    Accordingly, Defendants are jointly and severally liable for any and all damages

 Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

 radioactive materials, including, without limitation, any incidental or consequential damages.

                               COUNT VII – INJUNCTIVE RELIEF




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     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        186.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        187.    Defendants have tortiously contaminated the property of Plaintiffs and the proposed

 Class with hazardous, toxic, carcinogenic, radioactive wastes.

        188.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of

 the property of Plaintiffs and the proposed Class.

        189.    The radioactive contamination of the property of Plaintiffs and the proposed Class

 has caused a significant increased risk to Plaintiffs and Class members, and therefore Plaintiffs

 and Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

 throughout the Property.

        190.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

 conduct, and does not arise from the innocent conduct of the homeowners.

        191.    Therefore, Plaintiffs seek injunctive and equitable relief to require the Defendants

 to conduct the necessary scientific evaluation of the property of Plaintiffs and the proposed Class,

 consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

 to require the Defendants to respond to the consequences of this tortious contamination by

 providing the necessary medical monitoring in the form of environmental testing, clean-up, and

 medical tests as indicated by the results of the scientific evaluation.

        192.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.



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        193.       Such injunctive and equitable relief will decrease the radioactive contamination

 risks of Coldwater Creek to the property of Plaintiffs and the proposed Class, decrease the

 interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

 damages.

                       COUNT VIII – PUNITIVE DAMAGES
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        194.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        195.       Defendants committed one or more of the willful, wanton and malicious acts more

 fully set forth above which individually or cumulatively justify the award of punitive damages in

 this matter.

        196.       Defendants knew or had information from which, in the exercise of ordinary care,

 should have known that such conduct, as detailed above, created a high degree of probability of

 injury to Plaintiffs and others similarly situated.

        197.       The willful, wanton and malicious acts of Defendants, as detailed above, evidence

 Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiffs, and

 others similarly situated.

                            COUNT IX – CIVIL CONSPIRACY
     (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        198.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        199.       Defendants wrongfully and fraudulently agreed and conspired together to injure

 Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

 alleged herein.



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        200.    Defendants wrongfully and fraudulently agreed and conspired together to take the

 actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

 per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

        201.    As a result of the conspiracy of the Defendants, Plaintiffs and members of the Class

 have suffered damages, as more fully alleged herein.

                       COUNT X – INVERSE CONDEMNATION

    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        202.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        203.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

 operates St. Louis Lambert International Airport, located partially on the SLAPS.

        204.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

 and effectively took the property of Plaintiffs and the Property Damage Subclass for public use

 without just compensation.

        205.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        206.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.




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        207.    The St. Louis Airport Authority, a department of the City of St. Louis, took

 affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

 leached from the site into Coldwater Creek.

        208.    The actions of St. Louis Airport Authority, a department of the City of St. Louis, in

 damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the

 operation and maintenance of St. Louis Lambert International Airport.

        209.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, as alleged herein constituted and invasion and appropriation of the property rights of

 Plaintiffs and the Property Damage Subclass.

        210.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

 as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

 hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

 which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

 property valueless.

                COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                      CONSTITUTION
    (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
        against the St. Louis Airport Authority, a department of the City of St. Louis)

        211.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        212.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

 of life, liberty or property without due process of law.”

        213.    Plaintiffs and Class had, and have, an established constitutional right not to be

 deprived of their personal property without due process of law.



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        214.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

 enjoyment of their land, without due process of law, violated Plaintiffs’ and Class’ due process

 and property rights under Article I § 10 of the Missouri Constitution.

        215.    As a result of Defendants’ conduct, Plaintiffs and Class had, or will have, their

 constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an

 injunction or other equitable relief.

               COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                       CONSTITUTION
                (brought individually and on behalf of the Property Damage Subclass
            against the St. Louis Airport Authority, a department of the City of St. Louis)

        216.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

 though fully set forth herein.

        217.    Article I § 26 of the Missouri Constitution states that “private property shall not be

 taken or damaged for public use without just compensation.”

        218.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

 possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

 warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

 and Coldwater Creek.

        219.    The conduct of the St. Louis Airport Authority, a department of the City of St.

 Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

 carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

 of Plaintiffs and the Property Damage Subclass.



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        220.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

 provided compensation for these takings to Plaintiffs or the Property Damage Subclass.

                                     PRAYER FOR RELIEF

        WHEREFORE, as to each Count, and all Counts, Plaintiffs Tamia Banks, Ronnie Hooks,

 Barbara Hooks, Joel Hogan, Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie

 Jean Clay, Angela Statum, and Missouri Rentals Company, LLC, pray for judgment in favor of

 Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison Company, DJR

 Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the

 City of St. Louis, as well as awarding the following to Plaintiffs and against Defendants:

            a. an award of actual, general, special, incidental, statutory, compensatory and

                consequential damages in an amount to be proven at trial, including compensatory

                damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

                discomfort; damage to Plaintiffs’ personal property; the diminution in the market

                value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

                of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

                relocation;

            b. an award of double damages for malicious trespass as provided for under RSMo. §

                537.330;

            c. an award of punitive and exemplary damages as fair and reasonable in an amount

                sufficient to punish Defendants and to deter similar conduct in the future;

            d. costs and attorney fees;

            e. interest on the above amounts as allowed by law;

            f. for appropriate injunctive and equitable relief, as permitted by law or equity



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              including a preliminary and/or permanent injunction enjoining Defendants from

              continuing the unlawful conduct as set forth herein and directing Defendants to

              identify, with Court supervision, members of the Class in order to compensate them

              and to clean up all contamination, and including medical monitoring; and

           g. for any further relief this Court deems just and proper.

 Dated: October 29, 2019                   Respectfully submitted,

                                           KEANE LAW LLC

                                           /s/ Nathaniel R. Carroll
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                                           Nathaniel R. Carroll, #67988
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                                           and



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                                               2030 Kanawha Boulevard, East
                                               Charleston, WV 25311
                                               Telephone: 304-343-4401
                                               Facsimile: 304-343-4405
                                               Email: kwthompson@gmail.com

                                              Attorneys for Plaintiffs and proposed Class


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 29, 2019, a true and accurate copy of the

 foregoing was served by filing it in the court’s electronic filing system, which will provide

 electronic notice to all parties and attorneys of record.

                                                /s/ Nathaniel R. Carroll




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                                  IN THE CIRCUIT COURT
                              OF ST. LOUIS COUNTY, MISSOURI

 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN,
 KENNETH NIEBLING, KENDALL LACY,                         Civil Action No. 18SL-CC00617-01
 TANJA LACY, WILLIE CLAY, BOBBIE JEAN
 CLAY, ANGELA STATUM, and MISSOURI                       Division No. 18
 RENTALS COMPANY, LLC, on behalf of
 themselves and all others similarly situated,

                               Plaintiffs,

        v.

 COTTER CORPORATION and
 COMMONWEALTH EDISON COMPANY, DJR
 HOLDINGS, INC. f/k/a FUTURA COATINGS,
 INC., and ST. LOUIS AIRPORT AUTHORITY,
 A DEPARTMENT OF THE CITY OF ST.
 LOUIS,

                               Defendants.



                                             [PROPOSED] ORDER

        AND NOW, this _______ day of __________ 2019, upon consideration of Defendant

 Cotter Corporation (N.S.L.)’s (“Cotter”) motion to dismiss Plaintiff’s first amended class-action

 petition (“Motion”), in which Defendant Commonwealth Edison Company has joined, and upon

 consideration of the submissions of the parties relating thereto, and for good cause shown,

        IT IS HEREBY ORDERED that Cotter’s Motion is GRANTED and Plaintiff’s second

 amended class-action petition is DISMISSED in its entirety with prejudice as to Cotter and

 Commonwealth Edison Company.


        IT IS SO ORDERED.

 DATED:
                                                     Hon. Ellen H. Ribaudo
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                   IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                            ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, et al., on behalf of themselves )
and all others similarly situated,           )
                                             )
        Plaintiffs,                          )
                                             )
vs.                                          )             Cause No. 18SL-CC00617-01
                                             )
COTTER CORPORATION,                          )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA              )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE               )
CITY OF ST. LOUIS,                           )
                                             )
        Defendants.                          )

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that Plaintiffs served their First Set of Interrogatories to

Defendant Cotter Corporation and their First Requests for Production to Defendant Cotter

Corporation via electronic mail on this 31st day of January, 2020 to the following counsel of record

and in the format indicated below:

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Dated: January 31, 2020                         Respectfully submitted,

                                                KEANE LAW LLC

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                    IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                             ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, et al., on behalf of themselves )
and all others similarly situated,           )
                                             )
        Plaintiffs,                          )
                                             )
vs.                                          )                Cause No. 18SL-CC00617-01
                                             )
COTTER CORPORATION,                          )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA              )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE               )
CITY OF ST. LOUIS,                           )
                                             )
        Defendants.                          )

                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that Plaintiffs served their First Set of Interrogatories to

Defendant DJR Holdings, Inc. and their First Requests for Production to Defendant DJR Holdings,

Inc. via electronic mail on this 31st day of January, 2020 to the following counsel of record and in the

format indicated below:

       S. Martin Jansky (Microsoft Word format) – martin@janskylaw.com
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Dated: January 31, 2020                            Respectfully submitted,

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                   IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                            ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, et al., on behalf of themselves )
and all others similarly situated,           )
                                             )
        Plaintiffs,                          )
                                             )
vs.                                          )             Cause No. 18SL-CC00617-01
                                             )
COTTER CORPORATION,                          )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA              )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE               )
CITY OF ST. LOUIS,                           )
                                             )
        Defendants.                          )

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that Plaintiffs served their First Set of Interrogatories to

Defendant Commonwealth Edison Company and their First Requests for Production to Defendant

Commonwealth Edison Company via electronic mail on this 31st day of January, 2020 to the

following counsel of record and in the format indicated below:

       Dale A. Guariglia (Microsoft Word format) – daguariglia@bclplaw.com
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                   IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                            ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, et al., on behalf of themselves )
and all others similarly situated,           )
                                             )
        Plaintiffs,                          )
                                             )
vs.                                          )             Cause No. 18SL-CC00617-01
                                             )
COTTER CORPORATION,                          )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA              )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE               )
CITY OF ST. LOUIS,                           )
                                             )
        Defendants.                          )

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that Plaintiffs served their First Set of Interrogatories to

Defendant St. Louis Airport Authority and their First Requests for Production to Defendant St. Louis

Airport Authority via electronic mail on this 31st day of January, 2020 to the following counsel of

record and in the format indicated below:

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Dated: January 31, 2020                         Respectfully submitted,

                                                KEANE LAW LLC

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                  IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                           ST. LOUIS COUNTY, MISSOURI

 TAMIA BANKS, REV. RONNIE HOOKS,       )
 BARBARA HOOKS, JOEL HOGAN,            )
 KENNETH NIEBLING, KENDALL LACY,       )
 TANJA LACY, WILLIE CLAY,              )
 BOBBIE JEAN CLAY, ANGELA STATUM,      )
 and MISSOURI RENTALS COMPANY, LLC,    )
 on behalf of themselves and all others)
 similarly situated,                   )
                                       )
       Plaintiffs,                     )
                                       )
 v.                                    )                 Cause No. 18SL-CC00617-01
                                       )
 COTTER CORPORATION,                   )                 JURY TRIAL DEMANDED
 COMMONWEALTH EDISON COMPANY, )
 DJR HOLDINGS, INC. f/k/a FUTURA       )
 COATINGS, INC., and ST. LOUIS AIRPORT )
 AUTHORITY, A DEPARTMENT OF THE        )
 CITY OF ST. LOUIS,                    )
                                       )
       Defendants.                     )

   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT COMMONWEALTH
      EDISON COMPANY’S MOTION TO DISMISS FOR LACK OF PERSONAL
                              JURISDICTION

        Plaintiffs Tamia Banks, Rev. Ronnie Hooks, Barbara Hooks, Joel Hogan, Kenneth

 Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie Jean Clay, Angela Statum, and Missouri

 Rentals Company, LLC (together, “Plaintiffs”), by and through their counsel of record, hereby

 oppose Defendant Commonwealth Edison Company’s Motion to Dismiss for Lack of Personal

 Jurisdiction pursuant to Missouri Rules of Civil Procedure 55.27(a)(2) and 55.27(a)(6). This Court

 has personal jurisdiction over Commonwealth Edison Company (“ComEd”) based on ComEd’s

 purchase of Cotter Corporation (“Cotter”), ComEd’s agreements to assume the liabilities of Cotter

 throughout various purchases and corporate restructurings, and Cotter’s function as alter ego of

 ComEd after Cotter was purchased. Defendant’s motion should therefore be denied, or in the


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 alternative, the Court should grant discovery on the corporate relationships and any relevant

 agreements between the relevant entities and then grant Plaintiffs leave to amend the petition

 accordingly, if warranted.

                                          INTRODUCTION

         This action arises from Defendants’ negligent dumping and disposing of highly toxic

 radioactive material, such that Plaintiffs and others similarly situated suffered contamination in

 their homes and neighborhoods. Plaintiffs allege in their Second Amended Petition (“SAP”)

 causes of action based on tort law; specifically the SAP alleges that Defendants—including

 ComEd—committed trespass, created a permanent nuisance, created a temporary nuisance,

 committed negligence, committed negligence per se, committed conspiracy, and are subjected to

 strict liability/absolute liability. (See generally, SAP).

                                        RELEVANT FACTS

         Plaintiff filed suit on February 18, 2018 in the Circuit Court of St. Louis County Missouri,

 Twenty-First Judicial Circuit. Subsequently, Plaintiff filed the First Amended Petition (“FAP”) on

 April 2, 2018, adding a count for civil conspiracy. The action was subsequently removed to

 Federal Court on April 18, 2018, but ultimately remanded back to the Twenty-First Judicial Circuit

 on March 29, 2019. Defendants filed a similar motion in state court on April 29, 2019, which

 became moot when Plaintiffs, with leave of the Court, filed their Second Amended Petition

 (“SAP”) on October 29, 2019. Defendant ComEd filed the present Motion to Dismiss on

 November 8, 2019.

         The SAP alleges causes of action based on tort law; specifically, the SAP alleges that

 Defendants—including ComEd—committed trespass, created a permanent nuisance, created a




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 temporary nuisance, committed negligence, committed negligence per se, committed conspiracy,

 and are subjected to strict liability/absolute liability. (See SAP).

         The SAP alleges that Cotter is a Colorado corporation with its principal place of business

 in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a California

 Corporation. (SAP ¶ 28). The SAP further alleges that Cotter “continuously and systematically

 carried on business activities in the State of Missouri in its own name and through its parent

 company ComEd” and that the suit “arises out of damages that resulted from the Cotter

 Defendants’ conduct, including acts and omissions within the State of Missouri, as well as the acts

 and omissions of the predecessors of the Cotter Defendants, which gave rise to the violations of

 state law and damages to property alleged in the Petition.” (SAP ¶ 28). Cotter has not joined

 ComEd’s Motion to Dismiss based on lack of personal jurisdiction, and the Court’s personal

 jurisdiction of Cotter is not in dispute.

         The SAP alleges that ComEd is an Illinois Corporation “whose former subsidiary

 corporation, Cotter, conducted business operations in Missouri.” (SAP ¶ 29). Specifically,

 ComEd “agreed to indemnify Cotter for liabilities associated with the creation, storage,

 transportation, and processing of hazardous, toxic, carcinogenic, radioactive wastes as alleged

 herein.” (SAP ¶ 29.A.) Further, documents filed with the Securities and Exchange Commission

 (“SEC”) admit that “ComEd agreed to indemnity Cotter for any liability arising in connection with

 the West Lake Landfill . . .[and] that the Latty Avenue site is included in ComEd’s indemnification

 responsibilities discussed above as part of the sale of Cotter.” (Exelon Corporation Form 10-Q,

 filed May 2, 2018, p. 152, attached hereto as Exhibit A.).




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                                       LEGAL ANALYSIS

 I.     PLAINTIFFS HAVE ADEQUATELY PLEADED THAT COMED FALLS WITHIN
        MISSOURI’S LONG ARM STATUTE TO ESTABLISH PERSONAL
        JURISDICTION AND DEFENDANT’S MOTION MUST THEREFORE BE
        DENIED

        Defendant’s Motion to Dismiss this action for lack of personal jurisdiction overlooks a

 well-established exception to the general rule regarding the exercise of personal jurisdiction over

 parent companies based on the actions of their subsidiaries. Missouri law is clear. Parent

 companies can consent or agree to personal jurisdiction. Specifically, an agreement or consent to

 transfer liability during a purchase or corporate restructuring can bring a purchaser or parent

 corporation within the personal jurisdiction of the seller and/or subsidiary corporation. Plaintiff

 has adequately alleged that such an agreement exists between the named parties in this suit. If the

 Court finds Plaintiff’s allegations on this point insufficient, Plaintiff should be permitted to

 conduct further discovery into the corporate structure and agreements of the various defendants

 and to amend their Petition.

        A.      Legal Standard

        Plaintiffs have the burden of establishing personal jurisdiction when it is challenged.

 Bryant v. Smith Interior Design Group, Inc., 310 S.W.3d 227, 231 (Mo. banc. 2010). The question

 turns on whether the pleadings, taken as true, establish adequate facts to invoke Missouri’s long

 arm statute and support a finding of minimum contacts sufficient to satisfy due process. Id. The

 facts must be construed in the light most favorable to a finding of jurisdiction. Moore v. Christian

 Fidelity Life Ins. Co., 687 S.W.2d 210, 211 (Mo. App. 1984) (“In the assessment of that proof, the

 allegations of the petition are given an intendment most favorable to the existence of the

 jurisdictional fact.”). A court may consider affidavits if properly filed. Bryant, 310 S.W.3d at

 231.

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        Under Missouri law, the test to establish personal jurisdiction has two components.

Conway v. Royalite Plastics, Ltd., 12 S.W.3d 314, 318 (Mo. banc. 2000). First, the defendant’s

conduct must satisfy Missouri’s long-arm statute, section 506.500. Id. Once the long-arm statute

is satisfied, the second step requires the Court to consider whether the defendant has sufficient

minimum contacts with Missouri to comport with due process. Conway, 12 S.W.3d at 318.

        B.      This Missouri Court Has Personal Jurisdiction Over ComEd Via Missouri’s
                Long-Arm Statute.

        Defendant does not dispute that Plaintiff has adequately pleaded a tortious course of

conduct pursuant to Missouri’s long-arm statute, and thus concedes Plaintiffs have satisfied the

first element of the personal jurisdiction test by pleading Defendants have committed a tortious act

within the state of Missouri. See R.S.Mo. § 506.500.1(3) (“Any person or firm, whether or not a

citizen or resident of this state, or any corporation, who in person or through an agent does any of

the acts enumerated in this section, thereby submits such a person, firm, or corporation . . . to the

jurisdiction of the courts of this state as to any cause of action arising from . . . (3) The commission

of a tortious act within the state….”).

        Missouri’s long-arm statute is construed to extend the reach of Missouri’s personal

jurisdiction to the maximum extent permissible under the Due Process Clause of the Constitution.

Bryant, 310 S.W.3d at 232. “If a defendant can reasonably foresee his or her negligent actions

having consequences felt in Missouri, jurisdiction is authorized.” Myers v. Casino Queen, Inc.,

689 F.3d 904, 911 (8th Cir. 2012) (analyzing and applying Missouri Supreme Court precedent,

which “lead[s] us to believe foreseeability is the standard to be applied when evaluating whether

jurisdiction is appropriate over a tortious act occurring in another state with actionable

consequences in Missouri.”).




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       Here, there is no doubt that ComEd would have performed its due diligence before

purchasing Cotter in 1974, and thus ComEd knew or should have known that it was purchasing

Cotter’s hazardous and uncontained radioactive waste as well. (SAP ¶¶ 29, 163) Furthermore,

given the extremely hazardous and free-roaming nature of uncontained radioactive waste, ComEd

could certainly foresee that the mere act of owning Cotter and its radioactive waste piles in

Missouri—and failing to remove, remediate, or otherwise contain those radioactive emissions—

would foreseeably cause harm to nearby Missourians such that ComEd would be subjected to tort

claims for negligence (SAP ¶¶ 155-169) and strict liability (SAP ¶¶ 178-185). See Empiregas,

Inc., of Noel v. Hoover Ball & Bearing Co., 507 S.W.2d 657, 661 (Mo. 1974) (reversing trial

court’s dismissal based on lack of personal jurisdiction where amended petition alleged four

foreign corporations were strictly liable and negligent for Missouri explosion of train carrying

hazardous chemicals); see also State ex rel. Birdsboro Corp. v. Kimberlin, 461 S.W.2d 292 (Mo.

App. 1970) (petition’s general allegations of negligence against foreign corporation who

committed tort in Missouri held to be sufficient); Myers v. Casino Queen, Inc., 689 F.3d 904 (8th

Cir. 2012) (Illinois casino subject to Missouri’s long-arm specific jurisdiction where it was

foreseeable that plaintiff would be robbed in Missouri of his large winnings on his way home from

the casino).

       C.      Under Missouri Law, whether a defendant will be subjected to specific
               jurisdiction may be established by the contacts of another entity where there
               is a transfer of the liabilities between entities.

       Contrary to Defendant’s argument—which frequently conflates the distinctions between

the general and specific jurisdiction as they relate to personal jurisdiction—ComEd is subject to

personal jurisdiction in Missouri because ComEd assumed Cotter’s liabilities in Missouri when it

purchased Cotter, who undisputedly had sufficient contacts with Missouri. See Green v.



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Montgomery Ward & Co., Inc., 775 S.W.2d 162, 165 (Mo. App. W.D. 1989), applying Tucker v.

Paxon Machine Co., 645 F.2d 620, 622 (8th Cir. 1981).

       Missouri law is unambiguous on this point. The liabilities of the transferor are assumed

by a corporate transferee in any of the following four instances: “(1) where the purchaser agrees,

either expressly or impliedly, to assume such debts; (2) where the transaction is a consolidation or

merger; (3) where the purchasing corporation is simply a mere continuation of the seller; and (4)

where the transaction was entered into to escape liability for such debts on a fraudulent basis.”

Green, 775 S.W.2d at 165, citing Tucker, 645 F.2d at 622.

       Next, in a circumstance where the transferee has assumed the liabilities, they will be

subjected to personal jurisdiction in the forum state where the transferor had sufficient contacts to

allow an exercise of personal jurisdiction. Green, 775 S.W. 2d at 166; Bennett v. Rapid American

Corp., 816 S.W.2d 677 (Mo. banc 1981); see also Ostrem v. Prideco Secure Loan Fund LP, 841

N.W.2d 882, 897 (Iowa 2014); Jeffrey v. Rapid American Corp., 529 N.W.2d 644 (Mich. 1995);

Williams v. Bowman Livestock Equipment Co., 927 F.2d 1128, 1132 (10th Cir. 1991); City of

Richmond, Virginia v. Madison Management Group, Inc., 918 F.2d 438, 454-55 (4th Cir. 1990);

Duris v. Erato Shipping, Inc., 684 F.2d 352, 356 (6th Cir. 1982) cert. granted on other grounds,

459 U.S. 1014 (1982); United States v. Bliss, 108 F.R.D. 127, 133-34 (E.D. Mo. 1985).

       Here, Plaintiffs alleged that when ComEd purchased Cotter in 1974, Cotter became a

wholly owned subsidiary of ComEd, who then owned Cotter until 2000. (SAP ¶ 28.) Assuming

the truth of that assertion—as this Court must—Plaintiffs readily clear the first of two hurdles

established in Green, because ComEd expressly or impliedly assumed the liabilities of Cotter in

1974, which is further evidenced by ComEd’s agreement to indemnify Cotter after selling Cotter

in February 2000. See Green, 775 S.W.2d at 164. As for the second hurdle, there is no dispute



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that Cotter has sufficient contacts to establish specific jurisdiction over this matter, and therefore,

as a matter of law, ComEd is subject to Missouri’s personal jurisdiction. See Green, 775 S.W. 2d

at 166.

          Moreover, Defendants’ own submissions and documents admit the existence of an

agreement. Even though Plaintiffs have not yet had an adequate opportunity to conduct discovery

into the corporate relationship between Cotter and ComEd, public filings with the SEC also show

an agreement by ComEd to indemnify Cotter in connection with that sale for actions specifically

related to Cotter’s mishandling of the same radioactive waste—in the state of Missouri—at issue

here.1 The assumption of Cotter’s liability is dispositive on this issue. In sum, Defendant ComEd

has consented and agreed to assume Cotter’s liabilities; they have thereby consented to an

obligation to stand up in Court wherever Cotter is subject to personal jurisdiction, including the

instant lawsuit, and to substitute itself for Cotter on the issue of personal jurisdiction.

          Defendant’s arguments that ComEd’s indemnity agreements have no legal significance on

the question of personal jurisdiction is flat-out wrong. Notably, they cite no case law for this

proposition, and Plaintiffs’ research has confirmed that no Missouri case law exists to support

Defendant’s argument.




1
 See Ex. A, attached hereto, at p. 152. See also Form 10-Q, Excelon Corporation Quarterly
Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 for the Quarter
Ended June 30, 2001, at p. 25, available at
https://www.sec.gov/Archives/edgar/data/22606/000095015901500230/exelon6-01q.txt (“On
February 18, 2000, ComEd sold Cotter to an unaffiliated third party. As part of the sale, ComEd
agreed to indemnify Cotter for any liability incurred by Cotter…”). See also Form 10-K, Excelon
Corp – EXC, Filed Feb. 7, 2008, at p. 309, available at
https://www.exeloncorp.com/sustainability/Documents/pdf_EXELONCORP10K.pdf.
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        D.      Alternatively, even if the Court finds, arguendo, that Plaintiffs have not
                adequately pleaded grounds for personal jurisdiction over ComEd, the Court
                should allow Plaintiffs to conduct discovery into the relationships and
                agreements between ComEd and the other Defendants and re-plead, if
                warranted.

        Even though Plaintiffs’ SAP contains sufficient allegations for this Court to establish

personal jurisdiction over ComEd, if the Court finds the ultimate question of personal jurisdiction

is lacking, it should permit Plaintiffs to conduct discovery on this issue and to replead, if necessary.

Past precedent requires discovery and liberal amendment when confronted with an issue of this

complexity. See Green, 775 S.W.2d at 166 (remanding for further discovery on predecessor

corporations’ contacts with the state of Missouri for determining personal jurisdiction over

successor in interest to wood saw manufacturer); Bennett, 816 S.W.2d at 679-680 (Missouri

Supreme Court reversed trial court order dismissing petitions against successor corporation for

lack of personal jurisdiction and remanded with directions to trial court to permit amendment);

Mo. R. Civ. P. 55.33 (leave to amend “shall be freely given when justice so requires.”).

II.     DISMISSAL ON THE ISSUE OF PREDECESSOR/SUCCESSOR LIABILITY
        WOULD BE PREMATURE AT THIS TIME; PLAINTIFFS ADEQUATELY
        ALLEGED GROUNDS UPON WHICH COMED MAY BE HELD LIABLE TO
        PLAINTIFFS

        Missouri law prefers a trial on the merits and courts should interpret the law consistently

with this preference. Goe v. City of Mexico, 64 S.W. 3d 836 (Mo. App. E.D. 2001). A petition

will be found sufficient to withstand a motion to dismiss where it invokes the substantive

principles of the law which entitle plaintiffs to relief and facts which inform the defendant of

what plaintiffs will attempt to establish at trial. Scheibel v. Hillis, 531 S.W.2d 285, 290 (Mo.

banc 1976). A court must not dismiss a suit unless the plaintiff will be unable to prove any set

of facts that would entitle her to relief. Goe, 64 S.W.3d at 839. “A pleader is required to state

only the ultimate facts and it is not necessary to plead the facts or circumstances by which the


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ultimate facts will be established.” Scheibel, 531 S.W. 2d at 290.

       “To pierce the corporate veil, a plaintiff must meet a two-part test: first, the corporation

must be controlled and influenced by persons or another corporation; second, evidence must

establish that the corporate cloak was used as a subterfuge to defeat public convenience, to justify

a wrong, or to perpetuate a fraud.” Edward D. Gevers Heating & Air Conditioning Co. v. R.

Webbe Corp., 885 S.W.2d 771, 773 (Mo. App. E.D. 1994). “Implicit in this test for piercing the

corporate veil is the requirement that the wrong done be the proximate cause of the injury to third

persons who dealt with the corporation.” Id. at 773-74, citing Collet v. American Nat. Stores,

Inc., 708 S.W.2d 273, 284 (Mo. App. E.D. 1986).

       ComEd argues that Plaintiffs meet neither the alter ego test of liability nor an agency

theory of liability, and that the Second Amended Complaint is “completely devoid of any

allegation that ComEd exercised such control or dominion over Cotter such that jurisdiction exists

over ComEd, or that Cotter was an ‘in-state subsidiary.” (Def.’s Mot. at p. 10). This statement

ignores Plaintiffs’ clear allegations of ComEd’s control and dominion over Cotter, which include:

           •   “When ComEd purchased Cotter, it assumed Cotter’s liabilities by its own

               corporate policies and by law and was obligated to require its subsidiary to

               comply with the rules and regulations in Missouri …”;

           •   “ComEd furthermore assumed the environmental safety and health functions of

               its subsidiary, Cotter”;

           •   “ComEd, through its pre-purchase due diligence, knew about the remaining

               contamination, yet did nothing to mitigate the threat to public health, such that

               ComEd is liable as a corporate successor to Cotter”;

           •   “After the sale of Cotter to ComEd, they jointly conspired to perpetuate the fraud

               that there was no radioactive contamination remaining with respect to Cotter’s

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               abandoned operations.”;

           •   “…ComEd controlled the policy and business of Cotter to perpetuate the

               negligent and unlawful contamination in contravention of Plaintiffs’ and the

               Class Members’ rights, and ComEd’s control over Cotter was the proximate

               cause of the contamination to Plaintiffs’ and the Class Members’ properties.”

(SAP ¶ 29B at pp. 9-10) (emphasis added).

       Taken together, Plaintiffs’ allegations state that ComEd controlled Cotter’s policy and

business after the merger (the first element of veil-piercing) to ignore and to cover up the fact that

Cotter had left radioactive contamination, (“the corporate cloak was used as a subterfuge to defeat

public convenience, to justify a wrong, or to perpetuate a fraud”), and rather than remediate the

mess Cotter left behind, ComEd chose to cover up the existence of radioactive contamination for

over 25 years while the radiation actively and continuously poisoned Missourians nearby, hoping

that no one would ever notice, while the radioactive contamination continuously harmed

Plaintiffs and Class Members for generations. See Edward D. Gevers, 885 S.W.2d at 773-74.

       It is disingenuous to pretend that Plaintiffs have not alleged that ComEd’s control over

Cotter was not designed as “a subterfuge to defeat public convenience” for the contamination

Cotter caused and ComEd concealed for decades, and that ComEd’s control over Cotter in

concealing the contamination was the proximate cause of ongoing injury to third persons. See

Edward D. Gevers Heating & Air Conditioning Co. v. R. Webbe Corp., 885 S.W.2d 771, 773-74

(Mo. App. E.D. 1994).

       But that is not the end of the analysis. ComEd claims the Second Amended Petition fails

to allege any direct involvement by ComEd relating to the events giving rise to the SAP.

However, there are exceptions to the general legal concept of successor non-liability, which serve

to protect the interests of creditors from transactions fashioned to avoid obligations incurred in

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the course of business. See 13 A.L.R.6th 355 (Originally published in 2006). These exceptions

are both relevant to the concept of personal jurisdiction, as discussed above; they also can be used

to establish liability.

        A transferee will be liable for a transferor’s debts and liabilities when (1) the purchaser

expressly or impliedly agrees to assume the debts and liabilities; (2) when the transaction amounts

to a consolidation or merger of the corporation; (3) when the purchasing corporation is merely a

continuation of the selling corporation; and (4) when the transaction is entered into fraudulently

in order to escape liability. Chemical Design, Inc. v. American Standard, Inc., 847 S.W.2d 488,

492 (Mo. App. E.D. 1993) (citing Young v. Fulton Iron Works Co., 709 S.W.2d 927, 938 (Mo

App. S.D. 1986); see also Green, 775 S.W.2d at 164.

        Plaintiffs’ SAP alleges that ComEd is liable for the acts and omissions of its predecessors.

(SAP ¶¶ 28-29). These allegations are consistent with invoking the exceptions to successor (or

transferee) liability. Moreover, the SAP also alleges the existence of ComEd’s agreement to

indemnify Cotter upon its sale in 2000. (SAP ¶ 29). Logically, this allegation means that when

ComEd purchased Cotter in 1974, there was an agreement, either express or implied, to assume

the debts and liabilities of the predecessor corporation, Cotter. The Second Amended Petition

thus adequately includes allegations from which a reasonable person could infer that one of the

exceptions against imposing liability upon a transferee corporation applies.

        Moreover, under Missouri law, the determination of whether one of the exceptions to

successor non-liability applies is fact-specific.     Chemical Design Inc., 847 S.W.2d at 493

(considering on summary judgment successor corporation’s product line, sales territory, and

involvement of prior officers); Green, 775 S.W.2d at 166 (finding transferee Magna to be a

continuation of Yuba based on the fact that they assembled Yuba’s product from assets acquired

in the merger); Gorsuch v. Formtek Metal Forming, Inc., 803 F.Supp.2d 1016, 1023 (E.D. Mo.

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2011) (applying Missouri law and considering on summary judgment the nature of the original

transaction forming the new corporate enterprises, the use of the predecessor corporation’s name

in doing business, and the use of assets and manufacturing practices).

       Plaintiffs here have not had an opportunity to conduct adequate discovery in this matter.2

They should be given the opportunity to inquire into the specifics of the various corporate

transactions between ComEd and other entities related to Cotter and the radioactive materials.

Plaintiffs should also be permitted to inquire into the nature of any agreements between the

Defendants, the distribution of their assets, the composition of their control groups, the use of

subsidiaries’ names and product lines, etc. At this early stage, there are insufficient facts available

in the proceedings for a court to conclude that ComEd does not fall into one of the recognized

exceptions establishing transferee liability. Plaintiffs should be permitted to conduct discovery on

this point to further develop their theory that ComEd—through either its agreements, the nature of

the various transactions, or the method of conducting business—assumed the liabilities of its

predecessor, Cotter.

                                          CONCLUSION

       Because Plaintiffs have sufficiently alleged that ComEd assumed the liabilities of Cotter—

over whom this Court has undisputed personal jurisdiction—when it purchased Cotter, this Court

has specific personal jurisdiction over Defendant ComEd through Missouri’s long-arm statute or

through ComEd’s actions as alter-ego of Cotter, and should deny ComEd’s Motion to Dismiss for

Lack of Personal Jurisdiction. Further, because Plaintiffs have sufficiently pleaded facts that could




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 Plaintiffs served their First Interrogatories and First Requests for Production to each Defendant
on January 31, 2020.


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establish ComEd’s transferee liability for Cotter’s actions, this Court should likewise deny

ComEd’s Motion to Dismiss for Failure to State a Claim. In the alternative, if this Court finds

Plaintiffs’ allegations insufficient on any of the above grounds, Plaintiffs respectfully request leave

of the Court to conduct discovery related to the Defendants’ corporate transactions and agreements

and to re-plead, if warranted.

Dated: February 4, 2020                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 4, 2020, a true and accurate copy of
the foregoing was served by filing it in the court’s electronic filing system, which will provide
electronic notice and a copy of the filing to all parties and attorneys of record.

                                              /s/ Nathaniel R. Carroll




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                                   EXELON CORP



                                             FORM        10-Q
                                              (Quarterly Report)




       Filed 05/02/18 for the Period Ending 03/31/18




             Address             PO BOX 805398
                                 CHICAGO, IL, 60680-5398
        Telephone                3123947399
                CIK              0001109357
            Symbol               EXC
         SIC Code                4911 - Electric Services
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                                UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                     Washington, D.C. 20549
                                                                         FORM 10-Q
x QUARTERLY REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                       For the Quarterly Period Ended March 31, 2018
                                                              or

o   TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934

Commission        Name of Registrant; State or Other Jurisdiction of Incorporation; Address of Principal Executive Offices; and
File Number       Telephone Number                                                                                                IRS Employer Identification Number

1-16169           EXELON CORPORATION                                                                                                                     XX-XXXXXXX
                  (a Pennsylvania corporation)
                  10 South Dearborn Street
                  P.O. Box 805379
                  Chicago, Illinois 60680-5379
                  (800) 483-3220

333-85496         EXELON GENERATION COMPANY, LLC                                                                                                         XX-XXXXXXX
                  (a Pennsylvania limited liability company)
                  300 Exelon Way
                  Kennett Square, Pennsylvania 19348-2473
                  (610) 765-5959

1-1839            COMMONWEALTH EDISON COMPANY                                                                                                            XX-XXXXXXX
                  (an Illinois corporation)
                  440 South LaSalle Street
                  Chicago, Illinois 60605-1028
                  (312) 394-4321

000-16844         PECO ENERGY COMPANY                                                                                                                    XX-XXXXXXX
                  (a Pennsylvania corporation)
                  P.O. Box 8699
                  2301 Market Street
                  Philadelphia, Pennsylvania 19101-8699
                  (215) 841-4000

1-1910            BALTIMORE GAS AND ELECTRIC COMPANY                                                                                                     XX-XXXXXXX
                  (a Maryland corporation)
                  2 Center Plaza
                  110 West Fayette Street
                  Baltimore, Maryland 21201-3708
                  (410) 234-5000

001-31403         PEPCO HOLDINGS LLC                                                                                                                     XX-XXXXXXX
                  (a Delaware limited liability company)
                  701 Ninth Street, N.W.
                  Washington, District of Columbia 20068
                  (202) 872-2000


001-01072         POTOMAC ELECTRIC POWER COMPANY                                                                                                         XX-XXXXXXX
                  (a District of Columbia and Virginia corporation)
                  701 Ninth Street, N.W.
                  Washington, District of Columbia 20068
                  (202) 872-2000


001-01405         DELMARVA POWER & LIGHT COMPANY                                                                                                         XX-XXXXXXX
                  (a Delaware and Virginia corporation)
                  500 North Wakefield Drive
                  Newark, Delaware 19702
                  (202) 872-2000


001-03559         ATLANTIC CITY ELECTRIC COMPANY                                                                                                         XX-XXXXXXX
                  (a New Jersey corporation)
                  500 North Wakefield Drive
                  Newark, Delaware 19702
                  (202) 872-2000
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    Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the
preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past
90 days. Yes x      No o
    Indicate by check mark whether the registrant has submitted electronically and posted on its corporate web site, if any, every Interactive Data File required to be submitted
and posted pursuant to Rule 405 of Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to
submit and post such files). Yes x      No o
    Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an emerging growth
company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller reporting company,” and "emerging growth company" in Rule 12b-2 of the Exchange Act.


                                                                                                                                 Smaller Reporting         Emerging Growth
                                               Large Accelerated Filer      Accelerated Filer        Non-accelerated Filer          Company                   Company
Exelon Corporation                                       x
Exelon Generation Company, LLC                                                                                x
Commonwealth Edison Company                                                                                   x
PECO Energy Company                                                                                           x
Baltimore Gas and Electric Company                                                                            x
Pepco Holdings LLC                                                                                            x
Potomac Electric Power Company                                                                                x
Delmarva Power & Light Company                                                                                x
Atlantic City Electric Company                                                                                x
     If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. o
     Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Act). Yes o No x
     The number of shares outstanding of each registrant’s common stock as of March 31, 2018 was:

Exelon Corporation Common Stock, without par value                                                                                         965,381,919
Exelon Generation Company, LLC                                                                                                            not applicable
Commonwealth Edison Company Common Stock, $12.50 par value                                                                                 127,021,264
PECO Energy Company Common Stock, without par value                                                                                        170,478,507
Baltimore Gas and Electric Company Common Stock, without par value                                                                            1,000
Pepco Holdings LLC                                                                                                                        not applicable
Potomac Electric Power Company Common Stock, $0.01 par value                                                                                   100
Delmarva Power & Light Company Common Stock, $2.25 par value                                                                                  1,000
Atlantic City Electric Company Common Stock, $3.00 par value                                                                                8,546,017
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Exelon                                               Exelon Corporation
Generation                                           Exelon Generation Company, LLC
ComEd                                                Commonwealth Edison Company
PECO                                                 PECO Energy Company
BGE                                                  Baltimore Gas and Electric Company
Pepco Holdings or PHI                                Pepco Holdings LLC (formerly Pepco Holdings, Inc.)
Pepco                                                Potomac Electric Power Company
DPL                                                  Delmarva Power & Light Company
ACE                                                  Atlantic City Electric Company
Registrants                                          Exelon, Generation, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE, collectively
Utility Registrants                                  ComEd, PECO, BGE, Pepco, DPL and ACE, collectively
Legacy PHI                                           PHI, Pepco, DPL and ACE, collectively
ACE Funding or ATF                                   Atlantic City Electric Transition Funding LLC
Antelope Valley                                      Antelope Valley Solar Ranch One
BondCo                                               RSB BondCo LLC
BSC                                                  Exelon Business Services Company, LLC
CENG                                                 Constellation Energy Nuclear Group, LLC
ConEdison Solutions                                  The competitive retail electricity and natural gas business of Consolidated Edison
                                                     Solutions, Inc., a subsidiary of Consolidated Edison, Inc.
Constellation                                        Constellation Energy Group, Inc.
EEDC                                                 Exelon Energy Delievery Company, LLC
EGR IV                                               ExGen Renewables IV, LLC
EGTP                                                 ExGen Texas Power, LLC
Entergy                                              Entergy Nuclear FitzPatrick, LLC
Exelon Corporate                                     Exelon in its corporate capacity as a holding company
Exelon Transmission Company                          Exelon Transmission Company, LLC
Exelon Wind                                          Exelon Wind, LLC and Exelon Generation Acquisition Company, LLC
FitzPatrick                                          James A. FitzPatrick nuclear generating station
PCI                                                  Potomac Capital Investment Corporation and its subsidiaries
PEC L.P.                                             PECO Energy Capital, L.P.
PECO Trust III                                       PECO Capital Trust III
PECO Trust IV                                        PECO Energy Capital Trust IV
Pepco Energy Services or PES                         Pepco Energy Services, Inc. and its subsidiaries
PHI Corporate                                        PHI in its corporate capacity as a holding company
PHISCO                                               PHI Service Company
RPG                                                  Renewable Power Generation
SolGen                                               SolGen, LLC

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                                        GLOSSARY OF TERMS AND ABBREVIATIONS
Other Terms and Abbreviations
TMI                                                Three Mile Island nuclear facility
UII                                                Unicom Investments, Inc.
Note “—” of the Exelon 2017 Form 10-K              Reference to specific Combined Note to Consolidated Financial Statements within
                                                   Exelon’s 2017 Annual Report on Form 10-K
AEC                                                Alternative Energy Credit that is issued for each megawatt hour of generation
                                                   from a qualified alternative energy source
AESO                                               Alberta Electric Systems Operator
AFUDC                                              Allowance for Funds Used During Construction
AGE                                                Albany Green Energy Project
AMI                                                Advanced Metering Infrastructure
AMP                                                Advanced Metering Program
AOCI                                               Accumulated Other Comprehensive Income
ARC                                                Asset Retirement Cost
ARO                                                Asset Retirement Obligation
ARP                                                Alternative Revenue Program
CAISO                                              California ISO
CAP                                                Customer Assistance Program
CCGTs                                              Combined-Cycle Gas Turbines
CERCLA                                             Comprehensive Environmental Response, Compensation and Liability Act of
                                                   1980, as amended
CES                                                Clean Energy Standard
Clean Air Act                                      Clean Air Act of 1963, as amended
Clean Water Act                                    Federal Water Pollution Control Amendments of 1972, as amended
Conectiv                                           Conectiv, LLC, a wholly owned subsidiary of PHI and the parent of DPL and ACE
Conectiv Energy                                    Conectiv Energy Holdings, Inc. and substantially all of its subsidiaries, which were
                                                   sold to Calpine in July 2010
CSAPR                                              Cross-State Air Pollution Rule
D.C. Circuit Court                                 United States Court of Appeals for the District of Columbia Circuit
DC PLUG                                            District of Columbia Power Line Undergrounding Initiative
DCPSC                                              District of Columbia Public Service Commission
Default Electricity Supply                         The supply of electricity by PHI’s electric utility subsidiaries at regulated rates to
                                                   retail customers who do not elect to purchase electricity from a competitive
                                                   supplier, and which, depending on the jurisdiction, is also known as Standard
                                                   Offer Service or BGS
DOE                                                United States Department of Energy
DOJ                                                United States Department of Justice
DPSC                                               Delaware Public Service Commission
DRP                                                Direct Stock Purchase and Dividend Reinvestment Plan

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                                     GLOSSARY OF TERMS AND ABBREVIATIONS
Other Terms and Abbreviations
DSP                                             Default Service Provider
EDF                                             Electricite de France SA and its subsidiaries
EE&C                                            Energy Efficiency and Conservation/Demand Response
EIMA                                            Energy Infrastructure Modernization Act (Illinois Senate Bill 1652 and Illinois
                                                House Bill 3036)
EmPower                                         A Maryland demand-side management program for Pepco and DPL
EPA                                             United States Environmental Protection Agency
EPSA                                            Electric Power Supply Association
ERCOT                                           Electric Reliability Council of Texas
ERISA                                           Employee Retirement Income Security Act of 1974, as amended
EROA                                            Expected Rate of Return on Assets
ESPP                                            Employee Stock Purchase Plan
FASB                                            Financial Accounting Standards Board
FEJA                                            Illinois Public Act 99-0906 or Future Energy Jobs Act
FERC                                            Federal Energy Regulatory Commission
FRCC                                            Florida Reliability Coordinating Council
GAAP                                            Generally Accepted Accounting Principles in the United States
GCR                                             Gas Cost Rate
GHG                                             Greenhouse Gas
GSA                                             Generation Supply Adjustment
GWh                                             Gigawatt hour
IBEW                                            International Brotherhood of Electrical Workers
ICC                                             Illinois Commerce Commission
ICE                                             Intercontinental Exchange
Illinois EPA                                    Illinois Environmental Protection Agency
Illinois Settlement Legislation                 Legislation enacted in 2007 affecting electric utilities in Illinois
Integrys                                        Integrys Energy Services, Inc.
IPA                                             Illinois Power Agency
IRC                                             Internal Revenue Code
IRS                                             Internal Revenue Service
ISO                                             Independent System Operator
ISO-NE                                          Independent System Operator New England Inc.
ISO-NY                                          Independent System Operator New York
kV                                              Kilovolt
kW                                              Kilowatt
kWh                                             Kilowatt-hour
LIBOR                                           London Interbank Offered Rate
LLRW                                            Low-Level Radioactive Waste

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                                   GLOSSARY OF TERMS AND ABBREVIATIONS
Other Terms and Abbreviations
LT Plan                                       Long-term renewable resources procurement plan
LTIP                                          Long-Term Incentive Plan
MAPP                                          Mid-Atlantic Power Pathway
MATS                                          U.S. EPA Mercury and Air Toxics Rule
MBR                                           Market Based Rates Incentive
MDE                                           Maryland Department of the Environment
MDPSC                                         Maryland Public Service Commission
MGP                                           Manufactured Gas Plant
MISO                                          Midcontinent Independent System Operator, Inc.
mmcf                                          Million Cubic Feet
Moody’s                                       Moody’s Investor Service
MOPR                                          Minimum Offer Price Rule
MRV                                           Market-Related Value
MW                                            Megawatt
MWh                                           Megawatt hour
n.m.                                          not meaningful
NAAQS                                         National Ambient Air Quality Standards
NAV                                           Net Asset Value
NDT                                           Nuclear Decommissioning Trust
NEIL                                          Nuclear Electric Insurance Limited
NERC                                          North American Electric Reliability Corporation
NGS                                           Natural Gas Supplier
NJBPU                                         New Jersey Board of Public Utilities
NJDEP                                         New Jersey Department of Environmental Protection
Non-Regulatory Agreements Units               Nuclear generating units or portions thereof whose decommissioning-related
                                              activities are not subject to contractual elimination under regulatory accounting
NOSA                                          Nuclear Operating Services Agreement
NPDES                                         National Pollutant Discharge Elimination System
NRC                                           Nuclear Regulatory Commission
NSPS                                          New Source Performance Standards
NUGs                                          Non-utility generators
NWPA                                          Nuclear Waste Policy Act of 1982
NYMEX                                         New York Mercantile Exchange
NYPSC                                         New York Public Service Commission
OCI                                           Other Comprehensive Income
OIESO                                         Ontario Independent Electricity System Operator
OPC                                           Office of People’s Counsel
OPEB                                          Other Postretirement Employee Benefits
PA DEP                                        Pennsylvania Department of Environmental Protection

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                                      GLOSSARY OF TERMS AND ABBREVIATIONS
Other Terms and Abbreviations
PAPUC                                            Pennsylvania Public Utility Commission
PGC                                              Purchased Gas Cost Clause
PJM                                              PJM Interconnection, LLC
POLR                                             Provider of Last Resort
POR                                              Purchase of Receivables
PPA                                              Power Purchase Agreement
Price-Anderson Act                               Price-Anderson Nuclear Industries Indemnity Act of 1957
Preferred Stock                                  Originally issued shares of non-voting, non-convertible and non-transferable
                                                 Series A preferred stock, par value $0.01 per share
PRP                                              Potentially Responsible Parties
PSEG                                             Public Service Enterprise Group Incorporated
PV                                               Photovoltaic
RCRA                                             Resource Conservation and Recovery Act of 1976, as amended
REC                                              Renewable Energy Credit which is issued for each megawatt hour of generation
                                                 from a qualified renewable energy source
Regulatory Agreement Units                       Nuclear generating units or portions thereof whose decommissioning-related
                                                 activities are subject to contractual elimination under regulatory accounting
RES                                              Retail Electric Suppliers
RFP                                              Request for Proposal
Rider                                            Reconcilable Surcharge Recovery Mechanism
RGGI                                             Regional Greenhouse Gas Initiative
RMC                                              Risk Management Committee
ROE                                              Return on equity
RPM                                              PJM Reliability Pricing Model
RPS                                              Renewable Energy Portfolio Standards
RSSA                                             Reliability Support Services Agreement
RTEP                                             Regional Transmission Expansion Plan
RTO                                              Regional Transmission Organization
S&P                                              Standard & Poor’s Ratings Services
SEC                                              United States Securities and Exchange Commission
Senate Bill 1                                    Maryland Senate Bill 1
SERC                                             SERC Reliability Corporation (formerly Southeast Electric Reliability Council)
SGIG                                             Smart Grid Investment Grant from DOE
SILO                                             Sale-In, Lease-Out
SNF                                              Spent Nuclear Fuel
SOS                                              Standard Offer Service
SPFPA                                            Security, Police and Fire Professionals of America

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                                   GLOSSARY OF TERMS AND ABBREVIATIONS
Other Terms and Abbreviations
SPP                                           Southwest Power Pool
TCJA                                          Tax Cuts and Jobs Act
Transition Bond Charge                        Revenue ACE receives, and pays to ACE Funding, to fund the principal and
                                              interest payments on Transition Bonds and related taxes, expenses and fees
Transition Bonds                              Transition Bonds issued by ACE Funding
Upstream                                      Natural gas exploration and production activities
VIE                                           Variable Interest Entity
WECC                                          Western Electric Coordinating Council
ZEC                                           Zero Emission Credit
ZES                                           Zero Emission Standard

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                                                                  FILING FORMAT

     This combined Form 10-Q is being filed separately by Exelon Corporation, Exelon Generation Company, LLC, Commonwealth Edison
Company, PECO Energy Company, Baltimore Gas and Electric Company, Pepco Holdings LLC, Potomac Electric Power Company, Delmarva
Power & Light Company and Atlantic City Electric Company (Registrants). Information contained herein relating to any individual Registrant is filed
by such Registrant on its own behalf. No Registrant makes any representation as to information relating to any other Registrant.


                               CAUTIONARY STATEMENTS REGARDING FORWARD-LOOKING INFORMATION

       This Report contains certain forward-looking statements within the meaning of the Private Securities Litigation Reform Act of 1995, that are
subject to risks and uncertainties. The factors that could cause actual results to differ materially from the forward-looking statements made by the
Registrants include those factors discussed herein, as well as the items discussed in (1) the Registrants' combined 2017 Annual Report on Form 10-
K in (a) ITEM 1A. Risk Factors, (b) ITEM 7. Management’s Discussion and Analysis of Financial Condition and Results of Operations and
(c) ITEM 8. Financial Statements and Supplementary Data: Note 23 , Commitments and Contingencies; (2) this Quarterly Report on Form 10-Q in
(a) Part II, Other Information, ITEM 1A. Risk Factors; (b) Part 1, Financial Information, ITEM 2. Management’s Discussion and Analysis of Financial
Condition and Results of Operations and (c) Part I, Financial Information, ITEM 1. Financial Statements: Note 17 , Commitments and Contingencies;
and (3) other factors discussed in filings with the SEC by the Registrants. Readers are cautioned not to place undue reliance on these forward-
looking statements, which apply only as of the date of this Report. None of the Registrants undertakes any obligation to publicly release any revision
to its forward-looking statements to reflect events or circumstances after the date of this Report.


                                                     WHERE TO FIND MORE INFORMATION


      The public may read and copy any reports or other information that the Registrants file with the SEC at the SEC’s public reference room at 100
F Street, N.E., Washington, D.C. 20549. The public may obtain information on the operation of the Public Reference Room by calling the SEC at 1-
800-SEC-0330. These documents are also available to the public from commercial document retrieval services, the website maintained by the SEC
at www.sec.gov and the Registrants’ websites at www.exeloncorp.com . Information contained on the Registrants’ websites shall not be deemed
incorporated into, or to be a part of, this Report.


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                                        PART I. FINANCIAL INFORMATION

                                          Item 1. Financial Statements


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                                                  EXELON CORPORATION AND SUBSIDIARY COMPANIES
                                         CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                                    (Unaudited)
                                                                                                              Three Months Ended
                                                                                                                   March 31,

(In millions, except per share data)                                                                          2018              2017

Operating revenues

     Competitive businesses revenues                                                                      $     5,113       $     4,550

     Rate-regulated utility revenues                                                                            4,570             4,118

     Revenues from alternative revenue programs                                                                       10                79

            Total operating revenues                                                                            9,693             8,747

Operating expenses

     Competitive businesses purchased power and fuel                                                            3,289             2,795
     Rate-regulated utility purchased power and fuel                                                            1,438             1,104

     Operating and maintenance                                                                                  2,384             2,438

     Depreciation and amortization                                                                              1,091                  896

     Taxes other than income                                                                                         446               436
            Total operating expenses                                                                            8,648             7,669

Gain on sales of assets and businesses                                                                                56                 4

Bargain purchase gain                                                                                                 —                226
Operating income                                                                                                1,101             1,308

Other income and (deductions)

     Interest expense, net                                                                                       (365)             (363)

     Interest expense to affiliates                                                                                   (6)              (10)
     Other, net                                                                                                      (28)              257
            Total other income and (deductions)                                                                  (399)             (116)

Income before income taxes                                                                                           702          1,192

Income taxes                                                                                                          59               211

Equity in losses of unconsolidated affiliates                                                                         (7)              (10)
Net income                                                                                                           636               971

Net income (loss) attributable to noncontrolling interests                                                            51               (19)
Net income attributable to common shareholders                                                            $          585    $          990

Comprehensive income, net of income taxes

     Net income                                                                                           $          636    $          971

Other comprehensive income (loss), net of income taxes

     Pension and non-pension postretirement benefit plans:

             Prior service benefit reclassified to periodic benefit cost                                             (17)              (13)

             Actuarial loss reclassified to periodic benefit cost                                                     61                49

             Pension and non-pension postretirement benefit plan valuation adjustment                                 18               (59)

     Unrealized gain on cash flow hedges                                                                               8                 6

     Unrealized gain on investments in unconsolidated affiliates                                                       1                 3
     Unrealized gain on foreign currency translation                                                                   1                 1

     Unrealized gain on marketable securities                                                                         —                  1
            Other comprehensive income (loss)                                                                         72               (12)
Comprehensive income                                                                                                 708               959

Comprehensive income (loss) attributable to noncontrolling interests                                                  52               (21)

Comprehensive income attributable to common shareholders                                                  $          656    $          980


Average shares of common stock outstanding:

  Basic                                                                                                              966               928

  Diluted                                                                                                            968               930

Earnings per average common share:

  Basic                                                                                                   $      0.61       $      1.07

  Diluted                                                                                                 $      0.60       $      1.06

Dividends declared per common share                                                                       $      0.35       $      0.33
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                                                        EXELON CORPORATION AND SUBSIDIARY COMPANIES
                                                           CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                         (Unaudited)
                                                                                                                           Three Months Ended
                                                                                                                                March 31,

(In millions)                                                                                                            2018                 2017
Cash flows from operating activities
  Net income
                                                                                                                     $            636     $            971
  Adjustments to reconcile net income to net cash flows provided by operating activities:

      Depreciation, amortization and accretion, including nuclear fuel and energy contract amortization
                                                                                                                                1,501                1,274
      Impairment of long-lived assets and losses on regulatory assets
                                                                                                                                    —                   10
      Gain on sales of assets and businesses
                                                                                                                                   (56)                  (4)
      Bargain purchase gain
                                                                                                                                    —                 (226)
      Deferred income taxes and amortization of investment tax credits
                                                                                                                                   (14)                185
      Net fair value changes related to derivatives
                                                                                                                                  259                   47
      Net realized and unrealized gains (losses) on nuclear decommissioning trust fund investments
                                                                                                                                   68                 (175)
      Other non-cash operating activities
                                                                                                                                  240                  118
  Changes in assets and liabilities:

      Accounts receivable                                                                                                         133                  291
      Inventories                                                                                                                 167                  109
      Accounts payable and accrued expenses                                                                                      (451)                (728)
      Option premiums paid, net                                                                                                    (27)                  (6)
      Collateral posted, net                                                                                                     (214)                (110)
      Income taxes                                                                                                                 86                   50
      Pension and non-pension postretirement benefit contributions
                                                                                                                                 (331)                (307)
      Other assets and liabilities
                                                                                                                                 (495)                (425)
Net cash flows provided by operating activities                                                                                 1,502                1,074
Cash flows from investing activities

  Capital expenditures                                                                                                          (1,880)              (2,009)
  Proceeds from nuclear decommissioning trust fund sales                                                                        1,189                1,767
  Investment in nuclear decommissioning trust funds                                                                             (1,248)              (1,833)
  Acquisition of businesses, net                                                                                                    —                 (212)
  Proceeds from sales of assets and businesses                                                                                     79                   22
  Other investing activities                                                                                                         3                  (18)
Net cash flows used in investing activities                                                                                     (1,857)              (2,283)
Cash flows from financing activities

  Changes in short-term borrowings                                                                                                726                  721
  Proceeds from short-term borrowings with maturities greater than 90 days                                                           1                 560
  Repayments on short-term borrowings with maturities greater than 90 days                                                          (1)               (500)
  Issuance of long-term debt                                                                                                    1,130                  763
  Retirement of long-term debt                                                                                                  (1,241)                 (65)
  Dividends paid on common stock                                                                                                 (333)                (303)
  Proceeds from employee stock plans                                                                                               12                   12
  Other financing activities                                                                                                       (30)                  (4)
Net cash flows provided by financing activities                                                                                   264                1,184
Decrease in cash, cash equivalents and restricted cash                                                                             (91)                 (25)
Cash, cash equivalents and restricted cash at beginning of period                                                               1,190                  914
Cash, cash equivalents and restricted cash at end of period                                                          $          1,099     $            889


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                                               EXELON CORPORATION AND SUBSIDIARY COMPANIES
                                                       CONSOLIDATED BALANCE SHEETS
                                                                (Unaudited)

(In millions)                                                                                        March 31, 2018               December 31, 2017
                                               ASSETS
Current assets

  Cash and cash equivalents                                                                   $                        787    $                       898
  Restricted cash and cash equivalents                                                                                 209                            207
  Accounts receivable, net
      Customer                                                                                                        4,190                       4,445
      Other                                                                                                           1,103                       1,132
  Mark-to-market derivative assets                                                                                     978                            976
  Unamortized energy contract assets                                                                                    55                             60
  Inventories, net
      Fossil fuel and emission allowances                                                                              180                            340
      Materials and supplies                                                                                          1,291                       1,311
  Regulatory assets                                                                                                   1,245                       1,267
  Other                                                                                                               1,495                       1,260
      Total current assets                                                                                        11,533                         11,896
Property, plant and equipment, net                                                                                74,711                         74,202
Deferred debits and other assets
  Regulatory assets                                                                                                   8,063                       8,021
  Nuclear decommissioning trust funds                                                                             13,149                         13,272
  Investments                                                                                                          640                            640
  Goodwill                                                                                                            6,677                       6,677
  Mark-to-market derivative assets                                                                                     527                            337
  Unamortized energy contract assets                                                                                   385                            395
  Other                                                                                                               1,333                       1,330
      Total deferred debits and other assets                                                                      30,774                         30,672
Total assets (a)                                                                              $                  117,018      $                116,770


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                                                                 EXELON CORPORATION AND SUBSIDIARY COMPANIES
                                                                         CONSOLIDATED BALANCE SHEETS
                                                                                  (Unaudited)

(In millions)                                                                                                                                       March 31, 2018                        December 31, 2017
                                         LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities
      Short-term borrowings                                                                                                               $                            1,654       $                              929
      Long-term debt due within one year                                                                                                                               1,203                                    2,088
      Accounts payable                                                                                                                                                 3,207                                    3,532
      Accrued expenses                                                                                                                                                 1,569                                    1,837
      Payables to affiliates                                                                                                                                                 5                                       5
      Regulatory liabilities                                                                                                                                              522                                     523
      Mark-to-market derivative liabilities                                                                                                                               415                                     232
      Unamortized energy contract liabilities                                                                                                                             202                                     231
      Renewable energy credit obligation                                                                                                                                  333                                     352
      PHI merger related obligation                                                                                                                                        87                                       87
      Other                                                                                                                                                               956                                     982
         Total current liabilities                                                                                                                                    10,153                                  10,798
Long-term debt                                                                                                                                                        32,905                                  32,176
Long-term debt to financing trusts                                                                                                                                        389                                     389
Deferred credits and other liabilities
      Deferred income taxes and unamortized investment tax credits                                                                                                    11,344                                  11,235
      Asset retirement obligations                                                                                                                                    10,126                                  10,029
      Pension obligations                                                                                                                                              3,433                                    3,736
      Non-pension postretirement benefit obligations                                                                                                                   2,114                                    2,093
      Spent nuclear fuel obligation                                                                                                                                    1,151                                    1,147
      Regulatory liabilities                                                                                                                                           9,724                                    9,865
      Mark-to-market derivative liabilities                                                                                                                               468                                     409
      Unamortized energy contract liabilities                                                                                                                             579                                     609
      Other                                                                                                                                                            2,067                                    2,097
         Total deferred credits and other liabilities                                                                                                                 41,006                                  41,220
         Total liabilities (a)                                                                                                                                        84,453                                  84,583
Commitments and contingencies
Shareholders’ equity
      Common stock (No par value, 2,000 shares authorized, 965 shares and 963 shares outstanding at March
      31, 2018 and December 31, 2017, respectively)                                                                                                                   18,973                                  18,964
      Treasury stock, at cost (2 shares at March 31, 2018 and December 31, 2017)                                                                                         (123)                                   (123)
      Retained earnings                                                                                                                                               14,346                                  14,081
      Accumulated other comprehensive loss, net                                                                                                                       (2,965)                                  (3,026)
         Total shareholders’ equity                                                                                                                                   30,231                                  29,896
      Noncontrolling interests                                                                                                                                         2,334                                    2,291
         Total equity                                                                                                                                                 32,565                                  32,187
Total liabilities and shareholders’ equity                                                                                                $                         117,018        $                         116,770
__________
(a)       Exelon’s consolidated assets include $9,727 million and $9,597 million at March 31, 2018 and December 31, 2017 , respectively, of certain VIEs that can only be used to settle the liabilities of the VIE.
          Exelon’s consolidated liabilities include $3,556 million and $3,618 million at March 31, 2018 and December 31, 2017 , respectively, of certain VIEs for which the VIE creditors do not have recourse to Exelon.
          See Note 3 — Variable Interest Entities .


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                                            EXELON CORPORATION AND SUBSIDIARY COMPANIES
                                      CONSOLIDATED STATEMENT OF CHANGES IN SHAREHOLDERS’ EQUITY
                                                             (Unaudited)

                                                                                                          Accumulated
                                                                                                             Other
(In millions, shares                    Issued           Common         Treasury        Retained         Comprehensive            Noncontrolling             Total Shareholders'
in thousands)                           Shares            Stock          Stock          Earnings           Loss, net                Interests                       Equity

Balance, December 31, 2017              965,168      $    18,964    $       (123)   $     14,081     $            (3,026)     $             2,291        $              32,187
Net income                                       —            —               —               585                        —                     51                          636
Long-term incentive plan activity         1,685               (3)             —                —                         —                         —                          (3)
Employee stock purchase plan
issuances                                   361              12               —                —                         —                         —                         12
Changes in equity of noncontrolling
interests                                        —            —               —                —                         —                         (9)                        (9)
Common stock dividends                           —            —               —              (334)                       —                         —                       (334)
Other comprehensive income, net
of income taxes                                  —            —               —                —                         71                        1                         72
Impact of adoption of Recognition
and Measurement of Financial
Assets and Liabilities standard                  —            —               —                14                    (10)                          —                          4
Balance, March 31, 2018                 967,214      $    18,973    $       (123)   $     14,346     $            (2,965)     $             2,334        $              32,565


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                                       EXELON GENERATION COMPANY, LLC AND SUBSIDIARY COMPANIES
                                   CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                              (Unaudited)

                                                                                                                 Three Months Ended
                                                                                                                      March 31,

(In millions)                                                                                                   2018              2017
Operating revenues
  Operating revenues                                                                                        $     5,114       $       4,548
  Operating revenues from affiliates                                                                                   398               330
      Total operating revenues                                                                                    5,512               4,878
Operating expenses
  Purchased power and fuel                                                                                        3,289               2,796
  Purchased power and fuel from affiliates                                                                               4                 2
  Operating and maintenance                                                                                       1,178               1,313
  Operating and maintenance from affiliates                                                                            161               179
  Depreciation and amortization                                                                                        448               302
  Taxes other than income                                                                                              138               143
      Total operating expenses                                                                                    5,218               4,735
Gain on sales of assets and businesses                                                                                  53                 4
Bargain purchase gain                                                                                                   —                226
Operating income                                                                                                       347               373
Other income and (deductions)
  Interest expense, net                                                                                                (91)              (90)
  Interest expense to affiliates                                                                                       (10)              (10)
  Other, net                                                                                                           (44)              259
      Total other income and (deductions)                                                                          (145)                 159
Income before income taxes                                                                                             202               532
Income taxes                                                                                                             9               123
Equity in losses of unconsolidated affiliates                                                                           (7)              (10)
Net income                                                                                                             186               399
Net income (loss) attributable to noncontrolling interests                                                              50               (19)
Net income attributable to membership interest                                                              $          136    $          418
Comprehensive income, net of income taxes
  Net income                                                                                                $          186    $          399
Other comprehensive income (loss), net of income taxes
  Unrealized gain on cash flow hedges                                                                                    7                 6
  Unrealized gain on investments in unconsolidated affiliates                                                            1                 4
  Unrealized (loss) gain on foreign currency translation                                                                (1)                1
      Other comprehensive income                                                                                         7                11
Comprehensive income                                                                                                   193               410
Comprehensive income (loss) attributable to noncontrolling interests                                                    51               (21)
Comprehensive income attributable to membership interest                                                    $          142    $          431



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                                               EXELON GENERATION COMPANY, LLC AND SUBSIDIARY COMPANIES
                                                       CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                                            (Unaudited)


                                                                                                                           Three Months Ended
                                                                                                                                March 31,

(In millions)                                                                                                             2018               2017
Cash flows from operating activities

  Net income
                                                                                                                      $          186     $          399
  Adjustments to reconcile net income to net cash flows provided by operating activities:

      Depreciation, amortization and accretion, including nuclear fuel and energy contract amortization
                                                                                                                                 858                678
      Impairment of long-lived assets
                                                                                                                                   —                 10
      Gain on sales of assets and businesses
                                                                                                                                  (53)                (4)
      Bargain purchase gain
                                                                                                                                   —                (226)
      Deferred income taxes and amortization of investment tax credits
                                                                                                                                  (68)              108
      Net fair value changes related to derivatives
                                                                                                                                 264                 51
      Net realized and unrealized gains on nuclear decommissioning trust fund investments                                         68                (175)
      Other non-cash operating activities                                                                                         45                 (10)
      Changes in assets and liabilities:

         Accounts receivable                                                                                                     194                173
         Receivables from and payables to affiliates, net
                                                                                                                                  (15)               23
         Inventories
                                                                                                                                 122                 81
         Accounts payable and accrued expenses
                                                                                                                                 (317)              (236)
         Option premiums paid, net
                                                                                                                                  (27)                (6)
         Collateral posted, net
                                                                                                                                 (214)              (102)
         Income taxes
                                                                                                                                  79                 (81)
         Pension and non-pension postretirement benefit contributions
                                                                                                                                 (125)              (110)
         Other assets and liabilities
                                                                                                                                 (142)              (153)
Net cash flows provided by operating activities                                                                                  855                420
Cash flows from investing activities

      Capital expenditures                                                                                                       (628)              (625)
      Proceeds from nuclear decommissioning trust fund sales                                                                 1,189              1,767
      Investment in nuclear decommissioning trust funds                                                                      (1,248)            (1,833)
      Acquisition of businesses, net                                                                                               —                (212)
      Proceeds from sales of assets and businesses                                                                                79                 22
      Other investing activities                                                                                                   (7)               (29)
Net cash flows used in investing activities                                                                                      (615)              (910)
Cash flows from financing activities

      Changes in short-term borrowings
                                                                                                                                 165                 (42)
      Proceeds from short-term borrowings with maturities greater than 90 days
                                                                                                                                    1                60
      Repayments of short-term borrowings with maturities greater than 90 days
                                                                                                                                   (1)                —
      Issuance of long-term debt                                                                                                    4               762
      Retirement of long-term debt                                                                                                (29)               (30)
      Changes in Exelon intercompany money pool                                                                                    —                  (1)
      Distributions to member                                                                                                    (188)              (164)
      Other financing activities                                                                                                   (9)                (3)
Net cash flows (used in) provided by financing activities                                                                         (57)              582
Increase in cash, cash equivalents and restricted cash                                                                           183                 92
Cash, cash equivalents and restricted cash at beginning of period                                                                554                448
Cash, cash equivalents and restricted cash at end of period                                                           $          737     $          540


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                                       EXELON GENERATION COMPANY, LLC AND SUBSIDIARY COMPANIES
                                                    CONSOLIDATED BALANCE SHEETS
                                                             (Unaudited)


(In millions)                                                                                        March 31, 2018               December 31, 2017
                                               ASSETS
Current assets
  Cash and cash equivalents                                                                   $                        610    $                       416
  Restricted cash and cash equivalents                                                                                 127                            138
  Accounts receivable, net
      Customer                                                                                                        2,478                      2,697
      Other                                                                                                            294                            321
  Mark-to-market derivative assets                                                                                     978                            976
  Receivables from affiliates                                                                                          153                            140
  Unamortized energy contract assets                                                                                    55                             60
  Inventories, net
      Fossil fuel and emission allowances                                                                              151                            264
      Materials and supplies                                                                                           916                            937
  Other                                                                                                               1,122                           933
      Total current assets                                                                                            6,884                      6,882
Property, plant and equipment, net                                                                                24,714                        24,906
Deferred debits and other assets
  Nuclear decommissioning trust funds                                                                             13,149                        13,272
  Investments                                                                                                          431                            433
  Goodwill                                                                                                              47                             47
  Mark-to-market derivative assets                                                                                     527                            334
  Prepaid pension asset                                                                                               1,571                      1,502
  Unamortized energy contract assets                                                                                   385                            395
  Deferred income taxes                                                                                                 10                             16
  Other                                                                                                                657                            670
      Total deferred debits and other assets                                                                      16,777                        16,669
Total assets (a)                                                                              $                   48,375      $                 48,457


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                                              EXELON GENERATION COMPANY, LLC AND SUBSIDIARY COMPANIES
                                                           CONSOLIDATED BALANCE SHEETS
                                                                    (Unaudited)


(In millions)                                                                                                                       March 31, 2018                     December 31, 2017
                                            LIABILITIES AND EQUITY
Current liabilities
  Short-term borrowings                                                                                                    $                            166      $                              2
  Long-term debt due within one year                                                                                                                    373                                  346
  Accounts payable                                                                                                                                    1,447                                1,773
  Accrued expenses                                                                                                                                      951                                1,022
  Payables to affiliates                                                                                                                                114                                  123
  Borrowings from Exelon intercompany money pool                                                                                                         54                                   54
  Mark-to-market derivative liabilities                                                                                                                 391                                  211
  Unamortized energy contract liabilities                                                                                                                39                                   43
  Renewable energy credit obligation                                                                                                                    333                                  352
  Other                                                                                                                                                 288                                  265
      Total current liabilities                                                                                                                       4,156                                4,191
Long-term debt                                                                                                                                        7,685                                7,734
Long-term debt to affiliate                                                                                                                             907                                  910
Deferred credits and other liabilities
  Deferred income taxes and unamortized investment tax credits                                                                                        3,749                                3,811
  Asset retirement obligations                                                                                                                        9,941                                9,844
  Non-pension postretirement benefit obligations                                                                                                        911                                  916
  Spent nuclear fuel obligation                                                                                                                       1,151                                1,147
  Payables to affiliates                                                                                                                              2,970                                3,065
  Mark-to-market derivative liabilities                                                                                                                 221                                  174
  Unamortized energy contract liabilities                                                                                                                40                                   48
  Other                                                                                                                                                 686                                  658
      Total deferred credits and other liabilities                                                                                                  19,669                               19,663
      Total liabilities (a)                                                                                                                         32,417                               32,498
Commitments and contingencies
Equity
  Member’s equity
      Membership interest                                                                                                                             9,357                                9,357
      Undistributed earnings                                                                                                                          4,303                                4,349
      Accumulated other comprehensive loss, net                                                                                                         (34)                                  (37)
          Total member’s equity                                                                                                                     13,626                               13,669
  Noncontrolling interests                                                                                                                            2,332                                2,290
      Total equity                                                                                                                                  15,958                               15,959
Total liabilities and equity                                                                                               $                        48,375       $                       48,457
__________
(a)   Generation’s consolidated assets include $9,688 million and $9,556 million at March 31, 2018 and December 31, 2017 , respectively, of certain VIEs that can only be used to settle the
      liabilities of the VIE. Generation’s consolidated liabilities include $3,461 million and $3,516 million at March 31, 2018 and December 31, 2017 , respectively, of certain VIEs for which the
      VIE creditors do not have recourse to Generation. See Note 3 — Variable Interest Entities .


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                                        EXELON GENERATION COMPANY, LLC AND SUBSIDIARY COMPANIES
                                              CONSOLIDATED STATEMENT OF CHANGES IN EQUITY
                                                              (Unaudited)


                                                                             Member’s Equity
                                                                                                    Accumulated
                                                                                                       Other
                                                      Membership           Undistributed           Comprehensive              Noncontrolling
(In millions)                                           Interest             Earnings                Loss, net                  Interests                Total Equity
Balance, December 31, 2017                        $          9,357     $           4,349       $                   (37)   $             2,290        $         15,959
Net income                                                         —                  136                           —                      50                      186
Changes in equity of noncontrolling interests                      —                   —                            —                          (9)                      (9)
Distributions to member                                            —                 (188)                          —                      —                      (188)
Other comprehensive income, net of income
taxes                                                              —                   —                             6                         1                        7
Impact of adoption of Recognition and
Measurement of Financial Assets and
Liabilities standard                                               —                       6                        (3)                    —                            3
Balance, March 31, 2018                           $          9,357     $           4,303       $                   (34)   $             2,332        $         15,958


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                                    COMMONWEALTH EDISON COMPANY AND SUBSIDIARY COMPANIES
                                CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                           (Unaudited)

                                                                                                              Three Months Ended
                                                                                                                   March 31,

(In millions)                                                                                                 2018              2017
Operating revenues
  Electric operating revenues                                                                             $    1,493        $    1,279
  Revenues from alternative revenue programs                                                                           5               14
  Operating revenues from affiliates                                                                                 14                  5
      Total operating revenues                                                                                 1,512             1,298
Operating expenses
  Purchased power                                                                                                411               329
  Purchased power from affiliate                                                                                 194                     5
  Operating and maintenance                                                                                      253               307
  Operating and maintenance from affiliate                                                                           60                63
  Depreciation and amortization                                                                                  228               208
  Taxes other than income                                                                                            77                72
      Total operating expenses                                                                                 1,223               984
Gain on sales of assets                                                                                                3                —
Operating income                                                                                                 292               314
Other income and (deductions)
  Interest expense, net                                                                                              (86)              (82)
  Interest expense to affiliates                                                                                      (3)               (3)
  Other, net                                                                                                           8                 4
      Total other income and (deductions)                                                                            (81)              (81)
Income before income taxes                                                                                       211               233
Income taxes                                                                                                         46                92
Net income                                                                                                $      165        $      141
Comprehensive income                                                                                      $      165        $      141

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                                        COMMONWEALTH EDISON COMPANY AND SUBSIDIARY COMPANIES
                                              CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                             (Unaudited)

                                                                                                                   Three Months Ended
                                                                                                                        March 31,

(In millions)                                                                                                   2018                2017
Cash flows from operating activities
  Net income                                                                                                $          165     $           141
  Adjustments to reconcile net income to net cash flows provided by operating activities:
      Depreciation and amortization                                                                                    228                 208
      Deferred income taxes and amortization of investment tax credits                                                  50                 137
      Other non-cash operating activities                                                                               46                  31
      Changes in assets and liabilities:
         Accounts receivable                                                                                            39                  92
         Receivables from and payables to affiliates, net                                                               (19)                (16)
         Inventories                                                                                                      5                   4
         Accounts payable and accrued expenses                                                                         (158)               (236)
         Collateral posted, net                                                                                          (3)                 (7)
         Income taxes                                                                                                    (5)                (34)
         Pension and non-pension postretirement benefit contributions                                                   (38)                (35)
         Other assets and liabilities                                                                                  (176)                (49)
Net cash flows provided by operating activities                                                                        134                 236
Cash flows from investing activities
  Capital expenditures                                                                                                 (531)               (626)
  Other investing activities                                                                                              8                   7
Net cash flows used in investing activities                                                                            (523)               (619)
Cash flows from financing activities
  Changes in short-term borrowings                                                                                     317                 365
  Issuance of long-term debt                                                                                           800                   —
  Retirement of long-term debt                                                                                         (700)                 —
  Contributions from parent                                                                                            113                 100
  Dividends paid on common stock                                                                                       (114)               (105)
  Other financing activities                                                                                             (9)                 (1)
Net cash flows provided by financing activities                                                                        407                 359
Increase (Decrease) in cash, cash equivalents and restricted cash                                                       18                  (24)
Cash, cash equivalents and restricted cash at beginning of period                                                      144                  58
Cash, cash equivalents and restricted cash at end of period                                                 $          162     $            34

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                                     COMMONWEALTH EDISON COMPANY AND SUBSIDIARY COMPANIES
                                                CONSOLIDATED BALANCE SHEETS
                                                          (Unaudited)


(In millions)                                                                                    March 31, 2018               December 31, 2017
                                           ASSETS
Current assets
  Cash and cash equivalents                                                               $                         70    $                       76
  Restricted cash                                                                                                    9                             5
  Accounts receivable, net
      Customer                                                                                                     485                            559
      Other                                                                                                        290                            266
  Receivables from affiliates                                                                                       28                            13
  Inventories, net                                                                                                 146                            152
  Regulatory assets                                                                                                226                            225
  Other                                                                                                             82                            68
      Total current assets                                                                                        1,336                      1,364
Property, plant and equipment, net                                                                           21,010                         20,723
Deferred debits and other assets
  Regulatory assets                                                                                               1,125                      1,054
  Investments                                                                                                        6                             6
  Goodwill                                                                                                        2,625                      2,625
  Receivables from affiliates                                                                                     2,464                      2,528
  Prepaid pension asset                                                                                           1,177                      1,188
  Other                                                                                                            259                            238
      Total deferred debits and other assets                                                                      7,656                      7,639
Total assets                                                                              $                  30,002       $                 29,726

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                                        COMMONWEALTH EDISON COMPANY AND SUBSIDIARY COMPANIES
                                                   CONSOLIDATED BALANCE SHEETS
                                                             (Unaudited)


(In millions)                                                                                     March 31, 2018               December 31, 2017
                           LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities
  Short-term borrowings                                                                     $                       317    $                        —
  Long-term debt due within one year                                                                                440                            840
  Accounts payable                                                                                                  491                            568
  Accrued expenses                                                                                                  198                            327
  Payables to affiliates                                                                                             70                            74
  Customer deposits                                                                                                 111                            112
  Regulatory liabilities                                                                                            212                            249
  Mark-to-market derivative liability                                                                                24                            21
  Other                                                                                                              82                            103
      Total current liabilities                                                                                    1,945                       2,294
Long-term debt                                                                                                     7,254                       6,761
Long-term debt to financing trust                                                                                   205                            205
Deferred credits and other liabilities
  Deferred income taxes and unamortized investment tax credits                                                     3,539                       3,469
  Asset retirement obligations                                                                                      111                            111
  Non-pension postretirement benefits obligations                                                                   215                            219
  Regulatory liabilities                                                                                           6,212                       6,328
  Mark-to-market derivative liability                                                                               243                            235
  Other                                                                                                             572                            562
      Total deferred credits and other liabilities                                                            10,892                         10,924
      Total liabilities                                                                                       20,296                         20,184
Commitments and contingencies
Shareholders’ equity
  Common stock                                                                                                     1,588                       1,588
  Other paid-in capital                                                                                            6,935                       6,822
  Retained deficit unappropriated                                                                              (1,639)                        (1,639)
  Retained earnings appropriated                                                                                   2,822                       2,771
      Total shareholders’ equity                                                                                   9,706                       9,542
Total liabilities and shareholders’ equity                                                  $                 30,002       $                 29,726

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                                   COMMONWEALTH EDISON COMPANY AND SUBSIDIARY COMPANIES
                                  CONSOLIDATED STATEMENT OF CHANGES IN SHAREHOLDERS’ EQUITY
                                                         (Unaudited)

                                                            Other                                          Retained                   Total
                                              Common        Paid-In           Retained Deficit            Earnings                Shareholders’
(In millions)                                  Stock        Capital           Unappropriated             Appropriated                Equity
Balance, December 31, 2017                $     1,588   $       6,822     $               (1,639)    $             2,771      $              9,542
Net income                                         —                  —                      165                         —                        165
Appropriation of retained earnings for
future dividends                                   —                  —                     (165)                       165                        —
Common stock dividends                             —                  —                          —                  (114)                     (114)
Contributions from parent                          —              113                            —                       —                        113
Balance, March 31, 2018                   $     1,588   $       6,935     $               (1,639)    $             2,822      $              9,706



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                                         PECO ENERGY COMPANY AND SUBSIDIARY COMPANIES
                                CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                           (Unaudited)

                                                                                                              Three Months Ended
                                                                                                                   March 31,

(In millions)                                                                                                 2018              2017
Operating revenues
  Electric operating revenues                                                                             $      633        $      589
  Natural gas operating revenues                                                                                 232               206
  Revenues from alternative revenue programs                                                                          (1)               —
  Operating revenues from affiliates                                                                                   2                 1
      Total operating revenues                                                                                   866               796
Operating expenses
  Purchased power                                                                                                199               156
  Purchased fuel                                                                                                     98                86
  Purchased power from affiliate                                                                                     36                45
  Operating and maintenance                                                                                      233               174
  Operating and maintenance from affiliates                                                                          42                34
  Depreciation and amortization                                                                                      75                71
  Taxes other than income                                                                                            41                38
      Total operating expenses                                                                                   724               604
Operating income                                                                                                 142               192
Other income and (deductions)
  Interest expense, net                                                                                              (30)              (28)
  Interest expense to affiliates                                                                                      (3)               (3)
  Other, net                                                                                                           2                 2
      Total other income and (deductions)                                                                            (31)              (29)
Income before income taxes                                                                                       111               163
Income taxes                                                                                                          (2)              36
Net income                                                                                                $      113        $      127
Comprehensive income                                                                                      $      113        $      127


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                                              PECO ENERGY COMPANY AND SUBSIDIARY COMPANIES
                                                 CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                               (Unaudited)



                                                                                                                   Three Months Ended
                                                                                                                        March 31,

(In millions)                                                                                                   2018                2017
Cash flows from operating activities
  Net income                                                                                                $          113     $           127
  Adjustments to reconcile net income to net cash flows provided by operating activities:
      Depreciation and amortization                                                                                     75                  71
      Deferred income taxes and amortization of investment tax credits                                                   (4)                24
      Other non-cash operating activities                                                                               21                  23
      Changes in assets and liabilities:
         Accounts receivable                                                                                            (51)                (25)
         Receivables from and payables to affiliates, net                                                                 7                 (10)
         Inventories                                                                                                    12                  19
         Accounts payable and accrued expenses                                                                            6                 (40)
         Income taxes                                                                                                     5                 25
         Pension and non-pension postretirement benefit contributions                                                   (24)                (23)
         Other assets and liabilities                                                                                  (141)                (85)
Net cash flows provided by operating activities                                                                         19                 106
Cash flows from investing activities
      Capital expenditures                                                                                             (217)               (201)
      Changes in Exelon intercompany money pool                                                                          —                 131
      Other investing activities                                                                                          2                   1
Net cash flows used in investing activities                                                                            (215)                (69)
Cash flows from financing activities
      Changes in short-term borrowings                                                                                 220                   —
      Issuance of long-term debt                                                                                       325                   —
      Retirement of long-term debt                                                                                     (500)                 —
      Changes in Exelon intercompany money pool                                                                        194                   —
      Dividends paid on common stock                                                                                   (287)                (72)
      Other financing activities                                                                                         (5)                 —
Net cash flows used in financing activities                                                                             (53)                (72)
Decrease in cash, cash equivalents and restricted cash                                                                 (249)                (35)
Cash, cash equivalents and restricted cash at beginning of period                                                      275                  67
Cash, cash equivalents and restricted cash at end of period                                                 $           26     $            32


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                                           PECO ENERGY COMPANY AND SUBSIDIARY COMPANIES
                                                   CONSOLIDATED BALANCE SHEETS
                                                            (Unaudited)


(In millions)                                                                                    March 31, 2018               December 31, 2017
                                           ASSETS
Current assets
  Cash and cash equivalents                                                               $                         21    $                       271
  Restricted cash and cash equivalents                                                                               5                             4
  Accounts receivable, net
      Customer                                                                                                     349                            327
      Other                                                                                                        117                            105
  Inventories, net
      Fossil fuel                                                                                                   16                            31
      Materials and supplies                                                                                        33                            30
  Prepaid utility taxes                                                                                             97                             8
  Regulatory assets                                                                                                 78                            29
  Other                                                                                                             20                            17
      Total current assets                                                                                         736                            822
Property, plant and equipment, net                                                                                8,176                      8,053
Deferred debits and other assets
  Regulatory assets                                                                                                408                            381
  Investments                                                                                                       25                            25
  Receivable from affiliates                                                                                       505                            537
  Prepaid pension asset                                                                                            359                            340
  Other                                                                                                              9                            12
      Total deferred debits and other assets                                                                      1,306                      1,295
Total assets                                                                              $                  10,218       $                 10,170

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                                              PECO ENERGY COMPANY AND SUBSIDIARY COMPANIES
                                                      CONSOLIDATED BALANCE SHEETS
                                                               (Unaudited)


(In millions)                                                                                       March 31, 2018               December 31, 2017
                           LIABILITIES AND SHAREHOLDER'S EQUITY
Current liabilities
  Short-term borrowings                                                                      $                        220    $                        —
  Long-term debt due within one year                                                                                    —                            500
  Accounts payable                                                                                                    379                            370
  Accrued expenses                                                                                                     91                            114
  Payables to affiliates                                                                                               59                            53
  Borrowings from Exelon intercompany money pool                                                                      194                             —
  Customer deposits                                                                                                    66                            66
  Regulatory liabilities                                                                                              117                            141
  Other                                                                                                                29                            23
      Total current liabilities                                                                                      1,155                      1,267
Long-term debt                                                                                                       2,723                      2,403
Long-term debt to financing trusts                                                                                    184                            184
Deferred credits and other liabilities
  Deferred income taxes and unamortized investment tax credits                                                       1,824                      1,789
  Asset retirement obligations                                                                                         27                            27
  Non-pension postretirement benefits obligations                                                                     288                            288
  Regulatory liabilities                                                                                              529                            549
  Other                                                                                                                85                            86
      Total deferred credits and other liabilities                                                                   2,753                      2,739
      Total liabilities                                                                                              6,815                      6,593
Commitments and contingencies
Shareholder’s equity
  Common stock                                                                                                       2,489                      2,489
  Retained earnings                                                                                                   914                       1,087
  Accumulated other comprehensive income, net                                                                           —                             1
      Total shareholder’s equity                                                                                     3,403                      3,577
Total liabilities and shareholder's equity                                                   $                  10,218       $                 10,170


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                                     PECO ENERGY COMPANY AND SUBSIDIARY COMPANIES
                                CONSOLIDATED STATEMENT OF CHANGES IN SHAREHOLDER’S EQUITY
                                                       (Unaudited)

                                                                                                          Accumulated
                                                                                                             Other                     Total
                                                                     Common           Retained           Comprehensive             Shareholder's
(In millions)                                                         Stock           Earnings            Income, net                 Equity
Balance, December 31, 2017                                       $       2,489    $        1,087     $                   1     $           3,577
Net income                                                                    —              113                         —                   113
Common stock dividends                                                        —             (287)                        —                  (287)
Impact of adoption of Recognition and Measurement of Financial
Assets and Liabilities standard                                               —                  1                       (1)                   —
Balance, March 31, 2018                                          $       2,489    $          914     $                   —     $           3,403



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                                  BALTIMORE GAS AND ELECTRIC COMPANY AND SUBSIDIARY COMPANIES
                                CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                           (Unaudited)

                                                                                                               Three Months Ended
                                                                                                                    March 31,

(In millions)                                                                                                 2018              2017
Operating revenues
  Electric operating revenues                                                                             $          654    $          640
  Natural gas operating revenues                                                                                     330               271
  Revenues from alternative revenue programs                                                                         (13)              35
  Operating revenues from affiliates                                                                                   6                 5
      Total operating revenues                                                                                       977               951
Operating expenses
  Purchased power                                                                                                    192               133
  Purchased fuel                                                                                                     123               83
  Purchased power from affiliate                                                                                     65                134
  Operating and maintenance                                                                                          184               148
  Operating and maintenance from affiliates                                                                          37                35
  Depreciation and amortization                                                                                      134               128
  Taxes other than income                                                                                            65                62
      Total operating expenses                                                                                       800               723
Operating income                                                                                                     177               228
Other income and (deductions)
  Interest expense, net                                                                                              (25)              (23)
  Interest expense to affiliates                                                                                      —                 (4)
  Other, net                                                                                                           4                 4
      Total other income and (deductions)                                                                            (21)              (23)
Income before income taxes                                                                                           156               205
Income taxes                                                                                                         28                80
Net income                                                                                                $          128    $          125
Comprehensive income                                                                                      $          128    $          125


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                                   BALTIMORE GAS AND ELECTRIC COMPANY AND SUBSIDIARY COMPANIES
                                             CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                            (Unaudited)

                                                                                                                   Three Months Ended
                                                                                                                        March 31,

(In millions)                                                                                                   2018                2017
Cash flows from operating activities
  Net income                                                                                                $          128     $           125
  Adjustments to reconcile net income to net cash flows provided by operating activities:
      Depreciation and amortization                                                                                    134                 128
      Deferred income taxes and amortization of investment tax credits                                                  22                  72
      Other non-cash operating activities                                                                               20                  24
      Changes in assets and liabilities:
         Accounts receivable                                                                                            (32)                 (7)
         Receivables from and payables to affiliates, net                                                                —                   (7)
         Inventories                                                                                                    20                  17
         Accounts payable and accrued expenses                                                                           (9)                (81)
         Income taxes                                                                                                   14                  33
         Pension and non-pension postretirement benefit contributions                                                   (45)                (44)
         Other assets and liabilities                                                                                   61                  (52)
Net cash flows provided by operating activities                                                                        313                 208
Cash flows from investing activities
      Capital expenditures                                                                                             (224)               (206)
      Other investing activities                                                                                          1                   4
Net cash flows used in investing activities                                                                            (223)               (202)
Cash flows from financing activities
      Changes in short-term borrowings                                                                                  (32)                50
      Dividends paid on common stock                                                                                    (52)                (49)
Net cash flows (used in) provided by financing activities                                                               (84)                  1
Increase in cash, cash equivalents and restricted cash                                                                    6                   7
Cash, cash equivalents and restricted cash at beginning of period                                                       18                  50
Cash, cash equivalents and restricted cash at end of period                                                 $           24     $            57

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                                 BALTIMORE GAS AND ELECTRIC COMPANY AND SUBSIDIARY COMPANIES
                                                CONSOLIDATED BALANCE SHEETS
                                                          (Unaudited)


(In millions)                                                                                   March 31, 2018               December 31, 2017
                                           ASSETS
Current assets
  Cash and cash equivalents                                                               $                        22    $                       17
  Restricted cash and cash equivalents                                                                              2                             1
  Accounts receivable, net
      Customer                                                                                                    394                            375
      Other                                                                                                        91                            94
  Receivables from affiliates                                                                                       —                             1
  Inventories, net
      Gas held in storage                                                                                          12                            37
      Materials and supplies                                                                                       45                            40
  Prepaid utility taxes                                                                                            35                            69
  Regulatory assets                                                                                               149                            174
  Other                                                                                                             5                             3
      Total current assets                                                                                        755                            811
Property, plant and equipment, net                                                                               7,725                      7,602
Deferred debits and other assets
  Regulatory assets                                                                                               391                            397
  Investments                                                                                                       5                             5
  Prepaid pension asset                                                                                           313                            285
  Other                                                                                                             6                             4
      Total deferred debits and other assets                                                                      715                            691
Total assets                                                                              $                      9,195   $                  9,104

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                                    BALTIMORE GAS AND ELECTRIC COMPANY AND SUBSIDIARY COMPANIES
                                                   CONSOLIDATED BALANCE SHEETS
                                                             (Unaudited)


(In millions)                                                                                      March 31, 2018               December 31, 2017
                           LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities
  Short-term borrowings                                                                      $                        45    $                       77
  Accounts payable                                                                                                   253                            265
  Accrued expenses                                                                                                   162                            164
  Payables to affiliates                                                                                              51                            52
  Customer deposits                                                                                                  118                            116
  Regulatory liabilities                                                                                             102                            62
  Other                                                                                                               26                            24
      Total current liabilities                                                                                      757                            760
Long-term debt                                                                                                      2,578                      2,577
Deferred credits and other liabilities
  Deferred income taxes and unamortized investment tax credits                                                      1,286                      1,244
  Asset retirement obligations                                                                                        22                            23
  Non-pension postretirement benefits obligations                                                                    199                            202
  Regulatory liabilities                                                                                            1,083                      1,101
  Other                                                                                                               53                            56
      Total deferred credits and other liabilities                                                                  2,643                      2,626
      Total liabilities                                                                                             5,978                      5,963
Commitments and contingencies
Shareholders’ equity
  Common stock                                                                                                      1,605                      1,605
  Retained earnings                                                                                                 1,612                      1,536
      Total shareholders' equity                                                                                    3,217                      3,141
Total liabilities and shareholders’ equity                                                   $                      9,195   $                  9,104



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                             BALTIMORE GAS AND ELECTRIC COMPANY AND SUBSIDIARY COMPANIES
                              CONSOLIDATED STATEMENT OF CHANGES IN SHAREHOLDERS’ EQUITY
                                                      (Unaudited)


                                                                                                                                Total
                                                                                    Common            Retained              Shareholders’
(In millions)                                                                        Stock            Earnings                 Equity
Balance, December 31, 2017                                                      $         1,605   $         1,536       $           3,141
Net income                                                                                   —                   128                  128
Common stock dividends                                                                       —                   (52)                  (52)
Balance, March 31, 2018                                                         $         1,605   $         1,612       $           3,217

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                                          PEPCO HOLDINGS LLC AND SUBSIDIARY COMPANIES
                                CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                           (Unaudited)

                                                                                                               Three Months Ended March 31,
(In millions)                                                                                                    2018              2017
Operating revenues
  Electric operating revenues                                                                              $        1,151      $      1,067
  Natural gas operating revenues                                                                                        78                66
  Revenues from alternative revenue programs                                                                            18                30
  Operating revenues from affiliates                                                                                      4               12
      Total operating revenues                                                                                      1,251             1,175
Operating expenses
  Purchased power                                                                                                       374               288
  Purchased fuel                                                                                                        41                29
  Purchased power and fuel from affiliates                                                                              105               144
  Operating and maintenance                                                                                             271               223
  Operating and maintenance from affiliates                                                                             38                33
  Depreciation, amortization and accretion                                                                              183               167
  Taxes other than income                                                                                               113               111
      Total operating expenses                                                                                      1,125                 995
Operating income                                                                                                        126               180
Other income and (deductions)
  Interest expense, net                                                                                                 (63)              (62)
  Other, net                                                                                                            11                13
      Total other income and (deductions)                                                                               (52)              (49)
Income before income taxes                                                                                              74                131
Income taxes                                                                                                              9                (9)
Net income                                                                                                 $            65     $          140
Comprehensive income                                                                                       $            65     $          140

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                                               PEPCO HOLDINGS LLC AND SUBSIDIARY COMPANIES
                                                 CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                                (Unaudited)

                                                                                                                Three Months Ended March 31,

(In millions)                                                                                                     2018              2017

Cash flows from operating activities
  Net income                                                                                                $            65     $          140
  Adjustments to reconcile net income to net cash flows provided by operating activities:
    Depreciation and amortization                                                                                        183               167
    Deferred income taxes and amortization of investment tax credits                                                     17                13
    Other non-cash operating activities                                                                                  53                 (8)
    Changes in assets and liabilities:
         Accounts receivable                                                                                              (9)              68
         Receivables from and payables to affiliates, net                                                                10                 (8)
         Inventories                                                                                                       4               (11)
         Accounts payable and accrued expenses                                                                           44                (81)
         Income taxes                                                                                                     (9)              55
         Pension and non-pension postretirement benefit contributions                                                    (55)              (66)
         Other assets and liabilities                                                                                    (24)              (75)
Net cash flows provided by operating activities                                                                          279               194
Cash flows from investing activities
  Capital expenditures                                                                                                (258)             (320)
  Other investing activities                                                                                              —                 (3)
Net cash flows used in investing activities                                                                           (258)             (323)
Cash flows from financing activities
  Changes in short-term borrowings                                                                                       57                145
  Repayments of short-term borrowings with maturities greater than 90 days                                                —             (500)
  Issuance of long-term debt                                                                                              —                  1
  Retirement of long-term debt                                                                                           (12)              (24)
  Distributions to member                                                                                                (71)              (69)
  Contributions from member                                                                                               —                500
  Change in Exelon intercompany money pool                                                                               13                13
Net cash flows (used in) provided by financing activities                                                                (13)              66
Increase (Decrease) in cash, cash equivalents and restricted cash                                                          8               (63)
Cash, cash equivalents and restricted cash at beginning of period                                                        95                236
Cash, cash equivalents and restricted cash at end of period                                                 $            103    $          173

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                                              PEPCO HOLDINGS LLC AND SUBSIDIARY COMPANIES
                                                     CONSOLIDATED BALANCE SHEETS
                                                               (Unaudited)

(In millions)                                                                                     March 31, 2018               December 31, 2017
                                             ASSETS
Current assets
  Cash and cash equivalents                                                                 $                        43    $                       30
  Restricted cash and cash equivalents                                                                               40                            42
  Accounts receivable, net
      Customer                                                                                                      484                            486
      Other                                                                                                         210                            206
  Inventories, net
      Gas held in storage                                                                                             2                             7
      Materials and supplies                                                                                        152                            151
  Regulatory assets                                                                                                 507                            554
  Other                                                                                                              55                            75
    Total current assets                                                                                           1,493                      1,551
Property, plant and equipment, net                                                                            12,688                         12,498
Deferred debits and other assets
  Regulatory assets                                                                                                2,453                      2,493
  Investments                                                                                                       132                            132
  Goodwill                                                                                                         4,005                      4,005
  Long-term note receivable                                                                                           4                             4
  Prepaid pension asset                                                                                             527                            490
  Deferred income taxes                                                                                               4                             4
  Other                                                                                                              69                            70
    Total deferred debits and other assets                                                                         7,194                      7,198
Total assets (a)                                                                            $                 21,375       $                 21,247

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                                                           PEPCO HOLDINGS LLC AND SUBSIDIARY COMPANIES
                                                                  CONSOLIDATED BALANCE SHEETS
                                                                            (Unaudited)

(In millions)                                                                                                                        March 31, 2018                      December 31, 2017
                                    LIABILITIES AND MEMBER'S EQUITY
Current liabilities
  Short-term borrowings                                                                                                     $                           407       $                           350
  Long-term debt due within one year                                                                                                                    385                                   396
  Accounts payable                                                                                                                                      469                                   348
  Accrued expenses                                                                                                                                      246                                   261
  Payables to affiliates                                                                                                                                100                                     90
  Borrowings from Exelon intercompany money pool                                                                                                          13                                    —
  Unamortized energy contract liabilities                                                                                                               162                                   188
  Customer deposits                                                                                                                                     114                                   119
  Merger related obligation                                                                                                                               42                                    42
  Regulatory liabilities                                                                                                                                  77                                    56
  Other                                                                                                                                                   52                                    81
      Total current liabilities                                                                                                                       2,067                                 1,931
Long-term debt                                                                                                                                        5,464                                 5,478
Deferred credits and other liabilities
  Regulatory liabilities                                                                                                                              1,888                                 1,872
  Deferred income taxes and unamortized investment tax credits                                                                                        2,103                                 2,070
  Asset retirement obligations                                                                                                                            16                                    16
  Non-pension postretirement benefit obligations                                                                                                        102                                   105
  Unamortized energy contract liabilities                                                                                                               539                                   561
  Other                                                                                                                                                 377                                   389
  Total deferred credits and other liabilities                                                                                                        5,025                                 5,013
      Total liabilities (a)                                                                                                                         12,556                                12,422
Commitments and contingencies
Member's equity
  Membership interest                                                                                                                                 8,835                                 8,835
  Undistributed earnings (losses)                                                                                                                        (16)                                  (10)
       Total member's equity                                                                                                                          8,819                                 8,825
Total liabilities and member's equity                                                                                       $                       21,375        $                       21,247
__________
(a)     PHI’s consolidated total assets include $39 million and $41 million at March 31, 2018 and December 31, 2017 , respectively, of PHI's consolidated VIE that can only be used to settle the
        liabilities of the VIE. PHI’s consolidated total liabilities include $95 million and $102 million at March 31, 2018 and December 31, 2017 , respectively, of PHI's consolidated VIE for which
        the VIE creditors do not have recourse to PHI. See Note 3 — Variable Interest Entities .


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                                   PEPCO HOLDINGS LLC AND SUBSIDIARY COMPANIES
                                   CONSOLIDATED STATEMENT OF CHANGES IN EQUITY
                                                    (Unaudited)
                                                                                                    Undistributed Earnings
(In millions)                                                                 Membership Interest          (Losses)              Member's Equity
Balance, December 31, 2017                                                   $           8,835      $               (10)     $            8,825
Net income                                                                                   —                      65                       65
Distribution to member                                                                       —                      (71)                     (71)
Balance, March 31, 2018                                                      $           8,835      $               (16)     $            8,819

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                                               POTOMAC ELECTRIC POWER COMPANY
                                       STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                           (Unaudited)


                                                                                                              Three Months Ended March 31,
(In millions)                                                                                                   2018              2017
Operating revenues
  Electric operating revenues                                                                             $            536    $          514
  Revenues from alternative revenue programs                                                                           19                15
  Operating revenues from affiliates                                                                                     2                 1
      Total operating revenues                                                                                         557               530
Operating expenses
  Purchased power                                                                                                      130               83
  Purchased power from affiliates                                                                                      52                83
  Operating and maintenance                                                                                            73                101
  Operating and maintenance from affiliates                                                                            57                12
  Depreciation and amortization                                                                                        96                82
  Taxes other than income                                                                                              93                90
      Total operating expenses                                                                                         501               451
Operating income                                                                                                       56                79
Other income and (deductions)
  Interest expense, net                                                                                                (31)              (29)
  Other, net                                                                                                             8                 8
      Total other income and (deductions)                                                                              (23)              (21)
Income before income taxes                                                                                             33                58
Income taxes                                                                                                             2                —
Net income                                                                                                $            31     $          58
Comprehensive income                                                                                      $            31     $          58

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                                                      POTOMAC ELECTRIC POWER COMPANY
                                                         STATEMENTS OF CASH FLOWS
                                                                 (Unaudited)
                                                                                                                 Three Months Ended
                                                                                                                      March 31,

(In millions)                                                                                                   2018              2017
Cash flows from operating activities
Net income                                                                                                  $          31     $          58
Adjustments to reconcile net income to net cash flows provided by operating activities:
    Depreciation and amortization                                                                                      96                82
    Deferred income taxes and amortization of investment tax credits                                                     4                 5
    Other non-cash operating activities                                                                                10                (15)
    Changes in assets and liabilities:
        Accounts receivable                                                                                             —                45
        Receivables from and payables to affiliates, net                                                               (18)               (6)
        Inventories                                                                                                     (2)              (10)
        Accounts payable and accrued expenses                                                                          36                (49)
        Income taxes                                                                                                    (3)              20
        Pension and non-pension postretirement benefit contributions                                                    (7)              (64)
        Other assets and liabilities                                                                                   (21)              (37)
Net cash flows provided by operating activities                                                                        126               29
Cash flows from investing activities
    Capital expenditures                                                                                           (127)              (139)
    Other investing activities                                                                                          —                 (5)
Net cash flows used in investing activities                                                                        (127)              (144)
Cash flows from financing activities
    Changes in short-term borrowings                                                                                   34                144
    Issuance of long-term debt                                                                                          —                  1
    Dividends paid on common stock                                                                                     (25)              (30)
    Other financing activities                                                                                          —                 (1)
Net cash flows provided by financing activities                                                                          9               114
Increase (decrease) in cash, cash equivalents and restricted cash                                                        8                (1)
Cash, cash equivalents and restricted cash at beginning of period                                                      40                42
Cash, cash equivalents and restricted cash at end of period                                                 $          48     $          41



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                                                      POTOMAC ELECTRIC POWER COMPANY
                                                              BALANCE SHEETS
                                                                 (Unaudited)


(In millions)                                                                                     March 31, 2018               December 31, 2017
                                             ASSETS
Current assets
  Cash and cash equivalents                                                                 $                        15    $                        5
  Restricted cash and cash equivalents                                                                               33                            35
  Accounts receivable, net
      Customer                                                                                                      246                            250
      Other                                                                                                          87                            87
  Inventories, net                                                                                                   89                            87
  Regulatory assets                                                                                                 207                            213
  Other                                                                                                              19                            33
      Total current assets                                                                                          696                            710
Property, plant and equipment, net                                                                                 6,095                      6,001
Deferred debits and other assets
  Regulatory assets                                                                                                 656                            678
  Investments                                                                                                       104                            102
  Prepaid pension asset                                                                                             323                            322
  Other                                                                                                              22                            19
    Total deferred debits and other assets                                                                         1,105                      1,121
Total assets                                                                                $                      7,896   $                  7,832

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                                                      POTOMAC ELECTRIC POWER COMPANY
                                                              BALANCE SHEETS
                                                                 (Unaudited)


(In millions)                                                                                      March 31, 2018               December 31, 2017
                           LIABILITIES AND SHAREHOLDER'S EQUITY
Current liabilities
  Short-term borrowings                                                                      $                        60    $                       26
  Long-term debt due within one year                                                                                  19                            19
  Accounts payable                                                                                                   181                            139
  Accrued expenses                                                                                                   145                            137
  Payables to affiliates                                                                                              56                            74
  Customer deposits                                                                                                   52                            54
  Regulatory liabilities                                                                                               7                             3
  Merger related obligation                                                                                           42                            42
  Current portion of DC PLUG obligation                                                                               30                            28
  Other                                                                                                                8                            28
    Total current liabilities                                                                                        600                            550
Long-term debt                                                                                                      2,521                      2,521
Deferred credits and other liabilities
  Regulatory liabilities                                                                                             838                            829
  Deferred income taxes and unamortized investment tax credits                                                      1,076                      1,063
  Non-pension postretirement benefit obligations                                                                      34                            36
  Other                                                                                                              288                            300
    Total deferred credits and other liabilities                                                                    2,236                      2,228
    Total liabilities                                                                                               5,357                      5,299
Commitments and contingencies
Shareholder's equity
    Common stock                                                                                                    1,470                      1,470
    Retained earnings                                                                                               1,069                      1,063
      Total shareholder's equity                                                                                    2,539                      2,533
Total liabilities and shareholder's equity                                                   $                      7,896   $                  7,832




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                                         POTOMAC ELECTRIC POWER COMPANY
                                   STATEMENT OF CHANGES IN SHAREHOLDER'S EQUITY
                                                    (Unaudited)


                                                                                                                             Total Shareholder's
(In millions)                                                                  Common Stock         Retained Earnings               Equity
Balance, December 31, 2017                                                 $           1,470    $              1,063     $               2,533
Net income                                                                                —                       31                         31
Common stock dividends                                                                    —                       (25)                      (25)
Balance, March 31, 2018                                                    $           1,470    $              1,069     $               2,539

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                                                DELMARVA POWER & LIGHT COMPANY
                                       STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                           (Unaudited)


                                                                                                              Three Months Ended March 31,
(In millions)                                                                                                   2018              2017
Operating revenues
  Electric operating revenues                                                                             $            303    $          285
  Natural gas operating revenues                                                                                       78                66
  Revenues from alternative revenue programs                                                                             1                 9
  Operating revenues from affiliates                                                                                     2                 2
      Total operating revenues                                                                                         384               362
Operating expenses
  Purchased power                                                                                                      90                77
  Purchased fuel                                                                                                       41                29
  Purchased power from affiliate                                                                                       46                51
  Operating and maintenance                                                                                            57                66
  Operating and maintenance from affiliates                                                                            41                  7
  Depreciation and amortization                                                                                        45                39
  Taxes other than income                                                                                              15                15
      Total operating expenses                                                                                         335               284
Operating income                                                                                                       49                78
Other income and (deductions)
  Interest expense, net                                                                                                (13)              (13)
  Other, net                                                                                                             2                 3
      Total other income and (deductions)                                                                              (11)              (10)
Income before income taxes                                                                                             38                68
Income taxes                                                                                                             7               11
Net income                                                                                                $            31     $          57
Comprehensive income                                                                                      $            31     $          57

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                                                         DELMARVA POWER & LIGHT COMPANY
                                                            STATEMENTS OF CASH FLOWS
                                                                   (Unaudited)


                                                                                                                 Three Months Ended
                                                                                                                      March 31,
(In millions)                                                                                                   2018              2017
Cash flows from operating activities
  Net income                                                                                                $          31     $          57
  Adjustments to reconcile net income to net cash flows provided by operating activities:
    Depreciation and amortization                                                                                      45                39
    Deferred income taxes and amortization of investment tax credits                                                   10                13
    Other non-cash operating activities                                                                                19                 (7)
    Changes in assets and liabilities:
      Accounts receivable                                                                                               (1)                6
      Receivables from and payables to affiliates, net                                                                 (16)                1
      Inventories                                                                                                        7                 1
      Accounts payable and accrued expenses                                                                            18                14
      Income Taxes                                                                                                      (5)              21
      Other assets and liabilities                                                                                       7               (23)
Net cash flows provided by operating activities                                                                        115               122
Cash flows from investing activities
    Capital expenditures                                                                                               (65)              (82)
    Other investing activities                                                                                          —                  2
Net cash flows used in investing activities                                                                            (65)              (80)
Cash flows from financing activities
    Changes in short-term borrowings                                                                                    (5)               —
    Retirement of long-term debt                                                                                        (4)              (14)
    Dividends paid on common stock                                                                                     (36)              (30)
Net cash flows used in financing activities                                                                            (45)              (44)
Increase (Decrease) in cash, cash equivalents and restricted cash                                                        5                (2)
Cash, cash equivalents and restricted cash at beginning of period                                                        2               46
Cash, cash equivalents and restricted cash at end of period                                                 $            7    $          44

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                                                      DELMARVA POWER & LIGHT COMPANY
                                                             BALANCE SHEETS
                                                                (Unaudited)


(In millions)                                                                                     March 31, 2018               December 31, 2017
                                             ASSETS
Current assets
  Cash and cash equivalents                                                                 $                         7    $                        2
  Accounts receivable, net
    Customer                                                                                                        141                            146
    Other                                                                                                            43                            38
  Receivables from affiliates                                                                                         2                             —
  Inventories, net
    Gas held in storage                                                                                               2                             7
    Materials and supplies                                                                                           34                            36
  Regulatory assets                                                                                                  63                            69
  Other                                                                                                              22                            27
    Total current assets                                                                                            314                            325
Property, plant and equipment, net                                                                                 3,620                      3,579
Deferred debits and other assets
  Regulatory assets                                                                                                 242                            245
  Goodwill                                                                                                            8                             8
  Prepaid pension asset                                                                                             192                            193
  Other                                                                                                               7                             7
    Total deferred debits and other assets                                                                          449                            453
Total assets                                                                                $                      4,383   $                  4,357

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                                                       DELMARVA POWER & LIGHT COMPANY
                                                              BALANCE SHEETS
                                                                 (Unaudited)

(In millions)                                                                                      March 31, 2018               December 31, 2017
                           LIABILITIES AND SHAREHOLDER'S EQUITY
Current liabilities
  Short-term borrowings                                                                      $                       211    $                       216
  Long-term debt due within one year                                                                                  79                            83
  Accounts payable                                                                                                   106                            82
  Accrued expenses                                                                                                    43                            35
  Payables to affiliates                                                                                              32                            46
  Customer deposits                                                                                                   34                            35
  Regulatory liabilities                                                                                              48                            42
  Other                                                                                                                5                             8
    Total current liabilities                                                                                        558                            547
Long-term debt                                                                                                      1,217                      1,217
Deferred credits and other liabilities
  Regulatory liabilities                                                                                             598                            593
  Deferred income taxes and unamortized investment tax credits                                                       618                            603
  Non-pension postretirement benefit obligations                                                                      13                            14
  Other                                                                                                               49                            48
    Total deferred credits and other liabilities                                                                    1,278                      1,258
    Total liabilities                                                                                               3,053                      3,022
Commitments and contingencies
Shareholder's equity
  Common stock                                                                                                       764                            764
  Retained earnings                                                                                                  566                            571
    Total shareholder's equity                                                                                      1,330                      1,335
Total liabilities and shareholder's equity                                                   $                      4,383   $                  4,357

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                                         DELMARVA POWER & LIGHT COMPANY
                                   STATEMENT OF CHANGES IN SHAREHOLDER'S EQUITY
                                                    (Unaudited)


                                                                                                                             Total Shareholder's
(In millions)                                                                 Common Stock          Retained Earnings               Equity
Balance, December 31, 2017                                                $             764     $                571     $               1,335
Net income                                                                               —                        31                         31
Common stock dividends                                                                   —                        (36)                      (36)
Balance, March 31, 2018                                                   $             764     $                566     $               1,330

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                                     ATLANTIC CITY ELECTRIC COMPANY AND SUBSIDIARY COMPANY
                                CONSOLIDATED STATEMENTS OF OPERATIONS AND COMPREHENSIVE INCOME
                                                            (Unaudited)

                                                                                                            Three Months Ended March 31,
(In millions)                                                                                                 2018              2017
Operating revenues
  Electric operating revenues                                                                           $            311    $          268
  Revenues from alternative revenue programs                                                                          (2)                6
  Operating revenues from affiliates                                                                                   1                 1
    Total operating revenues                                                                                         310               275
Operating expenses
  Purchased power                                                                                                    155               128
  Purchased power from affiliates                                                                                      6                 9
  Operating and maintenance                                                                                          54                69
  Operating and maintenance from affiliates                                                                          36                  7
  Depreciation and amortization                                                                                      33                35
  Taxes other than income                                                                                              3                 2
    Total operating expenses                                                                                         287               250
Operating income                                                                                                     23                25
Other income and (deductions)
  Interest expense, net                                                                                              (16)              (15)
  Other, net                                                                                                           1                 2
    Total other income and (deductions)                                                                              (15)              (13)
Income before income taxes                                                                                             8               12
Income taxes                                                                                                           1               (16)
Net income                                                                                              $              7    $          28
Comprehensive income                                                                                    $              7    $          28

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                                        ATLANTIC CITY ELECTRIC COMPANY AND SUBSIDIARY COMPANY
                                               CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                               (Unaudited)


                                                                                                                 Three Months Ended
                                                                                                                      March 31,
(In millions)                                                                                                   2018              2017
Cash flows from operating activities
Net income                                                                                                  $            7    $          28
Adjustments to reconcile net income to net cash flows provided by operating activities:
  Depreciation and amortization                                                                                        33                35
  Deferred income taxes and amortization of investment tax credits                                                       2                (7)
  Other non-cash operating activities                                                                                    9                 2
  Changes in assets and liabilities:
    Accounts receivable                                                                                                 (5)              14
    Receivables from and payables to affiliates, net                                                                    (4)               (5)
    Inventories                                                                                                         —                 (1)
    Accounts payable and accrued expenses                                                                              30                 (5)
    Income taxes                                                                                                        —                  3
    Pension and non-pension postretirement benefit contributions                                                        (6)               —
    Other assets and liabilities                                                                                        (7)               (6)
Net cash flows provided by operating activities                                                                        59                58
Cash flows from investing activities
    Capital expenditures                                                                                               (63)              (88)
    Other investing activities                                                                                          (1)                1
Net cash flows used in investing activities                                                                            (64)              (87)
Cash flows from financing activities
    Changes in short-term borrowings                                                                                   28                 —
    Retirement of long-term debt                                                                                        (8)              (10)
    Dividends paid on common stock                                                                                      (9)              (10)
Net cash flows provided by (used in) financing activities                                                              11                (20)
Increase (Decrease) in cash, cash equivalents and restricted cash                                                        6               (49)
Cash, cash equivalents and restricted cash at beginning of period                                                      31                133
Cash, cash equivalents and restricted cash at end of period                                                 $          37     $          84



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                                     ATLANTIC CITY ELECTRIC COMPANY AND SUBSIDIARY COMPANY
                                                  CONSOLIDATED BALANCE SHEETS
                                                            (Unaudited)


(In millions)                                                                                     March 31, 2018               December 31, 2017
                                             ASSETS
Current assets
  Cash and cash equivalents                                                                 $                        10    $                        2
  Restricted cash and cash equivalents                                                                                7                             6
  Accounts receivable, net
    Customer                                                                                                         97                            92
    Other                                                                                                            51                            56
  Receivables from affiliates                                                                                         1                             —
  Inventories, net                                                                                                   29                            29
  Regulatory assets                                                                                                  64                            71
  Other                                                                                                               4                             2
    Total current assets                                                                                            263                            258
Property, plant and equipment, net                                                                                 2,767                      2,706
Deferred debits and other assets
  Regulatory assets                                                                                                 377                            359
  Long-term note receivable                                                                                           4                             4
  Prepaid pension asset                                                                                              76                            73
  Other                                                                                                              43                            45
    Total deferred debits and other assets                                                                          500                            481
Total assets    (a)                                                                         $                      3,530   $                  3,445

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                                                 ATLANTIC CITY ELECTRIC COMPANY AND SUBSIDIARY COMPANY
                                                              CONSOLIDATED BALANCE SHEETS
                                                                        (Unaudited)


(In millions)                                                                                                                        March 31, 2018                    December 31, 2017
                               LIABILITIES AND SHAREHOLDER'S EQUITY
Current liabilities
  Short-term borrowings                                                                                                      $                         136      $                           108
  Long-term debt due within one year                                                                                                                   278                                  281
  Accounts payable                                                                                                                                     166                                  118
  Accrued expenses                                                                                                                                       41                                  33
  Payables to affiliates                                                                                                                                 26                                  29
  Customer deposits                                                                                                                                      28                                  31
  Regulatory liabilities                                                                                                                                 21                                  11
  Other                                                                                                                                                    7                                   8
      Total current liabilities                                                                                                                        703                                  619
Long-term debt                                                                                                                                         836                                  840
Deferred credits and other liabilities
  Deferred income taxes and unamortized investment tax credits                                                                                         496                                  493
  Non-pension postretirement benefit obligations                                                                                                         14                                  14
  Regulatory liabilities                                                                                                                               416                                  411
  Other                                                                                                                                                  24                                  25
      Total deferred credits and other liabilities                                                                                                     950                                  943
      Total liabilities (a)                                                                                                                          2,489                               2,402
Commitments and contingencies
Shareholder's equity
  Common stock                                                                                                                                         912                                  912
  Retained earnings                                                                                                                                    129                                  131
      Total shareholder's equity                                                                                                                     1,041                               1,043
Total liabilities and shareholder's equity                                                                                   $                       3,530      $                        3,445
__________
(a)   ACE’s consolidated total assets include $27 million and $29 million at March 31, 2018 and December 31, 2017 , respectively, of ACE's consolidated VIE that can only be used to settle the
      liabilities of the VIE. ACE’s consolidated total liabilities include $83 million and $90 million at March 31, 2018 and December 31, 2017 , respectively, of ACE's consolidated VIE for which
      the VIE creditors do not have recourse to ACE. See Note 3 — Variable Interest Entities .


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                               ATLANTIC CITY ELECTRIC COMPANY AND SUBSIDIARY COMPANY
                             CONSOLIDATED STATEMENT OF CHANGES IN SHAREHOLDER'S EQUITY
                                                      (Unaudited)


                                                                                                                              Total Shareholder's
(In millions)                                                                  Common Stock          Retained Earnings               Equity
Balance, December 31, 2017                                                 $             912     $                131     $               1,043
Net income                                                                                —                          7                         7
Common stock dividends                                                                    —                         (9)                        (9)
Balance, March 31, 2018                                                    $             912     $                129     $               1,041

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                              COMBINED NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
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Index to Combined Notes To Consolidated Financial Statements


      The notes to the consolidated financial statements that follow are a combined presentation. The following list indicates the Registrants to which
the footnotes apply:

                                                                  Applicable Notes


Registrant                                                         1   2    3   4    5   6    7    8   9   10   11   12   13   14   15   16   17   18   19

Exelon Corporation                                                 .   .    .   .    .    .   .    .   .    .    .   .    .    .    .    .    .    .    .
Exelon Generation Company, LLC                                     .   .    .   .    .    .   .    .   .    .    .   .    .    .    .         .    .    .
Commonwealth Edison Company                                        .   .    .        .    .            .    .    .   .         .              .    .    .
PECO Energy Company                                                .   .    .        .    .            .    .    .   .         .    .         .    .    .
Baltimore Gas and Electric Company                                 .   .    .        .    .            .    .    .   .         .              .    .    .
Pepco Holdings LLC                                                 .   .    .        .    .            .    .    .   .         .              .    .    .
Potomac Electric Power Company                                     .   .    .        .    .            .    .    .   .         .              .    .    .
Delmarva Power & Light Company                                     .   .    .        .    .            .    .    .   .         .              .    .    .
Atlantic City Electric Company                                     .   .    .        .    .            .    .    .   .         .              .    .    .


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1 . Significant Accounting Policies (All Registrants)

Description of Business (All Registrants)


     Exelon is a utility services holding company engaged through its principal subsidiaries in the energy generation and energy distribution and
transmission businesses.


Name of Registrant               Business                                                                                           Service Territories

Exelon Generation                Generation, physical delivery and marketing of power across multiple geographical regions          Six reportable segments: Mid-Atlantic, Midwest, New England, New York,
Company, LLC                     through its customer-facing business, Constellation, which sells electricity to both wholesale     ERCOT and Other Power Regions
                                 and retail customers. Generation also sells natural gas, renewable energy and other energy-
                                 related products and services.


Commonwealth Edison              Purchase and regulated retail sale of electricity                                                  Northern Illinois, including the City of Chicago
Company
                                 Transmission and distribution of electricity to retail customers


PECO Energy Company              Purchase and regulated retail sale of electricity and natural gas                                  Southeastern Pennsylvania, including the City of Philadelphia (electricity)

                                 Transmission and distribution of electricity and distribution of natural gas to retail customers
                                                                                                                                    Pennsylvania counties surrounding the City of Philadelphia (natural gas)



Baltimore Gas and Electric       Purchase and regulated retail sale of electricity and natural gas                                  Central Maryland, including the City of Baltimore (electricity and natural gas)
Company
                                 Transmission and distribution of electricity and distribution of natural gas to retail customers


Pepco Holdings LLC               Utility services holding company engaged, through its reportable segments Pepco, DPL and           Service Territories of Pepco, DPL and ACE
                                 ACE

Potomac Electric                 Purchase and regulated retail sale of electricity                                                  District of Columbia, and major portions of Montgomery and Prince George’s
Power Company                                                                                                                       Counties, Maryland
                                 Transmission and distribution of electricity to retail customers



Delmarva Power & Light           Purchase and regulated retail sale of electricity and natural gas                                  Portions of Delaware and Maryland (electricity)
Company
                                 Transmission and distribution of electricity and distribution of natural gas to retail customers   Portions of New Castle County, Delaware (natural gas)



Atlantic City Electric Company   Purchase and regulated retail sale of electricity                                                  Portions of Southern New Jersey

                                 Transmission and distribution of electricity to retail customers




Basis of Presentation (All Registrants)

      Each of the Registrant’s Consolidated Financial Statements includes the accounts of its subsidiaries. All intercompany transactions have been
eliminated.

      The accompanying consolidated financial statements as of March 31, 2018 and 2017 and for the three months then ended are unaudited but,
in the opinion of the management of each Registrant include all adjustments that are considered necessary for a fair statement of the Registrants’
respective financial statements in accordance with GAAP. All adjustments are of a normal, recurring nature, except as otherwise disclosed. The
December 31, 2017 revised Consolidated Balance Sheets were derived from audited financial statements. Financial results for interim periods are
not necessarily indicative of results that may be expected for any other interim period or for the fiscal year ending December 31, 2018 . These
Combined Notes to Consolidated Financial Statements have been prepared pursuant to the rules and regulations of the SEC for Quarterly Reports
on Form 10-Q. Certain information and note disclosures normally included in financial statements prepared in accordance with GAAP have been
condensed or omitted pursuant to such rules and regulations.


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Prior Period Adjustments and Reclassifications (All Registrants)

          In the second quarter of 2017, errors were identified related to the Exelon, Generation, ComEd, PECO and BGE Consolidated Statements
of Cash Flows for the three months ended March 31, 2017. These classification errors related to the presentation of changes in Accounts payable
and accrued expenses and Accounts receivable within Cash flows provided by operating activities and Capital expenditures and Proceeds from sale
of long-lived assets within Cash flows used in investing activities. These errors have been corrected in Exelon's, Generation's, ComEd's, PECO's,
and BGE's Consolidated Statements of Cash Flows for the three months ended March 31, 2017 that are presented in this first quarter 2018 Form
10-Q. As revised, the Cash flows provided by operating activities for the three months ended March 31, 2017 are $1,074 million , $420 million , $236
million , $106 million and $208 million for Exelon, Generation, ComEd, PECO and BGE, respectively, an increase (decrease) of $(127) million ,
$(320) million , $91 million , $42 million and $40 million for Exelon, Generation, ComEd, PECO and BGE, respectively, from the originally reported
amounts. As revised, the Cash flows used in investing activities are $2,283 million , $910 million , $619 million , $69 million and $202 million for
Exelon, Generation, ComEd, PECO and BGE, respectively, an increase (decrease) of $(127) million , $(320) million , $91 million , $42 million and
$40 million for Exelon, Generation, ComEd, PECO and BGE, respectively, from the originally reported amounts. Management concluded that the
errors are not material to the previously issued financial statements.


     Certain prior year amounts in the Registrants' Consolidated Statements of Operations and Comprehensive Income, Consolidated Statements
of Cash Flows, Consolidated Balance Sheets and Consolidated Statements of Changes in Shareholders' Equity have been recasted to reflect new
accounting standards issued by the FASB and adopted as of January 1, 2018.

     Beginning on January 1, 2018, Exelon adopted the following new accounting standards requiring reclassification or adjustments to previously
reported information as follows:


    •   Statement of Cash Flows: Classification of Restricted Cash. The Registrants applied the new guidance using the full retrospective method
        and, accordingly, have recasted the presentation of restricted cash in their Consolidated Statements of Cash Flows in the prior periods
        presented. See Note 18 — Supplemental Financial Information for further information.

    •   Reclassification of Certain Tax Effects from Accumulated Other Comprehensive Income . Exelon early adopted and retrospectively applied
        the new guidance to when the effects of the TCJA were recognized and, accordingly, recasted its December 31, 2017 AOCI and retained
        earnings in its Consolidated Balance Sheet and Consolidated Statement of Changes in Shareholders' Equity. Exelon's accounting policy is
        to release the stranded tax effects from AOCI related to its pension and OPEB plans under a portfolio (or aggregate) approach as an entire
        pension or OPEB plan is liquidated or terminated. See Note 2 — New Accounting Standards for further information.


    •   Improving the Presentation of Net Periodic Pension Cost and Net Periodic Postretirement Benefit Cost. Exelon applied this guidance
        retrospectively for the presentation of the service and other non-service costs components of net benefit cost and, accordingly, have
        recasted those amounts, which were not material, in its Consolidated Statement of Operations and Comprehensive Income in prior periods
        presented. As part of the adoption, Exelon elected the practical expedient that permits an employer to use the amounts disclosed in its
        pension and other postretirement benefit plan note for the comparative periods as the estimation basis for applying the retrospective
        presentation requirements. See Note 14 — Retirement Benefits for further information.


    •   Revenue from Contracts with Customers . The Registrants applied the new guidance using the full retrospective method and, accordingly,
        have recasted certain amounts in their Consolidated


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       Statements of Operations and Comprehensive Income, Consolidated Statements of Cash Flows, Consolidated Balance Sheets,
       Consolidated Statements of Changes in Shareholders' Equity and Combined Notes to Consolidated Financial Statements in the prior
       periods presented. The amounts recasted in the Registrants' Consolidated Statements of Operations and Comprehensive Income are
       shown in the table below. The amounts recasted in the Registrants’ Consolidated Statements of Cash Flows, Consolidated Balance Sheets,
       Consolidated Statements of Changes in Shareholders' Equity and Combined Notes to Consolidated Financial Statements were not
       material. See Note 5 — Revenue from Contracts with Customers for further information.


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Three Months Ended March 31,
2017                                Exelon           Generation              ComEd            PECO           BGE           PHI              Pepco         DPL             ACE
   Operating Revenues - As
                       reported
        Competitive business
                       revenues $     4,560      $                 —     $       —       $       —       $      —      $          —     $       —     $     —         $     —
Rate-regulated utility revenues       4,197                        —             —               —              —                 —             —           —               —
          Operating revenues             —                  4,558                —               —              —                 —             —           —               —
   Electric operating revenues           —                         —          1,293             589           665            1,097            529          294             274
        Natural gas operating
                     revenues            —                         —             —              206           281                66             —           66              —
     Operating revenues from
                      affiliates         —                    330                    5               1             5             12              1              2               1
     Total operating revenues $       8,757      $          4,888        $    1,298      $      796      $    951      $     1,175      $     530     $    362        $    275


       Operating Revenues -
               Adjustments
        Competitive business
                   revenues $           (10)     $                 —     $       —       $       —       $      —      $          —     $       —     $     —         $     —
Rate-regulated utility revenues         (79)                       —             —               —              —                 —             —           —               —
          Operating revenues             —                        (10)           —               —              —                 —             —           —               —
   Electric operating revenues           —                         —            (14)             —             (25)              (30)          (15)             (9)             (6)
        Natural gas operating
                    revenues             —                         —             —               —             (10)               —             —           —               —
    Revenues from alternative
           revenue programs              79                        —             14              —             35                30            15               9               6
     Operating revenues from
                     affiliates          —                         —             —               —              —                 —             —           —               —
     Total operating revenues $         (10)     $                (10)   $       —       $       —       $      —      $          —     $       —     $     —         $     —


       Operating Revenues -
   Retrospective application
        Competitive business
                   revenues $         4,550      $                 —     $       —       $       —       $      —      $          —     $       —     $     —         $     —
Rate-regulated utility revenues       4,118                        —             —               —              —                 —             —           —               —
          Operating revenues             —                  4,548                —               —              —                 —             —           —               —
   Electric operating revenues           —                         —          1,279             589           640            1,067            514          285             268
        Natural gas operating
                    revenues             —                         —             —              206           271                66             —           66              —
    Revenues from alternative
           revenue programs              79                        —             14              —             35                30            15               9               6
     Operating revenues from
                     affiliates          —                    330                    5               1             5             12              1              2               1
     Total operating revenues $       8,747      $          4,878        $    1,298      $      796      $    951      $     1,175      $     530     $    362        $    275




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Revenues (All Registrants)

      Operating Revenues . The Registrants’ operating revenues generally consist of revenues from contracts with customers involving the sale
and delivery of energy commodities and related products and services, utility revenues from alternative revenue programs (ARP), and realized and
unrealized revenues recognized under mark-to-market energy commodity derivative contracts. The Registrants recognize revenue from contracts
with customers to depict the transfer of goods or services to customers in an amount that the entities expect to be entitled to in exchange for those
goods or services. Generation’s primary sources of revenue include competitive sales of power, natural gas, and other energy-related products and
services. The Utility Registrants’ primary sources of revenue include regulated electric and natural gas tariff sales, distribution and transmission
services. At the end of each month, the Registrants accrue an estimate for the unbilled amount of energy delivered or services provided to
customers.


      ComEd records ARP revenue for its best estimate of the electric distribution, energy efficiency, and transmission revenue impacts resulting
from future changes in rates that ComEd believes are probable of approval by the ICC and FERC in accordance with its formula rate mechanisms.
BGE, Pepco and DPL record ARP revenue for their best estimate of the electric and natural gas distribution revenue impacts resulting from future
changes in rates that they believe are probable of approval by the MDPSC and/or DCPSC in accordance with their revenue decoupling
mechanisms. PECO, BGE, Pepco, DPL and ACE record ARP revenue for their best estimate of the transmission revenue impacts resulting from
future changes in rates that they believe are probable of approval by FERC in accordance with their formula rate mechanisms. See Note 5 —
Revenue from Contracts with Customers and Note 6 — Regulatory Matters for further information.

      RTOs and ISOs . In RTO and ISO markets that facilitate the dispatch of energy and energy-related products, the Registrants generally report
sales and purchases conducted on a net hourly basis in either revenues or purchased power on their Consolidated Statements of Operations and
Comprehensive Income, the classification of which depends on the net hourly sale or purchase position. In addition, capacity revenue and expense
classification is based on the net sale or purchase position of the Registrants in the different RTOs and ISOs.


        Option Contracts, Swaps and Commodity Derivatives . Certain option contracts and swap arrangements that meet the definition of
derivative instruments are recorded at fair value with subsequent changes in fair value recognized as revenue or expense. The classification of
revenue or expense is based on the intent of the transaction. For example, gas transactions may be used to hedge the sale of power. This will result
in the change in fair value recorded through revenue. To the extent a Utility Registrant receives full cost recovery for energy procurement and related
costs from retail customers, it records the fair value of its energy swap contracts with unaffiliated suppliers as well as an offsetting regulatory asset or
liability on its Consolidated Balance Sheets. Refer to Note 6 — Regulatory Matters and Note 10 — Derivative Financial Instruments for further
information.


      Taxes Directly Imposed on Revenue-Producing Transactions. The Registrants collect certain taxes from customers such as sales and
gross receipts taxes, along with other taxes, surcharges and fees that are levied by state or local governments on the sale or distribution of natural
gas and electricity. Some of these taxes are imposed on the customer, but paid by the Registrants, while others are imposed directly on the
Registrants. The Registrants do not recognize revenue or expense in their Consolidated Statements of Operations and Comprehensive Income
when these taxes are imposed on the customer, such as sales taxes. However, when these taxes are imposed directly on the Registrants, such as
gross receipts taxes or other surcharges or fees, the Registrants recognize revenue for the taxes collected from customers along with an offsetting
expense. See Note 18 — Supplemental Financial Information for Generation’s, ComEd’s, PECO’s, BGE’s, Pepco’s, DPL’s and ACE’s utility taxes
that are presented on a gross basis.


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2.   New Accounting Standards (All Registrants)

     New Accounting Standards Adopted: In 2018, the Registrants have adopted the following new authoritative accounting guidance issued by
the FASB.


      Reclassification of Certain Tax Effects from Accumulated Other Comprehensive Income (Issued February 2018): Provides an election for a
reclassification from AOCI to Retained earnings to eliminate the stranded tax effects resulting from the TCJA. This standard is effective January 1,
2019, with early adoption permitted, and may be applied either in the period of adoption or retrospective to each period in which the effects of the
TCJA were recognized. Exelon early adopted this standard during the first quarter 2018 and elected to apply the guidance retrospectively as of
December 31, 2017, which resulted in an increase to Exelon’s Retained earnings and Accumulated other comprehensive loss of $539 million related
to deferred income taxes associated with Exelon’s pension and OPEB obligations. There was no impact for Generation, ComEd, PECO, BGE, PHI,
Pepco, DPL or ACE.

     See Note 1 — Significant Accounting Policies of the Exelon 2017 Form 10-K for information on other new accounting standards issued and
adopted as of January 1, 2018.

      New Accounting Standards Issued and Not Yet Adopted as of March 31, 2018: The following new authoritative accounting guidance
issued by the FASB has not yet been adopted and reflected by the Registrants in their consolidated financial statements as of March 31, 2018.
Unless otherwise indicated, the Registrants are currently assessing the impacts such guidance may have (which could be material) on their
Consolidated Balance Sheets, Consolidated Statements of Operations and Comprehensive Income, Consolidated Statements of Cash Flows and
disclosures, as well as the potential to early adopt where applicable. The Registrants have assessed other FASB issuances of new standards which
are not listed below given the current expectation that such standards will not significantly impact the Registrants' financial reporting.


       Leases (Issued February 2016): Increases transparency and comparability among organizations by recognizing lease assets and lease
liabilities on the balance sheet and disclosing key information about leasing arrangements. The standard is effective January 1, 2019. Early adoption
is permitted, however the Registrants will not early adopt the standard. The issued guidance required a modified retrospective transition approach,
which requires lessees and lessors to recognize and measure leases at the beginning of the earliest period presented (January 1, 2017). In January
2018, the FASB proposed amending the standard to give entities another option for transition. The proposed transition method would allow entities
to initially apply the requirements of the standard in the period of adoption (January 1, 2019). The Registrants will assess this transition option when
the FASB issues the standard.

      The new guidance requires lessees to recognize both the right-of-use assets and lease liabilities in the balance sheet for most leases, whereas
today only finance lease liabilities (referred to as capital leases) are recognized in the balance sheet. In addition, the definition of a lease has been
revised which may result in changes to the classification of an arrangement as a lease. Under the new guidance, an arrangement that conveys the
right to control the use of an identified asset by obtaining substantially all of its economic benefits and directing how it is used is a lease, whereas the
current definition focuses on the ability to control the use of the asset or to obtain its output. Quantitative and qualitative disclosures related to the
amount, timing and judgments of an entity’s accounting for leases and the related cash flows are expanded. Disclosure requirements apply to both
lessees and lessors, whereas current disclosures relate only to lessees. Significant changes to lease systems, processes and procedures are
required to implement the requirements of the new standard. The recognition, measurement, and presentation of expenses and cash flows arising
from a lease by a lessee have not significantly changed from current GAAP. Lessor accounting is also largely unchanged.

    The standard provides a number of transition practical expedients that entities may elect. These include a "package of three" expedients that
must be taken together and allow entities to (1) not reassess


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whether existing contracts contain leases, (2) carryforward the existing lease classification, and (3) not reassess initial direct costs associated with
existing leases. The Registrants expect to elect this practical expedient.

     In January 2018, the FASB issued additional guidance which provides another optional transition practical expedient. This practical expedient
allows entities to not evaluate land easements under the new guidance at adoption if they were not previously accounted for as leases.


    The Registrants have assessed the lease standard and are executing a detailed implementation plan in preparation for adoption on January 1,
2019. Key activities in the implementation plan include:

     •   Developing a complete lease inventory and abstracting the required data attributes into a lease accounting system that supports the
         Registrants' lease portfolios and integrates with existing systems.

     •   Evaluating the transition practical expedients available under the guidance.


     •   Identifying, assessing and documenting technical accounting issues, policy considerations and financial reporting implications which
         includes completing a detailed contract assessment for a sample of transactions to determine whether they are leases under the new
         guidance.


     •   Identifying and implementing changes to processes and controls to ensure all impacts of the new guidance are effectively addressed.


      Impairment of Financial Instruments (Issued June 2016): Provides for a new Current Expected Credit Loss (CECL) impairment model for
specified financial instruments including loans, trade receivables, debt securities classified as held-to-maturity investments and net investments in
leases recognized by a lessor. Under the new guidance, on initial recognition and at each reporting period, an entity is required to recognize an
allowance that reflects the entity’s current estimate of credit losses expected to be incurred over the life of the financial instrument. The standard
does not make changes to the existing impairment models for non-financial assets such as fixed assets, intangibles and goodwill. The standard will
be effective January 1, 2020 (with early adoption as of January 1, 2019 permitted) and requires a modified retrospective transition approach through
a cumulative-effect adjustment to retained earnings as of the beginning of the period of adoption.

      Goodwill Impairment (Issued January 2017): Simplifies the accounting for goodwill impairment by removing Step 2 of the current test, which
requires calculation of a hypothetical purchase price allocation. Under the revised guidance, goodwill impairment will be measured as the amount by
which a reporting unit’s carrying value exceeds its fair value, not to exceed the carrying amount of goodwill (currently Step 1 of the two-step
impairment test). Entities will continue to have the option to perform a qualitative assessment to determine if a quantitative impairment test is
necessary. Exelon, Generation, ComEd, PHI and DPL have goodwill as of March 31, 2018 . This updated guidance is not currently expected to
impact the Registrants’ financial reporting. The standard is effective January 1, 2020, with early adoption permitted, and must be applied on a
prospective basis.


      Derivatives and Hedging (Issued September 2017): Allows more financial and nonfinancial hedging strategies to be eligible for hedge
accounting. The amendments are intended to more closely align hedge accounting with companies’ risk management strategies, simplify the
application of hedge accounting, and increase transparency as to the scope and results of hedging programs. There are also amendments related to
effectiveness testing and disclosure requirements. The guidance is effective January 1, 2019 and early adoption is permitted with a modified
retrospective transition approach. The Registrants are currently assessing this standard but do not currently expect a significant impact given the
limited activity for which the Registrants elect hedge accounting and because the Registrants do not anticipate increasing their use of hedge
accounting as a result of this standard.


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3.   Variable Interest Entities (All Registrants)

      A VIE is a legal entity that possesses any of the following characteristics: an insufficient amount of equity at risk to finance its activities, equity
owners who do not have the power to direct the significant activities of the entity (or have voting rights that are disproportionate to their ownership
interest) or equity owners who do not have the obligation to absorb expected losses or the right to receive the expected residual returns of the entity.
Companies are required to consolidate a VIE if they are its primary beneficiary, which is the enterprise that has the power to direct the activities that
most significantly affect the entity’s economic performance.

      At March 31, 2018 and December 31, 2017 , Exelon, Generation, PHI and ACE collectively consolidated five VIEs or VIE groups for which the
applicable Registrant was the primary beneficiary ( see Consolidated Variable Interest Entities below) . As of March 31, 2018 and December 31,
2017 , Exelon and Generation collectively had significant interests in seven other VIEs for which the applicable Registrant does not have the power
to direct the entities’ activities and, accordingly, was not the primary beneficiary ( see Unconsolidated Variable Interest Entities below) .

Consolidated Variable Interest Entities

     As of March 31, 2018 and December 31, 2017 , Exelon's and Generation's consolidated VIEs consist of:


        •    energy related companies involved in distributed generation, backup generation and energy development

        •    renewable energy project companies formed by Generation to build, own and operate renewable power facilities


        •    certain retail power and gas companies for which Generation is the sole supplier of energy, and


        •    CENG.

     As of March 31, 2018 and December 31, 2017 , Exelon's, PHI's and ACE's consolidated VIE consist of:


        •    ATF , a special purpose entity formed by ACE for the purpose of securitizing authorized portions of ACE’s recoverable stranded costs
             through the issuance and sale of transition bonds.

     As of March 31, 2018 and December 31, 2017 , ComEd, PECO, BGE, Pepco and DPL did not have any material consolidated VIEs.


     As of March 31, 2018 and December 31, 2017 , Exelon and Generation provided the following support to their respective consolidated VIEs:


        •    Generation provides operating and capital funding to the renewable energy project companies and there is limited recourse to
             Generation related to certain renewable energy project companies.

        •    Generation provides operating and capital funding to one of the energy related companies involved in backup generation.


        •    Generation provides approximately $30 million in credit support for the retail power and gas companies for which Generation is the sole
             supplier of energy.


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       •   Exelon and Generation, where indicated, provide the following support to CENG (see Note 26 — Related Party Transactions of the
           Exelon 2017 Form 10-K for additional information regarding Generation's and Exelon’s transactions with CENG):

           •    under power purchase agreements with CENG, Generation purchased or will purchase 50.01% of the available output generated by
                the CENG nuclear plants not subject to other contractual agreements from January 2015 through the end of the operating life of
                each respective plant. However, pursuant to amendments dated March 31, 2015, the energy obligations under the Ginna Nuclear
                Power Plant (Ginna) PPAs were suspended during the term of the Reliability Support Services Agreement (RSSA), through the end
                of March 31, 2017. With the expiration of the RSSA, the PPA was reinstated beginning April 1, 2017 (see Note 6 — Regulatory
                Matters for additional details),


           •    Generation provided a $400 million loan to CENG. As of March 31, 2018 , the remaining obligation is $337 million , including
                accrued interest, which reflects the principal payment made in January 2015,

           •    Generation executed an Indemnity Agreement pursuant to which Generation agreed to indemnify EDF against third-party claims
                that may arise from any future nuclear incident (as defined in the Price-Anderson Act) in connection with the CENG nuclear plants
                or their operations. Exelon guarantees Generation’s obligations under this Indemnity Agreement. (See Note 17 — Commitments
                and Contingencies for more details),


           •    Generation and EDF share in the $637 million of contingent payment obligations for the payment of contingent retrospective
                premium adjustments for the nuclear liability insurance,


           •    Exelon has executed an agreement to provide up to $245 million to support the operations of CENG as well as a $165 million
                guarantee of CENG’s cash pooling agreement with its subsidiaries.


    As of March 31, 2018 and December 31, 2017 , Exelon, PHI and ACE provided the following support to their respective consolidated VIE:


       •   In the case of ATF, proceeds from the sale of each series of transition bonds by ATF were transferred to ACE in exchange for the
           transfer by ACE to ATF of the right to collect a non-bypassable Transition Bond Charge from ACE customers pursuant to bondable
           stranded costs rate orders issued by the NJBPU in an amount sufficient to fund the principal and interest payments on transition bonds
           and related taxes, expenses and fees. During the three months ended March 31, 2018 , ACE transferred $8 million to ATF. During the
           three months ended March 31, 2017 , ACE transferred $19 million to ATF.


    For each of the consolidated VIEs, except as otherwise noted:


       •   the assets of the VIEs are restricted and can only be used to settle obligations of the respective VIE;

       •   Exelon, Generation, PHI and ACE did not provide any additional material financial support to the VIEs;


       •   Exelon, Generation, PHI and ACE did not have any material contractual commitments or obligations to provide financial support to the
           VIEs; and


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           •    the creditors of the VIEs did not have recourse to Exelon’s, Generation’s, PHI's or ACE's general credit.

     The carrying amounts and classification of the consolidated VIEs’ assets and liabilities included in the Registrants' consolidated financial
statements at March 31, 2018 and December 31, 2017 are as follows:


                                                                  March 31, 2018                                                           December 31, 2017

                                         Exelon (a)          Generation            PHI (a)             ACE            Exelon (a)        Generation             PHI (a)            ACE
Current assets                      $            823     $           812      $              11    $          7   $           662   $           652    $                 10   $          6
Noncurrent assets                              9,279               9,251                     28              20             9,317             9,286                      31             23
      Total assets                  $        10,102      $        10,063      $              39    $         27   $         9,979   $         9,938    $                 41   $         29
Current liabilities                 $            269     $           236      $              33    $         29   $           308   $           272    $                 36   $         32
Noncurrent liabilities                         3,292               3,230                     62              54             3,316             3,250                      66             58
      Total liabilities             $          3,561     $         3,466      $              95    $         83   $         3,624   $         3,522    $             102      $         90
_________
(a)   Includes certain purchase accounting adjustments not pushed down to the ACE standalone entity.


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      Assets and Liabilities of Consolidated VIEs

     Included within the balances above are assets and liabilities of certain consolidated VIEs for which the assets can only be used to settle
obligations of those VIEs, and liabilities that creditors or beneficiaries do not have recourse to the general credit of the Registrants. As of March 31,
2018 and December 31, 2017 , these assets and liabilities primarily consisted of the following:


                                                                       March 31, 2018                                                           December 31, 2017

                                                Exelon (a)            Generation            PHI (a)            ACE       Exelon (a)            Generation            PHI   (a)             ACE

Cash and cash equivalents                  $             280      $           280       $             —    $    —    $           126       $           126       $                —    $     —
Restricted cash                                              73                    66                  7         7                    64                    58                     6             6
Accounts receivable, net
      Customer                                           154                  154                     —         —                170                   170                        —          —
      Other                                                  29                    29                 —         —                     25                    25                    —          —
Inventory
      Materials and supplies                             202                  202                     —         —                205                   205                        —          —
Other current assets                                         55                    51                  4        —                     45                    41                     4         —
      Total current assets                               793                  782                     11         7               635                   625                        10             6
Property, plant and equipment, net                    6,181                 6,181                     —         —              6,186                 6,186                        —          —
Nuclear decommissioning trust funds                   2,483                 2,483                     —         —              2,502                 2,502                        —          —
Other noncurrent assets                                  270                  242                     28        20               274                   243                        31         23
      Total noncurrent assets                         8,934                 8,906                     28        20             8,962                 8,931                        31         23
      Total assets                         $          9,727       $         9,688       $             39   $    27   $         9,597       $         9,556       $                41   $     29
Long-term debt due within one year         $             102      $                70   $             32   $    28   $           102       $                67   $                35   $     31
Accounts payable                                             93                    93                 —         —                114                   114                        —          —
Accrued expenses                                             52                    51                  1         1                    67                    66                     1             1
Unamortized energy contract liabilities                      17                    17                 —         —                     18                    18                    —          —
Other current liabilities                                     5                     5                 —         —                      7                     7                    —          —
      Total current liabilities                          269                  236                     33        29               308                   272                        36         32
Long-term debt                                        1,125                 1,063                     62        54             1,154                 1,088                        66         58
Asset retirement obligations                          2,062                 2,062                     —         —              2,035                 2,035                        —          —
Unamortized energy contract liabilities                       1                     1                 —         —                      5                     5                    —          —
Other noncurrent liabilities                                 99                    99                 —         —                116                   116                        —          —
      Total noncurrent liabilities                    3,287                 3,225                     62        54             3,310                 3,244                        66         58
      Total liabilities                    $          3,556       $         3,461       $             95   $    83   $         3,618       $         3,516       $               102   $     90
_________
(a)   Includes certain purchase accounting adjustments not pushed down to the ACE standalone entity.


Unconsolidated Variable Interest Entities

     Exelon’s and Generation’s variable interests in unconsolidated VIEs generally include equity investments and energy purchase and sale
contracts. For the equity investments, the carrying amount of the investments is reflected on Exelon’s and Generation’s Consolidated Balance
Sheets in Investments. For the energy purchase and sale contracts (commercial agreements), the carrying amount of assets and liabilities in
Exelon’s and Generation’s Consolidated Balance Sheets that relate to their involvement with the VIEs are predominately related to working capital
accounts and generally represent


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the amounts owed by, or owed to, Exelon and Generation for the deliveries associated with the current billing cycles under the commercial
agreements. Further, Exelon and Generation have not provided material debt or equity support, liquidity arrangements or performance guarantees
associated with these commercial agreements.

    As of March 31, 2018 and December 31, 2017 , Exelon's and Generation's unconsolidated VIEs consist of:


       •   Energy purchase and sale agreements with VIEs for which Generation has concluded that consolidation is not required.

       •   Asset sale agreement with ZionSolutions, LLC and EnergySolutions, Inc. in which Generation has a variable interest but has concluded
           that consolidation is not required.


       •   Equity investments in distributed energy companies for which Generation has concluded that consolidation is not required.

     As of March 31, 2018 and December 31, 2017 , ComEd, PECO, BGE, PHI, Pepco, ACE and DPL did not have any material unconsolidated
VIEs.

     As of March 31, 2018 and December 31, 2017 , Exelon and Generation had significant unconsolidated variable interests in seven VIEs for
which Exelon or Generation, as applicable, was not the primary beneficiary; including certain equity investments and certain commercial
agreements. Exelon and Generation only include unconsolidated VIEs that are individually material in the tables below. However, Generation has
several individually immaterial VIEs that in aggregate represent a total investment of $9 million . These immaterial VIEs are equity and debt
securities in energy development companies. The maximum exposure to loss related to these securities is limited to the $9 million included in
Investments on Exelon’s and Generation’s Consolidated Balance Sheets . The risk of a loss was assessed to be remote and, accordingly, Exelon
and Generation have not recognized a liability associated with any portion of the maximum exposure to loss.


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       The following tables present summary information about Exelon's and Generation’s significant unconsolidated VIE entities:

                                                                                                             Commercial                      Equity
                                                                                                             Agreement                     Investment
March 31, 2018                                                                                                  VIEs                          VIEs                        Total
Total assets (a)                                                                                      $                    626     $                    501     $                 1,127
                    (a)
Total liabilities                                                                                                           37                          225                        262
Exelon's ownership interest in VIE (a)                                                                                      —                           246                        246
Other ownership interests in VIE (a)                                                                                       588                           30                        618
Registrants’ maximum exposure to loss:
      Carrying amount of equity method investments                                                                          —                           246                        246
      Contract intangible asset                                                                                               8                          —                            8
      Net assets pledged for Zion Station decommissioning (b)                                                                 2                          —                            2

                                                                                                             Commercial                      Equity
                                                                                                             Agreement                     Investment
December 31, 2017                                                                                               VIEs                          VIEs                        Total
Total assets (a)                                                                                      $                    625     $                    509     $                 1,134
                    (a)
Total liabilities                                                                                                           37                          228                        265
Exelon's ownership interest in VIE (a)                                                                                      —                           251                        251
Other ownership interests in VIE (a)                                                                                       588                           30                        618
Registrants’ maximum exposure to loss:
      Carrying amount of equity method investments                                                                          —                           251                        251
      Contract intangible asset                                                                                               8                          —                            8
    Net assets pledged for Zion Station decommissioning (b)                                                                   2                          —                            2
_________
(a)   These items represent amounts on the unconsolidated VIE balance sheets, not on Exelon’s or Generation’s Consolidated Balance Sheets. These items are included to provide information
      regarding the relative size of the unconsolidated VIEs.
(b)   These items represent amounts on Exelon’s and Generation’s Consolidated Balance Sheets related to the asset sale agreement with ZionSolutions, LLC. The net assets pledged for Zion
      Station decommissioning includes gross pledged assets of $30 million and $39 million as of March 31, 2018 and December 31, 2017 , respectively; offset by payables to ZionSolutions,
      LLC of $28 million and $37 million as of March 31, 2018 and December 31, 2017 , respectively. These items are included to provide information regarding the relative size of the
      ZionSolutions, LLC unconsolidated VIE. See Note 13 — Nuclear Decommissioning for additional details.

      For each of the unconsolidated VIEs, Exelon and Generation have assessed the risk of a loss equal to their maximum exposure to be remote
and, accordingly, Exelon and Generation have not recognized a liability associated with any portion of the maximum exposure to loss. In addition,
there are no material agreements with, or commitments by, third parties that would affect the fair value or risk of their variable interests in these
VIEs.


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4 . Mergers, Acquisitions and Dispositions (Exelon and Generation)

Acquisition of Handley Generating Station (Exelon and Generation)


       On November 7, 2017, EGTP and all of its wholly owned subsidiaries filed voluntary petitions for relief under Chapter 11 of Title 11 of the
United States Code in the United States Bankruptcy Court for the District of Delaware, which resulted in Exelon and Generation deconsolidating
EGTP's assets and liabilities from their consolidated financial statements in the fourth quarter of 2017. Concurrently with the Chapter 11 filings,
Generation entered into an asset purchase agreement to acquire one of EGTP's generating plants, the Handley Generating Station, subject to a
potential adjustment for fuel oil and assumption of certain liabilities. In the Chapter 11 Filings, EGTP requested that the proposed acquisition of the
Handley Generating Station be consummated through a court-approved and supervised sales process. The acquisition was approved by the
Bankruptcy Court in January 2018 and closed on April 4, 2018 for a purchase price of $62 million . The Chapter 11 bankruptcy proceedings were
finalized on April 17, 2018, resulting in the ownership of EGTP assets (other than the Handley Generating Station) being transferred to EGTP's
lenders.

Acquisition of James A. FitzPatrick Nuclear Generating Station (Exelon and Generation)

      On March 31, 2017, Generation acquired the 842 MW single-unit James A. FitzPatrick (FitzPatrick) nuclear generating station located in Scriba,
New York from Entergy Nuclear FitzPatrick LLC (Entergy) for a total purchase price of $289 million , which consisted of a cash purchase price of
$110 million and a net cost reimbursement to and on behalf of Entergy of $179 million . As part of the acquisition agreements, Generation provided
nuclear fuel and reimbursed Entergy for incremental costs to prepare for and conduct a plant refueling outage; and Generation reimbursed Entergy
for incremental costs to operate and maintain the plant for the period after the refueling outage through the acquisition closing date. These
reimbursements covered costs that Entergy otherwise would have avoided had it shut down the plant as originally intended in January 2017. The
amounts reimbursed by Generation were offset by FitzPatrick's electricity and capacity sales revenues for this same post-outage period. As part of
the transaction, Generation received the FitzPatrick NDT fund assets and assumed the obligation to decommission FitzPatrick. The NRC license for
FitzPatrick expires in 2034.

     The fair values of FitzPatrick’s assets and liabilities were determined based on significant estimates and assumptions that are judgmental in
nature, including projected future cash flows (including timing), discount rates reflecting risk inherent in the future cash flows and future power and
fuel market prices. The valuations performed in the first quarter of 2017 to determine the fair value of the FitzPatrick assets acquired and liabilities
assumed were updated in the third quarter of 2017. The purchase price allocation is now final.

      For the three months ended March 31, 2017, an after-tax bargain purchase gain of $226 million is included within Exelon's and Generation's
Consolidated Statements of Operations and Comprehensive Income and primarily reflects differences in strategies between Generation and Entergy
for the intended use and ultimate decommissioning of the plant. During the third quarter of 2017, Exelon and Generation recorded an additional
after-tax bargain purchase gain of $7 million for the three months ended September 30, 2017. The total after-tax bargain purchase gain recorded at
Exelon and Generation was $233 million for the twelve months ended December 31, 2017. See Note 13 — Nuclear Decommissioning and Note 14
— Retirement Benefits for additional information regarding the FitzPatrick decommissioning ARO and pension and OPEB updates.


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     The following table summarizes the acquisition-date fair value of the consideration transferred and the assets and liabilities assumed for the
FitzPatrick acquisition by Generation:

Cash paid for purchase price                                                                                                                    $                                     110
Cash paid for net cost reimbursement                                                                                                                                                  125
Nuclear fuel transfer                                                                                                                                                                   54
Total consideration transferred                                                                                                                 $                                     289


Identifiable assets acquired and liabilities assumed
Current assets                                                                                                                                  $                                       60
Property, plant and equipment                                                                                                                                                         298
Nuclear decommissioning trust funds                                                                                                                                                   807
Other assets (a)                                                                                                                                                                      114
Total assets                                                                                                                                    $                                   1,279


Current liabilities                                                                                                                             $                                        6
Nuclear decommissioning ARO                                                                                                                                                           444
Pension and OPEB obligations                                                                                                                                                            33
Deferred income taxes                                                                                                                                                                 149
Spent nuclear fuel obligation                                                                                                                                                         110
Other liabilities                                                                                                                                                                       15
Total liabilities                                                                                                                               $                                     757
Total net identifiable assets, at fair value                                                                                                    $                                     522


Bargain purchase gain (after-tax)                                                                                                               $                                     233
_________
(a)   Includes a $110 million asset associated with a contractual right to reimbursement from the New York Power Authority (NYPA), a prior owner of FitzPatrick, associated with the DOE one-
      time fee obligation. See Note 23 - Commitments and Contingencies of the Exelon 2017 Form 10-K for additional background regarding SNF obligations to the DOE.

    Exelon and Generation incurred $32 million of merger and integration costs related to FitzPatrick for the three months ended March 31, 2017 ,
which are included within Operating and maintenance expense in Exelon's and Generation's Consolidated Statements of Operations and
Comprehensive Income. Exelon and Generation did not incur any merger and integration costs related to FitzPatrick for the three months ended
March 31, 2018 .

Asset Dispositions


     In December 2017, Generation entered into an agreement to sell its interest in an electrical contracting business that primarily installs,
maintains and repairs underground and high-voltage cable transmission and distribution systems. As a result, as of December 31, 2017, certain
assets and liabilities were classified as held for sale and included in the Other current assets and Other current liabilities balances on Exelon's and
Generations' Consolidated Balance Sheet. On February 28, 2018, Generation completed the sale of its interest for $87 million , resulting in a pre-tax
gain which is included in Gain on sales of assets and businesses on Exelon's and Generation's Consolidated Statements of Operations and
Comprehensive Income for the three months ended March 31, 2018 .


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5 . Revenue from Contracts with Customers (All Registrants)

     The Registrants recognize revenue from contracts with customers to depict the transfer of goods or services to customers at an amount that
the entities expect to be entitled to in exchange for those goods or services. Generation’s primary sources of revenue include competitive sales of
power, natural gas, and other energy-related products and services. The Utility Registrants’ primary sources of revenue include regulated electric
and gas tariff sales, distribution and transmission services. The performance obligations associated with these sources of revenue are further
discussed below.

      Unless otherwise noted, for each of the significant revenue categories and related performance obligations described below, the Registrants
have the right to consideration from the customer in an amount that corresponds directly with the value transferred to the customer for the
performance completed to date. Therefore, the Registrant's have elected to use the right to invoice practical expedient for the contracts within these
revenue categories and generally recognize revenue in the amount for which they have the right to invoice the customer. As a result, there are
generally no significant judgments used in determining or allocating the transaction price.

Competitive Power Sales (Exelon and Generation)

       Generation sells power and other energy-related commodities to both wholesale and retail customers across multiple geographic regions
through its customer-facing business, Constellation. Power sale contracts generally contain various performance obligations including the delivery of
power and other energy-related commodities such as capacity, ZECs, RECs or other ancillary services. Revenues related to such contracts are
generally recognized over time as the power is generated and simultaneously delivered to the customer. However, revenues related to the sale of
any goods or services that are not simultaneously received and consumed by the customer are recognized as the performance obligations are
satisfied at a point in time. Payment terms generally require that the customers pay for the power or the energy-related commodity within the month
following delivery to the customer and there are generally no significant financing components.

      Certain contracts may contain limits on the total amount of revenue we are able to collect over the entire term of the contract. In such cases,
the Registrants estimate the total consideration expected to be received over the term of the contract net of the constraint, and allocate the expected
consideration to the performance obligations in the contract such that revenue is recognized ratably over the term of the entire contract as the
performance obligations are satisfied.

Competitive Natural Gas Sales (Exelon and Generation)


      Generation sells natural gas on a full requirements basis or for an agreed upon volume to both commercial and residential customers. The
primary performance obligation associated with natural gas sale contracts is the delivery of the natural gas to the customer. Revenues related to the
sale of natural gas are recognized over time as the natural gas is delivered to and consumed by the customer. Payment from customers is typically
due within the month following delivery of the natural gas to the customer and there are generally no significant financing components.


Other Competitive Products and Services (Exelon and Generation)


      Generation also sells other energy-related products and services such as long-term construction and installation of energy efficiency assets
and new power generating facilities, primarily to commercial and industrial customers. These contracts generally contain a single performance
obligation, which is the construction and/or installation of the asset for the customer. The average contract term for these projects is approximately
18 months. Revenues, and associated costs, are recognized throughout the contract term using an input method to measure progress towards
completion. The method recognizes revenue based on the various inputs used to satisfy the performance obligation, such as costs incurred


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and total labor hours expended. The total amount of revenue that will be recognized is based on the agreed upon contractually-stated amount.
Payments from customers are typically due within 30 or 45 days from the date the invoice is generated and sent to the customer.

Regulated Electric and Gas Tariff Sales (Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE)


      The Utility Registrants sell electricity and electricity distribution services to residential, commercial, industrial and governmental customers
through regulated tariff rates approved by their state regulatory commissions. PECO, BGE and DPL also sell natural gas and gas distribution
services to residential, commercial, and industrial customers through regulated tariff rates approved by their state regulatory commissions. The
performance obligation associated with these tariff sale contracts is the delivery of electricity and/or natural gas. Tariff sales are generally considered
daily contracts given that customers can discontinue service at any time. Revenues are generally recognized over time (each day) as the electricity
and/or natural gas is delivered to customers. Payment terms generally require that customers pay for the services within the month following delivery
of the electricity or natural gas to the customer and there are generally no significant financing components or variable consideration.

     Electric and natural gas utility customers have the choice to purchase electricity or natural gas from competitive electric generation and natural
gas suppliers. While the Utility Registrants are required under state legislation to bill their customers for the supply and distribution of electricity
and/or natural gas, they recognize revenue related only to the distribution services when customers purchase their electricity or natural gas from
competitive suppliers.


Regulated Transmission Services (Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE)

       Under FERC’s open access transmission policy, the Utility Registrants, as owners of transmission facilities, are required to provide open
access to their transmission facilities under filed tariffs at cost-based rates approved by FERC. The Utility Registrants are members of PJM, the
regional transmission organization designated by FERC to coordinate the movement of wholesale electricity in PJM’s region, which includes portions
of the mid-Atlantic and Midwest. In accordance with FERC-approved rules, the Utility Registrants and other transmission owners in the PJM region
make their transmission facilities available to PJM, which directs and controls the operation of these transmission facilities and accordingly
compensates the Utility Registrants and other transmission owners. The performance obligations associated with the Utility Registrants’ contract
with PJM include (i) Network Integration Transmission Services (NITS), (ii) scheduling, system control and dispatch services, and (iii) access to the
wholesale grid. These performance obligations are satisfied over time, and Utility Registrants utilize output methods to measure the progress
towards their completion. Passage of time is used for NITS and access to the wholesale grid and MWhs of energy transported over the wholesale
grid is used for scheduling, system control and dispatch services. PJM pays the Utility Registrants for these services on a weekly basis and there are
no financing components or variable consideration.


Costs to Obtain or Fulfill a Contract with a Customer (Exelon and Generation)

     Generation incurs incremental costs in order to execute certain retail power and gas sales contracts. These costs primarily relate to retail
broker fees and sales commissions. Generation has capitalized such contract acquisition costs in the amount of $25 million and $26 million as of
March 31, 2018 and December 31, 2017 , respectively, within Other current assets and Other deferred debits in Exelon’s and Generation’s
Consolidated Balance Sheets. These costs are capitalized when incurred and amortized using the straight-line method over the average length of
such retail contracts, which is approximately 2 years. Exelon and Generation recognized amortization expense associated with these costs in the
amount of $5 million and $9 million for the three months ended March 31, 2018 and 2017 , respectively, within Operating and maintenance expense
in Exelon’s and Generation’s Consolidated Statements of Operations and Comprehensive Income. Generation does not incur material costs to fulfill
contracts


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with customers that are not already capitalized under existing guidance. In addition, the Utility Registrants do not incur any material costs to obtain or
fulfill contracts with customers.

Contract Balances (All Registrants)


   Contract Assets

      Generation records contract assets for the revenue recognized on the construction and installation of energy efficiency assets and new power
generating facilities before Generation has an unconditional right to bill for and receive the consideration from the customer. These contract assets
are subsequently reclassified to receivables when the right to payment becomes unconditional. Generation records contract assets and contract
receivables within Other current assets and Accounts receivable, net - Customer, respectively, within Exelon’s and Generation’s Consolidated
Balance Sheets. The following table provides a rollforward of the contract assets reflected on Exelon's and Generation's Consolidated Balance
Sheets from January 1, 2018 to March 31, 2018:



Contract Assets                                                                                                              Exelon and Generation
Balance as of January 1, 2018                                                                                         $                              283
Increases as a result of changes in the estimate of the stage of completion                                                                           28
Amounts reclassified to receivables                                                                                                                   (9)
Balance at March 31, 2018                                                                                             $                              302


      The Utility Registrants do not have any contract assets.


   Contract Liabilities


        Generation records contract liabilities when consideration is received or due prior to the satisfaction of the performance obligations. These
contract liabilities primarily relate to upfront consideration received or due for equipment service plans, solar panel leases and the Illinois ZEC
program that introduces a cap on the total consideration to be received by Generation. Generation records contract liabilities within Other current
liabilities and Other noncurrent liabilities within Exelon’s and Generation’s Consolidated Balance Sheets. The following table provides a rollforward of
the contract liabilities reflected on Exelon's and Generation's Consolidated Balance Sheet from January 1, 2018 to March 31, 2018:



Contract Liabilities                                                                                                         Exelon and Generation
Balance as of January 1, 2018                                                                                          $                             35
Increases as a result of additional cash received or due                                                                                             227
Amounts recognized into revenues                                                                                                                   (216)
Balance at March 31, 2018                                                                                              $                             46

     The Utility Registrants also record contract liabilities when consideration is received prior to the satisfaction of the performance obligations. As
of March 31, 2018 and December 31, 2017 , the Utility Registrants' contract liabilities were immaterial.


Transaction Price Allocated to Remaining Performance Obligations (All Registrants)

       The following table shows the amounts of future revenues expected to be recorded in each year for performance obligations that are
unsatisfied or partially unsatisfied as of March 31, 2018 . Generation has elected the exemption which permits the exclusion from this disclosure of
certain variable contract consideration. As such, the majority of Generation’s power and gas sales contracts are excluded from this disclosure as
they contain variable volumes and/or variable pricing. Thus, this disclosure only


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includes contracts for which the total consideration is fixed and determinable at contract inception. The average contract term varies by customer
type and commodity but ranges from one month to several years.

      The majority of the Utility Registrants’ tariff sale contracts are generally day-to-day contracts and, therefore, do not contain any future,
unsatisfied performance obligations to be included in this disclosure. Further, the Utility Registrants have elected the exemption to not disclose the
transaction price allocation to remaining performance obligations for contracts with an original expected duration of one year or less. As such, gas
and electric tariff sales contracts and transmission revenue contracts are excluded from this disclosure.

                                                                                                                              2023 and
                                                              2019            2020             2021          2022            thereafter       Total
Exelon                                                    $       544    $           264   $      104   $           46   $          128   $      1,086
Generation                                                        544                264          104               46              128   $      1,086

Revenue Disaggregation (All Registrants)

      The Registrants disaggregate revenue recognized from contracts with customers into categories that depict how the nature, amount, timing,
and uncertainty of revenue and cash flows are affected by economic factors. See Note 19 — Segment Information for the presentation of the
Registrant's revenue disaggregation.


6.   Regulatory Matters (All Registrants)

     Except for the matters noted below, the disclosures set forth in Note 3 — Regulatory Matters of the Exelon 2017 Form 10-K reflect, in all
material respects, the current status of regulatory and legislative proceedings of the Registrants. The following is an update to that discussion.


Illinois Regulatory Matters

     Tax Cuts and Jobs Act (Exelon and ComEd). On January 18, 2018, the ICC approved ComEd's petition filed on January 5, 2018 seeking
approval to pass back to customers beginning February 1, 2018 $201 million in tax savings resulting from the enactment of the TCJA through a
reduction in electric distribution rates. The amounts being passed back to customers reflect the benefit of lower income tax rates beginning January
1, 2018 and the settlement of a portion of deferred income tax regulatory liabilities established upon enactment of the TCJA. Refer to Note 12 —
Income Taxes for more detail on Corporate Tax Reform.


      Electric Distribution Formula Rate (Exelon and ComEd). On April 16, 2018, ComEd filed its annual distribution formula rate update with the
ICC. The filing establishes the revenue requirement used to set the rates that will take effect in January 2019 after the ICC’s review and approval,
which is due by December 2018. The revenue requirement requested is based on 2017 actual costs plus projected 2018 capital additions as well as
an annual reconciliation of the revenue requirement in effect in 2017 to the actual costs incurred that year. ComEd's 2018 filing request includes a
total decrease to the revenue requirement of $23 million , reflecting a decrease of $58 million for the initial revenue requirement for 2018 and an
increase of $35 million related to the annual reconciliation for 2017. The revenue requirement for 2018 provides for a weighted average debt and
equity return on distribution rate base of 6.52% inclusive of an allowed ROE of 8.69% , reflecting the average rate on 30 -year treasury notes plus
580 basis points. The annual reconciliation for 2017 provided for a weighted average debt and equity return on distribution rate base of 6.52%
inclusive of an allowed ROE of 8.69% , reflecting the average rate on 30 -year treasury notes plus 580 basis points. See table below for ComEd's
regulatory


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assets associated with its electric distribution formula rate. For additional information on ComEd's distribution formula rate filings see Note 3 —
Regulatory Matters of the Exelon 2017 Form 10-K.

       During the first quarter 2018, ComEd revised its electric distribution formula rate, as provided for by FEJA, to reduce the ROE collar calculation
from plus or minus 50 basis points to 0 basis points beginning with the reconciliation filed in 2018 for the 2017 calendar year. This revision effectively
offsets the favorable or unfavorable impacts to ComEd's electric distribution formula rate revenues associated with variations in delivery volumes
associated with above or below normal weather, numbers of customers or usage per customer. ComEd began reflecting the impacts of this change
in its electric distribution services costs regulatory asset in the first quarter 2017.

      Zero Emission Standard (Exelon, Generation and ComEd). Pursuant to FEJA, on January 25, 2018, the ICC announced that Generation’s
Clinton Unit 1, Quad Cities Unit 1 and Quad Cities Unit 2 nuclear plants were selected as the winning bidders through the IPA's ZEC procurement
event. Generation executed the ZEC procurement contracts with Illinois utilities, including ComEd, effective January 26, 2018 and began recognizing
revenue. Winning bidders are entitled to compensation for the sale of ZECs retroactive to the June 1, 2017 effective date of FEJA. In the first quarter
of 2018, Generation recognized approximately $202 million of revenue, of which $150 million related to ZECs generated from June 1, 2017 through
December 31, 2017.

      ComEd recovers all costs associated with purchasing ZECs through a rate rider that provides for an annual reconciliation and true-up to actual
costs incurred by ComEd to purchase ZECs, with any difference to be credited to or collected from ComEd’s retail customers in subsequent periods
with interest. ComEd began billing its retail customers under its new ZEC rate rider on June 1, 2017.


      On February 14, 2017, two lawsuits were filed in the Northern District of Illinois against the IPA alleging that the state’s ZEC program violates
certain provisions of the U.S. Constitution. One lawsuit was filed by customers of ComEd, led by the Village of Old Mill Creek, and the other was
brought by the EPSA and three other electric suppliers. Both lawsuits argue that the Illinois ZEC program will distort PJM's FERC-approved energy
and capacity market auction system of setting wholesale prices, and seek a permanent injunction preventing the implementation of the program.
 Exelon intervened and filed motions to dismiss in both lawsuits. In addition, on March 31, 2017, plaintiffs in both lawsuits filed motions for
preliminary injunction with the court; the court stayed briefing on the motions for preliminary injunction until the resolution of the motions to dismiss.
On July 14, 2017, the district court granted the motions to dismiss. On July 17, 2017, the plaintiffs appealed the decision to the Seventh Circuit.
Briefs were fully submitted on December 12, 2017, the Court heard oral argument on January 3, 2018. At the argument, the Court asked for
supplemental briefing, which was filed on January 26, 2018. On February 21, 2018, the Seventh Circuit issued an order inviting the Solicitor General
to express the views of the United States on the matter, however the timing of that response is currently uncertain. Exelon cannot predict the
outcome of these lawsuits. It is possible that resolution of these matters could have a material, unfavorable impact on Exelon’s and Generation’s
results of operations, cash flows, and financial positions.


      See Note 8 — Early Plant Retirements for additional information regarding the economic challenges facing Generation’s Clinton and Quad
Cities nuclear plants and the expected benefits of the ZES.


Pennsylvania Regulatory Matters

     2018 Pennsylvania Electric Distribution Base Rate Case (Exelon and PECO). On March 29, 2018, PECO filed a request with the PAPUC
seeking approval to increase its electric distribution base rates by $82 million beginning January 1, 2019. This requested amount includes the effect
of an approximately $71 million reduction as a result of the ongoing annual tax savings beginning January 1, 2019 associated with the TCJA. The
requested ROE is 10.95% . PECO expects a decision on its electric


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distribution rate case proceeding in the fourth quarter of 2018 but cannot predict what increase, if any, the PAPUC will approve.

      Tax Cuts and Jobs Act (Exelon and PECO). As part of the rate case filing referenced above, PECO is seeking approval to pass back to
electric distribution customers $68 million in 2018 TCJA tax savings, which would be an additional offset to the proposed increase to its electric
distribution rates. PECO will file with the PAPUC in 2018 seeking approval to pass back to gas distribution customers $4 million in TCJA tax savings
beginning January 1, 2019. The amounts being proposed to be passed back to customers reflect the annual benefit of lower income tax rates
established upon enactment of the TCJA . PECO cannot predict the amount or timing of the refunds the PAPUC will ultimately approve. See Note 12
— Income Taxes for more detail on Corporate Tax Reform and the table below for regulatory liabilities recognized during 2018 associated with TCJA
tax savings that will be passed through future customer rates.


Maryland Regulatory Matters

     Tax Cuts and Jobs Act (Exelon, BGE, PHI, Pepco and DPL). On January 12, 2018, the MDPSC issued an order that directed each of BGE,
Pepco and DPL to track the impacts of the TCJA beginning January 1, 2018 and file by February 15, 2018 how and when they expect to pass
through such impacts to their customers.

      On January 31, 2018, the MDPSC approved BGE’s petition to pass back to customers $103 million in ongoing annual tax savings resulting
from the enactment of the TCJA through a reduction in distribution base rates beginning February 1, 2018, of which $72 million and $31 million
 were related to electric and natural gas, respectively. The amounts being passed back to customers reflect the ongoing annual benefit of lower
income tax rates and the settlement of a portion of deferred income tax regulatory liabilities established upon enactment of the TCJA. It is expected
that the MDPSC will address later in 2018 the treatment of BGE's TCJA tax savings for the period January 1, 2018 through February 1, 2018.

     On April 20, 2018, Pepco entered into a settlement agreement with several parties to resolve all issues in its pending electric distribution base
rate case, including the treatment of the annual ongoing TCJA tax savings as well as the TCJA tax savings from January 1, 2018 through the
expected effective date of the rate change. See discussion below for further details.


     On February 9, 2018, DPL filed with the MDPSC seeking approval to pass back to customers $13 million in ongoing annual TCJA tax savings
through a reduction in electric distribution base rates beginning in 2018. On April 18, 2018, the MDPSC approved a settlement agreement to pass
back to customers $14 million in ongoing annual TCJA tax savings through a reduction in electric distribution base rates beginning April 20, 2018.
The amounts being passed back to customers reflect the ongoing annual benefit of lower income tax rates and the settlement of a portion of
deferred income tax regulatory liabilities established upon enactment of the TCJA. In addition, the MDPSC separately ordered DPL to provide a one-
time bill credit to customers of $2 million in June 2018 representing the TCJA tax savings from January 1, 2018 through March 31, 2018.


    See Note 12 — Income Taxes for more detail on Corporate Tax Reform and the table below for regulatory liabilities recognized during 2018
associated with TCJA tax savings that will be passed through future customer rates.


     2018 Maryland Electric Distribution Base Rates (Exelon, PHI and Pepco). On January 2, 2018, Pepco filed an application with the MDPSC
to increase its annual electric distribution base rates by $41 million , reflecting a requested ROE of 10.1% . On February 5, 2018, Pepco filed with
the MDPSC an update to its current distribution base rate case to reflect $31 million in ongoing annual TCJA tax savings, thereby reducing the
requested annual base rate increase to $11 million . On March 8, 2018, Pepco filed with the MDPSC a subsequent update to its electric distribution
base rate case, which further reduced


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the requested annual base rate increase to $3 million . On April 20, 2018, Pepco entered into a settlement agreement with several parties to resolve
all issues in the rate case and filed the settlement agreement with the MDPSC. The settlement agreement provides for a net decrease to annual
electric distribution base rates of $15 million , which includes annual ongoing TCJA tax savings, and reflects a ROE of 9.5% . The parties to the
settlement agreement have requested that Pepco’s new rates be effective on June 1, 2018. In addition, the settlement agreement separately
provides a one-time bill credit to customers of approximately $10 million representing the TCJA tax savings from January 1, 2018 through the
expected rate effective date of June 1, 2018. Pepco expects a decision in the matter in the second quarter of 2018.


     2017 Maryland Electric Distribution Base Rates (Exelon, PHI and DPL). On July 14, 2017, DPL filed an application with the MDPSC to
increase its annual electric distribution base rates by $27 million , which was updated to $19 million on November 16, 2017, reflecting a requested
ROE of 10.1% . On December 18, 2017, a settlement agreement was filed with the MDPSC wherein DPL will be granted a base rate increase of
$13 million , and a ROE of 9.5% solely for purposes of calculating AFUDC and regulatory asset carrying costs. On February 9, 2018, the MDPSC
approved the settlement agreement and the new rates became effective.


Delaware Regulatory Matters

    Tax Cuts and Jobs Act (Exelon, PHI and DPL). On January 16, 2018, the DPSC opened a docket indicating that DPL’s TCJA tax savings
would be addressed in its pending rate cases. See discussion below for more details.


     2017 Delaware Electric and Natural Gas Distribution Base Rates (Exelon, PHI and DPL). On August 17, 2017, DPL filed applications with
the DPSC to increase its annual electric and natural gas distribution base rates by $24 million and $13 million , respectively, reflecting a requested
ROE of 10.1% . DPL filed updated testimony on October 18, 2017, to request a $31 million increase in electric distribution base rates, and updated
testimony on November 7, 2017, to request an $11 million increase in natural gas distribution base rates. On October 16, 2017 and November 1,
2017, $2.5 million of the proposed rate increases for electric and natural gas, respectively, were put into effect, subject to refund, based on the final
DPSC order. On February 9, 2018, DPL filed with the DPSC updates to its distribution base rate cases to reflect $26 million in ongoing annual
TCJA tax savings, of which $19 million and $7 million is related to electric and natural gas, respectively. The proposed distribution base rate
increase in each rate case were lowered by those amounts, which reflect the ongoing annual benefit of lower income tax rates and the settlement of
a portion of deferred income tax regulatory liabilities established upon enactment of the TCJA. It is expected that the DPSC will address in a future
rate proceeding DPL's treatment of the TCJA tax savings for the period February 1, 2018 through the effective date of any final customer rate
adjustments in the pending rate proceedings. On March 17, 2018, an additional $3 million of the proposed rate increase in the electric distribution
base rate case and $1 million in the natural gas distribution base rate case was put into effect subject to refund based on the final DPSC order. DPL
expects decisions on its electric and natural gas distribution base rate proceedings in the third and fourth quarters of 2018, respectively, but cannot
predict how much of the requested increases the DPSC will approve.


    See Note 12 — Income Taxes for more detail on Corporate Tax Reform and the table below for regulatory liabilities recognized during 2018
associated with TCJA tax savings that will be passed through future customer rates.


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District of Columbia Regulatory Matters

    Tax Cuts and Jobs Act (Exelon, PHI and Pepco) . On January 23, 2018, the DCPSC opened a rate proceeding directing Pepco to track the
impacts of the TCJA beginning January 1, 2018 and file its plan to reduce the current revenue requirement by customer class by February 12, 2018.
The DCPSC stated it will address the impact of the TCJA on future rates within Pepco's pending electric distribution base rate case discussed
below.

      On February 6, 2018, Pepco filed with the DCPSC seeking approval to pass back to customers $39 million in ongoing annual tax savings
resulting from the enactment of the TCJA through a reduction to existing electric distribution base rates beginning in 2018. On April 17, 2018, Pepco
entered into a settlement agreement with several parties to resolve all issues in its pending electric distribution base rate case, including the
treatment of the annual ongoing TCJA tax savings as well as the TCJA tax savings from January 1, 2018 through the expected effective date of the
rate change. See discussion below for more details.

     2017 District of Columbia Electric Distribution Base Rates (Exelon, PHI and Pepco). On December 19, 2017 (and updated on February 9,
2018), Pepco filed an application with the DCPSC to increase its annual electric distribution base rates by $66 million , reflecting a requested ROE
of 10.1% . On April 17, 2018, Pepco entered into a settlement agreement with several parties to resolve both the pending electric distribution base
rate case and the $39 million rate reduction request in the TCJA proceeding discussed above, and filed the settlement agreement with the DCPSC.
The settlement agreement provides for a net decrease to annual electric distribution rates of $24 million , which includes annual ongoing TCJA tax
savings, and a ROE of 9.525% . The parties to the settlement agreement have requested that Pepco’s new rates be effective on July 1, 2018. In
addition, the settlement agreement separately provides a one-time bill credit to customers of approximately $19 million representing the TCJA
benefits for the period January 1, 2018 through the expected rate effective date of July 1, 2018. Pepco expects a decision in the matter in the
second quarter of 2018.


    See Note 12 — Income Taxes for more detail on Corporate Tax Reform and the table below for regulatory liabilities recognized during 2018
associated with TCJA tax savings that will be passed through future customer rates.


New Jersey Regulatory Matters


     Tax Cuts and Jobs Act (Exelon, PHI and ACE). On January 31, 2018, the NJBPU issued an order mandating that New Jersey utility
companies, including ACE, pass any economic benefit from the TCJA to rate payers. The order directed New Jersey utility companies to file by
March 2, 2018 proposed tariff sheets reflecting TCJA benefits, with new rates to be implemented in two phases effective April 1, 2018 and July 1,
2018. In addition, the NJBPU directed New Jersey utility companies to file by March 2, 2018 a Petition with the NJBPU outlining how they propose to
refund any over-collection associated with revised rates not being in place from January 1, 2018 through March 31, 2018, with interest.

      On March 2, 2018, ACE filed with the NJBPU seeking approval to pass back to customers $23 million in ongoing annual TCJA tax savings
through a reduction in electric distribution base rates beginning in 2018. The amounts being passed back to customers would reflect the ongoing
annual benefit of lower income tax rates and the settlement of a portion of deferred income tax regulatory liabilities established upon enactment of
the TCJA. On March 26, 2018, the NJBPU issued an order accepting ACE’s proposed bill reduction. A portion of the annual decrease in electric
distribution base rates totaling approximately $13 million was effective as of April 1, 2018, but considered interim, with the proposed final electric
distribution base rates, representing the full $23 million decrease to be effective on July 1, 2018. It is expected that the NJBPU will address in a
future rate proceeding ACE's treatment of the TCJA tax savings for the period January 1, 2018 through the effective date of any final customer rate
adjustments. See Note 12 — Income Taxes for more detail on Corporate Tax Reform and the table below for regulatory


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liabilities recognized during 2018 associated with TCJA tax savings that will be passed through future customer rates.

     ACE Infrastructure Investment Program Filing (Exelon, PHI and ACE). On February 28, 2018, ACE filed with the NJBPU the company’s
Infrastructure Investment Program (IIP) proposing to seek recovery through a new rider mechanism a series of investments, totaling $338 million ,
between 2019-2022 to provide safe and reliable service for its customers. The IIP will allow for more timely recovery of investments made to
modernize and enhance ACE’s electric system. An NJBPU decision has been requested by the fourth quarter of 2018.


     Update and Reconciliation of Certain Under-Recovered Balances (Exelon, PHI and ACE). On February 5, 2018, ACE submitted its 2018
annual petition with the NJBPU seeking to reconcile and update (i) charges related to the recovery of above-market costs associated with ACE’s
long-term power purchase contracts with the non-utility generators and (ii) costs related to surcharges for the New Jersey Societal Benefit Program
(a statewide public interest program that is intended to benefit low income customers and address other public policy goals) and ACE’s uncollectible
accounts. The net impact of adjusting the charges as proposed is an overall annual rate decrease of approximately $19 million , including New
Jersey sales and use tax. The matter is pending at the NJBPU. ACE has requested that the NJBPU place the new rates into effect by June 1, 2018.
An NJBPU decision has been requested by the fourth quarter of 2018.

New York Regulatory Matters

      New York Clean Energy Standard (Exelon and Generation). On August 1, 2016, the New York Public Service Commission (NYPSC) issued
an order establishing the New York CES, a component of which is a Tier 3 ZEC program targeted at preserving the environmental attributes of zero-
emissions nuclear-powered generating facilities that meet the criteria demonstrating public necessity as determined by the NYPSC. The ZEC price
for the first tranche has been set at $17.48 per MWh of production. Following the first tranche, the price will be updated bi-annually.

     On October 19, 2016, a coalition of fossil-generation companies filed a complaint in federal district court against the NYPSC alleging that the
ZEC program violates certain provisions of the U.S. Constitution; specifically, that the ZEC program interferes with FERC’s jurisdiction over
wholesale rates and that it discriminates against out of state competitors. On December 9, 2016, Generation and CENG filed a motion to intervene in
the case and to dismiss the lawsuit. The State also filed a motion to dismiss. On July 25, 2017, the court granted both motions to dismiss. On August
24, 2017, plaintiffs appealed the decision to the Second Circuit. Plaintiffs-Appellants' initial brief was filed on October 13, 2017. Briefing in the appeal
was completed in December 2017 and oral argument was held on March 12, 2018.

     In addition, on November 30, 2016, a group of parties, including certain environmental groups and individuals, filed a Petition in New York State
court seeking to invalidate the ZEC program. The Petition, which was amended on January 13, 2017, argued that the NYPSC did not have authority
to establish the program, that it violated state environmental law and that it violated certain technical provisions of the State Administrative
Procedures Act (SAPA) when adopting the ZEC program. On February 15, 2017, Generation and CENG filed a motion to dismiss the state court
action. The NYPSC also filed a motion to dismiss the state court action. On March 24, 2017, the plaintiffs filed a memorandum of law opposing the
motions to dismiss, and Generation and CENG filed a reply brief on April 28, 2017. Oral argument was held on June 19, 2017. On January 22, 2018,
the court dismissed the environmental claims and the majority of the plaintiffs from the case, but denied the motions to dismiss with respect to the
remaining five plaintiffs and claims, without commenting on the merits of the case. The case is now proceeding to summary judgment with the full
record. Exelon’s and the state’s answers and briefs were filed on March 30, 2018. Plaintiffs’ responses are due on May 11, 2018.


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Other legal challenges remain possible, the outcomes of which remain uncertain. See Note 8 — Early Plant Retirements for additional information
relative to Ginna and Nine Mile Point.

Federal Regulatory Matters

     Tax Cuts and Jobs Act and Transmission-Related Income Tax Regulatory Assets (Exelon, ComEd, BGE, PHI, Pepco, DPL and ACE).
Pursuant to their respective transmission formula rates, ComEd, BGE, Pepco, DPL and ACE will begin passing back to customers on June 1, 2018,
the benefit of lower income tax rates effective January 1, 2018. ComEd’s, BGE’s, Pepco’s, DPL’s and ACE’s transmission formula rates currently do
not provide for the pass back or recovery of income tax-related regulatory liabilities or assets, including those established upon enactment of the
TCJA.

       On December 13, 2016 (and as amended on March 13, 2017), BGE filed with FERC to begin recovering certain existing and future
transmission-related income tax regulatory assets through its transmission formula rate. BGE’s existing regulatory assets included (1) amounts that,
if BGE’s transmission formula rate provided for recovery, would have been previously amortized and (2) amounts that would be amortized and
recovered prospectively. On November 16, 2017, FERC issued an order rejecting BGE’s proposed revisions to its transmission formula rate to
recover these transmission-related income tax regulatory assets. On December 18, 2017, BGE filed for clarification and rehearing of FERC’s order,
still seeking full recovery of its existing transmission-related income tax regulatory asset amounts.

     On February 27, 2018 (and updated on March 26, 2018), BGE submitted a letter to FERC advising that the lower federal corporate income tax
rate effective January 1, 2018 provided for in TCJA will be reflected in BGE’s annual formula rate update effective June 1, 2018, but that the
deferred income tax benefits will not be passed back to customers unless BGE’s formula rate is revised to provide for pass back and recovery of
transmission-related income tax-related regulatory liabilities and assets.

      ComEd, Pepco, DPL and ACE have similar transmission-related income tax regulatory liabilities and assets also requiring FERC approval
separate from their transmission formula rate mechanisms. On February 23, 2018, ComEd, Pepco, DPL, and ACE each filed with FERC to revise
their transmission formula rate mechanisms to facilitate passing back to customers ongoing annual TCJA tax savings and to permit recovery of
transmission-related income tax regulatory assets. The companies requested the revisions be effective as of April 24, 2018. On April 24, 2018, the
FERC issued a letter order neither approving or rejecting the filings, but rather indicating that the filings were deficient and requiring the parties to file
additional information within 30 days. Similar regulatory assets and liabilities at PECO are not subject to the same FERC transmission rate recovery
formula and, thus, are not impacted by BGE’s November 16, 2017 FERC order. As discussed below, PECO is currently in settlement discussions
regarding its transmission formula rate and expects to pass back TCJA benefits to customers through its annual formula rate update.


     Each of BGE, ComEd, Pepco, DPL and ACE believe there is sufficient basis to support full recovery of their existing transmission-related
income tax regulatory assets, as evidenced by the further pursuit of full recovery with FERC. However, upon further consideration of the November
16, 2017 FERC order, management of each company concluded that the portion of the total transmission-related income tax regulatory assets that
would have been previously amortized and recovered through rates had the transmission formula rate provided for such recovery was no longer
probable of recovery. As a result, Exelon, ComEd, BGE, PHI, Pepco, DPL and ACE recorded charges to Income tax expense within their
Consolidated Statements of Operations and Comprehensive Income in the fourth quarter 2017, reducing their associated transmission-related
income tax regulatory assets.


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      If any of the companies are ultimately successful with FERC allowing future recovery of these amounts, the associated regulatory assets will
be reestablished, with corresponding decreases to Income tax expense. To the extent all or a portion of the prospective amortization amounts were
no longer considered probable of recovery, Exelon, ComEd, BGE, PHI, Pepco, DPL and ACE would record additional charges to Income tax
expense, which could be up to approximately $82 million , $41 million , $22 million , $19 million , $9 million , $7 million and $3 million , respectively,
as of March 31, 2018 .

     The Utility Registrants cannot predict the outcome of these FERC proceedings.

      Transmission Formula Rate (Exelon and PECO). On May 1, 2017, PECO filed a request with FERC seeking approval to update its
transmission rates and change the manner in which PECO’s transmission rate is determined from a fixed rate to a formula rate. The formula rate
would be updated annually to ensure that under this rate customers pay the actual costs of providing transmission services. The formula rate filing
includes a requested increase of $22 million to PECO’s annual transmission revenues and a requested rate of return on common equity of 11% ,
inclusive of a 50 basis point adder for being a member of a regional transmission organization. PECO requested that the new transmission rate be
effective as of July 2017. On June 27, 2017, FERC issued an Order accepting the filing and suspending the proposed rates until December 1, 2017,
subject to refund, and set the matter for hearing and settlement judge procedures. PECO cannot predict the final outcome of the settlement or
hearing proceedings, or the transmission formula FERC may approve.

      DOE Notice of Proposed Rulemaking (Exelon and Generation). On August 23, 2017, the DOE staff released its report on the reliability of
the electric grid. One aspect of the wide-ranging report is the DOE’s recognition that the electricity markets do not currently value the resiliency
provided by baseload generation, such as nuclear plants. On September 28, 2017, the DOE issued a Notice of Proposed Rulemaking (NOPR) that
would entitle certain eligible resilient generating units (i.e., those located in organized markets, with a 90-day supply of fuel on site, not already
subject to state cost of service regulation and satisfying certain other requirements) to recover fully allocated costs and earn a fair return on equity
on their investment. The DOE's NOPR recommended that the FERC take comments for 45 days after publication in the Federal Register and issue
a final order 60 days after such publication. On January 8, 2018, the FERC issued an order terminating the rulemaking docket that was initiated to
address the proposed rule in the DOE NOPR, concluding the proposed rule did not sufficiently demonstrate there is a resiliency issue and that it
proposed a remedy that did not appear to be just, reasonable and nondiscriminatory as required under the Federal Power Act. At the same time, the
FERC initiated a new proceeding to consider resiliency challenges to the bulk power system and evaluate whether additional FERC action to
address resiliency would be appropriate. The FERC directed each RTO and ISO to respond within 60 days to 24 specific questions about how they
assess and mitigate threats to resiliency. Interested parties may submit reply comments through May 9, 2018. Exelon has been and will continue to
be an active participant in these proceedings, but cannot predict the final outcome or its potential financial impact, if any, on Exelon or Generation.


       Operating License Renewals (Exelon and Generation). On August 29, 2012, Generation submitted a hydroelectric license application to
FERC for a 46 -year license for the Conowingo Hydroelectric Project (Conowingo). In connection with Generation’s efforts to obtain a water quality
certification pursuant to Section 401 of the Clean Water Act (401 certification) with Maryland Department of the Environment (MDE) for Conowingo,
Generation continues to work with MDE and other stakeholders to resolve water quality licensing issues, including: (1) water quality, (2) fish habitat,
and (3) sediment.


     On April 21, 2016, Exelon and the US Fish and Wildlife Service of the US Department of the Interior executed a Settlement Agreement
resolving all fish passage issues between the parties. The financial impact of the Settlement Agreement is estimated to be $3 million to $7 million per
year, on average, over the 46-year life of the new license, including both capital and operating costs. The actual timing and


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amount of these costs are not currently fixed and may vary significantly from year to year throughout the life of the new license.

     On April 27, 2018, MDE issued its 401 certification for Conowingo. As issued, the 401 certification imposes requirements and conditions which
could have a material, unfavorable impact on Exelon’s and Generation’s results of operations, cash flows and financial positions through an increase
in capital expenditures and operating costs if implemented. Generation is reviewing the certification and will determine next steps to ensure the long-
term viability of the Conowingo Dam.

     As of March 31, 2018 , $32 million of direct costs associated with Conowingo licensing efforts have been capitalized. See Note 3 — Regulatory
Matters of the Exelon 2017 Form 10-K for additional information on Generation's operating license renewal efforts.

Regulatory Assets and Liabilities (Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE)

      Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE each prepare their consolidated financial statements in accordance with the
authoritative guidance for accounting for certain types of regulation. Under this guidance, regulatory assets represent incurred costs that have been
deferred because of their probable future recovery from customers through regulated rates. Regulatory liabilities represent the excess recovery of
costs or accrued credits that have been deferred because it is probable such amounts will be returned to customers through future regulated rates or
represent billings in advance of expenditures for approved regulatory programs.


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     The following tables provide information about the regulatory assets and liabilities of Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE
as of March 31, 2018 and December 31, 2017 . For additional information on the specific regulatory assets and liabilities, refer to Note 3 —
Regulatory Matters of the Exelon 2017 Form 10-K.



March 31, 2018                                                                  Exelon           ComEd           PECO           BGE            PHI            Pepco           DPL            ACE

Regulatory assets
Pension and other postretirement benefits (a)                               $     3,844      $        —      $       —      $         —    $         —    $       —       $         —    $         —

Deferred income taxes                                                               336               —             327               —               9               9             —              —

AMI programs (c)                                                                    621              151             33           208            229             154                75             —

Electric distribution formula rate (d)                                              256              256             —                —              —            —                 —              —

Energy efficiency costs                                                             220              220             —                —              —            —                 —              —

Debt costs                                                                          108               36                1             11             71           15                 7              5

Fair value of long-term debt                                                        745               —              —                —          607              —                 —              —

Fair value of PHI's unamortized energy contracts                                    701               —              —                —          701              —                 —              —

Asset retirement obligations                                                        111               75             22               14             —            —                 —              —

MGP remediation costs                                                               284              263             21               —              —            —                 —              —

Under-recovered uncollectible accounts                                               69               69             —                —              —            —                 —              —

Renewable energy                                                                    268              267             —                —               1           —                 —               1

Energy and transmission programs         (e)(f)(g)(h)(i)(j)                         117                  8           43               21             45               7             14             24

Deferred storm costs                                                                 46               —              —                —              46           12                 5             29

Energy efficiency and demand response programs                                      559               —                 1         269            289             212                77             —

Merger integration costs   (k)(l)(m)                                                 46               —              —                 5             41           20                11             10

Under-recovered revenue decoupling (n)                                               44               —              —                 6             38           38                —              —

COPCO acquisition adjustment                                                             5            —              —                —               5           —                  5             —

Workers compensation and long-term disability costs                                  33               —              —                —              33           33                —              —

Vacation accrual                                                                     27               —              14               —              13           —                  8              5

Securitized stranded costs                                                           71               —              —                —              71           —                 —              71

CAP arrearage                                                                        12               —              12               —              —            —                 —              —

Removal costs                                                                       535               —              —                —          535             150                94         292

DC PLUG charge                                                                      187               —              —                —          187             187                —              —

Other                                                                                63                  6           12                6             39           26                 9              4

Total regulatory assets                                                           9,308            1,351            486           540           2,960            863            305            441

  Less: current portion                                                           1,245              226             78           149            507             207                63             64

Total noncurrent regulatory assets                                          $     8,063      $     1,125     $      408     $     391      $    2,453     $      656      $     242      $     377




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March 31, 2018                                                          Exelon           ComEd           PECO           BGE            PHI            Pepco           DPL            ACE

Regulatory liabilities

Other postretirement benefits                                       $        26      $        —      $       —      $         —    $         —    $       —       $         —    $         —

Deferred income taxes (b)                                                 5,189            2,458             —           1,011          1,720            804            506            410

Nuclear decommissioning                                                   2,969            2,464            505               —              —            —                 —              —

Removal costs                                                             1,570            1,348             —                92         130              20            110                —

Deferred rent                                                                35               —              —                —              35           —                 —              —

Energy efficiency and demand response programs                               16                  4           11               —               1           —                 —               1

DLC program costs                                                                7            —                 7             —              —            —                 —              —

Electric distribution tax repairs                                            27               —              27               —              —            —                 —              —

Gas distribution tax repairs                                                     8            —                 8             —              —            —                 —              —

Energy and transmission programs (e)(f)(g)(h)(i)(j)                         153               53             56               22             22               4              6             12

Over-recovered revenue decoupling (n)                                        14               —              —                11              3           —                  3             —

Renewable portfolio standards costs                                          81               81             —                —              —            —                 —              —

Zero emission credit costs                                                       8               8           —                —              —            —                 —              —

Over-recovered uncollectible accounts                                            4            —              —                —               4           —                 —               4

Merger integration costs   (l)                                                   1            —              —                —               1           —                  1             —

TCJA income tax benefit over-recoveries (o)                                  54               —              10               17             27           14                 7              6

Other                                                                        84                  8           22               32             22               3             13              4

Total regulatory liabilities                                             10,246            6,424            646          1,185          1,965            845            646            437

  Less: current portion                                                     522              212            117           102                77               7             48             21

Total noncurrent regulatory liabilities                             $     9,724      $     6,212     $      529     $    1,083     $    1,888     $      838      $     598      $     416




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December 31, 2017                                                       Exelon           ComEd           PECO           BGE            PHI            Pepco           DPL            ACE

Regulatory assets

Pension and other postretirement benefits (a)                       $     3,848      $        —      $       —      $         —    $         —    $       —       $         —    $         —

Deferred income taxes                                                       306               —             297               —               9               9             —              —

AMI programs (c)                                                            640              155             36           214            235             158                77             —

Electric distribution formula rate   (d)                                    244              244             —                —              —            —                 —              —

Energy efficiency costs                                                     166              166             —                —              —            —                 —              —

Debt costs                                                                  116               37                1             11             73           15                 8              5

Fair value of long-term debt                                                758               —              —                —          619              —                 —              —

Fair value of PHI's unamortized energy contracts                            750               —              —                —          750              —                 —              —

Asset retirement obligations                                                109               73             22               14             —            —                 —              —

MGP remediation costs                                                       295              273             22               —              —            —                 —              —

Under-recovered uncollectible accounts                                       61               61             —                —              —            —                 —              —

Renewable energy                                                            258              256             —                —               2           —                  1              1

Energy and transmission programs (e)(g)(h)(i)(j)                             82                  6              1             23             52           11                15             26

Deferred storm costs                                                         27               —              —                —              27               7              5             15

Energy efficiency and demand response programs                              596               —                 1         285            310             229                81             —

Merger integration costs (k)(l)(m)                                           45               —              —                 6             39           20                10              9

Under-recovered revenue decoupling         (n)                               55               —              —                14             41           38                 3             —

COPCO acquisition adjustment                                                     5            —              —                —               5           —                  5             —

Workers compensation and long-term disability costs                          35               —              —                —              35           35                —              —

Vacation accrual                                                             19               —                 6             —              13           —                  8              5

Securitized stranded costs                                                   79               —              —                —              79           —                 —              79

CAP arrearage                                                                    8            —                 8             —              —            —                 —              —

Removal costs                                                               529               —              —                —          529             150                93         286

DC PLUG charge                                                              190               —              —                —          190             190                —              —

Other                                                                        67                  8           16                4             39           29                 8              4

Total regulatory assets                                                   9,288            1,279            410           571           3,047            891            314            430

  Less: current portion                                                   1,267              225             29           174            554             213                69             71

Total noncurrent regulatory assets                                  $     8,021      $     1,054     $      381     $     397      $    2,493     $      678      $     245      $     359


December 31, 2017                                                       Exelon           ComEd           PECO           BGE            PHI            Pepco           DPL            ACE

Regulatory liabilities

Other postretirement benefits                                       $        30      $        —      $       —      $         —    $         —    $       —       $         —    $         —

Deferred income taxes (b)                                                 5,241            2,479             —           1,032          1,730            809            510            411

Nuclear decommissioning                                                   3,064            2,528            536               —              —            —                 —              —

Removal costs                                                             1,573            1,338             —            105            130              20            110                —

Deferred rent                                                                36               —              —                —              36           —                 —              —

Energy efficiency and demand response programs                               23                  4           19               —              —            —                 —              —

DLC program costs                                                                7            —                 7             —              —            —                 —              —

Electric distribution tax repairs                                            35               —              35               —              —            —                 —              —

Gas distribution tax repairs                                                     9            —                 9             —              —            —                 —              —

Energy and transmission programs (e)(f)(i)(j)                               111               47             60               —               4           —                  1              3

Renewable portfolio standard costs                                           63               63             —                —              —            —                 —              —

Zero emission credit costs                                                  112              112             —                —              —            —                 —              —

Over-recovered uncollectible accounts                                            2            —              —                —               2           —                 —               2

Other                                                                        82                  6           24               26             26               3             14              6

Total regulatory liabilities                                             10,388            6,577            690          1,163          1,928            832            635            422

  Less: current portion                                                     523              249            141               62             56               3             42             11

Total noncurrent regulatory liabilities                             $     9,865      $     6,328     $      549     $    1,101     $    1,872     $      829      $     593      $     411


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_________
(a) Includes regulatory regulatory assets established at the Constellation and PHI merger dates of $427 million and $934 million , respectively, as of March 31, 2018 and $440 million and $953
    million , respectively, as of December 31, 2017 related to the rate regulated portions of the deferred costs associated with legacy Constellation’s and PHI’s pension and other
    postretirement benefit plans that are being amortized and recovered over approximately 12 years and 3 to 15 years, respectively (as established at the respective acquisition dates). The
    Utility Registrants are not earning or paying a return on these amounts.
(b) As of March 31, 2018 , includes transmission-related income tax regulatory liabilities that require FERC approval separate from the transmission formula rate of $479 million , $135 million ,
    $146 million , $147 million and $147 million for ComEd, BGE, Pepco, DPL and ACE, respectively. As of December 31, 2017 , includes transmission-related income tax regulatory liabilities
    that require FERC approval separate from the transmission formula rate of $484 million , $ 137 million , $147 million , $148 million and $147 million for ComEd, BGE, Pepco, DPL and
    ACE, respectively.
(c) As of March 31, 2018 , BGE's regulatory asset of $208 million includes $125 million of unamortized incremental deployment costs under the program, $51 million of unamortized costs of
    the non-AMI meters replaced under the AMI program, and $32 million related to post-test year incremental program deployment costs incurred prior to approval became effective June
    2016. As of December 31, 2017 , BGE's regulatory asset of $214 million includes $129 million of unamortized incremental deployment costs under the program, $53 million of unamortized
    costs of the non-AMI meters replaced under the AMI program, and $32 million related to post-test year incremental program deployment costs incurred prior to approval became effective
    June 2016. Recovery of the post-test year incremental deployment costs will be addressed in a future base rate proceeding.
(d) As of March 31, 2018 , ComEd’s regulatory asset of $256 million was comprised of $195 million for the 2016, 2017 and 2018 annual reconciliations and $61 million related to significant
    one-time events. As of December 31, 2017 , ComEd’s regulatory asset of $244 million was comprised of $186 million for the 2016 and 2017 annual reconciliations and $58 million related
    to significant one-time events.
(e) As of March 31, 2018 , ComEd’s regulatory asset of $8 million represents transmission costs recoverable through its FERC approved formula rate. As of March 31, 2018 , ComEd’s
    regulatory liability of $53 million included $21 million related to over-recovered energy costs and $32 million associated with revenues received for renewable energy requirements. As of
    December 31, 2017 , ComEd’s regulatory asset of $6 million represents transmission costs recoverable through its FERC approved formula rate. As of December 31, 2017 , ComEd’s
    regulatory liability of $47 million included $14 million related to over-recovered energy costs and $33 million associated with revenues received for renewable energy requirements.
(f) As of March 31, 2018 , PECO's regulatory liability of $56 million included $44 million related to over-recovered costs under the DSP program, $3 million related to the over-recovered
    transmission service charges and $9 million related to over-recovered non-bypassable transmission service charges. As of December 31, 2017 , PECO's regulatory liability of $60 million
    included $36 million related to over-recovered costs under the DSP program, $12 million related to over-recovered non-bypassable transmission service charges and $12 million related to
    the over-recovered natural gas costs under the PGC.
(g) As of March 31, 2018 , BGE's regulatory asset of $21 million included $13 million of costs associated with transmission costs recoverable through its FERC approved formula rate, $5
    million related to under-recovered electric energy costs and $3 million of abandonment costs to be recovered upon FERC approval. As of March 31, 2018 , BGE's regulatory liability of $22
    million related to over-recovered natural gas costs. As of December 31, 2017 , BGE’s regulatory asset of $23 million included $7 million of costs associated with transmission costs
    recoverable through its FERC approved formula rate, $5 million related to under-recovered electric energy costs, $3 million of abandonment costs to be recovered upon FERC approval
    and $8 million of under-recovered natural gas costs.
(h) As of March 31, 2018 , Pepco's regulatory asset of $7 million included $4 million of transmission costs recoverable through its FERC approved formula rate and $3 million related to under-
    recovered electric energy costs. As of March 31, 2018 , Pepco's regulatory liability of $4 million related to over-recovered electric energy costs. As of December 31, 2017 , Pepco's
    regulatory asset of $11 million included $3 million of transmission costs recoverable through its FERC approved formula rate and $8 million of under-recovered electric energy costs.
(i) As of March 31, 2018 , DPL's regulatory asset of $14 million included $11 million of transmission costs recoverable through its FERC approved formula rate and $3 million related to under-
    recovered electric energy costs. As of March 31, 2018 , DPL's regulatory liability of $6 million related to over-recovered electric energy and gas fuel costs. As of December 31, 2017 , DPL's
    regulatory asset of $15 million included $8 million of transmission costs recoverable through its FERC approved formula rate and $7 million related to under-recovered electric energy
    costs. As of December 31, 2017 , DPL's regulatory liability of $1 million related to over-recovered electric energy costs.
(j) As of March 31, 2018 , ACE's regulatory asset of $24 million included $9 million of transmission costs recoverable through its FERC approved formula rate and $15 million of under-
    recovered electric energy costs. As of March 31, 2018 , ACE's regulatory liability of $12 million related to over-recovered electric energy costs. As of December 31, 2017 , ACE's regulatory
    asset of $26 million included $11 million of transmission costs recoverable through its FERC approved formula rate and $15 million of under-recovered electric energy costs. As of
    December 31, 2017 , ACE's regulatory liability of $3 million related to over-recovered electric energy costs.
(k) As of March 31, 2018 and December 31, 2017 , Pepco’s regulatory asset of $20 million represents previously incurred PHI integration costs, including $11 million authorized for recovery in
    Maryland and $9 million expected to be recovered in the District of Columbia service territory.
(l) As of March 31, 2018 , DPL’s regulatory asset of $11 million represents previously incurred PHI integration costs, including $4 million authorized for recovery in Maryland, $5 million
    authorized for recovery in Delaware electric rates and $2 million authorized for recovery in Delaware gas rates. As of March 31, 2018 , DPL’s regulatory liability of $1 million represents net
    synergy savings incurred related to PHI integration costs that are expected to be returned in electric and gas rates in the Delaware service territory. As of December 31, 2017 , DPL’s
    regulatory asset of $10 million represents previously incurred PHI integration costs, including $4 million authorized for recovery in Maryland, $5 million authorized for recovery in
    Delaware electric rates, and $1 million expected to be recovered in electric and gas rates in the Maryland and Delaware service territories.
(m) As of March 31, 2018 and December 31, 2017 , ACE’s regulatory asset of $10 million and $9 million , respectively, represents previously incurred PHI integration costs expected to be
    recovered in the New Jersey service territory.


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(n)   Represents the electric and natural gas distribution costs recoverable from customers under BGE’s decoupling mechanism. As of March 31, 2018 , BGE had a regulatory asset of $6
      million related to under-recovered electric revenue decoupling and a regulatory liability of $11 million related to over-recovered natural gas revenue decoupling. As of December 31, 2017 ,
      BGE had a regulatory asset of $10 million related to under-recovered electric revenue decoupling and $4 million related to under-recovered natural gas revenue decoupling.
(o)   Represents over-recoveries related to the change in the federal income tax rate with the enactment of the TCJA. These regulatory liabilities will be amortized as the TCJA income tax
      benefits are passed back to customers. See Tax Cuts and Jobs Act disclosures above for further details on the regulatory proceedings.

Capitalized Ratemaking Amounts Not Recognized (Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE)


     The following table illustrates our authorized amounts capitalized for ratemaking purposes related to earnings on shareholders’ investment that
are not recognized for financial reporting purposes on our Consolidated Balance Sheets. These amounts will be recognized as revenues in our
Consolidated Statements of Operations and Comprehensive Income in the periods they are billable to our customers.


                                            Exelon             ComEd (a)               PECO                BGE (b)              PHI                Pepco (c)             DPL (c)                    ACE
March 31, 2018                          $            69    $                7    $            —        $         52        $          10       $               6   $               4        $             —


                                            Exelon             ComEd (a)               PECO                BGE (b)              PHI                Pepco (c)             DPL (c)                    ACE
December 31, 2017                       $            69    $                6    $            —        $         53        $          10       $               6   $               4        $             —
_________
(a)   Reflects ComEd's unrecognized equity returns earned for ratemaking purposes on its electric distribution formula rate regulatory assets.
(b)   BGE's authorized amounts capitalized for ratemaking purposes primarily relate to earnings on shareholders' investment on its AMI programs.
(c)   Pepco's and DPL's authorized amounts capitalized for ratemaking purposes relate to earnings on shareholders' investment on their respective AMI Programs and Energy Efficiency and
      Demand Response Programs. The earnings on energy efficiency are on Pepco DC and DPL DE programs only.

Purchase of Receivables Programs (Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE)


      ComEd, PECO, BGE, Pepco, DPL and ACE are required, under separate legislation and regulations in Illinois, Pennsylvania, Maryland, District
of Columbia and New Jersey, to purchase certain receivables from retail electric and natural gas suppliers that participate in the utilities'
consolidated billing. ComEd, BGE, Pepco and DPL purchase receivables at a discount to recover primarily uncollectible accounts expense from the
suppliers. PECO is required to purchase receivables at face value and is permitted to recover uncollectible accounts expense, including those from
Third Party Suppliers, from customers through distribution rates. ACE purchases receivables at face value. ACE recovers all uncollectible accounts
expense, including those from Third Party Suppliers, through the Societal Benefits Charge (SBC) rider, which includes uncollectible accounts
expense as a component. The SBC is filed annually with the NJBPU. Exelon, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE do not record
unbilled commodity receivables under the POR programs. Purchased billed receivables are classified in Other accounts receivable, net on Exelon’s,
ComEd’s, PECO’s, BGE’s, PHI's, Pepco's, DPL's and ACE's Consolidated Balance Sheets. The following tables provide information about the
purchased receivables of those companies as of March 31, 2018 and December 31, 2017 .



As of March 31, 2018                                                        Exelon          ComEd              PECO            BGE             PHI             Pepco           DPL                   ACE
Purchased receivables                                                   $       317     $         88       $      73       $     64        $       92      $       55      $           17       $         20
Allowance for uncollectible accounts (a)                                        (35)           (16)                  (6)          (4)                (9)           (5)                 (1)                (3)
Purchased receivables, net                                              $       282     $         72       $      67       $     60        $       83      $       50      $           16       $         17


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As of December 31, 2017                                                 Exelon        ComEd          PECO           BGE           PHI             Pepco         DPL             ACE
Purchased receivables                                               $      298    $       87     $       70     $      58     $       83      $      56     $         9     $     18
Allowance for uncollectible accounts (a)                                   (31)          (14)            (5)            (3)             (9)           (5)             (1)         (3)
Purchased receivables, net                                          $      267    $       73     $       65     $      55     $       74      $      51     $         8     $     15
_________
(a)   For ComEd, BGE, Pepco and DPL, reflects the incremental allowance for uncollectible accounts recorded, which is in addition to the purchase discount. For ComEd, the incremental
      uncollectible accounts expense is recovered through its Purchase of Receivables with Consolidated Billing tariff.


7 . Impairment of Long-Lived Assets (Exelon and Generation)

      During the first quarter of 2018, Mystic Unit 9 did not clear in the ISO-NE capacity auction for the 2021 - 2022 planning year. On March 29,
2018, Generation announced it had formally notified ISO-NE of the early retirement of its Mystic Generating Station's Units 7, 8, 9 and the Mystic Jet
Unit (Mystic Generating Station assets) absent regulatory reforms. These events suggested that the carrying value of its New England asset group
may be impaired. As a result, Generation completed a comprehensive review of the estimated undiscounted future cash flows of the New England
asset group and no impairment charge was required. Further developments such as the failure of ISO-NE to adopt interim and long-term solutions
for reliability and fuel security could potentially result in future impairments of the New England asset group, which could be material. See Note 8 —
Early Plant Retirements for additional information on the early retirement of the Mystic Generating Station assets.

8 . Early Plant Retirements (Exelon and Generation)


      Exelon and Generation continue to evaluate the current and expected economic value of each of Generation’s plants. Factors that will continue
to affect the economic value of Generation’s plants include, but are not limited to: market power prices, results of capacity auctions, potential
legislative and regulatory solutions to ensure plants are fairly compensated for benefits they provide through their carbon-free emissions, reliability,
or fuel security, and the impact of potential rules from the EPA requiring reduction of carbon and other emissions and the efforts of states to
implement those final rules. The precise timing of an early retirement date for any plant, and the resulting financial statement impacts, may be
affected by many factors, including the status of potential regulatory or legislative solutions, results of any transmission system reliability study
assessments, the nature of any co-owner requirements and stipulations, and decommissioning trust fund requirements for nuclear plants, among
other factors. However, the earliest retirement date for any plant would usually be the first year in which the unit does not have capacity or other
obligations, and where applicable, just prior to its next scheduled nuclear refueling outage.

     In 2015 and 2016, Generation identified the Clinton and Quad Cities nuclear plants in Illinois, Ginna and Nine Mile Point nuclear plants in New
York and Three Mile Island nuclear plant in Pennsylvania as having the greatest risk of early retirement based on economic valuation and other
factors.


     Assuming the continued effectiveness of the Illinois ZES and the New York CES, Generation and CENG, through its ownership of Ginna and
Nine Mile Point, no longer consider Clinton, Quad Cities, Ginna or Nine Mile Point to be at heightened risk for early retirement. However, to the
extent either the Illinois ZES or the New York CES programs do not operate as expected over their full terms, each of these plants could again be at
heightened risk for early retirement, which could have a material impact on Exelon’s and Generation’s future results of operations, cash flows and
financial positions. Refer to Note 6 — Regulatory Matters for additional discussion on the New York CES and the Illinois ZES.


    In Pennsylvania, the TMI nuclear plant did not clear in the May 2017 PJM capacity auction for the 2020-2021 planning year, the third
consecutive year that TMI failed to clear the PJM base residual


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capacity auction. The plant is currently committed to operate through May 2019 and is licensed to operate through 2034. On May 30, 2017, based
on these capacity auction results, prolonged periods of low wholesale power prices, and the absence of federal or state policies that place a value
on nuclear energy for its ability to produce electricity without air pollution, Exelon announced that Generation will permanently cease generation
operations at TMI on or about September 30, 2019. Generation has filed the required market and regulatory notifications to shut down the plant.
PJM has subsequently notified Generation that it has not identified any reliability issues and has approved the deactivation of TMI as proposed.


     On February 2, 2018, Exelon announced that Generation will permanently cease generation operations at Oyster Creek at the end of its current
operating cycle by October 2018. In 2010, Generation announced that Oyster Creek would retire by the end of 2019 as part of an agreement with
the State of New Jersey to avoid significant costs associated with the construction of cooling towers to meet the State’s then new environmental
regulations. Since then, like other nuclear sites, Oyster Creek has continued to face rising operating costs amid a historically low wholesale power
price environment. The decision to retire Oyster Creek in 2018 at the end of its current operating cycle involved consideration of several factors,
including economic and operating efficiencies, and avoids a refueling outage scheduled for the fall of 2018 that would have required advanced
purchasing of fuel fabrication and materials beginning in late February 2018. Generation has filed the required market and regulatory notifications to
shut down the plant. PJM has subsequently notified Generation that it has not identified any reliability issues and has approved the deactivation of
Oyster Creek as proposed.


      As a result of these plant retirement decisions, Exelon and Generation recognized one-time charges in Operating and maintenance expense
related to materials and supplies inventory reserve adjustments, employee-related costs and CWIP impairments, among other items. In addition to
these one-time charges, annual incremental non-cash charges to earnings stemming from shortening the expected economic useful lives primarily
related to accelerated depreciation of plant assets (including any ARC), accelerated amortization of nuclear fuel, and additional ARO accretion
expense associated with the changes in decommissioning timing and cost assumptions were also recorded. See Note 13 — Nuclear
Decommissioning for additional detail on changes to the nuclear decommissioning ARO balance.

      Exelon's and Generation's first quarter 2018 results included a net incremental $178 million of total pre-tax expense associated with the early
retirement decisions for TMI and Oyster Creek, as summarized in the table below.


Income statement expense (pre-tax)                                                                                                                                             Q1 2018
                                           (a)
Depreciation and amortization
      Accelerated depreciation (b)                                                                                                                                       $                137
      Accelerated nuclear fuel amortization                                                                                                                                               15
Operating and maintenance            (c)                                                                                                                                                  26
Total                                                                                                                                                                    $                178
_________
(a)   Reflects incremental accelerated depreciation and amortization for TMI for the quarter ended March 31, 2018 , and for Oyster Creek from February 2, 2018 through March 31, 2018 .
(b)   Reflects incremental accelerated depreciation of plant assets, including any ARC.
(c)   Primarily includes materials and supplies inventory reserve adjustments, employee related costs and CWIP impairments.


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     Exelon's and Generation's 2017 results included a net incremental $339 million of total pre-tax expense associated with the early retirement
decision for TMI, as summarized in the table below.


Income statement expense (pre-tax)                                                                       Q2 2017                Q3 2017               Q4 2017                  YTD 2017

Depreciation and amortization (a)
      Accelerated depreciation (b)                                                                  $              35     $             106     $           109          $               250
      Accelerated Nuclear Fuel amortization                                                                         2                      6                        4                     12
Operating and maintenance (c)                                                                                      71                      5                        1                     77
Total                                                                                               $            108      $             117     $           114          $               339
_________
(a)   Reflects incremental charges for TMI including incremental accelerated depreciation and amortization from May 30, 2017 through December 31, 2017.
(b)   Reflects incremental accelerated depreciation of plant assets, including any ARC.
(c)   Primarily includes materials and supplies inventory reserve adjustments, employee related costs and CWIP impairments.

     In 2017, PSEG made public similar financial challenges facing its New Jersey nuclear plants including Salem, of which Generation owns a
42.59% ownership interest. Although Salem is committed to operate through May 2021, the plant faces continued economic challenges and PSEG,
as the operator of the plant, is exploring all options.


       On April 12, 2018, a bill was passed by both Houses of the New Jersey legislature that would establish a ZEC program providing
compensation for nuclear plants that demonstrate to the NJBPU that they meet certain requirements, including that they make a significant
contribution to air quality in the state and that their revenues are insufficient to cover their costs and risks. The program provides transparency and
includes robust customer protections. The New Jersey Governor has up to 45 days to sign the bill, with the bill becoming effective immediately upon
signing. The NJBPU then has 180 days from the effective date to establish procedures for implementation of the ZEC program and 330 days from
the effective date to determine which nuclear power plants are selected to receive ZECs under the program. Selected nuclear plants will receive
ZEC payments for each energy year (12-month period from June 1 through May 31) within 90 days after the completion of such energy year. Exelon
and Generation continue to work with stakeholders.


       The following table provides the balance sheet amounts as of March 31, 2018 for Generation’s ownership share of the significant assets and
liabilities associated with Salem.


                                                                                                                                                                        March 31, 2018
Asset Balances
      Materials and supplies inventory                                                                                                                          $                         45
      Nuclear fuel inventory, net                                                                                                                                                        102
      Completed plant, net                                                                                                                                                               618
      Construction work in progress                                                                                                                                                       27
Liability Balances
      Asset retirement obligation                                                                                                                                                    (446)


NRC License Renewal Term                                                                                                                                                     2036 (Unit 1)
                                                                                                                                                                             2040 (Unit 2)

     On March 29, 2018, Generation announced it had formally notified grid operator ISO-NE of its plans to early retire its Mystic Generating Station
assets absent regulatory reforms on June 1, 2022, at the


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end of the current capacity commitment for Mystic Units 7 & 8. Mystic Unit 9 is currently committed through May 2021. Absent any regulatory
reforms to properly value reliability and regional fuel security, these units will not participate in the Forward Capacity Auction (FCA) scheduled for
February 2019 for the 2022 - 2023 planning year.

      The ISO-NE recently announced that it would take a three-step approach to fuel security. First, ISO-NE will make a filing soon to obtain tariff
waivers to allow it to retain Mystic 8 and 9 for fuel security for the 2022 - 2024 planning years. Second, ISO-NE will file tariff revisions to allow it to
retain other resources for fuel security in the capacity market if necessary in the future. Third, ISO-NE will work with stakeholders to develop long-
term market rule changes to address system resiliency considering significant reliability risks identified in ISO-NE’s January 2018 fuel security report.
Changes to market rules are necessary because critical units to the region, such as Mystic Units 8 and 9, cannot recover future operating costs,
including the cost of procuring fuel. On April 3, 2018, ISO-NE issued a memorandum to the NEPOOL Participants’ Committee announcing its
intention to seek FERC approval for waiver of certain tariff provisions in order to allow it to retain Mystic Units 8 and 9 for fuel security reasons. On
April 4, 2018, Generation issued a letter indicating its willingness to cooperate and submit to full cost-of-service compensation for the Mystic Units 8
and 9, provided that the cost-of-service rate is determined before it commits to any future capacity obligation.


     The following table provides the balance sheet amounts as of March 31, 2018 for Generation’s significant assets and liabilities associated with
the Mystic Generating Station assets.



                                                                                                                                         March 31, 2018
Asset Balances
      Materials and supplies inventory                                                                                               $                    26
      Fuel inventory                                                                                                                                      18
      Completed plant, net                                                                                                                           896
      Construction work in progress                                                                                                                       4
   Prepaid expense (a)                                                                                                                                    9
Liability Balances
      Asset retirement obligation                                                                                                                         (5)
   Accrued expense          (a)                                                                                                                           (2)
_________
(a)   Reflects ending balances only as they relate to Mystic's Long-term Service Agreement.


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9.    Fair Value of Financial Assets and Liabilities (All Registrants)

Fair Value of Financial Liabilities Recorded at Amortized Cost


      The following tables present the carrying amounts and fair values of the Registrants’ short-term liabilities, long-term debt, SNF obligation and
trust preferred securities (long-term debt to financing trusts or junior subordinated debentures) as of March 31, 2018 and December 31, 2017 :

     Exelon



                                                                                                                            March 31, 2018

                                                                                                                                           Fair Value
                                                                            Carrying
                                                                            Amount                    Level 1                  Level 2                   Level 3             Total
Short-term liabilities (a)                                            $            1,654        $               —       $           1,654        $                  —    $       1,654
                                                         (b)(c)
Long-term debt (including amounts due within one year)                          34,108                          —                 33,091                      1,893            34,984
Long-term debt to financing trusts (d)                                                389                       —                         —                        421               421
SNF obligation                                                                     1,151                        —                        922                        —                922



                                                                                                                        December 31, 2017

                                                                                                                                          Fair Value
                                                                           Carrying
                                                                           Amount                    Level 1                   Level 2                  Level 3              Total
Short-term liabilities (a)                                            $              929    $                   —       $                929    $                  —     $           929
Long-term debt (including amounts due within one year) (b)(c)                  34,264                           —                 34,735                     1,970             36,705
Long-term debt to financing trusts (d)                                               389                        —                         —                       431                431
SNF obligation                                                                   1,147                          —                        936                       —                 936


     Generation


                                                                                                                            March 31, 2018
                                                                                                                                          Fair Value
                                                                            Carrying
                                                                            Amount                   Level 1                   Level 2                   Level 3             Total
Short-term liabilities (a)                                            $              166        $               —       $                166    $                   —    $           166
Long-term debt (including amounts due within one year) (b)(c)                    8,965                          —                   7,585                     1,610              9,195
SNF obligation                                                                   1,151                          —                        922                        —                922



                                                                                                                    December 31, 2017
                                                                                                                                          Fair Value
                                                                          Carrying
                                                                          Amount                    Level 1                   Level 2                   Level 3              Total
Short-term liabilities (a)                                        $                    2    $                  —    $                     2     $                  —     $             2
                                                         (b)(c)
Long-term debt (including amounts due within one year)                         8,990                           —                   7,839                    1,673                9,512
SNF obligation                                                                 1,147                           —                        936                        —                 936


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   ComEd



                                                                                                              March 31, 2018

                                                                                                                            Fair Value
                                                                        Carrying
                                                                        Amount              Level 1              Level 2                 Level 3             Total

Short-term liabilities (a)                                          $           317     $             —   $            317        $                 —    $           317
Long-term debt (including amounts due within one year)   (b)(c)
                                                                             7,694                    —               8,061                         —           8,061
Long-term debt to financing trusts (d)                                          205                   —                     —                      222               222



                                                                                                          December 31, 2017
                                                                                                                            Fair Value
                                                                        Carrying
                                                                        Amount              Level 1               Level 2                Level 3             Total
Long-term debt (including amounts due within one year) (b)(c)       $          7,601    $             —   $           8,418       $                 —    $      8,418
Long-term debt to financing trusts (d)                                          205                   —                     —                      227               227


   PECO


                                                                                                              March 31, 2018
                                                                                                                            Fair Value
                                                                        Carrying
                                                                        Amount              Level 1               Level 2                Level 3             Total
Short-term liabilities (a)                                          $           220     $             —   $                220    $                 —    $           220
Long-term debt (including amounts due within one year) (b)(c)                  2,723                  —               2,870                         —           2,870
Long-term debt to financing trusts (d)                                          184                   —                     —                      199               199



                                                                                                          December 31, 2017
                                                                                                                            Fair Value
                                                                        Carrying
                                                                        Amount              Level 1               Level 2                Level 3             Total
Long-term debt (including amounts due within one year) (b)(c)       $          2,903    $             —   $           3,194       $                 —    $      3,194
Long-term debt to financing trusts (d)                                          184                   —                     —                      204               204


   BGE


                                                                                                              March 31, 2018
                                                                                                                            Fair Value
                                                                        Carrying
                                                                        Amount              Level 1              Level 2                 Level 3             Total
Short-term liabilities (a)                                          $              45   $             —   $                 45    $                 —    $            45
Long-term debt (including amounts due within one year) (b)(c)       $        2,578      $             —   $           2,689       $                 —    $      2,689


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                                                                                                                    December 31, 2017
                                                                                                                                         Fair Value
                                                                            Carrying
                                                                            Amount                   Level 1                  Level 2                  Level 3             Total
Short-term liabilities (a)                                         $                   77    $                  —   $                    77    $                 —     $            77
Long-term debt (including amounts due within one year) (b)(c)                    2,577                          —                 2,825                          —            2,825


   PHI



                                                                                                                            March 31, 2018

                                                                                                                                          Fair Value

                                                                        Carrying Amount               Level 1                  Level 2                 Level 3             Total

Short-term liabilities (a)                                              $              407       $              —       $                407    $                 —    $           407
Long-term debt (including amounts due within one year) (b)(c)                      5,849                        —                   5,423                        283          5,706



                                                                                                                        December 31, 2017

                                                                                                                                          Fair Value

                                                                        Carrying Amount               Level 1                  Level 2                 Level 3             Total

Short-term liabilities (a)                                              $              350       $              —       $                350    $                 —    $           350
Long-term debt (including amounts due within one year) (b)(c)                      5,874                        —                   5,722                        297          6,019


   Pepco



                                                                                                                        March 31, 2018

                                                                                                                                          Fair Value

                                                                       Carrying Amount               Level 1                  Level 2                  Level 3             Total

Short-term liabilities (a)                                          $                  60    $                  —   $                    60     $                —     $            60
Long-term debt (including amounts due within one year) (b)(c)                      2,540                        —                  2,933                          9           2,942



                                                                                                                    December 31, 2017

                                                                                                                                          Fair Value

                                                                       Carrying Amount               Level 1                  Level 2                  Level 3             Total

Short-term liabilities (a)                                          $                  26    $                  —   $                    26     $                —     $            26
Long-term debt (including amounts due within one year) (b)(c)                      2,540                        —                  3,114                          9           3,123


   DPL



                                                                                                                            March 31, 2018

                                                                                                                                          Fair Value

                                                                        Carrying Amount               Level 1                  Level 2                 Level 3             Total

Short-term liabilities (a)                                              $              211       $              —    $                  211     $                 —    $           211
Long-term debt (including amounts due within one year) (b)(c)                      1,296                        —                  1,320                          —           1,320


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                                                                                                                                        December 31, 2017

                                                                                                                                                           Fair Value

                                                                                             Carrying Amount            Level 1                 Level 2                 Level 3             Total

Short-term liabilities (a)                                                                  $            216      $               —     $             216        $                 —    $           216
Long-term debt (including amounts due within one year) (b)(c)                                          1,300                      —                 1,393                          —           1,393


      ACE



                                                                                                                                             March 31, 2018

                                                                                                                                                           Fair Value

                                                                                             Carrying Amount            Level 1                 Level 2                 Level 3             Total

Short-term liabilities (a)                                                                  $            136      $               —      $                136    $                 —    $           136
Long-term debt (including amounts due within one year) (b)(c)                                          1,114                      —                       916                     274          1,190


                                                                                                                                         December 31, 2017

                                                                                                                                                           Fair Value

                                                                                             Carrying Amount            Level 1                 Level 2                 Level 3             Total

Short-term liabilities (a)                                                                  $            108      $               —      $                108    $                 —    $           108
Long-term debt (including amounts due within one year) (b)(c)                                          1,121                      —                       949                     288          1,237
_________
(a)   Level 1 securities consist of dividends payable (included in other current liabilities). Level 2 securities consist of short term borrowings.
(b)   Includes unamortized debt issuance costs which are not fair valued of $213 million , $57 million , $60 million , $20 million , $16 million , $6 million , $32 million , $11 million and $5 million
      for Exelon, Generation, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE, respectively, as of March 31, 2018 . Includes unamortized debt issuance costs which are not fair valued of $201
      million , $60 million , $52 million , $17 million , $17 million , $6 million , $32 million , $11 million and $5 million for Exelon, Generation, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE,
      respectively, as of December 31, 2017 .
(c)   Level 2 securities consist of fixed-rate taxable debt securities, fixed-rate tax-exempt debt, variable rate tax-exempt debt and variable rate non-recourse debt. Level 3 securities consist of
      fixed-rate private placement taxable debt securities, fixed rate nonrecourse debt and government-backed fixed rate non-recourse debt.
(d)   Includes unamortized debt issuance costs which are not fair valued of $1 million and $1 million for Exelon and ComEd, respectively, as of March 31, 2018 and December 31, 2017 .

Recurring Fair Value Measurements

    Exelon records the fair value of assets and liabilities in accordance with the hierarchy established by the authoritative guidance for fair value
measurements. The hierarchy prioritizes the inputs to valuation techniques used to measure fair value into three levels as follows:


            •    Level 1 — quoted prices (unadjusted) in active markets for identical assets or liabilities that the Registrants have the ability to liquidate
                 as of the reporting date.

            •    Level 2 — inputs other than quoted prices included within Level 1 that are directly observable for the asset or liability or indirectly
                 observable through corroboration with observable market data.

            •    Level 3 — unobservable inputs, such as internally developed pricing models or third-party valuations for the asset or liability due to little
                 or no market activity for the asset or liability.

      Transfers in and out of levels are recognized as of the end of the reporting period when the transfer occurred. Given derivatives categorized
within Level 1 are valued using exchange-based quoted prices within observable periods, transfers between Level 2 and Level 1 were not material.
Additionally, there


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were no material transfers between Level 1 and Level 2 during the three months ended March 31, 2018 for cash equivalents, nuclear
decommissioning trust fund investments, Pledged assets for Zion Station decommissioning, Rabbi trust investments, and Deferred compensation
obligations. For derivative contracts, transfers into Level 2 from Level 3 generally occur when the contract tenor becomes more observable and due
to changes in market liquidity or assumptions for certain commodity contracts.

   Generation and Exelon


     In accordance with the applicable guidance on fair value measurement, certain investments that are measured at fair value using the NAV per
share as a practical expedient are no longer classified within the fair value hierarchy and are included under "Not subject to leveling" in the table
below.

    The following tables present assets and liabilities measured and recorded at fair value on Exelon's and Generation’s Consolidated Balance
Sheets on a recurring basis and their level within the fair value hierarchy as of March 31, 2018 and December 31, 2017 :



                                                            Generation                                                       Exelon
                                                                         Not subject to                                                 Not subject to
As of March 31, 2018                 Level 1     Level 2     Level 3       leveling       Total        Level 1    Level 2    Level 3      leveling       Total

Assets

Cash equivalents (a)                      343          —           —                —         343           517         —          —               —         517

NDT fund investments

      Cash equivalents (b)                222         105          —                —         327           222        105         —               —         327

      Equities                          4,002         983          —             2,119      7,104         4,002        983         —            2,119      7,104

      Fixed income

          Corporate debt                   —        1,583         240               —       1,823            —       1,583        240              —       1,823
          U.S. Treasury and
          agencies                      1,869          88          —                —       1,957         1,869         88         —               —       1,957

          Foreign governments              —           86          —                —             86         —          86         —               —             86

          State and municipal debt         —          254          —                —         254            —         254         —               —         254

          Other (c)                        —           39          —              532         571            —          39         —             532         571

      Fixed income subtotal             1,869       2,050         240             532       4,691         1,869      2,050        240            532       4,691

      Middle market lending                —           —          369             127         496            —          —         369            127         496

      Private equity                       —           —           —              253         253            —          —          —             253         253

      Real estate                          —           —           —              488         488            —          —          —             488         488
          NDT fund investments
          subtotal (d)                  6,093       3,138         609            3,519     13,359         6,093      3,138        609           3,519     13,359
Pledged assets for Zion Station
decommissioning

      Cash equivalents                     13          —           —                —             13         13         —          —               —             13



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                                                                     Generation                                                             Exelon
                                                                                  Not subject to                                                       Not subject to
As of March 31, 2018                     Level 1       Level 2       Level 3        leveling       Total         Level 1     Level 2       Level 3       leveling       Total

      Middle market lending                    —             —            16                 —         16              —           —             16               —             16
              Pledged assets for Zion
              Station
              decommissioning subtotal
              (e)                             13             —            16                 —         29             13           —             16               —             29

Rabbi trust investments

      Cash equivalents                          5            —             —                 —             5          77           —             —                —             77

      Mutual funds                            24             —             —                 —         24             59           —             —                —             59

      Fixed income                             —             —             —                 —             —           —           10            —                —             10

      Life insurance contracts                 —            22             —                 —         22              —           71            23               —             94
              Rabbi trust investments
              subtotal (f)                    29            22             —                 —         51            136           81            23               —         240

Commodity derivative assets

      Economic hedges                        286          2,923         1,892                —       5,101           286        2,923         1,892               —       5,101

      Proprietary trading                      —           151            58                 —        209              —          151            58               —         209
Effect of netting and allocation of
collateral (g) (h)                           (335)       (2,589)         (895)               —      (3,819)          (335)     (2,589)         (895)              —      (3,819)

Commodity derivative assets subtotal          (49)         485          1,055                —       1,491            (49)        485         1,055               —       1,491
Interest rate and foreign currency
derivative assets
      Derivatives designated as
      hedging instruments                      —            12             —                 —         12              —           12            —                —             12

      Economic hedges                          —                 6         —                 —             6           —               6         —                —              6
Effect of netting and allocation of
collateral                                     (1)           (3)           —                 —             (4)         (1)         (3)           —                —             (4)
Interest rate and foreign currency
derivative assets subtotal                     (1)          15             —                 —         14              (1)         15            —                —             14

Other investments                              —             —            36                 —         36              —           —             36               —             36
Total assets                                6,428         3,660         1,716             3,519     15,323          6,709       3,719         1,739            3,519     15,686

Liabilities

Commodity derivative liabilities

      Economic hedges                        (415)       (3,317)       (1,203)               —      (4,935)          (415)     (3,317)       (1,470)              —      (5,202)

      Proprietary trading                      —           (164)          (15)               —        (179)            —         (164)          (15)              —        (179)
Effect of netting and allocation of
collateral (g) (h)                           415          3,007         1,081                —       4,503           415        3,007         1,081               —       4,503
Commodity derivative liabilities
subtotal                                       —           (474)         (137)               —        (611)            —         (474)         (404)              —        (878)
Interest rate and foreign currency
derivative liabilities
      Derivatives designated as
      hedging instruments                      —             —             —                 —             —           —           (4)           —                —             (4)



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                                                                            Generation                                                                           Exelon
                                                                                         Not subject to                                                                     Not subject
As of March 31, 2018                      Level 1           Level 2         Level 3        leveling           Total             Level 1         Level 2         Level 3     to leveling       Total

      Economic hedges                           (1)               (4)             —                —                  (5)             (1)             (4)             —              —                (5)
Effect of netting and allocation of
collateral                                      1                  3              —                —                  4               1                3              —              —                4
Interest rate and foreign currency
derivative liabilities subtotal                 —                 (1)             —                —                  (1)             —               (5)             —              —                (5)

Deferred compensation obligation                —                (35)             —                —              (35)                —             (138)             —              —           (138)

Total liabilities                               —               (510)           (137)              —             (647)                —             (617)           (404)            —         (1,021)

Total net assets                      $      6,428      $      3,150    $      1,579     $      3,519     $    14,676       $      6,709    $      3,102    $      1,335    $     3,519   $    14,665




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                                                                             Generation                                                                           Exelon
                                                                                          Not subject to                                                                     Not subject to
As of December 31, 2017                    Level 1         Level 2           Level 3        leveling           Total           Level 1         Level 2           Level 3       leveling           Total

Assets

Cash equivalents (a)                   $       168     $         —       $         —      $          —     $      168      $       656     $         —       $         —     $          —     $      656

NDT fund investments

    Cash equivalents (b)                       135               85                —                 —            220              135               85                —                —            220
    Equities                                  4,163             915                —              2,176          7,254            4,163             915                —             2,176          7,254

    Fixed income

         Corporate debt                          —            1,614               251                —           1,865               —            1,614               251               —           1,865

         U.S. Treasury and agencies           1,917              52                —                 —           1,969            1,917              52                —                —           1,969

         Foreign governments                     —               82                —                 —             82                —               82                —                —             82

         State and municipal debt                —              263                —                 —            263                —              263                —                —            263

         Other (c)                               —               47                —               510            557                —               47                —               510           557

    Fixed income subtotal                     1,917           2,058               251              510           4,736            1,917           2,058               251              510          4,736

    Middle market lending                        —               —                397              131            528                —               —                397              131           528

    Private equity                               —               —                 —               222            222                —               —                 —               222           222

    Real estate                                  —               —                 —               471            471                —               —                 —               471           471
           NDT fund investments
           subtotal (d)                       6,215           3,058               648             3,510         13,431            6,215           3,058               648            3,510         13,431
Pledged assets for Zion Station
decommissioning

    Cash equivalents                              2              —                 —                 —                 2              2              —                 —                —                 2

    Equities                                     —                   1             —                 —                 1             —                   1             —                —                 1

    Middle market lending                        —               —                 12               24             36                —               —                 12               24            36
         Pledged assets for Zion
         Station decommissioning
         subtotal (e)                             2                  1             12               24             39                 2                  1             12               24            39

Rabbi trust investments

    Cash equivalents                              5              —                 —                 —                 5            77               —                 —                —             77

    Mutual funds                                23               —                 —                 —             23               58               —                 —                —             58

    Fixed income                                 —               —                 —                 —                 —             —               12                —                —             12

    Life insurance contracts                     —               22                —                 —             22                —               71                22               —             93
         Rabbi trust investments
         subtotal (f)                           28               22                —                 —             50              135               83                22               —            240

Commodity derivative assets

    Economic hedges                            557            2,378             1,290                —           4,225             557            2,378             1,290               —           4,225

    Proprietary trading                           2              31                35                —             68                 2              31                35               —             68
Effect of netting and allocation of
collateral (g) (h)                             (585)         (1,769)             (635)               —          (2,989)            (585)         (1,769)             (635)              —          (2,989)

Commodity derivative assets subtotal            (26)            640               690                —           1,304              (26)            640               690               —           1,304
Interest rate and foreign currency
derivative assets
    Derivatives designated as
    hedging instruments                          —                   3             —                 —                 3             —                   6             —                —                 6

    Economic hedges                              —               10                —                 —             10                —               10                —                —             10


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                                                            (Dollars in millions, except per share data, unless otherwise noted)


                                                                                  Generation                                                                           Exelon
                                                                                               Not subject to                                                                     Not subject
As of December 31, 2017                         Level 1           Level 2         Level 3        leveling           Total             Level 1         Level 2         Level 3     to leveling       Total
Effect of netting and allocation of
collateral                                            (2)               (5)             —                —                  (7)             (2)             (5)             —              —                (7)
Interest rate and foreign currency
derivative assets subtotal                            (2)                8              —                —                  6               (2)            11               —              —                9

Other investments                                     —                 —               37               —              37                  —               —              37              —            37

Total assets                                       6,385             3,729           1,387            3,534          15,035              6,980           3,793           1,409          3,534        15,716

Liabilities

Commodity derivative liabilities

      Economic hedges                               (712)           (2,226)           (845)              —           (3,783)              (713)         (2,226)         (1,101)            —         (4,040)

      Proprietary trading                             (2)              (42)             (9)              —              (53)                (2)            (42)             (9)            —            (53)
Effect of netting and allocation of
collateral (g) (h)                                  650              2,089             716               —            3,455               651            2,089            716              —          3,456

Commodity derivative liabilities subtotal            (64)             (179)           (138)              —             (381)               (64)           (179)           (394)            —           (637)
Interest rate and foreign currency
derivative liabilities
      Derivatives designated as hedging
      instruments                                     —                 (2)             —                —                  (2)             —               (2)             —              —                (2)

      Economic hedges                                 (1)               (8)             —                —                  (9)             (1)             (8)             —              —                (9)
Effect of netting and allocation of
collateral                                             2                 5              —                —                  7                2               5              —              —                7
Interest rate and foreign currency
derivative liabilities subtotal                        1                (5)             —                —                  (4)              1              (5)             —              —                (4)

Deferred compensation obligation                      —                (38)             —                —              (38)                —             (145)             —              —           (145)

Total liabilities                                    (63)             (222)           (138)              —             (423)               (63)           (329)           (394)            —           (786)

Total net assets                            $      6,322      $      3,507    $      1,249     $      3,534     $    14,612       $      6,917    $      3,464    $      1,015    $     3,534   $    14,930

_________
(a)    Generation excludes cash of $371 million and $259 million at March 31, 2018 and December 31, 2017 and restricted cash of $23 million and $127 million at March 31, 2018 and
       December 31, 2017 . Exelon excludes cash of $531 million and $389 million at March 31, 2018 and December 31, 2017 and restricted cash of $51 million and $145 million at March 31,
       2018 and December 31, 2017 and includes long-term restricted cash of $103 million and $85 million at March 31, 2018 and December 31, 2017 , which is reported in Other deferred debits
       on the Consolidated Balance Sheets.
(b)    Includes $53 million and $77 million of cash received from outstanding repurchase agreements at March 31, 2018 and December 31, 2017 , respectively, and is offset by an obligation to
       repay upon settlement of the agreement as discussed in (d) below.
(c)    Includes derivative instruments of $2 million and less than $1 million , which have a total notional amount of $949 million and $811 million at March 31, 2018 and December 31, 2017 ,
       respectively. The notional principal amounts for these instruments provide one measure of the transaction volume outstanding as of the fiscal years ended and do not represent the amount
       of the company's exposure to credit or market loss.
(d)    Excludes net liabilities of $84 million and $82 million at March 31, 2018 and December 31, 2017 , respectively. These items consist of receivables related to pending securities sales,
       interest and dividend receivables, repurchase agreement obligations, and payables related to pending securities purchases. The repurchase agreements are generally short-term in nature
       with durations generally of 30 days or less.
(e)    Excludes net assets of $1 million at March 31, 2018 . These items consist of receivables related to pending securities sales, interest and dividend receivables, and payables related to
       pending securities purchases.
(f)    The amount of unrealized gains/(losses) at Generation totaled less than $1 million and $1 million for the three months ended March 31, 2018 and March 31, 2017 , respectively. The
       amount of unrealized gains/(losses) at Exelon totaled $1 million and $2 million for the three months ended March 31, 2018 and March 31, 2017 , respectively.
(g)    Collateral posted/(received) from counterparties totaled $80 million , $418 million and $186 million allocated to Level 1, Level 2 and Level 3 mark-to-market derivatives, respectively, as of
       March 31, 2018 . Collateral posted/(received) from counterparties, net of collateral paid to counterparties, totaled $65 million , $320 million and $81 million allocated to Level 1, Level 2 and
       Level 3 mark-to-market derivatives, respectively, as of December 31, 2017 .
(h)    Of the collateral posted/(received), $156 million represents variation margin on the exchanges as of March 31, 2018 . Of the collateral posted/(received), $(117) million represents variation
       margin on the exchanges as of December 31, 2017 .


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    Exelon and Generation hold investments without readily determinable fair values with carrying amounts of $68 million as of March 31, 2018 .
Changes were immaterial in fair value, cumulative adjustments and impairments for the three months ended March 31, 2018 .

      ComEd, PECO and BGE


    The following tables present assets and liabilities measured and recorded at fair value on ComEd's, PECO's and BGE's Consolidated Balance
Sheets on a recurring basis and their level within the fair value hierarchy as of March 31, 2018 and December 31, 2017 :



                                                                     ComEd                                                                  PECO                                                               BGE

As of March 31, 2018                        Level 1        Level 2           Level 3        Total             Level 1             Level 2          Level 3       Total           Level 1           Level 2           Level 3       Total

Assets

Cash equivalents (a)                    $        93    $        —       $         —     $       93        $             6     $        —      $          —   $           6   $         —       $        —        $         —   $       —

Rabbi trust investments

       Mutual funds                              —              —                 —             —                       7              —                 —               7                 6            —                  —               6

       Life insurance contracts                  —              —                 —             —                   —                  10                —           10                —                —                  —           —
         Rabbi trust investments
         subtotal (b)                            —              —                 —             —                       7              10                —           17                    6            —                  —               6
Total assets                                     93             —                 —             93                 13                  10                —           23                    6            —                  —               6

Liabilities

Deferred compensation obligation                 —              (8)               —             (8)                 —                 (11)               —          (11)               —                 (4)               —           (4)
Mark-to-market derivative
liabilities (c)                                  —              —               (267)         (267)                 —                  —                 —           —                 —                —                  —           —

Total liabilities                                —              (8)             (267)         (275)                 —                 (11)               —          (11)               —                 (4)               —           (4)

Total net assets (liabilities)          $        93    $        (8)     $       (267)   $     (182)       $        13         $         (1)   $          —   $       12      $             6   $         (4)     $         —   $           2




                                                                     ComEd                                                                  PECO                                                               BGE

As of December 31, 2017                     Level 1        Level 2           Level 3        Total             Level 1             Level 2          Level 3       Total           Level 1           Level 2           Level 3       Total

Assets

Cash equivalents (a)                    $         98   $         —       $         —    $           98    $       228         $        —      $          —   $      228      $         —       $        —        $         —   $       —

Rabbi trust investments

       Mutual funds                               —              —                 —                —                   7              —                 —               7                 6            —                  —               6

       Life insurance contracts                   —              —                 —                —               —                  10                —           10                —                —                  —           —
              Rabbi trust investments
              subtotal (b)                        —              —                 —                —                   7              10                —           17                    6            —                  —               6
Total assets                                      98             —                 —                98            235                  10                —          245                    6            —                  —               6

Liabilities

Deferred compensation obligation                  —              (8)               —                (8)             —                 (11)               —          (11)               —                 (5)               —           (5)
Mark-to-market derivative
liabilities (c)                                   —              —              (256)          (256)                —                  —                 —           —                 —                —                  —           —

Total liabilities                                 —              (8)            (256)          (264)                —                 (11)               —          (11)               —                 (5)               —           (5)

Total net assets (liabilities)          $         98   $         (8)     $      (256)   $      (166)      $       235         $         (1)   $          —   $      234      $             6   $         (5)     $         —   $           1

_________
(a)   ComEd excludes cash of $69 million and $45 million at March 31, 2018 and December 31, 2017 and includes long-term restricted cash of $83 million and $62 million at March 31, 2018
      and December 31, 2017 , which is reported in Other deferred debits on the Consolidated Balance Sheets. PECO excludes cash of $20 million and $47 million at March 31, 2018 and
      December 31, 2017 . BGE


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       excludes cash of $22 million and $17 million at March 31, 2018 and December 31, 2017 and restricted cash of $2 million and $1 million at March 31, 2018 and December 31, 2017 .
(b)    The amount of unrealized gains/(losses) at ComEd, PECO and BGE totaled less than $1 million for the three months ended March 31, 2018 and March 31, 2017 , respectively.
(c)    The Level 3 balance consists of the current and noncurrent liability of $24 million and $243 million , respectively, at March 31, 2018 , and $21 million and $235 million , respectively, at
       December 31, 2017 , related to floating-to-fixed energy swap contracts with unaffiliated suppliers.

       PHI, Pepco, DPL and ACE

     The following tables present assets and liabilities measured and recorded at fair value on PHI's, Pepco's, DPL's and ACE's Consolidated
Balance Sheets on a recurring basis and their level within the fair value hierarchy as of March 31, 2018 and December 31, 2017 :




                                                                      As of March 31, 2018                                                         As of December 31, 2017

 PHI                                           Level 1            Level 2             Level 3              Total              Level 1             Level 2            Level 3             Total

 Assets
 Cash equivalents (a)                     $              67   $             —    $              —      $            67    $             83    $             —    $             —    $             83
 Rabbi trust investments
        Cash equivalents                                 72                 —                   —                   72                  72                  —                  —                  72
        Fixed income                                     —                  10                  —                   10                  —                   12                 —                  12
        Life insurance contracts                         —                  23                  23                  46                  —                   23                 22                 45
          Rabbi trust investments
                                                         72                 33                  23                 128                  72                  35                 22                129
          subtotal (b)
 Total assets                                        139                    33                  23                 195              155                     35                 22                212
 Liabilities
 Deferred compensation obligation                        —               (23)                   —                  (23)                 —               (25)                   —                 (25)
 Mark-to-market derivative liabilities                   —                  —                   —                   —                   (1)                 —                  —                  (1)
 (c)

 Effect of netting and allocation of
                                                         —                  —                   —                   —                    1                  —                  —                   1
 collateral
 Mark-to-market derivative liabilities
                                                         —                  —                   —                   —                   —                   —                  —                  —
 subtotal
 Total liabilities                                       —               (23)                   —                  (23)                 —               (25)                   —                 (25)
 Total net assets                         $          139      $             10   $              23     $           172    $         155       $             10   $             22   $            187



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                                                                   Pepco                                                           DPL                                                            ACE

 As of March 31, 2018                      Level 1       Level 2           Level 3       Total         Level 1         Level 2           Level 3       Total             Level 1        Level 2         Level 3       Total

 Assets

 Cash equivalents (a)                  $        33   $        —       $         —    $       33    $         —     $         —       $         —   $           —     $         27   $         —     $         —   $       27

 Rabbi trust investments

       Cash equivalents                         44            —                 —            44              —               —                 —               —               —              —               —           —

       Fixed income                             —             10                —            10              —               —                 —               —               —              —               —           —

       Life insurance contracts                 —             23                23           46              —               —                 —               —               —              —               —           —
          Rabbi trust investments
          subtotal (b)                          44            33                23         100               —               —                 —               —               —              —               —           —
 Total assets                                   77            33                23         133               —               —                 —               —               27             —               —           27

 Liabilities
 Deferred compensation
 obligation                                     —             (4)               —            (4)             —               (1)               —               (1)             —              —               —           —
 Total liabilities                              —             (4)               —            (4)             —               (1)               —               (1)             —              —               —           —

 Total net assets (liabilities)        $        77   $        29      $         23   $     129     $         —     $         (1)     $         —   $           (1)   $         27   $         —     $         —   $       27




                                                                   Pepco                                                          DPL                                                             ACE

 As of December 31, 2017                   Level 1       Level 2           Level 3       Total         Level 1         Level 2           Level 3       Total             Level 1        Level 2         Level 3       Total

 Assets

 Cash equivalents (a)                  $        36   $        —       $         —    $       36    $        —      $        —        $         —   $       —         $        29    $         —     $         —   $       29

 Rabbi trust investments

       Cash equivalents                         44            —                 —            44             —               —                  —           —                   —              —               —           —

       Fixed income                             —             12                —            12             —               —                  —           —                   —              —               —           —

       Life insurance contracts                 —             23                22           45             —               —                  —           —                   —              —               —           —
          Rabbi trust investments
          subtotal (b)                          44            35                22         101              —               —                  —           —                   —              —               —           —
 Total assets                                   80            35                22         137              —               —                  —           —                  29              —               —           29

 Liabilities
 Deferred compensation
 obligation                                     —             (4)               —            (4)            —               (1)                —           (1)                 —              —               —           —
 Mark-to-market derivative
 liabilities (c)                                —             —                 —            —              (1)             —                  —           (1)                 —              —               —           —
 Effect of netting and allocation of
 collateral                                     —             —                 —            —               1              —                  —               1               —              —               —           —
 Mark-to-market derivative
 liabilities subtotal                           —             —                 —            —              —               —                  —           —                   —              —               —           —

 Total liabilities                              —             (4)               —            (4)            —               (1)                —           (1)                 —              —               —           —

 Total net assets (liabilities)        $        80   $        31      $         22   $     133     $        —      $        (1)      $         —   $       (1)       $        29    $         —     $         —   $       29

_________
(a)   PHI excludes cash of $36 million and $12 million at March 31, 2018 and December 31, 2017 , respectively, and includes long-term restricted cash of $20 million and $23 million at
      March 31, 2018 and December 31, 2017 , respectively, which is reported in Other deferred debits on the Consolidated Balance Sheets. Pepco excludes cash of $15 million and $4 million
      at March 31, 2018 and December 31, 2017 , respectively. DPL excludes cash of $7 million and $2 million at March 31, 2018 and December 31, 2017 , respectively. ACE excludes cash of
      $10 million and $2 million at March 31, 2018 and December 31, 2017 , respectively, and includes long-term restricted cash of $20 million and $23 million at March 31, 2018 and
      December 31, 2017 , respectively, which is reported in Other deferred debits on the Consolidated Balance Sheets.
(b)   The amount of unrealized gains/(losses) at PHI, Pepco, DPL and ACE totaled less than $1 million for the three months ended March 31, 2018 and March 31, 2017 .
(c)   Represents natural gas futures purchased by DPL as part of a natural gas hedging program approved by the DPSC.



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     The following tables present the fair value reconciliation of Level 3 assets and liabilities measured at fair value on a recurring basis during the
three months ended March 31, 2018 and 2017 :




                                                                                 Generation                                                             ComEd                       PHI                                     Exelon
                                                         Pledged Assets
Three Months Ended March 31,          NDT Fund           for Zion Station            Mark-to-Market                Other                Total       Mark-to-Market             Life Insurance       Eliminated in
2018                                 Investments        Decommissioning               Derivatives               Investments           Generation     Derivatives                Contracts (c)       Consolidation            Total

Balance as of December 31,
2017                             $           648    $                       12   $            552           $            37       $       1,249     $      (256)           $              22    $               —       $     1,015
Total realized / unrealized
gains (losses)

       Included in net income                 —                             —                 184     (a)                     1             185               —                             1                   —               186
       Included in noncurrent
       payables to affiliates                  7                            —                   —                        —                     7              —                            —                    (7)                  —
       Included in payable for
       Zion Station
       decommissioning                        —                              4                  —                        —                     4              —                            —                    —                     4
      Included in regulatory
      assets/liabilities                      —                             —                   —                        —                    —              (11)    (b)                   —                        7                (4)

Change in collateral                          —                             —                 105                        —                  105               —                            —                    —               105
Purchases, sales, issuances
and settlements

       Purchases                               2                            —                   88                       —                   90               —                            —                    —                    90

       Sales                                  —                             —                   (3)                      —                    (3)             —                            —                    —                    (3)

       Settlements                           (48)                           —                   —                        —                   (48)             —                            —                    —                (48)

Transfers into Level 3                        —                             —                   (8)                      —                    (8)             —                            —                    —                    (8)

Transfers out of Level 3                      —                             —                   —                         (2)                 (2)             —                            —                    —                    (2)

Balance at March 31, 2018        $           609    $                       16   $            918           $            36       $       1,579     $      (267)           $              23    $               —       $     1,335
The amount of total gains
(losses) included in income
attributed to the change in
unrealized gains (losses)
related to assets and
liabilities as of March 31,
2018                             $            —     $                       —    $            256           $                 1   $         257     $         —            $                1   $               —       $       258




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                                                                                Generation                                                                ComEd                        PHI                                      Exelon
                                                        Pledged Assets
Three Months Ended March 31,         NDT Fund           for Zion Station            Mark-to-Market                Other                Total           Mark-to-Market             Life Insurance        Eliminated in
2017                                Investments        Decommissioning               Derivatives               Investments           Generation         Derivatives                Contracts (c)        Consolidation            Total

Balance as of December 31,
2016                       $                677    $                       19   $            493           $            42       $       1,231     $           (258)          $              20     $               —       $      993
Total realized / unrealized
gains (losses)

       Included in net income                 3                            —                  (43)   (a)                     1              (39)                  —                            1                    —               (38)
       Included in noncurrent
       payables to affiliates                 9                            —                   —                        —                     9                   —                          —                      (9)              —
      Included in regulatory
      assets/liabilities                     —                             —                   —                        —                    —                   (24)   (b)                  —                          9           (15)

Change in collateral                         —                             —                   38                       —                   38                    —                          —                      —                38
Purchases, sales, issuances
and settlements

       Purchases                             17                             1                  69                            2              89                    —                          —                      —                89

       Sales                                 —                             —                   (2)                      —                    (2)                  —                          —                      —                    (2)

       Issuances                             —                             —                   —                        —                    —                    —                           (1)                   —                    (1)

       Settlements                          (23)                           —                   —                        —                   (23)                  —                          —                      —               (23)

Transfers into Level 3                       —                             —                   (1)                      —                    (1)                  —                          —                      —                    (1)

Transfers out of Level 3                     —                             —                   11                        (5)                  6                   —                          —                      —                    6
Balance as of March 31,
2017                            $           683    $                       20   $            565           $            40       $       1,308     $           (282)          $              20     $               —       $    1,046
The amount of total gains
(losses) included in income
attributed to the change in
unrealized gains (losses)
related to assets and
liabilities as of March 31,
2017                            $             2    $                       —    $              59          $            —        $          61     $              —           $                1    $               —       $        62


________
(a)   Includes a reduction for the reclassification of $72 million and $102 million of realized gains due to the settlement of derivative contracts for the three months ended March 31, 2018 and
      March 31, 2017 , respectively.
(b)   Includes $ 17 million of decreases in fair value and an increase for realized losses due to settlements of $ 6 million recorded in purchased power expense associated with floating-to-fixed
      energy swap contracts with unaffiliated suppliers for the three months ended March 31, 2018 . Includes $30 million of decreases in fair value and an increase for realized losses due to
      settlements of $6 million recorded in purchased power expense associated with floating-to-fixed energy swap contracts with unaffiliated suppliers for the three months ended March 31,
      2017 .
(c)   The amounts represented are life insurance contracts at Pepco.




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     The following tables present the income statement classification of the total realized and unrealized gains (losses) included in income for Level
3 assets and liabilities measured at fair value on a recurring basis during the three months ended March 31, 2018 and 2017 :


                                                                      Generation                                           PHI                                                      Exelon
                                                                     Purchased                                                                                     Purchased
                                                  Operating          Power and                                        Operating and              Operating         Power and                Operating and
                                                  Revenues              Fuel             Other, net (a)               Maintenance                Revenues             Fuel                  Maintenance                   Other, net (a)

Total gains (losses) included in net
income for the three months ended
March 31, 2018                                $        335       $        (151)      $                    1     $                     1      $        335      $       (151)        $                       1       $                      1
Change in the unrealized gains (losses)
relating to assets and liabilities held for
the three months ended March 31, 2018                  309                   (53)                         1                           1               309                (53)                               1                              1

                                                                                     Generation                                               PHI                                              Exelon
                                                                                     Purchased                                                                                              Purchased
                                                              Operating              Power and                                                                     Operating                Power and
                                                              Revenues                  Fuel                   Other, net (a)             Other, net (a)           Revenues                    Fuel                     Other, net (a)
Total gains (losses) included in net income for
the three months ended March 31, 2017               $                   88       $         (131)          $                     3     $                    1   $               88       $          (131)        $                          4
Change in the unrealized gains (losses) relating
to assets and liabilities held for the three months
ended March 31, 2017                                                  140                    (81)                               2                          1               140                       (81)                                  3
_________
(a)   Other, net activity consists of realized and unrealized gains (losses) included in income for the NDT funds held by Generation, accrued interest on a convertible promissory note at
      Generation and the life insurance contracts held by PHI and Pepco.

Valuation Techniques Used to Determine Fair Value


       The following describes the valuation techniques used to measure the fair value of the assets and liabilities shown in the tables above.


     Cash Equivalents (Exelon, Generation, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE). The Registrants’ cash equivalents include
investments with original maturities of three months or less when purchased. The cash equivalents shown in the fair value tables are comprised of
investments in mutual and money market funds. The fair values of the shares of these funds are based on observable market prices and, therefore,
have been categorized in Level 1 in the fair value hierarchy.


     Nuclear Decommissioning Trust Fund Investments and Pledged Assets for Zion Station Decommissioning (Exelon and Generation). The trust
fund investments have been established to satisfy Generation’s and CENG's nuclear decommissioning obligations as required by the NRC. The
NDT funds hold debt and equity securities directly and indirectly through commingled funds and mutual funds, which are included in Equities and
Fixed Income. Generation’s and CENG's NDT fund investments policies outline investment guidelines for the trusts and limit the trust funds’
exposures to investments in highly illiquid markets and other alternative investments. Investments with maturities of three months or less when
purchased, including certain short-term fixed income securities are considered cash equivalents and included in the recurring fair value
measurements hierarchy as Level 1 or Level 2.

       With respect to individually held equity securities, the trustees obtain prices from pricing services, whose prices are generally obtained from
direct feeds from market exchanges, which Generation is able to independently corroborate. The fair values of equity securities held directly by the
trust funds which are based on quoted prices in active markets are categorized in Level 1. Certain equity securities have been categorized as Level
2 because they are based on evaluated prices that reflect observable market information, such as actual trade information or similar securities.
Equity securities held individually are


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primarily traded on the New York Stock Exchange and NASDAQ-Global Select Market, which contain only actively traded securities due to the
volume trading requirements imposed by these exchanges.

      For fixed income securities, multiple prices from pricing services are obtained whenever possible, which enables cross-provider validations in
addition to checks for unusual daily movements. A primary price source is identified based on asset type, class or issue for each security. With
respect to individually held fixed income securities, the trustees monitor prices supplied by pricing services and may use a supplemental price
source or change the primary price source of a given security if the portfolio managers challenge an assigned price and the trustees determine that
another price source is considered to be preferable. Generation has obtained an understanding of how these prices are derived, including the nature
and observability of the inputs used in deriving such prices. Additionally, Generation selectively corroborates the fair values of securities by
comparison to other market-based price sources. U.S. Treasury securities are categorized as Level 1 because they trade in a highly liquid and
transparent market. The fair values of fixed income securities, excluding U.S. Treasury securities, are based on evaluated prices that reflect
observable market information, such as actual trade information or similar securities, adjusted for observable differences and are categorized in
Level 2. The fair values of private placement fixed income securities, which are included in Corporate debt, are determined using a third party
valuation that contains significant unobservable inputs and are categorized in Level 3.


      Equity and fixed income commingled funds and mutual funds are maintained by investment companies and hold certain investments in
accordance with a stated set of fund objectives such as holding short-term fixed income securities or tracking the performance of certain equity
indices by purchasing equity securities to replicate the capitalization and characteristics of the indices. The values of some of these funds are
publicly quoted. For mutual funds which are publicly quoted, the funds are valued based on quoted prices in active markets and have been
categorized as Level 1. For commingled funds and mutual funds, which are not publicly quoted, the funds are valued using NAV as a practical
expedient for fair value, which is primarily derived from the quoted prices in active markets on the underlying securities, and are not classified within
the fair value hierarchy. These investments typically can be redeemed monthly with 30 or less days of notice and without further restrictions.

      Derivative instruments consisting primarily of futures and interest rate swaps to manage risk are recorded at fair value. Over the counter
derivatives are valued daily based on quoted prices in active markets and trade in open markets, and have been categorized as Level 1. Derivative
instruments other than over the counter derivatives are valued based on external price data of comparable securities and have been categorized as
Level 2.

      Middle market lending are investments in loans or managed funds which lend to private companies. Generation elected the fair value option for
its investments in certain limited partnerships that invest in middle market lending managed funds. The fair value of these loans is determined using
a combination of valuation models including cost models, market models and income models. Investments in loans are categorized as Level 3
because the fair value of these securities is based largely on inputs that are unobservable and utilize complex valuation models. Managed funds are
valued using NAV or its equivalent as a practical expedient, and therefore, are not classified within the fair value hierarchy. Investments in middle
market lending typically cannot be redeemed until maturity of the term loan.


     Private equity and real estate investments include those in limited partnerships that invest in operating companies and real estate holding
companies that are not publicly traded on a stock exchange, such as, leveraged buyouts, growth capital, venture capital, distressed investments,
investments in natural resources, and direct investments in pools of real estate properties. The fair value of private equity and real estate
investments is determined using NAV or its equivalent as a practical expedient, and therefore, are not classified within the fair value hierarchy.
These investments typically cannot be redeemed and are generally liquidated over a period of 8 to 10 years from the initial investment date. Private
equity and real estate valuations are reported by the fund manager and are based on the valuation


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of the underlying investments, which include inputs such as cost, operating results, discounted future cash flows, market based comparable data,
and independent appraisals from sources with professional qualifications. These valuation inputs are unobservable.

      As of March 31, 2018 , Generation has outstanding commitments to invest in equities, fixed income, middle market lending, private equity and
real estate investments of approximately $208 million , $65 million , $386 million , $194 million , and $107 million , respectively. These commitments
will be funded by Generation’s existing nuclear decommissioning trust funds.


     Concentrations of Credit Risk . Generation evaluated its NDT portfolios for the existence of significant concentrations of credit risk as of
March 31, 2018 . Types of concentrations that were evaluated include, but are not limited to, investment concentrations in a single entity, type of
industry, foreign country, and individual fund. As of March 31, 2018 , there were no significant concentrations (generally defined as greater than 10
percent) of risk in Generation's NDT assets.

     See Note 13 — Nuclear Decommissioning for further discussion on the NDT fund investments.

      Rabbi Trust Investments (Exelon, Generation, PECO, BGE, PHI, Pepco, DPL and ACE). The Rabbi trusts were established to hold assets
related to deferred compensation plans existing for certain active and retired members of Exelon’s executive management and directors. The Rabbi
trusts assets are included in investments in the Registrants’ Consolidated Balance Sheets and consist primarily of money market funds, mutual
funds, fixed income securities and life insurance policies. The mutual funds are maintained by investment companies and hold certain investments in
accordance with a stated set of fund objectives, which are consistent with Exelon’s overall investment strategy. Money market funds and mutual
funds are publicly quoted and have been categorized as Level 1 given the clear observability of the prices. The fair values of fixed income securities
are based on evaluated prices that reflect observable market information, such as actual trade information or similar securities, adjusted for
observable differences and are categorized in Level 2. The life insurance policies are valued using the cash surrender value of the policies, net of
loans against those policies, which is provided by a third-party. Certain life insurance policies, which consist primarily of mutual funds that are priced
based on observable market data, have been categorized as Level 2 because the life insurance policies can be liquidated at the reporting date for
the value of the underlying assets. Life insurance policies that are valued using unobservable inputs have been categorized as Level 3.

      Mark-to-Market Derivatives (Exelon, Generation, ComEd, PHI and DPL) . Derivative contracts are traded in both exchange-based and non-
exchange-based markets. Exchange-based derivatives that are valued using unadjusted quoted prices in active markets are categorized in Level 1
in the fair value hierarchy. Certain derivatives’ pricing is verified using indicative price quotations available through brokers or over-the-counter, on-
line exchanges and are categorized in Level 2. These price quotations reflect the average of the bid-ask, mid-point prices and are obtained from
sources that the Registrants believe provide the most liquid market for the commodity. The price quotations are reviewed and corroborated to ensure
the prices are observable and representative of an orderly transaction between market participants. This includes consideration of actual transaction
volumes, market delivery points, bid-ask spreads and contract duration. The remainder of derivative contracts are valued using the Black model, an
industry standard option valuation model. The Black model takes into account inputs such as contract terms, including maturity, and market
parameters, including assumptions of the future prices of energy, interest rates, volatility, credit worthiness and credit spread. For derivatives that
trade in liquid markets, such as generic forwards, swaps and options, model inputs are generally observable. Such instruments are categorized in
Level 2. The Registrants’ derivatives are predominantly at liquid trading points. For derivatives that trade in less liquid markets with limited pricing
information model inputs generally would include both observable and unobservable inputs. These valuations may include an estimated basis
adjustment from an illiquid trading point to a liquid trading point for which active price quotations are available. Such instruments are categorized in
Level 3.


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      Exelon may utilize fixed-to-floating interest rate swaps, which are typically designated as fair value hedges, as a means to achieve its targeted
level of variable-rate debt as a percent of total debt. In addition, the Registrants may utilize interest rate derivatives to lock in interest rate levels in
anticipation of future financings. These interest rate derivatives are typically designated as cash flow hedges. Exelon determines the current fair
value by calculating the net present value of expected payments and receipts under the swap agreement, based on and discounted by the market's
expectation of future interest rates. Additional inputs to the net present value calculation may include the contract terms, counterparty credit risk and
other market parameters. As these inputs are based on observable data and valuations of similar instruments, the interest rate swaps are
categorized in Level 2 in the fair value hierarchy. See Note 10 — Derivative Financial Instruments for further discussion on mark-to-market
derivatives.

      Deferred Compensation Obligations (Exelon, Generation, ComEd, PECO, BGE, PHI, Pepco, DPL and ACE). The Registrants’ deferred
compensation plans allow participants to defer certain cash compensation into a notional investment account. The Registrants include such plans in
other current and noncurrent liabilities in their Consolidated Balance Sheets. The value of the Registrants’ deferred compensation obligations is
based on the market value of the participants’ notional investment accounts. The underlying notional investments are comprised primarily of equities,
mutual funds, commingled funds, and fixed income securities which are based on directly and indirectly observable market prices. Since the
deferred compensation obligations themselves are not exchanged in an active market, they are categorized as Level 2 in the fair value hierarchy.


     The value of certain employment agreement obligations (which are included with the Deferred Compensation Obligation in the tables above)
are based on a known and certain stream of payments to be made over time and are categorized as Level 2 within the fair value hierarchy.

Additional Information Regarding Level 3 Fair Value Measurements (Exelon, Generation, ComEd, PHI, Pepco, DPL and ACE)


      Nuclear Decommissioning Trust Fund Investments and Pledged Assets for Zion Station Decommissioning (Exelon and Generation). For middle
market lending and certain corporate debt securities investments, the fair value is determined using a combination of valuation models including cost
models, market models and income models. The valuation estimates are based on discounting the forecasted cash flows, market-based comparable
data, credit and liquidity factors, as well as other factors that may impact value. Significant judgment is required in the application of discounts or
premiums applied for factors such as size, marketability, credit risk and relative performance.


      Because Generation relies on third-party fund managers to develop the quantitative unobservable inputs without adjustment for the valuations
of its Level 3 investments, quantitative information about significant unobservable inputs used in valuing these investments is not reasonably
available to Generation. This includes information regarding the sensitivity of the fair values to changes in the unobservable inputs. Generation gains
an understanding of the fund managers’ inputs and assumptions used in preparing the valuations. Generation performed procedures to assess the
reasonableness of the valuations.

      Rabbi Trust Investments - Life insurance contracts (Exelon, PHI, Pepco, DPL and ACE). For life insurance policies categorized as Level 3, the
fair value is determined based on the cash surrender value of the policy, which contains unobservable inputs and assumptions. Because Exelon
relies on its third-party insurance provider to develop the inputs without adjustment for the valuations of its Level 3 investments, quantitative
information about significant unobservable inputs used in valuing these investments is not reasonably available to Exelon. Exelon gains an
understanding of the types of inputs and assumptions used in preparing the valuations and performs procedures to assess the reasonableness of
the valuations.


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      Mark-to-Market Derivatives (Exelon, Generation and ComEd). For valuations that include both observable and unobservable inputs, if the
unobservable input is determined to be significant to the overall inputs, the entire valuation is categorized in Level 3. This includes derivatives valued
using indicative price quotations whose contract tenure extends into unobservable periods. In instances where observable data is unavailable,
consideration is given to the assumptions that market participants would use in valuing the asset or liability. This includes assumptions about market
risks such as liquidity, volatility and contract duration. Such instruments are categorized in Level 3 as the model inputs generally are not observable.
Exelon’s RMC approves risk management policies and objectives for risk assessment, control and valuation, counterparty credit approval, and the
monitoring and reporting of risk exposures. The RMC is chaired by the chief executive officer and includes the chief risk officer, chief strategy officer,
chief executive officer of Exelon Utilities, chief commercial officer, chief financial officer and chief executive officer of Constellation. The RMC reports
to the Finance and Risk Committee of the Exelon Board of Directors on the scope of the risk management activities. Forward price curves for the
power market utilized by the front office to manage the portfolio, are reviewed and verified by the middle office, and used for financial reporting by
the back office. The Registrants consider credit and nonperformance risk in the valuation of derivative contracts categorized in Level 2 and 3,
including both historical and current market data in its assessment of credit and nonperformance risk by counterparty. Due to master netting
agreements and collateral posting requirements, the impacts of credit and nonperformance risk were not material to the financial statements.

      Disclosed below is detail surrounding the Registrants’ significant Level 3 valuations. The calculated fair value includes marketability discounts
for margining provisions and other attributes. Generation’s Level 3 balance generally consists of forward sales and purchases of power and natural
gas and certain transmission congestion contracts. Generation utilizes various inputs and factors including market data and assumptions that market
participants would use in pricing assets or liabilities as well as assumptions about the risks inherent in the inputs to the valuation technique. The
inputs and factors include forward commodity prices, commodity price volatility, contractual volumes, delivery location, interest rates, credit quality of
counterparties and credit enhancements.


      For commodity derivatives, the primary input to the valuation models is the forward commodity price curve for each instrument. Forward
commodity price curves are derived by risk management for liquid locations and by the traders and portfolio managers for illiquid locations. All
locations are reviewed and verified by risk management considering published exchange transaction prices, executed bilateral transactions, broker
quotes, and other observable or public data sources. The relevant forward commodity curve used to value each of the derivatives depends on a
number of factors, including commodity type, delivery location, and delivery period. Price volatility varies by commodity and location. When
appropriate, Generation discounts future cash flows using risk free interest rates with adjustments to reflect the credit quality of each counterparty for
assets and Generation’s own credit quality for liabilities. The level of observability of a forward commodity price varies generally due to the delivery
location and delivery period. Certain delivery locations including PJM West Hub (for power) and Henry Hub (for natural gas) are more liquid and
prices are observable for up to three years in the future. The observability period of volatility is generally shorter than the underlying power curve
used in option valuations. The forward curve for a less liquid location is estimated by using the forward curve from the liquid location and applying a
spread to represent the cost to transport the commodity to the delivery location. This spread does not typically represent a majority of the
instrument’s market price. As a result, the change in fair value is closely tied to liquid market movements and not a change in the applied spread.
The change in fair value associated with a change in the spread is generally immaterial. An average spread calculated across all Level 3 power and
gas delivery locations is approximately $2.99 and $0.46 for power and natural gas, respectively. Many of the commodity derivatives are short-term in
nature and thus a majority of the fair value may be based on observable inputs even though the contract as a whole must be classified as Level 3.


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      On December 17, 2010, ComEd entered into several 20-year floating to fixed energy swap contracts with unaffiliated suppliers for the
procurement of long-term renewable energy and associated RECs. See Note 10 — Derivative Financial Instruments for more information. The fair
value of these swaps has been designated as a Level 3 valuation due to the long tenure of the positions and internal modeling assumptions. The
modeling assumptions include using natural gas heat rates to project long term forward power curves adjusted by a renewable factor that
incorporates time of day and seasonality factors to reflect accurate renewable energy pricing. In addition, marketability reserves are applied to the
positions based on the tenor and supplier risk.


      The table below discloses the significant inputs to the forward curve used to value these positions.

                                                        Fair Value at March 31,         Valuation          Unobservable
Type of trade                                                    2018                   Technique             Input                  Range
Mark-to-market derivatives — Economic Hedges (Exelon                               Discounted       Forward power
and Generation) (a)(b)                                 $                  689      Cash Flow        price                     $1     -       $202
                                                                                                    Forward gas
                                                                                                    price                    $1.12   -       $12.80
                                                                                                    Volatility
                                                                                   Option Model     percentage               10%     -       227%

Mark-to-market derivatives — Proprietary trading                                   Discounted       Forward power
(Exelon and Generation) (a)(b)                         $                    43     Cash Flow        price                     $4     -       $202


                                                                                   Discounted       Forward heat
Mark-to-market derivatives (Exelon and ComEd)          $                 (267)     Cash Flow        rate (c)                  9x     -        10x
                                                                                                    Marketability
                                                                                                    reserve                   4%     -        8%
                                                                                                    Renewable
                                                                                                    factor                   87%     -       122%

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                                                                     Fair Value at December 31,            Valuation                      Unobservable
Type of trade                                                                   2017                       Technique                         Input                                Range
Mark-to-market derivatives — Economic                                                              Discounted
Hedges (Exelon and Generation) (a)(b)                               $                     445      Cash Flow                    Forward power price                      $3       -        $124
                                                                                                                                Forward gas price                      $1.27      -       $12.80
                                                                                                   Option Model                 Volatility percentage                  11%        -       139%


Mark-to-market derivatives — Proprietary trading                                                   Discounted
(Exelon and Generation) (a)(b)                                      $                      26      Cash Flow                    Forward power price                     $14       -        $94


                                                                                                                                Forward heat
Mark-to-market derivatives (Exelon and ComEd)                       $                    (256)     Discounted Cash Flow         rate (c)                                 9x       -        10x
                                                                                                                                Marketability reserve                   4%        -         8%
                                                                                                                                Renewable factor                       88%        -       120%
_________
(a)    The valuation techniques, unobservable inputs and ranges are the same for the asset and liability positions.
(b)    The fair values do not include cash collateral posted on level three positions of $186 million and $81 million as of March 31, 2018 and December 31, 2017 , respectively.
(c)    Quoted forward natural gas rates are utilized to project the forward power curve for the delivery of energy at specified future dates. The natural gas curve is extrapolated beyond its
       observable period to the end of the contract’s delivery.

      The inputs listed above would have a direct impact on the fair values of the above instruments if they were adjusted. The significant
unobservable inputs used in the fair value measurement of Generation’s commodity derivatives are forward commodity prices and for options is
price volatility. Increases (decreases) in the forward commodity price in isolation would result in significantly higher (lower) fair values for long
positions (contracts that give Generation the obligation or option to purchase a commodity), with offsetting impacts to short positions (contracts that
give Generation the obligation or right to sell a commodity). Increases (decreases) in volatility would increase (decrease) the value for the holder of
the option (writer of the option). Generally, a change in the estimate of forward commodity prices is unrelated to a change in the estimate of volatility
of prices. An increase to the reserves listed above would decrease the fair value of the positions. An increase to the heat rate or renewable factors
would increase the fair value accordingly. Generally, interrelationships exist between market prices of natural gas and power. As such, an increase
in natural gas pricing would potentially have a similar impact on forward power markets.


10 .     Derivative Financial Instruments (All Registrants)

     The Registrants use derivative instruments to manage commodity price risk, interest rate risk and foreign exchange risk related to ongoing
business operations.

Commodity Price Risk (All Registrants)


     To the extent the amount of energy Generation produces differs from the amount of energy it has contracted to sell, Exelon and Generation are
exposed to market fluctuations in the prices of electricity, fossil fuels and other commodities. Each of the Registrants employ established policies
and procedures to manage their risks associated with market fluctuations in commodity prices by entering into physical and financial derivative
contracts, including swaps, futures, forwards, options and short-term and long-


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term commitments to purchase and sell energy and commodity products. The Registrants believe these instruments, which are either determined to
be non-derivative or classified as economic hedges, mitigate exposure to fluctuations in commodity prices.

      Derivative authoritative guidance requires that derivative instruments be recognized as either assets or liabilities at fair value, with changes in
fair value of the derivative recognized in earnings immediately. Other accounting treatments are available through special election and designation,
provided they meet specific, restrictive criteria both at the time of designation and on an ongoing basis. These alternative permissible accounting
treatments include normal purchase normal sale (NPNS), cash flow hedges and fair value hedges. For Generation, all derivative economic hedges
related to commodities are recorded at fair value through earnings for the consolidated company, referred to as economic hedges in the following
tables. Additionally, Generation is exposed to certain market risks through its proprietary trading activities. The proprietary trading activities are a
complement to Generation’s energy marketing portfolio but represent a small portion of Generation’s overall energy marketing activities.


      Fair value authoritative guidance and disclosures about offsetting assets and liabilities requires the fair value of derivative instruments to be
shown in the Combined Notes to Consolidated Financial Statements on a gross basis, even when the derivative instruments are subject to legally
enforceable master netting agreements and qualify for net presentation in the Consolidated Balance Sheet. A master netting agreement is an
agreement between two counterparties that may have derivative and non-derivative contracts with each other providing for the net settlement of all
referencing contracts via one payment stream, which takes place as the contracts deliver, when collateral is requested or in the event of default.
Generation’s use of cash collateral is generally unrestricted, unless Generation is downgraded below investment grade (i.e., to BB+ or Ba1). In the
table below, Generation’s energy-related economic hedges and proprietary trading derivatives are shown gross. The impact of the netting of fair
value balances with the same counterparty that are subject to legally enforceable master netting agreements, as well as netting of cash collateral,
including margin on exchange positions, is aggregated in the collateral and netting column. As of March 31, 2018 and December 31, 2017 , $8
million and $4 million of cash collateral held, respectively, was not offset against derivative positions because such collateral was not associated with
any energy-related derivatives, were associated with accrual positions, or had no positions to offset as of the balance sheet date. Excluded from the
tables below are economic hedges that qualify for the NPNS scope exception and other non-derivative contracts that are accounted for under the
accrual method of accounting.

     ComEd’s use of cash collateral is generally unrestricted unless ComEd is downgraded below investment grade (i.e., to BB+ or Ba1).


      Cash collateral held by PECO and BGE must be deposited in an unaffiliated major U.S. commercial bank or foreign bank with a U.S. branch
office that meet certain qualifications.


     In the table below, DPL's economic hedges are shown gross. The impact of the netting of fair value balances with the same counterparty that
are subject to legally enforceable master netting agreements, as well as netting of cash collateral, including margin on exchange positions, is
aggregated in the collateral and netting column.


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         The following table provides a summary of the derivative fair value balances recorded by the Registrants as of March 31, 2018 :


                                                                    Generation                                          ComEd                                   DPL                                      Exelon
                                                                                Collateral                                                                     Collateral
                                           Economic         Proprietary            and                                  Economic          Economic               and                                       Total
Derivatives                                 Hedges           Trading            Netting (a)(e)       Subtotal (b)       Hedges (c)        Hedges (d)           Netting (a)           Subtotal           Derivatives
Mark-to-market derivative
assets (current assets)                $      3,343    $            166     $        (2,533)     $          976     $           —     $                —   $                 —   $              —   $           976
Mark-to-market derivative
assets (noncurrent assets)                    1,758                   43             (1,286)                515                 —                      —                     —                  —               515
Total mark-to-market derivative
assets                                        5,101                 209              (3,819)              1,491                 —                      —                     —                  —             1,491
Mark-to-market derivative
liabilities (current liabilities)            (3,185)               (151)              2,945                (391)               (24)                    —                     —                  —              (415)
Mark-to-market derivative
liabilities (noncurrent liabilities)         (1,750)                 (28)             1,558                (220)              (243)                    —                     —                  —              (463)
Total mark-to-market derivative
liabilities                                  (4,935)               (179)              4,503                (611)              (267)                    —                     —                  —              (878)
Total mark-to-market derivative
net assets (liabilities)               $        166    $              30    $            684     $          880     $         (267)   $                —   $                 —   $              —   $           613
_________
(a)   Exelon, Generation and DPL net all available amounts allowed under the derivative authoritative guidance on the balance sheet. These amounts include unrealized derivative transactions
      with the same counterparty under legally enforceable master netting agreements and cash collateral. In some cases Exelon and Generation may have other offsetting exposures, subject
      to a master netting or similar agreement, such as trade receivables and payables, transactions that do not qualify as derivatives, letters of credit and other forms of non-cash collateral.
      These are not reflected in the table above.
(b)   Current and noncurrent assets are shown net of collateral of $192 million and $103 million , respectively, and current and noncurrent liabilities are shown net of collateral of $220 million
      and $169 million , respectively. The total cash collateral posted, net of cash collateral received and offset against mark-to-market assets and liabilities was $684 million at March 31, 2018 .
(c)   Includes current and noncurrent liabilities relating to floating-to-fixed energy swap contracts with unaffiliated suppliers.
(d)   Represents natural gas futures purchased by DPL as part of a natural gas hedging program approved by the DPSC.
(e)   Of the collateral posted/(received), $156 million represents variation margin on the exchanges.



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        The following table provides a summary of the derivative fair value balances recorded by the Registrants as of December 31, 2017 :


                                                                    Generation                                          ComEd                                       DPL                                   Exelon
                                                                                Collateral
                                           Economic         Proprietary            and                                  Economic          Economic               Collateral and                            Total
Description                                 Hedges            Trading           Netting (a)(e)       Subtotal (b)       Hedges (c)        Hedges (d)               Netting (a)        Subtotal           Derivatives
Mark-to-market derivative
assets (current assets)                $      3,061    $              56    $        (2,144)     $          973     $            —    $                —     $               —    $              —   $           973
Mark-to-market derivative
assets (noncurrent assets)                    1,164                   12                (845)               331                  —                     —                     —                   —               331
Total mark-to-market derivative
assets                                        4,225                   68             (2,989)              1,304                  —                     —                     —                   —             1,304
Mark-to-market derivative
liabilities (current liabilities)            (2,646)                 (43)             2,480                (209)               (21)                    (1)                    1                  —              (230)
Mark-to-market derivative
liabilities (noncurrent liabilities)         (1,137)                 (10)                975               (172)              (235)                    —                     —                   —              (407)
Total mark-to-market derivative
liabilities                                  (3,783)                 (53)             3,455                (381)              (256)                    (1)                    1                  —              (637)
Total mark-to-market derivative
net assets (liabilities)               $        442    $              15    $            466     $          923     $         (256)   $                (1)   $                1   $              —   $           667
_________
(a)   Exelon, Generation and DPL net all available amounts allowed under the derivative authoritative guidance on the balance sheet. These amounts include unrealized derivative transactions
      with the same counterparty under legally enforceable master netting agreements and cash collateral. In some cases Exelon and Generation may have other offsetting exposures, subject
      to a master netting or similar agreement, such as trade receivables and payables, transactions that do not qualify as derivatives, and letters of credit and other forms of non-cash collateral.
      These are not reflected in the table above.
(b)   Current and noncurrent assets are shown net of collateral of $169 million and $53 million , respectively, and current and noncurrent liabilities are shown net of collateral of $167 million and
      $77 million , respectively. The total cash collateral posted, net of cash collateral received and offset against mark-to-market assets and liabilities was $466 million at December 31, 2017 .
(c)   Includes current and noncurrent liabilities relating to floating-to-fixed energy swap contracts with unaffiliated suppliers.
(d)   Represents natural gas futures purchased by DPL as part of a natural gas hedging program approved by the DPSC.
(e)   Of the collateral posted/(received), $(117) million represents variation margin on the exchanges.


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     Economic Hedges (Commodity Price Risk)

      Within Exelon, Generation has the most exposure to commodity price risk. As such, Generation uses a variety of derivative and non-derivative
instruments to manage the commodity price risk of its electric generation facilities, including power and gas sales, fuel and power purchases, natural
gas transportation and pipeline capacity agreements and other energy-related products marketed and purchased. To manage these risks,
Generation may enter into fixed-price derivative or non-derivative contracts to hedge the variability in future cash flows from expected sales of power
and gas and purchases of power and fuel. The objectives for executing such hedges include fixing the price for a portion of anticipated future
electricity sales at a level that provides an acceptable return. Generation is also exposed to differences between the locational settlement prices of
certain economic hedges and the hedged generating units. This price difference is actively managed through other instruments which include
derivative congestion products, whose changes in fair value are recognized in earnings each period, and auction revenue rights, which are
accounted for on an accrual basis. For the three months ended March 31, 2018 and 2017 , Exelon and Generation recognized the following net pre-
tax commodity mark-to-market gains (losses) which are also located in the "Net fair value changes related to derivatives" on the Consolidated
Statements of Cash Flows.


                                                                                                                            Three Months Ended
                                                                                                                                 March 31,

                                                                                                                        2018                  2017

Income Statement Location                                                                                                       Gain (Loss)
Operating revenues                                                                                              $              (100)   $             46
Purchased power and fuel                                                                                                       (167)                 (93)
Total Exelon and Generation                                                                                     $              (267)   $             (47)


     In general, increases and decreases in forward market prices have a positive and negative impact, respectively, on Generation’s owned and
contracted generation positions that have not been hedged. Generation hedges commodity price risk on a ratable basis over three-year periods. As
of March 31, 2018 , the percentage of expected generation hedged is 91% - 94% , 63% - 66% and 33% - 36% for 2018 , 2019 and 2020 ,
respectively.


      On December 17, 2010, ComEd executed several 20-year floating-to-fixed energy swap contracts with unaffiliated suppliers for the
procurement of long-term renewable energy and associated RECs. Delivery under the contracts began in June 2012. These contracts are designed
to lock in a portion of the long-term commodity price risk resulting from the renewable energy resource procurement requirements in the Illinois
Settlement Legislation. ComEd has not elected hedge accounting for these derivative financial instruments. ComEd records the fair value of the
swap contracts on its balance sheet. Because ComEd receives full cost recovery for energy procurement and related costs from retail customers,
the change in fair value each period is recorded by ComEd as a regulatory asset or liability. See Note 3 — Regulatory Matters of the Exelon 2017
Form 10-K for additional information.


      PECO’s natural gas procurement policy is designed to achieve a reasonable balance of long-term and short-term gas purchases under
different pricing approaches to achieve system supply reliability at the least cost. PECO’s reliability strategy is two-fold. First, PECO must assure that
there is sufficient transportation capacity to satisfy delivery requirements. Second, PECO must ensure that a firm source of supply exists to utilize
the capacity resources. All of PECO’s natural gas supply and asset management agreements that are derivatives either qualify for the NPNS scope
exception and have been designated as such, or have no mark-to-market balances because the derivatives are index priced. Additionally, in
accordance with the 2016 PAPUC PGC settlement and to reduce the exposure of PECO and its customers to natural gas price volatility, PECO has
continued its program to purchase natural gas for both winter and summer supplies using a layered approach of locking-in prices ahead of each
season with long-


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term gas purchase agreements (those with primary terms of at least twelve months). Under the terms of the 2016 PGC settlement, PECO is required
to lock in (i.e., economically hedge) the price of a minimum volume of its long-term gas commodity purchases. PECO’s gas-hedging program is
designed to cover about 20% of planned natural gas purchases in support of projected firm sales. The hedging program for natural gas procurement
has no direct impact on PECO’s results of operations and financial position as natural gas costs are fully recovered from customers under the PGC.

       BGE has contracts to procure SOS electric supply that are executed through a competitive procurement process approved by the MDPSC.
The SOS rates charged recover BGE's wholesale power supply costs and include an administrative fee. BGE’s commodity price risk related to
electric supply procurement is limited. BGE locks in fixed prices for all of its SOS requirements through full requirements contracts. Certain of BGE’s
full requirements contracts, which are considered derivatives, qualify for the NPNS scope exception under current derivative authoritative guidance.
Other BGE full requirements contracts are not derivatives.


      BGE provides natural gas to its customers under a MBR mechanism approved by the MDPSC. Under this mechanism, BGE’s actual cost of
gas is compared to a market index (a measure of the market price of gas in a given period). The difference between BGE’s actual cost and the
market index is shared equally between shareholders and customers. BGE must also secure fixed price contracts for at least 10% , but not more
than 20% , of forecasted system supply requirements for flowing (i.e., non-storage) gas for the November through March period. These fixed-price
contracts are not subject to sharing under the MBR mechanism. BGE also ensures it has sufficient pipeline transportation capacity to meet customer
requirements. BGE’s natural gas supply and asset management agreements qualify for the NPNS scope exception and result in physical delivery.

       Pepco has contracts to procure SOS electric supply that are executed through a competitive procurement process approved by the MDPSC
and DCPSC. The SOS rates charged recover Pepco's wholesale power supply costs and include an administrative fee. The administrative fee
includes an incremental cost component and a shareholder return component for residential and commercial rate classes. Pepco’s commodity price
risk related to electric supply procurement is limited. Pepco locks in fixed prices for its SOS requirements through full requirements contracts. Certain
of Pepco’s full requirements contracts, which are considered derivatives, qualify for the NPNS scope exception under current derivative authoritative
guidance. Other Pepco full requirements contracts are not derivatives.


      DPL has contracts to procure SOS electric supply that are executed through a competitive procurement process approved by the MDPSC and
the DPSC. The SOS rates charged recover DPL's wholesale power supply costs. In Delaware, DPL is also entitled to recover a Reasonable
Allowance for Retail Margin (RARM). The RARM includes a fixed annual margin of approximately $2.75 million , plus an incremental cost component
and a cash working capital allowance. In Maryland, DPL charges an administrative fee intended to allow it to recover its administrative costs. DPL
locks in fixed prices for its SOS requirements through full requirements contracts. DPL’s commodity price risk related to electric supply procurement
is limited. Certain of DPL’s full requirements contracts, which are considered derivatives, qualify for the NPNS scope exception under current
derivative authoritative guidance. Other DPL full requirements contracts are not derivatives.


      DPL provides natural gas to its customers under an Annual GCR mechanism approved by the DPSC. Under this mechanism, DPL’s Annual
GCR Filing establishes a future GCR for firm bundled sales customers by using a forecast of demand and commodity costs. The actual costs are
trued up against forecasts on a monthly basis and any shortfall or excess is carried forward as a recovery balance in the next GCR filing. The
demand portion of the GCR is based upon DPL’s firm transportation and storage contracts. DPL has firm deliverability of swing and seasonal
storage; a liquefied natural gas facility and firm transportation capacity to meet customer demand and provide a reserve margin. The commodity
portion of the GCR includes a commission approved hedging program which is intended to reduce gas


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commodity price volatility while limiting the firm natural gas customers’ exposure to adverse changes in the market price of natural gas. The hedge
program requires that DPL hedge, on a non-discretionary basis, an amount equal to 50% of estimated purchase requirements for each month,
including estimated monthly purchases for storage injections. The 50% hedge monthly target is achieved by hedging 1/12th of the 50% target each
month beginning 12-months prior to the month in which the physical gas is to be purchased. Currently, DPL uses only exchange traded futures for its
gas hedging program, which are considered derivatives, however, it retains the capability to employ other physical and financial hedges if needed.
DPL has not elected hedge accounting for these derivative financial instruments. Because of the DPSC-approved fuel adjustment clause for DPL's
derivatives, the change in fair value of the derivatives each period, in addition to all premiums paid and other transaction costs incurred as part of the
gas hedging program, are fully recoverable and are recorded by DPL as regulatory assets or liabilities. DPL’s physical gas purchases are currently
all daily, monthly or intra-month transactions. From time to time, DPL will enter into seasonal purchase or sale arrangements, however, there are
none currently in the portfolio. Certain of DPL's full requirements contracts, which are considered derivatives, qualify for the NPNS scope exception
under current derivative authoritative guidance. Other DPL full requirements contracts are not derivatives.

    ACE has contracts to procure BGS electric supply that are executed through a competitive procurement process approved by the NJBPU. The
BGS rates charged recover ACE's wholesale power supply costs. ACE does not make any profit or incur any loss on the supply component of the
BGS it supplies to customers. ACE’s commodity price risk related to electric supply procurement is limited. ACE locks in fixed prices for all of its
BGS requirements through full requirements contracts. Certain of ACE’s full requirements contracts, which are considered derivatives, qualify for the
NPNS scope exception under current derivative authoritative guidance. Other ACE full requirements contracts are not derivatives.

     Proprietary Trading (Commodity Price Risk)


      Generation also executes commodity derivatives for proprietary trading purposes. Proprietary trading includes all contracts executed with the
intent of benefiting from shifts or changes in market prices as opposed to those executed with the intent of hedging or managing risk. Proprietary
trading activities are subject to limits established by Exelon’s RMC. The proprietary trading portfolio is subject to a risk management policy that
includes stringent risk management limits to manage exposure to market risk. Additionally, the Exelon risk management group and Exelon's RMC
monitor the financial risks of the proprietary trading activities. The proprietary trading activities are a complement to Generation's energy marketing
portfolio, but represent a small portion of Generation's overall revenue from energy marketing activities. Gains and losses associated with
proprietary trading are reported as Operating revenues in Exelon’s and Generation’s Consolidated Statements of Operations and Comprehensive
Income. For the three months ended March 31, 2018 and 2017 Exelon and Generation recognized the following net pre-tax commodity mark-to-
market gains (losses) which are also included in the "Net fair value changes related to derivatives" on the Consolidated Statements of Cash Flows.
The Utility Registrants do not execute derivatives for proprietary trading purposes.


                                                                                                                           Three Months Ended
                                                                                                                                March 31,

                                                                                                                        2018                    2017

Income Statement Location                                                                                                       Gain (Loss)
Operating revenues                                                                                              $                2    $                (1)


Interest Rate and Foreign Exchange Risk (All Registrants)


       The Registrants use a combination of fixed-rate and variable-rate debt to manage interest rate exposure. The Registrants utilize fixed-to-
floating interest rate swaps, which are typically designated as fair value hedges, to manage their interest rate exposure. In addition, the Registrants
may utilize interest


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rate derivatives to lock in rate levels, which are typically designated as cash flow hedges to manage interest rate risk. To manage foreign exchange
rate exposure associated with international commodity purchases in currencies other than U.S. dollars, Generation utilizes foreign currency
derivatives, which are treated as economic hedges. Below is a summary of the interest rate and foreign exchange hedge balances as of March 31,
2018 :


                                                                                                               Generation                                         Exelon Corporate         Exelon
                                                                                    Derivatives                                                                        Derivatives
                                                                                    Designated                                  Collateral                             Designated
                                                                                    as Hedging               Economic             and                                  as Hedging
Description                                                                        Instruments                Hedges            Netting (a)           Subtotal        Instruments           Total

Mark-to-market derivative assets (current assets)                            $                    —      $              5   $            (3)      $          2    $              —     $            2
Mark-to-market derivative assets (noncurrent assets)                                              12                    1                (1)               12                    —                  12
Total mark-to-market derivative assets                                                            12                    6                (4)               14                    —                  14
Mark-to-market derivative liabilities (current liabilities)                                       —                 (3)                       3             —                    —                  —
Mark-to-market derivative liabilities (noncurrent
liabilities)                                                                                      —                 (2)                       1             (1)                  (4)                (5)
Total mark-to-market derivative liabilities                                                       —                 (5)                       4             (1)                  (4)                (5)
Total mark-to-market derivative net assets (liabilities)                     $                    12     $              1   $            —        $        13     $              (4)   $            9
__________
(a)   Exelon and Generation net all available amounts allowed under the derivative authoritative guidance on the balance sheet. These amounts include unrealized derivative transactions with
      the same counterparty under legally enforceable master netting agreements and cash collateral. In some cases, Exelon and Generation may have other offsetting counterparty exposures
      subject to a master netting or similar agreement, such as accrued interest, transactions that do not qualify as derivatives, letters of credit and other forms of non-cash collateral, which are
      not reflected in the table above.


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    The following table provides a summary of the interest rate and foreign exchange hedge balances recorded by the Registrants as of
December 31, 2017 :


                                                                                                                  Generation                                                 Exelon Corporate          Exelon
                                                                                    Derivatives                                                                                  Derivatives
                                                                                    Designated                                     Collateral                                    Designated
                                                                                    as Hedging               Economic                and                                         as Hedging
Description                                                                        Instruments                Hedges               Netting (a)             Subtotal             Instruments               Total

Mark-to-market derivative assets (current assets)                            $                    —      $             10      $            (7)        $          3       $                    —   $              3
Mark-to-market derivative assets (noncurrent assets)                                              3                    —                    —                     3                            3                  6
Total mark-to-market derivative assets                                                            3                    10                   (7)                   6                            3                  9
Mark-to-market derivative liabilities (current liabilities)                                       (2)                  (7)                       7               (2)                           —                  (2)
Mark-to-market derivative liabilities (noncurrent
liabilities)                                                                                      —                    (2)                  —                    (2)                           —                  (2)
Total mark-to-market derivative liabilities                                                       (2)                  (9)                       7               (4)                           —                  (4)
Total mark-to-market derivative net assets (liabilities)                     $                    1      $              1      $            —          $          2       $                    3   $              5
__________
(a)   Exelon and Generation net all available amounts allowed under the derivative authoritative guidance on the balance sheet. These amounts include unrealized derivative transactions with
      the same counterparty under legally enforceable master netting agreements and cash collateral. In some cases, Exelon and Generation may have other offsetting counterparty exposures
      subject to a master netting or similar agreement, such as accrued interest, transactions that do not qualify as derivatives, letters of credit and other forms of non-cash collateral, which are
      not reflected in the table above.

       Fair Value Hedges (Interest Rate Risk)


      For derivative instruments that qualify and are designated as fair value hedges, the gain or loss on the derivative as well as the offsetting loss
or gain on the hedged item attributable to the hedged risk are recognized in earnings immediately. Exelon and Generation include the gain or loss on
the hedged items and the offsetting loss or gain on the related interest rate swaps as follows:



                                                                                                                                   Three Months Ended March 31,

                                                                                                      2018                         2017                               2018                         2017
                                                        Income Statement
                                                            Location                                         Loss on Swaps                                                   Gain on Borrowings
Exelon                                         Interest expense                         $                        (7)    $                        (4)       $                    13       $                         8


    The table below provides the notional amounts of fixed-to-floating hedges outstanding held by Exelon at March 31, 2018 and December 31,
2017 :



                                                                                                                                                                 As of

                                                                                                                             March 31, 2018                                      December 31, 2017
Fixed-to-floating hedges                                                                                     $                                             800        $                                       800


    During the three months ended March 31, 2018 and 2017 , the impact on the results of operations as a result of ineffectiveness from fair value
hedges was a $6 million gain and a $4 million gain, respectively.


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       Cash Flow Hedges (Interest Rate Risk)

       For derivative instruments that qualify and are designated as cash flow hedges, the gain or loss on the effective portion of the derivative will be
deferred in AOCI and reclassified into earnings when the underlying transaction occurs. To mitigate interest rate risk, Exelon and Generation enter
into floating-to-fixed interest rate swaps to manage a portion of interest rate exposure associated with debt issuances. The table below provides the
notional amounts of floating-to-fixed hedges outstanding held by Exelon and Generation as of March 31, 2018 .



                                                                                                                                          As of

                                                                                                                 March 31, 2018                              December 31, 2017
Floating-to-fixed hedges                                                                                  $                         636        $                                       636


      The tables below provide the activity of OCI related to cash flow hedges for the three months ended March 31, 2018 and 2017 , containing
information about the changes in the fair value of cash flow hedges and the reclassification from AOCI into results of operations. The amounts
reclassified from OCI, when combined with the impacts of the hedged transactions, result in the ultimate recognition of net revenues or expenses at
the contractual price.

                                                                                                                      Total Cash Flow Hedge OCI Activity, Net of Income Tax


                                                                                                                            Generation                             Exelon
                                                                                              Income Statement             Total Cash                           Total Cash
Three Months Ended March 31, 2018                                                                 Location                 Flow Hedges                          Flow Hedges
AOCI derivative loss at December 31, 2017                                                                            $                   (16)            $                    (14)
Effective portion of changes in fair value                                                                                                 7                                     8
AOCI derivative loss at March 31, 2018                                                                               $                    (9)            $                       (6)


                                                                                                                      Total Cash Flow Hedge OCI Activity, Net of Income Tax


                                                                                                                            Generation                             Exelon
                                                                                              Income Statement             Total Cash                            Total Cash
Three Months Ended March 31, 2017                                                                 Location                 Flow Hedges                          Flow Hedges
AOCI derivative loss at December 31, 2016                                                                            $                   (19)            $                    (17)
Effective portion of changes in fair value                                                                                                 2                                     2
Reclassifications from AOCI to net income                                               Interest Expense                                   4       (a)
                                                                                                                                                                                 4     (a)


AOCI derivative loss at March 31, 2017                                                                               $                   (13)            $                    (11)
_________
(a)   Amount is net of related income tax expense of $3 million for the three months ended March 31, 2017 .

      During the three months ended March 31, 2018 and 2017 , the impact on the results of operations as a result of ineffectiveness from cash flow
hedges in continuing designated hedge relationships was immaterial. The estimated amount of existing gains and losses that are reported in AOCI
at the reporting date that are expected to be reclassified into earnings within the next twelve months is immaterial.

       Economic Hedges (Interest Rate and Foreign Exchange Risk)

      Exelon and Generation executes these instruments to mitigate exposure to fluctuations in interest rates or foreign exchange but for which the
fair value or cash flow hedge elections were not made. Generation also enters into interest rate derivative contracts and foreign exchange currency
swaps


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("treasury") to manage the exposure related to the interest rate component of commodity positions and international purchases of commodities in
currencies other than U.S. Dollars.

     At March 31, 2018 and December 31, 2017 , Generation had immaterial notional amounts of interest rate derivative contracts to economically
hedge risk associated with the interest rate component of commodity positions. The following table provides notional amounts outstanding held by
Exelon and Generation at March 31, 2018 and December 31, 2017 related to foreign currency exchange rate swaps that are marked-to-market to
manage the exposure associated with international purchases of commodities in currencies other than U.S. dollars.



                                                                                                              As of

                                                                                      March 31, 2018                         December 31, 2017
Foreign currency exchange rate swaps                                        $                            87     $                                 94


     For the three months ended March 31, 2018 and 2017 , Exelon and Generation recognized the following net pre-tax mark-to-market gains
(losses) in the Consolidated Statements of Operations and Comprehensive Income and are included in “Net fair value changes related to
derivatives” in Exelon’s and Generation’s Consolidated Statements of Cash Flows.

                                                                                                                         Three Months Ended
                                                                                                                              March 31,

                                                                                                                      2018                 2017

                          Income Statement Location                                                                          Gain (Loss)
Generation                Operating Revenues                                                             $                     2    $             (2)
Generation                Purchased Power and Fuel                                                                            (1)                 —
Total Generation                                                                                         $                     1    $             (2)

                                                                                                                         Three Months Ended
                                                                                                                              March 31,

                                                                                                                      2018                 2017

                          Income Statement Location                                                                          Gain (Loss)
Exelon                    Operating Revenues                                                             $                     2    $             (2)
Exelon                    Purchased Power and Fuel                                                                            (1)                 —
Total Exelon                                                                                             $                     1    $             (2)

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   Proprietary Trading (Interest Rate and Foreign Exchange Risk)

      Generation also executes derivative contracts for proprietary trading purposes to hedge risk associated with the interest rate and foreign
exchange components of underlying commodity positions. Gains and losses associated with proprietary trading are reported as Operating revenues
in Exelon’s and Generation’s Consolidated Statements of Operations and Comprehensive Income and are included in “Net fair value changes
related to derivatives” in Exelon’s and Generation’s Consolidated Statements of Cash Flows. For the three months ended March 31, 2018 and 2017
Exelon and Generation recognized the following net pre-tax commodity mark-to-market gains (losses).


                                                                                                                              Three Months Ended
                                                                                                                                   March 31,

                                                                                                                          2018                  2017

Income Statement Location                                                                                                         Gain (Loss)
Operating Revenues                                                                                                $                —    $                (1)


Credit Risk, Collateral and Contingent-Related Features (All Registrants)


      The Registrants would be exposed to credit-related losses in the event of non-performance by counterparties on executed derivative
instruments. The credit exposure of derivative contracts, before collateral, is represented by the fair value of contracts at the reporting date. For
commodity derivatives, Generation enters into enabling agreements that allow for payment netting with its counterparties, which reduces
Generation’s exposure to counterparty risk by providing for the offset of amounts payable to the counterparty against amounts receivable from the
counterparty. Typically, each enabling agreement is for a specific commodity and so, with respect to each individual counterparty, netting is limited to
transactions involving that specific commodity product, except where master netting agreements exist with a counterparty that allow for cross
product netting. In addition to payment netting language in the enabling agreement, Generation’s credit department establishes credit limits,
margining thresholds and collateral requirements for each counterparty, which are defined in the derivative contracts. Counterparty credit limits are
based on an internal credit review process that considers a variety of factors, including the results of a scoring model, leverage, liquidity, profitability,
credit ratings by credit rating agencies, and risk management capabilities. To the extent that a counterparty’s margining thresholds are exceeded,
the counterparty is required to post collateral with Generation as specified in each enabling agreement. Generation’s credit department monitors
current and forward credit exposure to counterparties and their affiliates, both on an individual and an aggregate basis.


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      The following tables provide information on Generation’s credit exposure for all derivative instruments, NPNS and applicable payables and
receivables, net of collateral and instruments that are subject to master netting agreements, as of March 31, 2018 . The tables further delineate that
exposure by credit rating of the counterparties and provide guidance on the concentration of credit risk to individual counterparties. The figures in the
tables below exclude credit risk exposure from individual retail counterparties, nuclear fuel procurement contracts and exposure through RTOs,
ISOs, NYMEX, ICE, NASDAQ, NGX and Nodal commodity exchanges. Additionally, the figures in the tables below exclude exposures with affiliates,
including net receivables with ComEd, PECO, BGE, Pepco, DPL and ACE of $31 million , $21 million , $25 million , $34 million , $9 million , and $5
million as of March 31, 2018 , respectively.

                                                                                                                                                                           Net Exposure of
                                                           Total Exposure                                                           Number of Counterparties                Counterparties
                                                            Before Credit                                                            Greater than 10% of Net            Greater than 10% of Net
Rating as of March 31, 2018                                  Collateral             Credit Collateral (a)         Net Exposure              Exposure                           Exposure

Investment grade                                       $                  986      $                    1     $           985                                 2     $                           412
Non-investment grade                                                      112                          46                   66
No external ratings
        Internally rated — investment grade                               223                          —                  223
        Internally rated — non-investment grade                           100                          17                   83
Total                                                  $               1,421       $                   64     $         1,357                                 2     $                           412


                                                                                                                                                                                   As of
Net Credit Exposure by Type of Counterparty
                                                                                                                                                                               March 31, 2018

Financial institutions                                                                                                                                                  $                       189
Investor-owned utilities, marketers, power producers                                                                                                                                            656
Energy cooperatives and municipalities                                                                                                                                                          438
Other                                                                                                                                                                                            74
Total                                                                                                                                                                   $                    1,357
_________
(a)   As of March 31, 2018 , credit collateral held from counterparties where Generation had credit exposure included $41 million of cash and $23 million of letters of credit. The credit collateral
      does not include non-liquid collateral.

     ComEd’s power procurement contracts provide suppliers with a certain amount of unsecured credit. The credit position is based on daily,
updated forward market prices compared to the benchmark prices. The benchmark prices are the forward prices of energy projected through the
contract term and are set at the point of supplier bid submittals. If the forward market price of energy exceeds the benchmark price on a given day,
the suppliers are required to post collateral for the secured credit portion after adjusting for any unpaid deliveries and unsecured credit allowed under
the contract. The unsecured credit used by the suppliers represents ComEd’s net credit exposure. As of March 31, 2018 , ComEd’s net credit
exposure to suppliers was less than $1 million .

      ComEd is permitted to recover its costs of procuring energy through the Illinois Settlement Legislation. ComEd’s counterparty credit risk is
mitigated by its ability to recover realized energy costs through customer rates. See Note 3 — Regulatory Matters of the Exelon 2017 Form 10-K for
additional information.


      PECO’s unsecured credit used by the suppliers represents PECO’s net credit exposure. As of March 31, 2018 , PECO had no material net
credit exposure to suppliers.


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      PECO’s natural gas procurement plan is reviewed and approved annually on a prospective basis by the PAPUC. PECO’s counterparty credit
risk under its natural gas supply and asset management agreements is mitigated by its ability to recover its natural gas costs through the PGC,
which allows PECO to adjust rates quarterly to reflect realized natural gas prices. PECO does not obtain collateral from suppliers under its natural
gas supply and asset management agreements. As of March 31, 2018 , PECO had no material credit exposure under its natural gas supply and
asset management agreements with investment grade suppliers.


      BGE is permitted to recover its costs of procuring energy through the MDPSC-approved procurement tariffs. BGE’s counterparty credit risk is
mitigated by its ability to recover realized energy costs through customer rates. See Note 3 — Regulatory Matters of the Exelon 2017 Form 10-K for
additional information.


      BGE’s full requirement wholesale electric power agreements that govern the terms of its electric supply procurement contracts, which define a
supplier’s performance assurance requirements, allow a supplier, or its guarantor, to meet its credit requirements with a certain amount of unsecured
credit. As of March 31, 2018 , BGE's net credit exposure to suppliers was immaterial.

      BGE’s regulated gas business is exposed to market-price risk. At March 31, 2018 , BGE had credit exposure of approximately $12 million
related to off-system sales which is mitigated by parental guarantees, letters of credit or right to offset clauses within other contracts with those third-
party suppliers.


      Pepco’s, DPL's and ACE's power procurement contracts provide suppliers with a certain amount of unsecured credit. The amount of
unsecured credit is determined based on the supplier’s lowest credit rating from the major credit rating agencies and the supplier’s tangible net
worth. The credit position is based on the initial market price, which is the forward price of energy on the day a transaction is executed, compared to
the current forward price curve for energy. To the extent that the forward price curve for energy exceeds the initial market price, the supplier is
required to post collateral to the extent the credit exposure is greater than the supplier’s unsecured credit limit. The unsecured credit used by the
suppliers represents Pepco’s, DPL's and ACE's net credit exposure. As of March 31, 2018 , Pepco’s, DPL's and ACE's net credit exposures to
suppliers were immaterial.

      Pepco is permitted to recover its costs of procuring energy through the MDPSC-approved and DCPSC-approved procurement tariffs. DPL is
permitted to recover its costs of procuring energy through the MDPSC-approved and DPSC-approved procurement tariffs. ACE is permitted to
recover its costs of procuring energy through the NJBPU-approved procurement tariffs. Pepco’s, DPL's and ACE's counterparty credit risks are
mitigated by their ability to recover realized energy costs through customer rates. See Note 3 — Regulatory Matters of the Exelon 2017 Form 10-K
for additional information.


     DPL’s natural gas procurement plan is reviewed and approved annually on a prospective basis by the DPSC. DPL’s counterparty credit risk
under its natural gas supply and asset management agreements is mitigated by its ability to recover its natural gas costs through the GCR, which
allows DPL to adjust rates annually to reflect realized natural gas prices. To the extent that the fair value of the transactions in a net loss position
exceeds the unsecured credit threshold, then collateral is required to be posted in an amount equal to the amount by which the unsecured credit
threshold is exceeded. Exchange-traded contracts are required to be fully collateralized without regard to the credit rating of the holder. As of
March 31, 2018 , DPL had no credit exposure under its natural gas supply and asset management agreements with investment grade suppliers.


     Collateral (All Registrants)

      As part of the normal course of business, Generation routinely enters into physically or financially settled contracts for the purchase and sale of
electric capacity, electricity, fuels, emissions allowances and other energy-related products. Certain of Generation’s derivative instruments contain
provisions


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that require Generation to post collateral. Generation also enters into commodity transactions on exchanges where the exchanges act as the
counterparty to each trade. Transactions on the exchanges must adhere to comprehensive collateral and margining requirements. This collateral
may be posted in the form of cash or credit support with thresholds contingent upon Generation’s credit rating from each of the major credit rating
agencies. The collateral and credit support requirements vary by contract and by counterparty. These credit-risk related contingent features stipulate
that if Generation were to be downgraded or lose its investment grade credit rating (based on its senior unsecured debt rating), it would be required
to provide additional collateral. This incremental collateral requirement allows for the offsetting of derivative instruments that are assets with the
same counterparty, where the contractual right of offset exists under applicable master netting agreements. In the absence of expressly agreed-to
provisions that specify the collateral that must be provided, collateral requested will be a function of the facts and circumstances of the situation at
the time of the demand. In this case, Generation believes an amount of several months of future payments (i.e., capacity payments) rather than a
calculation of fair value is the best estimate for the contingent collateral obligation, which has been factored into the disclosure below.

      The aggregate fair value of all derivative instruments with credit-risk related contingent features in a liability position that are not fully
collateralized (excluding transactions on the exchanges that are fully collateralized) is detailed in the table below:


Credit-Risk Related Contingent Feature                                                                                                   March 31, 2018                    December 31, 2017

Gross fair value of derivative contracts containing this feature (a)                                                             $                      (2,141)     $                         (926)
Offsetting fair value of in-the-money contracts under master netting arrangements                             (b)
                                                                                                                                                         1,562                                 577
   Net fair value of derivative contracts containing this feature                   (c)                                          $                        (579)     $                         (349)
_________
(a)   Amount represents the gross fair value of out-of-the-money derivative contracts containing credit-risk related contingent features ignoring the effects of master netting agreements.
(b)   Amount represents the offsetting fair value of in-the-money derivative contracts under legally enforceable master netting agreements with the same counterparty, which reduces the
      amount of any liability for which a Registrant could potentially be required to post collateral.
(c)   Amount represents the net fair value of out-of-the-money derivative contracts containing credit-risk related contingent features after considering the mitigating effects of offsetting positions
      under master netting arrangements and reflects the actual net liability upon which any potential contingent collateral obligations would be based.

      Generation had cash collateral posted of $742 million and letters of credit posted of $493 million and cash collateral held of $66 million and
letters of credit held of $46 million as of March 31, 2018 for external counterparties with derivative positions. Generation had cash collateral posted
of $497 million and letters of credit posted of $293 million and cash collateral held of $35 million and letters of credit held of $33 million at
December 31, 2017 for external counterparties with derivative positions. In the event of a credit downgrade below investment grade (i.e., to BB+ by
S&P or Ba1 by Moody’s), Generation would have been required to post additional collateral of $1.9 billion and $1.8 billion as of March 31, 2018 and
December 31, 2017 , respectively. These amounts represent the potential additional collateral required after giving consideration to offsetting
derivative and non-derivative positions under master netting agreements.


      Generation’s and Exelon’s interest rate swaps contain provisions that, in the event of a merger, if Generation’s debt ratings were to materially
weaken, it would be in violation of these provisions, resulting in the ability of the counterparty to terminate the agreement prior to maturity.
Collateralization would not be required under any circumstance. Termination of the agreement could result in a settlement payment by Exelon or the
counterparty on any interest rate swap in a net liability position. The settlement amount would be equal to the fair value of the swap on the
termination date. As of March 31, 2018 , Generation's and Exelon's swaps were in an asset position of $13 million and $9 million , respectively.


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      See Note 25 — Segment Information of the Exelon 2017 Form 10-K for further information regarding the letters of credit supporting the cash
collateral.

      Generation entered into supply forward contracts with certain utilities, including PECO and BGE, with one-sided collateral postings only from
Generation. If market prices fall below the benchmark price levels in these contracts, the utilities are not required to post collateral. However, when
market prices rise above the benchmark price levels, counterparty suppliers, including Generation, are required to post collateral once certain
unsecured credit limits are exceeded. Under the terms of ComEd’s standard block energy contracts, collateral postings are one-sided from suppliers,
including Generation, should exposures between market prices and benchmark prices exceed established unsecured credit limits outlined in the
contracts. As of March 31, 2018 , ComEd held approximately $9 million in collateral from suppliers in association with energy procurement contracts.
Under the terms of ComEd's REC and ZEC contracts, collateral postings are required to cover a percentage of the REC and ZEC contract value. As
of March 31, 2018 , ComEd held approximately $14 million in collateral from suppliers for REC and ZEC contract obligations. Under the terms of
ComEd’s long-term renewable energy contracts, collateral postings are required from suppliers for both RECs and energy. The REC portion is a
fixed value and the energy portion is one-sided from suppliers should the forward market prices exceed contract prices. As of March 31, 2018 ,
ComEd held approximately $19 million in collateral from suppliers for the long-term renewable energy contracts. If ComEd lost its investment grade
credit rating as of March 31, 2018 , it would have been required to post approximately $10 million of collateral to its counterparties. See Note 3 —
Regulatory Matters of the Exelon 2017 Form 10-K for additional information.


      PECO’s natural gas procurement contracts contain provisions that could require PECO to post collateral. This collateral may be posted in the
form of cash or credit support with thresholds contingent upon PECO’s credit rating from the major credit rating agencies. The collateral and credit
support requirements vary by contract and by counterparty. As of March 31, 2018 , PECO was not required to post collateral for any of these
agreements. If PECO lost its investment grade credit rating as of March 31, 2018 , PECO could have been required to post approximately $33
million of collateral to its counterparties.

      PECO’s supplier master agreements that govern the terms of its DSP Program contracts do not contain provisions that would require PECO to
post collateral.

      BGE’s natural gas procurement contracts contain provisions that could require BGE to post collateral. This collateral may be posted in the form
of cash or credit support with thresholds contingent upon BGE’s credit rating from the major credit rating agencies. The collateral and credit support
requirements vary by contract and by counterparty. As of March 31, 2018 , BGE was not required to post collateral for any of these agreements. If
BGE lost its investment grade credit rating as of March 31, 2018 , BGE could have been required to post approximately $49 million of collateral to its
counterparties.


       DPL's natural gas procurement contracts contain provisions that could require DPL to post collateral. To the extent that the fair value of the
natural gas derivative transaction in a net loss position exceeds the unsecured credit threshold, then collateral is required to be posted in an amount
equal to the amount by which the unsecured credit threshold is exceeded. The DPL obligations are standalone, without the guaranty of PHI. If DPL
lost its investment grade credit rating as of March 31, 2018 , DPL could have been required to post an additional amount of approximately $14
million of collateral to its counterparties.


     BGE's, Pepco's, DPL's and ACE's full requirements wholesale power agreements that govern the terms of its electric supply procurement
contracts do not contain provisions that would require BGE, Pepco, DPL or ACE to post collateral.


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11 . Debt and Credit Agreements (All Registrants)

Short-Term Borrowings


     Exelon Corporate, ComEd, BGE, Pepco, DPL and ACE meet their short-term liquidity requirements primarily through the issuance of
commercial paper. Generation and PECO meet their short-term liquidity requirements primarily through the issuance of commercial paper and
borrowings from the Exelon intercompany money pool. PHI Corporate meets its short-term liquidity requirements primarily through the issuance of
short-term notes and the Exelon intercompany money pool. The Registrants may use their respective credit facilities for general corporate purposes,
including meeting short-term funding requirements and the issuance of letters of credit.

      Commercial Paper

       The Registrants had the following amounts of commercial paper borrowings outstanding as of March 31, 2018 and December 31, 2017 :


Commercial Paper Borrowings                                                                              March 31, 2018               December 31, 2017
Exelon                                                                                            $                       1,154   $                       427
Generation                                                                                                                 165                             —
ComEd                                                                                                                      317                             —
PECO                                                                                                                       220                             —
BGE                                                                                                                         45                            77
PHI (a)                                                                                                                    407                            350
Pepco                                                                                                                       60                            26
DPL                                                                                                                        211                            216
ACE                                                                                                                        136                            108
_________
(a)   PHI reflects the commercial paper borrowings outstanding of Pepco, DPL and ACE.

      Short-Term Loan Agreements

      On January 13, 2016, PHI entered into a $500 million term loan agreement, which was amended on March 28, 2016. The net proceeds of the
loan were used to repay PHI's outstanding commercial paper and for general corporate purposes. Pursuant to the loan agreement, as amended,
loans made thereunder bear interest at a variable rate equal to LIBOR plus 1% , and all indebtedness thereunder is unsecured. On March 23, 2017,
the aggregate principal amount of all loans, together with any accrued but unpaid interest due under the loan agreement was fully repaid and the
loan terminated. On March 23, 2017, Exelon Corporate entered into a similar type term loan for $500 million which expired March 22, 2018. The
loan agreement was renewed on March 22, 2018 and will expire on March 21, 2019. Pursuant to the loan agreement, loans made thereunder bear
interest at a variable rate equal to LIBOR plus 1% and all indebtedness thereunder is unsecured. The loan agreement is reflected in Exelon’s
Consolidated Balance Sheet within Short-Term borrowings.

      Credit Agreements

     As of March 15, 2018, the credit agreement for Generation’s $30 million bilateral credit facility was amended to increase the overall facility size
to $95 million . This facility will solely be used by Generation to issue letters of credit.


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Long-Term Debt

   Issuance of Long-Term Debt


       During the three months ended March 31, 2018 , the following long-term debt was issued:


  Company                    Type                  Interest Rate        Maturity              Amount                          Use of Proceeds
                Energy Efficiency Project                                                                  Funding to install energy conservation measures for the
Generation      Financing                                   3.72%        April 30, 2018   $            1   Smithsonian Zoo project.
                Energy Efficiency Project                                                                  Funding to install energy conservation measures in
Generation      Financing                                   3.17%        April 30, 2018   $            1   Brooklyn, NY.
                Energy Efficiency Project                                                                  Funding to install energy conservation measures for the
Generation      Financing                                   2.61%   September 30, 2018    $            2   Pensacola project.
                                                                                                           Refinance one series of maturing first mortgage bonds, to
                First Mortgage Bonds, Series                                                               repay a portion of ComEd’s outstanding commercial paper
ComEd           124                                         4.00%        March 1, 2048    $        800     obligations and to fund general corporate purposes.
                First and Refunding Mortgage
PECO            Bonds                                       3.90%        March 1, 2048    $        325     Refinance a portion of maturing mortgage bonds.

12 .    Income Taxes (All Registrants)

Corporate Tax Reform (All Registrants)


      On December 22, 2017, President Trump signed the TCJA into law. The TCJA makes many significant changes to the Internal Revenue Code,
including, but not limited to, (1) reducing the U.S. federal corporate tax rate from 35% to 21% ; (2) creating a 30% limitation on deductible interest
expense (not applicable to regulated utilities); (3) allowing 100% expensing for the cost of qualified property (not applicable to regulated utilities); (4)
eliminating the domestic production activities deduction; (5) eliminating the corporate alternative minimum tax and changing how existing alternative
minimum tax credits can be realized; and (6) changing rules related to uses and limitations of net operating loss carryforwards created in tax years
beginning after December 31, 2017. The most significant change that impacts the Registrants is the reduction of the corporate federal income tax
rate from 35% to 21% beginning January 1, 2018.


       Pursuant to the enactment of the TCJA, the Registrants remeasured their existing deferred income tax balances as of December 31, 2017 to
reflect the decrease in the corporate income tax rate from 35% to 21% , which resulted in a material decrease to their net deferred income tax
liability balances as shown in the table below. Generation recorded a corresponding net decrease to income tax expense, while the Utility
Registrants recorded corresponding regulatory liabilities or assets to the extent such amounts are probable of settlement or recovery through
customer rates and an adjustment to income tax expense for all other amounts. The amount and timing of potential settlements of the established
net regulatory liabilities will be determined by the Utility Registrants’ respective rate regulators, subject to certain IRS “normalization” rules. See Note
6 — Regulatory Matters for further information.

      The Registrants have completed their assessment of the majority of the applicable provisions in the TCJA and have recorded the associated
impacts as of December 31, 2017. As discussed further below, under SAB 118 issued by the SEC in December 2017, the Registrants have recorded
provisional income tax amounts as of December 31, 2017 for changes pursuant to the TCJA related to depreciation for which the impacts could not
be finalized upon issuance of the Registrants’ financial statements, but for which reasonable estimates could be determined.


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      For property acquired and placed-in-service after September 27, 2017, the TCJA repeals 50% bonus depreciation for all taxpayers and in
addition provides for 100% expensing for taxpayers other than regulated utilities. As a result, Generation will be required to evaluate the contractual
terms of its fourth quarter 2017 capital additions and determine if they qualify for 100% expensing under the TCJA as compared to 50% bonus
depreciation under prior tax law. Similarly, the Utility Registrants will be required to evaluate the contractual terms of their fourth quarter 2017 capital
additions to determine whether they still qualify for the prior tax law’s 50% bonus depreciation as compared to no bonus depreciation pursuant to the
TCJA.


     At Generation, any required changes to the provisional estimates during the measurement period related to the above item would result in an
adjustment to current income tax expense at 35% and a corresponding adjustment to deferred income tax expense at 21% and such changes could
be material to Generation’s future results of operations. At the Utility Registrants, any required changes to the provisional estimates would result in
the recording of regulatory assets or liabilities to the extent such amounts are probable of settlement or recovery through customer rates and a net
change to income tax expense for any other amounts.


     The Registrants expect any final adjustments to the provisional amounts to be recorded by the third quarter of 2018, which could be material to
the Registrants’ future results of operations or financial positions. The accounting for all other applicable provisions of the TCJA is considered
complete based on our current interpretation of the provisions of the TCJA as enacted as of December 31, 2017.

      While the Registrants have recorded the impacts of the TCJA based on their interpretation of the provisions as enacted, it is expected that
technical corrections or other forms of guidance will be issued during 2018, which could result in material changes to previously finalized provisions.
At this time, most states have not provided guidance regarding TCJA impacts and may issue guidance in 2018 which may impact estimates.


      The one-time impacts recorded by the Registrants to remeasure their deferred income tax balances at the 21% corporate federal income tax
rate as of December 31, 2017 are presented below:

                                          Exelon (b)             Generation                ComEd              PECO            BGE             PHI              Pepco         DPL             ACE
Net Decrease to Deferred Income
Tax Liability Balances          $              8,624       $            1,895         $      2,819      $        1,407    $    1,120      $     1,944      $      968    $     540       $    456

                                           Exelon               Generation                ComEd              PECO (c)         BGE             PHI              Pepco         DPL             ACE

Net Regulatory Liability Recorded
(a)                                           7,315                         N/A             2,818               1,394          1,124            1,979             976          545            458

                                         Exelon (b)            Generation                 ComEd               PECO            BGE             PHI              Pepco         DPL             ACE
Net Deferred Income Tax
Benefit/(Expense) Recorded           $       1,309     $             1,895        $                1    $            13   $         (4)   $         (35)   $       (8)   $         (5)   $         (2)
__________
(a)   Reflects the net regulatory liabilities recorded on a pre-tax basis before taking into consideration the income tax benefits associated with the ultimate settlement with customers.
(b)   Amounts do not sum across due to deferred tax adjustments recorded at the Exelon Corporation parent company, primarily related to certain employee compensation plans.
(c)   Given the regulatory treatment of income tax benefits related to electric and gas distribution repairs, PECO remains in an overall net regulatory asset position as of December 31, 2017
      after recording the impacts related to the TCJA. Refer to Note 3 - Regulatory Matters for additional information.



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      The net regulatory liabilities above include (1) amounts subject to IRS “normalization” rules that are required to be passed back to customers
generally over the remaining useful life of the underlying assets giving rise to the associated deferred income taxes, and (2) amounts for which the
timing of settlement with customers is subject to determinations by the rate regulators. The table below sets forth the Registrants’ estimated
categorization of their net regulatory liabilities as of December 31, 2017. The amounts in the table below are shown on an after-tax basis reflecting
future net cash outflows after taking into consideration the income tax benefits associated with the ultimate settlement with customers.


                                                                                   Exelon              ComEd             PECO (a)          BGE                PHI                   PEPCO            DPL         ACE

 Subject to IRS Normalization Rules                                           $          3,040    $          1,400   $          533    $    459           $         648         $      299      $     195   $         153
 Subject to Rate Regulator Determination                                                 1,694                 573                43        324                     754                391            194             170
 Net Regulatory Liabilities                                                   $          4,734    $          1,973   $          576    $    783           $    1,402            $      690      $     389   $         323
 __________
(a) Given the regulatory treatment of income tax benefits related to electric and gas distribution repairs, PECO remains in an overall net regulatory asset position as of December 31, 2017 after recording the
    impacts related to the TCJA. As a result, the amount of customer benefits resulting from the TCJA subject to the discretion of PECO's rate regulators are lower relative to the other Utility Registrants. Refer to
    Note 3 - Regulatory Matters for additional information.

     The net regulatory liability amounts subject to the IRS normalization rules generally relate to property, plant and equipment with remaining
useful lives ranging from 30 to 40 years across the Utility Registrants. For the other amounts, rate regulators could require the passing back of
amounts to customers over shorter time frames.

Rate Reconciliation


        The effective income tax rate from continuing operations varies from the U.S. Federal statutory rate principally due to the following:



                                                                                                   Three Months Ended March 31, 2018

                                Exelon                Generation                ComEd                 PECO               BGE                     PHI                  Pepco                  DPL            ACE

U.S. Federal statutory rate      21.0%                   21.0%                    21.0%               21.0%              21.0%                21.0%                   21.0%                  21.0%          21.0%
Increase (decrease) due
to:
   State income taxes, net
   of Federal income tax
   benefit                         4.1                     2.4                     8.2                (3.9)               6.3                     4.6                     1.7                 6.3               6.6
   Qualified nuclear
   decommissioning trust
   fund income                    (0.4)                   (1.3)                    —                   —                   —                      —                       —                   —                 —
   Amortization of
   investment tax credit,
   including deferred taxes
   on basis difference            (1.3)                   (4.3)                   (0.2)               (0.1)               (0.1)                  (0.2)                (0.1)                  (0.2)          (0.3)

   Plant basis differences        (2.7)                    —                       0.1                (14.2)              (0.7)                  (2.6)                (3.4)                  (1.3)          (2.6)
   Production tax credits
   and other credits              (2.8)                   (9.5)                   (0.1)                —                   —                      —                       —                   —                 —

   Noncontrolling interests       (0.7)                   (2.5)                    —                   —                   —                      —                       —                   —                 —
   Excess deferred tax
   amortization                   (6.0)                    —                      (7.5)               (4.8)               (8.6)                  (10.6)               (12.8)                 (7.9)          (8.7)

   Other                          (2.8)                   (1.3)                    0.3                 0.2                 —                      —                   (0.3)                   0.5           (3.5)

Effective income tax rate         8.4%                    4.5%                    21.8%               (1.8)%             17.9%                12.2%                   6.1%                   18.4%          12.5%




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                                                                                           Three Months Ended March 31, 2017 (a)

                                Exelon            Generation                ComEd             PECO             BGE                  PHI           Pepco               DPL                  ACE

U.S. Federal statutory rate     35.0%                35.0%                  35.0%             35.0%            35.0%               35.0%          35.0%               35.0%                35.0%
Increase (decrease) due
to:
  State income taxes, net
  of Federal income tax
  benefit                            0.9              1.0                    4.9               0.1              5.2                 4.9                4.6             5.3                  5.6
  Qualified nuclear
  decommissioning trust
  fund income                        3.5              7.8                     —                —                   —                —                  —               —                     —
  Amortization of
  investment tax credit,
  including deferred taxes
  on basis difference               (0.4)             (0.7)                  (0.2)            (0.1)             (0.1)              (0.2)              (0.1)           (0.3)                (0.4)

  Plant basis differences           (2.4)              —                     (0.2)            (13.2)            (0.9)              (3.8)              (5.8)           (1.9)                (3.4)
  Production tax credits
  and other credits                 (0.7)             (1.5)                   —                —                   —                —                  —               —                     —

  Noncontrolling interest            —                0.1                     —                —                   —                —                  —               —                     —
  Merger expenses (b)
                                    (11.5)            (3.4)                   —                —                   —               (42.4)             (34.2)          (21.9)              (167.1)
  Fitzpatrick bargain
  purchase gain                     (6.6)            (14.8)                   —                —                   —                —                  —               —                     —

  Other                             (0.1)             (0.4)                   —                0.3              (0.2)              (0.4)               0.5             —                   (3.0)

Effective income tax rate       17.7%                23.1%                  39.5%             22.1%            39.0%               (6.9)%             0.0%            16.2%               (133.3)%

_________
(a)   Exelon retrospectively adopted the new standard Revenue from Contracts with Customers . The standard was adopted as of January 1, 2018. The effective income tax rates are recast to reflect the
      impact of the new standard.
(b)   Includes a remeasurement of uncertain state income tax positions for Pepco and DPL.

Accounting for Uncertainty in Income Taxes


       The Registrants have the following unrecognized tax benefits as of March 31, 2018 and December 31, 2017 :

                                                              Exelon          Generation               ComEd                PECO           BGE          PHI          Pepco          DPL            ACE

March 31, 2018                                          $        733    $               464      $             2        $      —     $      120   $        125   $         59   $    21      $       14

                                                              Exelon          Generation               ComEd                PECO           BGE          PHI          Pepco          DPL            ACE

December 31, 2017                                       $        743    $               468      $             2        $      —     $      120   $        125   $         59   $    21      $       14

   Reasonably possible the total amount of unrecognized tax benefits could significantly increase or decrease within 12 months after the
reporting date

       Like-Kind Exchange


        As of March 31, 2018 , Exelon and ComEd have approximately $ 33 million and $2 million , respectively, of unrecognized federal and state
income tax benefits that could significantly decrease within the 12 months after the reporting date due to a final resolution of the like-kind exchange
litigation described below. The recognition of these unrecognized tax benefits would decrease Exelon and ComEd's effective tax rate.


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   Settlement of Income Tax Audits, Refund Claims, and Litigation

      As of March 31, 2018 , Exelon, Generation, BGE, PHI, Pepco, DPL, and ACE have approximately $679 million , $ 465 million , $120 million , $
94 million , $ 59 million , $ 21 million , and $ 14 million of unrecognized federal and state tax benefits that could significantly decrease within the 12
months after the reporting date as a result of completing audits, potential settlements, and the outcomes of pending court cases. Of the above
unrecognized tax benefits, Exelon and Generation have $ 458 million that, if recognized, would decrease the effective tax rate. The unrecognized tax
benefits related to BGE, Pepco, DPL, and ACE, if recognized, may be included in future regulated base rates and that portion would have no impact
to the effective tax rate.

Other Income Tax Matters

   Like-Kind Exchange (Exelon and ComEd)

     Exelon, through its ComEd subsidiary, took a position on its 1999 income tax return to defer approximately $ 1.2 billion of tax gain on the sale
of ComEd’s fossil generating assets. The gain was deferred by reinvesting a portion of the proceeds from the sale in qualifying replacement property
under the like-kind exchange provisions of the IRC. The like-kind exchange replacement property purchased by Exelon included interests in three
municipal-owned electric generation facilities which were properly leased back to the municipalities. As previously disclosed, Exelon terminated its
investment in one of the leases in 2014 and the remaining two leases were terminated in 2016.


      The IRS asserted that the Exelon purchase and leaseback transaction was substantially similar to a leasing transaction, known as a SILO,
which is a listed transaction that the IRS has identified as a potentially abusive tax shelter. Thus, they disagreed with Exelon's position and asserted
that the entire gain of approximately $ 1.2 billion was taxable in 1999. In 2013, the IRS issued a notice of deficiency to Exelon and Exelon filed a
petition to initiate litigation in the United States Tax Court. In 2016, the Tax Court held that Exelon was not entitled to defer gain on the transaction.
In addition to the tax and interest related to the gain deferral, the Tax Court also ruled that Exelon was liable for $ 90 million in penalties and interest
on the penalties. Exelon has fully paid the amounts assessed resulting from the Tax Court decision.


    In September 2017, Exelon appealed the Tax Court decision to the U.S. Court of Appeals for the Seventh Circuit and a decision is expected in
2018.


   State Income Tax Law Changes


      On April 24, 2018, Maryland enacted companion bills, House Bill 1794 and Senate Bill 1090, providing for a phase in of a single sales factor
apportionment formula from the current three factor formula for determining an entity's Maryland state income taxes. The single sales factor will be
fully phased by 2022.

     In the second quarter of 2018, Exelon, Generation, PHI, DPL, and Pepco expect to record an estimated one-time increase to deferred income
taxes of approximately $17 million , $5 million , $18 million , $1 million and $17 million , respectively. At PHI, DPL and Pepco, the increase to the
Maryland deferred income tax liability will be offset by regulatory assets. Further, the change in tax law is not expected to have a material ongoing
impact to Exelon's, Generation's, PHI's, DPL's or Pepco's future results of operations.


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13 .     Nuclear Decommissioning (Exelon and Generation)

Nuclear Decommissioning Asset Retirement Obligations


     Generation has a legal obligation to decommission its nuclear power plants following the expiration of their operating licenses. To estimate its
decommissioning obligation related to its nuclear generating stations for financial accounting and reporting purposes, Generation uses a probability-
weighted, discounted cash flow model which, on a unit-by-unit basis, considers multiple outcome scenarios that include significant estimates and
assumptions, and are based on decommissioning cost studies, cost escalation rates, probabilistic cash flow models and discount rates. Generation
updates its ARO annually, unless circumstances warrant more frequent updates, based on its review of updated cost studies and its annual
evaluation of cost escalation factors and probabilities assigned to various scenarios.

    The following table provides a rollforward of the nuclear decommissioning ARO reflected on Exelon’s and Generation’s Consolidated Balance
Sheets from December 31, 2017 to March 31, 2018 :

Nuclear decommissioning ARO at December 31, 2017 (a)                                                                                                        $                            9,662
Accretion expense                                                                                                                                                                          117
Net increase due to changes in, and timing of, estimated future cash flows                                                                                                                   32
Costs incurred related to decommissioning plants                                                                                                                                             (4)
Nuclear decommissioning ARO at March 31, 2018                       (a)                                                                                     $                            9,807
_________
(a)    Includes $64 million and $13 million for the current portion of the ARO at March 31, 2018 and December 31, 2017 , respectively, which is included in Other current liabilities on Exelon’s
       and Generation’s Consolidated Balance Sheets.

      During the three months ended March 31, 2018 , Generation’s total nuclear ARO increased by approximately $145 million , p rimarily reflecting
the accretion of the ARO liability due to the passage of time and the impact of the February 2, 2018 announcement to retire Oyster Creek at the end
of its current operating cycle by October 2018. Refer to Note 8 — Early Plant Retirements for additional information regarding the announced early
retirement of Oyster Creek.


Nuclear Decommissioning Trust Fund Investments

     NDT funds have been established for each generation station unit to satisfy Generation’s nuclear decommissioning obligations. Generally, NDT
funds established for a particular unit may not be used to fund the decommissioning obligations of any other unit.

     The NDT funds associated with Generation’s nuclear units have been funded with amounts collected from the previous owners and their
respective utility customers. PECO is authorized to collect funds, in revenues, for decommissioning the former PECO nuclear plants through
regulated rates, and these collections are scheduled through the operating lives of the former PECO plants. The amounts collected from PECO
customers are remitted to Generation and deposited into the NDT funds for the unit for which funds are collected. Every five years, PECO files a rate
adjustment with the PAPUC that reflects PECO’s calculations of the estimated amount needed to decommission each of the former PECO units
based on updated fund balances and estimated decommissioning costs. The rate adjustment is used to determine the amount collectible from
PECO customers. The most recent rate adjustment occurred on January 1, 2018, and the effective rates currently yield annual collections of
approximately $4 million . The next five-year adjustment is expected to be reflected in rates charged to PECO customers effective January 1, 2023.
See Note 15 — Asset Retirement Obligations of Exelon's 2017 Form 10-K, for information regarding the amount collected from PECO ratepayers for
decommissioning costs.

     Exelon and Generation had NDT fund investments totaling $13,275 million and $13,349 million at March 31, 2018 and December 31, 2017 ,
respectively.


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       The following table provides net unrealized gains (losses) on NDT funds for the three months ended March 31, 2018 and 2017 :


                                                                                                                                                                 Exelon and Generation
                                                                                                                                                                  Three Months Ended
                                                                                                                                                                       March 31,

                                                                                                                                                                2018                 2017
Net unrealized gains (losses) on decommissioning trust funds — Regulatory Agreement Units                         (a)                                    $             (75)    $            222
Net unrealized gains (losses) on decommissioning trust funds — Non-Regulatory Agreement Units                           (b)(c)                                         (96)                 166

_________
(a)   Net unrealized gains (losses) related to Generation’s NDT funds associated with Regulatory Agreement Units are included in Regulatory liabilities on Exelon’s Consolidated Balance
      Sheets and Noncurrent payables to affiliates on Generation’s Consolidated Balance Sheets.
(b)   Excludes $(2) million and $(1) million of net unrealized losses related to the Zion Station pledged assets for the three months ended March 31, 2018 and 2017 , respectively. Net unrealized
      losses related to Zion Station pledged assets are included in Other current liabilities on Exelon’s and Generation’s Consolidated Balance Sheets in 2018 and 2017 , respectively.
(c)   Net unrealized gains (losses) related to Generation’s NDT funds with Non-Regulatory Agreement Units are included in Other, net on Exelon’s and Generation’s Consolidated Statements of
      Operations and Comprehensive Income.

     Interest and dividends on NDT fund investments are recognized when earned and are included in Other, net on Exelon’s and Generation’s
Consolidated Statements of Operations and Comprehensive Income. Interest and dividends earned on the NDT fund investments for the Regulatory
Agreement Units are eliminated in Other, net on Exelon’s and Generation’s Consolidated Statement of Operations and Comprehensive Income.

     Refer to Note 3 — Regulatory Matters and Note 26 — Related Party Transactions of the Exelon 2017 Form 10-K for information regarding
regulatory liabilities at ComEd and PECO and intercompany balances between Generation, ComEd and PECO reflecting the obligation to refund to
customers any decommissioning-related assets in excess of the related decommissioning obligations.


Zion Station Decommissioning

       On September 1, 2010, Generation completed an Asset Sale Agreement (ASA) with EnergySolutions Inc. and its wholly owned subsidiaries,
EnergySolutions, LLC (EnergySolutions) and ZionSolutions, under which ZionSolutions has assumed responsibility for decommissioning Zion
Station, which is located in Zion, Illinois and ceased operation in 1998. See Note 15 — Asset Retirement Obligations of the Exelon 2017 Form 10-K
for information regarding the specific treatment of assets, including NDT funds, and decommissioning liabilities transferred in the transaction.


      ZionSolutions is subject to certain restrictions on its ability to request reimbursements from the Zion Station NDT funds as defined within the
ASA. Therefore, the transfer of the Zion Station assets did not qualify for asset sale accounting treatment and, as a result, the related NDT funds
were reclassified to Pledged assets for Zion Station decommissioning within Generation’s and Exelon’s Consolidated Balance Sheets and will
continue to be measured in the same manner as prior to the completion of the transaction. Additionally, the transferred ARO for decommissioning
was replaced with a Payable for Zion Station decommissioning in Generation’s and Exelon’s Consolidated Balance Sheets. Changes in the value of
the Zion Station NDT assets, net of applicable taxes, are recorded as a change in the payable to ZionSolutions. At no point will the payable to
ZionSolutions exceed the project budget of the costs remaining to decommission Zion Station. Generation has retained its obligation for the SNF.
Following ZionSolutions’ completion of its contractual obligations and transfer of the NRC license to Generation, Generation will store the SNF at
Zion Station until it is transferred to the DOE for ultimate disposal, and will complete all remaining decommissioning activities associated with the
SNF dry storage facility. Generation has a liability of approximately $115 million which is included within the nuclear


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decommissioning ARO at March 31, 2018 . Generation also has retained NDT assets to fund its obligation to maintain the SNF at Zion Station until
transfer to the DOE and to complete all remaining decommissioning activities for the SNF storage facility. Any shortage of funds necessary to
maintain the SNF and decommission the SNF storage facility is ultimately required to be funded by Generation. Any Zion Station NDT funds
remaining after the completion of all decommissioning activities will be returned to ComEd customers in accordance with the applicable orders. The
following table provides the pledged assets and payables to ZionSolutions, and withdrawals by ZionSolutions at March 31, 2018 and December 31,
2017 :

                                                                                                                                                  Exelon and Generation
                                                                                                                                     March 31, 2018                 December 31, 2017
                                                             (a)
Carrying value of Zion Station pledged assets                                                                                 $                        30      $                          39
Payable to Zion Solutions (b)(c)                                                                                                                       28                                 37
                                                                                               (d)
Cumulative withdrawals by Zion Solutions to pay decommissioning costs                                                                                 949                               942
_________
(a)    Included in Other current assets within Exelon's and Generation's Consolidated Balance sheets.
(b)    Excludes a liability recorded within Exelon’s and Generation’s Consolidated Balance Sheets related to the tax obligation on the unrealized activity associated with the Zion Station NDT
       funds. The NDT funds will be utilized to satisfy the tax obligations as gains and losses are realized.
(c)    Included in Other current liabilities within Exelon’s and Generation’s Consolidated Balance Sheets.
(d)    Includes project expenses to decommission Zion Station and estimated tax payments on Zion Station NDT fund earnings.

NRC Minimum Funding Requirements

     NRC regulations require that licensees of nuclear generating facilities demonstrate reasonable assurance that funds will be available in
specified minimum amounts to decommission the facility at the end of its life.

       Generation filed its biennial decommissioning funding status report with the NRC on March 30, 2017 for all units except for Zion Station which
is included in a separate report to the NRC submitted by ZionSolutions (see Zion Station Decommissioning above). The status report demonstrated
adequate decommissioning funding assurance for all units except for Peach Bottom Unit 1. As a former PECO plant, financial assurance for
decommissioning Peach Bottom Unit 1 is provided by the NDT fund in addition to collections from PECO ratepayers. As discussed under Nuclear
Decommissioning Trust Fund Investments above, the amount collected from PECO ratepayers has been adjusted effective January 1, 2018.


          On March 28, 2018, Generation submitted its annual decommissioning funding status report with the NRC for shutdown reactors, reactors
within five years of shut down except for Zion Station which is included in a separate report to the NRC submitted by EnergySolutions (see Zion
Station Decommissioning above), and reactor involved in an acquisition. This report reflected the status of decommissioning funding assurance as of
December 31, 2017 and included an update for the acquisition of Fitzpatrick on March 31, 2017, the early retirement of TMI announced on May 30,
2017, an adjustment for the February 2, 2018 announced retirement date of Oyster Creek, and the updated status of Peach Bottom Unit 1 based on
the new collections rate described above. As of December 31, 2017 , Generation provided adequate decommissioning funding assurance for all of
its shutdown reactors, reactors within five years of shutdown, and reactor involved in an acquisition.


14 .      Retirement Benefits (All Registrants)

     Exelon sponsors defined benefit pension plans and other postretirement benefit plans for essentially all current employees. Substantially all
non-union employees and electing union employees hired on


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or after January 1, 2001 participate in cash balance pension plans. Effective January 1, 2009, substantially all newly-hired union-represented
employees participate in cash balance pension plans. Effective February 1, 2018, most newly-hired Generation and BSC non-represented
employees are not eligible for pension benefits, and will instead be eligible to receive an enhanced non-discretionary employer contribution in an
Exelon defined contribution savings plan. Effective January 1, 2018, most newly-hired non-represented employees are not eligible for OPEB benefits
and employees represented by Local 614 are not eligible for retiree health care benefits.


      During the first quarter of 2017, in connection with the acquisition of Fitzpatrick, Exelon established a new qualified pension plan and a new
OPEB plan, and recorded a provisional obligation for Fitzpatrick employees based on information available at the merger date of $38 million and $11
million , respectively. As permitted by business combinations authoritative guidance, during the third quarter of 2017, Exelon updated those
obligations based on a final valuation for Fitzpatrick employees as of the merger date of March 31, 2017. The updated obligations for pension and
OPEB were $ 16 million and $ 17 million , respectively. Refer to Note 4 — Mergers, Acquisitions and Dispositions for additional discussion of the
acquisition of FitzPatrick.


Defined Benefit Pension and Other Postretirement Benefits

      During the first quarter of 2018, Exelon received an updated valuation of its pension and OPEB to reflect actual census data as of January 1,
2018. This valuation resulted in an increase to the pension and OPEB obligations of $23 million and $14 million , respectively. Additionally,
accumulated other comprehensive loss decreased by $18 million (after tax) and regulatory assets and liabilities increased by $61 million and $1
million , respectively.


      The majority of the 2018 pension benefit cost for Exelon-sponsored plans is calculated using an expected long-term rate of return on plan
assets of 7.00% and a discount rate of 3.62% . The majority of the 2018 other postretirement benefit cost is calculated using an expected long-term
rate of return on plan assets of 6.60% for funded plans and a discount rate of 3.61% .

    A portion of the net periodic benefit cost for all plans is capitalized within the Consolidated Balance Sheets. The following table presents the
components of Exelon's net periodic benefit costs, prior to capitalization, for the three months ended March 31, 2018 and 2017 .


                                                                                              Pension Benefits                          Other Postretirement Benefits
                                                                                        Three Months Ended March 31,                    Three Months Ended March 31,
                                                                                      2018                      2017 (a)               2018                     2017 (a)

Components of net periodic benefit cost:
Service cost                                                              $                      101      $                 95     $             28    $                   26
Interest cost                                                                                    201                       210                   43                        45
Expected return on assets                                                                       (312)                      (299)                (43)                       (41)
Amortization of:
      Prior service benefit                                                                        —                         —                  (46)                       (47)
      Actuarial loss                                                                             157                       152                   16                        16
Net periodic benefit cost                                                 $                      147      $                158     $             (2)   $                    (1)
_________
(a)   FitzPatrick net benefit costs are included for the period after the acquisition date of March 31, 2017.




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      The amounts below represent Exelon's, Generation's, ComEd's, PECO's, BGE's, BSC's, PHI's, Pepco's, DPL's, ACE's, and PHISCO's
allocated portion of the pension and postretirement benefit plan costs. As a result of new pension guidance effective on January 1, 2018, certain
balances have been reclassified on Exelon’s Consolidated Statements of Operations and Comprehensive Income for the three months ended March
31, 2017. The amounts below represent the Registrants’ as well as BSC's and PHISCO's pension and postretirement benefit plan net periodic
benefit costs. For Exelon, the service cost component is included in Operating and maintenance expense and Property, plant and equipment for the
three months ended March 31, 2018 and 2017, while the non-service cost components are included in Other, net and Regulatory assets for the
three months ended March 31, 2018 and in Other, net and Property, plant and equipment for the three months ended March 31, 2017. For the
Registrants other than Exelon, the service cost and non-service cost components are included in Operating and maintenance expense and Property,
plant and equipment on their consolidated financial statements for the three months ended March 31, 2018 and 2017.


                                                                                                                                    Three Months Ended March 31,

Pension and Other Postretirement Benefit Costs                                                                               2018                                2017

Exelon (a)(b)                                                                                                  $                           145     $                          157
                (b)
Generation                                                                                                                                  51                                  54
ComEd                                                                                                                                       45                                  44
PECO                                                                                                                                          5                                  7
BGE                                                                                                                                         15                                  16
BSC (c)                                                                                                                                     14                                  12
PHI (a)(d)                                                                                                                                  15                                  24
  Pepco                                                                                                                                       4                                  7
  DPL                                                                                                                                        —                                   3
  ACE                                                                                                                                         3                                  3
  PHISCO (d)                                                                                                                                  8                                 11
_________
(a)   Exelon reflects the consolidated pension and other postretirement benefit costs of Generation, ComEd, PECO, BGE, BSC, and PHI. PHI reflects the consolidated pension and other
      postretirement benefit costs of Pepco, DPL, ACE, and PHISCO.
(b)   FitzPatrick net benefit costs are included for the period after the acquisition date of March 31, 2017.
(c)   These amounts primarily represent amounts billed to Exelon’s subsidiaries through intercompany allocations. These amounts are not included in the Generation, ComEd, PECO, BGE,
      PHI, Pepco, DPL or ACE amounts above.
(d)   These amounts represent amounts billed to Pepco, DPL and ACE through intercompany allocations. These amounts are not included in Pepco, DPL or ACE amounts above.


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Defined Contribution Savings Plans

      The Registrants participate in various 401(k) defined contribution savings plans that are sponsored by Exelon. The plans are qualified under
applicable sections of the IRC and allow employees to contribute a portion of their pre-tax and/or after-tax income in accordance with specified
guidelines. All Registrants match a percentage of the employee contributions up to certain limits. The following table presents the matching
contributions to the savings plans during the three months ended March 31, 2018 and 2017 , respectively.

                                                                                                                                        Three Months Ended March 31,

Savings Plan Matching Contributions                                                                                              2018                                 2017
          (a)(b)
Exelon                                                                                                            $                             32     $                              30
                   (b)
Generation                                                                                                                                      15                                    14
ComEd                                                                                                                                             7                                    7
PECO                                                                                                                                              2                                    2
BGE                                                                                                                                               2                                    2
BSC (c)                                                                                                                                           3                                    2
PHI (a)(d)                                                                                                                                        3                                    3
  Pepco                                                                                                                                           1                                    1
  DPL                                                                                                                                             1                                    1
  PHISCO (d)                                                                                                                                      1                                    1
_________
(a)   Exelon reflects the consolidated savings plan matching contributions of Generation, ComEd, PECO, BGE, BSC, and PHI. PHI reflects the consolidated savings plan matching contributions
      of Pepco, DPL, and PHISCO.
(b)   FitzPatrick net benefit costs are included for the period after the acquisition date of March 31, 2017.
(c)   These amounts primarily represent amounts billed to Exelon’s subsidiaries through intercompany allocations. These amounts are not included in the Generation, ComEd, PECO, BGE,
      PHI, Pepco or DPL amounts above.
(d)   These amounts represent amounts billed to Pepco and DPL through intercompany allocations. These amounts are not included in Pepco or DPL amounts above.


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15 .   Changes in Accumulated Other Comprehensive Income (Exelon, Generation and PECO)

    The following tables present changes in accumulated other comprehensive income (loss) (AOCI) by component for the three months ended
March 31, 2018 and 2017 :


                                                  Gains              Unrealized                   Pension and
                                                   and                Gains and                   Non-Pension
                                                (losses)             (losses) on                 Postretirement               Foreign                    AOCI of
                                              on Cash Flow           Marketable                   Benefit Plan               Currency                 Investments in
Three Months Ended March 31, 2018                Hedges               Securities                     Items                     Items              Unconsolidated Affiliates       Total

Exelon   (a)

  Beginning balance                       $             (14)     $             10            $             (2,998) (d)   $         (23)       $                        (1)    $     (3,026)
  OCI before reclassifications                               8                 —                                  18                    1                             —                   27
  Amounts reclassified from AOCI    (b)                  —                     —                                  44                —                                 —                   44
  Net current-period OCI                                     8                 —                                  62                    1                             —                   71
  Impact of adoption of Recognition
  and Measurement of Financial Assets
  and Liabilities standard                               —                    (10) (c)                            —                 —                                 —                   (10)
  Ending balance                          $              (6)     $             —             $             (2,936)       $         (22)       $                        (1)    $     (2,965)

Generation (a)
  Beginning balance                       $             (16)     $                 3         $                    —      $         (23)       $                        (1)    $           (37)
  OCI before reclassifications                               7                 —                                  —                     (1)                           —                    6
  Amounts reclassified from AOCI (b)                     —                     —                                  —                 —                                 —                    —
  Net current-period OCI                                     7                 —                                  —                     (1)                           —                    6
  Impact of adoption of Recognition
  and Measurement of Financial Assets
  and Liabilities standard                               —                         (3) (c)                        —                 —                                 —                    (3)
  Ending balance                          $              (9)     $             —             $                    —      $         (24)       $                        (1)    $           (34)

PECO (a)
  Beginning balance                       $              —       $                 1         $                    —      $          —         $                       —       $            1
  OCI before reclassifications                           —                     —                                  —                 —                                 —                    —
  Amounts reclassified from AOCI (b)                     —                     —                                  —                 —                                 —                    —
  Net current-period OCI                                 —                     —                                  —                 —                                 —                    —
  Impact of adoption of Recognition
  and Measurement of Financial Assets
  and Liabilities standard                               —                         (1) (c)                        —                 —                                 —                    (1)
  Ending balance                          $              —       $             —             $                    —      $          —         $                       —       $            —



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                                                          Gains              Unrealized               Pension and
                                                           and                Gains and               Non-Pension
                                                        (losses)             (losses) on             Postretirement             Foreign                 AOCI of
                                                      on Cash Flow           Marketable               Benefit Plan             Currency       Investments in Unconsolidated
Three Months Ended March 31, 2017                        Hedges               Securities                 Items                   Items                  Affiliates                Total
          (a)
Exelon
      Beginning balance                           $            (17)      $                 4    $             (2,610)      $          (30)    $                       (7)     $   (2,660)
      OCI before reclassifications                                   2                     1                      (59)                    1                            5              (50)
      Amounts reclassified from AOCI       (b)                       4                     —                          36                  —                          —                    40
      Net current-period OCI                                         6                     1                      (23)                    1                            5              (10)
      Ending balance                              $            (11)      $                 5    $             (2,633)      $          (29)    $                       (2)     $   (2,670)
Generation (a)
      Beginning balance                           $            (19)      $                 2    $                     —    $          (30)    $                       (7)     $       (54)
      OCI before reclassifications                                   2                     —                          —                   1                            6                   9
      Amounts reclassified from AOCI       (b)                       4                     —                          —                   —                          —                     4
      Net current-period OCI                                         6                     —                          —                   1                            6                  13
      Ending balance                              $            (13)      $                 2    $                     —    $          (29)    $                       (1)     $       (41)
PECO (a)
      Beginning balance                           $              —       $                 1    $                     —    $              —   $                      —        $            1
      OCI before reclassifications                               —                         —                          —                   —                          —                    —
      Amounts reclassified from AOCI (b)                         —                         —                          —                   —                          —                    —
      Net current-period OCI                                     —                         —                          —                   —                          —                    —
      Ending balance                              $              —       $                 1    $                     —    $              —   $                      —        $            1
_________
(a)   All amounts are net of tax and noncontrolling interest. Amounts in parenthesis represent a decrease in AOCI.
(b)   See next tables for details about these reclassifications.
(c)   Exelon prospectively adopted the new standard Recognition and Measurement of Financial Assets and Liabilities, The standard was adopted as of January 1, 2018, which resulted in an
      increase to Retained earnings and Accumulated other comprehensive loss of $10 million , $3 million and $1 million for Exelon, Generation and PECO, respectively. The amounts
      reclassified related to Rabbi Trusts. See Note 2 — New Accounting Standards for additional information.
(d)   Exelon early adopted the new standard Reclassification of Certain Tax Effects from AOCI. The standard was adopted retrospectively as of December 31, 2017 , which resulted in an
      increase to Exelon’s Retained earnings and Accumulated other comprehensive loss of $539 million , primarily related to deferred income taxes associated with Exelon’s pension and OPEB
      obligations. See Note 2 — New Accounting Standards for additional information.




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    ComEd, PECO, BGE, PHI, Pepco, DPL and ACE did not have any reclassifications out of AOCI to Net income during the three months ended
March 31, 2018 and 2017 . The following tables present amounts reclassified out of AOCI to Net income for Exelon and Generation during the three
months ended March 31, 2018 and 2017 .



Three Months Ended March 31, 2018

                                                                                                                                         Affected line item in the Statement of Operations
                          Details about AOCI components                                Items reclassified out of AOCI (a)                           and Comprehensive Income

                                                                                                        Exelon
Amortization of pension and other postretirement
benefit plan items
Prior service costs (b)                                                    $                                                  23
Actuarial losses    (b)                                                                                                      (83)
Total before tax                                                                                                             (60)
Tax benefit                                                                                                                   16
Net of tax                                                                 $                                                 (44)


Total Reclassifications                                                    $                                                 (44)       Comprehensive income



Three Months Ended March 31, 2017

                                                                                                                                         Affected line item in the Statement of Operations
                     Details about AOCI components                                      Items reclassified out of AOCI (a)                          and Comprehensive Income

                                                                                     Exelon                      Generation
 Gains and (losses) on cash flow hedges
 Other cash flow hedges                                                        $                (7)       $                    (7)      Interest expense
 Total before tax                                                                               (7)                            (7)
 Tax benefit                                                                                        3                              3
 Net of tax                                                                    $                (4)       $                    (4)      Comprehensive income


 Amortization of pension and other postretirement benefit
 plan items
 Prior service costs (b)                                                       $                23        $                    —
 Actuarial losses    (b)                                                                       (81)                            —
 Total before tax                                                                              (58)                            —
 Tax benefit                                                                                    22                             —
 Net of tax                                                                    $               (36)       $                    —


 Total Reclassifications                                                       $               (40)       $                    (4)      Comprehensive income
_________
(a)   Amounts in parenthesis represent a decrease in net income.
(b)   This AOCI component is included in the computation of net periodic pension and OPEB cost (see Note 14 — Retirement Benefits for additional details).


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    The following table presents income tax expense (benefit) allocated to each component of other comprehensive income (loss) during the three
months ended March 31, 2018 and 2017 :

                                                                                                                             Three Months Ended
                                                                                                                                  March 31,
                                                                                                                            2018                     2017

Exelon
Pension and non-pension postretirement benefit plans:
       Prior service benefit reclassified to periodic benefit cost                                                  $                6       $               10
       Actuarial loss reclassified to periodic benefit cost                                                                        (22)                     (32)
       Pension and non-pension postretirement benefit plans valuation adjustment                                                     (7)                     —
Change in unrealized (loss) on cash flow hedges                                                                                      (3)                     (1)
Change in unrealized (loss) on investments in unconsolidated affiliates                                                              (1)                     (4)
Change in unrealized (loss) on marketable securities                                                                                —                        (1)
Total                                                                                                               $              (27)      $              (28)


Generation
  Change in unrealized (loss) on cash flow hedges                                                                   $                (3)     $               (1)
  Change in unrealized (loss) on investments in unconsolidated affiliates                                                            (1)                     (3)
Total                                                                                                               $                (4)     $               (4)

16 .    Earnings Per Share and Equity (Exelon)


Earnings per Share


     Basic earnings per share is computed by dividing net income attributable to common stockholders by the weighted average number of
common shares outstanding during the period. Diluted earnings per share is computed by dividing net income attributable to common shareholders
by the weighted average number of common shares outstanding, including the effect of issuing common stock assuming (i) stock options are
exercised, and (ii) performance share awards and restricted stock awards are fully vested under the treasury stock method.


     The following table sets forth the components of basic and diluted earnings per share and shows the effect of these stock options, performance
share awards and restricted stock awards on the weighted average number of shares outstanding used in calculating diluted earnings per share:


                                                                                                                        Three Months Ended March 31,

                                                                                                                              2018                   2017
Exelon
Net income attributable to common shareholders                                                                          $          585           $          990
Weighted average common shares outstanding — basic                                                                                 966                      928
Assumed exercise and/or distributions of stock-based awards                                                                              2                   2
Weighted average common shares outstanding — diluted                                                                               968                      930


     The number of stock options not included in the calculation of diluted common shares outstanding due to their antidilutive effect was
approximately 5 million and 9 million for the three months ended March 31, 2018 and 2017 , respectively. There were no equity units related to the
PHI Merger not included in


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the calculation of diluted common shares outstanding due to their antidilutive effect for the three months ended March 31, 2018 and 2017 . Refer to
Note 19 — Shareholders' Equity of the Exelon 2017 Form 10-K for further information regarding the equity units.

    Under share repurchase programs, 2 million shares of common stock are held as treasury stock with a cost of $123 million as of March 31,
2018 .


17 .    Commitments and Contingencies (All Registrants)

     The following is an update to the current status of commitments and contingencies set forth in Note 23 of the Exelon 2017 Form 10-K. See
Note 4 — Mergers, Acquisitions and Dispositions of the Exelon 2017 Form 10-K for further discussion on the PHI Merger commitments.


Commitments

  PHI Merger Commitments (Exelon, PHI, Pepco, DPL and ACE)

      The merger of Exelon and PHI was approved in Delaware, New Jersey, Maryland and the District of Columbia. Exelon and PHI agreed to
certain commitments including where applicable: customer rate credits, funding for energy efficiency and delivery system modernization programs, a
green sustainability fund, workforce development initiatives, charitable contributions, renewable generation and other required commitments. In
addition, the orders approving the merger in Delaware, New Jersey, and Maryland include a “most favored nation” provision which, generally,
requires allocation of merger benefits proportionally across all the jurisdictions.


     The following amounts represent total commitment costs for Exelon, PHI, Pepco, DPL and ACE that have been recorded since the acquisition
date and the remaining obligations as of March 31, 2018 :



Description                                       Expected Payment Period             Pepco            DPL            ACE            PHI             Exelon
Rate credits                                           2016 - 2017                $           91   $         67   $     101      $         259   $       259
Energy efficiency                                      2016 - 2021                            —              —              —               —            122
Charitable contributions                               2016 - 2026                            28             12             10             50                 50
Delivery system modernization                           Q2 2017                               —              —              —               —                 22
Green sustainability fund                               Q2 2017                               —              —              —               —                 14
Workforce development                                  2016 - 2020                            —              —              —               —                 17
Other                                                                                         1              5              —               6                 29
       Total commitments                                                          $      120       $         84   $     111      $         315   $       513
Remaining commitments                                                             $           75   $         12   $         8    $         95    $       165


     In addition, Exelon is committed to develop or to assist in the commercial development of approximately 37 MWs of new generation in
Maryland, District of Columbia, and Delaware, 27 MWs of which are expected to be completed by 2018. These investments are expected to total
approximately $137 million, are expected to be primarily capital in nature, and will generate future earnings at Exelon and Generation. Investment
costs will be recognized as incurred and recorded on Exelon's and Generation's financial statements. Exelon has also committed to purchase 100
MWs of wind energy in PJM, to procure 120 MWs of wind RECs for the purpose of meeting Delaware's renewable portfolio standards, and to
maintain and promote energy efficiency and demand response programs in the PHI jurisdictions.


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     Pursuant to the various jurisdictions' merger approval conditions, over specified periods Pepco, DPL and ACE are not permitted to reduce
employment levels due to involuntary attrition associated with the merger integration process and have made other commitments regarding hiring
and relocation of positions.

      Constellation Merger Commitments (Exelon and Generation)


        In February 2012, the MDPSC issued an Order approving the Exelon and Constellation merger. As part of the MDPSC Order, Exelon agreed
to develop or assist in the development of 285 - 300 MWs of new generation. Exelon and Generation have incurred $ 458 million towards satisfying
the commitment for new generation development in the State of Maryland, with 220 MW of new generation in operations to date and 10 MW of this
commitment satisfied through a liquidated damages payment made in the fourth quarter of 2016. The remaining 55 MW is expected to be satisfied
via payment of liquidated damages or execution of a third party PPA, rather than by Generation constructing renewable generating assets. As a
result, as of March 31, 2018 Exelon’s and Generation’s Consolidated Balance Sheets include a $ 50 million liability within Deferred credits and other
liabilities for this remaining commitment, to be paid on or before January 15, 2023 unless the period is extended by consent of Exelon and the State.
Refer to Note 23 - Commitments and Contingencies of the Combined Notes to Consolidated Financial Statements in the Exelon 2017 Form 10-K for
additional information regarding the Constellation Merger Commitments.

      Commercial Commitments (All Registrants)


      The Registrants’ commercial commitments as of March 31, 2018 , representing commitments potentially triggered by future events were as
follows:


                                         Exelon             Generation               ComEd              PECO          BGE                PHI              Pepco               DPL               ACE
Letters of credit (non-
debt) (a)                            $      1,586     $               1,533      $            2     $       1     $         5     $             1     $            1     $          —      $          —
Surety bonds (b)                            1,651                     1,463                   9             9              10                  66                 32                 4                 5
Financing trust
guarantees                                    378                         —                200           178                —                  —                  —                 —                 —
Guaranteed lease
residual values (c)                            22                         —                  —             —                —                  22                  7                 9                 6
Total commercial
commitments                          $      3,637     $               2,996      $         211      $    188      $        15     $            89     $           40     $          13     $          11
_________
(a)    Letters of credit (non-debt) - Exelon and certain of its subsidiaries maintain non-debt letters of credit to provide credit support for certain transactions as requested by third parties. Includes
       letters of credits issued under credit facility agreements arranged at minority and community banks and nonrecourse debt letters of credits.
(b)    Surety bonds—Guarantees issued related to contract and commercial agreements, excluding bid bonds.
(c)    Represents the maximum potential obligation in the event that the fair value of certain leased equipment and fleet vehicles is zero at the end of the maximum lease term. The maximum
       lease term associated with these assets ranges from 3 to 8 years. The maximum potential obligation at the end of the minimum lease term would be $58 million , $17 million of which is a
       guarantee by Pepco, $24 million by DPL and $16 million by ACE. The minimum lease term associated with these assets ranges from 1 to 4 years. Historically, payments under the
       guarantees have not been made and PHI believes the likelihood of payments being required under the guarantees is remote.

      Nuclear Insurance (Exelon and Generation)

      Generation is subject to liability, property damage and other risks associated with major incidents at any of its nuclear stations. Generation has
mitigated its financial exposure to these risks through insurance and other industry risk-sharing provisions.

      The Price-Anderson Act was enacted to ensure the availability of funds for public liability claims arising from an incident at any of the U.S.
licensed nuclear facilities and also to limit the liability of nuclear


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reactor owners for such claims from any single incident. As of March 31, 2018 , the current liability limit per incident is $13.2 billion and is subject to
change to account for the effects of inflation and changes in the number of licensed reactors at least once every five years with the last adjustment
effective September 10, 2013. In accordance with the Price-Anderson Act, Generation maintains financial protection at levels equal to the amount of
liability insurance available from private sources through the purchase of private nuclear energy liability insurance for public liability claims that could
arise in the event of an incident. Effective January 1, 2017, the required amount of nuclear energy liability insurance purchased is $450 million for
each operating site. Claims exceeding that amount are covered through mandatory participation in a financial protection pool, as required by the
Price Anderson-Act, which provides the additional $13.0 billion per incident in funds available for public liability claims. Participation in this secondary
financial protection pool requires the operator of each reactor to fund its proportionate share of costs for any single incident that exceeds the primary
layer of financial protection. Exelon’s share of this secondary layer would be approximately $2.8 billion , however any amounts payable under this
secondary layer would be capped at $ 420 million per year.

     In addition, the U.S. Congress could impose revenue-raising measures on the nuclear industry to pay public liability claims exceeding the
$13.2 billion limit for a single incident.


     As part of the execution of the NOSA on April 1, 2014, Generation executed an Indemnity Agreement pursuant to which Generation agreed to
indemnify EDF and its affiliates against third-party claims that may arise from any future nuclear incident (as defined in the Price-Anderson Act) in
connection with the CENG nuclear plants or their operations. Exelon guarantees Generation’s obligations under this indemnity. See Note 2 —
Variable Interest Entities of the Exelon 2017 Form 10-K for additional information on Generation’s operations relating to CENG.

     Generation is required each year to report to the NRC the current levels and sources of property insurance that demonstrates Generation
possesses sufficient financial resources to stabilize and decontaminate a reactor and reactor station site in the event of an accident. The property
insurance maintained for each facility is currently provided through insurance policies purchased from NEIL, an industry mutual insurance company
of which Generation is a member.


      NEIL may declare distributions to its members as a result of favorable operating experience. In recent years NEIL has made distributions to its
members, but Generation cannot predict the level of future distributions or if they will continue at all. In March 2018, NEIL declared a supplemental
distribution. Generation's portion of the supplemental distribution declared by NEIL is estimated to be $31 million and was recorded as a reduction to
Operating and maintenance expense within Exelon and Generation’s Consolidated Statements of Operations and Comprehensive Income for the
three months ended March 31, 2018, with cash expected to be received during the second quarter 2018.


      Premiums paid to NEIL by its members are also subject to a potential assessment for adverse loss experience in the form of a retrospective
premium obligation. NEIL has never assessed this retrospective premium since its formation in 1973, and Generation cannot predict the level of
future assessments if any. The current maximum aggregate annual retrospective premium obligation for Generation is approximately $ 360 million .
NEIL requires its members to maintain an investment grade credit rating or to ensure collectability of their annual retrospective premium obligation
by providing a financial guarantee, letter of credit, deposit premium, or some other means of assurance.


     NEIL provides “all risk” property damage, decontamination and premature decommissioning insurance for each station for losses resulting from
damage to its nuclear plants, either due to accidents or acts of terrorism. If the decision is made to decommission the facility, a portion of the
insurance proceeds will be allocated to a fund, which Generation is required by the NRC to maintain, to provide for decommissioning the facility. In
the event of an insured loss, Generation is unable to predict the timing of the availability of insurance proceeds to Generation and the amount of
such proceeds that would be available. In the event that one or more acts of terrorism cause accidental property damage within a


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twelve-month period from the first accidental property damage under one or more policies for all insured plants, the maximum recovery by Exelon
will be an aggregate of $3.2 billion plus such additional amounts as the insurer may recover for all such losses from reinsurance, indemnity and any
other source, applicable to such losses.

     For its insured losses, Generation is self-insured to the extent that losses are within the policy deductible or exceed the amount of insurance
maintained. Uninsured losses and other expenses, to the extent not recoverable from insurers or the nuclear industry, could also be borne by
Generation. Any such losses could have a material adverse effect on Exelon’s and Generation’s financial condition, results of operations and cash
flows.

Environmental Remediation Matters

      General. The Registrants’ operations have in the past, and may in the future, require substantial expenditures to comply with environmental
laws. Additionally, under Federal and state environmental laws, the Registrants are generally liable for the costs of remediating environmental
contamination of property now or formerly owned by them and of property contaminated by hazardous substances generated by them. The
Registrants own or lease a number of real estate parcels, including parcels on which their operations or the operations of others may have resulted
in contamination by substances that are considered hazardous under environmental laws. In addition, the Registrants are currently involved in a
number of proceedings relating to sites where hazardous substances have been deposited and may be subject to additional proceedings in the
future. Unless otherwise disclosed, the Registrants cannot reasonably estimate whether they will incur significant liabilities for additional investigation
and remediation costs at these or additional sites identified by the Registrants, environmental agencies or others, or whether such costs will be
recoverable from third parties, including customers. Additional costs could have a material, unfavorable impact on the Registrants' financial
conditions, results of operations and cash flows.


MGP Sites

     ComEd, PECO, BGE and DPL have identified sites where former MGP activities have or may have resulted in actual site contamination. For
almost all of these sites, there are additional PRPs that may share responsibility for the ultimate remediation of each location.

        •    ComEd has identified 42 sites, 20 of which have been remediated and approved by the Illinois EPA or the U.S. EPA and 22 that are
             currently under some degree of active study and/or remediation. ComEd expects the majority of the remediation at these sites to
             continue through at least 2022.


        •    PECO has identified 26 sites, 17 of which have been remediated in accordance with applicable PA DEP regulatory requirements and 9
             that are currently under some degree of active study and/or remediation. PECO expects the majority of the remediation at these sites to
             continue through at least 2022.


        •    BGE has identified 13 former gas manufacturing or purification sites, 9 of which the remediation has been completed and approved by
             the MDE and 4 that require some level of remediation and/or ongoing activity. BGE has determined that a loss associated with these
             sites is probable and has recorded an estimated liability, which is included in the table below. However, it is reasonably possible that
             BGE’s cost of remediation for one of its sites could be up to $13 million .

        •    DPL has identified 3 sites, 2 of which remediation has been completed and approved by the MDE or the Delaware Department of
             Natural Resources and Environmental Control.


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             The remaining site is under study and the required cost at the site is not expected to be material.

      The historical nature of the MGP sites and the fact that many of the sites have been buried and built over, impacts the ability to determine a
precise estimate of the ultimate costs prior to initial sampling and determination of the exact scope and method of remedial activity. Management
determines its best estimate of remediation costs using all available information at the time of each study, including probabilistic and deterministic
modeling for ComEd and PECO, and the remediation standards currently required by the applicable state environmental agency. Prior to
completion of any significant clean up, each site remediation plan is approved by the appropriate state environmental agency.

      ComEd, pursuant to an ICC order, and PECO, pursuant to settlements of natural gas distribution rate cases with the PAPUC, are currently
recovering environmental remediation costs of former MGP facility sites through customer rates. See Note 6 — Regulatory Matters for additional
information regarding the associated regulatory assets. While BGE and DPL do not have riders for MGP clean-up costs, they have historically
received recovery of actual clean-up costs in distribution rates.

     As of March 31, 2018 and December 31, 2017 , the Registrants had accrued the following undiscounted amounts for environmental liabilities in
Other current liabilities and Other deferred credits and other liabilities within their respective Consolidated Balance Sheets:

                                                                           Total environmental                     Portion of total related to
                                                                            investigation and                       MGP investigation and
March 31, 2018                                                             remediation reserve                           remediation
Exelon                                                           $                               462    $                                        313
Generation                                                                                       117                                              —
ComEd                                                                                            283                                             281
PECO                                                                                              29                                              28
BGE                                                                                                5                                               4
PHI                                                                                               28                                              —
Pepco                                                                                             26                                              —
DPL                                                                                                1                                              —
ACE                                                                                                1                                              —

                                                                           Total environmental                     Portion of total related to
                                                                            investigation and                       MGP investigation and
December 31, 2017                                                          remediation reserve                           remediation
Exelon                                                           $                               466    $                                        315
Generation                                                                                       117                                              —
ComEd                                                                                            285                                             283
PECO                                                                                              30                                              28
BGE                                                                                                5                                               4
PHI                                                                                               29                                              —
Pepco                                                                                             27                                              —
DPL                                                                                                1                                              —
ACE                                                                                                1                                              —

  Solid and Hazardous Waste


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      Cotter Corporation. The EPA has advised Cotter Corporation (Cotter), a former ComEd subsidiary, that it is potentially liable in connection
with radiological contamination at a site known as the West Lake Landfill in Missouri. In 2000, ComEd sold Cotter to an unaffiliated third-party. As
part of the sale, ComEd agreed to indemnify Cotter for any liability arising in connection with the West Lake Landfill. In connection with Exelon’s
2001 corporate restructuring, this responsibility to indemnify Cotter was transferred to Generation. On May 29, 2008, the EPA issued a Record of
Decision (ROD) approving a landfill cover remediation approach. Generation had previously recorded an estimated liability for its anticipated share
of a landfill cover remedy that was estimated to cost approximately $90 million in total. By letter dated January 11, 2010, the EPA requested that the
PRPs perform a supplemental feasibility study for a remediation alternative that would involve complete excavation of the radiological contamination.
On September 30, 2011, the PRPs submitted the supplemental feasibility study to the EPA for review. Since June 2012, the EPA has requested that
the PRPs perform a series of additional analyses and groundwater and soil sampling as part of the supplemental feasibility study. This further
analysis was focused on a partial excavation remedial option. The PRPs provided the draft final Remedial Investigation and Feasibility Study (RI/FS)
to the EPA in January 2018, which formed the basis for EPA’s proposed remedy selection, as further discussed below. There are currently three
PRPs participating in the West Lake Landfill remediation proceeding. Investigation by Generation has identified a number of other parties who also
may be PRPs and could be liable to contribute to the final remedy. Further investigation is ongoing.

       On February 1, 2018, the EPA announced its proposed remedy involving partial excavation of the site with an enhanced landfill cover. The
proposed remedy was open for public comment through April 23, 2018 and Generation currently expects that a ROD will be issued during the third
quarter of 2018. Thereafter, the EPA will seek to enter into a Consent Decree with the PRPs to effectuate the remedy, which Generation currently
expects will occur in late 2018 or early 2019. The estimated cost of the remedy, taking into account the current EPA technical requirements and the
total costs expected to be incurred by the PRPs in fully executing the remedy, is approximately $340 million , including cost escalation on an
undiscounted basis, which would be allocated among the final group of PRPs. Generation has determined that a loss associated with the EPA’s
partial excavation and enhanced landfill cover remedy is probable and has recorded a liability included in the table above, that reflects
management’s best estimate of Cotter’s allocable share of the ultimate cost for the entire remediation effort. Given the joint and several nature of
this liability, the magnitude of Generation’s ultimate liability will depend on the actual costs incurred to implement the ultimate required remediation
remedy as well as on the nature and terms of any cost-sharing arrangements with the final group of PRPs. Therefore, it is reasonably possible that
the ultimate cost and Generation’s associated allocable share could differ significantly once these uncertainties are resolved, which could have a
material impact on Exelon's and Generation's future financial conditions, results of operations and cash flows.


     On January 16, 2018, the PRPs were advised by the EPA that it will begin an additional investigation and evaluation of groundwater conditions
at the West Lake Landfill. The PRPs have been provided with a draft statement of work that will form the basis of an Administrative Settlement
Agreement and Order on Consent for the performance by the PRPs of the groundwater RI/FS and reimbursement of EPA’s oversight costs. The
purposes of this new RI/FS are to define the nature and extent of any groundwater contamination from the West Lake Landfill site, determine the
potential risk posed to human health and the environment, and evaluate remedial alternatives. Generation estimates the undiscounted cost for the
groundwater RI/FS for West Lake to be approximately $20 million and Generation has recorded a liability included in the table above, that reflects
management’s best estimate of Cotter’s allocable share of the cost among the PRPs. At this time Generation cannot predict the likelihood or the
extent to which, if any, remediation activities will be required and cannot estimate a reasonably possible range of loss for response costs beyond
those associated with the RI/FS component. It is reasonably possible, however, that resolution of this matter could have a material, unfavorable
impact on Exelon’s and Generation’s future results of operations and cash flows.


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      During December 2015, the EPA took two actions related to the West Lake Landfill designed to abate what it termed as imminent and
dangerous conditions at the landfill. The first involved installation by the PRPs of a non-combustible surface cover to protect against surface fires in
areas where radiological materials are believed to have been disposed. Generation has accrued what it believes to be an adequate amount to cover
its anticipated liability for this interim action, and the work is expected to be completed in 2018. The second action involved EPA's public statement
that it will require the PRPs to construct a barrier wall in an adjacent landfill to prevent a subsurface fire from spreading to those areas of the West
Lake Landfill where radiological materials are believed to have been disposed. At this time, Generation believes that the requirement to build a
barrier wall is remote in light of other technologies that have been employed by the adjacent landfill owner. Finally, one of the other PRPs, the landfill
owner and operator of the adjacent landfill, has indicated that it will be making a contribution claim against Cotter for costs that it has incurred to
prevent the subsurface fire from spreading to those areas of the West Lake Landfill where radiological materials are believed to have been disposed.
At this time, Exelon and Generation do not possess sufficient information to assess this claim and therefore are unable to estimate a range of loss, if
any. As such, no liability has been recorded for the potential contribution claim. It is reasonably possible, however, that resolution of this matter could
have a material, unfavorable impact on Exelon’s and Generation's financial conditions, results of operations and cash flows.

      On August 8, 2011, Cotter was notified by the DOJ that Cotter is considered a PRP with respect to the government’s clean-up costs for
contamination attributable to low level radioactive residues at a former storage and reprocessing facility named Latty Avenue near St. Louis,
Missouri. The Latty Avenue site is included in ComEd’s indemnification responsibilities discussed above as part of the sale of Cotter. The radioactive
residues had been generated initially in connection with the processing of uranium ores as part of the U.S. Government’s Manhattan Project. Cotter
purchased the residues in 1969 for initial processing at the Latty Avenue facility for the subsequent extraction of uranium and metals. In 1976, the
NRC found that the Latty Avenue site had radiation levels exceeding NRC criteria for decontamination of land areas. Latty Avenue was investigated
and remediated by the United States Army Corps of Engineers pursuant to funding under FUSRAP. The DOJ has not yet formally advised the PRPs
of the amount that it is seeking, but it is believed to be approximately $90 million from all PRPs. The DOJ and the PRPs agreed to toll the statute of
limitations until August 2018 so that settlement discussions could proceed. Generation has determined that a loss associated with this matter is
probable under its indemnification agreement with Cotter and has recorded an estimated liability, which is included in the table above.


       Commencing in February 2012, a number of lawsuits have been filed in the U.S. District Court for the Eastern District of Missouri. Among the
defendants were Exelon, Generation and ComEd, all of which were subsequently dismissed from the case, as well as Cotter, which remains a
defendant. The suits allege that individuals living in the North St. Louis area developed some form of cancer or other serious illness due to Cotter's
negligent or reckless conduct in processing, transporting, storing, handling and/or disposing of radioactive materials. Plaintiffs are asserting public
liability claims under the Price-Anderson Act. Their state law claims for negligence, strict liability, emotional distress, and medical monitoring have
been dismissed. The complaints do not contain specific damage claims. In the event of a finding of liability against Cotter, it is reasonably possible
that Generation would be financially responsible due to its indemnification responsibilities of Cotter described above. The court has dismissed a
number of the lawsuits as untimely, and that has been upheld on appeal. The parties have engaged in settlement discussions pursuant to court-
ordered mediation and it is expected that resolution of this matter will not have a material, unfavorable impact on Exelon’s and Generation's financial
conditions, results of operations and cash flows.


      Benning Road Site. In September 2010, PHI received a letter from EPA identifying the Benning Road site as one of six land-based sites
potentially contributing to contamination of the lower Anacostia River. A portion of the site was formerly the location of a Pepco Energy Services
electric generating facility. That generating facility was deactivated in June 2012 and plant structure demolition was


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completed in July 2015. The remaining portion of the site consists of a Pepco transmission and distribution service center that remains in operation.
In December 2011, the U.S. District Court for the District of Columbia approved a Consent Decree entered into by Pepco and Pepco Energy
Services with the DOEE, which requires Pepco and Pepco Energy Services to conduct a Remediation Investigation (RI)/ Feasibility Study (FS) for
the Benning Road site and an approximately 10 to 15-acre portion of the adjacent Anacostia River. The RI/FS will form the basis for the remedial
actions for the Benning Road site and for the Anacostia River sediment associated with the site. The Consent Decree does not obligate Pepco or
Pepco Energy Services to pay for or perform any remediation work, but it is anticipated that DOEE will look to Pepco and Pepco Energy Services to
assume responsibility for cleanup of any conditions in the river that are determined to be attributable to past activities at the Benning Road site.
Pursuant to Exelon's March 23, 2016 acquisition of PHI, Pepco Energy Services was transferred to Generation.

      Since 2013, Pepco and Pepco Energy Services (now Generation) have been performing RI work and have submitted multiple draft RI reports
to the DOEE. Once the RI work is completed, Pepco and Generation will issue a draft “final” RI report for review and comment by DOEE and the
public. Pepco and Generation will then proceed to develop an FS to evaluate possible remedial alternatives for submission to DOEE. The Court has
established a schedule for completion of the RI and FS, and approval by the DOEE, by May 6, 2019.


       Upon DOEE’s approval of the final RI and FS Reports, Pepco and Generation will have satisfied their obligations under the Consent Decree. At
that point, DOEE will prepare a Proposed Plan regarding further response actions. After considering public comment on the Proposed Plan, DOEE
will issue a Record of Decision identifying any further response actions determined to be necessary.

       PHI, Pepco and Generation have determined that a loss associated with this matter is probable and have accrued an estimated liability, which
is included in the table above.


      Anacostia River Tidal Reach . Contemporaneous with the Benning RI/FS being performed by Pepco and Generation, DOEE and certain
federal agencies have been conducting a separate RI/FS focused on the entire tidal reach of the Anacostia River extending from just north of the
Maryland-D.C. boundary line to the confluence of the Anacostia and Potomac Rivers. In March 2016, DOEE released a draft of the river-wide RI
Report for public review and comment. The river-wide RI incorporated the results of the river sampling performed by Pepco and Pepco Energy
Services as part of the Benning RI/FS, as well as similar sampling efforts conducted by owners of other sites adjacent to this segment of the river
and supplemental river sampling conducted by DOEE’s contractor. DOEE asked Pepco, along with parties responsible for other sites along the river,
to participate in a “Consultative Working Group” to provide input into the process for future remedial actions addressing the entire tidal reach of the
river and to ensure proper coordination with the other river cleanup efforts currently underway, including cleanup of the river segment adjacent to the
Benning Road site resulting from the Benning RI/FS. Pepco responded that it will participate in the Consultative Working Group but its participation
is not an acceptance of any financial responsibility beyond the work that will be performed at the Benning Road site described above. DOEE has
advised the Consultative Working Group that the federal and DOEE authorities conducted the remedial investigation and a draft of that report was
released to the public on April 1, 2018. Written comments will be accepted by the Agencies until May 14, 2018 and a Public Meeting to present the
finding of the RI is scheduled for April 24, 2018. Pepco intends to submit comments, participate in the Public Hearing, and continue its outreach
efforts as appropriate to the agencies, governmental officials, community organizations and other key stakeholders. A feasibility study of potential
remedies is being prepared by the Agencies and is scheduled to be released in the late summer or early fall of this year. DOEE currently is working
under a statutorily mandated date to complete the Record of Decision selecting the final remedy for the project by June 30, 2018. However, on
January 11, 2018 the DOEE requested at a hearing of the District of Columbia Council Committee of the Environment that this statutory deadline be
extended until December 31, 2019 to reflect the time necessary to complete the investigation. A recommendation by the Committee to the DC
Council is


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expected in the near future. The District of Columbia Council will make the final determination to extend the deadline. An appropriate liability for
Pepco’s share of investigation costs has been accrued and is included in the table above. Although Pepco has determined that it is probable that
costs for remediation will be incurred , Pepco cannot estimate the reasonably possible range of loss at this time and no liability has been accrued for
those future costs. It is anticipated that Pepco will likely be in a better position to estimate that range of loss when the draft Feasibility Study for the
Project is released. The timing for that release is currently scheduled for late this summer or early fall.


      Conectiv Energy Wholesale Power Generation Sites. In July 2010, PHI sold the wholesale power generation business of Conectiv Energy
Holdings, Inc. and substantially all of its subsidiaries (Conectiv Energy) to Calpine Corporation (Calpine). Under New Jersey’s Industrial Site
Recovery Act (ISRA), the transfer of ownership triggered an obligation on the part of Conectiv Energy to remediate any environmental contamination
at each of the nine Conectiv Energy generating facility sites located in New Jersey. Under the terms of the sale, Calpine has assumed responsibility
for performing the ISRA-required remediation and for the payment of all related ISRA compliance costs up to $10 million . Predecessor PHI was
obligated to indemnify Calpine for any ISRA compliance remediation costs in excess of $10 million . According to PHI’s estimates, the costs of ISRA-
required remediation activities at the nine generating facility sites located in New Jersey are in the range of approximately $7 million to $18 million ,
and predecessor PHI recorded an estimated liability for its share of the estimated clean-up costs. Pursuant to Exelon’s March 2016 acquisition of
PHI, the Conectiv Energy legal entity was transferred to Generation and the liability for Predecessor PHI's share of the estimated clean- up costs
was also transferred to Generation and is included in the table above as a liability of Generation. The responsibility to indemnify Calpine is shared by
PHI and Generation.

     Brandywine Fly Ash Disposal Site. In February 2013, Pepco received a letter from the MDE requesting that Pepco investigate the extent of
waste on a Pepco right-of-way that traverses the Brandywine fly ash disposal site in Brandywine, Prince George’s County, Maryland, owned by NRG
Energy, Inc. (as successor to GenOn MD Ash Management, LLC) (NRG). In July 2013, while reserving its rights and related defenses under a 2000
agreement covering the sale of this site, Pepco indicated its willingness to investigate the extent of, and propose an appropriate closure plan to
address, ash on the right-of-way. Pepco submitted a schedule for development of a closure plan to MDE on September 30, 2013 and, by letter dated
October 18, 2013, MDE approved the schedule.

     Pepco has determined that a loss associated with this matter is probable and has recorded an estimated liability, which is included in the table
above. Pepco believes that the costs incurred in this matter may be recoverable from NRG under the 2000 sale agreement, but has not recorded an
associated receivable for any potential recovery.


Litigation and Regulatory Matters


  PHI Merger

      In July 2015, the OPC, Public Citizen, Inc., the Sierra Club and the Chesapeake Climate Action Network (CCAN) filed motions to stay the
MDPSC order approving the Exelon and PHI merger. The Circuit Court judge issued an order denying the motions for stay on August 12, 2015. On
January 8, 2016, the Circuit Court judge affirmed the MDPSC’s order approving the merger and denied the petitions for judicial review filed by the
OPC, the Sierra Club, CCAN and Public Citizen, Inc. On January 19, 2016, the OPC filed a notice of appeal to the Maryland Court of Special
Appeals, and on January 21, the Sierra Club and CCAN filed notices of appeal. On January 27, 2017, the Maryland Court of Special Appeals
affirmed the Circuit Court's judgment that the MDPSC did not err in approving the merger. The OPC and Sierra Club filed petitions seeking further
review in the Court of Appeals of Maryland, which is the highest court in Maryland. On June 21, 2017, the Court of Appeals granted discretionary
review of the January 27, 2017 decision by the Maryland Court of Special Appeals. The Maryland Court of Appeals will review the OPC argument
that the MDPSC did not properly consider the acquisition premium


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paid to PHI shareholders under Maryland’s merger approval standard and the Sierra Club’s argument that the merger would harm the renewable
and distributed generation markets. The two lower courts examining these issues rejected these arguments, which Exelon believes are without
merit. All briefs have been filed and oral arguments were presented to the court on October 10, 2017.

  Asbestos Personal Injury Claims


        Exelon and Generation .      Generation maintains a reserve for claims associated with asbestos-related personal injury actions in certain
facilities that are currently owned by Generation or were previously owned by ComEd and PECO. The estimated liabilities are recorded on an
undiscounted basis and exclude the estimated legal costs associated with handling these matters, which could be material.

     At March 31, 2018 and December 31, 2017 , Generation had recorded estimated liabilities of approximately $76 million and $78 million ,
respectively, in total for asbestos-related bodily injury claims. As of March 31, 2018 , approximately $21 million of this amount related to 232 open
claims presented to Generation, while the remaining $55 million is for estimated future asbestos-related bodily injury claims anticipated to arise
through 2050, based on actuarial assumptions and analyses, which are updated on an annual basis. On a quarterly basis, Generation monitors
actual experience against the number of forecasted claims to be received and expected claim payments and evaluates whether adjustments to the
estimated liabilities are necessary.

      On November 22, 2013, the Supreme Court of Pennsylvania held that the Pennsylvania Workers Compensation Act does not apply to an
employee’s disability or death resulting from occupational disease, such as diseases related to asbestos exposure, which manifests more than 300
weeks after the employee’s last employment-based exposure, and that therefore the exclusivity provision of the Act does not preclude such
employee from suing his or her employer in court. The Supreme Court’s ruling reverses previous rulings by the Pennsylvania Superior Court
precluding current and former employees from suing their employers in court, despite the fact that the same employee was not eligible for workers
compensation benefits for diseases that manifest more than 300 weeks after the employee’s last employment-based exposure to asbestos. Since
the Pennsylvania Supreme Court's ruling in November 2013, Exelon, Generation, and PECO have experienced an increase in asbestos-related
personal injury claims brought by former PECO employees, all of which have been accrued for on a claim by claim basis. Those additional claims
are taken into account in projecting estimated future asbestos-related bodily injury claims.


     On November 4, 2015, the Illinois Supreme Court found that the provisions of the Illinois' Workers' Compensation Act and the Workers'
Occupational Diseases Act barred an employee from bringing a direct civil action against an employer for latent diseases, including asbestos-related
diseases that fall outside the 25-year limit of the statute of repose. The Illinois Supreme Court's ruling reversed previous rulings by the Illinois Court
of Appeals, which initially ruled that the Illinois Worker's Compensation law should not apply in cases where the diagnosis of an asbestos related
disease occurred after the 25-year maximum time period for filing a Worker's Compensation claim. As a result of this ruling, Exelon, Generation, and
ComEd have not recorded an increase to the asbestos-related bodily injury liability as of March 31, 2018 .


      There is a reasonable possibility that Exelon may have additional exposure to estimated future asbestos-related bodily injury claims in excess
of the amount accrued and the increases could have a material unfavorable impact on Exelon's, Generation's and PECO's financial conditions,
results of operations and cash flows.

   City of Everett Tax Increment Financing Agreement (Exelon and Generation)


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     On April 10, 2017, the City of Everett petitioned the Massachusetts Economic Assistance Coordinating Council (EACC) to revoke the 1999 tax
increment financing agreement (TIF Agreement) relating to Mystic 8 & 9 on the grounds that the total investment in Mystic 8 & 9 materially deviates
from the investment set forth in the TIF Agreement. On October 31, 2017, a three-member panel of the EACC conducted an administrative hearing
on the City’s petition. On November 30, 2017, the hearing panel issued a tentative decision denying the City’s petition, finding that there was no
material misrepresentation that would justify revocation of the TIF Agreement. On December 13, 2017, the tentative decision was adopted by the full
EACC. On January 12, 2018, the City filed a complaint in Massachusetts Superior Court requesting, among other things, that the court set aside the
EACC’s decision, grant the City’s request to decertify the Project and the TIF Agreement, and award the City damages for alleged underpaid taxes
over the period of the TIF Agreement. Generation vigorously contested the City’s claims before the EACC and will continue to do so in the
Massachusetts Superior Court proceeding. Generation continues to believe that the City’s claim lacks merit. Accordingly, Generation has not
recorded a liability for payment resulting from such a revocation, nor can Generation estimate a reasonably possible range of loss, if any, associated
with any such revocation. Further, it is reasonably possible that property taxes assessed in future periods, including those following the expiration of
the current TIF Agreement in 2019, could be material to Generation’s results of operations and cash flows.

  General


     The Registrants are involved in various other litigation matters that are being defended and handled in the ordinary course of business. The
assessment of whether a loss is probable or a reasonable possibility, and whether the loss or a range of loss is estimable, often involves a series of
complex judgments about future events. The Registrants maintain accruals for such losses that are probable of being incurred and subject to
reasonable estimation. Management is sometimes unable to estimate an amount or range of reasonably possible loss, particularly where (1) the
damages sought are indeterminate, (2) the proceedings are in the early stages, or (3) the matters involve novel or unsettled legal theories. In such
cases, there is considerable uncertainty regarding the timing or ultimate resolution of such matters, including a possible eventual loss.


Income Taxes


      See Note 12 — Income Taxes for information regarding the Registrants’ income tax refund claims and certain tax positions, including the 1999
sale of fossil generating assets.


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18 .      Supplemental Financial Information (All Registrants)

Supplemental Statement of Operations Information


      The following tables provide additional information about the Registrants’ Consolidated Statements of Operations and Comprehensive Income
for the three months ended March 31, 2018 and 2017 .


                                                                                                                Three Months Ended March 31, 2018

                                                                   Exelon           Generation               ComEd           PECO           BGE           PHI       Pepco           DPL       ACE
Other, Net

Decommissioning-related activities:
        Net realized income on decommissioning trust funds
        (a)

              Regulatory agreement units                       $        46      $                46     $            —   $      —       $     —       $     —   $       —       $     —   $     —

              Non-regulatory agreement units                            56                       56                  —          —             —             —           —             —         —

        Net unrealized losses on decommissioning trust funds

              Regulatory agreement units                               (75)                  (75)                    —          —             —             —           —             —         —

              Non-regulatory agreement units                           (96)                  (96)                    —          —             —             —           —             —         —

        Net unrealized losses on pledged assets

              Zion Station decommissioning                              (2)                      (2)                 —          —             —             —           —             —         —
        Regulatory offset to decommissioning trust fund-
                                                                        24                       24                  —          —             —             —           —             —         —
        related activities (b)
Total decommissioning-related activities                               (47)                  (47)                    —          —             —             —           —             —         —

Investment income                                                           4                     2                  —          —             —             —           —             —         —

Interest income related to uncertain income tax positions                   2                     1                  —          —             —             —           —             —         —

AFUDC — Equity                                                          18                       —                   6              2             4         6               5         1         —

Non-service net periodic benefit cost                                  (10)                      —                   —          —             —             —           —             —         —

Other                                                                       5                    —                   2          —             —             5               3         1             1

Other, net                                                     $       (28)     $            (44)       $            8   $          2   $         4   $    11   $           8   $     2   $         1




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                                                                                                                         Three Months Ended March 31, 2017

                                                                Exelon            Generation                 ComEd                PECO           BGE           PHI           Pepco           DPL           ACE

Other, Net

Decommissioning-related activities:
        Net realized income on decommissioning trust
        funds (a)
             Regulatory agreement units                     $       68        $                68        $        —           $      —       $     —       $         —   $           —   $     —       $     —

             Non-regulatory agreement units                         32                         32                 —                  —             —                 —               —         —             —
        Net unrealized gains on decommissioning trust
        funds
             Regulatory agreement units                            222                     222                    —                  —             —                 —               —         —             —

             Non-regulatory agreement units                        166                     166                    —                  —             —                 —               —         —             —

        Net unrealized losses on pledged assets

             Zion Station decommissioning                            (1)                       (1)                —                  —             —                 —               —         —             —
        Regulatory offset to decommissioning trust fund-
                                                                   (234)                   (234)                  —                  —             —                 —               —         —             —
        related activities (b)
Total decommissioning-related activities                           253                     253                    —                  —             —                 —               —         —             —
Investment income                                                        2                      2                 —                  —             —                 —               —         —             —
Interest income related to uncertain income tax positions                1                     —                  —                  —             —                 —               —         —             —
AFUDC — Equity                                                      17                         —                     2                   2             4             9               5             2             2

Non-service net periodic benefit cost                               (26)                       —                  —                  —             —                 —               —         —             —

Other                                                               10                          4                    2               —             —                 4               3             1         —

Other, net                                                  $      257        $            259           $           4        $          2   $         4   $     13      $           8   $         3   $         2

_________
(a)   Includes investment income and realized gains and losses on sales of investments of the trust funds.
(b)   Includes the elimination of NDT fund activity for the Regulatory Agreement Units, including the elimination of net income taxes related to all NDT fund activity for those units. See Note 15
      — Asset Retirement Obligations of the Exelon 2017 Form 10-K for additional information regarding the accounting for nuclear decommissioning.

      The following utility taxes are included in revenues and expenses for the three months ended March 31, 2018 and 2017 . Generation’s utility
tax expense represents gross receipts tax related to its retail operations, and the Utility Registrants' utility tax expense represents municipal and
state utility taxes and gross receipts taxes related to their operating revenues. The offsetting collection of utility taxes from customers is recorded in
revenues on the Registrants’ Consolidated Statements of Operations and Comprehensive Income.




                                                                                                               Three Months Ended March 31, 2018

                                                       Exelon                Generation                  ComEd                    PECO           BGE           PHI           Pepco           DPL           ACE
Utility taxes                                     $         235     $                     32         $          61        $          33      $    26       $     83      $      77       $         6   $     —


                                                                                                               Three Months Ended March 31, 2017
                                                       Exelon                Generation                  ComEd                    PECO           BGE           PHI           Pepco           DPL           ACE

Utility taxes                                     $         224     $                     32         $          59        $          31      $    26       $     76      $      71       $         5   $     —

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Supplemental Cash Flow Information

    The following tables provide additional information regarding the Registrants’ Consolidated Statements of Cash Flows for the three months
ended March 31, 2018 and 2017 .


                                                                                                   Three Months Ended March 31, 2018

                                                      Exelon           Generation            ComEd          PECO           BGE         PHI          Pepco          DPL           ACE

Depreciation, amortization and accretion
Property, plant and equipment (a)                 $       926      $            436     $         201   $       68     $     82    $    117     $        53    $     32      $     23
Amortization of regulatory assets (a)                     152                       —              27              7         52          66              43          13            10
                                          (a)
Amortization of intangible assets, net                      13                   12                —             —           —            —              —           —             —
Amortization of energy contract assets and
liabilities (b)                                                3                    3              —             —           —            —              —           —             —
               (c)
Nuclear fuel                                              287                   287                —             —           —            —              —           —             —
ARO accretion (d)                                         120                   120                —             —           —            —              —           —             —
Total depreciation, amortization and accretion $        1,501      $            858     $         228   $       75     $    134    $    183     $        96    $     45      $     33


                                                                                                   Three Months Ended March 31, 2017

                                                      Exelon           Generation            ComEd          PECO           BGE         PHI          Pepco          DPL           ACE

Depreciation, amortization and accretion
Property, plant and equipment (a)                 $       754      $            289     $         190   $       64     $     80    $    112     $        50    $     30      $     21
                                    (a)
Amortization of regulatory assets                         128                       —              18              7         48          55              32              9         14
Amortization of intangible assets, net (a)                  14                   13                —             —           —            —              —           —             —
Amortization of energy contract assets and
liabilities (b)                                                2                    2              —             —           —            —              —           —             —
Nuclear fuel (c)                                          264                   264                —             —           —            —              —           —             —
ARO accretion (d)                                         112                   110                —             —           —            —              —           —             —
Total depreciation, amortization and accretion $        1,274      $            678     $         208   $       71     $    128    $    167     $        82    $     39      $     35
_________
(a)   Included in Depreciation and amortization on the Registrants' Consolidated Statements of Operations and Comprehensive Income.
(b)   Included in Operating revenues or Purchased power and fuel expense on the Registrants’ Consolidated Statements of Operations and Comprehensive Income.
(c)   Included in Purchased power and fuel expense on the Registrants’ Consolidated Statements of Operations and Comprehensive Income.
(d)   Included in Operating and maintenance expense on the Registrants’ Consolidated Statements of Operations and Comprehensive Income.


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                                                                                                    Three Months Ended March 31, 2018

                                                          Exelon           Generation           ComEd           PECO           BGE           PHI           Pepco           DPL           ACE

Other non-cash operating activities:
Pension and non-pension postretirement benefit
costs                                                 $       145      $            51      $       45      $          5   $     14      $     15      $           4   $     —       $         3
Loss from equity method investments                                7                    7            —             —             —             —               —             —             —
Provision for uncollectible accounts                           64                   11                  8          17                8         20                  6             8             5
Stock-based compensation costs                                 29                   —                —             —             —             —               —             —             —
Other decommissioning-related activity (a)                    (31)                 (31)              —             —             —             —               —             —             —
Energy-related options (b)                                     (7)                  (7)              —             —             —             —               —             —             —
Amortization of regulatory asset related to debt
costs                                                              2                —                   1          —             —                 1           —             —             —
Amortization of rate stabilization deferral                        7                —                —             —             —                 7               1             6         —
Amortization of debt fair value adjustment                     (3)                  (3)              —             —             —             —               —             —             —
Discrete impacts from EIMA and FEJA      (c)                   (4)                  —                (4)           —             —             —               —             —             —
Amortization of debt costs                                         9                    3               1          —             —                 1           —             —             —
Provision for excess and obsolete inventory
                                                               13                   12                  1          —             —             —               —             —             —
Other                                                              9                    2            (6)           (1)           (2)               9           (1)               5             1
    Total other non-cash operating activities         $       240      $            45      $       46      $      21      $     20      $     53      $       10      $     19      $         9

Non-cash investing and financing activities:

Increase (decrease) in capital expenditures not paid $       (177)     $          (131)     $       (48)    $     (25)     $    (11)     $     61      $       19      $     14      $     27
Increase in PPE related to ARO update                          32                   32               —             —             —             —               —             —             —
Dividends on stock compensation                                    1                —                —             —             —             —               —             —             —



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                                                                                                         Three Months Ended March 31, 2017

                                                        Exelon             Generation               ComEd             PECO           BGE           PHI           Pepco           DPL           ACE

Other non-cash operating activities:
Pension and non-pension postretirement benefit
costs                                               $         157     $                 54      $          44     $          7   $      16     $     24      $           7   $         3   $         3
Loss from equity method investments                            10                       10                 —              —             —             —              —             —             —
Provision for uncollectible accounts                           34                        9                  7             17               5          (4)            (5)           (1)               1
Stock-based compensation costs                                 31                       —                  —              —             —             —              —             —             —
Other decommissioning-related activity (a)                    (84)                     (84)                —              —             —             —              —             —             —
Energy-related options   (b)                                    (4)                     (4)                —              —             —             —              —             —             —
Amortization of regulatory asset related to debt
costs                                                            2                      —                   1             —             —                1           —             —             —
Amortization of rate stabilization deferral                   (14)                      —                  —              —                7        (21)            (15)           (6)           —
Amortization of debt fair value adjustment                      (5)                     (3)                —              —             —             (2)            —             —             —
Discrete impacts from EIMA and FEJA (c)                       (24)                      —                 (24)            —             —             —              —             —             —
Amortization of debt costs                                       9                       4                  1             —             —             —              —             —             —
Provision for excess and obsolete inventory                      2                       1                  1             —             —             —              —             —             —
Other                                                            4                       3                  1              (1)          (4)           (6)            (2)           (3)           (2)
      Total other non-cash operating activities     $         118     $                (10)     $          31     $       23     $      24     $      (8)    $      (15)     $     (7)     $         2

Non-cash investing and financing activities:
Increase (decrease) in capital expenditures not
paid
                                                    $        (193)    $                (56)     $         (66)    $      (42)    $         1   $      (5)    $       (6)     $         9   $     —
Non-cash financing of capital projects                         10                       10                 —              —             —             —              —             —             —
Dividends on stock compensation                                  2                      —                  —              —             —             —              —             —             —
_________
(a)   Includes the elimination of NDT fund activity for the Regulatory Agreement Units, including the elimination of operating revenues, ARO accretion, ARC amortization, investment income and
      income taxes related to all NDT fund activity for these units. See Note 15 — Asset Retirement Obligations of the Exelon 2017 Form 10-K for additional information regarding the accounting
      for nuclear decommissioning.
(b)   Includes option premiums reclassified to realized at the settlement of the underlying contracts and recorded in Operating revenues.
(c)   Reflects the change in distribution rates pursuant to EIMA and FEJA, which allows for the recovery of distribution costs by a utility through a pre-established performance-based formula
      rate tariff. Beginning June 1, 2017, also reflects the change in energy efficiency rates pursuant to FEJA, which allows for the recovery of energy efficiency costs by a utility through a pre-
      established performance-based formula rate tariff. See Note 6 — Regulatory Matters for more information.


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     The following tables provide a reconciliation of cash, cash equivalents and restricted cash reported within the Registrants’ Consolidated
Balance Sheets that sum to the total of the same amounts in their Consolidated Statements of Cash Flows.


March 31, 2018                                 Exelon            Generation           ComEd            PECO            BGE            PHI            Pepco            DPL            ACE

Cash and cash equivalents                 $        787       $            610     $       70       $      21       $     22       $         43   $       15       $          7   $      10
Restricted cash                                    209                    127                 9               5              2              40           33                 —              7
Restricted cash included in other long-
term assets                                        103                        —           83              —                  —              20           —                  —           20
Total cash, cash equivalents and
restricted cash shown in the statement
of cash flows                           $        1,099       $            737     $      162       $      26       $     24       $     103      $       48       $          7   $      37


December 31, 2017                             Exelon             Generation           ComEd            PECO            BGE            PHI            Pepco            DPL            ACE

Cash and cash equivalents             $           898    $                416     $       76       $     271       $     17       $         30   $           5    $          2   $         2
Restricted cash                                   207                     138                 5               4              1              42           35                 —              6
Restricted cash included in other
long-term assets                                   85                         —           63              —                  —              23           —                  —           23
Total cash, cash equivalents and
restricted cash shown in the
statement of cash flows               $         1,190    $                554     $      144       $     275       $     18       $         95   $       40       $          2   $      31


March 31, 2017                                Exelon             Generation           ComEd            PECO            BGE            PHI            Pepco            DPL            ACE

Cash and cash equivalents             $           609    $                400     $           31   $          28   $         11   $     109      $            8   $         44   $      54
Restricted cash                                   254                     140                  3               4             43             41               33             —              7
Restricted cash included in other
long-term assets                                   26                         —               —               —               3             23               —              —           23
Total cash, cash equivalents and
restricted cash shown in the
statement of cash flows               $           889    $                540     $           34   $          32   $         57   $     173      $           41   $         44   $      84


December 31, 2016                             Exelon             Generation           ComEd            PECO            BGE            PHI            Pepco            DPL            ACE

Cash and cash equivalents             $           635    $                290     $           56   $          63   $         23   $     170      $            9   $         46   $     101
Restricted cash                                   253                     158                  2               4             24             43               33             —              9
Restricted cash included in other
long-term assets                                   26                         —               —               —               3             23               —              —           23
Total cash, cash equivalents and
restricted cash shown in the
statement of cash flows               $           914    $                448     $           58   $          67   $         50   $     236      $           42   $         46   $     133

      For additional information on restricted cash see Note 1 — Significant Accounting Policies of the Exelon 2017 Form 10-K.


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Supplemental Balance Sheet Information

        The following tables provide additional information about assets and liabilities of the Registrants as of March 31, 2018 and December 31, 2017
.


March 31, 2018                    Exelon                Generation                ComEd             PECO             BGE            PHI             Pepco            DPL            ACE
Property, plant and
equipment:
  Accumulated
  depreciation and
  amortization               $     21,905     (a)   $         11,936    (a)   $      4,391     $         3,445   $    3,471     $         575   $     3,224      $    1,273     $    1,086
Accounts receivable:
  Allowance for
  uncollectible accounts     $         369          $            115          $         89     $           68    $         31   $          66   $           24   $         22   $         20

December 31, 2017                 Exelon                Generation                ComEd             PECO             BGE            PHI             Pepco            DPL            ACE
Property, plant and
equipment:
    Accumulated
    depreciation and
    amortization             $     21,064     (b)   $         11,428    (b)   $      4,269     $         3,411   $    3,405     $         487   $     3,177      $    1,247     $    1,066
Accounts receivable:
  Allowance for
  uncollectible accounts     $         322          $            114          $         73     $           56    $         24   $          55   $           21   $         16   $         18
_________
(a)    Includes accumulated amortization of nuclear fuel in the reactor core of $3,263 million .
(b)    Includes accumulated amortization of nuclear fuel in the reactor core of $3,159 million .

PECO Installment Plan Receivables (Exelon and PECO)

      PECO enters into payment agreements with certain delinquent customers, primarily residential, seeking to restore their service, as required by
the PAPUC. Customers with past due balances that meet certain income criteria are provided the option to enter into an installment payment plan,
some of which have terms greater than one year. The receivable balance for these payment agreement receivables is recorded in accounts
receivable for the current portion and other deferred debits and other assets for the noncurrent portion. The net receivable balance for installment
plans with terms greater than one year was $8 million and $11 million as of March 31, 2018 and December 31, 2017 , respectively. The allowance
for uncollectible accounts balance associated with these receivables at March 31, 2018 of $10 million consists of $3 million and $7 million for
medium risk and high risk segments, respectively. The allowance for uncollectible accounts balance at December 31, 2017 of $11 million consists of
$3 million and $8 million for medium risk and high risk segments, respectively. For further information regarding uncollectible accounts reserve
methodology and assessment of the credit quality of the installment plan receivables, refer to Note 1 — Significant Accounting Policies of the Exelon
2017 Form 10-K.

19 .      Segment Information (All Registrants)


     Operating segments for each of the Registrants are determined based on information used by the chief operating decision maker(s) (CODM) in
deciding how to evaluate performance and allocate resources at each of the Registrants.

     Exelon has twelve reportable segments, which include ComEd, PECO, BGE, PHI's three reportable segments consisting of Pepco, DPL, and
ACE, and Generation’s six reportable segments consisting of the Mid-Atlantic, Midwest, New England, New York, ERCOT and all other power
regions referred to


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collectively as “Other Power Regions”, which includes activities in the South, West and Canada. ComEd, PECO, BGE, Pepco, DPL and ACE each
represent a single reportable segment, and as such, no separate segment information is provided for these Registrants. Exelon, ComEd, PECO,
BGE, Pepco, DPL and ACE's CODMs evaluate the performance of and allocate resources to ComEd, PECO, BGE, Pepco, DPL and ACE based on
net income and return on equity.

     The basis for Generation's reportable segments is the integrated management of its electricity business that is located in different geographic
regions, and largely representative of the footprints of ISO/RTO and/or NERC regions, which utilize multiple supply sources to provide electricity
through various distribution channels (wholesale and retail). Generation's hedging strategies and risk metrics are also aligned to these same
geographic regions. Descriptions of each of Generation’s six reportable segments are as follows:


     •       Mid-Atlantic represents operations in the eastern half of PJM, which includes New Jersey, Maryland, Virginia, West Virginia, Delaware, the
             District of Columbia and parts of Pennsylvania and North Carolina.

     •       Midwest represents operations in the western half of PJM, which includes portions of Illinois, Pennsylvania, Indiana, Ohio, Michigan,
             Kentucky and Tennessee, and the United States footprint of MISO, excluding MISO’s Southern Region, which covers all or most of North
             Dakota, South Dakota, Nebraska, Minnesota, Iowa, Wisconsin, the remaining parts of Illinois, Indiana, Michigan and Ohio not covered by
             PJM, and parts of Montana, Missouri and Kentucky.


     •       New England represents the operations within ISO-NE covering the states of Connecticut, Maine, Massachusetts, New Hampshire, Rhode
             Island and Vermont.


     •       New York represents operations within ISO-NY, which covers the state of New York in its entirety.

     •       ERCOT represents operations within Electric Reliability Council of Texas, covering most of the state of Texas.


     •       Other Power Regions :


         •     South represents operations in the FRCC, MISO’s Southern Region, and the remaining portions of the SERC not included within MISO
               or PJM, which includes all or most of Florida, Arkansas, Louisiana, Mississippi, Alabama, Georgia, Tennessee, North Carolina, South
               Carolina and parts of Missouri, Kentucky and Texas. Generation’s South region also includes operations in the SPP, covering Kansas,
               Oklahoma, most of Nebraska and parts of New Mexico, Texas, Louisiana, Missouri, Mississippi and Arkansas.


         •     West represents operations in the WECC, which includes California ISO, and covers the states of California, Oregon, Washington,
               Arizona, Nevada, Utah, Idaho, Colorado and parts of New Mexico, Wyoming and South Dakota.


         •     Canada represents operations across the entire country of Canada and includes AESO, OIESO and the Canadian portion of MISO.


      The CODMs for Exelon and Generation evaluate the performance of Generation’s electric business activities and allocate resources based on
revenues net of purchased power and fuel expense (RNF). Generation believes that RNF is a useful measurement of operational performance. RNF
is not a presentation defined under GAAP and may not be comparable to other companies’ presentations or deemed more useful than the GAAP
information provided elsewhere in this report. Generation’s operating revenues include all sales to third parties and affiliated sales to the Utility
Registrants. Purchased power costs include all costs associated with the procurement and supply of electricity including capacity, energy


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and ancillary services. Fuel expense includes the fuel costs for Generation’s owned generation and fuel costs associated with tolling agreements.
The results of Generation's other business activities are not regularly reviewed by the CODM and are therefore not classified as operating segments
or included in the regional reportable segment amounts. These activities include natural gas, as well as other miscellaneous business activities that
are not significant to Generation's overall operating revenues or results of operations. Further, Generation’s unrealized mark-to-market gains and
losses on economic hedging activities and its amortization of certain intangible assets and liabilities relating to commodity contracts recorded at fair
value from mergers and acquisitions are also excluded from the regional reportable segment amounts. Exelon and Generation do not use a measure
of total assets in making decisions regarding allocating resources to or assessing the performance of these reportable segments.




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     An analysis and reconciliation of the Registrants’ reportable segment information to the respective information in the consolidated financial
statements for the three months ended March 31, 2018 and 2017 is as follows:

Three Months Ended March 31, 2018 and 2017

                                                                                                                                                  Intersegment
                                          Generation (a)           ComEd           PECO             BGE           PHI            Other (b)         Eliminations             Exelon
Operating revenues (c) :
   2018

     Competitive businesses electric
     revenues                        $              4,509      $        —      $          —     $         —   $         —    $          —     $              (391)      $      4,118
     Competitive businesses natural
     gas revenues                                     955               —                 —               —             —               —                         (8)            947
     Competitive businesses other
     revenues                                          48               —                 —               —             —               —                         —                  48
     Rate-regulated electric
     revenues                                              —         1,512            634             658          1,169                —                     (18)             3,955
     Rate-regulated natural gas
     revenues                                              —            —             232             319               78              —                         (4)            625
     Shared service and other
     revenues                                              —            —                 —               —              4             451                   (455)                   —
     Total operating revenues                       5,512            1,512            866             977          1,251               451                   (876)             9,693
   2017

     Competitive businesses electric
     revenues                        $              3,710      $        —      $          —     $         —   $         —    $          —     $              (328)      $      3,382
     Competitive businesses natural
     gas revenues                                     918               —                 —               —             —               —                         —              918
     Competitive businesses other
     revenues                                         250               —                 —               —             —               —                         —              250
     Rate-regulated electric
     revenues                                              —         1,298            590             667          1,097                —                         (8)          3,644
     Rate-regulated natural gas
     revenues                                              —            —             206             284               66              —                         (3)            553
     Shared service and other
     revenues                                              —            —                 —               —             12             419                   (431)                   —
     Total operating revenues                       4,878            1,298            796             951          1,175               419                   (770)             8,747

Shared service and other revenues

Intersegment revenues (d) :
   2018                               $               400      $       14      $          2     $         6   $          4   $         450    $              (876)      $            —
   2017                                               328                  5              1               5             12             419                   (770)                   —
Net income (loss):

   2018                               $               186      $      165      $      113       $     128     $         65   $         (21)   $                   —     $        636
   2017                                               399             141             127             125           140                 39                        —              971
Total assets:

   March 31, 2018                     $            48,375      $    30,002     $   10,218       $    9,195    $   21,375     $       8,833    $           (10,980)      $    117,018
   December 31, 2017                               48,457           29,726         10,170            9,104        21,247             8,618                (10,552)           116,770

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__________
(a)   Generation includes the six reportable segments shown below: Mid-Atlantic, Midwest, New England, New York, ERCOT and Other Power Regions. Intersegment revenues for Generation
      for the three months ended March 31, 2018 include revenue from sales to PECO of $37 million , sales to BGE of $65 million , sales to Pepco of $52 million , sales to DPL of $46 million and
      sales to ACE of $6 million in the Mid-Atlantic region, and sales to ComEd of $194 million in the Midwest region, which eliminate upon consolidation. For the three months ended March 31,
      2017 , intersegment revenues for Generation include revenue from sales to PECO of $45 million , sales to BGE of $134 million , sales to Pepco of $83 million , sales to DPL of $51 million
      and sales to ACE of $9 million in the Mid-Atlantic region, and sales to ComEd of $5 million in the Midwest region, which eliminate upon consolidation.
(b)   Other primarily includes Exelon’s corporate operations, shared service entities and other financing and investment activities.
(c)   Includes gross utility tax receipts from customers. The offsetting remittance of utility taxes to the governing bodies is recorded in expenses on the Registrants’ Consolidated Statements of
      Operations and Comprehensive Income. See Note 18 — Supplemental Financial Information for total utility taxes for the three months ended March 31, 2018 and 2017 .
(d)   Intersegment revenues exclude sales to unconsolidated affiliates. The intersegment profit associated with Generation’s sale of certain products and services by and between Exelon’s
      segments is not eliminated in consolidation due to the recognition of intersegment profit in accordance with regulatory accounting guidance. For Exelon, these amounts are included in
      Operating revenues in the Consolidated Statements of Operations and Comprehensive Income.

PHI:

                                                                                                                                                               Intersegment
                                                                                Pepco                DPL               ACE               Other (b)              Eliminations             PHI

Operating revenues       (a) :

  Three Months Ended March 31, 2018
       Rate-regulated electric revenues                                    $          557     $            306   $           310     $           —         $                   (4)   $    1,169
       Rate-regulated natural gas revenues                                              —                   78                —                  —                             —                78
       Shared service and other revenues                                                —                   —                 —                 113                       (109)                  4
       Total operating revenues                                                       557                  384               310                113                       (113)           1,251
      Three Months Ended March 31, 2017

       Rate-regulated electric revenues                                    $          530     $            296   $           275     $           —         $                   (4)   $    1,097
       Rate-regulated natural gas revenues                                              —                   66                —                  —                             —                66
       Shared service and other revenues                                                —                   —                 —                  12                            —                12
       Total operating revenues                                                       530                  362               275                 12                            (4)        1,175

Intersegment revenues:
    Three Months Ended March 31, 2018                                      $             2    $              2   $             1     $          112        $              (113)      $           4
      Three Months Ended March 31, 2017                                                  1                   2                 1                 13                            (5)              12
Net income (loss):
      Three Months Ended March 31, 2018                                    $            31    $             31   $             7     $               (8)   $                    4    $          65
      Three Months Ended March 31, 2017                                                 58                  57                28                (15)                           12              140
Total assets:
      March 31, 2018                                                       $        7,896     $        4,383     $        3,530      $      10,514         $            (4,948)      $   21,375
      December 31, 2017                                                             7,832              4,357              3,445             10,600                      (4,987)          21,247
__________
(a)   Includes gross utility tax receipts from customers. The offsetting remittance of utility taxes to the governing bodies is recorded in expenses on the Registrants’ Consolidated Statements of
      Operations and Comprehensive Income. See Note 18 — Supplemental Financial Information for total utility taxes for the three months ended March 31, 2018 and 2017 .
(b)   Other primarily includes PHI’s corporate operations, shared service entities and other financing and investment activities.

       The following tables disaggregate the Registrants' revenue recognized from contracts with customers into categories that depict how the
nature, amount, timing, and uncertainty of revenue and cash flows are affected by economic factors for three months ended March 31, 2018 and
2017 . For Generation, the disaggregation of revenues reflects Generation’s two primary products of power sales and natural gas sales, with further
disaggregation of power sales provided by geographic region. For the Utility Registrants, the disaggregation of revenues reflects the two primary
utility services of rate-regulated electric sales and rate-regulated natural gas sales (where applicable), with further


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disaggregation of these tariff sales provided by major customer groups. Exelon’s disaggregated revenues are consistent with Generation and the
Utility Registrants, but exclude any intercompany revenues.

Competitive Business Revenues (Generation):


                                                                                                                 Three Months Ended March 31, 2018

                                                                                       Revenues from external parties (a)
                                                                             Contracts with                                                          Intersegment                   Total
                                                                              customers                  Other (b)              Total                  Revenues                   Revenues
Mid-Atlantic                                                           $                 1,355       $            80       $       1,435       $                    5       $             1,440
Midwest                                                                                  1,273                    71               1,344                            2                     1,346
New England                                                                                725                    68                    793                         (1)                     792
New York                                                                                   439                   (29)                   410                         (1)                     409
ERCOT                                                                                      149                    59                    208                         1                       209
Other Power Regions                                                                        210                  109                     319                       (31)                      288
Total Competitive Businesses Electric Revenues                                           4,151                  358                4,509                          (25)                    4,484
Competitive Businesses Natural Gas Revenues                                                522                  433                     955                        25                       980
Competitive Businesses Other Revenues                  (c)                                 134                   (86)                   48                          —                         48
Total Generation Consolidated Operating Revenues $                                       4,807       $          705        $       5,512       $                    —       $             5,512

                                                                                                                 Three Months Ended March 31, 2017

                                                                                     Revenues from external customers (a)
                                                                             Contracts with                                                         Intersegment                    Total
                                                                              customers                  Other (b)              Total                  revenues                   Revenues
Mid-Atlantic                                                           $                 1,494       $           (65)      $       1,429       $                    (4)     $             1,425
Midwest                                                                                    980                    71               1,051                            2                     1,053
New England                                                                                589                   (40)                   549                         (2)                     547
New York                                                                                   303                       (3)                300                         (3)                     297
ERCOT                                                                                      168                    24                    192                         (1)                     191
Other Power Regions                                                                        128                    61                    189                         (5)                     184
Total Competitive Businesses Electric Revenues                                           3,662                    48               3,710                          (13)                    3,697
Competitive Businesses Natural Gas Revenues                                                768                  150                     918                        12                       930
Competitive Businesses Other Revenues                  (c)
                                                                                           206                    44                    250                         1                       251
Total Generation Consolidated Operating Revenues $                                       4,636       $          242        $       4,878       $                    —       $             4,878
__________
(a)   Includes all wholesale and retail electric sales to third parties and affiliated sales to the Utility Registrants.
(b)   Includes revenues from derivatives and leases.
(c)   Other represents activities not allocated to a region. See text above for a description of included activities. Includes a $3 million decrease to revenues for the amortization of intangible
      assets and liabilities related to commodity contracts recorded at fair value for the three months ended March 31, 2017 , unrealized mark-to-market losses of $98 million and gains of $44
      million for the three months ended March 31, 2018 and 2017 , respectively, and elimination of intersegment revenues.


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Revenues net of purchased power and fuel expense (Generation):


                                                            Three Months Ended March 31, 2018                                              Three Months Ended March 31, 2017
                                                  RNF                                                                            RNF
                                              from external              Intersegment                                        from external              Intersegment
                                              customers (a)                   RNF                     Total RNF              customers (a)                   RNF                    Total RNF
Mid-Atlantic                              $               836       $                  14       $              850      $                755      $                   18       $              773
Midwest                                                   847                          13                      860                       704                          11                      715
New England                                               122                           (3)                    119                       115                          (4)                     111
New York                                                  282                            1                     283                       143                          —                       143
ERCOT                                                     106                         (70)                        36                       94                        (25)                       69
Other Power Regions                                       157                         (40)                     117                       108                         (44)                       64
Total Revenues net of
purchased power and fuel
expense for Reportable
Segments                                                2,350                         (85)                   2,265                     1,919                         (44)                   1,875
Other    (b)                                             (131)                         85                       (46)                     161                          44                      205
Total Generation Revenues
net of purchased power and
fuel expense                              $             2,219       $                  —        $            2,219      $              2,080      $                   —        $            2,080
__________
(a)   Includes purchases and sales from/to third parties and affiliated sales to the Utility Registrants.
(b)   Other represents activities not allocated to a region. See text above for a description of included activities. Includes a $3 million decrease to RNF for the amortization of intangible assets
      and liabilities related to commodity contracts for the three months ended March 31, 2017 , unrealized mark-to-market losses of $266 million and $49 million for the three months ended
      March 31, 2018 and 2017 , respectively, accelerated nuclear fuel amortization associated with announced early plant retirements as discussed in Note 7 - Early Nuclear Plant Retirements
      of the Combined Notes to Consolidated Financial Statements of $15 million decrease to revenue net of purchased power and fuel expense for the three months ended March 31, 2018 ,
      and the elimination of intersegment revenue net of purchased power and fuel expense.


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Electric and Gas Revenue by Customer Class (ComEd, PECO, BGE, PHI, PECO, DPL, ACE):


                                                                                        Three Months Ended March 31, 2018

Revenues from contracts with customers                 ComEd           PECO             BGE              PHI             Pepco            DPL            ACE
Rate-regulated electric revenues
   Residential                                     $      717      $      403       $     393        $         610   $       259      $     191      $     160
   Small commercial & industrial                          385             101                 68               115               32             46             37
   Large commercial & industrial                          152                 58          106                  259           190                23             46
   Public authorities & electric railroads                 14                  8                7               14                7              4              3
           (a)
   Other                                                  230                 62              78               156               49             41             66
  Total rate-regulated electric revenues (b)       $     1,498     $      632       $     652        $    1,154      $       537      $     305      $     312
Rate-regulated natural gas revenues
   Residential                                     $           —   $      161       $     224        $          47   $           —    $         47   $         —
   Small commercial & industrial                               —              62              34                18               —              18             —
   Large commercial & industrial                               —               1              47                 4               —               4             —
   Transportation                                              —               6               —                 5               —               5             —
           (c)                                                 —               2              27                 4               —               4             —
   Other
   Total rate-regulated natural gas revenues
   (d)                                             $           —   $      232       $     332        $          78   $           —    $         78   $         —
Total rate-regulated revenues from
contracts with customers                           $     1,498     $      864       $     984        $    1,232      $       537      $     383      $     312


Other revenues
   Revenues from alternative revenue
   programs                                                    5              (1)             (13)              18               19              1             (2)
                                             (e)               9               3                4                1                1             —              —
  Other rate-regulated electric revenues
  Other rate-regulated natural gas
  revenues (e)                                                 —              —                 2               —                —              —              —
Total other revenues                                       14                  2               (7)              19               20              1             (2)
Total rate-regulated revenues for
reportable segments                                $     1,512     $      866       $     977        $    1,251      $       557      $     384      $     310


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                               COMBINED NOTES TO CONSOLIDATED FINANCIAL STATEMENTS — (Continued)
                                                   (Dollars in millions, except per share data, unless otherwise noted)


                                                                                                           Three Months Ended March 31, 2017
Revenues from contracts with customers                            ComEd                PECO                BGE                 PHI               Pepco                DPL                ACE
Rate-regulated electric revenues
      Residential                                             $          611      $          382      $         386      $           554    $          236      $          176     $          142
      Small commercial & industrial                                      328                   97                 69                 114                 34                 44                 36
      Large commercial & industrial                                      107                   52               108                  257               188                  24                 45
      Public authorities & electric railroads                             12                    8                   7                 15                  8                   4                  3
      Other (a)                                                          218                   48                 68                 126                 48                 38                 43
  Total rate-regulated electric revenues (b)                  $        1,276      $          587      $         638      $       1,066      $          514      $          286     $          269
Rate-regulated natural gas revenues
      Residential                                             $            —      $          142      $         185      $            40    $            —      $           40     $            —
      Small commercial & industrial                                        —                   55                 30                  17                 —                  17                  —
      Large commercial & industrial                                        —                   —                  44                   2                 —                    2                 —
      Transportation                                                       —                    6                 —                    5                 —                    5                 —
      Other (c)                                                            —                    3                 14                   2                 —                    2                 —
      Total rate-regulated natural gas revenues
      (d)                                                     $            —      $          206      $         273      $            66    $            —      $           66     $            —
Total rate-regulated revenues from
contracts with customers                                      $        1,276      $          793      $         911      $       1,132      $          514      $          352     $          269


Other revenues
      Revenues from alternative revenue
      programs                                                            14                   —                  35                  30                 15                   9                  6
      Other rate-regulated electric revenues (e)                            8                   3                   4                  2                  1                   1                 —
      Other rate-regulated natural gas revenues
      (e)                                                                  —                   —                    1                 —                  —                  —                   —
  Other revenues (f)                                                       —                   —                  —                   11                 —                  —                   —
Total other revenues                                                      22                    3                 40                  43                 16                 10                   6
Total rate-regulated revenues for
reportable segments                                           $        1,298      $          796      $         951      $       1,175      $          530      $          362     $          275
__________
(a)    Includes revenues from transmission revenue from PJM, wholesale electric revenue and mutual assistance revenue.
(b)    Includes operating revenues from affiliates of $14 million , $2 million , $2 million , $4 million , $2 million , $2 million , and $1 million at ComEd, PECO, BGE, PHI, Pepco, DPL and ACE,
       respectively, for the three months ended March 31, 2018 and $5 million , $1 million , $2 million , $1 million , $1 million , $2 million , and $1 million at ComEd, PECO, BGE, PHI, Pepco, DPL
       and ACE, respectively, for the three months ended March 31, 2017.
(c)    Includes revenues from off-system natural gas sales.
(d)    Includes operating revenues from affiliates of less than $1 million and $4 million at PECO and BGE, respectively, for the three months ended March 31, 2018 and less than $1 million and
       $3 million at PECO and BGE, respectively, for the three months ended March 31, 2017 .
(e)    Includes late payment charge revenues.
(f)    Includes operating revenues from affiliates of $11 million at PHI for the three months ended March 31, 2017 .



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Item 2.         Management’s Discussion and Analysis of Financial Condition and Results of Operations

                                         (Dollars in millions except per share data, unless otherwise noted)


Exelon

Executive Overview

     Exelon, a utility services holding company, operates through the following principal subsidiaries:


      •   Generation, whose integrated business consists of the generation, physical delivery and marketing of power across multiple geographical
          regions through its customer-facing business, Constellation, which sells electricity and natural gas to both wholesale and retail customers.
          Generation also sells renewable energy and other energy-related products and services.


      •   ComEd, whose business consists of the purchase and regulated retail sale of electricity and the provision of electricity transmission and
          distribution services in northern Illinois, including the City of Chicago.

      •   PECO, whose business consists of the purchase and regulated retail sale of electricity and the provision of electricity distribution and
          transmission services in southeastern Pennsylvania, including the City of Philadelphia, and the purchase and regulated retail sale of
          natural gas and the provision distribution services in the Pennsylvania counties surrounding the City of Philadelphia.


      •   BGE, whose business consists of the purchase and regulated retail sale of electricity and natural gas and the provision of electricity
          distribution and transmission and gas distribution services in central Maryland, including the City of Baltimore.


      •   Pepco, whose business consists of the purchase and regulated retail sale of electricity and the provision of electricity distribution and
          transmission in the District of Columbia and major portions of Prince George's County and Montgomery County in Maryland.


      •   DPL, whose business consists of the purchase and regulated retail sale of electricity and the provision of electricity distribution and
          transmission services in portions of Maryland and Delaware, and the purchase and regulated retail sale of natural gas and the provision of
          natural gas distribution services in northern Delaware.


      •   ACE, whose business consists of the purchase and regulated retail sale of electricity and the provision of electricity transmission and
          distribution services in southern New Jersey.


     Pepco, DPL and ACE are operating companies of PHI, which is a utility services holding company and a wholly owned subsidiary of Exelon.

     Exelon has twelve reportable segments consisting of Generation’s six reportable segments (Mid-Atlantic, Midwest, New England, New York,
ERCOT and Other Power Regions in Generation), ComEd, PECO, BGE and PHI's three utility reportable segments (Pepco, DPL and ACE). See
Note 19 — Segment Information of the Combined Notes to Consolidated Financial Statements for additional information regarding Exelon's
reportable segments.


      Through its business services subsidiary BSC, Exelon provides its operating subsidiaries with a variety of corporate governance support
services including corporate strategy and development, legal, human resources, information technology, finance, real estate, security, corporate
communications and


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supply at cost. The costs of these services are directly charged or allocated to the applicable operating segments. The services are provided
pursuant to service agreements. Additionally, the results of Exelon’s corporate operations include interest costs income from various investment and
financing activities.

      PHISCO, a wholly owned subsidiary of PHI, provides a variety of support services at cost, including legal, accounting, engineering, distribution
and transmission planning, asset management, system operations and power procurement, to PHI and its operating subsidiaries. These services
are directly charged or allocated pursuant to service agreements among PHISCO and the participating operating subsidiaries.


     Exelon’s consolidated financial information includes the results of its eight separate operating subsidiary registrants, Generation, ComEd,
PECO, BGE, PHI, Pepco, DPL and ACE, which, along with Exelon, are collectively referred to as the Registrants. The following combined
Management’s Discussion and Analysis of Financial Condition and Results of Operations is separately filed by Exelon, Generation, ComEd, PECO,
BGE, PHI, Pepco, DPL and ACE. However, none of the Registrants makes any representation as to information related solely to any of the other
Registrants.


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Financial Results of Operations

       GAAP Results of Operations


    The following tables set forth Exelon's GAAP consolidated results of operations for the three months ended March 31, 2018 compared to the
same period in 2017 . All amounts presented below are before the impact of income taxes, except as noted.


                                                                                   Three Months Ended March 31,

                                                                                          2018                                                            2017             Favorable
                                                                                                                                                                         (Unfavorable)
                                         Generation           ComEd            PECO            BGE             PHI            Other        Exelon         Exelon           Variance

Operating revenues                   $          5,512     $      1,512     $     866      $         977    $   1,251      $    (425)   $     9,693    $    8,747     $              946
Purchased power and fuel
expense                                         3,293              605           333                380          520           (404)         4,727         3,899                    (828)
Revenue net of purchased
power and fuel expense (a)                      2,219              907           533                597          731            (21)         4,966         4,848                    118
Other operating expenses
      Operating and maintenance                 1,339              313           275                221          309            (73)         2,384         2,438                         54
      Depreciation and
      amortization                                448              228             75               134          183             23          1,091           896                    (195)
     Taxes other than income                      138               77             41                65          113             12            446           436                     (10)
         Total other operating
         expenses                               1,925              618           391                420          605            (38)         3,921         3,770                    (151)
Gain on sales of assets and
businesses                                         53                 3            —                 —               —           —              56               4                       52
Bargain purchase gain                               —               —              —                 —               —           —              —            226                    (226)
Operating income                                  347              292           142                177          126             17          1,101         1,308                    (207)
Other income and (deductions)
      Interest expense, net                      (101)             (89)           (33)              (25)         (63)           (60)          (371)         (373)                         2
     Other, net                                   (44)                8               2               4              11          (9)           (28)          257                    (285)
         Total other income and
         (deductions)                            (145)             (81)           (31)              (21)         (52)           (69)          (399)         (116)                   (283)
Income (loss) before income
taxes                                             202              211           111                156              74         (52)           702         1,192                    (490)
Income taxes                                          9             46             (2)               28               9         (31)            59           211                    152
Equity in losses of
unconsolidated affiliates                           (7)             —              —                 —               —           —              (7)           (10)                        3
Net income                                        186              165           113                128              65         (21)           636           971                    (335)
Net income attributable to
noncontrolling interests                           50               —              —                 —               —            1             51            (19)                   (70)
Net income attributable to
common shareholders                  $            136     $        165     $     113      $         128    $         65   $     (22)   $       585    $      990     $              (405)
_________
(a)   The Registrants evaluate operating performance using the measure of revenues net of purchased power and fuel expense. The Registrants believe that revenues net of purchased power
      and fuel expense is a useful measurement because it provides information that can be used to evaluate their operational performance. Revenues net of purchased power and fuel expense
      is not a presentation defined under GAAP and may not be comparable to other companies’ presentations or deemed more useful than the GAAP information provided elsewhere in this
      report.


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     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . Exelon’s Net income attributable to common
shareholders was $585 million for the three months ended March 31, 2018 as compared to $990 million for the three months ended March 31, 2017
, and diluted earnings per average common share were $0.60 for the three months ended March 31, 2018 as compared to $1.06 for the three
months ended March 31, 2017 .

      Revenue net of purchased power and fuel expense, which is a non-GAAP measure discussed below, increased by $118 million for the three
months ended March 31, 2018 as compared to the same period in 2017 . The quarter-over-quarter increase in Revenue net of purchased power and
fuel expense was primarily due to the following favorable factors:

       •   Increase of $390 million at Generation primarily due to impact of the New York CES and Illinois ZES (including the impact of zero
           emission credits generated in Illinois from June 1, 2017 through December 31, 2017), increased nuclear volumes primarily as a result of
           the acquisition of FitzPatrick, decreased nuclear outage days, increased capacity prices and the addition of two combined-cycle gas
           turbines in Texas, partially offset by the conclusion of the Ginna Reliability Support Services Agreement and lower realized energy
           prices;

       •   Increase of $44 million at PECO, DPL and ACE primarily due to favorable weather conditions within their respective service territories;
           and

       •   Increase of $33 million due to higher mutual assistance revenues across all Utility Registrants, primarily at ComEd.


    The quarter-over-quarter increase in Revenue net of purchase power and fuel expense was partially offset by the following unfavorable factors:

       •   Decrease of $217 million at Generation due to mark-to-market losses of $266 million in 2018 compared to $49 million in 2017; and


       •   Decrease of $57 million at ComEd primarily due to lower revenues resulting from the change to defer and recover over time energy
           efficiency costs pursuant to FEJA;

       •   Decrease of $85 million in electric and gas revenues across all Utility Registrants, primarily reflecting lower revenues resulting from the
           anticipated pass back of TCJA tax savings through customer rates, partially offset by higher utility earnings due to regulatory rate
           increases at ComEd, BGE and PHI.


    Operating and maintenance expense decreased by $54 million for the three months ended March 31, 2018 as compared to the same period in
2017 primarily due to the following favorable factors:


       •   Decrease of $57 million at ComEd primarily due to the change to defer and recover over time energy efficiency costs pursuant to FEJA;


       •   Decrease of $38 million at Generation due to lower merger and integration costs primarily related to the FitzPatrick acquisition;

       •   Decrease of $33 million at Generation due to lower nuclear refueling outage costs; and


       •   Decrease of $32 million related to a supplemental NEIL insurance distribution at Generation in the first quarter of 2018.

    The quarter-over-quarter decrease in Operating and maintenance expense was partially offset by the following unfavorable factors:


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        •   Increase of $86 million at PECO and BGE due to increased storm costs;

        •   Increase of $33 million due to higher mutual assistance expenses across all Utility Registrants, primarily at ComEd; and


        •   Increase of $22 million at PHI due to uncollectible accounts expense.

     Depreciation and amortization expense increased by $195 million primarily due to Generation’s first quarter 2018 decision to early retire the
Oyster Creek nuclear facility and Generation’s second quarter 2017 decision to early retire the Three Mile Island nuclear facility, as well increased
depreciation expense as a result of ongoing capital expenditures across all operating companies for the three months ended March 31, 2018 as
compared to the same period in 2017 .


     Taxes other than income remained relatively consistent for the three months ended March 31, 2018 as compared to the same period in 2017 .

     Gain on sales of assets and businesses increased by $52 million for the three months ended March 31, 2018 as compared to the same period
in 2017 primarily due to Generation's first quarter 2018 sale of its electrical contracting business.

     Bargain purchase gain decreased by $226 million due to the gain associated with the FitzPatrick acquisition in first quarter 2017.


     Interest expense, net remained relatively consistent for the three months ended March 31, 2018 as compared to the same period in 2017 .


    Other, net decreased by $285 million primarily due to net unrealized and realized losses on NDT funds at Generation for the three months
ended March 31, 2018 as compared to net unrealized and realized gains on NDT funds for the same period in 2017 .


     Exelon’s effective income tax rates for the three months ended March 31, 2018 and 2017 were 8.4% and 17.7% , respectively. The decrease in
the effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily related to tax savings
due to the lower federal income tax rate as a result of the TCJA at all Registrants, which is offset in Operating revenues at the Utility Registrants for
the anticipated pass back of the tax savings through customer rates. See Note 12 — Income Taxes of the Combined Notes to Consolidated
Financial Statements for additional information regarding the components of the effective income tax rates. See Note 6 — Regulatory Matters of the
Combined Notes to Consolidated Financial Statements for further details on TCJA's impact on regulatory proceedings.


    For further detail regarding the financial results for the three months ended March 31, 2018 , including explanation of the non-GAAP measure
Revenue net of purchased power and fuel expense, see the discussions of Results of Operations by Segment below.


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     Adjusted (non-GAAP) Operating Earnings

      Exelon’s adjusted (non-GAAP) operating earnings for the three months ended March 31, 2018 were $925 million , or $0.96 per diluted share,
compared with adjusted (non-GAAP) operating earnings of $600 million , or $0.64 per diluted share for the same period in 2017 . In addition to net
income, Exelon evaluates its operating performance using the measure of adjusted (non-GAAP) operating earnings because management believes
it represents earnings directly related to the ongoing operations of the business. Adjusted (non-GAAP) operating earnings exclude certain costs,
expenses, gains and losses and other specified items. This information is intended to enhance an investor’s overall understanding of period-over-
period operating results and provide an indication of Exelon’s baseline operating performance excluding items that are considered by management
to be not directly related to the ongoing operations of the business. In addition, this information is among the primary indicators management uses
as a basis for evaluating performance, allocating resources, setting incentive compensation targets and planning and forecasting of future periods.
Adjusted (non-GAAP) operating earnings is not a presentation defined under GAAP and may not be comparable to other companies’ presentations
or deemed more useful than the GAAP information provided elsewhere in this report.


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    The following tables provide a reconciliation between net income attributable to common shareholders as determined in accordance with
GAAP and adjusted (non-GAAP) operating earnings for the three months ended March 31, 2018 as compared to the same period in 2017 .




                                                                                                                                 Three Months Ended March 31,

                                                                                                                      2018                                              2017
                                                                                                                             Earnings per                                      Earnings per
(All amounts in millions after tax)                                                                                          Diluted Share                                     Diluted Share
Net Income Attributable to Common Shareholders                                                  $           585      $                  0.60       $           990      $                 1.06
Mark-to-Market Impact of Economic Hedging Activities (a) (net of taxes
of $69 and $19, respectively)                                                                               197                         0.20                    30                        0.03
Unrealized Losses (Gains) Related to NDT Fund Investments (b) (net of
taxes of $29 and $67, respectively)                                                                           66                        0.07                   (99)                      (0.10)
Amortization of Commodity Contract Intangibles (c) (net of taxes of $0
and $2, respectively)                                                                                         —                              —                    3                            —
                                           (d)
Merger and Integration Costs                     (net of taxes of $1 and $15,
respectively)                                                                                                   3                            —                  25                        0.03
                                (e)
Merger Commitments                    (net of taxes of $0 and $137, respectively)                             —                              —                (137)                      (0.15)
Plant Retirements and Divestitures (f) (net of taxes of $32 and $0,
respectively)                                                                                                 92                        0.10                     —                             —
Cost Management Program (g) (net of taxes of $1 and $3, respectively)                                           5                       0.01                      4                            —
Bargain Purchase Gain (h) (net of taxes of $0)                                                                —                              —                (226)                      (0.24)
Reassessment of State Deferred Income Taxes (i) (entire amount
represents tax expense)                                                                                       —                              —                 (20)                      (0.02)
                       (j)
Tax Settlements              (net of taxes of $0 and $1, respectively)                                        —                              —                   (5)                     (0.01)
Noncontrolling Interests (k) (net of taxes of $5 and $7, respectively)                                       (23)                      (0.02)                   35                        0.04
Adjusted (non-GAAP) Operating Earnings                                                          $           925      $                  0.96       $           600      $                 0.64
_________
Note:
Unless otherwise noted, the income tax impact of each reconciling item between GAAP Net Income and Adjusted (non-GAAP) Operating Earnings is based on the marginal statutory federal and
state income tax rates for each Registrant, taking into account whether the income or expense item is taxable or deductible, respectively, in whole or in part. For all items except the unrealized
gains and losses related to NDT fund investments, the marginal statutory income tax rates for 2018 and 2017 ranged from 26.0 percent to 29.0 percent and 39.0 percent to 41.0 percent,
respectively. Under IRS regulations, NDT fund investment returns are taxed at differing rates for investments if they are in qualified or non-qualified funds. The tax rates applied to unrealized
gains and losses related to NDT fund investments were 40.3 percent and 52.6 percent for the three months ended March 31, 2018 and 2017 , respectively.

(a)   Reflects the impact of net gains and losses on Generation’s economic hedging activities. See Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial
      Statements for additional detail related to Generation’s hedging activities.
(b)   Reflects the impact of net unrealized gains and losses on Generation’s NDT fund investments for Non-Regulatory Agreement Units. See Note 13 — Nuclear Decommissioning of the
      Combined Notes to Consolidated Financial Statements for additional detail related to Generation’s NDT fund investments.
(c)   Represents the non-cash amortization of intangible assets, net, primarily related to commodity contracts recorded at fair value related to the ConEdison Solutions acquisition.
(d)   Primarily reflects certain costs associated with mergers and acquisitions, including, if and when applicable, professional fees, employee-related expenses and integration activities related
      to the PHI and FitzPatrick acquisitions in 2017, and the PHI acquisition


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      in 2018. See Note 4 — Mergers, Acquisitions and Dispositions of the Combined Notes to Consolidated Financial Statements for additional detail related to merger and acquisition costs.
(e)   Primarily reflects a decrease in reserves for uncertain tax positions related to the deductibility of certain merger commitments associated with the 2012 CEG and 2016 PHI acquisitions.
(f)   Primarily reflects accelerated depreciation and amortization expenses and increases to materials and supplies inventory reserves associated with Generation’s 2018 decision to early retire
      the Oyster Creek nuclear facility, as well as the accelerated depreciation and amortization expense associated with Generation’s 2017 decision to early retire the Three Mile Island nuclear
      facility, partially offset by a gain associated with Generation's sale of its electrical contracting business
(g)   Represents severance and reorganization costs related to a cost management program.
(h)   Represents the excess fair value of assets and liabilities acquired over the purchase price for the FitzPatrick acquisition.
(i)   Reflects the change in the District of Columbia statutory tax rate.
(j)   Reflects benefits related to the favorable settlement in 2017 of certain income tax positions related to PHI’s unregulated business interests.
(k)   Represents elimination from Generation’s results of the noncontrolling interests related to certain exclusion items, primarily related to the impact of unrealized gains and losses on NDT
      fund investments at CENG.

Significant 2018 Transactions and Developments

       Regulatory Implications of the Tax Cuts and Jobs Act (TCJA)


      The Utility Registrants have made filings with their respective State regulators to begin passing back to customers the ongoing annual tax
savings resulting from the TCJA. The amounts being proposed to be passed back to customers reflect the annual benefit of lower income tax rates
and the settlement of a portion of deferred income tax regulatory liabilities established upon enactment of the TCJA. The Utility Registrants have
identified over $500 million in ongoing annual savings to be returned to customers related to TCJA from their distribution utility operations.

     ComEd and BGE have received orders approving the pass back of the ongoing annual tax savings of $201 million and $103 million,
respectively, beginning February 1, 2018. DPL received an order from the MDPSC approving the pass back of $14 million of ongoing annual tax
savings beginning April 20, 2018 and a one-time bill credit to customers of $2 million for TCJA tax savings from January 1, 2018 through March 31,
2018. Pepco has entered into settlement agreements with parties in both Maryland and the District of Columbia providing for the pass back of the
ongoing annual tax savings beginning June 1, 2018 and July 1, 2018, respectively, and one-time bill credits to customers for TCJA tax savings from
January 1, 2018 through the effective date of the rate changes. PECO’s, DPL Delaware’s and ACE’s filings are still pending and management
cannot predict the amount or timing of the refunds their respective regulators will ultimately approve. For PECO, BGE, DPL Delaware and ACE, it is
expected that the treatment of the TCJA tax savings through the effective date of any final customer rate adjustments will be addressed in future rate
proceedings.


     In addition, ComEd, BGE, Pepco, DPL, and ACE each filed with FERC to revise their transmission formula rate mechanisms to facilitate
passing back to customers ongoing annual TCJA tax savings and to permit recovery of transmission-related income tax regulatory assets. PECO is
currently in settlement discussions regarding its transmission formula rate and expects to pass back TCJA benefits to customers through its annual
formula rate update.


      PECO, BGE, Pepco, DPL and ACE recognized new regulatory liabilities in the first quarter 2018 reflecting the TCJA tax savings that are
anticipated to be passed back to customers in the future. See Note 6 – Regulatory Matters of the Combined Notes to Consolidated Financial
Statements for further information.


       Early Plant Retirements

      On February 2, 2018, Exelon announced that Generation will permanently cease generation operations at Oyster Creek at the end of its current
operating cycle by October 2018. Because of the decision to early retire Oyster Creek in 2018, Exelon and Generation recognized certain one-time
charges in the first quarter of 2018 related to a materials and supplies inventory reserve adjustment, employee-related costs and construction work-
in-progress impairments, among other items.


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    On May 30, 2017, Generation announced it will permanently cease generation operations at Three Mile Island Generating Station (TMI) on or
about September 30, 2019. The plant is currently committed to operate through May 2019.

     As a result of the early nuclear plant retirement decisions at Oyster Creek and TMI, Exelon and Generation will also recognize annual
incremental non-cash charges to earnings stemming from shortening the expected economic useful lives primarily related to accelerated
depreciation of plant assets (including any ARC), accelerated amortization of nuclear fuel, and additional ARO accretion expense associated with
the changes in decommissioning timing and cost assumptions were also recorded. The following table summarizes the actual incremental non-cash
expense item incurred in 2018 and the estimated amount of incremental non-cash expense items expected to be incurred in 2018 and 2019 due to
the early retirement decisions.


                                                                                                                        Actual                               Projected (a)

Income statement expense (pre-tax)                                                                                     Q1 2018                     2018                       2019

Depreciation and amortization (b)
        Accelerated depreciation (c)                                                                            $                137      $                 550     $                 330
        Accelerated nuclear fuel amortization                                                                                      15                        55                        5
Operating and maintenance (d)                                                                                                      26                        26                        —
Total                                                                                                           $                178      $                 631     $                 335
_________
(a)   Actual results may differ based on incremental future capital additions, actual units of production for nuclear fuel amortization, future revised ARO assumptions, etc.
(b)   Reflects incremental accelerated depreciation and amortization for TMI for the quarter ended March 31, 2018 , and Oyster Creek from February 2, 2018 through March 31, 2018 .
(c)   Reflects incremental accelerated depreciation of plant assets, including any ARC.
(d)   Primarily includes materials and supplies inventory reserve adjustments, employee-related costs and CWIP impairments.

      On March 29, 2018, based on ISO-NE capacity auction results for the 2021 - 2022 planning year in which Mystic Unit 9 did not clear,
Generation announced it had formally notified grid operator ISO-NE of its plans to early retire its Mystic Generating Station assets on June 1, 2022
absent any interim and long-term solutions for reliability and regional fuel security. The ISO-NE recently announced that it would take a three-step
approach to fuel security. First, ISO-NE will make a filing soon to obtain tariff waivers to allow it to retain Mystic 8 and 9 for fuel security for the 2022
- 2024 planning years. Second, ISO-NE will file tariff revisions to allow it to retain other resources for fuel security in the capacity market if
necessary in the future. Third, ISO-NE will work with stakeholders to develop long-term market rule changes to address system resiliency
considering significant reliability risks identified in ISO-NE’s January 2018 fuel security report. Changes to market rules are necessary because
critical units to the region, such as Mystic Units 8 and 9, cannot recover future operating costs including the cost of procuring fuel. As a result of
these developments, Generation completed a comprehensive review of the estimated undiscounted future cash flows of the New England asset
group during the first quarter of 2018 and no impairment charge was required. Further developments such as the failure of ISO-NE to adopt interim
and long-term solutions for reliability and fuel security could potentially result in future impairments of the New England asset group, which could be
material. Refer to Note 7 — Impairment of Long-Lived Assets and Note 8 - Early Plant Retirements of the Combined Notes to Consolidated Financial
Statements for additional information.


       Illinois ZEC Procurement

     Pursuant to FEJA, on January 25, 2018, the ICC announced that Generation’s Clinton Unit 1, Quad Cities Unit 1 and Quad Cities Unit 2
nuclear plants were selected as the winning bidders through the IPA's ZEC procurement event. Generation executed the ZEC procurement
contracts with Illinois utilities,


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including ComEd, effective January 26, 2018 and began recognizing revenue. Winning bidders are entitled to compensation for the sale of ZECs
retroactive to the June 1, 2017 effective date of FEJA. In the first quarter of 2018, Generation recognized approximately $202 million of revenue, of
which $150 million related to ZECs generated from June 1, 2017 through December 31, 2017.

      New Jersey Zero Emission Certificate Program


       On April 12, 2018, a bill was passed by both Houses of the New Jersey legislature that would establish a ZEC program providing
compensation for nuclear plants that demonstrate to the NJBPU that they meet certain requirements, including that they make a significant
contribution to air quality in the state and that their revenues are insufficient to cover their costs and risks. The program provides transparency and
includes robust customer protections. The New Jersey Governor has up to 45 days to sign the bill, with the bill becoming effective immediately upon
signing. The NJBPU then has 180 days from the effective date to establish procedures for implementation of the ZEC program and 330 days from
the effective date to determine which nuclear power plants are selected to receive ZECs under the program. Selected nuclear plants will receive
ZEC payments for each energy year (12-month period from June 1 through May 31) within 90 days after the completion of such energy year. Exelon
and Generation continue to work with stakeholders.

      Westinghouse Electric Company LLC Bankruptcy

     On March 29, 2017, Westinghouse Electric Company LLC (Westinghouse) and its affiliated debtors filed petitions for relief under Chapter 11 of
the Bankruptcy Code in the U.S. Bankruptcy Court for the Southern District of New York. On January 4, 2018, Westinghouse announced its
agreement to be purchased by an affiliate of Brookfield Business Partners, LLC (Brookfield) for approximately $4.6 billion. On March 28, 2018, the
Bankruptcy Court entered an Order confirming the Debtor's Second Amended Joint Plan of Reorganization which provides for the transaction with
Brookfield. Closing of the transaction is expected to occur in the third quarter of 2018. Exelon has contracts with Westinghouse primarily related to
Generation's purchase of nuclear fuel, as well as a variety of services and equipment purchases associated with the operation and maintenance of
nuclear generating stations. In conjunction with the confirmation hearing, Exelon had filed a reservation of rights regarding reorganizing
Westinghouse's assumption of all Exelon contracts. Exelon has reached an agreement with Brookfield that all Exelon contracts will be assumed by
Brookfield on the closing date. Closing of the transaction is subject to numerous conditions, including regulatory approvals.

      Utility Rates and Base Rate Proceedings


       The Utility Registrants file base rate cases with their regulatory commissions seeking increases or decreases to their electric transmission and
distribution, and gas distribution rates to recover their costs and earn a fair return on their investments. The outcomes of these regulatory
proceedings impact the Utility Registrants’ current and future results of operations, cash flows and financial position.

    The following tables show the Utility Registrants’ completed and pending distribution base rate case proceedings in 2018. See Note 6 —
Regulatory Matters of the Combined Notes to Consolidated Financial Statements for information on other regulatory proceedings.


      Completed Distribution Base Rate Case Proceedings

                                                      Approved Revenue
                                                     Requirement Increase
                                                          (Decrease)        Approved Return on
   Company                 Jurisdiction                  (in millions)            Equity            Completion Date              Rate Effective Date
DPL             Maryland (Electric)              $                    13               9.5%       February 9, 2018              February 9, 2018

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      Pending Distribution Base Rate Case Proceedings


                                            Requested Revenue
                                           Requirement Increase
                                                (Decrease)        Requested Return
   Company            Jurisdiction             (in millions)         on Equity                    Filing Date               Expected Completion Timing
ComEd           Illinois (Electric)    $                   (23)            8.69%                April 16, 2018                Fourth quarter 2018
                Pennsylvania
PECO            (Electric)             $                    82            10.95%               March 29, 2018                 Fourth quarter 2018
                                                                                     January 2, 2018 (Updated February
                                                                                     5, 2018, March 8, 2018 and April 20,
Pepco           Maryland (Electric)    $                   (15)             9.5%                    2018)                    Second quarter 2018
                                                                                      December 19, 2017 (Updated on
                District of Columbia                                                   February 9, 2018 and April 17,
Pepco           (Electric)             $                   (24)           9.525%                   2018)                     Second quarter 2018
                                                                                       August 17, 2017 (Updated on
                                                                                      October 18, 2017 and February 9,
DPL             Delaware (Electric)    $                    12             10.1%                   2018)                      Third quarter 2018
                                                                                       August 17, 2017 (Updated on
                Delaware (Natural                                                    November 7, 2017 and February 9,
DPL             Gas)                   $                     4             10.1%                  2018)                       Fourth quarter 2018

     See Note 6 — Regulatory Matters of the Combined Notes to Consolidated Financial Statements for further details on these base rate case
proceedings.


      Winter Storm-Related Costs


      During March 2018 there were powerful nor'easter storms that brought a mix of heavy snow, ice and high sustained winds and gusts to the
region that interrupted electric service delivery to customers in PECO's, BGE's, Pepco's, DPL's and ACE's service territories. Restoration efforts
included significant costs associated with employee overtime, support from other utilities and incremental equipment, contracted tree trimming crews
and supplies, which resulted in incremental operating and maintenance expense and incremental capital expenditures in the first quarter of 2018 for
PECO, BGE, PHI, Pepco, DPL and ACE. In addition, PHI, Pepco, DPL and ACE recorded regulatory assets for amounts that are probable of
recovery through customer rates. The impacts recorded by the Registrants are presented below:


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                                                                                                                                                               (in millions)
                                                                                                                            Incremental Operating &
                                                                              Customer Outages                                   Maintenance                               Incremental Capital Expenditures
Exelon                                                                                         1,724,000              $                                       93    (b)
                                                                                                                                                                          $                                93
PECO                                                                                             750,000                                                      56                                           36
BGE                                                                                              425,000                                                      31                                           18
PHI    (a)                                                                                       549,000                                                        6   (b)                                    39
 Pepco                                                                                           179,000                                                        3   (b)                                    6
      DPL                                                                                        138,000                                                        3   (b)                                    5
  ACE                                                                                            232,000                                                      —     (b)                                    28
________
(a)    PHI reflects the consolidated customer outages, incremental operating & maintenance and incremental capital expenditures of Pepco, DPL and ACE.
(b)    Excludes amounts that were deferred and recognized as regulatory assets at Exelon, PHI, Pepco, DPL and ACE of $22 million , $22 million , $5 million , $1 million and $16 million , respectively.


Exelon’s Strategy and Outlook for 2018 and Beyond

      Exelon’s value proposition and competitive advantage come from its scope and its core strengths of operational excellence and financial
discipline. Exelon leverages its integrated business model to create value. Exelon’s regulated and competitive businesses feature a mix of attributes
that, when combined, offer shareholders and customers a unique value proposition:


             •     The Utility Registrants provide a foundation for steadily growing earnings, which translates to a stable currency in our stock.


             •     Generation’s competitive businesses provide free cash flow to invest primarily in the utilities and in long-term, contracted assets and to
                   reduce debt.


        Exelon believes its strategy provides a platform for optimal success in an energy industry experiencing fundamental and sweeping change.


     Exelon’s utility strategy is to improve reliability and operations and enhance the customer experience, while ensuring ratemaking mechanisms
provide the utilities fair financial returns. The Utility Registrants only invest in rate base where it provides a benefit to customers and the community
by improving reliability and the service experience or otherwise meeting customer needs. The Utility Registrants make these investments at the
lowest reasonable cost to customers. Exelon seeks to leverage its scale and expertise across the utilities platform through enhanced standardization
and sharing of resources and best practices to achieve improved operational and financial results. Additionally, the Utility Registrants anticipate
making significant future investments in smart meter technology, transmission projects, gas infrastructure, and electric system improvement projects,
providing greater reliability and improved service for our customers and a stable return for the company.


     Generation’s competitive businesses create value for customers by providing innovative energy solutions and reliable, clean and affordable
energy. Generation’s electricity generation strategy is to pursue opportunities that provide stable revenues and generation to load matching to
reduce earnings volatility. Generation leverages its energy generation portfolio to deliver energy to both wholesale and retail customers.
Generation’s customer-facing activities foster development and delivery of other innovative energy-related products and services for its customers.
Generation operates in well-developed energy markets and employs an integrated hedging strategy to manage commodity price volatility. Its
generation fleet, including its nuclear plants which consistently operate at high capacity factors, also


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provide geographic and supply source diversity. These factors help Generation mitigate the current challenging conditions in competitive energy
markets.

      Exelon’s financial priorities are to maintain investment grade credit metrics at each of the Registrants, to maintain optimal capital structure and
to return value to Exelon’s shareholders with an attractive dividend throughout the energy commodity market cycle and through stable earnings
growth. Exelon's Board of Directors has approved a dividend policy providing a raise of 5% each year for the period covering 2018 through 2020,
beginning with the March 2018 dividend.


      Various market, financial, regulatory, legislative and operational factors could affect the Registrants' success in pursuing their strategies.
Exelon continues to assess infrastructure, operational, commercial, policy, and legal solutions to these issues. One key issue is ensuring the ability
to properly value nuclear generation assets in the market, solutions to which Exelon is actively pursuing in a variety of jurisdictions and venues. See
ITEM 1A. RISK FACTORS of the Exelon 2017 Form 10-K for additional information regarding market and financial factors.

       Continually optimizing the cost structure is a key component of Exelon’s financial strategy. In August 2015, Exelon announced a cost
management program focused on cost savings of approximately $400 million at BSC and Generation, of which approximately 60% of run-rate
savings was achieved by the end of 2017 with the remainder to be fully realized in 2018. At least 75% of the savings are expected to be related to
Generation, with the remaining amount related to the Utility Registrants. Additionally, in November 2017, Exelon announced a new commitment for
an additional $250 million of cost savings, primarily at Generation, to be achieved by 2020. These actions are in response to the continuing
economic challenges confronting all parts of Exelon’s business and industry, necessitating continued focus on cost management through enhanced
efficiency and productivity.


     Growth Opportunities

      Management continually evaluates growth opportunities aligned with Exelon’s businesses, assets and markets, leveraging Exelon’s expertise
in those areas and offering sustainable returns.

      Regulated Energy Businesses. The PHI merger provides an opportunity to accelerate Exelon’s regulated growth to provide stable cash
flows, earnings accretion, and dividend support. Additionally, the Utility Registrants anticipate investing approximately $26 billion over the next five
years in electric and natural gas infrastructure improvements and modernization projects, including smart meter and smart grid initiatives, storm
hardening, advanced reliability technologies, and transmission projects, which is projected to result in an increase to current rate base of
approximately $11 billion by the end of 2022. The Utility Registrants invest in rate base where beneficial to customers and the community by
increasing reliability and the service experience or otherwise meeting customer needs. These investments are made at the lowest reasonable cost to
customers.


      See Note 3 — Regulatory Matters of the Combined Notes to Consolidated Financial Statements Exelon 2017 Form 10-K for additional
information on the Smart Meter and Smart Grid Initiatives and infrastructure development and enhancement programs.


      Competitive Energy Businesses. Generation continually assesses the optimal structure and composition of its generation assets as well as
explores wholesale and retail opportunities within the power and gas sectors. Generation’s long-term growth strategy is to ensure appropriate
valuation of its generation assets, in part through public policy efforts, identify and capitalize on opportunities that provide generation to load
matching as a means to provide stable earnings, and identify emerging technologies where strategic investments provide the option for significant
future growth or influence in market development.


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Liquidity Considerations

     Each of the Registrants annually evaluates its financing plan, dividend practices and credit line sizing, focusing on maintaining its investment
grade ratings while meeting its cash needs to fund capital requirements, retire debt, pay dividends, fund pension and OPEB obligations and invest in
new and existing ventures. A broad spectrum of financing alternatives beyond the core financing options can be used to meet its needs and fund
growth including monetizing assets in the portfolio via project financing, asset sales, and the use of other financing structures (e.g., joint ventures,
minority partners, etc.). The Registrants expect cash flows to be sufficient to meet operating expenses, financing costs and capital expenditure
requirements.


     Exelon Corporate, Generation, ComEd, PECO, BGE, Pepco, DPL and ACE have unsecured syndicated revolving credit facilities with
aggregate bank commitments of $0.6 billion , $5.3 billion , $1 billion , $0.6 billion , $0.6 billion , $0.3 billion , $0.3 billion and $0.3 billion , respectively.
Generation also has bilateral credit facilities with aggregate maximum availability of $0.5 billion . See Liquidity and Capital Resources - Credit
Matters - Exelon Credit Facilities below.

     For further detail regarding the Registrants' liquidity for the three months ended March 31, 2018 , see Liquidity and Capital Resources
discussion below.

     Project Financing


      Generation utilizes individual project financings as a means to finance the construction of various generating asset projects. Project financing is
based upon a nonrecourse financial structure, in which project debt and equity used to finance the project are paid back from the cash generated by
the newly constructed asset once operational. Borrowings under these agreements are secured by the assets and equity of each respective project.
The lenders do not have recourse against Exelon or Generation in the event of a default. If a specific project financing entity does not maintain
compliance with its specific debt financing covenants, there could be a requirement to accelerate repayment of the associated debt or other project-
related borrowings earlier than the stated maturity dates. In these instances, if such repayment was not satisfied, or restructured, the lenders or
security holders would generally have rights to foreclose against the project-specific assets and related collateral. The potential requirement to
satisfy its associated debt or other borrowings earlier than otherwise anticipated could lead to impairments due to a higher likelihood of disposing of
the respective project-specific assets significantly before the end of their useful lives. See Note 11 — Debt and Credit Agreements of the Combined
Notes to Consolidated Financial Statements for additional information on nonrecourse debt.


Other Key Business Drivers and Management Strategies

Power Markets

     Price of Fuels

      The use of new technologies to recover natural gas from shale deposits is increasing natural gas supply and reserves, which places downward
pressure on natural gas prices and, therefore, on wholesale and retail power prices, which results in a reduction in Exelon’s revenues. Forward
natural gas prices have declined significantly over the last several years; in part reflecting an increase in supply due to strong natural gas production
(due to shale gas development).


     DOE Notice of Proposed Rulemaking

     On August 23, 2017, the DOE staff released its report on the reliability of the electric grid. One aspect of the wide-ranging report is the DOE’s
recognition that the electricity markets do not currently value the resiliency provided by baseload generation, such as nuclear plants. On September
28, 2017,


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the DOE issued a Notice of Proposed Rulemaking (NOPR) that would entitle certain eligible resilient generating units (i.e., those located in
organized markets, with a 90-day supply of fuel on site, not already subject to state cost of service regulation and satisfying certain other
requirements) to recover fully allocated costs and earn a fair return on equity on their investment. The DOE's NOPR recommended that the FERC
take comments for 45 days after publication in the Federal Register and issue a final order 60-days after such publication. On January 8, 2018, the
FERC issued an order terminating the rulemaking docket that was initiated to address the proposed rule in the DOE NOPR, concluding the proposed
rule did not sufficiently demonstrate there is a resiliency issue and that it proposed a remedy that did not appear to be just, reasonable and
nondiscriminatory as required under the Federal Power Act. At the same time, the FERC initiated a new proceeding to consider resiliency challenges
to the bulk power system and evaluate whether additional FERC action to address resiliency would be appropriate. The FERC directed each RTO
and ISO to respond within 60 days to 24 specific questions about how they assess and mitigate threats to resiliency. Interested parties may submit
reply comments through May 9, 2018. Exelon has been and will continue to be an active participant in these proceedings, but cannot predict the final
outcome or its potential financial impact, if any, on Exelon or Generation.

     PJM Minimum Offer Price Rule Expanded and Repricing Filing


      On April 9, 2018, PJM filed a request at FERC seeking approval of its proposed capacity repricing mechanism or, in the alternative, the
Minimum Offer Price Rule Expanded (MOPREx) proposal. PJM argues that both proposed approaches are just and reasonable means of resolving
the conflict between state policy support for certain resources and the need to provide reasonable prices for non-supported resources because both
prevent state-supported resources from suppressing market clearing prices. PJM expresses a preference for the repricing approach as it “honors
the state’s legitimate policy choice to promote resources with certain attributes not otherwise valued in the current wholesale market rules; MOPREx
does not. Thus, PJM asks FERC to sequentially consider the two proposals; first considering the repricing approach and then considering the
MOPREx approach only if FERC cannot accept repricing. The MOPREx alternative, if selected by FERC, could impact Exelon and Generation as
this mechanism could undermine the benefit of Illinois’ ZEC program and similar programs that could be developed in other states. Specifically,
under PJM’s MOPREx alternative, the MOPR mitigation mechanism would apply to all resources (not just new resources, as is currently done)
including ZEC-supported resources, thereby mitigating the effect of state support in offers and rendering it unlikely that ZEC-supported resources will
clear the capacity auction. While numerous exceptions would be available under MOPREx, none would be available to ZEC programs. PJM asks
for a FERC order by June 29, 2018 and an effective date of June 30, 2018. It is too early to predict the final outcome or its potential financial impact,
if any, on Exelon or Generation.

     Section 232 Uranium Petition


      On January 16, 2018, two Canadian-owned uranium mining companies with operations in the U.S. jointly submitted a petition to the U.S.
Department of Commerce (DOC) seeking relief under Section 232 of the Trade Expansion Act of 1962 (as amended) from imports of uranium
products, alleging that these imports threaten national security (the Petition). The Trade Expansion Act of 1962 (the Act) was promulgated by
Congress to protect essential national security industries whose survival is threatened by imports. As such, the Act authorizes the Secretary of
Commerce (the Secretary) to conduct investigations to evaluate the effects of imports of any item on the national security of the U.S. The Petition
alleges that the loss of a viable U.S. uranium mining industry would have a significant detrimental impact on the national, energy, and economic
security of the U.S. and the ability of the country to sustain an independent nuclear fuel cycle. The relief sought by the petitioners would require U.S.
nuclear reactors to purchase at least 25% of their uranium needs from domestic mines over the next 10 years. If the DOC initiates an investigation,
the Secretary has 270 days to prepare and submit a report to President Trump, who then has 90 days to act on the Secretary's recommendations.
Exelon and Generation cannot currently predict the outcome of this petition. It is reasonably possible that if this


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petition were successful the resulting increase in nuclear fuel costs in future periods could have a material, unfavorable impact on Exelon’s and
Generation’s results of operations, cash flows and financial positions.

     Energy Demand


     Modest economic growth partially offset by energy efficiency initiatives is resulting in flat to declining load growth in electricity for the Utility
Registrants. There is an increase in projected load for electricity for PECO, BGE, Pepco and ACE, and a decrease in projected load for electricity at
ComEd and DPL. ComEd, PECO, BGE, Pepco, DPL and ACE are projecting load volumes to increase (decrease) by (0.1)% , 0.3% , 1.1% , 2.1% ,
(1.9)% and 2.9% respectively, in 2018 compared to 2017 .

     Retail Competition


       Generation’s retail operations compete for customers in a competitive environment, which affect the margins that Generation can earn and the
volumes that it is able to serve. The market experienced high price volatility in the first quarter of 2014 which contributed to bankruptcies and
consolidations within the industry during the year. However, forward natural gas and power prices are expected to remain low and thus we expect
retail competitors to stay aggressive in their pursuit of market share, and that wholesale generators (including Generation) will continue to use their
retail operations to hedge generation output.


Strategic Policy Alignment

      As part of its strategic business planning process, Exelon routinely reviews its hedging policy, dividend policy, operating and capital costs,
capital spending plans, strength of its balance sheet and credit metrics, and sufficiency of its liquidity position, by performing various stress tests with
differing variables, such as commodity price movements, increases in margin-related transactions, changes in hedging practices and the impacts of
hypothetical credit downgrades.

      Exelon's board of directors declared first quarter 2018 dividends of $0.345 per share on Exelon's common stock. The first quarter 2018
dividend was paid on March 9, 2018. The dividend increased from the fourth quarter 2017 amount to reflect the Board's decision to raise Exelon's
dividend 5% each year for the period covering 2018 through 2020, beginning with the March 2018 dividend.


     Exelon's board of directors declared second quarter 2018 dividends of $0.345 per share on Exelon's common stock and is payable on June 8,
2018.

     All future quarterly dividends require approval by Exelon's Board of Directors.


Hedging Strategy

       Exelon’s policy to hedge commodity risk on a ratable basis over three-year periods is intended to reduce the financial impact of market price
volatility. Generation is exposed to commodity price risk associated with the unhedged portion of its electricity portfolio. Generation enters into non-
derivative and derivative contracts, including financially-settled swaps, futures contracts and swap options, and physical options and physical
forward contracts, all with credit-approved counterparties, to hedge this anticipated exposure. Generation has hedges in place that significantly
mitigate this risk for 2018 and 2019 . However, Generation is exposed to relatively greater commodity price risk in the subsequent years with respect
to which a larger portion of its electricity portfolio is currently unhedged. As of March 31, 2018 , the percentage of expected generation hedged is
91% - 94% , 63% - 66% and 33% - 36% for 2018 , 2019 , and 2020 respectively. The percentage of expected generation hedged is the amount of
equivalent sales divided by the expected generation. Expected generation is the volume of energy that best represents our commodity position in
energy markets from owned or contracted generating facilities based upon a simulated dispatch model that makes assumptions regarding future
market conditions, which are calibrated to market quotes for power, fuel, load following products, and options. Equivalent


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sales represent all hedging products, such as wholesale and retail sales of power, options and swaps. Generation has been and will continue to be
proactive in using hedging strategies to mitigate commodity price risk in subsequent years as well.

      Generation procures oil and natural gas through long-term and short-term contracts and spot-market purchases. Nuclear fuel is obtained
predominantly through long-term uranium concentrate supply contracts, contracted conversion services, contracted enrichment services, or a
combination thereof, and contracted fuel fabrication services. The supply markets for uranium concentrates and certain nuclear fuel services, coal,
oil and natural gas are subject to price fluctuations and availability restrictions. Supply market conditions may make Generation’s procurement
contracts subject to credit risk related to the potential non-performance of counterparties to deliver the contracted commodity or service at the
contracted prices. Approximately 58% of Generation’s uranium concentrate requirements from 2018 through 2022 are supplied by three producers.
In the event of non-performance by these or other suppliers, Generation believes that replacement uranium concentrate can be obtained, although
at prices that may be unfavorable when compared to the prices under the current supply agreements. Non-performance by these counterparties
could have a material adverse impact on Exelon’s and Generation’s results of operations, cash flows and financial positions.


     The Utility Registrants mitigate commodity price risk through regulatory mechanisms that allow them to recover procurement costs from retail
customers.


Environmental Legislative and Regulatory Developments

      Exelon was actively involved in the Obama Administration’s development and implementation of environmental regulations for the electric
industry, in pursuit of its business strategy to provide reliable, clean, affordable and innovative energy products. These efforts have most frequently
involved air, water and waste controls for fossil-fueled electric generating units, as set forth in the discussion below. These regulations have had a
disproportionate adverse impact on coal-fired power plants, requiring significant expenditures of capital and variable operating and maintenance
expense, and have resulted in the retirement of older, marginal facilities. Due to its low emission generation portfolio, Generation has not been
significantly affected by these regulations, representing a competitive advantage relative to electric generators that are more reliant on fossil fuel
plants.


     Through the issuance of a series of Executive Orders (EO), President Trump has initiated review of a number of EPA and other regulations
issued during the Obama Administration, with the expectation that the Administration will seek repeal or significant revision of these rules. Under
these EOs, each executive agency is required to evaluate existing regulations and make recommendations regarding repeal, replacement, or
modification. The Administration’s actions are intended to result in less stringent compliance requirements under air, water, and waste regulations.
The exact nature, extent, and timing of the regulatory changes are unknown, as well as the ultimate impact on Exelon’s and its subsidiaries results of
operations and cash flows.


     In particular, the Administration has targeted existing EPA regulations for repeal, including notably the Clean Power Plan, as well as revoking
many Executive Orders, reports, and guidance issued by the Obama Administration on the topic of climate change or the regulation of greenhouse
gases. The Executive Order also disbanded the Interagency Working Group that developed the social cost of carbon used in rulemakings, and
withdrew all technical support documents supporting the calculation. Other regulations that have been specifically identified for review are the Clean
Water Act rule relating to jurisdictional waters of the U.S., the Steam Electric Effluent Guidelines relating to waste water discharges from coal-fired
power plants, and the 2015 National Ambient Air Quality Standard (NAAQS) for ozone. The review of final rules could extend over several years as
formal notice and comment rulemaking process proceeds.


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     Air Quality

      Mercury and Air Toxics Standard Rule (MATS). On December 16, 2011, the EPA signed a final rule to reduce emissions of toxic air
pollutants from power plants and signed revisions to the NSPS for electric generating units. The final rule, known as MATS, requires coal-fired
electric generation plants to achieve high removal rates of mercury, acid gases and other metals, and to make capital investments in pollution control
equipment and incur higher operating expenses. The initial compliance deadline to meet the new standards was April 16, 2015; however, facilities
may have been granted an additional one or two-year extension in limited cases. Numerous entities challenged MATS in the D.C. Circuit Court, and
Exelon intervened in support of the rule. In April 2014, the D.C. Circuit Court issued an opinion upholding MATS in its entirety. On appeal, the U.S.
Supreme Court decided in June 2015 that the EPA unreasonably refused to consider costs in determining whether it is appropriate and necessary to
regulate hazardous air pollutants emitted by electric utilities. The U.S. Supreme Court, however, did not vacate the rule; rather, it was remanded to
the D.C. Circuit Court to take further action consistent with the U.S. Supreme Court’s opinion on this single issue. On April 27, 2017, the D.C. Circuit
granted EPA’s motion to hold the litigation in abeyance, pending EPA’s review of the MATS rule pursuant to President Trump’s EO discussed above.
Following EPA’s review and determination of its course of action for the MATS rule, the parties will have 30 days to file motions on future
proceedings. Notwithstanding the Court’s order to hold the litigation in abeyance, the MATS rule remains in effect. Exelon will continue to participate
in the remanded proceedings before the D.C. Circuit Court as an intervenor in support of the rule.


      Clean Power Plan . On April 28, 2017, the D.C. Circuit Court issued orders in separate litigation related to the EPA’s actions under the Clean
Power Plan (CPP) to amend Clean Air Act Section 111(d) regulation of existing fossil-fired electric generating units and Section 111(b) regulation of
new fossil-fired electric generating units. In both cases, the Court has determined to hold the litigation in abeyance pending a determination whether
the rule should be remanded to the EPA. On October 10, 2017, EPA issued a proposed rule to repeal the CPP in its entirety, based on a proposed
change in the Agency’s legal interpretation of Clean Air Act Section 111(d) regarding actions that the Agency can consider when establishing the
Best System of Emission Reduction (“BSER”) for existing power plants. Under the proposed interpretation, the Agency exceeded its authority under
the Clean Air Act by regulating beyond individual sources of GHG emissions. The EPA has also indicated its intent to issue an advance notice of
proposed rulemaking to solicit information on systems of emission reduction that are in accord with the Agency’s proposed revised legal
interpretation; namely, only by regulating emission reductions that can be implemented at and to individual sources.

      2015 Ozone National Ambient Air Quality Standards (NAAQS). On April 11, 2017, the D.C. Circuit ordered that the consolidated 2015
ozone NAAQS litigation be held in abeyance pending EPA’s further review of the 2015 Rule. EPA did not meet the October 1, 2017 deadline to
promulgate initial designations for areas in attainment or non-attainment of the standard. A number of states and environmental organizations have
notified the EPA of their intent to file suit to compel EPA to issue the designations.

     Climate Change. Exelon supports comprehensive climate change legislation or regulation, including a cap-and-trade program for GHG
emissions, which balances the need to protect consumers, business and the economy with the urgent need to reduce national GHG emissions. In
the absence of Federal legislation, the EPA is moving forward with the regulation of GHG emissions under the Clean Air Act. In addition, there have
been recent developments in the international regulation of GHG emissions pursuant to the United Nations Framework Convention on Climate
Change (“UNFCCC” or “Convention”). See ITEM 1. BUSINESS, "Water Quality" of the Exelon 2017 Form 10-K for further discussion.


     Water Quality


     Section 316(b) requires that the cooling water intake structures at electric power plants reflect the best technology available to minimize
adverse environmental impacts, and is implemented through state-


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level NPDES permit programs. All of Generation’s power generation facilities with cooling water systems are subject to the regulations. Facilities
without closed-cycle recirculating systems (e.g., cooling towers) are potentially most affected by recent changes to the regulations. For Generation,
those facilities are Calvert Cliffs, Clinton, Dresden, Eddystone, Fairless Hills, FitzPatrick, Ginna, Gould Street, Mountain Creek, Handley, Mystic 7,
Nine Mile Point Unit 1, Peach Bottom, Quad Cities, and Salem. See ITEM 1. BUSINESS, "Water Quality" for further discussion.

     Solid and Hazardous Waste


      In October 2015, the first federal regulation for the disposal of coal combustion residuals (CCR) from power plants became effective. The rule
classifies CCR as non-hazardous waste under RCRA. Under the regulation, CCR will continue to be regulated by most states subject to coordination
with the federal regulations. Generation has previously recorded accruals consistent with state regulation for its owned coal ash sites, and as such,
the regulation is not expected to impact Exelon’s and Generation’s financial results. Generation does not have sufficient information to reasonably
assess the potential likelihood or magnitude of any remediation requirements that may be asserted under the new federal regulations for coal ash
disposal sites formerly owned by Generation. For these reasons, Generation is unable to predict whether and to what extent it may ultimately be
held responsible for remediation and other costs relating to formerly owned coal ash disposal sites under the new regulations.

      See Note 17 — Commitments and Contingencies of the Combined Notes to Consolidated Financial Statements for further detail related to
environmental matters, including the impact of environmental regulation.


Employees

       In January 2017, an election was held at BGE which resulted in union representation for approximately 1,394 employees. BGE and IBEW
Local 410 are negotiating an initial agreement which could result in some modifications to wages, hours and other terms and conditions of
employment. Negotiations have been productive and continue. No agreement has been finalized to date and management cannot predict the
outcome of such negotiations. Additionally, prior to commencing negotiations at Braidwood Generating Station with its Security Union, SPFPA Local
228, a rival Union petitioned the NLRB to represent the Security Officers in lieu of the incumbent Union. An election was held and the incumbent
Union prevailed. The rival union sought to overturn the election and filed unfair labor practice charges against the incumbent which were denied
following an NLRB Regional Hearing. Due to the legal proceedings between the Unions, the existing CBA was extended prior to the NLRB hearing
and currently expires in August 2018. Lastly, negotiations for a collective bargaining agreement with Local 501 of Operating Engineers are ongoing
with a small unit of employees at Exelon's Hyperion Solutions facility.


Critical Accounting Policies and Estimates

Revenue Recognition (All Registrants)

     Sources of Revenue and Determination of Accounting Treatment

     The Registrants earn revenues from various business activities including: the sale of power and energy-related products, such as natural gas,
capacity, and other commodities in non-regulated markets (wholesale and retail); the sale and delivery of power and natural gas in regulated
markets; and the provision of other energy-related non-regulated products and services.

     The accounting treatment for revenue recognition is based on the nature of the underlying transaction and applicable authoritative guidance.
The Registrants primarily apply the Revenue from


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Contracts with Customers, Derivative, and Alternative Revenue Program (ARP) guidance to recognize revenue as discussed in more detail below.

     Revenue from Contracts with Customers


      Under the Revenue from Contracts with Customers guidance, the Registrants recognize revenues in the period in which the performance
obligations within contracts with customers are satisfied, which generally occurs when power, natural gas, and other energy-related commodities are
physically delivered to the customer. Transactions of the Registrants within the scope of Revenue from Contracts with Customers generally include
non-derivative agreements, contracts that are designated as normal purchases and normal sales (NPNS), sales to utility customers under regulated
service tariffs, and spot-market energy commodity sales, including settlements with independent system operators.

      The determination of Generation’s and the Utility Registrants' retail power and natural gas sales to individual customers is based on systematic
readings of customer meters, generally on a monthly basis. At the end of each month, amounts of energy delivered to customers since the date of
the last meter reading are estimated, and corresponding unbilled revenue is recorded. The measurement of unbilled revenue is affected by the
following factors: daily customer usage measured by generation or gas throughput volume, customer usage by class, losses of energy during
delivery to customers and applicable customer rates. Increases or decreases in volumes delivered to the utilities’ customers and favorable or
unfavorable rate mix due to changes in usage patterns in customer classes in the period could be significant to the calculation of unbilled revenue. In
addition, revenues may fluctuate monthly as a result of customers electing to use an alternate supplier, since unbilled commodity revenues are not
recorded for these customers. Changes in the timing of meter reading schedules and the number and type of customers scheduled for each meter
reading date also impact the measurement of unbilled revenue; however, total operating revenues would remain materially unchanged


     See Note 5 — Accounts Receivable of the Exelon 2017 Form 10-K for additional information on unbilled revenue.


      See Note 1 — Significant Accounting Policies and Note 5 — Revenue from Contracts with Customers of the Combined Notes to Consolidated
Financial Statements for more information on the impacts of the new revenue accounting standard effective for annual reporting periods beginning
on or after December 15, 2017.

     Derivative Revenues


      The Registrants record revenues and expenses using the mark-to-market method of accounting for transactions that are accounted for as
derivatives. These derivative transactions primarily relate to commodity price risk management activities. Mark-to-market revenues and expenses
include: inception gains or losses on new transactions where the fair value is observable, unrealized gains and losses from changes in the fair value
of open contracts, and realized gains and losses.


     Alternative Revenue Program Revenues


        Certain of the Utility Registrants’ ratemaking mechanisms qualify as Alternative Revenue Programs (ARPs) if they (i) are established by a
regulatory order and allow for automatic adjustment to future rates, (ii) provide for additional revenues (above those amounts currently reflected in
the price of utility service) that are objectively determinable and probable of recovery, and (iii) allow for the collection of those additional revenues
within 24 months following the end of the period in which they were recognized. For mechanisms that meet these criteria, which include the Utility
Registrants’ formula rate and revenue decoupling mechanisms, the Utility Registrants adjust revenue and record an offsetting regulatory asset or
liability once the condition or event allowing additional billing or refund has occurred. The ARP revenues presented in the Utility Registrants’
Consolidated Statements of Operations and


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Comprehensive Income include both: (i) the recognition of “originating” ARP revenues (when the regulator-specified condition or event allowing for
additional billing or refund has occurred) and (ii) an equal and offsetting reversal of the “originating” ARP revenues as those amounts are reflected in
the price of utility service and recognized as Revenue from Contracts with Customers.

      ComEd records ARP revenue for its best estimate of the electric distribution, energy efficiency, and transmission revenue impacts resulting
from future changes in rates that ComEd believes are probable of approval by the ICC and FERC in accordance with its formula rate mechanisms.
BGE, Pepco, and DPL record ARP revenue for their best estimate of the electric and natural gas distribution revenue impacts resulting from future
changes in rates that they believe are probable of approval by the MDPSC and/or DCPSC in accordance with their revenue decoupling
mechanisms. PECO, BGE, Pepco, DPL and ACE record ARP revenue for their best estimate of the transmission revenue impacts resulting from
future changes in rates that they believe are probable of approval by FERC in accordance with their formula rate mechanisms. Estimates of the
current year revenue requirement are based on actual and/or forecasted costs and investments in rate base for the period and the rates of return on
common equity and associated regulatory capital structure allowed under the applicable tariff. The estimated reconciliation can be affected by,
among other things, variances in costs incurred, investments made, allowed ROE, and actions by regulators or courts.


      See Note 6 — Regulatory Matters of the Combined Notes to Consolidated Financial Statements for further information.

     Management of each of the Registrants makes a number of significant estimates, assumptions and judgments in the preparation of its financial
statements. See ITEM 7. MANAGEMENT'S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS —
CRITICAL ACCOUNTING POLICIES AND ESTIMATES in Exelon’s, Generation’s, ComEd’s, PECO’s, BGE’s, PHI's, Pepco's, DPL's and ACE's
combined 2017 Form 10-K for a discussion of the estimates and judgments necessary in the Registrants’ accounting for AROs, goodwill, purchase
accounting, unamortized energy assets and liabilities, asset impairments, depreciable lives of property, plant and equipment, defined benefit pension
and other postretirement benefits, regulatory accounting, derivative instruments, taxation, contingencies, revenue recognition, and allowance for
uncollectible accounts. At March 31, 2018 , the Registrants’ critical accounting policies and estimates had not changed significantly from
December 31, 2017 .


Results of Operations By Registrant

Net Income Attributable to Common Shareholders by Registrant

                                                                                                   Three Months Ended
                                                                                                        March 31,                        Favorable
                                                                                                                                       (Unfavorable)
                                                                                                2018                 2017                Variance
Exelon                                                                                  $              585   $              990   $               (405)
Generation                                                                                             136                  418                   (282)
ComEd                                                                                                  165                  141                        24
PECO                                                                                                   113                  127                    (14)
BGE                                                                                                    128                  125                        3
PHI                                                                                                    65                   140                    (75)
Pepco                                                                                                  31                    58                    (27)
DPL                                                                                                    31                    57                    (26)
ACE                                                                                                      7                   28                    (21)

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Results of Operations — Generation

                                                                                                                                   Three Months Ended
                                                                                                                                        March 31,                          Favorable
                                                                                                                                                                         (Unfavorable)
                                                                                                                                 2018                 2017                 Variance
Operating revenues                                                                                                         $        5,512      $         4,878      $                634
Purchased power and fuel expense                                                                                                    3,293                2,798                      (495)
Revenues net of purchased power and fuel expense (a)                                                                                2,219                2,080                       139
Other operating expenses
      Operating and maintenance                                                                                                     1,339                1,492                       153
      Depreciation and amortization                                                                                                     448                  302                    (146)
      Taxes other than income                                                                                                           138                  143                         5
            Total other operating expenses                                                                                          1,925                1,937                         12
Gain on sales of assets and businesses                                                                                                  53                     4                       49
Bargain purchase gain                                                                                                                    —                   226                    (226)
Operating income                                                                                                                        347                  373                      (26)
Other income and (deductions)
      Interest expense, net                                                                                                           (101)               (100)                          (1)
      Other, net                                                                                                                        (44)                 259                    (303)
            Total other income and (deductions)                                                                                       (145)                  159                    (304)
Income before income taxes                                                                                                              202                  532                    (330)
Income taxes                                                                                                                              9                  123                     114
Equity in losses of unconsolidated affiliates                                                                                            (7)                 (10)                        3
Net income                                                                                                                              186                  399                    (213)
Net income (loss) attributable to noncontrolling interests                                                                              50                   (19)                     (69)
Net income attributable to membership interest                                                                             $            136    $             418    $               (282)
_________
(a)   Generation evaluates its operating performance using the measure of revenue net of purchased power and fuel expense. Generation believes that revenue net of purchased power and
      fuel expense is a useful measurement because it provides information that can be used to evaluate its operational performance. Revenue net of purchased power and fuel expense is not a
      presentation defined under GAAP and may not be comparable to other companies’ presentations or deemed more useful than the GAAP information provided elsewhere in this report.

       Net Income Attributable to Membership Interest

      Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . Generation’s Net income attributable to
membership interest for the three months ended March 31, 2018 decreased compared to the same period in 2017 , primarily due to higher
Depreciation and amortization expenses, a Bargain purchase gain in 2017, and lower Other income, partially offset by higher Revenue net of
purchased power and fuel expense, lower Operating and maintenance expenses, higher Gain on sales of assets and businesses and lower Income
taxes. The increase in Depreciation and amortization is primarily due to accelerated depreciation and amortization expenses associated with
Generation's first quarter 2018 decision to early retire the Oyster Creek nuclear facility and Generation's second quarter 2017 decision to early retire
TMI. The Bargain purchase gain is due to the acquisition of the FitzPatrick nuclear facility in 2017. The decrease in Other income is primarily due to
the change in realized and unrealized gains and losses on NDT funds. The increase in Revenue net of purchased power and fuel expense primarily
relates to the impacts of the New York CES and Illinois Zero Emission Standards (including the impact of zero emission credits generated in Illinois
from June 1, 2017 through


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December 31, 2017), the acquisition of the FitzPatrick nuclear facility and decreased nuclear outage days, and higher capacity prices, partially offset
by increased Mark-to-market losses in 2018 compared to 2017, the conclusion of the Ginna Reliability Support Services Agreement and lower
realized energy prices, partially offset by the addition of two combined-cycle gas turbines in Texas. The decrease in Operating and maintenance is
primarily due to certain costs associated with mergers and acquisitions related to the PHI and FitzPatrick acquisitions, decreased nuclear outage
days in 2018, and the impact of a supplemental NEIL distribution, partially offset by increased operating expenses related to the 2017 acquisition of
FitzPatrick. The increase in Gain on sales of assets and businesses is primarily due Generation's 2018 sale of its electrical contracting business.
The decrease in income taxes is primarily due to tax savings related to TCJA.


     Revenues Net of Purchased Power and Fuel Expense

     The basis for Generation's reportable segments is the integrated management of its electricity business that is located in different geographic
regions, and largely representative of the footprints of ISO/RTO and/or NERC regions, which utilize multiple supply sources to provide electricity
through various distribution channels (wholesale and retail). Generation's hedging strategies and risk metrics are also aligned with these same
geographic regions. Descriptions of each of Generation’s six reportable segments are as follows:

     •       Mid-Atlantic represents operations in the eastern half of PJM, which includes New Jersey, Maryland, Virginia, West Virginia, Delaware, the
             District of Columbia and parts of Pennsylvania and North Carolina.

     •       Midwest represents operations in the western half of PJM, which includes portions of Illinois, Pennsylvania, Indiana, Ohio, Michigan,
             Kentucky and Tennessee, and the United States footprint of MISO, excluding MISO’s Southern Region, which covers all or most of North
             Dakota, South Dakota, Nebraska, Minnesota, Iowa, Wisconsin, the remaining parts of Illinois, Indiana, Michigan and Ohio not covered by
             PJM, and parts of Montana, Missouri and Kentucky.

     •       New England represents the operations within ISO-NE covering the states of Connecticut, Maine, Massachusetts, New Hampshire, Rhode
             Island and Vermont.

     •       New York represents operations within ISO-NY, which covers the state of New York in its entirety.


     •       ERCOT represents operations within Electric Reliability Council of Texas, covering most of the state of Texas.


     •       Other Power Regions :

         •     South represents operations in the FRCC, MISO’s Southern Region, and the remaining portions of the SERC not included within MISO
               or PJM, which includes all or most of Florida, Arkansas, Louisiana, Mississippi, Alabama, Georgia, Tennessee, North Carolina, South
               Carolina and parts of Missouri, Kentucky and Texas. Generation’s South region also includes operations in the SPP, covering Kansas,
               Oklahoma, most of Nebraska and parts of New Mexico, Texas, Louisiana, Missouri, Mississippi and Arkansas.

         •     West represents operations in the WECC, which includes California ISO, and covers the states of California, Oregon, Washington,
               Arizona, Nevada, Utah, Idaho, Colorado, and parts of New Mexico, Wyoming and South Dakota.

         •     Canada represents operations across the entire country of Canada and includes AESO, OIESO and the Canadian portion of MISO.


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     The following business activities are not allocated to a region, and are reported under Other: natural gas, as well as other miscellaneous
business activities that are not significant to Generation's overall operating revenues or results of operations. Further, the following activities are not
allocated to a region, and are reported in Other: amortization of certain intangible assets relating to commodity contracts recorded at fair value from
mergers and acquisitions; accelerated nuclear fuel amortization associated with nuclear decommissioning; and other miscellaneous revenues.

      Generation evaluates the operating performance of its electric business activities using the measure of Revenue net of purchased power and
fuel expense, which is a non-GAAP measurement. Generation’s operating revenues include all sales to third parties and affiliated sales to the Utility
Registrants. Purchased power costs include all costs associated with the procurement and supply of electricity including capacity, energy and
ancillary services. Fuel expense includes the fuel costs for owned generation and fuel costs associated with tolling agreements.

      For the three months ended March 31, 2018 and 2017 , Generation’s Revenue net of purchased power and fuel expense by region were as
follows:

                                                                                                                           Three Months Ended
                                                                                                                                March 31,

                                                                                                                           2018             2017            Variance           % Change
Mid-Atlantic (a)                                                                                                      $       850      $        773     $          77                10.0 %
            (b)
Midwest                                                                                                                       860               715              145                 20.3 %
New England                                                                                                                   119               111                 8                 7.2 %
New York (d)                                                                                                                  283               143              140                 97.9 %
ERCOT                                                                                                                             36               69             (33)              (47.8)%
Other Power Regions                                                                                                           117                  64              53                82.8 %
Total electric revenue net of purchased power and fuel expense                                                              2,265            1,875               390                 20.8 %
Proprietary Trading                                                                                                               6                —                6                   —%
Mark-to-market losses                                                                                                        (266)              (49)            (217)              442.9 %
Other (c)                                                                                                                     214               254               (40)              (15.7)%
Total revenue net of purchased power and fuel expense                                                                 $     2,219      $     2,080      $        139                  6.7 %
_________
(a)   Results of transactions with PECO and BGE are included in the Mid-Atlantic region. Results of transactions with Pepco, DPL and ACE are included in the Mid-Atlantic region.
(b)   Results of transactions with ComEd are included in the Midwest region.
(c)   Other represents activities not allocated to a region. See text above for a description of included activities. Includes amortization of intangible assets related to commodity contracts
      recorded at fair value of a $3 million decrease to revenue net of purchased power and fuel expense for the three months ended March 31, 2017 , and accelerated nuclear fuel amortization
      associated with announced early plant retirements as discussed in Note 8 — Early Plant Retirements of the Combined Notes to Consolidated Financial Statements of a $15 million
      decrease to revenue net of purchased power and fuel expense for the three months ended March 31, 2018 .
(d)   Includes the ownership of the FitzPatrick nuclear facility from March 31, 2017.


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       Generation’s supply sources by region are summarized below:

                                                                                                                    Three Months Ended
                                                                                                                         March 31,
Supply source (GWhs)                                                                                               2018                2017               Variance             % Change
Nuclear generation
      Mid-Atlantic (a)                                                                                               16,229              16,545                 (316)                 (1.9)%
      Midwest                                                                                                        23,597              22,468                1,129                   5.0 %
      New York (a)(c)                                                                                                 7,115                4,491               2,624                 58.4 %
        Total Nuclear Generation                                                                                     46,941              43,504                3,437                   7.9 %
Fossil and Renewables
      Mid-Atlantic                                                                                                        900                 836                  64                  7.7 %
      Midwest                                                                                                             455                 418                  37                  8.9 %
      New England                                                                                                     2,035                2,077                  (42)                (2.0)%
      New York                                                                                                              1                   1                    —                  —%
      ERCOT                                                                                                           2,949                1,370               1,579                115.3 %
      Other Power Regions                                                                                             1,993                1,423                 570                 40.1 %
        Total Fossil and Renewables                                                                                   8,333                6,125               2,208                 36.0 %
Purchased Power
      Mid-Atlantic                                                                                                        766              3,398              (2,632)               (77.5)%
      Midwest                                                                                                             336                 388                 (52)              (13.4)%
      New England                                                                                                     5,436                5,064                 372                   7.3 %
      New York                                                                                                             —                   28                 (28)                  —%
      ERCOT                                                                                                           1,373                2,655              (1,282)               (48.3)%
      Other Power Regions                                                                                             4,134                2,868               1,266                 44.1 %
          Total Purchased Power                                                                                      12,045              14,401               (2,356)               (16.4)%
Total Supply/Sales by Region
      Mid-Atlantic (b)                                                                                               17,895              20,779               (2,884)               (13.9)%
      Midwest (b)                                                                                                    24,388              23,274                1,114                   4.8 %
      New England                                                                                                     7,471                7,141                 330                   4.6 %
      New York                                                                                                        7,116                4,520               2,596                 57.4 %
      ERCOT                                                                                                           4,322                4,025                 297                   7.4 %
      Other Power Regions                                                                                             6,127                4,291               1,836                 42.8 %
Total Supply/Sales by Region                                                                                         67,319              64,030                3,289                   5.1 %
_________
(a)   Includes the proportionate share of output where Generation has an undivided ownership interest in jointly-owned generating plants and includes the total output of plants that are fully
      consolidated (e.g. CENG).
(b)   Includes affiliate sales to PECO and BGE in the Mid-Atlantic region, affiliate sales to ComEd in the Midwest region and affiliate sales to Pepco, DPL and ACE in the Mid-Atlantic region.
(c)   Includes the ownership of the FitzPatrick nuclear facility from March 31, 2017.

       Mid-Atlantic

     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $77 million increase in Revenue net of
purchased power and fuel expense in the Mid-Atlantic primarily


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reflects higher realized energy prices and increased capacity prices, partially offset by increased nuclear outage days.

     Midwest


     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $145 million increase in Revenue net of
purchased power and fuel expense in the Midwest was primarily due to the impact of the Illinois Zero Emission Standard (including the impact of
zero emission credits generated in Illinois from June 1, 2017 through December 31, 2017) and decreased nuclear outage days, partially offset by
lower realized energy prices.

     New England


     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $8 million increase in Revenue net of
purchased power and fuel expense in New England primarily reflects increased capacity prices, partially offset by lower realized energy prices.

     New York

      Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $140 million increase in Revenue net of
purchased power and fuel expense in New York was primarily due to the impact of the New York CES and the acquisition of FitzPatrick, partially
offset by the conclusion of the Ginna Reliability Support Service Agreement and lower realized energy prices.

     ERCOT


     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $33 million decrease in Revenue net of
purchased power and fuel expense in ERCOT was primarily due to lower realized energy prices, partially offset by the addition of two combined-
cycle gas turbines in Texas.

     Other Power Regions


     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $53 million increase in Revenue net of
purchased power and fuel expense in Other Power Regions was primarily due to higher realized energy prices.

     Proprietary Trading


     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $6 million increase in Revenue net of
purchased power and fuel expense in Proprietary Trading was primarily due to congestion activity.


     Mark-to-market

      Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . Mark-to-market losses on economic hedging
activities were $266 million for the three months ended March 31, 2018 compared to losses of $49 million for the three months ended March 31,
2017 . See Notes 9 — Fair Value of Financial Assets and Liabilities and 10 — Derivative Financial Instruments of the Combined Notes to
Consolidated Financial Statements for information on gains and losses associated with mark-to-market derivatives.

     Other

     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The $40 million decrease in Revenue net of
purchased power and fuel expense in Other was due to the


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decline in revenues related to the energy efficiency business and higher accelerated nuclear fuel amortization associated with announced early plant
retirements as discussed in Note 8 — Early Plant Retirements of the Combined Notes to Consolidated Financial Statements, partially offset by
higher natural gas portfolio optimization.

       Nuclear Fleet Capacity Factor


      The following table presents nuclear fleet operating data for the three months ended March 31, 2018 as compared to the same period in 2017 ,
for the Generation-operated plants. The nuclear fleet capacity factor presented in the table is defined as the ratio of the actual output of a plant over
a period of time to its output if the plant had operated at full average annual mean capacity for that time period. Generation considers capacity factor
to be a useful measure to analyze the nuclear fleet performance between periods. Generation has included the analysis below as a complement to
the financial information provided in accordance with GAAP. However, these measures are not a presentation defined under GAAP and may not be
comparable to other companies’ presentations or be more useful than the GAAP information provided elsewhere in this report.

                                                                                                                                                           Three Months Ended
                                                                                                                                                                March 31,

                                                                                                                                                         2018                 2017
Nuclear fleet capacity factor (a)                                                                                                                            96.5%                94.0%
                              (a)
Refueling outage days                                                                                                                                           68                   95
Non-refueling outage days (a)                                                                                                                                    6                    8
_________
(a)   Excludes Salem, which is operated by PSEG Nuclear, LLC. Reflects ownership percentage of stations operated by Exelon. Includes the ownership of the FitzPatrick nuclear facility from
      March 31, 2017.

      Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . The nuclear fleet capacity factor increased
primarily due to fewer non-refueling and refueling outage days, excluding Salem outages, during the three months ended March 31, 2018 compared
to the same period in 2017 .


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       Operating and Maintenance Expense

     The changes in Operating and maintenance expense for the three months ended March 31, 2018 as compared to the same period in 2017 ,
consisted of the following:

                                                                                                                                                                    Three Months Ended
                                                                                                                                                                         March 31,
                                                                                                                                                                   Increase (Decrease) (a)
                                                          (b)
Labor, other benefits, contracting, materials                                                                                                                $                               (51)
Nuclear refueling outage costs, including the co-owned Salem plants (c)                                                                                                                      (33)
Corporate allocations                                                                                                                                                                          8
              (d)
Insurance                                                                                                                                                                                    (32)
Merger and integration costs (e)                                                                                                                                                             (38)
                                             (f)
Plant retirements and divestitures                                                                                                                                                           26
Other                                                                                                                                                                                        (33)
Decrease in Operating and maintenance expense                                                                                                                $                            (153)
_________
(a)   The financial results include Generation's acquisition of the FitzPatrick nuclear generating station from March 31, 2017.
(b)   Primarily reflects decreased spending related to energy efficiency projects.
(c)   Primarily reflects a decrease in the number of nuclear outage days for the three months ended March 31, 2018 compared to 2017 .
(d)   Primarily reflects the impact of a supplemental NEIL insurance distribution.
(e)   Primarily reflects certain costs associated with mergers and acquisitions, including, if and when applicable, professional fees, employee-related expenses and integration activities related
      to the PHI and FitzPatrick acquisitions in 2017, and the PHI acquisition in 2018.
(f)   Primarily reflects accelerated depreciation and amortization expenses and increases to materials and supplies inventory reserves associated with Generation’s 2018 decision to early retire
      the Oyster Creek nuclear facility, as well as the accelerated depreciation and amortization expense associated with Generation’s 2017 decision to early retire the Three Mile Island nuclear
      facility, partially offset by a gain associated with Generation's sale of its electrical contracting business.

       Depreciation and Amortization Expense


     Depreciation and amortization expense for the three months ended March 31, 2018 compared to the same period in 2017 increased primarily
due to accelerated depreciation and amortization expenses associated with Generation's first quarter 2018 decision to early retire the Oyster Creek
nuclear facility and Generation's second quarter 2017 decision to early retire TMI.


       Taxes Other Than Income

     Taxes other than income taxes, which can vary period to period, include non-income municipal and state utility taxes, real estate taxes and
payroll taxes. Taxes other than income for the three months ended March 31, 2018 compared to the same period in 2017 remained relatively stable.

       Gain on Sales of Assets and Businesses


     Gain on sales of assets and businesses for the three months ended March 31, 2018 compared to the same period in 2017 increased primarily
due to Generation's 2018 sale of its electrical contracting business.

       Bargain Purchase Gain

    Bargain purchase gain for the three months ended March 31, 2018 compared to the same period in 2017 decreased as a result of the gain
associated with the FitzPatrick acquisition in 2017. Refer to Note 4 — Mergers, Acquisitions and Dispositions of the Combined Notes to
Consolidated Financial Statements for additional information.


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     Interest Expense, Net

     Interest expense, net for the three months ended March 31, 2018 compared to the same period in 2017 remained relatively stable.


     Other, Net

      Other, net for the three months ended March 31, 2018 compared to the same period in 2017 decreased primarily due to the change in the
realized and unrealized gains and losses related to NDT funds of Non-Regulatory Agreement Units as described in the table below. Other, net also
reflects $(7) million and $56 million for the three months ended March 31, 2018 and 2017 , respectively, related to the contractual elimination of
income tax expense (benefit) associated with the NDT funds of the Regulatory Agreement Units. Refer to Note 13 — Nuclear Decommissioning of
the Combined Notes to Consolidated Financial Statements for additional information regarding NDT funds.


    The following table provides unrealized and realized gains and losses on the NDT funds of the Non-Regulatory Agreement Units recognized in
Other, net for the three months ended March 31, 2018 and 2017 :


                                                                                                                          Three Months Ended
                                                                                                                               March 31,
                                                                                                                        2018              2017

Net unrealized (losses) gains on decommissioning trust funds                                                       $           (96)   $          166
Net realized gains on sale of decommissioning trust funds                                                                      28                 9


     Equity in Losses of Unconsolidated Affiliates


      Equity in losses of unconsolidated affiliates for the three months ended March 31, 2018 compared to the same period in 2017 remained
relatively stable.


     Effective Income Tax Rate

      Generation's effective income tax rate was 4.5% and 23.1% for the three months ended March 31, 2018 and 2017 , respectively. The decrease
in the effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily related to tax
savings due to the lower federal income tax rate as a result of the TCJA. See Note 12 — Income Taxes of the Combined Notes to Consolidated
Financial Statements for further discussion of the change in the effective income tax rate.


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Results of Operations — ComEd

                                                                                                                                 Three Months Ended
                                                                                                                                      March 31,                         Favorable
                                                                                                                                                                      (Unfavorable)
                                                                                                                               2018                2017                 Variance
Operating revenues                                                                                                      $         1,512      $        1,298      $                214
Purchased power expense                                                                                                               605                 334                    (271)
Revenues net of purchased power expense (a)(b)                                                                                        907                 964                      (57)
Other operating expenses
      Operating and maintenance                                                                                                       313                 370                       57
      Depreciation and amortization                                                                                                   228                 208                      (20)
      Taxes other than income                                                                                                         77                  72                          (5)
            Total other operating expenses                                                                                            618                 650                       32
Gain on sales of assets                                                                                                                 3                  —                          3
Operating income                                                                                                                      292                 314                      (22)
Other income and (deductions)
      Interest expense, net                                                                                                           (89)                (85)                        (4)
      Other, net                                                                                                                        8                   4                         4
            Total other income and (deductions)                                                                                       (81)                (81)                      —
Income before income taxes                                                                                                            211                 233                      (22)
Income taxes                                                                                                                          46                  92                        46
Net income                                                                                                              $             165    $            141    $                  24
_________
(a)   ComEd evaluates its operating performance using the measure of Revenue net of purchased power expense. ComEd believes that Revenue net of purchased power expense is a useful
      measurement because it provides information that can be used to evaluate its operational performance. In general, ComEd only earns margin based on the delivery and transmission of
      electricity. ComEd has included its discussion of Revenue net of purchased power expense below as a complement to the financial information provided in accordance with GAAP.
      However, Revenue net of purchased power expense is not a presentation defined under GAAP and may not be comparable to other companies’ presentations or deemed more useful than
      the GAAP information provided elsewhere in this report.
(b)   For regulatory recovery mechanisms, including ComEd’s electric distribution and transmission formula rates, and riders, revenues increase and decrease i) as fully recoverable costs
      fluctuate (with no impact on net earnings), and ii) pursuant to changes in rate base, capital structure and ROE (which impact net earnings).

       Net Income


     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . ComEd’s Net income for the three months
ended March 31, 2018 was higher than the same period in 2017 primarily due to higher electric distribution, transmission and energy efficiency
formula rate earnings. The TCJA did not impact ComEd's net income for the three months ended March 31, 2018 as the favorable income tax
impacts were fully offset by lower revenues resulting from the pass back of the tax savings through customer rates.


       Revenues Net of Purchased Power Expense

     There are certain drivers of Operating revenues that are fully offset by their impact on Purchased power expense, such as commodity, REC,
and ZEC procurement costs and participation in customer choice programs. ComEd is permitted to recover electricity, REC, and ZEC procurement
costs from retail customers without mark-up. Therefore, fluctuations in these costs have no impact on Revenue net of purchased power expense.
See Note 3 — Regulatory Matters of the Exelon 2017 Form 10-K for additional information on ComEd’s electricity procurement process.


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     All ComEd customers have the choice to purchase electricity from a competitive electric generation supplier. Customer choice programs do not
impact ComEd’s volume of deliveries, but do affect ComEd’s Operating revenues related to supplied energy, which is fully offset in Purchased power
expense. Therefore, customer choice programs have no impact on Revenue net of purchased power expense.

     Retail deliveries purchased from competitive electric generation suppliers (as a percentage of kWh sales) for the three months ended March
31, 2018 and 2017 , consisted of the following:


                                                                                                                                                      Three Months Ended
                                                                                                                                                           March 31,

                                                                                                                                               2018                          2017
Electric                                                                                                                                                   69%                         71%


      Retail customers purchasing electric generation from competitive electric generation suppliers at March 31, 2018 and 2017 consisted of the
following:



                                                                                              March 31, 2018                                             March 31, 2017

                                                                           Number of customers        % of total retail customers    Number of customers         % of total retail customers
Electric                                                                             1,360,000                           34%                   1,453,000                            36%


     The changes in ComEd’s Revenue net of purchased power expense for the three months ended March 31, 2018 , compared to the same
period in 2017 consisted of the following:

                                                                                                                                                               Three Months Ended
                                                                                                                                                                    March 31,
                                                                                                                                                                 Increase (Decrease)
Electric distribution revenue                                                                                                                          $                               (31)
Transmission revenue                                                                                                                                                                    (6)
Energy efficiency revenue (a)                                                                                                                                                            8
Regulatory required programs (a)                                                                                                                                                       (57)
Uncollectible accounts recovery, net                                                                                                                                                     1
Other                                                                                                                                                                                  28
Total decrease                                                                                                                                         $                               (57)
_________
(a)   Beginning on June 1, 2017, ComEd is deferring energy efficiency costs as a regulatory asset that will be recovered through the energy efficiency formula rate over the weighted average
      useful life of the related energy efficiency measures.

     Revenue Decoupling. The demand for electricity is affected by weather conditions. Under FEJA, ComEd revised its electric distribution rate
formula effective January 1, 2017 to eliminate the favorable and unfavorable impacts on Operating revenues associated with variations in delivery
volumes associated with above or below normal weather, numbers of customers or usage per customer.


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      Heating and cooling degree days are quantitative indices that reflect the demand for energy needed to heat or cool a home or business.
Normal weather is determined based on historical average heating and cooling degree days for a 30-year period in ComEd's service territory with
cooling degree days generally having a more significant impact to ComEd, particularly during the summer months. The changes in heating and
cooling degree days in ComEd’s service territory for the three months ended March 31, 2018 and 2017 , consisted of the following:



Heating and Cooling Degree-Days                                                                                              % Change

Three Months Ended March 31,                  2018                  2017                 Normal              2018 vs. 2017              2017 vs. Normal
Heating Degree-Days                                  3,117                 2,650                  3,141                 17.6%                       (0.8)%
Cooling Degree-Days                                     —                        —                   —                   n/a                         n/a


       Electric Distribution Revenue. EIMA and FEJA provide for a performance-based formula rate, which requires an annual reconciliation of the
revenue requirement in effect to the actual costs that the ICC determines are prudently and reasonably incurred in a given year. Electric distribution
revenue varies from year to year based upon fluctuations in the underlying costs, investments being recovered, and allowed ROE. ComEd’s allowed
ROE is the annual average rate on 30-year treasury notes plus 580 basis points. In addition, ComEd's allowed ROE is subject to reduction if ComEd
does not deliver the reliability and customer service benefits to which it has committed over the ten-year life of the investment program. Electric
distribution revenue decreased during the three months ended March 31, 2018 , primarily due to the impact of the lower federal income tax rate,
partially offset by increased revenues due to higher rate base and increased Depreciation expense as compared to the same period in 2017 . See
Depreciation and amortization expense discussions below and Note 6 — Regulatory Matters and Note 12 — Income Taxes of the Combined Notes
to Consolidated Financial Statements for additional information.


      Transmission Revenue. Under a FERC-approved formula, transmission revenue varies from year to year based upon fluctuations in the
underlying costs, capital investments being recovered and the highest daily peak load, which is updated annually in January based on the prior
calendar year. Generally, increases/decreases in the highest daily peak load will result in higher/lower transmission revenue. For the three months
ended March 31, 2018 , ComEd recorded decreased transmission revenue primarily due to the decreased peak load, partially offset by increased
revenues due to higher rate base and increased Depreciation expense as compared to the same period in 2017 . See Operating and maintenance
expense below and Note 6 — Regulatory Matters and Note 12 — Income Taxes of the Combined Notes to Consolidated Financial Statements for
additional information.


     Energy Efficiency Revenue. Beginning June 1, 2017, FEJA provides for a performance-based formula rate, which requires an annual
reconciliation of the revenue requirement in effect to the actual costs that the ICC determines are prudently and reasonably incurred in a given year.
Under FEJA, energy efficiency revenue varies from year to year based upon fluctuations in the underlying costs, investments being recovered, and
allowed ROE. ComEd’s allowed ROE is the annual average rate on 30-year treasury notes plus 580 basis points. Beginning January 1, 2018,
ComEd’s allowed ROE is subject to a maximum downward or upward adjustment of 200 basis points if ComEd’s cumulative persisting annual MWh
savings falls short of or exceeds specified percentage benchmarks of its annual incremental savings goal. See Depreciation and amortization
expense discussions below, and Note 6 — Regulatory Matters of the Combined Notes to Consolidated Financial Statements for additional
information.


     Regulatory Required Programs. This represents the change in Operating revenues collected under approved rate riders to recover costs
incurred for regulatory programs such as ComEd’s purchased power administrative costs and energy efficiency and demand response through June
1, 2017 pursuant


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to FEJA. The riders are designed to provide full and current cost recovery. An equal and offsetting amount has been included in Operating and
maintenance expense. See Operating and maintenance expense discussion below for additional information on included programs.

       Uncollectible Accounts Recovery, Net. Uncollectible accounts recovery, net represents recoveries under ComEd’s uncollectible accounts
tariff. See Operating and maintenance expense discussion below for additional information on this tariff.


      Other. Other revenue, which can vary period to period, includes rental revenue, revenue related to late payment charges, assistance provided
to other utilities through mutual assistance programs, recoveries of environmental costs associated with MGP sites, and recoveries of energy
procurement costs. The increase in Other revenue for the three months ended March 31, 2018 compared to the same period in 2017 primarily
reflects mutual assistance revenues associated with hurricane and winter storm restoration efforts. An equal and offsetting amount has been
included in Operating and maintenance expense and Taxes other than income.

       Operating and Maintenance Expense

                                                                                                                                           Three Months Ended
                                                                                                                                                March 31,
                                                                                                                                                                               Increase
                                                                                                                                          2018               2017             (Decrease)
Operating and maintenance expense — baseline                                                                                        $         313      $         313      $              —
                                                                                           (a)
Operating and maintenance expense — regulatory required programs                                                                                 —                  57                  (57)
Total operating and maintenance expense                                                                                             $         313      $         370      $             (57)
_________
(a)   Operating and maintenance expense for regulatory required programs are costs for various legislative and/or regulatory programs that are recoverable from customers on a full and current
      basis through approved regulated rates. An equal and offsetting amount has been reflected in Operating revenues.


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     The decrease in Operating and maintenance expense for the three months ended March 31, 2018 compared to the same period in 2017 ,
consisted of the following:

                                                                                                                                                             Three Months Ended
                                                                                                                                                                March 31, 2018
                                                                                                                                                             Increase (Decrease)
Baseline
      Labor, other benefits, contracting and materials (a)                                                                                         $                                     9
      Pension and non-pension postretirement benefits expense (a)                                                                                                                        1
      Storm-related costs                                                                                                                                                               (6)
      Uncollectible accounts expense — provision (b)                                                                                                                                     2
      Uncollectible accounts expense — recovery, net (b)                                                                                                                                (1)
      BSC costs (a)                                                                                                                                                                     (3)
              (a)
      Other                                                                                                                                                                             (2)
                                                                                                                                                                                        —
Regulatory required programs
      Energy efficiency and demand response programs (c)                                                                                                                               (57)
Decrease in operating and maintenance expense                                                                                                      $                                   (57)
_________
(a)   Includes additional costs associated with mutual assistance programs. An equal and offsetting decrease has been recognized in Operating revenues for the period presented.
(b)   ComEd is allowed to recover from or refund to customers the difference between the utility’s annual uncollectible accounts expense and the amounts collected in rates annually through a
      rider mechanism. During the three months ended March 31, 2018 , ComEd recorded a net increase in Operating and maintenance expense related to uncollectible accounts due to the
      timing of regulatory cost recovery. An equal and offsetting decrease has been recognized in Operating revenues for the period presented.
(c)   Beginning on June 1, 2017, ComEd is deferring energy efficiency costs as a regulatory asset that will be recovered through the energy efficiency formula rate over the weighted average
      useful life of the related energy efficiency measures.

       Depreciation and Amortization Expense


     The increase in Depreciation and amortization expense during the three months ended March 31, 2018 , compared to the same period in 2017
, consisted of the following:

                                                                                                                                                            Three Months Ended
                                                                                                                                                               March 31, 2018

                                                                                                                                                             Increase (Decrease)

Depreciation expense          (a)                                                                                                                 $                                      11
Regulatory asset amortization           (b)                                                                                                                                               9
Total increase                                                                                                                                    $                                      20
_________
(a)   Primarily reflects ongoing capital expenditures for the three months ended March 31, 2018 .
(b)   Beginning in June 2017, includes amortization of ComEd's energy efficiency formula rate regulatory asset.

       Taxes Other Than Income

     Taxes other than income, which can vary year to year, include municipal and state utility taxes, real estate taxes and payroll taxes. Taxes other
than income taxes remained relatively consistent for the three months ended March 31, 2018 , compared to the same period in 2017 .


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       Gain on Sales of Assets

     The increase in Gain on sales of assets during the three months ended March 31, 2018 , compared to the same period in 2017 , is due to the
sale of land during March 2018.


       Interest Expense, Net

       Interest expense, net, remained relatively consistent for the three months ended March 31, 2018 , compared to the same period in 2017 .


       Other, Net

       Other, net, remained relatively consistent for the three months ended March 31, 2018 , compared to the same period in 2017 .

       Effective Income Tax Rate


      ComEd's effective income tax rate was 21.8% and 39.5% for the three months ended March 31, 2018 and 2017 , respectively. The decrease in
the effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily due to the lower
federal income tax rate as a result of the TCJA. See Note 12 — Income Taxes of the Combined Notes to Consolidated Financial Statements for
additional information regarding the components of the effective income tax rates.


ComEd Electric Operating Statistics Detail

                                                                                                                    Three Months Ended
                                                                                                                         March 31,                                            Weather-
                                                                                                                                                                               Normal
Retail Deliveries to Customers (in GWhs)                                                                           2018              2017               % Change              % Change
Retail Deliveries (a)
Residential                                                                                                          6,614              6,241                  6.0%                    1.0 %
Small commercial & industrial                                                                                        7,843              7,709                  1.7%                   (0.5)%
Large commercial & industrial                                                                                        6,837              6,683                  2.3%                    0.7 %
Public authorities & electric railroads                                                                                 362               344                  5.2%                    2.8 %
Total retail deliveries                                                                                             21,656            20,977                   3.2%                    0.4 %

                                                                                                                                                         As of March 31,

Number of Electric Customers                                                                                                                    2018                          2017
Residential                                                                                                                                       3,633,369                     3,605,498
Small commercial & industrial                                                                                                                       379,255                        375,617
Large commercial & industrial                                                                                                                          1,980                          2,000
Public authorities & electric railroads                                                                                                                4,781                          4,818
Total                                                                                                                                             4,019,385                     3,987,933
_________
(a)   Reflects delivery volume from customers purchasing electricity directly from ComEd and customers purchasing electricity from a competitive electric generation supplier, as all customers
      are assessed delivery charges.

     See Note 19 — Segment Information of the Combined Notes to Consolidated Financial Statements for the presentation of ComEd's revenue
disaggregation.


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Results of Operations — PECO

                                                                                                                         Three Months Ended
                                                                                                                              March 31,                       Favorable
                                                                                                                                                            (Unfavorable)
                                                                                                                        2018              2017                 Variance
Operating revenues                                                                                                 $        866       $       796       $               70
Purchased power and fuel expense                                                                                            333               287                      (46)
Revenues net of purchased power and fuel expense (a)                                                                        533               509                       24
Other operating expenses
      Operating and maintenance                                                                                             275               208                      (67)
      Depreciation and amortization                                                                                            75                71                         (4)
      Taxes other than income                                                                                                  41                38                         (3)
           Total other operating expenses                                                                                   391               317                      (74)
Operating income                                                                                                            142               192                      (50)
Other income and (deductions)
      Interest expense, net                                                                                                    (33)              (31)                       (2)
      Other, net                                                                                                                 2                 2                        —
           Total other income and (deductions)                                                                                 (31)              (29)                       (2)
Income before income taxes                                                                                                  111               163                      (52)
Income taxes                                                                                                                    (2)              36                     38
Net income                                                                                                         $        113       $       127       $              (14)
_________
(a)   PECO evaluates its operating performance using the measures of revenue net of purchased power expense for electric sales and revenue net of fuel expense for gas
      sales. PECO believes revenue net of purchased power expense and revenue net of fuel expense are useful measurements of its performance because they provide
      information that can be used to evaluate its net revenue from operations. PECO has included the analysis below as a complement to the financial information provided in
      accordance with GAAP. However, revenue net of purchased power expense and revenue net of fuel expense figures are not presentations defined under GAAP and may
      not be comparable to other companies’ presentations or more useful than the GAAP information provided elsewhere in this report.

       Net Income


     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . PECO's Net income decreased from the same
period in 2017 , primarily due to higher Operating and maintenance expense attributable to increased storm restoration costs as a result of winter
storms in March 2018, partially offset by higher Operating revenues net of purchase power and fuel expense attributable to favorable weather. The
TCJA did not impact PECO's Net income for the three months ended March 31, 2018 as the favorable income tax impacts were fully offset by lower
revenues resulting from the pass back of the tax savings through customer rates.


       Revenues Net of Purchased Power and Fuel Expense

      Electric and natural gas revenue and purchased power and fuel expense are affected by fluctuations in commodity procurement costs. PECO's
electric supply and natural gas cost rates charged to customers are subject to adjustments as specifies in the PAPUC-approved tariffs that are
designed to recover or refund the difference between the actual cost of electric supply and natural gas and the amount included in rates in
accordance with PECO's GSA and PGC, respectively. Therefore, fluctuations in electric supply and natural gas procurement costs have no impact
on electric and natural gas revenue net of purchased power and fuel expense.


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      Electric and natural gas revenue and purchased power and fuel expense are also affected by fluctuations in participation in the Customer
Choice Program. All PECO customers have the choice to purchase electricity and natural gas from competitive electric generation and natural gas
suppliers, respectively. The customer's Choice of suppliers does not impact the volume of deliveries, but affects revenue collected from customers
related to supplied energy and natural gas service. Customer choice program activity has no impact on electric and natural gas revenues net of
purchased power and fuel expense.

     Retail deliveries purchased from competitive electric generation and natural gas suppliers (as a percentage of kWh and mmcf sales,
respectively) for the three months ended March 31, 2018 and 2017 , consisted of the following:


                                                                                                                                     Three Months Ended
                                                                                                                                          March 31,

                                                                                                                              2018                            2017
Electric                                                                                                                                67%                              70%
Natural Gas                                                                                                                             25%                              25%


    Retail customers purchasing electric generation and natural gas from competitive electric generation and natural gas suppliers at March 31,
2018 and 2017 consisted of the following:



                                                                              March 31, 2018                                           March 31, 2017
                                                                                         % of total retail                                             % of total retail
                                                               Number of customers         customers            Number of customers                      customers
Electric                                                                557,700                       34%                     589,700                                36%
Natural Gas                                                              83,800                       16%                       81,300                               16%


      The changes in PECO’s Operating revenues net of purchased power and fuel expense for the three months ended March 31, 2018 compared
to the same period in 2017 consisted of the following:


                                                                                                                              Three Months Ended
                                                                                                                                 March 31, 2018
                                                                                                                              Increase (Decrease)

                                                                                                             Electric                Natural Gas                 Total
Weather                                                                                                 $               17     $              12          $                29
Volume                                                                                                                  —                          3                       3
Pricing                                                                                                                 (7)                    (6)                       (13)
Regulatory required programs                                                                                            (2)                   —                            (2)
Other                                                                                                                   9                      (2)                         7
Total increase                                                                                          $               17     $                   7      $                24


     Weather. The demand for electricity and natural gas is affected by weather conditions. With respect to the electric business, very warm
weather in summer months and, with respect to the electric and natural gas businesses, very cold weather in winter months are referred to as
“favorable weather conditions” because these weather conditions result in increased deliveries of electricity and natural gas. Conversely, mild
weather reduces demand. During the three months ended March 31, 2018 compared to the same period in 2017 , Operating revenue net of
purchased power and fuel increased due to favorable weather conditions.


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     Heating and cooling degree days are quantitative indices that reflect the demand for energy needed to heat or cool a home or business.
Normal weather is determined based on historical average heating and cooling degree days for a 30-year period in PECO's service territory. The
changes in heating and cooling degree days in PECO’s service territory for the three months ended March 31, 2018 compared to the same periods
in 2017 and normal weather consisted of the following:



Heating and Cooling Degree-Days                                                                                                             % Change

Three Months Ended March 31,                             2018                    2017                  Normal               2018 vs. 2017               2018 vs. Normal
Heating Degree-Days                                             2,418                   2,094                2,444                    15.5%                         (1.1)%
Cooling Degree-Days                                                —                       —                      1                       —%                      (100.0)%


    Volume. Operating revenue net of purchased power related to delivery volume, exclusive of the effects of weather, for the three months ended
March 31, 2018 compared to the same period in 2017 , remained relatively consistent. Operating revenue net of fuel expense for the three months
ended March 31, 2018 compared to the same period in 2017 increased due to strong customer growth and moderate economic growth.

     Pricing. Operating revenues net of purchased power as a result of pricing for the three months ended March 31, 2018 compared to the same
period in 2017 decreased primarily due to the pass back through customers rates the tax savings associated with the lower federal income tax rate.
See Note 6 — Regulatory Matters of the Combined Notes to Consolidated Financial Statements for additional information.


      Regulatory Required Programs. This represents the change in Operating revenues collected under approved riders to recover costs incurred
for regulatory programs such as smart meter, energy efficiency and the GSA. The riders are designed to provide full and current cost recovery as
well as a return. The costs of these programs are included in Operating and maintenance expense, Depreciation and amortization expense and
Income taxes. Refer to the Operating and maintenance expense discussion below for additional information on included programs.


      Other. Other revenue, which can vary period to period, primarily includes wholesale transmission revenue, rental revenue, revenue related to
late payment charges and assistance provided to other utilities through mutual assistance programs.


       Operating and Maintenance Expense

                                                                                                                           Three Months Ended
                                                                                                                                March 31,
                                                                                                                                                               Increase
                                                                                                                          2018              2017              (Decrease)
Operating and maintenance expense — baseline                                                                          $       259     $         196       $                63
Operating and maintenance expense — regulatory required programs (a)                                                             16                12                      4
Total operating and maintenance expense                                                                               $       275     $         208       $                67
_________
(a)   Operating and maintenance expenses for regulatory required programs are costs for various legislative and/or regulatory programs that are recoverable from customers
      on a full and current basis through approved regulated rates. An equal and offsetting amount has been reflected in Operating revenues.

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     The changes in Operating and maintenance expense for the three months ended March 31, 2018 compared to the same period in 2017 ,
consisted of the following:

                                                                                                                            Three Months Ended
                                                                                                                               March 31, 2018

                                                                                                                            Increase (Decrease)
Baseline
      Labor, other benefits, contracting and materials                                                                $                           5
                                (a)
      Storm-related costs                                                                                                                         59
      Pension and non-pension postretirement benefits expense                                                                                     (2)
      Other                                                                                                                                       1
                                                                                                                                                  63
Regulatory Required Programs
      Energy efficiency                                                                                                                           4
Total increase                                                                                                        $                           67
__________
(a)   Reflects increased costs incurred from the Q1 2018 winter storms.

       Depreciation and Amortization Expense


    The changes in Depreciation and amortization expense increased primarily due to ongoing capital spend for the three months ended March 31,
2018 compared to the same period in 2017 .


       Taxes Other Than Income

     Taxes other than income, which can vary period to period, include municipal and state utility taxes, real estate taxes and payroll taxes. Taxes
other than income increased for the three months ended March 31, 2018 compared to the same period in 2017 due to an increase in gross receipts
tax driven by an increase in electric revenue.


       Interest Expense, Net


       Interest expense, net for the three months ended March 31, 2018 remained relatively consistent compared to the same period in 2017 .

       Other, Net


       Other, net for the three months ended March 31, 2018 remained consistent compared to the same period in 2017 .

       Effective Income Tax Rate


      PECO's effective income tax rate was (1.8)% and 22.1% for the three months ended March 31, 2018 and 2017 , respectively. The decrease in
the effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily due to the lower
federal income tax rate as a result of the TCJA. See Note 12 — Income Taxes of the Combined Notes to Consolidated Financial Statements for
additional information regarding the components of the effective income tax rates.


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PECO Electric Operating Statistics

                                                                                                                    Three Months Ended
                                                                                                                         March 31,                                            Weather -
                                                                                                                                                                               Normal
Retail Deliveries to Customers (in GWhs)                                                                           2018              2017              % Change               % Change

Retail Deliveries (a)
Residential                                                                                                          3,628              3,378                  7.4 %                    0.1 %
Small commercial & industrial                                                                                        2,029              1,976                  2.7 %                 (1.0)%
Large commercial & industrial                                                                                        3,703              3,626                  2.1 %                    2.0 %
Public authorities & electric railroads                                                                                 197                224                (12.1)%              (12.1)%
Total retail deliveries                                                                                              9,557              9,204                  3.8 %                    0.3 %

                                                                                                                                                               As of March 31,

Number of Electric Customers                                                                                                                           2018                      2017
Residential                                                                                                                                            1,474,555                 1,461,662
Small commercial & industrial                                                                                                                             151,947                 150,580
Large commercial & industrial                                                                                                                                 3,113                     3,100
Public authorities & electric railroads                                                                                                                       9,541                     9,798
Total                                                                                                                                                  1,639,156                 1,625,140
_________
(a)   Reflects delivery volumes from customers purchasing electricity directly from PECO and customers purchasing electricity from a competitive electric generation supplier as all customers
      are assessed distribution charges.

PECO Natural Gas Operating Statistics

                                                                                                                  Three Months Ended
                                                                                                                       March 31,                                             Weather -
                                                                                                                                                                              Normal
Deliveries to Customers (in mmcf)                                                                                2018               2017             % Change                % Change
Retail Deliveries (a)
Residential                                                                                                       20,574             18,112                 13.6 %                      0.9 %
Small commercial & industrial                                                                                     10,417              9,091                 14.6 %                      2.8 %
Large commercial & industrial                                                                                           47                  8             487.5 %                  460.6 %
Transportation                                                                                                     7,568              7,689                 (1.6)%                   (7.8)%
Total natural gas deliveries                                                                                      38,606             34,900                 10.6 %                   (0.3)%

                                                                                                                                                               As of March 31,

Number of Natural Gas Customers                                                                                                                        2018                      2017
Residential                                                                                                                                               478,565                 473,972
Small commercial & industrial                                                                                                                              44,053                   43,705
Large commercial & industrial                                                                                                                                     4                        4
Transportation                                                                                                                                                 768                       775
Total                                                                                                                                                     523,390                 518,456
_________
(a)   Reflects delivery volumes from customers purchasing natural gas directly from PECO and customers purchasing natural gas from a competitive natural gas supplier as all customers are
      assessed distribution charges.

     See Note 19 — Segment Information of the Combined Notes to Consolidated Financial Statements for the presentation of PECO's revenue
disaggregation.


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Results of Operations — BGE
                                                                                                                                 Three Months Ended
                                                                                                                                      March 31,                        Favorable
                                                                                                                                                                     (Unfavorable)
                                                                                                                                2018              2017                 Variance
Operating revenues                                                                                                         $        977       $       951       $                 26
Purchased power and fuel expense                                                                                                    380               350                        (30)
Revenues net of purchased power and fuel expense (a)                                                                                597               601                            (4)
Other operating expenses
      Operating and maintenance                                                                                                     221               183                        (38)
      Depreciation and amortization                                                                                                 134               128                            (6)
      Taxes other than income                                                                                                          65                62                          (3)
            Total other operating expenses                                                                                          420               373                        (47)
Operating income                                                                                                                    177               228                        (51)
Other income and (deductions)
      Interest expense, net                                                                                                            (25)              (27)                        2
      Other, net                                                                                                                         4                 4                      —
            Total other income and (deductions)                                                                                        (21)              (23)                        2
Income before income taxes                                                                                                          156               205                        (49)
Income taxes                                                                                                                           28                80                       52
Net income                                                                                                                 $        128       $       125       $                    3
_________
(a)   BGE evaluates its operating performance using the measures of revenue net of purchased power expense for electric sales and revenue net of fuel expense for gas sales. BGE believes
      revenues net of purchased power and fuel expense are useful measurements of its performance because they provide information that can be used to evaluate its net revenue from
      operations. BGE has included the analysis below as a complement to the financial information provided in accordance with GAAP. However, revenues net of purchased power and fuel
      expense figures are not a presentation defined under GAAP and may not be comparable to other companies’ presentations or more useful than the GAAP information provided elsewhere
      in this report.

       Net Income

     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . BGE’s Net income for the three months ended
March 31, 2018 was higher than the same period in 2017 , primarily due to higher transmission revenues, which were partially offset by an increase
in Operating and maintenance expense attributable to increased storm restoration costs as a result of winter storms in March 2018. The TCJA did
not impact BGE's net income for the three months ended March 31, 2018 as the favorable income tax impacts were predominantly offset by lower
revenues resulting from the pass back of the tax savings through customer rates.


       Revenues Net of Purchased Power and Fuel Expense


      There are certain drivers to Operating revenues that are offset by their impact on Purchased power and fuel expense, such as commodity
procurement costs and programs allowing customers to select a competitive electric or natural gas supplier. Operating revenues and Purchased
power and fuel expense are affected by fluctuations in commodity procurement costs. BGE’s electric and natural gas rates charged to customers are
subject to periodic adjustments that are designed to recover or refund the difference between the actual cost of purchased electric power and
purchased natural gas and the amount included in rates in accordance with the MDPSC’s market-based SOS and gas commodity programs,
respectively. Therefore, fluctuations in electric supply and natural gas procurement costs have no impact on Revenues net of purchased power and
fuel expense.


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     Electric and natural gas revenue and purchased power and fuel expense are also affected by fluctuations in the number of customers electing
to use a competitive supplier for electricity and/or natural gas. All BGE customers have the choice to purchase electricity and natural gas from
competitive suppliers. The customers' choice of suppliers does not impact the volume of deliveries, but does affect revenue collected from
customers related to supplied electricity and natural gas.

     Retail deliveries purchased from competitive electricity and natural gas suppliers (as a percentage of kWh and mmcf sales, respectively) for the
three months ended March 31, 2018 and 2017 consisted of the following:


                                                                                                                                    Three Months Ended
                                                                                                                                         March 31,

                                                                                                                             2018                        2017
Electric                                                                                                                               57%                        58%
Natural Gas                                                                                                                            46%                        48%


      The number of retail customers purchasing electricity and natural gas from competitive suppliers at March 31, 2018 and 2017 consisted of the
following:



                                                                                March 31, 2018                                        March 31, 2017
                                                                    Number of              % of total retail                                     % of total retail
                                                                    Customers                customers              Number of customers            customers
Electric                                                                 340,900                        26%                  339,600                             27%
Natural Gas                                                              150,200                        22%                  149,300                             22%


      The changes in BGE’s Operating revenues net of purchased power and fuel expense for the three months ended March 31, 2018 , compared
to the same period in 2017 , consisted of the following:

                                                                                                                         Three Months Ended
                                                                                                                            March 31, 2018
                                                                                                                         Increase (Decrease)

                                                                                                       Electric                 Gas                      Total
Distribution revenue                                                                             $                (19)   $               (14)   $                 (33)
Regulatory required programs                                                                                        3                      3                         6
Transmission revenue                                                                                              13                      —                          13
Other, net                                                                                                          5                      5                         10
Total increase (decrease)                                                                        $                  2    $                (6)   $                    (4)

     Distribution Revenue. The decrease in distribution revenues for the three months ended March 31, 2018 , compared to the same period in
2017 , was primarily due to the impact of reduced distribution rates to reflect the lower federal income tax rate. See Note 6 — Regulatory Matters of
the Combined Notes to Consolidated Financial Statements for additional information.

     Revenue Decoupling. The demand for electricity and natural gas is affected by weather and usage conditions. The MDPSC allows BGE to
record a monthly adjustment to its electric and natural gas distribution revenue from all residential customers, commercial electric customers, the
majority of large industrial electric customers, and all firm service natural gas customers to eliminate the effect of abnormal weather and usage
patterns per customer on BGE's electric and natural gas distribution volumes, thereby recovering a specified dollar amount of distribution revenue
per customer, by customer


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class, regardless of fluctuations in actual consumption levels. This allows BGE to recognize revenue at MDPSC-approved distribution charges per
customer, regardless of what BGE's actual distribution volumes were for a billing period. Therefore, while this revenue is affected by customer
growth (i.e., increase in the number of customers), it will not be affected by volatility in actual weather or usage conditions (i.e., changes in
consumption per customer). BGE bills or credits customers in subsequent months for the difference between approved revenue levels under
revenue decoupling and actual customer billings.

    Heating and cooling degree days are quantitative indices that reflect the demand for energy needed to heat or cool a home or business.
Normal weather is determined based on historical average heating and cooling degree days for a 30-year period in BGE's service territory. The
changes in heating and cooling degree days in BGE's service territory for the three months ended March 31, 2018 compared to the same period in
2017 consisted of the following:



Heating and Cooling Degree-Days                                                                                                                               % Change

Three Months Ended March 31,                                    2018                      2017                     Normal                  2018 vs. 2017                  2018 vs. Normal
Heating Degree-Days                                                    2,440                     2,063                    2,391                       18.3%                             2.0%
Cooling Degree-Days                                                       —                         —                         —                         n/a                             n/a


     Regulatory Required Programs. Revenue from regulatory required programs are billings for the costs of various legislative and/or regulatory
programs that are recoverable from customers on a full and current basis. These programs are designed to provide full cost recovery, as well as a
return in certain instances. The costs of these programs are included in Operating and maintenance expense, Depreciation and amortization
expense and Taxes other than income in BGE's Consolidated Statements of Operations and Comprehensive Income.

      Transmission Revenue. Under a FERC approved formula, transmission revenue varies from year to year based upon rate adjustments to
reflect fluctuations in the underlying costs, capital investments being recovered and other billing determinants. The increase in transmission revenue
for the three months ended March 31, 2018 , compared to the same period in 2017 , was primarily due to increases in capital investment and
operating and maintenance expense recoveries. See Operating and Maintenance Expense below and Note 6 — Regulatory Matters of the
Combined Notes to Consolidated Financial Statements for additional information.


     Other, Net. Other net revenue, which can vary from period to period, primarily includes late payment fees and other miscellaneous revenue
such as service application fees, assistance provided to other utilities through BGE's mutual assistance program and recoveries of electric supply
and natural gas procurement costs.

       Operating and Maintenance Expense

                                                                                                                                          Three Months Ended
                                                                                                                                               March 31,
                                                                                                                                                                                 Increase
                                                                                                                                         2018                 2017              (Decrease)
Operating and maintenance expense — baseline                                                                                       $         207      $          167       $                40
                                                                                           (a)
Operating and maintenance expense — regulatory required programs                                                                                14                   16                     (2)
Total operating and maintenance expense                                                                                            $         221      $          183       $                38
_________
(a)   Operating and maintenance expense for regulatory required programs are costs for various legislative and/or regulatory programs that are recoverable from customers on a full and current
      basis through approved regulated rates. An equal and offsetting amount has been reflected in Operating revenues.


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     The changes in Operating and maintenance expense for the three months ended March 31, 2018 compared to the same period in 2017 ,
consisted of the following:

                                                                                                                                                          Three Months Ended
                                                                                                                                                             March 31, 2018
                                                                                                                                                           Increase (Decrease)
Baseline
      Storm-related costs (a)                                                                                                                      $                              27
      Labor, other benefits, contracting and materials                                                                                                                             4
      Uncollectible accounts expense                                                                                                                                               3
      BSC costs                                                                                                                                                                    3
      Other                                                                                                                                                                        3
                                                                                                                                                                                  40
Regulatory Required Programs
      Other                                                                                                                                                                       (2)
Total increase                                                                                                                                     $                              38
 __________
(a)   Reflects increased storm restoration costs incurred from the Q1 2018 winter storms.

       Depreciation and Amortization


     The changes in Depreciation and amortization expense for the three months ended March 31, 2018 compared to the same period in 2017
consisted of the following:

                                                                                                                                                         Three Months Ended
                                                                                                                                                            March 31, 2018

                                                                                                                                                          Increase (Decrease)
Depreciation expense (a)                                                                                                                         $                                 1
Regulatory asset amortization (b)                                                                                                                                                 (3)
Regulatory required programs (c)                                                                                                                                                   8
Total increase                                                                                                                                   $                                 6
_________
(a)   Depreciation expense increased due to ongoing capital expenditures.
(b)   Regulatory asset amortization decreased for the three months ended March 31, 2018 compared to the same period in 2017 primarily due to certain regulatory assets that became fully
      amortized as of December 31, 2017. See Note 6 — Regulatory Matters of the Combined Notes to Consolidated Financial Statements for additional information.
(c)   Depreciation and amortization expenses for regulatory required programs are recoverable from customers on a full and current basis through approved regulated rates. An equal and
      offsetting amount has been reflected in Operating revenues.


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       Taxes Other Than Income

     Taxes other than income, which can vary period to period, include municipal and state utility taxes, real estate taxes and payroll taxes. Taxes
other than income for the three months ended March 31, 2018 , compared to the same period in 2017 , remained relatively consistent.


       Interest Expense, Net

       Interest expense, net for the three months ended March 31, 2018 , compared to the same period in 2017 , remained relatively consistent.


       Other, Net

       Other, net for the three months ended March 31, 2018 , compared to the same period in 2017 , remained relatively consistent.

       Effective Income Tax Rate


      BGE’s effective income tax rate was 17.9% and 39.0% for the three months ended March 31, 2018 and 2017 , respectively. The decrease in
the effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily due to the lower
federal income tax rate as a result of the TCJA. See Note 12 — Income Taxes of the Combined Notes to Consolidated Financial Statements for
additional information regarding the components of the effective income tax rates.

BGE Electric Operating Statistics and Detail
                                                                                                                     Three Months Ended
                                                                                                                          March 31,                                             Weather -
                                                                                                                                                                                 Normal
Retail Deliveries to Customers (in GWhs)                                                                            2018               2017              % Change               % Change

Retail Deliveries (a)
Residential                                                                                                           3,580             3,127                  14.5 %                   3.7%
Small commercial & industrial                                                                                           784                748                   4.8 %                  2.2%
Large commercial & industrial                                                                                         3,356             3,268                    2.7 %                  0.1%
Public authorities & electric railroads                                                                                    67                 68                 (1.5)%                 8.4%
Total electric deliveries                                                                                             7,787             7,211                    8.0 %                  2.0%

                                                                                                                                                                 As of March 31,

Number of Electric Customers                                                                                                                              2018                     2017
Residential                                                                                                                                              1,163,887                 1,153,688
Small commercial & industrial                                                                                                                              113,675                  113,238
Large commercial & industrial                                                                                                                                12,148                   12,084
Public authorities & electric railroads                                                                                                                           270                     279
Total                                                                                                                                                    1,289,980                 1,279,289
_________
(a)   Reflects delivery volumes from customers purchasing electricity directly from BGE and customers purchasing electricity from a competitive electric generation supplier as all customers are
      assessed distribution charges.


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BGE Natural Gas Operating Statistics and Detail

                                                                                                                 Three Months Ended
                                                                                                                      March 31,                                          Weather -
                                                                                                                                                                          Normal
Deliveries to Customers (in mmcf)                                                                               2018              2017             % Change              % Change

Retail Deliveries (a)
Residential                                                                                                     21,775             18,117                20.2%                    1.8%
Small commercial & industrial                                                                                     4,774             3,778                26.4%                    6.7%
Large commercial & industrial                                                                                   15,650             14,476                    8.1%                 1.0%
Other    (b)                                                                                                      5,378             2,279               136.0%                    n/a
Total natural gas deliveries                                                                                    47,577             38,650                23.1%                    2.0%

                                                                                                                                                             As of March 31,
Number of Gas Customers                                                                                                                               2018                     2017
Residential                                                                                                                                            631,594                 625,642
Small commercial & industrial                                                                                                                           38,443                  37,913
Large commercial & industrial                                                                                                                             5,874                   6,324
Total                                                                                                                                                  675,911                 669,879
_________
(a)   Reflects delivery volumes from customers purchasing natural gas directly from BGE and customers purchasing natural gas from a competitive natural gas supplier as all customers are
      assessed distribution charges.
(b)   Other natural gas revenue includes off-system sales of 5,378 mmcfs and 2,279 mmcfs for the three months ended March 31, 2018 and 2017 , respectively.

     See Note 19 — Segment Information of the Combined Notes to Consolidated Financial Statements for the presentation of BGE's revenue
disaggregation.


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Results of Operations — PHI

      PHI’s results of operations include the results of its three reportable segments, Pepco, DPL and ACE for all periods presented below. All
material intercompany accounts and transactions have been eliminated in consolidation. A separate specific discussion of the results of operations
for Pepco, DPL and ACE is presented elsewhere in this report.

                                                                                                                             Three Months Ended March 31,                 Favorable
                                                                                                                                                                        (Unfavorable)
                                                                                                                                2018                2017                  Variance
Operating revenues                                                                                                       $         1,251      $        1,175      $                  76
Purchased power and fuel expense                                                                                                       520                 461                      (59)
Revenues net of purchased power and fuel expense (a)                                                                                   731                 714                       17
Other operating expenses
      Operating and maintenance                                                                                                        309                 256                      (53)
      Depreciation and amortization                                                                                                    183                 167                      (16)
      Taxes other than income                                                                                                          113                 111                          (2)
          Total other operating expenses                                                                                               605                 534                      (71)
Operating income                                                                                                                       126                 180                      (54)
Other income and (deductions)
      Interest expense, net                                                                                                            (63)                (62)                         (1)
      Other, net                                                                                                                       11                  13                           (2)
          Total other income and (deductions)                                                                                          (52)                (49)                         (3)
Income before income taxes                                                                                                             74                  131                      (57)
Income taxes                                                                                                                             9                  (9)                     (18)
Net income                                                                                                               $             65     $            140    $                 (75)
_________
(a)   PHI evaluates its operating performance using the measure of revenue net of purchased power and fuel expense for electric and natural gas sales. PHI believes revenue net of purchased
      power and fuel expense is a useful measurement because it provides information that can be used to evaluate its operational performance. PHI has included the analysis below as a
      complement to the financial information provided in accordance with GAAP. However, Revenue net of purchased power and fuel expense is not a presentation defined under GAAP and
      may not be comparable to other companies’ presentations or deemed more useful than the GAAP information provided elsewhere in this report.

       Net Income

      Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . PHI's Net income for the three months ended
March 31, 2018 was $65 million compared to $140 million for of three months ended March 31, 2017 . The decrease in Net income reflects an
increase in Operating and maintenance expense and an increase in the Depreciation and amortization expense partially offset by the impact of
increases in electric distribution base rates and natural gas rates within Revenues net of purchased power and fuel expense. The TCJA did not
impact PHI’s Net income for the three months ended March 31, 2018 as the favorable income tax impacts were fully offset by lower revenues
resulting from the pass back of the tax savings through customer rates.


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       Revenues Net of Purchased Power and Fuel Expense

     Operating revenue net of purchased power and fuel expense, which is a non-GAAP measure discussed above, increased by $17 million for the
three months ended March 31, 2018 compared to the same period in 2017 . The increase is primarily attributable to the following factors:


   •      Increase of $11 million at Pepco primarily related to the impact of the new electric distribution base rates charged to customers in Maryland
          that became effective in October 2017, the impact of new electric distribution base rates charged to customers in the District of Columbia
          effective August 2017, and the impact of an increase in the Maryland surcharge rate (which is substantially offset in Taxes other than
          income), partially offset by the impact of reduced distribution rates to reflect the lower federal income tax rate;

   •      Increase of $11 million at ACE primarily related to higher average residential and commercial customer usage, favorable weather related
          sales, and the impact of the new electric distribution base rate charged to customers that became effective in October 2017, partially offset
          by the impact of reduced distribution rates to reflect the lower federal income tax rate;

   •      Increase of $2 million at DPL primarily related to favorable weather related sales, partially offset by the impact of reduced distribution base
          rates to reflect the lower federal income tax rate; and

   •      Decrease of $8 million at PHI Corporate primarily related to lower affiliate revenues at PHISCO as a result of the completion of integration
          transition activities.

       Operating and Maintenance Expense


    Operating and maintenance expense increased by $53 million for the three months ended March 31, 2018 compared to the same period in
2017 . The increase is attributable to the following factors:

   •      Increase of $25 million at DPL primarily due to a write-off of construction work-in-progress, higher uncollectible accounts expense as a result
          of higher accounts receivable, and the absence of integration cost deferrals from 2017;

   •      Increase of $17 million at Pepco primarily due to higher uncollectible accounts expense as a result of higher accounts receivable;


   •      Increase of $14 million at ACE primarily due to an increase in labor and contracting expense; and


   •      Decrease of $5 million at PHI Corporate primarily related to lower labor expense at PHISCO as a result of the completion of integration
          transition activities.


       Depreciation and Amortization Expense


       Depreciation and amortization expense increased by $16 million primarily due to ongoing capital expenditures at Pepco, DPL, and ACE.

       Taxes Other Than Income

       Taxes other than income for the three months ended March 31, 2018 compared to the same period in 2017 , remained relatively consistent.


       Interest Expense, Net

       Interest expense, net for the three months ended March 31, 2018 compared to the same period in 2017 , remained relatively consistent.


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     Other, Net

     Other, net for the three months ended March 31, 2018 compared to the same period in 2017 , remained relatively consistent.


     Effective Income Tax Rate

      PHI's effective income tax rate was 12.2% and (6.9)% for the three months ended March 31, 2018 and 2017 , respectively. The increase in the
effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily due to the absence of
unrecognized tax benefits for Pepco, DPL, and ACE from 2017, partially offset by the lower federal income tax rate as a result of the TCJA. See
Note 12 — Income Taxes of the Combined Notes to Consolidated Financial Statements for additional information regarding the components of the
effective income tax rates.


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Results of Operations - Pepco

                                                                                                                           Three Months Ended March 31,
                                                                                                                                                                Favorable (Unfavorable)
                                                                                                                               2018               2017                 Variance
Operating revenues                                                                                                        $         557      $        530       $                  27
Purchased power expense                                                                                                             182               166                         (16)
Revenues net of purchased power expense (a)                                                                                         375               364                          11
Other operating expenses
      Operating and maintenance                                                                                                     130               113                         (17)
      Depreciation and amortization                                                                                                   96                 82                       (14)
      Taxes other than income                                                                                                         93                 90                         (3)
          Total other operating expenses                                                                                            319               285                         (34)
Operating income                                                                                                                      56                 79                       (23)
Other income and (deductions)
      Interest expense, net                                                                                                           (31)               (29)                       (2)
      Other, net                                                                                                                        8                  8                        —
          Total other income and (deductions)                                                                                         (23)               (21)                       (2)
Income before income taxes                                                                                                            33                 58                       (25)
Income taxes                                                                                                                            2                 —                         (2)
Net income                                                                                                                $           31     $           58     $                 (27)
_________
(a)   Pepco evaluates its operating performance using the measure of revenue net of purchased power expense for electric sales. Pepco believes revenue net of purchased power expense is a
      useful measurement because it provides information that can be used to evaluate its operational performance. Pepco has included the analysis below as a complement to the financial
      information provided in accordance with GAAP. However, Revenue net of purchased power expense is not a presentation defined under GAAP and may not be comparable to other
      companies’ presentations or deemed more useful than the GAAP information provided elsewhere in this report.

       Net Income


      Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . Pepco's Net income for the three months ended
March 31, 2018 , was lower than the same period in 2017 , primarily due to higher Operating and maintenance expense attributable to an increase in
Uncollectible accounts expense as a result of higher accounts receivable and higher Depreciation and amortization expense attributable to ongoing
capital expenditures, partially offset by higher electric distribution base rates charged to customers in Maryland that became effective in October
2017 and higher electric distribution base rates charged to customers in the District of Columbia that became effective August 2017. The TCJA did
not impact Pepco's Net income for the three months ended March 31, 2018 as the favorable tax impacts were fully offset by lower revenues resulting
from the pass back of the tax savings through customer rates.


       Revenues Net of Purchased Power Expense

     Operating revenues include revenue from the distribution and supply of electricity to Pepco’s customers within its service territories at regulated
rates. Operating revenues also include transmission service revenue that Pepco receives as a transmission owner from PJM at rates regulated by
FERC. Transmission rates are updated annually based on a FERC-approved formula methodology. Operating revenues also include work and
services performed on behalf of customers, including other utilities,


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which is generally not subject to price regulation. Work and services includes mutual assistance to other utilities, highway relocation, rentals of pole
attachments, late payment fees and collection fees.

     Electric revenues and purchased power expense are also affected by fluctuations in participation in the Customer Choice Program. All Pepco
customers have the choice to purchase electricity from competitive electric generation suppliers. The customers' choice of supplier does not impact
the volume of deliveries, but affects revenue collected from customers related to supplied energy service.


     Retail deliveries purchased from competitive electric generation suppliers (as a percentage of kWh sales) for the three months ended March
31, 2018 compared to the same period in 2017 , consisted of the following:


                                                                                                                              Three Months Ended
                                                                                                                                   March 31,

                                                                                                                       2018                        2017
Electric                                                                                                                         62%                        64%


      Retail customers purchasing electric generation from competitive electric generation suppliers at March 31, 2018 and 2017 consisted of the
following:



                                                                                March 31, 2018                                  March 31, 2017
                                                                                           % of total retail                                % of total retail
                                                                 Number of customers         customers         Number of customers            customers
Electric                                                                  178,859                       20%             179,241                            21%


    Retail deliveries purchased from competitive electric generation suppliers represented 71% of Pepco’s retail kWh sales to the District of
Columbia customers and 56% of Pepco’s retail kWh sales to Maryland customers for the three months ended March 31, 2018 , respectively and
73% of Pepco’s retail kWh sales to the District of Columbia customers and 58% of Pepco’s retail kWh sales to Maryland customers for the three
months ended March 31, 2017 , respectively.


    The changes in Pepco’s operating revenues net of purchased power expense for the three months ended March 31, 2018 compared to the
same period in 2017 consisted of the following:


                                                                                                                               Three Months Ended March 31,
                                                                                                                                          2018

                                                                                                                                     Increase (Decrease)
Volume                                                                                                                     $                                    3
Distribution revenue                                                                                                                                            (1)
Regulatory required programs                                                                                                                                14
Transmission revenues                                                                                                                                           (4)
Other                                                                                                                                                           (1)
Total increase                                                                                                             $                                11


     Volume . The increase in operating revenue net of purchased power and fuel expense related to delivery volume, exclusive of the effects of
weather, for the three months ended March 31, 2018 compared to the same period in 2017 , primarily reflects the impact of residential customer
growth.

     Distribution Revenue . The decrease in distribution revenues for the three months ended March 31, 2018 compared to the same period in
2017 was primarily due to the impact of reduced distribution


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rates to reflect the lower federal income tax rate partially offset by higher electric distribution base rates charged to customers in Maryland that
became effective in October 2017 and higher electric distribution base rates charged to customers in the District of Columbia that became effective
August 2017. See Note 6 —Regulatory Matters of the Combined Notes to Consolidated Financial Statements for additional information.

      Revenue Decoupling. Pepco’s results historically have been seasonal, generally producing higher revenue and income in the warmest and
coldest periods of the year. For retail customers of Pepco in Maryland and in the District of Columbia, revenues are not affected by unseasonably
warmer or colder weather because a bill stabilization adjustment (BSA) for retail customers was implemented that provides for a fixed distribution
charge per customer. The BSA has the effect of decoupling the distribution revenue recognized in a reporting period from the amount of power
delivered during the period. As a result, the only factors that will cause distribution revenue from customers in Maryland and the District of Columbia
to fluctuate from period to period are changes in the number of customers and changes in the approved distribution charge per customer. Changes
in customer usage (due to weather conditions, energy prices, energy efficiency programs or other reasons) from period to period have no impact on
reported distribution revenue for customers to whom the BSA applies.


    Heating and cooling degree days are quantitative indices that reflect the demand for energy needed to heat or cool a home or business.
Normal weather is determined based on historical average heating and cooling degree days for a 20-year period in Pepco's service territory. The
changes in heating and cooling degree days in Pepco’s service territory for the three months ended March 31, 2018 compared to the same period in
2017 and normal weather consisted of the following:



                                                                                                                                 % Change

Three Months Ended March 31,                         2018                      2017                Normal            2018 vs. 2017     2018 vs. Normal
Heating Degree-Days                                         2,129                     1,748                 2,129            21.8%                —%
Cooling Degree-Days                                             4                        4                     3                —%              33.3%


      Regulatory Required Programs. This represents the change in Operating revenues collected under approved riders to recover costs incurred
for regulatory programs such as energy efficiency programs. The riders are designed to provide full and current cost recovery as well as a return.
The costs of these programs are included in Operating and maintenance expense, Depreciation and amortization expense and Taxes other than
income in Pepco's Consolidated Statements of Operations and Comprehensive Income. Refer to the Operating and maintenance expense and
Depreciation and amortization expense discussion below for additional information on included programs. Revenue from regulatory required
programs increased for the three months ended March 31, 2018 , compared to the same period in 2017 , due to increases in the Maryland and
District of Columbia surcharge rates and sales due to higher volumes (which are substantially offset in Taxes other than income and Depreciation
and amortization expense).

     Transmission Revenues . Under a FERC-approved formula, transmission revenue varies from year to year based upon fluctuations in the
underlying costs, capital investments being recovered, the highest daily peak load and other billing adjustments. The decrease in transmission
revenues for the three months ended March 31, 2018 compared to the same period in 2017 is a result of a decrease in network transmission service
peak loads.

      Other. Other revenue, which can vary period to period, includes rental revenue, revenue related to late payment charges, assistance provided
to other utilities through mutual assistance programs, and recoveries of other taxes.


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       Operating and Maintenance Expense

                                                                                                                                     Three Months Ended
                                                                                                                                          March 31,
                                                                                                                                                                           Increase
                                                                                                                                    2018                 2017             (Decrease)

Operating and maintenance expense - baseline                                                                                   $        132      $           114      $             18
                                                                                      (a)
Operating and maintenance expense - regulatory required programs                                                                           (2)                  (1)                 (1)
Total operating and maintenance expense                                                                                        $        130      $           113      $             17
_________
(a)   Operating and maintenance expenses for regulatory required programs are costs for various legislative and/or regulatory programs that are recoverable from customers on a full and
      current basis through approved regulated rates. An equal and offsetting amount has been reflected in Operating revenues.

     The changes in Operating and maintenance expense for the three months ended March 31, 2018 compared to the same period in 2017 ,
consisted of the following:


                                                                                                                                                 Three Months Ended March 31, 2018

                                                                                                                                                            Increase (Decrease)
Baseline
      Uncollectible accounts expense                                                                                                                                                11
      Labor and contracting                                                                                                                                                            2
      BSC and PHISCO costs                                                                                                                                                             3
      Other                                                                                                                                                                            2
                                                                                                                                                                                    18
Regulatory required programs
      Purchased power administrative costs                                                                                                                                          (1)
Total increase                                                                                                                                   $                                  17

       Depreciation and Amortization Expense


     The changes in Depreciation and amortization expense for the three months ended March 31, 2018 compared to the same period in 2017 ,
consisted of the following:

                                                                                                                                                         Three Months Ended March 31,
                                                                                                                                                                    2018

                                                                                                                                                              Increase (Decrease)
Depreciation expense (a)                                                                                                                             $                                 3
Regulatory asset amortization (b)                                                                                                                                                      8
Regulatory required programs (c)                                                                                                                                                       3
Total increase                                                                                                                                       $                                 14
_________
(a)   Depreciation expense increased due to ongoing capital expenditures.
(b)   Regulatory asset amortization increased for the three months ended March 31, 2018 compared to the same period in 2017, primarily due to higher amortization of DC PLUG regulatory
      asset. An equal and offsetting amount has been reflected in Operating revenues.
(c)   Depreciation and amortization expenses for regulatory required programs are recoverable from customers on a full and current basis through approved regulated rates. An equal and
      offsetting amount has been reflected in Operating revenues and Operating and maintenance expense.


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       Taxes Other Than Income

     Taxes other than income for the three months ended March 31, 2018 compared to the same period in 2017 , increased due to an increase in
the utility taxes that are collected and passed through by Pepco (which is substantially offset in Operating revenues).


       Interest Expense, Net

       Interest expense, net for the three months ended March 31, 2018 compared to the same period in 2017 , remained relatively consistent.


       Other, Net

       Other, net for the three months ended March 31, 2018 compared to the same period in 2017 remained relatively consistent.

       Effective Income Tax Rate


      Pepco's effective income tax rate was 6.1% and 0.0% for the three months ended March 31, 2018 and 2017 , respectively. The increase in the
effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily due to the absence of an
unrecognized tax benefit from 2017, partially offset by the lower federal income tax rate as a result of the TCJA. See Note 12 — Income Taxes of
the Combined Notes to Consolidated Financial Statements for additional information regarding the components of the change in effective income tax
rates.


Pepco Electric Operating Statistics and Detail

                                                                                                                        Three Months Ended
                                                                                                                             March 31,
                                                                                                                                                                                Weather -
                                                                                                                                                                                Normal %
Retail Deliveries to Customers (in GWhs)                                                                               2018               2017              % Change             Change

Retail Deliveries (a)
Residential                                                                                                              2,283              2,000               14.2 %                 3.5 %
Small commercial & industrial                                                                                              346                326                  6.1 %               1.8 %
Large commercial & industrial                                                                                            3,670              3,485                  5.3 %               3.3 %
Public authorities & electric railroads                                                                                    176                190                  (7.4)%             (7.9)%
Total retail deliveries                                                                                                  6,475              6,001                  7.9 %               3.0 %

                                                                                                                                                            As of March 31,

Number of Electric Customers                                                                                                                       2018                        2017
Residential                                                                                                                                           797,105                     785,016
Small commercial & industrial                                                                                                                             53,602                      53,640
Large commercial & industrial                                                                                                                             21,718                      21,413
Public authorities & electric railroads                                                                                                                     146                         136
Total                                                                                                                                                 872,571                     860,205
_________
(a)   Reflects delivery volumes from customers purchasing electricity directly from Pepco and customers purchasing electricity from a competitive electric generation supplier as all customers
      are assessed distribution charges.

     See Note 19 — Segment Information of the Combined Notes to Consolidated Financial Statements for the presentation of Pepco's revenue
disaggregation.


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Results of Operations - DPL

                                                                                                                            Three Months Ended March 31,         Favorable (Unfavorable)
                                                                                                                                                                        Variance
                                                                                                                                2018               2017
Operating revenues                                                                                                         $         384      $        362       $                  22
Purchased power and fuel expense                                                                                                     177               157                         (20)
Revenues net of purchased power and fuel expense (a)                                                                                 207               205                            2
Other operating expenses
      Operating and maintenance                                                                                                        98                 73                       (25)
      Depreciation and amortization                                                                                                    45                 39                         (6)
      Taxes other than income                                                                                                          15                 15                         —
          Total other operating expenses                                                                                             158               127                         (31)
Operating income                                                                                                                       49                 78                       (29)
Other income and (deductions)
      Interest expense, net                                                                                                            (13)               (13)                       —
      Other, net                                                                                                                         2                  3                        (1)
          Total other income and (deductions)                                                                                          (11)               (10)                       (1)
Income before income taxes                                                                                                             38                 68                       (30)
Income taxes                                                                                                                             7                11                          4
Net income                                                                                                                 $           31     $           57     $                 (26)
_________
(a)   DPL evaluates its operating performance using the measure of revenue net of purchased power expense for electric sales and revenue net of fuel expense for natural gas sales. DPL
      believes revenue net of purchased power expense and revenue net of fuel expense are useful measurements because they provide information that can be used to evaluate its operational
      performance. DPL has included the analysis below as a complement to the financial information provided in accordance with GAAP. However, Revenue net of purchased power expense
      and Revenue net of fuel expense is not a presentation defined under GAAP and may not be comparable to other companies’ presentations or deemed more useful than the GAAP
      information provided elsewhere in this report.

       Net Income

     Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . DPL's Net income for the three months ended
March 31, 2018 , was lower than the same period in 2017 primarily due to higher Operating and maintenance expense attributable to an increase in
Uncollectible accounts expense as a result of higher accounts receivable, an absence of integration cost deferrals from 2017 and a write-off of
construction work in progress. The TCJA did not impact DPL's Net income for the three months ended March 31, 2018 as the favorable tax impacts
were fully offset by lower revenues resulting from the pass back of the tax savings through customer rates.


       Revenues Net of Purchased Power and Fuel Expense

       Operating revenues include revenue from the distribution and supply of electricity and natural gas to DPL’s customers within its service
territories at regulated rates. Operating revenues also include transmission service revenue that DPL receives as a transmission owner from PJM at
rates regulated by FERC. Transmission rates are updated annually based on a FERC-approved formula methodology. Operating revenues also
include work and services performed on behalf of customers, including other utilities, which is generally not subject to price regulation. Work and
services includes mutual assistance to other utilities, highway relocation, rentals of pole attachments, late payment fees and collection fees.


     Natural gas operating revenue includes sources that are subject to price regulation (Regulated Gas Revenue) and those that generally are not
subject to price regulation (Other Gas Revenue). Regulated


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gas revenue includes the revenue DPL receives from on-system natural gas delivered sales and the transportation of natural gas for customers
within its service territory at regulated rates. Other gas revenue consists of off-system natural gas sales and the short-term release of interstate
pipeline transportation and storage capacity not needed to serve customers. Off-system sales are made possible when low demand for natural gas
by regulated customers creates excess pipeline capacity.

      Electric and natural gas revenues and purchased power and fuel expense are also affected by fluctuations in participation in the Customer
Choice Program. All DPL customers have the choice to purchase electricity and natural gas from competitive electric generation and natural gas
suppliers, respectively. The customers' choice of suppliers does not impact the volume of deliveries, but affects revenue collected from customers
related to supplied energy and natural gas service.

     Retail deliveries purchased from competitive electric generation and natural gas suppliers (as a percentage of kWh and mmcf sales,
respectively) for the three months ended March 31, 2018 and 2017 , consisted of the following:


                                                                                                                            Three Months Ended
                                                                                                                                 March 31,

                                                                                                                     2018                        2017
Electric                                                                                                                       46%                        50%
Natural Gas                                                                                                                    24%                        27%


    Retail customers purchasing electric generation and natural gas from competitive electric generation and natural gas suppliers at March 31,
2018 and 2017 consisted of the following:



                                                                               March 31, 2018                                 March 31, 2017
                                                                                          % of total retail                              % of total retail
                                                                 Number of customers        customers         Number of customers          customers
Electric                                                                   75,280                     14.4%             79,270                          15.2%
Natural Gas                                                                    155                     0.1%                   156                       0.1%


     Retail deliveries purchased from competitive electric generation suppliers represented 48% of DPL’s retail kWh sales to Delaware customers
and 41% of DPL's retail kWh sales to Maryland customers for the three months ended March 31, 2018 , respectively and 53% of DPL's retail kWh
sales to Delaware customers and 45% of DPL's retail kWh sales to Maryland customers for the three months ended March 31, 2017 , respectively.


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     The changes in DPL’s Operating revenues net of purchased power and fuel expense for the three months ended March 31, 2018 compared to
the same period in 2017 consisted of the following:


                                                                                                                           Three Months Ended
                                                                                                                              March 31, 2018

                                                                                                                           Increase (Decrease)

                                                                                                          Electric                 Gas                  Total
Weather                                                                                            $                 5       $             7      $             12
Volume                                                                                                               2                    (1)                     1
Distribution revenue                                                                                                 (8)                  (5)                   (13)
Transmission revenues                                                                                                1                    —                       1
Other                                                                                                                1                    —                       1
Total increase                                                                                     $                 1       $             1      $               2


       Revenue Decoupling . DPL’s results historically have been seasonal, generally producing higher revenue and income in the warmest and
coldest periods of the year. For retail customers of DPL in Maryland, revenues are not affected by unseasonably warmer or colder weather because
a bill stabilization adjustment (BSA) for retail customers was implemented that provides for a fixed distribution charge per customer. The BSA has
the effect of decoupling the distribution revenue recognized in a reporting period from the amount of power delivered during the period. As a result,
the only factors that will cause distribution revenue from customers in Maryland to fluctuate from period to period are changes in the number of
customers and changes in the approved distribution charge per customer. A modified fixed variable rate design, which would provide for a charge
not tied to a customer’s volumetric consumption of electricity or natural gas, has been proposed for DPL electricity and natural gas customers in
Delaware. Changes in customer usage (due to weather conditions, energy prices, energy efficiency programs or other reasons) from period to
period have no impact on reported distribution revenue for customers to whom the BSA applies.


      Weather. The demand for electricity and natural gas in areas not subject to the BSA is affected by weather conditions. With respect to the
electric business, very warm weather in summer months and, with respect to the electric and natural gas businesses, very cold weather in winter
months are referred to as “favorable weather conditions” because these weather conditions result in increased deliveries of electricity and natural
gas. Conversely, mild weather reduces demand. During the three months ended March 31, 2018 compared to the same period in 2017 , operating
revenue net of purchased power and fuel expense was higher due to the impact of favorable weather conditions in DPL's service territory.

     Heating and cooling degree days are quantitative indices that reflect the demand for energy needed to heat or cool a home or business.
Normal weather is determined based on historical average heating and cooling degree days for a 20-year period in DPL's electric service territory
and a 30-year period in DPL's natural gas service territory. The changes in heating and cooling degree days in DPL’s service territory for the three
months ended March 31, 2018 compared to the same period in 2017 and normal weather consisted of the following:



Electric Service Territory                                                                                                           % Change

Three Months Ended March 31,                         2018                  2017                Normal                2018 vs. 2017              2018 vs. Normal
Heating Degree-Days                                         2,415                 2,094                2,407                     15.3%                      0.3 %
Cooling Degree-Days                                            1                     —                     2                  100.0%                     (50.0)%


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Natural Gas Service Territory                                                                                                                        % Change

Three Months Ended March 31,                                           2018                       2017           Normal           2017 vs. 2016              2017 vs. Normal
Heating Degree-Days                                                           2,504                      2,171        2,502                   15.3%                        0.1%


     Volume . The increase in operating revenue net of purchased power and fuel expense related to delivery volume, exclusive of the effects of
weather, for the three months ended March 31, 2018 compared to the same period in 2017 , primarily reflects the impact of increased average
residential and commercial customer usage.

     Distribution Revenue . The decrease in distribution revenues for the three months ended March 31, 2018 compared to the same period in
2017 was primarily due to the impact of reduced distribution rates to reflect the lower federal income tax rate. See Note 6 — Regulatory Matters of
the Combined Notes to Consolidated Financial Statements for additional information.

     Transmission Revenues . Under a FERC-approved formula, transmission revenue varies from year to year based upon fluctuations in the
underlying costs, capital investments being recovered, the highest daily peak load and other billing adjustments. The transmission revenues for the
three months ended March 31, 2018 compared to the same period in 2017 remained relatively consistent.

      Other. Other revenue, which can vary period to period, includes rental revenue, revenue related to late payment charges, assistance provided
to other utilities through mutual assistance programs, and recoveries of other taxes.

       Operating and Maintenance Expense

                                                                                                                          Three Months Ended
                                                                                                                               March 31,

                                                                                                                          2018                2017          Increase (Decrease)
Operating and maintenance expense - baseline                                                                          $          97   $              72     $               25
Operating and maintenance expense - regulatory required programs (a)                                                             1                     1                    —
Total operating and maintenance expense                                                                               $          98   $              73     $               25
_________
(a)   Reflects accumulated integration costs that were deferred as regulatory assets in 2017.

     The changes in Operating and maintenance expense for the three months ended March 31, 2018 compared to the same period in 2017 ,
consisted of the following:


                                                                                                                                          Three Months Ended March 31, 2018

                                                                                                                                                     Increase (Decrease)
Baseline
      Uncollectible accounts expense                                                                                                                                           8
      Write-off of construction work in progress                                                                                                                               7
      Merger commitments (a)                                                                                                                                                   8
      Other                                                                                                                                                                    2
Total increase                                                                                                                            $                                 25
_________
(a)   Reflects an absence of integration cost deferrals from 2017.


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       Depreciation and Amortization Expense

     The changes in Depreciation and amortization expense for the three months ended March 31, 2018 compared to the same period in 2017
consisted of the following:


                                                                                                                       Three Months Ended March 31, 2018

                                                                                                                              Increase (Decrease)
Depreciation expense (a)                                                                                               $                                 2
Regulatory asset amortization                                                                                                                            4
Total increase                                                                                                         $                                 6
_________
(a)   Depreciation expense increased due to ongoing capital expenditures.

       Taxes Other Than Income

       Taxes other than income for the three months ended March 31, 2018 compared to the same period in 2017 remained relatively consistent.

       Interest Expense, Net


       Interest expense, net for the three months ended March 31, 2018 compared to the same period in 2017 remained relatively consistent.


       Other, Net

       Other, net for the three months ended March 31, 2018 compared to the same period in 2017 remained relatively consistent.


       Effective Income Tax Rate


      DPL's effective income tax rate was 18.4% and 16.2% for the three months ended March 31, 2018 and 2017 , respectively. The increase in the
effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily due to the absence of an
unrecognized tax benefit from 2017, partially offset by the lower federal income tax rate as a result of the TCJA. See Note 12 — Income Taxes of
the Combined Notes to Consolidated Financial Statements for additional information regarding the components of the effective income tax rates.


DPL Electric Operating Statistics and Detail

                                                                                            Three Months Ended
                                                                                                 March 31,                                   Weather -
                                                                                                                                             Normal %
Retail Deliveries to Customers (in GWhs)                                                    2018          2017             % Change           Change

Retail Deliveries (a)
Residential                                                                                  1,551          1,359              14.1 %               3.5 %
Small commercial & industrial                                                                  569               531            7.2 %               3.8 %
Large commercial & industrial                                                                1,079          1,064               1.4 %               (0.2)%
Public authorities & electric railroads                                                            12            13            (7.7)%               (7.7)%
Total retail deliveries                                                                      3,211          2,967               8.2 %               2.2 %

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                                                                                                                                                       As of March 31,

Number of Electric Customers                                                                                                               2018                               2017
Residential                                                                                                                                        460,863                           457,663
Small commercial & industrial                                                                                                                       60,962                            60,289
Large commercial & industrial                                                                                                                        1,383                             1,411
Public authorities & electric railroads                                                                                                                625                                642
Total                                                                                                                                              523,833                           520,005
_________
(a)   Reflects delivery volumes from customers purchasing electricity directly from DPL and customers purchasing electricity from a competitive electric generation supplier as all customers are
      assessed distribution charges.

DPL Natural Gas Operating Statistics and Detail

                                                                                                                          Three Months Ended
                                                                                                                               March 31,
                                                                                                                                                                             Weather - Normal
Retail Deliveries to Customers (in mmcf)                                                                                 2018               2017              % Change         % Change

Retail Deliveries (a)
Residential                                                                                                                4,485              3,741               19.9%                 3.6 %
Small commercial & industrial                                                                                              1,878              1,686               11.4%                (5.0)%
Large commercial & industrial                                                                                                516                505                 2.2%                2.2 %
Transportation                                                                                                             2,213              2,168                 2.1%               (2.0)%
Total natural gas deliveries                                                                                               9,092              8,100               12.2%                 0.3 %

                                                                                                                                                       As of March 31,

Number of Gas Customers                                                                                                                    2018                               2017
Residential                                                                                                                                        123,062                           121,362
Small commercial & industrial                                                                                                                        9,873                             9,837
Large commercial & industrial                                                                                                                            17                                 18
Transportation                                                                                                                                         155                                156
Total                                                                                                                                              133,107                           131,373
__________
(a)   Reflects delivery volumes from customers purchasing natural gas directly from DPL and customers purchasing natural gas from a competitive natural gas supplier as all customers are
      assessed distribution charges.

     See Note 19 — Segment Information of the Combined Notes to Consolidated Financial Statements for the presentation of DPL's revenue
disaggregation.


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Results of Operations - ACE


                                                                                                                             Three Months Ended March 31,         Favorable (Unfavorable)
                                                                                                                                                                         Variance
                                                                                                                                 2018               2017
Operating revenues                                                                                                         $         310       $        275       $                  35
Purchased power expense                                                                                                              161                137                         (24)
Revenues net of purchased power expense (a)                                                                                          149                138                          11
Other operating expenses
      Operating and maintenance                                                                                                         90                 76                       (14)
      Depreciation and amortization                                                                                                     33                 35                          2
      Taxes other than income                                                                                                             3                  2                        (1)
          Total other operating expenses                                                                                             126                113                         (13)
Operating income                                                                                                                        23                 25                         (2)
Other income and (deductions)
      Interest expense, net                                                                                                             (16)               (15)                       (1)
      Other, net                                                                                                                          1                  2                        (1)
          Total other income and (deductions)                                                                                           (15)               (13)                       (2)
Income before income taxes                                                                                                                8                12                         (4)
Income taxes                                                                                                                              1                (16)                     (17)
Net income                                                                                                                 $              7    $           28     $                 (21)
_________
(a)   ACE evaluates its operating performance using the measure of revenue net of purchased power expense for electric sales. ACE believes Revenue net of purchased power expense is a
      useful measurement of its performance because it provides information that can be used to evaluate its operational performance. ACE has included the analysis below as a complement to
      the financial information provided in accordance with GAAP. However, Revenue net of purchased power expense is not a presentation defined under GAAP and may not be comparable to
      other companies’ presentations or deemed more useful than the GAAP information provided elsewhere in this report.

       Net Income

       Three Months Ended March 31, 2018 Compared to Three Months Ended March 31, 2017 . ACE's Net income for the three months ended
March 31, 2018 , was lower than the same period in 2017 , primarily due to higher Income tax expense as a result of a decrease in unrecognized tax
liabilities during 2017 and an increase in Operating and maintenance expenses attributable to higher labor and contracting expenses, partially offset
by an increase in Revenues net of purchased power expense resulting from higher distribution revenues due to higher average residential and
commercial customer usage, favorable weather related sales, and the impact of electric distribution base rate increases approved by the NJBPU
effective October 2017. The TCJA did not impact ACE’s Net income for the three months ended March 31, 2018 as the favorable income tax
impacts were fully offset by lower revenues resulting from the pass back of the tax savings through customer rates.


       Revenues Net of Purchased Power Expense

     Operating revenues include revenue from the distribution and supply of electricity to ACE’s customers within its service territories at regulated
rates. Operating revenues also include transmission service revenue that ACE receives as a transmission owner from PJM at rates regulated by
FERC. Transmission rates are updated annually based on a FERC-approved formula methodology. Operating revenues also include revenue from
Transition Bond Charges that ACE receives, and pays to ACE Funding, to fund the principal and interest payments on Transition Bonds, revenue
from the resale in


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the PJM wholesale markets for energy and capacity purchased under contacts with unaffiliated NUGs, and revenue from transmission enhancement
credits. Operating revenues also include work and services performed on behalf of customers, including other utilities, which is generally not subject
to price regulation. Work and services includes mutual assistance to other utilities, highway relocation, rentals of pole attachments, late payment
fees and collection fees.

     Electric revenues and purchased power expense are also affected by fluctuations in participation in the Customer Choice Program. All ACE
customers have the choice to purchase electricity from competitive electric generation suppliers. The customer's choice of supplier does not impact
the volume of deliveries, but affects revenue collected from customers related to supplied energy service.

     Retail deliveries purchased from competitive electric generation suppliers (as a percentage of kWh sales) for the three months ended March
31, 2018 , compared to the same period in 2017 , consisted of the following:


                                                                                                                          Three Months Ended
                                                                                                                               March 31,

                                                                                                                   2018                          2017
Electric                                                                                                                       47%                          49%


      Retail customers purchasing electric generation from competitive electric generation suppliers at March 31, 2018 and 2017 consisted of the
following:



                                                                               March 31, 2018                                  March 31, 2017
                                                                                          % of total retail                                 % of total retail
                                                                Number of customers         customers         Number of customers             customers
Electric                                                                  85,462                       15%                93,896                           17%


     The changes in ACE’s operating revenue net of purchased power expense for the three months ended March 31, 2018 compared to the same
period in 2017 consisted of the following:


                                                                                                                                   Three Months Ended
                                                                                                                                      March 31, 2018

                                                                                                                                     Increase (Decrease)
Weather                                                                                                                    $                                    3
Volume                                                                                                                                                          7
Distribution revenue                                                                                                                                            3
Regulatory required programs                                                                                                                                    (2)
Transmission revenues                                                                                                                                           (1)
Other                                                                                                                                                           1
Total increase                                                                                                             $                                11


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      Weather. The demand for electricity is affected by weather conditions. With respect to the electric business, very warm weather in summer
months and very cold weather in winter months are referred to as “favorable weather conditions” because these weather conditions result in
increased deliveries of electricity. Conversely, mild weather reduces demand. During the three months ended March 31, 2018 compared to the same
period in 2017 , operating revenue net of purchased power and fuel expense was higher due to the impact of favorable weather conditions in ACE's
service territory.

       For retail customers of ACE, distribution revenues are not decoupled from the distribution of electricity by ACE, and thus are subject to
variability due to changes in customer consumption. Therefore, changes in customer usage (due to weather conditions, energy prices, energy
savings programs or other reasons) from period to period have a direct impact on reported distribution revenue for customers in ACE's service
territory.


    Heating and cooling degree days are quantitative indices that reflect the demand for energy needed to heat or cool a home or business.
Normal weather is determined based on historical average heating and cooling degree days for a 20-year period in ACE’s service territory. The
changes in heating and cooling degree days in ACE’s service territory for the three months ended March 31, 2018 compared to the same period in
2017 consisted of the following:



                                                                                                                               % Change

Three Months Ended March 31,                       2018                 2017                 Normal            2018 vs. 2017         2018 vs. Normal
Heating Degree-Days                                       2,413                2,150                  2,474             12.2%                  (2.5)%
Cooling Degree-Days                                          —                    —                      1                —%                (100.0)%


     Volume. During the three months ended March 31, 2018 , compared to the same period in 2017 , the increase in operating revenue net of
purchased power expense related to delivery volume, exclusive of the effects of weather, is primarily due to higher average residential and
commercial customer usage.


     Distribution Revenue. The increase in distribution revenue for the three months ended March 31, 2018 , compared to the same period in 2017
, was primarily due to higher electric distribution base rates charged to customers that became effective in October 2017, partially offset by the
impact of reduced distribution rates to reflect the lower federal income tax rate. See Note 6 — Regulatory Matters of the Combined Notes to
Consolidated Financial Statements for additional information.


      Regulatory Required Programs. This represents the change in operating revenues collected under approved riders to recover costs incurred
for regulatory programs such as energy efficiency programs. The riders are designed to provide full and current cost recovery as well as a return.
The costs of these programs are included in Operating and maintenance expense, Depreciation and amortization expense and Taxes other than
income in ACE's Consolidated Statements of Operations and Comprehensive Income. Revenue from regulatory required programs decreased for
the three months ended March 31, 2018 , compared to the same period in 2017 , due to a rate decrease effective October 2017 for the ACE
Transition Bonds.


     Transmission Revenues. Under a FERC-approved formula, transmission revenue varies from year to year based upon fluctuations in the
underlying costs, capital investments being recovered, the highest daily peak load and other billing adjustments. The transmission revenue net of
purchased power expense remained relatively consistent for the three months ended March 31, 2018 compared to the same period in 2017 .

      Other. Other revenue, which can vary period to period, includes rental revenue, revenue related to late payment charges, assistance provided
to other utilities through mutual assistance programs, and recoveries of other taxes.


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       Operating and Maintenance Expense


                                                                                                                                  Three Months Ended March 31,
                                                                                                                                                                           Increase
                                                                                                                                      2018               2017             (Decrease)

Operating and maintenance expense - baseline                                                                                     $           87    $            75    $                12
                                                                                       (a)
Operating and maintenance expense - regulatory required programs                                                                              3                 1                      2
Total operating and maintenance expense                                                                                          $           90    $            76    $                14
_________
(a)   Operating and maintenance expenses for regulatory required programs are costs for various legislative and/or regulatory programs that are recoverable from customers on a full and
      current basis through approved regulated rates. An equal and offsetting amount has been reflected in Operating revenues.

     The changes in Operating and maintenance expense for the three months ended March 31, 2018 compared to the same period in 2017
consisted of the following:

                                                                                                                                                            Three Months Ended
                                                                                                                                                               March 31, 2018

                                                                                                                                                             Increase (Decrease)
Baseline
      Labor and contracting                                                                                                                         $                                  9
      Uncollectible accounts expense           (a)                                                                                                                                     3
                                                                                                                                                                                       12
Regulatory required programs
      Purchased power administrative costs                                                                                                                                             2


Total increase                                                                                                                                      $                                  14
_________
(a)   The uncollectible accounts expense is offset in Operating revenues.

       Depreciation and Amortization Expense

     The changes in Depreciation and amortization expense for the three months ended March 31, 2018 compared to the same period in 2017
consisted of the following:

                                                                                                                                                           Three Months Ended
                                                                                                                                                              March 31, 2018

                                                                                                                                                            Increase (Decrease)
Depreciation expense (a)                                                                                                                           $                                   1
Regulatory asset amortization                                                                                                                                                          1
Regulatory required programs (b)                                                                                                                                                     (4)
Total decrease                                                                                                                                     $                                 (2)
_________
(a)   Depreciation expense increased due to ongoing capital expenditures.
(b)   Regulatory required programs decreased for the three months ended March 31, 2018 compared to the same period in 2017 as a result of lower revenue due to rate decreases effective
      October 2017 for the ACE Transition Bonds. Depreciation and amortization expenses for regulatory required programs are recoverable from customers on a full and current basis through
      approved regulated rates. An equal and offsetting amount has been reflected in Operating revenues and Operating and maintenance expense.


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       Taxes Other Than Income

       Taxes other than income for the three months ended March 31, 2018 compared to the same period in 2017 , remained relatively consistent.


       Interest Expense, Net

       Interest expense, net for the three months ended March 31, 2018 compared to the same period in 2017 remained relatively consistent.


       Other, Net

       Other, net for the three months ended March 31, 2018 compared to the same period in 2017 , remained relatively consistent.

       Effective Income Tax Rate


     ACE's effective income tax rate was 12.5% and (133.3)% for the three months ended March 31, 2018 and 2017 , respectively. The increase in
the effective income tax rate for the three months ended March 31, 2018 as compared to the same period in 2017 is primarily due to the absence of
an unrecognized tax benefit from 2017, partially offset by the lower federal income tax rate as a result of the TCJA. See Note 12 — Income Taxes of
the Combined Notes to Consolidated Financial Statements for additional information regarding the components of the effective income tax rates.


ACE Electric Operating Statistics and Detail


                                                                                                                           Three Months Ended
                                                                                                                                March 31,                                         Weather -
                                                                                                                                                                                  Normal %
Retail Deliveries to Customers (in GWhs)                                                                                  2018               2017            % Change              Change

Retail Deliveries (a)
Residential                                                                                                                   990                879                12.6%                 7.4%
Small commercial & industrial                                                                                                 314                283                11.0%                 9.0%
Large commercial & industrial                                                                                                 824                765                 7.7%                 6.9%
Public authorities & electric railroads                                                                                          15                 13              15.4%                15.4%
Total retail deliveries                                                                                                     2,143              1,940                10.5%                 7.5%



                                                                                                                                                             As of March 31,

Number of Electric Customers                                                                                                                        2018                         2017
Residential                                                                                                                                              488,495                    485,691
Small commercial & industrial                                                                                                                              61,059                       60,999
Large commercial & industrial                                                                                                                               3,611                        3,761
Public authorities & electric railroads                                                                                                                      643                          612
Total                                                                                                                                                    553,808                    551,063

_________
(a)   Reflects delivery volumes from customers purchasing electricity directly from ACE and customers purchasing electricity from a competitive electric generation supplier as all customers are
      assessed distribution charges.

     See Note 19 — Segment Information of the Combined Notes to Consolidated Financial Statements for the presentation of ACE's revenue
disaggregation.


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Liquidity and Capital Resources

     All results included throughout the liquidity and capital resources section are presented on a GAAP basis.

      The Registrants’ operating and capital expenditures requirements are provided by internally generated cash flows from operations as well as
funds from external sources in the capital markets and through bank borrowings. The Registrants’ businesses are capital intensive and require
considerable capital resources. Each Registrant’s access to external financing on reasonable terms depends on its credit ratings and current overall
capital market business conditions, including that of the utility industry in general. If these conditions deteriorate to the extent that the Registrants no
longer have access to the capital markets at reasonable terms, the Registrants have access to unsecured revolving credit facilities with aggregate
bank commitments of $9 billion . In addition, Generation has $545 million in bilateral facilities with banks which have various expirations between
January 2019 and December 2019. The Registrants utilize their credit facilities to support their commercial paper programs, provide for other short-
term borrowings and to issue letters of credit. See the “Credit Matters” section below for further discussion. The Registrants expect cash flows to be
sufficient to meet operating expenses, financing costs and capital expenditure requirements.

      The Registrants primarily use their capital resources, including cash, to fund capital requirements, including construction expenditures, retire
debt, pay dividends, fund pension and other postretirement benefit obligations and invest in new and existing ventures. The Registrants spend a
significant amount of cash on capital improvements and construction projects that have a long-term return on investment. Additionally, ComEd,
PECO, BGE, Pepco, DPL and ACE operate in rate-regulated environments in which the amount of new investment recovery may be delayed or
limited and where such recovery takes place over an extended period of time. See Note 11 — Debt and Credit Agreements of the Combined Notes
to Consolidated Financial Statements for further discussion of the Registrants’ debt and credit agreements.


NRC Minimum Funding Requirements

     NRC regulations require that licensees of nuclear generating facilities demonstrate reasonable assurance that sufficient funds will be available
in certain minimum amounts to decommission the facility. These NRC minimum funding levels are based upon the assumption that
decommissioning activities will commence after the end of the current licensed life of each unit. If a unit fails the NRC minimum funding test, then
the plant’s owners or parent companies would be required to take steps, such as providing financial guarantees through letters of credit or parent
company guarantees or making additional cash contributions to the NDT fund to ensure sufficient funds are available. See Note 13 — Nuclear
Decommissioning of the Combined Notes to Consolidated Financial Statements for additional information on the NRC minimum funding
requirements.


      If a nuclear plant were to early retire there is a risk that it will no longer meet the NRC minimum funding requirements due to the earlier
commencement of decommissioning activities and a shorter time period over which the NDT fund investments could appreciate in value. A shortfall
could require Exelon to post parental guarantees for Generation’s share of the obligations. However, the amount of any required guarantees will
ultimately depend on the decommissioning approach adopted at each site, the associated level of costs, and the decommissioning trust fund
investment performance going forward. Within two years after shutting down a plant, Generation must submit a post-shutdown decommissioning
activities report (PSDAR) to the NRC that includes the planned option for decommissioning the site. As discussed in Note 13 — Nuclear
Decommissioning of the Combined Notes to Consolidated Financial Statements, Generation filed its annual decommissioning funding status report
with the NRC on March 28, 2018 for shutdown reactors and reactors within five years of shut down. As of March 31, 2018 , across the alternative
decommissioning approaches available, Exelon would not be required to post a


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parental guarantee for TMI or Oyster Creek. In the event PSEG decides to early retire Salem, Generation estimates a parental guarantee of up to
$55 million from Exelon could be required for Salem, dependent upon the ultimate decommissioning approach selected .

      Upon issuance of any required financial guarantees, each site would be able to utilize the respective NDT funds for radiological
decommissioning costs, which represent the majority of the total expected decommissioning costs. However, the NRC must approve an additional
exemption in order for the plant’s owner(s) to utilize the NDT fund to pay for non-radiological decommissioning costs (i.e., spent fuel management
and site restoration costs). If a unit does not receive this exemption, the costs would be borne by the owner(s). While the ultimate amounts may vary
greatly and could be reduced by alternate decommissioning scenarios and/or reimbursement of certain costs under the DOE reimbursement
agreements or future litigation, across the four alternative decommissioning approaches available, if TMI or Oyster Creek were to fail to obtain the
exemption, Generation estimates it could incur spent fuel management and site restoration costs over the next ten years of up to $235 million and
$205 million net of taxes, respectively, dependent upon the ultimate decommissioning approach selected. In the event PSEG decides to early retire
Salem and Salem were to fail to obtain the exemption, Generation estimates it could incur spent fuel management and site restoration costs over the
next ten years of up to $90 million net of taxes.


Cash Flows from Operating Activities

     General

     Generation’s cash flows from operating activities primarily result from the sale of electric energy and energy-related products and services to
customers. Generation’s future cash flows from operating activities may be affected by future demand for and market prices of energy and its ability
to continue to produce and supply power at competitive costs as well as to obtain collections from customers.


      The Utility Registrants' cash flows from operating activities primarily result from the transmission and distribution of electricity and, in the case
of PECO, BGE and DPL, gas distribution services. The Utility Registrants' distribution services are provided to an established and diverse base of
retail customers. The Utility Registrants' future cash flows may be affected by the economy, weather conditions, future legislative initiatives, future
regulatory proceedings with respect to their rates or operations, competitive suppliers, and their ability to achieve operating cost reductions.


      See Notes 3 — Regulatory Matters and 23 — Commitments and Contingencies of the Combined Notes to Consolidated Financial Statements
of the Exelon 2017 Form 10-K for further discussion of regulatory and legal proceedings and proposed legislation.


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    The following table provides a summary of the major items affecting Exelon’s cash flows from operations for the three months ended
March 31, 2018 and 2017 :

                                                                                                                 Three Months Ended
                                                                                                                      March 31,
                                                                                                         2018                            2017                         Variance

 Net income                                                                                    $                    636      $                      971     $                     (335)
 Add (subtract):
       Non-cash operating activities (a)                                                                          1,998                          1,229                             769
       Pension and non-pension postretirement benefit contributions                                                (331)                           (307)                            (24)
       Income taxes                                                                                                   86                             50                              36
       Changes in working capital and other noncurrent assets and liabilities           (b)                        (646)                           (753)                           107
       Option premiums received (paid), net                                                                          (27)                             (6)                           (21)
       Collateral (posted) received, net                                                                           (214)                           (110)                          (104)
 Net cash flows provided by operations                                                         $                  1,502      $                   1,074      $                      428
_________
(a)   Represents depreciation, amortization and accretion, net fair value changes related to derivatives, deferred income taxes, provision for uncollectible accounts, pension and other
      postretirement benefit expense, equity in earnings and losses of unconsolidated affiliates and investments, decommissioning-related items, stock compensation expense, impairment of
      long-lived assets and other non-cash charges. See Note 18 — Supplemental Financial Information of the Combined Notes to Consolidated Financial Statements for further detail on non-
      cash operating activity.
(b)   Changes in working capital and other noncurrent assets and liabilities exclude the changes in commercial paper, income taxes and the current portion of long-term debt.

       Pension and Other Postretirement Benefits

     Management considers various factors when making pension funding decisions, including actuarially determined minimum contribution
requirements under ERISA, contributions required to avoid benefit restrictions and at-risk status as defined by the Pension Protection Act of 2006
(the Act), management of the pension obligation and regulatory implications. The Act requires the attainment of certain funding levels to avoid
benefit restrictions (such as an inability to pay lump sums or to accrue benefits prospectively), and at-risk status (which triggers higher minimum
contribution requirements and participant notification).


      To the extent interest rates decline significantly or the pension and OPEB plans earn less than the expected asset returns, annual pension
contribution requirements in future years could increase. Conversely, to the extent interest rates increase significantly or the pension and OPEB
plans earn greater than the expected asset returns, annual pension and OPEB contribution requirements in future years could decrease.
Additionally, expected contributions could change if Exelon changes its pension or OPEB funding strategy.


       On October 3, 2017, the US Department of Treasury and IRS released final regulations updating the mortality tables to be used for defined
benefit pension plan funding, as well as the valuation of lump sum and other accelerated distribution options, effective for plan years beginning in
2018. The new mortality tables reflect improved projected life expectancy as compared to the existing table, which is generally expected to increase
minimum pension funding requirements, Pension Benefit Guaranty Corporation premiums and the value of lump sum distributions. The IRS permits
plan sponsors the option of delaying use of the new mortality tables for determining minimum funding requirements until 2019, which Exelon has
utilized. The one-year delay does not apply for use of the mortality tables to determine the present value of lump sum distributions.


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      The EMA requires CENG to fund the obligation related to pre-transfer service of employees, including the underfunded balance of the pension
and other postretirement welfare benefit plans measured as of July 14, 2014 by making periodic payments to Generation. These payments will be
made on an agreed payment schedule or upon the occurrence of certain specified events, such as EDF’s disposition of a majority of its interest in
CENG. However, in the event that EDF exercises its rights under the Put Option, all payments not made as of the put closing date shall accelerate to
be paid immediately prior to such closing date. See Note 2 — Variable Interest Entities of the Combined Notes to Consolidated Financial Statements
for additional information regarding the investment in CENG.


       Tax Matters

       The Registrants’ future cash flows from operating activities may be affected by the following tax matters:

            •     Pursuant to the TCJA, beginning in 2018 Generation is expected to have higher operating cash flows in the range of approximately $1.2
                  billion to $1.6 billion for the period from 2018 to 2021, reflecting the reduction in the corporate federal income tax rate and full expensing
                  of capital investments.

                  The TCJA is generally expected to result in lower operating cash flows for the Utility Registrants as a result of the elimination of bonus
                  depreciation and lower customer rates. Increased operating cash flows for the Utility Registrants from lower corporate federal income
                  tax rates is expected to be more than offset over time by lower customer rates resulting from lower income tax expense recoveries and
                  the settlement of deferred income tax net regulatory liabilities established pursuant to the TCJA, partially offset by the impacts of higher
                  rate base. The amount and timing of settlement of the net regulatory liabilities will be determined by the Utility Registrants’ respective
                  rate regulators, subject to certain IRS “normalization” rules. The table below sets forth the Registrants’ estimated categorization of their
                  net regulatory liabilities as of December 31, 2017. The amounts in the table below are shown on an after-tax basis reflecting future net
                  cash outflows after taking into consideration the income tax benefits associated with the ultimate settlement with customers.


                                                                                  Exelon             ComEd             PECO (a)           BGE                PHI             PEPCO             DPL            ACE

Subject to IRS Normalization Rules                                               $3,040              $1,400              $533            $459              $648               $299            $195           $153
Subject to Rate Regulator Determination                                           1,694                573                43              324               754                391             194            170
Net Regulatory Liabilities                                                       $4,734              $1,973              $576            $783             $1,402              $690            $389           $323
 __________
(a) Given the regulatory treatment of income tax benefits related to electric and gas distribution repairs, PECO remains in an overall net regulatory asset position as of December 31, 2017 after recording the
    impacts related to the TCJA. As a result, the amount of customer benefits resulting from the TCJA subject to the discretion of PECO's rate regulators are lower relative to the other Utility Registrants. Refer to
    Note 3 - Regulatory Matters for additional information.

                  Net regulatory liability amounts subject to normalization rules generally may not be passed back to customers any faster than over the
                  remaining useful lives of the underlying assets giving rise to the associated deferred income taxes. Such deferred income taxes
                  generally relate to property, plant and equipment with remaining useful lives ranging from 30 to 40 years across the Utility Registrants.
                  For the remaining amounts, rate regulators could require the passing back of amounts to customers over shorter time frames, which
                  could materially decrease operating cash outflows at each of the Utility Registrants in the near term.


                  The Utility Registrants expect to fund any such required incremental operating cash outflows using a combination of third party debt
                  financings and equity funding from Exelon in combinations generally consistent with existing capitalization ratio structures. To fund any


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             additional equity contributions to the Utility Registrants, Exelon would have available to it its typical sources, including, but not limited to,
             the increased operating cash flows at Generation referenced above, which over time are expected to exceed the incremental equity
             needs at the Utility Registrants.

             The Utility Registrants continue to work with their state regulatory commissions to determine the amount and timing of the passing back
             of TCJA income tax savings benefits to customers; with filings either made, or expected to be made, at PECO, Pepco, DPL Delaware
             and ACE, and approved filings at ComEd, BGE and DPL Maryland. The amounts being passed back or proposed to be passed back to
             customers reflect the benefit of lower income tax expense beginning January 1, 2018 (February 1, 2018 for DPL Delaware), and the
             settlement of a portion of deferred income tax regulatory liabilities established upon enactment of the TCJA. Refer to Note 3 -
             Regulatory Matters of the Combined Notes to Consolidated Financial Statements for additional information on their filings.


             In general, most states use federal taxable income as the starting point for computing state corporate income tax. Now that the TCJA
             has been enacted, state governments are beginning to analyze the impact of the TCJA on their state revenues. Exelon is uncertain
             regarding what the state governments will do, and there is a possibility that state corporate income taxes could change due to the
             enactment of the TCJA. In 2018, Exelon will be closely monitoring the states’ responses to the TCJA as these could have an impact on
             Exelon’s future cash flows.

             See Note 12 — Income Taxes of the Combined Notes to Consolidated Financial Information for further information on the amounts of
             the net regulatory liabilities subject to determinations by rate regulators.


         •   State and local governments continue to face increasing financial challenges, which may increase the risk of additional income tax,
             property taxes and other taxes or the imposition, extension or permanence of temporary tax increases.

      Cash flows from operations for the three months ended March 31, 2018 and 2017 by Registrant were as follows:


                                                                                                                     Three Months Ended
                                                                                                                          March 31,

                                                                                                             2018                           2017
Exelon                                                                                          $                     1,502     $                     1,074
Generation                                                                                                              855                             420
ComEd                                                                                                                   134                             236
PECO                                                                                                                      19                            106
BGE                                                                                                                     313                             208
PHI                                                                                                                     279                             194
Pepco                                                                                                                   126                              29
DPL                                                                                                                     115                             122
ACE                                                                                                                       59                             58


     Changes in the Registrants' cash flows from operations were generally consistent with changes in each Registrant’s respective results of
operations, as adjusted by changes in working capital in the


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normal course of business, except as discussed below. In addition, significant operating cash flow impacts for the Registrants for the three months
ended March 31, 2018 and 2017 were as follows:

      Generation


         •   Depending upon whether Generation is in a net mark-to-market liability or asset position, collateral may be required to be posted with or
             collected from its counterparties. In addition, the collateral posting and collection requirements differ depending on whether the
             transactions are on an exchange or in the OTC markets. During the three months ended March 31, 2018 and 2017 , Generation had net
             payments of counterparty cash collateral of $214 million and $102 million , respectively, primarily due to market conditions that resulted
             in changes to Generation’s net mark-to-market position.

         •   During the three months ended March 31, 2018 and 2017 , Generation had net payments of approximately $27 million and $6 million ,
             respectively, related to purchases and sales of options. The level of option activity in a given period may vary due to several factors,
             including changes in market conditions as well as changes in hedging strategy.

      ComEd

         •   During each of the three months ended March 31, 2018 and 2017 , ComEd posted approximately $8 million of cash collateral with PJM,
             respectively. As of March 31, 2018 and 2017 , ComEd had approximately $59 million and $32 million cash collateral posted with PJM,
             respectively. ComEd’s total collateral posted with PJM has increased year over year primarily due to an increase in ComEd’s RPM
             credit requirements and peak market activity with PJM.

   For further discussion regarding changes in non-cash operating activities, please refer to Note 18 — Supplemental Financial Information of the
Combined Notes to Consolidated Financial Statements.


Cash Flows from Investing Activities

      Cash flows used in investing activities for the three months ended March 31, 2018 and 2017 by Registrant were as follows:


                                                                                                                 Three Months Ended
                                                                                                                      March 31,
                                                                                                         2018                         2017

Exelon                                                                                        $                 (1,857)    $                   (2,283)
Generation                                                                                                        (615)                          (910)
ComEd                                                                                                             (523)                          (619)
PECO                                                                                                              (215)                           (69)
BGE                                                                                                               (223)                          (202)
PHI                                                                                                               (258)                          (323)
Pepco                                                                                                             (127)                          (144)
DPL                                                                                                                 (65)                          (80)
ACE                                                                                                                 (64)                          (87)


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       Significant investing cash flow impacts for the Registrants for three months ended March 31, 2018 and 2017 were as follows:

       Exelon and Generation


        •         During the three months ended March 31, 2018 , Exelon had proceeds of $79 million relating to the sale of its interest in an electrical
                  contracting business that primarily installs, maintains and repairs underground and high-voltage cable transmission and distribution
                  services.

        •         During the three months ended March 31, 2017 , Exelon had expenditures of $23 million and $182 million relating to the acquisitions of
                  ConEdison Solutions and the FitzPatrick facility, respectively.


       Capital Expenditure Spending

       Generation

      Generation has entered into several agreements to acquire equity interests in privately held development stage entities which develop energy-
related technologies. The agreements contain a series of scheduled investment commitments, including in-kind service contributions. There are
anticipated expenditures remaining to fund anticipated planned capital and operating needs of the associated companies.


      Capital expenditures by Registrant for the three months ended March 31, 2018 and 2017 and projected amounts for the full year 2018 are as
follows:

                                                                                                                                                  Three Months Ended
                                                                                                       Projected                                       March 31,
                                                                                                       Full Year
                                                                                                        2018 (a)                           2018                          2017
            (b)
Exelon                                                                                     $                         7,875      $                  1,880     $                  2,009
Generation                                                                                                           2,075                           628                          625
ComEd (c)                                                                                                            2,125                           531                          626
PECO                                                                                                                   850                           217                          201
BGE                                                                                                                  1,000                           224                          206
      (d)
PHI                                                                                                                  1,525                           258                          320
Pepco                                                                                                                  725                           127                          139
DPL                                                                                                                    400                            65                            82
ACE                                                                                                                    400                            63                            88
_________
(a)   Total projected capital expenditures do not include adjustments for non-cash activity.
(b)   Includes corporate operations, BSC, and PHISCO rounded to the nearest $25 million.
(c)   The capital expenditures and 2018 projections include approximately $86 million of expected incremental spending pursuant to EIMA, ComEd has committed to invest approximately $2.6
      billion over a ten-year period, through 2021, to modernize and storm-harden its distribution system and to implement smart grid technology.
(d)   Includes PHISCO rounded to the nearest $25 million.

     Projected capital expenditures and other investments are subject to periodic review and revision to reflect changes in economic conditions and
other factors.


       Generation

     Approximately 39% and 11% of the projected 2018 capital expenditures at Generation are for the acquisition of nuclear fuel, and the
construction of new natural gas plant and solar facilities, respectively,


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with the remaining amounts reflecting investment in renewable energy and additions and upgrades to existing facilities (including material condition
improvements during nuclear refueling outages). Generation anticipates that they will fund capital expenditures with internally generated funds and
borrowings.

      ComEd, PECO, BGE, Pepco, DPL and ACE


    Projected 2018 capital expenditures at the Utility Registrants are for continuing projects to maintain and improve operations, including
enhancing reliability and adding capacity to the transmission and distribution systems such as ComEd’s reliability related investments required under
EIMA, and the Utility Registrants' construction commitments under PJM’s RTEP.

      The Utility Registrants as transmission owners are subject to NERC compliance requirements. NERC provides guidance to transmission
owners regarding assessments of transmission lines. The results of these assessments could require the Utility Registrants to incur incremental
capital or operating and maintenance expenditures to ensure their transmission lines meet NERC standards. In 2010, NERC provided guidance to
transmission owners that recommended the Utility Registrants perform assessments of their transmission lines. ComEd, PECO and BGE submitted
their final bi-annual reports to NERC in January 2014. ComEd and PECO will be incurring incremental capital expenditures associated with this
guidance following the completion of the assessments. Specific projects and expenditures are identified as the assessments are completed.
ComEd’s and PECO’s forecasted 2018 capital expenditures above reflect capital spending for remediation to be completed through 2019. BGE,
Pepco, DPL and ACE have substantially completed their assessments and thus do not expect significant capital expenditures related to this
guidance in 2018 .


     The Utility Registrants anticipate that they will fund their capital expenditures with a combination of internally generated funds and borrowings
and additional capital contributions from parent.


Cash Flows from Financing Activities

      Cash flows provided by (used in) financing activities for the three months ended March 31, 2018 and 2017 by Registrant were as follows:


                                                                                                                Three Months Ended
                                                                                                                     March 31,
                                                                                                        2018                         2017

Exelon                                                                                       $                    264     $                   1,184
Generation                                                                                                         (57)                         582
ComEd                                                                                                             407                           359
PECO                                                                                                               (53)                          (72)
BGE                                                                                                                (84)                            1
PHI                                                                                                                (13)                           66
Pepco                                                                                                                9                          114
DPL                                                                                                                (45)                          (44)
ACE                                                                                                                 11                           (20)


      Debt


     See Note 11 — Debt and Credit Agreements of the Combined Notes to Consolidated Financial Statements for further details of the Registrants’
debt issuances.


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       Dividends

       Cash dividend payments and distributions during the three months ended March 31, 2018 and 2017 by Registrant were as follows:

                                                                                                                                           Three Months Ended
                                                                                                                                                March 31,
                                                                                                                                    2018                              2017

Exelon                                                                                                                 $                      333          $                        303
Generation                                                                                                                                    188                                   164
ComEd                                                                                                                                         114                                   105
PECO                                                                                                                                          287                                   72
BGE                                                                                                                                               52                                49
PHI                                                                                                                                               71                                69
Pepco                                                                                                                                             25                                30
DPL                                                                                                                                               36                                30
ACE                                                                                                                                               9                                 10



    Quarterly dividends declared by the Exelon Board of Directors during the three months ended March 31, 2018 and for the second quarter of
2018 were as follows:


Period                                   Declaration Date                  Shareholder of Record Date                 Dividend Payable Date                    Cash per Share (a)

First Quarter 2018                             January 30, 2018                            February 15, 2018                        March 9, 2018      $                        0.3450
Second Quarter 2018                                 May 1, 2018                                 May 15, 2018                         June 8, 2018      $                        0.3450
_________
(a)   Exelon's Board of Directors approved an updated dividend policy providing an increase of 5% each year for the period covering 2018 through 2020, beginning with the March 2018
      dividend.

       Short-Term Borrowings


       Short-term borrowings incurred (repaid) during the three months ended March 31, 2018 and 2017 by Registrant were as follows:


                                                                                                                                                  Three Months Ended
                                                                                                                                                       March 31,

                                                                                                                                           2018                          2017
Exelon                                                                                                                          $                      726     $                    781
Generation                                                                                                                                             165                          18
ComEd                                                                                                                                                  317                          365
PECO                                                                                                                                                   220                           —
BGE                                                                                                                                                    (32)                         50
PHI                                                                                                                                                    57                        (355)
Pepco                                                                                                                                                  34                           144
DPL                                                                                                                                                     (5)                          —
ACE                                                                                                                                                    28                            —


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       Contributions from Parent/Member

       Contributions received from Parent/Member for the three months ended March 31, 2018 and 2017 by Registrant were as follows:


                                                                                                                                     Three Months Ended
                                                                                                                                          March 31,

                                                                                                                              2018                        2017
ComEd (a)(b)                                                                                                         $                 113     $                 100
PHI (b)                                                                                                                                  —                       500

_________
(a)   Additional contributions from parent or external debt financing may be required as a result of increased capital investment in infrastructure improvements and
      modernization pursuant to EIMA and transmission upgrades.
(b)   Contribution paid by Exelon.

       Other

    For the three months ended March 31, 2018 , other financing activities primarily consist of debt issuance costs. See Note 11 — Debt and Credit
Agreements of the Combined Notes to Consolidated Financial Statements for further details of the Registrants’ debt issuances.


Credit Matters

      The Registrants fund liquidity needs for capital investment, working capital, energy hedging and other financial commitments through cash
flows from continuing operations, public debt offerings, commercial paper markets and large, diversified credit facilities. The credit facilities include
$9.5 billion in aggregate total commitments of which $8.0 billion was available as of March 31, 2018 , and of which no financial institution has more
than 7% of the aggregate commitments for the Registrants. The Registrants had access to the commercial paper market during the first quarter of
2018 to fund their short-term liquidity needs, when necessary. The Registrants routinely review the sufficiency of their liquidity position, including
appropriate sizing of credit facility commitments, by performing various stress test scenarios, such as commodity price movements, increases in
margin-related transactions, changes in hedging levels and the impacts of hypothetical credit downgrades. The Registrants have continued to
closely monitor events in the financial markets and the financial institutions associated with the credit facilities, including monitoring credit ratings and
outlooks, credit default swap levels, capital raising and merger activity. See PART I. ITEM 1A. RISK FACTORS of the Exelon 2017 Form 10-K for
further information regarding the effects of uncertainty in the capital and credit markets.


      The Registrants believe their cash flow from operating activities, access to credit markets and their credit facilities provide sufficient liquidity. If
Generation lost its investment grade credit rating as of March 31, 2018 , it would have been required to provide incremental collateral of $1.9 billion
to meet collateral obligations for derivatives, non-derivatives, normal purchases and normal sales contracts and applicable payables and
receivables, net of the contractual right of offset under master netting agreements, which is well within its current available credit facility capacities of
$4.4 billion .


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     The following table presents the incremental collateral that each Utility Registrant would have been required to provide in the event each Utility
Registrant lost its investment grade credit rating at March 31, 2018 and available credit facility capacity prior to any incremental collateral at
March 31, 2018 :

                                                                                          PJM Credit Policy            Other Incremental Collateral            Available Credit Facility Capacity
                                                                                             Collateral                        Required (a)                   Prior to Any Incremental Collateral
ComEd                                                                                 $                    10      $                                  —      $                                  998
PECO                                                                                                          3                                      33                                         599
BGE                                                                                                        10                                        49                                         597
Pepco                                                                                                      10                                         —                                         299
DPL                                                                                                           4                                      14                                         300
ACE                                                                                                        —                                          —                                         300
_________
(a)   Represents incremental collateral related to natural gas procurement contracts.

       Exelon Credit Facilities

     Exelon Corporate, ComEd, BGE, Pepco, DPL and ACE meet their short-term liquidity requirements primarily through the issuance of
commercial paper. Generation and PECO meet their short-term liquidity requirements primarily through the issuance of commercial paper and
borrowings from the intercompany money pool. PHI Corporate meets its short-term liquidity requirements primarily through the issuance of short-
term notes and the Exelon intercompany money pool. The Registrants may use their respective credit facilities for general corporate purposes,
including meeting short-term funding requirements and the issuance of letters of credit.


     The following table reflects the Registrants’ commercial paper programs supported by the revolving credit agreements and bilateral credit
agreements at March 31, 2018 :


       Commercial Paper Programs

                                                                                               Outstanding Commercial Paper at             Average Interest Rate on Commercial Paper Borrowings for
Commercial Paper Issuer                            Maximum Program Size (a)(b)                          March 31, 2018                              the Three Months Ended March 31, 2018

Exelon Corporate                            $                                    600      $                                        —                                                        1.85%
Generation                                                                    5,300                                              165                                                        1.93%
ComEd                                                                         1,000                                              317                                                        1.91%
PECO                                                                             600                                             220                                                        2.08%
BGE                                                                              600                                               45                                                       1.86%
Pepco                                                                            500                                               60                                                       2.01%
DPL                                                                              500                                             211                                                        1.88%
ACE                                                                              350                                             136                                                        1.90%
_________
(a)   Excludes $545 million bilateral credit facilities that do not back Generation's commercial paper program.
(b)   Excludes additional credit facility agreements for Generation, ComEd, PECO, BGE, Pepco, DPL and ACE with aggregate commitments of $49 million , $34 million , $34 million , $5 million ,
      $2 million , $2 million and $2 million , respectively, arranged with minority and community banks located primarily within utilities' service territories. These facilities expire on October 12,
      2018. These facilities are solely utilized to issue letters of credit. As of March 31, 2018 , letters of credit issued under these agreements for Generation and BGE totaled $5 million and $2
      million , respectively.



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      In order to maintain their respective commercial paper programs in the amounts indicated above, each Registrant must have credit facilities in
place, at least equal to the amount of its commercial paper program. While the amount of outstanding commercial paper does not reduce available
capacity under a Registrant’s credit facility, a Registrant does not issue commercial paper in an aggregate amount exceeding the then available
capacity under its credit facility. At March 31, 2018 , the Registrants had the following aggregate bank commitments, credit facility borrowings and
available capacity under their respective credit facilities:

                                                                                                                                                                Available Capacity at
                                                                                                                                                                   March 31, 2018
                                                                                                                                                                               To Support
                                                                                                                               Outstanding                                      Additional
                                                                           Aggregate Bank                  Facility             Letters of                                     Commercial
Borrower                                     Facility Type                Commitment (a)(b)(c)             Draws                Credit (c)                 Actual              Paper (b)(d)
Exelon Corporate                      Syndicated
                                      Revolver                      $                        600       $              —   $                   45     $           555      $                555
Generation                            Syndicated
                                      Revolver                                             5,300                      —                   1,121               4,179                     4,014
Generation                            Bilaterals                                             545                      —                     338                  207                          —
ComEd                                 Syndicated
                                      Revolver                                             1,000                      —                        2                 998                       681
PECO                                  Syndicated
                                      Revolver                                               600                      —                        1                 599                       379
BGE                                   Syndicated
                                      Revolver                                               600                      —                        3                 597                       552
Pepco                                 Syndicated
                                      Revolver                                               300                      —                        1                 299                       239
DPL                                   Syndicated
                                      Revolver                                               300                      —                       —                  300                          89
ACE                                   Syndicated
                                      Revolver                                               300                      —                       —                  300                       164
_________
(a)   Excludes $128 million of credit facility agreements arranged at minority and community banks at Generation, ComEd, PECO, BGE, Pepco, DPL and ACE. These facilities expire on
      October 12, 2018. These facilities are solely utilized to issue letters of credit. As of March 31, 2018 , letters of credit issued under these agreements for Generation and BGE totaled $5
      million and $2 million , respectively.
(b)   Pepco, DPL and ACE's revolving credit facility is subject to available borrowing capacity. The borrowing capacity may be increased or decreased during the term of the facility, except that
      (i) the sum of the borrowing capacity must equal the total amount of the facility, and (ii) the aggregate amount of credit used at any given time by each of Pepco, DPL or ACE may not
      exceed $900 million or the maximum amount of short-term debt the company is permitted to have outstanding by its regulatory authorities. The total number of the borrowing reallocations
      may not exceed eight per year during the term of the facility
(c)   Excludes nonrecourse debt letters of credit, see Note 13 — Debt and Credit Agreements in the Exelon 2017 Form 10-K for further information.
(d)   Excludes $545 million bilateral credit facilities that do not back Generation’s commercial paper program.

       As of March 31, 2018 , there were no borrowings under Generation's bilateral credit facilities.


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      Borrowings under Exelon Corporate’s, Generation’s, ComEd’s, PECO’s, BGE's, Pepco's, DPL's and ACE's revolving credit agreements bear
interest at a rate based upon either the prime rate or a LIBOR-based rate, plus an adder based upon the particular Registrant’s credit rating. The
adders for the prime based borrowings and LIBOR-based borrowings are presented in the following table:


                                         Exelon
                                                          Generation        ComEd         PECO          BGE          Pepco         DPL           ACE
                                        Corporate
Prime based borrowings                            27.5             27.5             7.5          0.0          0.0         7.5            7.5           7.5
LIBOR-based borrowings                           127.5            127.5           107.5         90.0       100.0       107.5         107.5        107.5


      The maximum adders for prime rate borrowings and LIBOR-based rate borrowings are 90 basis points and 165 basis points, respectively. The
credit agreements also require the borrower to pay a facility fee based upon the aggregate commitments. The fee varies depending upon the
respective credit ratings of the borrower.


      Each revolving credit agreement for Exelon Corporate, Generation, ComEd, PECO, BGE, Pepco, DPL and ACE requires the affected borrower
to maintain a minimum cash from operations to interest expense ratio for the twelve-month period ended on the last day of any quarter. The
following table summarizes the minimum thresholds reflected in the credit agreements for the three months ended March 31, 2018 :


                                           Exelon
                                                          Generation        ComEd         PECO          BGE          Pepco         DPL           ACE
                                          Corporate
Credit agreement threshold                    2.50 to 1         3.00 to 1     2.00 to 1     2.00 to 1   2.00 to 1     2.00 to 1     2.00 to 1    2.00 to 1



     At March 31, 2018 , the interest coverage ratios at the Registrants were as follows:



                                        Exelon            Generation        ComEd         PECO          BGE          Pepco         DPL           ACE
Interest coverage ratio                          6.83            13.07         11.37          8.28       10.21            6.24           8.48          5.65


     An event of default under Exelon, Generation, ComEd, PECO or BGE's indebtedness will not constitute an event of default under any of the
others’ credit facilities, except that a bankruptcy or other event of default in the payment of principal, premium or indebtedness in principal amount in
excess of $100 million in the aggregate by Generation will constitute an event of default under the Exelon Corporate credit facility. An event of
default under Pepco, DPL or ACE's indebtedness will not constitute an event of default with respect to the other PHI Utilities under the PHI Utilities'
combined credit facility.


      The absence of a material adverse change in Exelon's or PHI’s business, property, results of operations or financial condition is not a condition
to the availability of credit under any of the borrowers' credit agreement. None of the credit agreements include any rating triggers.


     Security Ratings


    The Registrants’ access to the capital markets, including the commercial paper market, and their respective financing costs in those markets,
may depend on the securities ratings of the entity that is accessing the capital markets.


      The Registrants’ borrowings are not subject to default or prepayment as a result of a downgrading of securities, although such a downgrading
of a Registrant’s securities could increase fees and interest charges under that Registrant’s credit agreements.


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      As part of the normal course of business, the Registrants enter into contracts that contain express provisions or otherwise permit the
Registrants and their counterparties to demand adequate assurance of future performance when there are reasonable grounds for doing so. In
accordance with the contracts and applicable contracts law, if the Registrants are downgraded by a credit rating agency, it is possible that a
counterparty would attempt to rely on such a downgrade as a basis for making a demand for adequate assurance of future performance, which
could include the posting of collateral. See Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial Statements
for additional information on collateral provisions.


      Intercompany Money Pool

      To provide an additional short-term borrowing option that will generally be more favorable to the borrowing participants than the cost of external
financing, both Exelon and PHI operate an intercompany money pool. Maximum amounts contributed to and borrowed from the money pool by
participant and the net contribution or borrowing as of March 31, 2018 , are presented in the following table:


Exelon Intercompany Money Pool                                                               During the Three Months Ended March 31, 2018               As of March 31, 2018
                                                                                                 Maximum                     Maximum                        Contributed
Contributed (Borrowed)                                                                          Contributed                  Borrowed                       (Borrowed)
Exelon Corporate                                                                         $                    551       $                 —         $                    494
Generation                                                                                                    38                       (389)                             (54)
PECO                                                                                                          285                      (233)                          (194)
BSC                                                                                                            —                       (403)                          (288)
PHI Corporate                                                                                                  —                         (35)                            (13)
PCI                                                                                                           55                          —                               54


PHI Intercompany Money Pool                                                              During the Three Months Ended March 31, 2018               As of March 31, 2018
                                                                                               Maximum                      Maximum                        Contributed
Contributed (Borrowed)                                                                        Contributed                   Borrowed                       (Borrowed)
PHI Corporate                                                                        $                      28      $                   —       $                          4
PHISCO                                                                                                      10                         (18)                                1


      Investments in Nuclear Decommissioning Trust Funds

     Exelon, Generation and CENG maintain trust funds, as required by the NRC, to fund certain costs of decommissioning nuclear plants. The mix
of securities in the trust funds is designed to provide returns to be used to fund decommissioning and to offset inflationary increases in
decommissioning costs. Generation actively monitors the investment performance of the trust funds and periodically reviews asset allocations in
accordance with Generation’s NDT fund investment policy. Generation’s and CENG’s investment policies establish limits on the concentration of
holdings in any one company and also in any one industry. See Note 13 — Nuclear Decommissioning of the Combined Notes to Consolidated
Financial Statements for further information regarding the trust funds, the NRC’s minimum funding requirements and related liquidity ramifications.


      Shelf Registration Statements

    Exelon, Generation, ComEd, PECO, BGE, Pepco, DPL and ACE have a currently effective combined shelf registration statement unlimited in
amount, filed with the SEC, that will expire in August 2019 . The ability of each Registrant to sell securities off the shelf registration statement or to
access the private placement markets will depend on a number of factors at the time of the proposed sale, including


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other required regulatory approvals, as applicable, the current financial condition of the Registrant, its securities ratings and market conditions.

       Regulatory Authorizations


   ComEd, PECO, BGE, Pepco, DPL and ACE are required to obtain short-term and long-term financing authority from Federal and State
Commissions as follows:

                                        Short-term Financing Authority (a)                                                      Long-term Financing Authority (a)

                      Commission                    Expiration Date                 Amount                      Commission                         Expiration Date                Amount
ComEd (b)                 FERC                   December 31, 2019             $          2,500                     ICC                                 2019                  $          583
PECO                      FERC                   December 31, 2019                        1,500                   PAPUC                         December 31, 2018                        950
BGE                       FERC                   December 31, 2019                          700                   MDPSC                                 N/A                              700
Pepco                     FERC                   December 31, 2019                          500              MDPSC / DCPSC                      December 31, 2020                        600
DPL                       FERC                   December 31, 2019                          500               MDPSC / DPSC                      December 31, 2020                        350
ACE                      NJBPU                   December 31, 2019                          350                   NJBPU                         December 31, 2019                        350
_________
(a)   Generation currently has blanket financing authority it received from FERC in connection with its market-based rate authority.
(b)   ComEd had $440 million available in long-term debt refinancing authority and $143 million available in new money long term debt financing authority from the ICC as of March 31, 2018
      and has an expiration date of June 1, 2019 and March 1, 2019, respectively. On April 9, 2018, ComEd filed an application for $1.5 billion in new money long-term debt financing authority
      from the ICC and expects approval by August 1, 2018.


Contractual Obligations and Off-Balance Sheet Arrangements

      Contractual obligations represent cash obligations that are considered to be firm commitments and commercial commitments triggered by
future events. See Note 23 — Commitments and Contingencies of the Combined Notes to Consolidated Financial Statements in the Exelon 2017
Form 10-K.


      Generation, ComEd, PECO, BGE, Pepco, DPL and ACE have obligations related to contracts for the purchase of power and fuel supplies, and
ComEd and PECO have obligations related to their financing trusts. The power and fuel purchase contracts and the financing trusts have been
considered for consolidation in the Registrants’ respective financial statements pursuant to the authoritative guidance for VIEs. See Note 1 —
Significant Accounting Policies of the Combined Notes to Consolidated Financial Statements for further information.


     For an in-depth discussion of the Registrants' contractual obligations and off-balance sheet arrangements, see “Management’s Discussion and
Analysis of Financial Condition and Results of Operations — Contractual Obligations and Off-Balance Sheet Arrangements” in the Exelon 2017
Form 10-K.


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Item 3.   Quantitative and Qualitative Disclosures about Market Risk

      The Registrants are exposed to market risks associated with adverse changes in commodity prices, counterparty credit, interest rates and
equity prices. Exelon’s RMC approves risk management policies and objectives for risk assessment, control and valuation, counterparty credit
approval, and the monitoring and reporting of risk exposures. The RMC is chaired by the chief executive officer and includes the chief risk officer,
chief strategy officer, chief executive officer of Exelon Utilities, chief commercial officer, chief financial officer and chief executive officer of
Constellation. The RMC reports to the Finance and Risk Committee of the Exelon Board of Directors on the scope of the risk management activities.
The following discussion serves as an update to ITEM 7A. QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT MARKET RISK of
Exelon’s 2017 Annual Report on Form 10-K incorporated herein by reference.


Commodity Price Risk (All Registrants)

      Commodity price risk is associated with price movements resulting from changes in supply and demand, fuel costs, market liquidity, weather
conditions, governmental regulatory and environmental policies and other factors. To the extent the total amount of energy Exelon generates and
purchases differs from the amount of energy it has contracted to sell, Exelon is exposed to market fluctuations in commodity prices. Exelon seeks to
mitigate its commodity price risk through the sale and purchase of electricity, fossil fuel and other commodities.


Generation

      Electricity available from Generation’s owned or contracted generation supply in excess of Generation’s obligations to customers, including
portions of the Utility Registrants' retail load, is sold into the wholesale markets. To reduce commodity price risk caused by market fluctuations,
Generation enters into non-derivative contracts as well as derivative contracts, including swaps, futures, forwards and options, with approved
counterparties to hedge anticipated exposures. Generation uses derivative instruments as economic hedges to mitigate exposure to fluctuations in
commodity prices. Generation expects the settlement of the majority of its economic hedges will occur during 2018 through 2020 .


       In general, increases and decreases in forward market prices have a positive and negative impact, respectively, on Generation’s owned and
contracted generation positions which have not been hedged. Exelon's hedging program involves the hedging of commodity price risk for Exelon's
expected generation, typically on a ratable basis over three-year periods. As of March 31, 2018 , the percentage of expected generation hedged is
91% - 94% , 63% - 66% and 33% - 36% for 2018 , 2019 and 2020 , respectively. The percentage of expected generation hedged is the amount of
equivalent sales divided by the expected generation. Expected generation is the volume of energy that best represents our commodity position in
energy markets from owned or contracted generating facilities based upon a simulated dispatch model that makes assumptions regarding future
market conditions, which are calibrated to market quotes for power, fuel, load following products and options. Equivalent sales represent all hedging
products, which include economic hedges and certain non-derivative contracts including Generation’s sales to the ComEd, PECO and BGE to serve
their retail load.

      A portion of Generation’s hedging strategy may be accomplished with fuel products based on assumed correlations between power and fuel
prices, which routinely change in the market. Market price risk exposure is the risk of a change in the value of unhedged positions. The forecasted
market price risk exposure for Generation’s entire economic hedge portfolio associated with a $5 reduction in the annual average around-the-clock
energy price based on March 31, 2018 market conditions and hedged position would be an decrease in pre-tax net income of approximately $44
million , $336 million and $608 million , res pectively, for 2018 , 2019 and 2020 . Power price sensitivities are derived by adjusting power price
assumptions while keeping all other price inputs constant. Generation actively manages its portfolio


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to mitigate market price risk exposure for its unhedged position. Actual results could differ depending on the specific timing of, and markets affected
by, price changes, as well as future changes in Generation’s portfolio. See Note 10 — Derivative Financial Instruments of the Combined Notes to
Consolidated Financial Statements for additional information.

     Proprietary Trading Activities


     Proprietary trading portfolio activity for the three months ended March 31, 2018 resulted in $6 million of pre-tax gains due to net mark-to-
market gains of $2 million and realized gains of $4 million . Generation has not segregated proprietary trading activity within the following discussion
because of the relative size of the proprietary trading portfolio in comparison to Generation’s total Revenue net of purchase power and fuel expense.
See Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial Statements for additional information.

     Fuel Procurement

       Generation procures natural gas through long-term and short-term contracts, and spot-market purchases. Nuclear fuel assemblies are
obtained predominantly through long-term uranium concentrate supply contracts, contracted conversion services, contracted enrichment services, or
a combination thereof, and contracted fuel fabrication services. The supply markets for uranium concentrates and certain nuclear fuel services are
subject to price fluctuations and availability restrictions. Supply market conditions may make Generation’s procurement contracts subject to credit
risk related to the potential non-performance of counterparties to deliver the contracted commodity or service at the contracted prices. Approximately
58% of Generation’s uranium concentrate requirements from 2018 through 2022 are supplied by three producers. In the event of non-performance
by these or other suppliers, Generation believes that replacement uranium concentrates can be obtained, although at prices that may be unfavorable
when compared to the prices under the current supply agreements. Non-performance by these counterparties could have a material adverse impact
on Exelon’s and Generation’s results of operations, cash flows and financial positions.


ComEd

     ComEd entered into 20-year contracts for renewable energy and RECs beginning in June 2012. ComEd is permitted to recover its renewable
energy and REC costs from retail customers with no mark-up. The annual commitments represent the maximum settlements with suppliers for
renewable energy and RECs under the existing contract terms. Pursuant to the ICC’s Order on December 19, 2012, ComEd’s commitments under
the existing long-term contracts were reduced for the June 2013 through May 2014 procurement period. In addition, the ICC’s December 18, 2013
Order approved the reduction of ComEd’s commitments under those contracts for the June 2014 through May 2015 procurement period, and the
amount of the reduction was approved by the ICC in March 2014.


      ComEd has block energy contracts to procure electric supply that are executed through a competitive procurement process, which is further
discussed in Note 6 — Regulatory Matters of the Combined Notes to Consolidated Financial Statements. The block energy contracts are considered
derivatives and qualify for the normal purchases and normal sales scope exception under current derivative authoritative guidance, and as a result
are accounted for on an accrual basis of accounting. ComEd does not enter into derivatives for speculative or proprietary trading purposes. For
additional information on these contracts, see Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial
Statements.


PECO, BGE, Pepco, DPL and ACE

     BGE, Pepco, DPL and ACE have certain full requirements contracts, which are considered derivatives and qualify for the normal purchases
and normal sales scope exception under current


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derivative authoritative guidance, and as a result are accounted for on an accrual basis of accounting. Other full requirements contracts are not
derivatives.

     PECO, BGE and DPL have also executed derivative natural gas contracts, which either qualify for the normal purchases and normal sales
exception or have no mark-to-market balances because the derivatives are index priced, to hedge their long-term price risk in the natural gas
market. The hedging programs for natural gas procurement have no direct impact on their results of operations or financial position.


     PECO, BGE, Pepco, DPL and ACE do not enter into derivatives for speculative or proprietary trading purposes. For additional information on
these contracts, see Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial Statements.


Trading and Non-Trading Marketing Activities

     The following tables detail Exelon’s, Generation’s, ComEd’s, PHI's and DPL's trading and non-trading marketing activities is included to
address the recommended disclosures by the energy industry’s Committee of Chief Risk Officers (CCRO).


        The following table provides detail on changes in Exelon’s, Generation’s, ComEd’s, PHI's and DPL's commodity mark-to-market net asset or
liability balance sheet position from December 31, 2017 to March 31, 2018 . It indicates the drivers behind changes in the balance sheet amounts.
This table incorporates the mark-to-market activities that are immediately recorded in earnings. This table excludes all NPNS contracts and does not
segregate proprietary trading activity. See Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial Statements
for additional information on the balance sheet classification of the mark-to-market energy contract net assets (liabilities) recorded as of March 31,
2018 and December 31, 2017 .


                                                                                          Exelon                Generation                ComEd                  PHI                  DPL
Total mark-to-market energy contract net assets (liabilities) at
December 31, 2017 (a)                                                                $           667      $                923       $          (256)      $           —      $               —
Total change in fair value during 2018 of contracts recorded in
results of operations                                                                              14                        14                    —                   —                      —
Reclassification to realized of contracts recorded in results of
operations                                                                                      (279)                     (279)                    —                   —                      —
Contracts received at acquisition date                                                             —                         —                     —                   —                      —
Changes in fair value — recorded through regulatory assets and
liabilities (b)                                                                                   (10)                       —                    (11)                  1                      1
Changes in allocated collateral                                                                  217                       218                     —                   (1)                    (1)
Changes in net option premium paid/(received)                                                      27                        27                    —                   —                      —
Option premium amortization                                                                          7                         7                   —                   —                      —
Upfront payments and amortizations           (c)                                                  (30)                      (30)                   —                   —                      —
Total mark-to-market energy contract net assets (liabilities) at March
31, 2018 (a)                                                           $                         613      $                880       $          (267)      $           —      $               —
_________
(a)   Amounts are shown net of collateral paid to and received from counterparties.
(b)   For ComEd and DPL, the changes in fair value are recorded as a change in regulatory assets or liabilities. As of March 31, 2018 , ComEd recorded a regulatory liability of $267 million
      related to its mark-to-market derivative liabilities with Generation and unaffiliated suppliers. For the three months ended March 31, 2018 , ComEd also recorded $ 17 million of decreases in
      fair value and an increase for realized losses due to settlements of $ 6 million recorded in purchased power expense associated with floating-to-fixed energy swap contracts with
      unaffiliated suppliers.
(c)   Includes derivative contracts acquired or sold by Generation through upfront payments or receipts of cash, excluding option premiums, and the associated amortization.


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Fair Values

     The following tables present maturity and source of fair value for Exelon, Generation and ComEd mark-to-market commodity contract net
assets (liabilities). The tables provide two fundamental pieces of information. First, the tables provide the source of fair value used in determining the
carrying amount of the Registrants’ total mark-to-market net assets (liabilities), net of allocated collateral. Second, the tables show the maturity, by
year, of the Registrants’ commodity contract net assets (liabilities), net of allocated collateral, giving an indication of when these mark-to-market
amounts will settle and either generate or require cash. See Note 9 — Fair Value of Financial Assets and Liabilities of the Combined Notes to
Consolidated Financial Statements for additional information regarding fair value measurements and the fair value hierarchy.


      Exelon


                                                                                                                      Maturities Within
                                                                                                                                                                                    Total Fair
                                                                                2018             2019          2020             2021             2022       2023 and Beyond           Value
Normal Operations, Commodity derivative contracts (a)(b)
:
       Actively quoted prices (Level 1)                                     $          (7)   $      (37)   $      (15)      $          8     $          2   $           —      $             (49)
       Prices provided by external sources (Level 2)                                   (5)          (11)           23                  4                —               —                        11
       Prices based on model or other valuation methods
       (Level 3) (c)                                                              442              314             51              (13)             (53)               (90)                 651
       Total                                                                $     430        $     266     $       59       $          (1)   $      (51)    $          (90)    $            613
_________
(a)   Mark-to-market gains and losses on other economic hedge and trading derivative contracts that are recorded in results of operations.
(b)   Amounts are shown net of collateral paid to and received from counterparties (and offset against mark-to-market assets and liabilities) of $684 million at March 31, 2018 .
(c)   Includes ComEd’s net liabilities associated with the floating-to-fixed energy swap contracts with unaffiliated suppliers.

      Generation


                                                                                                                   Maturities Within
                                                                                                                                                                                    Total Fair
                                                                                2018             2019          2020             2021             2022       2023 and Beyond           Value
Normal Operations, Commodity derivative contracts (a)(b)
:
   Actively quoted prices (Level 1)                      $                          (7)      $     (37)    $     (15)      $           8     $          2   $           —      $             (49)
       Prices provided by external sources (Level 2)                                (5)            (11)           23                   4            —                   —                        11
       Prices based on model or other valuation methods
       (Level 3)                                                                  460              337            73                   9           (31)                 70                  918
       Total                                                               $      448        $     289     $      81       $       21        $     (29)     $           70     $            880
_________
(a)   Mark-to-market gains and losses on other economic hedge and trading derivative contracts that are recorded in the results of operations.
(b)   Amounts are shown net of collateral paid to and received from counterparties (and offset against mark-to-market assets and liabilities) of $684 million at March 31, 2018 .


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      ComEd


                                                                                                                     Maturities Within
                                                                                                                                                                    2023 and            Total Fair
                                                                                 2018            2019             2020           2021           2022                 Beyond               Value

Commodity derivative contracts (a) :
    Prices based on model or other valuation methods
    (Level 3)                                                                $        (18)   $       (23)     $     (22)     $      (22)    $     (22)      $             (160)     $            (267)
_________
(a)   Represents ComEd’s net liabilities associated with the floating-to-fixed energy swap contracts with unaffiliated suppliers.


Credit Risk, Collateral and Contingent-Related Features (All Registrants)

      The Registrants would be exposed to credit-related losses in the event of non-performance by counterparties that execute derivative
instruments. The credit exposure of derivative contracts, before collateral, is represented by the fair value of contracts at the reporting date. See
Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial Statements for a detailed discussion of credit risk,
collateral and contingent-related features.


Generation

       The following tables provide information on Generation’s credit exposure for all derivative instruments, normal purchases and normal sales
agreements, and applicable payables and receivables, net of collateral and instruments that are subject to master netting agreements, as of
March 31, 2018 . The tables further delineate that exposure by credit rating of the counterparties and provide guidance on the concentration of credit
risk to individual counterparties and an indication of the duration of a company’s credit risk by credit rating of the counterparties. The figures in the
tables below exclude credit risk exposure from individual retail customers, uranium procurement contracts, and exposure through RTOs, ISOs and
commodity exchanges, which are discussed below. Additionally, the figures in the tables below exclude exposures with affiliates, including net
receivables with ComEd, PECO, BGE, Pepco, DPL and ACE of $31 million , $21 million , $25 million , $34 million , $9 million and $5 million as of
March 31, 2018 , respectively.

                                                                                                                                                                               Net Exposure of
                                                                                                                                            Number of                          Counterparties
                                                           Total Exposure                                                                 Counterparties                        Greater than
                                                            Before Credit                 Credit                    Net                  Greater than 10%                        10% of Net
Rating as of March 31, 2018                                   Collateral                Collateral (a)            Exposure               of Net Exposure                          Exposure
Investment grade                                       $                 986      $                      1    $            985                                  2     $                          412
Non-investment grade                                                     112                             46                 66
No external ratings
       Internally rated — investment
       grade                                                             223                             —                 223
       Internally rated — non-investment
       grade                                                             100                             17                 83
Total                                                  $              1,421       $                      64   $          1,357                                  2     $                          412

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                                                                                                                             Maturity of Credit Risk Exposure
                                                                                                                                                   Exposure                   Total Exposure
                                                                                               Less than                                          Greater than                 Before Credit
Rating as of March 31, 2018                                                                     2 Years                  2-5 Years                  5 Years                     Collateral
Investment grade                                                                         $               894      $                  92     $                    —      $                     986
Non-investment grade                                                                                     104                          8                          —                            112
No external ratings
      Internally rated — investment grade                                                                161                         32                          30                           223
      Internally rated — non-investment grade                                                              93                         7                          —                            100
Total                                                                                    $             1,252      $                139      $                    30     $                    1,421

                                                                                                                                                                                As of
Net Credit Exposure by Type of Counterparty                                                                                                                                 March 31, 2018
Financial institutions                                                                                                                                            $                           189
Investor-owned utilities, marketers, power producers                                                                                                                                          656
Energy cooperatives and municipalities                                                                                                                                                        438
Other                                                                                                                                                                                          74
Total                                                                                                                                                             $                          1,357
_________
(a)   As of March 31, 2018 , credit collateral held from counterparties where Generation had credit exposure included $41 million of cash and $23 million of letters of credit.

The Utility Registrants

    There have been no significant changes or additions to the Utility Registrants exposures to credit risk that are described in ITEM 1A. RISK
FACTORS of Exelon’s 2017 Annual Report on Form 10-K.

     See Note 10 — Derivative Financial Instruments of the Combined Notes to Consolidated Financial Statements for information regarding credit
exposure to suppliers.


Collateral (All Registrants)

Generation

      As part of the normal course of business, Generation routinely enters into physical or financial contracts for the sale and purchase of electricity,
natural gas and other commodities. In accordance with the contracts and applicable law, if Generation is downgraded by a credit rating agency,
especially if such downgrade is to a level below investment grade, it is possible that a counterparty would attempt to rely on such a downgrade as a
basis for making a demand for adequate assurance of future performance. Depending on Generation’s net position with a counterparty, the demand
could be for the posting of collateral. In the absence of expressly agreed-to provisions that specify the collateral that must be provided, collateral
requested will be a function of the facts and circumstances of the situation at the time of the demand. See Note 10 — Derivative Financial
Instruments of the Combined Notes to Consolidated Financial Statements for information regarding collateral requirements. See Note 17 —
Commitments and Contingencies of the Combined Notes to Consolidated Financial Statements for information regarding the letters of credit
supporting the cash collateral.


      Generation transacts output through bilateral contracts. The bilateral contracts are subject to credit risk, which relates to the ability of
counterparties to meet their contractual payment obligations. Any failure to collect these payments from counterparties could have a material impact
on Exelon’s and Generation’s results of operations, cash flows and financial positions. As market prices rise above or fall below contracted price
levels, Generation is required to post collateral with purchasers; as market


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prices fall below contracted price levels, counterparties are required to post collateral with Generation. To post collateral, Generation depends on
access to bank credit facilities, which serve as liquidity sources to fund collateral requirements. See ITEM 2. Liquidity and Capital Resources —
Credit Matters — Exelon Credit Facilities for additional information.


The Utility Registrants

      As of March 31, 2018 , ComEd held approximately $9 million in collateral from suppliers in association with energy procurement contracts,
approximately $14 million in collateral from suppliers for REC and ZEC contract obligations and approximately $19 million in collateral from suppliers
for long-term renewable energy contracts. BGE is not required to post collateral under its electric supply contracts but was holding an immaterial
amount of collateral under its electric supply procurement contracts. BGE was not required to post collateral under its natural gas procurement
contracts, but was holding an immaterial amount of collateral under its natural gas procurement contracts. PECO, Pepco, DPL and ACE were not
required to post collateral under their energy and/or natural gas procurement contracts. See Note 6 — Regulatory Matters and Note 10 — Derivative
Financial Instruments of the Combined Notes to Consolidated Financial Statements for additional information.


RTOs and ISOs (All Registrants)

      All Registrants participate in all, or some, of the established wholesale spot energy markets that are administered by PJM, ISO-NE, ISO-NY,
CAISO, MISO, SPP, AESO, OIESO and ERCOT. ERCOT is not subject to regulation by FERC but performs a similar function in Texas to that
performed by RTOs in markets regulated by FERC. In these areas, power is traded through bilateral agreements between buyers and sellers and on
the spot energy markets that are administered by the RTOs or ISOs, as applicable. In areas where there are no spot energy markets, electricity is
purchased and sold solely through bilateral agreements. For sales into the spot energy markets administered by an RTO or ISO, the RTO or ISO
maintains financial assurance policies that are established and enforced by those administrators. The credit policies of the RTOs and ISOs may,
under certain circumstances, require that losses arising from the default of one member on spot energy market transactions be shared by the
remaining participants. Non-performance or non-payment by a major counterparty could result in a material adverse impact on the Registrants’
results of operations, cash flows and financial positions.


Exchange Traded Transactions (Exelon, Generation, PHI and DPL)

     Generation enters into commodity transactions on NYMEX, ICE, NASDAQ, NGX and the Nodal exchange ("the Exchanges"). DPL enters into
commodity transactions on ICE. The Exchange clearinghouses act as the counterparty to each trade. Transactions on the Exchanges must adhere
to comprehensive collateral and margining requirements. As a result, transactions on the Exchanges are significantly collateralized and have limited
counterparty credit risk.


Interest Rate and Foreign Exchange Risk (All Registrants)

      The Registrants use a combination of fixed-rate and variable-rate debt to manage interest rate exposure. The Registrants may also utilize
fixed-to-floating interest rate swaps, which are typically designated as fair value hedges, to manage their interest rate exposure. In addition, the
Registrants may utilize interest rate derivatives to lock in rate levels, which are typically designated as cash flow hedges. These strategies are
employed to manage interest rate risks. At March 31, 2018 , Exelon had $800 million of notional amounts of fixed-to-floating hedges outstanding and
Exelon and Generation had $636 million of notional amounts of floating-to-fixed hedges outstanding. Assuming the fair value and interest rate
hedges are 100% effective, a hypothetical 50 basis point increase in the interest rates associated with unhedged variable-rate debt (excluding
Commercial Paper) and fixed-to-floating swaps would result in approximately a $1 million decrease in Exelon Consolidated pre-tax income for the
three


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months ended March 31, 2018 . To manage foreign exchange rate exposure associated with international energy purchases in currencies other than
U.S. dollars, Generation utilizes foreign currency derivatives, which are typically designated as economic hedges. See Note 10 — Derivative
Financial Instruments of the Combined Notes to Consolidated Financial Statements for additional information.


Equity Price Risk (Exelon and Generation)

      Exelon and Generation maintain trust funds, as required by the NRC, to fund certain costs of decommissioning its nuclear plants. As of
March 31, 2018 , Generation’s decommissioning trust funds are reflected at fair value on its Consolidated Balance Sheets. The mix of securities in
the trust funds is designed to provide returns to be used to fund decommissioning and to compensate Generation for inflationary increases in
decommissioning costs; however, the equity securities in the trust funds are exposed to price fluctuations in equity markets, and the value of fixed-
rate, fixed-income securities are exposed to changes in interest rates. Generation actively monitors the investment performance of the trust funds
and periodically reviews asset allocation in accordance with Generation’s NDT fund investment policy. A hypothetical 10% increase in interest rates
and decrease in equity prices would result in a $652 million reduction in the fair value of the trust assets. This calculation holds all other variables
constant and assumes only the discussed changes in interest rates and equity prices. See ITEM 2. MANAGEMENT'S DISCUSSION AND
ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS for further discussion of equity price risk as a result of the current
capital and credit market conditions.

Item 4.   Controls and Procedures


      During the first quarter of 2018 , each of Exelon’s, Generation’s, ComEd’s, PECO’s, BGE’s, PHI's, Pepco's, DPL's and ACE's management,
including its principal executive officer and principal financial officer, evaluated its disclosure controls and procedures related to the recording,
processing, summarizing and reporting of information in its periodic reports that it files with the SEC. These disclosure controls and procedures have
been designed by all Registrants to ensure that (a) material information relating to that Registrant, including its consolidated subsidiaries, is
accumulated and made known to Exelon’s management, including its principal executive officer and principal financial officer, by other employees of
that Registrant and its subsidiaries as appropriate to allow timely decisions regarding required disclosure, and (b) this information is recorded,
processed, summarized, evaluated and reported, as applicable, within the time periods specified in the SEC’s rules and forms. Due to the inherent
limitations of control systems, not all misstatements may be detected. These inherent limitations include the realities that judgments in decision-
making can be faulty and that breakdowns can occur because of simple error or mistake. Additionally, controls could be circumvented by the
individual acts of some persons or by collusion of two or more people.


     Accordingly, as of March 31, 2018 , the principal executive officer and principal financial officer of each of Exelon, Generation, ComEd, PECO,
BGE, PHI, Pepco, DPL and ACE concluded that such Registrant’s disclosure controls and procedures were effective to accomplish its objectives. All
Registrants continually strive to improve their disclosure controls and procedures to enhance the quality of its financial reporting and to maintain
dynamic systems that change as conditions warrant.


     Beginning January 1, 2018, the Registrants adopted the Revenue from Contracts with Customers standard. Although the guidance had an
immaterial impact on the Registrants’ Consolidated Statements of Operations and Comprehensive Income, Consolidated Statements of Cash Flows,
Consolidated Balance Sheets and Consolidated Statements of Changes in Shareholders' Equity, they did perform implementation controls, including
contract reviews, to adopt the new standard, and implemented certain changes to their ongoing revenue recognition processes and control activities,
which included enhancements to contract review and valuation processes, new training, and gathering of information for disclosures.


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    With the exception of the above, there have been no changes in internal control over financial reporting that occurred during the first quarter of
2018 that have materially affected, or are reasonably likely to materially affect, any of Exelon’s, Generation’s, ComEd’s, PECO’s, BGE’s, PHI’s,
Pepco’s, DPL’s and ACE’s internal control over financial reporting.


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                                                        PART II — OTHER INFORMATION

Item 1.    Legal Proceedings


      The Registrants are parties to various lawsuits and regulatory proceedings in the ordinary course of their respective businesses. For
information regarding material lawsuits and proceedings, see (a) ITEM 3 . LEGAL PROCEEDINGS of Exelon’s 2017 Form 10-K and (b) Notes 6 —
Regulatory Matters and 17 — Commitments and Contingencies of the Combined Notes to Consolidated Financial Statements in PART I, ITEM 1.
FINANCIAL STATEMENTS of this Report. Such descriptions are incorporated herein by these references.

Item 1A.    Risk Factors


   Risks Related to Exelon

    At March 31, 2018 , the Registrants' risk factors were consistent with the risk factors described in the Registrants' combined 2017 Form 10-K in
ITEM 1A. RISK FACTORS.

Item 4.    Mine Safety Disclosures


  All Registrants


     Not applicable to the Registrants.


Item 6.    Exhibits

     Certain of the following exhibits are incorporated herein by reference under Rule 12b-32 of the Securities and Exchange Act of 1934, as
amended. Certain other instruments which would otherwise be required to be listed below have not been so listed because such instruments do not
authorize securities in an amount which exceeds 10% of the total assets of the applicable Registrant and its subsidiaries on a consolidated basis
and the relevant Registrant agrees to furnish a copy of any such instrument to the Commission upon request.


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Exhibit
No.                   Description
                      Supplemental Indenture dated as of February 6, 2018 from Commonwealth Edison Company to BNY Mellon Trust
                      Company of Illinois, as trustee, and D. G. Donovan, as co-trustee (File No. 001-01839, Form 8-K dated February 20,
4.1                   2018, Exhibit 4.1)

                      One Hundred and Fifteenth Supplemental Indenture dated as of February 1, 2018 from PECO Energy Company to
4.2                   U.S. Bank National Association, as trustee (File No. 000-16844, Form 8-K dated February 23, 2018, Exhibit 4.1)

                      One Hundred and Twentieth Supplemental Indenture, dated April 3, 2018, between DPL and The Bank of New York
4.3                   Mellon, as trustee.

                      Form of Separation Agreement under Exelon Corporation Senior Management Severance Plan (As Amended and
10.1                  Restated Effective November 1, 2015) * Filed herewith.


101.INS               XBRL Instance

101.SCH               XBRL Taxonomy Extension Schema

101.CAL               XBRL Taxonomy Extension Calculation

101.DEF               XBRL Taxonomy Extension Definition

101.LAB               XBRL Taxonomy Extension Labels

101.PRE               XBRL Taxonomy Extension Presentation


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      Certifications Pursuant to Rule 13a-14(a) and 15d-14(a) of the Securities and Exchange Act of 1934 as to the Quarterly Report on Form 10-Q
for the quarterly period ended March 31, 2018 filed by the following officers for the following companies:


31-1                   — Filed by Christopher M. Crane for Exelon Corporation

31-2                   — Filed by Jonathan W. Thayer for Exelon Corporation

31-3                   — Filed by Kenneth W. Cornew for Exelon Generation Company, LLC

31-4                   — Filed by Bryan P. Wright for Exelon Generation Company, LLC

31-5                   — Filed by Anne R. Pramaggiore for Commonwealth Edison Company

31-6                   — Filed by Joseph R. Trpik, Jr. for Commonwealth Edison Company

31-7                   — Filed by Michael A. Innocenzo for PECO Energy Company

31-8                   — Filed by Phillip S. Barnett for PECO Energy Company

31-9                   — Filed by Calvin G. Butler, Jr. for Baltimore Gas and Electric Company

31-10                  — Filed by David M. Vahos for Baltimore Gas and Electric Company

31-11                  — Filed by David M. Velazquez for Pepco Holdings LLC

31-12                  — Filed by Donna J. Kinzel for Pepco Holdings LLC

31-13                  — Filed by David M. Velazquez for Potomac Electric Power Company

31-14                  — Filed by Donna J. Kinzel for Potomac Electric Power Company

31-15                  — Filed by David M. Velazquez for Delmarva Power & Light Company

31-16                  — Filed by Donna J. Kinzel for Delmarva Power & Light Company

31-17                  — Filed by David M. Velazquez for Atlantic City Electric Company

31-18                  — Filed by Donna J. Kinzel for Atlantic City Electric Company


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    Certifications Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code (Sarbanes — Oxley Act of 2002) as to the Quarterly
Report on Form 10-Q for the quarterly period ended March 31, 2018 filed by the following officers for the following companies:



32-1                  — Filed by Christopher M. Crane for Exelon Corporation

32-2                  — Filed by Jonathan W. Thayer for Exelon Corporation

32-3                  — Filed by Kenneth W. Cornew for Exelon Generation Company, LLC

32-4                  — Filed by Bryan P. Wright for Exelon Generation Company, LLC

32-5                  — Filed by Anne R. Pramaggiore for Commonwealth Edison Company

32-6                  — Filed by Joseph R. Trpik, Jr. for Commonwealth Edison Company

32-7                  — Filed by Michael A. Innocenzo for PECO Energy Company

32-8                  — Filed by Phillip S. Barnett for PECO Energy Company

32-9                  — Filed by Calvin G. Butler, Jr. for Baltimore Gas and Electric Company

32-10                 — Filed by David M. Vahos for Baltimore Gas and Electric Company

32-11                 — Filed by David M. Velazquez for Pepco Holdings LLC

32-12                 — Filed by Donna J. Kinzel for Pepco Holdings LLC

32-13                 — Filed by David M. Velazquez for Potomac Electric Power Company

32-14                 — Filed by Donna J. Kinzel for Potomac Electric Power Company

32-15                 — Filed by David M. Velazquez for Delmarva Power & Light Company

32-16                 — Filed by Donna J. Kinzel for Delmarva Power & Light Company

32-17                 — Filed by David M. Velazquez for Atlantic City Electric Company

32-18                 — Filed by Donna J. Kinzel for Atlantic City Electric Company


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                                                                   SIGNATURES



     Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by the
undersigned thereunto duly authorized.


                                                               EXELON CORPORATION


                     /s/    C HRISTOPHER M. C RANE                                             /s/   J ONATHAN W. T HAYER
                            Christopher M. Crane                                                     Jonathan W. Thayer
                   President and Chief Executive Officer                        Senior Executive Vice President and Chief Financial Officer
                 (Principal Executive Officer) and Director                                    (Principal Financial Officer)

                           /s/    F ABIAN E. S OUZA
                                 Fabian E. Souza
              Senior Vice President and Corporate Controller
                       (Principal Accounting Officer)

May 2, 2018

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     Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by the
undersigned thereunto duly authorized.

                                                      EXELON GENERATION COMPANY, LLC


                     /s/    K ENNETH W. C ORNEW                                                  /s/   B RYAN P. W RIGHT
                            Kenneth W. Cornew                                                          Bryan P. Wright
                 President and Chief Executive Officer                               Senior Vice President and Chief Financial Officer
                     (Principal Executive Officer)                                             (Principal Financial Officer)

                      /s/    M ATTHEW N. B AUER
                            Matthew N. Bauer
                     Vice President and Controller
                     (Principal Accounting Officer)

May 2, 2018

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     Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by the
undersigned thereunto duly authorized.


                                                      COMMONWEALTH EDISON COMPANY


                    /s/     A NNE R. P RAMAGGIORE                                              /s/   J OSEPH R. T RPIK , J R .
                           Anne R. Pramaggiore                                                       Joseph R. Trpik, Jr.
                 President and Chief Executive Officer                          Senior Vice President, Chief Financial Officer and Treasurer
                     (Principal Executive Officer)                                              (Principal Financial Officer)

                          /s/   G ERALD J. K OZEL
                                Gerald J. Kozel
                     Vice President and Controller
                     (Principal Accounting Officer)

May 2, 2018

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     Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by the
undersigned thereunto duly authorized.


                                                          PECO ENERGY COMPANY


                    /s/    M ICHAEL A. I NNOCENZO                                               /s/   P HILLIP S. B ARNETT
                           Michael A. Innocenzo                                                       Phillip S. Barnett
                 President and Chief Executive Officer                          Senior Vice President, Chief Financial Officer and Treasurer
                     (Principal Executive Officer)                                              (Principal Financial Officer)

                          /s/   S COTT A. B AILEY
                                Scott A. Bailey
                     Vice President and Controller
                     (Principal Accounting Officer)

May 2, 2018



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     Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by the
undersigned thereunto duly authorized.

                                                    BALTIMORE GAS AND ELECTRIC COMPANY


                    /s/    C ALVIN G. B UTLER , J R .                                               /s/   D AVID M. V AHOS
                            Calvin G. Butler, Jr.                                                         David M. Vahos
                        Chief Executive Officer                              Senior Vice President, Chief Financial Officer and Treasurer (Principal
                      (Principal Executive Officer)                                                    Financial Officer)

                          /s/ A NDREW W. H OLMES
                            Andrew W. Holmes
                     Vice President and Controller
                     (Principal Accounting Officer)

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        Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by
the undersigned thereunto duly authorized.

                                                            PEPCO HOLDINGS LLC


                      /s/ D AVID M. V ELAZQUEZ                                                    /s/ D ONNA J. K INZEL
                         David M. Velazquez                                                          Donna J. Kinzel
                 President and Chief Executive Officer                         Senior Vice President, Chief Financial Officer and Treasurer
                     (Principal Executive Officer)                                             (Principal Financial Officer)

                        /s/ R OBERT M. A IKEN
                           Robert M. Aiken
                     Vice President and Controller
                     (Principal Accounting Officer)

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        Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by
the undersigned thereunto duly authorized.

                                                     POTOMAC ELECTRIC POWER COMPANY


                      /s/ D AVID M. V ELAZQUEZ                                                    /s/ D ONNA J. K INZEL
                         David M. Velazquez                                                          Donna J. Kinzel
                President and Chief Executive Officer                          Senior Vice President, Chief Financial Officer and Treasurer
                     (Principal Executive Officer)                                             (Principal Financial Officer)

                        /s/ R OBERT M. A IKEN
                           Robert M. Aiken
                    Vice President and Controller
                    (Principal Accounting Officer)

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        Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by
the undersigned thereunto duly authorized.

                                                     DELMARVA POWER & LIGHT COMPANY


                      /s/ D AVID M. V ELAZQUEZ                                                    /s/ D ONNA J. K INZEL
                         David M. Velazquez                                                          Donna J. Kinzel
                President and Chief Executive Officer                          Senior Vice President, Chief Financial Officer and Treasurer
                     (Principal Executive Officer)                                             (Principal Financial Officer)

                        /s/ R OBERT M. A IKEN
                           Robert M. Aiken
                    Vice President and Controller
                    (Principal Accounting Officer)

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        Pursuant to requirements of the Securities Exchange Act of 1934, the Registrant has duly caused this report to be signed on its behalf by
the undersigned thereunto duly authorized.

                                                     ATLANTIC CITY ELECTRIC COMPANY


                      /s/ D AVID M. V ELAZQUEZ                                                    /s/ D ONNA J. K INZEL
                         David M. Velazquez                                                          Donna J. Kinzel
                President and Chief Executive Officer                          Senior Vice President, Chief Financial Officer and Treasurer
                     (Principal Executive Officer)                                             (Principal Financial Officer)

                        /s/ R OBERT M. A IKEN
                           Robert M. Aiken
                    Vice President and Controller
                    (Principal Accounting Officer)

May 2, 2018

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                                                           This Instrument Prepared By:

                                                           /s/Christie D. Cannon
                                                           Christie D. Cannon
                                                           Delmarva Power & Light Company
                                                           Mailstop 92DC42
                                                           500 N. Wakefield Drive
                                                           Newark, DE 19702-5440




                      DELMARVA POWER & LIGHT COMPANY


                                           TO


                         THE BANK OF NEW YORK MELLON,
                                     Trustee.




                 ONE HUNDRED AND TWENTIETH SUPPLEMENTAL
                               INDENTURE




                                Dated as of January 1, 2018
                  (but executed on the dates shown on the execution page)




                                            1
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       This ONE HUNDRED AND TWENTIETH SUPPLEMENTAL INDENTURE , dated as of the first day of January, 2018
(but executed on the dates hereinafter shown), made and entered into by and between DELMARVA POWER & LIGHT
COMPANY, a corporation of the State of Delaware and the Commonwealth of Virginia, hereinafter called the Company and THE
BANK OF NEW YORK MELLON, a New York banking corporation, hereinafter called the Trustee;

       WITNESSETH:

        WHEREAS, the Company heretofore executed and delivered its Indenture of Mortgage and Deed of Trust (hereinafter in this
One Hundred and Twentieth Supplemental Indenture called the “Original Indenture”), dated as of October 1, 1943, to The New York
Trust Company, a corporation of the State of New York, as Trustee, to which The Bank of New York Mellon is successor Trustee, to
secure the First Mortgage Bonds of the Company, unlimited in aggregate principal amount and issuable in series, from time to time,
in the manner and subject to the conditions set forth in the Original Indenture granted and conveyed unto the Trustee, upon the trusts,
uses and purposes specifically therein set forth, certain real estate, franchises and other property therein described, including property
acquired after the date thereof, except as therein otherwise provided; and

WHEREAS, the Original Indenture has been supplemented by one hundred and eighteen supplemental indentures specifically
subjecting to the lien of the Original Indenture as though included in the granting clause thereof certain property in said supplemental
indentures specifically described and amending and modifying the provisions of the Original Indenture (the Original Indenture, as
amended, modified and supplemented by all of the indentures supplemental thereto, including this One Hundred and Twentieth
Supplemental Indenture, is hereinafter in this One Hundred and Twentieth Supplemental Indenture called the “Indenture”); and

WHEREAS, the execution and delivery of this One Hundred and Twentieth Supplemental Indenture has been duly authorized by
Unanimous Written Consent of the Board of Directors of the Company, and all conditions and requirements necessary to make this
One Hundred and Twentieth Supplemental Indenture a valid, binding and legal instrument in accordance with its terms, for the
purposes herein expressed, and the execution and delivery hereof, have been in all respects duly authorized; and


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       WHEREAS, it is provided in and by the Original Indenture, inter alia, as follows:

               “IT IS HEREBY AGREED by the Company that all the property, rights and franchises acquired by the Company
       after the date hereof (except any hereinbefore or hereinafter expressly excepted) shall (subject to the provisions of Section
       9.01 hereof and to the extent permitted by law) be as fully embraced within the lien hereof as if such property, rights and
       franchises were now owned by the Company and/or specifically described herein and conveyed hereby;”

and

        WHEREAS, the Company has acquired certain other property, real, personal and mixed, which heretofore has not been
specifically conveyed to the Trustee;

         NOW, THEREFORE, this ONE HUNDRED AND TWENTIETH SUPPLEMENTAL INDENTURE WITNESSETH that for
and in consideration of the premises and in pursuance of the provisions of the Indenture, the Company has granted, bargained, sold,
released, conveyed, assigned, transferred, mortgaged, pledged, set over and confirmed, and by these presents does grant, bargain,
sell, release, convey, assign, transfer, mortgage, pledge, set over and confirm unto the Trustee and to its successors in the trust in the
Indenture created, to its and their assigns forever, all the following described properties of the Company, and does confirm that the
Company will not cause or consent to a partition, either voluntary or through legal proceedings, of property, whether herein
described or heretofore or hereafter acquired, in which its ownership shall be as tenant in common, except as permitted by, and in
conformity with, the provisions of the Indenture and particularly of Article IX thereof:

       [NONE]

       Together with all other property, real, personal and mixed, tangible and intangible (except such property as in said Indenture
expressly excepted from the lien and operation thereof), acquired by the Company on or prior to December 31, 2017, and not
heretofore specifically subjected to the lien of the Indenture.

        Also without limitation of the generality of the foregoing, the easements and rights-of-way and other rights in or relating to
real estate or the occupancy of the same owned by the Company, and whether used or not used in connection with the Company’s
operations, which are conveyed to the Company and recorded in the following Real Property Deed Records to which reference is
made for a more particular description, to wit:

DELAWARE
New Castle County


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Instrument Date          Deed Records                                 Tax ID No.
    12/16/16           20170112-0002218       13-021.00-018
    12/08/16           20170112-0002219       06-034.00-025
    12/08/16           20170112-0002220       14-021.00-008
    01/11/17           20170214-0008302       15-026.00-023
    02/03/17           20170228-0010513       06-046.00-246
    02/07/17           20170228-0010512       06-122.00-082
    01/17/17           20170222-009512        07-044.30-002
    02/24/17           20170328-0015261       14-012.20-124, 14-012.20-001 - 14-012.22-142, 14-012.24-001
                                              - 14-012.24-017
   03/03/17            20170328-0015260       13-002.30-062 - 13-002.30-123 , 13-007.10-001 - 13-007.10-
                                              078, 13-007.20-010 - 13-007.20-026
     04/18/17          20170503-0022037       06-11100038, 0611100165, 0611100165
     03/04/17          2170503-0022036        07-01700102
     04/11/17          20170503-0022035       10-04300022
     04/12/17          20170503-0022034       15-01100027
     05/02/17          20170515-0023813       07-02730095, 07-02730106
     04/19/17          20170505-0022409       06-100.00-022
     05/05/17          20170629-0032581       06-052.00-231
     06/22/17          20170629-0032582       09-018.00-081
     06/13/17          20170707-0034169       10-010.40-212, 10-010.40-380
     06/26/17          20170809-0040602       15-020.00-062
     07/18/17          20170809-0040603       08-017.00-002
     06/28/17          20170630-0033045       06-100.00-067
     07/28/17          20170818-0042308       10-043.00-022
     04/27/17          20170818-0042309       06-145.00-050
     08/12/17          20170901-0045416       15-026.00-210
    8/17/2017          20170901-0045417       08-037.00-067
     08/23/17          20170915-0047648       13-012.00-150
Instrument Date          Deed Records                                  Tax ID No.
     9/5/2017          20170915-0047646       08-037.00-067
     08/31/17          201709015-004767       06-024.00-447,06-024.00-448, 06-024.00-251
     09/15/17          20171013-0053393       10-015.00-021, 10-015.00-022
     09/28/17          20171013-0053394       06-121.00-174
     09/26/17          20171013-0053395       08-024.10-064
     10/16/17          20171116-0060070       07-005.00-038
     10/11/17          20171116-0060068       14-012.00-239
     09/05/17          20171116-0060067       26-051.00-009
     10/11/17          20171116-0060066       08-008.30-078
     10/24/17          20171116-0060065       14-012.21-034
     10/18/17          20171116-0060069       23-064.00-061, 23-030.00-158



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DELAWARE
Sussex County


        Instrument Date                Deed Records                            Tax ID No.
                                Book                  Page
           09/07/16             4625                  266     131-10.00-101.00
           10/06/16             4650                  264     334-12.00-106.01
           10/06/16             4650                  266     533-4.00-22.00
           12/08/16             4650                  273     233-10.00-77.00
           12/09/16             4650                  271     233-10.00-77.01
           12/09/16             4650                  268     334-14.17-72.00
           12/29/16             4650                  275     134-12.00-317.01
           01/19/17             4707                   89     134-12.00-170.00
           01/19/17             4730                  217     134-12.00-3663.00
           01/27/17             4730                  219     134-12.300-428
           02/10/17             4688                   45     331-03.00-128.00
           03/05/17             4688                   50     532-18.00-14.01
           03/28/17             4756                  282     530-10.13-2.00, 530-10.13-2.01
           03/31/17             4704                  103     232-12.00-103.00
           04/05/17             4756                  286     134-13.00-36.00
           04/07/17             4756                  288     334-13.19-70.00
           04/07/17             4707                   91     334-13.20-16.00
           04/07/17             4756                  291     532-18.00-11.01
           04/12/17             4756                  298     334-20.10-1.08, 334-20.10-1.01
           04/25/17             4756                  284     334-13.20-33.01
           05/11/17             4756                  300     233-16.00-6.02
           06/06/17             4756                  302     232-12.15-40.00
           06/09/17             4756                  304     532-23.00-1.02
           06/09/17             4756                  306     532-23.00-1.03
           06/27/17             4756                  275     Multiple
           07/10/17             4770                  271     331-4.00-34.07
                                                              331-4.00-34.05

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        Instrument Date                  Deed Records                                  Tax ID No.
                                 Book                       Page
            7/18/17              4770                       266     132-6.00-230.00
           10/15/17              4805                        41     2-30-700.89.00


DELAWARE
Kent County


        Instrument Date                 Deed Records                                   Tax ID No.
                                     Instrument Number
           02/16/17               8549                81            4-00-03800-01-4202-00001
           12/19/16               8549                84            7-00-07200-01-6200-00002
           02/23/17               8549                87            9-00-06500-012900-00001
           08/05/17               8778               202            8-00-113.00-01-03.04.000
           08/26/17               8794               269            9-00-06400-01-5200-00001


MARYLAND
Caroline County


       Instrument Date                  Deed Records                    Map                       Parcel
                                Book                       Page
           08/04/16             1242                        44     9                  17&62
           05/05/16             1242                        39     105                2267
           08/01/16             1244                       132     9                  2,18
           01/27/17             1244                       135     11A                54
           02/13/17             1247                       373     11A                55
           02/13/17             1247                       376     11A                57
           04/10/17             1255                       418     18 & 19            154 & 156
           04/11/17             1255                       423     18                 147
           04/06/17             1259                       455     303                650
           05/23/17             1259                       147     18                 146
           05/08/17             1259                       143     303                648



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MARYLAND
Cecil County


       Instrument Date                Deed Records                    Map          Parcel
                               Book                      Page
            12/12/16           4015                       90    31          31
            02/14/17           4035                      333    315         2462
            02/14/17           4035                      335    316         2462
            05/19/16           4035                      339    38          188
           5/23/2016           4035                      337    10          23
            09/02/15           4035                      341    30          20
       Instrument Date                Deed Records                    Map          Parcel
                               Book                      Page
          3/6/2016             4035                      343    29          84
          04/05/17             4065                      443    30          17
          04/18/17             4065                      446    801         298
          01/26/17             4065                      449    17          639
          03/27/17             4065                      451    17          3
          05/02/17             4095                      442    25          232
          05/03/17             4095                      444    6           68
          05/07/17             4079                      146    36          12
          05/23/17             4095                      438    312         2401
          04/05/17             4065                      443    30          17
          06/08/17             4095                      440    24          288
          07/21/17             4114                      389    36          421
          07/12/17             4114                      391    401         526
          08/04/17             4128                      227    14          622
          08/17/17             4128                      225    19          505
          06/29/17             4122                       17    9           127
          08/03/17             4122                       20    19          505
          10/31/17             4169                      159    25          653
          09/16/17             4169                      163    21          51
          10/10/17             4169                      154    31          581
          10/13/17             4169                      166    25          297
          11/01/17             4169                      169    31          1326
          09/22/17             4150                      161    36          153
          10/01/17             4150                      159    12          201



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MARYLAND
Dorchester County


       Instrument Date                 Deed Records                Map             Parcel
                               Liber                  Folio
           05/03/17            1403                      1    5           35
           06/29/17            1410                    169    17          10
           05/10/17            1410                    160    19          72
           06/29/17            1410                    164    17          10
           07/14/17            1416                     33    17          10



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MARYLAND
Kent County


      Instrument Date                  Deed Records                 Map            Parcel
                               Liber                  Folio
         02/10/17               896                    270    52          16
         02/02/17               896                    273    201         976
         04/25/17               906                     68    52          15
         05/30/17               909                    411    41          3
         06/21/17               914                    309    6           4
         09/07/17               915                     47    400         325
         07/17/17               915                     45    100         1557
         08/21/17               916                    235    400         326
         09/01/17               917                    362    27          17
         10/22/17               924                    342    24          46



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MARYLAND
Queen Anne’s County


       Instrument Date                  Deed Records                  Map         Parcel           Lot
                                Liber                   Folio
           10/26/16             2632                      56    65          41             2,3,4
           07/22/16             2641                     393    35H         31
           07/22/16             2641                     397    35H         78
           07/22/16             2641                     405    35H         173
           07/27/16             2641                     401    35H         33
           05/23/16             2641                     409    45          14
           08/19/16             2641                     413    63          92
           07/11/16             2641                     417    63          43
           06/17/16             2641                     388    31          38
           01/30/17             2641                     495    59          155
           01/31/17             2641                     491    35H         79
           01/31/17             2641                     498    35H         113
           08/26/16             2641                     502    63          34
           06/20/16             2641                     506    63          53
           01/05/17             2641                     510    51G         1
           02/08/17             2686                      89    51          38             1-4
           06/27/17             2731                     135    24          37
           06/19/17             2731                     132    24          151
           08/30/17             2766                      64    57          127            1,2
           08/25/17             2766                      67    40          12
           09/06/17             2766                      71    35          120            9
           09/06/17             2766                      49    35          120            1
           09/06/17             2766                      52    35          120            5
           09/06/17             2766                      55    35          120            4
       Instrument Date                  Deed Records                  Map         Parcel           Lot
                                Liber                   Folio
          09/06/17              2766                      58    35          120            7
          09/06/17              2766                      61    35          120            8
          09/06/17              2766                      74    35          130
          09/12/17              2784                      72    58F         69
          09/07/17              2784                      68    35          120            10
          09/28/17              2784                      75    57          429
          10/09/17              2805                     206    57          60
          10/09/17              2805                     203    57          274            2
          10/09/17              2805                     200    57          274            1



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MARYLAND
Somerset County


       Instrument Date                   Deed Records                  Map               Parcel
                                 Liber                   Folio
           03/09/17               946                       1    203         1330A
           05/16/17               950                     355
           08/30/17               958                      93    40          104 & 127


MARYLAND
Talbot County


       Instrument Date                   Deed Records                  Map               Parcel
                                 Liber                   Folio
           01/10/17              2419                     422    39          105&107
           01/23/17              2428                     128    39          55
           08/10/16              2428                     124    31          276
           07/15/16              2428                     149    31          125
           07/14/16              2428                     132    31          176
           07/05/16              2428                     136    31          47
           07/05/16              2428                     140    31          127
           07/08/16              2428                     144    31          22,342
           02/20/17              2437                     130    39          14
           02/28/17              2437                     134    48          35
           02/19/17              2437                     122    31          98
           02/27/17              2437                     138    31          269
           03/07/17              2437                     142    39          79W
           03/14/17              2434                     495    58          73
           03/14/17              2434                     491    58          74
           03/14/17              2434                     499    48          81
           02/13/17              2437                     126    39          124
           05/15/17              2449                     445    53          4
       Instrument Date                   Deed Records                  Map               Parcel
                                 Liber                   Folio
           06/05/17              2459                     484    39          215
           07/13/17              2468                     151    44A         102
           07/25/17              2471                     265    53          64
           08/07/17              2475                     320    31          65
           10/13/17              2494                     149    53          53
           11/13/17              2505                      29    22          307



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MARYLAND
Wicomico County


       Instrument Date                   Deed Records                  Map               Parcel
                                 Liber                   Folio
          08/10/17               4220                       3    102         220
          08/10/17               4220                       7    42          114
          08/03/12               4143                     198    58          41
          07/03/17               4143                     201    104         1388
          02/27/17               4143                     205    19          76
          03/13/17               4143                     195    53          113
          03/24/17               4148                     121    19          99
          03/24/17               4148                     125    19          9
          03/16/17               4146                     397    19          21
          03/31/17               4163                     271    19          90
          03/27/17               4164                      73    45          32
          04/04/17               4163                     266    48          279 & 753
          05/02/17               4167                     289    31          304
          04/27/17               4167                     292    19          64
          05/05/17               4175                     242    48          372
          05/16/17               4175                     246    39          406
          06/10/17               4191                     331    49          27
          07/12/17               4208                     169    104         2594
          07/19/17               4208                     174    58
          09/07/17               4212                     467    51          157
          09/25/17               4238                     299    115         647
          09/20/17               4238                     303    141         20
          09/19/17               4238                     306    50          47
          10/12/17               4252                     446    49          121



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MARYLAND
Worcester County


       Instrument Date                  Deed Records                  Map     Parcel        Lot
                                Liber                   Folio
          09/29/16              6922                     386    9           366
          01/25/17              6938                     241    20          142
          02/16/17              6947                     479    19          84         2
          08/03/17              6962                       1    27          570
          01/27/17              6961                     489    9           331
          04/09/17              6990                      29    10          299
          04/06/17              6990                      32    9           176
          04/20/17              6997                      33    101         41
          02/23/17              6997                      35    10          101
          04/07/17              7024                     331    20          47
          05/19/17              7033                     272    27          146
          06/08/17              7017                     208    27          707        22
          06/26/17              7036                     127    13          27
          06/30/17              7054                     152    56          31
          06/20/17              7059                     354    26          299
          07/05/17              7054                     157    56          26
          10/16/17              7116                     292    116         5161A



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        The following is a schedule of bonds issued under the Eighty-Eighth Supplemental Indenture and Credit Line Deed of Trust,
effective as of October 1, 1994, that can be designated as First Mortgage Bonds, Series I, which may also be designated as Secured
Medium Term Notes, Series I; and First Mortgage Bonds, Pledged Series I.


First Mortgage Bonds, Series I/Secured Medium Term Notes, Series I

Issuance Date             Tranche                   Maturity                  Principal
06/19/95                  7.71% Bonds               06/01/25                  $100,000,000

06/19/95                  6.95% Amortizing Bonds 06/01/08                     $25,800,000

11/25/08                  6.40% Bonds               12/01/13                  $250,000,000

First Mortgage Bonds, Pledged Series I

Issuance Date             Tranche                   Maturity                  Principal

10/12/94                  1994                      10/01/29                  $33,750,000

Total Bonds Issued:                                                           $409,550,000



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       As supplemented and amended by this One Hundred and Twentieth Supplemental Indenture, the Original Indenture and all
indentures supplemental thereto are in all respects ratified and confirmed and the Original Indenture and the aforesaid supplemental
indentures and this One Hundred and Twentieth Supplemental Indenture shall be read, taken and construed as one and the same
instrument.

       This One Hundred and Twentieth Supplemental Indenture shall be simultaneously executed in several counterparts, and all
such counterparts executed and delivered, each as an original, shall constitute but one and the same instrument.

       The recitals of fact contained herein shall be taken as the statements of the Company, and the Trustee assumes no
responsibility for the correctness of the same.

       The debtor and its mailing address are Delmarva Power & Light Company, Mailstop 92DC42, 500 N. Wakefield Drive,
Newark, Delaware 19702-5440. The secured party and its address, from which information concerning the security interest
hereunder may be obtained, is The Bank of New York Mellon, 500 Ross Street, 12 th Floor, Pittsburgh, Pennsylvania 15262, Attn:
Corporate Trust Administration.

       The Company acknowledges that it received a true and correct copy of this One Hundred and Twentieth Supplemental
Indenture.

        This One Hundred and Twentieth Supplemental Indenture is executed and delivered pursuant to the provisions of Section
5.11 and paragraph (a) of Section 17.01 of the Indenture for the purpose of conveying, transferring and assigning to the Trustee and
of subjecting to the lien of the Indenture with the same force and effect as though included in the granting clause thereof the above
described property so acquired by the Company on or prior to the date of execution, and not heretofore specifically subject to the lien
of the Indenture; but nothing contained in this One Hundred and Twentieth Supplemental Indenture shall be deemed in any manner
to affect (except for such purposes) or to impair the provisions, terms and conditions of the Original Indenture, or of any indenture
supplemental thereto and the provisions, terms and conditions thereof are hereby expressly confirmed.

                                   [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]
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IN WITNESS WHEREOF, the Company has caused this instrument to be signed in its name and behalf by its President, and its
corporate seal to be hereunto affixed and attested by its Assistant Secretary and the Trustee has caused this instrument to be signed in
its name and behalf by a Vice President and its corporate seal to be hereunto affixed and attested by an authorized officer, effective
as of the 1st day of January, 2018.


                                    DELMARVA POWER & LIGHT COMPANY



Date of Execution         By        /s/Donna J. Kinzel
                                         Donna J. Kinzel, Senior Vice President
March 21, 2018


                                    Attest:

                                         /s/Brian Buck       [SEAL]
                                         Brian Buck, Assistant Secretary


STATE OF DELAWARE              )
                     ) SS
COUNTY OF NEW CASTLE )




       BE IT REMEMBERED that as of the 21 st day of March, 2018, personally came before me, a notary public for the State of
Delaware, Donna J. Kinzel, Senior Vice President of DELMARVA POWER & LIGHT COMPANY, a corporation of the State of
Delaware and the Commonwealth of Virginia (the “Company”), party to the foregoing instrument, known to me personally to be
such, and acknowledged the instrument to be her own act and deed and the act and deed of the Company; that her signature is in her
own proper handwriting; that the seal affixed is the common or corporate seal of the Company; and that her act of signing, sealing,
executing and delivering such instrument was duly authorized by resolution of the Board of Directors of the Company.

       GIVEN under my hand and official seal the day and year aforesaid.



                                   /s/Patricia H. Lyons         [SEAL]
                                   Notary Public, State of Delaware
                                   My commission expires Oct 19, 2020

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                               THE BANK OF NEW YORK MELLON,
                                  as Trustee


Date of Execution        By    /s/Laurence J. O’Brien
                                    Laurence J. O’Brien, Vice President

April 3, 2018


                               Attest:

                                    /s/Latoya S. Elvin
                                    Latoya S. Elvin, Vice President


STATE OF NEW JERSEY )
                    ) SS.
COUNTY OF PASSAIC )



        BE IT REMEMBERED that as of this 3 rd day of April, 2018, personally came before me, a Notary Public for the State of
New Jersey, Laurence J. O’Brien, Vice President of THE BANK OF NEW YORK MELLON, a New York banking corporation (the
“Trustee”), party to the foregoing instrument, known to me personally to be such, and acknowledged the instrument to be his own act
and deed and the act and deed of the Trustee; that his signature is his own proper handwriting; that the seal affixed is the common or
corporate seal of the Trustee; and that his act of signing, sealing, executing and delivering said instrument was duly authorized by
resolution of the Board of Directors of the Trustee.

       GIVEN under my hand and official seal the day and year aforesaid.



                              /s/Rick J. Fierro



                                                           RICK J FIERRO
                                                            Notary Public
                                                         State of New Jersey
                                                   My Commission Expires Nov 24, 2019




                      [SEAL]
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CERTIFICATE OF RESIDENCE


       THE BANK OF NEW YORK MELLON, successor Trustee to the Trustee within named, hereby certifies that it has a
residence at 101 Barclay Street, in the Borough of Manhattan, in The City of New York, in the State of New York.


                          THE BANK OF NEW YORK MELLON



                          By     /s/Laurence J. O’Brien
                               Laurence J. O’Brien, Vice President



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Certification

      This document was prepared under the supervision of an attorney admitted to practice before the Court of Appeals of
Maryland, or by or on behalf of one of the parties named in the within instrument.



/s/Christie D. Cannon
Christie D. Cannon




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                                                 SEPARATION AGREEMENT

             THIS SEPARATION AGREEMENT (this “ Agreement ”) is entered into as of ________________, 20__ between
Exelon Corporation (“ Exelon ”), _______________________ (“Subsidiary”, and, collectively with Exelon, the “ Company ”) and
__________________ (the “ Executive ”).

                                                       W I T N E S S E T H:

              WHEREAS, the Executive is separating from all positions with the Company and its respective affiliates.

               NOW, THEREFORE, in consideration of the mutual promise s and agreements contained herein, the adequacy and
sufficiency of which are hereby acknowledged, the Company and the Executive agree as follows:

                 1.       Resignation & Termination of Employment . The Executive’s employment will be terminated and
 Executive hereby resigns, each effective as of the close of business on ____________________, 20__ (the “ Termination Date ”),
 from his or her position as ________________________ and from all other positions as an officer or director of Exelon and its
 subsidiaries and affiliates. [During the period commencing on the date hereof and ending on the Termination Date, Executive shall
 cooperate with and assist in the orderly transition of his or her duties, and shall diligently perform such other services reasonably
 consistent with his or her position as may be requested from time to time. Executive’s current base salary and annual incentive
 target shall remain in effect, and Executive (and his or her eligible dependents) shall also remain eligible to participate in the
 Company’s applicable employee benefit plans, and shall remain subject to and comply with the Company’s code of business
 conduct and other employment policies.]

                 2.      Payment of Accrued Amounts . The Company shall pay to the Executive the portion of his or her annual
 salary that has accrued but is unpaid as of the Termination Date and an additional amount representing the Executive’s accrued but
 unused vacation days as of the Termination Date, in each case not later than the second payroll date after the Termination Date.

                3.      Severance Payments . The Company shall pay to the Executive:

                         (a)       cash severance payments in an aggregate amount equal to $_____________ which is equal to the
        product of [2.0 for named executive officers; 1.25 - 2.0 for other officers] times the sum of (i) $________ (representing the
        Executive’s annual base salary) and (ii) $_______ (representing the Executive’s target annual incentive). For named
        executive officers and other “specified employees” within the meaning of section 409A of the Code, payment shall
        commence in the form of a lump sum payment of $______________ to be made as of the first payroll date occurring on or
        after the date that is six months after the Termination Date, followed by substantially equal regular payroll installments of
        the remainder over a period of [eighteen for named executive officers; twelve to fifteen for other officers] months; for other
        officers, payment
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       shall commence not later than 45 days after the Termination Date in substantially equal payroll installments over a period
       of [15 - 24 months]; and

                      (b)       a pro-rated annual incentive award for [the year in which the Termination Date occurs], the amount
       of which (if any) shall be determined based on business performance measures in a manner consistent with that applied to
       active peer executives of Subsidiary (assuming a meaningful impact performance rating) and payable at the time such
       awards are paid to such executives (but not later than [March 15 of the following year]), and each such payment shall be
       considered a separate short-term deferral for purposes of section 409A of the Internal Revenue Code (“ Code ”).

                4.    Tax Withholding . The Company shall deduct from the amounts payable to the Executive pursuant to this
Agreement the amount of all required federal, state and local withholding taxes in accordance with the Executive’s Form W-4 on
file with the Company and all applicable social security and Medicare taxes.

                5.      Outplacement Assistance and Financial Counseling Services . During the twelve-month period following
the Termination Date, the Company shall reimburse the Executive for reasonable fees incurred for services rendered to the
Executive by a professional outplacement organization selected by the Executive and reasonably acceptable to the Company to
provide individual outplacement services, and Executive shall be eligible to receive financial counseling services consistent with
the terms and conditions applicable to active peer executives under Exelon’s executive perquisite policy. Executive may apply for
external positions via search firms which also recruit executives for the Company.

              6.       Long Term Incentive Awards . Subject to Executive’s timely execution of (and not revoking) the Waiver
and Release (as defined in Section 9 below),

                      (a)        Executive shall remain eligible to receive full long-term [performance share awards for
       generation/business services company executives /or/ performance cash awards for utility executives] under Exelon’s long-
       term incentive program for the performance cycles commencing in the two years preceding the year in which the
       Termination Date occurs, and a pro-rated award for the performance cycle commencing in the year in which the
       Termination Date occurs, the respective amounts (if any) of which shall be determined in a manner consistent with that
       used to determine the amounts of such awards payable to active executives for such respective periods, and all such awards
       shall be payable at the time or times such respective awards are paid to active executives and each such award shall be
       considered a separate, short-term deferral for purposes of section 409A of the Code; and

                      (b)       Executive’s options to purchase common stock of Exelon granted by the Company shall, to the
       extent not exercised as of the Termination Date, remain exercisable until the (i) the earlier of the respective expiration dates
       of such options and the date that is ninety days after the Termination Date with respect to merger options other than those
       granted in 2012 if the Executive has not attained at least age 50 and completed at least 10 years of service, and (ii) until the
       respective expiration dates of such options with respect to merger options granted in 2012 and other options if the
       Executive is at least age 50 and has completed 10 or more years of service; and
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                       (c)      the non-vested portions of Executive’s [restricted stock unit for generation and business services
         company executives /or/ restricted cash for utility executives] awards under Exelon’s long term incentive program shall
         become fully vested as of the Termination Date [and, with respect to named executive officers and other “specified
         employees”, payable six months after the Termination Date].

All such awards payable in shares shall be subject to the Company’s applicable resale restrictions, if any.

                 7.       Supplemental Executive Retirement Benefits . The Executive shall be eligible for a retirement benefit under
 the Company’s applicable supplemental non-qualified pension plan (the “ SERP ”) in accordance with the terms and conditions
 thereof, except that in determining such benefit, the Executive shall be subject to the Executive’s timely execution of the Waiver
 and Release, be credited with [24 months for named executive officers; 15 -24 months for other officers] additional service
 calculated as though he or she received the severance benefits specified in Section 3(a) as regular salary and incentive pay over
 such period (and limited in its application to the amounts of such payments that exceed the compensation limitations applicable to
 qualified pension plans under the Code) and any other service previously granted to such Executive. Such benefit shall be paid as
 provided in Section 8(c).

                 8.      Employee and Other Benefits .

                         (a)       During the period commencing on the Termination Date and ending [24 months for named
         executive officers; 15 - 24 months for other officers] after the Termination Date (the “ Severance Period ”) and in
         satisfaction of COBRA continuation coverage during such period with respect to healthcare benefits, (i) the Executive (and
         his or her participating dependents) shall be eligible to participate in, and shall receive benefits under Exelon’s welfare
         benefit plans (including medical, dental and vision) in which the Executive (and his or her eligible dependents) were
         participating immediately prior to the Termination Date, and (ii) the Executive shall be eligible to participate in the life
         insurance programs in which he or she was a participant immediately prior to the Termination Date, in each case on the
         same basis as if the Executive had remained actively employed during the Severance Period.

                          (b)      Following the Severance Period, if the Executive has attained at least age 50 and has completed at
         least 10 years of service as of the end of the Severance Period, the Executive (and his or her eligible dependents) shall be
         eligible for retiree benefits in accordance with and subject to the terms and conditions of the Company’s applicable health
         care plans, as in effect for employees of his or her legacy business unit from time to time (including the Company’s right to
         amend or terminate such plans at any time). Such benefits shall not duplicate any benefits that may then be available to the
         Executive from any other employer and shall be secondary to Medicare.

                        (c)      The Company shall pay to the Executive, in the time and manner specified in the terms and
         conditions of such plans and any distribution elections by the Executive in effect thereunder, his or her account balances (if
         any) under Exelon’s applicable deferred compensation plans, as adjusted by any applicable earnings and losses on such
         account balances, and the Executive’s benefit under the supplemental executive retirement plan.

                         (d)      The Executive shall be entitled to purchase the laptop computer furnished by the Company for his
         or her use, subject to removal of data and programs as determined by the Company. The Executive shall be responsible for
         payment of expenses incurred after the
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       Termination Date with respect to the Company-owned cellular phone furnished for his or her use.
                      (e)      If the Executive is entitled to any benefit under any employee benefit plan of the Company that is
       accrued and vested on the Termination Date and that is not expressly referred to in this Agreement, such benefit shall be
       provided to the Executive in accordance with the terms of such employee benefit plan.

                      (f)       Notwithstanding Section 8(e) or anything else contained in this Agreement to the contrary, the
       Executive acknowledges and agrees that he or she is not and shall not be entitled to benefits under any other severance or
       change in control plan, program, agreement or arrangement, and that the benefits provided under this Agreement shall be
       the sole and exclusive benefits to which the Executive may become entitled upon his or her termination of employment. In
       the event the Executive dies prior to executing the Waiver and Release, neither he or she, his or her estate, nor any other
       person shall be entitled to any further compensation or benefits under this Agreement, unless and until the executor of the
       Executive’s estate (and/or such other heirs or representatives as may be requested by the Company) executes upon
       Company request and does not revoke such a Waiver and Release.

               9.       Waiver and Release . Notwithstanding anything herein to the contrary, Executive’s right to the payments
and benefits under this Agreement shall be contingent upon (a) Executive having executed and delivered to the Company a waiver
and general release agreement in the form attached hereto (the “ Waiver and Release ”) not earlier than the Termination Date but in
no event more than 21 days [45 days if a group termination] after the Termination Date (the “Consideration Period”), (b) Executive
not revoking such release in accordance with the terms of the release and (c) Executive not violating any of Executive’s on-going
obligations under this Agreement; provided, however, that the Company has the discretion to pay such benefits prior to receipt of
the Waiver and Release and/or the expiration of the revocation period; provided further that if Executive does not execute and
deliver the Waiver and Release to the Company prior to the expiration of the Consideration Period or if the Executive revokes the
Waiver and Release in accordance with its terms, Executive shall pay to the Company within 10 days following the expiration of
the Consideration Period or the date such release was revoked, a lump sum payment of all payments received by Executive to date
hereunder.

                10.      Restrictive Covenants . The Executive acknowledges and agrees that he or she is bound by, and subject to,
the Non-Solicitation and Confidentiality Agreement dated as of ________________ (the “Restrictive Covenants”) and the Waiver
and Release. The Executive shall comply with, and observe, the Restrictive Covenants including, without limitation, the
confidential information, non-solicitation and intellectual property provisions and related covenants contained therein, all of which
are hereby incorporated by reference. In the event that Executive has breached any of the Restrictive Covenants or the Waiver and
Release or has engaged in conduct during his or her employment with the Company that would constitute grounds for termination
for Cause (as defined in the Exelon Corporation Senior Management Severance Plan), benefits under this Agreement shall
terminate immediately, and Executive shall reimburse Exelon for any benefits received.

               11.      Certain Tax Matters .

                      (a)      If it is determined by Exelon’s independent auditors that any severance payment, benefit or
       enhancement provided to the Executive pursuant to the terms of the this Agreement is or will become subject to any excise
       tax under section 4999 of the Code, or any similar tax payable under any United States federal, state, local, foreign or other
       law (“ Excise
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       Taxes ”), then such payment, benefit or enhancement shall be reduced to the largest amount which would not cause any
       such Excise Tax to by payable be the Executive and not cause a loss of the related income tax deduction by the Company.

                      (b)      The parties intend for this Agreement to comply with section 409A of the Code. In the event the
       timing of any payment or benefit under this Agreement would result in any tax or penalty under section 409A of the Code,
       the Company may reasonably adjust the timing of such payment or benefit if doing so will eliminate or materially reduce
       such tax or penalty and amend this Agreement accordingly. Executive acknowledges that Executive has been advised to
       consult Executive’s personal tax advisor concerning this Agreement, and has not relied on the Company for tax advice.

                  12.       Non-disparagement . The Executive shall not publish, comment upon or disseminate any public statements
suggesting or accusing the Company or any of its affiliates, employees, officers, directors or agents of any misconduct or unlawful
behavior, or that brings the Company or any of its affiliates or the employees, officers, directors or agents of the Company or any
of its affiliates into disrepute, or tarnish any of their images or reputations. The provisions of this Section 12 shall not apply to
truthful testimony as a witness, compliance with other legal obligations, assertion of or defense against any claim of breach of this
Agreement, or any activity that otherwise may be required or permitted by the lawful order of a court or agency of competent
jurisdiction, and shall not require the Executive to make false statements or disclosures.

               13.       Publicity . Executive shall not issue or cause the publication of any press release or other announcement
with respect to the terms or provisions of this Agreement, nor disclose the contents hereof to any third party (other than to
members of his or her immediate family or to tax, financial and legal advisors), without obtaining the consent of Exelon, except
where such release, announcement or disclosure shall be required by applicable law or administrative regulation or agency or other
legal process.

               14.      Other Employment; Other Plans . The Executive shall not be obligated to seek other employment or take
any other action by way of mitigation of the amounts payable to the Executive under any provision of this Agreement. The
amounts payable hereunder shall not be reduced by any payments received by the Executive from any other employer; provided ,
however , that any continued welfare benefits provided for by Section 8(a) shall not duplicate any benefits that are provided to the
Executive and his or her family by such other employer and shall be secondary to any coverage provided by Medicare.

                15.     Cooperation by the Executive . During the Severance Period, the Executive shall (a) be reasonably
available to the Company to respond to requests by them for information pertaining to or relating to matters which may be within
the knowledge of the Executive and (b) cooperate with the Company in connection with any existing or future litigation or other
proceedings brought by or against the Company, its subsidiaries or affiliates, to the extent Exelon reasonably deems the
Executive's cooperation necessary, including truthful testimony in any related proceeding.

               16.     Successors; Binding Agreement . This Agreement shall inure to the benefit of and be binding upon the
Company and its successors, and by the Executive, his or her spouse, personal or legal representatives, executors, administrators
and heirs. This Agreement, being personal, may not be assigned by Executive.
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               17.      Governing Law; Validity . This Agreement shall be interpreted, construed and enforced in accordance with
the terms of the Exelon Corporation Senior Management Severance Plan, and the applicable provisions of the Employee
Retirement Income Security Act of 1974, as amended (“ERISA”) and section 409A of the Code.

               18.      Entire Agreement . This Agreement and the Waiver and Release constitute the entire agreement and
understanding between the parties with respect to the subject matter hereof and supersede and preempt any other understandings,
agreements or representations by or between the parties, written or oral, which may have related in any manner to the subject
matter hereof. Executive acknowledges that the Company has made no representations regarding the tax consequences of payments
under this Agreement and has had the opportunity to consult Executive’s tax advisor.

               19.       Counterparts . This Agreement may be executed in two counterparts, each of which shall be deemed to be
an original and both of which together shall constitute one and the same instrument.

                20.      Miscellaneous . No provision of this Agreement may be modified or waived unless such modification or
waiver is agreed to in writing and executed by the Executive and by a duly authorized officer of the Company. No waiver by either
party hereto at any time of any breach by the other party hereto of, or compliance with, any condition or provision of this
Agreement to be performed by such other party shall be deemed a waiver of similar or dissimilar provisions or conditions at the
same or at any prior or subsequent time. Failure by the Executive or the Company to insist upon strict compliance with any
provision of this Agreement or to assert any right which the Executive or the Company may have hereunder shall not be deemed to
be a waiver of such provision or right or any other provision or right of this Agreement.

               21.       Beneficiary . If the Executive dies prior to receiving all of the amounts payable hereunder (other than
amounts payable under any plan referenced in Section 8, which shall be governed by any beneficiary designation in effect
thereunder) but after executing the Waiver and Release, such amounts shall be paid, except as may be otherwise expressly
provided herein or in the applicable plans, to the beneficiary ( “Beneficiary” ) designated with respect to this Agreement by the
Executive in writing to the Vice President, Corporate Compensation of the Company during his or her lifetime, which the
Executive may change from time to time by new designation filed in like manner without the consent of any Beneficiary; or if no
such Beneficiary is designated, to his or her surviving spouse, and if there be none, to his or her estate.

                22.       Nonalienation of Benefits . Benefits payable under this Agreement shall not be subject in any manner to
anticipation, alienation, sale, transfer, assignment, pledge, encumbrance, charge, prior to actually being received by the Executive,
and any such attempt to dispose of any right to benefits payable hereunder shall be void.

               23.       Severability . If all or any part of this Agreement is declared by any court or governmental authority to be
unlawful or invalid, such unlawfulness or invalidity shall not serve to invalidate any portion of this Agreement not declared to be
unlawful or invalid, except that in the event a determination is made that the Restrictive Covenants as applied to the Executive are
invalid or unenforceable in whole or in part, then this Agreement shall be void and the Company shall have no obligation to
provide benefits hereunder. Any paragraph or part of a paragraph so declared to be unlawful or invalid shall, if possible, be
construed in a manner which will give effect to the terms of such paragraph or part of a paragraph to the fullest extent possible
while remaining lawful and valid.
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                 24.       Communications . Nothing in this Agreement or the Waiver and Release shall be construed to prohibit or
 limit the Executive from filing a charge with, or reporting possible violations of law or regulation to any governmental agency or
 entity, including but not limited to the National Labor Relations Board, Nuclear Regulatory Commission, U.S. Equal Opportunity
 Commission, the Department of Labor, the Department of Justice, the Securities Exchange Commission, the Congress, and any
 agency Inspector General, or making other disclosures that are protected under the whistleblower provisions of applicable law or
 regulation, or taking any other action protected under section 211 of the Energy Reorganization Act. The Executive does not need
 the prior authorization of the Company to make any such charges, reports or disclosures, and is not required to notify the Company
 that Executive has made such charges reports or disclosures, and no such report or disclosure shall be considered a violation of
 Section 12 of this Agreement or the Waiver and Release. In addition, neither this Agreement nor the Waiver and Release limits the
 Executive’s ability to receive a monetary award from a government-administered whistleblower award program for providing any
 such reports or disclosures directly to a governmental agency. Executive acknowledges, however, that the Waiver and Release
 requires Executive to specifically waive all rights to recover any monetary damages from the Company, including but not limited
 to lost wages and benefits, lost pay, damages for emotional distress, punitive damages, reinstatement, and attorneys’ fees and costs.

                 25.    Sections . Except where otherwise indicated by the context, any reference to a “Section” shall be to a
 Section of this Agreement.

IN WITNESS WHEREOF, Exelon and Subsidiary have caused this Agreement to be executed by their duly authorized officers and
the Executive has executed this Agreement as of the day and year first above written.

                                            EXELON CORPORATION


                                            By:_________________________________

                                            Senior Vice President &
                                            Chief Human Resource Officer




                                            SUBSIDIARY


                                            By:_________________________________

                                            Vice President, Human Resources




                                            ___________________________________
                                            EXECUTIVE
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                                                     WAIVER AND RELEASE
                                                           UNDER
                                                   SEPARATION AGREEMENT

            In consideration for the Executive’s receiving severance benefits under the Separation Agreement (as defined below),
_____________________ (the “Executive”) hereby agrees as follows:
         1.        Release. Except with respect to the Company’s obligations under the Separation Agreement by and between Exelon
Corporation, [Executive’s employing subsidiary] (collectively, the “ Company ”) and the Executive dated as of _______, 20__ (the “
Separation Agreement ”), the Executive, on behalf of Executive and his or her heirs, executors, assigns, agents, legal representatives
and personal representatives, hereby releases, acquits and forever discharges the Company, its agents, subsidiaries, affiliates, and
their respective officers, directors, agents, servants, employees, attorneys, shareholders, successors, assigns and affiliates, of and
from any and all claims, liabilities, demands, causes of action, costs, expenses, attorneys fees, damages, indemnities and obligations
of every kind and nature, in law, equity, or otherwise, known and unknown, foreseen or unforeseen, disclosed and undisclosed,
suspected and unsuspected, arising out of or in any way related to agreements, events, acts or conduct at any time prior to the day of
execution of this Waiver and Release, including but not limited to any and all such claims and demands directly or indirectly arising
out of or in any way connected with the Executive’s employment or other service with the Company, or any of its Subsidiaries or
affiliates; the Executive’s termination of employment and other service with the Company or any of its subsidiaries or affiliates;
claims or demands related to salary, bonuses, commissions, stock, stock options, restricted stock or any other ownership interests in
the Company or any of its subsidiaries and affiliates, vacation pay, fringe benefits, expense reimbursements, sabbatical benefits,
severance, change in control or other separation benefits, or any other form of compensation or equity; and claims pursuant to any
federal, state, local law, statute, ordinance, common law or other cause of action including but not limited to, the federal Civil Rights
Act of 1964, as amended; the federal Age Discrimination in Employment Act of 1967, as amended; the federal Americans with
Disabilities Act of 1990; the Employee Retirement Income Security Act of 1974, as amended, tort law; contract law; wrongful
discharge; discrimination; fraud; defamation; harassment; emotional distress; or breach of the covenant of good faith and fair
dealing. This Waiver and Release does not apply to (a) the payment of any benefits to which the Executive may be entitled under the
terms of a Company-sponsored tax qualified retirement or savings plan or (b) Executive’s entitlement to indemnification, and
coverage as an insured, with respect to his service as an officer, director, employee or agent in accordance with the terms and
conditions of Article VII of the Exelon Corporation Amended and Restated Bylaws.

         2.        No Inducement . The Executive agrees that no promise or inducement to enter into this Waiver or Release has been
offered or made except as set forth in this Waiver and Release and the Separation Agreement, that the Executive is entering into this
Waiver and Release without any threat or coercion and without reliance on any statement or representation made on behalf of the
Company or any of its subsidiaries or affiliates, or by any person employed by or representing the Company or any of its subsidiaries
or affiliates, except for the written provisions and promises contained in this Waiver and Release and the Separation Agreement.

       3.        Advice of Counsel; Time to Consider; Revocation . The Executive acknowledges the following:
                                                                                                                                           Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                       (a) The Executive has read this Waiver and Release, and understands its legal and binding effect,
               including that by signing and not revoking this Waiver and Release the Executive waives and releases any and
               all claims under the Age Discrimination in Employment Act of 1967, as amended, including but not limited to
               the Older Workers Benefits Protection Act. The Executive is acting voluntarily and of the Executive’s own free
               will in executing this Waiver and Release.

                     (b) The Executive has been advised to seek and has had the opportunity to seek legal counsel in
               connection with this Waiver and Release.

                     (c) The Executive was given at least [twenty-one (21) / forty-five (45)] days to consider the terms of this
               Waiver and Release before signing it.

                     (d) At the time Executive was given this Waiver and Release, Executive was informed that his or her
               termination was not part of a group separation.

       The Executive understands that, if the Executive signs the Waiver and Release, the Executive may revoke it within
       seven (7) days after signing it, provided that Executive will not receive any severance benefits under the Separation
       Agreement. The Executive understands that this Waiver and Release will not be effective until after the seven-day
       period has expired and no consideration will be due the Executive.
        4.         Severability . If all or any part of this Waiver and Release is declared by any court or governmental authority to be
unlawful or invalid, such unlawfulness or invalidity shall not invalidate any other portion of this Waiver and Release. Any Section or
a part of a Section declared to be unlawful or invalid shall, if possible, be construed in a manner which will give effect to the terms
of the Section to the fullest extent possible while remaining lawful and valid.

       5.        Amendment . This Waiver and Release shall not be altered, amended, or modified except by written instrument
executed by the Company and the Executive. A waiver of any portion of this Waiver and Release shall not be deemed a waiver of
any other portion of this Waiver and Release.

       6.         Applicable Law . The provisions of this Waiver and Release shall be interpreted and construed in accordance with
the laws of the State of Illinois without regard to its choice of law principles.


       IN WITNESS WHEREOF, the Executive has executed this Waiver and Release as of the date specified below.
                                    EXECUTIVE
                                    _____________________________________________

                                             DATE: ________________________
                                                                                                                                                                             Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1317
                                                                                                                                                            Exhibit 31-1

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Christopher M. Crane, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Exelon Corporation;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
          material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
          during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
          provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
          with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
          the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
          quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
          registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
          adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
          financial reporting.

                                                                                     /s/ C HRISTOPHER M. C RANE
                                                                                     President and Chief Executive Officer
                                                                                     (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                             Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1318
                                                                                                                                                            Exhibit 31-2

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Jonathan W. Thayer, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Exelon Corporation;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
          material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
          during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
          provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
          with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
          the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
          quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
          registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
          adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
          financial reporting.

                                                                                     /s/   J ONATHAN W. T HAYER
                                                                                     Senior Executive Vice President and Chief Financial Officer
                                                                                     (Principal Financial Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1319
                                                                                                                                                           Exhibit 31-3

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Kenneth W. Cornew, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Exelon Generation Company, LLC;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.


                                                                                    /s/ K ENNETH W. C ORNEW
                                                                                    President and Chief Executive Officer
                                                                                    (Principal Executive Officer)


Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1320
                                                                                                                                                           Exhibit 31-4

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Bryan P. Wright, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Exelon Generation Company, LLC;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ B RYAN P. W RIGHT
                                                                                    Senior Vice President and Chief Financial Officer

                                                                                    (Principal Financial Officer)


Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1321
                                                                                                                                                           Exhibit 31-5

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Anne R. Pramaggiore, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Commonwealth Edison Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                         /s/ A NNE R. P RAMAGGIORE
                                                                         President and Chief Executive Officer
                                                                         (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                             Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
                Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 995 of 1382 PageID #:
                                                    1322
                                                                                                                                                            Exhibit 31-6

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Joseph R. Trpik, Jr., certify that:
1. I have reviewed this quarterly report on Form 10-Q of Commonwealth Edison Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
          material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
          during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
          provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
          with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
          the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
          quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
          registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
          adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
          financial reporting.

                                                                         /s/ J OSEPH R. T RPIK , J R .
                                                                         Senior Vice President, Chief Financial Officer and Treasurer
                                                                         (Principal Financial Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1323
                                                                                                                                                           Exhibit 31-7

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Michael A. Innocenzo, certify that:
1. I have reviewed this quarterly report on Form 10-Q of PECO Energy Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
    made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
    condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
    Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
    have:
    (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
    (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
    (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
    (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
    auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
    (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
    (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/   MICHAEL A. INNOCENZO
                                                                                    President and Chief Executive Officer
                                                                                    (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                              Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1324
                                                                                                                                                             Exhibit 31-8

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Phillip S. Barnett, certify that:
1. I have reviewed this quarterly report on Form 10-Q of PECO Energy Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
           material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
           during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
           provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
           with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
           the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
           quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
           registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
           adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
           financial reporting.

                                                                                     /s/ P HILLIP S. B ARNETT
                                                                                     Senior Vice President, Chief Financial Officer
                                                                                     and Treasurer
                                                                                     (Principal Financial Officer)

Date: May 2, 2018
                                                                                                                                                                             Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1325
                                                                                                                                                            Exhibit 31-9

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Calvin G. Butler, Jr., certify that:
1. I have reviewed this quarterly report on Form 10-Q of Baltimore Gas and Electric Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
          material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
          during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
          provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
          with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
          the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
          quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
          registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
          adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
          financial reporting.

                                                                                     /s/ C ALVIN G. B UTLER , J R .
                                                                                     Chief Executive Officer
                                                                                     (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                    1326
                                                                                                                                                          Exhibit 31-10

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, David M. Vahos, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Baltimore Gas and Electric Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D AVID M. V AHOS
                                                                                    Senior Vice President, Chief Financial Officer
                                                                                    and Treasurer
                                                                                    (Principal Financial Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1327
                                                                                                                                                          Exhibit 31-11

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, David M. Velazquez, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Pepco Holdings LLC;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D AVID M. V ELAZQUEZ
                                                                                    President and Chief Executive Officer
                                                                                    (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1328
                                                                                                                                                          Exhibit 31-12

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Donna J. Kinzel, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Pepco Holdings LLC;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D ONNA J. K INZEL
                                                                                    Senior Vice President, Chief Financial Officer and Treasurer
                                                                                    (Principal Financial Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1329
                                                                                                                                                          Exhibit 31-13

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, David M. Velazquez, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Potomac Electric Power Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D AVID M. V ELAZQUEZ
                                                                                    President and Chief Executive Officer
                                                                                    (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
               Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1003 of 1382 PageID #:
                                                   1330
                                                                                                                                                          Exhibit 31-14

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Donna J. Kinzel, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Potomac Electric Power Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D ONNA J. K INZEL
                                                                                    Senior Vice President, Chief Financial Officer and Treasurer
                                                                                    (Principal Financial Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1331
                                                                                                                                                          Exhibit 31-15

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, David M. Velazquez, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Delmarva Power & Light Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D AVID M. V ELAZQUEZ
                                                                                    President and Chief Executive Officer
                                                                                    (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
               Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1005 of 1382 PageID #:
                                                   1332
                                                                                                                                                          Exhibit 31-16

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Donna J. Kinzel, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Delmarva Power & Light Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D ONNA J. K INZEL
                                                                                    Senior Vice President, Chief Financial Officer and Treasurer
                                                                                    (Principal Financial Officer)

Date: May 2, 2018
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                                                   1333
                                                                                                                                                          Exhibit 31-17

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, David M. Velazquez, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Atlantic City Electric Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D AVID M. V ELAZQUEZ
                                                                                    President and Chief Executive Officer
                                                                                    (Principal Executive Officer)

Date: May 2, 2018
                                                                                                                                                                            Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1334
                                                                                                                                                          Exhibit 31-18

                                 CERTIFICATION PURSUANT TO RULE 13a-14(a) AND 15d-14(a) OF THE SECURITIES
                                                     AND EXCHANGE ACT OF 1934

I, Donna J. Kinzel, certify that:
1. I have reviewed this quarterly report on Form 10-Q of Atlantic City Electric Company;
2. Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements
     made, in light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;
3. Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial
     condition, results of operations and cash flows of the registrant as of, and for, the periods presented in this report;
4. The registrant’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act
     Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and
     have:
     (a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
         material information relating to the registrant, including its consolidated subsidiaries, is made known to us by others within those entities, particularly
         during the period in which this report is being prepared;
     (b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to
         provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance
         with generally accepted accounting principles;
     (c) Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented in this report our conclusions about the effectiveness of
         the disclosure controls and procedures, as of the end of the period covered by this report based on such evaluation; and
     (d) Disclosed in this report any change in the registrant’s internal control over financial reporting that occurred during the registrant’s most recent fiscal
         quarter (the registrant’s fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
         registrant’s internal control over financial reporting; and
5. The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s
     auditors and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):
     (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
         adversely affect the registrant’s ability to record, process, summarize and report financial information; and
     (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over
         financial reporting.

                                                                                    /s/ D ONNA J. K INZEL
                                                                                    Senior Vice President, Chief Financial Officer and Treasurer
                                                                                    (Principal Financial Officer)

Date: May 2, 2018
                                                                                                                                                                         Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1335
                                                                                                                                                        Exhibit 32-1

                                       Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

       The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Exelon Corporation for the quarterly period ended March 31, 2018 , that
(i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in the report
fairly presents, in all material respects, the financial condition and results of operations of Exelon Corporation.


                                                                                   /s/ C HRISTOPHER M. C RANE
                                                                                   Christopher M. Crane
                                                                                   President and Chief Executive Officer

Date: May 2, 2018
                                                                                                                                                                         Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1336
                                                                                                                                                        Exhibit 32-2

                                       Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

       The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Exelon Corporation for the quarterly period ended March 31, 2018 , that
(i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in the report
fairly presents, in all material respects, the financial condition and results of operations of Exelon Corporation.


                                                                                   /s/ J ONATHAN W. T HAYER
                                                                                   Jonathan W. Thayer
                                                                                   Senior Executive Vice President and Chief Financial Officer

Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1337
                                                                                                                                                      Exhibit 32-3

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Exelon Generation Company, LLC for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Exelon Generation Company, LLC.

                                                                                  /s/ K ENNETH W. C ORNEW
                                                                                  Kenneth W. Cornew
                                                                                  President and Chief Executive Officer

Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1338
                                                                                                                                                      Exhibit 32-4

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Exelon Generation Company, LLC for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Exelon Generation Company, LLC.

                                                                                  /s/ B RYAN P. W RIGHT
                                                                                  Bryan P. Wright
                                                                                  Senior Vice President and Chief Financial Officer


Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1339
                                                                                                                                                       Exhibit 32-5

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Commonwealth Edison Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Commonwealth Edison Company.


                                                                       /s/ A NNE R. P RAMAGGIORE
                                                                       Anne R. Pramaggiore
                                                                       President and Chief Executive Officer

Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1340
                                                                                                                                                       Exhibit 32-6

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Commonwealth Edison Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Commonwealth Edison Company.


                                                                       /s/ J OSEPH R. T RPIK , J R .
                                                                       Joseph R. Trpik, Jr.
                                                                       Senior Vice President, Chief Financial Officer and Treasurer

Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1341
                                                                                                                                                      Exhibit 32-7

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

       The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of PECO Energy Company for the quarterly period ended March 31, 2018 ,
that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in the
report fairly presents, in all material respects, the financial condition and results of operations of PECO Energy Company.


                                                                                  /s/ MICHAEL A. INNOCENZO
                                                                                  Michael A. Innocenzo
                                                                                  President and Chief Executive Officer

Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1342
                                                                                                                                                      Exhibit 32-8
                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

       The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of PECO Energy Company for the quarterly period ended March 31, 2018 ,
that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in the
report fairly presents, in all material respects, the financial condition and results of operations of PECO Energy Company.


                                                                                  /s/ P HILLIP S. B ARNETT
                                                                                  Phillip S. Barnett
                                                                                  Senior Vice President, Chief Financial Officer and Treasurer

Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1343
                                                                                                                                                       Exhibit 32-9

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Baltimore Gas and Electric Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Baltimore Gas and Electric Company.


                                                                                  /s/ C ALVIN G. B UTLER , J R .
                                                                                  Calvin G. Butler, Jr.
                                                                                  Chief Executive Officer

Date: May 2, 2018
                                                                                                                                                                       Electronically Filed - St Louis County - February 04, 2020 - 04:18 PM
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                                                   1344
                                                                                                                                                     Exhibit 32-10

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Baltimore Gas and Electric Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Baltimore Gas and Electric Company.


                                                                                  /s/ D AVID M. V AHOS
                                                                                  David M. Vahos
                                                                                  Senior Vice President, Chief Financial Officer and Treasurer

Date: May 2, 2018
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                                                   1345
                                                                                                                                                     Exhibit 32-11

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

       The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Pepco Holdings LLC for the quarterly period ended March 31, 2018 ,
that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in the
report fairly presents, in all material respects, the financial condition and results of operations of Pepco Holdings LLC.


                                                                                  /s/ D AVID M. V ELAZQUEZ
                                                                                  David M. Velazquez
                                                                                  President and Chief Executive Officer

Date: May 2, 2018
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                                                   1346
                                                                                                                                                     Exhibit 32-12

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

       The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Pepco Holdings LLC for the quarterly period ended March 31, 2018 ,
that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in the
report fairly presents, in all material respects, the financial condition and results of operations of Pepco Holdings LLC.


                                                                                  /s/ D ONNA J. K INZEL
                                                                                  Donna J. Kinzel
                                                                                  Senior Vice President, Chief Financial Officer and Treasurer

Date: May 2, 2018
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                                                   1347
                                                                                                                                                     Exhibit 32-13

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Potomac Electric Power Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Potomac Electric Power Company.


                                                                                  /s/ D AVID M. V ELAZQUEZ
                                                                                  David M. Velazquez
                                                                                  President and Chief Executive Officer

Date: May 2, 2018
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                                                                                                                                                     Exhibit 32-14

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Potomac Electric Power Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Potomac Electric Power Company .



                                                                                  /s/ D ONNA J. K INZEL
                                                                                  Donna J. Kinzel
                                                                                  Senior Vice President, Chief Financial Officer and Treasurer

Date: May 2, 2018
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                                                                                                                                                     Exhibit 32-15

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Delmarva Power & Light Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Delmarva Power & Light Company.


                                                                                  /s/ D AVID M. V ELAZQUEZ
                                                                                  David M. Velazquez
                                                                                  President and Chief Executive Officer

Date: May 2, 2018
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                                                                                                                                                     Exhibit 32-16

                                      Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Delmarva Power & Light Company for the quarterly period ended
March 31, 2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information
contained in the report fairly presents, in all material respects, the financial condition and results of operations of Delmarva Power & Light Company .



                                                                                  /s/ D ONNA J. K INZEL
                                                                                  Donna J. Kinzel
                                                                                  Senior Vice President, Chief Financial Officer and Treasurer

Date: May 2, 2018
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                                                   1351
                                                                                                                                                        Exhibit 32-17

                                       Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Atlantic City Electric Company for the quarterly period ended March 31,
2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in
the report fairly presents, in all material respects, the financial condition and results of operations of Atlantic City Electric Company.


                                                                                   /s/ D AVID M. V ELAZQUEZ
                                                                                   David M. Velazquez
                                                                                   President and Chief Executive Officer

Date: May 2, 2018
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                                                                                                                                                        Exhibit 32-18

                                       Certificate Pursuant to Section 1350 of Chapter 63 of Title 18 United States Code

      The undersigned officer hereby certifies, as to the quarterly report on Form 10-Q of Atlantic City Electric Company for the quarterly period ended March 31,
2018 , that (i) the report fully complies with the requirements of section 13(a) or 15(d) of the Securities Exchange Act of 1934, and (ii) the information contained in
the report fairly presents, in all material respects, the financial condition and results of operations of Atlantic City Electric Company .



                                                                                   /s/ D ONNA J. K INZEL
                                                                                   Donna J. Kinzel
                                                                                   Senior Vice President, Chief Financial Officer and Treasurer

Date: May 2, 2018
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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS,       )
BARBARA HOOKS, JOEL HOGAN,            )
KENNETH NIEBLING, KENDALL LACY,       )
TANJA LACY, WILLIE CLAY,              )
BOBBIE JEAN CLAY, ANGELA STATUM,      )
and MISSOURI RENTALS COMPANY, LLC,    )
on behalf of themselves and all others)
similarly situated,                   )
                                      )
      Plaintiffs,                     )
                                      )
v.                                    )                  Cause No. 18SL-CC00617-01
                                      )
COTTER CORPORATION,                   )                  JURY TRIAL DEMANDED
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA       )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE        )
CITY OF ST. LOUIS,                    )
                                      )
      Defendants.                     )

       PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
        DISMISS PLAINTIFFS’ SECOND AMENDED CLASS ACTION PETITION

  I.    INTRODUCTION

        Cotter Corporation (“Cotter”) and Commonwealth Edison Company (“ComEd”)

(hereinafter collectively referred to as “Defendants”) ask this Court to dismiss Plaintiffs’ claims

because they believe Plaintiffs’ claims are preempted by a federal statute, i.e., the Price-Anderson

Act (“PAA”). Defendants advance this argument despite three different Federal District Court

Judges in St. Louis presiding over three factually-related cases all recently ruling that the PAA

does not apply to this case or related cases and does not preempt Plaintiffs’ state law claims. See

Banks v. Cotter Corp., 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D. Mo. Mar. 29, 2019); Kitchin

v. Bridgeton Landfill, LLC, 389 F. Supp. 3d 600 (E.D. Mo. 2019); Strong v. Republic Services,



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Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017).

       In Banks, Kitchin and Strong, the Federal District Court in St. Louis squarely addressed

the question of whether the PAA applies when Defendants do not have an applicable license or

indemnity agreement covering the alleged activities. In all three cases, three different judges

determined that there cannot be a “nuclear incident” under the PAA without such an applicable

license or indemnity agreement. The judges further ruled that Defendants do not have an applicable

license or indemnity agreement and therefore they remanded each matter back to state court.

       This matter was initially filed in the Circuit Court of St. Louis County alleging causes of

action under Missouri law. Defendants removed the case arguing that the PAA applies and

preempts Plaintiffs’ state law claims, thereby conferring subject matter jurisdiction in Federal

Court. Plaintiffs filed a motion to remand and after the issues were briefed and oral argument was

held, Judge John Ross determined that the PAA does not apply to this case and remanded the case

based on lack of subject matter jurisdiction under the PAA. Banks, 2019 WL 1426259.

       Now that the Defendants find themselves back in St. Louis County, they now argue that

St. Louis County shares concurrent jurisdiction with the Federal Court. Regardless of which

jurisdiction reviews the case, it is clear that every court weighing the record has concluded the

PAA does not apply in this case as well as other factually related cases. In the instant case, Judge

Ross directly addressed whether, as a matter of statutory construction or under the structure and

history of the PAA, a license or indemnity agreement is a prerequisite for the PAA to apply. Banks,

2019 WL 1426259, at *6. As Judge Ross wrote in his opinion remanding this case and denying

the Defendants’ motions to dismiss:

       Defendants’ construction overlooks the original purposes and framework of the
       AEA and the PAA - to require those involved in the nuclear industry to obtain
       licenses and maintain financial protections. When faced with “competing
       preemption narratives,” the Court has the “duty to accept the reading that disfavors


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          preemption.”

Id. at *8 (emphasis added) (citing Cook v. Rockwell Int’l Corp., 790 F.3d 1088, 1094 (10th Cir.

2015).

          Defendants are not participants in the PAA compensation system, and they do not have an

appropriate license or indemnity agreement that covers the dumping activities alleged or the

radioactive wastes as issue. As such, Plaintiffs have not pled a “nuclear incident” within the

meaning of the PAA. The PAA has a preemptive effect only with respect to “nuclear incidents.”

Plaintiffs’ allegations do not amount to a “nuclear incident” as statutorily defined. Thus, as

previously decided, the PAA does not apply and does not preempt Plaintiffs’ state law causes of

action.

 II.      FACTUAL AND PROCEDURAL HISTORY

          Plaintiff Tamia Banks, on behalf of herself and all others similarly situated, filed this

property damage claim against Defendants on February 18, 2018 alleging violations of Missouri

state law and the Missouri Constitution; Plaintiff Banks filed a substantially similar Amended

Petition on April 2, 2018. See generally Original Petition and First Amended Petition.

          Defendants removed to federal court on April 18, 2018 based on the argument that federal

question jurisdiction existed because Plaintiffs’ claims arose under the PAA, which preempts all

of Plaintiffs’ state-law causes of action. See Notice of Removal, 4:18-cv-00624 (JAR), Doc. No.

1 at ¶ 18. Plaintiff filed a Motion to Remand asserting that the PAA does not apply to her claims

and her claims are not preempted. See Motion to Remand and Memo in Support, 4:18-cv-00624

(JAR), Doc. Nos. 38 and 39. The issues were briefed, and oral argument was held. On March 29,

2019, Judge John Ross determined that there is no federal court jurisdiction under the PAA and

remanded this matter back to state court. See Order of Remand, 4:18-cv-00624 (JAR), Doc. No.

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       After remand, Cotter filed a motion to dismiss based on PAA preemption which was joined

by Defendants ComEd, Exelon Corporation, and Exelon Generation Company, LLC. Defendants

ComEd, Exelon Corporation, and Exelon Generation Company, LLC also filed a Motion to

Dismiss based on lack of personal jurisdiction. Thereafter, Plaintiff Banks filed a substantially

similar Second Amended Petition (“SAP”) which added additional class representatives and

removed Exelon Corporation and Exelon Generation Company, LLC as Defendants.

       Currently, this action is against Cotter, ComEd, DJR Holdings, Inc. f/k/a Futura Coatings,

Inc., and the St. Louis Airport Authority, a department of the City of St. Louis. Cotter is the owner,

processor and disposer of the hazardous radioactive wastes that are the subject of this litigation.

ComEd is the former parent company of Cotter, and upon the sale of Cotter to General Atomics in

2000, ComEd agreed to indemnify Cotter for certain liabilities associated with radiation

contamination in St. Louis. See SAP at ¶ 27 - 29.1 DJR Holdings (formerly known as Futura

Coatings, Inc.) and the St. Louis Airport Authority, are the current owners of the properties

which are the source of the radioactive contamination found on Plaintiffs’ properties. DJR

Holdings is the owner of the property located at 9200 Latty Avenue, Hazelwood, Missouri (“Latty

Avenue Site”) and the St. Louis Airport Authority is the owner of the site formerly known as the

St. Louis Airport Site (“SLAPS”). See SAP at ¶¶ 79, 82. Despite knowing that significant activities

involving radioactive material were conducted on their property in the past, DJR and St. Louis

Airport Authority did nothing to prevent continued dispersal and runoff of hazardous, toxic,

carcinogenic, radioactive wastes into Coldwater Creek. See SAP at ¶¶ 80, 83.

       Plaintiffs own property located adjacent to Coldwater Creek. See SAP at ¶¶ 18–25. The

Plaintiffs’ properties, along with the property of other members of the Class, are located within


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 The responsibility to indemnify Cotter was transferred to Exelon Generation Company, LLC
when ComEd’s parent company, Exelon Corporation, restructured in 2001. See SAP at ¶ 29.
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the flood plain of Coldwater Creek. Id. Testing on Plaintiffs’ properties confirms radioactivity

above normal background levels and the source of this radioactivity is small, microscopic

particles, which among other things contain the carcinogenic, toxic, radioactive substance known

as thorium. See SAP at ¶¶ 91-93. Defendants caused contamination of Plaintiffs’ properties through

their negligent storage, handling and disposal of radioactive waste. See id. passim.

       A full description of the factual history can be found in Plaintiffs’ well pleaded Second

Amended Petition at ¶¶ 53-98. Based on the facts pleaded, it is clear that the radiation areas

complained of were nothing more than dumping grounds. Defendants never alerted the authorities

of a “nuclear occurrence” or “nuclear incident” at any of these locations because no such incident

occurred. This was a dumping ground and no activities which would fall under the scope of the

PAA at the time occurred here. It is quite amazing that after years of downplaying the gravity of the

situation, Defendants are now prepared to admit that a nuclear incident occurred to support their

baseless application of the PAA.

III.   LEGAL ARGUMENT

       A. Legal Standard

       In the present case, Defendants must, at minimum, prove all of the following in order to

sustain their burden in this Motion to Dismiss: (1) that there was a “nuclear incident” as defined in

the PAA; (2) they had a disposal license for the wastes in question; (3) they had an indemnity

agreement as provided under PAA; and (4) the radioactive wastes at issue (mill tailings and

thorium) were subject to the PAA at the relevant times. Defendants have not even attempted to

demonstrate any of the above—indeed, they cannot, because on a motion to dismiss all properly

pleaded facts must be accepted as true, giving the pleadings their broadest intendment, and all

allegations must be construed favorably to the pleader. Bromwell v. Nixon, 361 S.W.3d 393, 398

(Mo. banc 2012).

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       Missouri law prefers a trial on the merits and courts should interpret the law consistently

with this preference. Goe v. City of Mexico, 64 S.W. 3d 836 (Mo. App. E.D. 2001). A petition

will be found sufficient to withstand a motion to dismiss where it invokes the substantive principles

of the law which entitle plaintiffs to relief and facts which inform the defendant of what plaintiffs

will attempt to establish at trial. Scheibel v. Hillis, 531 S.W.2d 285, 290 (Mo. banc. 1976). A court

must not dismiss a suit unless the plaintiff will be unable to prove any set of facts that would entitle

her to relief. Goe, 64 S.W.3d at 839. “A pleader is required to state only the ultimate facts and it

is not necessary to plead the facts or circumstances by which the ultimate facts will be established.”

Scheibel, 531 S.W. 2d at 290.

       B. The Price-Anderson Act Does Not Apply to Plaintiffs’ State Law Claims

       The PAA is a comprehensive compensation-oriented system of liability insurance for

Department of Energy (DOE) contractors and Nuclear Regulatory Commission (NRC) licensees

operating nuclear facilities. In short, the PAA provides a type of “no fault” insurance, by which all

liability after an accident is assumed to rest with the facility operator, even though other parties

(such as subcontractors or suppliers) might be liable under conventional tort principles. See S.

REP. 100-70, 14, 1988 U.S.C.C.A.N. 1424, 1426-27. Defendants here argue that they are entitled

to protections afforded by the PAA despite the fact they are not and have never been participants

in the PAA compensation system.

       As previously determined in Banks, Kitchin and Strong, there cannot be a nuclear incident

under the PAA without an applicable license or indemnity agreement. Banks, 2019 WL 1426259,

at *6; Kitchin, 389 F. Supp. 3d at 612; Strong, 283 F. Supp. 3d at 772. As further determined by

Banks, Kitchin and Strong, defendants do not have the requisite license or indemnification

agreement to trigger the PAA. Banks, 2019 WL 1426259, at *9; Kitchin, 389 F. Supp. 3d at 613;

Strong, 283 F. Supp. 3d at 774.

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        Moreover, even if it is determined that that an applicable license or indemnity agreement

is not required for the PAA’s application or that Defendants possess such a license, the PAA is

still inapplicable based on the reasoning in Cook v. Rockwell Int’l Corp., 790 F.3d 1088 (10th Cir.

2015). In Cook, Judge (now Justice) Neil Gorsuch, determined that the plaintiffs’ state law claims

were not preempted when a nuclear incident is alleged but unproven. Id. Based on the reasoning

in Cook, Plaintiffs’ state law claims are not preempted because a nuclear incident has not been

alleged in the first place.

            1. Understanding the Background and Purpose of the Price-Anderson Act2

        In 1954, Congress enacted the Atomic Energy Act (“AEA”) to encourage private sector

involvement in atomic energy. The AEA provided for federal regulation and licensing of private

construction, ownership, and operation of commercial nuclear power reactors. Pac. Gas & Elec. v.

State Energy Res. Conservation & Dev. Comm’n, 461 U.S. 190 (1983). In 1957, Congress

amended the AEA with the PAA “which provided certain federal licensees with a system of

private insurance, government indemnification, and limited liability for claims of ‘public

liability.’” El Paso Nat. Gas Co. v. Neztsosie, 526 U.S. 473 (1999) (emphasis added).

        The PAA was enacted to meet two basic objectives: 1) remove the deterrent to private

sector participation in atomic energy presented by the threat of potentially enormous liability in

the event of a catastrophic nuclear accident; and 2) ensure that adequate funds are available to the

public to satisfy liability claims if such an accident were to occur. NRC, The Price–Anderson Act—

Crossing the Bridge to the Next Century: A Report to Congress at xii (August 1, 1998).3 Congress

accomplished these goals by 1) requiring that licensees provide financial protection; 2)


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  The following background and summary are largely taken from Senate Report No. 100-70
addressing the Price-Anderson Amendments Act of 1988. S. Rep. No. 100-70, 1988
U.S.C.C.A.N. 1424, 1988 WL 169872.
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  Available at https://www.nrc.gov/docs/ML1217/ML12170A857.pdf.
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indemnifying the nuclear power industry as necessary; and 3) capping total liability in the event

of an incident. Id.

        As enacted, the PAA established liability limits for commercial power plants licensed by

the Atomic Energy Commission (“AEC”) (now licensed by the NRC) through a combination of

private insurance and indemnification by the federal government. As part of the PAA system, the

AEC was authorized to require nuclear licensees or contractors to establish a basic level of

insurance or other financial protection to cover their nuclear-related liabilities and in return such

licensees or contractors received indemnity agreements under which the government would cover

any excess liabilities.

        After its enactment in 1957, the PAA has been renewed and amended numerous times. The

PAA was first renewed in 1966, at which time Congress required licensees and contractors to

waive traditional defenses of state tort law against claims of any extraordinary nuclear occurrence

in order to facilitate recovery by Plaintiffs. In 1975 Congress added a provision to the PAA to

phase out federal indemnity for NRC licensees and replace it with a self-insurance pool-type

arrangement. Under this arrangement, if damages from a commercial nuclear power plant accident

were likely to exceed the coverage available from private insurance, each NRC reactor licensee

would be assessed up to a capped amount to pay a pro-rated share of the damages in excess of

private insurance available. Thus, for accidents likely to exceed the coverage available to NRC

licensees from private insurance, the limited liability plan consisted of a combination of the

maximum amount of private insurance and contributions made by each of the reactor licensees.

Licensees were required to provide proof to the NRC that they had the maximum amount of private

nuclear liability insurance. See S. Rep. No. 100-70, 43, 1988 U.S.C.C.A.N. 1424, 1452

        The PAA was amended again in 1988. The 1988 Amendments broadened federal

jurisdiction beyond just “extraordinary nuclear occurrences”—that is, those occurrences involving

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“substantial” damages—and created a federal cause of action for “any public liability action arising

out of or resulting from a nuclear incident.” 42 U.S.C. § 2210(n)(2). Further, the amendments also

provided that such public liability actions filed in state court were to be removed to federal court.

Id.

       Thus, since first enacted in 1957, the Price-Anderson compensation system has evolved

from a system of primarily federal indemnification for nuclear activities to the current

compensation pool/self-insurance type of arrangement for NRC licensees operating nuclear

powerplants. S. REP. 100-70, 14, 1988 U.S.C.C.A.N. 1424, 1427. While the PAA has been

amended since its enactment, these amendments have not changed the statutory framework of the

PAA, i.e. the licensing/indemnity scheme.

           2. Scope of the Price-Anderson Act as Determined by the NRC

       In 1998, the NRC prepared a report to Congress which detailed the need for continuation

or modification of the PAA. In Part 1 of this report, the NRC provided an overview of the PAA

system and discusses the scope of the PAA. According to the NRC, “[t]he first major Price-

Anderson parameter concerns which licensees it covers.” NRC, The Price–Anderson Act—

Crossing the Bridge to the Next Century: A Report to Congress at 3 (August 1, 1998). As stated in

the NRC’s report, the PAA only applies to the following categories of licensees: 1) licensees of

nuclear power plants having a rated capacity of 100MW(e) or more, 2) licensees authorized to

operate nuclear reactors of less than 10 MW(t) capacity, 3) federal agencies licensed to operate

nuclear reactors, 4) state-owned educational institutions, and 5) plutonium processing and fuel

fabrication facilities. Critically, subsequent to 1977, the NRC also evaluated whether it should

exercise its discretionary authority and require financial protection for materials licensees other

than those processing plutonium and the NRC decided that “no apparent need existed to extend

Price-Anderson to other classes of materials licensees.” NRC, The Price–Anderson Act—Crossing

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the Bridge to the Next Century: A Report to Congress at 4-5 (August 1, 1998).

         In Skidmore v. Swift & Co, 323 U.S. 134 (1944), the Supreme Court held that the expertise

and informed judgment of the NRC must receive substantial judicial deference by the courts.

Accordingly, based on the NRC’s expertise and informed judgment, this matter falls outside the

scope of the PAA because Cotter only possessed a source material license for uranium and the

NRC decided in 1977 that no apparent need existed to extend the PAA to this class of materials

licensee.

         Put simply, “[t]he scope of Price-Anderson coverage includes any nuclear incident in the

course of transportation of nuclear fuel to a reactor site, the storage of fuel at a site, the operation

of reactors including discharges of radioactive emissions or effluents, the storage of nuclear wastes

at reactor sites, and the transportation of radioactive material from reactors.” NRC, The Price–

Anderson Act—Crossing the Bridge to the Next Century: A Report to Congress at xii (August 1,

1998).

            3. The Price-Anderson Act Does Not Apply Without an Applicable Indemnity
               Agreement or License

         Notably, the structure of the PAA has been described as “complicated,” “interlocking,” and

“us[ing] words in unintuitive ways.” Estate of Ware, 871 F.3d at 280.

         As stated above, the 1988 Amendments to the PAA created a federal cause of action for

“any public liability action arising out of or resulting from a nuclear incident.” 42 U.S.C. §

2210(n)(2). A “public liability action” is “any suit asserting public liability.” 42 U.S.C. §

2014(hh). “Public liability” means “any legal liability arising out of or resulting from a nuclear

incident[.]” 42 U.S.C. § 2014(w). Thus, only lawsuits that involve “nuclear incidents” as defined

by the PAA are subject to the PAA. Kitchin, 389 F. Supp. 3d at 610-11; Cook v. Rockwell Int'l

Corp., 790 F.3d 1088 (10th Cir. 2015); Cotroneo v. Shaw Env't & Infrastructure, Inc., 639 F.3d


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186 (5th Cir. 2011); Strong, 283 F. Supp. 3d 759; McClurg v. MI Holdings, Inc., 933 F. Supp. 2d

1179 (E.D. Mo. 2013); Banks, 2019 WL 1426259. A “nuclear incident” is defined in 42 U.S.C. §

2014(q) as:

       any occurrence, including an extraordinary nuclear occurrence, within the United
       States causing, within or outside the United States, bodily injury, sickness, disease,
       or death, or loss of or damage to property, or loss of use of property, arising out of
       or resulting from the radioactive, toxic, explosive, or other hazardous properties of
       source, special nuclear, or byproduct material… provided further, That as the term
       is used in section 2210(d)of this title, it shall include any such occurrence outside
       the United States if such occurrence involves source, special nuclear, or byproduct
       material owned by, and used by or under contract with, the United States: And
       provided further, That as the term is used in section 2210(c) of this title, it shall
       include any such occurrence outside both the United States and any other nation if
       such occurrence arises out of or results from the radioactive, toxic, explosive, or
       other hazardous properties of source, special nuclear, or byproduct material
       licensed pursuant to subchapters V, VI, VII, and IX of this division, which is used
       in connection with the operation of a licensed stationary production or utilization
       facility or which moves outside the territorial limits of the United States in transit
       from one person licensed by the Nuclear Regulatory Commission to another person
       licensed by the Nuclear Regulatory Commission.

       In this case and related cases, the Federal District Court in St. Louis has squarely addressed

 the question of whether a “nuclear incident” under the PAA requires the alleged unlawful conduct

 to have arisen from NRC-licensed activities or under a DOE contract with agreements of

 indemnification. Banks, 2019 WL 1426259; Kitchin, 389 F. Supp. 3d 600; Strong, 283 F. Supp.

 3d 759. In all of these cases, three different judges held that there cannot be a nuclear incident

 under the PAA without an applicable license or indemnity agreement covering the activities

 complained of. Strong, 283 F. Supp. 3d at 772; Banks, 2019 WL 1426259, at *6; Kitchin, 389 F.

 Supp. 3d at 612. As discussed below in Section III. B. 4., Defendants do not possess an

 appropriate license or indemnity agreement. Accordingly, the PAA is not applicable and does not

 preempt Plaintiffs’ state law claims.




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                  i.   Statutory Construction Dictates that the Price-Anderson Act Does Not
                       Apply Without an Applicable License or Indemnity Agreement

       In ascertaining the plain meaning of a statute, the Court relies on established rules of

statutory interpretation, looking not only to the particular statutory language at issue, but also the

design of the statute as a whole. DeBough v. Shulman, 799 F.3d 1210, 1212 (8th Cir. 2015); United

States v. I.L., 614 F.3d 817, 820-21 (8th Cir. 2010) (citations omitted). “It is a fundamental

principle of statutory construction (and, indeed, of language itself) that the meaning of a word

cannot be determined in isolation, but must be drawn from the context in which it is used.” Textron

Lycoming Reciprocating Engine Div. v. United Auto., Aerospace and Agric. Implement Workers

of Am., 523 U.S. 653, 657(1998) (quoting Deal v. United States, 508 U.S. 129, 132, (1993)).

       As pointed out in the Kitchin case, the definition of “nuclear incident” refers to the use of

the term in §§ 2210(c) and (d), which govern the PAA’s indemnification plan for NRC licensees

and DOE contractors. Section 2210(c) requires the NRC, “with respect to licenses issued between

August 30, 1954, and December 31, 2025,” to “agree to indemnify and hold harmless the licensee

and other persons indemnified ... from public liability arising from nuclear incidents[.] ... Such a

contract of indemnification shall cover public liability arising out of or in connection with the

licensed activity.” 42 U.S.C. § 2210(c) (emphasis added). Section 2210(d) requires the DOE to

enter into indemnification agreements with “any person who may conduct activities under a

contract with the Department of Energy that involve the risk of public liability[.]” 42 U.S.C. §

2210(d)(1)(A) (emphasis added)

       As articulated in Kitchin, 389 F. Supp. 3d at 612:

       when the definition is read in toto and in conjunction with § 2210, “nuclear
       incidents” are those occurrences within and outside the United States that arise from
       activities conducted under DOE contracts or in connection with NRC-licensed
       activity. When considered with the plain text of § 2210(c) and (d) – that public
       liability actions can arise only from activities under a contract with the DOE or in


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        connection with NRC-licensed activity – I must agree with the court's observation
        in Strong that “the terms ‘nuclear incident’ and ‘occurrence’ are inextricably
        intertwined with ‘licenses’ and ‘indemnification agreements,’ thus suggesting
        licenses and indemnification agreements are an integral part of the PAA's statutory
        scheme[.]” Strong, 283 F. Supp. 3d at 771. In light of this, I also agree with the
        Strong court's conclusion that, therefore, “there cannot be a nuclear incident
        without an applicable license or indemnity agreement.”

        Applying a different statutory analysis, the Strong and Banks decisions reach the same

conclusion that there cannot be a nuclear incident without an applicable license or indemnity

agreement. Strong and Banks found the reasoning from Gilberg v. Stepan Co., 24 F. Supp.2d 325,

343 (D. N.J. 1998) to be persuasive and found it significant that the definition of nuclear incident

uses “occurrence” together with the clause “including an extraordinary nuclear occurrence.” An

“extraordinary nuclear occurrence” is in relevant part “any event causing a discharge…from its

intended place of confinement in amounts off-site, or causing radiation levels offsite…” 42 U.S.C.

§ 2014(q). As used in the definition of extraordinary nuclear occurrence, “offsite” means “away

from ‘the location’ or ‘the contract location’ as defined in the applicable Nuclear Regulatory

Commission or the Secretary of Energy…indemnity agreement, entered into pursuant to section

2210.” Id.

        Banks and Strong reason that, as a matter of statutory construction, because of the

proximity to and interrelationship between the word “occurrence” and the phrase “extraordinary

nuclear occurrence”, it was reasoned that “the occurrence which underlies a ‘nuclear incident,’ can

only be an event at ‘the location’ or ‘the contract location’ as that term is defined in an indemnity

agreement entered into under § 2210. Banks, 2019 WL 1426259, at *7. Thus, “[i]n the absence of

an indemnification agreement, entered into under 42 U.S.C. § 2210 and covering the activities

which gave rise to the liability alleged, there can be no ‘occurrence,’ that is, no event at the site of

‘licensed activity,’ that would constitute a “nuclear incident.” Strong, 283 F. Supp. 3d at 767 (citing



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Gilberg, 24 F. Supp.2d at 340).

       The decisions in Banks and Strong acknowledge that there are varied and conflicting

opinions regarding whether a license or indemnity agreement is a prerequisite for the PAA to

apply. However, “[g]iven the conflicting interpretations of the PAA regarding whether there must

be a license or an indemnity agreement for the PAA to apply…and considering that conflicts

should be resolved by finding no federal preemption, the Court finds that this matter should be

resolved in favor of finding that there cannot be federal jurisdiction under the PAA without a

license or an indemnity agreement.” Strong, 283 F. Supp. 3d at 772; See also Cook v. Rockwell

International, Corp., 790 F.3d 1088, 1094 (10th Cir. 2015).

           Similarly, in Samples v. Conoco, Inc., 165 F. Supp. 2d 1303 (N.D. Fla. 2001), the Court

 considered whether a license is necessary for the PAA to apply. Much like the Defendants here, the

 defendant in Samples claimed that the “clear language of the PAA covers any claim of injury to

 property allegedly caused by certain nuclear material” and that “Congress did not limit the

 scope of the PAA’s ‘public liability’ provisions to Nuclear Regulatory Commission (NRC)

 licensees and Department of Energy (DOE) contractors.” Id. at 1320–21. Referring to the

 defendant’s argument as “Hogwash,” the Court held that “the word ‘occurrence’ as used in the

 definition of ‘nuclear incident’ means ‘that event at the site of the licensed activity, or activity

 for which the Commission has entered into a contract, which may cause damage.” Id. at 1321

 (quoting S. REP. NO. 296, at 16 (1957) (quoted in 10 C.F.R. § 8.2at 202 (2001))(emphasis

 added).

                  ii.   Legislative History Dictates that the Price-Anderson Act Does Not
                        Apply Without an Applicable License or Indemnity Agreement

       The PAA’s legislative history also supports the conclusion that the PAA does not apply without

an applicable license or indemnity agreement. As defined by Congress itself, “[t]he Price-Anderson


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system is a comprehensive, compensation-oriented system of liability insurance for Department of

Energy contractors and Nuclear Regulatory Commission licensees operating nuclear facilities.” S.

Rep. No. 100-70, 14, 1988 U.S.C.C.A.N. 1424, 1426 (emphasis added).

       Moreover, S. REP. NO. 85–296, 1957 WL 5103, at *1817–18 (May 9, 1957), is instructive:

       IT WAS NOT THOUGHT THAT AN INCIDENT WOULD NECESSARILY HAVE
       TO OCCUR WITHIN ANY RELATIVELY SHORT PERIOD OF TIME .... THE
       OCCURRENCE WHICH IS THE SUBJECT OF THIS DEFINITION IS THAT EVENT
       AT THE SITE OF THE LICENSED ACTIVITY, OR ACTIVITY FOR WHICH THE
       COMMISSION HAS ENTERED IN TO A CONTRACT, WHICH MAY CAUSE
       DAMAGE, RATHER THAN THE SITE WHERE THE DAMAGE MAY PERHAPS
       BE CAUSED. THE SITE MUST BE WITHIN THE UNITED STATES.... IT DOES
       NOT MATTER WHAT LICENSE MAY BE APPLICABLE IF THE OCCURENCE IS
       WITHIN THE UNITED STATES.... THE INDEMNIFICATION AGREEMENTS ARE
       INTENDED TO COVER DAMAGES CAUSED BY NUCLEAR INCIDENTS FOR
       WHICH THERE MAY BE LIABILITY NO MATTER WHEN THE DAMAGE IS
       DISCOVERED, I.E., EVEN AFTER THE END OF THE LICENSE. THAT IS WHY
       THE DEFINITION OF ‘NUCLEAR INCIDENT’ HAS THE PHRASE ‘ANY
       OCCURENCE * * * CAUSING BODILY INJURY, SICKNESS, DISEASE, OR
       DEATH’ AND WHY THE DEFINITION OF ‘PUBLIC LIABILITY’ IS TIED TO
       ANY LEGAL LIABILITY ARISING OUT OF, OR RESULTING FROM, A
       NUCLEAR INCIDENT. (emphasis added)

       It is implicit in the language of the above quoted legislative history that the terms “nuclear

incident” and “occurrence” are inextricably intertwined with “licenses” and “indemnification

agreements,” thus suggesting licenses and indemnification agreements are an integral part of the PAA's

statutory scheme and that there cannot be a nuclear incident under PAA purview without an applicable

license or indemnity agreement. Strong, 283 F. Supp. 3d at 770-71; Banks, 2019 WL 1426259, at *7.

       “Nothing in the PAA – either originally enacted or through its evolution – provides that it

is, or was intended to be, the exclusive remedy for all claims involving nuclear radiation.” Kitchin,

2019 WL 2027649, at *7. As stated by Judge Ross in this case:

       [I]n light of the PAA's concerns related to liability limitation and indemnification,
       the Court is not convinced that the 1988 amendments were meant to extend the
       reach of the PAA to activities not covered by applicable licenses or indemnity
       agreements. Defendants' construction overlooks the original purposes and
       framework of the AEA and the PAA – to require those involved in the nuclear
       industry to obtain licenses and maintain financial protections.

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Banks, 2019 WL 1426259, at *8.

       Based on the foregoing, the statutory construction and legislative history of the PAA

dictate that it to applies only to public liability claims arising out of NRC-licensed activity or

DOE-contracted activity operating under indemnification agreements. See Strong 283 F. Supp.

3d at 772; Banks, 2019 WL 1426259, at *6.

           4. Cotter’s 1969 “Source Material License” does not apply to the mill tailings at
              issue or the illegal dumping of said tailings

       The only possible license Defendants could argue potentially confers jurisdiction under the

PAA is Cotter Corporation’s 1969 “source material” license. However, all courts that have considered

this issue have determined that Cotter’s license does not support the PAA’s application. Cotter’s

“source material” license is not relevant because it does not—and could not—apply to the mill tailings

central to this litigation. Nor does Cotter’s license apply to thorium which is also a radioactive

constituent that forms the basis of this litigation. Moreover, Cotter’s license does not apply to the

complained of activities, namely the illegal disposal of radioactive wastes in Coldwater Creek.

                  i.   Cotter’s License Does Not Apply to the Radioactive Mill Tailings at
                       Issue

       The NRC only has the power and authority Congress gives it and it had no authority over

mill tailings until 1978 when the Uranium Mill Tailings Radiation Control Act (“UMTRCA”)

was passed. 42 U.S.C. § 2014(e)(2). See Kerr-McGee Chem. Corp. v. U.S. Nuclear Regulatory

Comm'n., 903 F.2d 1, 2–3 (D.C. Cir. 1990) (“The AEA made no provision for regulating waste

materials generated during the extraction or concentration of source material.”; “[b]y the 1960's

and early 1970's, federal and state authorities began to realize that wastes, or ‘mill tailings,’

resulting from the extraction or concentration of source material posed a significant public health

problem.”; “Title II brought mill tailings within the NRC's licensing authority by adding a new


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category to the AEA's definition of byproduct material, namely, the tailings or wastes produced

by the extraction or concentration of uranium or thorium from any ore processed primarily for its

source material content.”) (quoting 42 U.S.C. § 2014(e)(2)).

       Cotter has never possessed a mill tailings license and its source license is inapplicable. As the

Strong court held:

       Notably, the Uranium Mill Tailings Radiation Control Act of 1978 (UMTRCA), which
       first included uranium mill tailings in the definition of byproduct material, states that,
       except as otherwise provided by 42 U.S.C. § 2014, the amendments made by Title
       II of the UMTRCA “shall take effect on the date of the enactment of this Act.”
       Moreover, “[r]etroactivity [is] not favored in the law,” and “[C]ongressional
       enactments ... will not be construed to have retroactive effect unless their language
       requires this result.” Thus, Cotter's 1969 Source Material License could not have
       covered uranium mill tailings.

Strong, 283 F. Supp. 3d at 773. (emphasis added, internal citations omitted); See also Banks, 2019

WL 1426259, at *9.

       Defendants argue that the AEC’s licensure of the materials at issue demonstrates that the AEC

and later the NRC understood these residues to be subject to their jurisdiction. However, the NRC

has authoritatively concluded that mill tailings produced prior to 1978 are not subject to NRC

regulations and licenses:

       In 1978, the Uranium Mill Tailings Radiation Control Act (UMTRCA) [Pub. L. No.
       95-604] was enacted. As then Chairman Hendrie of the NRC explained to Congress,
       the agency at the time did not have direct regulatory control over uranium mill tailings.
       The tailings themselves did not fall into any category of NRC-licensable material. As
       of 1978, NRC was regulating tailings at active mills indirectly through its licensing of
       source material milling operations under the Atomic Energy Act of 1954 (AEA),
       largely as a result of the enactment of the National Environmental Policy Act (NEPA).
       Operating uranium mill licenses were conditioned to require proper disposition and
       stabilization for environmental issues after operations had ceased. However,
       tailings were not source material licensable by the NRC. Thus once the underlying
       source material license terminates, there would no longer be a clear basis for
       regulating the tailings.

In the Matter of Envirocare of Utah & Snake River All., 56 N.R.C. 53, 2000 WL 34400480

(N.R.C. Dec. 13, 2000) (emphasis added). As stated above, the expertise and informed judgment


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of the NRC must receive substantial deference by the courts. Skidmore, 323 U.S. 134 (1944).

Accordingly, the mill tailings generated by Mallinckrodt’s processing operations that ceased in 1957,

and which were later purchased and disposed of by Cotter, were not and are not subject to the

AEA and therefore cannot provide the basis for a public liability action under the PAA. See

Declaration of Richard B. Stewart, 4:18-cv-00624 (JAR), Doc. No. 59-1.4

          Here, throughout the Second Amended Petition, Plaintiffs have specifically alleged that

the materials at issue are mill tailings and that these wastes were generated from the processing

of uranium ore in downtown St. Louis. See SAP at ¶¶ 11, 64, 65. Defendants argue that these

allegations are legal conclusions masquerading as fact. This simply is not true. The notion that

Cotter’s license does not apply to mill tailings is a legal conclusion reached by Judge Hamilton

in Strong, Judge Ross in this matter, and by the NRC in Envirocare. In contrast, the determination

of whether the materials at issue are in fact mill tailings is a factual determination. On a motion

to dismiss all properly pleaded facts must be accepted as true, giving the pleadings their broadest

intendment, and all allegations must be construed favorably to the pleader. Bromwell 361 S.W.3d

at 398.

          Regardless, Plaintiffs have made sufficient allegations to demonstrate that the materials in

question are in fact mill tailings. Following the enactment of UMTRCA in 1978, the definition of

byproduct material was amended to include “the tailings or wastes produced by the extraction or

concentration of uranium or thorium from any ore processed primarily for its source material

content.” PL 95–604 (HR 13650), PL 95–604, NOVEMBER 8, 1978, 92 Stat 3021 “As the

precursor to the nuclear fuel cycle, uranium recovery focuses on extracting (or mining) natural

uranium ore from the Earth and concentrating (or milling) that ore.”5 Plaintiffs here alleged that


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    Declaration of Richard B. Stewart is attached hereto as Exhibit 2.
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    U.S. NRC, Uranium Recovery (Feb. 14, 2019), https://www.nrc.gov/materials/uranium-
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the wastes created by the uranium ore processing in downtown St. Louis are known in the scientific

and regulatory communities as uranium mill tailings that were created as a result of the milling of

uranium ore to produce uranium metal by Mallinckrodt. See SAP at ¶¶ 62, 64. Plaintiffs also allege

that mill tailings from the processing operations in downtown St. Louis were transferred and stored

at a site referred to as the St. Louis Airport Site (“SLAPS”). See SAP at ¶ 65. Plaintiffs further

allege that the mill tailings stored at SLAPS were moved to a storage site on Latty Avenue in

Hazelwood, Missouri. See SAP at ¶¶ 67, 87. Finally, Plaintiffs allege that in 1969, the radioactive

wastes at Latty Avenue were sold to the Cotter Corporation. See SAP at ¶ 87. Thus, the radioactive

wastes that were purchased by Cotter in 1969 and form the basis of this lawsuit were created as a

result of the processing (or milling) of uranium ore. Accordingly, Plaintiffs have plead sufficient

facts to establish that the radioactive wastes at issue are, in fact, mill tailings. This is further

confirmed by Dr. Marvin Resnikoff – an expert in nuclear waste transportation, storage, and

disposal – who demonstrates that the wastes that contaminated Coldwater Creek and Plaintiffs

properties are mill tailings created by milling uranium ore in downtown St. Louis. See Declaration

of Dr. Marvin Resnikoff, 18-cv-00624 (JAR), Doc. No. 59-2.6

       In addition to the fact that Cotter’s license does not apply to mill tailings, the license also

does not apply to thorium, a radioactive constituent that forms the basis of this litigation. Plaintiffs

have alleged that “[b]etween 1969 and 1973, Cotter stored, processed, and transported hazardous,

toxic, and radioactive wastes, including enriched thorium” and that “Defendants did not have a

license to handle the particular materials they handled as alleged herein, including enriched

thorium.” See SAP at ¶¶ 72, 73.




recovery.html.
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  Declaration of Dr. Marvin Resnikoff attached as Exhibit 1.
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                 ii.   Cotter’s License Does Not Apply to the Activities at Issue Here

       As determined by Judge Ross in this matter, “Defendants have not established that Cotter’s

1969 Source Material License authorizing it ‘to receive, possess and import’ uranium covered their

activities at the sites involved in this case.” Banks, 2019 WL 1426259, at *9. Plaintiffs have

alleged that “Coldwater Creek is not and has never been a licensed nuclear facility” and

“Defendants have never received a license to possess, transport, or dispose of any radioactive

wastes on or in Coldwater Creek” See SAP at ¶ 15.

       Thus, Cotter’s 1969 license does not apply here because the material at issue is in fact mill

tailings and because the license did not cover thorium. Moreover, Cotter’s license did not cover

the improper dumping activities which are the cause of Plaintiffs’ damages. Because there is no

applicable license, the PAA does not apply and does not preempt Plaintiffs’ state law claims.

           5. Assuming Arguendo that an Applicable License or Indemnity Agreement is
              Not Required or that Cotter’s 1969 Source Materials License is Determined
              to be Applicable, the Price-Anderson Act is Still Inapplicable and Does Not
              Preempt Plaintiffs’ State Law Claims

       The PAA’s legislative history demonstrates Congress’ intent to preserve state law remedies

in the event of anything other than a nuclear occurrence as statutorily defined. S. REP. 85-296,

1957 U.S.C.C.A.N. 1803, 1810 (The PAA is designed to have “no interference with the state law

until there is a likelihood that the damages exceed the amount of financial responsibility required

together with the amount of the indemnity”). After the PAA was enacted, subsequent amendments

did not change the overarching framework: The “1966 Amendments expressed Congress’ intent

to interfere with state law as little as possible, while the 1988 Amendments demonstrated the need

for a consolidated forum in the event of a nuclear incent…[the] legislative history suggests that

Congress did not intend to preempt all state law actions involving nuclear energy – just those rising




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to the level of a nuclear incident.” Daniel Kolomitz, A Nuclear Threat: Why the Price-Anderson

Act Must Be Amended Following Cook v. Rockwell, 48 Ariz. St. L.J. 853, 860 (2016).

         In enacting the PAA, Congress did not preclude maintenance of any and all state law

 claims for nuclear-related harms. In fact, the legislative history shows Congress recognized that

 State courts would have a role to play in regard to providing remedies for damages caused by

 radioactive materials. S. REP. 85-296, 1957 U.S.C.C.A.N. 1803. The PAA applies only to

 claims involving a nuclear occurrence involving special nuclear, source, or byproduct material

 arising out of conduct by a defendant operating in accordance with an appropriate government

 license or indemnity agreement. See 42 U.S.C.§ 2014(q). It does not preempt state law claims

 that fall outside of its framework. The PAA does not reflect congressional intent to occupy the

 entire field of all nuclear-related claims; prosecuting nuclear-related state-law claims in state

 court does not conflict with the PAA’s scheme.

         The well-reasoned opinion by Judge (now Justice) Gorsuch for the court in Cook v.

 Rockwell Int’l Corp., 790 F.3d 1088, 1099 (10th Cir. 2015), cert. dismissed sub nom. Dow

 Chem. Co. v. Cook, 136 S. Ct. 2055 (2016), provides an exceedingly sound analysis of the issues

 and justification for these conclusions. Cook considered whether the PAA preempts state law

 claims where a nuclear incident is alleged but unproven. 790 F.3d 1088, 1092 (10th Cir. 2015).

 In Cook, Judge Gorsuch concluded that the PAA did not preempt state law claims. “Where does any

 of this language—expressly—preempt and preclude all state law tort recoveries for plaintiffs who

 plead but do not prove nuclear incidents? We just don't see it. Congress knows well how to preempt

 a field expressly when it wishes.” Id. at 1095. The court noted that “[n]othing in this language speaks

 to what happens when a nuclear incident is alleged but unproven. And certainly nothing in it dictates

 that injured parties in such circumstances are forbidden from seeking or securing traditional state

 law remedies.” Id. Here, Plaintiffs are not pursuing a public liability action because there has been

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 no nuclear incident as it is statutorily defined. Simply put, Plaintiffs do not allege a nuclear incident

 under PAA. Common sense dictates that when a nuclear incident is not alleged in the first place, a

 plaintiffs’ claims are not preempted.

         As Judge Gorsuch correctly determined, the PAA does not extend to all nuclear-related

 activities and resulting injuries. Nor does it preempt the field, so as to preclude state law

 recovery for such injuries when they are not subject to compensation under the PAA. Further,

 the congressional scheme in the PAA functions perfectly in tandem with state court jurisdiction

 and application of state law actions involving claims not covered by the PAA system. Indeed,

 the availability of state law claims, which could include punitive damage awards, would

 strengthen the PAA system by giving operators incentives to subject their activities to federal

 regulatory and financial responsibility/indemnity requirements.

        As Cook points out, courts that have stated in unqualified terms that the PAA

encompasses all nuclear-related injury claims have failed to address the limitations in the Act’s

coverage. 790 F.3d at 1098. The Act covers only claims arising out of a “nuclear incident”

“including an extraordinary nuclear occurrence,” involving specified nuclear-related materials in

activities subject to federal regulation or indemnity agreements. 42 U.S.C.A. § 2210(n)(2); 42

U.S.C. § 2014(w); 42 U.S.C.§ 2014(q); 42 U.S.C.A. § 2014(j). Precluding state law claims that

do not meet these limitations would leave injured parties in limbo, without any remedy. As Cook

emphasized, the PAA should not be interpreted to preempt state law claims that do not fall within

its “public liability” scheme. Courts must not interpret federal statutes to preempt traditional state

tort law remedies unless congressional intent to do so is clear. Cipollone v. Liggett Group, Inc.,

505 U.S. 504 (1992); Riegel v. Medtronic, Inc., 552 U.S. 312, 334 (2008). No such intent can be

found in the PAA. Accordingly, courts should not interpret PAA to preempt state law claims for

injuries for which PAA does not itself provide a remedy.

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           6. Applying the Price-Anderson Act to Every Case Involving Nuclear Material
              or Radiation Leads to Absurd Results

         Defendants propose that PAA grants immunity from state tort liability to anyone who

 intentionally or unintentionally uses nuclear materials to cause harm. This approach ignores

 the history, structure, language and purpose of the PAA and would lead to absurd results.

 Based on Defendants’ approach, the PAA would cover all nuclear tortfeasors under any

 conceivable circumstance. It would cover the properly licensed and indemnified owner of a

 nuclear plant, as well as any corporate opportunist who foregoes licensing and regulations to

 conduct operations at their own risk.

         Such an extreme interpretation of the PAA was not Congress’ intent and it is not

 supported by the language of the PAA as enacted or any of its amendments. If Congress intended

 to extend the benefits of the PAA to all nuclear wrongdoers, it would have used a word other

 than “occurrence” to define “nuclear incident.” At the very least, Congress would have provided

 an alternative definition of “occurrence” to include events that do not take place at a “location”

 as set forth in an applicable indemnity agreement or license. Congress chose to do neither; thus,

 “occurrence” continues to have the same meaning as when the PAA was enacted: an event

 taking place at a location identified in a license or indemnity agreement held by a defendant.

 This Court should refuse Defendants’ invitation to depart from the purpose and language of the

 PAA by assigning an interpretation that would have absurd consequences and would allow

 Defendants the protections of the PAA despite not being participants in the PAA system and

 despite not having the required financial protections and/or indemnity agreement.

           7. Applying Price-Anderson Act Preemption to Encompass all State Law
              Claims Involving Radiation Violates the Due Process Clause

       The due process clauses under the United States and Missouri constitutions prohibit the

taking of life, liberty, or property without due process of law. See Colyer v. State Bd. of

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Registration For Healing Arts, 257 S.W.3d 139, 144 (Mo. Ct. App. 2008) (citing U.S. Const.

amend. XIV, sec. 1; Mo. Const. art. I, sec. 10.) Defendants argue that the PAA encompasses all

nuclear-related injury claims including all state-law claims for lost property that in any way

involve damage from radiation. See Defendants’ Motion to Dismiss at p. 17. As a matter of due

process, Congress cannot eliminate longstanding common law rights without providing any

“reasonable alternative remedy” unless there is a compelling reason to do so. PruneYard Shoping

Ctr. V. Robins, 447 U.S. 74, 93-94 (1980). The guaranty of due process demands that any laws

passed by Congress shall not be unreasonable, arbitrary or capricious, and that the means selected

shall have a real and substantial relation to the objective sought to be attained. Nebbia v. New

York, 54 S.Ct. (1934) 505, 523-525. Defendants’ interpretation raises serious questions as to the

constitutionality of the PAA.

       If the PAA completely preempts state tort claims for any injury related to nuclear material,

then plaintiffs’ real property has been taken without due process because Defendants have

contaminated it with radioactive by-products, and the PAA (if so interpreted) would give

Defendants immunity from all common-law liability not included in the PAA for that injury

(including from nuisance) to Plaintiffs’ properties. Such an interpretation of the PAA would render

at least portions of the PAA unconstitutional under both the Due Process and Takings clauses of the

Fifth Amendment of the United States Constitution because Defendants concede that prior to 1988

the PAA would only apply in cases of “extraordinary” nuclear occurrences and not in cases such as

this. See Defendants’ Opposition to Motion to Remand at page 2. (Doc. No. 52)

       Moreover, the doctrine of constitutional avoidance dictates that courts avoid

interpretations that raise constitutional concerns. “A statute must be construed, if fairly possible,

so as to avoid not only the conclusion that it is unconstitutional but also grave doubts upon that

score.” See Almendarez-Torres v. U.S., 523 U.S. 224, 237-238 (1998) (citations omitted). The

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doctrine of constitutional avoidance is “…a tool for choosing between competing plausible

interpretations of a statutory text, resting on the reasonable presumption that Congress did not

intend the alternative which raises serious constitutional doubts.” Clark v. Suarez Martinez, 543

U.S. 371, 381 (2005) (citation omitted). Accordingly, this Court should avoid the decision of a

constitutional question by holding that the PAA does not preempt Plaintiffs’ property law claims.

       In Duke Power Company v. Carolina Environmental Study Group, Inc., the U.S. Supreme

Court found that the PAA’s limitation of liability was a rational and acceptable method for

Congress to utilize to encourage the private development of electric energy by atomic power;

however, the Court did so before the 1988 Amendments and the Court never addressed the

complete loss of common law rights to litigants in instances where the PAA precludes recovery.

438 U.S. 59 (1978). Duke particularly discussed the PAA’s pre-1988 substitute remedy, indicating

the indemnity provisions of PAA providing “assurance” of available funds to satisfy potential

radiation claims was critical to the Court’s decision. The Duke court found: “This panoply of

remedies and guarantees is at the last a reasonably just substitute for the common-law rights

replaced by the Price-Anderson Act. Nothing more is required by the Due Process Clause.” Id. at

93. Here, however, Plaintiff and Class would be left without a substitute remedy for their property

law claims if this Court determines that the PAA abrogates common law rights. “It is inconceivable

that Congress intended to leave victims with no remedy at all.” Silkwood, 464 U.S. 238, 263

(1984). It is even more inconceivable that Congress would leave victims without a remedy absent

a clear expression of an affirmative intent to do so.

         Defendants argue that all state-law claims for lost property that involve damage from

 radiation are preempted by the PAA – including those not covered by indemnification. Adopting

 this position would mean that the PAA deprives injured claimants of their common law property



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 rights without any substitute. Per the Supreme Court’s analysis in Duke Power, this would be

 an unconstitutional due process violation. Under the canon of constitutional avoidance

 enunciated by the Supreme Court, courts should construe federal statutes so as to avoid

 presenting such serious constitutional issues. United States v. Witkovich, 353 U.S. 194 (1957);

 NLRB v. Catholic Bishop of Chicago, 440 U.S. 490 (1979).

           While a given common-law remedy may not necessarily be a fundamental right, neither

 is that right illusory. Martinez v. California, 444, U.S. 277, 281-82 (1980). “[A]n individual

 does have a weighty property interest in having some legal means available to redress an injury

 that would have been compensable at common law.” Ileto v. Glock, 565 F.3d 1126, 1153 (9th

 Cir. 2009) (Berzon, J., concurring in part and dissenting in part) (emphasis in original). Another

 state common-law claim not compensable under the PAA is medical monitoring, which

 Plaintiffs seek here. See SAP at ¶¶ 36, 191-92, and Prayer for Relief at pp. 41-42. Missouri

 state law allows a claim for medical monitoring, but if state law claims are preempted, as

 Defendants propose, victims who have a viable claim would lose an important right to that

 redress. In Martinez, the court observed that “the State’s interest in fashioning its own rules of

 tort law is paramount to any discernible federal interest, except perhaps an interest in protecting

 the individual citizen from state action that is wholly arbitrary or irrational.” 444 U.S. 277, 282

 (1980).

           Numerous state courts also consider the availability of substitute remedies when

 assessing statutes that weaken or eliminate common-law rights. In Craftsman Builder’s Supply,

 Inc. v. Butler Mfg. Co., the court held that a statute that limits a remedy must “provide an injured

 person an effective and reasonable alternative remedy”, or the court will apply a heightened

 standard of review. 974 P.2d 1194, 1198, 1217 (Utah 1999). In considering a federal due



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 process challenge to a state law abolishing joint and several liability, the court in Church v.

 Rawson Drug & Sundry Co., noted that, “in weighing whether a statute which abrogates rights

 is constitutional, it is appropriate to consider the extent to which the litigant's right to redress is

 affected”, but finding the statute in question “neither deprives litigants of access to the courts

 nor sets a ceiling on how much they can recover”. 842 P.2d 1355, 1365 (Ariz. Ct. App. 1992).

 Likewise, in Bair v. Peck, (striking down a statute that eliminated vicarious liability of employer

 health care providers) the court stated: “[E]ven if a statute is consistent with public policy, there

 still must be an adequate substitute remedy conferred on those individuals whose rights are

 adversely impacted.” 811 P.2d 1176,1188 (Kan. 1991). As importantly, in Smith v. Dep't of

 Ins., (striking cap on noneconomic damages in medical malpractice cases) the court found:

 “[W]here a right of access to the courts for redress for a particular injury ... has become a part

 of the common law of the State ... the Legislature is without power to abolish such a right without

 providing a reasonable alternative to protect the rights of the people of the State to redress for

 injuries, unless the Legislature can show an overpowering public necessity for the abolishment

 of such right, and no alternative method of meeting such public necessity can be shown.” 507

 So. 2d 1080, 1088 (Fla. 1987) (citation and internal quotation marks omitted).

         Immunizing defendants from all liability for nuisance and medical monitoring claims

 would force Plaintiffs, the class, and the public to bear the burden which should be borne by

 Defendants. To date, the Supreme Court has not decided what level of constitutional scrutiny

 applies to a statute that abolishes a common-law cause of action and leaves no substitute remedy.

 Ileto v. Glock, Inc., 565 F.3d 1126, 1150 (9th Cir. 2009) (Berzon, J., concurring in part and

 dissenting in part); see also, Prune Yard Shopping Ctr. v. Robins, 447 U.S. 74, 93-94 (1980)

 (Marshall, J., concurring) (“Quite serious constitutional questions might be raised if a legislature



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    attempted to abolish certain categories of common-law rights in some general way. Indeed, our

    cases demonstrate that there are limits on governmental authority to abolish ‘core’ common-law

    rights, including rights against trespass, at least without a compelling showing of necessity or a

    provision for a reasonable alternative remedy.”). Given the important interests at stake, there is

    authority for a “heightened” standard of review looking to whether the legislature has provided

    an alternate remedy. In Cook v. Rockwell Int’l. Corp., now-Justice Neil Gorsuch observed that

    plaintiff’s argument that Congress cannot eliminate longstanding common law rights without

    providing any “reasonable alternative remedy” unless there is a “compelling reason to do so”

    was no “trivial argument”. 790 F.3d 1088 (10th Cir. 2015) at FN3. (There, the Court did not

    have to resolve the due process argument because the Court found defendants’ reading of the

    statute unconvincing.)

           Whether this court ultimately applies a heightened standard of review, any interpretation of

    the PAA that nullifies common law property rights without providing a substitute remedy of any

    kind whatsoever cannot stand. Such a ruling would have catastrophic results and, thus, undermine

    the “public compensation” goal of the PAA. Therefore, this Court should rule that the PAA does

    not preempt Plaintiffs’ property law claims.

          C. Plaintiffs Have Not Alleged a Nuclear Incident and Are Not Bringing a Public
             Liability Action

           Defendants spend over six (6) pages of their Motion to Dismiss arguing that Plaintiffs

    have not pleaded a viable claim for which relief can be granted under the Price-Anderson Act.7

    This is a red herring as Plaintiffs are not bringing a public liability action under the PAA.

    Instead, Plaintiffs are bringing claims under Missouri state law. As outlined above, these state

    law claims are not preempted by the PAA. As outlined below, Plaintiffs have sufficiently


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    See Defendants’ Motion to Dismiss at pgs. 18-24.
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 alleged their claims under state law.

       D. Plaintiffs Have Properly Pleaded Causes of Action Under Missouri State Law

                   1. Plaintiffs Need Not Specifically Plead a Dosage Amount

        Defendants argue that the Petition is unreasonably vague because Plaintiffs have failed

 to allege a dosage amount. Defendants cite to no case law for this proposition. Defendants also

 fail to articulate or explain why any of the legal theories that Plaintiffs proceed under would

 require them to specifically plead a dosage amount. Moreover, Missouri courts have rejected

 claims that dosage amounts are somehow dispositive in evaluating pleadings. See Bennett v.

 Mallinckrodt, 698 S.W. 2d 854, 868-69 (Mo. App. E.D. 1985); Maryland Heights Leasing v.

 Mallinckrodt Inc., 706 S.W.2d 218, 223 (Mo. App. E.D. 1985) (rejecting defendant’s claim that

 plaintiff specifically had to allege that toxic emissions violated federal emission limits).

        Plaintiffs here have alleged that radioactive isotopes are among the most toxic materials

 known to man, and that radioactive wastes should be handled, stored, and disposed of with the

 utmost safety in mind. As such, exposures to radioactive wastes should be as low as reasonably

 achievable. See SAP at ¶ 156. Plaintiffs allege that samples taken on and around their properties

 confirm an elevated presence of radioactive particles, significantly above the normal

 background level of radiation. See SAP at ¶ 93. Plaintiffs further allege that the radioactive

 contamination that has polluted the Plaintiffs’ properties matches the waste fingerprint (or

 profile) of the radioactive wastes handled by Defendants. See SAP at ¶ 95. Moreover, Plaintiffs

 allege that the radioactive contamination was caused by Defendants’ improper handling,

 storage, and disposal of radioactive materials. See SAP at ¶ 96. In short, Plaintiffs sufficiently

 allege a claim that Defendants have failed to make every reasonable effort to maintain radiation

 exposures as low as reasonably achievable and their improper handling and illegal dumping of



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 radioactive residues has caused radioactive particles to migrate onto Plaintiffs’ properties.

                    2. Plaintiffs Adequately Pleaded Trespass

        The tort of trespass arises from the direct physical interference with the person or property

of another. Looney v. Hindman, 649 S.W.2d 207, 212 (Mo. banc 1983). Where real estate is

involved, “trespass is the unauthorized entry upon the land of another, regardless of the amount of

force used, even if no damage is done or the injury is slight.” Rosenfeld v. Thoele, 28 S.W.3d 446,

449 (Mo. Ct. App. 2000). The unauthorized entry may be made by a person or an object as a result

of a person's actions. Id.

        In Rychnovsky v. Cole, the plaintiff alleged defendants’ failure to maintain their private

sewer line caused sewage to leak onto his property and resulted in damage to his home. The court

determined that “[t]hese facts stated a claim for trespass in that the defendants' sewage made an

unauthorized entry onto Rychnovsky's property and created a direct physical interference with the

use of his home.” 119 S.W.3d 204, 212 (Mo. Ct. App. 2003). Like in Rychnovsky, Plaintiffs here

allege that Cotter purchased radioactive wastes and failed to properly dispose of these wastes and

that Defendants caused these radioactive materials to migrate and contaminate Plaintiffs’

properties. See SAP at ¶¶ 109,112,113. Plaintiffs further allege that Defendants did not have

permission or consent to interfere with their property. See SAP at ¶ 121. Thus, Plaintiffs have

alleged that Defendants have entered upon Plaintiffs’ land and that such entry was unauthorized.

Accordingly, Plaintiffs have sufficiently alleged a claim for trespass.

                    3. Plaintiffs Adequately Pleaded Nuisance Claims - Cotter’s Ownership
                       of Property is Irrelevant to Plaintiffs’ Nuisance Allegations

        Nuisance is the unreasonable, unusual, or unnatural use of one's property so that it

substantially impairs the rights of another to peacefully enjoy his property. Frank v. Envtl.

Sanitation Mgmt., Inc., 687 S.W.2d 876, 880 (Mo. banc 1985). “There is no exact rule or formula


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by which the existence of a nuisance or the nonexistence of a nuisance may be determined.

‘Necessarily each case must stand upon its own special circumstances, and no definite rule can be

given that is applicable in all cases ...’” Id. at 881.      The questions of whether a use is

“unreasonable” and whether it “substantially” impairs the rights of another to use his or her

property are particularly fact intensive and, therefore, best suited for jury resolution. Williams v.

Monsanto Co., 856 S.W.2d 338, 341 (Mo.App.1993).

       Defendants argue that they cannot be liable to Plaintiffs for either permanent or temporary

nuisance because Cotter was not the property owner of Latty Avenue. However, Missouri courts

have rejected the exact proposition Defendants rely on here.

       Missouri law does not support the proposition that nuisance may only arise from the

unreasonable use of one’s own property. City of Greenwood v. Martin Marietta Materials Inc.,

299 S.W.3d 606, 617 (Mo. App. W.D. 2009); Rosenfeld v. Thoele, 28 S.W.3d 446, 452 (Mo. App.

E.D. 2000) ( citing 66 C.J.S. Nuisances § 75(1998) (“It is not necessary in order to charge a person

with liability for a nuisance that he should be the owner of the property on which it is created, but

it is sufficient that he created the nuisance or exercises control over the nuisance-causing

property.”); 58 Am Jur 2d, Nuisances § 117 (1989) (“While the defendant in a nuisance action

frequently is the owner the property alleged to be the source of the nuisance, property ownership

is generally not a prerequisite to nuisance liability.”). Defendants’ argument here is completely

contrary to current black letter law and should be denied.

       Defendants cite two cases for the proposition that ownership of the land is a prerequisite to

a nuisance claim. They first cite Franks v. Environmental Sanitation Management, but Franks

does not hold that property ownership is a key element of nuisance law; the focus in Franks is on

use of land. 687 S.W.2d at 880 (“The crux of a nuisance case is unreasonable land use.”). Cotter



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also cites State ex rel Ely v. Bandall, a Prohibition-era decision seeking to prohibit the operation

of a speak-easy as a nuisance. 220 Mo. App. 1222 (1927). That case is not relevant to our current

understanding of tort law in Missouri; the decision did not address the pleading requirements of a

suit for damages. Id.

       The current focus in the law is on land use. Plaintiff has alleged that Defendants

unreasonably and unlawfully used the land in question to store and use radioactive materials which

then contaminated Plaintiffs’ property resulting in the unreasonable interference with Plaintiffs’

use and enjoyment of their property. (Petition, ¶111, 116, 136, 150, 152). Having alleged

unreasonable use of land which has substantially impaired Plaintiffs’ right to peacefully enjoy their

property, the Petition sufficiently states a claim.

                   4. Plaintiffs Adequately Pleaded Negligence

       To state a claim for negligence, a plaintiff must allege 1) that defendant has a duty to protect

plaintiff from injury; 2) defendant has failed to perform that duty; 3) as a result, plaintiff was

injured. McComb v. Norfus, 541 S.W.3d 550, 554 (Mo. banc 2018); Maryland Heights Leasing

Inc. v. Mallinckrodt, 706 S.W.2d 218, 223 (Mo. App. E.D. 1985). Defendants argue that Plaintiffs

have not adequately pleaded a negligence claim because they have not adequately described the

duty Cotter (or ComEd) owes them. “A pleader is required to state only the ultimate facts and it is

not necessary to plead the facts or circumstances by which the ultimate facts will be established.”

Scheibel, 531 S.W. 2d at 290.

       In Maryland Heights Leasing, Inc. v. Mallinckrodt, the defendant moved to dismiss the

action for failure to adequately allege breach of duty because the petition did not allege that the

radioactive emissions reached a certain level. 706 S.W.2d 218, 223 (Mo. App. E.D. 1985). The

court denied the motion and noted that allegations that the emissions were “unlawful and



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unreasonable” sufficiently alleged a breach of duty and adequately stated a claim. Maryland

Heights Leasing, Inc., 706 S.W.2d at 224. Not only was the “unlawful and unreasonable”

allegation sufficient, the court rejected Mallinckrodt’s argument that plaintiffs had to allege the

violation of federal law. Id. at 223-24.

       Here, Plaintiffs have alleged that Defendants used radioactive materials in a manner that is

unreasonable, unlawful, malicious and wanton. See SAP at ¶ 111, 116, 133. Plaintiffs have further

specifically alleged that Defendants owed a duty of care to: 1) ensure the safe and legal handling,

storage and disposal of radioactive wastes (see SAP at ¶ 157); 2) warn or notify Plaintiffs of the

potential hazards of exposure to radioactive substances and to warn or notify Plaintiffs of the fact

that discharges or releases of these substances had occurred and were likely to occur in the future

(see SAP at ¶ 158); and 3) comply with applicable laws, regulations, and guidelines applicable to

persons processing, handling, storing, and/or disposing of hazardous, toxic, and radioactive waste

materials (see SAP at ¶ 159). Plaintiffs further allege that Defendants breached these duties by

their reckless and negligent processing, handling, storage, and/or disposal of radioactive waste

materials; that Defendants’ conduct is in utter non-compliance with applicable laws, regulations,

and guidelines; and that Defendants’ conduct resulted in the dangerous release of radioactive

substances into the communities around Coldwater Creek subjecting Plaintiffs to an unreasonable

risk of harm and to actual injuries. See SAP at ¶ 160.

        The “unlawful and unreasonable” allegation is nearly identical to the allegation the court

found sufficient in Maryland Heights Leasing. Moreover, Plaintiffs have included specific

allegations describing the duty and subsequent breach. Cotter has provided no case law for its

position that Plaintiffs need to allege the specific standards or best practices Defendants failed to

implement, and this point should be denied.



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                    5. Plaintiffs Adequately Pleaded Negligence Per Se

         Defendants’ claim that Plaintiffs have inadequately pleaded negligence per se is

disingenuous; Plaintiffs adequately identified the statutes at issue and the standards Defendants

are alleged to have violated. To state a negligence per se claim, a party must allege 1) violation of

a statute or regulation; 2) the injured plaintiff was a member of the class of persons intended to be

protected by the statute or regulation; 3) the injury complained of was the kind intended to be

prevented by the relevant statute or regulation; and 4) the statutory or regulatory violation caused

the injury at issue. Dibrill v. Normandy Associates Inc., 383 S.W.3d 77, 84-85 (Mo. App. E.D.

2012).

         Defendants contend that Plaintiffs have failed to adequately allege what they did or failed

to do that violated the statute. The Second Amended Petition clearly states that Defendants

violated the regulations listed in paragraph 171 which are intended to require the safe storage and

disposal of radioactive material so as to protect the health and safety of the public. See SAP at ¶

171. The Second Amended Petition goes on to state that the injury to land suffered by Plaintiffs

violates those statutes. See SAP at ¶ 173. Defendants are clearly alleged to have violated the

relevant statutes by improperly handling and dumping radioactive waste. See SAP at ¶ 175.

Defendants call it “particularly troubling” that Plaintiffs rely on air and solid waste regulations.

Plaintiffs fail to understand what is “troubling” about relying on solid waste regulations when the

management of solid waste is what is at issue in this lawsuit. Moreover, to Cotter’s point that it

would be more appropriate to cite to water regulations because of the allegations regarding the

contamination of Coldwater Creek, Plaintiffs draw the Court’s attention to SAP Paragraph 171

which clearly references the Missouri Clean Water Act. Plaintiffs have adequately alleged a

negligence per se claim.



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                   6. Plaintiffs Adequately Pleaded Strict Liability

       Defendants argue that Plaintiffs have not adequately pleaded strict liability. Strict liability

arises where a party’s activities have created a high degree of risk of harm, the harm has been and

will be significant, the risk cannot be eliminated, the harm outweighs the operation at issue, and

the plaintiff has been injured. Bennett v. Mallinckrodt, 698 S.W. 2d 854, 868-69 (Mo. App. E.D.

1985). Defendants’ argument on this point is particularly specious. Defendants repeat Plaintiffs’

allegations that Defendants “stored, processed, and transported hazardous, toxic, and radioactive

wastes, including enriched thorium, at the SLAPS and Latty Avenue sites,” but then goes on to

argue that this does not equate to an abnormally dangerous activity. Once again, Cotter cites to

absolutely no precedent for this proposition, and ignores the binding precedent laid out by the

Eastern District of Missouri. In fact, in both Bennett and Maryland Heights Leasing, the court

went out of its way to specifically note that the strict liability was appropriately applied in cases

raising the use of nuclear material. See, e.g., Bennett, 698 S.W.2d at 868 (“The nuclear industry

is unique in its inherent and, at present, unrectifiable danger . . . Numerous safety standards have

been set to ensure the public welfare, but even with those precautions taken, the potential danger

is still enormous. . . . The value of the nuclear industry to society may be great, but the use of

nuclear material is not yet so common that strict liability should not be applied at this time.”). In

Maryland Heights, the court found that plaintiff’s allegations that Mallinckrodt operated its plant

in a way to cause “unlawful low level radiation create[ing] a high risk of harm to property,

leasehold interest . . .” were sufficient to state a claim. 706 S.W.2d at 226.

       Here, Defendants argue that Plaintiffs failed to allege that the activities were abnormally

dangerous. This is patently absurd; Plaintiffs spend multiple paragraphs explaining the dangers

caused by radioactive materials. See SAP at ¶¶ 5,53-61,156. Plaintiffs also specifically alleged



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that Defendants engaged in the abnormally dangerous activity of handling, storing, and/or

disposing of radioactive waste. See SAP at ¶ 179. As explained more fully above, claims involving

radiation damage meet the “ultrahazardous” element of strict liability. Plaintiffs have also

adequately alleged that the location of the processing of such ultrahazardous materials was

inappropriate. Specifically, Plaintiffs have alleged that the physical locations at issue in this

lawsuit are surrounded by residential neighborhoods and that the processing, storing, and

transporting of materials at these specific sites was “unreasonable and unlawful.” See SAP at ¶¶ 3,

39(a-h). Moreover, it is a reasonable inference that the sites were inappropriate places to process

nuclear wastes from the allegations involving Coldwater Creek, which demonstrate that it was

unreasonable to store radioactive materials near a location that is responsible for drainage to the

sites in question and prone to flooding sites further downstream.           See SAP at ¶¶ 84-91.

Accordingly, Plaintiffs have adequately alleged a claim on a strict liability theory of negligence.

                   7. Plaintiffs Adequately Stated a Claim for Damages as to All State Law
                      Claims

       Defendants incorrectly allege that Plaintiffs have not adequately pleaded damages. Injury

is an essential element of a negligence claim or a claim arising under a theory of strict liability.

Bennet v. Mallinckrodt, Inc., 698 S.W.2d 854, 864-65 (Mo. App. E.D. 1985). As to a nuisance

claim, an “injury” may cause either general or special damages. Maryland Heights Leasing Inc.

v. Mallinckrodt, Inc., 706 S.W. 2d 218, 222 (Mo. Ct. App. E.D. 1985). If general damages are

alleged, no special pleading is required. Id.

       Plaintiffs have alleged that their property has become contaminated with radioactive waste

and material. See SAP at ¶¶ 18-25, 92. Plaintiffs have further alleged that testing on their property

has shown higher radioactivity beyond background levels. See SAP at ¶¶ 93. Their property has

been damaged, and they have lost the use and enjoyment of their land. See SAP at ¶ 26.


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Specifically, Plaintiffs alleged that the radioactive contamination renders their property unfit for

normal use and enjoyment and destroys its fair market value. See SAP at ¶ 97.

        Defendants argue that Plaintiffs have failed to allege the specific amount of substances,

how Defendants damaged Plaintiffs’ property, or how the value of the property diminished. There

is no requirement under Missouri law to make such specific factual pleadings. When confronted

with a similar issue in Bennett v. Mallinckrodt, the Eastern Court of appeals rejected defendant’s

argument that plaintiffs’ petition failed to state a claim because plaintiffs did not allege that any of

the named class had an identifiable and detectable physical injury. 698 S.W.2d 854, 865 (Mo.

App. E.D. 1985). The Bennett court noted that vagueness was not grounds for a motion to dismiss.

698 S.W.2d at 865. The court ultimately found that plaintiffs’ allegations of “various health and

physical illness” and “injury, damages to health, property, and safety to plaintiffs,” were adequate

allegations of injury. Id. Similarly, Plaintiffs here alleged that their property is unfit and that the

fair market value has been destroyed due to radioactive contamination. That allegation is more

specific than the “injury, damages to . . . property” allegation that the Bennet court found sufficient.

Further, the allegation adequately notifies defendants about what this case involves, and the Court

should find that Plaintiffs adequately alleged their injuries as to all legal theories.

                    8. Plaintiffs Adequately Stated a Civil Conspiracy Claim

        A plaintiff brings a civil conspiracy claim when she pleads facts tending to show that 1)

two or more persons; 2) with an unlawful objective; 3) after a meeting of the minds; 4) committed

an act in furtherance of the conspiracy that 5) caused damages. Western Blue Print Co. LLC v.

Roberts, 367 S.W.3d 7, 22 (Mo. banc. 2012). Conspiracy is not a separate or distinct action; rather

it is a vehicle to hold joint tortfeasors jointly and severally liable for the conduct at issue. Id.

        Defendants argue that Plaintiffs have not alleged any meeting of the minds. Yet the Second



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Amended Petition clearly states that “Defendants wrongfully and fraudulently agreed and

conspired together to . . . wrongfully releas[e] radioactive wastes.” See SAP at ¶ 199. The Second

Amended Petition goes on to allege that the “Defendants wrongfully and fraudulently agreed and

conspired together to take the actions alleged herein giving rise to causes of action for nuisance,

trespass, negligence, negligence per se, strict/absolute liability, injunctive relief, and punitive

damages as alleged herein.” See SAP at ¶ 200. Defendants then go on to argue that Plaintiffs

allege that each defendant acted in its own sphere and never came into contact with another

defendant. Tellingly, this argument lacks a citation to the Second Amended Petition. Plaintiffs

did not, in fact, allege that each defendant acted in its own sphere and never came into contact with

another defendant. This may be an inference from the timeline of events alleged in the Second

Amended Petition, but at the pleading stages the court is obligated to construe all inferences in

Plaintiffs’ favor. It is just as likely an inference from the allegations in the Second Amended

Petition that the defendants agreed to dispose, transport, and store waste in the same manner,

leading to Plaintiffs’ damages. Accordingly, Plaintiffs adequately alleged a conspiracy claim.

                   9. Plaintiffs’ Allegations Regarding Ultimate Facts as to Defendants Are
                      Sufficiently Plead

       Defendants next argue that Plaintiffs have not adequately supported their claim against

Cotter by pleading ultimate facts. Other than a paragraph in which Defendants recite the Missouri

pleading standards, the sole legal citation for this proposition is an unpublished United States

District Court opinion interpreting a complaint making allegations under the PAA. Plaintiffs

contended previously and continue to allege that their claims fall outside of the PAA. A federal

court’s unpublished interpretation of federal law has no bearing on Missouri pleading standards

and all references to McClurg v. Mallinckrodt should be disregarded.

       Defendants call it “astonishing” that Plaintiffs have not made claims against the party that


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actually generated the radioactive residues at issue; but Defendants have not explained why

Plaintiffs’ choice of party is relevant. Plaintiffs are not obligated to defer to Defendants’ judgment

about who is more liable; if Defendants believe that Plaintiffs have not sued all of the relevant

parties, it may bring its own counterclaims or claims for contribution against any third parties.

Moreover, as Plaintiffs painstakingly explain, radioactive materials are problematic precisely

because they have such a long half-life, which makes them dangerous for a long period of time

after their manufacture. Defendants’ argument that Plaintiffs did not make allegations until almost

30 years after the products at issue were manufactured is irrelevant if the products are still

dangerous as alleged in the Petition.

       Of course, Defendants’ argument that the Petition is problematic because Plaintiffs did not

make any allegations until 30 years after the products were manufactured also makes no sense,

because Defendants immediately segues into an argument about how Cotter’s involvement is

“limited to a four-year period of time” which did not begin until 1969. That is precisely why the

Petition is written that way.

       Finally, Defendants allege that the use of the term “Defendants” in the plural is problematic

because any allegation in which that construction is used is not an ultimate fact. Defendants of

course cites no case law for this proposition. The Petition makes numerous specific allegations

against Cotter. See SAP at ¶¶ 69-73. In particular, paragraph 72 alleges that Cotter stored,

processed, and transported hazardous, toxic, and radioactive wastes, including enriched thorium

at the SLAPS and Latty Avenue sites. The Petition further makes specific allegations about what

happened to those wastes after they were sold to Cotter. See SAP at ¶¶ 87-91. The Petition also

makes numerous allegations against ComEd. See SAP at ¶ 29. These allegations are incorporated

by reference into all subsequent counts and Plaintiffs’ use of the term “Defendants” is not



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ambiguous in this regard. Defendants’ argument that Plaintiffs did not plead proper facts should

be denied.

                   10. Plaintiffs Have Made Sufficient Class Allegations at this Early Stage

       Class action litigation promotes judicial economy by permitting numerous individuals to

litigate common questions of law and fact in a single proceeding.            Craft v. Philip Morris

Companies, Inc., 190 S.W.3d 368, 378 (Mo. App. E.D. 2005). Pursuant to Rule 52.08(c)(1), a

determination on whether any proceeding should proceed as a class action should be made as soon

as practicable after commencement of the action. Typically, the party seeking class certification

has the burden of proof. Dale v. DaimlerChrysler Corp., 204 S.W.3d 151, 164 (Mo. App. W.D.

2006). Courts should err on the side of upholding class certification where the question is close.

Id. Since class certification is amendable, the court should err in favor of, and not against,

maintaining the class action. Id.

       The issue is not whether Plaintiffs have stated a cause of action or whether they will prevail

on the merits, but rather whether the requirements of class certification have been met. Craft, 190

S.W.3d at 377. A discussion of the merits is completely irrelevant to whether there is a proper

class. Id. In determining whether a class certification is proper, the issue is not whether plaintiff

has stated a cause of action or will prevail under the merits but rather, whether the rules of class

certification have been met. Id. The most pertinent question in determining whether a class should

be certified is whether the class action device provides the most efficient and just method to resolve

the controversy at hand. State ex. rel. Coca-Cola Co. v. Nixon, 249 S.W.3d 855, 860-61 (Mo.

banc. 2008).

       Pursuant to Rule 52.08(a), a class should be certified if 1) the class is so numerous that

joinder of all members is practicable; 2) there are questions of law or fact common to the class; 3)



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the claims are defenses of the representative are typical of the claims or defenses of the class, and

4) the representative parties will fairly and adequately protect the interests of the class.

        Defendants argue in a conclusory manner that Plaintiffs do not meet any of the

requirements, but this appears to be nothing more than hyperbole, because Defendants’ actual

argument is that Plaintiffs’ proposed class definition is overbroad. Specifically, Defendants argue

that the proposed class contains property owners regardless of whether the property is alleged to

be contaminated with radioisotopes.

        A class definition that includes more than a small number of uninjured putative members

will be problematic. Hope v. Nissan North America, Inc., 353 S.W.3d 68, 77 (Mo. App. W.D.

2011). The class must not be indefinite, amorphous, or vague, but it need not be in its final form

at pleadings or “final, precise, and definite” prior to initial certification. Craft, 190 S.W.3d at 387;

Hope, 353 S.W.3d at 79. In Hope, the plaintiffs purported to represent a class of Infinity FX

Vehicle owners whose vehicles had diminished in value due to a potential defect. 353 S.W.3d at

73. Nissan argued that the proposed class was too vague because ownership of the vehicles was

subject to change and because the defect had not manifested itself in all vehicles. Id. at 79-80. As

to the first point, the court found that the use of time limitations, like the ones invoked in this

action, could make the class ascertainable. Id. at 79. As to the second point, the court found that

the allegation of a latent, but yet unrealized defect was not akin to the allegations of preference

rejected in State ex. re. Coca-Cola Co. v. Nixon, 249 S.W.3d 855, 862 (Mo. 2008), but rather the

kind of allegation that required a more developed record. Hope, 353 S.W.3d at 80.

        Plaintiffs alleged that class members lost property value as a result of the contamination in

the Coldwater Creek flood plain. This is not the type of personal preference that the court rejected

in Coca-Cola. Rather it is a definite measure of damages that can be subjected to a precise formula.



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The class members will be easily ascertainable, and the class may be modified further down the

road in this case to exclude uninjured parties.

         Defendants have also complained that the medical monitoring subclass is inappropriate

because there are no allegations of personal injury. This completely misunderstands the purpose

of medical monitoring. Typically, medical monitoring provides a vehicle to provide ongoing

diagnostic testing to determine whether exposure to toxins has caused or is in the process of

causing an injury or illness. Meyer ex rel. Coplin v. Fluor Corp. 220 S.W.3d 712, 714 (Mo. banc

2007). Medical monitoring is particularly appropriate in toxic tort cases because there is often no

immediately diagnosable physical injury or illness; rather the injury may be latent and

undiscoverable for long periods of time. Id. at 716. Defendants argue that Plaintiffs have not

pleaded injury, but the very nature of a medical monitoring claim does not require injury today

because it anticipates that there may be injury tomorrow. Plaintiffs also reiterate that they have

adequately pleaded exposure to radioactive and toxic materials on behalf of themselves and the

class.

         Plaintiffs contend that they have adequately identified the class at issue in this lawsuit as

to both the property damage and medical monitoring claims. Missouri precedent requires the court

to err in favor of construing a class and modifying the class as necessary as the litigation proceeds.

Accordingly, it would be premature to dismiss the class allegations at this time.

IV.      CONCLUSION
         Defendants’ Motion to Dismiss should be denied because, as the federal court above has

repeatedly determined, the PAA does not apply to Plaintiffs’ claims against Defendants who

lacked the proper licenses and indemnity agreements for handling and disposing of the uranium

ore processing byproducts at issue here, and because Plaintiffs allege no “nuclear incident” giving

rise to PAA liability has occurred here. Entities who operate outside the bounds of PAA’s licensing

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and indemnification provisions do not and cannot enjoy the limitations on liability and other benefits

of PAA.

       WHEREFORE, Plaintiffs respectfully pray this Court deny Defendants’ Motion to Dismiss

with prejudice, and for such other and further relief as this Court deems proper.

Dated: February 5, 2020                        Respectfully submitted,

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                                               /s/ Nathaniel R. Carroll
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                                               Nathaniel R. Carroll, #67988
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                                                  And

                                                  RON AUSTIN & ASSOCIATES, L.L.C.
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                                                  chilton@ronaustinandassociates.com

                                                  Attorneys for Plaintiffs and Proposed Class

                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 5, 2020, a true and accurate copy of the
foregoing was served by filing it in the court’s electronic filing system, which will provide electronic
notice and a copy of the filing to all parties and attorneys of record.

                                                  /s/ Nathaniel R. Carroll




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Exhibit 1: Declaration of Dr. Marvin Resnikoff
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                              IN THE UNITED STATES DISTRICT
                             COURT FOR THE EASTERN DISTRICT
                              OF MISSOURI EASTERN DIVISION


    TAMIA BANKS, on behalf of herself and all
    others similarly situated,

                                 Plaintiff,
                                                            No. 4:18-CV-00624-JAR
          v.

    COTTER CORPORATION, ET AL.,

                                 Defendants.



                           DECLARATION OF DR. MARVIN RESNIKOFF

         I am Marvin Resnikoff, PhD who files this my declaration under penalty of perjury. I am

a physicist who has been studying issues related to radioactive materials and their disposal for

over 40 years. My true and correct resume is attached as exhibit “A”. I am personally familiar

with the issues relating to the radioactive environmental contamination in St. Louis which forms

the basis of the claimed damages in this lawsuit; including but not limited to, how the material

was created and ultimately disposed of leading to the contamination of Coldwater Creek. 1 I have

read the plaintiff’s motion for remand and the defendants opposition. I offer the following

statements for the Court’s Consideration:


1) The wastes which are the cause of the contamination of Coldwater Creek are known in the

      scientific and regulatory communities as Uranium Mill Tailings. These wastes were created

1
 In particular, as a member of Congressman John LaFalce’s Advisory Committee, I reviewed
Mallinkrodt’s mill tailings sent to the Lake Ontario Ordnance Works in Western New York. I also served
as an expert witness for plaintiff’s in cases involving the Conquista and Panna Maria uranium mining and
milling operations in Texas, the Homestake mill near Milan, New Mexico, the Cotter mill in Canon City,
Colorado, and other uranium operations.
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   as a result of the milling of Uranium Ore to produce uranium metal by Mallinckrodt at a site

   in downtown St. Louis.


2) I have reviewed the licenses which Cotter claims relate to the disposal of the materials which

   are claimed to have caused the damages sustained by the plaintiff. The licenses held by

   Cotter regulate the manner in which it handled the radioactive materials contained in the mill

   tailings. You will note that the license contains the procedures for handling the materials

   when Cotter was drying them prior to shipment to its operations in Colorado. This is an

   extremely important distinction. While the materials themselves were unregulated at the time

   the regulations governing exposure to workers and members of the public were. In other

   words, Cotter needed no specific license to own or possess the materials at the time. Once it

   decided to handle and process the mill tailings it did. No claims have been made that I am

   aware of relating to the active handling of the mill tailings while Cotters active operations

   were ongoing for two reasons. One, the materials contaminating Coldwater Creek are

   Uranium Mill Tailings and by definition were not byproduct material until the passage of the

   Uranium Mill Tailings Act of 1978. This fact is well known in the scientific and regulatory

   communities. The AEC licenses refer only to U-238 and not to its decay products including

   Ra-226 and to thorium, which are not source material and by-products. Secondly, the claims

   in this case relate to how Cotter disposed of the materials when it abandoned them in the

   open environment. No Atomic Energy Commission license was ever issued allowing Cotter

   to dispose of the materials that I am aware of.

3) I am unaware that any “nuclear incident” took place while Cotter was operating in the area.


I declare under the penalty of perjury that the foregoing is true and correct.
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Dated: July 9, 2018                                Marvin Resnikoff
                                                   Marvin Resnikoff, PhD
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                                 Marvin Resnikoff, Ph.D.
                                        Resume


EDUCATION:
Ph.D., Physics                                              1965, University of Michigan
M.S., Physics                                               1962, University of Michigan
B.A., Physics/Math                                          1959, University of Michigan

SUMMARY OF PROFESSIONAL EXPERIENCE:
Marvin Resnikoff is Senior Associate at Radioactive Waste Management Associates and is an
international consultant on radioactive waste management issues. He is Principal Manager at
Associates for dose reconstruction and risk assessment studies of radioactive waste facilities and
transportation of radioactive materials. A nuclear physicist and a graduate of the University of
Michigan, Dr. Resnikoff has worked on radioactive issues since his first project at West Valley,
New York in 1974. Throughout his career, he has assisted public interest groups and state and
local governments across the US, Canada, Germany and England on radioactive waste storage and
transportation issues. He has authored or co-authored four books on radioactive waste issues
including Living Without Landfills, regarding low-level waste landfills, and The Next Nuclear
Gamble, regarding transportation of radioactive waste. .

Radiological Implications of Fracking. Dr. Resnikoff examined the radiological implications of
fracking in papers on indoor radon concentrations and drill rock disposal in landfills from the
Marcellus shale formation. For Delaware Riverkeepers (PA), FreshWater Accountability Project
(OH) and Residents for the Protection of Lowman and Chemung (NY) he wrote reports that
examined the implication of disposal of drill cuttings and drill fluids on landfills and the
environment. He examined several fracking sites in Pennsylvania. In October 2011, he was an
invited panelist at the annual conference of the Water Environment Federation on the subject of
radioactivity in Marcellus shale wastes.


Dose Reconstruction. He has conducted dose reconstruction studies of oil pipe cleaners in
Mississippi and Louisiana, residents of Canon City, Colorado near a former uranium mill, residents
of West Chicago, Illinois near a former thorium processing plant, and residents and former workers
at a thorium processing facility in Maywood, New Jersey. He has also served as an expert witness
for plaintiffs in Karnes County, Texas, Milan, New Mexico and Uravan, Colorado, who were
exposed to radioactivity from uranium mining and milling activities. He has worked on personal
injury cases involving former workers and residents at the ITCO and other oil pipe cleaning yards
involving NORM in Louisiana and Texas. He also evaluated radiation exposures and risks in worker
compensation cases involving former workers at Maywood Chemical Works thorium processing
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plant. He also served as an expert witness in a case involving the Port St. Lucie reactors and brain
cancer developed by two children and in a case involving clean-up of an abandoned radioactive
materials processing facility in Webster, Texas. He investigated phosphogypsum plants in Florida,
Texas and Alberta, Canada and served as an expert witness in a personal injury case involving a
Texas phosphogypsum worker. He served as an expert witness in a case involving plutonium
workers at INEEL, and federal border guards in Brownsville, TX. He is also a member of the Health
Physics Society.

Decommissioning. In February 1976, assisted by four engineering students at State University of
New York at Buffalo, Dr. Resnikoff authored a paper that, according to Science, changed the
direction of power reactor decommissioning in the United States. His paper showed that power
reactors could not be entombed for long enough periods to allow the radioactivity to decay to safe
enough levels for unrestricted release. The presence of long-lived radionuclides meant that large
volumes of decommissioning waste would still have to go to low-level or high-level waste disposal
facilities. He assisted public interest groups and served as an expert witness before the NRC on
decommissioning the Yankee-Rowe, Diablo Canyon, Big Rock Point and CT Yankee reactors.

He conducted studies on the remediation and closure of the leaking Maxey Flats, Kentucky
radioactive landfill for Maxey Flats Concerned Citizens, Inc. and of the leaking uranium basin on
the NMI/Starmet site in Concord, Massachusetts under grants from the Environmental Protection
Agency. He co-authored a study on the cost of remediating the former West Valley, New York
reprocessing plant site. He also conducted studies of the Wayne and Maywood, New Jersey thorium
Superfund sites and proposed low-level radioactive waste facilities at Martinsville (Illinois), Boyd
County (Nebraska), Wake County (North Carolina), Ward Valley (California) and Hudspeth County
(Texas). He also served as an expert witness for CRPE, a public interest groups, regarding the
proposed expansion of the Buttonwillow, California NORM landfill and for Earthjustice re. the
licensing of an irradiation facility near the Honolulu airport in Hawaii. In August 2010, he was an
invited panelist at President Obama’s Blue Ribbon Commission on Nuclear Safety.


Transportation of Irradiated Nuclear Fuel.               In addition to dose reconstruction and
decommissioning cases, Dr. Resnikoff also works on the risk of transporting radioactive material.
Under a contract with the State of Utah, Dr. Resnikoff was a technical consultant to DEQ on the
proposed dry cask storage facility for high-level waste at Skull Valley, Utah. He assisted the State
on licensing proceedings before the Nuclear Regulatory Commission. He has also prepared studies
on transportation risks and consequences for the State of Nevada and the Nevada counties: Clark,
White Pine, Lander and Churchill. In addition, he worked for the Southwest Research and
Information Center and New Mexico Attorney General on shipments of plutonium-contaminated
waste to the WIPP facility in New Mexico. In June 2000, he was appointed to a Blue Ribbon Panel
on Alternatives to Incineration by DOE Secretary Bill Richardson. He served as a consultant to the
New York Attorney General on air shipments of plutonium through New York's Kennedy Airport,
and transport of irradiated fuel through New York City. On hearings before state commissions and
in federal court, he investigated proposed dry storage facilities at the Point Beach (WI), Prairie Island
(MN), Palisades (MI), Maine Yankee, Connecticut Yankee and Vermont Yankee reactors. He is
presently working for the State of Nevada on Yucca Mountain repository issues before the Nuclear
Regulatory Commission (NRC). He also served as an expert witness for Earthjustice on a proposed


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NRC license for a food irradiator at the Honolulu, Hawaii airport, In 2013, he was an invited
panelist before the Nuclear Waste Technical Review Board, Implication of High Burnup nuclear
Fuel on decommissioning and transportation.


Dr. Resnikoff is an international expert in nuclear waste management, and has testified often before
State Legislatures and the U.S. Congress. In Canada, he conducted studies on behalf of the Coalition
of Environmental Groups and Northwatch for hearings before the Ontario Environmental
Assessment Board on issues involving radioactive waste in the nuclear fuel cycle and Elliot Lake
tailings and the Interchurch Uranium Coalition in Environmental Impact Statement hearings before
a Federal panel regarding the environmental impact of uranium mining in Northern Saskatchewan.
He also worked on behalf of the Morningside Heights Consortium regarding radium-contaminated
soil in Malvern and on behalf of Northwatch regarding decommissioning the Elliot Lake tailings
area before a FEARO panel. He conducted a study for Concerned Citizens of Manitoba regarding
transportation of irradiated fuel to a Canadian high-level waste repository. He authored a report for
Greenpeace on the environmental assessment of a proposed intermediate level waste repository
under Lake Huron, and for the Provincial Womens Council of Ontario on radioactive waste
management costs in a proceeding before the Ontario Energy Board. As part of an international
team of experts for the State of Lower Saxony, the Gorleben International Review, he reviewed the
plans of the nuclear industry to locate a reprocessing and waste disposal operation at Gorleben, West
Germany. He presented evidence at the Sizewell B Inquiry on behalf of the Town and Country
Planning Association (England) on transporting nuclear fuel through London.

He has extensively investigated the safety of the West Valley, New York and Barnwell, South
Carolina nuclear fuel reprocessing facilities. His paper on reprocessing economics (Environment,
July/August, 1975) was the first to show the marginal economics of recycling plutonium. He
completed a more detailed study on the same subject for the Environmental Protection Agency,
"Cost/Benefits of U/Pu Recycle," in 1983. His paper on decommissioning nuclear reactors
(Environment, December, 1976) was the first to show that reactors would remain radioactive for
several hundred thousand years. In March 2004, Dr. Resnikoff was project director and co-author
of a study of groundwater contamination at DOE facilities, Danger Lurks Below.

Dr. Resnikoff has prepared reports on incineration of radioactive materials, transportation of
irradiated fuel and plutonium, reprocessing, and management of low-level radioactive waste. He
has served as an expert witness in state and federal court cases and agency proceedings. He has
served as a consultant to the State of Kansas on low-level waste management, to the Town of Wayne,
New Jersey, in reviewing the cleanup of a local thorium waste dump, to WARD on disposal of
radium wastes in Vernon, New Jersey, and to the Illinois Attorney General on the expansion of the
spent fuel pools at the Morris Operation and the Zion reactor, to the Idaho Attorney General on the
transportation of irradiated submarine fuel to the INEL facility in Idaho and to the Alaska Attorney
General on shipments of plutonium through Alaska. He was an invited speaker at the 1976 Canadian
meeting of the American Nuclear Society to discuss the risk of transporting plutonium by air. In
July and August 1989, he was an invited guest of Japanese public interest groups, Fishermen's
Cooperatives and the Japanese Congress Against A- and H- Bombs (Gensuikin).




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Dr. Resnikoff was formerly Research Director of the Radioactive Waste Campaign, a public interest
organization conducting research and public education on the radioactive waste issue. His duties
with the Campaign included directing the research program on low-level commercial and military
waste and irradiated nuclear fuel transportation, writing articles, fact sheets and reports, formulating
policy and networking with numerous environmental and public interest organizations and the
media. He is author of the Campaign's book on "low-level" waste, Living Without Landfills, and co-
author of the Campaign's book, Deadly Defense, A Citizen Guide to Military Landfills.

Between 1981 and 1983, Dr. Resnikoff was a Project Director at the Council on Economic Priorities,
a New York-based non-profit research organization, where he authored the 390-page study, The Next
Nuclear Gamble, Transportation and Storage of Nuclear Waste. The CEP study details the hazard
of transporting irradiated nuclear fuel and outlines safer options.

Between 1974 and 1981, he was a lecturer at Rachel Carson College, an undergraduate
environmental studies division of the State University of New York at Buffalo, where he taught
energy and environmental courses. The years 1975-1977 he also worked for the New York Public
Interest Group (NYPIRG).

In 1973, Dr. Resnikoff was a Fulbright lecturer in particle physics at the Universidad de Chile in
Santiago, Chile. From 1967 to 1973, he was an Assistant Professor of Physics at the State University
of New York at Buffalo. He has written numerous papers in particle physics, under grants from the
National Science Foundation. He is a 1965 graduate of the University of Michigan with a Doctor of
Philosophy in Theoretical Physics, specializing in group theory and particle physics. Dr. Resnikoff
is a member of the American Public Health Association and the Health Physics Society.


PROFESSIONAL EXPERIENCE:
April 1989 - present Senior Associate, Radioactive Waste Management Associates, management of consulting firm
                 focused on radioactive waste issues, evaluation of nuclear transportation and military and commercial
                 radioactive waste disposal facilities.

1978 - 1981; 1983 - April 1989 Research Director, Radioactive Waste Campaign, directed research program for
                Campaign, including research for all fact sheets and the two books, Living Without Landfills, and Deadly
                Defense. The fact sheets dealt with low-level radioactive waste landfills, incineration of radioactive
                waste, transportation of high-level waste and decommissioning of nuclear reactors. Responsible for
                fund-raising, budget preparation and project management.

1981 - 1983 Project Director, Council on Economic Priorities, directed project which produced the report The Next
               Nuclear Gamble, on transportation and storage of high-level waste.

1974 - 1981 Instructor, Rachel Carson College, State University of New York at Buffalo, taught classes on energy and
                 the environment, and conducted research into the economics of recycling of plutonium from irradiated
                 fuel under a grant from the Environmental Protection Agency.

1975 - 1976 Project Coordinator, SUNY at Buffalo, New York Public Interest Research Group, assisted students on
                research projects, including project on waste from decommissioning nuclear reactor.

1973 Fulbright Fellowship at the Universidad de Chile, conducting research in elementary particle physics.


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1967 - 1972 Assistant Professor of Physics, SUNY at Buffalo, conducted research in elementary particle physics and
                taught a range of graduate and undergraduate physics courses.

1965 - 1967 Research Associate, Department of Physics, University of Maryland, conducted research into elementary
                particle physics.




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PROFESSIONAL ORGANIZATIONS:
Health Physics Society
Water Environment Federation


SPECIAL SPEAKING ENGAGEMENTS:
1967           Invited Speaker, w/ O.W. Greenberg, Meeting of the American Physical Society, Washington, D.C.,
               “Symmetric Quark Model of Baryon Resonances,” Conf-670414—6.
1976           Invited Speaker, Meeting of the American Nuclear Society, Toronto, Canada, “Comparison of risk
               assessments of Pu released during transport.”
1976           Statement before the Subcommittee on Energy and the Environment of the Interior Committee, House
               of Representatives, on recycling of plutonium.
1977           Statement before the Subcommittee on Government Operations, House of Representatives, on Nuclear
               Power Costs
1979           Chaired panel w/Dr. Karl Morgan and Dr. Alice Stewart, Gorleben International Review, on the health
               effects of radiation, Hanover, Germany.
2000           Invited day-long seminar presentation to the California Department of Health on the health effects of
               radiation
2002           Testimony before the Committee on Transportation & Infrastructure, United States House of
               Representatives, on transportation of nuclear materials.
2003           Presentation before the National Academy of Sciences Study Committee on Transportation of
               Radioactive Waste, Las Vegas, NV, “Baltimore Tunnel Fire: Implications for SNF Transportation
               Safety.”
2006           Biglin, K. and Resnikoff, M, Emergency Response to a Nuclear Waste Shipment Accident, Inyo
               County, June 15, 2006, paper presented at ESRI Annual Conference, August 2006.
2008           Invited Speaker, Meeting of the American Nuclear Society, Anaheim, CA, “State of Nevada
               Recommendations for Yucca Mountain Transportation Safety and Security.”
2008           Presentation at Waste Management 2008, Phoenix, AZ, “Fugitive Dust Emissions from Uranium Haul
               Roads.”
2008           Presentation at Waste Management 2008, Phoenix, AZ, “State of Nevada Perspective on the US DOE
               Yucca Mountain Transportation Program.”
2011           Invited Panelist, annual conference, Water Environment Federation, Radioactivity in Marcellus shale
               water.
2013           Invited Panelist, Nuclear Waste Technical Review Board, Implication of High Burnup nuclear Fuel
               on decommissioning and transportation.


Books and Articles
Resnikoff, M, “Expensive Enrichment,” Environment, July/August 1975, pp. 28–35.

Harwood, S et al, “The Cost of Turning It Off,” Environment, December 1976, pp.17-26.

M. Resnikoff, “Environmental Perspective.” Chapter 7 in “The Politics of Nuclear Waste,” edited by William Colglazier,
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M. Resnikoff, “Shipping Flasks in Severe Rail Accidents,” Chapter 18 in “The Urban Transportation of Irradiated Fuel,”
edited by John Surrey, Macmillan Press, London, 1984.

M. Resnikoff, “Living Without Landfills,” Radioactive Waste Campaign, 1988.

M. Resnikoff, et al, “Deadly Defense, A Citizen Guide to Military Landfills,” Radioactive Waste Campaign, 1989.

M. Marvin Resnikoff, “The Generation Time Bomb: Radioactive and Chemical Wastes.” Chapter in “Hidden Dangers:
Environmental Consequences of Preparing for War,” edited by Anne Ehrlich and John Birks, Sierra Club Books, San
Francisco, 1990.

I. Fairlie and M. Resnikoff, “No Dose Too Low,” The Bulletin of Atomic Scientists, Nov/Dec 1997.

M. Resnikoff, “Danger Lurks Below,” Alliance for Nuclear Accountability, 2004.

M Resnikoff, “Radon in Natural Gas from Marcellus Shale,” Ethics in Biology, Engineering & Medicine, Vol. 2, Issue
4, 2011, pp. 317- 331.




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Exhibit 2: Declaration of Richard B. Stewart
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                            IN THE UNITED STATES DISTRICT
                           COURT FOR THE EASTERN DISTRICT
                            OF MISSOURI EASTERN DIVISION


 TAMIA BANKS, on behalf of herself and all
 others similarly situated,

                               Plaintiff,
                                                         No. 4:18-CV-00624-JAR
        v.

 COTTER CORPORATION, ET AL.,

                               Defendants.



                      DECLARATION OF RICHARD B. STEWART




        I, RICHARD B. STEWART, 40 Washington Square South, 411F, New York, NY
 10012, submit this Declaration on behalf of Plaintiffs in the above titled matter.


 Expert Qualifications
 I am presently University Professor and John Edward Sexton Professor of Law, New York
 University School of Law, and Director, Frank J. Guarini Center on Environmental, Energy
 and Land Use Law. As I explain more fully below, I have over forty years’ experience
 researching and teaching U.S. environmental and administrative law at various institutions,
 including Harvard and NYU. An important specialty of mine is nuclear waste regulation and
 law. I co-authored an authoritative book on US nuclear waste regulation and law; Richard B
 Stewart and Jane B Stewart, FUEL CYCLE TO NOWHERE? U.S. LAW AND POLICY ON NUCLEAR
 WASTE (Vanderbilt University Press, 2011). As shown on my attached curriculum vitae, I’ve
 also authored a number of substantial articles on nuclear waste regulation and law. I also have
 significant experience as a practitioner in these fields, including as Assistant Attorney General
 for Environment and Natural Resources of the United States Department of Justice (“DOJ”),
 an office which I held in the period 1989-1991, and as counsel.

 I have taught U.S. environmental and administrative law for over 40 years, and have
 published 18 books and monographs and over 100 articles, essays and book chapters in
 these fields. I am a graduate of Yale University (summa cum laude), the University of
 Oxford (University College, Rhodes Scholar, First Class Honors), and Harvard Law
 School (magna cum laude; Editor, Harvard Law Review). Following a clerkship with Mr.
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 Justice Potter Stewart, Supreme Court of the United States, I practiced law for several years
 with the Washington, D.C. law firm of Covington and Burling LLP. I joined the Harvard
 Law School faculty in 1971 and taught there for 17 years, becoming Byrne Professor of
 Administrative Law in 1984. I was also a faculty member of the John F. Kennedy School of
 Government at Harvard in the period 1984- 1989. I joined the NYU Law School faculty in
 1992 as Emily Kempin Professor of Law. I hold honorary degrees from the University of
 Rome La Sapienza and the Erasmus University, Rotterdam. I have also been a visiting
 professor of law at numerous universities, including Yale University, t he University of
 California-Berkeley, and the European University Institute Florence, and a visiting scholar
 at the faculty of laws, University College London and Sciences Po Law School, Paris.

 In 1989, on appointment by President George H. W. Bush, I became Assistant Attorney
 General for Environment and Natural Resources of DOJ, leading a staff of 400 lawyers
 representing the federal government in a wide variety of environmental and natural
 resources litigation. Among other matters, I was responsible for prosecuting Exxon for the
 Exxon Valdez spill and dealt with other major cases involving spills of oil and hazardous
 substances.

 Following my government service I joined the NYU Law School faculty. From 1993 to 2002 I
 was of counsel for the law firm of Sidley Austin LLP, specializing in environmental law, in
 particular hazardous substances liability. Since that time, as well as during my tenure at
 Harvard, I have been involved in a number of environmental and administrative law cases,
 including cases involving pollution and hazardous substances liability I have served as a
 director of the Health Effects Institute and Chairman and Trustee of the Environmental
 Defense Fund, two leading U.S. nonprofit environmental organizations. My full curriculum
 vita is attached.

Factual Background

This report is based on the following factual assumptions and documents, provided to me by
counsel:

In 1942, as a part of the Manhattan Project and pursuant to contracts with the federal
government, Mallinckrodt processed uranium ore from the Belgian Congo at a facility in
downtown St. Louis, Missouri, in order to extract uranium for use in nuclear weapons. The
residues from the ore processing, known as mill tailings, contain radioactive decay products as
well as heavy metals. Mallinckrodt ceased processing operations in 1957. Subsequently, the
government sold the mill tailings from these operations. These tailings from Congolese ore,
along with Colorado Raffinate waste and other contaminated materials, were stored at a site near
the St. Louis airport (“SLAPS”). In the 1960s, some of the mill tailings at SLAPs were moved to
a storage site on Latty Avenue in Hazelwood, Missouri for processing by Cotter.

In 1969, Cotter Corp. purchased from Commercial Discount Corporation mill tailings that had
been stored at both sites as “U3O8 bearing residues.” Cotter at that time issued a full
indemnification to Commercial Discount Corporation. On December 3, 1969 the Atomic Energy

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Commission (“AEC”) issued a source material license to Cotter for work at the Latty Avenue.
On or about November 13, 1974, the AEC terminated the license. There is no evidence that
Cotter executed a financial responsibility and indemnity agreement with the government to
ensure compensation for third parties that might be injured by its activities regarding the mill
tailings. Before 1974, Cotter ceased drying the materials subject to their source license and had
the mill tailings transported to the Bridgeton Landfill, leaving residual mill tailings at Latty
Avenue, effectively disposing of them without the necessary disposal license. No license was
issued by AEC to Cotter for the disposal of the tailings. I have been informed that the levels of
radioactive releases from the restricted area of the Latty Avenue site have exceeded applicable
federal health and environmental regulatory standards.

Plaintiffs in the instant case own property within the 100 year flood plain of Coldwater Creek in
North St. Louis County, Missouri. They seek to maintain in Missouri state courts claims for
damages and other relief for contamination of their property under Missouri law of nuisance and
trespass.

Issues Addressed in this Declaration

In this Declaration, I provide my expert opinion on two basic issues:

First, do the plaintiffs’ claims fall under the exclusive federal jurisdiction of the Price Anderson
Act and accordingly must be maintained in federal rather than state court?

Second, are plaintiffs’ state law claims for nuisance and trespass preempted by the Price
Anderson Act?

   I.      Plaintiffs’ Claims Do Not Fall Within the Exclusive Jurisdiction of the Price
           Anderson Act and Accordingly May be Maintained in Missouri State Courts
           under Missouri State Law

The Price Anderson Act provides for exclusive federal court jurisdiction over “public liability”
claims arising out of a “nuclear incident,” which includes “extraordinary nuclear occurrences.”
The issue in this case is whether injuries caused by releases of radioactivity from the mill tailings
disposed of at the SLAPS sites and/or Latty Avenue sites represent such an “incident” or
“occurrence.” This question of statutory construction must be answered on the basis not only of
the statutory language, but the role of Price Anderson Act public liability claims within the
overall structure and purpose of the Act. Furthermore, we deal here with the question of whether
a federal statute displaces and preempts state jurisdiction over liability claims based on state tort
law. Based on federalism considerations, the Supreme Court has held that in such cases a federal
statute should not be interpreted as preemptive of traditional state common law remedies unless
the intent of Congress to preempt them is clear. Cipollone v. Liggett Group, Inc., 505 U.S. 504
(1992). Applying these considerations and principles to the circumstances here, it is manifest that
plaintiffs’ claims are not subject to the exclusive federal jurisdiction of the Price Anderson Act,
and are not preempted by the Act; accordingly such claims may be maintained in the Missouri
state courts.



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The basic purpose of the Price Anderson Act was to redress the disincentives posed by the threat
of far-reaching liability to private firms’ participation in the development of nuclear power and
other nuclear-related activities involving certain types of nuclear materials, specifically special
nuclear material, source material, and byproduct material. As set forth in 42 U.S.C. § 2210, the
means by which Congress implemented this objective was to provide an a federally administered
liability and insurance scheme to pay “public liability” claims (discussed below) in order to
ensure compensation for injuries suffered by third parties caused by participating nuclear
licensees or contractors, while at the same time providing those licensees or contractors with
protection against the risk of massive, uninsurable liabilities. Authority to administer the system
was originally given to the Atomic Energy Commission (“AEC”); its regulatory authorities were
transferred in 1975 to the Nuclear Regulatory Commission (“NRC”) and its operational
authorities to the Department of Energy. These government authorities are authorized to require
nuclear licensees or contractors to establish a basic level of insurance or other financial
responsibility to cover their nuclear-related liabilities; in turn, such licensees or contractors
receive indemnity agreements under which the government will cover any excess liabilities. The
liability of participating licensees or contractors is capped. Liabilities in excess of the cap are
covered by an insurance pool established and overseen by AEC/NRC and financed by premiums
assessed against nuclear facility operators. Also, all licensees receiving indemnity agreements
are required to pay a fee to the government. This liability cap and insurance umbrella system,
including government indemnity agreements, was designed to cushion liability risks for
participating licensees and contractors conducting their nuclear related activities in accordance
with federal licensing and regulatory requirements.

   A. Plaintiffs’ Claims Do Not Fall Within the Jurisdiction of the Price Anderson Act Because
      the Mill Tailings that Defendants Disposed Are Not Subject to the Atomic Energy Act and
      the Price Anderson Act

The Price Anderson Act’s public liability provisions cover “nuclear incident” for harms “arising
out of or resulting from the radioactive, toxic, explosive or other hazardous properties of source,
special nuclear, or byproduct material.” 42 U.S.C.§ 2014(q). The terms “special nuclear
material,” “source material,” and “byproduct material.” are defined in the Atomic Energy Act
(“AEA”). For the reasons explained below, the mill tailings disposed of by Defendants did not
fall within any of these three categories of materials, and therefore plaintiffs’ claims for injuries
caused by radioactive releases from the mill tailings do not fall within the jurisdiction of the
Price Anderson Act.

The disposed mill tailings are not “special nuclear material,” which the AEA defines (1)
plutonium, uranium enriched in the isotope 233 or in the isotope 235 . . . or (2) any material
artificially enriched by any of the foregoing . . . but does not include source material.” 42 U.S. C.
§ 2014(aa).

The disposed mill tailings are not “source material,” which the AEA defines as “(1) uranium,
thorium, or any other material which is determined by the Commission . . . to be source material;
or (2) ores containing one or more of the foregoing materials, in such concentration as the
Commission may by regulation determine from time to time.” 42 U.S. C. § 2014(z).


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Accordingly, the mill tailings that Cotter disposed of are not “source material.” Nor are they, as
explained above, “special nuclear material.” Finally, the disposed mill tailings are not
“byproduct material.” When Cotter disposed of the mill tailings, prior to the 1978 amendments
discussed below, the Atomic Energy Act, Section 11(e), defined “byproduct material” as “any
radioactive material (except special nuclear material) yielded in or made radioactive by exposure
to the radiation incident to the process of producing or utilizing special nuclear material.” 68
Stat. at 922-924 (codified as amended at 42 U.S.C. § 2014). This definition did not include mill
tailings from the processing of uranium ores, which does not involve radiation exposures.
Accordingly, AEC and subsequently NRC determined that mill tailings were not subject to their
AEA regulatory authority. See Kerr-McGee Chem. Corp. v. U.S. Nuclear Regulatory
Commission, 903 F.2d 1, 2-3 (D.C. Cir. 1990) (“The AEA made no provision for regulating
waste materials generated during the extraction or concentrating of source material.”)

Subsequently, Congress in 1978 enacted the Uranium Mill Tailings Radiation Control Act
(UMTRCA), establishing a federal program for regulation and remediation of mill tailings. In
doing so, it amended the AEA definition of “byproduct material” to include mill tailings,
modifying Section 11(e) to add as subsection (2): “the tailings or wastes produced by the
extraction or concentration of uranium or thorium from any ore processed primarily for its source
material content.” 42 U.S. C.. § 2014(e)(2). NRC subsequently considered whether this expanded
AEA definition of byproduct material applied retroactively to include mill tailings previously
generated by facilities that had ceased operations prior to UMTRCA’s enactment. In an
exceedingly thorough 25 page determination, the Director of the NRC Office of Nuclear
Materials Safety and Safeguards determined, on behalf of the Commission, that such tailings are
not “byproduct material” covered by the 1978 amendment to AEA and accordingly are not
subject to regulation under UMTRCA. In the Matter of Envirocare of Utah and Snake River
Alliance, 56 NRC 53 (2002). Under the controlling Supreme Court precedent established in
Skidmore v. Swift & Co, 323 U.S. 134 (1944) this thorough, cogently reasoned determination,
reflecting the expertise and informed judgment of NRC, must receive substantial judicial
deference. Further, the Director’s determination accords with the general presumption against
interpreting statutes as having retroactive application. Landgraf v. USI Film Prods, 511 U.S. 244
(1994). Accordingly, the mill tailings generated by Mallinckrodt’s processing operations, that
ceased in 1957, and which were disposed of by Cotter, were not and are not “byproduct material”
subject to the AEA and therefore cannot provide the basis for a public liability action under the
Price Anderson Act.

      B. Plaintiffs’ Claims Do Not Fall Within the Jurisdiction of the Price Anderson Act
        Because Defendants’ Disposal of Mill Tailings Was Not Undertaken Pursuant to an
        Appropriate Federal License or Indemnity Agreement

As previously explained, the Price Anderson Act’s scheme for liability, insurance, and
compensation for certain nuclear -related injuries, including capping operator liability, applies
only to conduct undertaken pursuant to an appropriate federal license and/or government
indemnity agreement. Defendants’ disposal of mill tailings was not conducted pursuant to any
such license and there is no evidence that it was undertaken pursuant to any such indemnity
agreement. Accordingly, the radioactive releases from the St. Louis Airport Site and the Latty
Avenue Site do not represent a “nuclear incident” covered by the public liability provisions of

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the Price Anderson Act, and plaintiffs’ claims against defendants are not subject to the Act’s
federal jurisdiction.

The liability provisions of the Price Anderson Act apply only when the conduct causing injury
was carried out in accordance with an appropriate government license and/or indemnity
agreement. Nothing in the 1988 Amendments changes this statutory scheme.

The Price Anderson Act provides for a scheme of “public liability” and compensation for injuries
arising out of activities involving specified nuclear materials (as discussed above). More
specifically, this scheme applies only to a “nuclear incident” “including an extraordinary nuclear
occurrence.”

“Public liability” is defined in 42 U.S.C. § 2014(w) as:

   any legal liability arising out of or resulting from a nuclear incident ... except ...
  (iii) whenever used in subsections (a), (c), and (k) of section 2210 of this title, claims for loss of, or
   damages to, or loss of use of property which is located at the site of and used in connection with the
   licensed activity where the nuclear incident occurs. ‘Public liability’ also includes damage to property
   of persons indemnified: Provided, That such property is covered under the terms of the financial
   protection required, except property which is located at the site of and used in connection with the
   activity where the nuclear incident occurs. (Emphasis added)

“Nuclear incident” is defined in 42 U.S.C.§ 2014(q) as:

   Any occurrence, including an extraordinary nuclear occurrence, within the United States causing,
   within or outside the United States, bodily injury, sickness, disease, or death, or loss of or damage to
   property, or loss of use of property, arising out of or resulting from the radioactive, toxic, explosive or
   other hazardous properties of source, special nuclear, or byproduct material.... And provided further,
   That as the term is used in section 2210(c) of this title, it shall include any such occurrence outside
   both the United States and any other nation if such occurrence arises out of or results from the
   radioactive, toxic, explosive, or other hazardous properties of source, special nuclear, or byproduct
   material licensed pursuant to subchapters V, VI, VII, and IX of this division, which is used in
   connection with the operation of a licensed stationary production or utilization facility or which moves
   outside the territorial limits of the United States in transit from one person licensed by the Nuclear
   Regulatory Commission to another person licensed by the Nuclear Regulatory Commission.
   (Emphasis added)


“Extraordinary nuclear occurrence” is defined in 42 U.S.C.A. § 2014(j) as:

   any event causing a discharge or dispersal of source, special nuclear, or byproduct material from its
   intended place of confinement in amounts offsite, or causing radiation levels offsite, which the Nuclear
   Regulatory Commission or the Secretary of Energy, as appropriate, determines to be substantial, and
   which the Nuclear Regulatory Commission or the Secretary of Energy, as appropriate, determines has
   resulted or will probably result in substantial damages to persons offsite or property offsite..... The
   Nuclear Regulatory Commission or the Secretary of Energy, as appropriate, shall establish criteria in
   writing setting forth the basis upon which such determination shall be made. As used in this subsection,
   “offsite” means away from “the location” or “the contract location” as defined in the applicable
   Nuclear Regulatory Commission or the Secretary of Energy, as appropriate, indemnity agreement,
   entered into pursuant to section 2210 of this title. (Emphasis added)

“Person indemnified” is defined in 42 U.S.C.A. § 2014(t) as:

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  The term “person indemnified” means (1) with respect to a nuclear incident occurring within the
  United States or outside the United States as the term is used in section 2210(c) of this title, ... the
  person with whom an indemnity agreement is executed or who is required to maintain financial
  protection, and any other person who may be liable for public liability .... (Emphasis added)

While hardly a model of legislative drafting, these provisions make sufficiently clear that the
Act’s public liability provisions are limited to injuries resulting from activities carried on by a
party in accordance with a government regulatory license and/or an agreement for government
indemnification. This limitation is the logical corollary of the Price Anderson Act scheme of
providing a liability cap and insurance umbrella for activities that are subject to government
licensing and regulation and/or have a government indemnity agreement. The Act, as amended in
1988 excludes punitive damages in public liability claims; such exclusion is logical in a
government supervised insurance system that provides for assured compensation of those
suffering injury, for capping nuclear operators’ liability, and for government regulatory controls
that would provide safeguards against hazard.

Defendants’ operations at the Latty Avenue and SLAPS sites do not appear to be the subject of
any indemnity agreement with the United States. In fact, the transaction documents show that
Cotter indemnified its predecessor in title. Furthermore, the disposal of mill tailings was not
undertaken pursuant to an appropriate federal license or government indemnity agreement, and
accordingly do not give rise to a “public liability” claim under the exclusive jurisdiction of the
Price Anderson Act. The AEC license issued to Cotter, was for “uranium.” Cotter’s license
application stated as the purpose of the license that Cotter “will process the material to recover
uranium.” Apparently, it never did so; in any event, any efforts that it might have made to do so
had ceased prior to the time it abandoned and disposed of the mill tailings at the Latty Avenue
site.

There is no evidence that Defendants ever obtained a government indemnity agreement pursuant
to the Price Anderson Act for its operations at any of the sites. Thus, Defendants have failed to
show that plaintiffs’ claims fall within the federal jurisdiction of the Price Anderson Act.

   II.      The Price Anderson Act Does Not Preempt Plaintiffs’ State Law Trespass and
            Nuisance Claims

As shown above, plaintiffs state law trespass and nuisance claims do not fall within the exclusive
jurisdiction of the Price Anderson Act. As shown in this section of my Declaration, these state
law claims are not preempted by the Price Anderson Act. They may accordingly be maintained
in the Missouri state courts.

In enacting the Price Anderson Act, Congress did not preclude maintenance of any and all state
law claims for nuclear -related harms. As shown above, the Act provides jurisdiction only over
those claims involving special nuclear, source, or byproduct material arising out of conduct by a
defendant operating in accordance with an appropriate government license and/or indemnity
agreement. It does not preempt state law claims that fall outside of its jurisdiction. The Act does
not reflect congressional intent to occupy the entire field of all nuclear -related claims, nor would


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maintenance in state court under state law of claims not covered by the Act conflict with the
Act’s scheme.

The well-reasoned opinion by Judge (now Justice) Gorsuch for the court in Cook v. Rockwell Int’l
Corp., 790 F.3d 1088, 1099 (10th Cir. 2015), cert. dismissed sub nom. Dow Chem. Co. v. Cook, 136 S.
Ct. 2055 (2016), provides an exceedingly sound analysis of the issues and justification for these
conclusions. As Judge Gorsuch shows, the Price Anderson Act does not extend to all nuclear -
related activities and resulting injuries. Nor does it preempt the field, so as to preclude state law
recovery for such injuries when they are not subject to compensation under the Act. Further, the
congressional scheme in the Act can function perfectly well in tandem with state court decision
of state law actions involving claims not covered by the Price Anderson Act system. Indeed, the
availability of state law claims, which could include punitive damage awards, would strengthen
the Price Anderson Act system by giving operators incentives to subject their activities to federal
regulatory and financial responsibility/indemnity requirements.

As Cook points out, courts that have stated in unqualified terms that the Price Anderson Act and
its exclusive federal jurisdiction encompasses all nuclear-related injury claims have failed to
address the limitations in the Act’s coverage. As shown above, the Act covers only claims
arising out of a “nuclear incident” “including an extraordinary nuclear occurrence,”
involving specified nuclear-related materials in activities subject to federal regulation and/or
indemnity agreements. Precluding state law claims that do not meet these limitations would leave
injured parties in limbo, without any remedy.


Cook’s refusal to preempt all state law claims was anticipated in Bennett v. Mallinkrodt, Inc.,
698 S.W.2d 854 (Mo. Ct. App. 1985), cert denied, 106 S. Ct. 2903 (1986), which held that action
by plaintiffs who lived or worked near defendant’s radiopharmaceutical plant was not preempted
by the Price Anderson Act. The court found that the Act embodied an underlying principle of
interfering with state law to the minimum extent necessary. Id. at 860-861. After the Supreme
Court declined to review the decision, the radiopharmaceutical industry unsuccessfully sought
congressional amendment of the Price Anderson Act to preempt state law claims.

As Cook properly emphasized, the federalism canon of statutory construction embraced by the
Supreme Court dictates that the Price Anderson Act should not be interpreted to preempt state
law claims that do not fall within its “public liability” scheme. Court must not interpret federal
statutes to preempt traditional state tort law remedies unless the congressional intent to do so is
clear. Cipollone v. Liggett Group, Inc., 505 U.S. 504 (1992); Riegel v. Medtronic, Inc., 552 U.S.
312, 334 (2008). No such intent can be found in the Price Anderson Act .

Furthermore, interpreting the Price Anderson Act to preempt state law claims that do not qualify
as “public liability” claims under the Act would leave injured parties without any redress for the
harms that they have suffered. Depriving such parties of any remedy at all would likely violate
due process. Under the canon of constitutional avoidance enunciated by the Supreme Court,
courts should construe federal statutes so as to avoid presenting such serious constitutional
issues. United States v. Witkovich, 353 U.S. 194 (1957); NLRB v. Catholic Bishop of Chicago,
440 U.S. 490 (1979). Accordingly, courts should not interpret the Price Anderson Act to preempt
state law claims for injuries for which PAA does not itself provide a remedy.

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I declare under penalty of perjury that the foregoing is true and correct.




Richard B. Stewart    Dated July 7 2018




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Employment/Appointments:

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                        John E. Sexton Professor of Law
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                        New York University
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                        Co-founder of major research projects on Global Administrative Law and
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                        Currently researching and preparing for publication books/articles on private and
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Previous Employment/Appointments:


        2012            Visiting Professor, Yale Law School

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      2000         Visiting Professor of Law, University of Bologna

      1993-2002    Of Counsel, Sidley and Austin, specializing in environmental regulation and
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                   European University Institute, Florence

      1991-92:     Visiting Professor of Law
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      1989-91:     Assistant Attorney General for Environment and Natural Resources U.S.
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      1986-87:     Visiting Professor of Law
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      1975-84:     Professor of Law
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      1971-75:     Assistant Professor of Law
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      1973:        Special Counsel, Senate Select Committee on
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       1966-67:        Law Clerk to Mr. Justice Potter Stewart
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Other Current Activities, Memberships, Honors:

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                       Defense Fund

                       Management Committee and Researcher, Consortium for Risk-Based Evaluation
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                       research and policy institution serving as independent advisor to U.S. Department
                       of Energy

                       Editorial Boards: Review of European Community and International
                       Environmental Law; Oxford Journal of Environmental Law; International Journal
                       of BioSciences and Technology (hon.)

                       Member, American Law Institute, Phi Beta Kappa; U.S. College of
                       Environmental Lawyers.

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                       2009 American Bar Association Annual Award for Environmental Stewardship

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                       Dr. (honors causa), Erasmus University, Rotterdam (1993); Awarded for
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                   Dr. (honors causa), University of Rome “La Sapienza” (2005). Awarded for
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Past Activities:

                   Director, Health Effects Institute, 1997-2007


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                   over Genetically Modified Foods and Crops, with special emphasis on position of
                   developing countries. Funded by $435,000 grant from Rockefeller Foundation

                   Co-Principal Investigator, Project on Capacity-Building for Environmental
                   Legislation in the People’s Republic of China, training staff of Environmental
                   Protection Committee of National People’s Congress and relevant ministries and
                   assisting them in revising and strengthening China’s environmental laws. Grants
                   totally $1.4 million from Asian Development Bank.

                   Consultant to United Nations Commission on Trade and Developments
                   (UNCTAD) on legal and institutional issues presented in development of
                   international greenhouse gas emissions trading systems.

                   Member UNEP Group of Experts on Liability and Compensation for
                   Environmental Damage from Military Activities, 1995-1996

                   Chief Reporter, American Law Institute
                   Project on Product and Process Injuries, 1985-1989

                   Member, Board of Trustees, Environmental Defense Fund, 1976-1989
                   (Chairman, 1980-83). Advisory t Trustee, 1993-present.

                   U.S. Congress Office of Technology Assessment,
                   Advisory Committee on New Clean Air Act Issues

                   Academic Advisory Board, Foundation for Research on Economics and the
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                   Consultant, Administrative Conference of the United States,
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                   U.S. Congress Office of Technology Assessment;



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       1963-66:      Harvard Law School
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       1961-63:      Rhodes Scholar, Oxford University.
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       (with Benedict Kingsbury)

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Kingsbury)

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              IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS, )
BARBARA HOOKS, JOEL HOGAN,      )
KENNETH NIEBLING, KENDALL LACY, )
TANJA LACY, WILLIE CLAY,        )
BOBBIE JEAN CLAY, ANGELA STATUM,)
and MISSOURI RENTALS            )
                                )
COMPANY, LLC, on behalf of themselves
and all others similarly situated,
                                )
                                )
           Plaintiffs,                               Cause No. 18SL-CC00617-01
                                )
                                )
vs.                                                  Division No. 17
                                )
                                )
COTTER CORPORATION,             )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA )
COATINGS, INC., and ST. LOUIS   )
AIRPORT AUTHORITY, A            )
DEPARTMENT OF THE CITY OF       )
ST. LOUIS,                      )
                                )
           Defendants.
                                )


                                 ENTRY OF APPEARANCE

       COMES NOW John F. Cowling of Armstrong Teasdale LLP and enters his appearance

on behalf of Defendant The City of St. Louis (the owner and operator of St. Louis Lambert

International Airport®) in the above-referenced matter.
                                                                                                        Electronically Filed - St Louis County - February 27, 2020 - 04:00 PM
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                                                     ARMSTRONG TEASDALE LLP



                                                     By: /s/ John F. Cowling
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                                                         Katherine Ricks                       #70322
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                                                         jcowling@atllp.com
                                                         kricks@atllp.com

                                                     ATTORNEYS FOR DEFENDANT
                                                     THE CITY OF ST. LOUIS (THE OWNER AND
                                                     OPERATOR OF ST. LOUIS LAMBERT
                                                     INTERNATIONAL AIRPORT®)


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 27, 2020, the foregoing document was

electronically filed with the Clerk of the Court, to be served by the Court’s electronic notification

system upon all counsel of record.

                                                     /s/ John F. Cowling




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              IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS, )
BARBARA HOOKS, JOEL HOGAN,      )
KENNETH NIEBLING, KENDALL LACY, )
TANJA LACY, WILLIE CLAY,        )
BOBBIE JEAN CLAY, ANGELA STATUM,)
and MISSOURI RENTALS            )
                                )
COMPANY, LLC, on behalf of themselves
and all others similarly situated,
                                )
                                )
           Plaintiffs,                              Cause No. 18SL-CC00617-01
                                )
                                )
vs.                                                 Division No. 17
                                )
                                )
COTTER CORPORATION,             )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA )
COATINGS, INC., and ST. LOUIS   )
AIRPORT AUTHORITY, A            )
DEPARTMENT OF THE CITY OF       )
ST. LOUIS,                      )
                                )
           Defendants.
                                )


                                ENTRY OF APPEARANCE

       COMES NOW Katherine M. Ricks of Armstrong Teasdale LLP and enters her

appearance on behalf of Defendant The City of St. Louis (the owner and operator of St. Louis

Lambert International Airport®) in the above-referenced matter.
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                                                     ARMSTRONG TEASDALE LLP



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                                                     ATTORNEYS FOR DEFENDANT
                                                     THE CITY OF ST. LOUIS (THE OWNER AND
                                                     OPERATOR OF ST. LOUIS LAMBERT
                                                     INTERNATIONAL AIRPORT®)


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system upon all counsel of record.

                                                     /s/ Katherine M. Ricks




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               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS, )
BARBARA HOOKS, JOEL HOGAN,             )
KENNETH NIEBLING, KENDALL LACY, )
TANJA LACY, WILLIE CLAY, BOBBIE )
JEAN CLAY, ANGELA STATUM, AND )
MISSOURI RENTALS COMPANY, LLC, )
on behalf of themselves and all others )
similarly situated,                    )
                                       )
                Plaintiffs,            )             Cause No: 18SL-CC00617-01
                                       )
vs.
                                       )             Division No. 17
COTTER CORPORATION,                    )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA        )
COATINGS, INC., AND ST. LOUIS          )
AIRPORT AUTHORITY, A                   )
DEPARTMENT OF THE CITY OF ST.          )
LOUIS,                                 )                    Judge
                                                                    Judge    Division 17
                                                                                           Division 99
                                       )                    June 07,
                                                            April 10, 2020
                                                                      2015
                Defendants.            )

              UNOPPOSED MOTION FOR LEAVE TO FILE RESPONSIVE
                         PLEADING OUT OF TIME

       COMES NOW Defendant The City of St. Louis, (the owner and operator of St. Louis

Lambert International Airport®) (the “City”) and respectfully requests this Court grant the City

leave to file its responsive pleading out of time. In support of this unopposed motion, the City

states as follows:

       This action was initially removed to Federal Court. The case was remanded, and the file

in St. Louis County Circuit Court was reopened on April 11, 2019. Plaintiffs filed their Second

Amended Class Action Petition on October 29, 2019. After the action was reopened in St. Louis

County Circuit Court, Counsel for the City did not receive electronic service and notice of the

Second Amended Class Action Petition or other recent filings.
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       The time to file a responsive pleading has expired, but the City respectfully requests that

this Court grant it leave to file a responsive pleading out of time, pursuant to Rule 44.01. A copy

of the City’s responsive pleading is attached hereto.

       No party will be prejudiced by the grant of this Motion. While other Defendants have

filed motions to dismiss and Plaintiffs have filed responses to those motions, no hearing has

occurred. Further, written discovery requests were recently served on January 31, 2020, but

Responses to discovery are not yet due. This action is in its infancy, and the City’s delayed filing

of its responsive pleading will not result in prejudice to any party. Further, Plaintiffs do not

oppose the grant of this Motion.

       WHEREFORE, because the City’s failure to timely file a responsive pleading was the

result of excusable neglect, the City respectfully requests this Court grant this motion and permit

the City to file its responsive pleading instanter.


                                                      ARMSTRONG TEASDALE LLP


                                                      By: /s/ John F. Cowling
                                                           John F. Cowling                    #30920
                                                           Katherine M. Ricks                 #70322
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                                                      ATTORNEYS FOR DEFENDANT
                                                      THE CITY OF ST. LOUIS (THE OWNER
                                                      AND OPERATOR OF ST. LOUIS LAMBERT
                                                      INTERNATIONAL AIRPORT®)




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system upon all counsel of record.

                                                     /s/ John F. Cowling




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               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS, )
BARBARA HOOKS, JOEL HOGAN,             )
KENNETH NIEBLING, KENDALL LACY, )
TANJA LACY, WILLIE CLAY, BOBBIE )
JEAN CLAY, ANGELA STATUM, AND )
MISSOURI RENTALS COMPANY, LLC, )
on behalf of themselves and all others )
similarly situated,                    )
                                       )
                Plaintiffs,            )             Cause No: 18SL-CC00617-01
                                       )
vs.
                                       )             Division No. 17
COTTER CORPORATION,                    )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA        )
COATINGS, INC., AND ST. LOUIS          )
AIRPORT AUTHORITY, A                   )
DEPARTMENT OF THE CITY OF ST.          )
LOUIS,                                 )                    Judge
                                                                    Judge    Division 17
                                                                                           Division 99
                                       )                    June 07,
                                                            April 10, 2020
                                                                      2015
                Defendants.            )

              UNOPPOSED MOTION FOR LEAVE TO FILE RESPONSIVE
                         PLEADING OUT OF TIME

       COMES NOW Defendant The City of St. Louis, (the owner and operator of St. Louis

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       This action was initially removed to Federal Court. The case was remanded, and the file

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                                    1441



       The time to file a responsive pleading has expired, but the City respectfully requests that

this Court grant it leave to file a responsive pleading out of time, pursuant to Rule 44.01. A copy

of the City’s responsive pleading is attached hereto.

       No party will be prejudiced by the grant of this Motion. While other Defendants have

filed motions to dismiss and Plaintiffs have filed responses to those motions, no hearing has

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Responses to discovery are not yet due. This action is in its infancy, and the City’s delayed filing

of its responsive pleading will not result in prejudice to any party. Further, Plaintiffs do not

oppose the grant of this Motion.

       WHEREFORE, because the City’s failure to timely file a responsive pleading was the

result of excusable neglect, the City respectfully requests this Court grant this motion and permit

the City to file its responsive pleading instanter.


                                                      ARMSTRONG TEASDALE LLP


                                                      By: /s/ John F. Cowling
                                                           John F. Cowling                    #30920
                                                           Katherine M. Ricks                 #70322
                                                           7700 Forsyth Blvd., Suite 1800
                                                           St. Louis, Missouri 63105
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                                                      ATTORNEYS FOR DEFENDANT
                                                      THE CITY OF ST. LOUIS (THE OWNER
                                                      AND OPERATOR OF ST. LOUIS LAMBERT
                                                      INTERNATIONAL AIRPORT®)




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                                                     /s/ John F. Cowling




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               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS,                  )
BARBARA HOOKS, JOEL HOGAN,                       )
KENNETH NIEBLING, KENDALL LACY,                  )
TANJA LACY, WILLIE CLAY, BOBBIE                  )
JEAN CLAY, ANGELA STATUM, AND                    )
MISSOURI RENTALS COMPANY, LLC, on                )
behalf of themselves and all others similarly    )
situated,                                        )
                                                 )    Cause No: 18SL-CC00617-01
               Plaintiffs,                       )
                                                      Division No. 17
vs.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY,
DJR HOLDINGS, INC. f/k/a FUTURA
COATINGS, INC., AND ST. LOUIS
AIRPORT AUTHORITY, A DEPARTMENT
OF THE CITY OF ST. LOUIS,

               Defendants.

            MEMORANDUM IN SUPPPORT OF DEFENDANT THE CITY OF
                     ST. LOUIS’ MOTION TO DISMISS

       Defendant The City of St. Louis (the owner and operator of St. Louis Lambert

International Airport®) (the “City”), pursuant to Rules 55.05 and 55.27 of the Missouri Rules of

Civil Procedure, moves for dismissal of Plaintiff’s Second Amended Class Action Petition. In

support of this motion, the City states as follows:

       Plaintiffs’ Second Amended Class Action Petition fails to state a claim upon which relief

can be granted. Plaintiffs allege damages arising from the storage and transportation of

radioactive “mill tailings” on property owned by the City. But claims involving “radioactive,

toxic, explosive, or other hazardous properties of source, special nuclear, or byproduct material”

are governed solely by the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq., the broad-

reaching federal regulatory scheme created to preempt state regulation of the health and safety
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aspects of radioactive materials. The PAA was intended to be the exclusive way to pursue claims

of the kind asserted in this action. Plaintiffs should not be permitted to circumvent the PAA by

erroneously characterizing their claims as colorable under state tort law. Plaintiff’s state law

claims are entirely preempted by the PAA. And even if Plaintiffs’ claims are actionable under

state law (which they are not), such claims are insufficiently pleaded and should be dismissed.

       While the United States District Court for the Eastern District of Missouri could not

conclusively determine that it had federal subject matter jurisdiction, and therefore remanded this

case, that court did not conclusively determine that Plaintiffs’ claims were not preempted by the

PAA as a matter of law. The federal court’s discussion of substantive law is not binding on this

Court on remand. Accordingly, this Court should now determine the applicability of the PAA.

                                      LEGAL STANDARD

       A pleading must present “a short and plain statement of the facts showing that the pleader

is entitled to relief.” Rule 55.05. A petition must invoke substantive principles of law entitling

plaintiff to relief and allege ultimate facts informing the defendant of that which plaintiff will

attempt to establish at trial. State ex rel. Henley v. Bickel, 285 S.W.3d 327, 329 (Mo. banc 2009).

Dismissal for failure to state a claim is proper when the petition fails to allege the facts essential

to recovery. Amesquita v. Gilster-Mary Lee Corp., 408 S.W.3d 293, 298 (Mo. App. E.D. 2013).

                                           ARGUMENT

       I.      The Price-Anderson Act Preempts Plaintiffs’ State Law Claims

       The PAA, as amended in 1988, establishes a federal cause of action known as a “public

liability action” for tort claims arising out of incidents involving radioactive materials. A “public

liability action” means a “suit asserting public liability.”      42 U.S.C. § 2014(hh).       “Public

liability” means “any legal liability arising out of or resulting from a nuclear incident.” Id. §




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2014(w). A “nuclear incident” involves “bodily injury, sickness, disease, or death, or loss of or

damage to property, or loss of use of property caused by the “radioactive, toxic, explosive, or

other hazardous properties of source, special nuclear, or byproduct material.” Id. § 2014(q). A

claim under the PAA is the exclusive remedy for public liability claims arising out of a nuclear

incident.

       Given the expansive nature of the PAA, virtually every circuit court to address the issue

has concluded that “the Price-Anderson Act completely preempts state law causes of action for

public liability arising out of or resulting from a nuclear incident.” Adkins v. Chevron Corp., 960

F. Supp. 2d 761, 767-768 (E.D. Tenn. 2012) (observing that the Third, Seventh, Ninth, Tenth and

Eleventh Circuits are in agreement with the Sixth Circuit’s conclusion that the PAA completely

preempts state law causes of action); In re Berg Litig., 293 F.3d 1127, 1132 (9th Cir. 2002)

(observing that a PAA public liability action is plaintiffs’ “exclusive means” for pursuing claims

arising from a nuclear incident); Roberts v. Florida Power & Light Co., 146 F.3d 1305, 1306

(11th Cir. 1998) (“Congress passed the Price–Anderson Amendments Act of 1988 . . . creating

an exclusive federal cause of action for radiation injury.”); Kerr–McGee Corp. v. Farley, 115

F.3d 1498, 1504 (10th Cir. 1997) (observing that the PAA’s provisions “appear broad enough to

create a federal forum for any tort claim even remotely involving atomic energy production. The

PAA on its face provides the sole remedy for the torts alleged . . .”); O’Conner v.

Commonwealth Edison Co., 13 F.3d 1090, 1100 and 1105 (7th Cir. 1994) (stating that “a new

federal cause of action supplants the prior state cause of action . . . . [S]tate regulation of nuclear

safety, through either legislation or negligence actions, is preempted by federal law.”); In re TMI

Litig. Cases Consol. II, 940 F.2d 832, 854 (3d Cir. 1991) (“After the Amendments Act, no state

cause of action based upon public liability exists. A claim growing out of any nuclear incident is




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compensable under the terms of the Amendments Act or it is not compensable at all.”).

              A.      Plaintiffs’ Claims Stem from a “Nuclear Incident” as Defined by the
                      PAA.

       Plaintiffs assert state-law based claims against the Defendants for: (1) trespass; (2)

permanent nuisance; (3) temporary nuisance; (4) negligence; (5) negligence per se; (6) strict

liability/absolute liability; (7) injunctive relief seeking medical monitoring; (8) punitive

damages; (9) civil conspiracy; and against the City only, for (10) inverse condemnation; (11)

violation of the Missouri State Constitution’s due process guarantee; and (12) violation of the

Missouri State Constitution’s takings and just compensation clause. Plaintiffs’ Second Amended

Class Action Petition ¶¶ 99-220.

       The claims arise out of alleged conduct of Defendants over several decades resulting in

releases of radioactive materials into the environment in and around Coldwater Creek, a tributary

of the Missouri River that runs throughout North St. Louis County, resulting in the alleged

radioactive contamination of Plaintiffs’ and class members’ property and leading to various

forms of property damage. Id. at ¶¶ 2, 18-26, 62-98.

       Plaintiffs contend they are entitled to monetary recovery stemming from the loss of use

and enjoyment of her property; annoyance and discomfort; damage to her personal property;

diminution in the market value of her property; costs and expenses incurred as a result of

exposure to radioactive emissions, including the cost of remediation and relocation; statutory

damages under Missouri state law; punitive and exemplary damages; costs and attorneys’ fees

plus interest; medical and environmental monitoring and testing; and environmental clean-up.

Id. at ¶¶ 97-98, 123, 136-138, 150-154, 160-163, 166, 176, 181-184, 187-201, 209, 214-215.

       Plaintiffs’ allegations and demands for relief fall under the purview of the PAA.

According to the Complaint, from 1942 to 1957, uranium ore was processed at a downtown St.



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Louis City Site (“SLDS”) in connection with the United States’ efforts under the Manhattan

Project to develop the first nuclear weapons. Id. at ¶¶ 62-63. In the late 1940s, the United States

government purchased a 21.7-acre tract of land near the Airport to store materials generated from

processing activities at SLDS. Id. at ¶ 65. This site is commonly referred to as the St. Louis

Airport Site (“SLAPS”). Id. Thereafter, various radioactive materials resulting from operations

at SLDS were stored at SLAPS, and in 1957, radioactively impacted materials were buried on a

portion of SLAPS adjacent to Coldwater Creek. Id. at ¶ 66. Plaintiffs further contend that in the

1960s, some radioactive materials that had been stored at SLAPS were moved to a storage site at

Latty Avenue in Hazelwood, Missouri (the “Latty Avenue Site”), including a portion of the Latty

Avenue Site that later became known as the Hazelwood Interim Storage Site (“HISS”). Id. at ¶

67.

       In the late 1960s, Cotter allegedly purchased some of the radioactive materials (including

“enriched thorium”) stored at SLAPS and the Latty Avenue Site from the United States

government, and allegedly stored, processed, and transported those materials at and to SLAPS

and the Latty Avenue Site. Id. at ¶¶ 69-72. According to Plaintiffs, various transport and

handling activities to and from SLDS, SLAPS, the Latty Avenue Site, and HISS contaminated

“haul routes to nearby properties.” Id. at ¶ 74. Furthermore, Plaintiffs allege that storage

operations at both SLAPS and the Latty Avenue Site resulted in the dispersal and runoff of

radioactive materials into Coldwater Creek. Id. at ¶ 80.

       Plaintiffs claim that “[s]ince 1946, radioactive wastes have migrated from the SLAPS,

HISS, and Latty Avenue Site(s) into Coldwater Creek and were released or otherwise deposited

along the entire . . . one hundred year flood plain of Coldwater Creek.” Id. at ¶¶ 88. Plaintiffs

contend that their properties are located within the one hundred year flood plain of Coldwater




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Creek, that there is radioactive contamination present on their properties, that this contamination

is linked to radioactive materials “generated in the processing of uranium ores in the St. Louis

area,” and the contamination is the result of Defendants’ actions. Id. at ¶¶ 92-96. According to

Plaintiffs, this has resulted in damage to her property, necessitating, among other things, “a total

and complete cleanup of the contamination . . . to prevent and eliminate further contamination.”

Id. at ¶¶ 97-98.

       These allegations arise from a “nuclear incident” as defined by the PAA. Pursuant to the

PAA, a “nuclear incident” is broadly defined as “any occurrence . . . within the United States

causing . . . bodily injury, sickness, disease, or death, or loss of or damage to property, or loss of

use of property, arising out of or resulting from the radioactive, toxic, explosive, or other

hazardous property of source, special nuclear, or byproduct material.” 42 U.S.C. § 2014(q). As

a result, Plaintiffs’ exclusive remedy is a claim under the PAA, and any state law claims are

preempted. The PAA is “broad enough to create a federal forum for any tort claims even

remotely involving atomic energy production. The [PAA] on its face provides the sole remedy

for the torts alleged.” Farley, 115 F.3d at 1504.

       Here, Plaintiffs’ claims allegedly stem from a nuclear incident as defined in the PAA.

The entire basis for Plaintiffs’ Complaint, and the state-law causes of action therein, are their

contentions that Plaintiffs’ properties are contaminated by radioactive material; that these

materials match the “fingerprint” of radioactive materials generated from uranium ore processing

activities in the St. Louis area; and that “[t]his contamination was caused by . . . Defendants’

improper handling, storage, and disposal of radioactive materials.” Plaintiffs’ Second Amended

Class Action Petition ¶¶ 92-96.




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        Specifically, Plaintiffs’ claims allegedly arise from the processing of certain nuclear

materials in connection with the Manhattan Project. Id. at ¶ 62. Plaintiffs maintain that, after the

Manhattan Project acquired SLAPS in the late 1940s, radioactive materials were stored at

SLAPS, including pitchblende raffinate residues, radium-bearing residues, barium sulfate cake,

Colorado raffinate residues, and that in the 1960s, some radioactive materials were shipped from

SLAPS to the Latty Avenue Site and HISS, resulting in the radioactive contamination of those

sites. Id. at ¶¶ 65-67.

        In 1973, the City acquired SLAPS, which had previously been managed by

“Mallinckrodt” since 1953. Id. at ¶¶ 77, 79. According to Plaintiffs, “[d]espite knowing that

significant activities involving radioactive material were conducted on [SLAPS], the [City] . . .

did nothing to prevent continued dispersal and runoff of . . . radioactive materials into Coldwater

Creek.” Id. at ¶ 80.

        Plaintiffs claim that since 1946, radioactive materials have “migrated from SLAPS,

HISS, and the Latty Avenue Site(s) into Coldwater Creek,” that these materials “were released or

otherwise deposited along the entire FEMA one hundred year flood plain of Coldwater Creek,”

that the “entire one hundred year floodplain of Coldwater Creek is believed to be contaminated”

with radioactive materials, that Plaintiffs’ properties, which are within Coldwater Creek’s flood

plain, “are contaminated by radioactive material,” and that “[t]his radioactive contamination was

caused by...Defendants’ improper handling, storage, and disposal of radioactive materials.” Id.

at ¶¶ 88, 91-92, 96.

        In short, the factual allegations undergirding Plaintiffs’ purported injuries all relate to

Defendants’ alleged conduct in connection with nuclear and radioactive materials. As a result,




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Plaintiffs’ claims arise out of an alleged nuclear incident. Plaintiffs’ state law claims are

preempted by the PAA.

               B.      Plaintiffs Seek to Impose Public Liability for Damages Allegedly
                       Arising from a Nuclear Incident.

       Plaintiffs attempt to plead around the PAA, Plaintiffs’ Second Amended Class Action

Petition ¶¶ 14-17. Plaintiffs’ conclusory assertions, however, fail to refute the clear import of

their allegations constituting a claim of public liability arising from a nuclear incident. Pursuant

to the PAA, a public liability action is the “exclusive federal cause of action” for Plaintiffs’

alleged “radiation injur[ies],” Roberts, 146 F.3d at 1306. Because the Plaintiffs’ claims seek

public liability stemming from a nuclear incident, all state law claims are preempted.

       Plaintiffs’ assertions about the inapplicability of the PAA to her claims are belied by her

allegations and publically acknowledged admissions by the United States Government. SLAPS,

currently owned by the City of St. Louis, was acquired by the Manhattan Engineer District

(MED) and the Atomic Energy Commission (AEC) in 1946. Intent to Prepare a Remedial

Investigation/Feasibility Study – Environmental Impact Statement: Response Actions at Sites in

St. Louis. MO, 57 Fed. Reg. 887, 888 (Jan. 9, 1992). SLAPS was used to store uranium-bearing

material generated as a byproduct of the generation of uranium compounds by Mallinckrodt

Chemical Works under contracts with the MED and AEC. Id. The activities that caused the

radioactive materials to be placed at SLAPS, therefore, were performed directly by MED/AEC

or its contractor, Mallinckrodt Chemical. In addition, the Department of Energy has “assumed

responsibility for: - All contamination, both radioactive and chemical, whether commingled or

not at HISS and SLAPS.” Id. at 889. These activities constitute a nuclear incident.

       This court has held, with respect to claims for personal injury arising out the same alleged

contamination from SLAPS, SLDS and HISS as Plaintiffs allege as the basis for their property



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damage claims, that state law claims are preempted and the PAA is the exclusive remedy.

McClurg v. MI Holdings, Inc., 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013). The court stated:

       “To summarize, a ‘public liability action’ is a suit in which a party asserts that
       another party bears any legal liability arising out of an incident in which the
       hazardous properties of radioactive material caused bodily injury, sickness, or
       property damage.” Cotroneo v. Shaw Env't & Infrastructure, Inc., 639 F.3d 186,
       194 (5th Cir.2011). “[A] plaintiff who asserts any claim arising out of a ‘nuclear
       incident’ as defined in the PAA, 42 U.S.C. § 2014(q), can sue under the PAA or
       not at all.” Id. at 193 (citation omitted).

       Following the overwhelming authority from a majority of federal circuit courts and this

Court’s decision in McClurg, Plaintiff’s state law claims are preempted by the PAA. But

Plaintiffs’ claims fail to state a claim upon which relief can be granted.

       II.     Plaintiffs’ Claims Fail to State a Claim Upon Which Relief Can be Granted.

       Plaintiffs failed to sufficiently allege a PAA claim because they fail to plead that the City

exceeded federal dose and effluent limits, an element essential to making a claim for relief under

the PAA. Further, Plaintiffs’ claims fail because they either seek relief not allowed by the PAA,

or fail to plead the requisite elements for the requested relief.

       Plaintiffs set out separate counts for punitive damages and injunctive relief, which do not

independently state claims. See Church v. Missouri, 268 F.Supp.3d 992, 1022 (W.D. Mo. 2017);

Landum v. Livingston, 394 S.W.3d 573, 578 (Mo. App. 1965).. Rather, these are types of

remedies that can be asserted as desired relief for other actionable legal theories. Accordingly,

Counts VII and VIII should be dismissed.

       Further, Plaintiffs have not adequately pleaded a negligence claim because they have not

adequately described the duty the City allegedly owes them. To state a claim for negligence, a

plaintiff must allege 1) that defendant has a duty to protect plaintiff from injury; 2) defendant has

failed to perform that duty; 3) as a result, plaintiff was injured. Plaintiffs do not specify the duty

owed to them, making it impossible for the City to defend itself against the overly-vague claims



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lodged against it.

        Likewise, Plaintiffs fail to state a claim for civil conspiracy. “Merely alleging the

commission of wrongful acts is conclusory and insufficient to state a claim for civil conspiracy.”

Mackey v. Mackey, 914 S.W.2d 48, 50 (Mo. Ct. App. 1996). To state a claim, Plaintiffs must

plead “facts that, if true, constitute an unlawful act.” Id. Plaintiffs fail to plead facts sufficient to

support an allegation of fraud, which must be pleaded with particularity. See Rule 55.15. There

was no “meeting of the minds” among the Defendants, and certainly not on the part of the City,

which Plaintiffs admit merely purchased the SLAPS property in 1973 and then “did nothing to

prevent” alleged contamination of the site and Coldwater Creek. Second Amended Class Action

Petition, ¶¶ 79-80. Nowhere in the Petition do Plaintiffs set forth facts to establish that the City

conspired with or had any meaningful contact with Cotter, ComEd, or DJ in the context of the

SLAPS site. Accordingly, Plaintiffs’ civil conspiracy claim against the City should be dismissed

for failure to state a claim.

        Finally, Plaintiffs fail to sufficiently state claims for inverse condemnation, violation of

due process, and taking without just compensation. For each of these claims, Plaintiffs fail to

sufficiently plead that the City has deprived Plaintiffs of the use and enjoyment of their

properties. For example, Plaintiffs have not indicated that they were forced to abandon their

properties, that their properties were no longer usable for residential or commercial purposes, or

that their property rights have otherwise been actually negatively affected. The City has not

“taken” any Plaintiffs’ property, and if it has, it did not do so without due process and just

compensation. Accordingly, Counts X, XI, and XII must be dismissed.

        III.    The Class Definition is Overbroad.

        Plaintiffs fail to establish facts sufficient to support a class action or to certify the




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purported class. A party seeking to certify a class must demonstrate numerosity, commonality,

typicality, and adequacy of representation. See Rule 52.08. Plaintiffs’ proposed class definitions

are impermissibly overbroad and do not meet the four required elements of Rule 52.08. For

example, Plaintiffs seek to include all property owners within the Coldwater Creek 100-year

floodplain, regardless of whether that property is alleged to be contaminated with radioactive

materials attributable to the City or to any of the Defendants. Courts routinely reject overbroad

class definitions such as the one advanced by Plaintiffs, and this Court should do the same. See,

e.g., Green v. Fred Weber, Inc., 254 S,W3d 874, 883 (Mo. banc 2008) (class certification held to

be inappropriate where there was no evidence that individuals in the certified geographic area

other than the named plaintiff were similarly affected by the complained-of condition).

Accordingly, the Court should dismiss Plaintiffs’ class allegations because the class definitions

are impermissibly overbroad and insufficient to meet the certification requirements of Rule

52.08.

                                        CONCLUSION

         Plaintiffs’ Second Amended Class Action Petition should be dismissed because

Plaintiffs’ claims are preempted by the PAA, and are insufficiently pleaded. Counts I-XII should

be dismissed with prejudice.




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                                                    ARMSTRONG TEASDALE LLP



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                                                    OPERATOR OF ST. LOUIS LAMBERT
                                                    INTERNATIONAL AIRPORT®)



                               CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2020, the foregoing was filed electronically with the

Clerk of the Court to be served by operation of the Court’s electronic filing system upon all

counsel of record.

                                                 /s/ John F. Cowling




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               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS, )
BARBARA HOOKS, JOEL HOGAN,      )
KENNETH NIEBLING, KENDALL LACY, )
TANJA LACY, WILLIE CLAY, BOBBIE )
JEAN CLAY, ANGELA STATUM, AND   )
MISSOURI RENTALS COMPANY, LLC,  )
on behalf of themselves and all others
                                )
similarly situated,             )
                                )
           Plaintiffs,                                 Cause No: 18SL-CC00617-01
                                )
                                )
vs.                                                    Division 17
                                )
                                )
COTTER CORPORATION,             )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA )
COATINGS, INC., AND ST. LOUIS   )
AIRPORT AUTHORITY, A DEPARTMENT )
OF THE CITY OF ST. LOUIS,       )
                                )
           Defendants.
                                )

             DEFENDANT THE CITY OF ST. LOUIS’ MOTION TO DISMISS
             PLAINTIFFS’ SECOND AMENDED CLASS ACTION PETITION

       Defendant the City of St. Louis (the owner and operator of St. Louis Lambert

International Airport®) (the “City”), pursuant to Rules 55.05 and 55.27 of the Missouri Rules of

Civil Procedure, moves for dismissal of Plaintiff’s Second Amended Class Action Petition. In

support of this motion, the City states as follows:

       1.      Plaintiff alleges only state law claims that are entirely preempted by the Price-

Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq.

       2.      A claim under the PAA is the exclusive remedy for public liability claims arising

out of a nuclear incident. The PAA, as amended in 1988, establishes a federal cause of action

known as a “public liability action” for tort claims arising out of incidents involving radioactive

materials “Public liability” means “any legal liability arising out of or resulting from a nuclear
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incident.” Id. § 2014(w). A “nuclear incident” involves “bodily injury, sickness, disease, or

death, or loss of or damage to property, or loss of use of property caused by the “radioactive,

toxic, explosive, or other hazardous properties of source, special nuclear, or byproduct material.”

Id. § 2014(q).

       3.        Plaintiff asserts state-law based claims against the Defendants for: (1) trespass;

(2) permanent nuisance; (3) temporary nuisance; (4) negligence; (5) negligence per se; (6) strict

liability/absolute liability; (7) injunctive relief seeking medical monitoring; (8) punitive

damages; (9) civil conspiracy; and against the City only, for (10) inverse condemnation; (11)

violation of the Missouri State Constitution’s due process guarantee; and (12) violation of the

Missouri State Constitution’s takings and just compensation clause. Plaintiffs’ Second Amended

Class Action Petition ¶¶ 99-220.

       4.        For the reasons stated in the City’s Memorandum in Support of Motion to

Dismiss, Plaintiffs’ Second Amended Class Action Petition fails to state a claim upon which

relief can be granted. Plaintiffs’ state law claims are insufficiently pleaded, and are preempted by

the PAA. Plaintiffs’ claims should therefore be dismissed.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2020, the foregoing was filed electronically with the

Clerk of the Court to be served by operation of the Court’s electronic filing system upon all

counsel of record.

                                                    /s/ John F. Cowling




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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, et al., on behalf of themselves )
and all others similarly situated,          )
                                            )
        Plaintiffs,                         )
                                            )
v.                                          )             Cause No. 18SL-CC00617-01
                                            )
COTTER CORPORATION,                         )             JURY TRIAL DEMANDED
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA             )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE              )
CITY OF ST. LOUIS,                          )
                                            )
        Defendants.                         )

                                    NOTICE OF HEARING

       YOU ARE HEREBY NOTIFIED that Defendant Commonwealth Edison Company’s

Motion to Dismiss for Lack of Personal Jurisdiction, and Defendants Cotter Corporation and

Commonwealth Edison Company’s Motion to Dismiss Plaintiffs’ Second Amended Class-Action

Petition in the above-captioned matter, will be called for hearing in St. Louis County Circuit Court

Division 17 on March 31, 2020 at 9:00 a.m. or as soon thereafter as counsel may be heard.

Dated: February 28, 2020                      Respectfully submitted,

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                                              Attorneys for Plaintiffs and Proposed Class



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                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 28, 2020, a true and accurate copy of the
foregoing was served by filing it in the court’s electronic filing system, which will provide electronic
notice and a copy of the filing to all parties and attorneys of record, and further served by email on
counsel of record at the email addresses listed below:


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         IN THE 21ST JUDICIAL CIRCUIT COURT,             ST. LOUIS COUNTY       , MISSOURI

 Tamia Banks,
          Plaintiff,
                         vs.
 Cotter Corporation Et Al,
          Defendant.

 Case Number: 18SL-CC00617-01

                                              Entry of Appearance

    Comes now undersigned counsel and enters his/her appearance as attorney of record for Tamia Banks, Plaintiff, in
    the above-styled cause.




                                                          /s/ Nathaniel R. Carroll
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                                                  Certificate of Service
    I hereby certify that on         March 30th, 2020           , a copy of the foregoing was sent through the
    Missouri eFiling system to the registered attorneys of record and to all others by facsimile, hand delivery,
    electronic mail or U.S. mail postage prepaid to their last known address.



                                                          /s/ Nathaniel R. Carroll
                                                           Nathaniel Richard Carroll



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                   IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                              STATE OF MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE                            Case No. 18SL-CC00617-01
JEAN CLAY, ANGELA STATUM, and                                    Division No. 17
MISSOURI RENTALS COMPANY, LLC, on
behalf of themselves and all others similarly
situated,
              Plaintiffs,

       v.

COTTER CORPORATION, et al.,

              Defendants.


                                ENTRY OF APPEARANCE

       The undersigned attorneys enter their appearance on behalf of Defendant Commonwealth

Edison Company without waiver of jurisdictional or other defenses.

       Dated: March 25, 2020                        Respectfully submitted,

                                                    /s/ Brian O. Watson
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                                CERTIFICATE OF SERVICE

         The undersigned attorney certifies on March 25, 2020, these papers were filed via the

Missouri Court’s eFiling system, which will serve an electronic copy upon all counsel of record.

                                                   Respectfully submitted,

                                                   /s/ Brian O. Watson
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                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE                             Case No. 18SL-CC00617-01
JEAN CLAY, ANGELA STATUM, and                                     Division No. 17
MISSOURI RENTALS COMPANY, LLC, on
behalf of themselves and all others similarly
situated,

               Plaintiffs,

        v.

COTTER CORPORATION, et al.,

               Defendants.


                DEFENDANT COMMONWEALTH EDISON COMPANY’S
                  REPLY IN SUPPORT OF ITS MOTION TO DISMISS

       Commonwealth Edison Company (“ComEd”) established that Plaintiffs’ Second

Amended Class-Action Petition should be dismissed because it fails to create personal

jurisdiction over ComEd and fails to state a claim against ComEd. Plaintiffs’ response does not,

and cannot, overcome the evidence that ComEd: (1) is not registered to do business in Missouri;

(2) is not doing business in Missouri; (3) has not transacted business in Missouri as to any matter

which is the subject of this action; (4) does not offer products or services within Missouri; (5)

has no employees in Missouri; (6) does not own or lease any real property or facilities in

Missouri; and (7) does not maintain any office to do business in Missouri. (Def.’s Mot. at Ex. 3.)

       In their response, Plaintiffs argue new jurisdictional theories that would contravene

constitutional and Missouri law and would eviscerate the rights of ComEd. Plaintiffs claim that

personal jurisdiction may be based on ComEd’s purchase in 1974 of codefendant Cotter
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Corporation (N.S.L.) (“Cotter”); ComEd’s indemnity agreement with codefendant Cotter; and

ComEd’s alleged actions as the claimed alter-ego of Cotter. (Pls.’ Opp. at 1, 13-14.) None of

these arguments has merit.

I.     Plaintiffs Have Not Established Personal Jurisdiction Over ComEd.

       A.      ComEd’s Purchase of Cotter Does Not Establish Personal Jurisdiction.

       Plaintiffs offer no authority for their claim that the “mere act of owning” a subsidiary

authorizes personal jurisdiction under Missouri’s long-arm statute and subjects a foreign parent

corporation to jurisdiction in satisfaction of the Fourteenth Amendment. (Pls.’ Opp’n at 6.) To

the contrary, ComEd’s purchase of codefendant Cotter in 1974 is legally irrelevant to this

Court’s personal jurisdiction analysis. (Def.’s Mot. at 9-11.)

       As ComEd’s motion explained, extensive case law—unrebutted by Plaintiffs—makes

clear that “ownership of subsidiary is insufficient to justify personal jurisdiction. Whether a

subsidiary is subject to personal jurisdiction in the state has no effect on the jurisdictional inquiry

regarding its parent.” Steinbuch v. Cutler, 518 F.3d 580, 589 (8th Cir. 2008); see also id.

(quoting Epps v. Stewart Info. Servs. Corp., 327 F.3d 642, 649 (8th Cir. 2003)) (“A corporation

is not doing business in a state merely by the presence of its wholly owned subsidiary.”).

       Plaintiffs’ argument misstates the law. Empiregas, Inc., of Noel v. Hoover Ball &

Bearing Co. decided a motion to dismiss based on failure to state a negligence claim; it did not

“reverse trial court’s dismissal based on lack of personal jurisdiction” or involve any parent-

subsidiary relationship as Plaintiffs suggest. 507 S.W.2d 657, 658 (Mo. 1974). Nor did State ex

rel. Birdsboro Corp. v. Kimberlin involve any parent-subsidiary relationship; jurisdiction existed

because the defendant “shipped the product directly to Cameron, Missouri.” 461 S.W.2d 292,

296 (Mo. App. W.D. 1970). Myers v. Casino Queen, Inc. also did not involve any parent-

subsidiary relationship; the defendant had direct and substantial contacts with Missouri,

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including advertising in Missouri; engaging in direct mailing campaigns in Missouri;

maintaining business relationships and advertising with professional sports teams in Missouri;

operating a fleet of shuttle buses in Missouri; and donating to political efforts in Missouri. 689

F.3d 904, 908 (8th Cir. 2012). None of Plaintiffs’ cases supports their argument.

        Thus, Plaintiffs’ first argument for personal jurisdiction over ComEd fails because none

of their cited authority applies where, as here, ComEd does not have any relevant contacts with

Missouri and a former subsidiary’s contacts are legally irrelevant.

        B.      ComEd’s Indemnity Agreement with Cotter Does Not Establish Personal
                Jurisdiction.

        Plaintiffs’ second argument is equally flawed because ComEd did not, as Plaintiffs

suggest, “consent to an obligation to stand up in Court wherever Cotter is subject to personal

jurisdiction, including the instant lawsuit, and to substitute itself for Cotter on the issue of

personal jurisdiction.” (Pls.’ Opp. at 7-8.) Plaintiffs’ Second Amended Petition does not make

any allegation that ComEd expressly assumed Cotter’s liabilities such that it agreed to be subject

to Missouri’s jurisdiction.

        Again, Plaintiffs’ response mischaracterizes the law. Green v. Montgomery Ward & Co.

did not hold that a “transferor had sufficient contacts to allow an exercise of personal

jurisdiction” as Plaintiffs argue. 775 S.W.2d 162, 164 (Mo. App. W.D. 1989). Rather, the court

of appeals in Green found that a Mississippi corporation was so closely aligned with its

predecessor, an Ohio corporation, that it was a “mere continuation” of the predecessor, the

transfer was simply “the move of the corporation from Ohio to Mississippi,” and the predecessor

had assembled the defective product from parts it acquired in the move. Id.1


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         Plaintiffs’ authorities are all inapposite. See Bennett v. Rapid Am. Corp., 816 S.W.2d
677, 678 (Mo. 1981) (remanding because the court found “no allegation ... sufficient to
demonstrate that [the predecessor] transacted business in the State of Missouri”); Williams v.
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       Plaintiffs make no such allegation against ComEd. Nowhere does Plaintiffs’ Second

Amended Petition allege that ComEd was the “mere continuation” of Cotter, or anything close to

the allegations in Green. Indeed, Plaintiffs allege that Cotter still “currently operates as a

subsidiary of General Atomics, Inc.” (Pls.’ Second Am. Pet’n at ¶ 27.) Accordingly, Plaintiffs

offer no grounds for this Court to exercise jurisdiction over ComEd based on ComEd’s alleged

indemnity agreement of Cotter.

       C.      Plaintiffs’ Alter-Ego Theory Does Not Establish Personal Jurisdiction.

       Plaintiffs’ final argument has no factual or legal basis that “ComEd through ComEd’s

actions as alter-ego of Cotter” is subject to personal jurisdiction in Missouri. (Pls.’ Opp. at 1, 13-

14.) As discussed below, Plaintiffs’ Second Amended Petition does not claim any actions taken

by ComEd in Missouri, let alone any actions taken as an alleged alter-ego of Cotter in Missouri.

Nor do Plaintiffs cite any authority that would support their alter-ego theory of personal

jurisdiction over ComEd. (Pls.’ Opp’n at 10-11.)

       Bliss is dispositive, and Plaintiffs do not try to distinguish its clear holding. Where, as

here, “a subsidiary’s presence in the state is primarily to carry on its own business and the

subsidiary has preserved some semblance of independence from the parent, jurisdiction over the

parent may not be acquired on the basis of the local activities.” 108 F.R.D. at 131. Plaintiffs’


Bowman Livestock Equip. Co., 927 F.2d 1128, 1132 (10th Cir. 1991) (refusing to apply
Oklahoma law that “successor liability can be imposed when there is a statutory merger or
consolidation ... , or, in limited circumstances, a sale or transfer of all, or substantially all, the
assets of a corporation”); City of Richmond, Virginia v. Madison Mgmt. Grp., Inc., 918 F.2d 438,
454-55 (4th Cir. 1990) (noting that imputing contacts of predecessor to successor can be done if
to do otherwise “would allow corporations to immunize themselves by formalistically changing
their titles”); Duris v. Erato Shipping, Inc., 684 F.2d 352, 356 (6th Cir. 1982) (dealing with a
“surviving corporation [who] is liable for all claims”); United States v. Bliss, 108 F.R.D. 127,
131-34 (E.D. Mo. 1985) (imputing contacts where two entities “merely exchanged names” and
noting that “[t]he test is whether the parent so dominates and controls the subsidiary that the
companies lose their separate identities. A court may not exercise jurisdiction solely because a
parent owns all the stock of its subsidiary” (citation omitted)).
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Second Amended Petition makes clear that Cotter and ComEd maintain separate, independent

corporations. (Pls.’ Second Am. Pet’n at ¶ 27 (alleging Cotter “currently operates as a subsidiary

of General Atomics” and “is a Colorado corporation with its principal place of business in

Englewood, Colorado”); id. at ¶ 9 (alleging “Cotter continuously and systematically carried on

business activities in the State of Missouri”); id. at ¶¶ 69-73 (alleging actions taken by Cotter).)

Thus, Plaintiffs’ alter-ego theory does not, and cannot, establish personal jurisdiction over

ComEd.

       D.      Plaintiffs’ Demand for Jurisdictional Discovery Is Improper Because Their
               Jurisdictional Allegations Fail as A Matter of Law, Not Fact.

       Plaintiffs also request more jurisdictional discovery from ComEd “on the corporate

relationships and any relevant agreements between the relevant entities.” (Pls.’ Opp. at 9.) This

request should be denied because Plaintiffs’ jurisdictional allegations fail as a matter of law, not

fact. As detailed above, the corporate relationships and agreements cannot create personal

jurisdiction over ComEd. Discovery would not unearth relevant contacts for personal

jurisdiction. See Pecoraro v. Sky Ranch for Boys, Inc., 340 F.3d 558, 562 (8th Cir. 2003)

(“Minimum contacts must exist either at the time the cause of action arose, the time the suit is

filed, or within a reasonable period of time immediately prior to the filing of the lawsuit.”).

II.    Plaintiffs Have Not Stated a Claim Against ComEd.

       Additionally, Plaintiffs’ Second Amended Petition should be dismissed because it does

not state a claim against ComEd. Plaintiffs point to their allegations in the Second Amended

Petition that ComEd was obligated to require Cotter to comply with Missouri law, assumed the

environmental safety of Cotter, knew about the alleged radioactive contamination, conspired

with Cotter to cover up the radioactivity, and controlled the policy and business of Cotter to

perpetuate the negligent and unlawful contamination. (Pls.’ Second Am. Pet’n at ¶ 29B.)


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        None of these allegations supports a claim against ComEd. Where, as here, ComEd and

Cotter have corporate formalities preserving their status as distinct entities, ComEd cannot be

held liable for Cotter’s alleged negligence. Bliss, 108 F.R.D. at 131–2; Def.’s Mot. at 13–15

(collecting authority). Nor could Plaintiffs amend to cure this fatal defect. Plaintiffs concede

that ComEd did not purchase Cotter until 1974—after Cotter transported and stored the materials

at issue—and sold Cotter to an unrelated third party in 2000. As ComEd’s motion established,

Plaintiffs cannot amend to allege that ComEd controlled Cotter’s behavior or had liability as

Cotter’s parent company during the relevant time.

                                           CONCLUSION

        For these reasons, Defendant Commonwealth Edison Company respectfully requests that

this Court grant its motion to dismiss the Second Amended Petition for lack of personal

jurisdiction and for failure to state a claim.




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      Dated: March 26, 2020                Respectfully submitted,

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                                           COMPANY




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                                 CERTIFICATE OF SERVICE

         I certify that on March 26, 2020, these papers were filed via the Missouri Court’s eFiling

system, which will automatically serve an electronic copy upon all counsel of record.

                                                      Respectfully submitted,

                                                      /s/ Brian O. Watson
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               TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                                 ST. LOUIS COUNTY

TAMIA BANKS, on behalf of herself and                   )
all others similarly situated,                          )
                               Plaintiff,               )
                                                        )
Vs.                                                     )      Cause No. 18SL-CC00617-01
                                                        )
COTTER CORPORATION, et al.,                             )      Division No. 17
                                                        )
                                Defendants.             )

                                        MOTION TO WITHDRAW

          COMES NOW Jennifer C. Pitzer with the law firm of CLAYBORNE & WAGNER LLP,

previously Counsel for Plaintiff, TAMIA BANKS, et al, and for her Motion to Withdraw, state as

follows:

          1.     On October 1, 2019, James Clayborne, the partner assigned to this matter filed a

Motion to Withdraw based on a conflict of interest.

          2.     The undersigned, perhaps mistakenly, believed that the Motion extended to her

representation as well.

          3.     Upon information and belief, staff at the court confirmed this interpretation and told

Ms. Pitzer’s secretary that she would in fact be withdrawn.

          4.     The undersigned is still listed as counsel of record and on the service list for this

matter.

          5.     Counsel respectfully requests that the Court grant her Motion to Withdraw from

this matter.

          6.     Plaintiffs are ably represented by other counsel and the withdrawal will not

prejudice them in any way.
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       WHEREFORE, Jennifer C. Pitzer with the law firm of CLAYBORNE & WAGNER LLP,

prays this Court enter an order allowing our her to withdraw as counsel for Plaintiff, TAMIA

BANKS, et al., in the above-captioned matter.


                                    Respectfully Submitted,

                               CLAYBORNE & WAGNER LLP

                                /s/ Jennifer C. Pitzer____
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                                    Jennifer C. Pitzer, #64554
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                                   jclayborne@cswlawllp.com




                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on this 27th day of March, 2020, she caused
a true and correct copy of Motion to Withdraw as Counsel to be e-filed and served upon all
attorneys of record via the Court’s electronic filing system.


                                   /s/ Jennifer C. Pitzer
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           TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

TAMIA BANKS, on behalf of herself and                )
all others similarly situated,                       )
                               Plaintiff,            )
                                                     )
Vs.                                                  )       Cause No. 18SL-CC00617-01
                                                     )
COTTER CORPORATION, et al.,                          )       Division No. 17
                                                     )
                              Defendants.            )

                                                 ORDER

       This cause coming before the Court on Jennifer C. Pitzer’s Motion to Withdraw as counsel

of record on behalf of Plaintiff, and the Court being fully advised in the premises;


       IT IS HEREBY ORDERED that Defendant’s Jennifer C. Pitzer’s Motion to Withdraw as

Counsel of Record is GRANTED.

SO ORDERED:

This _____ day of _________________________, 2020.


                             ________________________________
                                   HONORABLE JUDGE
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                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE                             Case No. 18SL-CC00617-01
JEAN CLAY, ANGELA STATUM, and                                     Division No. 17
MISSOURI RENTALS COMPANY, LLC, on
behalf of themselves and all others similarly
situated,

               Plaintiffs,

        v.

COTTER CORPORATION, et al.,

               Defendants.


DEFENDANTS COTTER CORPORATION (N.S.L.) AND COMMONWEALTH EDISON
COMPANY’S RESERVATION OF THEIR PRICE-ANDERSON ACT DEFENSES AND
          REPLY IN SUPPORT OF THEIR MOTION TO DISMISS

       Defendants Cotter Corporation (N.S.L.) (“Cotter”) and Commonwealth Edison Company

(“ComEd”)1 showed in painstaking detail that Plaintiffs’ Second Amended Class-Action Petition

failed to cure the deficiencies of their two prior petitions. As to the Price-Anderson Act, because

Plaintiffs’ response relies on matters outside their pleading, Cotter and ComEd agree to reserve

these defenses based on the Price-Anderson Act for summary judgment. As to their remaining

arguments, Plaintiffs’ response cannot save what they failed to plead. First, Plaintiffs do not

allege a breach of the legal standard of care, which is the federal dosage and effluent limits.

Second, Plaintiffs fail to support their civil conspiracy claim because merely alleging wrongful

acts is conclusory and insufficient under the law. Third, Plaintiffs’ class allegations are


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 ComEd files this reply without waiving its motion for lack of personal jurisdiction under
Missouri Supreme Court Rule 55.27(a).
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irretrievably broad and do not satisfy the essential elements—numerosity, commonality,

typicality, and adequacy of representation—of a putative class action petition under Rule 52.08.

For these reasons, Plaintiffs’ Second Amended Class-Action Petition should be dismissed.

I.     The Price-Anderson Act Defenses Are Reserved for a Summary Judgment Motion
       with Plaintiffs’ Submissions Outside the Pleadings.

       Cotter and ComEd reserve their Price-Anderson Act defenses for summary judgment

because Plaintiffs present matters well outside the pleadings, and the Court will benefit from a

developed record. (E.g., Pls.’ Opp’n at Ex. 1, Decl. Marvin Resnikoff; Pls.’ Opp’n at Ex. 2,

Decl. Richard B. Stewart; Pls.’ Opp’n at 2–3, 16–19.) Based on Plaintiffs’ submissions, all

parties should be given reasonable opportunity to present all material for the Court under Rule

55.27(a). See Turner Eng’g, Inc. v. 1491155 Weldon Parkway, LLC, 40 S.W.3d 406, 408 (Mo.

App. E.D. 2001) (moving party should “refile the motion so that it complies with Rule 74.04, the

summary judgment rule,” and the trial court should then “order the opposing party to follow

these requirements as well”)); ADP Dealer Servs. Grp. v. Carroll Motor Co., 195 S.W.3d 1, 6

(Mo. App. E.D. 2005) (if a party does not acquiesce in treating a motion to dismiss as a motion

for summary judgment, the trial court “must provide all parties a reasonable opportunity to

present all materials made pertinent to a motion for summary judgment”).

II.    Plaintiffs Have Not Stated a Claim Against Cotter and ComEd.

       A.      Plaintiffs’ Negligence and Negligence Per Se Claims Rely On—But Fail to
               Allege—Any Violation of Federal Dosing Standards for Nuclear Material.

       Plaintiffs claim that Cotter and ComEd offered no case law that Plaintiffs must allege a

dosage amount. (Pls.’ Opp. at 29.) This is incorrect. Cotter and ComEd were clear that

Plaintiffs’ state tort claims require, among other things, a duty owed by Cotter and ComEd to

Plaintiffs and a breach of that duty. (Mot. at 25–28.) Cotter and ComEd established, with

support, that the standard of care in federal regulations governing dose and effluent limits for

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radioactive materials should govern Plaintiffs’ claims for exposure to radioactive materials. (Id.)

Specifically, in 1970–73—the relevant timeframe when Cotter was handling the radioactive

materials at issue—the dosing limit applied to radioactive materials for federal licensees was 500

millirems (units of absorbed radiation) under 10 C.F.R. § 20.105(a) (1969), as Cotter and

ComEd cited.

       Plaintiffs have offered the Court no competing standard of care or reason why that

standard should not apply. Plaintiffs only cite two 1980s cases in the context of exposure to

radioactive substances, which opined that negligence could occur hypothetically while adhering

to federal dosage standards, and the reasoning of those cases has since been rejected. See, e.g.,

Hennessy v. Commonwealth Edison Co., 764 F. Supp. 495, 501 (N.D. Ill. 1991) (rejecting

Bennett v. Mallinckrodt, Inc., 698 S.W.2d 854 (Mo. App. 1985), because the “Supreme Court

has declared, in essence, that states are precluded from regulating the safety aspects of nuclear

development and of the handling of hazardous nuclear materials”); O’Connor v. Commonwealth

Edison Co., 748 F. Supp. 672, 676 (C.D. Ill. 1990), aff’d, 13 F.3d 1090 (7th Cir. 1994) (“Two

Supreme Court cases indicate that the duty the defendants owe the plaintiffs in tort is dictated by

federal law.”).

       As O’Connor and Hennessy held, the handling and safety standards for nuclear materials

are governed exclusively by federal, not state, regulation. O’Connor, 748 F. Supp. at 676;

Hennessy, 764 F. Supp. at 501; see also Pac. Gas & Elec. Co. v. State Energy Resources

Conservation & Development Comm., 461 U.S. 190, 211–112 (1983). Indeed, even cases cited

by Plaintiffs, see, e.g., Bennett, 698 S.W.2d at 858, found that the exclusive application of

federal regulations “is premised on Congress’ belief that the NRC [Nuclear Regulatory

Commission] is more qualified than the individual states to determine what type of safety



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standards should be enacted in this complex area.” While 10 C.F.R. § 20.1(c) urges licensees to

“make every reasonable effort to maintain radiation exposures . . . as low as is reasonably

achievable,” Hennessy held that this language does not “open[] the door to the states to fashion

more stringent standards of permissible exposure levels through their tort system.” 764 F. Supp.

at 501; accord O’Conner, 748 F. Supp. at 676 (“the regulation of nuclear energy is an exacting

science which requires exacting standards”), aff’d, 13 F.3d at 1090.

       As a fallback position, Plaintiffs argue that they have sufficiently alleged negligence and

negligence per se in their allegations of Defendants’ “reckless and negligent processing,

handling, storage, and/or disposal of radioactive substances” and that Defendants’ “mishandling

and improper dumping of radioactive wastes” is a violation of federal regulations. (Pls.’ Opp. at

32–33.) But Plaintiffs have still not identified what Cotter and ComEd allegedly did that

Plaintiffs label as recklessly or negligently processing, handling, storing, and/or disposing of

radioactive of radioactive substances, or how it mishandled radioactive waste, or what was

improper about its disposing of radioactive wastes. ComEd’s former subsidiary Cotter handled

material. That they allegedly did so recklessly, negligently, through mishandling, or improperly,

are legal conclusions and not ultimate facts as required by Missouri law. Compare with Sissel v.

St. Louis & S.F.R. Co., 214 Mo. 515, 113 S.W. 1104, 1105 (1908) (pleading ultimate facts, not

simply legal conclusions, to support allegation of negligence).

       For these reasons, Plaintiffs have still failed to adequately plead causes of action for

negligence and negligence per se, and those claims should be dismissed.

       B.      Plaintiffs Do Not Plead a Civil Conspiracy Claim.

       Plaintiffs’ civil conspiracy claim cannot be rescued for two clear reasons.

       First, Plaintiffs’ allegation that Defendants “wrongfully and fraudulently agreed and

conspired together” (Pls.’ Second Am. Pet. at ¶ 200; Pls.’ Opp. at 38) is a legal conclusion. It
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alleges nothing more than “the commission of wrongful acts,” which is “conclusory and

insufficient to state a claim for civil conspiracy.” Mackey v. Mackey, 914 S.W.2d 48, 50 (Mo.

Ct. App. 1996). Plaintiffs do not even attempt to address this authority.

        Second, as stated above, Plaintiffs allege the wrongful act to include “fraudulently”

agreeing and conspiring together to commit negligence, etc. Plaintiffs ignore Rule 55.15

entirely, which requires fraud to be pled with particularity.

        C.      Plaintiffs Do Not State Sufficient Class Allegations.

        Plaintiffs offer no explanation as to how the definitions of the property damage and

medical monitoring subclasses are not overbroad. They do not dispute that they are defined

simply by the location of their real property or residence—regardless of whether the property is

alleged to be contaminated with the radioactive materials or whether the presence of those

materials is attributable to Defendants. This is a fatal defect. And, notably, named Plaintiffs

themselves have not alleged facts showing any plausible contamination of their property (only

that samples “on or around” their property were “above the normal background levels”), which is

damning to the typicality element of Rule 52.08.

        Plaintiffs cite Hope v. Nissan North America, Inc., 353 S.W.3d 68, 77 (Mo. App. W.D.

2011), in an attempt to apply a lenient standard to an amorphous or ambiguous class, but there

the court relied on the fact that the “latent, but yet unrealized defect” alleged, even in Plaintiffs’

own words, required a more developed record. In contrast, the defect is not latent or unrealized

here—Plaintiffs’ properties are either contaminated or they are not. The class definition fails

here because it is inherently flawed and cannot be fixed with time.

        Similarly, Plaintiffs still have not shown the kind or extent of property damage at issue.

Plaintiffs fail to address this point other than to note their lost property value claim is not a type

of personal preference, but rather a definite measure of damages. That side-steps the point: Until
                                                   5
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Plaintiffs plead damages with clarity, the commonality of the class on the issue of damages

cannot be ascertained. Green v. Fred Weber, Inc., 254 S.W.3d 874, 883 (Mo. banc 2008) (“it

was an abuse of discretion to define the class as including all those residential homeowners

within two miles of Weber’s quarry”).

       Finally, Plaintiffs double down on insisting that they have adequately alleged a medical

monitoring subclass. Plaintiffs allege exposure from many sources since 1946—the opposite of

“the common fact of exposure to a set of toxins from a single source that is the common and

overriding issue in Plaintiff’s case.” Meyer ex rel. Coplin v. Fluor Corp., 220 S.W.3d 712, 719

(2007) (claiming exposure from a single source with Doe Run lead smelter); Elsea v. U.S. Eng’r

Co., 463 S.W.3d 409, 423 (2015) (claiming exposure from a single source with courthouse air-

handling unit project). Nor do they attempt to deal with clear Missouri authority that without

allegations of personal injury, class treatment is not appropriate. (Compare Defs.’ Mot. at 37

with Pls.’ Opp. at 42.) Instead, Plaintiffs assert—without authority—that they “anticipate[] that

there may be injury tomorrow.” Such rank speculation does not create issues of commonality

necessary for certification, nor does it grant any of the proposed medical monitoring subclass

members standing to pursue such a claim.

       D.      Most Factual Allegations Against Cotter and ComEd Should Be Stricken.

       Plaintiffs concede that “Cotter’s involvement is ‘limited to a four-year period of time’

which did not begin until 1969.” (Pls.’ Opp. at 39.) Accordingly, all allegations against

Cotter—and by extension, ComEd—outside of that timeframe should be stricken. Those

allegations include, among others, all activity of generating the material at issue and any

involvement with the material anywhere but at Latty Avenue.




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                                      CONCLUSION

       For these reasons, Defendants Cotter Corporation (N.S.L.) and Commonwealth Edison

Company request that this Court grant their motion to dismiss the Second Amended Petition and

reserve their defenses based on the Price-Anderson Act for summary judgment.




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      Dated: March 30, 2020                Respectfully submitted,

                                           /s/ Brian O. Watson
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                                           ATTORNEYS FOR DEFENDANTS
                                           COTTER CORPORATION (N.S.L.)
                                           AND COMMONWEALTH EDISON
                                           COMPANY




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                                    1482



                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 30, 2020, these papers were filed via the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                                     Respectfully submitted,

                                                     /s/ Brian O. Watson
                                                     RILEY SAFER HOLMES & CANCILA LLP
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4848-3344-8887, v. 10




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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1156 of 1382 PageID #:
                                    1483



                   IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                              STATE OF MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE                            Case No. 18SL-CC00617-01
JEAN CLAY, ANGELA STATUM, and                                    Division No. 17
MISSOURI RENTALS COMPANY, LLC, on
behalf of themselves and all others similarly
situated,
              Plaintiffs,

        v.

COTTER CORPORATION, et al.,

               Defendants.


                                 ENTRY OF APPEARANCE

       The undersigned attorneys enter their appearance on behalf of Defendant Cotter

Corporation (N.S.L.) without waiver of jurisdictional or other defenses.

       Dated: March 30, 2020                        Respectfully submitted,

                                                    /s/ Brian O. Watson
                                                    RILEY SAFER HOLMES & CANCILA LLP
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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1157 of 1382 PageID #:
                                    1484



                                CERTIFICATE OF SERVICE

         The undersigned attorney certifies on March 30, 2020, these papers were filed via the

Missouri Court’s eFiling system, which will serve an electronic copy upon all counsel of record.

                                                   Respectfully submitted,

                                                   /s/ Brian O. Watson
                                                   RILEY SAFER HOLMES & CANCILA LLP
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                                                   docketdept@rshc-law.com
4810-4183-6472, v. 1




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       Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1158 of 1382 PageID #:
                                           1485
         IN THE 21ST JUDICIAL CIRCUIT COURT,             ST. LOUIS COUNTY       , MISSOURI

 Tamia Banks,
          Plaintiff,
                         vs.
 Cotter Corporation Et Al,
          Defendant.

 Case Number: 18SL-CC00617-01

                                              Entry of Appearance

    Comes now undersigned counsel and enters his/her appearance as attorney of record for Tamia Banks, Plaintiff, in
    the above-styled cause.




                                                          /s/ Ryan A. Keane
                                                           Ryan Alexander Keane
                                                           Mo Bar Number: 62112
                                                           Attorney for Plaintiff
                                                           7777 Bonhomme Ave
                                                           Suite 1600
                                                           Clayton, MO 63105
                                                           Phone Number: (314) 391-4700
                                                           ryan@keanelawllc.com




                                                  Certificate of Service
    I hereby certify that on         March 30th, 2020           , a copy of the foregoing was sent through the
    Missouri eFiling system to the registered attorneys of record and to all others by facsimile, hand delivery,
    electronic mail or U.S. mail postage prepaid to their last known address.



                                                          /s/ Ryan A. Keane
                                                           Ryan Alexander Keane



OSCA (10-14) GN230                                         1 of 1
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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1159 of 1382 PageID #:
                                    1486



               IN THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, REV. RONNIE HOOKS, )
BARBARA HOOKS, JOEL HOGAN,             )
KENNETH NIEBLING, KENDALL LACY, )
TANJA LACY, WILLIE CLAY, BOBBIE )
JEAN CLAY, ANGELA STATUM, AND )
MISSOURI RENTALS COMPANY, LLC, )
on behalf of themselves and all others )
similarly situated,                    )
                                       )
                Plaintiffs,            )             Cause No: 18SL-CC00617-01
                                       )
vs.
                                       )             Division No. 17
COTTER CORPORATION,                    )
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA        )
COATINGS, INC., AND ST. LOUIS          )
AIRPORT AUTHORITY, A                   )
DEPARTMENT OF THE CITY OF ST.          )
LOUIS,                                 )                    Judge
                                                                    Judge    Division 17
                                                                                           Division 99
                                       )                    June 07,
                                                            April 10, 2020
                                                                      2015
                Defendants.            )

              UNOPPOSED MOTION FOR LEAVE TO FILE RESPONSIVE
                         PLEADING OUT OF TIME

       COMES NOW Defendant The City of St. Louis, (the owner and operator of St. Louis

Lambert International Airport®) (the “City”) and respectfully requests this Court grant the City

leave to file its responsive pleading out of time. In support of this unopposed motion, the City

states as follows:

       This action was initially removed to Federal Court. The case was remanded, and the file

in St. Louis County Circuit Court was reopened on April 11, 2019. Plaintiffs filed their Second

Amended Class Action Petition on October 29, 2019. After the action was reopened in St. Louis

County Circuit Court, Counsel for the City did not receive electronic service and notice of the

Second Amended Class Action Petition or other recent filings.
                                                                                                       Electronically Filed - St Louis County - February 27, 2020 - 04:08 PM
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       The time to file a responsive pleading has expired, but the City respectfully requests that

this Court grant it leave to file a responsive pleading out of time, pursuant to Rule 44.01. A copy

of the City’s responsive pleading is attached hereto.

       No party will be prejudiced by the grant of this Motion. While other Defendants have

filed motions to dismiss and Plaintiffs have filed responses to those motions, no hearing has

occurred. Further, written discovery requests were recently served on January 31, 2020, but

Responses to discovery are not yet due. This action is in its infancy, and the City’s delayed filing

of its responsive pleading will not result in prejudice to any party. Further, Plaintiffs do not

oppose the grant of this Motion.

       WHEREFORE, because the City’s failure to timely file a responsive pleading was the

result of excusable neglect, the City respectfully requests this Court grant this motion and permit

the City to file its responsive pleading instanter.


                                                      ARMSTRONG TEASDALE LLP


                                                      By: /s/ John F. Cowling
                                                           John F. Cowling                    #30920
                                                           Katherine M. Ricks                 #70322
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                                                           kricks@atllp.com

                                                      ATTORNEYS FOR DEFENDANT
                                                      THE CITY OF ST. LOUIS (THE OWNER
                                                      AND OPERATOR OF ST. LOUIS LAMBERT
                                                      INTERNATIONAL AIRPORT®)




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                                                                                                        Electronically Filed - St Louis County - February 27, 2020 - 04:08 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1161 of 1382 PageID #:
                                    1488



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 27, 2020, the foregoing document was

electronically filed with the Clerk of the Court, to be served by the Court’s electronic notification

system upon all counsel of record.

                                                     /s/ John F. Cowling




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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1162 of 1382 PageID #:
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      TWENTY-FIRST JUDICIAL CIRCUIT COURT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

TAMIA BANKS, REV. RONNIE HOOKS,                           )
BARBARA HOOKS, JOEL HOGAN,                                )
KENNETH NIEBLING, KENDALL LACY,                           )
TANJA LACY, WILLIE CLAY,                                  )
BOBBIE JEAN CLAY, ANGELA STATUM,                          )
and MISSOURI RENTALS COMPANY, LLC,                        )
on behalf of themselves and all others                    )
similarly situated,                                       )
                                                          )
       Plaintiffs,                                        )     Cause No. 18SL-CC00617-01
                                                          )
       vs.                                                )           Division No. 2
                                                          )
COTTER CORPORATION,                                       )
COMMONWEALTH EDISON COMPANY,                              )
DJR HOLDINGS, INC. f/k/a FUTURA                           )
COATINGS, INC., and ST. LOUIS                             )
AIRPORT AUTHORITY, A DEPARTMENT                           )
OF THE CITY OF ST. LOUIS                                  )
                                                          )
       Defendants.                                        )

                                ENTRY OF APPEARANCE

       COMES NOW Marcie J. Vantine, Mehwish Aslam, and Swanson, Martin & Bell, LLP,

and hereby enter their appearance on behalf of Defendant Cotter Corporation (N.S.L).

                                            Respectfully submitted,

                                            By: /s/ Marcie J. Vantine (MO Bar No. 56860)
                                            SWANSON, MARTIN & BELL, LLP
                                            mvantine@smbtrials.com
                                            Mehwish Aslam (MO Bar No. 69801)
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                                            ATTORNEYS FOR DEFENDANT COTTER
                                            CORPORATION (N.S.L.)
                                                                                                 Electronically Filed - St Louis County - April 17, 2020 - 04:22 PM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1163 of 1382 PageID #:
                                    1490



                               CERTIFICATE OF SERVICE

       I hereby certify that on April 17, 2020, the foregoing Appearance was filed via the
Missouri Court’s eFiling system, which will automatically serve an electronic copy of upon all
counsel of record:


                                     By: /s/ Marcie J. Vantine (MO Bar No. 56860)
                                             Marcie J. Vantine, #56860
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                                                                                                                      Electronically Filed - St Louis County - March 27, 2020 - 11:32 AM
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               TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                                 ST. LOUIS COUNTY

TAMIA BANKS, on behalf of herself and                   )
all others similarly situated,                          )
                               Plaintiff,               )
                                                        )
Vs.                                                     )      Cause No. 18SL-CC00617-01
                                                        )
COTTER CORPORATION, et al.,                             )      Division No. 17
                                                        )
                                Defendants.             )
                                                                                             Judge    Division 17
                                                                                     Judge                          Divisio
                                        MOTION TO WITHDRAW                           June 20,
                                                                                     April 10, 2020
                                                                                               2015

          COMES NOW Jennifer C. Pitzer with the law firm of CLAYBORNE & WAGNER LLP,

previously Counsel for Plaintiff, TAMIA BANKS, et al, and for her Motion to Withdraw, state as

follows:

          1.     On October 1, 2019, James Clayborne, the partner assigned to this matter filed a

Motion to Withdraw based on a conflict of interest.

          2.     The undersigned, perhaps mistakenly, believed that the Motion extended to her

representation as well.

          3.     Upon information and belief, staff at the court confirmed this interpretation and told

Ms. Pitzer’s secretary that she would in fact be withdrawn.

          4.     The undersigned is still listed as counsel of record and on the service list for this

matter.

          5.     Counsel respectfully requests that the Court grant her Motion to Withdraw from

this matter.

          6.     Plaintiffs are ably represented by other counsel and the withdrawal will not

prejudice them in any way.
                                                                                                     Electronically Filed - St Louis County - March 27, 2020 - 11:32 AM
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                                    1492



       WHEREFORE, Jennifer C. Pitzer with the law firm of CLAYBORNE & WAGNER LLP,

prays this Court enter an order allowing our her to withdraw as counsel for Plaintiff, TAMIA

BANKS, et al., in the above-captioned matter.


                                    Respectfully Submitted,

                               CLAYBORNE & WAGNER LLP

                                /s/ Jennifer C. Pitzer____
                                  James F. Clayborne, #45627
                                    Jennifer C. Pitzer, #64554
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                                    Belleville, Illinois 62220
                                        T: (618) 239-0187
                                        F: (618) 416-7556
                                   jclayborne@cswlawllp.com




                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on this 27th day of March, 2020, she caused
a true and correct copy of Motion to Withdraw as Counsel to be e-filed and served upon all
attorneys of record via the Court’s electronic filing system.


                                   /s/ Jennifer C. Pitzer
                                                                                                 Electronically Filed - St Louis County - April 22, 2020 - 11:04 AM
Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1166 of 1382 PageID #:
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

TAMIA BANKS, on behalf of herself and           )
all others similarly situated,                  )
                                                )
       Plaintiff,                               )          Cause No. 18SL-CC00617-01
                                                )
               vs.                              )          Division No. 18
                                                )
COTTER CORPORATION,                             )
COMMONWEALTH EDISON                             )
COMPANY, EXELON CORPORATION,                    )
EXELON GENERATION COMPANY,                      )
LLC, DJR HOLDINGS, INC. f/k/a                   )
FUTURA COATINGS, INC., and ST.                  )
LOUIS AIRPORT AUTHORITY, A                      )
DEPARTMENT OF THE CITY OF ST.                   )
LOUIS,                                          )
                                                )
       Defendants.                              )


                                 MOTION TO WITHDRAW

       COMES NOW, Bryan Cave Leighton Paisner, LLP, by and through the undersigned

attorneys, and hereby requests to withdraw its representation of Defendants Cotter Corporation

(N.S.L.) and Commonwealth Edison Company. Counsel advises the Court that its request to

withdraw as counsel is in compliance with Rule 4-1.16. Among other things, the rule provides

that a lawyer may withdraw from representing a client if, among other reasons, withdrawal can

be accomplished without material adverse effect on the interests of the client. There is no

material adverse effect as Cotter Corporation (N.S.L.) remains represented by other counsel of

record in this matter (Swanson, Martin & Bell, LLP and Riley Safer Holmes & Cancila).
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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1167 of 1382 PageID #:
                                    1494



Dated: April 22, 2020                                Respectfully submitted,


                                                     /s/     Erin L. Brooks
                                                     BRYAN CAVE LEIGHTON PAISNER
                                                     LLP
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                                                     ATTORNEYS FOR DEFENDANTS
                                                     COTTER CORPORATION N.S.L. &
                                                     COMMONWEALTH EDISON COMPANY

                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on April 22, 2020, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court using the electronic filing system,
providing electronic service to all counsel of record.


                                                 /s/ Erin L. Brooks




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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1168 of 1382 PageID #:
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY

TAMIA BANKS, on behalf of herself and           )
all others similarly situated,                  )
                                                )
       Plaintiff,                               )          Cause No. 18SL-CC00617-01
                                                )
               vs.                              )          Division No. 18
                                                )
COTTER CORPORATION,                             )
COMMONWEALTH EDISON                             )
COMPANY, EXELON CORPORATION,                    )
EXELON GENERATION COMPANY,                      )
LLC, DJR HOLDINGS, INC. f/k/a                   )
FUTURA COATINGS, INC., and ST.                  )
LOUIS AIRPORT AUTHORITY, A                      )
DEPARTMENT OF THE CITY OF ST.                   )
LOUIS,                                          )                      Judge    Division 17
                                                               Judge                          Division 99
                                                )              June 30,
                                                               April 10, 2020
                                                                         2015
       Defendants.                              )


                                 MOTION TO WITHDRAW

       COMES NOW, Bryan Cave Leighton Paisner, LLP, by and through the undersigned

attorneys, and hereby requests to withdraw its representation of Defendants Cotter Corporation

(N.S.L.) and Commonwealth Edison Company. Counsel advises the Court that its request to

withdraw as counsel is in compliance with Rule 4-1.16. Among other things, the rule provides

that a lawyer may withdraw from representing a client if, among other reasons, withdrawal can

be accomplished without material adverse effect on the interests of the client. There is no

material adverse effect as Cotter Corporation (N.S.L.) remains represented by other counsel of

record in this matter (Swanson, Martin & Bell, LLP and Riley Safer Holmes & Cancila).
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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1169 of 1382 PageID #:
                                    1496



Dated: April 22, 2020                                Respectfully submitted,


                                                     /s/     Erin L. Brooks
                                                     BRYAN CAVE LEIGHTON PAISNER
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                                                     (314) 259-2020 (facsimile)

                                                     ATTORNEYS FOR DEFENDANTS
                                                     COTTER CORPORATION N.S.L. &
                                                     COMMONWEALTH EDISON COMPANY

                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on April 22, 2020, a true and correct copy of the
foregoing was electronically filed with the Clerk of the Court using the electronic filing system,
providing electronic service to all counsel of record.


                                                 /s/ Erin L. Brooks




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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1170 of 1382 PageID #:
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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                         ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al., on behalf of themselves
and all others similarly situated,

              Plaintiffs,                                  Case No. 18SL-CC00617-01
                                                                 Division No. 17
       v.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY,
DJR HOLDINGS, INC. f/k/a FUTURA
COATINGS, INC., and ST. LOUIS AIRPORT
                                                                         Judge    Division 17
AUTHORITY, A DEPARTMENT OF THE                                   Judge                          Division 99
                                                                 June 30,
                                                                 April 10, 2020
                                                                           2015
CITY OF ST. LOUIS,

               Defendants.


               MOTION TO SUBSTITUTE AND WITHDRAW COUNSEL

       Defendants Cotter Corporation (N.S.L.) (“Cotter”) and Commonwealth Edison

Company (“ComEd”) request leave to substitute counsel and withdraw the appearances of Erin

Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold. In support of this motion,

Cotter and ComEd state as follows:

       1.     Erin Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold entered

appearances on behalf of Cotter and ComEd without waiver of jurisdictional or other defenses.

       2.     Cotter and ComEd are represented by other counsel who have entered their

appearances on behalf of Cotter and ComEd without waiver of jurisdictional or other defenses.

       3.     No party will be prejudiced if this motion is granted.

       For these reasons, Defendant Cotter Corporation (N.S.L.) and Commonwealth Edison

Company request that the Court grant leave to substitute counsel, withdraw the appearances of

Erin Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold, and award any further


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relief deemed fair and proper without waiver of jurisdictional or other defenses.


       Dated: April 28, 2020                 Respectfully submitted,

                                             /s/ Brian O. Watson
                                             RILEY SAFER HOLMES & CANCILA LLP
                                             Edward Casmere, #64326MO
                                             Brian O. Watson, #68678MO
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                                             MORGAN, LEWIS & BOCKIUS LLP
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                                             erin.brooks@bryancave.com

                                             ATTORNEYS FOR DEFENDANTS
                                             COTTER CORPORATION (N.S.L.) AND
                                             COMMONWEALTH EDISON COMPANY



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                                  CERTIFICATE OF SERVICE

         I certify that on April 28, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                               Respectfully submitted,

                                               /s/ Brian O. Watson
                                               RILEY SAFER HOLMES & CANCILA LLP
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4838-1340-6138, v. 2




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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, et al., on behalf of themselves )
and all others similarly situated,           )
                                             )
        Plaintiffs,                          )
                                             )
v.                                           )           Cause No. 18SL-CC00617-01
                                             )
COTTER CORPORATION,                          )           Div. 17
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA              )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE               )
CITY OF ST. LOUIS,                           )
                                             )
        Defendants.                          )

                                            ORDER

       Cause called for hearing on the 31st day of March, 2020, on Defendant Commonwealth

Edison Company’s Motion to Dismiss for Lack of Personal Jurisdiction and on Defendants’

Motion to Dismiss Plaintiffs’ Second Amended Class-Action Petition.          Due to COVID-19

limitations, the Court, along with counsel for Plaintiffs and counsel for Defendants, appeared via

Zoom teleconference and videoconference. Based on the briefing and the oral argument presented

at the hearing, the Court hereby orders the following:

       1.      The Court will defer ruling on Defendant Commonwealth Edison Company’s

Motion to Dismiss for Lack of Personal Jurisdiction until the conclusion of two events. First,

Defendant Commonwealth Edison Company (“ComEd”) is to submit to the Court, for in camera

review, the indemnification agreement that ComEd produced in jurisdictional discovery to

Plaintiffs, was referenced in Plaintiffs’ Second Amended Class-Action Petition, and was raised

before the Court during oral argument. Second, prior to the Court ruling on the motion, Plaintiffs

may conduct limited jurisdictional discovery, including discovery related to an alter ego theory

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between ComEd and Defendant Cotter Corporation (N.S.L.) (“Cotter”). Plaintiffs will have leave

to amend to file a Third Amended Petition within 30 days after completion of jurisdictional

discovery to allege an alter ego theory, only if there is a good faith basis to do so, and to

concurrently file supplemental briefing on why the alleged facts establish personal jurisdiction

over ComEd. ComEd shall have 15 days after the filing of a Third Amended Petition and

Plaintiffs’ supplemental briefing to submit responses to the Third Amended Petition and brief. The

Court will then hold a subsequent hearing to hear argument on the additional materials submitted

by the parties before ruling on ComEd’s Motion to Dismiss for Lack of Personal Jurisdiction.

       2.      Plaintiffs are also entitled to proceed with obtaining discovery pertaining to all

Defendants other than ComEd in accordance with the Missouri Supreme Court Rules. Plaintiffs’

discovery to ComEd as a Defendant shall be limited to the jurisdictional issues outlined in

Paragraph 1 until the Court issues an order ruling on ComEd’s Motion to Dismiss for Lack of

Personal Jurisdiction.

       3.      The Court reviews Defendants’ Motion to Dismiss Plaintiffs’ Second Amended

Class-Action Petition under Missouri Supreme Court Rule 55.27(a)(6), and not as a summary

judgment motion, and will not consider the affidavits submitted by Plaintiffs in their Response

brief. Defendants’ Motion to Dismiss Plaintiffs’ Second Amended Class-Action Petition is

granted in part and denied in part, as follows:

               a. Defendants’ Motion to Dismiss based on arguments that the Price-Anderson

                   Act preempts Plaintiffs’ state law claims is denied as moot;

               b. Defendants’ Motion to Dismiss for failure to state a claim under Counts II and

                   III for Temporary Nuisance and Permanent Nuisance is granted, and Plaintiffs

                   are hereby granted leave to amend Counts II and III;



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               c. Defendants’ Motion to Dismiss for failure to state a claim under Count IV for

                   Negligence and Count V for Negligence Per Se is denied;

               d. Defendants’ Motion to Dismiss for failure to state a claim under Count VII for

                   “Injunctive Relief” is granted, in part, and Plaintiffs are hereby granted leave to

                   amend Count VII;

               e. Defendants’ Motion to Dismiss for failure to state a claim under Count VIII for

                   “Punitive Damages” is denied;

               f. Defendants’ Motion to Dismiss for failure to state a claim under Count IX for

                   Civil Conspiracy is denied without prejudice; and

               g. Defendants’ Motion to Dismiss with regard to Plaintiffs’ request for the remedy

                   of medical monitoring is denied.

       4.      Defendants’ motion to dismiss Plaintiffs’ property damage class allegations and

Plaintiffs’ medical monitoring class allegations is denied.

       5.      Defendant City of St. Louis’ Unopposed Motion for Leave to File a Responsive

Pleading Out of Time is granted, but is now moot.




SO ORDERED:                                                   DATED:
                   The Hon. Joseph Walsh III




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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1176 of 1382 PageID #:
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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                         ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al., on behalf of themselves
and all others similarly situated,

              Plaintiffs,                                  Case No. 18SL-CC00617-01
                                                                 Division No. 17
       v.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY,
DJR HOLDINGS, INC. f/k/a FUTURA
COATINGS, INC., and ST. LOUIS AIRPORT
AUTHORITY, A DEPARTMENT OF THE
CITY OF ST. LOUIS,

               Defendants.


               MOTION TO SUBSTITUTE AND WITHDRAW COUNSEL

       Defendants Cotter Corporation (N.S.L.) (“Cotter”) and Commonwealth Edison

Company (“ComEd”) request leave to substitute counsel and withdraw the appearances of Erin

Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold. In support of this motion,

Cotter and ComEd state as follows:

       1.     Erin Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold entered

appearances on behalf of Cotter and ComEd without waiver of jurisdictional or other defenses.

       2.     Cotter and ComEd are represented by other counsel who have entered their

appearances on behalf of Cotter and ComEd without waiver of jurisdictional or other defenses.

       3.     No party will be prejudiced if this motion is granted.

       For these reasons, Defendant Cotter Corporation (N.S.L.) and Commonwealth Edison

Company request that the Court grant leave to substitute counsel, withdraw the appearances of

Erin Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold, and award any further


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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1177 of 1382 PageID #:
                                    1504



relief deemed fair and proper without waiver of jurisdictional or other defenses.


       Dated: April 28, 2020                 Respectfully submitted,

                                             /s/ Brian O. Watson
                                             RILEY SAFER HOLMES & CANCILA LLP
                                             Edward Casmere, #64326MO
                                             Brian O. Watson, #68678MO
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                                             erin.brooks@bryancave.com

                                             ATTORNEYS FOR DEFENDANTS
                                             COTTER CORPORATION (N.S.L.) AND
                                             COMMONWEALTH EDISON COMPANY



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                                  CERTIFICATE OF SERVICE

         I certify that on April 28, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                               Respectfully submitted,

                                               /s/ Brian O. Watson
                                               RILEY SAFER HOLMES & CANCILA LLP
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4838-1340-6138, v. 2




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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI

TAMIA BANKS, et al., on behalf of themselves )
and all others similarly situated,           )
                                             )
        Plaintiffs,                          )
                                             )
v.                                           )           Cause No. 18SL-CC00617-01
                                             )
COTTER CORPORATION,                          )           Div. 17
COMMONWEALTH EDISON COMPANY, )
DJR HOLDINGS, INC. f/k/a FUTURA              )
COATINGS, INC., and ST. LOUIS AIRPORT )
AUTHORITY, A DEPARTMENT OF THE               )
CITY OF ST. LOUIS,                           )
                                             )                     Judge
                                                                           Judge    Division 17
                                                                                                  Division 99
        Defendants.                          )                     June 30,
                                                                   April 10, 2020
                                                                             2015

                                            ORDER

       Cause called for hearing on the 31st day of March, 2020, on Defendant Commonwealth

Edison Company’s Motion to Dismiss for Lack of Personal Jurisdiction and on Defendants’

Motion to Dismiss Plaintiffs’ Second Amended Class-Action Petition.             Due to COVID-19

limitations, the Court, along with counsel for Plaintiffs and counsel for Defendants, appeared via

Zoom teleconference and videoconference. Based on the briefing and the oral argument presented

at the hearing, the Court hereby orders the following:

       1.      The Court will defer ruling on Defendant Commonwealth Edison Company’s

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review, the indemnification agreement that ComEd produced in jurisdictional discovery to

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                                    1507



between ComEd and Defendant Cotter Corporation (N.S.L.) (“Cotter”). Plaintiffs will have leave

to amend to file a Third Amended Petition within 30 days after completion of jurisdictional

discovery to allege an alter ego theory, only if there is a good faith basis to do so, and to

concurrently file supplemental briefing on why the alleged facts establish personal jurisdiction

over ComEd. ComEd shall have 15 days after the filing of a Third Amended Petition and

Plaintiffs’ supplemental briefing to submit responses to the Third Amended Petition and brief. The

Court will then hold a subsequent hearing to hear argument on the additional materials submitted

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       2.      Plaintiffs are also entitled to proceed with obtaining discovery pertaining to all

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               c. Defendants’ Motion to Dismiss for failure to state a claim under Count IV for

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                   “Injunctive Relief” is granted, in part, and Plaintiffs are hereby granted leave to

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               g. Defendants’ Motion to Dismiss with regard to Plaintiffs’ request for the remedy

                   of medical monitoring is denied.

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Pleading Out of Time is granted, but is now moot.




SO ORDERED:                                                   DATED:
                   The Hon. Joseph Walsh III




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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                         ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al., on behalf of themselves
and all others similarly situated,

              Plaintiffs,                                  Case No. 18SL-CC00617-01
                                                                 Division No. 17
       v.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY,
DJR HOLDINGS, INC. f/k/a FUTURA
COATINGS, INC., and ST. LOUIS AIRPORT
                                                                         Judge    Division 17
AUTHORITY, A DEPARTMENT OF THE                                   Judge                          Division 99
                                                                 June 30,
                                                                 April 10, 2020
                                                                           2015
CITY OF ST. LOUIS,

               Defendants.


               MOTION TO SUBSTITUTE AND WITHDRAW COUNSEL

       Defendants Cotter Corporation (N.S.L.) (“Cotter”) and Commonwealth Edison

Company (“ComEd”) request leave to substitute counsel and withdraw the appearances of Erin

Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold. In support of this motion,

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       3.     No party will be prejudiced if this motion is granted.

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Company request that the Court grant leave to substitute counsel, withdraw the appearances of

Erin Brooks, Dale Guariglia, John McGahren, and Stephanie Feingold, and award any further


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relief deemed fair and proper without waiver of jurisdictional or other defenses.


       Dated: April 28, 2020                 Respectfully submitted,

                                             /s/ Brian O. Watson
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                                             Edward Casmere, #64326MO
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                                             erin.brooks@bryancave.com

                                             ATTORNEYS FOR DEFENDANTS
                                             COTTER CORPORATION (N.S.L.) AND
                                             COMMONWEALTH EDISON COMPANY



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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1184 of 1382 PageID #:
                                    1511



                                  CERTIFICATE OF SERVICE

         I certify that on April 28, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                               Respectfully submitted,

                                               /s/ Brian O. Watson
                                               RILEY SAFER HOLMES & CANCILA LLP
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4838-1340-6138, v. 2




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        TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                           ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                  Case No. 18SL-CC00617
 others similarly situated,                                         Division No. 17

               Plaintiffs,

         v.

 COTTER CORPORATION, et al.,

                Defendants.



                                      NOTICE OF SERVICE

       PLEASE TAKE NOTICE that Defendant Commonwealth Edison Company’s Verified

Objections and Responses to Plaintiffs’ First Set of Interrogatories and Objections and Responses

to Plaintiffs’ Request for Production of Documents, Set 1, were served on counsel of record via

electronic service on May 29, 2020.




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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1186 of 1382 PageID #:
                                    1513



                                     CERTIFICATE OF SERVICE

       The undersigned attorney certifies these papers were served on counsel of record via

electronic service on May 29, 2020.

                                             Respectfully submitted,

                                             /s/ Brian O. Watson
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                                             314.242.0903 (telephone)
                                             mvantine@smbtrials.com

                                             ATTORNEYS FOR DEFENDANT
                                             COMMONWEALTH EDISON COMPANY




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        TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                           ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                   Case No. 18SL-CC00617
 others similarly situated,                                          Division No. 17

               Plaintiffs,

         v.

 COTTER CORPORATION, et al.,

                Defendants.



                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE that Defendant Cotter Corporation’s (N.S.L.) (“Cotter”)

Verified Objections and Responses to Plaintiffs’ First Set of Interrogatories and Objections and

Responses to Plaintiffs’ Request for Production of Documents, Set 1, were served on counsel of

record via electronic service on May 29, 2020.




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Case: 4:20-cv-01227-JAR Doc. #: 1-5 Filed: 09/10/20 Page: 1188 of 1382 PageID #:
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                                     CERTIFICATE OF SERVICE

       The undersigned attorney certifies that these papers were served on counsel of record via

electronic service on May 29, 2020.



                                             Respectfully submitted,

                                             /s/ Brian O. Watson
                                              Edward Casmere, # 64326
                                              Brian O. Watson, # 68678
                                              70 W. Madison St., Ste. 2900
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                                             CORPORATION (N.S.L.)




              4814-2545-7598, V. 1




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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                    Case No. 18SL-CC00617
 others similarly situated,                                           Division No. 17

                Plaintiffs,

         v.

 COTTER CORPORATION, et al.,                                             Judge   Division 17
                                                                 Judge                         Division 99
                                                                 June 09,
                                                                 June 10, 2020
                                                                          2015
                 Defendants.


                   STIPULATED PROTECTIVE ORDER
       REGARDING THE PRODUCTION OF CONFIDENTIAL INFORMATION

       Upon stipulation and agreement of the parties in accordance with Missouri Rule of Civil

Procedure 56.01(c), and it appearing to the Court that there is good cause to enter an appropriate

Protective Order to protect confidential, non-public information and materials that may be made

available in the course of discovery in this case;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT the following

principles and procedures designed to assure the protection of confidential and other non-public

information shall govern any and all discovery among the parties:

                               CONFIDENTIAL INFORMATION

       1.      Definitions.

               (a)     A party may designate the following material as “Confidential”: (1) trade

                       secret or other confidential research, development, or commercial

                       information; (2) medical records; and (3) any other information subject to

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                      privacy rights (e.g., HIPAA-protected information) or entitled to

                      protection under the Missouri Supreme Court Rules or other applicable

                      law or orders (also “Confidential Material”). The designation of any

                      material as “Confidential” shall represent that the party producing the

                      material or documents (the “Producing Party”) has actually reviewed the

                      material and has made a good faith determination that any such material so

                      designated is indeed confidential or subject to protection.

              (b)     “Outside Counsel” shall include attorneys (and their support staff) who are

                      not employees of a party or a party’s parent company.

              (c)     “House Counsel” shall include attorneys who are employees of a party or

                      a party’s parent company.

              (d)     “Counsel” (without qualifier) shall include Outside Counsel and House

                      Counsel.

       2.     Disclosure Limits on Confidential Information. Unless otherwise ordered by the

Court or permitted in writing by the party producing and designating the information or item

Confidential Information, a receiving party may disclose any information or item designated

Confidential Information only to:

              (a)     Counsel (including administrative, paralegal, clerical, and secretarial staff

                      employed by such counsel) to a party in this action;

              (b)     parties and court personnel, including court reporters and videographers

                      appearing at depositions, hearings, trial or other proceedings in this case;

              (c)     non-attorney employees of a party who provide input and/or assistance to

                      Counsel; and



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               (d)     the author or recipient of the document in the ordinary course of business,

                       or individuals identified as the source of the information contained in a

                       document designated as Confidential Information.

       In addition, Confidential Information may be disclosed or made available to the

following provided that first (i) a copy of this Order is provided to the receiving party and (ii) the

Agreement to Maintain Confidentiality in the form attached as Exhibit A is read and executed

by the receiving party:

               (a)     outside experts or consultants (together with their administrative staff)

                       retained by a party or Counsel who require the Confidential Information to

                       render opinions relevant to the lawsuit or to otherwise assist Counsel in

                       the prosecution, defense, or settlement of this action;

               (b)     witnesses who are interviewed or who testify at depositions, hearings, or

                       trial, or any such further proceedings which occur in this case, where the

                       Counsel making the disclosure has a good-faith basis to make the

                       disclosure in furtherance of the prosecution or defense of this action;

               (c)     arbitrators and mediators involved in resolving this action;

               (d)     litigation support services, including outside copying services or

                       companies engaged in the business of supporting computerized or

                       electronic litigation discovery or trial preparation, retained by a party or its

                       Counsel for the purpose of assisting that party in this action; and

               (e)     representatives of insurance carriers providing a defense or indemnity to

                       any of the parties.




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         3.     Inadvertent Disclosure of Confidential Information. The inadvertent,

unintentional, or in camera disclosure of Confidential Information shall not be deemed a waiver,

in whole or in part, of any party’s claim of confidentiality. Within 15 days of discovering such

inadvertent or unintentional disclosure, any party to this Order may advise the other parties that

the information or item is to be designated as “Confidential Information” under the terms of this

Order.

                   DESIGNATION OF CONFIDENTIAL INFORMATION

         4.     Form for Designation. Confidential Information shall be so designated by the

producing party by marking copies of Confidential Information with the legend

“CONFIDENTIAL.” The legend “CONFIDENTIAL” must appear on each page of any multi-

page image that the producing party contends contains Confidential Information. Marking the

legend “CONFIDENTIAL” on the cover of any multi-page document is not sufficient to

designate all pages of the document as Confidential Information.

         For information produced in some form other than documentary, and for other tangible

items, the producing party shall affix in a prominent place on the exterior of the container or

containers in which the Confidential Information is stored the legend “CONFIDENTIAL.”

         In addition, the producing party may redact protected health information, personal

medical information, cell phone numbers, credit card information, social security numbers,

employee identification numbers, names and identifying information of family members, and

home addresses. If additional categories of information for redaction become apparent, the

parties agree to meet and confer to resolve redactions.

         5.     Time for Designation. Confidential Information shall be designated at the time of

production; provided that in the event that a producing party inadvertently fails to designate any

Confidential Information as “CONFIDENTIAL” at the time of production, the producing party
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shall re-produce the material, this time designating and stamping the material as

“CONFIDENTIAL” as soon as practicable. Upon receipt of the written notice designating

previously produced documents as “CONFIDENTIAL,” the receiving party shall make a good

faith effort to destroy all copies of the Confidential Information that was inadvertently not

designated as “CONFIDENTIAL.”

       A producing party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting party has indicated which

material it would like copied and produced. During the inspection and before the designation, all

of the material made available for inspection shall be deemed Confidential Information. After the

inspecting party has identified the documents it wants copied and produced, the producing party

must determine which documents, or portions thereof, qualify for protection under this Order.

Then, before producing the specified documents, the producing party must affix the appropriate

legend (“CONFIDENTIAL”) at the top of each page that contains Confidential Information.

       Confidential Information has been designated in the cases identified on Exhibit B. A

producing party shall continue to treat the Confidential Information as it was designated in the

cases identified on Exhibit B, until a court of competent jurisdiction orders otherwise.

       6.      Objection to Designation. The designation of Confidential Information is subject

to objection by any party. The burden on any such objection shall be on the producing party.

The following procedure shall apply to any such objection.

               (a)     Meet and Confer. Any objection to a designation must be submitted in

                       writing to the producing party and must state with specificity the basis for

                       the objection. The parties shall then meet and confer in a good faith effort

                       to resolve the objection. In conferring, the objecting party must explain the



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                       basis for its belief that the designation was not proper and must give the

                       producing party an opportunity to review the designated material, to

                       reconsider the designation, and, if no change in designation is offered, to

                       explain the basis for the designation. Unless otherwise agreed by the

                       objecting party, the producing party must respond within 5 business days

                       of the objection and the parties must meet and confer within 10 business

                       days of the objection.

               (b)     Judicial Intervention. Any unresolved objections to confidentiality

                       designations must be submitted by the producing party to the Court by

                       motion that identifies the designated material and sets forth the basis for

                       the confidentiality designation. The motion must be accompanied by a

                       representation by counsel for the movant that counsel has complied with

                       the meet and confer requirements. The burden on any such motion shall

                       be on the producing party. Until the Court rules on the motion, all parties

                       shall continue to treat the materials as they were designated under the

                       terms of this Order.

       7.      Other Exceptions to the Order. This Order is entered without prejudice to the right

of the parties to present a motion to the Court for a separate protective order as to any particular

document or information that requires restrictions differing from those as specified herein. The

party desiring to maintain confidentiality shall have the burden of establishing grounds for

confidential treatment. This Order shall not be deemed to prejudice the parties in any way in any

future application for modification of this Order.




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       8.      Designation of Testimony. Testimony taken at any deposition, conference,

hearing, or trial may be designated as Confidential Information either (a) on the record, or (b)

within 10 business days of receipt of the transcript. If additional time is requested, the parties

agree to meet and confer. Until the designation period expires, the complete deposition transcript

and videotape shall be treated as Confidential Information unless otherwise specified in writing

or on the record by the producing party. Arrangements shall be made with the court reporter

taking and transcribing such proceeding to separately bind such portions of the transcript

containing information designated as Confidential Information, and to label such portions

appropriately. The designation is subject to objection by any party pursuant to paragraph 6.

       9.      Effect of Designations. Material designated as Confidential Information under this

Order, the information contained therein, and any summaries, copies, abstracts, or other

documents derived in whole or in part from material designated as Confidential Information shall

be kept strictly confidential; shall be used only for purposes of the prosecution, defense, or

settlement of this action, and for no other purposes; and shall only be disclosed in accordance

with this Order.

       10.     Retention of Verifications. Counsel will retain executed copies of Attachment A

and will, upon request, reasonably make such executed copies available to other counsel.

                                    GENERAL PROVISIONS

       11.     Additional Permissible Disclosures. Nothing herein shall impose any restrictions

on the use or disclosure by a party of material obtained lawfully by such party independent of

discovery in this action, whether or not such material is also obtained through discovery in this

action, or from disclosing its own Confidential Information as it deems appropriate. Public

disclosure by the producing party of Confidential Information will result in such information no

longer being subject to the provisions of this Order.
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        12.     Filing Under Seal. If a party wishes to use any Confidential Information in

affidavits, briefs, memoranda of law, or other papers filed in this Court, or in oral argument

presented to this Court (including an objection pursuant to paragraph 6), the party shall not file

such information publicly. The parties agree to inquire of the Court the method by which the

Court would like Confidential Information submitted and to handle submission of Confidential

Information accordingly. In the absence of direction by the Court, the parties shall file

Confidential Information under seal and Confidential Information will be made available only to

the Court and to persons specifically authorized by this Order. Unless instructed otherwise by the

Court, the party filing any paper that reflects, contains, or includes Confidential Information shall

file such paper in a sealed envelope, or other appropriately sealed container, which indicates the

title of the action, the party filing the materials, the nature of the materials filed, and the legend

“CONFIDENTIAL — FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER OF

THIS COURT.” The party filing Confidential Information under seal shall publicly file a “Notice

of Service of Confidential Information” citing this Order and the designation by the producing

party as the basis for the notice. Contemporaneous with filing the notice, the filing party will

serve the papers on all parties. The party may file the material under seal with the Court the

following business day. At the conclusion of this action, Confidential Information filed with the

Court under seal shall be kept under seal or be returned to the party filing it for disposition

pursuant to paragraph 16.

        13.     Disclosure of Privileged Information. If documents or information subject to a

claim of attorney-client privilege, work product immunity, trade secret protection, or any other

privilege or immunity is produced to another party or parties, whether inadvertently or otherwise,

and irrespective of the care taken by the producing party, such production shall in no way



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prejudice or otherwise constitute a waiver of, or estoppel as to, in whole or in part, any claim of

privilege, work product, trade secret, or other ground for withholding production to which any

party producing the documents or information would otherwise be entitled. Any such materials

shall be returned promptly to the party producing the documents or information upon request and

all copies destroyed upon request, and no use thereof shall be made by the party or parties to

whom such documents or information were inadvertently produced.

       14.     Withholding or Redacting Privileged Information. If a party withholds or redacts

information from production as privileged material, the party must produce a privilege and

redaction log which identifies the document or information withheld by author, custodians, date,

recipients (including e-mail addresses where applicable), document type (such as e-mail, Word

file, etc.), a general description of the document or communication, and the basis for the claimed

privilege. If there are non-privileged files or documents attached to any privileged

communications, the privileged communications must be identified in the privilege log, but the

non-privileged documents must be still produced. Any attachments withheld from production as

privileged shall be described in the privilege log in the same manner as set forth above in this

paragraph.

       15.     Purpose of Order. This Order is entered solely for the purpose of facilitating the

exchange of documents and information between the parties to this action without involving the

Court unnecessarily in the process. Nothing in this Order nor the production of any information

or document under the terms of this Order shall be deemed a waiver of confidentiality or any

type of privilege applicable to any type of information in this or any other action or proceeding.

Nothing in this Order shall be construed to affect the evidentiary admissibility of any




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Confidential Information, and absent order of the Court, there will be no restrictions because of

this Order on the use of any document that may be introduced by any party during the trial.

       16.     Use at Trial. Absent further order of the Court with respect to treatment of

Confidential Information at trial, this Order shall not apply to any Confidential Information once

it is introduced at trial and made a part of the trial record in this case. Nothing contained herein

shall prevent a party from utilizing at a trial of this case the Confidential Information of another

party to the trial or a producing third party. Any party who seeks to use information or

documents designated as Confidential Information pursuant to this Order is to notify the

producing party within 10 days prior to listing Confidential Information as a trial exhibit that the

Confidential Information has been so designated, and to notify the designating party within 48

hours of designating testimony for trial or that has been designated Confidential Information that

testimony has been so designated. If any party to the trial or producing party wishes special

treatment of Confidential Information at trial, the same shall be sought through separate motion

with the Court, and nothing in this Order is intended either to support or to undermine such a

motion.

       17.     Termination of Case. Within three months of the termination of this case

(including any appeal), counsel shall assemble and return to each other all documents, material

and testimony designated as Confidential Information and all copies of same, or shall certify the

destruction with the producing party.

       18.     Application to Non-Parties. Non-parties may invoke the terms of this Order by

designating Confidential Information in accordance with the Order.

       19.     Third-Party Subpoenas and Document Requests. If any person or entity

possessing Confidential Information is subpoenaed (including pursuant to R.S.Mo. Sec. 610.010,



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et seq.) or served with a document request, and such subpoena or document request demands

Confidential Information, the person receiving the subpoena or document request shall give

prompt written notice to Counsel for the producing party in this action, and shall, to the extent

permitted by law, court rule, and court order, (i) withhold production of the requested

Confidential Information until the producing party in this action permits production, or until a

court of competent jurisdiction orders otherwise, and (ii) seek to enable the producing party in

this action to move to quash or limit the subpoena or document request. In the event that the

producing party fails to take timely action to enforce its designation, the receiving party is under

no obligation to itself move to quash or otherwise further seek to enforce the producing party’s

designation.

       20.     Modification. This Order shall not prevent any party from applying to the Court

for modification of the Order or for further relief.

       21.     Continuing Jurisdiction. This Court shall retain jurisdiction to enforce the terms of

this Order.

       The undersigned counsel of record for the parties hereby stipulate and consent to entry of

the foregoing Stipulated Protective Order.



       PURSUANT TO STIPULATION, IT IS SO ORDERED.



Dated: ___________________




                                               HON. JOSEPH L. WALSH III
                                               CIRCUIT COURT OF ST. LOUIS COUNTY



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STIPULATED AND AGREED:



By:   /s/ Nathaniel R. Carroll (consent)        By:   /s/ Brian O. Watson
      KEANE LAW LLC                                   RILEY SAFER HOLMES &
      Ryan A. Keane, # 62112                          CANCILA LLP
      Nathaniel R. Carroll, # 67988                   Edward Casmere, # 64326
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      cbrustowicz@sch-llc.com                         AND COMMONWEALTH EDISON
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      ATTORNEYS FOR PLAINTIFFS




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By:   /s/ John F. Cowling (consent)         By:   /s/ Martin Jansky (consent)
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      Katherine M. Ricks #70322                   2001 S. Big Bend Blvd.
      7700 Forsyth Blvd., Suite 1800              St. Louis, Missouri 63117
      St. Louis, Missouri 63105                   (314) 881-6144
      314.621.5070                                f: (314)644-4303
      314.621.5065 (facsimile)                    martin@janskylaw.com
      jcowling@atllp.com
      kricks@atllp.com                            ATTORNEYS FOR DEFENDANT DJR
                                                  HOLDINGS, INC.
      ATTORNEYS FOR DEFENDANT THE
      CITY OF ST. LOUIS (THE OWNER AND
      OPERATOR OF ST. LOUIS LAMBERT
      INTERNATIONAL AIRPORT®)




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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                    Case No. 18SL-CC00617
 others similarly situated,                                           Division No. 17

                Plaintiffs,

         v.

 COTTER CORPORATION, et al.,

                Defendants.



                                           EXHIBIT A

                   AGREEMENT TO MAINTAIN CONFIDENTIALITY

       The undersigned hereby agrees to the following:

       I hereby attest to my understanding that information or documents designated

Confidential Information are provided to me subject to a Protective Order in the above-captioned

litigation; that I have been given a copy of and have read the Protective Order; and that I agree to

be bound by the terms of the Protective Order. I also understand that my execution of this

Agreement to Maintain Confidentiality, indicating my agreement to be bound by the Protective

Order, is a prerequisite to my review of any information or documents designated as Confidential

Information pursuant to the Protective Order.




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        I further agree that I shall not disclose to others, except in accordance with the Protective

Order, any Confidential Information, as defined therein, in any form whatsoever, and that such

Confidential Information will be used only for the purposes authorized by the Protective Order.

        I further agree and attest to my understanding that my obligation to honor the

confidentiality of the Confidential Information will continue even after this litigation concludes.

I further agree that, if I fail to abide by terms of the Protective Order, I will be subject to the

jurisdiction of this Court for the purpose of any proceedings relating to enforcement of the

Protective Order.



       Date:                                      By:



        Subscribed and sworn to before me this _____ day of ____________________, _______.



                                                  By:




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        TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                           ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                     Case No. 18SL-CC00617
 others similarly situated,                                            Division No. 17

               Plaintiffs,

         v.

 COTTER CORPORATION, et al.,

                Defendants.



                                           EXHIBIT B

Confidential Information was previously designated and produced in one or more of the
following cases under protective orders that governed the treatment of the Confidential
Information:

   •   McClurg, et al. v. MI Holdings, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 12-CV-0361);

   •   Strong, et al. v. Bridgeton Landfill, LLC, et al., Case No. 17SL-CC01632-01, Circuit
       Court of St. Louis County, Missouri.

McClurg was consolidated with 133 other similar lawsuits, and the protective order from
McClurg applied to those additional cases. Those cases are as follows:

   •   Adams, et al. v. MI Holdings, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 12-CV-0641)

   •   Steinmann v. MI Holdings, Inc., et al., United States District Court for Eastern District of
       Missouri (Case No. 12-CV-01942)

   •   Schneider, et al. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 13-CV-0751)



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   •   Vorce v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 13-CV-1160)

   •   Lange, et. al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 13-CV-1483)

   •   Bilger v. Mallinckrodt, Inc. et al., United States District Court for the Eastern District of
       Missouri (Case No. 13-CV-2163)

   •   Bell v. Mallinckrodt, Inc, et al., United States District Court for the Eastern District of
       Missouri (Case No. 13-CV-2378)

   •   McPherson v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 13-cv-02508)

   •   Reed, et al. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00033)

   •   Robinson, et al. v. Mallinckrodt, Inc. et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00034)

   •   O’Laughlin, et al. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00035)

   •   Bright, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00036)

   •   Anderson, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00037)

   •   Gambilin, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00100)

   •   Branstetter, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00210)

   •   Kelly, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 14-cv-00247)

   •   Lloyd, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 14-cv-00283)

   •   Headrick, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00351)



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   •   Halbrook, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00668)

   •   Beatty, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00669)

   •   Steinbruegge, et al., v. Mallinckrodt, Inc., et al., United States District Court for the
       Eastern District of Missouri (Case No. 14-cv-00670)

   •   Randall, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00671)

   •   McDonald, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00672)

   •   Starling, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00912)

   •   Burns, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00913)

   •   Paglusch v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 14-cv-01046)

   •   Banovz, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-01523)

   •   Jackson v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 14-cv-01817)

   •   Hegeman, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-00155)

   •   Kelly, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 15-cv-00565)

   •   Rogers, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-00790)

   •   Andres, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 15-cv-00884)

   •   Haselby, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-00964)



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   •   Combest, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01011)

   •   Fellin, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01179)

   •   Goodson, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01697)

   •   Farley, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01909)

   •   Beck, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00342)

   •   Buchanan, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00343)

   •   Brockman, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00402)

   •   Anderhub, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00655)

   •   Alles, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00698)

   •   Bohning, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00699)

   •   Chapman, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00700)

   •   Ell, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-00701)

   •   Harms, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00702)

   •   Joyce, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00703)

   •   Malon, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00707)



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   •   Menke, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00709)

   •   Perry, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00710)

   •   Reno, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00711)

   •   Tiemann, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00712)

   •   Wielms, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00713)

   •   Allhoff, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00714)

   •   Gettemeier, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00716)

   •   Phillips, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00718)

   •   Bendyk v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01135)

   •   Beachler, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01472)

   •   Frazier, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01473)

   •   Boughter, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01477)

   •   Lipinski, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01479)

   •   Buie, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01497)

   •   Ponstingl v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-00260)



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   •   Holthaus v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01815)

   •   McClanahan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01816)

   •   Stacey v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01841)

   •   Walsh v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01847)

   •   Steiner v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No.16-cv-01848)

   •   Turner v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01850)

   •   Wojtowicz v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01851)

   •   Bottomly v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01852)

   •   Lococo v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01838)

   •   Ivy v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01839)

   •   Birkla v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01840)

   •   Brashears v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01842)

   •   Elliott v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01843)

   •   Gerick, Jr. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01844)

   •   McClain v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01845)



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   •   Pauley v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01846)

   •   Lyons v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01848)

   •   Shafer v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01833)

   •   McCarthy v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01828)

   •   Strachan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01834)

   •   Flynn v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01834)

   •   Newman v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01826)

   •   Wright v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01826)

   •   Miller v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01835)

   •   Kujawa v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01827)

   •   De La Torres v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01830)

   •   Moothart v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01832)

   •   Sullivan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01836)

   •   Morrison v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01817)

   •   Morton v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01818)



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   •   Reese v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01819)

   •   Salmon v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01820)

   •   Stacey v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01821)

   •   Sullivan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01822)

   •   Woods v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01823)

   •   Barry v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01824)

   •   Sampson v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01807)

   •   Gardner v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01806)

   •   Weaver v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01808)

   •   Jones v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01809)

   •   Syas v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01810)

   •   Kavanagh v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01811)

   •   Williams v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01812)

   •   Knecht v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01813)

   •   Fernandez v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01814)



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   •   Metz v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-00968)

   •   Phifer v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01235)

   •   Strain v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01289)

   •   Bixler v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01290)

   •   Barrale v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-01291)

   •   King v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01292)

   •   Parmeter v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-01938)

   •   Thornton v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-02899)

   •   Greaves v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00070)

   •   Hewitt v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 18-cv-00199)

   •   Klutsarits v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00246)

   •   Bushong v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00337)

   •   Darrish v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00418)

   •   Smith v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
       Missouri (Case No. 18-cv-00420)

   •   Wortham v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00421)



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    •    Williams v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-00759)

    •    Knight v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-001054)

    •    Cunningham v. Mallinckrodt, LLC, et al., United States District Court for the Eastern
         District of Missouri (Case No. 18-cv-01055)

    •    Webb v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
         Missouri (Case No. 18-cv-01179)

    •    Chappell v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-01177)

    •    Boucherie v. Mallinckrodt, LLC, et al., United States District Court for the Eastern
         District of Missouri (Case No. 18-cv-01175)

    •    Hines v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
         Missouri (Case No. 18-cv-01703)

    •    Koterba v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-01702)

    •    Walick v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-01704)

    •    Butler v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
         Missouri (Case No. 18-cv-01701)

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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE JEAN                    Case No. 18SL-CC00617-01
CLAY, ANGELA STATUM, and MISSOURI                       Division No. 17
RENTALS COMPANY, LLC, on behalf of
themselves and all others similarly situated,

               Plaintiffs,

       vs.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY, DJR
HOLDINGS, INC. f/k/a FUTURA COATINGS,
INC., and ST. LOUIS AIRPORT AUTHORITY,
A DEPARTMENT OF THE CITY OF ST.
LOUIS,

               Defendants.

               MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE

       Comes now Brian O. Watson, attorney for Defendant, and requests this Court grant the

application for admission submitted by Attorney Jennifer R. Steeve, pursuant to Rule 9.03 of the

Missouri Supreme Court Rules. In support of this Motion, movant states:

       1.      That the undersigned is an attorney licensed to practice law in the state of Missouri;

       2.      Jennifer R. Steeve is an attorney licensed to practice law in California and an

associate of the firm Riley Safer Holmes & Canila LLP, 100 Spectrum Center Drive, Suite 440,

Irvine, CA 92618, (949) 359-5500;

       3.      Jennifer R. Steeve is currently licensed and in good standing in the State of

California, and has completed the application attached as an exhibit to this Motion;
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       4.      That the fee of $410.00 pursuant to Rule 6.01(m) has been paid and the receipt is

attached as an exhibit to this Motion;

       5.      That the undersigned is aware and agrees that if the Court grants this Motion, he

remains designated as local counsel on behalf of the party in this matter.

       WHEREFORE, the undersigned respectfully prays that this Court enter an order granting

the motion for admission pro hac vice on behalf of the applicant, for this case only.



       Dated: June 8, 2020                           Respectfully submitted,

                                                     /s/ Marcie J. Vantine, #56860MO
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                                                     Marcie J. Vantine, #56860MO
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                                                     Brian O. Watson, #68678MO
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                                                     (312) 471-8700 (main)
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                                                     bwatson@rshc-law.com
                                                     docketdept@rshc-law.com


                                                     ATTORNEYS FOR THIRD-PARTY
                                                     DEFENDANT COTTER
                                                     CORPORATION (N.S.L.)




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                                CERTIFICATE OF SERVICE

       I certify that on June 8, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.


                                             /s/ Marcie J. Vantine, #56860MO




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                       IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                                ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE JEAN                  Case No. 18SL-CC00617-01
CLAY, ANGELA STATUM, and MISSOURI                     Division No. 17
RENTALS COMPANY, LLC, on behalf of
themselves and all others similarly situated,

                  Plaintiffs,

         vs.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY, DJR
HOLDINGS, INC. f/k/a FUTURA COATINGS,
INC., and ST. LOUIS AIRPORT AUTHORITY,
A DEPARTMENT OF THE CITY OF ST.
LOUIS,

                  Defendants.

                   ORDER FOR ADMISSION OF COUNSEL PRO HAC VICE

         This cause coming before the Court on the Motion for Admission of Counsel Pro Hac

Vice, accompanied by the application of Jennifer R. Steeve, and the Court being fully advised in

the premises, IT IS ORDERED THAT:

         The Motion for Admission of Counsel Pro Hac Vice is GRANTED. Attorney Jennifer R.

Steeve is admitted to appear and participate on behalf of Defendants Cotter Corporation (N.S.L.)

and Commonwealth Edison Company without waiver of jurisdiction and other defenses.

         SO ORDERED.

         Dated:
                                            Judge Joseph L. Walsh, III
                                            St. Louis County Court, Division 17

CC: Attorneys of records
4852-3549-3561, v. 2
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                    Case No. 18SL-CC00617
 others similarly situated,                                           Division No. 17

                Plaintiffs,

         v.

 COTTER CORPORATION, et al.,                                             Judge   Division 17
                                                                 Judge                         Division 99
                                                                 June 09,
                                                                 June 10, 2020
                                                                          2015
                 Defendants.


                   STIPULATED PROTECTIVE ORDER
       REGARDING THE PRODUCTION OF CONFIDENTIAL INFORMATION

       Upon stipulation and agreement of the parties in accordance with Missouri Rule of Civil

Procedure 56.01(c), and it appearing to the Court that there is good cause to enter an appropriate

Protective Order to protect confidential, non-public information and materials that may be made

available in the course of discovery in this case;

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT the following

principles and procedures designed to assure the protection of confidential and other non-public

information shall govern any and all discovery among the parties:

                               CONFIDENTIAL INFORMATION

       1.      Definitions.

               (a)     A party may designate the following material as “Confidential”: (1) trade

                       secret or other confidential research, development, or commercial

                       information; (2) medical records; and (3) any other information subject to

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                      privacy rights (e.g., HIPAA-protected information) or entitled to

                      protection under the Missouri Supreme Court Rules or other applicable

                      law or orders (also “Confidential Material”). The designation of any

                      material as “Confidential” shall represent that the party producing the

                      material or documents (the “Producing Party”) has actually reviewed the

                      material and has made a good faith determination that any such material so

                      designated is indeed confidential or subject to protection.

              (b)     “Outside Counsel” shall include attorneys (and their support staff) who are

                      not employees of a party or a party’s parent company.

              (c)     “House Counsel” shall include attorneys who are employees of a party or

                      a party’s parent company.

              (d)     “Counsel” (without qualifier) shall include Outside Counsel and House

                      Counsel.

       2.     Disclosure Limits on Confidential Information. Unless otherwise ordered by the

Court or permitted in writing by the party producing and designating the information or item

Confidential Information, a receiving party may disclose any information or item designated

Confidential Information only to:

              (a)     Counsel (including administrative, paralegal, clerical, and secretarial staff

                      employed by such counsel) to a party in this action;

              (b)     parties and court personnel, including court reporters and videographers

                      appearing at depositions, hearings, trial or other proceedings in this case;

              (c)     non-attorney employees of a party who provide input and/or assistance to

                      Counsel; and



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               (d)     the author or recipient of the document in the ordinary course of business,

                       or individuals identified as the source of the information contained in a

                       document designated as Confidential Information.

       In addition, Confidential Information may be disclosed or made available to the

following provided that first (i) a copy of this Order is provided to the receiving party and (ii) the

Agreement to Maintain Confidentiality in the form attached as Exhibit A is read and executed

by the receiving party:

               (a)     outside experts or consultants (together with their administrative staff)

                       retained by a party or Counsel who require the Confidential Information to

                       render opinions relevant to the lawsuit or to otherwise assist Counsel in

                       the prosecution, defense, or settlement of this action;

               (b)     witnesses who are interviewed or who testify at depositions, hearings, or

                       trial, or any such further proceedings which occur in this case, where the

                       Counsel making the disclosure has a good-faith basis to make the

                       disclosure in furtherance of the prosecution or defense of this action;

               (c)     arbitrators and mediators involved in resolving this action;

               (d)     litigation support services, including outside copying services or

                       companies engaged in the business of supporting computerized or

                       electronic litigation discovery or trial preparation, retained by a party or its

                       Counsel for the purpose of assisting that party in this action; and

               (e)     representatives of insurance carriers providing a defense or indemnity to

                       any of the parties.




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         3.     Inadvertent Disclosure of Confidential Information. The inadvertent,

unintentional, or in camera disclosure of Confidential Information shall not be deemed a waiver,

in whole or in part, of any party’s claim of confidentiality. Within 15 days of discovering such

inadvertent or unintentional disclosure, any party to this Order may advise the other parties that

the information or item is to be designated as “Confidential Information” under the terms of this

Order.

                   DESIGNATION OF CONFIDENTIAL INFORMATION

         4.     Form for Designation. Confidential Information shall be so designated by the

producing party by marking copies of Confidential Information with the legend

“CONFIDENTIAL.” The legend “CONFIDENTIAL” must appear on each page of any multi-

page image that the producing party contends contains Confidential Information. Marking the

legend “CONFIDENTIAL” on the cover of any multi-page document is not sufficient to

designate all pages of the document as Confidential Information.

         For information produced in some form other than documentary, and for other tangible

items, the producing party shall affix in a prominent place on the exterior of the container or

containers in which the Confidential Information is stored the legend “CONFIDENTIAL.”

         In addition, the producing party may redact protected health information, personal

medical information, cell phone numbers, credit card information, social security numbers,

employee identification numbers, names and identifying information of family members, and

home addresses. If additional categories of information for redaction become apparent, the

parties agree to meet and confer to resolve redactions.

         5.     Time for Designation. Confidential Information shall be designated at the time of

production; provided that in the event that a producing party inadvertently fails to designate any

Confidential Information as “CONFIDENTIAL” at the time of production, the producing party
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shall re-produce the material, this time designating and stamping the material as

“CONFIDENTIAL” as soon as practicable. Upon receipt of the written notice designating

previously produced documents as “CONFIDENTIAL,” the receiving party shall make a good

faith effort to destroy all copies of the Confidential Information that was inadvertently not

designated as “CONFIDENTIAL.”

       A producing party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting party has indicated which

material it would like copied and produced. During the inspection and before the designation, all

of the material made available for inspection shall be deemed Confidential Information. After the

inspecting party has identified the documents it wants copied and produced, the producing party

must determine which documents, or portions thereof, qualify for protection under this Order.

Then, before producing the specified documents, the producing party must affix the appropriate

legend (“CONFIDENTIAL”) at the top of each page that contains Confidential Information.

       Confidential Information has been designated in the cases identified on Exhibit B. A

producing party shall continue to treat the Confidential Information as it was designated in the

cases identified on Exhibit B, until a court of competent jurisdiction orders otherwise.

       6.      Objection to Designation. The designation of Confidential Information is subject

to objection by any party. The burden on any such objection shall be on the producing party.

The following procedure shall apply to any such objection.

               (a)     Meet and Confer. Any objection to a designation must be submitted in

                       writing to the producing party and must state with specificity the basis for

                       the objection. The parties shall then meet and confer in a good faith effort

                       to resolve the objection. In conferring, the objecting party must explain the



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                       basis for its belief that the designation was not proper and must give the

                       producing party an opportunity to review the designated material, to

                       reconsider the designation, and, if no change in designation is offered, to

                       explain the basis for the designation. Unless otherwise agreed by the

                       objecting party, the producing party must respond within 5 business days

                       of the objection and the parties must meet and confer within 10 business

                       days of the objection.

               (b)     Judicial Intervention. Any unresolved objections to confidentiality

                       designations must be submitted by the producing party to the Court by

                       motion that identifies the designated material and sets forth the basis for

                       the confidentiality designation. The motion must be accompanied by a

                       representation by counsel for the movant that counsel has complied with

                       the meet and confer requirements. The burden on any such motion shall

                       be on the producing party. Until the Court rules on the motion, all parties

                       shall continue to treat the materials as they were designated under the

                       terms of this Order.

       7.      Other Exceptions to the Order. This Order is entered without prejudice to the right

of the parties to present a motion to the Court for a separate protective order as to any particular

document or information that requires restrictions differing from those as specified herein. The

party desiring to maintain confidentiality shall have the burden of establishing grounds for

confidential treatment. This Order shall not be deemed to prejudice the parties in any way in any

future application for modification of this Order.




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       8.      Designation of Testimony. Testimony taken at any deposition, conference,

hearing, or trial may be designated as Confidential Information either (a) on the record, or (b)

within 10 business days of receipt of the transcript. If additional time is requested, the parties

agree to meet and confer. Until the designation period expires, the complete deposition transcript

and videotape shall be treated as Confidential Information unless otherwise specified in writing

or on the record by the producing party. Arrangements shall be made with the court reporter

taking and transcribing such proceeding to separately bind such portions of the transcript

containing information designated as Confidential Information, and to label such portions

appropriately. The designation is subject to objection by any party pursuant to paragraph 6.

       9.      Effect of Designations. Material designated as Confidential Information under this

Order, the information contained therein, and any summaries, copies, abstracts, or other

documents derived in whole or in part from material designated as Confidential Information shall

be kept strictly confidential; shall be used only for purposes of the prosecution, defense, or

settlement of this action, and for no other purposes; and shall only be disclosed in accordance

with this Order.

       10.     Retention of Verifications. Counsel will retain executed copies of Attachment A

and will, upon request, reasonably make such executed copies available to other counsel.

                                    GENERAL PROVISIONS

       11.     Additional Permissible Disclosures. Nothing herein shall impose any restrictions

on the use or disclosure by a party of material obtained lawfully by such party independent of

discovery in this action, whether or not such material is also obtained through discovery in this

action, or from disclosing its own Confidential Information as it deems appropriate. Public

disclosure by the producing party of Confidential Information will result in such information no

longer being subject to the provisions of this Order.
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        12.     Filing Under Seal. If a party wishes to use any Confidential Information in

affidavits, briefs, memoranda of law, or other papers filed in this Court, or in oral argument

presented to this Court (including an objection pursuant to paragraph 6), the party shall not file

such information publicly. The parties agree to inquire of the Court the method by which the

Court would like Confidential Information submitted and to handle submission of Confidential

Information accordingly. In the absence of direction by the Court, the parties shall file

Confidential Information under seal and Confidential Information will be made available only to

the Court and to persons specifically authorized by this Order. Unless instructed otherwise by the

Court, the party filing any paper that reflects, contains, or includes Confidential Information shall

file such paper in a sealed envelope, or other appropriately sealed container, which indicates the

title of the action, the party filing the materials, the nature of the materials filed, and the legend

“CONFIDENTIAL — FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER OF

THIS COURT.” The party filing Confidential Information under seal shall publicly file a “Notice

of Service of Confidential Information” citing this Order and the designation by the producing

party as the basis for the notice. Contemporaneous with filing the notice, the filing party will

serve the papers on all parties. The party may file the material under seal with the Court the

following business day. At the conclusion of this action, Confidential Information filed with the

Court under seal shall be kept under seal or be returned to the party filing it for disposition

pursuant to paragraph 16.

        13.     Disclosure of Privileged Information. If documents or information subject to a

claim of attorney-client privilege, work product immunity, trade secret protection, or any other

privilege or immunity is produced to another party or parties, whether inadvertently or otherwise,

and irrespective of the care taken by the producing party, such production shall in no way



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prejudice or otherwise constitute a waiver of, or estoppel as to, in whole or in part, any claim of

privilege, work product, trade secret, or other ground for withholding production to which any

party producing the documents or information would otherwise be entitled. Any such materials

shall be returned promptly to the party producing the documents or information upon request and

all copies destroyed upon request, and no use thereof shall be made by the party or parties to

whom such documents or information were inadvertently produced.

       14.     Withholding or Redacting Privileged Information. If a party withholds or redacts

information from production as privileged material, the party must produce a privilege and

redaction log which identifies the document or information withheld by author, custodians, date,

recipients (including e-mail addresses where applicable), document type (such as e-mail, Word

file, etc.), a general description of the document or communication, and the basis for the claimed

privilege. If there are non-privileged files or documents attached to any privileged

communications, the privileged communications must be identified in the privilege log, but the

non-privileged documents must be still produced. Any attachments withheld from production as

privileged shall be described in the privilege log in the same manner as set forth above in this

paragraph.

       15.     Purpose of Order. This Order is entered solely for the purpose of facilitating the

exchange of documents and information between the parties to this action without involving the

Court unnecessarily in the process. Nothing in this Order nor the production of any information

or document under the terms of this Order shall be deemed a waiver of confidentiality or any

type of privilege applicable to any type of information in this or any other action or proceeding.

Nothing in this Order shall be construed to affect the evidentiary admissibility of any




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Confidential Information, and absent order of the Court, there will be no restrictions because of

this Order on the use of any document that may be introduced by any party during the trial.

       16.     Use at Trial. Absent further order of the Court with respect to treatment of

Confidential Information at trial, this Order shall not apply to any Confidential Information once

it is introduced at trial and made a part of the trial record in this case. Nothing contained herein

shall prevent a party from utilizing at a trial of this case the Confidential Information of another

party to the trial or a producing third party. Any party who seeks to use information or

documents designated as Confidential Information pursuant to this Order is to notify the

producing party within 10 days prior to listing Confidential Information as a trial exhibit that the

Confidential Information has been so designated, and to notify the designating party within 48

hours of designating testimony for trial or that has been designated Confidential Information that

testimony has been so designated. If any party to the trial or producing party wishes special

treatment of Confidential Information at trial, the same shall be sought through separate motion

with the Court, and nothing in this Order is intended either to support or to undermine such a

motion.

       17.     Termination of Case. Within three months of the termination of this case

(including any appeal), counsel shall assemble and return to each other all documents, material

and testimony designated as Confidential Information and all copies of same, or shall certify the

destruction with the producing party.

       18.     Application to Non-Parties. Non-parties may invoke the terms of this Order by

designating Confidential Information in accordance with the Order.

       19.     Third-Party Subpoenas and Document Requests. If any person or entity

possessing Confidential Information is subpoenaed (including pursuant to R.S.Mo. Sec. 610.010,



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et seq.) or served with a document request, and such subpoena or document request demands

Confidential Information, the person receiving the subpoena or document request shall give

prompt written notice to Counsel for the producing party in this action, and shall, to the extent

permitted by law, court rule, and court order, (i) withhold production of the requested

Confidential Information until the producing party in this action permits production, or until a

court of competent jurisdiction orders otherwise, and (ii) seek to enable the producing party in

this action to move to quash or limit the subpoena or document request. In the event that the

producing party fails to take timely action to enforce its designation, the receiving party is under

no obligation to itself move to quash or otherwise further seek to enforce the producing party’s

designation.

       20.     Modification. This Order shall not prevent any party from applying to the Court

for modification of the Order or for further relief.

       21.     Continuing Jurisdiction. This Court shall retain jurisdiction to enforce the terms of

this Order.

       The undersigned counsel of record for the parties hereby stipulate and consent to entry of

the foregoing Stipulated Protective Order.



       PURSUANT TO STIPULATION, IT IS SO ORDERED.



Dated: ___________________




                                               HON. JOSEPH L. WALSH III
                                               CIRCUIT COURT OF ST. LOUIS COUNTY



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STIPULATED AND AGREED:



By:   /s/ Nathaniel R. Carroll (consent)        By:   /s/ Brian O. Watson
      KEANE LAW LLC                                   RILEY SAFER HOLMES &
      Ryan A. Keane, # 62112                          CANCILA LLP
      Nathaniel R. Carroll, # 67988                   Edward Casmere, # 64326
      7777 Bonhomme Ave., Ste. 1600                   Brian O. Watson, # 68678
      St. Louis, MO 63105                             70 W. Madison St., Ste. 2900
      ryan@keanelawllc.com                            Chicago, Illinois 60602
      alex@keanelawllc.com                            (312) 471-8700 (main)
                                                      (312) 471-8701 (fax)
      JOHNSON GRAY, LLC                               ecasmere@rshc-law.com
      Anthony D. Gray, # 51534                        bwatson@rshc-law.com
      319 North 4th Street, Suite 212
      St. Louis, MO 63102                             SWANSON MARTIN & BELL LLP
      agray@johnsongraylaw.com                        Marcie J. Vantine, #56860MO
                                                      One Bank of America Plaza
      COOPER LAW FIRM, L.L.C.                         800 Market Street, Suite 2100
      Barry J. Cooper, Jr.                            St. Louis, MO 63101
      Celeste Brustowicz                              314.242.0903 (telephone)
      Cooper Law Firm, L.L.C.                         mvantine@smbtrials.com
      1525 Religious Street
      New Orleans, LA 70130                           ATTORNEYS FOR DEFENDANTS
      bcooper@sch-llc.com                             COTTER CORPORATION (N.S.L.)
      cbrustowicz@sch-llc.com                         AND COMMONWEALTH EDISON
                                                      COMPANY
      RON AUSTIN & ASSOCIATES, L.L.C.
      Ron A. Austin
      920 4th Street
      Gretna, Louisiana 70053
      raustin@austin-associates.net

      ATTORNEYS FOR PLAINTIFFS




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By:   /s/ John F. Cowling (consent)         By:   /s/ Martin Jansky (consent)
      ARMSTRONG TEASDALE LLP                      MARTIN JANSKY LAW FIRM, PC
      John F. Cowling #30920                      S. Martin Jansky, #47022
      Katherine M. Ricks #70322                   2001 S. Big Bend Blvd.
      7700 Forsyth Blvd., Suite 1800              St. Louis, Missouri 63117
      St. Louis, Missouri 63105                   (314) 881-6144
      314.621.5070                                f: (314)644-4303
      314.621.5065 (facsimile)                    martin@janskylaw.com
      jcowling@atllp.com
      kricks@atllp.com                            ATTORNEYS FOR DEFENDANT DJR
                                                  HOLDINGS, INC.
      ATTORNEYS FOR DEFENDANT THE
      CITY OF ST. LOUIS (THE OWNER AND
      OPERATOR OF ST. LOUIS LAMBERT
      INTERNATIONAL AIRPORT®)




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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                    Case No. 18SL-CC00617
 others similarly situated,                                           Division No. 17

                Plaintiffs,

         v.

 COTTER CORPORATION, et al.,

                Defendants.



                                           EXHIBIT A

                   AGREEMENT TO MAINTAIN CONFIDENTIALITY

       The undersigned hereby agrees to the following:

       I hereby attest to my understanding that information or documents designated

Confidential Information are provided to me subject to a Protective Order in the above-captioned

litigation; that I have been given a copy of and have read the Protective Order; and that I agree to

be bound by the terms of the Protective Order. I also understand that my execution of this

Agreement to Maintain Confidentiality, indicating my agreement to be bound by the Protective

Order, is a prerequisite to my review of any information or documents designated as Confidential

Information pursuant to the Protective Order.




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        I further agree that I shall not disclose to others, except in accordance with the Protective

Order, any Confidential Information, as defined therein, in any form whatsoever, and that such

Confidential Information will be used only for the purposes authorized by the Protective Order.

        I further agree and attest to my understanding that my obligation to honor the

confidentiality of the Confidential Information will continue even after this litigation concludes.

I further agree that, if I fail to abide by terms of the Protective Order, I will be subject to the

jurisdiction of this Court for the purpose of any proceedings relating to enforcement of the

Protective Order.



       Date:                                      By:



        Subscribed and sworn to before me this _____ day of ____________________, _______.



                                                  By:




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        TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                           ST. LOUIS COUNTY


 TAMIA BANKS, REV. RONNIE HOOKS,
 BARBARA HOOKS, JOEL HOGAN, KENNETH
 NIEBLING, KENDALL LACY, TANJA LACY,
 WILLIE CLAY, BOBBIE JEAN CLAY,
 ANGELA STATUM, and MISSOURI RENTALS
 COMPANY, LLC, on behalf of themselves and all                     Case No. 18SL-CC00617
 others similarly situated,                                            Division No. 17

               Plaintiffs,

         v.

 COTTER CORPORATION, et al.,

                Defendants.



                                           EXHIBIT B

Confidential Information was previously designated and produced in one or more of the
following cases under protective orders that governed the treatment of the Confidential
Information:

   •   McClurg, et al. v. MI Holdings, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 12-CV-0361);

   •   Strong, et al. v. Bridgeton Landfill, LLC, et al., Case No. 17SL-CC01632-01, Circuit
       Court of St. Louis County, Missouri.

McClurg was consolidated with 133 other similar lawsuits, and the protective order from
McClurg applied to those additional cases. Those cases are as follows:

   •   Adams, et al. v. MI Holdings, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 12-CV-0641)

   •   Steinmann v. MI Holdings, Inc., et al., United States District Court for Eastern District of
       Missouri (Case No. 12-CV-01942)

   •   Schneider, et al. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 13-CV-0751)



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   •   Vorce v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 13-CV-1160)

   •   Lange, et. al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 13-CV-1483)

   •   Bilger v. Mallinckrodt, Inc. et al., United States District Court for the Eastern District of
       Missouri (Case No. 13-CV-2163)

   •   Bell v. Mallinckrodt, Inc, et al., United States District Court for the Eastern District of
       Missouri (Case No. 13-CV-2378)

   •   McPherson v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 13-cv-02508)

   •   Reed, et al. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00033)

   •   Robinson, et al. v. Mallinckrodt, Inc. et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00034)

   •   O’Laughlin, et al. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00035)

   •   Bright, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00036)

   •   Anderson, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00037)

   •   Gambilin, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00100)

   •   Branstetter, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00210)

   •   Kelly, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 14-cv-00247)

   •   Lloyd, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 14-cv-00283)

   •   Headrick, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00351)



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   •   Halbrook, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00668)

   •   Beatty, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00669)

   •   Steinbruegge, et al., v. Mallinckrodt, Inc., et al., United States District Court for the
       Eastern District of Missouri (Case No. 14-cv-00670)

   •   Randall, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00671)

   •   McDonald, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00672)

   •   Starling, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00912)

   •   Burns, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-00913)

   •   Paglusch v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 14-cv-01046)

   •   Banovz, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 14-cv-01523)

   •   Jackson v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 14-cv-01817)

   •   Hegeman, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-00155)

   •   Kelly, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 15-cv-00565)

   •   Rogers, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-00790)

   •   Andres, v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 15-cv-00884)

   •   Haselby, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-00964)



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   •   Combest, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01011)

   •   Fellin, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01179)

   •   Goodson, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01697)

   •   Farley, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 15-cv-01909)

   •   Beck, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00342)

   •   Buchanan, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00343)

   •   Brockman, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00402)

   •   Anderhub, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00655)

   •   Alles, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00698)

   •   Bohning, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00699)

   •   Chapman, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00700)

   •   Ell, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-00701)

   •   Harms, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00702)

   •   Joyce, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00703)

   •   Malon, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00707)



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   •   Menke, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00709)

   •   Perry, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00710)

   •   Reno, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00711)

   •   Tiemann, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00712)

   •   Wielms, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00713)

   •   Allhoff, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00714)

   •   Gettemeier, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00716)

   •   Phillips, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-00718)

   •   Bendyk v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01135)

   •   Beachler, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01472)

   •   Frazier, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01473)

   •   Boughter, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01477)

   •   Lipinski, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01479)

   •   Buie, et al., v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01497)

   •   Ponstingl v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-00260)



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   •   Holthaus v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01815)

   •   McClanahan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01816)

   •   Stacey v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01841)

   •   Walsh v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01847)

   •   Steiner v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No.16-cv-01848)

   •   Turner v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01850)

   •   Wojtowicz v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01851)

   •   Bottomly v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01852)

   •   Lococo v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01838)

   •   Ivy v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01839)

   •   Birkla v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01840)

   •   Brashears v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01842)

   •   Elliott v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01843)

   •   Gerick, Jr. v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01844)

   •   McClain v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01845)



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   •   Pauley v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01846)

   •   Lyons v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01848)

   •   Shafer v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01833)

   •   McCarthy v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01828)

   •   Strachan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01834)

   •   Flynn v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01834)

   •   Newman v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01826)

   •   Wright v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01826)

   •   Miller v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01835)

   •   Kujawa v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01827)

   •   De La Torres v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01830)

   •   Moothart v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01832)

   •   Sullivan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01836)

   •   Morrison v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01817)

   •   Morton v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01818)



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   •   Reese v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01819)

   •   Salmon v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01820)

   •   Stacey v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01821)

   •   Sullivan v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01822)

   •   Woods v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01823)

   •   Barry v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01824)

   •   Sampson v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01807)

   •   Gardner v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01806)

   •   Weaver v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01808)

   •   Jones v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01809)

   •   Syas v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01810)

   •   Kavanagh v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01811)

   •   Williams v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 16-cv-01812)

   •   Knecht v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 16-cv-01813)

   •   Fernandez v. Mallinckrodt, Inc., et al., United States District Court for the Eastern
       District of Missouri (Case No. 16-cv-01814)



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   •   Metz v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-00968)

   •   Phifer v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01235)

   •   Strain v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01289)

   •   Bixler v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01290)

   •   Barrale v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-01291)

   •   King v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 17-cv-01292)

   •   Parmeter v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-01938)

   •   Thornton v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 17-cv-02899)

   •   Greaves v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00070)

   •   Hewitt v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District of
       Missouri (Case No. 18-cv-00199)

   •   Klutsarits v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00246)

   •   Bushong v. Mallinckrodt, Inc., et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00337)

   •   Darrish v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00418)

   •   Smith v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
       Missouri (Case No. 18-cv-00420)

   •   Wortham v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
       of Missouri (Case No. 18-cv-00421)



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    •    Williams v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-00759)

    •    Knight v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-001054)

    •    Cunningham v. Mallinckrodt, LLC, et al., United States District Court for the Eastern
         District of Missouri (Case No. 18-cv-01055)

    •    Webb v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
         Missouri (Case No. 18-cv-01179)

    •    Chappell v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-01177)

    •    Boucherie v. Mallinckrodt, LLC, et al., United States District Court for the Eastern
         District of Missouri (Case No. 18-cv-01175)

    •    Hines v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
         Missouri (Case No. 18-cv-01703)

    •    Koterba v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-01702)

    •    Walick v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District
         of Missouri (Case No. 18-cv-01704)

    •    Butler v. Mallinckrodt, LLC, et al., United States District Court for the Eastern District of
         Missouri (Case No. 18-cv-01701)

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                  IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                           ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al.,

               Plaintiffs,
                                                            Case No. 18SL-CC00617-01
        v.                                                        Division No. 17

COTTER CORPORATION (N.S.L.), et al.,

               Defendants.


COTTER CORPORATION (N.S.L.),

               Third-Party Plaintiff,

        v.

MALLINCKRODT LLC, EVERZINC USA
INC., BRIDGETON LANDFILL, LLC,
REPUBLIC SERVICES, INC., ALLIED
SERVICES, LLC, WESTLAKE LANDFILL,
INC., and ROCK ROAD INDUSTRIES, INC.,

               Third-Party Defendants.



                                        NOTICE OF FILING

       PLEASE TAKE NOTICE that on June 30, 2020, Defendant Cotter Corporation (N.S.L.)

filed its Third-Party Petition against Mallinckrodt LLC, EverZinc USA Inc., Bridgeton Landfill

LLC, Republic Services, Inc., Allied Services, LLC, Westlake Landfill, Inc, and Rock Road

Industries, Inc. without leave not later than ten days after serving any original answer under

Missouri Supreme Court Rule 52.11.
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      Dated: June 30, 2020          Respectfully submitted,

                                    /s/ Brian O. Watson
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                                    ATTORNEYS FOR DEFENDANT
                                    COTTER CORPORATION (N.S.L.)




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                                 CERTIFICATE OF SERVICE

         I certify that on June 30, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                              Respectfully submitted,

                                              /s/ Brian O. Watson
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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al.,

              Plaintiffs,
                                                          Case No. 18SL-CC00617-01
       v.                                                       Division No. 17

COTTER CORPORATION (N.S.L.), et al.,

               Defendants.


COTTER CORPORATION (N.S.L.),

              Third-Party Plaintiff,

       v.

MALLINCKRODT LLC, EVERZINC USA
INC., BRIDGETON LANDFILL, LLC,
REPUBLIC SERVICES, INC., ALLIED
SERVICES, LLC, WESTLAKE LANDFILL,
INC., and ROCK ROAD INDUSTRIES, INC.,

              Third-Party Defendants.



                                 THIRD-PARTY PETITION

       Defendant Cotter Corporation (N.S.L.) (“Cotter”) brings this Third-Party Petition against

Mallinckrodt LLC (“Mallinckrodt”), EverZinc USA Inc. (“EverZinc”), Bridgeton Landfill LLC

(“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied”), Westlake

Landfill, Inc. (“Westlake”), and Rock Road Industries, Inc. (“Rock Road”) under Missouri

Supreme Court Rule 52.11.
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                                           PARTIES

       1.      Cotter is a New Mexico corporation with its principal place of business in

Colorado.

       2.      Mallinckrodt is a Delaware limited liability company with its principal place of

business in Missouri. Mallinckrodt is the successor to Mallinckrodt Chemical Works and other

predecessor entities.

       3.      EverZinc is a New York corporation with its principal place of business in North

Carolina. EverZinc is the successor to African Metals Corporation and other predecessor

entities. Upon information and belief, African Metals Corporation was incorporated under the

laws of the State of New York; African Metals Corporation changed its name to Afrimet-Indussa

Inc.; Afrimet-Indussa Inc. changed its name to Sogem-Afrimet Inc.; Sogem-Afrimet Inc.

changed its name to Sogem USA Inc.; Sogem USA Inc. changed its name to Umicore Marketing

Services USA Inc.; and Umicore Marketing Services USA Inc. changed its name to EverZinc

USA Inc.

       4.      Republic is a Delaware corporation with its principal place of business in

Arizona.

       5.      Bridgeton is a Delaware limited liability company with its principal place of

business is in Missouri.

       6.      Westlake is a Missouri corporation with its principal place of business in

Missouri.

       7.      Allied is a Delaware limited liability company with its principal place of business

in Arizona.




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       8.        Rock Road is a Missouri corporation with its principal place of business in

Missouri.

                                  JURISDICTION AND VENUE

       9.        This Court has jurisdiction over the subject matter of this cause of action because

the alleged acts took place in St. Louis County, Missouri.

       10.       This Court has jurisdiction over the third-party defendants because, under R.S.

Mo. § 506.500.1, either they have their principal place of business in Missouri or they otherwise

transacted business and committed the alleged acts that form the basis of this cause of action

within Missouri, so that they have purposely availed themselves of Missouri law and could

reasonably anticipate defending a lawsuit in Missouri.

       11.       Venue is proper because, under R.S. Mo. § 508.010.4, Plaintiffs claim they were

allegedly first injured in St. Louis County, Missouri.

                              FACTS COMMON TO ALL COUNTS

                              Direct Allegations Against Defendants

       12.       Plaintiffs filed a Second Amended Class-Action Petition against Defendants, a

copy of which is attached as Exhibit 1 under Missouri Supreme Court Rules 55.10 and 55.12.

       13.       Plaintiffs allege that Defendants are responsible for causing or contributing to

radioactive contamination throughout various areas in St. Louis County, Missouri, including

Coldwater Creek, the St. Louis Airport Site, the Latty Avenue Site, transit routes, and the alleged

Class Area.

       14.       Plaintiffs allege property damage and personal injury as a result of alleged

contamination.




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                        Third-Party Allegations Against Mallinckrodt

                             Mallinckrodt’s Uranium Operations

        15.    Beginning in World War II, and continuing thereafter, Mallinckrodt contracted

with the United States Government in developing the atomic bomb and operated at the St. Louis

Downtown Site and the St. Louis Airport Site.

        16.    The St. Louis Downtown Site consisted of 210 acres of land on the eastern border

of St. Louis, including 44.5 acres occupied by Mallinckrodt and 165 acres of vicinity properties.

The Mallinckrodt portion was also known as the Destrehan Street facility.

        17.    Under its contract with the United States Government, Mallinckrodt developed a

uranium refining process to furnish pure uranium compounds.

        18.    From 1942 through 1957, Mallinckrodt refined uranium ores and concentrates at

the Destrehan Street facility, leading to radionuclide-containing residues that included K-65, C-

701, interim residue plant tailings, scrap metal, Belgian Congo raffinates, Colorado raffinates, C-

slag, leached and unleached barium sulfate, and other materials.

        19.    From 1942 through 1957, Mallinckrodt manufactured, produced, used, handled,

and stored radioactive wastes and other materials at the St. Louis Downtown Site.

        20.    In 1946, the United States Government contracted with the State of Missouri to

store radioactive wastes and other materials produced by Mallinckrodt at the St. Louis Airport

Site.

        21.    From 1946 through 1957, Mallinckrodt had radioactive wastes and other materials

handled and transported from the St. Louis Downtown Site to the St. Louis Airport Site.

        22.    From 1953 until at least 1966, Mallinckrodt operated the St. Louis Airport Site.




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       23.      From 1946 through 1966, Mallinckrodt had radioactive wastes and other materials

used, handled, and stored at the St. Louis Airport Site.

                       Mallinckrodt’s Columbium-Tantalum Operations

       24.      Between 1956 and 1985, Mallinckrodt conducted columbium-tantalum operations

at the Mallinckrodt St. Louis Plant, which generated unreacted ore containing uranium and

thorium and other byproducts.

       25.      After the shutdown and decommissioning of its uranium ore processing unit,

Mallinckrodt extracted columbium-tantalum pentoxide and byproduct uranium oxide from

euxenite ore.

       26.      Mallinckrodt’s columbium-tantalum operations involved the following: crushing

and milling the ore; leaching with hydrofluoric and sulfuric acids; purification by extraction and

precipitation; separation of metal fluorides by fractional crystallization; and washing, drying, and

calcining the metals to several columbium-tantalum products.

       27.      Mallinckrodt had rare earth and thorium residues delivered to the United States

General Services Administration and had the residuals and other materials stored, handled,

processed, transported, and disposed offsite from the columbium-tantalum operations.

       28.      In mid-1961, Mallinckrodt applied a modified process for separation and recovery

of columbium-tantalum products, through which approximately half of the natural thorium in the

feedstock was retained in the insoluble residue (designated as unreacted ore #1) and the

remainder was concentrated in the raffinate after columbium-tantalum extraction.

       29.      Mallinckrodt had the raffinate and unreacted ore #1 stored, handled, processed,

transported, and disposed of from the columbium-tantalum operations.




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       30.     Upon completion of its contract with the United States Government, Mallinckrodt

converted its columbium-tantalum unit into a commercial processing unit utilizing similar

processes, except natural uranium in the columbite ore remained in the acid insoluble residue,

designated as unreacted ore #10.

       31.     Mallinckrodt caused the radioactive wastes and other materials from the

columbium-tantalum operations to be used, stored, handled, transported, and disposed of at

landfills in the St. Louis area, including West Lake Landfill.

       32.     Soil samples and other material analyzed during the remedial investigation

process for West Lake Landfill have marks of Mallinckrodt’s unreacted ore.

                        Mallinckrodt’s Other Commercial Operations

       33.     Mallinckrodt disposed of thorium-containing waste and other effluents from its

commercial operations at the Mallinckrodt St. Louis Plant into local water bodies and sewers in

the St. Louis area, and some of these wastes and effluents were transported to West Lake

Landfill.

       34.     Before the establishment of the St. Louis Metropolitan Sewer District’s Bissel

Point Treatment Plant, Mallinckrodt had its process, storm, and sanitary effluents collected in a

combined sewer system and discharged directly into the Mississippi River, according to the

Formerly Utilized Sites Remedial Action Program of the United States Army Corps of

Engineers.

       35.     After 1970, Mallinckrodt had thorium-containing waste and other effluents

disposed into sewers that went to the St. Louis Metropolitan Sewer District’s Bissel Point

Treatment Plant, according to the Formerly Utilized Sites Remedial Action Program of the

United States Army Corps of Engineers.



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        36.     Mallinckrodt had the unreacted ore containing thorium and uranium disposed into

the plant sewer, which in turn was discharged to the Metropolitan St. Louis Sewer System,

according to Mallinckrodt’s July 1977 Application for Source Material License.

        37.     Mallinckrodt recovered columbium-tantalum (C-T) operations values from

shipping bags, containers, filter press cakes, filter clothes, etc. by first burning, then dissolving

the incinerator ash with the incoming ore, and then disposing the residues via the plant sewer,

which in turn is discharged to the Metropolitan St. Louis Sewer System.

        38.     Mallinckrodt had soluble radionuclides and fine, dispersible solids containing

radionuclides discharged to the plant sewer routinely, which in turn is discharged to the

Metropolitan St. Louis Sewer System, according to Mallinckrodt’s March 1981 Application for

Source Material License.

        39.     Mallinckrodt had loose material (i.e., material not qualifying as regulated source

material but containing low concentrations of uranium and/or thorium) collected, transported,

and disposed of at landfills in the St. Louis area, which, upon information and belief, included

West Lake Landfill.

                           Third-Party Allegations Against EverZinc

        40.     In the 1940s, the United States Government purchased ores containing uranium

from African Metals n/k/a EverZinc.

        41.     African Metals n/k/a EverZinc owned, sold, and distributed pitchblende ores

containing uranium that Mallinckrodt processed at the St. Louis Downtown Site.

        42.     African Metals n/k/a EverZinc retained ownership of the radioactive wastes and

other materials generated by Mallinckrodt except for the uranium content.




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        43.    African Metals n/k/a EverZinc had the radioactive wastes and other materials

stored at the St. Louis Airport Site under lease agreements with the United States Government.

        44.    From approximately 1946 through 1957, the radioactive wastes and other

materials were transported from the St. Louis Downtown Site to the St. Louis Airport Site.

        45.    Upon information and belief, in June 1959, African Metals n/k/a EverZinc

abandoned ownership and disposed of the radioactive wastes and other materials.

        46.    Between approximately May 1966 and December 1966, the radioactive wastes

and other materials abandoned by African Metals n/k/a EverZinc—including leached barium

sulfate residue—were transported by truck from the St. Louis Airport Site to the Latty Avenue

Site.

        47.    Between approximately July 1973 to October 1973, leached barium sulfate

residue abandoned by African Metals n/k/a EverZinc was transported by truck from the Latty

Avenue Site to the West Lake Landfill.

                  Third-Party Allegations Against the Landfill Defendants

        48.    From 1962 to 1988, West Lake Landfill was owned and operated by Westlake.

        49.    During this period, Westlake accepted a variety of demolition material,

manufacturing wastes and byproducts, and sanitary waste at West Lake Landfill.

        50.    Westlake accepted hazardous substances referenced above, as residues from the

production of insecticides and herbicides, waste ink, esters, halogenated intermediates, heavy

metals, oils, wastewater sludges, and asbestos.

        51.    Some of this material also contained the radioactive waste referenced above,

including the 8,700 pounds of leached barium sulfate.

        52.    On July 29, 1988, Laidlaw acquired the stock of Westlake.



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       53.    Westlake changed its name to Laidlaw Waste Systems (Bridgeton) Inc. and

continued to operate West Lake Landfill until 1998.

       54.    Rock Road purchased a portion of West Lake Landfill containing radioactive

waste, and has owned, operated, and managed the portion of West Lake Landfill, and accepted

and disposed of hazardous waste at West Lake Landfill.

       55.    In 1998, Laidlaw Waste Systems (Bridgeton), Inc. (i.e., Westlake) merged into

Bridgeton.

       56.    Rock Road also merged into Bridgeton.

       57.    Bridgeton is the successor-in-interest to Westlake and Rock Road.

       58.    Bridgeton and its sole member (Allied), either directly or through Westlake and

Rock Road, have owned, operated, and managed West Lake Landfill and have accepted and

disposed of hazardous waste at West Lake Landfill.

       59.    In 2008, Republic acquired Bridgeton as the successor-in-interest to Westlake and

Rock Road.

       60.    Since that time, Republic has overseen and directed the environmental activities

of Allied, Bridgeton, Rock Road, and Westlake (collectively, the “Landfill Defendants”) with

respect to West Lake Landfill.

       61.    In 2010, the Landfill Defendants reported to the Missouri Department of Natural

Resources that a portion of West Lake Landfill was experiencing elevated temperatures in

certain gas extraction wells, suggesting subsurface smoldering.

       62.    Shortly thereafter, the smoldering intensified into a subsurface combustion fire,

which caused odors and hazardous substances to be released into the air.




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       63.     These emissions persisted through at least 2012, when the State of Missouri tested

the ambient air around West Lake Landfill and determined the air exceeded ambient

concentration levels for benzene and acetaldehyde.

       64.     In 2013, and continuing thereafter, portions of West Lake Landfill have generated

approximately 150,000 gallons each day of leachate, which the Landfill Defendants treated on

site before transporting to disposal facilities in Missouri and Illinois.

       65.     The leachate contained hazardous substances and was released from West Lake

Landfill into the surrounding environment and groundwater.

       66.     The Landfill Defendants, either directly or through their subsidiaries and

predecessors, have accepted and disposed of radioactive waste and other hazardous substances at

West Lake Landfill.

       67.     The Landfill Defendants, either directly or through their subsidiaries and

predecessors, have caused or contributed to the improper handling, storage, or disposal of the

radioactive waste and other hazardous substances at West Lake Landfill.

                                     COUNT 1
                       CONTRIBUTION AGAINST MALLINCKRODT

       68.     Cotter adopts by reference the allegations in Paragraphs 1 through 67.

       69.     Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

       70.     Mallinckrodt owed Plaintiffs a duty as alleged in the Second Amended Class-

Action Petition.

       71.     Mallinckrodt failed to use reasonable care that resulted in releases from the St.

Louis Downtown Site, the St. Louis Airport Site, the Latty Avenue Site, the West Lake Landfill,




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Mallinckrodt St. Louis Plant, and transit routes into the surrounding environment, including the

alleged Class Area.

        72.       In the unlikely event that Cotter is found liable to Plaintiffs’ alleged damages,

which Cotter denies, Mallinckrodt is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Mallinckrodt for any alleged damages that may be assessed against Cotter.

        73.       In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Mallinckrodt, thereby barring any such recovery

against Cotter.

        74.       In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Mallinckrodt and any such liability must be

limited to the percentage of fault apportioned to Cotter.

        75.       Accordingly, the jury should award Cotter against Mallinckrodt any amount

assessed against Cotter that is more than Cotter’s percentage of fault and award Cotter such

proportion of the total sum paid as corresponds to Cotter’s percentage of fault.

                                        COUNT 2
                             CONTRIBUTION AGAINST EVERZINC

        76.       Cotter adopts by reference the allegations in Paragraphs 1 through 67.

        77.       Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

        78.       EverZinc owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




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          79.   EverZinc failed to use reasonable care that resulted in releases from the St. Louis

Downtown Site, the St. Louis Airport Site, the Latty Avenue Site, the West Lake Landfill, and

transit routes into the surrounding environment, including the alleged Class Area.

          80.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, EverZinc is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from EverZinc for any alleged damages that may be assessed against Cotter.

          81.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of EverZinc, thereby barring any such recovery against

Cotter.

          82.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of EverZinc and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          83.   Accordingly, the jury should award Cotter against EverZinc any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 3
                           CONTRIBUTION AGAINST REPUBLIC

          84.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          85.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          86.   Republic owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.

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          87.   Republic failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          88.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Republic is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Republic for any alleged damages that may be assessed against Cotter.

          89.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Republic, thereby barring any such recovery against

Cotter.

          90.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Republic and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          91.   Accordingly, the jury should award Cotter against Republic any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                     COUNT 4
                          CONTRIBUTION AGAINST BRIDGETON

          92.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          93.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          94.   Bridgeton owed Plaintiffs a duty as alleged in the Second Amended Class-Action

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          95.    Bridgeton failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          96.    In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Bridgeton is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Bridgeton for any alleged damages that may be assessed against Cotter.

          97.    In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Bridgeton, thereby barring any such recovery against

Cotter.

          98.    In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Bridgeton and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          99.    Accordingly, the jury should award Cotter against Bridgeton any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                       COUNT 5
                              CONTRIBUTION AGAINST ALLIED

          100.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          101.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          102.   Allied owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




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          103.   Allied failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          104.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Allied is a joint tortfeasor who is liable, in whole or in part, for Plaintiffs’

alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Allied for any alleged damages that may be assessed against Cotter.

          105.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Allied, thereby barring any such recovery against

Cotter.

          106.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Allied and any such liability must be limited to

the percentage of fault apportioned to Cotter.

          107.   Accordingly, the jury should award Cotter against Allied any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 6
                           CONTRIBUTION AGAINST ROCK ROAD

          108.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          109.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          110.   Rock Road owed Plaintiffs a duty as alleged in the Second Amended Class-

Action Petition.




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          111.   Rock Road failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          112.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Rock Road is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Rock Road for any alleged damages that may be assessed against Cotter.

          113.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Rock Road, thereby barring any such recovery against

Cotter.

          114.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Rock Road and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          115.   Accordingly, the jury should award Cotter against Rock Road any amount

assessed against Cotter that is more than Cotter’s percentage of fault and award Cotter such

proportion of the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 7
                           CONTRIBUTION AGAINST WESTLAKE

          116.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          117.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          118.   Westlake owed Plaintiffs a duty as alleged in the Second Amended Class-Action

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          119.   Westlake failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          120.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Westlake is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Westlake for any alleged damages that may be assessed against Cotter.

          121.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Westlake, thereby barring any such recovery against

Cotter.

          122.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Westlake, and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          123.   Accordingly, the jury should award Cotter against Westlake any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                     REQUEST FOR RELIEF

          124.   WHEREFORE, Cotter Corporation (N.S.L.) requests judgment in its favor on its

Third-Party Petition against Mallinckrodt LLC, EverZinc USA Inc., Bridgeton Landfill LLC,

Republic Services, Inc., Allied Services, LLC, Westlake Landfill, Inc., and Rock Road

Industries, Inc., an award of court costs, and any further relief as this Court deems just and

proper.




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                               DEMAND FOR JURY TRIAL

      Cotter Corporation (N.S.L.) demands a trial by jury of all issues so triable by right.


      Dated: June 30, 2020                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I certify that on June 30, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                              Respectfully submitted,

                                              /s/ Brian O. Watson
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                                              jsteeve@rshc-law.com
                                              docketdept@rshc-law.com

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                                         EXHIBIT 1
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         TWENTY-FIRST JUDICIAL CIRCUIT OF THE STATE OF MISSOURI
                            ST. LOUIS COUNTY


TAMIA BANKS, REV. RONNIE HOOKS, )
BARBARA HOOKS, JOEL HOGAN,      )
KENNETH NIEBLING, KENDALL LACY, )
TANJA LACY, WILLIE CLAY,        )




                                                                                                                                              October
BOBBIE JEAN CLAY, ANGELA STATUM,)




                                                                                                                                                   30,29,
and MISSOURI RENTALS            )
COMPANY, LLC, on behalf of themselves
                                )




                                                                                                                                                       2020
and all others similarly situated,
                                )




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                                )
      Plaintiffs,               )                           Cause No. 18SL-CC00617




                                                                                                                                                                    PMPM
                                )
      vs.                       )                           Division No. 2
                                )
COTTER CORPORATION,             )
COMMONWEALTH EDISON COMPANY, )                              JURY TRIAL DEMANDED
DJR HOLDINGS, INC. f/k/a FUTURA )
COATINGS, INC., and ST. LOUIS   )
AIRPORT AUTHORITY, A            )
DEPARTMENT OF THE CITY OF       )
ST. LOUIS                       )
                                )
      Defendants.               )

                    SECOND AMENDED CLASS ACTION PETITION

       COME NOW Plaintiffs Tamia Banks, Rev. Ronnie Hooks, Barbara Hooks, Joel Hogan,

Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie Jean Clay, Angela Statum, and

Missouri Rentals Company, LLC, on behalf of themselves and all others similarly situated, by and

through counsel, and for their Second Amended Class Action Petition and causes of action against

Defendants Cotter Corporation, Commonwealth Edison Company, DJR Holdings, Inc. f/k/a Futura

Coatings, Inc., and the St. Louis Airport Authority, a department of the City of St. Louis, states

and alleges as follows:
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       1.       Since World War II, big companies have made significant profits processing,

handling, and storing radioactive materials in the St. Louis area. This activity began six decades

ago, when Mallinckrodt received in downtown St. Louis City highly concentrated uranium with

abnormal levels of radium from Africa. This particular ore was extremely toxic—more so than the




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ores available from anywhere else in the world. Despite the fact that these materials were some of




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the most harmful on Earth, Defendants negligently moved them around St. Louis, treating the




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radioactive materials with less care than a reasonable person might give in moving common




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household garbage. Vast amounts of radioactive wastes were moved from downtown St. Louis

City to the St. Louis Airport, then to Hazelwood.

       2.      Radioactive materials have been and will likely continue to be stored in bulk, on

the ground, open to the elements, and unattended at sites on and adjacent to Coldwater Creek,

which runs throughout North St. Louis County and is a tributary for the Missouri River. These

sites included the St. Louis Airport Site (“SLAPS”), a storage facility on Latty Avenue in

Hazelwood, Missouri (the “Latty Avenue Site”) part of which later became the Hazelwood Interim

Storage Site (“HISS”). The Latty Avenue site and the HISS site are contained in the properties

located at 9170 Latty Avenue and 9200 Latty Avenue in Hazelwood, Missouri.

       3.      Since then, that radioactive material, negligently dumped in an area surrounded by

peaceful neighborhoods and playgrounds, has tormented the lives of everyday people—moms and

dads who thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids

who want nothing more than to play in the backyard; and small business owners who had invested

everything to build the American dream for their families. These everyday St. Louisans now find

their lives disrupted, their kids sick, their homes contaminated, their businesses upended, and their

properties worthless. They find their once-quaint neighborhoods filled with technicians testing



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and prodding their backyards and sampling the dust of their vacuum cleaners to identify the

quantity and toxicity of the radioactive material Defendants have dumped into their lives.

       4.      Tests conducted by representatives of the United States of America and others now

confirm that the areas around Coldwater Creek are contaminated with the same radioactive wastes




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generated in the processing of uranium ores in the St. Louis area. The off-site radioactive waste




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found today in the real property, which consists of businesses and homes, surrounding the




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Coldwater Creek carries the distinct fingerprint (or profile) of the ore which had been processed




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in St. Louis and possessed by Defendants and/or their predecessors in interest.

       5.      These radioactive wastes are known human carcinogens that can cause chronic

damage to the skin, reproductive system, blood forming system, digestive system, central nervous

system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

defects may take a number of years after exposure to the radioactive material to appear.

       6.      Defendants have failed to take responsibility for their negligent behavior, failed to

clean up the area, failed to move the residents and businesses out, and failed to make amends for

the widespread damage they have caused. Instead, Defendants have hidden behind misstatements

and omissions, misleading the local public about the widespread contamination Defendants have

caused and minimizing the immense risks to public health and safety that resulted from

Defendants’ actions.

       7.      It is time that Defendants finally be held accountable for their reckless and tortious

conduct. This particular lawsuit seeks to correct the harm Defendants inflicted on a limited class

of victims.

       8.      Plaintiffs, as well as all members of the proposed class, have sustained significant

damages as a result of Defendants’ conduct. Defendants should compensate Plaintiffs for their



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damages, and provide further relief as set forth below in this Petition.

       9.      Pursuant to Missouri common law applicable at the time of Defendants’ tortious

conduct, which occurred prior to the 2005 enactment of R.S.Mo. § 537.067, Defendants are jointly

and severally liable for any and all damages Plaintiffs and the Class have sustained as a result of




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Defendants’ negligent handling, storing and/or disposing of radioactive materials, including,




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without limitation, any incidental, consequential, nuisance, and trespass damages.




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       10.     Upon information and belief, by acquiring and continuing to operate ongoing




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operations throughout time, Defendants are liable for acts and omissions and the consequential

damages caused by their predecessors in interest. To the extent that Defendants provided

indemnity or committed fraud, they are liable to those to whom they sold or lease the ongoing

operations.

       11.     Upon information and belief, the properties of all Plaintiffs and the putative class

are impacted by uranium mill tailings. The source of the radioactivity is small, microscopic

particles yet containable when properly handled. These particles contain hazardous carcinogenic,

harmful toxics, and other radioactive substances known as uranium and thorium and their daughter

products. Such radioactive waste is legally and commonly referred to as “uranium mill tailings,”

which result from the processing of uranium ore.

                                 JURISDICTION AND VENUE

       12.     This court has jurisdiction over the subject matter and the parties in this case

because the causes of action stated in this Petition arose out of business activities conducted solely

in Missouri and out of torts committed solely in Missouri by resident and non-resident defendants.

       13.     Venue is proper in this court pursuant to Mo. Rev. Stat. §508.010, because

Defendants’ conduct giving rise to this action took place in the locality of St. Louis County,



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Missouri.

          14.   Plaintiffs do not allege any causes of action arising under any laws of the United

States.

          15.   Plaintiffs’ claims do not fall within the scope of the Price-Anderson Act, because:




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                                                                                                                                                        30,29,
                A.      Coldwater Creek is not and has never been a licensed nuclear facility.




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                B.      Defendants have never received a license to possess, transport, or dispose




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                        of any radioactive wastes on or in Coldwater Creek.




                                                                                                                                                                         PMPM
                C.      Defendants did not have a license to dispose of radioactive wastes in

                        Coldwater Creek.

                D.      Defendants did not have a license to handle the particular materials they

                        handled as alleged herein, including enriched thorium.

                E.      Defendants have never entered into an indemnification agreement with the

                        United States government under 42 U.S.C. § 2210 with respect to the

                        complained activities.

          16.   Plaintiffs expressly contend that no occurrences that form the basis for this suit rise

to the level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims offending

traditional state regulations and do not implicate the Price-Anderson Act and its textually manifest

objectives related to liability limitation and indemnification.

          17.   The Price-Anderson Act does not apply to the indisputably hazardous, toxic and

carcinogenic mill tailings at issue in this Petition.

                                           THE PARTIES

                                               Plaintiffs




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       18.     Plaintiff Tamia Banks is a Missouri citizen who owns real property located at 4501

Ashby Rd., St. Ann, Missouri (the “Banks Property”). The property is approximately 0.23 acres in

St. Louis County adjacent to Coldwater Creek. Her home and property, along with the property of

other members of the Class, is located within the one hundred year flood plain of Coldwater Creek,




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and is contaminated with radioactive waste materials from Coldwater Creek. Tamia Banks first




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learned that her property was in the zone of contamination in 2018.




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       19.     Plaintiffs Rev. Ronnie Hooks and Barbara Hooks, a married couple, are Missouri




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citizens who own real property located at 13712 Old Halls Ferry Rd., Florissant, Missouri (the

“Hooks Property”). The property is approximately 1.32 acres in St. Louis County adjacent to

Coldwater Creek. Their home and property, along with the property of other members of the Class,

is located within the one hundred year flood plain of Coldwater Creek, and is contaminated with

radioactive waste materials from Coldwater Creek. The Hooks first learned their property was in

the zone of contamination in 2018.

       20.     Plaintiff Joel Hogan is a Missouri citizen who owns real property located at 435

Moule Drive, Florissant, Missouri (the “Hogan Property”). The property is approximately 0.1 acres

in St. Louis County adjacent to Coldwater Creek. His home and property, along with the property

of other members of the Class, is located within the one hundred year flood plain of Coldwater

Creek, and is contaminated with radioactive waste materials from Coldwater Creek. Mr. Hogan

first learned his property was in the zone of contamination in 2018.

       21.     Plaintiff Kenneth Niebling is a Missouri citizen who owns real property located at

210 Versailles Drive, Florissant, Missouri (the “Niebling Property”). The property is

approximately 0.1 acres in St. Louis County adjacent to Coldwater Creek. His home and property,

along with the property of other members of the Class, is located within the one hundred year flood



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plain of Coldwater Creek, and is contaminated with radioactive waste materials from Coldwater

Creek. Mr. Niebling first learned his property was in the zone of contamination in 2018.

        22.   Plaintiffs Kendall Lacy and Tonja Lacy, a married couple, are Missouri citizens

who own real property located at 2843 Chapel View Drive, Florissant, Missouri (the “Lacy




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Property”). Their home and property, along with the property of other members of the Class, is




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located within the one hundred year flood plain of Coldwater Creek, and is contaminated with




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radioactive waste materials from Coldwater Creek. The property is approximately .21 acres in St.




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Louis County adjacent to Coldwater Creek. The Lacys first learned their property was in the zone

of contamination in 2018.

        23.   Plaintiffs Willie Clay and Bobbie Jean Clay, a married couple, are Missouri citizens

who own real property located at 9 Cricket Court, Florissant, Missouri (the “Clay Property”). The

property is approximately .25 acres in St. Louis County adjacent to Coldwater Creek. Their home

and property, along with the property of other members of the Class, is located within the one

hundred year flood plain of Coldwater Creek, and is contaminated with radioactive waste materials

from Coldwater Creek. The Clays first learned their property was in the zone of contamination in

2018.

        24.   Plaintiff Angela Statum is a Missouri citizen who owns real property located at

7565 Hazelcrest Drive, Hazelwood, Missouri (the “Statum Property”). The property is in St. Louis

County adjacent to Coldwater Creek. Her property, along with the property of other members of

the Class, is located within the one hundred year flood plain of Coldwater Creek, and is

contaminated with radioactive waste materials from Coldwater Creek. Ms. Statum first learned her

property was in the zone of contamination in 2018.




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        25.    Plaintiff Missouri Rentals Company, LLC is a Missouri LLC which owns real

property located at the following addresses (the “MRC Properties”):

               7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
               7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
               7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;




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               7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;




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               7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
               8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;




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               8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and




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               8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.




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The properties are in St. Louis County adjacent to Coldwater Creek. Their properties, along with




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the property of other members of the Class, are located within the one hundred year flood plain of

Coldwater Creek, and are contaminated with radioactive waste materials from Coldwater Creek.

MRC first learned its properties were in the zone of contamination in 2018.

        26.    As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant

damages, including damages to their Property and the loss of use and enjoyment, thereof.

                                           Defendants

        27.    There are two defendants that relate in some way to Cotter Corporation, the owner

and disposer of the hazardous, toxic, carcinogenic, radioactive mill tailings: Cotter Corporation

(“Cotter”) and Commonwealth Edison Company (“ComEd”).

        28.    Cotter Corporation (“Cotter”) is a Colorado corporation with its principal place of

business in Englewood, Colorado, which currently operates as a subsidiary of General Atomics,

Inc., a California corporation. Cotter was purchased by and became a wholly owned subsidiary of

Commonwealth Edison in 1974, immediately after announcing that there was no radioactive

contamination on the properties upon which it operated. It was then sold to General Atomics in

2000.




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               A. Cotter continuously and systematically carried on business activities in the State

                   of Missouri in its own name and through its parent company ComEd.

               B. This lawsuit arises out of damages that resulted from the Cotter Defendants’

                   conduct, including acts and omissions within the State of Missouri, as well as




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                   the acts and omissions of the predecessors of the Cotter Defendants, which gave




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                   rise to the violations of state law and damages to property alleged in the Petition.




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               Commonwealth Edison Company (“ComEd”) is an Illinois corporation, whose




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       29.




                                                                                                                                                                         PMPM
former subsidiary corporation, Cotter, conducted business operations in Missouri. Upon the sale

of Cotter, ComEd agreed to indemnify Cotter for certain liabilities associated with these activities.

The responsibility to indemnify Cotter was transferred to Exelon Generation Company, LLC when

ComEd’s parent company, Exelon Corporation, restructured in 2001.

               A. ComEd continuously and systematically carried on local business activities in

                   the State of Missouri, both on its own and through its subsidiary Cotter. In

                   addition, ComEd owned Cotter at times relevant to this Petition, and agreed to

                   indemnify Cotter for liabilities associated with the creation, storage,

                   transportation, and processing of hazardous, toxic, carcinogenic, radioactive

                   wastes as alleged herein. ComEd regularly and routinely avails itself of the

                   protection of Missouri laws in St. Louis County courts, and regularly appears

                   to defend itself in lawsuits tried in that locality.

               B. When ComEd purchased Cotter, it assumed Cotter’s liabilities by its own

                   corporate policies and by law and was obligated to require its subsidiary to

                   comply with the rules and regulations in Missouri and the relevant laws cited in

                   this Petition. ComEd furthermore assumed the environmental safety and health



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                  functions of its subsidiary, Cotter. Cotter and ComEd knew or should have

                  known substantial waste was in Coldwater Creek as a result of Cotter’s

                  operations and on the properties upon which Cotter had operated and which it

                  knowingly and intentionally abandoned immediately prior to its announced sale




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                  to ComEd. ComEd, through its pre-purchase due diligence, knew about the




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                  remaining contamination, yet did nothing to mitigate the threat to public health,




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                  such that ComEd is liable as a corporate successor to Cotter. After the sale of




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                  Cotter to ComEd, they jointly conspired to perpetuate the fraud that there was

                  no radioactive contamination remaining with respect to Cotter’s abandoned

                  operations. On information and belief, ComEd controlled the policy and

                  business of Cotter to perpetuate the negligent and unlawful contamination in

                  contravention of Plaintiffs’ and the Class Members’ rights, and ComEd’s

                  control over Cotter was the proximate cause of the contamination to Plaintiffs’

                  and the Class Members’ properties.

               C. This lawsuit arises out of damages that resulted from the ComEd Defendants’

                  conduct, including acts and omissions within the State of Missouri, as well as

                  the acts and omissions of the predecessors of the ComEd Defendants, which

                  gave rise to the violations of state law and damage to property alleged in the

                  Petition.

       30.     DJR Holdings, Inc., formerly known as Futura Coatings, Inc. (“Futura Coatings”)

is a Missouri corporation with its principal place of business in Missouri, and whose alter ego is

Jarboe Realty & Investments Co., Inc. Defendant DJR Holdings, Inc. is a Missouri citizen from




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whom significant relief is sought and whose conduct forms a significant basis of the claims

asserted by Plaintiffs, as explained in detail in this Petition.

        31.     The St. Louis Airport Authority, which is a department of the City of St. Louis, is

now and was at all times herein mentioned a public entity organized and existing pursuant to




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Article 6, Section 31 of the Missouri Constitution. The St. Louis Airport Authority is a Missouri




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citizen from whom significant relief is sought and whose conduct forms a significant basis of the




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claims asserted by Plaintiffs, as explained in detail in this Petition.




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                                CLASS ACTION ALLEGATIONS

        32.     Plaintiffs file this class action petition pursuant to Missouri Supreme Court Rule

52.08 on behalf of all Missouri citizens who own or reside on real property with any portion within

the FEMA one hundred year flood plain of Coldwater Creek1 in St. Louis County, Missouri as

detailed below.

        33.     Plaintiffs bring this action on behalf of themselves and the Class against Defendants

to recover damages to their property and to obtain injunctive relief in the form of a total and

complete cleanup of the contamination and to prevent and eliminate further contamination.

        34.     This action is maintainable as a class action and should be certified under Missouri

Supreme Court Rule 52.08.

        35.     The proposed class for property damage claims is defined as follows (“Property

Damage Subclass”):

        All Missouri citizens who currently own any portion of real property located
        within the FEMA one hundred year flood plain of Coldwater Creek in St.
        Louis County, Missouri, bounded by St. Charles Rock Road to the southwest


1
 FEMA.GOV,
https://msc.fema.gov/portal/search?AddressQuery=st.%20louis%20county%2C%20mo#searchre
sultsanchor (last visited September 24, 2019).


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          and Old Halls Ferry Road to the northeast, as shown in blue in the map in
          Figure 1 below.
                                    Figure 1. Class Area




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“Own,” in the context of the class definition, includes those who hold any fee simple estate or life

estate.

          36.    The proposed class for medical monitoring is defined as follows (“Medical

Monitoring Subclass”):

          All Missouri citizens who currently reside, or have resided since 1973, on any
          portion of real property within the FEMA one hundred year flood plain of
          Coldwater Creek in St. Louis County, Missouri, bounded by St. Charles Rock
          Road to the southwest and Old Halls Ferry Road to the northeast, as shown in
          the map in Figure 1 above.

          37.    Excluded from the Property Damage Subclass and the Medical Monitoring

Subclass (collectively, the “Class”) are Defendants and their officers, directors, and employees, as



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well as employees of any of Defendants’ subsidiaries, affiliates, successors, or assignees. Also

excluded are the immediate family members of the above persons. Also excluded are owners of

property that has or has had any radioactive material license associated with it; this includes, but

is not limited to, the SLAPS, Latty Avenue, and HISS sites. Also excluded is any trial judge who




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may preside over this case. The requirements for maintaining this action as a class action are




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satisfied, as set forth immediately below.




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       38.     The proposed Class is so numerous that the individual joinder of all absent class




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members is impracticable. While the exact number of absent Class Members is unknown to

Plaintiffs currently, it is ascertainable by appropriate discovery and Plaintiffs, upon information

and belief, alleges that the proposed Class may include more than twenty-five local members. The

requirement of numerosity is therefore satisfied.

       39.     Common questions of law or fact exist as to all proposed Class Members and

predominate over any questions which affect only individual members of the proposed Classes,

the answers to which will drive a class-wide resolution of the claims of the proposed Class. These

common questions of law or fact include:

               a. Whether Defendants engaged in the abnormally dangerous activity of

                   processing, storing or transporting radioactive waste;

               b. Whether Defendants unreasonably and unlawfully processed, stored, disposed

                   and/or abandoned, or transported radioactive materials at the St. Louis Airport

                   Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage

                   Site (“HISS”);

               c. Whether Defendants created and continue to create a high degree of risk of harm

                   to Plaintiffs and Class Members’ property;



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               d. Whether Defendants have intentionally, unreasonably, negligently, recklessly,

                   willfully, wantonly and maliciously allowed the emission of Radon gas and

                   radioactive particles onto and around Plaintiffs and Class Members’ property;

               e. Whether Defendants’ conduct or omissions affecting land surrounding the St.




                                                                                                                                                  October
                   Louis Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood




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                   Interim Storage Site (“HISS”) resulted in Plaintiffs and Class Members’ loss of




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                   use and enjoyment of their property;




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               f. Whether the loss in property value suffered by Plaintiffs and Class is a result of

                   Defendants’ actions;

               g. Whether Plaintiffs and Class are entitled to damages; and

               h. Whether Defendants’ conduct rises to the level of willfulness so as to justify

                   punitive damages.

       40.     The claims of the Plaintiffs are typical of the claims of the Class. Plaintiffs and all

Class Members own or reside on land within the FEMA one hundred year flood plain of Coldwater

Creek in St. Louis County, Missouri near the locations where Defendants recklessly stored,

transported and dumped radioactive waste.

       41.     Plaintiffs will fairly and adequately represent the interests of the members of the

Class. Plaintiffs have no interest adverse to the interests of the members of the Class. Plaintiffs

have retained competent attorneys who have experience in class action litigation.

       42.     Defendants have acted or refused to act on grounds that apply generally to the Class

as discussed herein, such that final injunctive relief is appropriate for the Class as a whole.

       43.     Unless a class-wide injunction is issued, Defendants will continue to allow

contamination of the properties of Plaintiffs and Class and will continue to violate Missouri law



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resulting in harm to thousands of Missouri citizens.

          44.   A class action is a superior method for the fair and efficient adjudication of this

controversy. The adjudication of a separate action by individual members of the classes would

create a risk of (a) inconsistent or varying adjudications with respect to individual members of the




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class; or (b) adjudications with respect to individual members of the class which would as a




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practical matter be dispositive of the interests of the other members not parties to the adjudications




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or substantially impair or impede their ability to protect their interests. Upon information and




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believe each of the Class Members suffered the same sort of damages and injuries as those suffered

by the Plaintiffs, due to the contamination of their property by radioactive waste from the St. Louis

Airport Site (“SLAPS”), the Latty Avenue Site and/or the Hazelwood Interim Storage Site

(“HISS”). In addition, this class action will allow for the resolution of identical claims in an

efficient manner that avoids fragmented litigation in which inconsistent results could occur.

          45.   Questions of law or fact common to the members of the Class predominate over

any questions affecting only individual members. There is no special interest in the members of

the classes individually controlling the prosecution of separate actions. The expense and burden of

individual litigation make it impossible for the Class Members individually to address the wrongs

done to them.

          46.   There will be no difficulty in managing this lawsuit as a class action. Evidence

relating to Defendants’ alleged violations will be applicable to all members of the class; there are

accepted means for notifying class members who have suffered injuries and damages described

herein.

          47.   All of the class members are citizens of Missouri.

          48.   The principal injuries resulting from the conduct of the Defendants were incurred



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in Missouri.

       49.      The conduct alleged in this Petition took place in Missouri.

                A. The radioactive waste at issue in this case was generated as a result of chemical

                   processes that took place in local facilities in St. Louis




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                B. All transportation of radioactive waste alleged herein took place in Missouri




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                C. All processing of radioactive wastes alleged herein took place in Missouri.




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                D. All storage of radioactive waste alleged herein took place in Missouri.




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       50.      Defendants engaged in creation, storage, processing and transportation of

radioactive wastes in the state of Missouri, benefiting from the protection and operation of

Missouri law.

       51.      No class action asserting similar factual allegations has been filed against any of

the Defendants in the preceding three years.

       52.      For these reasons, this case is maintainable as a class action pursuant to Missouri

Rule of Civil Procedure 52.08.

                                               FACTS

                                       Radioactive Wastes

       53.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man.

       54.      Radiation is a type of energy transmitted over a distance. Some materials

spontaneously emit radiation through a process known as radioactive decay. As these materials

decay they release radiation energy and transform into other radioactive materials which will then

also decay by releasing radiation energy and transforming into other materials.

       55.      Some radiation energies, including the radiation from the decay of radioactive

materials used in nuclear and atomic processes, such as uranium, have the ability to penetrate other



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material. When radiation energy interacts with other material, it causes a process called ionization2

which can damage chemical structures. When the “other material” that ionizing radiation passes

through is human cells, it can cause damage within those cells resulting in mutation in genetic

material which can lead to cancer and other harms.




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       56.     People are exposed to radiation in two ways: external exposure from radioactive




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material in the environment and internal exposure by radioactive material that has entered the




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body. Radioactive material can be taken into the body by consuming foodstuffs and liquids with




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radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

wounds in the skin. The material taken in will internally expose the organs and tissues for as long

as it remains inside the body.

       57.     One characteristic of the impact of exposure to ionizing radiation on the human

body through both internal and external exposure is that even if the energy absorbed is low, the

biological effects can still be gravely serious. The second characteristic is that there are latent

biological effects of radiation.

       58.     The injuries resulting from exposure to ionizing radiation can also be separated into

two categories: somatic injuries and genetic injuries. Somatic injuries are damages to the

individual exposed. This can include damages to the skin, reproductive system, blood forming




2
  Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of
radiation that includes alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed
electrons, high-speed protons, and other particles capable of producing ions. Ionizing radiation
has enough energy to cause changes in atoms through a process called ionization. Ionization can
affect the atoms in living things and depending on the dose and exposure, can pose a serious health
risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in cells, causing
damage to tissue and DNA in genes.” See Radiation Health Effects, EPA.GOV,
https://www.epa.gov/radiation/radiation-health-effects (last visited September 24, 2019).


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system, digestive system, central nervous system, and immune system, as well as cancers.

Illnesses such as cancers may take a number of years to appear.

        59.     Genetic injury is damage to the reproductive cells of the exposed individual in the

form of mutation of their genetic cells. As a result, the probability of detrimental effects to the




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descendants of the exposed persons may greatly increase. These genetic mutations can be passed




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down to a person’s offspring even generations later. These injuries include birth abnormalities




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and cancer.




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        60.     One of the most dangerous aspects of radioactive materials is the length of time that

radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

materials decay over time and each radioactive material gives off radiation energy as it decays and

transforms into a different material. The rate at which a radioactive isotope decays is measured in

half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

radioactive material to disintegrate. For example, after one half life, there will be one half of the

original material, after two half-lives, there will be one fourth the original material, after three half-

lives one eight the original sample, and so forth.

        61.     Governmental authorities have identified significant increases of cancer and risks

of cancer within the Class.34

                              Radioactive Waste in the St. Louis Area




3
  See S. Yun et al., Analysis of Cancer Incidence Data in Coldwater Creek Area, Missouri, 199
6-2004, MO DEPT. OF HEALTH & SEN. SERVS., available at
https://health.mo.gov/living/healthcondiseases/chronic/cancer/pdf/ccanalysis.pdf.
4
  See Evaluation of Community Exposures Related to Coldwater Creek, ATSDR (Apr. 30, 2019),
available at
https://www.atsdr.cdc.gov/sites/coldwater_creek/docs/St_Louis_Airport_Site_Hazelwood_Interi
mSto_PHA-508.pdf.


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         62.     From 1942 to 1957, uranium ore was processed in downtown St. Louis City in

association with the Manhattan Project.5 The Manhattan Project was the U.S. research project

designed to develop the first nuclear weapons.

         63.     This downtown St. Louis facility was known as the St. Louis Downtown Site (the




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“SLDS”) and was used to process uranium.




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         64.     The wastes created by processing at the SLDS are known in the scientific and




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regulatory communities as Uranium Mill Tailings and were created as a result of the milling of




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Uranium Ore to produce uranium metal by Mallinckrodt.

         65.     In the late 1940s, the Manhattan Project acquired a 21.7-acre tract of land near

Lambert Airport to store the hazardous, toxic, carcinogenic radioactive mill tailings from the

uranium processing operations at the SLDS. The storage site(s) on and near the airport are now

referred to as the St. Louis Airport Site or SLAPS (“SLAPS”).

         66.     Radioactive mill tailings accumulated locally at SLAPS. These hazardous, toxic,

carcinogenic, radioactive waste materials included pitchblende raffinate residues, radium-bearing

residues, barium sulfate cake, and Colorado raffinate residues. They were stored locally at SLAPS

along with contaminated scrap. Some of these radioactive wastes were stored in bulk on the open

ground in piles.

         67.     In the 1960’s, some of the hazardous, toxic, carcinogenic radioactive mill tailings

that had been stored at SLAPS were moved to a storage site on Latty Avenue in Hazelwood,

Missouri (the “Latty Avenue Site”) (part of this site later became the Hazelwood Interim Storage

Site (“HISS”).




5
    See n.10 (citing Alvarez (2013) and DeGarmo (2006)).


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       68.      These mill tailings, which contained valuable metals, were sold and shipped to

various other local destinations, contaminating the Latty Avenue Site with hazardous, toxic and

radioactive substances as a result.

       69.      In the late 1960’s, Cotter and/or its predecessors in interest, and its successors,




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purchased the hazardous, toxic, carcinogenic radioactive mill tailings associated with both SLAPS




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and the Latty Avenue Site.




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       70.      Upon information and belief, as part of the contract between Cotter and/or its




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predecessors in interest and the federal government for sale of the radioactive waste, Cotter

assumed all liability, including ultimate disposition of the waste.

       71.      Cotter and/or its predecessors in interest did not receive indemnity from the

government in connection with this transaction.

       72.      Between 1969 and 1973, Cotter stored, processed, and transported hazardous, toxic,

and radioactive wastes, including enriched thorium, associated with both the SLAPS and Latty

Avenue sites.

       73.      Upon information and belief, Cotter did not have a license to handle or dispose of

enriched thorium.

       74.      Transport and migration of hazardous, toxic and radioactive mill tailings to/from

the SLAPS, the Latty Avenue Site and the HISS also spread hazardous, toxic and radioactive

substances along haul routes to nearby properties.

                              Saint Louis Airport Site (“SLAPS”)

       75.      Upon information and belief, the U.S. Government acquired the Saint Louis Airport

Site (“SLAPS”) site by condemnation proceedings in 1947.




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       76.     Hundreds of thousands of tons of hazardous, toxic, and radioactive mill tailings

were transported from the SLDS to the SLAPS for storage, including radium-bearing residues,

refined cake, barium sulfate cake, and C-liner slag.

       77.     From 1953, the property was managed and operated by Mallinckrodt.




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       78.     By 1960, there were approximately 50,000 empty drums and approximately 3,500




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tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS.




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       79.     In 1973, SLAPS was sold to the St. Louis Airport Authority, a department of the




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City of St. Louis, by quitclaim deed.

       80.     Despite knowing that significant activities involving radioactive material were

conducted on the site, the St. Louis Airport Authority, a department of the City of St. Louis,

thereafter did nothing to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic,

radioactive wastes into Coldwater Creek.

                                        Latty Avenue Site

       81.     Throughout the 1960s, hazardous, toxic, and radioactive wastes residues were

removed from the SLAPS in various stages. Some of the wastes were transported to property at

9200 Latty Avenue (now known as the HISS and the Futura Coatings Company properties) for

storage.

       82.     Upon information and belief, DJR Holdings, Inc., f/k/a Futura Coatings and/or its

alter egos purchased and/or leased the Latty Avenue property, which is currently owned by Jarboe

Realty & Investments Co., Inc. Both DJR Holdings, Inc. and Jarboe Realty & Investments Co.,

Inc. are owned, operated, and controlled by the same individuals such that they are mere

instruments of those individuals, and that DJR Holdings, Inc. and Jarboe Realty & Investments are

indistinct from each other and from their owners.



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       83.     Despite knowing that significant activities involving radioactive material were

conducted on the site, DJR Holdings, Inc., f/k/a Futura Coatings and/or its alter egos did nothing

to prevent continued dispersal and runoff of hazardous, toxic, carcinogenic, radioactive wastes into

Coldwater Creek.




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                                        Coldwater Creek




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       84.     Coldwater Creek flows for 500 feet along the western border of the SLAPS. The




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creek originates 3.6 miles to the south of the SLAPS and continues for 15 miles in a northeasterly




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direction through the City of Hazelwood, the City of Florissant, unincorporated areas of St. Louis

County, and along the northern edge of the community of Black Jack, until it discharges into the

Missouri River. Coldwater Creek is generally accessible to the public, except for approximately

1.2 miles, which flows under the Lambert-St. Louis International Airport. Coldwater Creek is

contaminated with hazardous, toxic, and radioactive materials.

       85.     Beginning in 1946, the hazardous, toxic, and radioactive waste residues left over

from the production process at the SLDS were being transported to the SLAPS for storage. Scrap

metal, chemical drums, and other contaminated debris were placed in low areas at the SLAPS

adjacent to Coldwater Creek on the western end of the property and covered with dirt to make a

level storage area.

       86.     By 1960, there were approximately 50,000 chemical drums and approximately

3,500 tons of miscellaneous contaminated steel and alloy scrap stored onsite at SLAPS directly

adjacent to Coldwater Creek. Coldwater Creek is the major drainage mechanism for the SLAPS

and the Latty Avenue Site. Through time, various meanders in Coldwater Creek were backfilled

to support construction, resulting in commingling of the site soils and sediments with hazardous,

toxic, and radioactive wastes brought to the SLAPS.



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       87.     During the 1960s, some of the waste residues were transported to the Latty Avenue

Site. In 1969, the hazardous, toxic, and radioactive wastes residues at Latty Avenue were sold to

the Cotter Corporation.

       88.     Since 1946, radioactive wastes have migrated from the SLAPS, HISS and the Latty




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Avenue Site(s) into Coldwater Creek and were released or otherwise deposited along the entire




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FEMA one hundred year flood plain of Coldwater Creek.




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       89.     Coldwater Creek flows adjacent to the SLAPS, then meanders near the HISS, and




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continues to flow through northern St. Louis County until it discharges into the Missouri River.

       90.     Coldwater Creek floods areas of the North St. Louis County including portions of

the SLAPS and the HISS. The runoff from precipitation that enters Coldwater Creek in a given

unit of time greatly exceeds the predevelopment quantities. This runoff overloads Coldwater Creek

and increases the likelihood of local and area-wide flooding.

       91.     As a result of this flooding, the entire one hundred year floodplain of Coldwater

Creek is believed to be contaminated with radioactive particles, including radium, thorium and

uranium.

           Defendants’ Radioactive Particles Contaminated the Plaintiffs’ Property

       92.     Plaintiffs’ properties are contaminated by radioactive material.

       93.     Samples taken on and around Plaintiffs’ properties confirm an elevated presence of

radioactive particles, significantly above the normal background level of radiation.

       94.     Plaintiffs’ properties neighbor Coldwater Creek and are within its flood plain. This

proximity puts the Plaintiffs’ properties in the direct path of radioactive particles and

contamination spread in and by Coldwater Creek.




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       95.     The radioactive contamination that has polluted the Plaintiffs’ properties and

continues to threaten to further pollute the Plaintiffs’ properties match the waste fingerprint (or

profile) of the radioactive wastes generated in the processing of uranium ores in the St. Louis area.

       96.     This radioactive contamination was caused by the Defendants’ improper handling,




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storage, and disposal of radioactive materials.




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       97.     Radioactive contamination of the Plaintiffs’ properties renders the Plaintiffs’




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properties unfit for normal use and enjoyment, creates a stigma attached to the properties, and




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destroys their fair market value.

       98.     As a direct and proximate result of Defendants’ conduct, Plaintiffs and the Class

are currently being subjected to radioactive waste contamination and will suffer irreparable harm

if an injunction is not granted requiring Defendants conduct a total and complete cleanup of the

contamination and to prevent and eliminate further contamination.

                                  COUNT I – TRESPASS
(brought individually by Plaintiffs and on behalf of the Property Damage Subclass against
                                      all Defendants)

       99.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       100.    Plaintiff Tamia Banks owns and controls the Banks Property located at 4501 Ashby

Rd., St. Ann, Missouri, more particularly described above.

       101.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control the Hooks Property

located at 13712 Old Halls Ferry Rd., Florissant, Missouri, more particularly described above.

       102.    Plaintiff Joel Hogan owns and controls the Hogan Property located at 435 Moule

Drive, Florissant, Missouri, more particularly described above.




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       103.    Plaintiff Kenneth Niebling owns and controls the Niebling Property located at 210

Versailles Drive, Florissant, Missouri, more particularly described above.

       104.    Plaintiffs Kendall Lacy and Tonja Lacy own and control the Lacy Property located

at 2843 Chapel View Drive, Florissant, Missouri, more particularly described above.




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       105.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control the Clay Property




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located at 9 Cricket Court, Florissant, Missouri, more particularly described above.




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       106.    Plaintiff Angela Statum owns and controls the Statum Property located at 7565




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Hazelcrest Drive, Florissant, Missouri, more particularly described above.

       107.    Plaintiff Missouri Rentals Company, LLC owns and controls the Missouri Rentals

Properties, as more particularly described above and listed as follows:

               7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
               7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
               7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
               7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
               7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
               8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
               8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
               8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

       108.    Defendants generated massive quantities of extremely dangerous radioactive

wastes and failed to ensure their proper disposal.

       109.    Defendants purchased massive quantities of highly toxic radioactive wastes and

failed to properly dispose of these wastes.

       110.    Defendants intentionally, maliciously, and wantonly disposed of radioactive wastes

at a location unfit to handle such wastes.




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          111.   Defendants have used these radioactive materials in a manner that is unreasonable,

unlawful, malicious, and wanton, resulting in an invasion of the property of Plaintiffs and the

Property Damage Subclass (“Plaintiffs’ property”).

          112.   Defendants have caused these radioactive materials to migrate from Defendants’




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property and other storage locations and contaminate Plaintiffs’ property.




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          113.   Defendants willfully, wantonly, and maliciously caused the emission of radioactive




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particles onto and around Plaintiffs’ property through their improper disposal of radioactive wastes




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          114.   It was reasonably foreseeable that Defendants’ actions would and will continue to

contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

          115.   Defendants store and/or transport radioactive materials and other toxic and

hazardous wastes, as alleged herein.

          116.   Defendants have used these radioactive materials in a manner that is unreasonable,

unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

          117.   Defendants have caused these radioactive materials to migrate and contaminate

Plaintiffs’ property.

          118.   Defendants willfully, wantonly, and maliciously caused the emission of Radon gas,

and radioactive particles onto and around the property of Plaintiffs’ property through their use,

transport and disposal of radioactive wastes.

          119.   It was reasonably foreseeable that Defendants’ actions would and will continue to

contaminate the property of Plaintiffs’ property with radioactive particles and other hazardous

wastes.

          120.   The migration of Radon gas and radioactive particles onto the property of Plaintiffs

and of the Property Damage Subclass caused by Defendants has resulted and continues to result in



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direct physical interference with the property of Plaintiffs and of the Property Damage Subclass.

Such contamination is incompatible with the normal use and enjoyment of the property of

Plaintiffs and of the Property Damage Subclass.

       121.    Plaintiffs did not give Defendants permission or consent to interfere with her




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property in this manner. Through Defendants’ actions and inactions, they are illegally and




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improperly using Plaintiffs’ property to store radioactive wastes.




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               The contamination of Plaintiffs’ property with Radon gas and radioactive particles,




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       122.




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and other hazardous wastes, has resulted in significant damage to the property.

       123.    As a direct and proximate cause of this continuing and recurring physical

interference, Plaintiffs and the Property Damage Subclass have suffered and continue to suffer

injury, including decreased property value.

                             COUNT II – PERMANENT NUISANCE
         (brought individually by Plaintiffs and on behalf of the Property Damage Subclass
                                   against all Defendants)

       124.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       125.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

Missouri, more particularly described above.

       126.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

Halls Ferry Road, Florissant, Missouri, more particularly described above.

       127.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

Missouri, more particularly described above.

       128.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

Florissant, Missouri, more particularly described above.



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       129.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

View Drive, Florissant, Missouri, more particularly described above.

       130.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

Court, Florissant, Missouri, more particularly described above.




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       131.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,




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Hazelwood, Missouri, more particularly described above.




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       132.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the




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following addresses, more particularly described above:

               7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
               7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
               7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
               7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;
               7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
               8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;
               8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
               8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

       133.    Defendants unreasonably and unlawfully stored and used radioactive materials at

SLAPS, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins Plaintiffs’

property.

       134.    The Defendants caused and contributed to the radioactive contamination of

Plaintiffs’ property.

       135.    The radioactive contamination created a permanent stigma which has and will

remain attached to the Plaintiffs’ properties and the properties of the Class Members.

       136.    Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

wantonly and maliciously allowed the emission of Radon gas and radioactive particles onto and

around Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and




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enjoyment of their property. Such contamination is incompatible with the normal use and

enjoyment of the Plaintiffs’ properties.

       137.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

substantial.




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               As a direct and proximate result of Defendants’ interference with Plaintiffs’ use




                                                                                                                                                  30,29,
       138.




                                                                                                                                                      2020
and enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased




                                                                                                                                                         2019
                                                                                                                                                           - 03:43
                                                                                                                                                              - 04:59
property value.




                                                                                                                                                                   PMPM
                         COUNT III – TEMPORARY NUISANCE
           (brought individually and on behalf of the Property Damage Subclass)

       139.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       140.    Plaintiff Tamia Banks owns and controls property at 4501 Ashby Road, St. Ann,

Missouri, more particularly described above.

       141.    Plaintiffs Ronnie Hooks and Barbara Hooks own and control property at 13712 Old

Halls Ferry Road, Florissant, Missouri, more particularly described above.

       142.    Plaintiff Joel Hogan owns and controls property at 435 Moule Drive, Florissant,

Missouri, more particularly described above.

       143.    Plaintiff Kenneth Niebling owns and controls property at 210 Versailles Drive,

Florissant, Missouri, more particularly described above.

       144.    Plaintiffs Kendall Lacy and Tonja Lacy own and control property at 2843 Chapel

View Drive, Florissant, Missouri, more particularly described above.

       145.    Plaintiffs Willie Clay and Bobbie Jean Clay own and control property at 9 Cricket

Court, Florissant, Missouri, more particularly described above.




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        146.    Plaintiff Angela Statum owns and controls property at 7565 Hazelcrest Drive,

Hazelwood, Missouri, more particularly described above.

        147.    Plaintiff Missouri Rentals Company, LLC owns and controls property at the

following addresses, more particularly described above:




                                                                                                                                            October
                                                                                                                                                 30,29,
                7411 SIELOFF DRIVE, APT D, Hazelwood, Missouri;
                7411 SIELOFF DRIVE, APT H, Hazelwood, Missouri;




                                                                                                                                                     2020
                7431 SIELOFF DRIVE, APT D, Hazelwood, Missouri;




                                                                                                                                                        2019
                                                                                                                                                          - 03:43
                7446 SIELOFF DRIVE, APT E, Hazelwood, Missouri;




                                                                                                                                                             - 04:59
                7446 SIELOFF DRIVE, APT F, Hazelwood, Missouri;
                8721 SIELOFF DRIVE, APT H, Hazelwood, Missouri;




                                                                                                                                                                  PMPM
                8729 SIELOFF DRIVE, APT H, Hazelwood, Missouri; and
                8733 SIELOFF DRIVE, APT G, Hazelwood, Missouri.

        148.    Defendants unreasonably and unlawfully stored and used radioactive materials at

the SLAPS Site, the Latty Avenue Site, the HISS site, and Coldwater Creek, which adjoins

Plaintiffs’ properties.

        149.    The Defendants caused and contributed to the radioactive contamination of

Plaintiffs’ properties.

        150.    The Defendants intentionally, unreasonably, negligently, recklessly, willfully,

wantonly and maliciously allow the emission of Radon gas and radioactive particles onto and

around Plaintiffs’ properties, resulting in unreasonable interference with Plaintiffs’ use and

enjoyment of their properties. Such contamination is incompatible with the normal use and

enjoyment of the Plaintiffs’ properties.

        151.    Defendants’ interference with Plaintiffs’ use and enjoyment of their property is

substantial.




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       152.    Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

and maliciously allowed various hazardous substances into Coldwater Creek resulting in

unreasonable interference with Plaintiffs’ use and enjoyment of the property.

       153.    Defendants’ use of the St. Louis Airport Site (“SLAPS”), the Latty Avenue Site




                                                                                                                                                 October
and/or the Hazelwood Interim Storage Site (“HISS”), and Coldwater Creek prevents Plaintiffs




                                                                                                                                                      30,29,
                                                                                                                                                          2020
from using the property.




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               As a direct and proximate result of Defendants’ interference with Plaintiffs’ use




                                                                                                                                                                  - 04:59
       154.




                                                                                                                                                                       PMPM
and enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

decreased property value.

                               COUNT IV – NEGLIGENCE
    (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

       155.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

as if each were set forth fully herein.

       156.    Radioactive isotopes are known human carcinogens and are among the most toxic

materials known to man. When property becomes contaminated with these wastes, the dangers

can persist in the environment for thousands of years. Radioactive wastes should be handled,

stored, and disposed of with the utmost safety in mind. Exposures to radioactive wastes should be

as low as is reasonably achievable.

       157.    Knowing of the grave dangers posed by these wastes, the Defendants owed a duty

of care to the Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal

of the radioactive wastes in order to prevent significant injury to property and persons.

       158.    Defendants also had a specific duty to warn or notify Plaintiffs of the potential

hazards of exposure to radioactive, toxic and hazardous substances, and to warn or notify Plaintiffs




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of the fact that discharges or releases of these substances had occurred and were likely to occur in

the future.

        159.   Further, Defendants had a duty to comply with applicable state, federal, and local

governmental laws, regulations, and guidelines applicable to persons processing, handling, storing,




                                                                                                                                                October
                                                                                                                                                     30,29,
and/or disposing of hazardous, toxic, and radioactive waste materials.




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        160.   Defendants breached these duties by their reckless, negligent and grossly negligent




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processing, handling, storage, and/or disposal of hazardous, toxic, and radioactive waste materials




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as alleged herein. Such conduct was in utter non-compliance with applicable federal, state and

local laws, regulations, and guidelines. Defendants' reckless, negligent, grossly negligent, and

illegal conduct resulted in the dangerous release of hazardous, toxic, and radioactive substances

        into the communities around Coldwater Creek. These actual and continued releases have

subjected Plaintiffs to an unreasonable risk of harm, and to actual injuries to their persons.

        161.   Defendants also failed to warn Plaintiffs of the actual and threatened releases of

such hazardous, toxic, and radioactive substances and of the reasonably foreseeable effects of such

releases, an omission that was reckless, negligent and grossly negligent.

        162.    Defendants failed to act to prevent their releases from harming Plaintiffs.

        163.   Defendants knew or should have known that their generation, management,

storage, use, disposal, releases, or discharges of radioactive, toxic and hazardous substances in as

alleged herein would result in actual and increased risks of damage to Plaintiffs’ property by

contaminating it with radioactive particles, toxic and other hazardous substances.

        164.   Upon information and belief, Defendants’ negligent training of personnel handling

radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

Plaintiffs’ property.



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       165.    Defendants’ negligence throughout the history of the mishandling and improper

dumping of hazardous, toxic, carcinogenic, radioactive wastes has resulted in repeated releases of

Radon gas, radioactive particles and other hazardous materials onto Plaintiffs’ property, in

disregard of applicable regulations and property rights.




                                                                                                                                                 October
               Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with




                                                                                                                                                      30,29,
       166.




                                                                                                                                                          2020
radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished




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Plaintiffs’ property value.




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                                                                                                                                                                       PMPM
       167.    The injuries sustained by Plaintiffs are of the kind that do not occur without

negligence.

       168.    Plaintiffs’ injuries were the result of wastes generated, disposed of, and controlled

by Defendants.

       169.    Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

any way.

                           COUNT V – NEGLIGENCE PER SE
    (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

       170.    Plaintiffs reallege and incorporate by reference every allegation of this Complaint

as if each were set forth fully herein.

       171.      Defendants violated Missouri regulations for Protection against Ionizing

Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require




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the safe storage and disposal of radioactive material so as to protect the health and safety of the

public.

          172.   Plaintiffs are members of the class of persons that the Missouri regulations for

Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,




                                                                                                                                                   October
                                                                                                                                                        30,29,
and Missouri Air Conservation regulations were intended to protect




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          173.   The contamination of Plaintiffs’ land is the kind of injury that the Missouri




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regulations for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and




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Regulations, Missouri Hazardous Waste Management Law, and Missouri Air Conservation

regulations were designed to prevent.

          174.   Defendants’ violations of Missouri regulations for Protection against Ionizing

Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

Conservation regulations were the proximate cause of Plaintiffs’ injuries.

          175.   Defendants’ negligence throughout the history of their mishandling and improper

dumping of radioactive wastes in the St. Louis area has resulted in repeated releases of Radon gas

and radioactive particles and other hazardous materials onto Plaintiffs’ property in violation of

applicable regulations and disregard for property rights.

          176.   Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

radioactive particles, toxic and other hazardous substances. Defendant’s negligence diminished

Plaintiffs’ property value.

          177.   Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in

any way.




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               COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY
    (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

        178.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.




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        179.    Defendants engaged in the abnormally dangerous activity of handling, storing,




                                                                                                                                                          30,29,
and/or disposing of radioactive waste.




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        180.    By handling, storing, and/or disposing of radioactive waste, Defendants have




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created and continue to create a high degree of risk of harm to Plaintiffs’ property.




                                                                                                                                                                           PMPM
        181.    Defendants have intentionally failed to eliminate the risk of harm caused by their

handling, storing, and/or disposing of radioactive waste.

        182.    As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’

property was contaminated with radioactive materials and they suffered and continue to suffer

injury, including diminished property value. Such contamination is incompatible with the normal

use and enjoyment of Plaintiff’s Property.

        183.    Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling,

storing, and/or disposing of radioactive waste.

        184.    The injuries that Defendants’ handling, storing, and/or disposing of radioactive

waste have caused Plaintiffs to suffer, drastically outweigh the value of the said activities.

        185.    Accordingly, Defendants are jointly and severally liable for any and all damages

Plaintiffs have sustained as a result of their strict liability for handling, storing and/or disposing of

radioactive materials, including, without limitation, any incidental or consequential damages.

                              COUNT VII – INJUNCTIVE RELIEF




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    (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

       186.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       187.    Defendants have tortiously contaminated the property of Plaintiffs and the proposed




                                                                                                                                                   October
                                                                                                                                                        30,29,
Class with hazardous, toxic, carcinogenic, radioactive wastes.




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       188.    The Defendants’ tortious acts threaten the safety and normal use and enjoyment of




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the property of Plaintiffs and the proposed Class.




                                                                                                                                                                         PMPM
       189.    The radioactive contamination of the property of Plaintiffs and the proposed Class

has caused a significant increased risk to Plaintiffs and Class members, and therefore Plaintiffs

and Class are in need of a thorough scientific evaluation of the radioactive contaminant levels

throughout the Property.

       190.    The need for such an evaluation is a direct consequence of the Defendants’ tortious

conduct, and does not arise from the innocent conduct of the homeowners.

       191.    Therefore, Plaintiffs seek injunctive and equitable relief to require the Defendants

to conduct the necessary scientific evaluation of the property of Plaintiffs and the proposed Class,

consistent with contemporary scientific principles. Plaintiffs seek injunctive and equitable relief

to require the Defendants to respond to the consequences of this tortious contamination by

providing the necessary medical monitoring in the form of environmental testing, clean-up, and

medical tests as indicated by the results of the scientific evaluation.

       192.    Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

ordered and court-supervised fund (with a court-appointed trustee if the court deems that

appropriate) to provide for the necessary monitoring.



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       193.       Such injunctive and equitable relief will decrease the radioactive contamination

risks of Coldwater Creek to the property of Plaintiffs and the proposed Class, decrease the

interference with the use and enjoyment of the Banks Property, and further mitigate Plaintiffs’

damages.




                                                                                                                                                October
                      COUNT VIII – PUNITIVE DAMAGES




                                                                                                                                                     30,29,
    (brought individually by Plaintiffs and on behalf of the Class against all Defendants)




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       194.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as




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though fully set forth herein.




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       195.       Defendants committed one or more of the willful, wanton and malicious acts more

fully set forth above which individually or cumulatively justify the award of punitive damages in

this matter.

       196.       Defendants knew or had information from which, in the exercise of ordinary care,

should have known that such conduct, as detailed above, created a high degree of probability of

injury to Plaintiffs and others similarly situated.

       197.       The willful, wanton and malicious acts of Defendants, as detailed above, evidence

Defendants’ complete indifference to and/or conscious disregard for the safety of Plaintiffs, and

others similarly situated.

                           COUNT IX – CIVIL CONSPIRACY
    (brought individually by Plaintiffs and on behalf of the Class against all Defendants)

       198.       Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       199.       Defendants wrongfully and fraudulently agreed and conspired together to injure

Plaintiffs and members of the Class, by wrongfully releasing radioactive wastes, as more fully

alleged herein.



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       200.    Defendants wrongfully and fraudulently agreed and conspired together to take the

actions alleged herein giving rise to causes of action for nuisance, trespass, negligence, negligence

per se, strict/absolute liability, injunctive relief, and punitive damages as alleged herein.

       201.    As a result of the conspiracy of the Defendants, Plaintiffs and members of the Class




                                                                                                                                                 October
                                                                                                                                                      30,29,
have suffered damages, as more fully alleged herein.




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                      COUNT X – INVERSE CONDEMNATION




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                                                                                                                                                               - 03:43
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   (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
       against the St. Louis Airport Authority, a department of the City of St. Louis)




                                                                                                                                                                       PMPM
       202.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       203.    The St. Louis Airport Authority, a department of the City of St. Louis, owns and

operates St. Louis Lambert International Airport, located partially on the SLAPS.

       204.    The St. Louis Airport Authority, a department of the City of St. Louis, damaged

and effectively took the property of Plaintiffs and the Property Damage Subclass for public use

without just compensation.

       205.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

and Coldwater Creek.

       206.    The St. Louis Airport Authority, a department of the City of St. Louis, took

affirmative steps after taking possession of SLAPS, to conceal the nature of the contamination.




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       207.    The St. Louis Airport Authority, a department of the City of St. Louis, took

affirmative steps after taking possession of SLAPS that ensured that radioactive wastes would be

leached from the site into Coldwater Creek.




                                                                                                                                                 October
       208.    The actions of St. Louis Airport Authority, a department of the City of St. Louis, in




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damaging and effectively taking Plaintiffs’ property, was for public use, specifically, in the




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operation and maintenance of St. Louis Lambert International Airport.




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       209.    The conduct of the St. Louis Airport Authority, a department of the City of St.




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Louis, as alleged herein constituted and invasion and appropriation of the property rights of

Plaintiffs and the Property Damage Subclass.

       210.    The actions of the St. Louis Airport Authority, a department of the City of St. Louis,

as alleged herein, directly and specially affects the property rights of Plaintiffs, in that the

hazardous, toxic, carcinogenic, radioactive contamination originating from the St. Louis Airport,

which has contaminated the one hundred year floodplain of Coldwater Creek, renders their

property valueless.

               COUNT XI – VIOLATION OF ARTICLE I § 10 OF THE MISSOURI
                                     CONSTITUTION
   (brought individually by all Plaintiffs and on behalf of the Property Damage Subclass
       against the St. Louis Airport Authority, a department of the City of St. Louis)

       211.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       212.    Article I § 10 of the Missouri Constitution states “that no person shall be deprived

of life, liberty or property without due process of law.”

       213.    Plaintiffs and Class had, and have, an established constitutional right not to be

deprived of their personal property without due process of law.



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       214.    The conduct of the St. Louis Airport Authority, a department of the City of St.

Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

carcinogenic, radioactive wastes, as alleged herein, and thereby depriving Plaintiffs of the use and

enjoyment of their land, without due process of law, violated Plaintiffs’ and Class’ due process




                                                                                                                                                 October
                                                                                                                                                      30,29,
and property rights under Article I § 10 of the Missouri Constitution.




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       215.    As a result of Defendants’ conduct, Plaintiffs and Class had, or will have, their




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constitutional rights violated and will thus suffer irreparable harm if this Court does not enter an




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injunction or other equitable relief.

              COUNT XII – VIOLATION OF ARTICLE I § 26 OF THE MISSOURI
                                      CONSTITUTION
               (brought individually and on behalf of the Property Damage Subclass
           against the St. Louis Airport Authority, a department of the City of St. Louis)

       216.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs as

though fully set forth herein.

       217.    Article I § 26 of the Missouri Constitution states that “private property shall not be

taken or damaged for public use without just compensation.”

       218.    The St. Louis Airport Authority, a department of the City of St. Louis, after taking

possession of SLAPS, knowing it was contaminated with radioactive waste, failed to remediate,

warn, or otherwise prevent the leaching of wastes and contamination of neighboring properties

and Coldwater Creek.

       219.    The conduct of the St. Louis Airport Authority, a department of the City of St.

Louis, in contaminating the Coldwater Creek one hundred year flood plain with hazardous, toxic,

carcinogenic, radioactive wastes, as alleged herein, damaged and effectively took private property

of Plaintiffs and the Property Damage Subclass.



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       220.    Neither the St. Louis Airport Authority, the City of St. Louis, nor anyone else, has

provided compensation for these takings to Plaintiffs or the Property Damage Subclass.

                                    PRAYER FOR RELIEF

       WHEREFORE, as to each Count, and all Counts, Plaintiffs Tamia Banks, Ronnie Hooks,




                                                                                                                                                October
                                                                                                                                                     30,29,
Barbara Hooks, Joel Hogan, Kenneth Niebling, Kendall Lacy, Tanja Lacy, Willie Clay, Bobbie




                                                                                                                                                         2020
Jean Clay, Angela Statum, and Missouri Rentals Company, LLC, pray for judgment in favor of




                                                                                                                                                            2019
                                                                                                                                                              - 03:43
                                                                                                                                                                 - 04:59
Plaintiffs and against Defendants Cotter Corporation, Commonwealth Edison Company, DJR




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Holdings, Inc. f/k/a Futura Coatings, Inc., and the St. Louis Airport Authority, a department of the

City of St. Louis, as well as awarding the following to Plaintiffs and against Defendants:

           a. an award of actual, general, special, incidental, statutory, compensatory and

               consequential damages in an amount to be proven at trial, including compensatory

               damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

               discomfort; damage to Plaintiffs’ personal property; the diminution in the market

               value of Plaintiffs’ property; as well as the costs and expenses incurred as a result

               of Plaintiffs’ exposure to radioactive emissions, including costs of remediation and

               relocation;

           b. an award of double damages for malicious trespass as provided for under RSMo. §

               537.330;

           c. an award of punitive and exemplary damages as fair and reasonable in an amount

               sufficient to punish Defendants and to deter similar conduct in the future;

           d. costs and attorney fees;

           e. interest on the above amounts as allowed by law;

           f. for appropriate injunctive and equitable relief, as permitted by law or equity



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             including a preliminary and/or permanent injunction enjoining Defendants from

             continuing the unlawful conduct as set forth herein and directing Defendants to

             identify, with Court supervision, members of the Class in order to compensate them

             and to clean up all contamination, and including medical monitoring; and




                                                                                                                                           October
                                                                                                                                                30,29,
          g. for any further relief this Court deems just and proper.




                                                                                                                                                    2020
Dated: October 29, 2019                   Respectfully submitted,




                                                                                                                                                       2019
                                                                                                                                                         - 03:43
                                                                                                                                                            - 04:59
                                          KEANE LAW LLC




                                                                                                                                                                 PMPM
                                          /s/ Nathaniel R. Carroll
                                          Ryan A. Keane, # 62112
                                          Nathaniel R. Carroll, #67988
                                          7777 Bonhomme Ave., Ste. 1600
                                          St. Louis, MO 63105
                                          Phone: (314) 391-4700
                                          Fax: (314) 244-3778
                                          ryan@keanelawllc.com
                                          nathaniel@keanelawllc.com

                                          JOHNSON GRAY, LLC
                                          Anthony D. Gray, # 51534
                                          319 North 4th Street, Suite 212
                                          St. Louis, MO 63102
                                          Phone: (314) 385-9500
                                          agray@johnsongraylaw.com

                                          COOPER LAW FIRM, L.L.C.
                                          Stuart Smith LA Bar # 17805 pro hac vice
                                          Barry J. Cooper, Jr., TX Bar # 24057527 pro hac vice
                                          Celeste Brustowicz, LA Bar # 16835 pro hac vice
                                          Victor Cobb LA Bar # 36830 pro hac vice
                                          1525 Religious Street
                                          New Orleans, LA 70130
                                          Phone: (504) 566-1558
                                          ssmith@sch-llc.com
                                          bcooper@sch-llc.com
                                          cbrustowicz@sch-llc.com
                                          vcobb@sch-llc.com

                                          and



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                                              Kevin W. Thompson (WV Bar #5062) pro hac vice
                                              David R. Barney, Jr. (WV Bar #7958) pro hac vice
                                              2030 Kanawha Boulevard, East
                                              Charleston, WV 25311
                                              Telephone: 304-343-4401
                                              Facsimile: 304-343-4405




                                                                                                                                             October
                                              Email: kwthompson@gmail.com




                                                                                                                                                  30,29,
                                             Attorneys for Plaintiffs and proposed Class




                                                                                                                                                      2020
                                                                                                                                                         2019
                                                                                                                                                           - 03:43
                                 CERTIFICATE OF SERVICE




                                                                                                                                                              - 04:59
                                                                                                                                                                   PMPM
       The undersigned hereby certifies that on October 29, 2019, a true and accurate copy of the

foregoing was served by filing it in the court’s electronic filing system, which will provide

electronic notice to all parties and attorneys of record.

                                               /s/ Nathaniel R. Carroll




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       TWENTY-FIRST JUDICIAL CIRCUIT COURT OF THE STATE OF MISSOURI
                             ST. LOUIS COUNTY

TAMIA BANKS, et al.,                        )
                                            )
                                            )
       Plaintiffs,                          )                   Cause No. 18SL-CC00617-01
                                            )
       vs.                                  )                        Division No. 17
                                            )
COTTER CORPORATION, (N.S.L.), et al.,       )
                                            )
       Defendants.                          )
                                            )
COTTER CORPORATION, (N.S.L.),               )
                                            )
       Third-Party Plaintiff,               )
                                            )
       vs.                                  )
                                            )
MALLINCKRODT LLC, EVERZINC USA INC.,        )
BRIDGETON LANDFILL, LLC, REPUBLIC SERVICES, )
INC., ALLIED SERVICES, LLC, WEST LAKE       )
LANDFILL, INC., and ROCK ROAD INDUSTRIES,   )
INC.,                                       )
                                            )
       Third-Party Defendants.              )

             MEMO REGARDING SERVICE OF THIRD-PARTY PETITION

       COMES NOW Third-Party Plaintiff Cotter Corporation (N.S.L.), (“Cotter”) by and

through its undersigned counsel, and filed this Memo Regarding Service of Third-Party Petition,

stating as follows:

       1. On June 30, 2020, Cotter filed its Third-Party Petition against Mallinckrodt LLC

           (“Mallinckrodt”), EverZinc USA Inc. (“EverZinc”), Bridgeton Landfill LLC

           (“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied”),

           West Lake Landfill, Inc. (“West Lake”), and Rock Road Industries, Inc. (“Rock Road”)

           under Missouri Supreme Court Rule 52.11.
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      2. Cotter now requests a Summons to be issued to Mallinckrodt, EverZinc, Bridgeton,

           Republic, Allied, West Lake, and Rock Road. Fees were paid accordingly via Case.net.

      3.   Mallinckrodt will be served at its registered agent, CT Corporation Co., Corporation

           Trust Center, 1209 Orange Street, Wilmington, DE 19801.

      4. EverZinc will be served at its registered agent, Corporation Service Company, 80 State

           Street, Albany, New York, 12207-2543.

      5. Bridgeton will be served at its registered agent, CT Corporation Co., Corporation Trust

           Center, 1209 Orange Street, Wilmington, DE 19801.

      6. Republic will be served at its registered agent, CT Corporation Co., Corporation Trust

           Center, 1209 Orange Street, Wilmington, DE 19801.

      7. Allied will be served at its registered agent, CT Corporation Co., Corporation Trust

           Center, 1209 Orange Street, Wilmington, DE 19801.

      8. West Lake will be served at its registered agent, Harvey Ferdman, 671 Clovertrail

           Drive, Chesterfield, MO 63017.

      9. Rock Road will be served at its registered agent, CT Corporation Co., 120 South

           Central Ave., Clayton, MO 63105.

           DATED: July 2, 2020
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                                    Respectfully submitted,

                                    /s/ Brian O. Watson

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                                    ATTORNEYS FOR DEFENDANT
                                    COTTER CORPORATION (N.S.L.)
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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 2, 2020, the foregoing Memo was filed via the Missouri
Court’s eFiling system, which will automatically serve an electronic copy of upon all counsel of
record:


                                     By: /s/ Marcie J. Vantine (MO Bar No. 56860)
                                             Marcie J. Vantine, #56860
                                             800 Market Street, Suite 2100
                                             St. Louis, Missouri 63101
                                             Phone: 314-241-7100
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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al.,

              Plaintiffs,
                                                          Case No. 18SL-CC00617-01
       v.                                                       Division No. 17

COTTER CORPORATION (N.S.L.), et al.,

               Defendants.


COTTER CORPORATION (N.S.L.),

              Third-Party Plaintiff,                                      Judge   Division 17
                                                                  Judge                         Division 99
                                                                  June14,
                                                                  July 10,2020
                                                                           2015
       v.

MALLINCKRODT LLC, EVERZINC USA
INC., BRIDGETON LANDFILL, LLC,
REPUBLIC SERVICES, INC., ALLIED
SERVICES, LLC, WESTLAKE LANDFILL,
INC., and ROCK ROAD INDUSTRIES, INC.,

              Third-Party Defendants.



                                 THIRD-PARTY PETITION

       Defendant Cotter Corporation (N.S.L.) (“Cotter”) brings this Third-Party Petition against

Mallinckrodt LLC (“Mallinckrodt”), EverZinc USA Inc. (“EverZinc”), Bridgeton Landfill LLC

(“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied”), Westlake

Landfill, Inc. (“Westlake”), and Rock Road Industries, Inc. (“Rock Road”) under Missouri

Supreme Court Rule 52.11.
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                                           PARTIES

       1.      Cotter is a New Mexico corporation with its principal place of business in

Colorado.

       2.      Mallinckrodt is a Delaware limited liability company with its principal place of

business in Missouri. Mallinckrodt is the successor to Mallinckrodt Chemical Works and other

predecessor entities.

       3.      EverZinc is a New York corporation with its principal place of business in North

Carolina. EverZinc is the successor to African Metals Corporation and other predecessor

entities. Upon information and belief, African Metals Corporation was incorporated under the

laws of the State of New York; African Metals Corporation changed its name to Afrimet-Indussa

Inc.; Afrimet-Indussa Inc. changed its name to Sogem-Afrimet Inc.; Sogem-Afrimet Inc.

changed its name to Sogem USA Inc.; Sogem USA Inc. changed its name to Umicore Marketing

Services USA Inc.; and Umicore Marketing Services USA Inc. changed its name to EverZinc

USA Inc.

       4.      Republic is a Delaware corporation with its principal place of business in

Arizona.

       5.      Bridgeton is a Delaware limited liability company with its principal place of

business is in Missouri.

       6.      Westlake is a Missouri corporation with its principal place of business in

Missouri.

       7.      Allied is a Delaware limited liability company with its principal place of business

in Arizona.




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       8.        Rock Road is a Missouri corporation with its principal place of business in

Missouri.

                                  JURISDICTION AND VENUE

       9.        This Court has jurisdiction over the subject matter of this cause of action because

the alleged acts took place in St. Louis County, Missouri.

       10.       This Court has jurisdiction over the third-party defendants because, under R.S.

Mo. § 506.500.1, either they have their principal place of business in Missouri or they otherwise

transacted business and committed the alleged acts that form the basis of this cause of action

within Missouri, so that they have purposely availed themselves of Missouri law and could

reasonably anticipate defending a lawsuit in Missouri.

       11.       Venue is proper because, under R.S. Mo. § 508.010.4, Plaintiffs claim they were

allegedly first injured in St. Louis County, Missouri.

                              FACTS COMMON TO ALL COUNTS

                              Direct Allegations Against Defendants

       12.       Plaintiffs filed a Second Amended Class-Action Petition against Defendants, a

copy of which is attached as Exhibit 1 under Missouri Supreme Court Rules 55.10 and 55.12.

       13.       Plaintiffs allege that Defendants are responsible for causing or contributing to

radioactive contamination throughout various areas in St. Louis County, Missouri, including

Coldwater Creek, the St. Louis Airport Site, the Latty Avenue Site, transit routes, and the alleged

Class Area.

       14.       Plaintiffs allege property damage and personal injury as a result of alleged

contamination.




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                        Third-Party Allegations Against Mallinckrodt

                             Mallinckrodt’s Uranium Operations

        15.    Beginning in World War II, and continuing thereafter, Mallinckrodt contracted

with the United States Government in developing the atomic bomb and operated at the St. Louis

Downtown Site and the St. Louis Airport Site.

        16.    The St. Louis Downtown Site consisted of 210 acres of land on the eastern border

of St. Louis, including 44.5 acres occupied by Mallinckrodt and 165 acres of vicinity properties.

The Mallinckrodt portion was also known as the Destrehan Street facility.

        17.    Under its contract with the United States Government, Mallinckrodt developed a

uranium refining process to furnish pure uranium compounds.

        18.    From 1942 through 1957, Mallinckrodt refined uranium ores and concentrates at

the Destrehan Street facility, leading to radionuclide-containing residues that included K-65, C-

701, interim residue plant tailings, scrap metal, Belgian Congo raffinates, Colorado raffinates, C-

slag, leached and unleached barium sulfate, and other materials.

        19.    From 1942 through 1957, Mallinckrodt manufactured, produced, used, handled,

and stored radioactive wastes and other materials at the St. Louis Downtown Site.

        20.    In 1946, the United States Government contracted with the State of Missouri to

store radioactive wastes and other materials produced by Mallinckrodt at the St. Louis Airport

Site.

        21.    From 1946 through 1957, Mallinckrodt had radioactive wastes and other materials

handled and transported from the St. Louis Downtown Site to the St. Louis Airport Site.

        22.    From 1953 until at least 1966, Mallinckrodt operated the St. Louis Airport Site.




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       23.      From 1946 through 1966, Mallinckrodt had radioactive wastes and other materials

used, handled, and stored at the St. Louis Airport Site.

                       Mallinckrodt’s Columbium-Tantalum Operations

       24.      Between 1956 and 1985, Mallinckrodt conducted columbium-tantalum operations

at the Mallinckrodt St. Louis Plant, which generated unreacted ore containing uranium and

thorium and other byproducts.

       25.      After the shutdown and decommissioning of its uranium ore processing unit,

Mallinckrodt extracted columbium-tantalum pentoxide and byproduct uranium oxide from

euxenite ore.

       26.      Mallinckrodt’s columbium-tantalum operations involved the following: crushing

and milling the ore; leaching with hydrofluoric and sulfuric acids; purification by extraction and

precipitation; separation of metal fluorides by fractional crystallization; and washing, drying, and

calcining the metals to several columbium-tantalum products.

       27.      Mallinckrodt had rare earth and thorium residues delivered to the United States

General Services Administration and had the residuals and other materials stored, handled,

processed, transported, and disposed offsite from the columbium-tantalum operations.

       28.      In mid-1961, Mallinckrodt applied a modified process for separation and recovery

of columbium-tantalum products, through which approximately half of the natural thorium in the

feedstock was retained in the insoluble residue (designated as unreacted ore #1) and the

remainder was concentrated in the raffinate after columbium-tantalum extraction.

       29.      Mallinckrodt had the raffinate and unreacted ore #1 stored, handled, processed,

transported, and disposed of from the columbium-tantalum operations.




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       30.     Upon completion of its contract with the United States Government, Mallinckrodt

converted its columbium-tantalum unit into a commercial processing unit utilizing similar

processes, except natural uranium in the columbite ore remained in the acid insoluble residue,

designated as unreacted ore #10.

       31.     Mallinckrodt caused the radioactive wastes and other materials from the

columbium-tantalum operations to be used, stored, handled, transported, and disposed of at

landfills in the St. Louis area, including West Lake Landfill.

       32.     Soil samples and other material analyzed during the remedial investigation

process for West Lake Landfill have marks of Mallinckrodt’s unreacted ore.

                        Mallinckrodt’s Other Commercial Operations

       33.     Mallinckrodt disposed of thorium-containing waste and other effluents from its

commercial operations at the Mallinckrodt St. Louis Plant into local water bodies and sewers in

the St. Louis area, and some of these wastes and effluents were transported to West Lake

Landfill.

       34.     Before the establishment of the St. Louis Metropolitan Sewer District’s Bissel

Point Treatment Plant, Mallinckrodt had its process, storm, and sanitary effluents collected in a

combined sewer system and discharged directly into the Mississippi River, according to the

Formerly Utilized Sites Remedial Action Program of the United States Army Corps of

Engineers.

       35.     After 1970, Mallinckrodt had thorium-containing waste and other effluents

disposed into sewers that went to the St. Louis Metropolitan Sewer District’s Bissel Point

Treatment Plant, according to the Formerly Utilized Sites Remedial Action Program of the

United States Army Corps of Engineers.



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        36.     Mallinckrodt had the unreacted ore containing thorium and uranium disposed into

the plant sewer, which in turn was discharged to the Metropolitan St. Louis Sewer System,

according to Mallinckrodt’s July 1977 Application for Source Material License.

        37.     Mallinckrodt recovered columbium-tantalum (C-T) operations values from

shipping bags, containers, filter press cakes, filter clothes, etc. by first burning, then dissolving

the incinerator ash with the incoming ore, and then disposing the residues via the plant sewer,

which in turn is discharged to the Metropolitan St. Louis Sewer System.

        38.     Mallinckrodt had soluble radionuclides and fine, dispersible solids containing

radionuclides discharged to the plant sewer routinely, which in turn is discharged to the

Metropolitan St. Louis Sewer System, according to Mallinckrodt’s March 1981 Application for

Source Material License.

        39.     Mallinckrodt had loose material (i.e., material not qualifying as regulated source

material but containing low concentrations of uranium and/or thorium) collected, transported,

and disposed of at landfills in the St. Louis area, which, upon information and belief, included

West Lake Landfill.

                           Third-Party Allegations Against EverZinc

        40.     In the 1940s, the United States Government purchased ores containing uranium

from African Metals n/k/a EverZinc.

        41.     African Metals n/k/a EverZinc owned, sold, and distributed pitchblende ores

containing uranium that Mallinckrodt processed at the St. Louis Downtown Site.

        42.     African Metals n/k/a EverZinc retained ownership of the radioactive wastes and

other materials generated by Mallinckrodt except for the uranium content.




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        43.    African Metals n/k/a EverZinc had the radioactive wastes and other materials

stored at the St. Louis Airport Site under lease agreements with the United States Government.

        44.    From approximately 1946 through 1957, the radioactive wastes and other

materials were transported from the St. Louis Downtown Site to the St. Louis Airport Site.

        45.    Upon information and belief, in June 1959, African Metals n/k/a EverZinc

abandoned ownership and disposed of the radioactive wastes and other materials.

        46.    Between approximately May 1966 and December 1966, the radioactive wastes

and other materials abandoned by African Metals n/k/a EverZinc—including leached barium

sulfate residue—were transported by truck from the St. Louis Airport Site to the Latty Avenue

Site.

        47.    Between approximately July 1973 to October 1973, leached barium sulfate

residue abandoned by African Metals n/k/a EverZinc was transported by truck from the Latty

Avenue Site to the West Lake Landfill.

                  Third-Party Allegations Against the Landfill Defendants

        48.    From 1962 to 1988, West Lake Landfill was owned and operated by Westlake.

        49.    During this period, Westlake accepted a variety of demolition material,

manufacturing wastes and byproducts, and sanitary waste at West Lake Landfill.

        50.    Westlake accepted hazardous substances referenced above, as residues from the

production of insecticides and herbicides, waste ink, esters, halogenated intermediates, heavy

metals, oils, wastewater sludges, and asbestos.

        51.    Some of this material also contained the radioactive waste referenced above,

including the 8,700 pounds of leached barium sulfate.

        52.    On July 29, 1988, Laidlaw acquired the stock of Westlake.



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       53.    Westlake changed its name to Laidlaw Waste Systems (Bridgeton) Inc. and

continued to operate West Lake Landfill until 1998.

       54.    Rock Road purchased a portion of West Lake Landfill containing radioactive

waste, and has owned, operated, and managed the portion of West Lake Landfill, and accepted

and disposed of hazardous waste at West Lake Landfill.

       55.    In 1998, Laidlaw Waste Systems (Bridgeton), Inc. (i.e., Westlake) merged into

Bridgeton.

       56.    Rock Road also merged into Bridgeton.

       57.    Bridgeton is the successor-in-interest to Westlake and Rock Road.

       58.    Bridgeton and its sole member (Allied), either directly or through Westlake and

Rock Road, have owned, operated, and managed West Lake Landfill and have accepted and

disposed of hazardous waste at West Lake Landfill.

       59.    In 2008, Republic acquired Bridgeton as the successor-in-interest to Westlake and

Rock Road.

       60.    Since that time, Republic has overseen and directed the environmental activities

of Allied, Bridgeton, Rock Road, and Westlake (collectively, the “Landfill Defendants”) with

respect to West Lake Landfill.

       61.    In 2010, the Landfill Defendants reported to the Missouri Department of Natural

Resources that a portion of West Lake Landfill was experiencing elevated temperatures in

certain gas extraction wells, suggesting subsurface smoldering.

       62.    Shortly thereafter, the smoldering intensified into a subsurface combustion fire,

which caused odors and hazardous substances to be released into the air.




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       63.     These emissions persisted through at least 2012, when the State of Missouri tested

the ambient air around West Lake Landfill and determined the air exceeded ambient

concentration levels for benzene and acetaldehyde.

       64.     In 2013, and continuing thereafter, portions of West Lake Landfill have generated

approximately 150,000 gallons each day of leachate, which the Landfill Defendants treated on

site before transporting to disposal facilities in Missouri and Illinois.

       65.     The leachate contained hazardous substances and was released from West Lake

Landfill into the surrounding environment and groundwater.

       66.     The Landfill Defendants, either directly or through their subsidiaries and

predecessors, have accepted and disposed of radioactive waste and other hazardous substances at

West Lake Landfill.

       67.     The Landfill Defendants, either directly or through their subsidiaries and

predecessors, have caused or contributed to the improper handling, storage, or disposal of the

radioactive waste and other hazardous substances at West Lake Landfill.

                                     COUNT 1
                       CONTRIBUTION AGAINST MALLINCKRODT

       68.     Cotter adopts by reference the allegations in Paragraphs 1 through 67.

       69.     Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

       70.     Mallinckrodt owed Plaintiffs a duty as alleged in the Second Amended Class-

Action Petition.

       71.     Mallinckrodt failed to use reasonable care that resulted in releases from the St.

Louis Downtown Site, the St. Louis Airport Site, the Latty Avenue Site, the West Lake Landfill,




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Mallinckrodt St. Louis Plant, and transit routes into the surrounding environment, including the

alleged Class Area.

        72.       In the unlikely event that Cotter is found liable to Plaintiffs’ alleged damages,

which Cotter denies, Mallinckrodt is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Mallinckrodt for any alleged damages that may be assessed against Cotter.

        73.       In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Mallinckrodt, thereby barring any such recovery

against Cotter.

        74.       In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Mallinckrodt and any such liability must be

limited to the percentage of fault apportioned to Cotter.

        75.       Accordingly, the jury should award Cotter against Mallinckrodt any amount

assessed against Cotter that is more than Cotter’s percentage of fault and award Cotter such

proportion of the total sum paid as corresponds to Cotter’s percentage of fault.

                                        COUNT 2
                             CONTRIBUTION AGAINST EVERZINC

        76.       Cotter adopts by reference the allegations in Paragraphs 1 through 67.

        77.       Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

        78.       EverZinc owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




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          79.   EverZinc failed to use reasonable care that resulted in releases from the St. Louis

Downtown Site, the St. Louis Airport Site, the Latty Avenue Site, the West Lake Landfill, and

transit routes into the surrounding environment, including the alleged Class Area.

          80.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, EverZinc is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from EverZinc for any alleged damages that may be assessed against Cotter.

          81.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of EverZinc, thereby barring any such recovery against

Cotter.

          82.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of EverZinc and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          83.   Accordingly, the jury should award Cotter against EverZinc any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 3
                           CONTRIBUTION AGAINST REPUBLIC

          84.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          85.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          86.   Republic owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.

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          87.   Republic failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          88.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Republic is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Republic for any alleged damages that may be assessed against Cotter.

          89.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Republic, thereby barring any such recovery against

Cotter.

          90.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Republic and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          91.   Accordingly, the jury should award Cotter against Republic any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                     COUNT 4
                          CONTRIBUTION AGAINST BRIDGETON

          92.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          93.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          94.   Bridgeton owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




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          95.    Bridgeton failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          96.    In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Bridgeton is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Bridgeton for any alleged damages that may be assessed against Cotter.

          97.    In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Bridgeton, thereby barring any such recovery against

Cotter.

          98.    In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Bridgeton and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          99.    Accordingly, the jury should award Cotter against Bridgeton any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                       COUNT 5
                              CONTRIBUTION AGAINST ALLIED

          100.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          101.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          102.   Allied owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




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          103.   Allied failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          104.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Allied is a joint tortfeasor who is liable, in whole or in part, for Plaintiffs’

alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Allied for any alleged damages that may be assessed against Cotter.

          105.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Allied, thereby barring any such recovery against

Cotter.

          106.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Allied and any such liability must be limited to

the percentage of fault apportioned to Cotter.

          107.   Accordingly, the jury should award Cotter against Allied any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 6
                           CONTRIBUTION AGAINST ROCK ROAD

          108.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          109.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          110.   Rock Road owed Plaintiffs a duty as alleged in the Second Amended Class-

Action Petition.




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          111.   Rock Road failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          112.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Rock Road is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Rock Road for any alleged damages that may be assessed against Cotter.

          113.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Rock Road, thereby barring any such recovery against

Cotter.

          114.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Rock Road and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          115.   Accordingly, the jury should award Cotter against Rock Road any amount

assessed against Cotter that is more than Cotter’s percentage of fault and award Cotter such

proportion of the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 7
                           CONTRIBUTION AGAINST WESTLAKE

          116.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          117.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          118.   Westlake owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




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          119.   Westlake failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          120.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Westlake is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Westlake for any alleged damages that may be assessed against Cotter.

          121.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Westlake, thereby barring any such recovery against

Cotter.

          122.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Westlake, and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          123.   Accordingly, the jury should award Cotter against Westlake any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                     REQUEST FOR RELIEF

          124.   WHEREFORE, Cotter Corporation (N.S.L.) requests judgment in its favor on its

Third-Party Petition against Mallinckrodt LLC, EverZinc USA Inc., Bridgeton Landfill LLC,

Republic Services, Inc., Allied Services, LLC, Westlake Landfill, Inc., and Rock Road

Industries, Inc., an award of court costs, and any further relief as this Court deems just and

proper.




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                               DEMAND FOR JURY TRIAL

      Cotter Corporation (N.S.L.) demands a trial by jury of all issues so triable by right.


      Dated: June 30, 2020                  Respectfully submitted,

                                            /s/ Brian O. Watson
                                            RILEY SAFER HOLMES & CANCILA LLP
                                            Edward Casmere, #64326MO
                                            Brian O. Watson, #68678MO
                                            Jennifer Steeve, Pro Hac Vice
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                                            bwatson@rshc-law.com
                                            jsteeve@rshc-law.com
                                            docketdept@rshc-law.com

                                            SWANSON, MARTIN & BELL, LLP
                                            Marcie J. Vantine, #56860MO
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                                            800 Market Street, Suite 2100
                                            St. Louis, MO 63101
                                            314.242.0903 (telephone)
                                            314.242.0990 (facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            COTTER CORPORATION (N.S.L.)




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                                 CERTIFICATE OF SERVICE

         I certify that on June 30, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                              Respectfully submitted,

                                              /s/ Brian O. Watson
                                              RILEY SAFER HOLMES & CANCILA LLP
                                              Edward Casmere, #64326MO
                                              Brian O. Watson, #68678MO
                                              Jennifer Steeve, Pro Hac Vice
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                                              Chicago, Illinois 60602
                                              (312) 471-8700 (main)
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                                              bwatson@rshc-law.com
                                              jsteeve@rshc-law.com
                                              docketdept@rshc-law.com

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            IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 18SL-CC00617-01
 JOSEPH L. WALSH III                                                                                                           SHERIFF FEE
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address                         PAID
 TAMIA BANKS                                                    ALEXANDER L BRAITBERG
                                                                7777 Bonhomme Ave.
                                                                SUITE 1600
                                                          vs.   ST LOUIS, MO 63105
 Defendant/Respondent:                                          Court Address:
 COTTER CORPORATION                                             ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Other Miscellaneous Actions                                 CLAYTON, MO 63105
                                                                                                                                     (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: WEST LAEK LANDFILL INC
                                      Alias:
  REGISTERED AGENT
  HARVEY FERDMAN
  671 CLOVERTAIL DRIVE
  CHESTERFIELD, MO 63017
        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        21-JUL-2020                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       GB
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6501        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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     Sheriff’s Fees, if applicable                                   1687
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6501    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                        THE CIRCUIT COURT OF ST.
                                               1688LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6501   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process     designed to bring the parties to the litigation and their
                                                    1689
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 20-SMCC-6501   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE JEAN                  Case No. 18SL-CC00617-01
CLAY, ANGELA STATUM, and MISSOURI                     Division No. 17
RENTALS COMPANY, LLC, on behalf of
themselves and all others similarly situated,

              Plaintiffs,

       vs.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY, DJR
HOLDINGS, INC. f/k/a FUTURA COATINGS,
INC., and ST. LOUIS AIRPORT AUTHORITY,
A DEPARTMENT OF THE CITY OF ST.
LOUIS,

              Defendants.

              MOTION FOR ADMISSION OF COUNSEL PRO HAC VICE

       Marcie J. Vantine, attorney for Defendants Cotter Corporation (N.S.L.) and

Commonwealth Edison Company, requests that the Court grant the application for admission

submitted by Attorney Lauren Jaffe, without waiver of jurisdictional and other defenses pursuant

to Missouri Supreme Court Rule 9.03. In support of this motion, movant states:

       1.     The movant is an attorney licensed to practice law in the state of Missouri.

       2.     Lauren Jaffe, is an attorney licensed to practice law in Illinois and a member of

the law firm of Riley Safer Holmes & Cancila LLP, which is located at 70 W. Madison Street,

Suite 2900, Chicago, IL (312) 471-8700.

       2.     Lauren Jaffe, and the law firm of Riley Safer Holmes & Cancila LLP have been

retained by Defendants Cotter Corporation (N.S.L.) and Commonwealth Edison Company.
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Lauren Jaffe, desires to be permitted to practice specially in this Court as counsel for Defendants

Cotter Corporation (N.S.L.) and Commonwealth Edison Company.

       3.      Lauren Jaffe, is admitted to practice law in the State of Illinois, admitted on

November 6, 2014. Lauren Jaffe currently is licensed and in good standing to practice law in

each jurisdiction to which she is admitted.

       4.      Neither Lauren Jaffe, nor any member of the firm of Riley Safer Holmes &

Cancila LLP with which Lauren Jaffe practices, is under suspension or disbarment by any Court

to which Lauren Jaffe is admitted.

       5.      Lauren Jaffe is familiar with the Missouri Supreme Court Rules and will at all

times abide by and comply with those rules as counsel herein.

       6.      Marcie J. Vantine, Swanson, Martin & Bell, LLP, One Bank of America Plaza, 800

Market Street, Suite 2100, St. Louis, MO 63101, 314-242-0903, has agreed to act as associate

counsel herein and to sponsor the motion.

       7.      The fee of $410.00 pursuant to Rule 6.01(m) has been paid, and the receipt is

attached to this motion

       WHEREFORE, the undersigned respectfully prays that this Court enter an order

granting the Motion for Admission Pro Hac Vice.




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Dated: August 10, 2020                     Respectfully submitted,

                                           /s/ Marcie J. Vantine, #56860MO
                                           SWANSON, MARTIN & BELL, LLP
                                           Marcie J. Vantine, #56860MO
                                           mvantine@smbtrials.com
                                           One Bank of America Plaza
                                           800 Market Street, Suite 2100
                                           St. Louis, MO 63101
                                           314.242.0903 (telephone)
                                           314.242.0990 (facsimile)

                                           RILEY SAFER HOLMES & CANCILA LLP
                                           Edward Casmere, #64326MO
                                           Brian O. Watson, #68678MO
                                           70 W. Madison St., Ste. 2900
                                           Chicago, Illinois 60602
                                           (312) 471-8700 (main)
                                           (312) 471-8701 (fax)
                                           ecasmere@rshc-law.com
                                           bwatson@rshc-law.com
                                           docketdept@rshc-law.com


                                           ATTORNEYS FOR DEFENDANTS
                                           COTTER CORPORATION (N.S.L.)
                                           AND COMMONWEALTH EDISON
                                           COMPANY




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                                 CERTIFICATE OF SERVICE

         I certify that on Aug. 11, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.


                                                      /s/ Marcie J. Vantine, #56860MO


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                       IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                                ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, REV. RONNIE HOOKS,
BARBARA HOOKS, JOEL HOGAN,
KENNETH NIEBLING, KENDALL LACY,
TANJA LACY, WILLIE CLAY, BOBBIE JEAN                  Case No. 18SL-CC00617-01
CLAY, ANGELA STATUM, and MISSOURI                     Division No. 17
RENTALS COMPANY, LLC, on behalf of
themselves and all others similarly situated,

                  Plaintiffs,

         vs.

COTTER CORPORATION,
COMMONWEALTH EDISON COMPANY, DJR
HOLDINGS, INC. f/k/a FUTURA COATINGS,
INC., and ST. LOUIS AIRPORT AUTHORITY,
A DEPARTMENT OF THE CITY OF ST.
LOUIS,

                  Defendants.

                   ORDER FOR ADMISSION OF COUNSEL PRO HAC VICE

         This cause coming before the Court on the Motion for Admission of Counsel Pro Hac

Vice, accompanied by the application of Lauren Jaffe, and the Court being fully advised in the

premises, IT IS ORDERED THAT:

         The Motion for Admission of Counsel Pro Hac Vice is GRANTED. Attorney Lauren

Jaffe is admitted to appear and participate on behalf of Defendants Cotter Corporation (N.S.L.)

and Commonwealth Edison Company without waiver of jurisdiction and other defenses.

         SO ORDERED.

         Dated:
                                             Judge Joseph L. Walsh, III
                                             St. Louis County Court, Division 17

CC: Attorneys of records
4845-2601-7477, v. 1
                                                                                   Electronically Filed - St Louis County - August 11, 2020 - 07:46 PM
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                       18SL-CC00617-01 - TAMIA BANKS V COTTER CORPORATION ET AL


                                     This information is provided as a service and is not considered an official court record.
                                                    Sort Date Entries:           Descending                 Display Options: All Entries
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  04/11/2019           Reopen From Mandate
                         Associated Entries: 04/23/2019 - Exhibit Filed
                         Associated Entries: 11/08/2019 - Motion to Dismiss
                         Associated Entries: 11/08/2019 - Motion to Dismiss
                         Associated Entries: 02/04/2020 - Response Filed
                         Associated Entries: 02/05/2020 - Response Filed

  04/12/2019           Judge Assigned

  04/22/2019           Supplemental Filing
                       Plaintifffs Rule 5534 Filing; Federal Docket Summary Report; Electronic Filing Certificate of Service.
                          Filed By: NATHANIEL RICHARD CARROLL
                          On Behalf Of: TAMIA BANKS

  04/23/2019           Exhibit Filed
                       Supplemental Rule 5534 filing; ECF No 1 - Notice of Removal; ECF No 2 - Civil Cover Sheet; ECF No 3
                       - Original Filing Form; ECF No 4 - Notice to Plaintiffs of Filing of Removal; ECF No 7 - Consent to
                       Removal of ComEd; ECF No 8 - Consent to Removal of Exelon Corp; ECF No 9 - Consent to Removal
                       of Exelon Gen; ECF No 10 - Consent to Removal of DJR; ECF No 11 - Consent to Removal of Airport;
                       ECF No 12 - Docket Text Order reassigning magistrate judge; ECF No 13 - EOA of John Cowling for
                       Airport; ECF No 14 - Notice of Removal filed in State Court; ECF No 15 - Joint Motion of Extension of
                       Time to file Answer; ECF No 16 - EOA of Dale Guariglia for Cotter; ECF No 17 - Docket text order
                       granting extension of time for Answer; ECF No 18 - Pro Hac Vice; ECF No 19 - Pro Hac Vice; ECF No
                       20 - Pro Hac Vice; ECF No 21 - Docket Text Order granting pro hac vice; ECF No 22 - Docket Text
                       Order granting pro hac vice; ECF No 23 - Order reassigning case to Judge Ross; ECF No 24 - Cotter
                       Consent Motion to File Excess Pages; ECF No 25 - Docket Text Order granting excess page limits to
                       Cotter; ECF No 26 - EOA Martin Jansky; ECF No 27 - Motion to Dismiss by St Louis City; ECF No 28 -
                       Memo in Support of Motion to Dismiss by St Louis City; ECF No 29 - Motion to Dismiss by DJR
                       Holdings; ECF No 30 - Memo in Support of Motion to Dismiss by DJR; ECF No 31 - Disclosure of
                       Organization Interests; ECF No 32 - Disclosures of Organizational Interests of Com Ed; ECF No 33 -
                       Disclosure of Organizationl Interests of Cotter; ECF No 34 - Corporate Disclosure of Exelon; ECF No
                       35 - Disclosure of Organizational Interests of Exelon Gen; ECF No 36 - Motion to Dismiss by Cotter;
                       ECF No 36-1 - Ex to Motion to Dismiss by Cotter - Declaration of Feingold; ECF No 37 - Motion to
                       Dismiss of Comed and Exelon; ECF No 37-1 - Exhibit to Motion to Dismiss of Comed and Exelon -
                       Declaration of Peters; ECF No 37-2 - Exhibit to Motion to Dismiss of Comed and Exelon - Declaration
                       of Culver; ECF No 37-3 - Exhibit to Motion to Dismiss of Comed and Exelon - Declaration of Smith;
                       ECF No 38 - Plaintiffs Motion to Remand; ECF No 39 - Plaintiffs Memorandum in Support of Motion to
                       Remand; ECF No 40 - Consent Motion for Extension of time to respond to Motion to Dismiss; ECF No
                       41 - Docket Text Order granting extension of time to respond to Motion to Dismiss; ECF No 42 -
                       Consent Motion for Extension of Time to Respond to Remand; ECF No 43 - Docket Text Order granting
                       extension of time to respond to Motion for Remand; ECF No 44 - Pro Hac Vice motion; ECF No 45 -
                       Docket Text Order granting Pro Hac Vice; ECF No 46 - Pro Hac Vice; ECF No 47 - Plaintiffs Motion to
                       Stay Motion to Dismiss; Electronic Filing Certificate of Service.
                          Filed By: NATHANIEL RICHARD CARROLL

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                        1/12
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                      On Behalf Of: TAMIA BANKS       1699
                      Note to Clerk eFiling
                        Filed By: NATHANIEL RICHARD CARROLL
                      Exhibit Filed
                      Federal Document Summary; ECF No 48 - Docket Text Order; ECF No 49 - Order that Defendants
                      shall file a response to Plaintiffs Motion to Stay Proceedings; ECF No 50 - Response to Motion to Stay;
                      ECF No 51 - Memorandum and Order of Plaintiffs Motion to Stay Defendants Motions to Dismiss
                      Pending Resolution of Plaintiffs Motion for Remand; ECF No 52 - Memorandum in Opposition of Motion
                      to Remand Case to State Court; ECF No 52-1 - Affidavit Declaration of Stephanie Feingold; ECF 52-2 -
                      Exhibit A; ECF No 52-4 - Exhibit C; ECF No 52-5 - Exhibit D; ECF No 52-6 - Exhibit E; ECF No 52-7 -
                      Exhibit F; ECF No 52-8 - Exhibit G; ECF No 53 - Memorandum in Opposition; ECF No 54 - Motion for
                      Extension of Time to File Response; ECF No 55 - Docket Text Order; ECF No 56 - Motion to Strike
                      Memorandum in Opposition to Motion; ECF No 57 - Order that Defendants shall file a response to
                      Plaintiffs Motion to Strike Exhibits to Memorandum in Opposition; ECF No 58 - Memorandum in
                      Opposition re Motion to Strike Memorandum in Opposition to Motion; ECF No 59 - Reply to Response
                      to Motion; ECF No 60 - Motion for Leave to Defendants Leave to File a Sur-reply; ECF No 61 - Motion
                      to Substitute AttorneyLaw Firm; ECF No 62 - Entry of Appearance by Kimberly Starr Morr; ECF No 65 -
                      Sur-reply to Motion to Remand Case; ECF No 66 - Order that Plaintiffs Motion for Remand is set for
                      oral argument; ECF No 67 - Motion for Leave to Appear Pro Hac Vice; ECF No 68 - Motion for Leave to
                      Appear Pro Hac Vice; ECF No 71 - Order that Plaintiffs Motion for Remand is taken under Submission;
                      ECF No 72 - Transcript Order Request; ECF No 74 - Entry of Appearance by Nathaniel Carroll for
                      Plaintiff Tamia Banks; ECF No 75 - Memorandum and Order that Plaintiffs Motion for Remand is
                      Granted; ECF No 70 - Minute Entry for proceedings held before District Judge John A Ross; Electronic
                      Filing Certificate of Service.
                          Filed By: NATHANIEL RICHARD CARROLL
                          On Behalf Of: TAMIA BANKS
                          Associated Entries: 04/11/2019 - Reopen From Mandate

  04/29/2019          Exhibit Filed
                      ECF No 1-01 - Notice of Removal Part 1; ECF No 1-02 - Notice of Removal Part 2; ECF No 52-03 -
                      Exhibit B to Defendants Opposition to Motion to Remand; Electronic Filing Certificate of Service in
                      response to Exhibit filed on 04/23/2019.
                         Filed By: NATHANIEL RICHARD CARROLL
                         On Behalf Of: TAMIA BANKS
                      Entry of Appearance Filed
                      Entry of Appearance of Erin Brooks; Electronic Filing Certificate of Service.
                         Filed By: ERIN LYNN BROOKS
                         On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY, EXELON
                      CORPORATION, EXELON GENERATION COMPANY, LLC
                      Motion to Dismiss
                      Commonwealth Company, Exelon Corporation and Exelon Generation Company, LLCs Motion to
                      Dismiss for Lack of Personal Jurisdiction; Electronic Filing Certificate of Service.
                         Filed By: ERIN LYNN BROOKS
                         On Behalf Of: COMMONWEALTH EDISON COMPANY, EXELON CORPORATION, EXELON
                      GENERATION COMPANY, LLC
                      Memorandum Filed
                      Commonwealth Company, Exelon Corporation and Exelon Generation Company, LLCs Memorandum
                      in Support of Their Motion to Dismiss for Lack of Personal Jurisdiction; Exhibit 1; Exhibit 2; Exhibit 3;
                      Exhibit 4; Exhibit 5; Proposed Order; Electronic Filing Certificate of Service.
                         Filed By: ERIN LYNN BROOKS
                         On Behalf Of: COMMONWEALTH EDISON COMPANY, EXELON CORPORATION, EXELON
                      GENERATION COMPANY, LLC
                      Motion to Dismiss
                      Motion to Dismiss Plaintiffs Amended Class Action Petition and Suggestions of Law in Support of
                      Motion; Exhibit 1; Proposed Order; Electronic Filing Certificate of Service.
                        Filed By: ERIN LYNN BROOKS

https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                          2/12
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                      On Behalf Of: COTTER CORPORATION1700

  05/03/2019          Motion Filed
                      Motion for Admission Pro Hac Vice of John McGahren; Exhibit A; Exhibit B; Exhibit C; Electronic Filing
                      Certificate of Service.
                        Filed By: ERIN LYNN BROOKS
                        On Behalf Of: COTTER CORPORATION
                      Motion Filed
                      Motion for Admission Pro Hac Vice of Stephanie Feingold; Exhibit A; Exhibit B; Exhibit C; Electronic
                      Filing Certificate of Service.
                          Filed By: ERIN LYNN BROOKS
                          On Behalf Of: COTTER CORPORATION

  05/09/2019          Motion for Apptmnt of Counsel
                      Motion for Pro Hac Vice Admission of Celeste Brustowicz; Ex A Receipt for Pro Hac Vice Fees;
                      Electronic Filing Certificate of Service.
                         Filed By: NATHANIEL RICHARD CARROLL
                      Motion for Apptmnt of Counsel
                      Motion for Pro Hac Vice Admission of Victor Cobb; Ex A Receipt for Pro Hac Vice Fees; Electronic
                      Filing Certificate of Service.
                          Filed By: NATHANIEL RICHARD CARROLL

  05/13/2019          Order
                      Order Granting Pro Hac Vice Admission SO ORDERED: JUDGE JOSEPH L. WALSH III
                      Order
                      Order Granting Pro Hac Vice Admission of Stephanie Feingold.SO ORDERED: JUDGE JOSEPH L.
                      WALSH III

  05/15/2019          Entry of Appearance Filed
                      Entry of Appearance by Dale A Guariglia; Electronic Filing Certificate of Service.
                         Filed By: DALE A GUARIGLIA
                         On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY, EXELON
                      CORPORATION, EXELON GENERATION COMPANY, LLC
                      Order
                      Order Granting Pro Hac Vice Admission of Victor Cobb.SO ORDERED: JUDGE JOSEPH L. WALSH III
                      Order
                      Order Granting Pro Hac Vice Admission of Celeste Brustowicz.SO ORDERED: JUDGE JOSEPH L.
                      WALSH III

  05/20/2019          Hearing Continued/Rescheduled
                        Hearing Continued From: 06/20/2019; 9:00 AM Counsel Status Hearing

  05/28/2019          Counsel Status Hrng Scheduled
                        Associated Entries: 05/20/2019 - Hearing Continued/Rescheduled
                        Scheduled For: 06/20/2019; 9:00 AM ; JOSEPH L. WALSH III; St Louis County

  05/29/2019          Counsel Status Hrng Scheduled
                        Associated Entries: 06/06/2019 - Hearing Continued/Rescheduled
                        Scheduled For: 06/17/2019; 9:00 AM ; JOSEPH L. WALSH III; St Louis County

  05/31/2019          Notice of Hearing Filed
                      Notice of Hearing June 17, 2019; Electronic Filing Certificate of Service.
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                       3/12
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                      Filed By: ERIN LYNN BROOKS      1701
                        On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY, EXELON
                      CORPORATION, EXELON GENERATION COMPANY, LLC

  06/05/2019          Motion Filed
                      Motion for Pro Hac Vice Admission Stuart Smith; Receipt of Pro Hac Vice Request; Electronic Filing
                      Certificate of Service.
                        Filed By: RYAN A. KEANE
                        On Behalf Of: TAMIA BANKS
                      Motion Filed
                      Motion for Pro Hac Vice Admission Barry Cooper; Receipt of Pro Hac Vice Request; Electronic Filing
                      Certificate of Service.
                        Filed By: RYAN A. KEANE
                        On Behalf Of: TAMIA BANKS
                      Motion Filed
                      Motion for Pro Hac Vice Admission Kevin Thompson; Receipt of Pro Hac Vice Request; Electronic
                      Filing Certificate of Service.
                          Filed By: RYAN A. KEANE
                          On Behalf Of: TAMIA BANKS
                      Motion Filed
                      Motion for Pro Hac Vice Admission David Barney; Receipt of Pro Hac Vice Request; Electronic Filing
                      Certificate of Service.
                        Filed By: RYAN A. KEANE
                        On Behalf Of: TAMIA BANKS

  06/06/2019          Hearing Continued/Rescheduled
                        Hearing Continued From: 06/17/2019; 9:00 AM Counsel Status Hearing
                      Motion Hearing Scheduled
                        Associated Entries: 06/10/2019 - Hearing Continued/Rescheduled
                        Scheduled For: 06/17/2019; 9:00 AM ; JOSEPH L. WALSH III; St Louis County

  06/07/2019          Entry of Appearance Filed
                      Entry of Appearance of Jennifer Pitzer; Electronic Filing Certificate of Service.
                         Filed By: JENNIFER CHRISTINE PITZER
                         On Behalf Of: TAMIA BANKS
                      Entry of Appearance Filed
                      Entry of Appearance of James Clayborne; Electronic Filing Certificate of Service.
                         Filed By: JAMES FRANKLIN CLAYBORNE JR.
                         On Behalf Of: TAMIA BANKS

  06/10/2019          Hearing Continued/Rescheduled
                        Hearing Continued From: 06/17/2019; 9:00 AM Motion Hearing
                      Motion Hearing Scheduled
                        Associated Entries: 06/10/2019 - Hearing/Trial Cancelled
                        Associated Entries: 06/10/2019 - Judge/Clerk - Note
                        Scheduled For: 06/14/2019; 9:00 AM ; JOSEPH L. WALSH III; St Louis County
                      Hearing/Trial Cancelled
                        Scheduled For: 06/14/2019; 9:00 AM ; JOSEPH L. WALSH III; St Louis County
                      Judge/Clerk - Note
                      The Matter set for June 14th and June 17th are hereby cancelled until further notice. Counsels to
                      discuss court date to hear all motions and manage case.
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                   4/12
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                      Associated Entries: 06/10/2019 - Motion Hearing Scheduled
                          Associated Entries: 06/10/2019 - Hearing/Trial Cancelled

  06/12/2019          Order
                      Order for Pro Hac Vice Admission of David R Barney Jr.SO ORDERED: JUDGE JOSEPH L. WALSH III
                      Order
                      Order for Pro Hac Vice Admission of Kevin W Thompson..SO ORDERED: JUDGE JOSEPH L. WALSH
                      III
                      Order
                      Order for Pro Hac Vice Admission of Barry Cooper Jr..SO ORDERED: JUDGE JOSEPH L. WALSH III
                      Order
                      Order for Pro Hac Vice Admission of Stuart Smith. SO ORDERED: JUDGE JOSEPH L. WALSH III

  07/03/2019          Proposed Order Filed
                      Plaintiffs Motion for Admission of Counsel Pro Hac Vice and Proposed Order; Electronic Filing
                      Certificate of Service.
                         Filed By: TIMOTHY PAUL HULLA
                      Proposed Order Filed
                      Plaintiffs Motion for Admission of Counsel Pro Hac Vice and Proposed Order; Electronic Filing
                      Certificate of Service.
                         Filed By: TIMOTHY PAUL HULLA
                      Exhibit Filed
                      Plaintiffs Motion for Admission of Counsel Pro Hac Vice and Proposed Order; Electronic Filing
                      Certificate of Service.
                         Filed By: TIMOTHY PAUL HULLA
                         On Behalf Of: TAMIA BANKS

  07/11/2019          Motion to Strike
                      REQUEST TO STRIKE, IN THE ALTERNATIVE, SET FOR CONTRADICTORY HEARING
                        Filed By: BARRY COOPER JR
                      Motion Withdrawn
                      Motion to Withdraw Motion for Admission of Counsel Pro Hac Vice; Electronic Filing Certificate of
                      Service.
                        Filed By: TIMOTHY PAUL HULLA
                        On Behalf Of: TAMIA BANKS
                        Associated Entries: 07/22/2019 - Order to Withdraw
                      Consent Filed
                      Stipulated Protective Order Regarding The Production of Certain Documents for the Limited Purpose of
                      Jurisdictional Review and Analysis; Electronic Filing Certificate of Service.
                         Filed By: ERIN LYNN BROOKS
                         On Behalf Of: TAMIA BANKS, COTTER CORPORATION, COMMONWEALTH EDISON
                      COMPANY, EXELON CORPORATION, EXELON GENERATION COMPANY, LLC

  07/15/2019          Judge/Clerk - Note
                      please contact clerk to set motion to strike hearing.

  07/17/2019          Order
                      ORDER FOR ADMISSION OF COUNSEL PRO HAC VICE.SO ORDERED: JUDGE JOSEPH L.
                      WALSH III
                        Associated Entries: 07/22/2019 - Order to Withdraw

  07/22/2019          Order to Withdraw
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                          Associated Entries: 07/17/2019 - Order
                          Associated Entries: 07/11/2019 - Motion Withdrawn

  07/23/2019          Order
                      Stipulated Protective Order.SO ORDERED: JUDGE JOSEPH L. WALSH III

  10/01/2019          Motion Filed
                      Motion to Withdraw as Counsel; Electronic Filing Certificate of Service.
                        Filed By: JAMES FRANKLIN CLAYBORNE JR.
                        Associated Entries: 10/18/2019 - Motion Granted/Sustained
                      Notice of Hearing Filed
                      Notice of Hearing; Electronic Filing Certificate of Service.
                        Filed By: JAMES FRANKLIN CLAYBORNE JR.
                      Motion Hearing Scheduled
                        Associated Entries: 10/18/2019 - Motion Granted/Sustained
                        Scheduled For: 10/18/2019; 9:00 AM ; JOSEPH L. WALSH III; St Louis County

  10/11/2019          Motion for Leave
                      Plaintiffs Motion for Leave to File Second Amended Class Action Petition; Exhibit 1 - Second Amended
                      Class Action Petition; Electronic Filing Certificate of Service.
                         Filed By: NATHANIEL RICHARD CARROLL
                         On Behalf Of: TAMIA BANKS
                         Associated Entries: 10/18/2019 - Motion Granted/Sustained
                      Notice of Hearing Filed
                      Notice of Hearing for Plaintiffs Motion for Leave to File Second Amended Petition; Electronic Filing
                      Certificate of Service.
                        Filed By: NATHANIEL RICHARD CARROLL
                        On Behalf Of: TAMIA BANKS

  10/18/2019          Motion Granted/Sustained
                      CAUSE CALLED FOR HEARING ON ATTORNEY JAMES CLAYBORNE'S MOTION TO WITHDRAW
                      AND PLAINTIFF'S MOTION FOR LEAVE TO FILED SECOND AMENDED PETITION. MOTION TO
                      WITHDRAW AND MOTION FOR LEAVE ARE HEREBY GRANTED. SO ORDERED: JUDGE JOSEPH
                      L. WALSH III
                         Associated Entries: 10/01/2019 - Motion Filed
                         Associated Entries: 10/01/2019 - Motion Hearing Scheduled
                         Associated Entries: 10/11/2019 - Motion for Leave
                         Scheduled For: 10/18/2019; 9:00 AM ; JOSEPH L. WALSH III; St Louis County

  10/29/2019          Amended Motion/Petition Filed
                      Second Amended Class Action Petition; Electronic Filing Certificate of Service.
                        On Behalf Of: TAMIA BANKS
                        Associated Entries: 04/30/2020 - Order

  11/08/2019          Motion to Dismiss
                      Commonwealth Edison Companys Motion to Dismiss for Lack of Personal Jurisdiction; Commonwealth
                      Edison Companys Memorandum in Support of its Motion to Dismiss; Exhibit 1; Exhibit 2; Exhibit 3;
                      Exhibit 4; Proposed Order; Electronic Filing Certificate of Service.
                         Filed By: ERIN LYNN BROOKS
                         On Behalf Of: COMMONWEALTH EDISON COMPANY
                         Associated Entries: 04/30/2020 - Order
                         Associated Entries: 04/11/2019 - Reopen From Mandate

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                   Motion to Dismiss                  1704
                      Motion to Dismiss Plaintiffs Second Amended Class Action Petition and Suggestions of Law in Support
                      of Motion; Exhibit 1; Proposed Order; Electronic Filing Certificate of Service.
                         Filed By: ERIN LYNN BROOKS
                         On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY
                         Associated Entries: 04/30/2020 - Order
                         Associated Entries: 04/11/2019 - Reopen From Mandate

  01/31/2020          Certificate of Service
                      Certificate of Service - Plaintiffs First Interrogatories and First RFP to ComEd; Electronic Filing
                      Certificate of Service.
                        Filed By: NATHANIEL RICHARD CARROLL
                        On Behalf Of: TAMIA BANKS
                      Certificate of Service
                      Certificate of Service - Plaintiffs First Interrogatories and First RFP to Cotter Corporation; Electronic
                      Filing Certificate of Service.
                          Filed By: NATHANIEL RICHARD CARROLL
                          On Behalf Of: TAMIA BANKS
                      Certificate of Service
                      Certificate of Service - Plaintiffs First Interrogatories and First RFP to DJR Holdings; Electronic Filing
                      Certificate of Service.
                        Filed By: NATHANIEL RICHARD CARROLL
                        On Behalf Of: TAMIA BANKS
                      Certificate of Service
                      Certificate of Service - Plaintiffs First Interrogatories and First RFP to St Louis Airport Authority;
                      Electronic Filing Certificate of Service.
                         Filed By: NATHANIEL RICHARD CARROLL
                         On Behalf Of: TAMIA BANKS

  02/04/2020          Response Filed
                      Plaintiffs Response in Opposition to Defendant ComEds Motion to Dismiss for Lack of Personal
                      Jurisdiction; Exhibit A - Excelon 10-Q Filing; Electronic Filing Certificate of Service in response to
                      Dismiss (motion) filed on 11/08/2019.
                         Filed By: NATHANIEL RICHARD CARROLL
                         On Behalf Of: TAMIA BANKS
                         Associated Entries: 04/11/2019 - Reopen From Mandate

  02/05/2020          Response Filed
                      Plaintiffs Response in Opposition to Defendants Motion to Dismiss Plaintiffs Second Amended Class-
                      Action Petition; Exhibit 1 - Declaration of Dr Marvin Resnikoff; Exhibit 2 - Declaration of Richard B
                      Stewart; Electronic Filing Certificate of Service in response to Dismiss (motion) filed on 11/08/2019.
                         Filed By: NATHANIEL RICHARD CARROLL
                         On Behalf Of: TAMIA BANKS
                         Associated Entries: 04/11/2019 - Reopen From Mandate

  02/27/2020          Entry of Appearance Filed
                      Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: JOHN FORD COWLING
                         On Behalf Of: ST. LOUIS AIRPORT AUTHORITY, A DEPT OF THE CITY OF ST. LOUIS
                      Entry of Appearance Filed
                      Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: KATHERINE MARGARET RICKS
                         On Behalf Of: ST. LOUIS AIRPORT AUTHORITY, A DEPT OF THE CITY OF ST. LOUIS
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                           7/12
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                      Mot for Leave to File Out/Time
                      Unopposed Motion for Leave to File Responsive Pleading Out of Time; Defendant The City of St Louis
                      Motion to Dismiss Plaintiffs Second Amended Class Action Petition; Memorandum in Support of
                      Defendant The City of St Louis Motion to Dismiss; Electronic Filing Certificate of Service.
                        Filed By: JOHN FORD COWLING
                        On Behalf Of: ST. LOUIS AIRPORT AUTHORITY, A DEPT OF THE CITY OF ST. LOUIS
                        Associated Entries: 04/07/2020 - Order Granting Leave
                        Associated Entries: 04/30/2020 - Order

  02/28/2020          Civil Motion Hearing Scheduled
                         Associated Entries: 03/31/2020 - Hearing Held
                         Scheduled For: 03/31/2020; 9:00 AM ; JOSEPH L. WALSH III; St Louis County
                      Notice of Hearing Filed
                      Notice of Hearing on Defendants Motions to Dismiss - 3 31 2020 at 9am; Electronic Filing Certificate of
                      Service in response to Response (other) filed on 02/05/2020; Response (other) filed on 02/04/2020;
                      Dismiss (motion) filed on 11/08/2019; Dismiss (motion) filed on 11/08/2019.
                         Filed By: NATHANIEL RICHARD CARROLL
                         On Behalf Of: TAMIA BANKS

  03/25/2020          Entry of Appearance Filed
                      Entry of Appearance of Defendant Commonwealth Edison Company; Electronic Filing Certificate of
                      Service.
                         Filed By: BRIAN OCONNOR WATSON
                         On Behalf Of: COMMONWEALTH EDISON COMPANY

  03/26/2020          Reply
                      DEFENDANT COMMONWEALTH EDISON COMPANYS REPLY IN SUPPORT OF ITS MOTION TO
                      DISMISS; Electronic Filing Certificate of Service.
                         Filed By: BRIAN OCONNOR WATSON
                         On Behalf Of: COMMONWEALTH EDISON COMPANY

  03/27/2020          Motion of Withdrawl of Counsel
                      Motion to Withdraw as Counsel; Proposed Order; Electronic Filing Certificate of Service.
                        Filed By: JENNIFER CHRISTINE PITZER
                        On Behalf Of: TAMIA BANKS
                        Associated Entries: 04/20/2020 - Order Withdrawing Attorney:

  03/30/2020          Reply
                      COTTER CORPORATION NSL AND COMMONWEALTH EDISON COMPANYS RESERVATION OF
                      THEIR PRICE-ANDERSON ACT DEFENSES AND REPLY IN SUPPORT OF MOTION TO DISMISS;
                      Electronic Filing Certificate of Service.
                         Filed By: BRIAN OCONNOR WATSON
                         On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY
                      Entry of Appearance Filed
                      Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: NATHANIEL RICHARD CARROLL
                      Entry of Appearance Filed
                      Entry of Appearance; Electronic Filing Certificate of Service.
                         Filed By: RYAN A. KEANE
                      Entry of Appearance Filed
                      Cotter Corporation Entry of Appearance; Electronic Filing Certificate of Service.
                        Filed By: BRIAN OCONNOR WATSON
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                      On Behalf Of: COTTER CORPORATION1706

  03/31/2020          Hearing Held
                        Scheduled For: 03/31/2020; 9:00 AM ; JOSEPH L. WALSH III; St Louis County

  04/07/2020          Order Granting Leave
                      THE COURT HEREBY GRANTS THE UNOPPOSED MOTION FOR LEAVE TO FILE RESPONSIVE
                      PLEADING OUT OF TIME FILED. SO ORDERED: JUDGE JOSEPH L. WALSH III
                        Associated Entries: 02/27/2020 - Mot for Leave to File Out/Time

  04/17/2020          Entry of Appearance Filed
                      Appearance on behalf of Defendant Cotter Corporation NSL; Electronic Filing Certificate of Service.
                        Filed By: MARCIE JANNAE VANTINE
                        On Behalf Of: COTTER CORPORATION

  04/20/2020          Order Withdrawing Attorney:
                      THE COURT HEREBY GRANTS THE WITHDRAW OF ATTORNEY JENNIFER PITZER AS COUNSEL
                      FOR PLAINTIFF. SO ORDERED: JUDGE JOSEPH L. WALSH III
                        Associated Entries: 03/27/2020 - Motion of Withdrawl of Counsel

  04/22/2020          Motion to Withdraw
                      Motion to Withdraw; Electronic Filing Certificate of Service.
                        Filed By: ERIN LYNN BROOKS
                        On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY
                        Associated Entries: 04/30/2020 - Order Withdrawing Attorney:

  04/28/2020          Proposed Order Filed
                      Proposed Order related to March 31, 2020 hearing on Defendants Motions to Dismiss -; Electronic
                      Filing Certificate of Service.
                          Filed By: NATHANIEL RICHARD CARROLL
                          On Behalf Of: TAMIA BANKS
                          Associated Entries: 04/30/2020 - Order
                      Note to Clerk eFiling
                        Filed By: NATHANIEL RICHARD CARROLL
                      Motion for Sub of Counsel
                      Cotter Corporation and Commonwealth Edison Companys Motion to Substitute and Withdraw Counsel;
                      Proposed Order Granting Motion to Substitute and Withdraw Counsel; Electronic Filing Certificate of
                      Service.
                         Filed By: BRIAN OCONNOR WATSON
                         On Behalf Of: COTTER CORPORATION
                         Associated Entries: 04/30/2020 - Order to Change Counsel

  04/30/2020          Order
                      SEE SCANNED ORDER FOR DETAILS. SO ORDERED: JUDGE JOSEPH L. WALSH III
                        Associated Entries: 10/29/2019 - Amended Motion/Petition Filed
                        Associated Entries: 11/08/2019 - Motion to Dismiss
                        Associated Entries: 11/08/2019 - Motion to Dismiss
                        Associated Entries: 02/27/2020 - Mot for Leave to File Out/Time
                        Associated Entries: 04/28/2020 - Proposed Order Filed
                      Order Withdrawing Attorney:
                      THE COURT HEREBY GRANTS THE WITHDRAW OF BRYAN CAVE LEIGHTON PAISNER, LLP.
                      DEFENDANT COTTER CORPORATION REMAINS REPRESENTED BY OTHER COUNSEL OF

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                   RECORD IN THIS MATTER. SO ORDERED: JUDGE JOSEPH L. WALSH III
                          Associated Entries: 04/22/2020 - Motion to Withdraw
                      Order to Change Counsel
                      THE COURT HEREBY GRANTS THE WITHDRAW OF COUNSEL OF ATTORNEYS ERIN BROOKS,
                      DALE GUARIGLIA, JOHN MCGAHREN AND STEPHANIE FEINGOLD. SO ORDERED: JUDGE
                      JOSEPH L. WALSH III
                        Associated Entries: 04/28/2020 - Motion for Sub of Counsel

  05/29/2020          Stipulation Filed
                      Stipulated Protective Order Regarding The Production of Confidential Information; Electronic Filing
                      Certificate of Service.
                         Filed By: BRIAN OCONNOR WATSON
                         On Behalf Of: COTTER CORPORATION, COMMONWEALTH EDISON COMPANY
                         Associated Entries: 06/09/2020 - Order
                      Notice
                      Commonwealth Edison Companys Notice of Service of Verified Objections and Responses to Plaintiffs
                      1st Set of Interrogatories and Request for Production; Electronic Filing Certificate of Service.
                         Filed By: BRIAN OCONNOR WATSON
                         On Behalf Of: COMMONWEALTH EDISON COMPANY
                      Notice
                      Cotter Corporations Notice of Service of Verified Objections and Responses to Plaintiffs 1st Set of
                      Interrogatories and Request for Production; Electronic Filing Certificate of Service.
                         Filed By: BRIAN OCONNOR WATSON
                         On Behalf Of: COTTER CORPORATION

  06/08/2020          Motion Filed
                      Motion for Admission of Jennifer Steeve Pro Hac; Electronic Filing Certificate of Service.
                        Filed By: MARCIE JANNAE VANTINE
                      Affidavit Filed
                      Affidavit of Jennifer Steeve; Electronic Filing Certificate of Service.
                          Filed By: MARCIE JANNAE VANTINE
                      Receipt Filed
                      Receipt from Missouri Supreme Court; Electronic Filing Certificate of Service.
                        Filed By: MARCIE JANNAE VANTINE
                      Proposed Order Filed
                      Proposed Order to Admit Jennifer Steeve; Electronic Filing Certificate of Service.
                         Filed By: MARCIE JANNAE VANTINE
                         On Behalf Of: COTTER CORPORATION

  06/09/2020          Order
                      THE COURT HEREBY GRANTS THE STIPULATED PROTECTIVE ORDER REGARDING THE
                      PRODUCTION OF CONFIDENTIAL INFORMATION. SO ORDERED: JUDGE JOSEPH L. WALSH III
                        Associated Entries: 05/29/2020 - Stipulation Filed

  06/30/2020          Third Party Petition Filed
                      Cotter Corporations Third Party Petition; Exhibit 1; Electronic Filing Certificate of Service.
                         Filed By: BRIAN OCONNOR WATSON
                         Associated Entries: 07/14/2020 - Order
                      Notice
                      Notice of Filing of Cotter Corporations Third Party Petition; Electronic Filing Certificate of Service.
                        Filed By: BRIAN OCONNOR WATSON

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                      On Behalf Of: COTTER CORPORATION1708

  07/02/2020          Memorandum Filed
                      Memorandum regarding Service of Third-Party Defendants; Electronic Filing Certificate of Service.
                        Filed By: MARCIE JANNAE VANTINE
                        On Behalf Of: COTTER CORPORATION
                      Note to Clerk eFiling
                        Filed By: MARCIE JANNAE VANTINE

  07/14/2020          Order
                      THE COURT HEREBY GRANTS DEFENDANT COTTER CORPORATION'S THIRD-PARTY PETITION
                      AGAINST MALLINCKRODT LLC, EVERZINE USA INC., BRIDGETON LANDFILL LLC, REPUBLIC
                      SERVICES, INC., ALLIED SERVICES, LLC, WESTLAKE LANDFILL, INC., AND ROCK ROAD
                      INDUSTRIES, INC. SO ORDERED: JUDGE JOSEPH L. WALSH III
                         Associated Entries: 06/30/2020 - Third Party Petition Filed

  07/21/2020          3rd Prty Summ Issd-Pers Serv
                      Document ID: 20-SMTP-63, for MALLINCKRODT LLC.Summons Attached in PDF Form for Attorney to
                      Retrieve from Secure Case.Net and Process for Service.
                      3rd Prty Summ Issd-Pers Serv
                      Document ID: 20-SMTP-64, for EVERZINC USA INC.Summons Attached in PDF Form for Attorney to
                      Retrieve from Secure Case.Net and Process for Service.
                      3rd Prty Summ Issd-Pers Serv
                      Document ID: 20-SMTP-65, for BRIDGETON LANDFILL LLC.Summons Attached in PDF Form for
                      Attorney to Retrieve from Secure Case.Net and Process for Service.
                      3rd Prty Summ Issd-Pers Serv
                      Document ID: 20-SMTP-66, for REPUBLIC SERVICES INC.Summons Attached in PDF Form for
                      Attorney to Retrieve from Secure Case.Net and Process for Service.
                      3rd Prty Summ Issd-Pers Serv
                      Document ID: 20-SMTP-67, for ALLIED SERVICES LLC.Summons Attached in PDF Form for Attorney
                      to Retrieve from Secure Case.Net and Process for Service.
                      3rd Prty Summ Issd-Pers Serv
                      Document ID: 20-SMCC-6501, for WEST LAEK LANDFILL INC.Summons Attached in PDF Form for
                      Attorney to Retrieve from Secure Case.Net and Process for Service.
                      3rd Prty Summ Issd-Pers Serv
                      Document ID: 20-SMTP-68, for ROCK ROAD INDUSTRIES INC.Summons Attached in PDF Form for
                      Attorney to Retrieve from Secure Case.Net and Process for Service.

  08/11/2020          Motion Filed
                      Motion for Admission of Lauren Jaffe; Electronic Filing Certificate of Service.
                        Filed By: MARCIE JANNAE VANTINE
                      Affidavit Filed
                      Affidavit of Lauren Jaffe; Electronic Filing Certificate of Service.
                          Filed By: MARCIE JANNAE VANTINE
                      Receipt Filed
                      Receipt from the Supreme Court of Missouri; Electronic Filing Certificate of Service.
                        Filed By: MARCIE JANNAE VANTINE
                      Proposed Order Filed
                      Proposed Order to Admit; Electronic Filing Certificate of Service.
                         Filed By: MARCIE JANNAE VANTINE
                         On Behalf Of: COTTER CORPORATION

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  09/04/2020          Certificate of Service
                      Certificate of Service; Electronic Filing Certificate of Service.
                        Filed By: RYAN A. KEANE
                        On Behalf Of: TAMIA BANKS
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